Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 1 of 452




                       Exhibit C
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 2 of 452



ENGLISH

IMPORTANT: BY USING YOUR iPHONE, iPAD OR iPOD TOUCH (“iOS DEVICE”), YOU ARE
AGREEING TO BE BOUND BY THE FOLLOWING TERMS:

A.   APPLE iOS SOFTWARE LICENSE AGREEMENT
B.   APPLE PAY SUPPLEMENTAL TERMS
C.   NOTICES FROM APPLE

APPLE INC.
iOS SOFTWARE LICENSE AGREEMENT
Single Use License

PLEASE READ THIS SOFTWARE LICENSE AGREEMENT (“LICENSE”) CAREFULLY BEFORE USING
YOUR iOS DEVICE OR DOWNLOADING THE SOFTWARE UPDATE ACCOMPANYING THIS
LICENSE. BY USING YOUR iOS DEVICE OR DOWNLOADING A SOFTWARE UPDATE, AS
APPLICABLE, YOU ARE AGREEING TO BE BOUND BY THE TERMS OF THIS LICENSE. IF YOU DO
NOT AGREE TO THE TERMS OF THIS LICENSE, DO NOT USE THE iOS DEVICE OR DOWNLOAD
THE SOFTWARE UPDATE.

IF YOU HAVE RECENTLY PURCHASED AN iOS DEVICE AND YOU DO NOT AGREE TO THE TERMS
OF THE LICENSE, YOU MAY RETURN THE iOS DEVICE WITHIN THE RETURN PERIOD TO THE
APPLE STORE OR AUTHORIZED DISTRIBUTOR WHERE YOU OBTAINED IT FOR A REFUND,
SUBJECT TO APPLE’S RETURN POLICY FOUND AT https://www.apple.com/legal/sales-support/.

1. General.
(a) The software (including Boot ROM code, embedded software and third party software),
documentation, interfaces, content, fonts and any data that came with your iOS Device (“Original iOS
Software”), as may be updated or replaced by feature enhancements, software updates or system
restore software provided by Apple (“iOS Software Updates”), whether in read only memory, on any
other media or in any other form (the Original iOS Software and iOS Software Updates are collectively
referred to as the “iOS Software”) are licensed, not sold, to you by Apple Inc. (“Apple”) for use only
under the terms of this License. Apple and its licensors retain ownership of the iOS Software itself and
reserve all rights not expressly granted to you. You agree that the terms of this License will apply to any
Apple-branded app that may be built-in on your iOS Device, unless such app is accompanied by a
separate license, in which case you agree that the terms of that license will govern your use of that app.

(b) Apple, at its discretion, may make available future iOS Software Updates. The iOS Software Updates,
if any, may not necessarily include all existing software features or new features that Apple releases for
newer or other models of iOS Devices. The terms of this License will govern any iOS Software Updates
provided by Apple, unless such iOS Software Update is accompanied by a separate license, in which
case you agree that the terms of that license will govern.

(c) If you use the express setup feature to set up a new iOS Device based on your existing iOS Device,
you agree that the terms of this License will govern your use of the iOS Software on your new iOS
Device, unless it is accompanied by a separate license, in which case you agree that the terms of that
license will govern your use of that iOS Software. Your iOS Device will periodically check with Apple for
iOS Software Updates. If an update is available, the update may automatically download and install onto
your iOS Device and, if applicable, your peripheral devices. By using the Apple Software, you agree
that Apple may download and install automatic iOS Software Updates onto your iOS Device and
your peripheral devices. You can turn oﬀ automatic updates altogether at any time by changing the
Automatic Updates settings found within Settings > General > Software Update.
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 3 of 452




2. Permitted License Uses and Restrictions.
(a) Subject to the terms and conditions of this License, you are granted a limited non-exclusive license to
use the iOS Software on a single Apple-branded iOS Device. Except as permitted in Section 2(b) below,
and unless as provided in a separate agreement between you and Apple, this License does not allow the
iOS Software to exist on more than one Apple-branded iOS Device at a time, and you may not distribute
or make the iOS Software available over a network where it could be used by multiple devices at the
same time. This License does not grant you any rights to use Apple proprietary interfaces and other
intellectual property in the design, development, manufacture, licensing or distribution of third party
devices and accessories, or third party software applications, for use with iOS Devices. Some of those
rights are available under separate licenses from Apple. For more information on developing third party
devices and accessories for iOS Devices, please visit https://developer.apple.com/programs/mfi/. For
more information on developing software applications for iOS Devices, please visit https://
developer.apple.com.

(b) Subject to the terms and conditions of this License, you are granted a limited non-exclusive license to
download iOS Software Updates that may be made available by Apple for your model of the iOS Device
to update or restore the software on any such iOS Device that you own or control. This License does not
allow you to update or restore any iOS Device that you do not control or own, and you may not distribute
or make the iOS Software Updates available over a network where they could be used by multiple
devices or multiple computers at the same time. If you download an iOS Software Update to your
computer, you may make one copy of the iOS Software Updates stored on your computer in machine-
readable form for backup purposes only, provided that the backup copy must include all copyright or
other proprietary notices contained on the original.

(c) To the extent that Apple has preinstalled Apple-branded apps from the App Store on your iOS Device
at the time of purchase (“Preinstalled Apps”), you will need to log into the App Store and associate these
Preinstalled Apps with your App Store account in order to use them on your iOS Device. When you
associate a Preinstalled App with your App Store account, you will at the same time be automatically
associating all other Preinstalled Apps on your iOS Device. By choosing to associate the Preinstalled
Apps with your App Store account, you agree that Apple may transmit, collect, maintain, process and
use both the Apple ID used by your App Store account and a unique hardware identifier collected from
your iOS Device, as unique account identifiers for the purpose of verifying the eligibility of your request
and providing you access to the Preinstalled Apps through the App Store. If you do not wish to use a
Preinstalled App, you can delete it from your iOS Device at any time.

(d) You may not, and you agree not to or enable others to, copy (except as expressly permitted by this
License), decompile, reverse engineer, disassemble, attempt to derive the source code of, decrypt,
modify, or create derivative works of the iOS Software or any services provided by the iOS Software or
any part thereof (except as and only to the extent any foregoing restriction is prohibited by applicable
law or by licensing terms governing use of open-source components that may be included with the iOS
Software).

(e) The iOS Software may be used to reproduce materials so long as such use is limited to reproduction
of non-copyrighted materials, materials in which you own the copyright, or materials you are authorized
or legally permitted to reproduce. Title and intellectual property rights in and to any content displayed by,
stored on or accessed through your iOS Device belong to the respective content owner. Such content
may be protected by copyright or other intellectual property laws and treaties, and may be subject to
terms of use of the third party providing such content. Except as otherwise provided herein, this License
does not grant you any rights to use such content nor does it guarantee that such content will continue
to be available to you.
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 4 of 452



(f) Subject to the terms and conditions of this License, you may use the Animoji and Memoji characters
included in or created with the iOS Software (“System Characters”) (i) while running the iOS Software
and (ii) to create your own original content and projects for your personal, non-commercial use. No other
use of the System Characters is permitted by this License, including but not limited to the use,
reproduction, display, performance, recording, publishing or redistribution of any of the System
Characters in a profit, non-profit, public sharing or commercial context.

(g) You agree to use the iOS Software and the Services (as defined in Section 5 below) in compliance
with all applicable laws, including local laws of the country or region in which you reside or in which you
download or use the iOS Software and Services. Features of the iOS Software and the Services may not
be available in all languages or regions, some features may vary by region, and some may be restricted
or unavailable from your service provider. A Wi-Fi or cellular data connection is required for some
features of the iOS Software and Services.

(h) Use of the App Store requires a unique user name and password combination, known as an Apple ID.
An Apple ID is also required to access app updates and certain features of the iOS Software and
Services.

(i) You acknowledge that many features, built-in apps, and Services of the iOS Software transmit data
and could impact charges to your data plan, and that you are responsible for any such charges. You can
view and control which applications are permitted to use cellular data and view an estimate of how much
data such applications have consumed under Cellular Data Settings. In addition, Wi-Fi Assist will
automatically switch to cellular when you have a poor Wi-Fi connection, which might result in more
cellular data use and impact charges to your data plan. Wi-Fi Assist is on by default, but can be
disabled under Settings. For more information, please consult the User Guide for your iOS Device.

(j) If you choose to allow automatic app updates, your iOS Device will periodically check with Apple for
updates to the apps on your device and, if one is available, the update will automatically download and
install onto your device. You can turn oﬀ the automatic app updates altogether at any time by going to
Settings, tap iTunes & App Store, and under Automatic Downloads, turn oﬀ Updates.

(k) Using your iOS Device in some circumstances can distract you and may cause a dangerous situation
(for example, avoid typing a text message while driving a car or using headphones while riding a
bicycle). By using your iOS Device you agree that you are responsible for observing rules that prohibit or
restrict the use of mobile phones or headphones (for example, the requirement to use hands-free options
for making calls when driving).

3. Transfer. You may not rent, lease, lend, sell, redistribute, or sublicense the iOS Software. You may,
however, make a one-time permanent transfer of all of your license rights to the iOS Software to another
party in connection with the transfer of ownership of your iOS Device, provided that: (a) the transfer must
include your iOS Device and all of the iOS Software, including all its component parts and this License;
(b) you do not retain any copies of the iOS Software, full or partial, including copies stored on a
computer or other storage device; and (c) the party receiving the iOS Software reads and agrees to
accept the terms and conditions of this License.

4. Consent to Use of Data. When you use your device, your phone number and certain unique
identifiers for your iOS Device are sent to Apple in order to allow others to reach you by your phone
number when using various communication features of the iOS Software, such as iMessage and
FaceTime. When you use iMessage, Apple may hold your messages in encrypted form for a limited
period of time in order to ensure their delivery. You may turn oﬀ FaceTime or iMessage by going to the
FaceTime or Messages settings on your iOS Device. Certain features like Analytics, Location Services,
Siri, and Dictation may require information from your iOS Device to provide their respective functions.
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 5 of 452



When you turn on or use these features, details will be provided regarding what information is sent to
Apple and how the information may be used. You can learn more by visiting https://www.apple.com/
privacy/. At all times your information will be treated in accordance with Apple’s Privacy Policy, which
can be viewed at: https://www.apple.com/legal/privacy/.

5. Services and Third Party Materials.
(a) The iOS Software may enable access to Apple’s iTunes Store, App Store, Apple Books, Game Center,
iCloud, Maps and other Apple and third party services and web sites (collectively and individually,
“Services”). Such Services may not be available in all languages or in all countries. Use of these Services
requires Internet access and use of certain Services may require an Apple ID, may require you to accept
additional terms and may be subject to additional fees. By using this software in connection with an
Apple ID, or other Apple Service, you agree to the applicable terms of service for that Service, such as
the latest Apple Media Services Terms and Conditions for the country in which you access such
Services, which you may access and review at https://www.apple.com/legal/internet-services/itunes/.

(b) If you sign up for iCloud, certain iCloud features like “iCloud Photos”, “My Photo Stream”, “Shared
Albums”, “Back Up” and “Find My iPhone” may be accessed directly from the iOS Software. You
acknowledge and agree that your use of iCloud and these features is subject to the latest terms and
conditions of the iCloud service, which you may access and review at: https://www.apple.com/legal/
internet-services/icloud/.

(c) News App Content. Your use of content accessed through the News application is limited solely to
personal, noncommercial use, does not transfer any ownership interest to you in the content, and
specifically excludes, without limitation, any commercial or promotional use rights in such content.
Furthermore, you are prohibited from republishing, retransmitting and reproducing any images accessed
through News as a stand-alone file.

(d) Maps. The maps service and features of the iOS Software (“Maps”), including map data coverage,
may vary by region. When you use any location-based features within Maps, such as turn-by-turn
navigation, traﬃc and local search, various location-related and usage information may be sent to Apple,
including the real-time geographic location of your iOS Device, in order to process your request and help
improve Maps. Such location and usage data is collected by Apple in a form that does not personally
identify you. By using Maps, you agree and consent to Apple’s and its subsidiaries’ and agents’
transmission, collection, maintenance, processing, and use of this information, to provide and
improve the Maps features and service, and other Apple products and services. Apple may also
provide such information, in either an aggregated or non personally identifiable form, to its partners and
licensees to help improve their map and location-based products and services. You may disable the
location-based functionality of Maps by going to the Location Services setting on your iOS Device and
turning oﬀ the individual location setting for Maps. Certain Maps features will however be unavailable if
you disable the Location Services setting, such as turn-by-turn navigation.

(e) You understand that by using any of the Services, you may encounter content that may be deemed
oﬀensive, indecent, or objectionable, which content may or may not be identified as having explicit
language, and that the results of any search or entering of a particular URL may automatically and
unintentionally generate links or references to objectionable material. Nevertheless, you agree to use the
Services at your sole risk and that Apple, its aﬃliates, agents, principals, or licensors shall have no
liability to you for content that may be found to be oﬀensive, indecent, or objectionable.

(f) Certain Services may display, include or make available content, data, information, applications or
materials from third parties (“Third Party Materials”) or provide links to certain third party web sites. By
using the Services, you acknowledge and agree that Apple is not responsible for examining or evaluating
the content, accuracy, completeness, timeliness, validity, copyright compliance, legality, decency, quality
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 6 of 452



or any other aspect of such Third Party Materials or web sites. Apple, its oﬃcers, aﬃliates and
subsidiaries do not warrant or endorse and do not assume and will not have any liability or responsibility
to you or any other person for any third-party Services, Third Party Materials or web sites, or for any
other materials, products, or services of third parties. Third Party Materials and links to other web sites
are provided solely as a convenience to you.

(g) Neither Apple nor any of its content providers guarantees the availability, accuracy, completeness,
reliability, or timeliness of stock information, location data or any other data displayed by any Services.
Financial information displayed by any Services is for general informational purposes only and should
not be relied upon as investment advice. Before executing any securities transaction based upon
information obtained through the Services, you should consult with a financial or securities professional
who is legally qualified to give financial or securities advice in your country or region. Location data
provided by any Services, including the Apple Maps service, is provided for basic navigational and
planning purposes only and is not intended to be relied upon in situations where precise location
information is needed or where erroneous, inaccurate, time-delayed or incomplete location data may
lead to death, personal injury, property or environmental damage. You agree that, the results you receive
from the Maps service may vary from actual road or terrain conditions due to factors that can aﬀect the
accuracy of the Maps data, such as, but not limited to, weather, road and traﬃc conditions, and
geopolitical events. For your safety when using the navigation feature, always pay attention to posted
road signs and current road conditions. Follow safe driving practices and traﬃc regulations, and note
that walking directions may not include sidewalks or pedestrian paths.

(h) To the extent that you upload any content through the use of the Services, you represent that you
own all rights in, or have authorization or are otherwise legally permitted to upload, such content and
that such content does not violate any terms of service applicable to the Services. You agree that the
Services contain proprietary content, information and material that is owned by Apple, the site owner or
their licensors, and is protected by applicable intellectual property and other laws, including but not
limited to copyright. You agree that you will not use such proprietary content, information or materials
other than for permitted use of the Services or in any manner that is inconsistent with the terms of this
License or that infringes any intellectual property rights of a third party or Apple. No portion of the
Services may be reproduced in any form or by any means. You agree not to modify, rent, lease, loan,
sell, distribute, or create derivative works based on the Services, in any manner, and you shall not exploit
the Services in any unauthorized way whatsoever, including but not limited to, using the Services to
transmit any computer viruses, worms, trojan horses or other malware, or by trespass or burdening
network capacity. You further agree not to use the Services in any manner to harass, abuse, stalk,
threaten, defame or otherwise infringe or violate the rights of any other party, and that Apple is not in any
way responsible for any such use by you, nor for any harassing, threatening, defamatory, oﬀensive,
infringing or illegal messages or transmissions that you may receive as a result of using any of the
Services.

(i) In addition, Services and Third Party Materials that may be accessed, linked to or displayed on the
iOS Device are not available in all languages or in all countries or regions. Apple makes no
representation that such Services and Third Party Materials are appropriate or available for use in any
particular location. To the extent you choose to use or access such Services and Third Party Materials,
you do so at your own initiative and are responsible for compliance with any applicable laws, including
but not limited to applicable local laws and privacy and data collection laws. Sharing or syncing photos
through your iOS Device may cause metadata, including where and when the photo was taken, and
depth information, to be transmitted with the photos. Use of Apple services (such as iCloud Photo
Library) to share or sync such photos will involve Apple receiving and storing such metadata. Apple and
its licensors reserve the right to change, suspend, remove, or disable access to any Services at any time
without notice. In no event will Apple be liable for the removal of or disabling of access to any such
Services. Apple may also impose limits on the use of or access to certain Services, in any case and
         Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 7 of 452



without notice or liability.

6. Termination. This License is eﬀective until terminated. Your rights under this License will terminate
automatically or otherwise cease to be eﬀective without notice from Apple if you fail to comply with any
term(s) of this License. Upon the termination of this License, you shall cease all use of the iOS Software.
Sections 4, 5, 6, 7, 8, 9, 12 and 13 of this License shall survive any such termination.

7. Disclaimer of Warranties.
7.1 If you are a customer who is a consumer (someone who uses the iOS Software outside of your
trade, business or profession), you may have legal rights in your country of residence which would
prohibit the following limitations from applying to you, and where prohibited they will not apply to you. To
find out more about rights, you should contact a local consumer advice organization.

7.2 YOU EXPRESSLY ACKNOWLEDGE AND AGREE THAT, TO THE EXTENT PERMITTED BY
APPLICABLE LAW, USE OF THE iOS SOFTWARE AND ANY SERVICES PERFORMED BY OR
ACCESSED THROUGH THE iOS SOFTWARE IS AT YOUR SOLE RISK AND THAT THE ENTIRE RISK AS
TO SATISFACTORY QUALITY, PERFORMANCE, ACCURACY AND EFFORT IS WITH YOU.

7.3 TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, THE iOS SOFTWARE AND
SERVICES ARE PROVIDED “AS IS” AND “AS AVAILABLE”, WITH ALL FAULTS AND WITHOUT
WARRANTY OF ANY KIND, AND APPLE AND APPLE’S LICENSORS (COLLECTIVELY REFERRED TO
AS “APPLE” FOR THE PURPOSES OF SECTIONS 7 AND 8) HEREBY DISCLAIM ALL WARRANTIES
AND CONDITIONS WITH RESPECT TO THE iOS SOFTWARE AND SERVICES, EITHER EXPRESS,
IMPLIED OR STATUTORY, INCLUDING, BUT NOT LIMITED TO, THE IMPLIED WARRANTIES AND/OR
CONDITIONS OF MERCHANTABILITY, SATISFACTORY QUALITY, FITNESS FOR A PARTICULAR
PURPOSE, ACCURACY, QUIET ENJOYMENT, AND NON-INFRINGEMENT OF THIRD PARTY RIGHTS.

7.4 APPLE DOES NOT WARRANT AGAINST INTERFERENCE WITH YOUR ENJOYMENT OF THE iOS
SOFTWARE AND SERVICES, THAT THE FUNCTIONS CONTAINED IN, OR SERVICES PERFORMED OR
PROVIDED BY, THE iOS SOFTWARE WILL MEET YOUR REQUIREMENTS, THAT THE OPERATION OF
THE iOS SOFTWARE AND SERVICES WILL BE UNINTERRUPTED OR ERROR-FREE, THAT ANY
SERVICE WILL CONTINUE TO BE MADE AVAILABLE, THAT DEFECTS IN THE iOS SOFTWARE OR
SERVICES WILL BE CORRECTED, OR THAT THE iOS SOFTWARE WILL BE COMPATIBLE OR WORK
WITH ANY THIRD PARTY SOFTWARE, APPLICATIONS OR THIRD PARTY SERVICES. INSTALLATION
OF THIS iOS SOFTWARE MAY AFFECT THE AVAILABILITY AND USABILITY OF THIRD PARTY
SOFTWARE, APPLICATIONS OR THIRD PARTY SERVICES, AS WELL AS APPLE PRODUCTS AND
SERVICES.

7.5 YOU FURTHER ACKNOWLEDGE THAT THE iOS SOFTWARE AND SERVICES ARE NOT
INTENDED OR SUITABLE FOR USE IN SITUATIONS OR ENVIRONMENTS WHERE THE FAILURE OR
TIME DELAYS OF, OR ERRORS OR INACCURACIES IN, THE CONTENT, DATA OR INFORMATION
PROVIDED BY THE iOS SOFTWARE OR SERVICES COULD LEAD TO DEATH, PERSONAL INJURY, OR
SEVERE PHYSICAL OR ENVIRONMENTAL DAMAGE, INCLUDING WITHOUT LIMITATION THE
OPERATION OF NUCLEAR FACILITIES, AIRCRAFT NAVIGATION OR COMMUNICATION SYSTEMS, AIR
TRAFFIC CONTROL, LIFE SUPPORT OR WEAPONS SYSTEMS.

7.6 NO ORAL OR WRITTEN INFORMATION OR ADVICE GIVEN BY APPLE OR AN APPLE
AUTHORIZED REPRESENTATIVE SHALL CREATE A WARRANTY. SHOULD THE iOS SOFTWARE OR
SERVICES PROVE DEFECTIVE, YOU ASSUME THE ENTIRE COST OF ALL NECESSARY SERVICING,
REPAIR OR CORRECTION. SOME JURISDICTIONS DO NOT ALLOW THE EXCLUSION OF IMPLIED
WARRANTIES OR LIMITATIONS ON APPLICABLE STATUTORY RIGHTS OF A CONSUMER, SO THE
ABOVE EXCLUSION AND LIMITATIONS MAY NOT APPLY TO YOU.
         Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 8 of 452




8. Limitation of Liability. TO THE EXTENT NOT PROHIBITED BY APPLICABLE LAW, IN NO EVENT
SHALL APPLE, ITS AFFILIATES, AGENTS OR PRINCIPALS BE LIABLE FOR PERSONAL INJURY, OR
ANY INCIDENTAL, SPECIAL, INDIRECT OR CONSEQUENTIAL DAMAGES WHATSOEVER, INCLUDING,
WITHOUT LIMITATION, DAMAGES FOR LOSS OF PROFITS, CORRUPTION OR LOSS OF DATA,
FAILURE TO TRANSMIT OR RECEIVE ANY DATA (INCLUDING WITHOUT LIMITATION COURSE
INSTRUCTIONS, ASSIGNMENTS AND MATERIALS), BUSINESS INTERRUPTION OR ANY OTHER
COMMERCIAL DAMAGES OR LOSSES, ARISING OUT OF OR RELATED TO YOUR USE OR INABILITY
TO USE THE iOS SOFTWARE AND SERVICES OR ANY THIRD PARTY SOFTWARE OR APPLICATIONS
IN CONJUNCTION WITH THE iOS SOFTWARE OR SERVICES, HOWEVER CAUSED, REGARDLESS OF
THE THEORY OF LIABILITY (CONTRACT, TORT OR OTHERWISE) AND EVEN IF APPLE HAS BEEN
ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. SOME JURISDICTIONS DO NOT ALLOW THE
EXCLUSION OR LIMITATION OF LIABILITY FOR PERSONAL INJURY, OR OF INCIDENTAL OR
CONSEQUENTIAL DAMAGES, SO THIS LIMITATION MAY NOT APPLY TO YOU. In no event shall
Apple’s total liability to you for all damages (other than as may be required by applicable law in cases
involving personal injury) exceed the amount of two hundred and fifty dollars (U.S.$250.00). The
foregoing limitations will apply even if the above stated remedy fails of its essential purpose.

9. Digital Certificates. The iOS Software contains functionality that allows it to accept digital certificates
either issued from Apple or from third parties. YOU ARE SOLELY RESPONSIBLE FOR DECIDING
WHETHER OR NOT TO RELY ON A CERTIFICATE WHETHER ISSUED BY APPLE OR A THIRD PARTY.
YOUR USE OF DIGITAL CERTIFICATES IS AT YOUR SOLE RISK. TO THE MAXIMUM EXTENT
PERMITTED BY APPLICABLE LAW, APPLE MAKES NO WARRANTIES OR REPRESENTATIONS,
EXPRESS OR IMPLIED, AS TO MERCHANTABILITY OR FITNESS FOR ANY PARTICULAR PURPOSE,
ACCURACY, SECURITY, OR NON-INFRINGEMENT OF THIRD PARTY RIGHTS WITH RESPECT TO
DIGITAL CERTIFICATES.

10. Export Control. You may not use or otherwise export or re-export the iOS Software except as
authorized by United States law and the laws of the jurisdiction(s) in which the iOS Software was
obtained. In particular, but without limitation, the iOS Software may not be exported or re-exported (a)
into any U.S. embargoed countries or (b) to anyone on the U.S. Treasury Department’s list of Specially
Designated Nationals or the U.S. Department of Commerce Denied Person’s List or Entity List or any
other restricted party lists. By using the iOS Software, you represent and warrant that you are not
located in any such country or on any such list. You also agree that you will not use the iOS Software for
any purposes prohibited by United States law, including, without limitation, the development, design,
manufacture or production of missiles, nuclear, chemical or biological weapons.

11. Government End Users. The iOS Software and related documentation are “Commercial Items”, as
that term is defined at 48 C.F.R. §2.101, consisting of “Commercial Computer Software” and
“Commercial Computer Software Documentation”, as such terms are used in 48 C.F.R. §12.212 or 48
C.F.R. §227.7202, as applicable. Consistent with 48 C.F.R. §12.212 or 48 C.F.R. §227.7202-1 through
227.7202-4, as applicable, the Commercial Computer Software and Commercial Computer Software
Documentation are being licensed to U.S. Government end users (a) only as Commercial Items and (b)
with only those rights as are granted to all other end users pursuant to the terms and conditions herein.
Unpublished-rights reserved under the copyright laws of the United States.

12. Controlling Law and Severability. This License will be governed by and construed in accordance
with the laws of the State of California, excluding its conflict of law principles. This License shall not be
governed by the United Nations Convention on Contracts for the International Sale of Goods, the
application of which is expressly excluded. If you are a consumer based in the United Kingdom, this
License will be governed by the laws of the jurisdiction of your residence. If for any reason a court of
competent jurisdiction finds any provision, or portion thereof, to be unenforceable, the remainder of this
         Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 9 of 452



License shall continue in full force and eﬀect.

13. Complete Agreement; Governing Language. This License constitutes the entire agreement
between you and Apple relating to the iOS Software and supersedes all prior or contemporaneous
understandings regarding such subject matter. No amendment to or modification of this License will be
binding unless in writing and signed by Apple. Any translation of this License is done for local
requirements and in the event of a dispute between the English and any non-English versions, the
English version of this License shall govern, to the extent not prohibited by local law in your jurisdiction.

14. Third Party Acknowledgements. Portions of the iOS Software may utilize or include third party
software and other copyrighted material. Acknowledgements, licensing terms and disclaimers for such
material are contained in the electronic documentation for the iOS Software, and your use of such
material is governed by their respective terms. Use of the Google Safe Browsing Service is subject to the
Google Terms of Service (https://www.google.com/intl/en/policies/terms/) and to Google’s Privacy Policy
(https://www.google.com/intl/en/policies/privacy/).

15. Use of MPEG-4; H.264/AVC Notice.
(a) The iOS Software is licensed under the MPEG-4 Systems Patent Portfolio License for encoding in
compliance with the MPEG-4 Systems Standard, except that an additional license and payment of
royalties are necessary for encoding in connection with (i) data stored or replicated in physical media
which is paid for on a title by title basis and/or (ii) data which is paid for on a title by title basis and is
transmitted to an end user for permanent storage and/or use. Such additional license may be obtained
from MPEG LA, LLC. See http://www.mpegla.com for additional details.

(b) The iOS Software contains MPEG-4 video encoding and/or decoding functionality. The iOS Software
is licensed under the MPEG-4 Visual Patent Portfolio License for the personal and non-commercial use
of a consumer for (i) encoding video in compliance with the MPEG-4 Visual Standard (“MPEG-4 Video”)
and/or (ii) decoding MPEG-4 video that was encoded by a consumer engaged in a personal and non-
commercial activity and/or was obtained from a video provider licensed by MPEG LA to provide MPEG-4
video. No license is granted or shall be implied for any other use. Additional information including that
relating to promotional, internal and commercial uses and licensing may be obtained from MPEG LA,
LLC. See http://www.mpegla.com.

(c) The iOS Software contains AVC encoding and/or decoding functionality, commercial use of H.264/
AVC requires additional licensing and the following provision applies: THE AVC FUNCTIONALITY IN THE
iOS SOFTWARE IS LICENSED HEREIN ONLY FOR THE PERSONAL AND NON-COMMERCIAL USE OF
A CONSUMER TO (i) ENCODE VIDEO IN COMPLIANCE WITH THE AVC STANDARD (“AVC VIDEO”)
AND/OR (ii) DECODE AVC VIDEO THAT WAS ENCODED BY A CONSUMER ENGAGED IN A PERSONAL
AND NON-COMMERCIAL ACTIVITY AND/OR AVC VIDEO THAT WAS OBTAINED FROM A VIDEO
PROVIDER LICENSED TO PROVIDE AVC VIDEO. INFORMATION REGARDING OTHER USES AND
LICENSES MAY BE OBTAINED FROM MPEG LA L.L.C. SEE http://www.mpegla.com.

16. Yahoo Search Service Restrictions. The Yahoo Search Service available through Safari is licensed
for use only in the following countries and regions: Argentina, Aruba, Australia, Austria, Barbados,
Belgium, Bermuda, Brazil, Bulgaria, Canada, Cayman Islands, Chile, China mainland, Hong Kong,
Taiwan, Colombia, Cyprus, Czech Republic, Denmark, Dominican Republic, Ecuador, El Salvador,
Finland, France, Germany, Greece, Grenada, Guatemala, Hungary, Iceland, India, Indonesia, Ireland,
Italy, Jamaica, Japan, Latvia, Lithuania, Luxembourg, Malaysia, Malta, Mexico, Netherlands, New
Zealand, Nicaragua, Norway, Panama, Peru, Philippines, Poland, Portugal, Puerto Rico, Romania,
Singapore, Slovakia, Slovenia, South Korea, Spain, St. Lucia, St. Vincent, Sweden, Switzerland,
Thailand, The Bahamas, Trinidad and Tobago, Turkey, UK, Uruguay, US and Venezuela.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 10 of 452



17. Microsoft Exchange Notice. The Microsoft Exchange mail setting in the iOS Software is licensed
only for over-the-air synchronization of information, such as email, contacts, calendar and tasks,
between your iOS and Microsoft Exchange Server or other server software licensed by Microsoft to
implement the Microsoft Exchange ActiveSync protocol.

EA1566
2/21/2019

———————————
Apple Pay Supplemental Terms and Conditions

These Apple Pay Supplemental Terms and Conditions (these “Supplemental Terms”) supplement the iOS
Software License Agreement (the “License”); both the terms of the License and these Supplemental
Terms govern your use of the Apple Pay feature, which shall be deemed a “Service” under the License.
Capitalized terms used in these Supplemental Terms have the meanings set forth in the License.

1.   Overview and Use Restrictions

Apple Pay allows you to:

        •   store virtual representations of credit, debit, and prepaid cards, including store credit, debit,
            prepaid cards, and the Apple Pay Cash card, which are supported by the Apple Pay feature
            (“Supported Payment Cards”) and use supported iOS Devices to make contactless
            payments in select locations, or within apps or websites;
        •   use rewards and gift cards that are saved in Wallet (“Apple Pay-Enabled Cards”, and
            together with Supported Payment Cards, “Supported Cards”) to make contactless rewards
            and gift-card transactions in select stores as part of a contactless payment using Apple Pay;
            and
        •   send person to person payments to other Apple Pay users.

The Apple Pay features of the iOS Software may only be available in select regions, with select card
issuers, financial institutions, and merchants. Features may vary by region, issuer, and merchant.

To use Apple Pay, you must have a Supported Card. Supported Cards may change from time to time.
Additionally, in order to send or receive person to person payments, you must have an Apple Pay Cash
card.

Supported Payment Cards and person to person payments are associated with the Apple ID you have
signed into iCloud to use these features. Supported Cards are only available to individuals aged 13 years
or older, and may be subject to additional age-based restrictions imposed by iCloud or the Supported
Card which you are trying to provision. The Apple Pay Cash card and the ability to send and receive
person to person payments are only available to individuals aged 18 years or older.

Apple Pay is intended for your personal use and you may only provision your own Supported Cards. If
you are provisioning a supported corporate card, you represent that you are doing so with the
authorization of your employer and you are authorized to bind your employer to these terms of use and
all transactions eﬀected by use of this feature. If you are sending or receiving a person to person
payment, you represent that you are doing so for your own personal, non-commercial use.

You agree not to use Apple Pay for illegal or fraudulent purposes, or any other purposes which are
prohibited by the License and these Supplemental Terms. You further agree to use Apple Pay in
accordance with applicable laws and regulations. You agree not to interfere with or disrupt the Apple Pay
service (including accessing the service through any automated means), or any servers or networks
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 11 of 452



connected to the service, or any policies, requirements, or regulations of networks connected to the
service (including any unauthorized access to, use, or monitoring of data or traﬃc thereon).

2.   Apple’s Relationship With You

Apple Pay enables you to create a virtual representation of your Supported Cards on your supported iOS
Device. However Apple does not process payments or other non-payment card transactions (such as
reward accrual and redemption), receive, hold, or transfer your funds, or have any other control over
payments, returns, refunds, rewards, value, discounts, or other commerce activity that may arise out of
your use of this feature.

The terms of cardholder agreements you may have in place with your card issuer will continue to govern
your use of your Supported Cards and their use in connection with Apple Pay. Similarly, your
participation in any merchant rewards or gift card programs and your use of Apple Pay-Enabled Cards in
connection with Apple Pay will be subject to such merchant’s terms and conditions.

The Apple Pay Cash card and the ability to send and receive person to person payments are only
available in the United States, and are services provided by Green Dot Bank, member FDIC. When you
enable these features within Apple Pay, you are opening an account with Green Dot Bank, and when you
send or receive a person to person payment or load or withdraw money from your Apple Pay Cash card,
Green Dot Bank will be responsible for receiving and sending your money to the intended recipient. The
financial institution responsible for oﬀering Apple Pay Cash and person to person payments within Apple
Pay is subject to change, and your use of such features are subject to their terms and conditions.

Nothing in the License or these Supplemental Terms modifies the terms of any cardholder, user, or
merchant agreement, and such terms will govern your use of the applicable Supported Card or the
person to person payment feature of Apple Pay and their virtual representation on your iOS Device. You
agree that Apple is not a party to your cardholder or merchant agreements, nor is Apple responsible for
the: (a) content, accuracy or unavailability of any payment cards, rewards cards, gift cards, commerce
activities, transactions, or purchases while using Apple Pay functionality; (b) issuance of credit or
assessing eligibility for credit; (c) accrual or redemption of rewards or stored value under a merchant’s
program; (d) funding or reloading of prepaid cards; (e) sending or receiving of person to person
payments; or (f) loading, redeeming, or withdrawing money from your Apple Pay Cash card.

For all disputes or questions about payment cards, rewards cards, gift cards, or associated commerce
activity, please contact your issuer or the applicable merchant. For questions regarding the Apple Pay
Cash card or person to person payments, please contact Apple Support.

3.   Privacy

Apple Pay requires some information from your iOS Device in order to oﬀer the full experience.
Additionally, when you use your Apple Pay Cash card or send or receive person to person payments,
additional information about your transactions is collected and retained to service your account and
fraud prevention and regulatory purposes. You can find more information on the data collected, used, or
shared as part of your use of Apple Pay, the Apple Pay Cash card, or person to person payments with
Apple Pay by reading About Apple Pay and Privacy (which can be accessed by going to Wallet & Apple
Pay on your iOS Device, or within the Watch app on a paired iOS Device) or by visiting https://
www.apple.com/privacy. By using these features, you agree and consent to Apple’s and its subsidiaries’
and agents’ transmission, collection, maintenance, processing, and use of all of the foregoing
information, to provide Apple Pay functionality.

4.   Security; Lost or Disabled Devices
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 12 of 452




Apple Pay stores virtual representations of your Supported Cards and should be protected as you would
protect cash or your physical credit, debit, prepaid, rewards, or gift cards. Providing your device
passcode to a third party or allowing a third party to add their fingerprint to use Touch ID or enable Face
ID may result in their ability to make payments, send, request, or receive person to person payments,
withdraw money from your Apple Pay Cash card, or receive or redeem rewards or credit using Apple Pay
on your device. You are solely responsible for maintaining the security of your device and of your
passcode. You agree that Apple does not have any responsibility if you lose or share access to your
device. You agree that Apple does not have any responsibility if you make unauthorized modifications to
iOS (such as by way of a “jailbreak”).

You may need to enable additional security measures, such as two-factor authentication for your Apple
ID, in order to access particular features of Apple Pay, including the Apple Pay Cash card and person to
person payments with Apple Pay. If you subsequently remove those security features, you may not be
able to continue to access particular features of Apple Pay.

If your device is lost or stolen and you have Find My iPhone enabled, you can use Find My iPhone to
attempt to suspend the ability to pay with the virtual Supported Payment Cards or sending person to
person payments on that device by putting it into Lost Mode. You can also erase your device, which will
attempt to suspend the ability to pay with the virtual Supported Payment Cards or send person to
person payments on the device and will also attempt to remove the Apple Pay-Enabled Cards. You
should also contact the issuer of your Supported Payment Cards, the merchant who issued your Apple
Pay-Enabled Cards, and Apple in the case of your Apple Pay Cash card in order to prevent unauthorized
access to your Supported Cards.

If you report or Apple suspects fraudulent or abusive activity, you agree to cooperate with Apple in any
investigation and to use any fraud prevention measures we prescribe.

5.   Limitation of Liability

IN ADDITION TO THE DISCLAIMERS OF WARRANTIES AND LIMITATION OF LIABILITY SET FORTH IN
THE LICENSE, APPLE DOES NOT ASSUME ANY LIABILITY FOR PURCHASES, PAYMENTS,
TRANSACTIONS, OR OTHER COMMERCE ACTIVITY MADE USING THE APPLE PAY FEATURE, AND
YOU AGREE TO LOOK SOLELY TO AGREEMENTS YOU MAY HAVE WITH YOUR CARD ISSUER,
PAYMENT NETWORK, FINANCIAL INSTITUTIONS, OR MERCHANT TO RESOLVE ANY QUESTIONS OR
DISPUTES RELATING TO YOUR SUPPORTED CARDS, PERSON TO PERSON PAYMENTS, AND
ASSOCIATED COMMERCE ACTIVITY.

————————————
NOTICES FROM APPLE
If Apple needs to contact you about your product or account, you consent to receive the notices by
email. You agree that any such notices that we send you electronically will satisfy any legal
communication requirements.
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 13 of 452



FRANÇAIS

IMPORTANT : L’UTILISATION DE VOTRE iPHONE, iPAD OU IPOD TOUCH (« APPAREIL iOS »)
IMPLIQUE QUE VOUS ACCEPTEZ D’ÊTRE LIÉ PAR LES CONDITIONS SUIVANTES :

A.   CONTRAT DE LICENCE DE LOGICIEL DE L’APPLE iOS
B.   CONDITIONS SUPPLÉMENTAIRES POUR APPLE PAY
C.   NOTIFICATIONS DE LA PART D’APPLE

APPLE INC.
CONTRAT DE LICENCE DE LOGICIEL DE L’iOS
Licence individuelle

LISEZ ATTENTIVEMENT CE CONTRAT DE LICENCE DE LOGICIEL (« LICENCE ») AVANT
D’UTILISER VOTRE APPAREIL iOS OU DE TÉLÉCHARGER LA MISE À JOUR DU LOGICIEL
FOURNIE AVEC LA PRÉSENTE LICENCE. L’UTILISATION DE VOTRE APPAREIL iOS OU LE
TÉLÉCHARGEMENT D’UNE MISE À JOUR, LE CAS ÉCHÉANT, IMPLIQUE QUE VOUS ACCEPTEZ
LES CONDITIONS DE LA PRÉSENTE LICENCE. SI VOUS ÊTES EN DÉSACCORD AVEC LES
CONDITIONS DE CETTE LICENCE, N’UTILISEZ PAS L’APPAREIL iOS ET NE TÉLÉCHARGEZ PAS
LA MISE À JOUR.

SI VOUS AVEZ RÉCEMMENT ACHETÉ UN APPAREIL iOS ET QUE VOUS N’ÊTES PAS D’ACCORD
AVEC LES CONDITIONS DE LA LICENCE, VOUS POUVEZ RENVOYER L’APPAREIL iOS, DANS LES
DÉLAIS DE RETOUR PRÉVUS, AU MAGASIN OU AU DISTRIBUTEUR AGRÉÉ APPLE AUPRÈS
DUQUEL VOUS L’AVEZ ACHETÉ, AFIN D’EN OBTENIR LE REMBOURSEMENT SOUS RÉSERVE
DES RÈGLES APPLE CONCERNANT LE RETOUR DES PRODUITS, DISPONIBLES À L’ADRESSE
https://www.apple.com/legal/sales-support.

1. Généralités.
(a) Apple Inc. (« Apple ») vous concède une licence, et en aucun cas ne vous cède des droits, sur le
logiciel (y compris le code ROM de démarrage, le logiciel intégré et tout logiciel de tierce partie), la
documentation, les interfaces, le contenu, les polices de caractères et toutes les données
accompagnant votre appareil iOS (« Logiciel original de l’iOS »), pouvant être mis à jour ou remplacés
par des mises à jour de logiciels ou des logiciels de restauration du système fournis par Apple (« Mises à
jour du Logiciel de l’iOS »), qu’ils soient sur mémoire morte (ROM), sur tout autre support ou sous toute
autre forme (le Logiciel original de l’iOS et les Mises à jour du Logiciel de l’iOS sont référencés dans leur
ensemble sous le terme de « Logiciel de l’iOS »), uniquement en vue d’une utilisation conforme aux
conditions de la Licence. Apple et ses concédants de licence conservent la propriété du Logiciel de
l’iOS et se réservent tous les droits ne vous étant pas expressément accordés. Vous acceptez que les
conditions de la présente licence s’appliquent à toute app de marque Apple intégrée à votre appareil
iOS, sauf si une app est accompagnée d’une licence séparée, auquel cas vous acceptez que cette
dernière régisse votre utilisation de l’app en question

(b) Apple pourrait rendre disponible des mises à jour futures du logiciel de l’iOS. Le cas échéant, ces
mises à jour peuvent ne pas inclure nécessairement l’ensemble des fonctions du logiciel existantes ou
de nouvelles fonctions publiées par Apple dans le cas des modèles de l’iOS plus récents. Les
conditions de la présente licence régissent les mises à jour du logiciel de l’iOS fournies par Apple, sauf
si ces mises à jour sont accompagnées d’une licence distincte ; auquel cas vous acceptez que les
conditions de cette licence s’appliquent.

(c) Si vous faites appel à la fonctionnalité de configuration express pour configurer un nouvel Appareil
iOS à l’aide de votre Appareil iOS existant, vous acceptez que les conditions stipulées dans la présente
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 14 of 452



Licence régissent votre utilisation du Logiciel de l’iOS sur votre nouvel Appareil iOS, à moins qu’il ne soit
accompagné d’un contrat de licence séparé, auquel cas vous acceptez que les conditions de ce dernier
fassent foi quant à votre usage dudit Logiciel de l’iOS. Votre appareil iOS recherchera périodiquement
des Mises à jour du Logiciel de l’iOS auprès d’Apple. Toute mise à jour disponible pourra être
automatiquement téléchargée et installée sur votre appareil iOS et, le cas échéant, sur vos
périphériques. En utilisant le Logiciel Apple, vous autorisez Apple à télécharger et à installer
automatiquement des Mises à jour du Logiciel de l’iOS sur votre appareil iOS et vos
périphériques. Vous pouvez à tout moment désactiver totalement les mises à jour automatiques en
modifiant les réglages de mise à jour automatique disponibles dans Réglages > Général > Mise à jour
logicielle.

2. Utilisations permises de la licence et restrictions.
(a) Sujet aux conditions générales de cette Licence, une licence de non-exclusivité limitée vous est
accordée pour utiliser le Logiciel de l’iOS sur un seul appareil iOS de marque Apple. À l’exception de ce
qui est permis dans la section 2(b) ci-dessous, et à moins que cela ne soit prévu dans le cadre d’un
contrat distinct passé entre Apple et vous-même, cette Licence n’autorise ni le fonctionnement du
Logiciel de l’iOS sur plus d’un appareil iOS de marque Apple à la fois, ni la distribution ou la mise à
disposition du Logiciel de l’iOS sur un réseau où le Logiciel pourrait être utilisé par plusieurs appareils.
Cette licence ne vous accorde aucun droit d’utilisation des interfaces propriétaires Apple ou d’autres
propriétés intellectuelles touchant à la conception, le développement, la fabrication, la concession de
licence ou la distribution d’appareils et d’accessoires, ou à des applications logicielles de tierce partie,
utilisables avec un appareil iOS. Certains de ces droits sont disponibles sous des licences distinctes de
celles d’Apple. Pour obtenir plus de renseignements sur le développement, d’appareils et d’accessoires
de tierce partie adaptés à un appareil iOS, consultez la page web https://developer.apple.com/
programs/mfi/. Pour en savoir plus sur le développement d’applications logicielles adaptées à un
appareil iOS, consultez la page web https://developer.apple.com.

(b) Sujet aux conditions générales de cette Licence, une licence de non-exclusivité limitée vous est
accordée pour télécharger les Mises à jour du Logiciel de l’iOS qu’Apple peut mettre à disposition pour
le modèle de votre appareil iOS afin de mettre à jour ou de restaurer le logiciel de n’importe quel appareil
iOS en votre possession ou sous votre contrôle. La présente licence n’autorise pas la mise à jour ou la
restauration d’iOS n’étant pas sous votre contrôle ou que vous ne possédez pas, et vous interdit la
distribution et la mise à disposition des Mises à jour du Logiciel des iOS sur un réseau où elles
pourraient être utilisées par plusieurs appareils ou ordinateurs. Si vous téléchargez une mise à jour du
logiciel d’un iOS sur votre ordinateur, vous ne pouvez réaliser qu’une seule copie des Mises à jour du
Logiciel de l’iOS, stockées sur votre ordinateur, sous une forme compréhensible par des machines et
aux fins exclusives de sauvegarde, à condition que cette copie de sauvegarde reproduise
impérativement les renseignements relatifs aux droits d’auteur ou autres droits de propriété figurant sur
l’original.

(c) Dans la mesure où Apple a préinstallé des apps de marque Apple de l’App Store sur l’appareil iOS
que vous achetez (« Apps préinstallées »), vous devez vous connecter à l’App Store et associer lesdites
apps avec votre compte afin de les utiliser sur votre appareil iOS. Lorsque vous associez une app
préinstallée à votre compte de l’App Store, toutes les autres apps préinstallées de votre appareil iOS
sont automatiquement associées ce compte. En choisissant d’associer les apps préinstallées à votre
compte de l’App Store, vous acceptez qu’Apple puisse transmettre, rassembler, conserver, traiter et
utiliser l’identifiant Apple correspondant à votre compte de l’App Store et un identifiant matériel unique
transmis par votre appareil iOS comme identifiants uniques de votre compte afin de vérifier l’éligibilité de
votre requête et de fournir l’accès aux apps préinstallées via l’App Store. Vous pouvez à tout moment
supprimer de votre appareil iOS les apps préinstallées que vous ne souhaitez pas utiliser.

(d) Vous ne pouvez pas et vous acceptez de ne pas, que ce soit pour votre compte ou le compte
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 15 of 452



d’autrui, copier (sauf et exclusivement dans les limites permises par la présente Licence), décompiler,
procéder à l’ingénierie inverse, désassembler, tenter de dériver le code source du, déchiﬀrer, modifier ou
créer des produits dérivés du, Logiciel de l’iOS ou tout autre service proposé par le Logiciel de l’iOS, ou
de toute partie de ceux-ci (dans toute la mesure permise par les restrictions précédemment
mentionnées applicables par disposition légale ou par les conditions générales régissant l’utilisation de
composants open source pouvant être inclus dans le Logiciel de l’iOS).

(e) Le Logiciel de l’iOS peut être utilisé pour la reproduction de contenu pour autant que cette utilisation
se limite à la reproduction de contenu non protégé par des droits d’auteur, dont vous avez la propriété,
pouvant être reproduit ou pour la reproduction duquel vous disposez d’une autorisation légale. Le titre et
les droits de propriété intellectuelle associés aux contenus conservés sur ou accessibles via
l’appareil iOS sont la propriété de leur détenteur. Ces contenus peuvent être protégés par des droits
d’auteur ou d’autres lois et traités sur la propriété intellectuelle et peuvent être soumis à des conditions
d’utilisation énoncées par la tierce partie fournissant lesdits contenus. Sauf mention contraire dans la
présente Licence, celle-ci ne vous concède aucun droit d’utilisation de tels contenus et ne garantit pas
la disponibilité permanente de ceux-ci.

(f) Sous réserve des conditions de la présente Licence, vous êtes autorisé à utiliser les caractères
Animoji et Memoji inclus dans le Logiciel de l’iOS ou créés avec ce dernier (ci-après, les « Caractères
système ») (i) lors de l’exécution du Logiciel de l’iOS et (ii) pour créer vos propres projets et contenus
originaux à des fins personnelles et non commerciales. Aucun autre usage des Caractères système n’est
autorisé par la présente Licence, y compris, sans aucune limitation, l’utilisation, la reproduction,
l’aﬃchage, la représentation, l’enregistrement, la publication ou la redistribution d’un Caractère système
quel qu’il soit dans un contexte lucratif, non lucratif, commercial ou de partage public.

(g) Vous acceptez d’utiliser le Logiciel de l’iOS et les Services (tel que défini dans la section 5 ci-
dessous) dans le respect de la réglementation applicable, y compris de toutes les lois locales du pays
ou de la région dans laquelle vous résidez ou dans laquelle vous téléchargez ou utilisez le Logiciel de
l’iOS et les Services. Il se peut que les fonctionnalités du Logiciel de l’iOS et des Services ne soient pas
disponibles dans toutes les langues ou toutes les régions. Certaines fonctionnalités peuvent varier selon
les régions, limitées ou indisponibles en fonction de votre fournisseur de services. Une connexion Wi-Fi
ou de données cellulaires est requise pour certaines fonctionnalités du Logiciel de l’iOS et certains
Services.

(h) L’utilisation de l’App Store requiert une combinaison unique d’un nom d’utilisateur et d’un mot de
passe, appelée identifiant Apple. Un identifiant Apple est également nécessaire pour avoir accès aux
mises à jour de l’app et à certaines fonctionnalités du Logiciel de l’iOS et des Services.

(i) Vous reconnaissez que de nombreuses fonctionnalités, apps intégrées et de nombreux Services du
Logiciel de l’iOS transmettent des données et peuvent entraîner des frais sur votre plan de données,
frais dont vous êtes responsable. Vous pouvez voir et contrôler quelles applications sont autorisées à
utiliser des données cellulaires et aﬃcher une estimation de la quantité de données que ces applications
ont consommées dans les Réglages Données cellulaires. De plus, l’option Assistance Wi-Fi peut activer
automatiquement les données cellulaires en cas de mauvaise connexion Wi-Fi, ce qui risque
d’augmenter votre consommation de données et d’avoir une incidence sur votre facture mensuelle.
L’option Assistance Wi-Fi est activée par défaut, mais il est possible de la désactiver dans les Réglages.
Pour plus d’informations, veuillez consulter le Guide d’utilisateur de votre appareil iOS.

(j) Si vous choisissez d’autoriser les mises à jour automatiques des apps, votre appareil iOS vérifiera
régulièrement auprès d’Apple si des mises à jour des apps installées sur votre appareil sont disponibles
pour, le cas échéant, les télécharger et les installer automatiquement. Vous pouvez désactiver les mises
à jour automatiques des apps à tout moment en allant dans Réglages, iTunes et App Store,
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 16 of 452



Téléchargements automatiques et en désactivant Mises à jour.

(k) Dans certaines circonstances, l’utilisation de votre appareil iOS peut être une source de distraction et
provoquer des situations dangereuses (par exemple, évitez d’écrire des messages lorsque vous êtes au
volant d’une voiture ou d’utiliser un casque lorsque vous êtes à vélo). En utilisant l’appareil iOS, vous
endossez la responsabilité d’observer les règles interdisant ou limitant l’utilisation de téléphones mobiles
ou de casques (par exemple l’obligation d’utiliser un dispositif mains libres pour passer des appels en
conduisant).

3. Transfert. Vous ne pouvez ni louer, ni louer en crédit-bail, ni prêter, ni vendre, ni redistribuer, ni
concéder de sous-licences du Logiciel de l’iOS. Vous pouvez toutefois eﬀectuer le transfert unique et
permanent de tous vos droits sur le Logiciel de l’iOS à une autre partie dans le cadre du transfert de
propriété de votre appareil iOS, à condition : (a) que ce transfert comprenne votre appareil iOS et la
totalité du Logiciel de l’iOS, y compris l’intégralité de ses composants, ainsi que cette Licence ; (b) que
vous ne conserviez aucune copie du Logiciel de l’iOS, complète ou partielle, y compris toute copie
stockée sur ordinateur ou toute autre unité de stockage ; et (c) que la partie bénéficiaire recevant le
Logiciel de l’iOS prenne connaissance et accepte les conditions générales de la présente Licence.

4. Accord relatif à l’utilisation des données. Lorsque vous utilisez votre appareil, votre numéro de
téléphone et certains identifiants uniques pour votre appareil iOS sont transmis à Apple afin de
permettre à d’autres personnes de vous atteindre à l’aide de votre numéro de téléphone en utilisant
diﬀérentes fonctionnalités de communication du Logiciel iOS, telles que iMessage et FaceTime. Lorsque
vous utilisez iMessage, Apple peut conserver vos messages, sous une forme chiﬀrée, pour une période
de temps limitée dans le but d’assurer ses livraisons. Vous avez la possibilité de désactiver FaceTime et
iMessage depuis les réglages FaceTime ou iMessage de votre appareil iOS. Certaines fonctionnalités,
comme Analyse, Service de localisation, Siri et Dictée, peuvent nécessiter des informations concernant
votre appareil iOS pour améliorer leurs fonctions respectives. Lorsque vous activez ou utilisez lesdites
fonctionnalités, des détails sont fournis concernant les informations envoyées à Apple et le mode
d’usage de ces informations. Vous pouvez en savoir plus en consultant la page web https://
www.apple.com/fr/privacy/. En tout temps, les informations vous concernant sont traitées
conformément à l’Engagement de confidentialité d’Apple, disponible à l’adresse https://www.apple.com/
legal/privacy/.

5. Services et Éléments de tierce partie.
(a) Le Logiciel de l’iOS peut activer l’accès à l’iTunes Store d’Apple, à l’App Store, à Apple Books, au
Game Center, à iCloud, à Plans et à d’autres services et sites web proposés par Apple et par des tiers
(lesquels services et sites sont dénommés sous l’appellation collective ou individuelle de « Services »). Il
se peut que ces Services ne soient pas disponibles dans toutes les langues, ni dans tous les pays.
L’utilisation de ces Services requiert un accès à Internet et certains Services nécessitent un identifiant
Apple, l’acceptation de conditions de service complémentaires et peuvent être soumis à des frais
supplémentaires. Par l’utilisation de ce logiciel en lien avec un identifiant Apple ou avec d’autres services
Apple, vous acceptez les conditions de service applicables pour ce service telles que les toutes
dernières conditions générales des Services Apple Media applicables au pays depuis lequel vous
accédez à l’un de ces Services, disponibles à l’adresse https://www.apple.com/legal/internet-services/
itunes/.

(b) Si vous vous inscrivez à iCloud, vous pouvez accéder directement à certaines fonctionnalités
d’iCloud telles que « Photos iCloud », « Mon flux de photos », « Albums partagés », « Backup » et
« Localiser mon iPhone » à partir du Logiciel de l’iOS. Vous reconnaissez et acceptez que l’utilisation
d’iCloud et de ces fonctionnalités sont soumises aux toutes dernières conditions de service d’iCloud,
disponibles à l’adresse : https://www.apple.com/legal/internet-services/icloud/.
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 17 of 452



(c) Contenu de l’application Actualités. Le contenu accédé à travers l’application Actualités se limite
uniquement à un usage personnel non commercial qui ne vous transfère aucune participation vis-à-vis
du contenu et exclut particulièrement, sans limitation, tout usage de droit publicitaire ou promotionnel
dans ledit contenu. En outre, il vous est interdit de republier, de retransmettre et de reproduire des
images accédées à travers Actualités sous forme de fichier autonome.

(d) Plans. Le service et les fonctionnalités de cartographie du Logiciel de l’iOS (« Plans »), y compris le
réseau de données liée à ceux-ci, peuvent varier selon les régions. Lorsque vous utilisez des
fonctionnalités de Plans reposant sur la géolocalisation, telles que la navigation, les recherches relatives
au trafic et aux établissements, diﬀérentes informations relatives à votre localisation et à votre utilisation
du service peuvent être transmises à Apple, y compris la localisation géographique en temps réel de
votre appareil iOS, afin de répondre à votre requête et de participer à l’amélioration de Plans. Lesdites
données de localisation et d’utilisation sont collectées par Apple sous une forme ne permettant pas de
vous identifier. En utilisant Plans, vous reconnaissez et acceptez qu’Apple, ses filiales et ses
agents transmettent, collectent, conservent, traitent et utilisent ces informations afin de fournir et
d’améliorer les fonctionnalités et le service de Plans et d’autres produits et services Apple. Apple
est en outre susceptible de fournir lesdites informations, sous forme agrégée ou sous forme non
personnellement identifiable, à ses partenaires et titulaires de licence pour contribuer à améliorer leurs
produits et services géodépendants et de cartographie. Vous pouvez désactiver les fonctionnalités de
Plans reposant sur la localisation en modifiant le réglage en question sur votre appareil iOS et en
désactivant le réglage de localisation dans Plans. Certaines fonctionnalités de Plans, telles que la
navigation, ne sont pas disponibles si les services de localisation sont désactivés.

(e) Vous acceptez qu’en utilisant ces Services vous pouvez rencontrer du contenu à caractère considéré
injurieux, indécent ou choquant, n’étant pas nécessairement identifié comme tel et que les résultats de
toute recherche ou toute saisie d’adresse URL peuvent automatiquement et involontairement créer des
liens ou des références vers du contenu choquant. Vous acceptez toutefois d’utiliser les Services à vos
propres risques et dégagez Apple, ses aﬃliés et ses concédants de licence de toute responsabilité
envers vous quant au contenu pouvant être considéré injurieux, indécent ou choquant.

(f) Certains Services peuvent aﬃcher, contenir ou mettre à disposition du contenu, des données, des
informations, des applications ou des documents de tierce partie, (« Éléments de tierce partie ») ou
fournir des liens vers des sites web de tierce partie. Par l’utilisation des Services, vous reconnaissez et
acceptez qu’Apple ne peut être responsable quant à l’examen ou l’évaluation du contenu, de son
exactitude, de son intégrité, de son actualité, de sa validité, du respect des droits d’auteur, de sa
légalité, de sa décence, de sa qualité ou de tout autre aspect de ces éléments ou sites web de tierce
partie. Apple, ses dirigeants, ses aﬃliés et ses filiales ne peuvent ni garantir, ni assumer la responsabilité
ou l’engagement, envers vous ou toute autre personne, pour tout Service, Élément ou site web de tierce
partie, ou tout autre élément, produit ou service externe à ces tiers. Les Éléments de tierce partie et les
liens vers d’autres sites web ne vous sont fournis qu’à des fins de commodité.

(g) Ni Apple, ni ses fournisseurs de contenu ne garantissent la disponibilité, l’exactitude, l’intégrité, la
fiabilité ou le degré d’actualité des informations boursières, des données de localisation ou de toute
autre donnée aﬃchée par les Services. Les renseignements financiers aﬃchés par les Services sont
donnés à titre informatif seulement et ne devraient pas être conçus pour avoir valeur de conseils en
placement. Avant de réaliser toute opération boursière basée sur les renseignements obtenus par le
biais des Services, il vous est recommandé de consulter un spécialiste financier ou boursier qualifié
juridiquement pour donner des conseils financiers ou boursiers dans votre pays ou région. Les données
de localisation sont fournies par les Services, y compris par le service Plans d’Apple, à des fins de
navigation et de planification uniquement et ne sauraient être utilisées dans des situations dans
lesquelles des données d’emplacement précises sont requises ni dans lesquelles des données
d’emplacement erronées, imprécises, diﬀérées dans le temps ou incomplètes risqueraient d’entraîner la
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 18 of 452



mort, des blessures ou des dégâts matériels ou écologiques. Vous acceptez que les résultats oﬀerts par
le service Plans peuvent ne pas correspondre aux routes ou aux conditions du terrain actuelles à cause
de facteurs pouvant aﬀecter l’exactitude des données de Plans, notamment, mais sans s’y limiter, le
temps, les conditions routières et de trafic et les événements géopolitiques. Pour votre sécurité, lors de
l’utilisation de la navigation, soyez toujours attentif à la signalisation routière et aux conditions de la
route. Suivez les pratiques garantissant une conduite sûre ainsi que le code de la route et gardez en tête
que les itinéraires à pied peuvent ne pas tenir compte des trottoirs et des voies piétonnes.

(h) Dans la mesure où vous téléchargez du contenu via l’utilisation des Services, vous déclarez posséder
les droits sur ledit contenu ou l’autorisation ou la permission juridique de télécharger ledit contenu et que
celui-ci n’enfreint aucune condition générale régissant les Services. Vous reconnaissez que les Services
reprennent du contenu, des informations et des éléments protégés appartenant à Apple, au propriétaire
du site ou leurs concédants, et protégés par les lois relatives à la propriété intellectuelle et lois connexes,
notamment, mais sans s’y limiter, les droits d’auteur. Vous acceptez d’utiliser ce contenu, ces
informations ou ces éléments propriétaire que dans le cadre de l’utilisation autorisée des Services et non
dans le cadre de pratiques allant à l’encontre des conditions générales de cette Licence ou enfreignant
tout droit de propriété intellectuelle d’une tierce partie ou d’Apple. Aucune partie des Services ne peut
être reproduite sous quelque forme ou par quelque moyen que ce soit. Vous vous engagez à ne pas
modifier, louer, louer à bail, prêter, vendre, distribuer ou créer de produit dérivé des Services, de quelque
façon que ce soit, et à ne pas exploiter les Services de façon non autorisée, notamment, mais sans s’y
limiter, en utilisant les Services pour transmettre n’importe quel virus, ver, cheval de Troie ou tout autre
logiciel malveillant ou en entraînant une surcharge des capacités réseau. Vous acceptez également de
ne pas utiliser les Services de quelque façon que ce soit pour harceler, insulter, abuser, traquer, menacer,
diﬀamer ou encore enfreindre ou violer les droits de toute autre partie, et qu’Apple n’est en aucun cas
responsable de tels agissements de votre part, ni de toute transmission ou message de harcèlement, de
menace, d’action diﬀamatoire, oﬀensant, non-respectueux ou illégal dont vous pouvez faire l’objet suite
à l’usage de n’importe lequel desdits Services.

(i) De plus, les Services et les Éléments de tierce partie, accessibles depuis, aﬃchés sur ou faisant l’objet
de liens accessibles depuis l’appareil iOS, ne sont pas proposés dans toutes les langues ou dans tous
les pays ou zones géographiques. Apple n’apporte aucune garantie que lesdits Services et Éléments de
tierce partie sont adéquats à, et disponibles dans, n’importe quelle localisation géographique. Dans la
mesure où vous choisissez d’utiliser ou d’accéder à ces Services et Éléments de tierce partie, vous
agissez de votre propre chef et êtes de fait responsable du respect de la réglementation applicable,
notamment, mais sans s’y limiter, des dispositions légales applicables localement ainsi que des
réglementations relatives à la collecte de données et à la confidentialité. Le partage ou la
synchronisation de photos via votre appareil iOS peut entraîner la transmission de métadonnées avec les
photos, y compris l’endroit et le moment où la photo est prise ainsi que des informations de profondeur.
L’utilisation des Services Apple (tels que Photothèque iCloud) pour partager ou synchroniser ces photos
supposent qu’Apple reçoive et stocke lesdites métadonnées. Apple et ses concédants de licence se
réservent le droit de modifier, suspendre, supprimer ou désactiver l’accès aux Services à tout moment et
sans préavis. Apple n’est en aucun cas responsable de la suppression ou de la désactivation de l’accès
à ces Services. Apple peut également limiter l’utilisation ou l’accès à certains Services, de quelque façon
que ce soit et sans donner de préavis ni en assumer la responsabilité.

6. Résiliation. La présente Licence demeure valide jusqu’à résiliation. Vos droits découlant de la Licence
prendront automatiquement fin ou cesseront d’être eﬀectifs sans notification de la part d’Apple si vous
ne vous conformez pas à l’une des conditions de la présente Licence. Après résiliation de cette Licence,
vous devez cesser toute utilisation du Logiciel de l’iOS. Les sections 4, 5, 6, 7, 8, 9, 12 et 13 de cette
Licence restent applicables après la résiliation.

7. Exclusion de garanties.
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 19 of 452



7.1. Si vous êtes un client à titre privé (vous utilisez le Logiciel de l’iOS en dehors de votre entreprise,
commerce ou profession), il se peut que vous disposiez dans votre pays de résidence de droits en vertu
desquels les limitations ci-après ne s’appliqueraient pas, si tel est le cas, elles ne s’appliquent pas pour
vous. Pour en savoir plus sur vos droits, prenez contact avec un organisme local de conseil aux
consommateurs.

7.2. VOUS RECONNAISSEZ ET ACCEPTEZ EXPRESSÉMENT QUE, DANS LES LIMITES AUTORISÉES
PAR LA LÉGISLATION EN VIGUEUR, L’UTILISATION DU LOGICIEL DE L’iOS ET DES SERVICES
EXÉCUTÉS OU ACCESSIBLES VIA LE LOGICIEL DE L’iOS RESTE À VOS RISQUES ET PÉRILS ET QUE
VOUS ASSUMEZ L’INTÉGRALITÉ DU RISQUE, DE MANIÈRE RAISONNABLE, RELATIF À LA QUALITÉ,
AUX PERFORMANCES, À L’EXACTITUDE ET AU MANIEMENT DU LOGICIEL.

7.3 DANS LES LIMITES MAXIMALES AUTORISÉES PAR LA LÉGISLATION EN VIGUEUR, LE
LOGICIEL DE L’iOS AINSI QUE LES SERVICES SONT FOURNIS « TELS QUELS » ET « SELON
DISPONIBILITÉ » AVEC TOUS LEURS DÉFAUTS ET SANS GARANTIE D’AUCUNE SORTE. APPLE ET
SES CONCÉDANTS DE LICENCE (COLLECTIVEMENT DÉSIGNÉS PAR L’EXPRESSION « APPLE »
DANS LE CADRE DES ARTICLES 7 ET 8 DE LA PRÉSENTE LICENCE) EXCLUENT PAR LA PRÉSENTE
LICENCE TOUTE GARANTIE ET CONDITION RELATIVE AU LOGICIEL DE L’iOS ET AUX SERVICES,
EXPLICITE, TACITE OU LÉGALE, Y COMPRIS, MAIS DE FAÇON NON LIMITATIVE, LES GARANTIES
IMPLICITES ET/OU LES CONDITIONS DE QUALITÉ MARCHANDE, DE QUALITÉ SATISFAISANTE,
D’ADÉQUATION À UN USAGE PARTICULIER, D’EXACTITUDE, DE JOUISSANCE PAISIBLE ET DE NON-
VIOLATION DES DROITS DES TIERS.

7.4 APPLE NE GARANTIT NULLEMENT L’ABSENCE DE PROBLÈMES LORS DE L’UTILISATION DU
LOGICIEL DE L’iOS ET DES SERVICES, L’ADÉQUATION À VOS BESOINS DES FONCTIONS OU DES
SERVICES CONTENUS DANS OU FOURNIS PAR LEDIT LOGICIEL, LA NON-INTERRUPTION OU
L’ABSENCE D’ERREURS DANS LE FONCTIONNEMENT DUDIT LOGICIEL ET DESDITS SERVICES, LA
MISE À DISPOSITION CONTINUE DES SERVICES, LA CORRECTION DE TOUT DÉFAUT DU LOGICIEL
DE L’iOS OU DES SERVICES, LA COMPATIBILITÉ DU LOGICIEL DE L’iOS, OU SON BON
FONCTIONNEMENT AVEC UN LOGICIEL, UNE APPLICATION OU UN SERVICE DE TIERCE PARTIE.
L’INSTALLATION DE CE LOGICIEL DE L’iOS PEUT AFFECTER LA DISPONIBILITÉ ET L’UTILISATION DE
LOGICIELS, D’APPLICATIONS OU DE SERVICES DE TIERCE PARTIE ET D’AUTRES PRODUITS OU
SERVICES APPLE.

7.5 DE PLUS, VOUS RECONNAISSEZ QUE LE LOGICIEL ET LES SERVICES DE L’iOS NE SONT PAS
DESTINÉS OU ADAPTÉS À UN USAGE DANS DES SITUATIONS OU DANS DES ENVIRONNEMENTS
OÙ UNE DÉFAILLANCE, DES RETARDS, DES ERREURS OU DES INEXACTITUDES DANS LE
CONTENU DES DONNÉES OU DES INFORMATIONS FOURNIES, LE LOGICIEL OU LES SERVICES DE
L’iOS POURRAIT PROVOQUER LA MORT, DES BLESSURES OU DE GRAVES DOMMAGES
CORPORELS OU ÉCOLOGIQUES, NOTAMMENT, MAIS SANS S’Y LIMITER, LE FONCTIONNEMENT
D’INSTALLATIONS NUCLÉAIRES, DE SYSTÈMES DE NAVIGATION OU DE COMMUNICATION
AÉRIENNES, DE SYSTÈMES DE CONTRÔLE DU TRAFIC AÉRIEN, D’APPAREILS DE MAINTIEN
ARTIFICIEL EN VIE OU DE DISPOSITIFS D’ARMEMENT.

7.6 AUCUNE INFORMATION OU AUCUN CONSEIL COMMUNIQUÉS VERBALEMENT OU PAR ÉCRIT
PAR APPLE OU L’UN DE SES REPRÉSENTANTS AUTORISÉS NE POURRA CONSTITUER UNE
GARANTIE. SI LE LOGICIEL DE L’iOS OU LES SERVICES S’AVÉRAIENT DÉFECTUEUX, VOUS
ASSUMERIEZ SEUL L’INTÉGRALITÉ DU COÛT DE TOUT DÉPANNAGE, TOUTE RÉPARATION OU
RECTIFICATION NÉCESSAIRE. CERTAINES LÉGISLATIONS NE PERMETTANT NI L’EXCLUSION DE
GARANTIES IMPLICITES, NI LES RESTRICTIONS AUX DROITS DES CONSOMMATEURS EN VIGUEUR,
IL EST POSSIBLE QUE L’EXCLUSION ET LES LIMITES MENTIONNÉES CI-DESSUS NE VOUS
CONCERNENT PAS.
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 20 of 452




8. Limitation de responsabilité. DANS TOUTE LA MESURE PERMISE PAR LA LOI EN APPLICATION,
APPLE, SES AFFILIÉS OU SES AGENTS NE SERONT EN AUCUN CAS RESPONSABLES NI DE
BLESSURES, NI DE TOUT DOMMAGE ACCIDENTEL, SPÉCIAL, INDIRECT OU CONSÉCUTIF, Y
COMPRIS, MAIS DE FAÇON NON LIMITATIVE, LES DOMMAGES RÉSULTANTS DE MANQUES À
GAGNER, DE CORRUPTION OU DE PERTES DE DONNÉES, D’ÉCHEC DE TRANSMISSION OU DE
RÉCEPTION DE DONNÉES (Y COMPRIS, MAIS SANS S’Y LIMITER, LE MATÉRIEL, LES
INSTRUCTIONS ET LES TRAVAUX DE COURS), D’INTERRUPTION DES ACTIVITÉS OU TOUT AUTRE
DOMMAGE COMMERCIAL OU PERTE COMMERCIALE RÉSULTANT DE OU RELATIFS À VOTRE
UTILISATION OU VOTRE INAPTITUDE À UTILISER LE LOGICIEL DE L’iOS ET LES SERVICES OU TOUT
AUTRE LOGICIEL OU APPLICATION DE TIERCE PARTIE UTILISÉ AVEC LE LOGICIEL DE L’iOS OU LES
SERVICES, QUELLE QU’EN SOIT LA CAUSE, SANS TENIR COMPTE DE LA THÉORIE DE LA
RESPONSABILITÉ (QUE CE SOIT POUR RUPTURE DE CONTRAT, EN RESPONSABILITÉ CIVILE OU
AUTRE) ET CE, MÊME SI APPLE A ÉTÉ INFORMÉ DE LA POSSIBILITÉ DE TELS DOMMAGES.
CERTAINES JURIDICTIONS NE PERMETTANT PAS LA LIMITATION OU L’EXCLUSION DE LA
RESPONSABILITÉ POUR DOMMAGES CORPORELS, INDIRECTS OU ACCESSOIRES, IL EST
POSSIBLE QUE CETTE LIMITATION NE VOUS CONCERNE PAS. La responsabilité totale d’Apple envers
vous au titre de tout dommage (en dehors de ce que la législation pourrait exiger dans les cas impliquant
une blessure) n’excédera en aucun cas la somme de deux cent cinquante dollars (250 $). Les limitations
susdites s’appliqueront même si le recours indiqué ci-dessus fait défaut à sa vocation essentielle.

9. Certificats numériques. Le logiciel de l’iOS inclut des fonctionnalités permettant d’accepter des
certificats numériques émis soit par Apple, soit par des tiers. VOUS ÊTES PAR CONSÉQUENT
RESPONSABLE DÈS LORS QUE VOUS DÉCIDEZ DE FAIRE CONFIANCE À UN CERTIFICAT, QU’IL
PROVIENNE D’APPLE OU D’UN TIERS. L’UTILISATION DE CERTIFICATS NUMÉRIQUES RESTE À VOS
RISQUES ET PÉRILS. DANS TOUTE LA MESURE PERMISE PAR LA LOI EN APPLICATION, APPLE NE
DONNE AUCUNE GARANTIE OU REPRÉSENTATION, EXPRESSE OU IMPLICITE, QUANT À LA
QUALITÉ MARCHANDE OU L’ADÉQUATION À UN USAGE PARTICULIER, LA PRÉCISION, LA
SÉCURITÉ OU LA NON VIOLATION DES DROITS DE TIERS CONCERNANT LES CERTIFICATS
NUMÉRIQUES.

10. Contrôle des exportations. Vous ne pouvez utiliser, exporter ou réexporter le Logiciel de l’iOS que
conformément à la législation des États-Unis et à la législation du pays ou des pays dans lesquels vous
avez acquis le Logiciel de l’iOS. En particulier, mais sans limitation, le Logiciel de l’iOS ne peut être
exporté ou réexporté (a) vers tout pays soumis à embargo par les États-Unis ou (b) à toute personne
figurant sur la liste « Specially Designated Nationals » du Ministère des Finances des États-Unis, sur les
listes « Denied Persons » ou « Denied Entity » du Ministère du Commerce des États-Unis ou sur toute
autre liste de personnes non autorisées. En utilisant le Logiciel de l’iOS, vous déclarez et garantissez que
vous n’êtes pas situé dans un pays appartenant aux cas mentionnés ci-dessus ou inscrit sur une des
listes précitées. Vous acceptez également de ne pas utiliser le Logiciel de l’iOS à des fins interdites par
la législation des États-Unis, y compris, mais sans aucune limitation, le développement, la conception, la
fabrication ou la production d’éléments nucléaires, de missiles ou d’armes chimiques ou biologiques.

11. Utilisateurs du gouvernement des États-Unis. Le Logiciel de l’iOS et la documentation qui s’y
rapporte constituent des « Commercial Items » (éléments commerciaux), tel que ce terme est défini dans
la clause 48 C.F.R. (Code of Federal Rules) §2.101, consistant en « Commercial Computer
Software » (logiciel commercial) et « Commercial Computer Software Documentation » (documentation
de logiciel commercial), tels que ces termes sont utilisés dans les clauses 48 C.F.R. §12.212 ou 48 C.F.R.
§227.7202. Conformément à la clause 48 C.F.R. §12.212 ou 48 C.F.R. de §227.7202-1 à 227.7202-4, les
éléments « Commercial Computer Software » et « Commercial Computer Software Documentation »
sont fournis sous licence aux utilisateurs finaux rattachés au gouvernement des États-Unis (a)
uniquement comme « Commercial Items » et (b) uniquement accompagnés des droits octroyés à tous
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 21 of 452



les autres utilisateurs finaux conformément aux conditions générales ci-inclus. Les droits non publiés
sont réservés en vertu de la législation des droits d’auteur en vigueur aux États-Unis.

12. Loi applicable et divisibilité du contrat. Cette licence est régie et interprétée en conformité avec la
législation de l’État de Californie, mis à part les conflits en matière de principes légaux. Cette licence
n’est pas régie par la convention des Nations Unies sur les contrats de vente internationale de biens,
dont l’application est expressément exclue. Si vous êtes un client basé dans au Royaume-Uni, la
présente Licence est régie par la législation de votre juridiction. Si pour une raison quelconque un
tribunal ayant juridiction juge qu’une stipulation de la Licence est inapplicable, en totalité ou en partie,
les autres stipulations de la Licence restent entièrement applicables.

13. Intégralité de l’accord ; Langue prévalente. Cette Licence constitue l’intégralité de l’accord entre
vous et Apple concernant le Logiciel de l’iOS et remplace toutes les propositions ou tous les accords
antérieurs ou actuels à ce sujet. Aucun amendement ou aucune modification de cette Licence ne
prendra eﬀet à moins d’être stipulé par écrit et signé par Apple. Toute traduction de la présente licence
est eﬀectuée pour les besoins locaux. En cas de contradiction entre la version anglaise et toute autre
version, la version anglaise prévaut dans les limites non prohibées par les lois locales de votre juridiction.

14. Bénéficiaire de tierce partie. Certaines parties du Logiciel de l’iOS peuvent utiliser ou comporter
des logiciels de tierces parties et d’autres contenus protégés par des droits d’auteurs. Les
remerciements, les conditions des licences et les exclusions de garanties desdits éléments figurent dans
la documentation électronique du Logiciel de l’iOS, et l’utilisation de ces données est dictée par leurs
conditions respectives. L’utilisation du service de navigation sécurisée de Google est sujet aux
Conditions d’utilisation (https://www.google.com/intl/fr/policies/terms/) et aux Règles de confidentialité
de Google (https://www.google.com/intl/fr/policies/privacy/).

15. Utilisation de MPEG-4 ; H.264/Notice AVC.
(a) La licence du Logiciel de l’iOS est concédée d’après les termes de la licence du portefeuille de
brevets de MPEG-4 Systems pour l’encodage. Une licence additionnelle et le paiement d’une redevance
sont toutefois nécessaires pour l’encodage (i) de données stockées ou dupliquées sur un support
physique payé titre par titre et/ou (ii) de données payées titre par titre et transmises à un utilisateur final
pour un stockage et/ou une utilisation permanent(e)s. De telles licences additionnelles peuvent être
obtenues auprès de MPEG LA, LLC. Voir http://www.mpegla.com pour plus de détails.

(b) Le Logiciel de l’iOS prévoit des fonctionnalités d’encodage et/ou de décodage MPEG-4. La Licence
de ce produit vous est par conséquent concédée d’après les conditions de la licence du portefeuille de
brevets de MPEG-4 Visual dans le cadre d’une utilisation privée à but non commercial par un
consommateur pour (i) l’encodage de vidéo en conformité avec la norme MPEG-4 Visual (« Vidéo au
format MPEG-4 ») et/ou (ii) le décodage de vidéo MPEG-4 encodée par un consommateur engagé dans
une activité privée à but non commercial et/ou obtenue d’un fournisseur vidéo sous licence de MPEG LA
pour distribuer de la vidéo au format MPEG-4. Aucune licence ne saurait être accordée ou être
considérée comme implicite pour toute autre utilisation. Des informations complémentaires sur
l’utilisation à des fins promotionnelles, interne ou commerciale sont disponibles auprès de MPEG LA,
LLC. Voir http://www.mpegla.com.

(c) Dans la mesure où le Logiciel de l’iOS inclut la fonctionnalité de décodage et/ou d’encodage AVC,
l’usage commercial de H.264/AVC requiert une concession de licence complémentaire et la disposition
suivante s’applique : LA PRÉSENTE LICENCE POUR LA FONCTIONNALITÉ AVC DU LOGICIEL DE L’iOS
N’EST ACCORDÉE QUE DANS LE CADRE D’UN USAGE PERSONNEL ET NON COMMERCIAL D’UN
CONSOMMATEUR POUR (i) ENCODER DE LA VIDÉO SELON LA NORME AVC (« AVC VIDÉO ») ET/OU
(ii) DÉCODER DE LA VIDÉO AVC ENCODÉE PAR UN CONSOMMATEUR DANS LE CADRE D’UNE
ACTIVITÉ PERSONNELLE ET NON COMMERCIALE ET/OU DE LA VIDÉO AVC PROVENANT D’UN
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 22 of 452



FOURNISSEUR VIDÉO AUTORISÉ À PROPOSER DE LA VIDÉO AVC. LES INFORMATIONS RELATIVES
AUX AUTRES USAGES ET LICENCES SONT DISPONIBLES AUPRÈS DE MPEG LA L.L.C. VOIR http://
www.mpegla.com.

16. Restrictions du service Yahoo Search. Le service Yahoo Search disponible via Safari n’est octroyé
en licence d’utilisation que dans les pays et régions suivants : Allemagne, Argentine, Aruba, Australie,
Autriche, Bahamas, Barbade, Belgique, Bermudes, Brésil, Bulgarie, Canada, Chili, Chine continentale,
Hong Kong, Taïwan, Colombie, Corée du Sud, Chypre, Danemark, Espagne, Équateur, États-Unis,
Finlande, France, Grèce, Grenade, Guatemala, Hongrie, Îles Caïmans, Islande, Inde, Indonésie, Irlande,
Italie, Jamaïque, Japon, Lettonie, Lituanie, Luxembourg, Malaisie, Malte, Mexique, Nouvelle-Zélande,
Nicaragua, Norvège, Panama, Pays-Bas, Pérou, Philippines, Pologne, Portugal, Porto Rico, République
Dominicaine, République Tchèque, Roumanie, Royaume-Uni, Sainte-Lucie, Saint-Vincent, Salvador,
Singapour, Slovaquie, Slovénie, Suède, Suisse, Thaïlande, Trinité-et-Tobago, Turquie, Uruguay et
Venezuela.

17. Avis sur Microsoft Exchange. Le paramètre de messagerie Microsoft Exchange tiré du Logiciel de
l’iOS vous est uniquement concédé sous licence pour bénéficier de la synchronisation sans fil de
données, telles que vos courriers électroniques, vos contacts, votre calendrier et vos tâches, entre votre
iOS et Microsoft Exchange Server ou un autre serveur concédé sous licence par Microsoft pour mettre
en application le protocole Microsoft Exchange ActiveSync.

EA1566
21/02/2019

————————————
Conditions générales supplémentaires relatives à Apple Pay

Les présentes conditions générales supplémentaires relatives à Apple Pay (ces « Conditions générales
supplémentaires ») complètent la licence d’utilisation du Logiciel de l’iOS (« Licence »). Les dispositions
de la Licence et des présentes conditions générales supplémentaires régissent votre utilisation de la
fonctionnalité Apple Pay qui doit être considérée de façon implicite comme un « Service » en vertu de la
Licence. Les termes en majuscule utilisés dans les présentes Conditions générales supplémentaires
possèdent la définition indiquée dans la Licence.

1.   Vue d’ensemble et restrictions d’utilisation

Apple Pay vous permet de :

        •    conserver des représentations virtuelles de cartes de crédit, de débit et prépayées, y
             compris de carte de crédit, de débit, prépayées et la carte Apple Pay Cash, prises en charge
             par la fonctionnalité Apple Pay (« Cartes de paiement prises en charge ») et d’utiliser les
             appareils iOS pris en charge pour réaliser des paiements sans contact dans des points de
             vente spécifiques ou au sein d’applications ou sites web ;
        •    utiliser des cartes de fidélité et cadeau sauvegardées dans Wallet (« Cartes compatibles
             Apple Pay » et, ensemble avec les cartes de paiement prises en charge, « Cartes prises en
             charge ») pour eﬀectuer des transactions de cartes de fidélité et cadeau sans contact dans
             certaines boutiques dans le cadre d’un paiement sans contact à l’aide d’Apple Pay ; et
        •    envoyer des paiements entre personnes à des utilisateurs d’Apple Pay.

Il est possible que la fonctionnalité Apple Pay du Logiciel iOS soit disponible uniquement dans certaines
régions, avec des cartes émises par des entités, des établissements financiers et des
commerçants spécifiques. Les fonctionnalités peuvent varier selon les régions, les émetteurs de carte et
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 23 of 452



les commerces.

Pour utiliser Apple Pay, vous devez posséder une Carte prise en charge. Les Cartes prises en charge
peuvent parfois varier. De plus, afin d’envoyer ou de recevoir des paiements entre personnes, vous
devez posséder une carte Apple Pay Cash.

L’utilisation des Cartes de paiement prises en charge et des paiements entre personnes requiert un
identifiant Apple servant à ouvrir une session sur iCloud pour pouvoir utiliser ces fonctionnalités. Les
Cartes prises en charge sont uniquement destinées aux personnes âgées de 13 ans ou plus et des
restrictions supplémentaires relatives à l’âge peuvent être imposées par iCloud ou par la Carte prise en
charge que vous souhaitez provisionner. La carte Apple Pay Cash et la possibilité d’envoyer et recevoir
des paiements entre personnes ne sont disponibles que pour les individus âgés d’au moins 18 ans.

La fonctionnalité Apple Pay est prévue pour un usage personnel et vous ne pouvez provisionner que vos
propres Cartes prises en charge. Si vous provisionnez une carte d’entreprise prise en charge, vous
déclarez le faire avec l’autorisation de votre employeur et avoir la permission de lier ce dernier par les
conditions d’utilisation et les transactions réalisées en utilisant cette fonctionnalité. Si vous envoyez ou
recevez un paiement d’une personne, vous déclarez le faire pour votre usage propre à titre personnel et
non commercial.

Vous acceptez de ne pas utiliser Apple Pay à des fins illégales ou frauduleuses ou à toute autre fin
interdite par la Licence et par ces Conditions générales supplémentaires. Vous acceptez également
d’utiliser Apple Pay conformément aux lois et réglementations applicables. Vous acceptez de ne pas
interférer avec ou interrompre le fonctionnement du service Apple Pay (y compris de ne pas accéder au
service par un moyen automatisé quelconque) ou de tout serveur ou réseau connecté audit service, ou
de toute politique, exigence ou réglementation de réseaux connectés audit service (y compris tout accès
non autorisé, utilisation ou contrôle des données ou du trafic sur ceux-ci).

2.   Relation avec Apple

Apple Pay vous permet de créer une représentation virtuelle de vos Cartes prises en charge sur votre
appareil iOS pris en charge. Toutefois, Apple ne traite pas de transactions liées à des paiements ou à
des cartes qui ne sont pas de paiement (par exemple de distribution ou d’échange de points de fidélité),
ne reçoit, garde ou transfère vos fonds et ne possède aucun contrôle sur les paiements, les retours, les
remboursements, les récompenses, les rabais ou toute activité commerciale pouvant être liée à votre
utilisation de cette fonctionnalité.

Les éventuelles conditions relatives à l’utilisation de carte de votre émetteur de carte régissent
l’utilisation de vos Cartes prises en charge et leur utilisation au moyen de la fonctionnalité Apple Pay. En
outre, votre participation à tout programme de fidélité ou cadeau et votre utilisation des Cartes
compatibles Apple Pay par l’intermédiaire d’Apple Pay sont sujettes aux conditions générales des
commerces régissant lesdits programmes.

La carte Apple Pay Cash et la possibilité d’envoyer et de recevoir des paiements entre personnes ne
sont disponibles qu’aux États-Unis, et constituent des services fournis par Green Dot Bank, membre de
la FDIC. Lorsque vous activez ces fonctionnalités au sein d’Apple Pay, vous ouvrez un compte auprès
de Green Dot Bank, et lorsque vous envoyez ou recevez un paiement d’une personne ou provisionnez
ou retirez de l’argent de votre carte Apple Pay Cash, Green Dot Bank est alors responsable de la
réception et de l’envoi de votre argent au destinataire voulu. L’établissement financier, responsable de
l’oﬀre de paiements Apple Pay Cash et entre personnes au sein de Apple Pay, est sujet à changement,
et votre usage desdites fonctionnalités sont soumises à ses conditions générales.
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 24 of 452



Aucune disposition de la Licence ou des présentes Conditions générales supplémentaires ne modifie
l’accord de détenteur de carte ou du commerce et les termes d’un tel accord régissent votre utilisation
de la Carte prise en charge en question et sa représentation virtuelle sur votre appareil iOS. Vous
acceptez qu’Apple n’est pas partie à votre accord de détenteur de carte ou commercial ni responsable
(a) du contenu, de l’exactitude ou de l’indisponibilité de cartes de paiement, de cartes cadeau, de cartes
contenant du crédit, des activités commerciales, des transactions ou des achats dans le cadre de
l’utilisation de la fonctionnalité Apple Pay ; (b) de l’accord de crédit ou l’étude d’éligibilité au crédit ; (c)
de la distribution ou de l’échange de points de fidélité ou de crédit du programme d’un commerce ; (d)
du remboursement ou de la recharge de cartes prépayées ; (e) de l’envoi ou de la réception de
paiements entre personnes ; ou (f) de l’approvisionnement, de la récupération ou du retrait d’argent
depuis votre carte Apple Pay Cash.

Pour tout diﬀérend ou question relatif aux cartes de paiement, de fidélité ou cadeau ou à des activités
commerciales associées à des cartes, veuillez prendre contact avec l’émetteur de carte ou le
commerçant. Pour toute question concernant la carte Apple Pay Cash ou les paiements entre
personnes, veuillez contacter l’assistance Apple.

3.   Confidentialité

Apple Pay requiert certaines informations de votre appareil iOS pour proposer toutes ses fonctionnalités.
De plus, lorsque vous utilisez votre carte Apple Pay Cash ou envoyez ou recevez des paiements entre
personnes, des informations complémentaires relatives à vos transactions sont recueillies et conservées
pour assurer le service de votre compte et dans un but de prévention de la fraude et de conformité à la
réglementation. Pour en savoir plus sur les données collectées, utilisées ou partagées dans le cadre de
votre utilisation d’Apple Pay, la carte Apple Pay Cash ou les paiements entre personnes par le biais
d’Apple Pay, consultez les rubriques À propos d’Apple Pay et Confidentialité (accessibles depuis Wallet
et Apple Pay sur votre appareil iOS, ou depuis l’appli de la Watch sur un appareil iOS jumelé) ou
consultez la page web https://www.apple.com/fr/privacy/. En utilisant ces fonctionnalités, vous acceptez
qu’Apple, ainsi que ses filiales et ses représentants, transmettent, recueillent, conservent, traitent et
utilisent ces données comme décrit ci-dessus pour assurer le bon fonctionnement d’Apple Pay.

4.   Sécurité ; appareils perdus ou désactivés

Apple Pay conserve des représentations virtuelles de vos Cartes prises en charge et doit par conséquent
être protégé comme vous le feriez avec votre argent liquide ou vos cartes de débit, de crédit, prépayées,
de fidélité ou cadeau physiques. En communiquant le mot de passe de votre appareil à un tiers, en
autorisant un tiers à ajouter son empreinte digitale pour utiliser Touch ID ou en activant Face ID, vous
pouvez lui donner la possibilité de réaliser des paiements, d’envoyer, demander ou recevoir des
paiements entre personnes, de retirer de l’argent de votre carte Apple Pay Cash ou de recevoir ou
échanger des points de fidélité ou le solde d’un crédit en utilisant Apple Pay sur votre appareil. Vous
êtes l’unique responsable de la sécurité de votre appareil et de votre mot de passe. Vous acceptez
qu’Apple n’assume aucune responsabilité si vous perdez votre appareil ou partagez les informations
permettant d’y accéder. Vous acceptez également qu’Apple n’assume aucune responsabilité si vous
réalisez des modifications non autorisées sur l’iOS (telles qu’un « jailbreak »).

Il se peut que vous soyez amené à activer des mesures de sécurité complémentaires, telles que
l’authentification à deux facteurs pour votre identifiant Apple, afin d’accéder à des fonctionnalités
particulières d’Apple Pay, notamment la carte Apple Pay Cash et les paiements entre personnes avec
Apple Pay. Si vous retirez par la suite ces fonctionnalités de sécurité, il se peut que vous ne puissiez plus
accéder aux fonctionnalités particulières d’Apple Pay.

Si votre appareil est perdu ou volé est que la fonctionnalité Localiser mon iPhone est activée, vous
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 25 of 452



pouvez l’utiliser pour essayer de désactiver la possibilité de payer avec les cartes virtuelles de paiement
prises en charge ou d’envoyer des paiements entre personnes sur l’appareil en question en le désignant
comme perdu. Vous pouvez également eﬀacer le contenu de votre appareil, dans le but de désactiver la
possibilité de payer avec les cartes virtuelles de paiement prises en charge ou d’envoyer des paiements
entre personnes sur votre appareil et de supprimer les Cartes compatibles Apple Pay. Cependant, vous
devriez également prendre contact avec l’émetteur de vos cartes de paiement prises en charge et les
commerces ayant émis vos Cartes de paiement compatibles Apple Pay, et Apple dans le cas de votre
carte Apple Pay Cash, afin d’empêcher tout accès non autorisé à vos Cartes prises en charge.

Si vous signalez, ou qu’Apple suspecte, des activités frauduleuses ou abusives, vous acceptez de
collaborer avec Apple dans toute enquête et de prendre toute mesure de prévention contre la fraude
nécessaire recommandée par Apple.

5.   Limitation de responsabilité.

OUTRE LES EXCLUSIONS DE GARANTIES ET LES LIMITATIONS DE RESPONSABILITÉ CONTENUES
DANS LA LICENCE, APPLE N’ASSUME AUCUNE RESPONSABILITÉ POUR LES ACHATS, LES
PAIEMENTS, LES TRANSACTIONS OU TOUTE AUTRE ACTIVITÉ COMMERCIALE RÉALISÉS À L’AIDE
DE LA FONCTIONNALITÉ APPLE PAY. DE PLUS, VOUS ACCEPTEZ DE VOUS RAPPORTEZ
UNIQUEMENT AUX ACCORDS PASSÉS AVEC L’ÉMETTEUR DE VOTRE CARTE, VOTRE RÉSEAU DE
PAIEMENT, LES ÉTABLISSEMENTS FINANCIERS OU LES COMMERÇANTS AUPRÈS DESQUELS
VOUS RÉALISEZ DES ACHATS POUR RÉSOUDRE TOUTE QUESTION OU TOUT DIFFÉREND RELATIF
À VOS CARTES PRISES EN CHARGE, VOS PAIEMENTS ENTRE PERSONNES ET LES ACTIVITÉS
COMMERCIALES QUI Y SONT ASSOCIÉES.

————————————
NOTIFICATIONS DE LA PART D’APPLE
Si Apple a besoin de vous contacter au sujet de votre produit ou de votre compte, vous acceptez de
recevoir des notifications par courrier électronique. Vous acceptez que de telles notifications, qui vous
parviennent électroniquement d’Apple, satisfassent toute disposition légale en matière de
communication.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 26 of 452



DEUTSCH

WICHTIGER HINWEIS: INDEM DU DEIN iPHONE, DEIN iPAD ODER DEINEN iPOD TOUCH („iOS-
GERÄT“) VERWENDEST, ERKLÄRST DU DEIN EINVERSTÄNDNIS MIT DEN FOLGENDEN
BESTIMMUNGEN:

A.   APPLE-iOS-SOFTWARELIZENZVERTRAG
B.   ERGÄNZENDE BESTIMMUNGEN ZU APPLE PAY
C.   BENACHRICHTIGUNGEN VON APPLE

APPLE INC.
iOS-SOFTWARELIZENZVERTRAG
Einzelbenutzerlizenz

BITTE LIES DIESEN SOFTWARELIZENZVERTRAG („LIZENZ“) SORGFÄLTIG DURCH, BEVOR DU
DEIN iOS-GERÄT IN BETRIEB NIMMST ODER DIE ZU DIESER LIZENZ GEHÖRIGE
SOFTWAREAKTUALISIERUNG LÄDST. INDEM DU DEIN iOS-GERÄT VERWENDEST ODER EINE
SOFTWAREAKTUALISIERUNG LÄDST, SOFERN ZUTREFFEND, ERKLÄRST DU DEIN
EINVERSTÄNDNIS MIT DEN BESTIMMUNGEN DIESES LIZENZVERTRAGS. WENN DU MIT DEN
BESTIMMUNGEN DIESES LIZENZVERTRAGS NICHT EINVERSTANDEN BIST, VERWENDE DAS
iOS-GERÄT NICHT BZW. LADE DIE SOFTWAREAKTUALISIERUNG NICHT.

WENN DU KÜRZLICH EIN iOS-GERÄT GEKAUFT HAST UND MIT DEN BESTIMMUNGEN DIESES
LIZENZVERTRAGS NICHT EINVERSTANDEN BIST, KANNST DU DAS iOS-GERÄT GEMÄSS DEN
APPLE-RÜCKGABERICHTLINIEN UNTER https://www.apple.com/legal/sales-support/
INNERHALB DES RÜCKGABEZEITRAUMS GEGEN RÜCKERSTATTUNG DES KAUFPREISES AN
DEN APPLE STORE ODER DEN AUTORISIERTEN HÄNDLER ZURÜCKGEBEN, BEI DEM DU ES
ERWORBEN HAST.

1. Allgemeines.
(a) Die Software (einschließlich Boot-ROM-Code, eingebetteter Software und Software von
Drittanbietern), Dokumentation, Benutzeroberflächen, Inhalte, Schriften und sonstigen Daten, die du mit
deinem iOS-Gerät erhalten hast („Original iOS-Software“), die ggf. durch von Apple bereitgestellte
Funktionserweiterungen, Softwareaktualisierungen oder Systemwiederherstellungssoftware aktualisiert
oder ersetzt werden („iOS-Softwareaktualisierungen“), unabhängig davon, ob diese auf einem ROM,
einem anderen Speichermedium oder in anderer Form gespeichert sind (die Original iOS-Software und
die iOS-Softwareaktualisierungen werden im Folgenden gemeinsam als „iOS-Software“ bezeichnet),
werden dir von Apple Inc. („Apple“) für die Nutzung im Rahmen dieser Lizenz lizenziert, nicht verkauft.
Apple und seine Lizenzgeber bleiben Eigentümer der iOS-Software und behalten sich alle Rechte vor, die
dir nicht ausdrücklich erteilt werden. Du erklärst dich damit einverstanden, dass die Bestimmungen
dieser Lizenz für jegliche Apple-Apps gelten, die möglicherweise in deinem iOS-Gerät integriert sind, es
sei denn, eine solche App wird von einer separaten Lizenz begleitet; in diesem Fall erklärst du dich damit
einverstanden, dass die Bestimmungen dieser Lizenz für deine Nutzung dieser App gelten werden.

(b) Apple kann nach eigenem Ermessen künftige iOS-Softwareaktualisierungen bereitstellen. Die iOS-
Softwareaktualisierungen, sofern vorhanden, enthalten unter Umständen nicht alle vorhandenen
Softwarefunktionen oder neuen Funktionen, die Apple für neuere oder andere Modelle von iOS-Geräten
freigibt. Die Bestimmungen dieser Lizenz gelten für jegliche von Apple bereitgestellten iOS-
Softwareaktualisierungen, es sei denn, eine solche iOS-Softwareaktualisierung umfasst eine separate
Lizenz. In diesem Fall stimmst du zu, dass die Bestimmungen dieser Lizenz für die Aktualisierung
Gültigkeit haben.
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 27 of 452



(c) Wenn du die Funktion für die Express-Konfiguration verwendest, um ein neues iOS-Gerät basierend
auf deinem vorhandenen iOS-Gerät zu konfigurieren, erklärst du dich damit einverstanden, dass die
Bestimmungen dieser Lizenz für deine Nutzung der iOS-Software auf deinem neuen iOS-Gerät
maßgeblich sind, es sei denn, dieses umfasst eine separate Lizenz. In dem Fall stimmst du zu, dass
diese Lizenz für deine Nutzung dieser iOS-Software Gültigkeit hat. Dein iOS-Gerät prüft in regelmäßigen
Abständen bei Apple, ob Aktualisierungen für die iOS-Software vorhanden sind. Wenn eine
Aktualisierung verfügbar ist, wird diese möglicherweise automatisch geladen und auf deinem iOS-Gerät
und, sofern zutreﬀend, auf deinen Peripheriegeräten installiert. Indem du die Apple-Software
verwendest, erklärst du dein Einverständnis damit, dass Apple automatische iOS-
Softwareaktualisierungen auf deinem iOS-Gerät und deinen Peripheriegeräten laden und
installieren darf. Du kannst die automatischen Aktualisierungen jederzeit deaktivieren, indem du die
Einstellungen für „Automatische Updates“ unter „Einstellungen“ > „Allgemein“ > „Softwareupdate“
änderst.

2. Nutzung und Beschränkungen.
(a) Gemäß den Bestimmungen dieses Lizenzvertrags erteilt dir Apple hiermit eine eingeschränkte,
einfache Lizenz zur Nutzung der iOS-Software auf einem einzigen Apple-iOS-Gerät. Ausgenommen wie
in Absatz 2(b) unten gestattet und vorbehaltlich separater Lizenzvereinbarungen zwischen dir und Apple
ist im Rahmen dieses Lizenzvertrags die Existenz der iOS-Software auf mehr als einem Apple-iOS-Gerät
gleichzeitig nicht gestattet. Ferner ist es untersagt, die iOS-Software zu verteilen oder über ein Netzwerk
bereitzustellen, in dem sie von mehr als einem Gerät gleichzeitig verwendet werden kann. Diese Lizenz
gewährt dir keinerlei Rechte zur Nutzung von Apple eigenen Benutzeroberflächen und anderem
geistigem Eigentum an Design, Entwicklung, Fertigung, Lizenzierung oder Verteilung von
Drittanbietergeräten und -zubehör oder Drittanbietersoftware für die Verwendung mit dem iOS-Gerät.
Einige dieser Rechte stehen unter separaten Lizenzen von Apple zur Verfügung. Wenn du weitere
Informationen zur Entwicklung von Drittanbietergeräten und -zubehör für iOS-Geräte wünschst, besuche
bitte die Website https://developer.apple.com/programs/mfi/. Wenn du weitere Informationen zur
Entwicklung von Software für iOS-Geräte wünschst, besuche bitte die Website https://
developer.apple.com.

(b) Mit diesem Lizenzvertrag erhältst du eine eingeschränkte, einfache Lizenz zum Laden von iOS-
Softwareaktualisierungen, die möglicherweise von Apple für dein iOS-Gerät zur Verfügung gestellt
werden, um die Software auf jedem iOS-Gerät, dessen Eigentümer du bist oder das deiner Kontrolle
unterliegt, zu aktualisieren oder wiederherzustellen. Im Rahmen dieses Lizenzvertrags ist es nicht
gestattet, iOS-Geräte zu aktualisieren oder wiederherzustellen, deren Eigentümer oder Besitzer du nicht
bist. Ferner ist es untersagt, die iOS-Softwareaktualisierungen zu verteilen oder über ein Netzwerk
bereitzustellen, in dem sie von mehr als einem Gerät oder mehr als einem Computer gleichzeitig
verwendet werden können. Wenn du eine iOS-Softwareaktualisierung auf deinen Computer lädst, bist du
berechtigt, eine maschinenlesbare Kopie der auf deinem Computer gespeicherten iOS-
Softwareaktualisierungen für Sicherungszwecke zu erstellen. Du bist verpflichtet, auf jeder Kopie der
iOS-Softwareaktualisierungen die Urheber- und sonstigen Schutzrechtshinweise aufzunehmen, die auf
dem Original enthalten waren.

(c) Sofern Apple auf deinem iOS-Gerät zum Zeitpunkt des Kaufs Apple-Apps aus dem App Store
vorinstalliert hat („vorinstallierte Apps“), musst du dich beim App Store anmelden und diese
vorinstallierten Apps deinem App Store-Account zuordnen, um sie auf deinem iOS-Gerät verwenden zu
können. Wenn du deinem App Store-Account eine vorinstallierte App zuordnest, ordnest du gleichzeitig
automatisch alle anderen vorinstallierten Apps auf deinem iOS-Gerät zu. Indem du dich für die
Zuordnung der vorinstallierten Apps zu deinem App Store-Account entscheidest, erklärst du dein
Einverständnis damit, dass Apple sowohl die Apple-ID, die von deinem App Store-Account verwendet
wird, als auch eine eindeutige Hardwarekennung, die von deinem iOS-Gerät gesammelt wird, als
eindeutige Account-IDs zwecks Prüfung der Berechtigung deiner Anfrage und Bereitstellung des Zugriﬀs
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 28 of 452



auf die vorinstallierten Apps via App Store für dich übertragen, sammeln, verwalten, verarbeiten und
nutzen darf. Wenn du eine vorinstallierte App nicht verwenden möchtest, kannst du sie jederzeit von
deinem iOS-Gerät löschen.

(d) Es ist dir nicht gestattet und du verpflichtest dich, es zu unterlassen und Dritten nicht zu gestatten,
die iOS-Software oder jegliche Dienste, die von der iOS-Software bereitgestellt werden, oder Teile davon
zu kopieren (sofern dies nicht ausdrücklich im Rahmen dieses Lizenzvertrags gestattet ist), zu
dekompilieren, zurückzuentwickeln, zu disassemblieren, zu modifizieren, zu entschlüsseln, Versuche zur
Ableitung des Quellcodes zu unternehmen oder abgeleitete Werke der iOS-Software oder jeglicher in der
iOS-Software enthaltener Dienste oder Teilen davon zu erstellen (sofern dies nicht und nur in dem
Ausmaß, in dem jegliche vorgenannte Beschränkung durch gesetzliche Vorschriften untersagt ist oder
durch die Lizenzbestimmungen, die die Nutzung von möglicherweise in der iOS-Software enthaltenen
Open-Source-Komponenten regeln, gestattet ist).

(e) Die iOS-Software darf zur Reproduktion von Materialien verwendet werden, sofern sich diese
Verwendung auf die Reproduktion von Materialien beschränkt, (i) die nicht durch Urheberrechte
geschützt sind, (ii) für die du das Urheberrecht besitzt oder (iii) zu deren Reproduktion du bevollmächtigt
oder durch Gesetze autorisiert bist. Das Eigentums- und Urheberrecht an den Inhalten, die über dein
iOS-Gerät angezeigt oder darauf gespeichert werden bzw. auf die über dein iOS-Gerät zugegriﬀen wird,
liegt bei den jeweiligen Eigentümern dieser Inhalte. Solche Inhalte sind möglicherweise durch
Urheberrechte oder andere Rechte und Verträge hinsichtlich des geistigen Eigentums geschützt und
können den Nutzungsbestimmungen des Dritten unterliegen, der diese Inhalte bereitstellt. Soweit hierin
nicht anderweitig festgelegt, gewährt dir diese Lizenz keinerlei Rechte zum Verwenden solcher Inhalte,
noch garantiert sie, dass diese Inhalte weiterhin für dich verfügbar sein werden.

(f) Gemäß den Bestimmungen dieser Lizenz bist du berechtigt, die in der iOS-Software enthaltenen oder
mit der iOS-Software erstellten Animoji- und Memoji-Zeichen („Systemzeichen“) zu verwenden, (i)
während die iOS-Software ausgeführt wird und (ii) um eigene Originalinhalte und -projekte für
persönliche, nicht kommerzielle Zwecke zu erstellen. Eine andere Nutzung der Systemzeichen ist im
Rahmen dieser Lizenz nicht zulässig, einschließlich ohne Einschränkung die Nutzung, Reproduktion,
Anzeige, Auﬀührung, Aufnahme, Veröﬀentlichung oder Verteilung jeglicher Systemzeichen in einem
gewinnorientierten, gemeinnützigen, öﬀentlichen oder kommerziellen Kontext.

(g) Du erklärst dich damit einverstanden, die iOS-Software und die Dienste (wie in Absatz 5 unten
definiert) in Übereinstimmung mit allen anwendbaren Gesetzen zu verwenden, einschließlich lokale
Gesetze des Landes oder der Region, in dem bzw. der du wohnhaft bist oder in dem bzw. der du die
iOS-Software und -Dienste lädst oder verwendest. Funktionen der iOS-Software und der -Dienste sind
möglicherweise nicht in allen Sprachen oder Regionen verfügbar; einige Funktionen können je nach
Region variieren und einige sind möglicherweise eingeschränkt oder werden von deinem Dienstanbieter
nicht bereitgestellt. Für einige Funktionen der iOS-Software und -Dienste ist eine WLAN-Verbindung oder
drahtlose Datenverbindung erforderlich.

(h) Die Nutzung des App Store erfordert eine eindeutige Kombination aus Benutzernamen und Passwort,
die als Apple-ID bezeichnet wird. Eine Apple-ID ist auch für den Zugriﬀ auf App-Aktualisierungen und
bestimmte Funktionen der iOS-Software und -Dienste erforderlich.

(i) Dir ist bewusst, dass viele Funktionen, integrierte Apps und Dienste der iOS-Software Daten
übertragen und Auswirkungen auf deinen Datentarif haben könnten und dass du für solche Gebühren
verantwortlich bist. Du kannst anzeigen und steuern, welche Programme Mobilfunkdaten nutzen dürfen,
und kannst in den Einstellungen unter „Mobile Daten“ nachsehen, wie viele Daten solche Programme
schätzungsweise verbraucht haben. Darüber hinaus wechselt die Funktion „Wi-Fi Assist“ bei einer
schlechten WLAN-Verbindung automatisch zur Mobilfunkverbindung. Dies kann zu einer stärkeren
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 29 of 452



Nutzung mobiler Daten führen und sich auf deinen Datentarif auswirken. „Wi-Fi Assist“ ist automatisch
aktiviert, kann aber unter „Einstellungen“ deaktiviert werden. Weitere Informationen dazu entnimm bitte
dem Benutzerhandbuch für dein iOS-Gerät.

(j) Wenn du dich entscheidest, automatische App-Aktualisierungen zuzulassen, prüft dein iOS-Gerät in
regelmäßigen Abständen bei Apple, ob Aktualisierungen für die Apps auf deinem Gerät vorhanden sind.
Wenn eine Aktualisierung verfügbar ist, wird diese automatisch geladen und auf deinem Gerät installiert.
Du kannst die automatische App-Aktualisierung jederzeit deaktivieren, indem du zu „Einstellungen“
navigierst, auf „iTunes & App Store“ tippst und unter „Automatische Downloads“ die Option „Updates“
deaktivierst.

(k) Die Nutzung deines iOS-Geräts kann dich in bestimmten Situationen ablenken und möglicherweise zu
gefährlichen Situationen führen (so solltest du es beispielsweise vermeiden, beim Autofahren SMS-
Nachrichten zu schreiben oder beim Fahrradfahren Kopfhörer zu tragen). Indem du dein iOS-Gerät
verwendest, erklärst du dich damit einverstanden, dass es in deiner Verantwortung liegt, Regeln
einzuhalten, die die Nutzung von Mobiltelefonen verbieten oder einschränken (beispielsweise die
Vorschrift, beim Telefonieren im Auto eine Freisprecheinrichtung zu verwenden).

3. Übertragung. Es ist dir nicht gestattet, die iOS-Software zu vermieten, zu verleasen, zu verleihen, zu
verkaufen, neu zu verteilen oder Unterlizenzen für die iOS-Software zu vergeben. Du bist jedoch
berechtigt, eine einmalige, permanente Übertragung aller deiner Lizenzrechte an der iOS-Software an
einen Dritten in Verbindung mit der Übertragung des Eigentums an deinem iOS-Gerät vorzunehmen,
vorausgesetzt: (a) die Übertragung umfasst dein iOS-Gerät und die komplette iOS-Software,
einschließlich aller Komponenten und dieses Lizenzvertrags; (b) du behältst keine Kopie der iOS-
Software oder von Teilen der iOS-Software, einschließlich der Kopien, die sich auf einem Computer oder
einem anderen Massenspeichergerät befinden; und (c) die Partei, die die iOS-Software erhält, liest und
akzeptiert die Bestimmungen dieses Lizenzvertrags.

4. Einwilligung zur Verwendung von Daten. Wenn du dein Gerät verwendest, werden deine
Telefonnummer und bestimmte eindeutige Kennungen für dein iOS-Gerät an Apple gesendet, damit
andere dich unter deiner Telefonnummer erreichen können, wenn sie verschiedene
Kommunikationsfunktionen der iOS-Software verwenden, etwa iMessage und FaceTime. Wenn du
iMessage verwendest, kann Apple deine Nachrichten in verschlüsselter Form für einen befristeten
Zeitraum aufbewahren, um deren Zustellung sicherzustellen. Du kannst FaceTime oder iMessage
deaktivieren, indem du auf deinem iOS-Gerät zu den Einstellungen von FaceTime oder iMessage
navigierst. Bestimmte Features, z. B. die App „Analyse“, die Ortungsdienste, Siri und die Diktierfunktion,
erfordern möglicherweise Informationen von deinem iOS-Gerät, um ihre jeweiligen Funktionen
bereitstellen zu können. Wenn du diese Features aktivierst oder verwendest, werden Details dazu
bereitgestellt, welche Informationen an Apple gesendet werden und wie diese Informationen verwendet
werden können. Weitere Informationen erhältst du auf der Website https://www.apple.com/de/privacy/.
Deine Informationen werden jederzeit gemäß der Apple-Datenschutzrichtlinie behandelt, die unter
folgender Adresse verfügbar ist: https://www.apple.com/legal/privacy/.

5. Dienste und Materialien von Drittanbietern.
(a) Die iOS-Software gewährt möglicherweise Zugang zu(m) iTunes Store, App Store, Apple Books,
Game Center, iCloud, Karten von Apple und zu anderen Diensten und Websites von Apple und
Drittanbietern (gemeinsam und einzeln als „Dienste“ bezeichnet). Solche Dienste sind möglicherweise
nicht in allen Sprachen oder in allen Ländern verfügbar. Die Nutzung dieser Dienste erfordert
Internetzugriﬀ und die Nutzung bestimmter Dienste erfordert möglicherweise eine Apple-ID, setzt
möglicherweise dein Einverständnis mit zusätzlichen Servicebedingungen voraus und unterliegt unter
Umständen zusätzlichen Gebühren. Indem du diese Software zusammen mit einer Apple-ID oder einem
anderen Apple-Dienst verwendest, erklärst du dein Einverständnis mit den anwendbaren
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 30 of 452



Servicebedingungen für diesen Dienst, z. B. den neuesten Apple Media Services-Bedingungen für das
Land, in dem du auf diese Services zugreifst, die du über die Webseite https://www.apple.com/legal/
internet-services/itunes/ anzeigen und nachlesen kannst.

(b) Wenn du dich für iCloud anmeldest, erfolgt der Zugriﬀ auf bestimmte iCloud-Funktionen wie „iCloud-
Fotos“, „Mein Fotostream“, „Geteilte Alben“, „Backup“ und „Mein iPhone suchen“ möglicherweise direkt
über die iOS-Software. Du erklärst dein Einverständnis damit, dass deine Nutzung von iCloud und
diesen Funktionen den neuesten Bedingungen des iCloud-Diensts unterliegt, die du unter https://
www.apple.com/legal/internet-services/icloud/.

(c) Inhalte der App „News“. Die Nutzung der Inhalte, zu denen die App „News“ Zugang gewährt, ist
ausschließlich auf die persönliche, nicht kommerzielle Nutzung beschränkt, überträgt keine
Eigentumsrechte an den Inhalten auf dich und schließt insbesondere ohne Einschränkung jegliche
kommerziellen oder werberelevanten Nutzungsrechte an solchen Inhalten aus. Weiterhin ist es dir
untersagt, jegliche Bilder, auf die über die App „News“ zugegriﬀen wird, als eigenständige Datei weiter
zu veröﬀentlichen, zu übertragen und zu reproduzieren.

(d) Karten. Der Kartendienst und die Kartenfunktionen der iOS-Software („Karten“), einschließlich der
Kartendatenabdeckung, können je nach Region variieren. Wenn du in „Karten“ ortsbasierte Funktionen
verwendest, etwa Turn-by-Turn-Navigation, Verkehrsinformationen und lokale Suche, werden
möglicherweise verschiedene ortsbasierte und nutzungsrelevante Informationen an Apple gesendet,
einschließlich die geografische Echtzeit-Position deines iOS-Geräts, um deine Anfrage zu verarbeiten
und „Karten“ zu verbessern. Solche Orts- und Nutzungsdaten werden von Apple in einer Form
gesammelt, die keinerlei Rückschlüsse auf deine Person zulässt. Indem du „Karten“ verwendest,
erklärst du dein Einverständnis damit, dass Apple, seine Tochtergesellschaften und Vertreter diese
Informationen übertragen, sammeln, verwalten, verarbeiten und nutzen, um die Funktionen und
Dienste der App „Karten“ und andere Apple-Produkte und -Dienste bereitzustellen und zu
optimieren. Apple kann seinen Partnern und Lizenznehmern solche Informationen auch entweder in
aggregierter oder in nicht persönlich identifizierbarer Form bereitstellen, um dabei zu helfen, deren
karten- und ortungsbasierte Produkte und Dienste zu verbessern. Du kannst die ortsbasierten
Funktionen von „Karten“ deaktivieren, indem du zur Einstellung für Ortungsdienste auf deinem iOS-Gerät
navigierst und die individuelle Ortungseinstellung für „Karten“ deaktivierst. Wenn du die Einstellung für
Ortungsdienste deaktivierst, sind bestimmte Funktionen von „Karten“ möglicherweise nicht verfügbar,
etwa die Turn-by-Turn-Navigation.

(e) Dir ist bekannt, dass du bei der Nutzung der einzelnen Dienste möglicherweise mit Inhalten
konfrontiert wirst, die als beleidigend, vulgär oder unmoralisch angesehen werden können, wobei
gegebenenfalls darauf hingewiesen werden kann, dass die Inhalte anstößige Sprache enthalten. Es ist
dir ferner bekannt, dass durch die Eingabe von Suchbegriﬀen oder einer bestimmten URL-Adresse
automatisch und unabsichtlich Verknüpfungen (Links) zu oder Verweise auf diese zu beanstandenden
Materialien hergestellt werden können. Du erklärst dich damit einverstanden, diese Dienste auf eigene
Verantwortung zu nutzen und dass Apple, seine Partner, Vertreter, leitenden Angestellten oder
Lizenzgeber dir gegenüber nicht für Inhalte haften, die als beleidigend, vulgär oder unmoralisch
angesehen werden können.

(f) Bestimmte Dienste können Inhalte, Daten, Informationen, Programme oder Materialien von
Drittanbietern („Drittanbietermaterialien”) anzeigen, enthalten oder zur Verfügung stellen oder Links zu
bestimmten Websites von Drittanbietern bereitstellen. Indem du diese Dienste verwendest, bestätigst du
und erklärst dich ausdrücklich damit einverstanden, dass Apple nicht verantwortlich ist für die Prüfung
oder Bewertung der Inhalte, Genauigkeit, Vollständigkeit, Aktualität, Gültigkeit,
Urheberrechtskonformität, Legalität, Integrität, Qualität oder sonstiger Aspekte solcher Materialien oder
Websites von Drittanbietern. Apple, seine Mitarbeiter, Partner- oder Tochtergesellschaften gewähren
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 31 of 452



oder bestätigen und übernehmen und tragen keinerlei Haftung oder Verantwortung dir oder Dritten
gegenüber für jegliche Drittanbieterdienste, Drittanbietermaterialien oder -websites oder für sonstige
Materialien, Produkte oder Dienste von Drittanbietern. Drittanbietermaterialien und Links zu anderen
Websites werden dir nur aus Gefälligkeit bereitgestellt.

(g) Weder Apple noch seine Anbieter von Inhalten übernehmen eine Gewähr für die Verfügbarkeit,
Genauigkeit, Vollständigkeit, Zuverlässigkeit oder Aktualität von Aktieninformationen, Ortungsdaten oder
anderen Daten oder Informationen, die mit jeglichen Diensten angezeigt werden. Finanzspezifische
Informationen, die mit jeglichen Diensten angezeigt werden, dienen lediglich allgemeinen
Informationszwecken und sollten nicht als verlässliche Grundlage für Investitionen genutzt werden. Vor
dem Abschluss von Wertpapiergeschäften, die auf mit den Diensten angezeigten Informationen basieren,
solltest du einen Finanzberater oder Experten für Wertpapiere konsultieren, der in deinem Land oder
deiner Region rechtmäßig zur Finanz- oder Wertpapierberatung qualifiziert ist. Ortungsdaten, die von
jeglichen Diensten bereitgestellt werden, einschließlich vom Apple-Dienst „Karten“, werden
ausschließlich zu einfachen Navigations- und Planungszwecken bereitgestellt und sind nicht dafür
vorgesehen, in Situationen, in denen präzise Ortungsinformationen benötigt werden oder in denen
falsche, ungenaue, zeitverzögerte oder unvollständige Ortsdaten zu Todesfällen, Körperverletzungen
oder Sach- und Umweltschäden führen können, als verlässliche Angaben genutzt zu werden. Du
akzeptierst, dass die Ergebnisse, die du vom Dienst „Karten“ empfängst, möglicherweise von den
tatsächlichen Straßen- oder Geländeverhältnissen abweichen aufgrund von Faktoren, die die
Genauigkeit der Kartendaten beeinträchtigen können, einschließlich ohne Einschränkung Wetter-,
Straßen- und Verkehrsverhältnisse sowie geopolitische Ereignisse. Aus Sicherheitsgründen solltest du
bei Verwendung der Navigationsfunktion immer die aufgestellten Verkehrszeichen und die aktuellen
Straßenverhältnisse beachten. Halte die Praktiken für sicheres Fahren und die Straßenverkehrsordnung
ein und beachte, dass bei der Beschreibung von Gehstrecken Bürgersteige und Fußwege
möglicherweise nicht berücksichtigt werden.

(h) Soweit du durch Nutzung der Dienste Inhalte hochlädst, erklärst du, dass du Inhaber aller Rechte an
solchen Inhalten bist oder dass du über die Berechtigung verfügst oder anderweitig durch Gesetze
autorisiert bist, diese Inhalte hochzuladen, und dass diese Inhalte nicht gegen Servicebedingungen
verstoßen, die für die Dienste anwendbar sind. Du erkennst hiermit an, dass die Dienste proprietäre
Inhalte, Informationen und Materialien enthalten, deren Eigentümer Apple, der Website-Eigentümer oder
dessen/deren Lizenzgeber ist/sind, und die durch anwendbare Gesetze zum Schutz des geistigen
Eigentums oder durch sonstige Gesetze, darunter, jedoch nicht ausschließlich, durch das Urheberrecht,
geschützt sind. Du verpflichtest dich, diese proprietären Inhalte, Informationen oder Materialien nicht zu
anderen Zwecken als zur zulässigen Nutzung der Dienste oder nicht auf eine Weise zu verwenden, die
die Bestimmungen dieser Lizenz verletzt oder die gegen die Urheberrechte von Drittanbietern oder von
Apple verstößt. Die Dienste oder Teile davon dürfen, gleich in welcher Form oder Weise, nicht
vervielfältigt werden. Du verpflichtest dich, es zu unterlassen, die Dienste in jeglicher Weise zu
modifizieren, zu vermieten, zu verleasen, zu verleihen, zu verkaufen, zu verteilen oder abgeleitete Werke
der Dienste zu erstellen. Ferner verpflichtest du dich, diese Dienste nicht zu missbrauchen, einschließlich
insbesondere durch Nutzung der Dienste für die Übertragung von Computerviren, Würmern, trojanischen
Pferden oder anderer Malware oder durch das Eindringen in Netzwerke oder die Belastung von
Netzwerkkapazität. Du erklärst dich damit einverstanden, die Dienste nicht zu verwenden, um die Rechte
Dritter zu beeinträchtigen, zu missbrauchen, zu stören, zu bedrohen, zu diﬀamieren oder anderweitig zu
verletzen oder gegen sie zu verstoßen. Apple übernimmt die Verantwortung weder für eine solche
Nutzung deinerseits noch für jegliche beeinträchtigenden, bedrohenden, diﬀamierenden, verletzenden,
verstoßenden oder widerrechtlichen Nachrichten oder Übertragungen, die du möglicherweise infolge der
Nutzung der Dienste erhältst.

(i) Darüber hinaus stehen Dienste und Drittanbietermaterialien, auf die über das iOS-Gerät zugegriﬀen
wird, die mit dem iOS-Gerät verknüpft sind oder die darauf angezeigt werden, nicht in allen Sprachen
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 32 of 452



oder in allen Ländern oder Regionen zur Verfügung. Apple übernimmt keine Gewähr dafür, dass solche
Dienste und Drittanbietermaterialien geeignet oder verfügbar sind für die Nutzung an einem bestimmten
Ort. Für den Fall, dass du dich entscheidest, solche Dienste und Drittanbietermaterialien zu verwenden
oder darauf zuzugreifen, erfolgt dies auf deine eigene Initiative und du trägst die Verantwortung für die
Einhaltung jeglicher anwendbarer Gesetze, einschließlich, aber nicht beschränkt auf anwendbare lokale
Gesetze und Gesetze zu Datenschutz und Datensammlung. Das Bereitstellen oder Synchronisieren von
Fotos über dein iOS-Gerät kann dazu führen, dass Metadaten, einschließlich wo und wann das Foto
aufgenommen wurde, und Tiefeninformationen, zusammen mit diesen Fotos übertragen werden. Die
Nutzung der Apple-Dienste (z. B. iCloud-Foto-Mediathek) zum Teilen oder Synchronisieren solcher Fotos
schließt ein, dass Apple solche Metadaten empfängt und archiviert. Apple und seine Lizenzgeber
behalten sich das Recht vor, sämtliche Dienste jederzeit ohne Vorankündigung zu ändern,
vorübergehend einzustellen, zu entfernen oder den Zugang zu bestimmten Diensten zu deaktivieren.
Apple übernimmt in keinem Fall die Haftung für das Einstellen jeglicher Dienste oder die Deaktivierung
des Zugangs zu solchen Diensten. Apple ist berechtigt, jederzeit ohne vorherige Mitteilung sowie unter
Ausschluss der Haftung die Nutzung von oder den Zugang zu bestimmten Diensten zu beschränken.

6. Laufzeit. Dieser Lizenzvertrag hat bis zu seiner Beendigung Gültigkeit. Deine Rechte im Rahmen
dieses Lizenzvertrags enden automatisch ohne Mitteilung seitens Apple oder verlieren ihre Gültigkeit,
wenn du gegen eine oder mehrere Bestimmungen dieses Lizenzvertrags verstößt. Bei Beendigung
dieses Lizenzvertrags bist du verpflichtet, die Nutzung der iOS-Software einzustellen. Die Absätze 4, 5,
6, 7, 8, 9, 12 und 13 dieser Lizenz behalten über die Beendigung dieses Vertrags hinaus Gültigkeit.

7. Gewährleistungsverzicht.
7.1 Wenn du ein Privatkunde bist (d. h. die iOS-Software außerhalb deines Gewerbes,
Geschäftsbereichs oder Berufs verwendest), gelten für dich in deinem Wohnsitzland möglicherweise
Gesetze, durch die eine Anwendung der folgenden Einschränkungen auf dich untersagt ist. Wo dies der
Fall ist, treﬀen diese Einschränkungen für dich nicht zu. Wenn du mehr über deine Rechte erfahren
möchtest, wende dich bitte an eine lokale Beratungsstelle für Verbraucher.

7.2 DU BESTÄTIGST UND ERKLÄRST DICH AUSDRÜCKLICH DAMIT EINVERSTANDEN, DASS BIS
ZU DEM DURCH GELTENDE GESETZE ZULÄSSIGEN AUSMASS DIE VERWENDUNG DER iOS-
SOFTWARE UND JEGLICHER VON DER iOS-SOFTWARE AUSGEFÜHRTEN DIENSTE ODER
JEGLICHER DIENSTE, AUF DIE MIT DER iOS-SOFTWARE ZUGEGRIFFEN WIRD, AUF DEIN EIGENES
RISIKO ERFOLGT UND DASS DU DAS GESAMTE RISIKO IM HINBLICK AUF ZUFRIEDENSTELLENDE
QUALITÄT, LEISTUNG, GENAUIGKEIT UND AUFWAND TRÄGST.

7.3 VORBEHALTLICH DES DURCH DAS ANWENDBARE RECHT MAXIMAL ZULÄSSIGEN UMFANGS
WERDEN DIE iOS-SOFTWARE UND -DIENSTE OHNE MÄNGELGEWÄHR UND NACH
VERFÜGBARKEIT MIT ALLEN FEHLERN UND OHNE GEWÄHRLEISTUNG JEGLICHER ART
AUSGELIEFERT. APPLE UND DIE APPLE-LIZENZGEBER (ZUM ZWECKE DER ABSÄTZE 7 UND 8
GEMEINSAM ALS „APPLE“ BEZEICHNET) LEHNEN HIERMIT ALLE GEWÄHRLEISTUNGEN UND
BEDINGUNGEN HINSICHTLICH DER iOS-SOFTWARE UND -DIENSTE AB, UND ZWAR SOWOHL
AUSDRÜCKLICHE, IMPLIZITE ALS AUCH GESETZLICH FESTGELEGTE GEWÄHRLEISTUNGEN,
EINSCHLIESSLICH INSBESONDERE DER IMPLIZITEN GEWÄHRLEISTUNGEN UND/ODER
BEDINGUNGEN DER MARKTFÄHIGKEIT, ZUFRIEDENSTELLENDEN QUALITÄT, EIGNUNG FÜR EINEN
BESTIMMTEN ZWECK, GENAUIGKEIT, DES UNGESTÖRTEN BESITZES UND DER
NICHTVERLETZUNG DER RECHTE DRITTER.

7.4 APPLE ÜBERNIMMT KEINE GEWÄHRLEISTUNG DAFÜR, DASS DER UNGESTÖRTE BESITZ DER
iOS-SOFTWARE UND -DIENSTE NICHT BEEINTRÄCHTIGT WIRD, DASS DIE FUNKTIONEN IN DER
iOS-SOFTWARE ODER DIE DURCH DIE iOS-SOFTWARE AUSGEFÜHRTEN ODER
BEREITGESTELLTEN DIENSTE DEINE ANFORDERUNGEN ERFÜLLEN, DASS DER BETRIEB DER iOS-
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 33 of 452



SOFTWARE UND -DIENSTE STÖRUNGS- ODER FEHLERFREI ERFOLGT, DASS SÄMTLICHE DIENSTE
AUCH WEITERHIN ANGEBOTEN WERDEN, DASS FEHLER IN DER iOS-SOFTWARE ODER IN DEN
DIENSTEN KORRIGIERT WERDEN ODER DASS DIE iOS-SOFTWARE MIT SOFTWARE, PROGRAMMEN
ODER DIENSTEN VON DRITTANBIETERN KOMPATIBEL SEIN WIRD ODER MIT DIESEN
FUNKTIONIERT. DIE INSTALLATION DIESER iOS-SOFTWARE KANN UNTER UMSTÄNDEN DIE
VERFÜGBARKEIT UND VERWENDBARKEIT VON SOFTWARE, PROGRAMMEN ODER DIENSTEN VON
DRITTANBIETERN SOWIE VON APPLE-PRODUKTEN UND -DIENSTEN BEEINTRÄCHTIGEN.

7.5 DU BESTÄTIGST FERNER, DASS DIE iOS-SOFTWARE UND -DIENSTE NICHT FÜR DIE
NUTZUNG IN SITUATIONEN ODER UMGEBUNGEN VORGESEHEN ODER GEEIGNET SIND, IN DENEN
DER AUSFALL, FEHLER, ZEITVERZÖGERUNGEN ODER UNGENAUIGKEITEN IN DEN DURCH DIE iOS-
SOFTWARE ODER -DIENSTE BEREITGESTELLTEN INHALTEN, DATEN ODER INFORMATIONEN ZU
TODESFÄLLEN, KÖRPERVERLETZUNG ODER SCHWERWIEGENDEN SACH- ODER
UMWELTSCHÄDEN FÜHREN KÖNNTEN, EINSCHLIESSLICH OHNE EINSCHRÄNKUNG BEIM BETRIEB
VON KERNKRAFTANLAGEN, FLUGZEUGEN, KOMMUNIKATIONSSYSTEMEN, BEI DER
FLUGÜBERWACHUNG, MIT LEBENSERHALTENDEN GERÄTEN ODER WAFFENSYSTEMEN.

7.6 DIE MÜNDLICHEN ODER SCHRIFTLICHEN INFORMATIONEN ODER AUSSAGEN SEITENS
APPLE ODER EINES AUTORISIERTEN APPLE-VERTRETERS BEGRÜNDEN KEINE GEWÄHRLEISTUNG.
SOLLTEN SICH DIE iOS-SOFTWARE ODER -DIENSTE ALS DEFEKT ERWEISEN, ÜBERNIMMST DU DIE
GESAMTEN KOSTEN FÜR ALLE NOTWENDIGEN SERVICELEISTUNGEN, REPARATURARBEITEN
ODER KORREKTUREN. EINIGE RECHTSORDNUNGEN LASSEN DEN AUSSCHLUSS IMPLIZITER
GEWÄHRLEISTUNGEN ODER EINSCHRÄNKUNGEN DER ANWENDBAREN, GESETZMÄSSIGEN
RECHTE EINES KUNDEN NICHT ZU, SODASS DIE OBEN GENANNTEN AUSSCHLÜSSE UND
EINSCHRÄNKUNGEN FÜR DICH MÖGLICHERWEISE NICHT ZUTREFFEN.

8. Haftungsbeschränkung. IN DEM NICHT DURCH ANWENDBARE GESETZE UNTERSAGTEN
AUSMASS SIND APPLE, SEINE PARTNER, VERTRETER ODER LEITENDEN ANGESTELLTEN IN
KEINEM FALL HAFTBAR FÜR PERSONENSCHÄDEN ODER BEILÄUFIG ENTSTANDENE, SPEZIELLE,
INDIREKTE SCHÄDEN ODER FOLGESCHÄDEN JEGLICHER ART, EINSCHLIESSLICH INSBESONDERE
ENTGANGENEN GEWINNS, DER BESCHÄDIGUNG ODER DES VERLUSTS VON DATEN, DER
NICHTÜBERTRAGUNG ODER DES NICHTEMPFANGS VON DATEN, DER
GESCHÄFTSUNTERBRECHUNG ODER ANDERER KOMMERZIELLER SCHÄDEN ODER VERLUSTE
(EINSCHLIESSLICH OHNE EINSCHRÄNKUNG KURSANLEITUNGEN, AUFGABEN UND MATERIALIEN),
DIE DURCH DIE VERWENDUNG DER iOS-SOFTWARE UND -DIENSTE ODER DIE UNMÖGLICHKEIT
DER VERWENDUNG DER iOS-SOFTWARE UND -DIENSTE ODER JEGLICHER SOFTWARE ODER
PROGRAMME VON DRITTANBIETERN IN VERBINDUNG MIT DER iOS-SOFTWARE ODER DEN -
DIENSTEN ENTSTEHEN ODER DAMIT ZUSAMMENHÄNGEN, UND ZWAR UNABHÄNGIG VON DER
RECHTSGRUNDLAGE DER HAFTUNG (VERTRAG, UNERLAUBTE HANDLUNG ODER SONSTIGE) UND
AUCH DANN, WENN APPLE AUF DIE MÖGLICHKEIT SOLCHER SCHÄDEN HINGEWIESEN WURDE.
EINIGE RECHTSORDNUNGEN LASSEN DEN AUSSCHLUSS ODER DIE BESCHRÄNKUNG DER
HAFTUNG FÜR PERSONENSCHÄDEN, BEILÄUFIG ENTSTANDENE SCHÄDEN ODER
FOLGESCHÄDEN NICHT ZU, SODASS DIESE BESCHRÄNKUNG FÜR DICH MÖGLICHERWEISE NICHT
ZUTRIFFT. In keinem Fall übersteigt die gesamte Haftung von Apple für alle Schäden (ausgenommen die
zwingende gesetzliche Haftung im Falle von Personenschäden) dir gegenüber die Summe von
zweihundertfünfzig US-Dollar ($ 250,00). Die vorgenannten Beschränkungen gelten auch dann, wenn
das oben genannte Rechtsmittel seinen eigentlichen Zweck nicht erfüllt.

9. Digitale Zertifikate. Die iOS-Software umfasst Funktionen, die es ihr ermöglichen, digitale Zertifikate
zu akzeptieren, die von Apple oder anderen Anbietern ausgestellt werden. DIE ENTSCHEIDUNG, OB DU
EINEM VON APPLE ODER EINEM ANDEREN ANBIETER AUSGESTELLTEN ZERTIFIKAT VERTRAUST,
LIEGT ALLEIN IN DEINER EIGENEN VERANTWORTUNG. DIE VERWENDUNG DIGITALER ZERTIFIKATE
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 34 of 452



ERFOLGT AUSSCHLIESSLICH AUF EIGENES RISIKO. APPLE GIBT IM HINBLICK AUF DIGITALE
ZERTIFIKATE BIS ZUM HÖCHSTEN DURCH ANWENDBARE GESETZE ERLAUBTEN AUSMASS
KEINERLEI GEWÄHRLEISTUNG ODER ZUSICHERUNGEN AB (WEDER AUSDRÜCKLICH NOCH
KONKLUDENT) BEZÜGLICH DER MARKTFÄHIGKEIT ODER DER EIGNUNG FÜR EINEN BESTIMMTEN
ZWECK, DER GENAUIGKEIT, DER SICHERHEIT ODER DER FREIHEIT VON RECHTEN DRITTER.

10. Exportkontrolle. Du stehst dafür ein, dass die iOS-Software nur unter Beachtung aller anwendbaren
Exportbestimmungen des Landes, in dem du die iOS-Software erhalten hast, und der Vereinigten
Staaten von Amerika exportiert oder reexportiert wird. Insbesondere, aber ohne Einschränkung darf die
iOS-Software nicht (a) in ein Land exportiert oder reexportiert werden, über das die Vereinigten Staaten
ein Embargo verhängt haben, oder (b) einer Person überlassen werden, die auf der Liste der Specially
Designated Nationals des U.S. Treasury Department oder der Denied Person’s List oder Entity List des
U.S. Department of Commerce oder einer anderen Liste mit eingeschränkten Parteien verzeichnet ist.
Indem du die iOS-Software benutzt, erklärst du, dass du weder in einem dieser Länder wohnhaft bist
noch auf einer der vorstehend erwähnten Listen genannt wirst. Des Weiteren erklärst du, dass du die
iOS-Software nicht für Zwecke jeglicher Art verwenden wirst, die nach US-amerikanischen Gesetzen
verboten sind, einschließlich insbesondere Entwicklung, Planung, Fertigung und Produktion von
Raketen, nuklearen, chemischen oder biologischen Waﬀen.

11. US-Behörden. Die iOS-Software und die -Dokumentation gelten als „Commercial Items“ gemäß
Definition im 48 C.F.R. §2.101, bestehend aus „Commercial Computer Software“ und „Commercial
Computer Software Documentation“ in dem Sinne, in dem diese Begriﬀe im 48 C.F.R. §12.212 oder 48
C.F.R. §227.7202 verwendet werden. In Übereinstimmung mit 48 C.F.R. §12.212 oder 48 C.F.R.
§227.7202-1 bis 227.7202-4, sofern anwendbar, werden die „Commercial Computer Software“ und die
„Commercial Computer Software Documentation“ an US-Behörden wie folgt lizenziert: (a) nur als
„Commercial Items“ und (b) nur mit den Rechten, die allen Endbenutzern gemäß den Bestimmungen in
diesem Lizenzvertrag gewährt werden. Die Rechte an unveröﬀentlichten Werken unterliegen den
Urheberrechten der Vereinigten Staaten.

12. Anwendbares Recht und Teilnichtigkeit. Dieser Lizenzvertrag unterliegt den Gesetzen des Staates
Kalifornien, ausgenommen den Bestimmungen zur Gesetzeskollision, und ist gemäß diesen auszulegen.
Dieser Lizenzvertrag unterliegt nicht der United Nations Convention on Contracts for the International
Sale of Goods, deren Anwendung hiermit ausdrücklich ausgeschlossen wird. Wenn du Verbraucher mit
Wohnsitz in Großbritannien bist, unterliegt dieser Lizenzvertrag den Gesetzen deines Wohnorts. Die
Unwirksamkeit einzelner Bestimmungen dieses Lizenzvertrags berührt die Wirksamkeit des Vertrags im
Übrigen nicht.

13. Vollständigkeit; Vertragssprache. Dieser Lizenzvertrag enthält die gesamte Vereinbarung zwischen
dir und Apple in Bezug auf die iOS-Software und tritt an die Stelle aller diesbezüglichen früheren
Vereinbarungen. Änderungen und Ergänzungen dieses Vertrags sind schriftlich niederzulegen und von
Apple zu unterzeichnen. Jegliche Übersetzung dieses Lizenzvertrags wird für lokale Zwecke angefertigt.
Im Falle von Unstimmigkeiten zwischen der englischen und der nicht englischen Version hat die
englische Version dieses Lizenzvertrags bis zu dem nicht durch deine lokale Gesetzsprechung
untersagten Ausmaß Gültigkeit.

14. Anerkennung der Rechte Dritter. Teile der iOS-Software nutzen oder enthalten möglicherweise
Software sowie andere urheberrechtlich geschützte Materialien von Dritten. Die Anerkennung,
Lizenzbestimmungen und Schadensersatzregelungen für diese Materialien sind in der elektronischen
Dokumentation der iOS-Software enthalten, und die Verwendung dieser Materialien unterliegt deren
jeweiligen Bestimmungen. Die Nutzung des Google-Diensts für sicheres Surfen (Safe Browsing Service)
unterliegt den Google-Nutzungsbedingungen (https://www.google.com/intl/en/policies/terms/) und der
Google-Datenschutzerklärung (https://www.google.com/intl/en/policies/privacy/).
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 35 of 452




15. Nutzung von MPEG-4; Hinweis zu H.264/AVC.
(a) Die iOS-Software wird im Rahmen der MPEG-4 Systems Patent Portfolio Lizenz für das Codieren
gemäß dem MPEG-4-Systems-Standard lizenziert mit der Ausnahme, dass eine zusätzliche Lizenz sowie
die Zahlung von Lizenzgebühren erforderlich ist für das Codieren in Verbindung mit (i) Daten, die auf
einem physischen Speichermedium archiviert oder repliziert werden, für das titelweise gezahlt wird, und/
oder (ii) Daten, für die titelweise gezahlt wird und die für die permanente Archivierung und/oder Nutzung
an einen Endbenutzer übertragen werden. Eine solche zusätzliche Lizenz ist bei MPEG LA, LLC.
erhältlich. Weitere Informationen findest du unter http://www.mpegla.com.

(b) Die iOS-Software enthält die Funktionalität zur MPEG-4-Videocodierung und/oder -decodierung. Die
iOS-Software wird im Rahmen der MPEG-4 Visual Patent Portfolio Lizenz für die persönliche und nicht
kommerzielle Nutzung durch eine Privatperson lizenziert zum Zwecke (i) der Codierung von
Videomaterial in Übereinstimmung mit dem MPEG-4-Visual-Standard („MPEG-4-Video“) und/oder (ii) der
Decodierung von MPEG-4-Videomaterial, das von einer Privatperson im Rahmen einer persönlichen und
nicht kommerziellen Aktivität codiert wurde, und/oder das von einem Videoanbieter stammt, der über
eine Lizenz der MPEG LA zum Bereitstellen von MPEG-4-Videos verfügt. Für andere Zwecke wird keine
Lizenz erteilt bzw. ist keine Lizenz impliziert. Weitere Informationen, einschließlich solche, die mit der
Nutzung und Lizenzierung im Falle von werberelevanten, internen und kommerziellen Zwecken
zusammenhängen, sind bei MPEG LA, LLC. erhältlich. Weitere Informationen findest du unter http://
www.mpegla.com.

(c) Die iOS-Software umfasst die Funktionalität zur AVC-Codierung- und/oder -Decodierung. Die
kommerzielle Nutzung von H.264/AVC erfordert eine zusätzliche Lizenzierung, und es gilt die folgende
Klausel: DIE AVC-FUNKTIONALITÄT DER iOS-SOFTWARE WIRD HIERIN NUR FÜR PERSÖNLICHE
UND NICHT KOMMERZIELLE ZWECKE VON PRIVATBENUTZERN LIZENZIERT, UM (i) VIDEOS
GEMÄSS DEM AVC-STANDARD („AVC-VIDEO“) ZU CODIEREN UND/ODER (ii) AVC-VIDEOS, DIE
ZUVOR VON EINEM PRIVATBENUTZER IM RAHMEN EINER PERSÖNLICHEN UND NICHT
KOMMERZIELLEN AKTIVITÄT CODIERT WURDEN, UND/ODER AVC-VIDEOS, DIE VON EINEM
VIDEOANBIETER MIT LIZENZ ZUM BEREITSTELLEN VON VIDEOS ERHALTEN WURDEN, ZU
DECODIEREN. INFORMATIONEN ZU ANDEREN VERWENDUNGSZWECKEN UND LIZENZEN SIND BEI
MPEG LA L.L.C ERHÄLTLICH. DIE URL-ADRESSE LAUTET http://www.mpegla.com.

16. Beschränkungen des Yahoo-Suchdiensts. Der Yahoo-Suchdienst, der über Safari verfügbar ist,
wird nur für die Nutzung in folgenden Ländern und Regionen lizenziert: Argentinien, Aruba, Australien,
Österreich, Barbados, Belgien, Bermuda, Brasilien, Bulgarien, Kanada, Cayman-Inseln, Chile,
Festlandchina, Hongkong, Taiwan, Kolumbien, Zypern, Tschechische Republik, Dänemark,
Dominikanische Republik, Ecuador, El Salvador, Finnland, Frankreich, Deutschland, Griechenland,
Grenada, Guatemala, Ungarn, Island, Indien, Indonesien, Irland, Italien, Jamaika, Japan, Lettland,
Litauen, Luxemburg, Malaysia, Malta, Mexiko, Niederlande, Neuseeland, Nicaragua, Norwegen, Panama,
Peru, Philippinen, Polen, Portugal, Puerto Rico, Rumänien, Singapur, Slowakei, Slowenien, Südkorea,
Spanien, St. Lucia, St. Vincent, Schweden, Schweiz, Thailand, Bahamas, Trinidad und Tobago, Türkei,
Großbritannien, Uruguay, USA und Venezuela.

17. Hinweis zu Microsoft Exchange. Die Einstellung für Microsoft Exchange-Mails in der iOS-Software
wird nur für die drahtlose Synchronisierung von Daten und Informationen wie E-Mails, Kontaktdaten,
Kalenderdaten und Aufgaben zwischen deinem iOS-Gerät und Microsoft Exchange-Server oder einer
anderen von Microsoft lizenzierten Serversoftware für die Implementierung des Microsoft Exchange
ActiveSync-Protokolls lizenziert.

EA1566
21.02.2019
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 36 of 452




————————————
Ergänzende Bestimmungen für Apple Pay

Diese ergänzenden Bestimmungen für Apple Pay („Ergänzende Bestimmungen“) ergänzen den iOS-
Softwarelizenzvertrag („Lizenzvertrag“); die Bestimmungen dieser Lizenz und diese ergänzenden
Bestimmungen sind für deine Nutzung der Apple Pay-Funktion maßgeblich, die im Rahmen dieser Lizenz
als „Dienst“ angesehen wird. Hervorgehobene Begriﬀe in diesen ergänzenden Bestimmungen haben die
im Lizenzvertrag festgelegte Bedeutung.

1.   Überblick und Nutzungsbeschränkungen

Apple Pay ermöglicht dir:

        •   das Speichern virtueller Darstellungen von Kredit-, Debit- und Prepaid-Karten, einschließlich
            Kredit-, Debit- und Prepaid-Karten von Geschäften und der Apple Pay Cash-Karte, die von
            der Apple Pay-Funktion unterstützt werden („Unterstützte Zahlungskarten“) und unterstützte
            iOS-Geräte verwenden, um kontaktlose Zahlungen an ausgewählten Orten oder innerhalb
            von Apps oder Websites zu leisten.
        •   die Nutzung von Kundenkarten und Geschenkkarten, die in Wallet gesichert sind („Apple
            Pay-fähige Karten“, und gemeinsam mit unterstützten Zahlungskarten, „Unterstützte
            Karten“), um kontaktlose Kunden- und Geschenkkartentransaktionen in ausgewählten
            Geschäften im Rahmen einer kontaktlosen Zahlung mit Apple Pay auszuführen; und
        •   das Senden von „Person-to-Person“-Zahlungen an andere Apple Pay-Benutzer.

Die Apple Pay-Funktionen der iOS-Software sind möglicherweise nur in ausgewählten Regionen, mit
bestimmten Kartenausstellern, Finanzinstituten und Händlern verfügbar. Die Funktionen können je nach
Region, Kartenaussteller und Händler variieren.

Du benötigst eine unterstützte Karte, um Apple Pay verwenden zu können. Änderungen an unterstützten
Karten sind vorbehalten. Damit du „Person-to-Person“-Zahlungen senden oder empfangen kannst,
benötigst du eine Apple Pay Cash-Karte.

Unterstützte Zahlungskarten und „Person-to-Person“-Zahlungen sind der Apple-ID zugeordnet, mit der
du dich bei iCloud angemeldet hast, um diese Funktionen zu nutzen. Unterstützte Karten sind nur für
Personen ab 13 Jahren verfügbar und unterliegen möglicherweise zusätzlichen Altersbeschränkungen,
die iCloud auferlegt, oder der unterstützten Karte, die du versuchst bereitzustellen. Die Apple Pay Cash-
Karte und die Fähigkeit, „Person-to-Person“-Zahlungen zu senden und zu empfangen, sind nur für
Personen verfügbar, die mindestens 18 Jahre alt sind.

Apple Pay ist für deine persönliche Nutzung vorgesehen und du darfst nur deine eigenen unterstützten
Karten bereitstellen. Wenn du eine unterstützte Firmenkarte bereitstellst, erklärst du damit, dass du die
Bevollmächtigung deines Arbeitgebers hast und befugt bist, deinen Arbeitgeber an diese
Nutzungsbestimmungen und alle durch Nutzung dieser Funktion durchgeführten Transaktionen zu
binden. Wenn du eine „Person-to-Person“-Zahlung sendest oder empfängst, erklärst du, dass dies zu
deinen persönlichen, nicht kommerziellen Zwecken geschieht.

Du verpflichtest dich, es zu unterlassen, Apple Pay für illegale oder betrügerische Zwecke oder jegliche
anderen Zwecke zu verwenden, die durch den Lizenzvertrag oder diese ergänzenden Bestimmungen
untersagt sind. Ferner erklärst du dich damit einverstanden, Apple Pay in Übereinstimmung mit
geltenden Gesetzen und Rechtsvorschriften zu verwenden. Du erklärst dich damit einverstanden, den
Apple Pay-Dienst (einschließlich des Zugriﬀs auf den Dienst durch automatisierte Mittel jeglicher Art)
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 37 of 452



oder jegliche Server oder Netzwerke, die mit dem Dienst verbunden sind, oder jegliche Strategien,
Vorgaben oder Regelungen von Netzwerken, die mit dem Dienst verbunden sind (einschließlich
unbefugter Zugriﬀ darauf, Nutzung oder Überwachung von Daten oder Verkehr dieser Netzwerke) nicht
zu beeinträchtigen oder zu stören.

2.   Beziehung von Apple zu dir

Apple Pay ermöglicht es dir, eine virtuelle Darstellung deiner unterstützten Karten auf deinem
unterstützten iOS-Gerät zu erstellen. Apple verarbeitet Zahlungen oder sonstige zahlungslose
Kartentransaktionen (z. B. Sammeln und Einlösen von Prämien) jedoch nicht und empfängt, hält oder
überträgt deine Geldmittel nicht; ferner hat Apple keinerlei Kontrolle über Zahlungen, Rückgaben,
Rückerstattungen, Prämien, Guthaben, Rabatte oder andere Geschäftsaktivitäten, die aus deiner
Nutzung dieser Funktion entstehen

Die Bestimmungen von Kartenvereinbarungen, die du möglicherweise mit deinem Kartenaussteller
geschlossen hast, gelten weiterhin für deine Nutzung deiner unterstützten Karten und deren Nutzung in
Verbindung mit Apple Pay. Ebenso unterliegen deine Teilnahme an jeglichen Händlerprämien- oder
Geschenkkartenprogrammen und deine Nutzung von Apple Pay-fähigen Karten in Verbindung mit Apple
Pay den allgemeinen Geschäftsbedingungen des Händlers.

Die Apple Pay Cash-Karte und die Fähigkeit, „Person-to-Person“-Zahlungen zu senden und zu
empfangen, sind nur in den USA verfügbar und sind Dienstleistungen, die von der Green Dot Bank,
einem Mitglied der FDIC, bereitgestellt werden. Wenn du diese Funktionen innerhalb von Apple Pay
aktivierst, eröﬀnest du ein Konto bei der Green Dot Bank, und wenn du eine „Person-to-Person“-
Zahlung sendest oder empfängst oder Geld von deiner Apple Pay Cash-Karte lädst oder abhebst, trägt
die Green Dot Bank die Verantwortung dafür, dass dein Geld empfangen und an den beabsichtigten
Empfänger gesendet wird. Änderungen des Finanzinstituts, das für das Angebot von Apple Pay Cash
und „Person-to-Person“-Zahlungen verantwortlich ist, sind vorbehalten, und deine Nutzung solcher
Funktionen unterliegt dessen jeweiligen Bestimmungen.

Keine Bestimmung in dieser Lizenz oder den ergänzenden Bestimmungen ändert die Bestimmungen
jeglicher Karteninhaber-, Nutzer- oder Händlervereinbarungen; diese Bestimmungen gelten für deine
Nutzung der anwendbaren unterstützten Karte oder der „Person-to-Person“-Zahlungsfunktion von Apple
Pay und deren virtueller Darstellung auf deinem iOS-Gerät. Du stimmst zu, dass Apple keine Partei
deiner Karteninhaber- oder Händlervereinbarungen ist, dass Apple nicht verantwortlich ist a) für die
Inhalte, Genauigkeit oder Nichtverfügbarkeit jeglicher Zahlungskarten, Kundenkarten, Geschenkkarten,
Geschäftsaktivitäten, Transaktionen oder Käufe während der Nutzung der Apple Pay-Funktionalität; (b)
für die Vergabe von Krediten oder die Bewertung der Kreditwürdigkeit; (c) für die Sammlung oder
Einlösung von Prämien oder gespeicherten Guthaben im Rahmen eines Programms von Händlern; (d) für
die Finanzierung oder das erneute Aufladen von Prepaid-Karten; (e) für das Senden oder Empfangen von
„Person-to-Person“-Zahlungen; oder (f) für das Laden, Einlösen oder Abheben von Geld von deiner
Apple Pay Cash-Karte.

Bei allen Streitigkeiten oder Fragen in Bezug auf Zahlungskarten, Kundenkarten, Geschenkkarten oder
zugehörigen Geschäftsaktivitäten wende dich bitte an deinen Kartenaussteller oder den betreﬀenden
Händler. Bei Fragen bezüglich der Apple Pay Cash-Karte oder „Person-to-Person“-Zahlungen wende
dich bitte an den Apple-Support.

3.   Datenschutz

Apple Pay benötigt einige Informationen von deinem iOS-Gerät, um die vollständige Benutzererfahrung
bieten zu können. Wenn du deine Apple Pay Cash-Karte verwendest oder „Person-to-Person“-
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 38 of 452



Zahlungen sendest oder empfängst, werden darüber hinaus zusätzliche Informationen über deine
Transaktionen erfasst und gespeichert, um dein Konto zu führen und Betrug zu verhindern sowie zu
regulatorischen Zwecken. Weitere Informationen zu den Daten, die im Rahmen deiner Nutzung von
Apple Pay, der Apple Pay Cash-Karte oder „Person-to-Person“-Zahlungen mit Apple Pay gesammelt,
verwendet oder bereitgestellt werden, findest du im Dokument zu Apple Pay und dem Datenschutz (du
kannst darauf zugreifen, indem du auf deinem iOS-Gerät oder innerhalb der Watch-App auf einem
verbundenen iOS-Gerät zu „Wallet & Apple Pay“ navigierst) oder auf der Website https://
www.apple.com/de/privacy. Indem du diese Funktionen verwendest, erklärst du dich damit
einverstanden, dass Apple, seine Tochtergesellschaften und Vertreter all die vorhergehenden
Informationen übertragen, sammeln, verwalten, verarbeiten und nutzen, um die Apple Pay-Funktionalität
bereitzustellen.

4.   Sicherheit; verlorene oder deaktivierte Geräte

Apple Pay speichert virtuelle Darstellungen deiner unterstützten Karten und sollte so geschützt werden,
wie du Bargeld oder deine physischen Kredit-, Debit-, Prepaid-, Kunden- oder Geschenkkarten schützt.
Wenn du deinen Gerätecode an Dritte weitergibst oder es Dritten erlaubst, ihren Fingerabdruck zur
Verwendung von Touch ID oder Aktivierung von Face ID hinzuzufügen, kann dies dazu führen, dass
diese mit Apple Pay auf deinem Gerät Zahlungen tätigen, „Person-to-Person“-Zahlungen senden,
anfragen oder empfangen, Geld von deiner Apple Pay Cash-Karte abheben oder Prämien oder
Guthaben erhalten oder einlösen können. Du allein trägst die Verantwortung für die Wahrung der
Sicherheit deines Geräts und deines Gerätecodes. Du erklärst dein Einverständnis damit, dass Apple
keinerlei Verantwortung trägt, wenn du dein Gerät verlierst oder Dritten den Zugriﬀ darauf ermöglichst.
Ferner erklärst du dich damit einverstanden, dass Apple keinerlei Verantwortung trägt, wenn du
unbefugte Änderungen an iOS vornimmst (z. B. durch Entsperren („Jailbreak“)).

Du musst möglicherweise zusätzliche Sicherheitsmaßnahmen aktivieren, etwa die Zwei-Faktor-
Authentifizierung für deine Apple-ID, um auf bestimmte Funktionen von Apple Pay zugreifen zu können,
darunter die Apple Pay Cash-Karte und „Person-to-Person“-Zahlungen mit Apple Pay. Wenn du diese
Funktionen nachträglich entfernst, kannst du auf bestimmte Funktionen von Apple Pay unter Umständen
nicht mehr zugreifen.

Wenn dein Gerät verloren geht oder gestohlen wird und du die Funktion „Mein iPhone suchen“ aktiviert
hast, kannst du „Mein iPhone suchen“ verwenden, um die Fähigkeit, mit den virtuellen unterstützten
Zahlungskarten auf dem Gerät zu zahlen oder „Person-to-Person“-Zahlungen zu senden, zu sperren,
indem du das Gerät in den Modus „Verloren“ versetzt. Du kannst dein Gerät auch löschen. Dieser
Vorgang wird versuchen, die Fähigkeit, auf dem Gerät mit den virtuellen unterstützten Zahlungskarten zu
zahlen oder „Person-to-Person“-Zahlungen zu senden, zu sperren und wird auch versuchen, die Apple
Pay-fähigen Karten zu entfernen. Du solltest jedoch auch den Aussteller deiner unterstützten
Zahlungskarten, den Händler, der deine Apple Pay-fähigen Karten ausgestellt hat, und im Falle deiner
Apple Pay Cash-Karte Apple verständigen, um unbefugte Zugriﬀe auf deine unterstützten Karten zu
verhindern.

Wenn du betrügerische oder missbräuchliche Aktivitäten meldest oder Apple solche Aktivitäten
vermutet, erklärst du dich damit einverstanden, bei jeglichen Untersuchungen mit Apple zu kooperieren
und jegliche von uns vorgeschriebenen Maßnahmen zur Betrugsbekämpfung durchzuführen.

5.   Haftungsbeschränkung

ZUSÄTZLICH ZU DEN IN DIESER LIZENZ FESTGELEGTEN HAFTUNGSAUSSCHLÜSSEN UND
HAFTUNGSBESCHRÄNKUNGEN ÜBERNIMMT APPLE KEINERLEI HAFTUNG FÜR KÄUFE,
ZAHLUNGEN, TRANSAKTIONEN ODER ANDERE GESCHÄFTLICHE AKTIVITÄTEN, DIE UNTER
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 39 of 452



VERWENDUNG DER APPLE PAY-FUNKTION GETÄTIGT WURDEN, UND DU ERKLÄRST DICH DAMIT
EINVERSTANDEN, DASS DU AUSSCHLIESSLICH VEREINBARUNGEN ZU RATE ZIEHST, DIE DU
MÖGLICHERWEISE MIT DEINEM KARTENAUSSTELLER, DEINEM ZAHLUNGSNETZWERK, DEINEN
FINANZINSTITUTEN ODER DEINEM HÄNDLER GETROFFEN HAST, UM JEGLICHE FRAGEN UND
STREITIGKEITEN IN BEZUG AUF DEINE UNTERSTÜTZTEN KARTEN, „PERSON-TO-PERSON“-
ZAHLUNGEN UND ZUGEHÖRIGEN GESCHÄFTLICHEN AKTIVITÄTEN ZU KLÄREN.

————————————
BENACHRICHTIGUNGEN VON APPLE
Für den Fall, dass Apple hinsichtlich deines Produkts oder Accounts mit dir Kontakt aufnehmen muss,
erklärst du dich damit einverstanden, diese Benachrichtigungen per E-Mail zu erhalten. Du erklärst dein
Einverständnis damit, dass Benachrichtigungen dieser Art, die wir dir auf elektronische Weise senden,
die gesetzlichen Voraussetzungen für die Kommunikation erfüllen.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 40 of 452



日本語


重要：お客様がiPhone、iPadまたはiPod touch（以下「iOSデバイス」といいます）をご使用になる
ことで、お客様は、以下のAppleの定める各条項に基づく拘束を受けることに同意されたことになりま
す。


A.   Apple iOSソフトウェア使用許諾契約
B.   Apple Pay 追加条項
C.   Appleからの通知について


Apple Inc.
iOSソフトウェア使用許諾契約
シングルユースライセンス


iOSデバイスをご使用になる前、または本ソフトウェア使用許諾契約（以下「本契約」といいます）に関
するソフトウェアアップデートをダウンロードする前に、本契約をよくお読みください。iOSデバイスを
ご使用になること、またはソフトウェアアップデートをダウンロードすることによって、本契約の各条
項の拘束を受けることに同意されたことになります。本契約の各条項に同意されない場合は、当該iOSデ
バイスのご使用またはソフトウェアアップデートのダウンロードを行わないでください。


もし、お客様が最近iOSデバイスをご購入され、本契約の各条項に同意されない場合、当該iOSデバイス
を返却期間内に取得されたApple Store、または正規代理店へ返却の上、払い戻しを受けることができ
る場合があります。なお https://www.apple.com/legal/sales-support/ におけるApple返品条件
の制限を受けるものとします。


1.  総則
(a) お客様のiOSデバイスに添付されている読み出し専用メモリ、その他の記録媒体またはその他あらゆ
る形態上の、ソフトウェア（ブートROMコード、内蔵されるソフトウェアおよび第三者のソフトウェア
を含みます）、文書、インターフェース、コンテンツ、フォント、および一切のデータ（以下「iOSオリ
ジナルソフトウェア」といいます）は、機能改善、ソフトウェアアップデートやAppleから供給されたシ
ステムリストアソフトウェアによってアップデートされたもの、またはリプレイスされたもの（以下
「iOSソフトウェアアップデート」といいます）も含めて（iOSオリジナルソフトウェアおよびiOSソフ
トウェアアップデートを、以下「iOSソフトウェア」と総称します）、Apple Inc.（以下「Apple」とい
います）が、お客様に対して、本契約条件に従う場合に限り使用を許諾するものであり、販売するもの
ではありません。また、Appleおよびそのライセンサーは、iOSソフトウェア自体の所有権を保持し、お
客様に非明示的に付与した権利のすべてを留保します。お客様は、本契約がお客様のiOSデバイスに内蔵
されたすべてのApple純正のアプリケーションに適用されることに同意されるものとします。ただし、当
該アプリケーションが別個のライセンスを伴う場合には、お客様はその別個のライセンスが当該アプリ
ケーションの使用に適用されることに同意されるものとします。


(b) Appleは、その独自の裁量により、iOSソフトウェアアップデートを今後提供することがあります。
iOSソフトウェアアップデートがある場合、それには存在するソフトウェア機能のすべてまたはAppleが
新規またはその他モデルのiOSデバイス用にリリースする新機能のすべてを必ずしも含むとは限りませ
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 41 of 452



ん。本契約の条件は、Appleが提供するiOSソフトウェアアップデートに適用されますが、お客様は当該
iOSソフトウェアアップデートに別個のライセンスが添付される場合は、その別個のライセンスが適用さ
れることに同意されるものとします。


(c)   お客様は、お客様の既存のiOSデバイスに基づいて、エクスプレス設定機能を使用して新規のiOSデ
バイスを設定する場合、お客様の新規のiOSデバイス上のiOSソフトウェアの使用には、本契約が適用さ
れることに同意されるものとします。ただし、当該ソフトウェアが別個のライセンスを伴う場合には、お
客様はその別個のライセンスが当該ソフトウェアの使用に適用されることに同意されるものとします。お
客様のiOSデバイスは定期的にAppleに対し、iOSソフトウェアのアップデートを確認します。アップ
デートが適用可能な場合は、お客様のiOSデバイス、および適用可能な場合はお客様の周辺機器にも、自
動的にダウンロードおよびインストールされます。Appleソフトウェアを使用することにより、お客様
は、Appleがお客様のiOSデバイスまたはお客様の周辺機器にiOSソフトウェアアップデートを自動的に
ダウンロードおよびインストールする場合があることに同意されたものとします。お客様は「設定」
>「一般」>「ソフトウェアアップデート」の順に選択することによって確認できる「自動アップデー
ト」の設定をオフすることによって、いつでも自動アップデートを一括してオフにすることができます。


2．    許諾された使用方法およびその制限
(a) 本契約条件に従い、お客様は、１台のApple純正のiOSデバイスでiOSソフトウェアを使用するため
の限定的な非独占的ライセンスを付与されます。以下に記載の2条(b)で許諾されるものを除き、またお
客様とAppleとの間の個別契約に規定がある場合を除き、本契約は、iOSソフトウェアが同時に複数の
Apple純正のiOSデバイス上に存在することを許諾するものではなく、また、お客様は頒布またはネット
ワーク上で複数の機器が同時にiOSソフトウェアを使用できるようにすることはできません。本契約は、
お客様にiOSデバイスとともに利用する第三者のデバイスやアクセサリまたは第三者のソフトウェアアプ
リケーションのデザイン、開発、製造、ライセンスあるいは流通についてのApple独自のインターフェー
スや他の知的財産権を利用する権利を付与するものではありません。これらの権利のいくつかは、
Appleからの個別のライセンスで利用可能となります。iOSデバイスのための第三者のデバイスおよびア
クセサリの開発に関しご不明な点があればhttps://developer.apple.com/programs/mﬁ/ をご覧くだ
さい。また、iOSデバイスのためのソフトウェアアプリケーションの開発に関しご不明な点があれば、
https://developer.apple.com をご覧ください。

(b) 本契約条件に従い、お客様は、お客様が所有または管理するiOSデバイス上のソフトウェアをアッ
プデート、またはリストアするため、お客様の当該iOSデバイスのモデル用にAppleが提供するiOSソフ
トウェアアップデートをダウンロードするための限定的な非独占的ライセンスを付与されます。本契約
は、お客様が管理または所有しないiOSデバイスをアップデート、またはリストアすることを許諾するも
のではなく、また、お客様は、iOSソフトウェアを頒布することはできず、またはネットワーク上で複数
の機器あるいはコンピュータが同時にiOSソフトウェアアップデートを使用できる状態にすることはでき
ません。お客様がiOSソフトウェアアップデートをご自身のコンピュータにダウンロードした場合、お客
様は、バックアップの目的に限り、機械による読み取り可能な形態でお客様のコンピュータ上に保存さ
れるiOSソフトウェアアップデートのコピーを１部作成することができます。ただし、バックアップ用複
製物は、iOSソフトウェアアップデートの原本に含まれる著作権情報のすべてまたは他の所有権表示を含
まなければなりません。


(c)   Appleが、購入時にお客様のiOSデバイスにApp StoreからApple純正のアプリケーションをプリ
    Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 42 of 452



インストールしている限りにおいて（以下「プリインストールアプリケーション」といいます）、お客様
はApp Storeにログインし、お客様のiOSデバイスにてそれらのプリインストールアプリケーションを使
用するために、お客様のApp Storeアカウントとプリインストールソフトウェアを関連付ける必要があ
ります。お客様がプリインストールアプリケーションとApp Storeアカウントとを関連付ける場合、お客
様は同時に、お客様のiOSデバイス上のその他のすべてのプリインストールアプリケーションも自動的に
関連付けられることになります。お客様のApp Storeアカウントとプリインストールアプリケーション
との関連付けを選択することによって、お客様は、Appleが、お客様のApp Storeアカウントにより使
用されたApple IDおよびお客様のiOSデバイスから収集された固有のハードウェア識別子を、お客様のリ
クエストの適格性を判断し、かつApp Storeを通じてお客様のプリインストールアプリケーションへの
アクセスを提供する目的で、固有のハードウェア識別子として、送信、収集、保持、処理および使用する
場合があることに同意されるものとします。お客様がプリインストールアプリケーションの利用を希望さ
れない場合、お客様はいつでも、お客様のiOSデバイスからプリインストールアプリケーションを削除す
ることができます。


(d) お客様は、iOSソフトウェアおよびこれにより提供されるサービスの全部または一部に対し、複製
（本契約に基づき明示的に許可される場合を除きます）、逆コンパイル、リバースエンジニアリング、逆
アセンブル、ソースコード導出の試行、暗号化、修正または二次的著作物の創作を行うことはできない
ものとし、これらの行為を行わないこと、および他者がこれらの行為を行うことを可能ならしめないこ
とに同意するものとします（ただし、上記の制限が適用法またはiOSソフトウェアに含まれ得るオープン
ソースコンポーネントの使用に適用されるライセンス条件により禁止される場合を除くものとします）。


(e) iOSソフトウェアは、著作権のないマテリアル、お客様が著作権を有するマテリアル、あるいはお
客様が複製を許諾されたか法的に認められたマテリアルを複製する場合に限り、マテリアルの複製に使
用することができます。お客様のiOSデバイスによって表示、保存またはアクセスされるコンテンツの一
切の所有権および知的財産権は、それぞれのコンテンツ所有者に帰属します。当該コンテンツは、著作
権またはその他の知的財産権に関する法律および条約に保護される場合があり、また当該コンテンツを
提供する第三者の使用条件に従っていただく場合があります。本契約に別途規定のない限り、本契約
は、当該コンテンツを使用するいかなる権利をお客様に許諾するものではなく、当該コンテンツがお客
様に提供され続けることを保証するものでもありません。

(f) 本契約の各条項に従い、お客様はiOSソフトウェアに含まれた、またはiOSソフトウェアにて作成さ
れたAnimojiおよびMemoji（以下「システムキャラクター」といいます）を、(i)iOSソフトウェアが稼働
する間、ならびに(ii)お客様ご自身のオリジナルコンテンツの作成、およびお客様の個人的な非商用のプ
ロジェクトのために使用することができます。営利、非営利、公共への共有、商業的な背景でのいかな
るシステムキャラクターの使用、複製、表示、実行、記録、出版または再頒布を含むがこれらに限らな
い、その他の目的でのシステムキャラクターの使用は、本契約で許可されていません。


(g) お客様は、iOSソフトウェアおよび本サービス（下記5条にて定義されます）を、お客様が居住す
る、またはiOSソフトウェアおよび本サービスをダウンロードもしくは使用する国や地域の法令を含む、
すべての適用される法令を遵守して使用されることに同意したものとします。iOSソフトウェアおよび本
サービスの機能は、すべての言語または地域で利用いただけるとは限らず、ある機能は地域によって異な
り、またある機能は、お客様のサービスプロバイダにより利用が制限されたり、または利用不可であっ
たりする場合があります。iOSソフトウェアまたは本サービスのいくつかの機能には、Wi-Fiまたは携帯
    Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 43 of 452



電話通信のデータ接続が必要になります。


(h) App Storeの利用には、Apple IDの名称で知られる個別のユーザ名およびパスワードの組み合わせ
を取得する必要があります。Apple IDはまた、アプリケーションのアップデートならびに、iOSソフト
ウェアおよび本サービスの特定の機能にアクセスするためにも必要となります。


(i) お客様は、iOSソフトウェアの多くの機能、内蔵アプリケーションおよび本サービスがデータ送信に
よりお客様のデータプランに料金を発生させること、および当該料金をお客様がご負担することにつ
き、了承されたものとします。お客様は、どのアプリケーションに携帯電話のデータ使用を許可するか
確認および管理することができ、また携帯電話のデータ設定のもと、当該アプリケーションがどのくら
いのデータを消費するか、概算を確認することができます。さらに、お客様のWi-Fi接続が弱い時、Wi-Fi
アシストは自動的に携帯電話通信に切り替え、それにより携帯電話のデータ使用量が増加し、お客様の
データプランの料金に影響を及ぼす可能性があります。Wi-Fiアシストは初期設定にてオンになっていま
すが、「設定」から無効にすることができます。詳細については、iOSデバイスのユーザガイドをご覧く
ださい。


(j) お客様が自動Appアップデートを許可された場合、お客様のiOSデバイスは定期的にAppleに対し、
お客様のデバイス上のアプリケーションのアップデートの有無を確認し、アップデートが適用可能な場合
は、お客様のデバイスに自動的にダウンロードおよびインストールされます。お客様は、「設定」の
「iTunes & App Store」をタップし、「自動ダウンロード」の「アップデート」をオフすることによっ
て、いつでも自動Appアップデートを一括してオフにすることができます。


(k) 一定の状況下でのiOSデバイスの使用は、お客様の注意をそらすものとなり、危険な状況を引き起
こす原因となる場合があります（例えば、車を運転中のテキスト入力、または自転車乗車中のヘッド
フォンの使用は避けてください）。iOSデバイスを使用することにより、お客様は、携帯電話またはヘッ
ドフォンの使用を禁止または制限するルール（例えば、運転時の通話にはハンズフリー機能を使用する
などの要件）を守る責任が、お客様ご自身にあることに同意するものとします。


3. 譲渡  お客様は、iOSソフトウェアのレンタル、リース、貸与、販売、再頒布またはサブライセ
ンスを行うことはできません。ただし、お客様は、iOSソフトウェアに関するお客様がライセンス付与さ
れた権利のすべてを、iOSデバイスの所有権の移転にともなって、第三者に対して一回限りの永久譲渡を
することができます。この場合、以下の条件をすべて満たさなければなりません:(a) 当該譲渡は、すべて
の構成要素、および本契約を含むiOSデバイスおよびiOSソフトウェアのすべてを含んでいなければなら
ないこと、(b) お客様は、iOSソフトウェアの複製物を、その全部または一部を問わず、コンピュータま
たは他の記憶装置上に保存されているものを含め保持してはならないこと、(c) iOSソフトウェアの譲受
人は、本契約を読み、かつ本契約条件の受諾に同意すること。


4.  データ使用に対する同意     お客様が、お客様のデバイスを使用する際、iMessageおよび
FaceTimeなど、iOSソフトウェアの様々なコミュニケーション機能を使用する際に、他者が電話番号に
よってお客様と連絡が取れるようにするために、お客様の電話番号およびiOSデバイスの一定の固有の識
別子がAppleに送られます。iMessageをご利用になる際、Appleは、送達を確実にするため、一定期間
に限り、お客様のメッセージを暗号化された形式でお預かりする場合があります。お客様は、お客様の
iOSデバイス上の、FaceTimeまたはメッセージ設定からFaceTimeまたはiMessageをオフにすることが
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 44 of 452



できます。解析、位置情報サービス、Siriおよび音声入力のような特定の機能でも、それら各機能を提供
するため、お客様のiOSデバイスからの情報を必要とする場合があります。お客様がそれらの機能をオン
にするまたは使用する際、どのような情報がAppleに送られるのか、およびどのように使用されるかに
ついて、詳細が提供されることになります。お客様は https://www.apple.com/jp/privacy/ をご覧いた
だくことにより、さらなる情報を入手できます。お客様の情報は、いかなる場合においても、Appleプラ
イバシーポリシーに従って取り扱われます。プライバシーポリシーについては、https://
www.apple.com/legal/privacy/ をご確認ください。


5.   サービスおよび第三者のマテリアル
(a) iOSソフトウェアにより、AppleのiTunes Store、App Store、Apple Books、Game Center、
iCloud、マップやその他Appleおよび第三者のサービスとウェブサイト（以下、総称して、または個別に
「本サービス」といいます）へのアクセスが可能となり得ます。本サービスは、すべての言語または国で
利用可能とは限りません。これら本サービスの利用にはインターネット接続が必要であり、一定の本
サービスの利用はApple IDおよび追加の規約の承諾が必要となり、追加料金が発生することもありま
す。Apple IDまたはその他のApple製品でソフトウェアをご使用になることで、最新のAppleメディア
サービス利用条件または本サービスに適用されるサービス条件に同意されたものとします。最新のサー
ビス規約はhttps://www.apple.com/legal/internet-services/itunes/をご参照ください。


(b) iCloudにサインアップした場合、「iCloudフォト」、「自分のフォトストリーム」、「共有アルバ
ム」、「バックアップ」および「iPhoneを探す」など特定のiCloud機能は、iOSソフトウェアから直接
アクセスすることができます。iCloudおよびこれらの機能を使用することにより、お客様は最新の
iCloudサービス規約を確認し、同意されたことになります。最新のサービス規約は、https://
www.apple.com/legal/internet-services/icloud/ をご参照ください。


(c) Newsアプリケーションコンテンツ Newsアプリケーションを通じてアクセスされたコンテンツの
使用は、個人使用および非商用使用のみに限られ、コンテンツのいかなる所有権もお客様に譲渡される
ものではありません。また当該コンテンツを商用または宣伝に利用する権利は、これらに限られません
が、特に除外されます。さらに、お客様はNewsを通じてアクセスされたイメージの一切を、スタンドア
ロンファイルとして再版、再送および複製することは禁じられています。

(d) マップ 地図の対象範囲を含む、iOSソフトウェアのマップサービスおよびその機能（以下「マッ
プ」といいます）は、地域によって異なる場合があります。ターンバイターンナビゲーション、交通およ
び地域検索のようなマップが有する位置情報機能をご利用になる場合、お客様のリクエストに対応する
ため、またマップの改善を促進するため、お客様のiOSデバイスの現在地情報を含む、様々な位置関連お
よび利用情報がAppleに送信されることがあります。それらの位置情報および利用情報はお客様個人を特
定しない形式でAppleに収集されます。マップを利用することにより、お客様は、マップ機能およびサー
ビスならびにその他のApple製品およびサービスの提供および改善を行うために、Appleならびにその
子会社および代理人によるその情報の送信、収集、保持、処理および使用に同意および承諾されるもの
とします。Appleはさらに、当該情報を集約して、または個人が特定できない形式のいずれかにて、パー
トナーおよびライセンシーに、彼らのマップならびに位置情報を利用した製品およびサービスの改善に
役立てるため提供する場合があります。お客様は、iOSデバイスの位置情報サービス設定からマップの個
別位置設定をオフにすることにより、マップの位置情報に基づく機能をオフにすることができます。た
だし、位置サービスをオフにした場合、ターンバイターンナビゲーションのようなマップの機能の一部は
   Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 45 of 452



ご利用いただけなくなります。


(e) お客様は、本サービスをご利用いただくことにより、露骨な表現を有することが明記されているか
を問わず、不快、わいせつ、または問題があるとみなされる可能性のあるコンテンツに遭遇する可能性
があり、特定のURLの検索結果に入ることが、自動的および意図せずに不適切な内容のものへリンクま
たは関連することがあることをご理解いただきます。お客様はご自身の責任により本サービスをご利用
いただくことに同意されたものであり、Apple、その関連会社、代理人、本人、またはそのライセンサー
はお客様に対し不快、わいせつ、または問題があるとみなされる可能性のあるコンテンツに関する責任
を一切負いません。


(f) 本サービスの一部は、第三者のコンテンツ、データ、情報、アプリケーションまたは第三者からの
マテリアル（以下、総称して「第三者のマテリアル」といいます）を表示し、これらを備え、もしくは
これらを利用可能にすること、または第三者のウェブサイトにリンクされることがあります。本サービ
スをご利用いただくにあたり、お客様は、Appleがこのような第三者のマテリアルやウェブサイトの内
容、正確性、完成度、適時性、有効性、著作権遵守、適法性、品質またはその他いかなる側面について
も、調査および評価する責任を負うものではないことを承認し、同意されたものとします。Apple、その
役員、関連会社および子会社は、第三者による本サービス、第三者のマテリアルもしくはウェブサイ
ト、またはその他一切の第三者のマテリアル、製品もしくはサービスに関し、お客様およびその他の
方々に対して、一切の保証または承認をせず、かつ一切の義務または責任を引き受けず、また負いませ
ん。第三者のマテリアルおよびその他のウェブサイトへのリンクは、お客様への便宜のためだけに提供
されているものです。


(g) Appleおよびそのコンテンツプロバイダのいずれも、本サービスによって表示される株式情報、位
置データまたはその他のデータの利用可能性、正確性、完成度、信頼性または時宜性について保証いた
しません。本サービスのいずれかによって示される財務情報は、一般情報提供のみを目的としており、
投資アドバイスとして信用されるべきものではありません。本サービスを通して得られる情報に基づき有
価証券取引を行う前に、お客様は、お客様の国や地域で財務または証券にかかるアドバイスができる法
律的に資格を与えられた財務または証券の専門家に相談することが適切です。本サービスを介して提供
されるAppleマップサービスを含む位置データは基本的なナビゲートおよびプランニングを目的とするだ
けのものであり、詳細な地域情報が必要な状況を担保するものではなく、または間違えを含むもので
あったり、不正確であったり、時間遅延していたりまたは不完全な位置データが、死亡、身体傷害、財
産や環境への損害を生じさせるようなことがある状況において、信用性を担保するものではありませ
ん。お客様は、マップサービスから受信する結果は、天候、道路および交通状況、地政学的事象を含む
がこれらに限定されないマップデータの正確性に影響を与え得る要因に基づく実際の道路、地域状況に
より異なり得ることに同意されたものとします。お客様の安全性のために、ナビゲーション機能をご利用
になる場合は、つねに道路標識および実際の道路状況に注意してください。交通ルールを守り、安全運
転をし、また徒歩での行き方は、歩道または緑道を含んでいない場合がありますので、ご注意くださ
い。


(h) お客様は、本サービスを利用していずれかのコンテンツをアップロードする限りにおいて、お客様
が当該コンテンツにおける一切の権利を有しているか、または、当該コンテンツのアップロードを行う
権限を付与されているか、もしくは法的に認められていること、および当該コンテンツが、本サービス
に適用されるいかなるサービス条項にも違反していないことを表明するものとします。お客様は、本
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 46 of 452



サービスが、Apple、サイトオーナー、またはそれらのライセンサーにより専有されるコンテンツ、情報
およびマテリアルを含むこと、著作権を含みますがこれに限られない適用ある知的財産権やその他の関
係法令により保護されることに同意されたものとします。お客様は、お客様がこれら専有のコンテン
ツ、情報またはマテリアルを本サービスの許諾された利用以外の方法において、または本契約の条項に矛
盾するか第三者やAppleの知的財産権の侵害となるいかなる仕方においても利用しないことに同意され
たものとします。いかなる形態または方法によるものであっても、本サービスのいかなる部分の複製も
禁止されます。お客様は、方法のいかんにかかわらず、本サービスの修正、レンタル、リース、貸与、販
売、頒布、または本サービスに基づく二次的著作物の創作を行わないことに同意されされたものとしま
す。お客様は、コンピュータウィルス、ワーム、トロイの木馬、その他のマルウェア、不法侵入やネット
ワーク容量に負荷をかけること等（これらを含みますが、これらに限定されません）、許可されていな
い方法により本サービスを不正利用してはなりません。さらに、お客様は、方法にかかわらず、本サービ
スを嫌がらせ、不正利用、ストーキング、脅迫、中傷その他の第三者の権利を侵害する方法により使用
しないことに同意するとともに、お客様のそのような方法による使用や、お客様が本サービスを利用し
た結果として受領する可能性のある、いかなる嫌がらせ、脅迫、中傷、攻撃的、権利侵害的または違法
なメッセージや放送に関し、Appleが一切責任を負うものではないことに同意されたものとします。


(i) iOSデバイスからアクセスし、リンクされ、または表示されている本サービスや第三者のマテリアル
はすべての言語または国、地域にて利用できるとは限りません。Appleは、当該サービスおよび第三者の
マテリアルがどこか特定の場所に適しており、または特定の場所で利用可能であることについて、いかな
る表明もしません。お客様が当該サービスおよび第三者のマテリアルの使用またはこれらへのアクセス
を選択する限りにおいて、お客様は、ご自身の判断でこれらにアクセスされるものとし、適用される現
地法、およびプライバシーおよびデータ収集に関する法律を含むがこれらに限らない一切の適用法令を
遵守することは、お客様の責任です。お客様のiOSデバイスを通じて写真を共有または同期する場合、ど
こで、いつ写真が撮影されたか、および詳細情報を含むメタデータが、写真とともに送信される場合が
あります。Appleのサービス（iCloudフォトライブラリなど）を使用して当該写真を共有または同期す
ると、Appleは当該メタデータを受信または保存することになります。Appleおよびそのライセンサー
は、いつでも、お客様に通知せずに、変更、一時停止、削除、またはアクセス不能にする権利を留保し
ています。Appleは、いかなる場合であっても、本サービスを削除またはアクセス不能にすることに対
し、一切の責任を負わないものとします。また、Appleは、いかなる場合であっても、通知なしに、責任
を負うこともなく、一定の本サービスの利用またはアクセスを制限することもできます。


6. 解除  本契約は、解除されるまで有効です。本契約に基づくお客様の権利は、本契約条件のいず
れかにお客様が違反した場合、Appleが通知をすることなくして、自動的に終了するか、または効力を失
います。本契約の終了に伴い、お客様は、iOSデバイスの使用をすべて中止しなければなりません。本契
約の 4条、5条、6条、7条、8条、9条、12条および 13条は、本契約終了後も存続するものとします。


7.    保証の否認
7.1   お客様が、消費者（iOSソフトウェアをご自分のお仕事、業務または職業以外でご使用の方）であ
る場合、以下の制限がお客様に適用されることを禁止する居住国の法的権利を有する可能性がありま
す。お客様に適用されることが禁止されている場合、これらはお客様には適用されません。権利について
の詳細は、お近くの消費者団体にお問合わせください。


7.2   お客様は、適用法が許容する限りにおいて、iOSソフトウェアおよびiOSソフトウェアによって実
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 47 of 452



行またはアクセスされる一切の本サービスを使用する上での危険はお客様のみが負担し、品質適合性、
性能、正確性および努力に関する包括的危険は、お客様にあることを明確に認識し同意します。


7.3   適用法が最大限に許容する限りにおいて、iOSソフトウェアおよび本サービスは、すべての瑕疵を
問わずかつ一切の保証を伴わない「現状渡し」および「提供可能な限度」で提供され、Appleおよび
Appleのライセンサー（本契約7条および 8条において「Apple」と総称します）は、iOSソフトウェア
および本サービスに関するすべての明示、黙示または法令上の保証および条件を明確に否認します。当
該保証および条件には、商品性、品質適合性、特定目的適合性、正確性、平穏享有権および第三者の権
利非侵害性を含みますがこれらに限られません。


7.4 Appleは、iOSソフトウェアおよび本サービスの娯楽性の妨害がないこと、iOSソフトウェアに含
まれる機能、またはiOSソフトウェアにより実行または提供される本サービスがお客様の要求を満足さ
せるものであること、iOSソフトウェアおよび本サービスが支障なくもしくは誤りなく作動すること、本
サービスが継続して提供されるものであること、iOSソフトウェアまたは本サービスの瑕疵が修正される
こと、iOSソフトウェアまたは本サービスが第三者のソフトウェア、アプリケーションまたは第三者の
サービスと互換性があることを保証しません。本iOSソフトウェアをインストールされることで、
Apple製品およびサービスだけでなく、第三者のソフトウェア、アプリケーションまたは第三者のサー
ビスの可用性およびユーザビリティに影響を与える場合があります。


7.5 お客様は、iOSソフトウェアおよび本サービスによるコンテンツ、データまたは情報に関する不具
合もしくは情報の遅延、またはエラーもしくは不正確性が死亡、身体傷害、または重大な身体もしくは
環境に対する損害を引き起こすような状況や環境（原子力施設、飛行機運航または通信システム、航空
管制、生命救助または武器システムを含みますが、これらに限られません）においてiOSソフトウェアお
よび本サービスを使用することが意図されるものでなく、また、使用に適さないことを了解するものと
します。


7.6 AppleまたはAppleの権限ある代表者の、口頭もしくは書面による情報または助言の一切は、新
たな保証を行うものではありません。iOSソフトウェアまたは本サービスに瑕疵があると判明した場
合、お客様が、すべてのサービス、修理または修正に要する一切の費用を負担します。黙示の保証の免
責または適用のある消費者法令上の権利の制限を認めない地域において、上記の免責および制限は、お
客様に適用されない場合があります。


8.  責任の制限  適用法令により禁止されない限り、Apple、その関連会社、代理人または本人は、
iOSソフトウェアもしくは本サービス、またはiOSソフトウェアおよび本サービスに関連する第三者のソ
フトウェアもしくはアプリケーションの使用または使用不可に起因または関連する、逸失利益、データ
の損壊または消失、データの送受信の失敗（コースの指示、割当およびマテリアルを含みますが、これ
らに限られません）、仕事の中断またはその他の商業的損害もしくは損失等を含む、身体傷害または付
随的損害、特別損害、間接損害または二次的損害等について、責任事由（契約、不法行為等）にかかわ
らず、いかように発生しようと、Appleが当該損害の可能性を示唆されていた場合においても、一切の
責任を負いません。身体傷害、付随的損害または間接損害に対する免責または責任の制限を法的に認め
ない地域において、本制限は、お客様に適用されない場合があります。いかなる場合も（身体傷害を含
む場合に適用法が要請する場合を除いて）、すべての損害に関するお客様に対するAppleの賠償責任総額
は、250米ドルを上限とします。上記の救済がその本質的目的を達成できない場合でも、前述の制限が
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 48 of 452



適用されます。


9.   デジタル証明書      iOSソフトウェアには、Appleまたは第三者のいずれかから発行されるデジタ
ル証明書を受領できる機能が含まれています。お客様は、Appleまたは第三者のいずれかから発行され
る証明書を信頼するか否かの判断につき、単独で責任を負うものとします。デジタル証明書を使用する
上での責任はお客様のみが負担するものとします。適用法が最大限に許容する限りにおいて、Apple
は、デジタル証明書に関する商品性、特定目的適合性、正確性、安全性または第三者の権利非侵害性に
つき、明示または黙示を問わず一切の保証または表明を行いません。


10. 輸出管理      お客様は、アメリカ合衆国の法律およびiOSソフトウェアが取得された国の法律が
認めている場合を除き、iOSソフトウェアを使用または輸出もしくは再輸出することはできません。特
に、例外なく、iOSソフトウェアを、(a)アメリカ合衆国の通商禁止国または(b)アメリカ合衆国財務省の
特別指定国リスト（list of Specially Designated Nationals）またはアメリカ合衆国商務省の拒否人名
リスト（Denied Personʼs List or Entity List）またはその他の制限者リスト上の一切の者に対し、輸出
または再輸出を行うことはできません。iOSソフトウェアを使用することにより、お客様は、上記国家に
住居を定めていないこと、または上記リストに該当するものではないことを表明および保証するものと
します。また、お客様は、お客様がアメリカ合衆国の法律で禁止されている目的でiOSソフトウェアを使
用しないことに同意されたものとします。当該目的にはミサイル、核兵器、化学兵器または生物兵器の
開発、設計、製造または生産を含みますが、これらに限定されません。


11.  エンドユーザが合衆国政府である場合                 iOSソフトウェアおよび関連文書は、「商業コン
ピュータソフトウェア(Commercial Computer Software)」「商業コンピュータソフトウェア文書
(Commercial Computer Software Documentation)」から構成される48 C.F.R. 2.101で定義する
「商業品目(Commercial Items)」であり、当該用語は、48 C.F.R. 12.212または48 C.F.R. 227.7202
で使用されています。48 C.F.R. 12.212または48 C.F.R. 227.7202-1から227.7202-4に従い、商業コ
ンピュータソフトウェアおよび商業コンピュータソフトウェア文書は、アメリカ合衆国政府のエンド
ユーザに対して、(a) 商業品目としてのみ、かつ(b) 本契約条件に従ってその他のエンドユーザすべてに
付与される権利のみを伴って、ライセンス付与されるものです。非公開の権利は、アメリカ合衆国の著作
権法に基づき留保されています。

12. 準拠法および契約の分離性  本契約は、法の抵触に関する原則を除き、カリフォルニア州法を
準拠法とし、同法に従って解釈されるものとします。本契約には、国際物品売買契約に関する国際連合
条約は適用されず、その適用は明示的に排除されるものとします。お客様が英国に居住する消費者の場
合、本契約はお客様の居住地を管轄する法律に準拠します。何らかの理由により、管轄権を有する裁判
所が本契約のいずれかの条項またはその一部について執行不能と判断した場合であっても、本契約の他
の条項または部分は、依然として完全な効力を有するものとします。


13. 完全合意、適用言語 本契約は、iOSソフトウェアに関するお客様とAppleの合意のすべてを
定めるものであり、本件に関する、従前の取決めに優越するものです。本契約の修正および変更は、当
該修正および変更が書面によりなされ、かつAppleが署名した場合を除き、拘束力を有しません。本契
約書の翻訳は、地域の必要に応じて行われるものであり、英語版とそれ以外の言語版とで差異矛盾があ
る場合、お客様の管轄法域における現地法が禁止しない範囲で、英語版の本契約を適用するものとしま
す。
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 49 of 452




14.   第三者の製品に関する承認          iOSソフトウェアの一部には、第三者のソフトウェアおよびその
他の著作物が利用され、または含まれております。当該著作物に関する確認、ライセンス条項および責任
制限に関する事項は、iOSソフトウェアに関する電子的書面に記載されており、お客様の当該著作物の使
用についてはそれらの各条項が適用されるものとします。Google Safe Browsing Serviceの使用は、
Google のサービス利用規約（https://www.google.com/intl/ja/policies/terms/）およびGoogleのプ
ライバシーポリシー（https://www.google.com/intl/ja/policies/privacy/）の適用を受けます。


15.    MPEG-4の使用、H.264/AVC に関する通知
(a) iOSソフトウェアは、MPEG-4 System Patent Portfolio Licenseに基づいてMPEG-4 Systems
Standardにしたがってエンコーディングするためにライセンスされるものです。ただし、以下のいずれ
か、または両方をエンコードする場合には、追加のライセンスとロイヤルティーの支払いが必要となりま
す: (i)タイトル毎に支払う物理的なメディアに保存または複製されるデータ (ii)タイトル毎に支払う永久
保存または永久利用するエンドユーザに送信されるデータ。これらの追加ライセンスは、MPEG LA,
LLC.より取得していただけます。詳細につきましては、http://www.mpegla.com をご参照ください。


(b) iOSソフトウェアには、MPEG-4ビデオエンコーディング機能および/またはデコーディング機能が
含まれています。iOSソフトウェアは、MPEG-4 Visual Patent Portfolio Licenseに基づいて消費者に
よる個人利用および非商用利用目的で以下のいずれか、または両方を行うためにライセンスされるもの
です：(i) MPEG-4 Visual Standardに従いビデオをエンコードすること(以下「MPEG-4ビデオ」とい
います)、（ii）個人的、非商業活動に従事する消費者によりエンコードされたか、MPEG-4ビデオを提
供するためにMPEG LAよりライセンスを受けたビデオ提供者から取得したMPEG-４ビデオをデコード
すること。その他の使用に関してはいかなるライセンスも付与されておらず、また黙示にも付与されてい
ません。販売促進用、社内用および商用の使用およびライセンスに関する情報を含む追加情報について
は、MPEG LA, LLC.より取得していただけます。http://www.mpegla.com をご参照ください。


(c) iOSソフトウェアには、AVCエンコーディング機能および/またはデコーディング機能が含まれてい
ます。H.264/AVCの商用利用には追加のライセンスが必要であり、以下の条件が適用されます：iOSソ
フトウェアにおけるAVC機能は、消費者が以下のいずれか、または両方を行うための個人利用および非
商用利用目的に限るものとします：(i) AVC Standardに従いビデオをエンコードすること（以下
「AVCビデオ」といいます）、および/または、(ii) 個人的、非商業的行為に参加する消費者によりエン
コードされたAVCビデオおよび/またはAVCビデオを提供するためにライセンスを受けたビデオ提供者
から取得したAVCビデオをデコードすること。他の使用およびライセンスに関する情報については、
MPEG LA L.L.C.より取得することができます。http://www.mpegla.com をご参照ください。


16. Yahoo 検索サービスの制限 Safariを通じて利用可能なYahoo 検索サービスは、以下の国お
よび地域においてのみ利用を許諾されます。アルゼンチン共和国、アルバ、オーストラリア連邦、オース
トリア共和国、バルバドス、ベルギー王国、バミューダ諸島、ブラジル連邦共和国、ブルガリア共和
国、カナダ、ケイマン諸島、チリ共和国、中華人民共和国、香港、中華民国、コロンビア共和国、キプロ
ス共和国、チェコ共和国、デンマーク王国、ドミニカ共和国、エクアドル共和国、エルサルバドル共和
国、フィンランド共和国、フランス共和国、ドイツ連邦共和国、ギリシャ共和国、グレナダ、グアテマラ
共和国、ハンガリー共和国、アイスランド共和国、インド、インドネシア共和国、アイルランド、イタリ
ア共和国、ジャマイカ、日本、ラトビア共和国、リトアニア共和国、ルクセンブルグ大公国、マレーシ
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 50 of 452



ア、マルタ共和国、メキシコ合衆国、オランダ王国、ニュージーランド、ニカラグア共和国、ノルウェー
王国、パナマ共和国、ペルー共和国、フィリピン共和国、ポーランド共和国、ポルトガル共和国、プエ
ルトリコ、ルーマニア、シンガポール共和国、スロバキア共和国、スロベニア共和国、大韓民国、スペイ
ン、セントルシア、セントビンセントおよびグレナディーン諸島、スウェーデン王国、スイス連邦、タイ
王国、バハマ国、トリニダード・トバゴ共和国、トルコ共和国、グレートブリテンおよび北アイルランド
連合王国、ウルグアイ東方共和国、アメリカ合衆国、ベネズエラ・ボリバル共和国。


17. Microsoft Exchangeに関する通知 iOSソフトウェアにおけるMicrosoft Exchangeメール設
定は、お客様のiOSとMicrosoft ExchangeサーバまたはMicrosoft Exchange ActiveSyncプロトコー
ルを実行するためにマイクロソフトによってライセンスされたその他のサーバソフトウェアとの間で電子
メール、連絡先、カレンダーおよび仕事などの情報を無線同期するためにのみライセンス付与されます。

EA1566
2019年2月21日


――――――――――――
Apple Pay 追加条項


これらのApple Pay追加条項（以下「追加条項」といいます）は、iOSソフトウェア使用許諾契約（以下
「本契約」といいます）を補完するものです。本契約および追加条項の双方が、本契約のもと、「本
サービス」とみなされるお客様のApple Pay機能の使用に適用されます。これらの追加条項で使用され
る大文字表記の用語は、本契約に規定された意味を有します。


１.   概要および使用制限


Apple Payは、お客様に対して次のサービスを提供します。


     •   小売店クレジットカード、デビットカード、プリペイドカード、およびApple Payキャッ
         シュカードを含む、Apple Pay機能に対応したクレジットカード、デビットカードおよびプ
         リペイドカード（以下「対応決済カード」といいます）の仮想表明を保存し、限定された場
         所またはアプリケーション内もしくはウェブサイトで、対応するiOSデバイスを非接触型決
         済に使用すること。
     •   Apple Payを利用した非接触型決済の一部として、限定店舗にて非接触のポイントカードお
         よびギフトカード取引を行う、Walletに貯めたポイントカードおよびギフトカード（以下
         「Apple Pay対応カード」といいます。また、対応決済カードと総称して「対応カード」と
         いいます）を使用すること。
     •   他のApple Pay利用者へ個人間送金を行うこと。


iOSソフトウェアのApple Pay機能は、限定された地域、カード発行者、金融機関および販売者との間で
のみ利用できます。機能は、地域、発行者および販売者によって異なる場合があります。


Apple Payを利用するために、お客様は、対応カードを保持する必要があり、対応カードは随時変更さ
れる場合があります。また、個人間送金の送受信のためには、お客様はApple Payキャッシュカードを
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 51 of 452



保持する必要があります。


対応決済カードおよび個人間送金は、これらの機能を利用するためにお客様がiCloudにサインインして
いるApple IDと関連付けられます。対応カードは13歳以上の個人の方のみご利用いただけます。また、
iCloudまたはお客様が提示しようとしている対応カードによって、追加の年齢制限が課される場合があ
ります。Apple Payキャッシュカードならびに個人間送金の送受信機能は18歳以上の個人の方のみご利
用いただけます。


Apple Payは、お客様の個人的な使用を意図としたものであり、お客様はご自身の対応カードのみを提
示することができます。お客様が対応する法人カードを提示する場合、お客様は、お客様の雇用主の承
認のもとそれを行い、お客様がこれらの利用条件および本機能の利用によって生じるすべての取引におい
て、雇用主を拘束する権限を与えられていることを、表明するものとします。お客様が個人間送金の送受
信を行う場合、お客様はお客様の個人的かつ非商用的使用を目的として行なっていることを表明するも
のとします。


お客様は、Apple Payを違法もしくは詐欺的な目的、またはその他本契約または追加条項によって禁止
された目的には使用しないことに、同意されるものとします。お客様は、さらに、適用法令に従い、
Apple Payを利用することに同意されるものとします。お客様は、Apple Payサービス（何らかの自動
化された手段を通じてサービスへアクセスすることを含みます）、またはサービスと接続されたすべて
のサーバもしくはネットワーク、またはサービスと接続されたネットワークのポリシー、要件または規
則（無許可のアクセス、データまたはトラフィックの使用またはモニタリングを含みます）を妨害また
は中断しないことに同意するものとします。


２.   Appleのお客様との関係


Apple Payは、お客様に対し、お客様の対応するiOSデバイス上で、お客様の対応カードの仮想表明の作
成を可能にします。ただし、Appleは、支払いの手続きまたはその他の支払いを伴わないカード取引（ポ
イントの付加および還元など）、お客様の資金の受領、保有もしくは移動、または本機能をお客様が利
用することによって生じ得る、支払い、返金、払戻、ポイント、特典、割引またはその他の商業的活動
を管理することはありません。


お客様がお客様のカード発行者との間で有するカード会員契約は、お客様の対応カードの利用および
Apple Payに関するそれらの利用に、引き続き適用されます。同様に、お客様の、販売者のポイント還
元またはギフトカードプログラムへの加入、およびApple Payに関連したApple Pay対応カードの利用
には、当該販売者の条件が適用されます。


Apple Payキャッシュカードおよび個人間送金の送受信機能は、アメリカ合衆国においてのみ利用可能
であり、連邦預金保険公社(FDIC)の加盟者であるGreen Dot Bankによって提供されるサービスです。
お客様がApple Pay内のこれらの機能を稼働する場合、お客様はGreen Dot Bankに口座を開設するこ
ととなり、お客様が個人間送金の送受信をしまたはお客様のApple Payキャッシュカードにチャージし
またはここから出金する場合、Green Dot Bankがお客様の金銭の受領または指定された受取人に対す
る送金について責任を負うこととなります。Apple PayキャッシュカードおよびApple Pay内の個人間
送金を提供する責任を有する金融機関は変更されることがあり、また、お客様の当該機能の使用には当
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 52 of 452



該金融機関の条件が適用されます。


本契約または追加条項は、お客様のカード会員契約、利用条件、または販売契約の条項を変更すること
は一切なく、当該条項はお客様の該当する対応カードまたはApple Payの個人間送金機能の利用および
お客様のiOSデバイス上の仮想表明に適用されます。お客様は、Appleがお客様のカード会員契約または
販売契約の当事者でないこと、およびAppleが次の事項に関して、責任を負わないことに同意するものと
します。(a)Apple Pay機能利用中の一切の支払いカード、ポイントカード、ギフトカード、商業的活
動、取引または購入の内容、正確性または非有用性; (b)クレジットカードの発行または信用適格性の評
価; (c)販売者のプログラムのもと、ポイントまたは特典の付加および還元; (d)プリペイドカードへの積立
ておよびチャージ; (e)個人間送金の送受信; または (f)お客様のApple Payキャッシュカードのチャージ、
清算、または出金。

支払いカード、ポイントカード、ギフトカードまたは関連する商業的活動についてのすべての紛争および
ご質問は、お客様のカードの発行者または該当する販売者にご連絡ください。Apple Payキャッシュ
カードまたは個人間送金についてのご質問は、Appleサポートにご連絡ください。


３.   プライバシー


Apple Payはすべての体験を提供するために、お客様のiOSデバイスからの情報を必要とします。さら
に、お客様がお客様のApple Payキャッシュカードまたは個人間送金の送受信をご利用される場合、お
客様のアカウントへサービスを提供することに加え詐欺防止と規制遵守の目的より、お客様の取引に関
する追加情報が収集され保持されます。お客様は、「Apple Payおよびプライバシーについて」（お客様
のiOSデバイス上のWalletおよびApple Payから、または対応するiOSデバイス上のWatchアプリケー
ションからアクセスすることができます）をお読みになるか、https://www.apple.com/jp/privacy/ を
ご覧いただくことによって、お客様のApple Pay、Apple Payキャッシュカード、またはApple Payの
個人間送金の使用の一環としてのデータの収集、使用または共有について、さらなる情報をご確認いた
だけます。これらの機能を使用することにより、お客様は、Apple Pay機能を提供するため、Appleなら
びにその子会社および代理人による前述の情報のすべての送信、収集、保持、処理および使用に関して同
意および承諾されるものとします。


４.   セキュリティ；紛失または使用不能なデバイス


Apple Payは、お客様の対応カードの仮想表明を保存しており、お客様が現金、お客様の実際のクレ
ジットカード、デビットカード、プリペイドカード、ポイントカードまたはギフトカードを保護するよう
に、保護されるべきものです。お客様のデバイスの暗証番号を第三者へ提示したり、Touch IDを使用す
るために第三者の指紋を追加したり、またはFace IDを利用可能にしたりすることは、彼らがお客様のデ
バイスでApple Payを使用し支払いを行うこと、個人間送金の送受信やリクエストをすること、お客様
のApple Payキャッシュカードから出金すること、およびポイントまたはクレジットを受領または還元
することを可能にするおそれがあります。お客様は、お客様のデバイスおよび暗証番号の安全性の保持に
対して、全責任を負うものとします。お客様は、お客様がお客様のデバイスの紛失またはアクセス共有を
された場合、Appleは一切責任を負わないことに同意するものとします。お客様は、お客様がiOSに無許
可の変更を加えた場合（例えば、「脱獄/ジェイルブレイク」のような方法により）、Appleは一切の責
任を負わないことに同意するものとします。
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 53 of 452




お客様は、Apple PayキャッシュカードおよびApple Payの個人間送金を含むApple Payの特定の機能
にアクセスするために、お客様のApple IDの2ファクタ認証などのセキュリティ対策を稼働する必要があ
る場合があります。お客様がそれらのセキュリティ機能を取り除いた場合、お客様はApple Payの特定
の機能にアクセスし続けることが出来なくなる場合があります。


お客様のデバイスが紛失または盗難に遭い、お客様が「iPhoneを探す」を稼働していた場合、お客様は
紛失モードにすることによって、デバイス上の仮想対応決済カードまたは個人間送金の送信による決済を
停止することができます。お客様はまた、デバイス上の仮想対応決済カードまたは個人間送金の送信によ
る決済を停止しApple Pay対応カードを削除するよう、デバイス内を消去することもできます。お客様
は、お客様の仮想対応カードへの無許可のアクセスを防ぐために、お客様対応決済カードの発行者、お
客様のApple Pay対応カードを発行した販売者、およびお客様のApple Payキャッシュカードの場合は
Appleへの連絡もしなければなりません。


詐欺的行為または悪用をお客様が報告、またはAppleがそれらの疑いを持った場合、お客様はすべての調
査においてAppleに協力し、Appleが提供する詐欺防止手段を利用することに同意されるものとします。


５.   責任の制限


本契約に規定される保証の否認および責任の制限に加え、APPLEは、APPLE PAY機能の利用から生じ
る、購入、支払い、取引、または他の商業的活動に対して一切の責任を負いません。お客様は、お客様
の対応カード、個人間送金、および関連する商業的活動に関する一切の疑問および紛争について、お客
様のカード発行者、支払いネットワーク、金融機関または販売者との間に有する合意のみを参照して解
決することに同意するものとします。


――――――――――――
Appleからの通知について
Appleよりお客様に対し、お客様の製品またはアカウントについてご通知をさせていただく必要がある
場合について、お客様は、かかる通知を電子メールによって受け取られることに同意いただきます。ま
た、お客様は、Appleがかかる電子的方法によって行う通知が、法律上要求されるすべての通知方式を満
たすことに同意いただきます。
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 54 of 452




简体中⽂文

重要事项:通过使⽤用iPHONE、iPAD或iPOD TOUCH( “iOS装置” ), 阁下已同意接受以下条款的约束:

A.   APPLE iOS软件许可协议
B.   APPLE PAY 补充条款
C.   来⾃自APPLE的通知

Apple Inc.
iOS软件许可协议
单⼀一使⽤用许可证

请先仔细阅读本软件许可协议(“许可证”),然后才使⽤用阁下的iOS装置或下载附随本许可证的软件更更新。阁下
⼀一使⽤用iOS装置或下载软件更更新(视适⽤用⽽而定),即表示同意接受本许可证的条款约束。如阁下不不同意本许可证
的条款,请勿使⽤用iOS装置或下载该软件更更新。

如阁下最近购买iOS装置并且如阁下不不同意许可证条款,可将iOS装置交还购取iOS装置的APPLE STORE商
店或授权分销商以取得退款,但须符合APPLE的退货政策规定,该政策载于https://www.apple.com/legal/
sales-support/。

1.   ⼀一般规定。
(a) 连同阁下的iOS装置提供并可以Apple提供的功能增强软件、软件更更新或系统恢复软件( “iOS软件更更新”)
予以更更新或取代的软件(包括Boot ROM代码、嵌⼊入式软件和第三⽅方软件)、⽂文档、界⾯面、内容、字体及任何
数据( “原iOS软件”),不不论是储存于只读存储器器、任何其它载体或属任何其它形式(原iOS软件和iOS软件更更新
统称“iOS软件”),是由Apple Inc.(“Apple”)许可阁下使⽤用⽽而⾮非售予阁下。阁下只可根据本许可证的条款加以
使⽤用,Apple及其许可⼈人保留留对iOS软件本身的所有权,并保留留⼀一切并未明确授予阁下的权利利。阁下同意本许
可证条款将适⽤用于任何可能已内置在阁下的iOS装置上的Apple品牌app，除⾮非该app另外附有单独的许可
证，在这种情况下，阁下同意该许可证的条款将规限阁下对该app的使⽤用。

(b) Apple可酌情提供未来的iOS软件更更新,这些更更新(如有的话)未必包含Apple就较新或其他型号iOS裝置发
⾏行行的所有现有软件功能或新的功能。本许可证条款监管由Apple提供的任何iOS软件更更新，除⾮非该iOS软件
更更新另外载有独⽴立许可证，在此情况下，阁下同意以该许可证的条款监管。

(c) 如阁下使⽤用快速设置功能以阁下现有的iOS装置为基础设置新的iOS装置，阁下同意，本许可证的条款
将监管阁下在阁下新的iOS装置上使⽤用iOS软件，除⾮非它另外附有单独的许可证，在这种情况下，阁下同意
该许可证的条款将监管阁下对该iOS软件的使⽤用。阁下的iOS装置会就iOS软件的更更新版本向Apple定期查
询。如有提供更更新版本，该更更新版本可⾃自动下载和安装到阁下的iOS装置和（如适⽤用）阁下的外围装置上。
阁下使⽤用Apple软件，即表示同意Apple可下载和安装⾃自动iOS软件更更新到阁下的iOS装置和阁下的外围装置
上。任何时候阁下均可完全关闭⾃自动更更新，只需更更改可在Settings > General > Software Update项下找到
的⾃自动更更新设定。

2.   允许的许可证⽤用途和限制。
(a) 在必须遵守本许可证条款和条件的情况下,阁下获授予在单⼀一台Apple品牌iOS装置上使⽤用iOS软件的有限
的、⾮非独家的许可证。除以下第2(b) 条允许外, 以及除⾮非阁下与Apple另⾏行行签⽴立协议规定外，本许可证不不允
许iOS软件在任何⼀一个时候存在于⼀一台以上Apple品牌iOS装置上,⽽而且阁下不不得在⽹网络上分发或提供iOS软
件,以致iOS软件在同⼀一时间可供多台装置使⽤用。本许可证并不不授予阁下使⽤用Apple拥有专有权的界⾯面及其它
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 55 of 452




知识产权,以设计、开发、制造、授予许可或分发第三⽅方装置与配件或第三⽅方应⽤用软件连同iOS装置使⽤用的
任何权利利。在获得Apple的另⾏行行许可下，可使⽤用其中某些权利利。有关为iOS装置开发第三⽅方装置与配件的详
情，请访问 https://developer.apple.com/programs/mﬁ/。有关为iOS装置开发应⽤用软件的详情，请访问
https://developer.apple.com。

(b) 在必须遵守本许可证条款和条件的情况下,阁下获授予下载Apple可能提供给阁下iOS装置型号的iOS软件
更更新的有限的、⾮非独家许可证,以更更新或恢复由阁下拥有或控制的任何此类iOS装置上的软件。本许可证并
不不允许阁下更更新或恢复不不受阁下控制的或并⾮非阁下拥有的iOS装置,⽽而且阁下不不得在⽹网络上分发或提供iOS软
件,以致iOS软件在同⼀一时间可供多台装置或多台计算机使⽤用。如阁下下载iOS软件更更新到阁下的计算机上，
阁下只可为备份⽬目的⽽而以机器器可读形式,复制⼀一份存储于阁下的计算机的iOS软件更更新;但该备份副本必须带
有原件上所载的⼀一切著作权或其它专有权的提示。

(c) 在阁下购买时Apple已在阁下的iOS装置上预安装Apple品牌app (“预安装app”)的范围内，阁下需要登
录到App Store并将这些预安装app关联到阁下的App Store帐户，才能在阁下的iOS装置上使⽤用它们。当阁
下将预安装app关联到阁下的App Store帐户时，阁下的iOS装置上所有其他预安装app将会同时⾃自动关联起
来。阁下选择将预安装app与阁下的App Store账户关联，即表示阁下同意Apple可传输、收集、维护、处
理理和使⽤用阁下的App Store账户所使⽤用的Apple ID和收集⾃自阁下的iOS装置的唯⼀一硬件标识符，作为验证阁
下所提出请求的资格的唯⼀一账户标识符，以及向阁下提供通过App Store存取预安装app的途径。如阁下不不
希望使⽤用预安装app，阁下可随时将其从阁下的iOS装置中删除。

(d) 阁下不不得且阁下同意不不会或促使他⼈人复制(本许可证明示允许除外)、反汇编、倒序制造、拆装、企图导
出其源代码、解码、修改iOS软件或制造其衍⽣生作品、或iOS软件提供的任何服务或其任何部分（适⽤用法律律
或可能包含在iOS软件内的开放源代码组件使⽤用许可证条款禁⽌止除外）。

(e) iOS软件可⽤用于复制材料料,只要该等使⽤用限于复制没有版权的材料料、阁下享有著作权的材料料或授权阁下或
合法允许阁下复制的材料料。通过阁下的iOS装置显示、存储或访问的任何内容，其所有权和知识产权属于相
关的内容所有权⼈人。此等内容可能受著作权或其他知识产权法律律和条约保护，及可能须遵守提供该等内容
的第三⽅方使⽤用条款。除在此另有规定外，本许可证并不不授予阁下使⽤用该等内容的任何权利利，亦不不保证该等
内容将继续提供给阁下。

(f)在必须遵守本许可证条款和条件的情况下，阁下可（i）在运⾏行行iOS软件时，使⽤用iOS软件所包含或以此创
建的Animoji和Memoji字符（“系统字符”），以及（ii）⽤用以创建阁下⾃自⼰己的原始内容和项⽬目，作为阁下个
⼈人的⾮非商业⽤用途。本许可证不不允许将系统字符⽤用于任何其他⽅方⾯面，包括但不不限于在营利利、⾮非营利利、公开分
享或商业背景下，使⽤用、复制、显示、执⾏行行、记录、发布或再分发任何系统字符。

(g) 阁下同意依照所有适⽤用法律律使⽤用iOS软件以及服务(定义⻅见以下第5条),此等法律律包括阁下所居住或者下载
或使⽤用iOS软件以及服务的国家或地区的当地法律律。iOS软件和服务的功能未必以所有语⾔言或在所有地区提
供，某些功能可能因地区⽽而异，有的可能会受到限制，或阁下的服务提供商没有提供。iOS软件和服务⼀一些
功能需要Wi-Fi或蜂窝数据连接。

(h) 使⽤用App Store需要⼀一个名为Apple ID的独有⽤用户名称和密码组合。要存取app的更更新版本及iOS软件和
服务的某些功能，同样需要⼀一个Apple ID。

(i) 阁下承认iOS软件许多功能、内置app和服务会传输数据，可能影响阁下数据计划的收费，以及阁下须负
责该等收费。阁下可在蜂窝移动数据的设定项下查看和控制哪些应⽤用程序获准使⽤用蜂窝移动数据，并查看
该等应⽤用程序已消耗了了多少数据的估计。此外，当阁下的Wi-Fi连接不不良时，Wi-Fi Assist会⾃自动切换到蜂
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 56 of 452




窝模式，或会导致使⽤用较多蜂窝数据及影响阁下的数据计划收费。Wi-Fi Assist是默认启⽤用的，但可在设定
项下予以禁⽤用。欲了了解更更多信息，请查阅阁下iOS装置的⽤用户指南。

(j) 如阁下选择允许⾃自动更更新app，阁下的iOS装置会向Apple定期查询有关更更新阁下装置上的app的问题。
如有提供的话，更更新版本会⾃自动下载和安装到阁下的装置上。阁下可随时完全关闭app的⾃自动更更新，只需前
往Settings，点选iTunes与App Store，然后在Automatic Downloads项下关闭Updates。

(k) 在某些情况下使⽤用iOS装置可能分散阁下的注意⼒力力，并可能导致危险情况（例例如，应避免在开⻋车时输⼊入
⽂文字信息，或在骑⾃自⾏行行⻋车时使⽤用头戴式⽿耳机）。阁下使⽤用iOS装置，即表示阁下同意负责遵守禁⽌止或限制使
⽤用⼿手机或头戴式⽿耳机的规则（例例如在开⻋车时拨打电话须使⽤用免提选项的规定）。

3.  转让。 阁下不不得出租、租赁、出借、出售、再分发或再许可iOS软件。但阁下可就iOS所有权之转让,
⽽而将阁下对iOS软件的⼀一切许可使⽤用权⼀一次性地永久转让予另⼀一⽅方,条件是:(a) 转让内容必须包括阁下的iOS
装置和全部iOS软件,包括其所有组成部分及本许可证;(b) 阁下不不得保留留iOS软件的全部或部分复制本,包括储
存于计算机或其它存储装置的复制本;以及(c) 接受iOS软件的⼀一⽅方已阅读并同意接受本许可证的条款和条
件。

4. 同意使⽤用数据。 当阁下使⽤用装置时，阁下的电话号码和阁下的iOS装置之某些独有的标识符会被发送
给Apple，以让其他⼈人通过iOS软件诸如iMessage 信息和FaceTime 通话等各种通信功能联系到阁下的电
话号码。当阁下使⽤用iMessage 信息时，Apple可在有限时间内以加密形式持有阁下的信息，以确保其传
送。阁下可前往阁下iOS装置上的FaceTime 通话或Messages设定项，关闭FaceTime 通话或 iMessage
信息。某些功能例例如分析、定位服务、Siri和听写可能需要来⾃自阁下的iOS装置的信息，才能提供其各⾃自的
功能。在阁下打开或使⽤用这些功能时，有关哪些信息会发送给Apple以及可能如何使⽤用这些信息的具体详情
将会提供给阁下，此外阁下亦可访问 https://www.apple.com/cn/privacy/ 深⼊入了了解。在任何时候,阁下
的信息均依照Apple的隐私政策处理理,该政策可在 https://www.apple.com/legal/privacy/ 浏览。

5.    服务和第三⽅方材料料。
(a) iOS软件能使阁下访问Apple的iTunes Store、App Store、Apple Books、游戏中⼼心、iCloud、地图以
及其他Apple和第三⽅方服务及⽹网址(统称及个别称为 “服务”)。这些服务未必以各种语⾔言或在各个国家提供。
使⽤用这些服务需要接⼊入互联⽹网,⽽而且使⽤用某些服务可能要求Apple ID和要求阁下接受附加的条款，并且可能
需⽀支付额外费⽤用。阁下就Apple ID或其他Apple服务使⽤用本软件,即表示同意接受该服务的适⽤用服务条款，例例
如阁下存取该等服务所在国家的Apple媒体服务最新的条款和条件。阁下可访问 https://www.apple.com/
legal/internet-services/itunes/查阅该等条款和条件。

(b) 如阁下登记使⽤用iCloud，可直接从iOS软件存取iCloud某些功能，例例如 “iCloud照⽚片（ iCloud
Photos）”、“我的照⽚片流（My Photo Stream）” 、“ 共享相簿 (Shared Albums)”、 “备份（Back
Up)”和“查找我的iPhone（Find My iPhone)”。阁下承认并同意，阁下使⽤用iCloud和这些功能须接受
iCloud服务的最新条款和条件。阁下可访问 https://www.apple.com/legal/internet-services/icloud/查
阅该等条款和条件。

(c) 新闻 App的内容。阁下通过新闻应⽤用程序访问的内容仅限于个⼈人⾮非商业⽤用途，内容的任何所有权利利益不不
会因此⽽而转让给阁下，并明确排除但不不限于这些内容的任何商业或促销使⽤用权。此外，阁下通过新闻访问
的任何图像，⼀一律律禁⽌止作为独⽴立⽂文件重新发布、再传输和复制。

(d) 地图。iOS软件的地图服务和功能（“地图”）（包括地图数据覆盖），可能会因地区⽽而异。当阁下使⽤用
地图内任何基于位置的功能，例例如逐向导航、交通和本地搜索功能，与位置和使⽤用相关的多项信息可能会
    Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 57 of 452




被发送到Apple，包括阁下iOS装置的实时地理理位置，以便便处理理阁下的请求和协助改善地图。Apple收集该
等位置和使⽤用数据的形式，不不会将阁下本⼈人识别出来。阁下使⽤用地图，即表示同意和允许Apple及其附属公
司和代理理传输、收集、维护、处理理和使⽤用这些信息，以提供和改善地图的功能和服务，以及Apple其他产品
和服务。Apple还可采取汇总或不不会将个⼈人识别出来兩者中的任⼀一形式，将此类信息提供给其合作伙伴和被
许可⼈人，以帮助改善他们的地图和基于位置的产品和服务。阁下可以禁⽤用地图基于位置的功能，只需前往
阁下iOS装置上的位置服务设置，并关闭地图的个别位置设置。然⽽而，如阁下禁⽤用位置服务的设置，即不不可
使⽤用某些地图功能例例如逐向导航。

(e) 阁下明⽩白,使⽤用任何服务意味阁下或会遇到可能被视为冒犯性、猥亵或讨厌的内容,这些内容可能使⽤用或
不不使⽤用直⽩白的语⾔言,以及任何捡索得到的结果或进⼊入某特定⽹网址(URL) 时,可能会⾃自动和⾮非故意地⽣生成与不不宜
资料料的链接或对不不宜资料料的提述。尽管如此,阁下同意使⽤用服务并⾃自担⻛风险,对于可能被发现属冒犯性、猥亵
或讨厌的内容,Apple、其关联公司、代理理⼈人、⾼高层管理理⼈人员或许可⽅方不不对阁下承担任何责任。

 (f) 某些服务可能显示、包括或提供来⾃自第三⽅方的内容、数据、信息、应⽤用软件或材料料( “第三⽅方材料料”)，或
⾄至某些第三⽅方⽹网站的链接。阁下⼀一使⽤用服务，即表示阁下承认并同意，Apple不不负责检查或评估此等第三⽅方
材料料或⽹网站的内容、准确性、完整性、时间性、有效性、符合版权规定、合法性、适当性或质量量，或任何
其他⽅方⾯面。对任何第三⽅方服务、第三⽅方材料料或⽹网站，或者第三⽅方的任何其它材料料、产品或服务，Apple 及
其管理理⼈人员、关联公司和⼦子公司不不作任何保证或认可，亦不不对阁下或任何其他⼈人或承担和负有任何责任或
负责。第三⽅方材料料和⾄至其它⽹网站的链接仅为⽅方便便阁下⽽而提供。

 (g) Apple 及其任何内容提供商不不保证任何服务显示的股票信息、位置数据或任何其他数据的可获得性、
准确性、完整性、可靠性或及时性。任何服务显示的⾦金金融信息仅供⼀一般参考之⽤用，不不应⽤用作可供依赖之投
资建议。在基于通过服务获得的信息进⾏行行任何证券交易易之前，阁下应向在法律律上有资格在阁下的国家或地
区提供财务或证券建议的专业财务或证券⼈人员咨询。任何服务提供的位置数据（包括Apple 地图服务）仅
作为基本导航和计划⽤用途⽽而提供，其⽬目的并⾮非作为依赖以⽤用于需要精确的位置信息的情况，或若位置数据
错误、不不准确、出现时间延误或不不完整可能会导致⼈人身伤亡或财产或环境损害的情况。阁下同意，由于例例
如但不不仅限于天⽓气、道路路和交通情况以及地缘政治事件等⾜足以影响地图数据准确性的种种因素，阁下从地
图服务收到的结果可能与实际道路路或地形情况有所不不同。为了了阁下的安全，使⽤用导航功能时，任何时候都
要注意展示的路路牌和当时的道路路情况，奉⾏行行安全驾驶习惯和遵照交通法规，并注意⾏行行⾛走的⽅方向可能不不包括
⼈人⾏行行道或⾏行行⼈人通道。

 (h) 在阁下使⽤用服务上传任何内容的范围内，阁下声明阁下拥有所有权利利或得到授权或以其他⽅方式获法律律
允许上传该等内容，以及该等内容不不违反适⽤用于服务的任何服务条款。阁下同意服务含有属Apple、⽹网站所
有⼈人或其许可⼈人拥有的专有内容、信息和材料料,受适⽤用的知识产权和其它法律律保护,包括但不不限于版权。阁下
同意除服务的允许⽤用途外,阁下不不会使⽤用此等专有内容、信息或材料料,也不不以任何与本许可证的条款不不⼀一致或
侵犯第三⽅方或Apple的任何知识产权的⽅方式使⽤用此等专有内容、信息或材料料。服务的任何部分,均不不得以任
何形式或以任何⽅方式复制。阁下同意不不以任何⽅方式修改、出租、租赁、借出、销售或分发服务,亦不不以任何
⽅方式以服务为基础创作任何衍⽣生作品，阁下不不得以任何未获授权的⽅方式(包括但不不限于通过服务来传输任何
电脑病毒、蠕⾍虫、特洛洛伊⽊木⻢马或其它恶意软件，或者通过侵⼊入⽹网络或加重⽹网络容量量负担)利利⽤用服务。阁下进
⼀一步同意不不以任何⽅方式使⽤用服务骚扰、辱骂、追踪、威胁或诽谤任何其他⽅方,或以侵犯或违反任何其他⽅方权
利利的⽅方式使⽤用服务,以及对于阁下的任何此等使⽤用或由于使⽤用服务致使阁下可能收到的任何骚扰性、威胁
性、诽谤性、冒犯性、侵权或⾮非法信息或传输,Apple不不在任何⽅方⾯面对阁下承担任何责任。

 (i) 此外,可通过iOS装置存取、链接或显示的服务和第三⽅方材料料,不不会以所有语⾔言或在所有国家或地区提供。
Apple不不声明此等服务和第三⽅方材料料为适当的及可在任何特定地点提供。在阁下选择使⽤用或存取此等服务和
第三⽅方材料料的范围内,阁下是⾃自主决定这样做的,并负责遵守任何适⽤用法律律,包括但不不限于适⽤用的地⽅方法律律，以
    Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 58 of 452




及隐私和数据收集法律律。通过阁下的iOS装置共享或同步照⽚片，可能会导致连同照⽚片传输元数据，包括拍摄
照⽚片的地点和时间及景深信息。使⽤用Apple服务（例例如iCloud 照⽚片图库）共享或同步这些照⽚片,将牵涉到
Apple收取和存储该等元数据。Apple 及其许可⼈人保留留在不不通知的情况下,随时更更改、暂停、取消或禁⽌止存
取任何此等服务的权利利。在任何情况下,Apple 均不不对取消或禁⽌止存取任何此等服务负有责任。Apple 还可
在任何情况下,不不通知和不不承担责任地限制使⽤用或存取某些服务。

6.  终⽌止。 本许可证在其终⽌止之前有效。如阁下未能遵守本许可证中的任何条款,本许可证下阁下的权利利
将⾃自动终⽌止或以其他⽅方式终⽌止⽣生效,⽽而⽆无需Apple另⾏行行通知。在本许可证终⽌止时,阁下应停⽌止对iOS软件的任
何使⽤用⾏行行为。本许可证第4、5、6、7、8、9、12和13条在如此终⽌止后继续有效。

7.  不不作出担保。
7.1  如阁下是消费者客户(指在阁下的⾏行行业、业务或专业以外使⽤用iOS软件的⼈人) ,阁下在居住国可能享有法
定权利利,禁⽌止以下限制适⽤用于阁下。这些限制若被禁⽌止即不不适⽤用于阁下。要进⼀一步了了解相关的权利利,阁下应联
系当地的消费者咨询组织。

7.2 阁下明确承认并同意，在适⽤用法律律允许的范围内，阁下使⽤用iOS软件和通过iOS软件执⾏行行或取⽤用任何
服务须⾃自担⻛风险，⽽而有关质量量满意度、性能、准确性及努⼒力力等⽅方⾯面的全部⻛风险均由阁下承担。

7.3  在适⽤用法律律允许的最⼤大范围内，iOS软件和服务都是“按现状”和“可提供情况”提供的，附有⼀一切瑕
疵⽽而不不带有任何种类的保证， APPLE和APPLE的许可⼈人(在第7和8条中合称为“APPLE”)特此否认就iOS软
件和服务作出任何明示、默示或法定保证和条件，包括但不不限于有关销路路、质量量满意度、适合作某特定⽤用
途、准确性、不不受⼲干扰地享⽤用及不不侵害第三⽅方权利利的默示保证和/或条件。

7.4 APPLE并不不担保阁下可不不受⼲干扰地享⽤用iOS软件和服务，iOS软件包含的功能或所执⾏行行或提供的服务
会符合阁下的要求，iOS软件和服务将不不受⼲干扰地操作⽽而且毫⽆无错误、任何服务将持续提供、或iOS软件或
服务的瑕疵将被纠正,或iOS软件将兼容或可与任何第三⽅方软件、应⽤用软件或第三⽅方服务共同运作。安装本
iOS软件可能影响第三⽅方软件、应⽤用程序或第三⽅方服务以及APPLE产品和服务的可获得性及可⽤用性。

7.5 阁下进⼀一步承认iOS软件和服务并⾮非专为⽤用于若iOS软件和服务出现故障或时间延误、或所提供的内
容、数据或信息出现错误或不不准确之处时，可能会导致⼈人身伤亡或严重的有形或环境损害的情况或环境，
包括但不不限于操作核⼦子设施、⻜飞机导航或通信系统、空中交通管制系统、⽣生命维持机器器或武器器系统。

7.6 APPLE或APPLE授权代表给予的⼝口头或书⾯面的信息或意⻅见均不不构成任何担保。如发现iOS软件或服
务存有瑕疵，阁下须承担所有必要的维修、修理理或纠正的全部费⽤用。有些国家地区不不允许排除默示担保或
对消费者的适⽤用法定权利利加以限制的做法，因此上述排除和限制可能并不不适⽤用于阁下。

8.  责任限制。 在适⽤用法律律不不禁⽌止的范围内,在任何情况下,对由于阁下使⽤用或⽆无法使⽤用iOS软件和服务、
或连同iOS软件或服务使⽤用任何第三⽅方软件或应⽤用软件所引起或与此有关的任何⼈人身伤害或任何附带的、特
别的、间接的或后果性的损害赔偿,包括但不不限于利利润损失、数据混乱或损失、不不能传播或接收任何数据
（包括但不不限于课程说明、分派⼯工作和材料料）、业务中断的损害赔偿或任何其它商业损害赔偿或损失,⽆无论
其成因及基于何种责任理理论(合同、侵权或其它), APPLE、其关联公司、代理理⼈人或⾼高层管理理⼈人员⼀一概⽆无须负
责,即使APPLE已知悉可能发⽣生上述损害赔偿的话。有些国家地区不不允许对⼈人身伤害,或附带或后果性损害赔
偿排除或附加责任限制,因此此项限制可能并不不适⽤用于阁下。在任何情况下,Apple就所有损害赔偿对阁下承
担的全部责任(除在涉及⼈人身伤害的情况中根据适⽤用法律律规定的损害赔偿外)不不应超过⼆二百五⼗十美元(U.S.
$250.00)。即使前述救济失去其基本作⽤用,上述责任限制仍将适⽤用。
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 59 of 452




9.  数字证书。iOS软件具有接受Apple 或第三⽅方发放之数字证书的功能。决定是否信赖 APPLE 或第三
⽅方发放的证书是阁下独⾃自的责任,阁下须独⾃自承担使⽤用数字证书的⻛风险。在适⽤用法律律允许的最⼤大范围
内,APPLE 对于数字证书的销路路或⽤用于任何特定⽤用途的适⽤用性、准确性、安全性或不不侵犯第三⽅方权利利,不不作
任何明示或默示的担保或陈述。

10. 出⼝口控制。 除美国法律律及获得iOS软件的所在国家地区的法律律授权外,阁下不不得使⽤用或以任何⽅方式出
⼝口或转⼝口iOS软件。特别是(但不不以此为限)iOS软件不不得出⼝口或转⼝口(a) 到任何遭美国禁运的国家,或(b) 给美
国财政部的特别指定国⺠民名单或美国商务部的被禁⼈人⼠士或机构名单或任何其他受限制⽅方名单上任何⼈人⼠士。
阁下使⽤用iOS软件,即表示阁下声明和保证阁下并⾮非位于上述任何国家,或列列⼊入上述任何名单。阁下并同意不不
会使⽤用iOS软件于美国法律律禁⽌止使⽤用的任何⽬目的,包括但不不限于开发、设计、制造或⽣生产导弹、核⼦子、化学
或⽣生物武器器。

11.  政府最终⽤用户。 iOS软件和相关⽂文档均属“商业项⽬目”,该词定义⻅见48 C.F.R. §2.101,包含“商⽤用计算机
软件”和“商⽤用计算机软件⽂文档”,定义⻅见48 C.F.R. §12.212或48 C.F.R. §227.7202,以适⽤用者为准。在符合
48 C.F.R. §12.212或48 C.F.R. §227.7202-1⾄至227.7202-4(以适⽤用者为准)的规定下,商⽤用计算机软件和商
⽤用计算机软件⽂文档(a) 只作为商业项⽬目许可美国政府的最终⽤用户使⽤用,及(b) 只附有根据本许可证条款和条件
授予所有其它最终⽤用户的权利利。Apple根据美国的著作权法律律保留留任何未经发布的权利利。

12. 管辖法律律和可分割性。 本许可证受美国加利利福尼亚州法律律管辖并按该等法律律解释,但加利利福尼亚州的
法律律冲突原则除外。本许可证不不受《联合国国际货物销售合同公约》管辖,其对本许可证的适⽤用在此明确排
除。如阁下是英国消费者,本许可证将受对阁下居住国家地区具司法管辖权的法律律管辖。如果基于任何原因,
具有合法管辖权的法院裁定本许可证的任何条款或其任何部分不不可被强制执⾏行行,本许可证的其余规定应继续
充分有效。

13. 全部协议:管辖语⾔言。 本许可证构成阁下与Apple有关iOS软件的全部协议,并取代与该标的事项有关
的以前或现在的所有谅解。未经Apple签署书⾯面⽂文件,对本许可证的任何修订或修改不不具约束⼒力力。本许可证
的任何译本仅仅为了了满⾜足当地需要。如果英⽂文本与任何⾮非英⽂文译本有任何抵触之处,在阁下所在国家地区当
地法律律不不禁⽌止的范围内,应以本许可证的英⽂文本为准。

14.    第三⽅方确认。 iOS软件的若⼲干部分使⽤用或包含第三⽅方的软件及其他享有著作权的材料料。这些材料料的
确认、许可证条款和免责声明包含在iOS软件的电⼦子⽂文档中,阁下对这些材料料的使⽤用受它们的相应条款的约
束。使⽤用Google Safe Browsing服务须遵守Google的服务条款( https://www.google.com/intl/zh-cn/
policies/terms/)和Google的隐私政策( https://www.google.com/intl/zh-cn/policies/privacy/)。

15.    MPEG-4的使⽤用;H.264/AVC通知。
(a) iOS软件是依据MPEG-4 系统专利利组合许可证特许使⽤用，以按照MPEG-4 系统标准进⾏行行编码，但与 (i)
以实质媒体贮存或复制且按照所有权基础逐项⽀支付之数据、和／或 (ii) 按照所有权基础逐项⽀支付并传送给
最终⽤用户以永久贮存和／或使⽤用之数据编码有关、以及须就相关编码持有额外许可证和⽀支付特许权使⽤用费
者除外。该额外许可证可通过MPEG LA, LLC. 取得，请参阅 http://www.mpegla.com 了了解进⼀一步细节。

(b) iOS软件包含MPEG-4视像编码和/或解码功能,iOS软件是依据MPEG-4视像专利利组合许可证特许予消
费者个⼈人和⾮非商业性使⽤用,以(i) 按照MPEG-4视像标准进⾏行行视像编码(“MPEG-4视像”),和/或(ii) 对从事个⼈人
和⾮非商业活动的消费者所编码、和/或从获MPEG LA许可提供MPEG-4视像的视像提供者取得的MPEG-4
视像进⾏行行译码。没有就任何其它⽤用途发出许可证或默示作任何其它⽤用途。与宣传推⼴广、内部和商业性使⽤用
及许可证赋予有关的进⼀一步数据,可通过MPEG LA, LLC取得。请参阅 http://www.mpegla.com。
          Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 60 of 452




(c) iOS软件包含AVC编码和/或解码功能,H.264/AVC的商业性使⽤用需要额外的许可及以下规定适⽤用:本许可
证许可iOS软件的AVC功能仅供消费者的个⼈人和⾮非商业性使⽤用,以(i) 按照AVC 标准(“AVC视像”)进⾏行行视像编
码,和/或(ii) 对从事个⼈人和⾮非商业性活动的消费者所编码的AVC视像、和/或获取⾃自特许提供AVC视像的视
像提供者的AVC视像进⾏行行解码。与其他使⽤用及许可证有关的资料料,可通过MPEG LA L.L.C.取得。请参阅
http://www.mpegla.com。

16.  雅⻁虎搜寻服务限制。 通过Safari 浏览器器提供的雅⻁虎搜寻服务只被授权在以下国家和地区使⽤用：阿
根庭、阿鲁巴、澳⼤大利利亚、奥地利利、巴巴多斯、⽐比利利时、百慕⼤大、巴⻄西、保加利利亚、加拿⼤大、开曼群岛、
智利利、中国⼤大陆、⾹香港、台湾、哥伦⽐比亚、塞浦路路斯、捷克共和国、丹丹⻨麦、多⽶米尼加共和国、厄⽠瓜多尔、
萨尔亚多、芬兰、法国、德国、希腊、格林林纳达、危地⻢马拉、匈⽛牙利利、冰岛、印度、印度尼⻄西亚、爱尔
兰、意⼤大利利、⽛牙买加、⽇日本、拉脱维亚、⽴立陶苑、卢森堡、⻢马来⻄西亚、⻢马⽿耳他、墨墨⻄西哥、荷兰、新⻄西兰、
尼⽠瓜拉⽠瓜、挪威、巴拿⻢马、秘鲁、菲律律宾、波兰、葡萄⽛牙、波多黎各、罗⻢马尼亚、新加坡、斯洛洛伐克、斯
洛洛⽂文尼亚、南韩、⻄西班⽛牙、圣卢⻄西亚、圣⽂文孙特、瑞典、瑞⼠士、泰国、巴哈⻢马、特⽴立尼达和多巴哥、⼟土⽿耳
其、英国、乌拉圭、美国和委内瑞拉。

17.   Microsoft Exchange通知。iOS軟件內的Microsoft Exchange邮件设置,仅许可⽤用于空中同步处理理阁
下的iOS与Microsoft Exchange服务器器或Microsoft许可的其他服务器器软件之间的信息,例例如电⼦子邮件、联系
⼈人、⾏行行事历和⼯工作等,以实施Microsoft Exchange ActiveSync协定。

EA1566
2019年年2⽉月21⽇日

————————————
Apple Pay补充条款和条件

这些Apple Pay补充条款和条件（这些“补充条款”）补充了了iOS软件许可协议（“许可证”）;许可证条款及这
些补充条款同时规管阁下对被视为许可证下其中⼀一项“服务”之Apple Pay功能的使⽤用。这些补充条款中以⼤大
写字⺟母表示的词汇，具有许可证内规定的含义。

1.       概述和使⽤用限制

Apple Pay可让阁下：

     ·    存储哪些获Apple Pay功能⽀支持的信⽤用卡、借记卡和预付卡（包括商店信⽤用卡、借记卡、预付卡和
          Apple Pay Cash卡）（“获⽀支持付款卡”）的信贷虚拟表示，并使⽤用获⽀支持的iOS装置在选定地点或
          在app或⽹网站内进⾏行行⾮非接触式⽀支付;
     ·    使⽤用在钱包内存放的奖励卡和礼物卡（简称 “⽀支持Apple Pay的卡”，与获⽀支持付款卡统称 “获⽀支持
          卡”），以在选定商店进⾏行行作为使⽤用Apple Pay进⾏行行⾮非接触式⽀支付⼀一部分的⾮非接触式奖励卡和礼物
          卡交易易；和
     ·    向Apple Pay其他⽤用户进⾏行行个⼈人对个⼈人付款。

iOS软件的Apple Pay功能可能仅在选定地区提供，以及仅适⽤用于选定发卡⾏行行、⾦金金融机构和商户。功能可能
因地区、发卡⾏行行及商户⽽而异。

要使⽤用Apple Pay，阁下必须有⼀一张获⽀支持卡。获⽀支持卡可能会不不时有变。此外，阁下必须有⼀一张Apple
Pay Cash卡，⽅方可进⾏行行个⼈人对个⼈人付款或收款。
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 61 of 452




获⽀支持付款卡和个⼈人对个⼈人付款与阁下登⼊入iCloud之Apple ID关联，以便便使⽤用这些功能。获⽀支持卡仅提供
给13岁或以上⼈人⼠士，并可能会受到iCloud或阁下尝试配置的获⽀支持卡所额外施加的年年龄限制。Apple Pay
Cash卡和个⼈人对个⼈人付款和收款的能⼒力力，仅提供给18岁或以上⼈人⼠士。

Apple Pay仅供阁下个⼈人使⽤用，阁下只能配置⾃自⼰己的获⽀支持卡。如阁下要配置获⽀支持的公司卡，阁下声明阁
下已得到阁下的雇主授权这样做，以及阁下获授权使阁下的雇主受到这些使⽤用条款和通过使⽤用此功能进⾏行行
的所有交易易的约束。如阁下正在进⾏行行个⼈人对个⼈人付款或收款，阁下声明阁下这样做是⽤用于阁下⾃自⼰己个⼈人的
⾮非商业⽤用途。

阁下同意不不使⽤用Apple Pay于⾮非法或欺诈的⽬目的，或本许可证和这些补充条款禁⽌止的任何其他⽬目的。阁下进
⼀一步同意按照适⽤用法律律及法规使⽤用Apple Pay。阁下同意不不⼲干扰或扰乱Apple Pay的服务（包括以任何⾃自动
⽅方式存取服务）、或连接到服务的任何服务器器或⽹网络、或连接到服务的任何⽹网络政策、规定或法规（包括
任何对数据或数据流量量未经授权的存取、使⽤用或监测）。

2.   Apple与阁下的关系

Apple Pay能让阁下在阁下获⽀支持的iOS装置上，创建阁下获⽀支持卡的虚拟表示。然⽽而，Apple不不会处理理付
款或其他⾮非付款卡交易易（例例如累积或兑换奖励）、收取、持有或转账阁下的资⾦金金，或对因阁下使⽤用该功能
⽽而可能产⽣生的付款、退货、退款、奖励、价值、折扣或其他商业活动具有任何其他控制权。

阁下与阁下的发卡机构之间可能存在的持卡⼈人协议条款，将继续规限阁下对阁下的获⽀支持卡的使⽤用，以及
它们与Apple Pay的相关使⽤用。同样，阁下在任何商户奖励或礼物卡计划的参与以及阁下就Apple Pay对⽀支
持Apple Pay的卡之使⽤用，均须遵守该商户的条款和条件规限。

Apple Pay Cash卡和个⼈人对个⼈人付款和收款的能⼒力力仅在美国提供，是联邦存款保险公司成员Green Dot
Bank提供的服务。当阁下在Apple Pay中启动这些功能时，阁下即在Green Dot Bank开⽴立账户，⽽而当阁下
进⾏行行个⼈人对个⼈人付款或收款、或从阁下的Apple Pay Cash卡加载或提取⾦金金钱时，Green Dot Bank将负责收
取和将阁下的⾦金金钱发送给预期的收款⼈人。在Apple Pay中负责提供Apple Pay Cash和个⼈人对个⼈人付款的⾦金金
融机构可能有变，阁下使⽤用该等功能须遵守其条款和条件。

许可证或这些补充条款并⽆无任何规定修改任何持卡⼈人、⽤用户或商户协议条款，该等条款将规限阁下对适⽤用
的获⽀支持卡的使⽤用或Apple Pay的个⼈人对个⼈人付款功能，以及它们在阁下的iOS装置上的虚拟表示。阁下同
意Apple并⾮非阁下的持卡⼈人或商户协议其中⼀一⽅方，⽽而Apple亦⽆无须就以下事项负责：(a)于使⽤用Apple Pay功
能期间，任何付款卡、奖励卡、礼物卡、商业活动、交易易或购买之内容、准确性或⽆无法获得；(b)信贷的发
放或对信贷资格的评估；(c)个别商户计划下的奖励或储值之累积或兑换；(d)预付卡资⾦金金的提供或重新加
载；(e)个⼈人对个⼈人付款或收款；或(f)从阁下的Apple Pay Cash卡加载、兑换或提取款项。

有关付款卡、奖励卡、礼物卡或相关商业活动的所有纠纷或问题，请联系阁下的发卡⾏行行或适⽤用的商户。有
关Apple Pay Cash卡或个⼈人对个⼈人付款的问题，请联系Apple⽀支持。

3.   隐私

Apple Pay需要从阁下的iOS装置获取⼀一些信息，以便便提供全⾯面的体验。此外，当阁下使⽤用Apple Pay Cash
卡或进⾏行行个⼈人对个⼈人付款或收款时，基于为阁下的帐户提供服务和防⽌止欺诈及监管⽬目的，有关阁下交易易的
附加信息会被收集和保留留。通过阅读关于Apple Pay和隐私（阁下可在iOS装置上的钱包与Apple Pay或配
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 62 of 452




对的iOS装置上的Watch app内查阅）或访问 https://www.apple.com/cn/privacy/，阁下可以找到关于
作为阁下使⽤用Apple Pay、Apple Pay Cash卡或以Apple Pay进⾏行行个⼈人对个⼈人付款⼀一部分⽽而收集、使⽤用或共
享的数据之详细信息。阁下使⽤用这些功能，即表示同意和允许Apple及其附属公司和代理理⼈人传输、收集、维
护、处理理和使⽤用所有上述信息，以提供Apple Pay功能。

4.   安全性; 遗失或禁⽤用装置

Apple Pay会存储阁下的获⽀支持卡之虚拟表示，因此应予以保护，就如同阁下会保护现⾦金金或阁下的实体信⽤用
卡、借记卡、预付卡、奖励卡或礼物卡⼀一样。如阁下向第三⽅方提供装置的密码或允许第三⽅方添加其指纹以
使⽤用触控 ID或启动Face ID，他们即可在阁下的装置上使⽤用Apple Pay付款、进⾏行行、要求或收取个⼈人对个⼈人
付款、从阁下的Apple Pay Cash卡提取款项、或获取或兑换奖励或信贷。阁下须⾃自⾏行行负责维护阁下的装置
以及阁下的密码之安全性。阁下同意，如阁下遗失或与他⼈人共享对阁下装置的存取，Apple不不负任何责任。
阁下同意，如阁下对iOS作出未经授权的修改（例例如以“越狱”⽅方式），Apple不不负任何责任。

阁下或需启动额外的安全性措施（例例如对阁下的Apple ID实施双因素身份认证）⽅方可访问Apple Pay的特定
功能，包括Apple Pay Cash卡和在Apple Pay中进⾏行行个⼈人对个⼈人付款。如阁下其后删除该等安全性功能，
阁下未必能继续访问Apple Pay的特定功能。

如阁下的装置丢失或被盗，⽽而阁下已启动寻找我的iPhone（Find My iPhone）的话，阁下可使⽤用寻找我的
iPhone功能将其置于Lost Mode，尝试暂停在该装置上以虚拟获⽀支持付款卡付款或进⾏行行个⼈人对个⼈人付款的
能⼒力力。阁下也可以擦除阁下的装置，此举将尝试暂停在装置上以虚拟获⽀支持付款卡付款或进⾏行行个⼈人对个⼈人
付款的能⼒力力，并且会尝试移除⽀支持Apple Pay的卡，阁下亦应联系发⾏行行阁下获⽀支持付款卡之发卡机构、发⾏行行
阁下⽀支持Apple Pay的卡之商户及Apple（如属阁下的Apple Pay Cash卡之情况），以防⽌止他⼈人未经授权存
取阁下的获⽀支持卡。

如阁下报告或Apple怀疑有欺诈或诈骗活动，阁下同意在任何调查中与Apple合作，并使⽤用我们规定的任何
防欺诈措施。

5.   责任限制

除许可证载明的不不作出担保和责任限制外，APPLE亦不不对使⽤用APPLE PAY功能进⾏行行的购买、⽀支付、交易易、
或其他商业活动承担任何责任。阁下并同意在寻求解决与阁下的获⽀支持卡、个⼈人对个⼈人付款和相关商业活
动有关的任何问题或争议时，只检视阁下与发卡机构、⽀支付⽹网络、⾦金金融机构或商户之间可能订⽴立的协议。

————————————
来⾃自APPLE的通知
如果Apple需要就阁下的产品或帐户联系阁下,阁下同意通过电⼦子邮件接收这些通知。阁下同意我们发送给
阁下的任何这些通知,将符合任何法定通信要求。
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 63 of 452



NEDERLANDS

BELANGRIJK: DOOR JE iPHONE, iPAD of iPOD TOUCH (“iOS-APPARAAT”) IN GEBRUIK TE
NEMEN, VERKLAAR JE JE AKKOORD MET DE VOLGENDE VOORWAARDEN:

A.   SOFTWARELICENTIEOVEREENKOMST VOOR APPLE iOS
B.   AANVULLENDE VOORWAARDEN VOOR APPLE PAY
C.   MEDEDELINGEN VAN APPLE

APPLE INC.
SOFTWARELICENTIEOVEREENKOMST VOOR APPLE iOS
Licentie voor gebruik op één computer

LEES DEZE SOFTWARELICENTIEOVEREENKOMST (“LICENTIE”) AANDACHTIG DOOR VOORDAT
JE JE iOS-APPARAAT GEBRUIKT OF DE SOFTWARE-UPDATE DOWNLOADT DIE BIJ DEZE
LICENTIE HOORT. DOOR JE iOS-APPARAAT IN GEBRUIK TE NEMEN OF EEN SOFTWARE-
UPDATE TE DOWNLOADEN, AFHANKELIJK VAN WAT ER VAN TOEPASSING IS, VERKLAAR JE JE
AKKOORD MET DE VOORWAARDEN VAN DEZE LICENTIE. INDIEN JE HET NIET EENS BENT MET
DE VOORWAARDEN VAN DEZE LICENTIE, DIEN JE HET iOS-APPARAAT NIET TE GEBRUIKEN OF
DEZE SOFTWARE-UPDATE NIET TE DOWNLOADEN.

INDIEN JE ONLANGS EEN iOS-APPARAAT HEBT AANGESCHAFT EN HET NIET EENS BENT MET
DE VOORWAARDEN VAN DEZE LICENTIE, KUN JE HET iOS-APPARAAT BINNEN DE DAARVOOR
GELDENDE TERMIJN RETOURNEREN AAN DE APPLE STORE OF GEAUTORISEERDE
DISTRIBUTEUR WAAR JE HET APPARAAT HEBT AANGESCHAFT, WAARBIJ JE ONDERWORPEN
BENT AAN DE VOORWAARDEN VOOR RETOURNERING. JE VINDT DEZE VOORWAARDEN OP
https://www.apple.com/legal/sales-support/.

1. Algemeen.
(a) De software (inclusief de Boot ROM-code, ingebedde software en software van andere fabrikanten),
de documentatie, de interfaces, het materiaal, de lettertypen en de gegevens bij je iOS-apparaat
(“Originele iOS-software”), die kunnen worden bijgewerkt of vervangen door verbeterde functionaliteit,
software-updates of systeemherstelsoftware van Apple (“iOS-software-updates”), hetzij in “read only”-
geheugen, hetzij op enig ander medium of in enige andere vorm (de Originele iOS-software en iOS-
software-updates worden gezamenlijk de “iOS-software” genoemd), worden aan jou in licentie gegeven,
niet verkocht, door Apple Inc. (“Apple”), uitsluitend voor gebruik onder de voorwaarden van deze
licentie. Apple en licentiegevers van Apple behouden het eigendomsrecht met betrekking tot de iOS-
software en behouden zich alle rechten voor die niet uitdrukkelijk aan jou zijn toegekend. Je stemt ermee
in dat de voorwaarden van deze licentie van toepassing zijn op elke app van Apple die mogelijk is
ingebouwd op je iOS-apparaat, tenzij een dergelijke app een afzonderlijke licentie bevat, in welk geval je
ermee instemt dat de voorwaarden van deze afzonderlijke licentie van toepassing zijn op je gebruik van
de app.

(b) Naar eigen goeddunken levert Apple in de toekomst mogelijk iOS-software-updates. De iOS-
software-updates bevatten mogelijk niet alle functies van de bestaande softwareversie, of mogelijk niet
de nieuwe functies die Apple voor de nieuwere of andere modellen van iOS-apparaten uitbrengt. De
voorwaarden van deze licentie gelden tevens voor alle iOS-software-updates van Apple, tenzij de
betreﬀende iOS-software-update een afzonderlijke licentie bevat, in welk geval je ermee instemt dat de
voorwaarden van deze afzonderlijke licentie van toepassing zijn.

(c) Als je de voorziening voor versnelde configuratie gebruikt om een nieuw iOS-apparaat op basis van je
bestaande iOS-apparaat te configureren, ga je ermee akkoord dat de voorwaarden van deze licentie van
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 64 of 452



toepassing zijn op je gebruik van de iOS-software op je nieuwe iOS-apparaat, tenzij deze software een
afzonderlijke licentie bevat, in welk geval je ermee instemt dat de voorwaarden van deze afzonderlijke
licentie van toepassing zijn op je gebruik van die iOS-software. Je iOS-apparaat controleert op gezette
tijden bij Apple of er iOS-software-updates beschikbaar zijn. Als er een update beschikbaar is, wordt
deze mogelijk automatisch op je iOS-apparaat gedownload en geïnstalleerd en, indien van toepassing,
op je randapparatuur. Door de Apple software te gebruiken, stem je ermee in dat Apple
automatische iOS-software-updates op je iOS-apparaat en je randapparatuur mag downloaden en
installeren. Je kunt automatische updates op elk gewenst moment volledig uitschakelen door de
instellingen te wijzigen via ‘Instellingen’ > ‘Algemeen’ > ‘Software-update’.

2. Toegestaan gebruik en beperkingen.
(a) Krachtens de voorwaarden van deze licentie wordt je hierbij een beperkte, niet-exclusieve licentie
verleend om de iOS-software op één enkel iOS-apparaat van Apple te gebruiken. Tenzij uitdrukkelijk
toegestaan in paragraaf 2(b) hieronder, en tenzij overeengekomen in een afzonderlijke overeenkomst
tussen jou en Apple, is het je niet toegestaan de iOS-software op meer dan één iOS-apparaat van het
merk Apple tegelijk te installeren en/of te gebruiken of de iOS-software te distribueren of beschikbaar te
stellen via een netwerk zodat deze op meerdere apparaten kan worden gebruikt. Deze licentie kent je op
geen enkele manier het recht toe op het gebruik van de interfaces van Apple en ander intellectueel
eigendom voor het ontwerp, de ontwikkeling, fabricage, licentiëring of verspreiding van apparatuur en
accessoires van derden, of softwaretoepassingen van derden, voor gebruik met iOS-apparaten. Enkele
van deze rechten zijn beschikbaar onder afzonderlijke licenties van Apple. Voor meer informatie over de
ontwikkeling van apparatuur en accessoires van derden voor iOS-apparaten ga je naar https://
developer.apple.com/programs/mfi/. Voor meer informatie over de ontwikkeling van
softwaretoepassingen voor iOS-apparaten ga je naar https://developer.apple.com.

(b) Krachtens de voorwaarden van deze licentie wordt je hierbij een beperkte, niet-exclusieve licentie
verleend om iOS-software-updates die Apple eventueel beschikbaar stelt voor je iOS-apparaat te
downloaden voor het bijwerken of herstellen van de software op elk iOS-apparaat dat in je eigendom of
beheer is. Het is je niet toegestaan iOS-apparaten die niet in je eigendom of beheer zijn, bij te werken of
te herstellen, of de iOS-software-updates te distribueren of beschikbaar te stellen via een netwerk zodat
deze op meerdere apparaten of computers tegelijk kunnen worden gebruikt. Als je een iOS-software-
update downloadt op je computer, is het je toegestaan één kopie te maken van de iOS-software-
updates die zijn opgeslagen op je computer in een voor machine leesbare vorm, uitsluitend voor back-
updoeleinden, op voorwaarde dat je op deze kopie de volledige auteursrechtvermelding en alle andere
mededelingen betreﬀende het eigendomsrecht welke op het origineel zijn vermeld, overneemt.

(c) Voor zover Apple apps van Apple uit de App Store vooraf heeft geïnstalleerd op je iOS-apparaat op
het moment van aanschaf (“Vooraf geïnstalleerde apps”), dien je in te loggen bij de App Store en deze
vooraf geïnstalleerde apps te koppelen aan je App Store-account om deze te kunnen gebruiken op je
iOS-apparaat. Wanneer je een Vooraf geïnstalleerde app koppelt aan je App Store-account, koppel je
tevens automatisch alle overige Vooraf geïnstalleerde apps op je iOS-apparaat. Als je ervoor kiest om de
Vooraf geïnstalleerde apps te koppelen aan je App Store-account, stem je ermee in dat Apple zowel de
Apple ID die is gebruikt voor je App Store-account alsmede een unieke hardware-identificatie die is
opgevraagd bij je iOS-apparaat, mag overdragen, verzamelen, beheren, verwerken en gebruiken als
unieke account-ID’s om te bepalen of je verzoek rechtmatig is en om je toegang te verlenen tot de
Vooraf geïnstalleerde apps via de App Store. Indien je geen gebruik wilt maken van een Vooraf
geïnstalleerde app, kun je deze op elk gewenst moment verwijderen van je iOS-apparaat.

(d) Je bent ermee bekend en stemt ermee in dat het je niet is toegestaan en dat je anderen niet in staat
zult stellen om de iOS-software, of enige dienst die door de iOS-software wordt geboden of enig deel
daarvan te kopiëren (behalve in zoverre dit expliciet is toegestaan onder deze licentie), te decompileren,
van ontwerp te herleiden, te ontmantelen, te wijzigen of te decoderen of aan te passen, om te trachten
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 65 of 452



de broncode te herleiden van of afgeleide werken te creëren op basis van de genoemde software,
diensten of delen daarvan (behalve indien en in zoverre als enige van bovenstaande beperkingen is
verboden op grond van de toepasselijke wetgeving of door licentievoorwaarden met betrekking tot het
gebruik van de Open Source-componenten die mogelijk in de iOS-software zijn opgenomen).

(e) Het is toegestaan de iOS-software te gebruiken voor de reproductie van materiaal mits zulk gebruik
wordt beperkt tot de reproductie van materiaal waarop geen auteursrechten berusten, materiaal
waarvoor je het auteursrecht bezit, of materiaal waarvoor je beschikt over toestemming of het wettelijke
recht om dit te reproduceren. De intellectueeleigendomsrechten en andere eigendomsrechten op
materiaal dat wordt weergegeven of bewaard op of benaderd via je iOS-apparaat berusten bij de
betreﬀende eigenaar. Dergelijk materiaal wordt mogelijk beschermd door auteursrechtwetgeving of
andere wettelijke bepalingen en verdragen met betrekking tot intellectueeleigendomsrechten en is
mogelijk onderworpen aan de gebruiksvoorwaarden van de partij die het materiaal levert. Tenzij hier
anderszins vermeld, verleent deze licentie je geen enkel recht op het gebruik van dergelijk materiaal.
Noch wordt gegarandeerd dat dergelijk materiaal tot je beschikking zal blijven.

(f) Krachtens de voorwaarden van deze licentie mag je de met iOS-software meegeleverde of daarmee
gemaakte animoji- en memoji-figuren (“Systeemfiguren”) gebruiken (i) tijdens het gebruik van de iOS-
software en (ii) bij het maken van je eigen, originele materiaal en projecten voor persoonlijke, niet-
commerciële doeleinden. Enig ander gebruik is krachtens deze licentie niet toegestaan, met inbegrip
van, maar niet beperkt tot, het gebruik, de reproductie, weergave, opvoering, opname, publicatie of
herdistributie van de Systeemfiguren in een profit-, non-profit-, openbaar toegankelijke of commerciële
context.

(g) Je verklaart dat je bij het gebruik van de iOS-software en de Diensten (zoals gedefinieerd in paragraaf
5 hieronder) de toepasselijke wetgeving zult naleven, met inbegrip van de wetgeving van het land of de
regio waar je woonachtig bent of waar je de iOS-software en Diensten downloadt of gebruikt. Functies
van de iOS-software en de Diensten zijn mogelijk niet in alle talen of regio’s beschikbaar. Sommige
functies kunnen per regio variëren en sommige functies zijn mogelijk slechts beperkt toegankelijk of niet
beschikbaar bij jouw aanbieder. Voor sommige functies van de iOS-software en de Diensten is een Wi-
Fi-verbinding of een verbinding met een mobiel netwerk vereist.

(h) Voor het gebruik van de App Store is een unieke combinatie van gebruikersnaam en wachtwoord
vereist, ook wel Apple ID genoemd. Een Apple ID is ook vereist om te kunnen beschikken over app-
updates en bepaalde functies van de iOS-software en bepaalde Diensten.

(i) Je erkent dat door veel functies, ingebouwde apps en Diensten van de iOS-software data worden
verzonden, hetgeen van invloed kan zijn op de kosten van je data-abonnement, en dat je
verantwoordelijk bent voor deze eventuele kosten. Je kunt controleren en bepalen welke apps gebruik
mogen maken van mobiele data; bij de instellingen voor mobiele data kun je zien hoeveel data deze
apps naar schatting hebben verbruikt. Daarnaast zal Wifi-assistentie automatisch naar een mobiele
verbinding overschakelen wanneer je een slechte wifiverbinding hebt, hetgeen kan resulteren in een
hoger verbruik van mobiele data en zo van invloed kan zijn op de kosten van je data-abonnement. Wifi-
assistentie is standaard ingeschakeld maar kan worden uitgeschakeld in Instellingen. Raadpleeg de
gebruikershandleiding bij je iOS-apparaat voor meer informatie.

(j) Als je hebt aangegeven dat apps automatisch mogen worden bijgewerkt, controleert je iOS-apparaat
op gezette tijden bij Apple of er updates beschikbaar zijn voor apps op je apparaat. Als er een update
beschikbaar is, wordt deze automatisch op je apparaat gedownload en geïnstalleerd. Je kunt het
automatisch bijwerken van apps op elk gewenst moment uitschakelen. Ga hiervoor naar Instellingen, tik
op ‘iTunes en App Store’ en schakel onder ‘Automatische downloads’ de optie ‘Updates’ uit.
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 66 of 452



(k) In bepaalde omstandigheden kan het gebruik van je iOS-apparaat je aandacht afleiden, waardoor
gevaarlijke situaties kunnen ontstaan (bijvoorbeeld wanneer je tijdens het autorijden een sms-bericht typt
of tijdens het fietsen een koptelefoon draagt). Door je iOS-apparaat in gebruik te nemen, stem je ermee
in dat je verantwoordelijk bent voor het in acht nemen van regels die het gebruik van een mobiele
telefoon of een koptelefoon verbieden of beperken (bijvoorbeeld de vereiste om handsfree-opties te
gebruiken als je tijdens het autorijden wilt bellen).

3. Overdracht. Het is je niet toegestaan de iOS-software te (doen) verhuren, te (doen) leasen, in gebruik
te (doen) geven, te verkopen, te herdistribueren of in sublicentie te geven. Het is je echter toegestaan
eenmalig al je rechten met betrekking tot de iOS-software ingevolge deze licentie blijvend over te dragen
aan een derde in verband met overdracht van eigendom van je iOS-apparaat, op voorwaarde dat (a) de
overdracht betrekking heeft op je iOS-apparaat en de gehele iOS-software, inclusief alle onderdelen en
deze licentie; (b) je noch volledige noch gedeeltelijke kopieën van de iOS-software, inclusief kopieën die
zijn opgeslagen op een computer of opslagapparaat, behoudt en (c) de derde die de iOS-software
ontvangt, de voorwaarden van deze licentie leest en zich ermee akkoord verklaart.

4. Toestemming tot gebruik gegevens. Wanneer je je apparaat in gebruik neemt, worden je
telefoonnummer en bepaalde unieke identificatie-informatie voor je iOS-apparaat naar Apple verstuurd.
Dit stelt anderen in staat je op je telefoonnummer te bereiken via de verschillende communicatiefuncties
van de iOS-software, zoals iMessage en FaceTime. Wanneer je gebruikmaakt van iMessage, bewaart
Apple mogelijk tijdelijk je berichten in gecodeerde vorm om ervoor te zorgen dat deze worden
afgeleverd. Je kunt FaceTime of iMessage uitschakelen door naar de instelling ‘FaceTime’ of ‘Berichten’
op je iOS-apparaat te gaan. Voor bepaalde voorzieningen (zoals Analyse, locatievoorzieningen, Siri en de
dicteerfunctie) is mogelijk ook informatie van je iOS-apparaat vereist voor het uitvoeren van hun
respectievelijke functies. Wanneer je deze voorzieningen inschakelt of gebruikt, wordt er gespecificeerd
welke informatie er naar Apple wordt verstuurd en hoe deze informatie mogelijk wordt gebruikt. Meer
informatie hierover vind je op https://www.apple.com/nl/privacy/. Apple beschermt je gegevens te allen
tijde in overeenstemming met de richtlijnen van het privacybeleid van Apple. Je vindt deze richtlijnen
op https://www.apple.com/legal/privacy/.

5. Diensten en Materialen van derden.
(a) De iOS-software geeft toegang tot de iTunes Store, de App Store, Apple Books, Game Center, iCloud
en Kaarten van Apple en andere voorzieningen en websites van Apple en derden (collectief en
individueel, “Diensten”). Dergelijke Diensten zijn mogelijk niet beschikbaar in alle talen of in alle landen.
Voor het gebruik van deze Diensten, waaraan mogelijk extra kosten zijn verbonden, dien je te beschikken
over toegang tot het internet. Daarnaast dien je mogelijk te beschikken over een Apple ID en/of extra
voorwaarden te accepteren. Door gebruik te maken van deze software in combinatie met een Apple ID
of een andere Apple Dienst, stem je in met de toepasselijke voorwaarden voor die Dienst, zoals de
meest recente voorwaarden voor Apple mediadiensten voor het land waarin je toegang verkrijgt tot deze
Diensten. Deze voorwaarden kun je bekijken op https://www.apple.com/legal/internet-services/itunes/.

(b) Indien je je aanmeldt voor iCloud, kun je bepaalde iCloud-voorzieningen zoals iCloud-foto’s, Mijn
fotostream, Gedeelde albums, Reservekopie en Zoek mijn iPhone rechtstreeks vanuit de iOS-software
gebruiken. Je erkent en accepteert dat je gebruik van iCloud en van deze voorzieningen onderworpen is
aan de meest recente voorwaarden van de iCloud-voorziening. Deze voorwaarden kun je bekijken op
https://www.apple.com/legal/internet-services/icloud/.

(c) Materiaal in de News-app. Je gebruik van materiaal dat via de News-app toegankelijk is, is uitsluitend
bestemd voor persoonlijke, niet-commerciële doeleinden en geeft je geen enkel eigendomsbelang in het
materiaal. Enige commerciële of promotionele gebruiksrechten op dergelijk materiaal worden specifiek
en zonder enige beperking uitgesloten. Het is je bovendien niet toegestaan om afbeeldingen waartoe je
via News toegang hebt, als afzonderlijke bestanden te herpubliceren, over te dragen of te reproduceren.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 67 of 452




(d) Kaarten. De diensten en voorzieningen van kaarten in de iOS-software (“Kaarten”), waaronder de
beschikbare kaartgegevens, kunnen per regio variëren. Als je gebruikmaakt van een locatiespecifieke
functie van Kaarten, zoals stapsgewijze navigatie, verkeersinformatie en zoeken op locaties in de buurt,
worden locatiegegevens en je gebruiksgegevens mogelijk aan Apple verstuurd, inclusief de fysieke
geografische locatie van je iOS-apparaat, om je verzoek te verwerken en de Kaarten-voorziening te
verbeteren. De locatie- en gebruikersgegevens worden op een zodanige wijze door Apple verzameld dat
het niet mogelijk is om je op basis van deze gegevens persoonlijk te identificeren. Wanneer je
gebruikmaakt van Kaarten, stem je ermee in dat Apple en dochterondernemingen en
vertegenwoordigers van Apple deze informatie verzenden, verzamelen, beheren, verwerken en
gebruiken om de Kaarten-voorziening en andere Apple producten en diensten te leveren en te
verbeteren. Daarnaast heeft Apple het recht dergelijke informatie in hetzij gebundelde of niet tot
personen herleidbare vorm aan partners en licentiehouders van Apple door te geven ter verbetering van
hun kaart- en locatiespecifieke producten en diensten. Je kunt de locatiespecifieke functionaliteit van
Kaarten uitschakelen door naar de instelling voor locatievoorzieningen op je iOS-apparaat te gaan en
deze instelling alleen voor Kaarten uit te schakelen. Bepaalde voorzieningen in Kaarten, zoals
stapsgewijze navigatie, zijn echter niet beschikbaar als je locatievoorzieningen voor Kaarten hebt
uitgeschakeld.

(e) Je begrijpt en erkent dat je tijdens het gebruik van de Diensten kunt worden geconfronteerd met
materiaal dat mogelijk kan worden opgevat als onbetamelijk, kwetsend of aanstootgevend dan wel met
taalgebruik dat kan worden omschreven als expliciet, en dat bepaalde zoekacties of het invoeren van
een bepaalde URL automatisch en onopzettelijk koppelingen of verwijzingen naar aanstootgevend
materiaal kunnen opleveren. Je zegt niettemin toe de Diensten op eigen risico te gebruiken en Apple,
aan Apple gelieerde ondernemingen en vertegenwoordigers, opdrachtgevers en licentiegevers van Apple
te zullen vrijwaren van elke aansprakelijkheid ten opzichte van jou voor enig materiaal dat mogelijk kan
worden opgevat als onbetamelijk, kwetsend of aanstootgevend.

(f) Bepaalde Diensten tonen of omvatten mogelijk inhoud, gegevens, informatie, toepassingen of ander
materiaal van derden (“Materiaal van derden”) of maken het eerder genoemde mogelijk beschikbaar, of
bevatten mogelijk koppelingen naar bepaalde websites van derden. Door de Diensten te gebruiken,
erkent en accepteer je dat het niet tot de taak van Apple kan worden gerekend om de inhoud, de
juistheid, de volledigheid, de tijdigheid, de geldigheid, de naleving van het auteursrecht, de wettigheid,
de fatsoenlijkheid of de kwaliteit of enig ander aspect van dergelijk Materiaal van derden of dergelijke
websites van derden te inspecteren en te evalueren. Apple en zijn medewerkers, aan Apple gelieerde
ondernemingen of dochterondernemingen kunnen niet worden geacht de inhoud van enige Dienst, enig
Materiaal of enige website van derden of van welk ander materiaal of product of welke andere dienst van
derden ook te onderschrijven, en verstrekt jou of enige andere persoon geen enkele garantie en
accepteert geen enkele aansprakelijkheid of verantwoordelijkheid ten aanzien van dergelijk materiaal en
dergelijke producten of diensten. Materiaal van derden en koppelingen naar andere websites worden
uitsluitend ter beschikking gesteld voor jouw gemak.

(g) Noch Apple noch enige van haar leveranciers van materiaal kan of wil enige garantie afgeven
betreﬀende de beschikbaarheid, nauwkeurigheid, volledigheid, betrouwbaarheid of tijdigheid van
beursgegevens, locatiegegevens of enige andere gegevens die door enigerlei Diensten worden
weergegeven. De financiële informatie die door enigerlei Diensten wordt weergegeven, is slechts
bedoeld voor algemene informatieve doeleinden. Deze informatie kan niet worden geacht te dienen als
investeringsadvies. Voordat je op basis van informatie die je via de Diensten hebt verkregen
aandelentransacties gaat uitvoeren, raadt Apple je aan om een financieel deskundige of
beleggingsexpert te raadplegen die wettelijk bevoegd is om beleggingsadvies te geven.
Locatiegegevens die door Diensten worden verstrekt, inclusief de Kaarten-voorziening van Apple,
worden uitsluitend geleverd voor primaire navigatiedoeleinden en planningsdoeleinden en zijn niet
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 68 of 452



bedoeld om te worden gebruikt in situaties waarin exacte locatiegegevens zijn vereist, of waarin foutieve,
onnauwkeurige, vertraagd vrijgegeven of onvolledige locatiegegevens kunnen leiden tot de dood,
persoonlijk letsel of schade aan zaken of het milieu. Je aanvaardt dat de gegevens die de Kaarten-
voorziening verstrekt mogelijk afwijken van de feitelijke situatie als gevolg van factoren die de
nauwkeurigheid van Kaarten nadelig kunnen beïnvloeden, met inbegrip van maar niet beperkt tot
weersomstandigheden, weg- en verkeersomstandigheden en lokale politieke omstandigheden. Als je
gebruikmaakt van de navigatiefunctie, moet je altijd blijven letten op verkeersborden en de huidige
situatie op de weg. Je bent zelf verantwoordelijk voor je veiligheid en voor naleving van de
verkeersregels. De navigatieaanwijzingen voor een looproute gaan mogelijk niet altijd over een stoep of
voetpad.

(h) Indien je materiaal via deze Diensten uploadt, verklaar je dat je over alle rechten beschikt in het
materiaal of dat je geautoriseerd bent of anderszins over het wettelijke recht beschikt om het materiaal te
uploaden, en dat het materiaal de servicevoorwaarden die van toepassing zijn op de Diensten op geen
enkele manier schendt. Je stemt ermee in dat de Diensten inhoud, informatie en materiaal bevatten dat
eigendom is van Apple, de eigenaar van de website en van hun licentiegevers en onder de bescherming
valt van de toepasselijke eigendomsrechtelijke bepalingen en andere wetten, met inbegrip van maar niet
beperkt tot het auteursrecht. Je stemt ermee in dat de diensten inhoud, informatie en materiaal bevatten
dat eigendom is van Apple en/of licentiegevers en onder de bescherming valt van de toepasselijke
eigendomsrechtelijke bepalingen en andere wetten, met inbegrip van maar niet beperkt tot het
auteursrecht. Je stemt ermee in dat je dergelijke inhoud of informatie of dergelijk materiaal uitsluitend
zult gebruiken in overeenstemming met het toegestane gebruik van genoemde diensten, uitsluitend op
een manier die verenigbaar is met de voorwaarden van deze licentie en waarbij de
intellectueeleigendomsrechten van andere fabrikanten of Apple niet worden geschonden. Geen enkel
onderdeel van de Diensten mag worden gereproduceerd, in welke vorm of op welke wijze dan ook. Je
stemt erin toe de Diensten niet te wijzigen, te verhuren, te leasen, in gebruik te geven, te verkopen of te
distribueren of enige afgeleide werken te creëren op basis van de Diensten, op welke wijze dan ook, en
je zult de Diensten niet aanwenden op enige niet-geautoriseerde wijze, met inbegrip van, maar niet
beperkt tot, het gebruik van de Diensten voor de verspreiding van computervirussen, wormen, Trojaanse
paarden of andere malware, overtreding van wet- en regelgeving of het overbelasten van
netwerkcapaciteit. Je stemt er bovendien in toe dat je de Diensten niet op enigerlei wijze zult gebruiken
om anderen lastig te vallen, te beledigen, hinderlijk te volgen, te bedreigen of in diskrediet te brengen of
de Diensten op enige andere wijze zult gebruiken die inbreuk maakt op de rechten van enige andere
partij of dergelijke rechten op enigerlei wijze schendt, en dat Apple op geen enkele wijze
verantwoordelijk is voor dergelijk gebruik door jou, en ook niet verantwoordelijk is voor enige kwellende,
bedreigende, lasterlijke, beledigende, inbreuk makende of onwettige boodschap of overdraging die je
ontvangt als gevolg van het gebruik van enige Dienst.

(i) Bovendien zijn Diensten en Materiaal van derden waartoe toegang kan worden verkregen, die kunnen
worden weergegeven of waarnaar koppelingen beschikbaar zijn op het iOS-apparaat niet beschikbaar in
alle talen of in alle landen of regio’s. Apple doet geen toezeggingen dat dergelijke Diensten of dergelijk
Materiaal van derden geschikt of beschikbaar is voor gebruik op een bepaalde locatie. Voor zover je
ervoor kiest om gebruik te maken van dergelijke Diensten en dergelijk Materiaal van derden, doe je dit op
eigen initiatief en ben je zelf verantwoordelijk voor naleving van elke toepasselijke wet, met inbegrip van
maar niet beperkt tot de toepasselijke lokale wetgeving en de wet- en regelgeving inzake privacy en het
verzamelen van gegevens. Bij het delen of synchroniseren van foto’s via je iOS-apparaat worden
mogelijk metagegevens, waaronder diepte-informatie en informatie over waar en wanneer de foto is
genomen, met de foto’s meegestuurd. Het gebruik van Apple Diensten (zoals iCloud-fotobibliotheek)
voor het delen of synchroniseren van dergelijke foto’s houdt in dat Apple dergelijke metagegevens
ontvangt en bewaart. Apple en zijn licentiegevers behouden zich het recht voor om de toegang tot enige
Dienst op elk moment zonder voorafgaande aankondiging te wijzigen, op te schorten, te verwijderen of
onmogelijk te maken. Onder geen enkele omstandigheid kan Apple aansprakelijk worden gesteld voor
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 69 of 452



het verwijderen of onmogelijk maken van de toegang tot een of meer van de Diensten. Apple is
bovendien gerechtigd om beperkingen op te leggen aan het gebruik van of de toegang tot bepaalde
Diensten, in alle gevallen waarin Apple dat nodig acht, zonder voorafgaande kennisgeving en zonder
enige aansprakelijkheid.

6. Beëindiging. Deze licentie is van kracht totdat deze wordt beëindigd. Je rechten ingevolge deze
licentie vervallen automatisch of zijn anderszins niet meer van kracht, zonder aankondiging van Apple,
als je niet voldoet aan een of meer van de voorwaarden van deze licentie. Nadat de geldigheid van deze
licentie is verlopen, dien je elk gebruik van de iOS-software te staken. De paragrafen 4, 5, 6, 7, 8, 9, 12
en 13 van deze licentieovereenkomst zullen na een dergelijke beëindiging van kracht blijven.

7. Geen garantie.
7.1 Consumenten (klanten die de iOS-software niet bedrijfs- of beroepsmatig gebruiken) hebben
mogelijk wettelijke rechten in het land waar zij gevestigd zijn op basis waarvan de volgende beperkingen
niet mogen worden opgelegd. In dat geval zijn deze beperkingen niet van toepassing. Voor meer
informatie over deze rechten kun je contact opnemen met de consumentenbond.

7.2 JE ERKENT EN AANVAARDT UITDRUKKELIJK DAT, IN ZOVERRE DAT IS TOEGESTAAN OP
GROND VAN DE TOEPASSELIJKE WETGEVING, GEBRUIK VAN DE iOS-SOFTWARE EN ALLE
DIENSTEN DIE DOOR OF VIA DE iOS-SOFTWARE WORDEN GELEVERD OF WAARTOE JE VIA DE iOS-
SOFTWARE TOEGANG HEBT, UITSLUITEND VOOR JE EIGEN RISICO IS EN DAT HET VOLLEDIGE
RISICO VOOR VOLDOENDE KWALITEIT, PRESTATIES, NAUWKEURIGHEID EN WERKING BIJ JOU
LIGT.

7.3 VOOR ZOVER ALS IS TOEGESTAAN DOOR DE TOEPASSELIJKE WETGEVING, WORDEN DE
iOS-SOFTWARE EN -DIENSTEN “IN DE STAAT WAARIN DEZE OP HET MOMENT VAN AANKOOP
VERKEREN” (OP “AS IS”- OF “AS AVAILABLE”-BASIS), MET ALLE FOUTEN EN ZONDER ENIGE
GARANTIE GELEVERD EN APPLE EN LICENTIEGEVER(S) VAN APPLE (VOOR HET DOEL VAN DE
PARAGRAFEN 7 EN 8 HIERNA GEZAMENLIJK TE NOEMEN “APPLE”) SLUITEN HIERBIJ
UITDRUKKELIJK ALLE GARANTIE, EXPLICIET EN IMPLICIET DAN WEL VOORTVLOEIEND UIT
WETTELIJKE RECHTEN, UIT, DAARONDER BEGREPEN DOCH NIET BEPERKT TOT ALLE DENKBARE
GARANTIES VAN VERHANDELBAARHEID, VOLDOENDE KWALITEIT, GESCHIKTHEID VOOR EEN
BEPAALD DOEL, NAUWKEURIGHEID, ONGESTOORD GEBRUIK EN NAVOLGING VAN
AUTEURSRECHTEN VAN DERDEN MET BETREKKING TOT DE iOS-SOFTWARE EN -DIENSTEN.

7.4 APPLE GEEFT GEEN GARANTIE TEGEN VERSTORING VAN JE GEBRUIK VAN DE iOS-
SOFTWARE EN -DIENSTEN EN GARANDEERT NIET DAT DE FUNCTIES DIE ZIJN VERVAT IN, OF
DIENSTEN DIE WORDEN UITGEVOERD OF VERLEEND DOOR, DE iOS-SOFTWARE AAN JE EISEN
ZULLEN VOLDOEN OF DAT MET DE iOS-SOFTWARE OF -DIENSTEN ONONDERBROKEN OF
FOUTLOOS ZAL KUNNEN WORDEN GEWERKT, DAT ENIGE DIENST BLIJVEND BESCHIKBAAR ZAL
WORDEN GESTELD, DAT GEBREKEN IN DE iOS-SOFTWARE EN -DIENSTEN ZULLEN WORDEN
GECORRIGEERD, OF DAT DE iOS-SOFTWARE OF -DIENSTEN COMPATIBEL ZIJN MET OF WERKEN
MET SOFTWARE, TOEPASSINGEN OF DIENSTEN VAN DERDEN. DE INSTALLATIE VAN DEZE iOS-
SOFTWARE KAN VAN INVLOED ZIJN OP DE BESCHIKBAARHEID EN BRUIKBAARHEID VAN
SOFTWARE, PROGRAMMA’S OF DIENSTEN VAN DERDEN OF VAN APPLE PRODUCTEN EN
DIENSTEN.

7.5 JE ERKENT BOVENDIEN DAT DE iOS-SOFTWARE EN -DIENSTEN NIET ZIJN BEDOELD EN NIET
GESCHIKT ZIJN VOOR GEBRUIK IN SITUATIES OF OMGEVINGEN WAARIN PROBLEMEN MET OF
VERTRAAGDE VRIJGAVE VAN, OF FOUTEN OF ONNAUWKEURIGHEDEN IN, DE INHOUD, GEGEVENS
OF INFORMATIE AFKOMSTIG VAN DE iOS-SOFTWARE OF -DIENSTEN, KUNNEN LEIDEN TOT DE
DOOD, PERSOONLIJK LETSEL OF ERNSTIGE SCHADE AAN PERSONEN, ZAKEN OF HET MILIEU,
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 70 of 452



MET INBEGRIP VAN MAAR NIET BEPERKT TOT DE BEDIENING VAN NUCLEAIRE INSTALLATIES, DE
BESTURING VAN LUCHTVAARTUIGEN, COMMUNICATIESYSTEMEN,
LUCHTVERKEERSLEIDINGSYSTEMEN, MACHINES VOOR DE INSTANDHOUDING VAN
LEVENSFUNCTIES OF WAPENSYSTEMEN.

7.6 GEEN ENKELE MONDELINGE OF SCHRIFTELIJKE INFORMATIE OF KENNISGEVING VAN DE
ZIJDE VAN APPLE OF EEN DOOR APPLE GEAUTORISEERDE VERTEGENWOORDIGER KAN EEN
GARANTIE INHOUDEN. MOCHTEN DE iOS-SOFTWARE OF -DIENSTEN GEBREKEN VERTONEN, DAN
KOMEN ALLE KOSTEN VAN ALLE NOODZAKELIJKE REVISIE, HERSTEL OF CORRECTIE VOOR JOUW
REKENING. IN BEPAALDE RECHTSGEBIEDEN IS UITSLUITING VAN IMPLICIETE GARANTIES OF
BEPERKING VAN TOEPASSELIJKE WETTELIJKE RECHTEN VAN DE CONSUMENT NIET
TOEGESTAAN, WAARDOOR DE BOVENSTAANDE UITSLUITING EN BEPERKINGEN VOOR JOU
MOGELIJK NIET VAN TOEPASSING ZIJN.

8. Beperking van aansprakelijkheid. VOOR ZOVER ALS IS TOEGESTAAN DOOR DE TOEPASSELIJKE
WETGEVING ZULLEN APPLE, AAN APPLE GELIEERDE ONDERNEMINGEN EN
VERTEGENWOORDIGERS EN OPDRACHTGEVERS VAN APPLE IN GEEN ENKEL GEVAL
AANSPRAKELIJK ZIJN VOOR PERSOONLIJK LETSEL, OF VOOR ENIGERLEI BIJZONDERE,
INDIRECTE SCHADE OF GEVOLGSCHADE, DAARONDER BEGREPEN ZONDER ENIGE BEPERKING
SCHADE DOOR VERLIES VAN OMZET, BESCHADIGING OF VERLIES VAN GEGEVENS, HET NIET
KUNNEN VERZENDEN OF ONTVANGEN VAN GEGEVENS (DAARONDER BEGREPEN ZONDER ENIGE
BEPERKING INSTRUCTIES VOOR CURSUSSEN, OPDRACHTEN EN MATERIAAL), ONDERBREKING
VAN DE BEDRIJFSVOERING, OF VOOR ENIGE ANDERE COMMERCIËLE SCHADE OF ENIG ANDER
COMMERCIEEL VERLIES DAT HET GEVOLG IS VAN OF VERBAND HOUDT MET JE GEBRUIK VAN OF
ONVERMOGEN TOT GEBRUIK VAN DE iOS-SOFTWARE EN -DIENSTEN, OF ENIGE SOFTWARE OF
TOEPASSINGEN VAN DERDEN IN COMBINATIE MET DE iOS-SOFTWARE OF -DIENSTEN, DOOR
WELKE OORZAAK DAN OOK, ONGEACHT DE AANSPRAKELIJKHEIDSGROND DIE WORDT
AANGEVOERD (NIET-NAKOMING, ONRECHTMATIGE DAAD OF ANDERSZINS), EN ZELFS ALS APPLE
IS GEWEZEN OP DE MOGELIJKHEID VAN DERGELIJKE SCHADE. IN BEPAALDE RECHTSGEBIEDEN
IS UITSLUITING OF BEPERKING VAN AANSPRAKELIJKHEID VOOR PERSOONLIJK LETSEL OF VOOR
INDIRECTE OF GEVOLGSCHADE NIET TOEGESTAAN, WAARDOOR DEZE BEPERKING VOOR JOU
MOGELIJK NIET VAN TOEPASSING IS. In geen geval zal Apple’s totale aansprakelijkheid voor alle
schade (uitgezonderd waar wettelijk vereist in gevallen die betrekking hebben op persoonlijk letsel) meer
bedragen dan tweehonderdvijftig dollar ($250,00). De voornoemde beperkingen zijn ook van toepassing
als de hierboven vermelde verhaalsaansprakelijkheid niet aan zijn wezenlijke doel voldoet.

9. Digitale certificaten. De iOS-software bevat functionaliteit waarmee digitale certificaten kunnen
worden geaccepteerd die door Apple of derden zijn uitgegeven. JIJ BENT ALS ENIGE
VERANTWOORDELIJK VOOR DE BESLISSING OF JE EEN DOOR APPLE OF EEN DERDE
UITGEGEVEN CERTIFICAAT VERTROUWT. JE GEBRUIK VAN DIGITALE CERTIFICATEN IS
UITSLUITEND VOOR JE EIGEN RISICO. VOOR ZOVER ALS IS TOEGESTAAN DOOR DE
TOEPASSELIJKE WETGEVING GEEFT APPLE GEEN ENKELE GARANTIE, EXPLICIET OF IMPLICIET,
VOOR DE VERHANDELBAARHEID, GESCHIKTHEID VOOR EEN BEPAALD DOEL, NAUWKEURIGHEID,
VEILIGHEID OF NAVOLGING VAN AUTEURSRECHTEN VAN DERDEN BETREFFENDE DIGITALE
CERTIFICATEN.

10. Exportbepalingen. Het is je niet toegestaan de iOS-software te gebruiken of anderszins te
exporteren of te herexporteren, behalve voor zover toegestaan krachtens de wetten van de Verenigde
Staten en van het rechtsgebied waarin je de iOS-software hebt verkregen. In het bijzonder, maar zonder
beperking, is het je niet toegestaan de iOS-software te exporteren of te herexporteren (a) naar een land
waarvoor door de Verenigde Staten een embargo is ingesteld of (b) naar enige persoon die voorkomt op
de door het U.S. Treasury Department samengestelde lijst van “Specially Designated Nationals” of op de
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 71 of 452



door het U.S. Department of Commerce samengestelde “Denied Person’s List” of “Entity List” of enige
andere lijsten met uitgezonderde partijen. Door de iOS-software te gebruiken, verklaar je dat je je niet
bevindt in een dergelijk land of op een van de bovengenoemde lijsten voorkomt. Je verklaart tevens dat
je de iOS-software niet zult gebruiken voor doeleinden die verboden zijn volgens de wetten van de
Verenigde Staten met inbegrip van, maar niet beperkt tot, de ontwikkeling, het ontwerp, de fabricage of
productie van raketten, nucleaire, chemische of biologische wapens.

11. Eindgebruikers binnen de Amerikaanse overheid. De iOS-software en de bijbehorende
documentatie zijn “Commercial Items”, zoals omschreven in 48 C.F.R. §2.101, en bestaan uit
“Commercial Computer Software” en “Commercial Computer Software Documentation”, zoals
beschreven in 48 C.F.R. §12.212 of 48 C.F.R. §227.7202, afhankelijk van welke paragraaf van toepassing
is. Overeenkomstig 48 C.F.R. §12.212 of 48 C.F.R. §227.7202-1 tot en met 227.7202-4, afhankelijk van
welke paragraaf van toepassing is, worden de “Commercial Computer Software” en “Commercial
Computer Software Documentation” aan eindgebruikers binnen de Amerikaanse overheid (a) alleen als
“Commercial Items” in licentie gegeven en (b) alleen met de rechten die worden verleend aan alle andere
eindgebruikers conform de voorwaarden die hierin worden genoemd. Ongepubliceerd: rechten
voorbehouden krachtens de auteursrechtwetgeving van de Verenigde Staten.

12. Toepasselijk recht en deelbaarheid. Deze licentie is opgesteld volgens en zal onderworpen zijn aan
de wetten van de staat Californië, Verenigde Staten, met uitzondering van de bepalingen van de staat
Californië ten aanzien van de strijdigheid van wettelijke bepalingen. Deze licentie zal niet onderworpen
zijn aan het verdrag van de Verenigde Naties inzake internationale verkoopovereenkomsten betreﬀende
roerende zaken. De toepassing van dit verdrag wordt expliciet uitgesloten. Voor consumenten in de
Groot-Brittannië zal deze licentie onderworpen zijn aan de wetten van het rechtsgebied van het land
waar zij gevestigd zijn. In het geval dat enige bepaling van deze overeenkomst of een gedeelte daarvan
door een bevoegde rechter nietig of anderszins niet verbindend geacht zal worden, zullen de overige
bepalingen van deze licentie onverkort van kracht blijven.

13. Volledige overeenkomst; taalversie. Deze licentie vormt de volledige overeenkomst tussen jou en
Apple met betrekking tot de iOS-software en prevaleert boven alle voorgaande of gelijktijdige
overeenkomsten betreﬀende dit onderwerp. Aanpassingen of wijzigingen van deze licentieovereenkomst
zijn slechts geldig voor zover deze zijn opgesteld in schriftelijke vorm en zijn ondertekend door Apple.
Vertalingen van deze licentie zijn gemaakt ten behoeve van plaatselijke vereisten. In het geval van een
verschil tussen de Engelse en de niet-Engelse versie geldt de Engelse versie van deze licentie, voor
zover dat niet door de plaatselijk geldende wetgeving in jouw rechtsgebied is verboden.

14. Auteursrechten van derden. In gedeelten van de iOS-software wordt software of ander materiaal
gebruikt waarvan het auteursrecht bij andere fabrikanten berust. Erkenning van rechten,
licentievoorwaarden en beperkingen van aansprakelijkheid met betrekking tot dergelijke materialen zijn
vervat in de elektronische documentatie bij de iOS-software, en op je gebruik van dergelijke materialen
zijn de respectieve voorwaarden van de desbetreﬀende materialen van toepassing. Op het gebruik van
de Safe Browsing-service van Google zijn de servicevoorwaarden van Google (https://www.google.com/
intl/nl/policies/terms/) en het privacybeleid van Google (https://www.google.com/intl/nl/policies/privacy/)
van toepassing.

15. Gebruik van MPEG-4; H.264/AVC-bepaling.
(a) Voor de iOS-software wordt een licentie verleend krachtens de MPEG-4 Systems Patent Portfolio
License voor codering in overeenstemming met de MPEG-4 Systems Standard, met dien verstande dat
een aanvullende licentie en de betaling van rechten zijn vereist voor codering van (i) op fysieke media
opgeslagen of gekopieerde gegevens waarvoor betaling plaatsvindt per titel en/of (ii) gegevens waarvoor
betaling plaatsvindt per titel en die worden verzonden naar een eindgebruiker voor permanente opslag
en/of permanent gebruik. Een dergelijke aanvullende licentie kan worden aangevraagd bij MPEG LA,
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 72 of 452



LLC. Raadpleeg http://www.mpegla.com voor meer informatie.

(b) De iOS-software bevat MPEG-4-coderings- en/of MPEG-4-decoderingsfunctionaliteit. Voor de iOS-
software wordt een licentie verleend krachtens de MPEG-4 Visual Patent Portfolio License voor
persoonlijk en niet-commercieel gebruik door een consument voor (i) de codering van video volgens de
MPEG-4 Visual Standard (“MPEG-4 Video”) en/of (ii) de decodering van MPEG-4-videomateriaal dat is
gecodeerd door een consument voor persoonlijke en niet-commerciële doeleinden en/of is verkregen
van een videoaanbieder die in het bezit is van een MPEG LA-licentie voor de levering van MPEG-4-
videomateriaal. Er worden geen licenties verleend, expliciet noch impliciet, voor andere doeleinden.
Aanvullende informatie, waaronder informatie die betrekking heeft op gebruik voor promotiedoeleinden
of interne of commerciële doeleinden en de hiervoor vereiste licenties kan worden aangevraagd bij
MPEG LA, LLC. Raadpleeg http://www.mpegla.com.

(c) De iOS-software bevat AVC-coderings- en/of AVC-decoderingsfunctionaliteit, zodat voor
commercieel gebruik van H.264/AVC extra licentievoorwaarden en de volgende bepaling gelden: VOOR
DE AVC-FUNCTIONALITEIT IN DE iOS-SOFTWARE HEB JE UITSLUITEND EEN LICENTIE VOOR
PERSOONLIJK EN NIET-COMMERCIEEL GEBRUIK DOOR EEN CONSUMENT MET DE VOLGENDE
DOELEN: (i) VIDEOMATERIAAL CODEREN IN OVEREENSTEMMING MET DE AVC-STANDAARD (“AVC-
VIDEOMATERIAAL”) EN/OF (ii) AVC-VIDEOMATERIAAL DECODEREN DAT DOOR EEN CONSUMENT IS
GECODEERD VOOR EEN PERSOONLIJKE EN NIET-COMMERCIËLE ACTIVITEIT EN/OF AVC-
VIDEOMATERIAAL DECODEREN DAT IS VERKREGEN VAN EEN LEVERANCIER VAN VIDEOMATERIAAL
DIE EEN LICENTIE HEEFT VOOR HET AANBIEDEN VAN AVC-VIDEOMATERIAAL. INFORMATIE
BETREFFENDE ENIG ANDER GEBRUIK EN LICENTIES IS VERKRIJGBAAR BIJ MPEG LA L.L.C. ZIE
http://www.mpegla.com.

16. Beperkingen betreﬀende de Yahoo-zoekfunctie. De Yahoo-zoekfunctie, die beschikbaar is via
Safari, is uitsluitend gelicentieerd voor gebruik in de volgende landen en regio’s: Argentinië, Aruba,
Australië, Bahama’s, Barbados, België, Bermuda, Brazilië, Bulgarije, Canada, Caymaneilanden, Chili,
China, vasteland, Hongkong, Taiwan, Colombia, Cyprus, Denemarken, Dominicaanse Republiek,
Duitsland, Ecuador, El Salvador, Filipijnen, Finland, Frankrijk, Grenada, Griekenland, Guatemala,
Hongarije, Ierland, IJsland, India, Indonesië, Italië, Jamaica, Japan, Letland, Litouwen, Luxemburg,
Maleisië, Malta, Mexico, Nederland, Nicaragua, Nieuw-Zeeland, Noorwegen, Oostenrijk, Panama, Peru,
Polen, Portugal, Puerto Rico, Roemenië, Saint Lucia, Saint Vincent, Singapore, Slovenië, Slowakije,
Spanje, Thailand, Trinidad en Tobago, Tsjechië, Turkije, Uruguay, Venezuela, Verenigd Koninkrijk,
Verenigde Staten, Zuid-Korea, Zweden en Zwitserland.

17. Microsoft Exchange-bepaling. De Microsoft Exchange-mailinstelling in de iOS-software wordt je
uitsluitend in licentie gegeven voor de draadloze synchronisatie van informatie, zoals e-mail,
contactgegevens, agenda-informatie en taken, tussen je iOS-apparaat en Microsoft Exchange Server of
andere serversoftware die door Microsoft in licentie is gegeven om het Microsoft Exchange ActiveSync-
protocol te implementeren.

EA1566
21-02-2019

————————————
Aanvullende voorwaarden voor Apple Pay

Deze aanvullende voorwaarden voor Apple Pay (deze “Aanvullende voorwaarden”) vormen een
aanvulling op de Softwarelicentieovereenkomst voor iOS (de “Licentie”). Op je gebruik van de
Apple Pay-voorziening, die binnen de Licentie als een “Dienst” wordt beschouwd, zijn zowel de Licentie
als deze Aanvullende voorwaarden van toepassing. De termen met hoofdletters in deze Aanvullende
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 73 of 452



voorwaarden hebben de betekenis zoals gedefinieerd in de Licentie.

1.   Overzicht en gebruiksbeperkingen

Met Apple Pay kun je:

        •   een virtuele weergave bewaren van bankpassen en (prepaid) creditcards, inclusief door
            winkels uitgegeven (prepaid) creditcards en de Apple Pay Cash-kaart, die worden
            ondersteund door de Apple Pay-voorziening (“Ondersteunde betaalkaarten”) en die
            ondersteunde iOS-apparaten gebruiken voor contactloos betalen op bepaalde locaties of
            betalingen vanuit apps of websites;
        •   spaar- en cadeaukaarten gebruiken die in Wallet zijn bewaard (“Voor Apple Pay geschikte
            kaarten”, samen met Ondersteunde betaalkaarten te noemen “Ondersteunde kaarten”), voor
            contactloze spaar- en cadeaukaarttransacties in bepaalde winkels als onderdeel van een
            contactloze betaling via Apple Pay; en
        •   persoonlijke betalingen naar andere Apple Pay-gebruikers sturen.

De functies van Apple Pay in de iOS-software zijn mogelijk alleen beschikbaar in een beperkt aantal
regio’s, voor kaarten van een beperkt aantal uitgevende instanties en bij een beperkt aantal financiële
instellingen en winkels. De functies kunnen per regio, bank en winkel variëren.

Om Apple Pay te kunnen gebruiken, heb je een Ondersteunde kaart nodig. Welke kaarten worden
ondersteund, is aan wijzigingen onderhevig. Daarnaast heb je een Apple Pay Cash-kaart nodig om
persoonlijke betalingen te kunnen versturen of ontvangen.

Ondersteunde betaalkaarten en persoonlijke betalingen zijn gekoppeld aan de Apple ID waarmee je bij
iCloud bent ingelogd om deze voorzieningen te gebruiken. Ondersteunde kaarten zijn alleen beschikbaar
voor personen van 13 jaar en ouder. Ook zijn mogelijk aanvullende leeftijdsbeperkingen van toepassing
die zijn verbonden aan iCloud of de betreﬀende Ondersteunde kaart. De Apple Pay Cash-kaart en de
mogelijkheid om persoonlijke betalingen te versturen en ontvangen zijn alleen beschikbaar voor
personen vanaf 18 jaar.

Apple Pay is uitsluitend bedoeld voor gebruik door jou persoonlijk en voor jouw eigen Ondersteunde
betaalkaarten. Als je een ondersteunde bedrijfsbetaalkaart instelt, bevestig je dat je hiervoor
toestemming hebt van je werkgever en dat je zodanig bevoegd bent dat je werkgever gebonden is aan
deze gebruiksvoorwaarden en alle transacties die met deze voorziening worden uitgevoerd. Als je een
persoonlijke betaling verstuurt of ontvangt, bevestig je dat je dit doet voor persoonlijke, niet-
commerciële doeleinden.

Je stemt ermee in Apple Pay niet te gebruiken voor illegale of frauduleuze doeleinden of enige andere
doeleinden die niet zijn toegestaan volgens de Licentie en deze Aanvullende voorwaarden. Je stemt er
verder mee in om Apple Pay te gebruiken in overeenstemming met de toepasselijke wet- en regelgeving.
Je stemt ermee in geen activiteiten te ondernemen die de normale werking beïnvloeden of verstoren van
Apple Pay (waaronder het benaderen van de voorziening via geautomatiseerde middelen), of van de
servers of netwerken die zijn verbonden met de voorziening, of van het beleid, de vereisten of de regels
van de netwerken die zijn verbonden met de voorziening (waaronder ongeoorloofde toegang tot deze
netwerken of het gebruik of de bewaking van gegevens of verkeer in deze netwerken).

2.   De relatie van Apple met jou

Met Apple Pay maak je een virtuele weergave van je Ondersteunde kaarten op je ondersteunde iOS-
apparaat. Apple verwerkt echter geen betalingen of andere kaarttransacties (zoals de opgebouwde en
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 74 of 452



ingewisselde spaarwaarde), ontvangt of reserveert geen geldbedragen, boekt geen geldbedragen over
en heeft op geen enkele manier controle over betalingen, retouren, restituties, spaarwaarden, tegoeden,
kortingen of andere commerciële activiteiten die samenhangen met je gebruik van deze voorziening.

De voorwaarden zoals gesteld in de kaarthoudersovereenkomst van de instantie die de betaalkaart heeft
uitgegeven, blijven van toepassing op je gebruik van je Ondersteunde kaarten in relatie tot Apple Pay.
Daarnaast is je deelname in spaar- of cadeaukaartprogramma’s van winkels en je gebruik van voor Apple
Pay geschikte kaarten in relatie tot Apple Pay onderhevig aan de voorwaarden van de betreﬀende
winkel.

De Apple Pay Cash-kaart en de mogelijkheid om persoonlijke betalingen te versturen en ontvangen zijn
alleen beschikbaar in de Verenigde Staten en zijn diensten die worden verleend door Green Dot Bank, lid
van de FDIC. Als je deze voorzieningen binnen Apple Pay hebt ingeschakeld, open je een rekening bij
Green Dot Bank. Als je een persoonlijke betaling verstuurt of ontvangt of met je Apple Pay Cash-kaart
geld stort of opneemt, is Green Dot Bank verantwoordelijk voor de ontvangst van je geld en de
verzending ervan naar de beoogde ontvanger. De financiële instelling die verantwoordelijk is voor het
aanbieden van Apple Pay Cash en persoonlijke betalingen binnen Apple Pay kan worden gewijzigd en je
gebruik van dergelijke voorzieningen is onderworpen aan de voorwaarden van die instelling.

Niets in de Licentie of deze Aanvullende voorwaarden is van invloed op de voorwaarden van enige
kaarthouders- of gebruikersovereenkomst of overeenkomst met een winkel. De voorwaarden van een
dergelijke overeenkomst zijn van toepassing op je gebruik van de betreﬀende Ondersteunde kaart of de
voorziening voor persoonlijke betalingen in Apple Pay en de virtuele weergave hiervan op je iOS-
apparaat. Je stemt ermee in dat Apple geen partij is in de kaarthoudersovereenkomst of overeenkomst
met een winkel en dat Apple evenmin verantwoordelijk is voor: (a) de inhoud, correctheid of niet-
beschikbaarheid van betaalkaarten, spaarkaarten, cadeaukaarten, commerciële activiteiten, transacties
of aankopen tijdens het gebruik van de functionaliteit van Apple Pay; (b) het toekennen van een tegoed
of het beoordelen van de geschiktheid voor het toekennen van een tegoed; (c) het opbouwen of
inwisselen van spaarwaarde of tegoed in het kader van het spaarkaart- of tegoedprogramma van een
winkel; (d) het financieren of herladen van prepaid creditcards; (e) het versturen of ontvangen van
persoonlijke betalingen; of (f) het storten, inwisselen of opnemen van geld op je Apple Pay Cash-kaart.

Bij alle geschillen of vragen over betaalkaarten, spaarkaarten, cadeaukaarten of hieraan gerelateerde
commerciële activiteiten, neem je contact op met de uitgevende bank of de betreﬀende winkel. Voor
vragen over de Apple Pay Cash-kaart of persoonlijke betalingen kun je contact opnemen met Apple
Support.

3.   Privacy

Voor de volledige functionaliteit van Apple Pay is bepaalde informatie van je iOS-apparaat vereist.
Daarnaast wordt, wanneer je je Apple Pay Cash-kaart gebruikt of persoonlijke betalingen verstuurt of
ontvangt, aanvullende informatie over je transacties verzameld en bewaard ten behoeve van de
dienstverlening omtrent je account, fraudepreventie en regelgevingsdoeleinden. Als je wilt weten welke
gegevens worden verzameld, gebruikt of gedeeld als onderdeel van je gebruik van Apple Pay, de Apple
Pay Cash-kaart of persoonlijke betalingen via Apple Pay, lees je de informatie over Apple Pay en privacy
(te vinden in Wallet en Apple Pay op je iOS-apparaat, of in de Watch-app op een gekoppeld iOS-
apparaat) of ga je naar https://www.apple.com/nl/privacy. Door deze voorzieningen te gebruiken, stem je
ermee in dat Apple en dochterondernemingen en vertegenwoordigers van Apple alle voornoemde
informatie verzenden, verzamelen, beheren, verwerken en gebruiken om functies van Apple Pay
beschikbaar te stellen.

4.   Beveiliging; zoekgeraakte of gedeactiveerde apparaten
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 75 of 452




Apple Pay bewaart een virtuele weergave van je Ondersteunde kaarten en moet net zo zorgvuldig
worden behandeld als contant geld of fysieke (prepaid) creditcards, bankpassen, spaarkaarten of
cadeaukaarten. Het doorgeven van de toegangscode voor je apparaat aan derden of het toestaan dat
derden hun vingerafdruk toevoegen aan Touch ID of Face ID inschakelen, kan ertoe leiden dat deze
personen met Apple Pay op je apparaat betalingen kunnen verrichten, persoonlijke betalingen kunnen
versturen, aanvragen of ontvangen, geld kunnen opnemen van je Apple Pay Cash-kaart of spaarwaarde
of krediet kunnen ontvangen of inwisselen. Jij bent als enige verantwoordelijk voor het waarborgen van
de veiligheid van je apparaat en je toegangscode. Je gaat ermee akkoord dat Apple op geen enkele
wijze verantwoordelijk is als je je apparaat verliest of anderen toegang geeft tot je apparaat. Je gaat
ermee akkoord dat Apple op geen enkele wijze verantwoordelijk is als je niet-geautoriseerde wijzigingen
in iOS aanbrengt (bijvoorbeeld door middel van een “jailbreak”).

Om toegang te krijgen tot bepaalde voorzieningen van Apple Pay, waaronder de Apple Pay Cash-kaart
en persoonlijke betalingen met Apple Pay, moet je mogelijk aanvullende veiligheidsmaatregelen nemen,
zoals het inschakelen van twee-factor-authenticatie voor je Apple ID. Als je deze beveiligingsfuncties
vervolgens verwijdert, heb je mogelijk geen toegang meer tot bepaalde voorzieningen van Apple Pay.

Als je apparaat is zoekgeraakt of is gestolen en Zoek mijn iPhone is ingeschakeld, kun je Zoek mijn
iPhone gebruiken om de mogelijkheid betalingen te verrichten met de virtuele Ondersteunde
betaalkaarten of persoonlijke betalingen te versturen op dat apparaat te blokkeren. Je kunt dit doen door
de verloren-modus in te schakelen. Je kunt je apparaat ook wissen. Hierbij wordt geprobeerd de
mogelijkheid om betalingen te verrichten met de virtuele Ondersteunde betaalkaarten of persoonlijke
betalingen te versturen op het apparaat te blokkeren en wordt bovendien geprobeerd de voor Apple Pay
geschikte kaarten te verwijderen. Je moet echter ook contact opnemen met de instantie die je
Ondersteunde betaalkaarten heeft uitgegeven, met de winkel die de voor Apple Pay geschikte kaarten
heeft uitgegeven en, in geval van een Apple Pay Cash-kaart, met Apple om te voorkomen dat
onbevoegden gebruikmaken van je Ondersteunde kaarten.

Als je melding maakt van of als Apple vermoedens heeft van frauduleuze activiteiten of misbruik, stem je
ermee in om bij een eventueel onderzoek met Apple samen te werken en desgevraagd
fraudepreventiemaatregelen toe te passen.

5.   Beperking van aansprakelijkheid

NAAST DE VAN DE HAND GEWEZEN GARANTIES EN BEPERKING VAN AANSPRAKELIJKHEID ZOALS
UITEENGEZET IN DE LICENTIE, AANVAARDT APPLE GEEN ENKELE AANSPRAKELIJKHEID VOOR
AANKOPEN, BETALINGEN, TRANSACTIES OF ANDERE COMMERCIËLE ACTIVITEITEN DIE ZIJN
VERRICHT MET BEHULP VAN DE APPLE PAY-VOORZIENING. JE STEMT ER BOVENDIEN MEE IN OM
JE IN GEVAL VAN VRAGEN OF GESCHILLEN MET BETREKKING TOT JE ONDERSTEUNDE KAARTEN,
PERSOONLIJKE BETALINGEN EN AANVERWANTE COMMERCIËLE ACTIVITEITEN UITSLUITEND TE
BEROEPEN OP DE OVEREENKOMST MET DE UITGEVENDE INSTANTIE, HET BETALINGSNETWERK,
FINANCIËLE INSTELLINGEN OF DE WINKEL.

————————————
MEDEDELINGEN VAN APPLE
Je stemt erin toe dat je enige informatie van Apple betreﬀende je product of account via e-mail ontvangt.
Bovendien stem je ermee in dat dergelijke mededelingen die je elektronisch ontvangt, voldoen aan de
wettelijke communicatievereisten.
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 76 of 452



ITALIANO

IMPORTANTE: UTILIZZANDO iPHONE, iPAD O iPOD TOUCH (“DISPOSITIVO iOS”), ACCETTATE DI
ESSERE VINCOLATI AI SEGUENTI TERMINI E CONDIZIONI:

A.   LICENZA SOFTWARE APPLE iOS
B.   TERMINI SUPPLEMENTARI DI APPLE PAY
C.   NOTIFICHE DA APPLE

APPLE INC.
LICENZA SOFTWARE iOS
Licenza per uso individuale

LEGGETE ATTENTAMENTE LA PRESENTE LICENZA SOFTWARE (“LICENZA”) PRIMA DI
UTILIZZARE IL DISPOSITIVO iOS O DI SCARICARE L’AGGIORNAMENTO SOFTWARE CHE
ACCOMPAGNA QUESTA LICENZA. UTILIZZANDO IL DISPOSITIVO iOS O SCARICANDO UN
AGGIORNAMENTO SOFTWARE, SECONDO IL CASO, ACCETTATE I TERMINI E LE CONDIZIONI
DELLA PRESENTE LICENZA. QUALORA NON ACCETTIATE LE CONDIZIONI E I TERMINI DELLA
LICENZA, NON UTILIZZATE IL DISPOSITIVO iOS E NON SCARICATE L’AGGIORNAMENTO
SOFTWARE.

SE DI RECENTE AVETE ACQUISTATO UN DISPOSITIVO iOS E NON ACCETTATI LE CONDIZIONI E I
TERMINI, RESTITUITE IL DISPOSITIVO iOS A APPLE STORE O A UN DISTRIBUTORE
AUTORIZZATO ENTRO IL PERIODO DI RESTITUZIONE PER OTTENERE UN RIMBORSO,
SECONDO I TERMINI DELLA POLITICA DI RESTITUZIONE CHE TROVERETE SU https://
www.apple.com/legal/sales-support/.

1. Generale.
(a) Il software (incluso il codice Boot ROM, il software integrato e altro software di terze parti), le
interfacce, i contenuti, i font, la documentazione e tutti i dati forniti con il Dispositivo iOS (“Software
Originale iOS”), così come quelli aggiornati o sostituiti dalle funzionalità aggiunte, dagli aggiornamenti
software o da software per il ripristino del sistema forniti da Apple (“Aggiornamenti del Software iOS”),
sia su memoria di sola lettura sia su altri supporti o in altra forma (il Software originale iOS e gli
Aggiornamenti del Software iOS sono denominati collettivamente il “Software iOS”), vengono concessi
in licenza, e non venduti, da Apple Inc. (“Apple”) per essere usati unicamente nei termini di questa
Licenza. Apple e i suoi licenziatari rimangono proprietari del Software iOS e si riservano tutti i diritti non
espressamente accordati. Accettate che i termini della presente licenza siano validi per qualsiasi app
Apple integrata sul Vostro Dispositivo iOS, a meno che tali app non siano accompagnate da una licenza
separata. In tal caso, accettate che i termini delle relative licenze regolino il Vostro utilizzo di tali app.

(b) Apple, a sua discrezione, potrebbe rendere disponibili degli aggiornamenti futuri per il Dispositivo
iOS. Qualora presenti, tali aggiornamenti potrebbero non includere necessariamente tutte le funzionalità
esistenti nel software o le nuove funzionalità fornite da Apple per altri modelli dei dispositivi iOS o per i
modelli più recenti. I termini e le condizioni della presente Licenza regoleranno tutti gli Aggiornamenti
del Software iOS forniti da Apple, a meno che tale Aggiornamento del Software iOS non sia regolato da
una licenza separata; in tal caso, saranno applicabili i termini e le condizioni di tale licenza.

(c) Nel caso in cui utilizziate suddetta funzionalità di configurazione per configurare un nuovo Dispositivo
iOS in base a un Dispositivo iOS esistente, accettate che i termini della presente Licenza regoli l’utilizzo
del Software iOS sul Vostro Dispositivo iOS, a meno che non sia regolato da una licenza separata; in tal
caso accettate che i termini di tale Licenza regoli l’utilizzo di tale Software iOS. Il Vostro Dispositivo iOS
verificherà periodicamente con Apple la disponibilità di Aggiornamenti Software iOS. Nel caso sia
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 77 of 452



disponibile un aggiornamento, questo potrebbe essere scaricato e installato automaticamente sul Vostro
Dispositivo iOS e, se applicabile, sulle Vostre periferiche. Utilizzando il Software Apple, accettate che
Apple possa scaricare e installare Aggiornamenti Software iOS automatici sul Vostro Dispositivo
iOS e sulle Vostre periferiche. Potete disabilitare completamente gli aggiornamenti automatici in
qualsiasi momento modificando le preferenze “Aggiornamenti automatici” che trovate in Impostazioni >
Generali > Aggiornamento Software.

2. Usi consentiti e restrizioni della Licenza.
(a) Conforme ai termini e alle condizioni stabiliti nella presente Licenza, Vi viene accordata una licenza
limitata e non esclusiva per utilizzare il Software iOS su un singolo Dispositivo iOS Apple. Salvo nella
misura di quanto consentito dal paragrafo 2(b) a continuazione e salvo quanto stabilito in un contratto
separato tra Voi e Apple, la presente Licenza non consente di utilizzare il Software iOS su più di un
Dispositivo iOS Apple alla volta e non consente di distribuire o di utilizzare il Software iOS su una rete
dove potrebbe essere utilizzato da più dispositivi contemporaneamente. La presente licenza non
concede alcun diritto relativamente all’utilizzo delle interfacce di proprietà di Apple né di altre proprietà
intellettuali per il design, lo sviluppo, la fabbricazione, la concessione in licenza o la distribuzione di
dispositivi e accessori di terze parti né di applicazioni di terze parti da utilizzare con i dispositivi iOS.
Alcuni di tali diritti sono concessi in licenza separatamente da Apple. Per ulteriori informazioni relative
allo sviluppo di dispositivi e accessori di terze parti per i dispositivi iOS, visitate https://
developer.apple.com/programs/mfi/. Per ulteriori informazioni relative allo sviluppo di applicazioni per i
dispositivi iOS, visitate https://developer.apple.com.

(b) Conforme ai termini e alle condizioni stabiliti nella presente Licenza, Vi viene accordata una licenza
limitata e non esclusiva per scaricare gli Aggiornamenti del Software iOS resi eventualmente disponibili
da Apple per il modello del Dispositivo iOS al fine di aggiornare o ripristinare il software di tutti i
dispositivi iOS che possedete o controllate. Questa Licenza non consente di distribuire o rendere
disponibili gli Aggiornamenti del Software iOS su una rete dove potrebbero essere utilizzati da più
dispositivi o computer contemporaneamente. Se avete scaricato un Aggiornamento del Software iOS sul
computer, Vi è consentito eseguire una copia degli Aggiornamenti del Software iOS memorizzati sul
Vostro computer in formato leggibile dalla macchina per soli scopi di backup, purché la copia di backup
riporti tutte le informazioni relative ai diritti d’autore o altri diritti di proprietà contenute nell’originale.

(c) Nella misura in cui Apple ha preinstallato app Apple da App Store sul Vostro Dispositivo iOS al
momento dell’acquisto (“App Preinstallate”), dovrete accedere a App Store e associare tali App
Preinstallate con il Vostro account App Store per poterle utilizzare sul Vostro Dispositivo iOS. Quando
associate un’App Preinstallata con il Vostro account App Store, al tempo stesso associate
automaticamente tutte le altre App Preinstallate sul Vostro Dispositivo iOS. Scegliendo di associare le
App Preinstallate con il Vostro account App Store, accettate che Apple possa trasmettere, raccogliere,
conservare, processare e utilizzare sia l’ID Apple utilizzato dal Vostro account App Store sia un
identificatore hardware unico rilevato dal Vostro Dispositivo iOS come identificatori unici dell’account allo
scopo di verificare l’idoneità della Vostra richiesta e di fornirvi l’accesso alle App Preinstallate attraverso
App Store. Se non desiderate utilizzare le App Preinstallate, potete eliminarle dal Vostro Dispositivo iOS
in qualsiasi momento.

(d) Non è consentito, e accettate quindi di non farlo e di non permettere ad altri di farlo, copiare (salvo
nei limiti di quanto espressamente consentito dalla presente Licenza), decompilare, disassemblare,
riassemblare, tentare di ricavare il codice sorgente, decodificare o modificare il Software iOS e
qualunque servizio fornito dal Software iOS o parte di esso né ricavarne prodotti derivati (salvo nei limiti
di quanto consentito dalla legge applicabile o dai termini e le condizioni del contratto di licenza che
regolano l’uso dei componenti open source inclusi con il Software iOS).

(e) Il Software iOS può essere utilizzato per riprodurre materiale purché tale utilizzo sia limitato alla
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 78 of 452



riproduzione di materiale non protetto da copyright, di materiale di cui detenete il copyright o di
materiale per cui disponete dell’autorizzazione o del permesso legale per la riproduzione. La titolarità e i
diritti di proprietà intellettuale relativi a qualsiasi materiale visualizzato, archiviato o accessibile dal Vostro
Dispositivo iOS appartengono al rispettivo proprietario del contenuto. Tale contenuto potrebbe essere
protetto da copyright o da altre leggi o trattati sulla proprietà intellettuale, e potrebbe essere soggetto ai
termini di utilizzo di terze parti che forniscono tale contenuto. Salvo quanto diversamente previsto nel
presente documento, la presente Licenza non Vi concede alcun diritto di utilizzare tali contenuti né
garantisce che tali contenuti continuino a essere a Vostra disposizione.

(f) Conformemente ai termini e alle condizioni stabiliti nella presente Licenza, potete utilizzare i caratteri
Animoji e Memoji inclusi o creati con il Software iOS (“Caratteri di Sistema”) (i) durante l’utilizzo del
Software iOS e (ii) per creare contenuti originali e progetti per Vostro uso personale e non commerciale.
La presente Licenza non consente alcun altro uso dei Caratteri di Sistema, inclusi, ma non limitati a, uso,
riproduzione, visualizzazione, esecuzione, registrazione, pubblicazione o ridistribuzione dei Personaggi
di Sistema in contesti a scopo di lucro, senza scopo di lucro, di condivisione pubblica o commerciali.

(g) Accettate di utilizzare il Software iOS e i Servizi (così come stabilito nel Paragrafo 5 a continuazione)
in conformità a tutte le leggi applicabili, comprese la legislazione locale del paese o della regione in cui
risiedete o in cui scaricate o utilizzate il Software iOS e i Servizi. Le funzionalità del Software iOS e i
Servizi potrebbero non essere disponibili in tutte le lingue o in tutte le regioni, alcune funzionalità
potrebbero variare da regione a regione e alcune potrebbero essere limitate o rese non disponibili del
Vostro fornitore di servizi. Per alcune funzionalità del Software iOS e dei Servizi è necessaria una
connessione Wi-Fi o una connessione dati cellulare.

(h) L’utilizzo di App Store richiede una combinazione unica di nome utente e password, conosciuta come
ID Apple. Un ID Apple è richiesto anche per accedere agli aggiornamenti delle app e ad alcune
funzionalità del Software iOS e dei Servizi.

(i) Riconoscete che molte funzionalità, app integrate e Servizi del Software iOS eseguono la trasmissione
di dati che potrebbe ripercuotersi sul Vostro piano tariﬀario e che la responsabilità di tali costi ricade
esclusivamente su di Voi. Potete visualizzare e controllare a quali applicazioni è consentito l’utilizzo dei
dati cellulare e visualizzare una stima dei consumi di tali applicazioni nelle impostazioni “Dati cellulare”.
Inoltre, Assistenza Wi-Fi passerà automaticamente alla connessione cellulare quando il segnale Wi-Fi è
scarso, e ciò potrebbe aumentare l’utilizzo dei dati cellulare e ripercuotersi sul Vostro piano tariﬀario.
Assistenza Wi-Fi è attiva per impostazioni predefinita, ma può essere disabilitata nelle Impostazioni. Per
ulteriori informazioni, consultate il Manuale utente del Vostro Dispositivo iOS.

(j) Se scegliete di consentire gli aggiornamenti automatici delle app, il Vostro Dispositivo iOS verificherà
periodicamente con Apple la presenza di aggiornamenti per le app sul Vostro dispositivo e, qualora
disponibili, gli aggiornamenti verranno scaricati e installati automaticamente. Potete disattivare
completamente gli aggiornamenti automatici delle app in qualsiasi momento andando in Impostazioni,
toccando “iTunes e App Store” e, sotto “Download automatici” disattivare Aggiornamenti.

(k) In alcune circostanze, l’utilizzo del Vostro Dispositivo iOS può causare distrazione e potrebbe portare
a situazioni pericolose (ad esempio, si consiglia di evitare di digitare messaggi di testo durante la guida o
di utilizzare gli auricolari andando in bicicletta). Utilizzando il Vostro Dispositivo iOS, riconoscete la
Vostra responsabilità nel rispettare le norme che vietano o limitano l’utilizzo telefoni cellulari o auricolari
(ad esempio, l’obbligo di utilizzare opzioni viva-voce per eﬀettuare chiamate durante la guida).

3. Trasferimento. Non Vi è consentito dare in locazione, in leasing, in prestito, vendere, ridistribuire o
concedere in sublicenza il Software iOS. Tuttavia è consentito trasferire in maniera permanente tutti i
diritti relativi al Software iOS a terzi, in caso di trasferimento di proprietà del Dispositivo iOS, a
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 79 of 452



condizione che: (a) il trasferimento riguardi il Dispositivo iOS e tutto il Software iOS, inclusi tutti i
componenti e la presente Licenza; (b) non venga conservata nessuna copia totale o parziale del
Software iOS, comprese eventuali copie memorizzate su computer o su altro dispositivo di archiviazione
dati; e (c) la parte ricevente il Software iOS legga e accetti i termini e le condizioni della presente Licenza.

4. Consenso all’utilizzo dei dati. Quando utilizzate il Vostro telefono, il Vostro numero telefonico e
alcuni identificatori unici del Vostro Dispositivo iOS vengono inviati a Apple per consentire ad altri di
raggiungervi tramite il Vostro numero telefonico durante l’utilizzo di varie funzionalità di comunicazione
del Software iOS, come ad esempio iMessage e FaceTime. Quando utilizzate iMessage, Apple potrebbe
conservare i messaggi in formato codificato per un periodo di tempo limitato allo scopo di garantirne la
consegna. Potete disattivare FaceTime o iMessage accedendo alle impostazioni di FaceTime o
Messaggi sul Vostro Dispositivo iOS. Alcune funzionalità, come Analisi, “Servizi di localizzazione”, Siri e
Dettatura, potrebbero richiedere informazioni dal Vostro Dispositivo iOS per fornire le rispettive funzioni.
Quando attiverete o utilizzerete tali funzionalità, Vi verranno forniti dettagli riguardo a quali informazioni
vengono inviate a Apple e come vengono utilizzate. Potete trovare ulteriori informazioni visitando https://
www.apple.com/it/privacy/. I Vostri dati verranno trattati in ogni momento in conformità con la politica di
tutela della privacy di Apple, consultabile su https://www.apple.com/legal/privacy/.

5. Servizi e materiali di terze parti.
(a) Il Software iOS potrebbe consentire l’accesso a iTunes Store, App Store, Apple Libri, Game Center,
iCloud di Apple e ad altri siti e servizi di Apple e di terze parti (collettivamente e individualmente,
“Servizi”). Tali Servizi potrebbero essere disponibili solo in alcune lingue o in alcuni paesi. L’utilizzo di
questi Servizi richiede l’accesso a Internet e per l’utilizzo di alcuni Servizi potrebbero essere necessari un
ID Apple e l’accettazione di ulteriori termini e condizioni; inoltre potrebbero essere applicate tariﬀe
aggiuntive. L’utilizzo di questo software con un ID Apple, o un altro servizio Apple comporta
l’accettazione dei termini e delle condizioni del servizio, quali i termini e le condizioni dei Servizi
multimediali Apple più recenti per il paese dal quale si accede a tali Servizi, che possono essere
consultati e controllati su https://www.apple.com/legal/internet-services/itunes/.

(b) Se eseguite la registrazione a iCloud, alcune funzionalità iCloud, quali “Foto di iCloud”, “Il mio
streaming foto”, “Album condivisi”, Backup e “Trova il mio iPhone” potrebbero essere accessibili
direttamente dal Software iOS. Riconoscete e accettate che il Vostro utilizzo di iCloud e di queste
funzionalità è soggetto ai termini e condizioni più recenti del servizio iCloud, che possono essere
consultati e controllati su: https://www.apple.com/legal/internet-services/icloud/.

(c) Contenuto dell’app Novità. L’utilizzo del contenuto accessibile mediante l’applicazione Novità è
limitato esclusivamente a un uso personale, non commerciale e non trasferisce alcun diritto di proprietà
relativo al contenuto; in particolare, esclude, senza limitazioni, qualsiasi diritto di utilizzo commerciale o
promozionale relativo a tale contenuto. Inoltre, non è consentito ripubblicare, ritrasmettere e riprodurre
qualsiasi immagine accessibile mediante Novità come file stand-alone.

(d) Mappe. Il servizio e le funzionalità delle mappe del Software iOS (“Mappe”), tra cui la copertura dei
dati delle mappe, possono variare da regione a regione. Quando utilizzate una funzione di localizzazione
con Mappe, come ad esempio la navigazione turn-by-turn, la ricerca locale e del traﬃco, varie
informazioni sulla posizione e le informazioni di utilizzo possono essere inviate a Apple, includendo in
tempo reale la posizione geografica del Dispositivo iOS, al fine di elaborare la richiesta e contribuire a
migliorare il servizio Mappe. Il luogo e i dati di utilizzo vengono raccolti da Apple in una forma che non Vi
identificano personalmente. Usando Mappe, accettate e consentite a Apple, alle sue società e
agenti la trasmissione, la raccolta, la manutenzione, l’elaborazione e l’uso di queste informazioni,
per fornire e migliorare le funzionalità e il servizio Mappe e altri prodotti e servizi Apple. Apple
potrebbe inoltre fornire tali informazioni, in forma aggregata o che non consenta di identificarvi
personalmente, ai propri partner e licenziatari allo scopo di aiutare a migliorare le loro mappe e i loro
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 80 of 452



prodotti e servizi basati sulla localizzazione. È possibile disattivare la funzionalità di localizzazione di
Mappe andando sulle impostazioni dei servizi di localizzazione sul Dispositivo iOS e disattivando
l’impostazione per la localizzazione specifica di Mappe. Tuttavia, alcune funzionalità di Mappe non
saranno disponibili se si disattiva l’impostazione dei servizi di localizzazione, ad esempio la navigazione
turn-by-turn.

(e) Riconoscete che, utilizzando uno qualunque dei Servizi, esiste la possibilità che troviate contenuti che
potreste considerare oﬀensivi, indecenti o discutibili, che potrebbero o meno contenere linguaggio
esplicito, e che i risultati di qualunque ricerca o l’inserimento di un URL specifico potrebbero generare
automaticamente e involontariamente dei collegamenti o dei riferimenti a materiale discutibile. Accettate
tuttavia di utilizzare i Servizi a Vostro unico rischio e riconoscete che Apple, le società a essa aﬃliate e i
suoi agenti, principali o licenziatari non saranno ritenuti responsabili per contenuti che potrebbero essere
giudicati oﬀensivi, indecenti o discutibili.

(f) Alcuni Servizi possono visualizzare, contenere o rendere disponibili contenuti, dati, informazioni o
materiali di terze parti (“Materiali di terze parti”) oppure facilitare collegamenti ad alcuni siti web di terze
parti. Utilizzando i Servizi, riconoscete e accettate che Apple non è responsabile della valutazione del
contenuto né dell’accuratezza, della completezza, della divulgazione, della validità, del rispetto del
copyright, della legalità, della decenza e della qualità d tali materiali o siti web di terze parti. Apple, i suoi
direttori, le società a essa aﬃliate e le sue società controllate non si fanno garanti, non assumono
responsabilità né saranno soggetti ad alcuna responsabilità per i Servizi, i materiali o i siti web di terze
parti, né per qualunque altro materiale, prodotto o servizio di terze parti. I materiali di terze parti e i
collegamenti ad altri siti web sono forniti esclusivamente a titolo di cortesia.

(g) Né Apple né i suoi fornitori di contenuti garantiscono la disponibilità, precisione, completezza,
aﬃdabilità o puntualità delle informazioni relative alle azioni, all’ubicazione o di altre informazioni
visualizzate mediante i Servizi. Le informazioni di carattere finanziario visualizzate dai Servizi sono da
considerarsi a solo scopo informativo generale e non sono da considerarsi aﬃdabili come consigli per
eventuali investimenti. Prima di realizzare qualsiasi transazione borsistica sulla base delle informazioni
ottenute mediante i Servizi, dovreste consultare un professionista in campo finanziario o borsistico che
sia legalmente qualificato per fornire consulenza finanziaria o azionaria nel Vostro paese o regione. I dati
sull’ubicazione forniti da uno qualsiasi dei Servizi, includendo il servizio Mappe di Apple, è da intendersi
esclusivamente per fini di spostamento e orientamento generali e su di esse non si deve fare aﬃdamento
in situazioni in cui sono necessarie informazioni precise rispetto all’ubicazione che, qualora si rivelassero
errate, non precise, in ritardo o incomplete potrebbero provocare morte, lesioni personali o danni
ambientali. Accettate che i risultati che si ricevono dal servizio Mappe potrebbe variare dalla strada reale
o dalle condizioni del terreno a causa di fattori che possono influenzare l’accuratezza dei dati delle
mappe, ad esempio, ma non limitati a, a condizioni meteo, condizioni delle strade e del traﬃco, ed
eventi geopolitici. Per la Vostra sicurezza quando utilizzate la funzionalità di navigazione, fate sempre
attenzione ai segnali stradali e alle condizioni attuali della strada. Seguite le pratiche di guida sicura e le
norme di circolazione e tenete presente che le indicazioni per i tragitti a piedi potrebbero non includere
marciapiedi e percorsi pedonali.

(h) Nella misura in cui si carica il contenuto attraverso l’utilizzo dei Servizi, dichiarate di possedere tutti i
diritti, o di avere l’autorizzazione o siete legalmente autorizzati a caricare tali contenuti e che tali
contenuti non violano i termini di servizio applicabili ai Servizi. Accettate che i Servizi contengono
contenuto proprietario, informazioni e materiale di proprietà di Apple, il proprietario del sito o dei loro
licenziatari e sono protetti dalle leggi sulla proprietà intellettuale e da altre leggi in vigore comprese, a
titolo esemplificativo ma non esaustivo, quelle sul copyright. Accettate altresì di non utilizzare tali
informazioni e materiali proprietari diversamente da quanto consentito relativamente all’utilizzo dei
Servizi né in nessun altro modo non conforme ai termini della presente Licenza o che violi i diritti di
proprietà intellettuale di Apple o di terze parti. Non è consentito riprodurre parti dei Servizi, in nessuna
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 81 of 452



forma e in nessun modo. Accettate di non dare in locazione, in leasing, in prestito, vendere, modificare,
distribuire i Servizi né di ricavarne prodotti derivati in alcun modo così come di non utilizzare i Servizi in
modi non consentiti, compresi, a titolo esemplificativo ma non esaustivo, l’uso dei Servizi per la
trasmissione di virus informatici, worm, trojan o altro malware e i casi di violazione o sovraccarico alla
capacità del network. Accettate inoltre di non utilizzare i Servizi in modo alcuno che possa molestare,
abusare di, perseguitare, minacciare, diﬀamare, infrangere o violare in altra forma i diritti di terzi e
riconoscete che Apple non è in alcun modo responsabile di tali utilizzi da parte vostra, né di qualunque
molestia, minaccia, diﬀamazione, violazione, messaggio oﬀensivo o illegale che possiate ricevere come
conseguenza dell’utilizzo dei Servizi.

(i) Inoltre, i Servizi e i materiali di terze parti che potrebbero essere aperti, collegati o visualizzati sul
Dispositivo iOS non sono disponibili in tutte le lingue o in tutti i paesi o le regioni. Apple non oﬀre alcuna
dichiarazione riguardo all’adeguatezza di tali Servizi e materiali di terze parti e alla loro disponibilità di
utilizzo in luoghi particolari. Nella misura in cui scegliete di accedere a o di utilizzare tali Servizi e
materiali di terze parti, lo fate di Vostra iniziativa e siete ritenuti responsabili del rispetto della legislazione
vigente, comprese, a titolo esemplificativo ma non esaustivo, le leggi locali in vigore e le leggi sulla
privacy e la raccolta di dati. La condivisione o la sincronizzazione di foto tramite il Vostro Dispositivo iOS
potrebbero causare il trasferimento di metadati, che possono includere dati relativi al momento e al
luogo in cui le foto sono state scattate e altre informazioni dettagliate, insieme alle stesse. L’utilizzo dei
servizi Apple (quali Libreria foto di iCloud) per condividere o sincronizzare le foto implicherà la ricezione e
l’archiviazione da parte di Apple di tali metadati. Apple e i suoi licenziatari si riservano il diritto di
modificare, sospendere, eliminare o disabilitare l’accesso a qualunque Servizio in qualsiasi momento e
senza preavviso. In nessun caso Apple sarà ritenuta responsabile dell’eliminazione o inabilitazione
dell’accesso a uno qualsiasi di tali Servizi. Apple si riserva altresì il diritto di imporre limiti sull’utilizzo e
sull’accessibilità di alcuni Servizi, in qualunque momento e senza previo avviso né vincolo alcuno.

6. Conclusione. La presente Licenza resterà valida fino alla sua conclusione. I diritti accordati dalla
presente Licenza termineranno automaticamente o smetteranno altrimenti di essere in vigore senza
preavviso alcuno da parte di Apple in caso di inadempienza di qualsiasi termine della Licenza stessa. In
seguito alla conclusione di questa Licenza è fatto obbligo di interrompere l’utilizzo del Software iOS. I
paragrafi 4, 5, 6, 7, 8, 9, 12 e 13 rimarranno validi anche dopo la conclusione della stessa.

7. Clausola esonerativa di altre garanzie.
7.1 Se siete clienti consumatori (ossia, se utilizzate privatamente il Software iOS al di fuori del Vostro
ambito commerciale, d’aﬀari o professionale), nel Vostro paese di residenza potreste godere di diritti
legali che vietano l’applicazione delle limitazioni seguenti, che, in tal caso, non Vi riguarderanno. Per
ulteriori informazioni sui diritti legali, consultate un’organizzazione locale per l’orientamento del
consumatore.

7.2 NELLA MISURA DI QUANTO CONSENTITO DALLA LEGGE APPLICABILE, RICONOSCETE E
ACCETTATE ESPRESSAMENTE CHE L’USO DEL SOFTWARE iOS E QUALSIASI SERVIZIO ESEGUITO
O A CUI SI ACCEDE TRAMITE IL SOFTWARE iOS AVVIENE A VOSTRO RISCHIO E PERICOLO,
ACCETTANDONE ALTRESÌ IL RISCHIO RIGUARDANTE LA QUALITÀ, LE PRESTAZIONI, LA
PRECISIONE E L’IMPIEGO SODDISFACENTI.

7.3 NEI LIMITI MASSIMI CONSENTITI DALLA LEGGE, IL SOFTWARE iOS E I SERVIZI VENGONO
FORNITI NELLO STATO IN CUI SI TROVANO E COSÌ COME DISPONIBILI, CON TUTTI I POSSIBILI
ERRORI E SENZA GARANZIE DI SORTA, E APPLE E I LICENZIATARI DI APPLE (COLLETTIVAMENTE
DENOMINATI “APPLE” AI FINI DEI PARAGRAFI 7 E 8) ESCLUDONO ESPRESSAMENTE,
RELATIVAMENTE AL SOFTWARE iOS E AI SERVIZI, OGNI GARANZIA E CONDIZIONE, ESPRESSA,
IMPLICITA O STATUTARIA, INCLUSE, A TITOLO ESEMPLIFICATIVO MA NON ESAUSTIVO, LE
GARANZIE IMPLICITE E/O LE CONDIZIONI DI COMMERCIABILITÀ, DI QUALITÀ SODDISFACENTE, DI
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 82 of 452



IDONEITÀ DEL PRODOTTO A SODDISFARE UNO SCOPO SPECIFICO, DI PRECISIONE, DI
GODIMENTO ESENTE DA TURBATIVE E DI NON VIOLAZIONE DEI DIRITTI DI TERZE PARTI.

7.4 APPLE NON GARANTISCE CHE L’UTILIZZO DEL SOFTWARE iOS E DEI SERVIZI SIA ESENTE DA
INTERFERENZE, CHE LE FUNZIONI DEL SOFTWARE iOS E DEI SERVIZI SIANO IDONEE A
SODDISFARE LE VOSTRE ESIGENZE, CHE IL FUNZIONAMENTO DEL SOFTWARE iOS E DEI SERVIZI
SIA ININTERROTTO O IMMUNE DA DIFETTI, CHE I SERVIZI CONTINUERANNO AD ESSERE
DISPONIBILI, CHE I DIFETTI RISCONTRATI NEL SOFTWARE iOS VENGANO CORRETTI NÉ CHE IL
SOFTWARE iOS SIA COMPATIBILE O CHE FUNZIONI CON APPLICAZIONI, SERVIZI O SOFTWARE DI
TERZE PARTI. L’INSTALLAZIONE DEL SOFTWARE iOS POTREBBE INTERFERIRE CON LA
DISPONIBILITÀ E IL FUNZIONAMENTO DI SOFTWARE DI TERZI, APPLICAZIONI O SERVIZI DI TERZE
PARTI, COSÌ COME PRODOTTI E SERVIZI APPLE.

7.5 RICONOSCETE ALTRESÌ CHE L’UTILIZZO DEL SOFTWARE iOS E DEI SERVIZI NON È INTESO
PER NÉ ADATTO A SITUAZIONI O AMBIENTI IN CUI IL MALFUNZIONAMENTO, EVENTUALI RITARDI,
ERRORI O IMPRECISIONI DEL CONTENUTO, DEI DATI O DELLE INFORMAZIONI FORNITE DAL
SOFTWARE iOS E DAI SERVIZI POTREBBERO ESSERE CAUSA DI MORTE, DANNI FISICI O
AMBIENTALI COMPRESI, A TITOLO ESEMPLIFICATIVO MA NON ESAUSTIVO, LE SITUAZIONI IN CUI
VENGONO UTILIZZATE ATTREZZATURE NUCLEARI, STRUMENTAZIONI DI VOLO O DI
COMUNICAZIONE CON AEROPLANI E SISTEMI RELATIVI AL CONTROLLO DEL TRAFFICO AEREO, DI
SOCCORSO O AD ARMI.

7.6 EVENTUALI INFORMAZIONI O CONSIGLI ORALI O SCRITTI DA PARTE DI APPLE O
RAPPRESENTANTI AUTORIZZATI DI APPLE NON POSSONO IN OGNI CASO COSTITUIRE UNA
GARANZIA. NEL CASO DI DIFETTI DEL SOFTWARE iOS O DEI SERVIZI I COSTI DERIVANTI DA
INTERVENTI, CORREZIONI E RIPARAZIONI CHE DOVESSERO RENDERSI NECESSARI SARANNO
TOTALMENTE A CARICO DELL’UTENTE. POICHÉ ALCUNE GIURISDIZIONI NON AMMETTONO
L’ESCLUSIONE DELLE GARANZIE IMPLICITE O LE LIMITAZIONI AI DIRITTI ATTRIBUITI DALLA LEGGE
AL CONSUMATORE, L’ESCLUSIONE E LE LIMITAZIONI DI CUI SOPRA POTREBBERO NON ESSERE
APPLICABILI.

8. Limitazioni della responsabilità. PER QUANTO NON ESPRESSAMENTE PROIBITO DALLA LEGGE
APPLICABILE, APPLE, LE SOCIETÀ A ESSA AFFILIATE, I SUOI AGENTI E PRINCIPALI SONO
SOLLEVATI DA OGNI RESPONSABILITÀ PER QUALSIASI LESIONE PERSONALE O PER QUALSIASI
DANNO, DIRETTO O INDIRETTO E DI OGNI GENERE E SPECIE, INCLUSI, A TITOLO ESEMPLIFICATIVO
MA NON ESAUSTIVO, I DANNI PER MANCATO GUADAGNO, DANNEGGIAMENTO O PERDITA DI DATI,
ERRORE NELLA TRASMISSIONE O RICEZIONE DEI DATI (INCLUSI, A TITOLO ESEMPLIFICATIVO MA
NON ESAUSTIVO, ISTRUZIONI, COMPITI E MATERIALI RELATIVI A CORSI), INTERRUZIONE
DELL’ATTIVITÀ O ALTRI DANNI O PERDITE COMMERCIALI, DERIVANTI O CORRELATI CON L’UTILIZZO
O IL CATTIVO UTILIZZO DEL SOFTWARE iOS, DEI SERVIZI O DI QUALUNQUE SOFTWARE O
APPLICAZIONE DI TERZE PARTI CONGIUNTAMENTE AL SOFTWARE iOS O AI SERVIZI,
INDIPENDENTEMENTE DALLA LORO CAUSA E DALL’ORIGINE DELLA RESPONSABILITÀ
(INTERRUZIONE DEL CONTRATTO, ATTO ILLECITO O ALTRI), ANCHE NEL CASO IN CUI APPLE SIA
STATA AVVERTITA DELLA POSSIBILITÀ DI TALI DANNI. POICHÉ ALCUNE GIURISDIZIONI NON
AMMETTONO L’ESCLUSIONE O LA LIMITAZIONE DELLA RESPONSABILITÀ PER LESIONI
PERSONALI, O PER DANNI DIRETTI O INDIRETTI, LE ESCLUSIONI E LE LIMITAZIONI DI CUI SOPRA
POTREBBERO NON ESSERE APPLICABILI. In nessun caso il limite di responsabilità nei confronti
dell’utente a carico di Apple per la globalità del danno (escluso quanto eventualmente previsto dalle
leggi applicabili in materia di lesioni personali), potrà superare l’importo di duecentocinquanta dollari
(USD 250,00). Le limitazioni di cui sopra saranno applicabili anche qualora il risarcimento citato sia
carente dello scopo sostanziale.
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 83 of 452



9. Certificati digitali. Il Software iOS contiene delle funzionalità che consentono di accettare certificati
digitali emessi da Apple o da terzi. SIETE GLI UNICI RESPONSABILI DI DECIDERE SE CONSIDERARE
O MENO AFFIDABILE UN CERTIFICATO EMESSO DA APPLE O DA TERZI. L’UTILIZZO DEI CERTIFICATI
DIGITALI È ESCLUSIVAMENTE A VOSTRO RISCHIO. NEI LIMITI DI QUANTO PERMESSO DALLA
LEGGE APPLICABILE, APPLE NON OFFRE ALCUNA DICHIARAZIONE NÉ GARANZIA, ESPRESSA O
TACITA, RIGUARDO ALLA COMMERCIABILITÀ O ALL’ADEGUATEZZA A SCOPI PARTICOLARI,
ALL’ACCURATEZZA, ALLA SICUREZZA O ALLA NON VIOLAZIONE DEI DIRITTI DI TERZE PARTI
RELATIVAMENTE ALL’UTILIZZO DEI CERTIFICATI DIGITALI.

10. Controllo dell’esportazione. Non è consentito utilizzare, esportare o riesportare il Software iOS se
non in conformità con le leggi degli Stati Uniti d’America o del paese in cui il Software iOS è stato
acquisito. In particolare, ma senza limitazioni, non è possibile esportare o riesportare il Software iOS (a)
in nessun paese sottoposto a embargo da parte degli Stati Uniti o (b) a chiunque figuri nell’elenco del
Dipartimento del Tesoro degli Stati Uniti denominato Specially Designated Nationals o negli elenchi del
Dipartimento del Commercio degli Stati Uniti denominati Denied Person List o Entity List o in qualsiasi
altro elenco di parti soggette a limitazioni. Utilizzando il Software iOS, l’utente aﬀerma espressamente e
garantisce di non trovarsi in uno di tali paesi, ovvero di non figurare negli elenchi di cui sopra. L’utente si
impegna, inoltre, ad accettare di non utilizzare il Software iOS per nessuno degli scopi vietati dalla legge
degli Stati Uniti, inclusi, a titolo esemplificativo ma non esaustivo, lo sviluppo, la progettazione, la
fabbricazione o produzione di armi nucleari, chimiche, biologiche o missili.

11. Utenti finali governativi. Il Software iOS e la relativa documentazione sono “Prodotti commerciali”,
come in base alla definizione contenuta in 48 C.F.R. §2.101, composti di “Software per uso
commerciale” e di “Documentazione relativa a software per uso commerciale”, come in base alle
definizioni contenute in 48 C.F.R. §12.212 o 48 C.F.R. §227.7202, secondo il caso. In conformità con 48
C.F.R. §12.212 o 48 C.F.R. da §227.7202-1 a 227.7202-4, secondo applicabilità, il software per uso
commerciale e la documentazione relativa a software per uso commerciale vengono dati in licenza al
Governo degli Stati Uniti d’America (a) unicamente come prodotti commerciali e (b) con gli stessi diritti di
cui godono gli altri utenti finali e in conformità con i termini e le condizioni della presente Licenza. I diritti
non pubblicati sono protetti dalla legge degli Stati Uniti sul diritto d’autore.

12. Legge regolatrice ed eventuale nullità di una o più clausole. Questa Licenza sarà regolata e
interpretata in conformità con la legislazione dello Stato della California, a esclusione dei conflitti
legislativi. Questa Licenza non sarà regolata dalla Convenzione delle Nazioni Unite sui contratti di
vendita internazionale di merci, la cui applicazione viene esclusa espressamente. Se siete dei
consumatori residenti nel Regno Unito, la presente Licenza sarà regolata dalle leggi del Vostro paese di
residenza. Se per qualsiasi ragione un tribunale competente dovesse ritenere inapplicabile una o più
clausole o parti di clausole di questa Licenza, le altre clausole o parti di clausole rimarranno valide e
applicabili.

13. Integrità dell’accordo e lingua prevalente. Questa Licenza costituisce l’intero accordo tra Voi e
Apple relativamente all’uso del Software iOS e sostituisce ogni eventuale accordo precedente o
contemporaneo riguardante quanto in oggetto. Per essere eﬀettivi, eventuali emendamenti o modifiche
di questa Licenza dovranno essere eﬀettuati in forma scritta e sottoscritti da un rappresentante
autorizzato di Apple. La presente Licenza viene tradotta unicamente per esigenze locali e nel caso in cui
la versione inglese della Licenza e la versione tradotta fossero discrepanti, farà fede la versione inglese,
nella misura di quanto consentito dalla legislazione locale della Vostra giurisdizione.

14. Riconoscimenti a terzi. Alcune parti del Software iOS potrebbero utilizzare o comprendere software
di terze parti e altro materiale soggetto a copyright. I riconoscimenti, le condizioni e i termini di licenza e
le esclusioni relativi a tali materiali si trovano nella documentazione elettronica del Software iOS e ogni
uso di tale materiale è regolato dai rispettivi termini e condizioni. L’uso del servizio Google Safe
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 84 of 452



Browsing è soggetto alle condizioni del servizio di Google (https://www.google.com/intl/it/policies/
terms/) e alla politica di tutela della privacy di Google (https://www.google.com/intl/it/policies/privacy/).

15. Utilizzo di MPEG-4; avviso H.264/AVC.
(a) Il Software iOS è concesso in licenza secondo i termini della MPEG-4 Systems Patent Portfolio
License per la codifica in conformità del MPEG-4 Systems Standard, ad eccezione del fatto che sono
necessari una licenza aggiuntiva e il pagamento di royalty per la codifica con (i) dati, pagati
singolarmente, archiviati o duplicati su supporti fisici e/o (ii) dati, pagati singolarmente, trasmessi a un
utente finale per archiviazione permanente e/o utilizzo. Tale licenza aggiuntiva viene fornita da MPEG LA,
LLC. Per ulteriori informazioni, consultare http://www.mpegla.com.

(b) Il Software iOS contiene funzionalità di codifica e/o decodifica video MPEG-4. Il Software iOS è
concesso in licenza secondo i termini della MPEG-4 Visual Patent Portfolio License per l’utilizzo
personale e non commerciale da parte di un utente per (i) la codifica di video conformi a MPEG-4 Visual
Standard (“MPEG-4 Video”) e/o (ii) la decodifica di video MPEG-4 codificati da utenti impegnati in attività
personali e non commerciali e/o ottenuti da un distributore video autorizzato da MPEG LA per la
fornitura di video MPEG-4. Nessuna licenza è concessa o è implicita per utilizzi di tipo diverso. Ulteriori
informazioni, incluse quelle relative all’utilizzo promozionale, interno e commerciale, e relative licenze,
sono fornite da MPEG LA, LLC. Consultate il sito http://www.mpegla.com.

(c) Poiché il Software iOS contiene funzionalità di codifica e/o decodifica AVC, l’uso commerciale di H.
264/AVC richiederà la concessione di una licenza aggiuntiva e l’applicazione delle seguenti condizioni:
LA FUNZIONALITÀ AVC DEL SOFTWARE iOS È CONCESSA IN LICENZA UNICAMENTE PER USO
PERSONALE E NON COMMERCIALE A UN UTENTE PER (i) LA CODIFICA VIDEO CONFORME ALLO
STANDARD AVC (“VIDEO AVC”) E/O (ii) LA DECODIFICA DI VIDEO AVC CODIFICATI DA UN UTENTE
OCCUPATO IN ATTIVITÀ PERSONALE E NON COMMERCIALE E/O VIDEO AVC OTTENUTI DA UN
PROVIDER VIDEO IN POSSESSO DI LICENZE IDONEE PER LA FORNITURA DI VIDEO AVC. È
POSSIBILE OTTENERE ULTERIORI INFORMAZIONI RIGUARDO ALTRI USI E LICENZE DA MPEG LA
L.L.C. CONSULTARE IL SITO http://www.mpegla.com.

16. Restrizioni del servizio Yahoo Search. Il servizio Yahoo Search disponibile mediante Safari è
concesso in licenza per essere utilizzato solamente nei seguenti paesi o regioni: Argentina, Aruba,
Australia, Austria, Bahamas, Barbados, Belgio, Bermuda, Brasile, Bulgaria, Canada, Cile, Cina
continentale, Hong Kong, Taiwan, Cipro, Colombia, Corea del Sud, Danimarca, Ecuador, El Salvador,
Filippine, Finlandia, Francia, Germania, Giamaica, Giappone, Grecia, Grenada, Guatemala, India,
Indonesia, Irlanda, Islanda, Isole Cayman, Italia, Lettonia, Lituania, Lussemburgo, Malaysia, Malta,
Messico, Nicaragua, Norvegia, Nuova Zelanda, Paesi Bassi, Panamá, Perù, Polonia, Portogallo, Porto
Rico, Regno Unito, Repubblica Ceca, Repubblica Dominicana, Romania, Santa Lucia, Saint Vincent,
Singapore, Slovacchia, Slovenia, Spagna, Svezia, Svizzera, Tailandia, Trinidad e Tobago, Turchia,
Ungheria, Uruguay, Stati Uniti e Venezuela.

17. Nota su Microsoft Exchange. L’impostazione e-mail Microsoft Exchange del Software iOS è
concessa in licenza solamente per la sincronizzazione di informazioni come e-mail, contatti, calendari e
attività mediante trasmissione over-the-air tra iOS e Microsoft Exchange Server o altro software server
concesso in licenza da Microsoft per migliorare il protocollo Microsoft Exchange ActiveSync.

EA1566
21/02/2019

————————————
Termini e condizioni supplementari di Apple Pay
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 85 of 452



I presenti termini e condizioni supplementari di Apple Pay (“Termini Supplementari”) integrano la licenza
software iOS (“Licenza”); l’utilizzo di Apple Pay è regolato sia dai termini della Licenza sia dai presenti
Termini Supplementari. La funzionalità Apple Pay verrà considerata “Servizio” nella Licenza. I termini con
iniziale maiuscola utilizzati nei presenti Termini Supplementari fanno riferimento agli elementi stabiliti
nella Licenza.

1. Panoramica e limitazioni d’uso

Apple Pay Vi consente di:

    •   Archiviare rappresentazioni virtuali delle carte di credito, di debito e prepagate, incluse carte di
        credito, di debito e prepagate di esercizi commerciali e la carta Apple Pay Cash, supportate
        dalla funzionalità Apple Pay (“Carte di Pagamento Supportate”) e di utilizzare i Dispositivi iOS
        supportati per eﬀettuare pagamenti contactless in luoghi selezionati o all’interno di app o siti
        web.
    •   Utilizzare carte fedeltà e carte regalo salvate in Wallet (“Carte Abilitate per Apple Pay” e insieme
        alle Carte di Pagamento Supportate, “Carte Supportate”) per eﬀettuare transazioni legate alle
        carte fedeltà e alle carte regalo in punti vendita selezionati come parte dei pagamenti
        contactless eﬀettuati tramite Apple Pay.
    •   Inviare pagamenti da persona a persona ad altri utenti di Apple Pay.

Le funzionalità di Apple Pay del Software iOS potrebbero essere disponibili in regioni selezionate, con
emittenti di carte, istituti finanziari e attività commerciali selezionati. Le funzionalità possono variare da
regione, emittente e commerciante.

Per utilizzare Apple Pay dovete possedere una Carta Supportata. Le Carte Supportate possono variare
nel tempo. Inoltre, per poter inviare o ricevere pagamenti da persona a persona, dovete possedere una
carta Apple Pay Cash.

Le Carte di Pagamento Supportate e i pagamenti da persona a persona devono essere associati all’ID
Apple con il quale avete eﬀettuato l’accesso a iCloud per poter utilizzare tali funzionalità. Le Carte
Supportate sono disponibili solo per individui di età maggiore o uguale a 13 anni e potrebbero essere
soggette ad altre limitazioni basate sull’età imposte da iCloud o dalla Carta Supportata che state
cercando di adoperare. La carta Apple Pay Cash e la possibilità di inviare e ricevere pagamenti da
persona a persona sono disponibili solo per individui di età maggiore o uguale a 18 anni.

Apple Pay è destinato a Vostro uso personale e Vi è consentito adoperare solo Carte Supportate di
vostra proprietà. Se adoperate una carta supportata aziendale, dichiarate di farlo sotto autorizzazione
del Vostro datore di lavoro e di essere autorizzati a vincolare il Vostro datore di lavoro ai presenti termini
d’uso e a tutte le transazioni legate all’utilizzo di questa funzionalità. Se inviate o ricevete pagamenti da
persona a persona, dichiarate che tale operazione è a uso personale e non commerciale.

Accettate di non utilizzare Apple Pay a scopi illegali o fraudolenti o a qualsiasi altro scopo proibito dalla
Licenza o dai presenti Termini Supplementari. Accettate inoltre di utilizzare Apple Pay in conformità con
le leggi e le norme applicabili. Accettate di non interferire con, o intralciare, il servizio di Apple Pay
(incluso accedere al servizio attraverso qualsiasi mezzo automatizzato) o qualsiasi server o network
connessi al servizio o qualsiasi politica, requisito o norma dei network connessi al servizio (incluso
qualsiasi accesso non autorizzato, utilizzo o monitoraggio dei relativi dati o traﬃco).

2. Rapporti tra Voi e Apple

Apple Pay Vi consente di creare una rappresentazione virtuale delle Vostre Carte Supportate suoi Vostri
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 86 of 452



Dispositivi iOS supportati. Tuttavia, Apple non elabora i pagamenti né le transazioni legate alle altre carte
non di pagamento (come l’accumulo e il riscatto dei premi) né riceve, trattiene o trasferisce i vostri fondi
né ha altro tipo di controllo su pagamenti, restituzioni, rimborsi, premi, crediti, sconti o altra attività
commerciale che potrebbe derivare dall’utilizzo di tale funzionalità. I termini del contratto di titolare della
carta che potreste avere con l’istituto emittente continueranno a regolare l’utilizzo delle Vostre Carte
Supportate e il loro utilizzo con Apple Pay. Analogamente, la Vostra partecipazione a qualsiasi
programma fedeltà con premi o regali di attività commerciali e il Vostro utilizzo delle Carte Abilitate per
Apple Pay con Apple Pay sarà soggetta ai termini e alle condizioni di tali attività commerciali.

La carta Apple Pay Cash e la possibilità di inviare e ricevere pagamenti da persona a persona sono
disponibili solo negli Stati Uniti e sono servizi forniti da Green Dot Bank, membro di FDIC. Quando
abilitate tali funzionalità con Apple Pay, aprite un conto con Green Dot Bank e quando inviate o ricevete
un pagamento da persona a persona o caricate o ritirate denaro dalla Vostra carta Apple Pay Cash,
Green Dot Bank sarà responsabile della ricezione e dell’invio del denaro al destinatario. L’istituto
finanziario responsabile del servizio Apple Pay Cash e dei pagamenti da persona a persona all’interno di
Apple Pay è soggetto a modifiche e il Vostro utilizzo di tali funzionalità è soggetto ai loro termini e
condizioni.

La Licenza e i presenti Termini Supplementari non modificano in alcun modo i termini di qualsiasi
contratto di titolare di carte, contratto di utente o contratto con attività commerciali e tali termini
regoleranno il Vostro utilizzo della Carta Supportata o della funzionalità di pagamento da persona a
persona di Apple Pay e della loro rappresentazione virtuale sul Vostro Dispositivo iOS.

Accettate che Apple non è una parte coinvolta nei Vostri contratti di titolare di carte o nei Vostri contratti
con attività commerciali e che Apple non è responsabile (a) del contenuto, precisione o mancata
disponibilità di qualsiasi carta di pagamento, carta fedeltà, carta regalo, attività commerciale,
transazione o acquisto durante l’utilizzo della funzionalità Apple Pay; (b) dell’emissione del credito o della
verifica dell’idoneità al credito; (c) dell’accumulo o riscatto di premi o di credito accumulati all’interno di
programmi fedeltà con attività commerciali (d) del finanziamenti o della ricarica delle carte prepagate; e)
dell’invio o della ricezione di pagamenti da persona a persona; f) il caricamento, l’utilizzo o il ritiro di
denaro dalla Vostra carta Apple Pay Cash.

In caso di disaccordi o domande sulle carte di pagamento, le carte fedeltà o le carte regalo o sulle
attività commerciali associate, contattate l’ente emittente o il commerciante coinvolto. Per questioni
riguardanti la carta Apple Pay Cash o i pagamenti da persona a persona, contattate il supporto Apple.

3. Privacy

Apple Pay necessita di alcune informazioni dal Vostro Dispositivo iOS per poter oﬀrire le proprie
funzionalità complete. Inoltre, quando utilizzate la carta Apple Pay Cash o inviate o ricevete pagamenti
da persona a persona, vengono raccolte e conservate informazioni aggiuntive riguardanti le Vostre
transazioni, al fine di oﬀrire il servizio sul Vostro conto, per prevenire frodi e per questioni normative.
Potete trovare ulteriori informazioni sui dati raccolti, utilizzati o condivisi come parte del Vostro utilizzo di
Apple Pay, della carta Apple Pay Cash o dei pagamenti da persona a persona con Apple Pay
consultando Informazioni su Apple Pay e Privacy (accessibili tramite Wallet o Apple Pay sul dispositivo
iOS o all’interno dell’app Watch su un dispositivo iOS abbinato) o visitando https://www.apple.com/it/
privacy/. Utilizzando tali funzionalità, accettate e consentite a Apple, alle sue società e agenti la
trasmissione, la raccolta, la manutenzione, l’elaborazione e l’uso di queste informazioni per fornire la
funzionalità di Apple Pay.

4. Sicurezza, dispositivi smarriti o disabilitati
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 87 of 452



Apple Pay archivia rappresentazioni virtuali delle Vostre Carte Supportate e deve essere protetto come
proteggereste i Vostri contanti o le Vostre carte di credito, carte di debito, carte premi o carte regalo vere
e proprie. Se fornite il codice di accesso del Vostro dispositivo a una terza parte o consentite a una terza
parte di aggiungere le proprie impronte digitali per utilizzare Touch ID o di utilizzare Face ID, questa
potrebbe avere la possibilità di eseguire pagamenti, inviare, richiedere o ricevere pagamenti da persona
a persona, ritirare denaro dalla Vostra carta Apple Pay Cash o riscattare premi o credito utilizzando
Apple Pay sul Vostro dispositivo. Siete gli unici responsabili del mantenimento della sicurezza del Vostro
dispositivo o codice di accesso. Accettate che Apple non è in alcun modo responsabile in caso di
perdita o condivisione dell’accesso al dispositivo. Accettate che Apple non è in alcun modo responsabile
se eﬀettuate modifiche non autorizzare a iOS (come ad esempio tramite un “jailbreak”).

Per poter accedere a particolari funzionalità di Apple Pay, tra cui la carta Apple Pay Cash e i pagamenti
da persona a persona con Apple Pay, potrebbe essere necessario abilitare misure di sicurezza
aggiuntive, come l’autenticazione a due fattori per l’ID Apple. Se in futuro rimuoverete tali funzionalità di
sicurezza, potreste non essere più in grado di continuare ad accedere a particolari funzionalità di Apple
Pay.

Se il Vostro dispositivo viene smarrito e “Trova il mio iPhone” è attivato, potete utilizzare tale funzione per
cercare di sospendere l’abilità di pagare con le Carte di Pagamento Supportate virtuali o di inviare
pagamenti da persona a persona sul dispositivo mettendolo in modalità di smarrimento. Potete anche
cancellare il Vostro dispositivo; in questo modo si tenterà di sospendere l’abilità di pagare con le Carte di
Pagamento Supportate virtuali o di inviare pagamenti da persona a persona sul dispositivo e si tenterà
anche di rimuovere le Carte Abilitate per Apple Pay. È anche opportuno contattare l’istituto che ha
emesso le Carte di Pagamento Supportate, l’attività commerciale che ha emesso le Carte Abilitate per
Apple Pay e Apple, nel caso della carta Apple Pay Cash, in modo di evitare l’accesso non autorizzato
alle Carte Supportate.

Se segnalate o Apple sospetta attività fraudolente o abusive, accettate di cooperare con Apple in
qualsiasi indagine e di utilizzare qualsiasi misura di prevenzione delle frodi che indicheremo.

5. Limitazioni della responsabilità

IN AGGIUNTA ALLE CLAUSOLE ESONERATIVE DI ALTRE GARANZIE E ALLE LIMITAZIONI DELLA
RESPONSABILITÀ STABILITE NELLA LICENZA, APPLE NON SI ASSUME ALCUNA RESPONSABILITÀ
PER ACQUISTI, PAGAMENTI TRANSAZIONI O ALTRE ATTIVITÀ COMMERCIALI EFFETTUATE
UTILIZZANDO APPLE PAY E ACCETTATE DI BASARVI ESCLUSIVAMENTE SUI CONTRATTI CHE
POTRESTE AVERE CON L’ISTITUTO EMITTENTE, LA RETE DI PAGAMENTI, GLI ISTITUTI FINANZIARI O
IL COMMERCIANTE PER RISOLVERE QUALSIASI QUESTIONE O DISPUTA RIGUARDANTI LE VOSTRE
CARTE SUPPORTATE, I PAGAMENTI DA PERSONA A PERSONA E LE ATTIVITÀ COMMERCIALI
CONNESSE.

————————————
NOTIFICHE DA APPLE
Qualora Apple dovesse volervi contattare relativamente al Vostro prodotto o account, accettate di
ricevere le notifiche via e-mail. Riconoscete che tali notifiche inviate elettronicamente da Apple
soddisfano ogni requisito di comunicazione legale.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 88 of 452



한글

중요사항: iPHONE, iPAD, 또는 iPOD TOUCH (이하 “iOS DEVICE”)를 사용함으로써 귀하는 아래 약관에 구속된다는
점에 동의하는 것입니다.

A.   APPLE iOS 소프트웨어 사용권 계약
B.   APPLE PAY 부가 약관
C.   APPLE로부터의 통지

APPLE INC.
iOS 소프트웨어 사용권 계약
단일 사용권

귀하의 iOS DEVICE 를 사용하기 전에 또는 본 사용권에 수반되는 소프트웨어 업데이트를 다운로드하기 전에 반드시 본
소프트웨어 사용권 약관(이하 “사용권”)을 유의하여 읽어 주십시오. 귀하는 iOS DEVICE 를 사용하거나 또는 소프트웨어
업데이트를 다운로드 함으로써 본 사용권 약관을 준수할 의무가 있음에 동의하는 것입니다. 만일 귀하가 본 사용권 약관에
동의하지 않으시면 iOS DEVICE를 사용하거나 소프트웨어 업데이트를 다운로드하지 마십시오.

귀하가 최근에 iOS DEVICE 를 구입하였고 본 사용권약관에 동의하지 않는 경우, 귀하는 https://www.apple.com/
legal/sales_support/ 에 명시된 Apple의 환불정책에 따라 반환기간 내에 iOS DEVICE 을 구입한 Apple 스토어나 공인
된 판매점에서 환불을 위하여 반환하실 수 있습니다.

1. 일반사항
(a) 귀하의 iOS Device 에 수반된 소프트웨어(Boot ROM 코드, 내장형 소프트웨어 및 제3자 소프트웨어를 포함함), 사용
설명서, 인터페이스, 컨텐츠, 폰트 및 기타 데이터(“오리지널 iOS 소프트웨어”)는 Apple이 제공하는 기능향상, 시스템 저장
소프트웨어 또는 소프트웨어 업데이트에 의하여 업데이트되거나 대체될 수 있기 때문에(“iOS 소프트웨어 업데이트”) 단지
메모리상의 것이든, 다른 미디어에 있거나 다른 형태(이하 오리지널 iOS 소프트웨어와 iOS 소프트웨어 업데이트를 총칭하
여 “ iOS 소프트웨어”라고 함)의 것이든 상관없이 본 사용권 약관에 따른 사용만을 위하여 Apple Inc.(이하 “Apple”이라고
함)가 귀하에게 사용 허가한 것이며 판매한 것이 아닙니다. Apple 및 그 라이센서들은 iOS 소프트웨어 자체에 대한 소유권
을 보유하며 귀하에게 명시적으로 부여되지 않은 모든 권리를 보유하고 있습니다. 귀하는 본 사용권 약관이 귀하의 iOS
Device에 내장된 Apple 상표의 앱에 적용되는 것에 동의합니다. 다만 그 앱에 수반되는 별도의 사용권이 있고, 귀하가 그
별도의 사용권 약관이 그 앱의 사용에 적용되는 것에 동의한 경우에는 본 사용권 약관이 적용되지 않습니다.

(b) Apple은 Apple의 재량으로 iOS 소프트웨어 업데이트를 할 수 있습니다. iOS 소프트웨어 업데이트에는 현존하는 모든
소프트웨어의 기능이나 Apple이 출시하는 최신 iOS 또는 iOS Device의 다른 모델들을 위한 새로운 기능을 포함하지 아니
할 수도 있습니다. 본 사용권 약관은 Apple이 제공하는 iOS 소프트웨어 업데이트에 적용됩니다. 다만 iOS 소프트웨어 업
데이트가 별도의 사용권을 수반하고, 귀하가 그 별도의 사용권 약관이 적용될 것에 동의한 경우에는 본 사용권 약관이 적
용되지 않습니다.

(c) 만일 귀하가 귀하의 기존의 iOS 기기를 기반으로 새로운 iOS 기기를 설정하는 고속 설정 기능을 사용하신다면, 귀하는
본 사용권 약관이 귀하의 새로운 iOS 기기에서의 귀하의 iOS 소프트웨어 사용에 적용될 것에 동의합니다. 다만 별도의 사
용권을 수반하고, 귀하가 그 별도의 사용권 약관이 귀하의 그 iOS 소프트웨어 사용에 적용될 것에 동의한 경우에는 본 사용
권 약관이 적용되지 않습니다. 귀하의 iOS Device는 iOS 소프트웨어 업데이트 상태를 Apple에 주기적으로 확인할 것입니
다. 만약 업데이트가 가능한 경우, 그 업데이트가 귀하의iOS Device 또는 해당하는 경우 귀하의 주변기기에 자동으로 다운
로드 되고 설치될 것입니다. Apple 소프트웨어를 사용함으로써 귀하는 Apple이 귀하의 iOS Device 및 주변기기에 자동
iOS 소프트웨어 업데이트를 다운로드 및 설치할 수 있다는데 동의합니다. 귀하는 언제든지 설정 > 일반 > 소프트웨어 업
데이트 아래에 있는 업데이트 기능을 끔으로써 자동 업데이트를 사용하지 않도록 할 수 있습니다.

2. 허가된 사용권의 이용 및 제한
(a) 귀하는 본 사용권 약관에 따라 iOS 소프트웨어를 한 대의 Apple 상표가 붙은 iOS Device에 사용할 제한적이고 비독점
적인 사용권을 부여받습니다. 제2조 (b)항에 허용되는 경우를 제외하고 또한 귀하와 Apple 간의 별도의 계약에 규정되어
있지 않는 한, 본 사용권상 iOS 소프트웨어는 동시에 한 대 이상의 Apple 상표가 붙은 iOS Device에 존재할 수 없고, 귀하
는 동시에 다수의 장치에 의해 사용될 수 있는 네트워크 상에서 iOS 소프트웨어를 사용하거나 배포할 수 없습니다. 본 사용
권은 귀하에게 Apple 소유의 인터페이스를 사용할 수 있는 권리를 부여하지 않으며 또한, iOS Device에 사용하기 위한 제
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 89 of 452



3자 장치와 액세서리 또는 제3자 소프트웨어 애플리케이션의 디자인, 개발, 제조, 라이센싱 혹은 배포에 대한 기타 지적재
산권을 부여하지 않습니다. 위 권리 중 일부는 Apple과는 별개의 사용권 하에서 사용가능합니다. https://
developer.apple.com/programs/mfi/ 에 방문 하시면 iOS Device용 제3자 장치와 액세서리 개발에 대해 보다 많은 정보
를 얻을 수 있으며 https://developer.apple.com 에 방문 하시면 iOS Device용 소프트웨어 애플리케이션 개발에 대해 더
많은 정보를 얻을 수 있습니다.

(b) 귀하는 본 사용권의 약관에 따라 귀하가 소유하거나 관리하는 그러한 모든 iOS Device에 소프트웨어를 업데이트하거
나 복원하도록 Apple이 귀하의 iOS Device 모델에 이용 가능하게 한 iOS 소프트웨어 업데이트를 다운로드할 수 있는 제
한적이고 비독점적인 사용권을 부여 받습니다. 본 사용권상 귀하는 귀하가 소유하지 않거나 관리하지 않는 iOS Device의
업데이트 또는 복원을 할 수 없으며, 동시에 다수의 장치나 컴퓨터에 의해 사용될 수 있는 네트워크 상에서는 iOS 소프트웨
어 업데이트를 사용하거나 배포할 수 없습니다. 만약 귀하가 귀하의 컴퓨터에 대한 iOS 소프트웨어 업데이트를 다운로드
하였다면, 귀하는 오로지 복구용 목적을 위하여, 귀하의 컴퓨터에 저장된 iOS 소프트웨어 업데이트의 한 개의 사본을 컴퓨
터에서 해독 가능한 형태로 만들 수 있습니다. 단, 그 복구용 사본은 원본이 가지고 있는 일체의 저작권이나 기타 재산권 등
의 사항을 표시하고 있어야 합니다.

(c) 귀하가 iOS Device를 구입한 시점에 Apple이 미리 설치해 놓은 Apple 상표의 앱(이하 “미리 설치된 앱”)의 범위에서,
귀하가 iOS Device 상에서 미리 설치된 앱을 사용하기 위하여 귀하는 App Store에 로그인하여 미리 설치된 앱과 귀하의
App Store 계정을 연결해야 합니다. 귀하가 미리 설치된 앱과 귀하의 App Store 계정을 연결하면, 귀하의 iOS Device에
미리 설치된 다른 모든 Apple 상표 앱이 자동으로 연결됩니다. 미리 설치된 앱과 귀하의 App Store 계정을 연결함으로써,
귀하는 Apple이 귀하의 미리 설치된 앱에 대한 접근 요청이 권한있는 요청인지 검증하고 또한 귀하가 App Store를 통해
미리 설치된 앱에 접근할 수 있도록 하는 고유 계정 식별자로서 귀하의 App Store 계정의 Apple ID 및 귀하의 iOS Device
에서 수집한 고유 하드웨어 식별자를 전송, 수집, 유지, 처리 및 사용하는 것에 동의하는 것입니다. 만약 미리 설치된 앱을
사용하는 것을 원하지 않으신다면, 귀하는 언제든지 귀하의 iOS Device에 미리 설치된 앱을 삭제할 수 있습니다.

(d) 귀하는 iOS 소프트웨어나 iOS 소프트웨어가 제공하는 서비스 혹은 그 일부의 복사(본 사용권이 명시적으로 허용한 경
우는 제외), 역 컴파일, 역공학, 역 어셈블, 소스 코드를 도출하려는 시도, 암호해독, 수정 또는 파생작업들을 할 수 없습니
다. 또한 귀하는 이를 행하는 데에 동의하지 않으며 타인으로 하여금 이를 행하도록 할 수도 없습니다 (단, 본 iOS 소프트웨
어에 포함된 오픈 소스 요소들을 규율하는 사용허가 약관 혹은 관련 법률에 의해 허용되는 경우는 제외).

(e) iOS 소프트웨어는 자료를 복제하기 위해 사용될 수 있으나, 그러한 복제를 위한 사용은 저작권이 없는 자료, 귀하가 저
작권을 소유하고 있는 자료 또는 귀하에게 복제가 승인되거나 허가된 자료를 복제하는 경우로 제한됩니다. 귀하의 iOS
Device에 게시 및 저장되거나 귀하의 iOS Device를 통해 접근하는 모든 컨텐츠와 관련된 소유권 및 지적재산권은 각각의
컨텐츠 소유자의 것입니다. 이러한 컨텐츠는 저작권이나 기타 지적재산권 및 조약에 의해 보호될 수 있으며 그러한 컨텐츠
를 제공하는 제3자 사용조건에 적용될 수 있습니다. 본 계약에서 다르게 규정된 경우를 제외하고, 본 사용권은 귀하에게 그
러한 컨텐츠를 사용할 권리를 부여하지 아니하고, 귀하에게 그러한 컨텐츠가 계속적으로 이용 가능하게 될 것이라는 점도
보증하지 아니합니다.

(f) 본 사용권 조건에 따라 귀하는 (i)iOS 소프트웨어를 구동하는 중에, (ii) 개인적이고 비상업적인 목적을 위해 귀하만의
고유한 콘텐츠 및 프로젝트를 만들기 위하여, iOS 소프트웨어에 포함되거나 그를 사용하여 만들 수 있는 애니모지 및 미모
지 캐릭터를 사용할 수 있습니다. 그 밖에 영리적, 비영리적, 대중 공유 또는 상업적 맥락에서 시스템 캐릭터를 사용, 복제,
개시, 공연, 기록, 출판 또는 재배포하는 것을 포함하나 이에 국한되지 아니하는 다른 목적을 위해 시스템 캐릭터를 사용하
는 것은 본 사용권 상 금지되어 있습니다.

(g) 귀하는 iOS 소프트웨어 및 서비스(아래 제5조에 정의된 바와 같이)를 모든 관련 법률에 따라 사용할 것에 동의하며, 이
와 같은 법률에는 귀하가 거주하거나 iOS 소프트웨어 및 서비스를 다운로드하거나 사용하는 국가 또는 지역의 지역법률이
포함됩니다. iOS 소프트웨어의 기능과 서비스는 모든 언어로 또는 지역에서 제공되지 않을 수 있으며, 일부 기능은 지역에
따라 상이할 수 있고, 일부 기능은 귀하의 서비스 제공자에 따라 제한되거나 사용이 불가능할 수도 있습니다. iOS 소프트웨
어 및 서비스의 일부 기능은 와이파이(Wi-Fi) 또는 무선 데이터(cellular data) 연결이 필요합니다.

(h) App Store 사용은 Apple ID로 알려진 고유한 사용자명과 비밀번호를 요구합니다. Apple ID는 앱 업데이트 또는 iOS
소프트웨어 및 서비스의 특정 기능에 접근하는 경우에도 필요합니다.

(i) 귀하는 iOS 소프트웨어의 많은 기능, 내장 앱 및 서비스들이 데이터를 전송하고 귀하의 데이터 플랜 요금에 영향을 줄
수 있다는 점 및 귀하가 그러한 요금을 지불할 책임이 있다는 점을 인정합니다. 귀하는 어떤 애플리케이션이 무선 데이터
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 90 of 452



를 사용하도록 허가를 받았는지를 보고 관리할 수 있고 그러한 애플리케이션이 무선 데이터 설정 하에서 얼마만큼의 데이
터를 사용했는 지에 대한 추정치를 볼 수 있습니다. 아울러 Wi-Fi연결 상태가 좋지 않은 경우 Wi-Fi Assist가 셀룰러로 자
동 전환되고, 이는 셀룰러 사용량을 증가시켜귀하의 데이터 요금에 영향을 줄 수 있습니다. Wi-Fi Assist가 기본으로 켜져
있지만, 설정 메뉴에서 비활성화시킬 수 있습니다. 더 많은 정보는 귀하의 iOS Device를 위한 사용자 가이드(User Guide)
를 참고하시기 바랍니다.

(j) 귀하가 자동 앱 업데이트 기능을 사용하도록 설정하면, 귀하의 iOS Device는 귀하의 기기에 설치된 앱 중에서 업데이트
할 것이 있는지를 Apple에 주기적으로 확인할 것입니다. 만약 업데이트 가능한 앱이 있다면 그 업데이트가 귀하의 기기에
자동으로 다운로드 되고 설치될 것입니다. 귀하는 언제든지 설정 > iTunes 및 App Store > 자동 다운로드 아래에 있는 업
데이트 기능을 끔으로써 자동 업데이트를 사용하지 않도록 할 수 있습니다.

(k) 특정 환경 하에서는 iOS Device를 사용함으로 인하여 귀하의 주의력이 분산되고 위험한 상황이 초래될 수도 있습니다
(예를 들어, 운전 중 문자메시지 전송 또는 자전거 운행 중 헤드폰 착용 등). iOS Device를 사용함으로써 귀하는 휴대전화
또는 헤드폰의 사용을 금지하거나 제한하는 규정을 준수할 책임이 있음에 동의하는 것입니다(예를 들어, 운전 중에는 핸즈
프리를 사용하도록 하는 규정).

3. 양도. 귀하는 iOS 소프트웨어를 임대, 리스, 대여, 매각, 재분배 또는 귀하의 사용권의 범위 내에서 제3자에게 다시 사용
권을 부여할 수 없습니다(귀하의 사용권의 범위 내에서 제3자에게 다시 사용권을 부여하는 것을 이하, ‘2차 사용권 부여’라
고 합니다). 그러나 다음과 같은 모든 조건을 충족한 경우에는 귀하의 iOS Device 의 소유권의 양도와 관련하여 제3자에게
iOS 소프트웨어에 대한 귀하의 일체의 사용권을 1회에 한하여 영구적으로 양도할 수 있습니다. (a) iOS 소프트웨어의 모든
구성요소와 본 사용권을 포함하여 귀하의 iOS Device 과 iOS 소프트웨어 일체를 양도하는 경우일 것, (b) 귀하는 컴퓨터나
다른 저장 도구에 저장된 복사본을 포함하여 전부이든 일부이든 iOS 소프트웨어의 어떠한 복사본도 보유하지 않을 것, (c)
iOS 소프트웨어를 양도받을 당사자가 본 사용권계약의 조항들을 숙지하고 승낙하는 것에 동의할 경우일 것.

4. 데이터의 사용 동의. 귀하가 귀하의 기기를 사용할 때, 귀하의 전화번호 및 귀하의 iOS Device의 특정 고유 식별자는
iMessage 및 FaceTime과 같은 iOS Software의 다양한 커뮤니케이션 기능을 사용하는 동안 다른 사람이 귀하의 전화번
호로 귀하에게 연락할 수 있게 하기 위하여 Apple에 전송됩니다. 귀하가 iMessage를 사용하는 동안, Apple은 귀하의 메
시지를 확실히 송달하기 위하여 제한된 기간 동안 그 메시지를 암호화된 형태로 보유할 수 있습니다. 귀하는 iOS Device의
FaceTime 또는 Messages 환경설정에서 FaceTime 또는 iMessage를 종료할 수 있습니다. 분석 기법, 위치 서비스 기능,
Siri 기능, 및 받아쓰기 기능과 같은 특정 기능은 그 각각의 기능을 제공하기 위해 귀하의 iOS Device에 정보를 요구할 수
있습니다. 귀하가 그러한 기능을 켜거나 사용할 때 어떠한 정보가 Apple에 보내지고, 그러한 정보가 어떻게 사용되는지에
관한 더 많은 정보가 제공될 것입니다. 이에 대한 상세한 내용은 https://www.apple.com/kr/privacy/ 에서 확인할 수 있
습니다. 귀하의 정보는 언제나 https://www.apple.com/legal/privacy/ 에서 확인할 수 있는 Apple의 개인정보 보호정책
을 준수하여 취급될 것입니다.

5. 서비스 및 제3자 자료
(a) iOS 소프트웨어는 Apple의 iTunes Store, App Store, Apple Books, Game Center, iCloud, Maps 및 Apple과 제3자
의 서비스와 웹사이트(총칭하여 또는 개별적으로, “본 서비스”라고 함)에 접속할 수 있게 합니다. 그러한 서비스는 모든 언
어나 모든 국가에서 사용 가능하지 않을 수 있습니다. 본 서비스를 이용하기 위해서는 인터넷에 접속해야 하며, 특정 서비
스의 사용은 Apple ID를 요구할 수 있고, 귀하에게 추가적인 약관에 동의할 것을 요구할 수 있고 추가적인 비용이 발생 할
수도 있습니다. Apple ID나 기타 Apple 서비스와 관련하여 본 소프트웨어를 사용함으로써 귀하는 https://
www.apple.com/legal/internet-services/itunes/ 에 접속하여 볼 수 있는, 귀하가 이러한 서비스에 접속하는 국가의 최
신 Apple 미디어 서비스 약관 과 같은 그러한 서비스에 대한 해당 서비스 약관에 동의합니다.

(b) 귀하가 iCloud와 관련하여 등록한 경우, “iCloud Photos”, “My Photo Stream”, “Shared Albums”, “Back Up”과
“Find My iPhone”과 같은 특정 iCloud 기능은 iOS 소프트웨어로부터 직접 접속될 수 있습니다. 귀하는 귀하의 iCloud 및
그러한 기능들의 사용은 https://www.apple.com/legal/internet-services/icloud/ 에 접속하여 볼 수 있는 최신 iCloud
서비스 약관에 따라야 함을 인정하고 그에 동의합니다.

(c) News 앱 컨텐츠: 귀하가 News 앱을 통해 제공받은 컨텐츠를 사용하는 것은 오로지 개인적, 비상업적 용도로만 제한되
고, 그 컨텐츠의 소유지분은 귀하에게 양도되지 않으며, 특히 그러한 컨텐츠를 상업용 또는 프로모션용으로 사용할 권리를
제한없이 배제합니다. 또한, 귀하가 독립적 파일 형태로 News 앱을 통해 제공받은 모든 이미지를 재발행, 재전송 및 재생
산하는 것을 금지합니다.
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 91 of 452



(d) Maps. iOS 소프트웨어의 지도 서비스 및 기능(이하 “Maps”, 지도 데이터의 적용 범위 포함)은 지역에 따라 상이할 수
있습니다. 귀하가 Maps 내에서 Turn-by-Turn Navigation, 교통검색 및 지역검색과 같은 위치기반기능을 사용할 때, 귀
하의 요청을 처리하고 Maps를 향상시키기 위하여 iOS Device의 실시간 지리적 위치를 포함한 다양한 위치관련 정보 및
이용 정보가 Apple에 전송될 수 있습니다. Apple은 귀하를 개인적으로 식별하지 않는 방식으로 이러한 위치 데이터 및 이
용 데이터를 수집합니다. Maps를 사용함으로써, 귀하는 Apple, 그 자회사들 및 대리인들이 Maps의 기능과 서비스를 비
롯하여 기타 Apple 제품 및 서비스를 제공하고 이를 향상시키기 위하여 동 정보를 전송, 수집, 유지, 처리 및 사용할 수 있
다는 점에 동의합니다. Apple은 또한 이러한 정보를 통합된 방식 또는 개인적으로 식별하지 않는 방식으로 Apple의 파트
너와 사용권자(licensee)에게 제공하여 그들의 지도 및 위치 기반 제품과 서비스를 향상하는데 도움을 줄 수 있습니다. 귀
하는 귀하의 iOS Device상의 위치서비스 설정에 가서 Maps의 개별 위치 설정을 끔으로써 Maps의 위치기반 기능을 사용
하지 않도록 할 수 있습니다. 그러나, 위치서비스 설정을 사용하지 않도록 설정할 경우, 특정 Maps 기능(예컨대, Turn-by-
Turn Navigation)을 사용할 수 없게 됩니다.

(e) 귀하는 본 서비스를 사용함으로써 그 내용이 노골적인 언어로 표시되었다고 판단될 수 도 있고 아닐 수 도 있는 공격적
이거나 외설적이거나 무례한 것으로 간주될 수 있는 컨텐츠 및 특정 URL의 검색 또는 접속의 결과가 자동적으로, 우연하
게 불쾌한 사이트로 연결되는 컨텐츠에 직면할 수도 있다는 것을 이해합니다. 그럼에도 불구하고, 귀하는 자신의 위험 부담
하에 본 서비스를 사용한다는데 동의하며, Apple, 그 자회사, 대리인, 본인 또는 라이센서들은 공격적이거나 외설적이거나
무례하다고 판단될 수 있는 그 컨텐츠에 대하여 귀하에게 어떠한 책임도 부담하지 않습니다.

(f) 특정 서비스는 제3자로부터 컨텐츠, 데이터, 정보, 애플리케이션 또는 자료(“제3자 자료”)를 게시, 포함 또는 이용할 수
있으며 특정 제3자의 웹사이트에 연결될 수 있습니다. 귀하는 본 서비스를 이용함에 있어 Apple이 그 제3자 자료나 웹사
이트의 내용, 정확성, 완결성, 적시성, 유효성, 저작권 준수, 적법성, 적절성, 품질 또는 기타 측면을 검사하거나 평가하는데
책임이 없다는 점에 동의합니다. Apple, 그 임직원, 계열회사, 자회사들은 제3자의 서비스, 제3자 자료 또는 웹사이트 혹은
제3자의 다른 자료들, 제품들 또는 서비스에 대하여 어떠한 법적 책임을 귀하나 다른 누군가에게 부담하지 않으며, 이를 보
장하거나 보증하지 않습니다. 제3자 자료 및 기타 웹사이트에 대한 링크는 오직 귀하의 편의를 위해 제공된 것입니다.

(g) Apple이나 그 컨텐츠 제공자들은 모든 서비스에 의해 제공되는 증권정보, 위치정보 또는 기타 정보의 이용가능성, 정
확성, 완결성, 신뢰성 또는 적시성에 관하여 보증하지 않습니다. 본 서비스에 의해 나타나는 재무정보는 오로지 일반적인
정보 제공의 목적을 위한 것이며, 투자정보로서 신뢰하여서는 아니 됩니다. 귀하는 본 서비스를 통하여 획득된 정보에 기한
유가증권 거래를 하기 전에, 귀하의 국가 또는 지역에서의 재무 또는 유가증권 자문을 할 수 있는 법적인 자격이 있는 재정
전문가 또는 유가증권 전문가로부터 조언을 구해야 합니다. 모든 서비스(Apple Maps 서비스 포함)에 의해 제공되는 위치
정보는 오로지 기본적인 탐색 및 계획설정의 목적을 위해서만 제공되며, 정확한 위치정보가 요구되거나 사망, 개인적 상해,
재산상 또는 환경적 손해를 야기할 수 있는 잘못된, 부정확한, 지연된 또는 불완전한 위치정보가 제공되는 상황에 의존하도
록 제작된 것이 아닙니다. 귀하는 Maps 서비스로부터 얻은 결과가 Maps 데이터 정확성에 영향을 줄 수 있는 요인들(날씨,
도로 및 교통상황 및 지정학적 사건을 포함하나 이에 한정되지 않음)로 인하여 실제의 도로 상황 또는 지형 상황과 다를 수
있다는 점에 동의합니다. 귀하의 안전을 위하여, Navigation 기능을 사용할 때는 도로 표지판 및 현재의 도로 상황에 항상
유의하시기 바랍니다. 안전운전수칙과 도로규정을 준수하여 주시고, 보행 방향은 인도 또는 보행로를 포함하지 않을 수 있
다는 것을 알아 두시기 바랍니다.

(h) 본 서비스를 사용하여 컨텐츠를 업로드하는 경우, 귀하는 (i) 귀하가 해당 컨텐츠에 대한 모든 권리를 소유하고 있거나,
해당 컨텐츠를 업로드할 수 있는 권한을 보유하고 있거나, 또는 달리 귀하가 합법적으로 해당 컨텐츠를 업로드 할 수 있다
는 점 그리고 (ii) 해당 컨텐츠가 본 서비스에 적용되는 서비스 조건을 위반하지 않는다는 점을 진술합니다. 귀하는, 본 서비
스는 Apple, 사이트 소유자 또는 그 사용권 허가자들(licensors)이 소유하고, 저작권 등 관련 지적재산권법 및 기타 법령에
의해 보호되는 재산권의 대상이 되는 컨텐츠, 정보 및 자료를 포함하고 있다는 점에 동의합니다. 귀하는 본 서비스의 허가
된 사용 외에 본 사용권 약관에 일치되지 않거나 제3자나 Apple의 지적재산권을 침해하는 방식으로 위 재산권의 보호를
받는 컨텐츠, 정보 또는 자료들을 임의로 사용할 수 없다는 점에 동의합니다. 본 서비스의 어떠한 부분도 다른 형태나 수단
에 의하여 재생산될 수 없습니다. 귀하는 어떠한 형태로건 본 서비스에 기한 파생 상품을 변경, 임대, 리스, 대여, 판매, 배포
또는 창출할 수 없으며, 컴퓨터 바이러스, 컴퓨터 파괴프로그램, 트로이의 목마 또는 기타 손상 소프트웨어를 전송하기 위
해 서비스를 사용하거나 네트워크 용량을 침해하거나 부담시키는 등 합법적이지 못한 방식으로 본 서비스를 활용해서는
안됩니다. 또한, 귀하는 타인의 권리를 침해, 오용, 위협, 훼손하는 방식으로 본 서비스를 사용하지 못하며 Apple은 귀하의
위와 같은 행위에 대하여 전혀 책임이 없고 귀하가 본 서비스의 사용으로 인해 받을 수 있는 어떠한 위협적이거나 권리를
침해하거나 불법적인 메시지나 전송내용에 대해서도 책임을 부담하지 않습니다.

(i) 추가적으로, iOS Device로 접속되거나 연결되거나 또는 iOS Device상에 시연될 수 있는 서비스 및 제3자 자료는 모든
언어로 모든 국가 또는 지역에서 이용 가능한 것은 아닙니다. Apple은 그 서비스 및 제3자 자료가 적절하다거나 혹은 어떠
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 92 of 452



한 장소에서도 사용 가능하다는 점에 대하여 보증하지 않습니다. 귀하가 그 서비스 및 제3자 자료에 접속 또는 사용하는 것
을 선택하는 한, 귀하는 자발적으로 위 행위를 하는 것이며 해당 지역법, 개인정보보호법 및 데이터 수집법을 망라하여 모
든 적용법을 준수할 책임이 있습니다. 귀하의 iOS Device를 통해 사진을 공유하고 동기화하는 과정에서 메타데이터(사진
이 찍힌 장소 및 시간, 및 깊이 정보 포함)가 사진과 함께 전송될 수 있습니다. 이러한 사진을 공유 또는 동기화 하기 위해
Apple 서비스를 사용하는 것 (iCloud Photo Library와 같은)은 Apple이 이러한 메타데이터를 수신하고 저장하는 것을 수
반할 것입니다. Apple 및 그 사용권 허가자들(licensors)은 별도의 통지 없이 언제라도 본 서비스로의 접속을 변경, 중지,
제거 또는 불가능하게 할 수 있는 권리를 유보합니다. 어떠한 경우에도 Apple은 본 서비스로의 접속을 불가능하게 하거나
또는 제거하는 것에 대하여 그 책임이 없습니다. Apple은 또한 통지나 책임 없이 어떠한 경우에도 특정 서비스에 대한 접
속이나 그 사용을 제한할 수 있습니다.

6. 종료. 본 사용권은 계약 종료시까지 유효합니다. 귀하가 본 사용권 약관의 조건들을 준수하지 않을 경우, 본 사용권에 근
거한 귀하의 권리는 Apple로부터의 사전통지 없이 자동으로 종료되거나 그 효력이 중지됩니다. 사용권의 종료와 동시에
귀하는 일체의 iOS 소프트웨어의 사용을 중지해야 합니다. 본 사용권의 4조, 5조, 6조, 7조, 8조, 9조, 12조, 13조는 그러한
종료 이후에도 계속 존속합니다.

7. 보증의 배제
7.1 만약 귀하가 (귀하의 거래, 비즈니스 또는 직업의 범위 이외의 iOS 소프트웨어를 사용하는) 현재의 고객이라면 귀하
는 아래의 제한의 적용이 금지되는 지역의 국가에서 법적인 권리를 보유할 수 있으며, 그 경우 그 제한들은 귀하에게 적용
되지 않습니다. 권리에 관한 상세한 정보는 지역 고객상담센터에서 확인할 수 있습니다.

7.2 귀하는 관련 법률이 허용하는 한도에서 귀하의 전적인 책임하에서 iOS 소프트웨어와 이에 의하여 수행되거나 이를
통해 접속되는 모든 서비스를 사용하며 품질에 대한 만족도, 성능, 정확도 및 노력에 대한 전적인 책임 역시 귀하에게 있다
는 것을 명시적으로 인정하고 이에 동의합니다.

7.3 준거법이 허용하는 최대의 범위 내에서, iOS 소프트웨어와 서비스는 매수인의 책임으로 또한 기타 다른 종류의 보
증 없이 “있는 그대로,” “이용 가능한대로”의 상태로 제공됩니다. 또한 Apple과 Apple이 사용권을 부여한 자(제7항과 제
8항과의 관련상 총칭하여 “Apple”이라고 함)는 이로써 명시적이든 묵시적이든 또는 법규상의 것이든, 상품으로서의 적합
성, 품질에 대한 만족도, 특정한 목적을 위한 적합성, 정확성, 문제없는 사용에 대한 묵시적 보증이나 조건 및 제3자의 권리
를 침해하지 아니할 것 등의 iOS 소프트웨어와 본 서비스와 관련된 모든 보증이나 조건에 대하여 책임이 없습니다.

7.4 Apple은 iOS 소프트웨어와 이에 포함되어 있거나 iOS 소프트웨어를 통해 수행 또는 제공되는 기능이 귀하가 요구
하는 사항을 충족시킨다거나, iOS 소프트웨어 및 서비시의 동작이 중단되지 아니하고 오류가 없다거나, 모든 서비스가 계
속 이용 가능하다거나, iOS 소프트웨어 또는 본 서비스의 결함이 수정될 것이라거나, iOS 소프트웨어가 제3자 소프트웨
어, 애플리케이션이나 제3자 서비스와 함께 작동될 수 있다라는 등의 iOS 소프트웨어와 본 서비스를 사용하는 데에 대한
장애에 대하여 보증하지는 않습니다. 본 iOS 소프트웨어를 설치할 경우 제3자 소프트웨어, 애플리케이션 또는 제3자 서비
스뿐만 아니라 Apple 제품 및 서비스의 이용가능성 및 기능에 장애가 발생할 수 있음을 명심하시기 바랍니다.

7.5 또한, 귀하는 iOS 소프트웨어와 본 서비스가 핵시설, 항공 관제나 통신 시스템, 항공 교통통제, 생명유지장치 또는
무기 시스템의 작동 등 iOS 소프트웨어나 서비스에 의하여 제공되는 컨텐츠, 데이터, 정보의 실패나 지연, 오류나 부정확
성이 사망, 상해, 심각한 물리적 환경격 손상을 가져올 수 있는 상황이나 환경에서 사용되도록 의도되거나 그러한 사용에
적합하지 않다는 점을 인정합니다.

7.6 Apple 또는 Apple로부터 수권받은 대표자가 어떠한 구두 혹은 서면의 정보나 자문을 제공하였다고 하여도 이것이
보증을 의미하는 것은 아닙니다. 만일 iOS 소프트웨어 또는 본 서비스에 결함이 있는 것으로 판명될 경우, 필요한 서비스,
수리 혹은 수정비용 모두를 귀하가 부담하여야 합니다. 특정 지역에서는 묵시적 보증의 배제나 소비자에게 적용되는 성문
법상의 권리에 대한 제한을 허용하지 않고 있는바, 이 경우 위와 같은 보증의 배제나 책임의 제한이 적용되지 않을 수 있습
니다.

8. 책임 제한. 해당 법률로 금지되지 않는 범위 내에서, Apple, 그 자회사, 대리인 또는 본인은 iOS 소프트웨어와 본 서비
스 및 iOS 소프트웨어 또는 본 서비스와 관련된 제3자 소프트웨어나 애플리케이션의 사용이나 사용불능으로 인하여 발생
되거나 그와 관련이 있거나 상관없이, 나아가 어떠한 이유로 초래된 것인지와도 상관없이, 기대이익상실의 손해, 데이터의
변조나 분실, 데이터(강의지침, 과제, 및 자료를 포함하나 이에 제한되지 않음)의 전송이나 수취실패, 영업의 중단 또는 기
타 상업적인 손해와 멸실 등을 포함하여 인사사고나 어떠한 형태의 우연적인, 특수한, 간접적이고 결과적인 손해이든 그
손해에 대하여 책임을 지지 아니합니다. 이는 또한 배상책임의 법리(계약, 불법행위 또는 기타) 여하와 상관없으며, 나아
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 93 of 452



가 Apple이 사전에 그러한 손해의 가능성에 대하여 통보받았다 하더라도 마찬가지입니다. 특정 국가들은 인사사고나 우
연적 혹은 결과적인 손해에 대한 책임의 배제 또는 제한을 허용하지 아니하므로, 이러한 책임제한이 귀하에게 적용되지 아
니할 수 있습니다. 귀하의 모든 손해(인사사고와 관련된 사건에서 적용되는 법률이 요구하는 경우는 제외)에 대한 Apple
의 전 책임액은 어떠한 경우에도 미화 이백오십 달러($250.00)를 초과하지 않습니다. 위에서 언급한 구제수단이 본질적
목적에 부합하지 않는다고 하더라도 상기의 책임제한이 적용됩니다.

9. 디지털 인증서. iOS 소프트웨어에는 Apple이나 제3자가 발행한 디지털 인증서를 수락할 수 있는 기능이 있습니다. 귀
하에게는 Apple이나 제3자가 발행한 인증서가 신뢰할 수 있는 것인가를 결정하여야 할 단독책임이 있습니다. 해당 법률
이 최대한 허용하는 한, 귀하의 디지털 인증서 사용은 귀하 자신의 책임이며 상품으로서의 적합성, 특정한 목적을 위한 적
합성, 정확성, 안전성 및 제3자 권리를 침해하지 아니할 것이라는 디지털 인증서와 관련된 명시적 또는 묵시적 보증이나 진
술을 Apple은 하지 않습니다.

10. 수출 통제. 귀하는 미합중국 법률 및 iOS 소프트웨어를 구입한 국가(들)의 법률에 의해 승인 받은 경우를 제외하고 iOS
소프트웨어를 사용하거나 수출 또는 재수출할 수 없습니다. 특히 iOS 소프트웨어는 다음과 같은 국가로 수출되거나 재수
출될 수 없습니다. (a) 미합중국과 통상금지 조치가 처해진 국가, (b) 미합중국 재무성의 특별 선정국 목록상의 개인이나
미합중국 상무성의 기피인물 목록 또는 기피단체 목록 또는 기타 제한된 당사자 목록상의 개인 또는 단체. iOS 소프트웨어
를 사용할 경우 귀하는 귀하가 위에서 언급한 국가 기타의 목록에 거주하지 아님을 입증하고 보증하여야 합니다. 미사일,
핵무기, 화학 혹은 생화학 무기 등의 개발, 기획, 제조 혹은 생산을 망라하여 미국법에 의하여 금지된 어떠한 목적을 위하여
도 iOS 소프트웨어를 사용하지 않을 것을 동의합니다.

11. 정부가 최종 사용자인 경우. iOS 소프트웨어 관련 서류들은 “상업적인 품목”이며, “상업적인 품목”이 라는 용어는 48
C.F.R.(U.S. Code of Federal Regulations) §2.101에서 정의 되어 있는바, 이는 “상업적 컴퓨터 소프트웨어” 및 “상업적 컴
퓨터 소프트웨어 문서”로 구성되어 있고, 또한 이들 용어는 48 C.F.R. §12.212 또는 48 C.F.R. §227.7202에 해당되는 것
으로 사용되고 있습니다. 48 C.F.R. §12.212 또는 48 C.F.R. §227.7202-1부터 §227.7202-4의 관련 조항과 일치시켜 볼
때, 상업적 컴퓨터 소프트웨어와 상업적 컴퓨터 소프트웨어 문서들은 (a) 상업적 품목으로서만 그리고 (b) 본 약관에 따른
기타의 최종 사용자에게 부여된 권 리와 동일한 권리로서만 미합중국 정부에게 최종 사용자가 될 권리를 부여하고 있습니
다. 공개되지 않은 권리는 미합중국의 저작권법하에서 유보되어 있습니다.

12. 준거법과 분리조항. 본 사용권은 캘리포니아 주 법에 따라 규율되고 해석되며, 국제사법 규정은 제외됩니다. 본 사용권
은 국제상품매매계약에 관한 유엔 협약에 의해 규율되지 않으며 동 협약의 적용은 명시적으로 배제됩니다. 만약 귀하가 영
국에 기반을 둔 고객일 경우에는 본 약관은 귀하의 주거지역의 관할법률의 적용을 받을 것입니다. 만약 어떠한 이유로 당
해 관할법원이 어떠한 조항이나 그 일부분이 이행불가능함을 발견한 경우에도, 본 사용권의 나머지 조항들은 계속적으로
유효하며 완전한 효력이 있습니다.

13. 완전합의 및 규율 언어. 본 사용권 계약은 iOS 소프트웨어에 관련하여 귀하와 Apple 사이에 완전한 합의를 구성하고,
관련 문제에 관한 모든 사전적, 동시적 합의에 대해 우선권을 갖습니다. 본 사용권 계약에 대한 수정이나 정정은 문서로 작
성되고 Apple이 서명한 경우에만 구속력을 갖습니다. 본 사용권 계약서의 번역문은 해당 지역의 필요에 의해서 작성되고,
귀하의 관할 지역 법률에 의해 금지되지 않는 한 영문판과 번역판 사이에 불일치가 있을 경우에는 영문판이 우선합니다.

14. 제3자 승인. iOS 소프트웨어의 일부는 제3자의 소프트웨어 및 다른 저작권자의 저작물을 사용하거나 포함할 수 있습
니다. 그러한 자료의 승인, 사용약관 및 부인은 iOS 소프트웨어 전자문서에 포함되며, 그 자료에 관한 귀하의 사용은 각 약
관의 규율에 따라야 합니다. Google Safe Browsing 서비스의 이용은 Google 서비스 약관(https://www.google.com/
intl/ko/policies/terms/)과 Google의 개인정보보호 정책 (https://www.google.com/intl/ko/policies/privacy/)에 따라
야 합니다.

15. MPEG-4 사용; H.264/AVC 통지
(a) iOS 소프트웨어는 MPEG-4 시스템 표준에 따른 인코딩을 하기 위하여 MPEG-4 시스템 특허 포트폴리오 사용허가권
에 따라 사용 허가되었습니다. 단, (i) 제목 기준으로 지급하는 물리적 미디어에 저장 혹은 복사된 데이터 및/또는 (ii) 제목
기준으로 지급되고 영구 저장 및/또는 사용을 위하여 최종 사용자에게 전송된 데이터와 관련된 인코딩을 위해서는 추가 사
용권과 로열티 지급이 요구됩니다. 추가 사용허가권은 MPEG LA. L.L.C 로부터 구하실 수 있습니다. 추가적인 자세한 사항
은 http://www.mpegla.com 을 참조하시기 바랍니다.

(b) iOS 소프트웨어가 MPEG-4 비디오 인코딩 그리고/혹은 디코딩 기능을 포함하고 있는 경우에, iOS 소프트웨어는(i)
MPEG-4 비주얼 스탠다드 (“MPEG-4 비디오”)를 준수하는 비디오 인코딩 그리고/혹은 (ii)개인적이고 비상업적인 활동에
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 94 of 452



종사하는 소비자가 인코드한 MPEG-4 비디오 그리고/혹은 MPEG-4 비디오를 공급하기 위하여 MPEG LA로부터 허가 받
은 비디오 제공자로부터 구입한 MPEG-4 비디오를 디코드하기 위한 소비자의 개인적이고 비상업적인 사용을 위하여
MPEG-4 비주얼 특허 포트폴리오에 따라 사용 허가 되었습니다. 기타의 사용에 대해서는 그 어떤 사용 허가도 부여되지
않았으며 함축되지도 않았습니다. 홍보용, 내부용 및 상업적 사용과 관련된 추가적인 정보와 사용허가에 대한 정보는
MPEG LA, L.L.C.로부터 구하실 수 있습니다. http://www.mpegla.com 을 참조하십시오.

(c) iOS 소프트웨어가 AVC 인코딩 그리고/혹은 디코딩 기능을 포함하는 한, H.264/AVC를 상업적으로 사용하기 위해서는
추가 사용허가가 필요하며 다음의 조건이 적용됩니다: iOS 소프트웨어의 AVC 기능은 (i) AVC 기준에 따른 비디오 인코드
(“AVC 비디오”)하기 위하여 그리고/혹은 (ii) 개인적이고 비상업적 활동에 종사하는 소비자가 인코드한 AVC 비디오를 디
코드 하는데 그리고/혹은 AVC 비디오를 공급할 수 있도록 허가받은 비디오 제공자로부터 얻은 AVC 비디오를 디코드하기
위한 소비자의 개인적이고 비상업적인 사용만을 위하여 여기에서 사용허가된 것입니다. 기타 사용 및 허가에 관한 정보는
MPEG LA L.L.C.로부터 구하실 수 있습니다. http://www.mpegla.com 을 참조하십시오.

16. Yahoo 검색 서비스 제한. Safari를 통하여 이용 가능한 Yahoo검색 서비스는 오로지 다음 국가 및 지역들에서만 그 사
용이 허가됩니다: 아르헨티나, 아루바, 오스트레일리아, 오스트리아, 바바도스, 벨기에, 버뮤다, 브라질, 불가리아, 캐나다,
케이먼 아일랜드, 칠레, 중국 본토, 홍콩, 대만, 콜롬비아, 키프러스, 체코공화국, 덴마크, 도미니크 공화국, 에콰도르, 엘살
바도르, 핀란드, 프랑스, 독일, 그리스, 그라나다, 과테말라, 홍콩, 헝가리, 아이슬란드, 인디아, 인도네시아, 아일랜드, 이태
리, 자마이카, 일본, 라트비아, 리투아니아, 룩셈부르크, 말레이지아, 말타, 멕시코, 네델란드, 뉴질랜드, 니카라과, 노르웨이,
파나마, 페루, 필리핀, 폴란드, 포르투갈, 푸에르토리코, 루마니아, 싱가포르, 슬로바키아, 슬로베니아, 대한민국, 스페인, 세
인트 루키아, 세인트 빈센트, 스웨덴, 스위스, 대만, 타이, 바하마, 트리니대드 앤 토바고, 터키, 영국, 우루과이, 미국 및 베
네쥬엘라.

17. Microsoft Exchange 통지. iOS Software에 설정한 Microsoft Exchange 메일은 Microsoft Exchange 서버 또는
Microsoft사가 Microsoft Exchange ActiveSync 프로토콜을 실행하도록 사용 허가한 다른 서버 소프트웨어와 귀하의
iOS 간의 이메일, 연락, 일정 및 작업과 같은 정보의 무선동기화를 위해서만 그 사용이 허락됩니다.

EA1566
2019.02.21

————————————
Apple Pay 부가 약관

본 Apple Pay 부가 약관(이하 “부가 약관”)은 iOS 소프트웨어 사용권 계약(이하 “사용권 계약”)을 보충하는 것입니다; 귀하
의 Apple Pay 기능 사용 시 사용권 계약과 본 부가 약관이 모두 적용됩니다. 여기에서 Apple Pay 기능은 본 사용권 계약
에 따라 “서비스”로 간주됩니다. 본 부가 약관의 영문 대문자 용어(iOS Device 등)의 정의는 사용권 계약에서 규정된 바와
같습니다.

1. 개요 및 사용제한

Apple Pay를 통해 귀하는 다음 사항을 할 수 있습니다:

       •     Apple Pay 기능이 지원되는 매장 신용카드, 직불카드, 선불카드, 및 Apple Pay Cash 카드를 포함한 신용카
             드, 직불카드 및 선불카드(이하 “지원되는 지급 카드 등”)의 가상의 카드를 등록하고 지원되는 iOS Device를
             사용하여 선정된 장소 또는 App 내에서 또는 웹사이트에서 비접촉식 결제를 할 수 있습니다.
       •     귀하는 Wallet에 저장된 리워드 및 기프트 카드 (이하 “Apple Pay가 가능한 카드 등”, 지원되는 지급 카드
             등과 총칭하여, “지원되는 카드 등”)를 사용하여 Apple Pay를 사용한 비접촉식 결제의 하나로, 선정된 매장
             에서 비접촉식으로 리워드 및 기프트 카드 거래를 할 수 있습니다.
       •     또한 개인간 지불을 다른 Apple Pay 사용자에게 발송 할 수 있습니다.

iOS 소프트웨어의 Apple Pay 기능은 특정 지역에서만, 특정 카드발급업자, 금융 기관, 및 상인과의 거래에서만 사용 가능
할 수도 있습니다. 이 기능은 지역, 발급업자 및 상인에 따라 상이할 수 있습니다.

Apple Pay를 사용하기 위해서는 지원되는 카드가 필요합니다. 지원되는 카드 등은 언제든지 변경될 수 있습니다. 또한 개
인간 지불을 발송 또는 수신하기 위해서, 귀하는 Apple Pay Cash 카드를 사용해야만 합니다.
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 95 of 452




지원되는 지급 카드 및 개인간 지불은 귀하가 iCloud에 로그인 한 Apple ID와 연계되어야 그 기능을 사용할 수 있습니다.
지원되는 카드 등은 13세 또는 그 이상의 개인만 사용할 수 있으며, iCloud 또는 귀하가 등록하고자 하는 지원되는 카드 등
의 나이 제한 관련 부가 규정이 적용됩니다. Apple Pay Cash 카드 및 개인간 지불의 발송 및 수신 기능은 18세 또는 그 이
상의 개인만 이용 가능합니다.

Apple Pay는 귀하의 개인적 목적의 사용을 위해 개발된 것이므로 귀하 명의의 지원되는 카드 등만 등록할 수 있습니다. 만
약 귀하가 지원되는 법인카드를 등록하고자 한다면, 귀하는 귀하의 고용주의 승인을 얻었다는 사실 및 귀하의 고용주가 본
약관 및 이 기능을 사용함에 따른 모든 거래에 구속되도록 한다는 점에 대한 승인을 받아 사용한다는 점을 표시하는 것입
니다. 만일 귀하가 개인간 지불을 발송 또는 수신한다면, 귀하는 이것이 귀하의 개인적인, 비상업적인 사용을 위한 것임을
표시하는 것입니다.

귀하는 Apple Pay를 불법적인 목적 또는 사기 목적, 기타 사용권 계약 및 본 부가 약관에서 금하는 목적으로 사용하지 않
기로 동의합니다. 또한 귀하는 Apple Pay를 관계 법령 및 규제에 따라 사용하기로 동의합니다. 귀하는 Apple Pay 서비스
를 방해(자동화된 수단을 통하여 서비스에 접속하는 것을 포함)하지 않으며, Apple Pay 서비스에 연결된 서버 및 네트워
크, Apple Pay 서비스에 연결된 네트워크의 정책, 요구사항, 규제 등에 지장(승인되지 않은 접속 및 데이터/트래픽 사용·모
니터링을 포함)을 주지 않는다는 점에 대해 동의합니다.

2. Apple과 귀하의 관계

Apple Pay를 통해 귀하는 귀하의 지원되는 iOS Device에 지원되는 카드 등에 대한 가상의 카드를 등록할 수 있습니다. 다
만 Apple은 결제 또는 기타 비결제 카드 거래(예를 들어 리워드 적립 및 상환)를 처리하지 않으며, 귀하의 자금을 수신, 보
유, 또는 이체하지 않으며, 이 기능 사용으로 인한 결제, 반품, 환불, 리워드, 가치평가, 할인 또는 기타 상업적 활동에 대해
어떠한 통제권을 가지고 있지 않습니다.

지원되는 카드 등의 사용과 Apple Pay와 관련하여 그러한 카드 등의 사용에는 귀하가 카드발급업자와 적절히 체결한 카드
회원 계약의 내용이 적용됩니다. 마찬가지로, 귀하의 상점 리워드 또는 기프트 카드 프로그램에 대한 참여 및 Apple Pay와
관련한 Apple Pay가 가능한 카드 등의 사용에는 해당 상인의 조건이 적용됩니다.

Apple Pay Cash 카드 및 개인간 지급의 발송 및 수신 기능은 미국에서만 이용가능하고 Green Dot 은행, 연방 예금 보험
공사 회원에게 제공되는 서비스입니다. 귀하가 Apple Pay 내에서 이러한 기능을 활성화하면, 귀하는 Green Dot 은행에
계좌를 개설하는 것이며, 귀하가 개인간 지불을 발송 또는 수신하거나 귀하의 Apple Pay Cash 카드에서 돈을 충전 또는
인출하면, Green Dot 은행은 귀하의 돈을 지정된 수신인에게 수신 및 발송하는 것에 책임을 질 것입니다. Apple Pay 내에
서 Apple Pay Cash 및 개인간 지불을 제공할 책임이 있는 금융 기관은 변경 될 수 있으며 귀하의 이러한 기능의 사용은 그
약관이 적용됩니다.

사용권 계약 또는 본 부가 약관으로 인하여 카드회원, 사용자 계약 또는 상인계약의 어떠한 내용도 수정되지 않으며, 해당
계약이 귀하의 이용가능한 지원되는 카드 또는 Apple Pay의 개인간 지불 기능 및 귀하의 iOS Device에 등록된 가상의 카
드의 사용에 대해 계속해서 적용될 것입니다. 귀하는 Apple은 귀하의 카드회원 또는 상인 계약의 당사자가 아니며, Apple
은 (a) Apple Pay 기능 사용을 통한 지불 카드, 리워드 카드, 기프트 카드, 상업적 활동, 거래 또는 구매의 내용, 정확성 또
는 이용불가능성; (b) 신용카드 발급 또는 신용카드 발급자격 검증; (c) 상인의 프로그램에 따라 리워드나 저장된 가치의
적립 또는 상환; (d) 선불카드에 대한 자금 제공 또는 재충전; (e) 개인간 지불의 발송 또는 수신; 또는 (f) 귀하의 Apple
Pay Cash 카드에서 돈을 충전, 상환, 또는 인출에 대한 어떠한 책임도 지지 않다는 것에 동의합니다.

지불카드, 리워드 카드, 기프트 카드, 또는 관련 상업적 활동에 관한 분쟁 또는 질문에 대해서는 귀하의 카드 발급업자 또는
해당 상인에게 문의하시기 바랍니다. Apple Pay Cash 카드 또는 개인간 지불에 관한 질문은 Apple Support에 문의하시
기 바랍니다.

3. 개인정보보호

Apple Pay가 제대로 기능하기 위해서는 귀하의 iOS Device로부터 정보를 수집하여야 합니다. 또한 귀하가 귀하의 Apple
Pay Cash 카드를 사용하거나 개인간 지급을 발송 또는 수신하면, 귀하의 거래에 대한 추가 정보가 수집 및 보존되어 귀하
의 계정을 서비스하고, 이는 사기 방지 및 규제 목적을 가집니다. 귀하는 (귀하의 iOS Device상의 Wallet & Apple Pay로
가거나 iOS Device와 쌍으로 연결된 Watch app상에서 제공되는) Apple Pay and Privacy에 대한 설명을 읽거나
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 96 of 452



https://www.apple.com/kr/privacy/ 에 방문함으로써 Apple Pay, Apple Pay Cash 카드, 또는 Apple Pay의 개인간 지
급 사용 과정에서 수집, 사용 또는 공유되는 데이터에 대한 더 많은 정보를 확인할 수 있습니다. 이러한 기능들을 사용함으
로써, 귀하는 Apple, 그 자회사들 및 대리인들이 Apple Pay의 기능을 제공하기 위하여 상기 정보 전부를 전송, 수집, 유지,
처리 및 사용할 수 있다는 점에 동의합니다.

4. 보안; 분실 또는 사용불능 기기

Apple Pay에는 귀하의 지원되는 카드 등의 가상 카드가 저장되며, 이는 귀하가 현금 또는 물리적 신용카드, 직불카드, 선
불카드, 리워드 카드 또는 기프트 카드를 보호하는 것과 마찬가지로 보호되어야 합니다. 귀하의 기기의 비밀번호를 제3자
에게 제공하거나 또는 제3자로 하여금 그 제3자의 지문을 Touch ID로 추가하여 사용하거나 Face ID를 활성화 하도록 허
락하면, 그 제3자가 결제, 개인간 지불을 발송, 요청, 또는 수신, 귀하의 Apple Pay Cash 카드에서 돈을 인출, 또는 귀하의
기기에서 Apple Pay를 사용하여 리워드나 대변금액(credit)을 받거나 상환하는 결과가 발생할 수도 있습니다. 귀하의 기
기 및 비밀번호의 보안을 유지하는 것은 전적으로 귀하의 책임입니다. 귀하는 만약 귀하가 기기에 대한 접근방법을 상실하
거나 접근방법을 공유하게 되더라도 Apple은 이에 대해 아무런 책임이 없음에 동의합니다. 귀하는 만약 귀하가 iOS에 승
인되지 않은 변경(흔히 탈옥이라 불리는)을 가하는 경우 Apple은 이에 대해 아무런 책임이 없음에 동의합니다.

귀하는 Apple Pay Cash 카드 및 Apple Pay를 이용한 개인간 지불을 포함한 Apple Pay의 특정 기능에 접속하기 위해 귀
하의 Apple ID의 이중 인증과 같은 추가 보완조치를 활성화 할 필요가 있습니다. 만일 귀하가 차후 이러한 보완 기능들을
제거한다면, 귀하는 Apple Pay의 특정 기능에 계속 접속하지 못할 수 있습니다.

귀하의 기기를 분실하거나 도난당한 경우에 나의 iPhone 찾기를 활성화시켜 놓은 상태라면, 귀하는 나의 iPhone 찾기를
사용하여 분실 모드로 전환함으로써 그 기기에 등록된 가상의 지원되는 지급 카드 등을 통한 지급기능 또는 개인간 지급
발송을 정지할 수 있습니다. 귀하는 기기를 삭제 함으로써, 기기에 등록된 가상의 지원되는 지급 카드 등을 통한 지급기능
또는 개인간 지불 발송 기능을 정지하고, Apple Pay가 가능한 카드 등을 제거할 수 있습니다. 귀하의 지원되는 카드 등에
대한 승인되지 않은 접근을 예방하기 위해서는 귀하의 지원되는 지급 카드 등의 카드발급업자, 귀하의 Apple Pay가 가능
한 카드 등을 발급한 상인, 및 귀하의 Apple Pay Cash 카드의 경우 Apple에게 연락을 취해야 합니다.

귀하가 사기성 카드사용 및 부당한 카드사용을 보고하거나 Apple이 이를 의심하는 경우, 귀하는 어떠한 조사와 관련하여
서도 Apple에 협조하며 Apple이 제공하는 사기 예방 조치를 사용하는 것에 동의합니다.

5. 책임 제한

사용권 계약에 규정된 보증의 배제 및 책임 제한에 부가하여, APPLE은 APPLE PAY 기능을 사용한 구매, 결제 , 거래, 또
는 기타 상업적 활동에 대하여 어떠한 책임도 부담하지 않습니다. 귀하는 지원되는 카드 등, 개인간 지급, 및 관련 상업적
활동에 관한 문의 또는 분쟁발생 시 귀하가 귀하의 카드발급업자, 결제 네트워크사, 금융 기관, 또는 상인과 체결한 계약에
만 근거하여 이를 처리할 것임을 동의합니다.

————————————
Apple로부터의 통지
귀하는 귀하의 제품이나 계정과 관련하여 Apple이 귀하에게 연락하는 경우 이메일로 통지받을 것에 동의하며 당사가 귀하
께 송부한 전자통지가 법정 커뮤니케이션 요건을 충족하였음에 동의하는 바입니다.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 97 of 452



ESPAÑOL

IMPORTANTE: UTILIZAR TU iPHONE, iPAD O iPOD TOUCH (“DISPOSITIVO iOS”) IMPLICA QUE
ACEPTAS LAS SIGUIENTES CONDICIONES:

A.   CONTRATO DE LICENCIA DE SOFTWARE iOS DE APPLE
B.   CONDICIONES COMPLEMENTARIAS DE APPLE PAY
C.   AVISOS DE Apple

APPLE INC.
CONTRATO DE LICENCIA DE SOFTWARE iOS
Licencia de un solo uso

POR FAVOR, LEE DETENIDAMENTE ESTE CONTRATO DE LICENCIA DE SOFTWARE (“LICENCIA”)
ANTES DE UTILIZAR EL DISPOSITIVO iOS O DESCARGAR LA ACTUALIZACIÓN DE SOFTWARE
QUE ACOMPAÑA A ESTA LICENCIA. UTILIZARLO O DESCARGAR UNA ACTUALIZACIÓN DE
SOFTWARE, SEGÚN SEA EL CASO, SE INTERPRETARÁ COMO UN HECHO INEQUÍVOCO DE QUE
ACEPTAS LAS CLÁUSULAS DE ESTA LICENCIA. SI NO LAS ACEPTAS, NO USES EL DISPOSITIVO
iOS NI DESCARGUES LA ACTUALIZACIÓN DE SOFTWARE.

SI HAS COMPRADO RECIENTEMENTE UN DISPOSITIVO iOS Y NO ACEPTAS ESTA LICENCIA,
PUEDES DEVOLVER EL DISPOSITIVO iOS DURANTE EL PERIODO DE DEVOLUCIÓN
ESTABLECIDO A LA TIENDA APPLE O AL ESTABLECIMIENTO AUTORIZADO DONDE LO
ADQUIRISTE Y SOLICITAR TU REEMBOLSO DE CONFORMIDAD CON LA POLÍTICA DE
DEVOLUCIONES DE APPLE, QUE ESTÁ DISPONIBLE EN: https://www.apple.com/legal/sales-
support/.

1. General.
(a) Apple Inc. (“Apple”) te concede (no vende) una licencia para el uso de este software (incluidos el
código ROM de arranque, el software incluido y el software de terceros), la documentación, las
interfaces, los contenidos, las tipografías y cualquier tipo de datos que acompañen al Dispositivo iOS
(en adelante, el “Software iOS original”), que pueden ser actualizados o reemplazados por funciones
mejoradas, actualizaciones de software o programas de restauración del sistema de Apple (las
“Actualizaciones del Software iOS”), ya sea en memoria de solo lectura o en cualquier otro soporte o de
cualquier otra forma (el Software iOS original y las Actualizaciones del Software iOS se denominan
conjuntamente el “Software iOS”), para su uso únicamente bajo las condiciones de esta Licencia. Apple
y sus licenciantes conservan la propiedad del Software iOS y se reservan todos los derechos no
concedidos a ti de forma expresa. Aceptas que las condiciones de esta Licencia se aplicarán a todas las
aplicaciones de marca Apple integradas en tu Dispositivo iOS, a menos que una aplicación incluya una
licencia separada, en cuyo caso aceptas que dicha aplicación se regirá por las condiciones de la
licencia correspondiente.

(b) Apple puede, a su entera discreción, desarrollar en el futuro Actualizaciones del Software iOS. En
caso de que las haya, puede que dichas Actualizaciones del Software iOS no incluyan necesariamente
todas las funciones de software ya existentes ni funciones nuevas que Apple destine a modelos más
recientes o diferentes de Dispositivos iOS. Las condiciones de esta Licencia regirán cualquier
Actualización del Software iOS proporcionada por Apple, salvo que dicha Actualización del Software iOS
original se acompañe de una licencia propia, en cuyo caso aceptas que serán de aplicación las
condiciones de la misma.

(c) Si utilizas la función de configuración exprés para configurar un Dispositivo iOS nuevo basándote en
tu Dispositivo iOS ya existente, aceptas que las condiciones de esta Licencia se aplicarán al uso que
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 98 of 452



hagas del Software iOS en tu Dispositivo iOS nuevo, a menos que incluya una licencia separada, en
cuyo caso aceptas que el uso que hagas de dicho Software iOS se regirá por las condiciones de esa
licencia. Tu Dispositivo iOS buscará periódicamente Actualizaciones del Software iOS de Apple. Si
encuentra alguna, puede que la actualización se descargue e instale automáticamente en tu Dispositivo
iOS y, si procede, en tus dispositivos periféricos. Al utilizar el Software de Apple, aceptas que Apple
pueda descargar e instalar Actualizaciones del Software iOS de forma automática en tu Dispositivo iOS
y en tus dispositivos periféricos. Puedes desactivar todas las actualizaciones automáticas en cualquier
momento cambiando los ajustes de las actualizaciones automáticas en Ajustes > General >
Actualización de software.

2. Usos permitidos y restricciones de la Licencia.
(a) De acuerdo con las condiciones de esta Licencia, se te concede una licencia limitada no exclusiva
para utilizar el Software iOS en un único Dispositivo iOS de marca Apple. Salvo lo expresamente
permitido en la sección 2(b) siguiente, y salvo que medie un acuerdo separado entre tú y Apple, esta
Licencia no permite que el Software iOS esté instalado en más de un Dispositivo iOS de marca Apple al
mismo tiempo, y no podrás distribuir ni colocar el Software iOS en una red donde pueda ser utilizado
por varios dispositivos al mismo tiempo. La presente Licencia no te concede ningún derecho para el uso
de las interfaces propiedad de Apple, así como ningún derecho de propiedad intelectual con respecto al
diseño, desarrollo, fabricación, concesión de licencias o distribución de dispositivos y accesorios de
otros fabricantes o de aplicaciones de software de terceros que se usen con el Dispositivo iOS. Algunos
de estos derechos se recogen en otras licencias de Apple. Para obtener más información acerca del
desarrollo de dispositivos y accesorios de otros fabricantes para Dispositivos iOS, visita el sitio https://
developer.apple.com/programs/mfi/. Para más información sobre el desarrollo de aplicaciones de
software de otros fabricantes para Dispositivos iOS, visita el sitio https://developer.apple.com.

(b) De acuerdo con las condiciones de esta Licencia, se te concede una licencia limitada no exclusiva
para descargar las Actualizaciones del Software iOS que Apple lance para tu modelo de Dispositivo iOS
con el fin de actualizar o restaurar el software de cualquier Dispositivo iOS que poseas. Esta Licencia no
permite actualizar o restaurar ningún Dispositivo iOS que no sea de tu propiedad, ni distribuir o colocar
las Actualizaciones del Software iOS en una red donde puedan ser utilizadas por varios periféricos u
ordenadores al mismo tiempo. Si descargas una Actualización del Software iOS en tu ordenador, podrás
realizar una copia de las Actualizaciones del Software iOS almacenadas en tu ordenador en un formato
legible únicamente a efectos de copia de seguridad, siempre y cuando esta contenga toda la
información relativa a derechos de autor y copyright, u otros datos relativos a la propiedad, contenida en
el original.

(c) Si Apple ha preinstalado aplicaciones de marca Apple desde App Store en tu Dispositivo iOS en el
momento de la compra (“Aplicaciones preinstaladas”), tendrás que iniciar sesión en App Store y asociar
a tu cuenta de App Store estas Aplicaciones preinstaladas para poder utilizarlas en el Dispositivo iOS.
Cuando asocies una Aplicación preinstalada a tu cuenta de App Store, se asociarán automáticamente
todas las demás Aplicaciones preinstaladas de tu Dispositivo iOS. Al asociar las Aplicaciones
preinstaladas a tu cuenta de App Store, aceptas que Apple pueda transmitir, recopilar, mantener,
procesar y usar tanto el ID de Apple que utiliza en tu cuenta de App Store como el identificador de
hardware único de tu Dispositivo iOS como identificadores únicos de la cuenta con el fin de verificar si
tu solicitud es apta y proporcionarte acceso a las Aplicaciones preinstaladas a través de App Store. Si
no deseas utilizar una Aplicación preinstalada, puedes eliminarla del Dispositivo iOS en cualquier
momento.

(d) No podrás —y aceptas no hacerlo ni permitir a otras personas que lo hagan— copiar (excepto en los
casos expresamente permitidos en la presente Licencia), descompilar, desensamblar o intentar obtener
el código fuente, como tampoco descifrar, modificar o crear trabajos derivados del Software iOS o de
cualquier servicio proporcionado por el Software iOS ni de ninguna de sus partes (excepto en la medida
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 99 of 452



en que la legislación aplicable o las condiciones de licencia que rigen el uso de componentes de código
abierto o de código de muestra que puedan estar incluidos en el Software iOS prohíban cualquiera de
las restricciones anteriores).

(e) El Software iOS puede utilizarse para reproducir materiales siempre que dicho uso se limite a la
reproducción de materiales sin copyright, materiales de los que poseas el copyright o materiales que
puedas reproducir porque cuentas con la autorización o el permiso legal correspondientes. Los
derechos de titularidad y de propiedad intelectual de cualquiera de los contenidos que se muestran o
almacenan en el Dispositivo iOS, o a los que se accedes a través de este, pertenecen a los propietarios
del contenido correspondiente. Dicho contenido puede estar protegido por las leyes y los tratados
vigentes en materia de propiedad intelectual y de derechos de autor y quedan sujetos a las condiciones
de uso de la tercera parte suministradora del contenido. A menos que se establezca lo contrario en el
presente documento, esta Licencia no te concede ningún derecho para el uso de dicho contenido ni
garantiza que el contenido siga estando disponible para tu utilización.

(f) De acuerdo con las condiciones de esta Licencia, puedes usar los caracteres Animoji y Memoji
incluidos en el Software iOS (“Caracteres del sistema”) o creados con él (i) al utilizar el Software iOS y (ii)
para crear tus propios contenidos y proyectos originales para tu propio uso personal y no comercial.
Esta Licencia no permite el uso de los Caracteres del sistema para ningún otro fin, lo que incluye, sin
limitación, el uso, la reproducción, la presentación, la ejecución, la grabación, la publicación o la
redistribución de cualquiera de los Caracteres del sistema en un contexto de exhibición con o sin ánimo
de lucro, público o comercial.

(g) Te comprometes a utilizar el Software iOS y los Servicios (tal como se definen en el apartado 5 de
este documento) de conformidad con todas las leyes aplicables, incluidas las leyes locales del país o la
región donde residas o donde te descargues y utilices el Software iOS y los Servicios. Es posible que las
funciones del Software iOS y los Servicios no estén disponibles en todos los idiomas o regiones, que
algunas funciones varíen según la región y que tu proveedor de servicios restrinja algunas funciones o
no las ofrezca. Algunas de funciones del Software iOS y Servicios requieren una conexión de datos
móviles o Wi-Fi.

(h) Necesitas una combinación única de nombre de usuario y contraseña —conocida como ID de Apple
— para poder utilizar App Store. El ID de Apple también es necesario para acceder a actualizaciones de
aplicaciones y determinadas funciones del Software iOS y los Servicios.

(i) Reconoces que muchas funciones, apps integradas y Servicios del Software iOS transmiten datos y
podrían conllevar cargos para tu plan de datos, y que te haces cargo de dichos cargos. Puedes ver y
controlar qué aplicaciones tienen autorización para utilizar datos móviles y ver una estimación de la
cantidad de datos que consumen en la sección “Datos móviles” de Ajustes. Además, “Asistencia para
Wi-Fi” se conectará automáticamente a una red de datos móviles cuando tengas una conexión Wi-Fi de
mala calidad, lo que puede aumentar el uso de los datos móviles y afectar a los cargos de tu plan de
datos. “Asistencia para Wi-Fi” está activado por omisión, pero puedes desactivarlo en Ajustes. Para
obtener más información, consulta el Manual del usuario de tu Dispositivo iOS.

(j) Si seleccionas la opción para permitir la actualización automática de aplicaciones, el Dispositivo iOS
buscará periódicamente actualizaciones para las aplicaciones de tu dispositivo y, si las hay, las
descargará e instalará automáticamente. Las actualizaciones automáticas se pueden desactivar en
cualquier momento en Ajustes, donde debes pulsar “iTunes Store y App Store” y, en “Descargas
automáticas”, desactivar “Actualizaciones”.

(k) En determinadas circunstancias, el uso del Dispositivo iOS podría distraerte y dar lugar a una
situación peligrosa (por ejemplo, no escribas mensajes de texto mientras conduces ni utilices los
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 100 of 452



auriculares cuando vayas en bicicleta). Al usar el Dispositivo iOS asumes tu responsabilidad a la hora de
respetar las normas que prohíben o restringen el uso de teléfonos móviles o auriculares (por ejemplo, el
requisito de utilizar opciones manos libres para realizar llamadas durante la conducción).

3. Transmisión. No puedes alquilar, arrendar, prestar, vender, redistribuir ni sublicenciar el Software iOS.
No obstante, puedes transferir tus derechos contenidos en esta Licencia de forma permanente y una
sola vez siempre y cuando: (a) transmitas el Dispositivo iOS y la totalidad del Software iOS, incluidos
todos los componentes y esta Licencia; (b) no conserves ninguna copia, total o parcial, del Software
iOS, incluidas las copias almacenadas en un ordenador o en cualquier otro dispositivo de
almacenamiento; y (c) la otra parte lea y acepte las condiciones de esta Licencia.

4. Consentimiento para la utilización de datos. Cuando utilizas tu dispositivo, tu número de teléfono y
determinados identificadores únicos para tu Dispositivo iOS se envían a Apple para que otros usuarios
puedan localizarte por tu número de teléfono desde las diferentes funciones de comunicación que
ofrece el Software iOS, como iMessage y FaceTime. Cuando utilices iMessage, Apple podría almacenar
tus mensajes en formato encriptado durante un tiempo limitado para garantizar su entrega. Puedes
desactivar FaceTime o iMessage mediante los ajustes de FaceTime o Mensajes de tu Dispositivo iOS.
Determinadas funciones como Análisis, Localización, Siri y Dictado pueden requerir información de tu
Dispositivo iOS para poder utilizarse. Cuando actives o utilices estas funciones, se
proporcionará información detallada referente a los datos enviados a Apple y cómo se utilizarán dichos
datos. Puedes obtener más información en la página https://www.apple.com/es/privacy/. Tus datos se
tratarán en todo momento de acuerdo con la Política de privacidad de Apple, que puede consultarse
en: https://www.apple.com/legal/privacy/.

5. Servicios y materiales de terceros.
(a) El Software iOS podría permitir el acceso a iTunes Store, App Store, Apple Books, Game Center,
iCloud y Mapas, así como a otros servicios y sitios web de Apple y de otras empresas (colectiva e
individualmente, los “Servicios”). Es posible que dichos Servicios no estén disponibles en todos los
idiomas ni en todos los países. El uso de estos Servicios requiere acceso a Internet y puede requerir un
ID de Apple y que aceptes condiciones adicionales, además puede estar sujeto a otros cargos. La
utilización de este software junto con un ID de Apple u otro Servicio de Apple se interpretará como un
hecho inequívoco de tu aceptación de las condiciones aplicables a dicho Servicio, como las
condiciones más recientes de los Servicios Multimedia de Apple en el país desde el que accedes a
dichos Servicios, a las que puedes acceder desde https://www.apple.com/legal/internet-services/
icloud/, respectivamente.

(b) Al inscribirte en iCloud, es posible acceder directamente desde el Software iOS a determinadas
funciones de iCloud, como “Fotos en iCloud”, “Mis Fotos en streaming”, “Álbumes compartidos”,
“Guardar copia de seguridad” o “Buscar mi iPhone”. Comprendes y aceptas que el uso de iCloud y de
estas funciones está sujeto a las condiciones más recientes del servicio iCloud, a las que puedes
acceder desde: https://www.apple.com/legal/internet-services/icloud/.

(c) Contenido de la aplicación News. Estás autorizado a utilizar el contenido mostrado a través de la
aplicación News única y exclusivamente con fines personales y no comerciales. Dicho uso no te otorga
ningún tipo de participación en la propiedad del contenido y excluye específicamente, a título
meramente enunciativo y no limitativo, cualquier derecho de uso comercial o promocional sobre dicho
contenido. Además, queda prohibida la publicación, transmisión y reproducción de cualquiera de las
imágenes a las que tengas acceso a través de News en forma de archivo independiente.

(d) Mapas. Las funciones y el servicio de mapas del Software iOS (“Mapas”), incluida la cobertura de los
datos del mapa, pueden variar de una región a otra. Cuando uses cualquier función basada en la
ubicación dentro de Mapas, como la navegación paso a paso, el tráfico y la búsqueda local, podría
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 101 of 452



enviarse a Apple información relacionada con la ubicación y el uso, como la ubicación geográfica en
tiempo real de tu Dispositivo iOS, con el fin de procesar tu solicitud y ayudar a mejorar Mapas. Dichos
datos de ubicación y uso son recopilados por Apple de modo que no se te pueda identificar
personalmente. Al utilizar Mapas, aceptas y consientes la transmisión, obtención, mantenimiento,
procesado y uso por parte de Apple, sus filiales y agentes de esta información, con el fin de
proporcionar y mejorar las funciones y el servicio de Mapas, y otros productos y servicios de
Apple. Apple también puede proporcionar dicha información —ya sea de manera conjunta o de una
forma que no se te identifique personalmente— a sus socios y a aquellos a los que Apple haya dado
permiso para ayudar a mejorar sus productos y servicios de localización y mapas. Puedes desactivar la
funcionalidad basada en la ubicación de Mapas entrando en la sección Localización de tu Dispositivo
iOS y desactivando el ajuste de localización de Mapas. No obstante, determinadas funciones de Mapas
dejarán de estar disponibles si desactivas el ajuste Localización, como la navegación paso a paso.

(e) Reconoces que, al utilizar cualquiera de los Servicios, podrás encontrar contenido que podría ser
considerado ofensivo, indecente o censurable y en el que podría identificarse la presencia de lenguaje
explícito, y que los resultados de las búsquedas o la visualización de una URL concreta pueden generar
automática e involuntariamente enlaces o referencias a material censurable. No obstante lo anterior,
consientes en utilizar los Servicios por tu propia cuenta y riesgo, y aceptas que Apple, sus filiales,
agentes, directores o licenciantes no serán responsables frente a ti del contenido que pueda
considerarse ofensivo, indecente o censurable.

(f) Es posible que determinados Servicios muestren, incluyan o pongan a tu disposición contenidos,
datos, información, aplicaciones o materiales de terceros (en adelante, “Materiales de terceros”) o
proporcionen enlaces a sitios web de terceros. Al utilizar los Servicios, reconoces y aceptas que Apple
no es responsable de examinar o evaluar el contenido, la exactitud, la integridad, la vigencia, la validez,
el cumplimiento de los derechos de autor, la legalidad, la decencia, la calidad o cualquier otro aspecto
de dichos sitios web o Materiales de terceros. Apple, sus representantes, subsidiarios y filiales no
garantizan, respaldan, asumen ni se responsabilizan, ni ante ti ni ante ninguna otra persona, de ninguno
de los Servicios de terceros, Materiales de terceros o sitios web de terceros, ni de ningún otro material,
producto o servicio de terceros. Los Materiales de terceros y los enlaces a otros sitios web se
proporcionan exclusivamente para tu comodidad.

(g) Ni Apple ni ninguno de sus proveedores de contenido garantizan la disponibilidad, la exactitud, la
integridad, la fiabilidad o la puntualidad de la información bursátil, de los datos de ubicación o de
cualquier otro tipo de datos que muestren los Servicios. Los datos financieros que se muestran en
cualquiera de los Servicios están destinados a fines exclusivamente informativos, por lo que no deben
considerarse una base fiable para realizar inversiones. Antes de realizar cualquier tipo de transacción de
valores basada en la información obtenida a través de los Servicios, se recomienda consultar a un
asesor financiero profesional que esté legalmente capacitado para ofrecer asesoramiento financiero en
tu país o región. Los datos de ubicación facilitados por cualquiera de los Servicios, incluido el servicio
Mapas de Apple, se proporcionan únicamente con fines básicos de navegación o planificación, por lo
que no deben considerarse como una fuente de información fiable en aquellas situaciones en las que se
requiera información de ubicación precisa o en las que la obtención de información errónea, inexacta,
diferida o incompleta pueda ocasionar muertes, lesiones personales graves o serios daños a la
propiedad o al medio ambiente. Aceptas que los resultados que recibas del servicio Mapas podrían
diferir de las condiciones actuales de la carretera o el terreno debido a factores que podrían afectar a la
precisión de los datos de Mapas, como, sin limitarse a ellos, las condiciones meteorológicas, de la
carretera y del tráfico, así como acontecimientos geopolíticos. Por tu seguridad, mientras hagas uso de
la función de navegación, presta siempre atención a las señales de la carretera y a las condiciones
actuales de la misma. Sigue prácticas de conducción seguras, cumple las normativas de tráfico y ten en
cuenta que las indicaciones de las rutas a pie pueden no incluir aceras o pasos para peatones.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 102 of 452



(h) El hecho de que cargues contenido mediante el uso de los Servicios se considerará un hecho
inequívoco de tu manifestación de que cuentas con todos los derechos, o tienes autorización o
cualquier otro permiso legal, para cargar dicho contenido, y que este no infringe ninguna condición
aplicable a los Servicios. Reconoces que los Servicios incluyen contenido, información y material de
carácter privado que son propiedad de Apple, del propietario del sitio o sus licenciantes, y están
protegidos por la legislación aplicable sobre propiedad intelectual y por otras leyes, incluidas a título
enunciativo y no limitativo, las leyes sobre derechos de autor. Te comprometes a usar dicho contenido,
información o material de carácter privado exclusivamente según lo dispuesto en las condiciones de la
presente Licencia de los Servicios, y nunca de un modo contrario a las condiciones de esta Licencia o
de manera que se infrinja cualquier derecho de propiedad intelectual de terceros o de Apple. Ninguna
parte de los Servicios podrá ser reproducida en forma o modo alguno. Te obligas a no modificar, ceder
en alquiler, arrendamiento o préstamo, vender, distribuir o crear trabajos derivados de los Servicios en
modo alguno, y no explotarás los Servicios de ningún modo no autorizado (por ejemplo, a título
enunciativo y no limitativo, utilizando los Servicios para transmitir virus informáticos, gusanos, troyanos
u otro software malicioso, o bien sobrepasando o sobrecargando la capacidad de la red). Además, te
comprometes a no utilizar los Servicios en forma alguna que pueda hostigar, abusar, acechar, amenazar,
difamar o bien infringir o vulnerar de otro modo los derechos de cualquier otra parte, y que Apple no
será responsable de ningún modo de tal utilización por tu parte ni del hostigamiento, abuso, acecho,
amenaza o difamación, así como tampoco de los mensajes o transmisiones ofensivos, indebidos o
ilegales que puedas recibir como resultado del uso de cualquiera de los Servicios.

(i) Por otro lado, los Servicios y los Materiales de terceros a los cuales pueda accederse o que puedan
mostrarse o enlazarse a través del Dispositivo iOS no están disponibles en todos los idiomas ni en todos
los países o regiones. Apple no formula declaración alguna relativa a la adecuación o disponibilidad de
dichos Servicios o Materiales de terceros en una zona en particular. En la medida en que decidas utilizar
o acceder a dichos Servicios y Materiales de terceros, lo harás por tu propia iniciativa y asumirás la
responsabilidad del cumplimiento de todas las leyes aplicables, incluidas a título enunciativo y no
limitativo, las leyes locales aplicables y la legislación relativa a la privacidad y la recopilación de datos. Al
compartir o sincronizar fotos mediante el Dispositivo iOS, podrían transmitirse metadatos junto con las
fotos, incluidos los datos de ubicación, fecha y hora, así como información sobre la profundidad. El uso
de los servicios de Apple (como la fototeca de iCloud) para compartir o sincronizar dichas fotos
supondrá que Apple reciba y almacene los mencionados metadatos. Apple y sus licenciantes se
reservan el derecho a modificar, suspender, retirar o bloquear el acceso a cualquiera de los Servicios en
cualquier momento y sin previo aviso. Apple no será en ningún caso responsable de la eliminación o
desactivación del acceso a tales Servicios. Asimismo, Apple puede imponer límites al uso o acceso a
determinados Servicios, en cualquier caso y sin preaviso ni responsabilidad.

6. Expiración de la Licencia. Esta Licencia permanecerá en vigor hasta que sea revocada o resuelta.
Los derechos que te confiere esta Licencia expirarán o perderán su vigencia de forma automática sin el
previo aviso de Apple si incumples cualquiera de las condiciones de la presente Licencia. Cuando esta
deje de estar en vigor, deberás dejar de utilizar el Software iOS. Los apartados 4, 5, 6, 7, 8, 9, 12 y 13 de
la presente Licencia sobrevivirán a la expiración de la Licencia.

7. Exclusión de garantías.
7.1. Si eres un consumidor particular (una persona que utiliza el Software iOS fuera de su oficio, negocio
o profesión), es posible que dispongas de derechos legales en tu país de residencia que puedan impedir
que las siguientes limitaciones te sean aplicables, en cuyo caso no serán de aplicación para ti. Para
obtener más información acerca de tus derechos, no dudes en ponerte en contacto con el organismo de
atención al consumidor de tu zona.

7.2. RECONOCES Y ACEPTAS DE FORMA EXPRESA QUE, EN LA MEDIDA EN QUE LO PERMITA LA
LEY VIGENTE, EL USO DEL SOFTWARE iOS Y DE LOS SERVICIOS REALIZADOS POR EL SOFTWARE
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 103 of 452



O A LOS QUE SE ACCEDA A TRAVÉS DEL SOFTWARE iOS SE REALIZA A TU ENTERO RIESGO, Y
QUE ASUMES TOTALMENTE EL RIESGO RELATIVO A LA CALIDAD SATISFACTORIA, EL
RENDIMIENTO, LA EXACTITUD Y EL ESFUERZO.

7.3. DENTRO DE LOS LÍMITES PERMITIDOS POR LA LEY VIGENTE, EL SOFTWARE iOS Y LOS
SERVICIOS SE SUMINISTRAN “TAL Y COMO SE PRESENTAN” Y “SEGÚN DISPONIBILIDAD”, CON
TODOS SUS POSIBLES DEFECTOS Y SIN GARANTÍAS DE NINGÚN TIPO, Y APPLE Y LOS
LICENCIANTES DE APPLE (DENOMINADOS DE FORMA CONJUNTA “APPLE” A LOS EFECTOS DE
LAS SECCIONES 7 Y 8) EXCLUYEN TODAS LAS GARANTÍAS Y CONDICIONES RELATIVAS AL
SOFTWARE iOS Y A LOS SERVICIOS, YA SEAN EXPRESAS, IMPLÍCITAS O LEGALES, INCLUIDAS,
CON CARÁCTER MERAMENTE ENUNCIATIVO Y NO LIMITATIVO, LAS GARANTÍAS Y/O CONDICIONES
DE COMERCIABILIDAD, DE CALIDAD SATISFACTORIA, DE IDONEIDAD PARA UN FIN DETERMINADO,
DE EXACTITUD, DE DISFRUTE Y DE NO INFRACCIÓN DE DERECHOS DE TERCEROS.

7.4. APPLE NO GARANTIZA, SIN PERJUICIO DEL USO Y DISFRUTE QUE HAGAS DEL SOFTWARE iOS
Y DE LOS SERVICIOS, QUE LAS FUNCIONES CONTENIDAS EN EL SOFTWARE iOS Y EN LOS
SERVICIOS REALIZADOS O PROPORCIONADOS POR DICHO SOFTWARE SATISFAGAN TUS
NECESIDADES, QUE EL SOFTWARE iOS Y LOS SERVICIOS FUNCIONEN ININTERRUMPIDAMENTE O
SIN ERRORES, QUE TODOS LOS SERVICIOS SIGAN ESTANDO DISPONIBLES, QUE LOS DEFECTOS
DEL SOFTWARE iOS O DE LOS SERVICIOS SEAN CORREGIDOS, NI QUE EL SOFTWARE iOS SEA
COMPATIBLE O FUNCIONE CON CUALQUIER SOFTWARE, APLICACIÓN O SERVICIO DE TERCEROS.
LA INSTALACIÓN DE ESTE SOFTWARE iOS PUEDE AFECTAR A LA DISPONIBILIDAD Y
FUNCIONALIDAD DEL SOFTWARE, LAS APLICACIONES O LOS SERVICIOS DE TERCEROS, ASÍ
COMO A LOS PRODUCTOS Y SERVICIOS DE APPLE.

7.5. RECONOCES ADEMÁS QUE EL SOFTWARE iOS Y LOS SERVICIOS NO ESTÁN DESTINADOS NI
SON ADECUADOS PARA SER UTILIZADOS EN SITUACIONES O ENTORNOS EN LOS QUE FALLOS,
RETRASOS, ERRORES O IMPRECISIONES EN EL CONTENIDO, LOS DATOS O LA INFORMACIÓN
PROPORCIONADOS POR EL SOFTWARE iOS O LOS SERVICIOS PUDIERAN CONLLEVAR MUERTE,
DAÑOS PERSONALES, LESIONES FÍSICAS GRAVES, O DAÑOS IMPORTANTES AL MEDIO AMBIENTE,
INCLUIDOS, A TÍTULO ENUNCIATIVO Y NO LIMITATIVO, ACTIVIDADES DE PLANTAS NUCLEARES,
NAVEGACIÓN AÉREA, SISTEMAS DE COMUNICACIÓN, MÁQUINAS PARA EL CONTROL DEL
TRÁFICO AÉREO, INSTALACIONES HOSPITALARIAS O EQUIPOS ARMAMENTÍSTICOS.

7.6. NINGUNA INFORMACIÓN O ASESORAMIENTO ESCRITO O VERBAL FACILITADOS POR APPLE O
POR UN REPRESENTANTE AUTORIZADO DE APPLE CONSTITUIRÁN GARANTÍA ALGUNA. EN EL
SUPUESTO DE QUE EL SOFTWARE iOS O LOS SERVICIOS RESULTARAN SER DEFECTUOSOS,
ASUMIRÁS EL COSTE ÍNTEGRO DE TODOS LOS SERVICIOS, REPARACIONES Y CORRECCIONES
NECESARIOS. HABIDA CUENTA DE QUE LA NORMATIVA VIGENTE NO PERMITE EN ALGUNOS
PAÍSES LA EXCLUSIÓN DE GARANTÍAS IMPLÍCITAS O LIMITACIONES A LOS DERECHOS
LEGALMENTE PREVISTOS DEL CONSUMIDOR, LA EXCLUSIÓN Y LAS LIMITACIONES ANTERIORES
PUEDEN NO SER DE APLICACIÓN EN TU CASO.

8. Límite de responsabilidad. APPLE, SUS FILIALES, AGENTES O DIRECTORES NO SERÁN
RESPONSABLES EN NINGÚN CASO, DENTRO DE LOS LÍMITES LEGALES APLICABLES, DE LOS
DAÑOS PERSONALES O DEL LUCRO CESANTE O DAÑO EMERGENTE, NI DE LOS DAÑOS
ESPECIALES, DIRECTOS O INDIRECTOS, INCLUIDOS, A TÍTULO ENUNCIATIVO Y NO LIMITATIVO,
LOS DAÑOS POR LUCRO CESANTE, POR EL DAÑO O LA PÉRDIDA DE DATOS, POR LA
IMPOSIBILIDAD DE TRANSMITIR O RECIBIR DATOS (INCLUIDOS, A TÍTULO ENUNCIATIVO Y NO
LIMITATIVO, LOS MATERIALES, TAREAS E INSTRUCCIONES DE CURSOS), O POR LA INTERRUPCIÓN
DE LA ACTIVIDAD EMPRESARIAL, O BIEN DE CUALQUIER OTRO TIPO DE DAÑOS O PÉRDIDAS
COMERCIALES, RESULTANTES O RELACIONADOS CON EL USO O EL MAL USO DEL SOFTWARE
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 104 of 452



iOS Y DE LOS SERVICIOS, ASÍ COMO DE CUALQUIER SOFTWARE O APLICACIÓN DE TERCEROS
QUE SE UTILICEN JUNTO CON EL SOFTWARE iOS O LOS SERVICIOS, COMO QUIERA QUE HAYA
SIDO CAUSADO E INDEPENDIENTEMENTE DE LA TEORÍA DE LA RESPONSABILIDAD CIVIL
(RESPONSABILIDAD CONTRACTUAL O EXTRACONTRACTUAL, U OTROS) E INCLUSO SI SE HA
INFORMADO A APPLE DE LA POSIBILIDAD DE TALES DAÑOS. ALGUNOS PAÍSES NO PERMITEN LA
EXCLUSIÓN O LIMITACIÓN DE LA RESPONSABILIDAD POR DAÑOS PERSONALES, DEL LUCRO
CESANTE O DAÑO EMERGENTE, DIRECTO O INDIRECTO, POR LO CUAL PUEDE QUE ESTA
LIMITACIÓN NO SEA DE APLICACIÓN EN TU CASO. La responsabilidad total de Apple por daños y
perjuicios (distintos de los exigidos por la ley vigente en los casos en los que los daños personales estén
relacionados) no excederá, en ningún caso, de la cantidad de doscientos cincuenta dólares
estadounidenses (250 USD). Las limitaciones anteriormente mencionadas serán vigentes incluso si la
citada reparación incumple su objetivo esencial.

9. Certificados digitales. El Software iOS incorpora funciones que te permiten aceptar certificados
digitales emitidos tanto por Apple como por terceros. ERES EL ÚNICO RESPONSABLE DE LA
DECISIÓN DE CONFIAR O NO EN UN CERTIFICADO TANTO SI HA SIDO EMITIDO POR APPLE COMO
POR UN TERCERO. EL USO QUE HAGAS DE LOS CERTIFICADOS DIGITALES SERÁ POR TU PROPIA
CUENTA Y RIESGO. DENTRO DE LOS LÍMITES PERMITIDOS POR LA LEY VIGENTE, APPLE NO
OFRECE NINGUNA GARANTÍA NI DECLARACIÓN, EXPLÍCITA O IMPLÍCITA, RELATIVA A LA
COMERCIABILIDAD O IDONEIDAD PARA UN FIN CONCRETO, LA EXACTITUD, LA SEGURIDAD O EL
NO INCUMPLIMIENTO DE LOS DERECHOS DE TERCEROS CON RESPECTO A LOS CERTIFICADOS
DIGITALES.

10. Control de las exportaciones. No podrás utilizar, ni tampoco exportar o reexportar, el Software iOS
salvo en la forma permitida por la legislación de Estados Unidos y del país en el cual se obtuvo el
Software iOS. En particular, a título enunciativo y no limitativo, el Software iOS no podrá ser exportado o
reexportado a: (a) ningún país que esté siendo objeto de embargo por parte de Estados Unidos, o (b)
nadie que figure en la lista de ciudadanos especialmente designados del Departamento del Tesoro de
Estados Unidos, en la tabla de personas o entidades denegadas del Departamento de Comercio de
Estados Unidos o en cualquier otra lista de personas restringidas. La utilización por tu parte del
Software iOS se considerará un hecho inequívoco de tu manifestación y garantía de no residir en
ninguno de estos países ni de figurar en ninguna de las listas mencionadas. Asimismo, te comprometes
a no usar el Software iOS con ninguna finalidad prohibida por la legislación estadounidense, incluidos, a
título enunciativo y no limitativo, el desarrollo, el diseño, la fabricación o la producción de misiles o
armas nucleares, químicas o biológicas.

11. La Administración como usuario final. El Software iOS y la documentación relacionada se
consideran “artículos comerciales” según la definición del término en la sección 48 C.F.R. §2.101 del
Código de Normas Federales de Estados Unidos, y constituyen “software informático para uso
comercial” y “documentación de software informático para uso comercial”, conforme a la definición de
estos términos en las secciones 48 C.F.R. §12.212 y 48 C.F.R. §227.7202, según proceda. En virtud de
las secciones 48 C.F.R. §12.212 y 48 C.F.R. §227.7202-1 a 227.7202-4 del mencionado Código, según
proceda, el software informático para uso comercial y la documentación del software informático para
uso comercial se distribuyen y conceden bajo licencia a los usuarios finales de la Administración de
Estados Unidos únicamente a los efectos de: (a) artículos comerciales y (b) con los derechos
concedidos a todos los demás usuarios de acuerdo con las condiciones estipuladas en el presente
contrato. Se hace reserva de los derechos no publicados de conformidad con las leyes de copyright de
Estados Unidos.

12. Ley aplicable e independencia de las estipulaciones. Esta Licencia se regirá e interpretará según
las leyes del estado de California, con la exclusión de sus principios de conflicto de derecho. La
presente Licencia no estará regida por la convención de las Naciones Unidas sobre contratos para la
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 105 of 452



venta internacional de mercancías, cuya aplicación se excluye expresamente. Si eres un consumidor
afincado en la Reino Unido, esta Licencia se regirá por las leyes de la jurisdicción de tu lugar de
residencia. Si, por cualquier razón, un tribunal competente declarara no exigible o ineficaz cualquier
disposición de la presente Licencia o de parte de la misma, el resto de la presente Licencia conservará
plena vigencia y efecto.

13. Contrato íntegro; idioma aplicable. La presente Licencia constituye el acuerdo completo entre tú y
Apple con respecto al Software iOS y sustituye a todos los acuerdos anteriores o actuales relativos a su
objeto. La presente Licencia únicamente podrá ser modificada mediante acuerdo escrito firmado por
Apple. Las traducciones de esta Licencia se otorgan con el fin de satisfacer las demandas de los
usuarios locales y, en el caso de que surgiera algún conflicto entre la versión en lengua inglesa y
cualquiera de las versiones en el resto de idiomas, prevalecerá siempre la primera, en la medida en que
no se oponga a la legislación local de tu jurisdicción.

14. Reconocimientos de terceros. Puede que algunas partes del Software iOS utilicen o incluyan
software de terceros y otros materiales sujetos a derechos de autor. Los reconocimientos, condiciones
de licencia y limitaciones de responsabilidad correspondientes a dicho material están contenidos en la
documentación electrónica del Software iOS, y el uso que hagas de dichos materiales está sujeto a sus
correspondientes condiciones. El uso del servicio Google Safe Browsing está supeditado al
cumplimiento de las condiciones de uso de Google (https://www.google.com/intl/es/policies/terms/) y a
la política de privacidad de Google (https://www.google.com/intl/es/policies/privacy/).

15. Uso de MPEG-4; aviso sobre H.264/AVC.
(a) El Software iOS ha sido concedido bajo licencia de acuerdo con el contrato de licencia MPEG-4
Systems Patent Portfolio License (Licencia de cartera de patentes en sistemas MPEG-4) para la
codificación de conformidad con el estándar MPEG-4 Systems, salvo en el caso de que para la
codificación sea necesaria una licencia adicional y el pago de los derechos correspondientes
relacionados con: (i) los datos almacenados o duplicados en un soporte físico por los cuales se realiza
un pago título a título, o (ii) los datos por los cuales se realiza un pago título a título y que son
transmitidos a un usuario final para su almacenamiento o uso permanente. Dicha licencia adicional
puede obtenerse de MPEG LA, LLC. Consulta la página web http://www.mpegla.com para obtener más
información.

(b) El Software iOS contiene funciones de codificación y descodificación de vídeo MPEG-4. El Software
iOS se licencia en virtud del contrato de licencia MPEG-4 Visual Patent Portfolio License (Licencia de
cartera de patentes MPEG-4 Visual) para el uso personal con fines no comerciales por parte de un
consumidor para (i) la codificación de vídeo de conformidad con el estándar MPEG-4 Visual (“Vídeo
MPEG-4”), y/o (ii) la descodificación de vídeo MPEG-4 que haya sido codificado por un consumidor que
realice una actividad personal con fines no comerciales y/o se haya obtenido de un proveedor de vídeo
al cual se le haya concedido una licencia de MPEG LA para suministrar vídeo MPEG-4. No se concederá
licencia alguna para ningún otro uso, ni se interpretará de forma tácita ningún otro fin. Para obtener más
información, incluida la relacionada con la concesión de licencias y los usos promocionales, internos y
comerciales, consulta la página web de MPEG LA, LLC en la dirección http://www.mpegla.com.

(c) El Software iOS contiene funciones de codificación y descodificación AVC. El uso comercial de la
tecnología H.264/AVC requerirá la concesión de una licencia adicional y se aplicará la siguiente
disposición: POR LA PRESENTE SE CONCEDE A LOS CONSUMIDORES UNA LICENCIA DE USO DE
LA FUNCIONALIDAD AVC DEL SOFTWARE iOS ÚNICAMENTE CON FINES PERSONALES Y NO
COMERCIALES, PARA: (i) CODIFICAR VÍDEO DE CONFORMIDAD CON EL FORMATO ESTÁNDAR AVC
(“VÍDEO AVC”), Y/O (ii) DESCODIFICAR VÍDEO AVC QUE HAYA SIDO CODIFICADO POR UN
CONSUMIDOR QUE REALICE UNA ACTIVIDAD PERSONAL CON FINES NO COMERCIALES Y/O
VÍDEO AVC QUE HAYA SIDO OBTENIDO DE UN PROVEEDOR DE VÍDEO AL QUE SE LE HAYA
          Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 106 of 452



CONCEDIDO UNA LICENCIA PARA SUMINISTRAR VÍDEO AVC. PARA OBTENER INFORMACIÓN
RELACIONADA CON OTROS USOS Y CON LA CONCESIÓN DE LICENCIAS, CONSULTA LA PÁGINA
WEB DE MPEG LA L.L.C. EN LA DIRECCIÓN: http://www.mpegla.com.

16. Restricciones del servicio de búsqueda Yahoo. Se concede una licencia de uso del servicio de
búsqueda Yahoo disponible a través de Safari únicamente en los siguientes países y regiones: Alemania,
Argentina, Aruba, Australia, Austria, Bahamas, Barbados, Bélgica, Bermudas, Brasil, Bulgaria, Canadá,
Chile, China continental, Hong Kong, Taiwán, Chipre, Colombia, Corea del Sur, Dinamarca, Ecuador, El
Salvador, Eslovaquia, Eslovenia, España, Estados Unidos, Filipinas, Finlandia, Francia, Granada, Grecia,
Guatemala, Hungría, India, Indonesia, Irlanda, Islandia, Islas Caimán, Italia, Jamaica, Japón, Letonia,
Lituania, Luxemburgo, Malasia, Malta, México, Nicaragua, Noruega, Nueva Zelanda, Países Bajos,
Panamá, Perú, Polonia, Portugal, Puerto Rico, Reino Unido, República Checa, República Dominicana,
Rumanía, Santa Lucía, San Vicente, Singapur, Suecia, Suiza, Tailandia, Trinidad y Tobago, Turquía,
Uruguay y Venezuela.

17. Aviso de Microsoft Exchange. El ajuste de correo de Microsoft Exchange del Software iOS se
concede bajo licencia únicamente para la sincronización remota de información, como correo
electrónico, contactos, calendario y tareas, entre tu Dispositivo iOS y Microsoft Exchange Server u otro
software de servidor licenciado por Microsoft para implementar el protocolo ActiveSync de Microsoft
Exchange.

EA1566
21/2/2019

————————————
Condiciones complementarias de Apple Pay

Estas condiciones complementarias de Apple Pay (estas “Condiciones complementarias”) son un
complemento del Contrato de licencia del Software iOS (la “Licencia”); el uso de la función Apple Pay,
que se considerará como “Servicio” en la Licencia, se rige tanto por las condiciones de la Licencia
como por estas Condiciones complementarias. Los términos con mayúscula inicial que se utilizan en
estas Condiciones complementarias tienen el significado establecido en la Licencia.

1.       Visión general y Restricciones de uso

Apple Pay te permite:

     •     almacenar representaciones virtuales de las tarjetas de crédito, de débito y de prepago,
           incluidas las tarjetas de cliente de crédito, de débito y de prepago y la tarjeta Apple Pay Cash,
           que admiten la función Apple Pay (“Tarjetas de pago admitidas”) y utilizar los Dispositivos iOS
           compatibles para realizar pagos sin contacto en ubicaciones seleccionadas o desde
           aplicaciones o sitios web;
     •     utilizar las tarjetas de puntos y de regalo guardadas en Wallet (“Tarjetas compatibles con Apple
           Pay”, y junto con las Tarjetas de pago admitidas, “Tarjetas admitidas”), para realizar
           transacciones con tarjetas de puntos y de regalo sin contacto en algunas tiendas mediante el
           modo de pago sin contacto de Apple Pay;
     •     realizar pagos entre usuarios de Apple Pay.

Puede que las funciones de Apple Pay del Software iOS solo estén disponibles en determinadas
regiones, con determinados emisores de tarjetas, instituciones financieras y comercios. Las funciones
pueden variar según la región, el emisor y el comercio.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 107 of 452



Para usar Apple Pay, debes tener una Tarjeta admitida. Las Tarjetas admitidas pueden variar en
cualquier momento. Además, para poder enviar y recibir pagos entre usuarios, debes disponer de una
tarjeta Apple Pay Cash.

Las Tarjetas de pago admitidas y los pagos entre usuarios están asociados al ID de Apple con el que
has iniciado sesión en iCloud para utilizar estas funciones. Las Tarjetas admitidas solo están disponibles
para personas mayores de 13 años y pueden estar sujetas a restricciones de edad adicionales
impuestas por iCloud o la Tarjeta admitida que intentas añadir. La tarjeta Apple Pay Card y la
funcionalidad para enviar y recibir pagos entre usuarios solo están disponibles para personas mayores
de 18 años.

Apple Pay se ha diseñado exclusivamente para el uso personal y solo te permite añadir tus propias
Tarjetas admitidas. Si te dispones a añadir una tarjeta corporativa admitida, se asumirá que lo haces con
la autorización de tu empresa y que estás autorizado para vincular a la empresa a estas condiciones de
uso y a todas las transacciones que se vean afectadas por el uso de esta función. Al enviar o recibir
pagos entre usuarios, manifiestas que lo estás haciendo para uso personal y no comercial.

Aceptas no utilizar Apple Pay con fines ilegales o fraudulentos, ni con otros fines prohibidos por la
Licencia y estas Condiciones complementarias. También te comprometes a utilizar Apple Pay de
conformidad con la legislación y la normativa aplicables. Aceptas no interrumpir ni interferir en el
servicio de Apple Pay (incluido el acceso al servicio a través de cualquier medio automatizado),
cualquiera de los servidores o redes conectados al servicio, o cualquiera de las políticas, requisitos o
normativas de las redes conectadas al servicio (incluido el acceso no autorizado a datos o tráfico de
estas, su uso o supervisión).

2.   Relación de Apple contigo

Apple Pay te permite crear una representación virtual de tus Tarjetas admitidas en el Dispositivo iOS
compatible. No obstante, Apple no procesa los pagos ni otras transacciones realizadas con tarjetas que
no sean de pago (como la acumulación o el canje de puntos), recibe, mantiene o transfiere tus fondos, ni
tiene ningún otro tipo de control sobre los pagos, devoluciones, reembolsos, puntos, valor, descuentos
u otra actividad comercial que pueda derivar de tu uso de esta función.

Las condiciones del contrato de la tarjeta de crédito que hayas firmado con el emisor de dicha tarjeta
seguirán siendo aplicables a las Tarjetas admitidas y a su uso en relación con Apple Pay. Del mismo
modo, tu participación en cualquier programa de puntos o de tarjetas de regalo de comercios y el uso
de Tarjetas admitidas por Apple Pay en relación con Apple Pay estarán sujetos a los términos y
condiciones del comercio.

La tarjeta Apple Pay Cash y la funcionalidad de enviar y recibir pagos entre usuarios solo están
disponibles en EE. UU. Dichos servicios son proporcionados por Green Dot Bank, institución miembro
de la FDIC. Al activar estas funciones dentro de Apple Pay, estás abriendo una cuenta en Green Dot
Bank, de modo que al enviar o recibir un pago entre usuarios o al ingresar o retirar dinero de la tarjeta
Apple Pay Cash, Green Dot Bank será responsable de recibir tu dinero o enviarlo al destinatario
correspondiente. La institución financiera responsable de ofrecer Apple Pay Cash y pagos entre
usuarios en Apple Pay puede cambiar, y el uso que hagas de estas funciones está sujeto a sus términos
y condiciones.

Ninguna de las disposiciones de la Licencia o estas Condiciones complementarias modifica las
condiciones de cualquier contrato de tarjeta de crédito, de usuario o comercial, y tu uso de la Tarjeta
admitida correspondiente o la función de pagos entre usuarios de Apple Pay y su representación virtual
disponible en tu Dispositivo iOS estarán regidos por dichas condiciones. Aceptas que Apple no es una
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 108 of 452



parte de tus contratos de tarjeta de crédito con un banco o comercio ni es la responsable de: (a) el
contenido, la precisión o la no disponibilidad de cualquier tarjeta de pago, tarjeta de puntos, tarjetas de
regalo, actividad comercial, transacción o compra que tengan lugar durante el uso de la función Apple
Pay; (b) la emisión de crédito o la evaluación de la idoneidad para recibir crédito; (c) la acumulación o el
canje de puntos o valor acumulado como parte del programa de un comercio; (d) la provisión de fondos
o recarga de tarjetas de prepago; (e) el envío o la recepción de pagos entre usuarios, o (f) el ingreso, el
canjeo o la retirada de dinero de la tarjeta Apple Pay Cash.

En el caso de que surgiera algún conflicto o cuestión relacionados con las tarjetas de pago, las tarjetas
de puntos, las tarjetas regalo o la actividad comercial asociada, ponte en contacto con el emisor o el
comercio correspondiente. Para cualquier pregunta relacionada con la tarjeta Apple Pay Cash o los
pagos entre usuarios, ponte en contacto con el servicio de soporte de Apple.

3.   Privacidad

Apple Pay requiere determinada información de tu Dispositivo iOS para poder ofrecerte una experiencia
plena. Además, al usar tu tarjeta Apple Pay Cash o al enviar o recibir pagos entre usuarios, se recopilará
y almacenará información adicional sobre tus transacciones para prestar servicio a tu cuenta, evitar el
fraude y cumplir otros requisitos normativos. Encontrarás más información sobre los datos que se
recopilan y cómo se utilizan o comparten en relación con el uso de Apple Pay, la tarjeta Apple Pay Cash
o los pagos entre usuarios con Apple Pay en el apartado “Acerca de Apple Pay y la privacidad” (al cual
se puede acceder desde “Wallet y Apple Pay” en un dispositivo iOS o en la app Watch de un dispositivo
iOS enlazado), así como en la página web https://www.apple.com/es/privacy/. Al utilizar estas
funciones, aceptas y consientes la transmisión, obtención, mantenimiento, procesamiento y utilización
de esta información por parte de Apple, sus filiales y agentes, con el fin de proporcionar las funciones
de Apple Pay.

4.   Seguridad; dispositivos perdidos o desactivados

Apple Pay almacena representaciones virtuales de tus Tarjetas admitidas que deberían protegerse del
mismo modo que el efectivo o las tarjetas físicas de crédito, débito, puntos o regalo. Si proporcionas el
código de tu dispositivo a un tercero o si permites que un tercero añada su huella digital para utilizar
Touch ID o activar Face ID, este podría realizar pagos, enviar, solicitar o recibir pagos entre usuarios,
retirar dinero de tu tarjeta Apple Pay Cash y obtener o canjear puntos o crédito a través de Apple Pay
con tu dispositivo. Eres el único responsable de garantizar la seguridad de tu dispositivo y su código.
Aceptas que Apple no tiene ninguna responsabilidad si pierdes el dispositivo o compartes el acceso a
este. Aceptas que Apple no tiene ninguna responsabilidad si realizas modificaciones no autorizadas en
iOS (por ejemplo, si liberas el dispositivo).

Es posible que tengas que activar medidas de seguridad adicionales, como la autenticación de doble
factor de tu ID de Apple, a fin de poder acceder a determinadas funciones de Apple Pay, como la tarjeta
Apple Pay Cash y los pagos entre usuarios con Apple Pay. Si posteriormente desactivas dichas
funciones de seguridad, es posible que no puedas seguir accediendo a determinadas funciones de
Apple Pay.

Si pierdes tu dispositivo o te lo roban y tienes activada la función “Buscar mi iPhone”, puedes utilizarla
para poner el dispositivo en modo perdido e intentar suspender la posibilidad de pagar con las Tarjetas
de pago admitidas virtuales o realizar pagos entre usuarios. También puedes borrar el contenido del
dispositivo para que se suspenda la posibilidad de pagar con las Tarjetas de pago admitidas virtuales o
realizar pagos entre usuarios y se eliminen las Tarjetas admitidas por Apple Pay. No obstante, también
debes ponerte en contacto con el emisor de las Tarjetas de pago admitidas, con el comercio emisor de
tus Tarjetas admitidas por Apple Pay y con Apple en el caso de tu tarjeta Apple Pay Cash para evitar el
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 109 of 452



acceso no autorizado a tus Tarjetas admitidas.

Si informas de alguna actividad fraudulenta o abusiva, o Apple sospecha de su existencia, aceptas
colaborar con Apple durante la investigación y poner en marcha las medidas de prevención del fraude
que se te indiquen.

5.   Límite de responsabilidad

ADEMÁS DE LAS EXCLUSIONES DE GARANTÍA Y EL LÍMITE DE RESPONSABILIDAD ESTABLECIDOS
EN LA LICENCIA, APPLE NO ASUME NINGÚN TIPO DE RESPONSABILIDAD CON RESPECTO A LAS
COMPRAS, PAGOS, TRANSACCIONES U OTRA ACTIVIDAD COMERCIAL REALIZADAS CON LA
FUNCIÓN APPLE PAY, Y ACEPTAS RECURRIR EXCLUSIVAMENTE A LOS CONTRATOS QUE PUEDAS
TENER CON EL EMISOR DE LAS TARJETAS, LA RED DE PAGO, LA INSTITUCIÓN FINANCIERA O EL
COMERCIO PARA RESOLVER LAS POSIBLES DUDAS O CONFLICTOS RELATIVOS A LAS TARJETAS
ADMITIDAS, LOS PAGOS ENTRE USUARIOS Y LA ACTIVIDAD COMERCIAL ASOCIADA.

————————————
AVISOS DE APPLE
Si Apple necesita ponerse en contacto contigo en relación con tu producto o cuenta, accedes a recibir
los avisos pertinentes por correo electrónico. Convienes en que todos los avisos de este tipo que te
enviemos electrónicamente satisfarán cualquier requisito de comunicación legal.
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 110 of 452




臺灣繁體中⽂文

重要事項：通過使⽤用 iPHONE、iPAD或iPOD TOUCH( 「iOS裝置」 )，閣下已同意接受以下條款的約束：

A.   APPLE iOS軟體許可協定
B.   APPLE PAY 補充條款
C.   來來⾃自APPLE的通知

Apple Inc.
iOS軟體許可協定
單⼀一使⽤用許可證

請先仔細閱讀本軟體許可協定(「許可證」)，然後才使⽤用閣下的iOS裝置或下載附隨本許可證的軟體更更新。
閣下⼀一使⽤用iOS裝置或下載本軟體更更新(視適⽤用⽽而定)，即表⽰示同意接受本許可證的條款約束。如閣下不同意
本許可證的條款，請勿使⽤用iOS裝置或下載該軟體更更新。

如閣下最近購買iOS裝置並且如閣下不同意許可證條款，可將iOS裝置交還購取iOS裝置的APPLE STORE商
店或授權分銷商以取得退款，但須符合APPLE的退貨政策規定，該政策載於https://www.apple.com/
legal/sales-support/。

1.   ⼀一般規定
(a) 連同閣下的iOS裝置提供並可以Apple提供的功能增強軟體、軟體更更新或系統還原軟體( 「iOS軟體更更
新」)予以更更新或取代的軟體(包括Boot ROM代碼、嵌入式軟體和第三⽅方軟體)、⽂文檔、介⾯面、內容、字體
及任何資料( 「原iOS軟體」)，不論是儲存於唯讀記憶體、任何其他載體或屬任何其他形式(原iOS軟體和
iOS軟體更更新統稱「iOS軟體」)，是由Apple Inc.(「Apple」)許可閣下使⽤用⽽而非售予閣下。閣下只可根據本
許可證的條款加以使⽤用，Apple及其許可⼈人保留留對iOS軟體本⾝身的所有權，並保留留⼀一切並未明確授予閣下的
權利利。閣下同意本許可證條款將適⽤用於任何可能已內置在閣下的iOS裝置上的Apple品牌app，除非該app另
外附有單獨的許可證，在這種情況下，閣下同意該許可證的條款將規限閣下對該app的使⽤用。

(b) Apple可酌情提供未來來的iOS軟體更更新，這些更更新（如有的話）未必包含Apple就較新或其他型號iOS裝
置發⾏行行的所有現有軟體功能或新的功能。本許可證條款監管由Apple提供的任何iOS軟體更更新，除非該iOS
軟體更更新另外載有獨立許可證，在此情況下，閣下同意以該許可證的條款監管。

(c) 如閣下使⽤用快速設置功能以閣下現有的iOS裝置為基礎設置新的iOS裝置，閣下同意，本許可證的條款
將監管閣下在閣下新的iOS裝置上使⽤用iOS軟體，除非它另外附有單獨的許可證，在這種情況下，閣下同意
該許可證的條款將監管閣下對該iOS軟體的使⽤用。閣下的iOS裝置會就iOS軟體的更更新版本向Apple定期查
詢。如有提供更更新版本，該更更新版本可⾃自動下載和安裝到閣下的iOS裝置和（如適⽤用）閣下的週邊裝置上。
閣下使⽤用Apple軟體，即表⽰示同意Apple可下載和安裝⾃自動iOS軟體更更新到閣下的iOS裝置和閣下的週邊裝置
上。任何時候閣下均可完全關閉⾃自動更更新，只需更更改可在Settings > General > Software Update項下找到
的⾃自動更更新設定。

2.   允許的許可證⽤用途和限制
(a) 在必須遵守本許可證條款和條件的情況下，閣下獲授予在單⼀一台Apple品牌iOS裝置上使⽤用iOS軟體的有
限的、非獨家的許可證。除以下第2(b) 條允許外，以及除非閣下與Apple另⾏行行簽立協定規定外，本許可證
並不允許iOS軟體在任何⼀一個時候存在於⼀一台以上Apple品牌iOS裝置上，⽽而且閣下不得在網路路上分發或提
供iOS軟體，以致iOS軟體在同⼀一時間可供多台裝置使⽤用。本許可證並不授予閣下使⽤用Apple擁有專有權的
    Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 111 of 452




介⾯面及其它知識產權，以設計、開發、製造、授予許可或分發第三⽅方裝置與配件或第三⽅方應⽤用軟體連同iOS
裝置使⽤用的任何權利利。在獲得Apple的另⾏行行許可下，可使⽤用其中某些權利利。有關為iOS裝置開發第三⽅方裝置
與配件的詳情，請訪問https://developer.apple.com/programs/mﬁ/。有關為iOS裝置開發應⽤用軟體的詳
情，請訪問https://developer.apple.com。

(b) 在必須遵守本許可證條款和條件的情況下，閣下獲授予下載Apple可能提供給閣下iOS裝置型號的iOS軟
體更更新的有限的、非獨家許可證，以更更新或恢復由閣下擁有或控制的任何iOS裝置上的軟體。本許可證並不
允許閣下更更新或恢復不受閣下控制的或並非閣下擁有的iOS裝置，⽽而且閣下不得在網路路上分發或提供iOS軟
體，以致iOS軟體在同⼀一時間可供多台裝置或多台電腦使⽤用。如閣下下載iOS軟體更更新到閣下的電腦上，閣
下只可為備份⽬目的⽽而以機器可讀形式，複製⼀一份存儲於閣下的電腦的iOS軟體更更新；但該備份副本必須帶有
原件上所載的⼀一切著作權或其他專有權的提⽰示。

(c) 在閣下購買時Apple已在閣下的iOS裝置上預安裝Apple品牌app (「預安裝app」)的範圍內，閣下需要
登錄到App Store並將這些預安裝app關聯聯到閣下的App Store帳⼾戶，才能在閣下的iOS裝置上使⽤用它們。當
閣下將預安裝app關聯聯到閣下的App Store帳⼾戶時，閣下的iOS裝置上所有其他預安裝app將會同時⾃自動關聯聯
起來來。閣下選擇將預安裝app與閣下的App Store帳⼾戶關聯聯，即表⽰示閣下同意 Apple可傳輸、收集、維護、
處理理和使⽤用閣下的App Store帳⼾戶所使⽤用的Apple ID和收集⾃自閣下的iOS裝置的唯⼀一硬件標識符，作為驗證
閣下所提出請求的資格的唯⼀一帳⼾戶標識符，以及向閣下提供通過App Store存取預安裝app的途徑。如閣下
不希望使⽤用預安裝app，閣下可隨時將其從閣下的iOS裝置中刪除。

(d) 閣下不得且閣下同意不會或促使他⼈人複製(本許可證明⽰示允許除外)、反彙編、倒序製造、拆裝、企圖導
出其源代碼、解碼、修改iOS軟體或製造其衍⽣生作品、或iOS軟體提供的任何服務或其任何部分（適⽤用法律律
或可能包含在iOS軟體內的開放原始程式碼組件使⽤用許可證條款禁⽌止除外）。

(e) iOS軟體可⽤用於複製材料，只要該等使⽤用限於複製沒有版權的材料、閣下享有著作權的材料或授權閣下
或合法允許閣下複製的材料。通過閣下的iOS裝置顯⽰示、存儲或訪問的任何內容，其所有權和智慧財產權屬
於相關的內容所有權⼈人。此等內容可能受著作權或其他智慧財產權法律律和條約保護，及可能須遵守提供該
等內容的第三⽅方使⽤用條款。除在此另有規定外，本許可證並不授予閣下使⽤用該等內容的任何權利利，亦不保
證該等內容將繼續提供給閣下。

(f) 在必須遵守本許可證條款和條件的情況下，閣下可（i）在運⾏行行iOS軟體時，使⽤用iOS軟體所包含或以此
創建的Animoji和Memoji字元（「系統字元」），以及（ii）⽤用以創建閣下⾃自⼰己的原始內容和專案，作為閣
下個⼈人的非商業⽤用途。本許可證不允許將系統字元⽤用於任何其他⽅方⾯面，包括但不限於在營利利、非營利利、公
開分享或商業背景下，使⽤用、複製、顯⽰示、執⾏行行、記錄、發佈或再分發任何系統字元。

(g) 閣下同意依照所有適⽤用法律律使⽤用iOS軟體以及服務（定義⾒見見以下第5條），此等法律律包括閣下所居住或
者下載或使⽤用iOS軟體以及服務的國家或地區的當地法律律。iOS軟體和服務的功能未必以所有語⾔言或在所有
地區提供，某些功能可能因地區⽽而異異，有的可能會受到限制，或閣下的服務提供商沒有提供。iOS軟體和服
務⼀一些功能需要Wi-Fi或蜂窩移動資料連接。

(h) 使⽤用App Store需要⼀一個名為Apple ID的獨有⽤用⼾戶名稱和密碼組合。要存取app的更更新版本及iOS軟體和
服務的某些功能，同樣需要⼀一個Apple ID。

(i) 閣下承認iOS軟體許多功能、內置app和服務會傳輸資料，可能影響閣下資料計劃的收費，以及閣下須負
責該等收費。閣下可在蜂窩移動資料項下查看和控制哪些應⽤用程式獲准使⽤用蜂窩移動資料，並查看該等應
⽤用程式已消耗了了多少資料的估計。此外，當閣下的Wi-Fi連接不良時，Wi-Fi Assist會⾃自動切換到蜂窩模
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 112 of 452




式，或會導致使⽤用較多蜂窩資料及影響閣下的資料計畫收費。Wi-Fi Assist是默認啟⽤用的，但可在設定項下
予以禁⽤用。欲瞭解更更多資訊，請查閱閣下iOS裝置的⽤用⼾戶指南。

(j)如閣下選擇允許⾃自動更更新app，閣下的iOS裝置會向Apple定期查詢有關更更新閣下裝置上的app的問題。如
有提供的話，更更新版本會⾃自動下載和安裝到閣下的裝置上。閣下可隨時完全關閉app的⾃自動更更新，只需前往
Settings，點選iTunes & App Store，然後在Automatic Downloads項下關閉Updates。

(k) 在某些情況下使⽤用iOS裝置可能分散閣下的注意⼒力力，並可能導致危險情況（例例如，應避免在開⾞車車時輸入
⽂文字資訊，或在騎⾃自⾏行行⾞車車時使⽤用頭戴式耳機）。閣下使⽤用iOS裝置，即表⽰示閣下同意負責遵守禁⽌止或限制使
⽤用⼿手機或頭戴式耳機的規則（例例如在開⾞車車時撥打電話須使⽤用免提選項的規定）。

3.  轉讓 閣下不得出租、租賃、出借、出售、再分發或再許可iOS軟體。但閣下可就iOS所有權之轉讓，
⽽而將閣下對iOS軟體的⼀一切許可使⽤用權⼀一次性地永久轉讓予另⼀一⽅方，條件是：(a) 轉讓內容必須包括閣下的
iOS裝置和全部iOS軟體，包括其所有組成部分及本許可證；(b) 閣下不得保留留iOS軟體的全部或部分複製
本，包括儲存於電腦或其他存儲裝置的複製本；以及(c) 接受iOS軟體的⼀一⽅方已閱讀並同意接受本許可證的
條款和條件。

4.  同意使⽤用資料       當閣下使⽤用裝置時，閣下的電話號碼和閣下的iOS裝置之某些獨有的識別碼會被發
送給Apple，以讓其他⼈人通過iOS軟體諸如iMessage和FaceTime等各種通信功能聯聯繫到閣下的電話號碼。
當閣下使⽤用iMessage時，Apple可在有限時間內以加密形式持有閣下的訊息，以確保其傳送。閣下可前往
閣下iOS裝置上的FaceTime或Messages設定項，關閉FaceTime 或 iMessage。某些功能例例如分析、定位
服務、Siri和聽寫可能需要來來⾃自閣下的iOS裝置的資訊，才能提供其各⾃自的功能。在閣下打開或使⽤用這些功
能時，有關哪些資訊會發送給Apple以及可能如何使⽤用這些資訊的具體詳情將會提供給閣下，此外閣下亦可
訪問https://www.apple.com/tw/privacy/ 深入瞭解。在任何時候，閣下的資訊均依照Apple的隱私政策處
理理，該政策可在https://www.apple.com/legal/privacy/ 瀏覽。

5.    服務和第三⽅方材料。
(a) iOS軟體能使閣下訪問Apple的iTunes Store、App Store、Apple Books、Game Center、iCloud、地
圖以及其他Apple和第三⽅方服務及網址（統稱及個別稱為「服務」）。這些服務未必以各種語⾔言或在各個國
家提供。使⽤用這些服務需要接入互聯聯網，⽽而且使⽤用某些服務可能要求Apple ID和要求閣下接受附加的服務
條款，並且可能需⽀支付額外費⽤用。閣下就Apple ID或其他Apple服務⼾戶⼝口使⽤用本軟體，即表⽰示同意接受該服
務的適⽤用服務條款，例例如閣下存取該等服務所在國家的Apple媒體服務最新的條款和條件。閣下可訪問
https://www.apple.com/legal/internet-services/itunes/ 查閱該等條款和條件。

(b) 如閣下登記使⽤用iCloud，可直接從iOS軟體存取iCloud某些功能，例例如 「iCloud 照片（iCloud
Photos）」、「我的照片流（My Photo Stream）」、「共享相簿 (Shared Albums)」、「備份（Back
Up）」和「查找我的iPhone （Find My iPhone）」。閣下承認並同意，閣下使⽤用iCloud和這些功能須接
受iCloud服務的最新條款和條件。閣下可訪問https://www.apple.com/legal/internet-services/icloud/
查閱該等條款和條件。

(c) News App的內容。閣下通過News應⽤用程式訪問的內容僅限於個⼈人非商業⽤用途，內容的任何所有權利利益
不會因此⽽而轉讓給閣下，並明確排除但不限於這些內容的任何商業或促銷使⽤用權。此外，閣下通過News訪
問的任何圖像，⼀一律律禁⽌止作為獨立檔重新發佈、再傳輸和複製。

(d) 地圖。iOS軟體的地圖服務和功能（「地圖」）（包括地圖資料覆蓋），可能會因地區⽽而異異。當閣下使
⽤用地圖內任何基於位置的功能，例例如逐向導航、交通和本地搜索功能，與位置和使⽤用相關的多項資訊可能
   Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 113 of 452




會被發送到Apple，包括閣下iOS 裝置的即時地理理位置，以便便處理理閣下的請求和協助改善地圖。Apple收集
該等位置和使⽤用資料的形式，不會將閣下本⼈人識別出來來。閣下使⽤用地圖，即表⽰示同意和允許Apple及其附屬
公司和代理理傳輸、收集、維護、處理理和使⽤用這些資訊，以提供和改善地圖的功能和服務，以及Apple其他產
品和服務。Apple還可採取匯總或不會將個⼈人識別出來來兩兩者中的任⼀一形式，將此類資訊提供給其合作夥伴和
被許可⼈人，以幫助改善他們的地圖和基於位置的產品和服務。閣下可以禁⽤用地圖基於位置的功能，只需前
往閣下iOS裝置上的位置服務設定，並關閉地圖的個別位置設定。然⽽而，如閣下禁⽤用位置服務的設定，即不
可使⽤用某些地圖功能例例如逐向導航。

(e) 閣下明⽩白，使⽤用任何服務意味閣下或會遇到可能被視為冒犯性、猥褻或討厭的內容，這些內容可能使⽤用
或不使⽤用直⽩白的語⾔言，以及任何撿索得到的結果或進入某特定網址 (URL) 時，可能會⾃自動和非故意地⽣生成
與不宜資料的鏈結或對不宜資料的提述。儘管如此，閣下同意使⽤用服務並⾃自擔風險，對於可能被發現屬冒
犯性、猥褻或討厭的內容，Apple、其關聯聯公司、代理理⼈人、⾼高層管理理⼈人員或許可⽅方不對閣下承擔任何責任。

(f) 某些服務可能顯⽰示、包括或提供來來⾃自第三⽅方的內容、資料、資訊、應⽤用軟體或材料( 「第三⽅方材料」)，
或⾄至某些第三⽅方網站的鏈結。閣下⼀一使⽤用服務，即表⽰示閣下承認並同意，Apple不負責檢查或評估此等第三
⽅方材料或網站的內容、準確性、完整性、時間性、有效性、符合版權規定、合法性、適當性或質量量，或任
何其他⽅方⾯面。對任何第三⽅方服務、第三⽅方材料或網站，或者第三⽅方的任何其他材料、產品或服務，Apple
及其管理理⼈人員、關聯聯公司和⼦子公司不作任何保證或認可，亦不對閣下或任何其他⼈人或承擔和負有任何責任
或負責。第三⽅方材料和⾄至其他網站的鏈結僅為⽅方便便閣下⽽而提供。

(g) Apple 及其任何內容提供者不保證任何服務顯⽰示的股票資訊、位置資料或任何其他資料的可獲得性、
準確性、完整性、可靠性或及時性。任何服務顯⽰示的⾦金金融資訊僅供⼀一般參參考之⽤用，不應⽤用作可供依賴之投
資建議。在基於通過 服務獲得的資訊進⾏行行任何證券交易易之前，閣下應向在法律律上有資格在閣下的國家或地
區提供財務或證券建議的專業財務或證券⼈人員諮詢。任何服務提供的位置資料（包括Apple 地圖服務）僅
作為基本導航和計劃⽤用途⽽而提供，其⽬目的並非作為依賴以⽤用於需要精確的位置資訊的情況，或若若位置資料
錯誤、不準確、出現時間延誤或不完整可能會導致⼈人⾝身傷亡或財產或環境損害的情況。閣下同意，由於例例
如但不僅限於天氣、道路路和交通情況以及地緣政治事件等⾜足以影響地圖資料準確性的種種因素，閣下從地
圖服務收到的結果可能與實際道路路或地形情況有所不同。為了了閣下的安全，使⽤用導航功能時，任何時候都
要注意展⽰示的路路牌和當時的道路路情況，奉⾏行行安全駕駛習慣和遵照交通法規，並注意⾏行行走的⽅方向可能不包括
⼈人⾏行行道或⾏行行⼈人通道。

(h)在閣下使⽤用服務上傳任何內容的範圍內，閣下聲明閣下擁有所有權利利或得到授權或以其他⽅方式獲法律律允
許上傳該等內容，以及該等內容不違反適⽤用於服務的任何服務條款。閣下同意服務含有屬Apple、網站所有
⼈人或其許可⼈人擁有的專有內容、資訊和材料，受適⽤用的知識產權和其他法律律保護，包括但不限於版權。閣
下同意除 服務的允許⽤用途外，閣下不會使⽤用此等專有內容、資訊或材料，也不以任何與本許可證的條款不
⼀一致或侵犯第三⽅方或Apple的任何知識產權的⽅方式使⽤用此等專有內容、資訊或材料。服務的任何部分，均不
得以任何形式或以任何⽅方式複製。閣下同意不以任何⽅方式修改、出租、租賃、借出、銷售或分發服務，亦
不以任何⽅方式以服務為基礎創作任何衍⽣生作品。閣下不得以任何未獲授權的⽅方式（包括但不限於通過服務
來來傳輸電腦病毒、蠕蟲、特洛洛伊⽊木⾺馬或其他惡惡意軟體，或者通過侵入網路路或加重網路路容量量負擔）利利⽤用服
務。閣下進⼀一步同意不以任何⽅方式使⽤用服務騷擾、辱罵、追蹤、威脅或誹謗任何其他⽅方，或以侵犯或違反
任何其他⽅方權利利的⽅方式使⽤用服務，以及對於閣下的任何此等使⽤用或由於使⽤用服務致使閣下可能收到的任何
騷擾性、威脅性、誹謗性、冒犯性、侵權或非法信息或傳輸，Apple不在任何⽅方⾯面對閣下承擔任何責任。

(i) 此外，可通過iOS裝置存取、鏈結或顯⽰示的服務和第三⽅方材料，不會以所有語⾔言或在所有國家或地區提
供。Apple不聲明此等服務和第三⽅方材料為適當的及可在任何特定地點提供。在閣下選擇使⽤用或存取此等服
務和第三⽅方材料的範圍內，閣下是⾃自主決定這樣做的，並負責遵守任何適⽤用法律律，包括但不限於適⽤用的地
    Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 114 of 452




⽅方法律律，以及隱私權和資料收集法律律。通過閣下的iOS裝置共享或同步照片，可能會導致連同照片傳輸元數
據，包括拍攝照片的地點和時間及景深資訊。使⽤用Apple服務（例例如iCloud 照片圖庫）共享或同步這些照
片,將牽涉到Apple收取和存儲該等元數據。Apple 及其許可⼈人保留留在不通知的情況下，隨時更更改、暫停、
取消或禁⽌止存取任何此等服務的權利利。在任何情況下，Apple 均不對取消或禁⽌止存取任何此等服務負有責
任。Apple 還可在任何情況下，不通知和不承擔責任地限制使⽤用或存取某些服務。

6.  終⽌止 本許可證在其終⽌止之前有效。如閣下未能遵守本許可證中的任何條款，本許可證下閣下的權利利
將⾃自動終⽌止或以其他⽅方式終⽌止⽣生效，⽽而無需Apple另⾏行行通知。在本許可證終⽌止時，閣下應停⽌止對iOS軟體的
任何使⽤用⾏行行為。本許可證第4、5、6、7、8、9、12和13條在如此終⽌止後繼續有效。

7.  不作出擔保
7.1 如閣下是消費者客⼾戶(指在閣下的⾏行行業、業務或專業以外使⽤用iOS軟體的⼈人) ，閣下在居住國可能享有
法定權利利，禁⽌止以下限制適⽤用于閣下。這些限制若若被禁⽌止即不適⽤用於閣下。要進⼀一步瞭解相關的權利利，閣
下應聯聯繫當地的消費者諮詢組織。

7.2 閣下明確承認並同意，在適⽤用法律律允許的範圍內，閣下使⽤用iOS軟體和通過iOS軟體執⾏行行或取⽤用任何
服務須⾃自擔風險，⽽而有關質量量滿意度、性能、準確性及努⼒力力等⽅方⾯面的全部風險均由閣下承擔。

7.3 在適⽤用法律律允許的最⼤大範圍內，iOS軟體和服務都是「按現狀狀」和「可提供情況」提供的，附有⼀一切
瑕疵⽽而不帶有任何種類的保證，APPLE和APPLE的許可⼈人(在第7和8條中合稱為「APPLE」)特此否認就
iOS軟體和服務作出任何明⽰示、默⽰示或法定保證和條件，包括但不限於有關銷路路、質量量滿意度、適合作某特
定⽤用途、準確性、不受⼲干擾地享⽤用及不侵害第三⽅方權利利的默⽰示保證和/或條件。

7.4 APPLE並不擔保閣下可不受⼲干擾地享⽤用iOS軟體和服務，iOS套裝軟體含的功能或所執⾏行行或提供的服
務會符合閣下的要求，iOS軟體和服務將不受⼲干擾地操作⽽而且毫無錯誤、任何服務將持續提供、或iOS軟體
或服務的瑕疵將被糾正, 或iOS軟體將相容或可與任何第三⽅方軟體、應⽤用軟體或第三⽅方服務共同運作。安裝
本iOS軟體可能影響第三⽅方軟體、應⽤用程式或第三⽅方服務以及APPLE產品和服務的可獲得性及可⽤用性。

7.5 閣下進⼀一步承認iOS軟體和服務並非專為⽤用於若若iOS軟體和服務出現故障或時間延誤、或所提供的內
容、資料或資訊出現錯誤或不準確之處時，可能會導致⼈人⾝身傷亡或嚴重的有形或環境損害的情況或環境，
包括但不限於操作核⼦子設施、⾶飛機導航或通信系統、空中交通管制系統、⽣生命維持機器或武器系統。

7.6 APPLE或APPLE授權代表給予的⼝口頭或書⾯面的資訊或意⾒見見均不構成任何擔保。如發現iOS軟體或服
務存有瑕疵，閣下須承擔所有必要的維修、修理理或糾正的全部費⽤用。有些國家地區不允許排除默⽰示擔保或
對消費者的適⽤用法定權利利加以限制的做法，因此上述排除和限制可能並不適⽤用於閣下。

8.  責任限制 在適⽤用法律律不禁⽌止的範圍內，在任何情況下，對由於閣下使⽤用或無法使⽤用iOS軟體和服
務、或連同iOS軟體或服務使⽤用任何第三⽅方軟體或應⽤用軟體所引起或與此有關的任何⼈人⾝身傷害或任何附帶
的、特別的、間接的或後果性的損害賠償，包括但不限於利利潤損失、資料混亂或損失、不能傳播或接收任
何資料（包括但不限於課程說明、分派⼯工作和材料）、業務中斷的損害賠償或任何其他商業損害賠償或損
失，無論其成因及基於何種責任理理論（合同、侵權或其他），APPLE、其關聯聯公司、代理理⼈人或⾼高層管理理⼈人
員⼀一概無須負責，即使APPLE已知悉可能發⽣生上述損害賠償的話。有些國家地區不允許對⼈人⾝身傷害，或附
帶或後果性損害賠償排除或附加責任限制，因此此項限制可能並不適⽤用於閣下。在任何情況下，Apple就所
有損害賠償對閣下承擔的全部責任(除在涉及⼈人⾝身傷害的情況中根據適⽤用法律律規定的損害賠償外)不應超過⼆二
百五⼗十美元(U.S.$250.00)。即使前述救濟失去其基本作⽤用，上述責任限制仍將適⽤用。
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 115 of 452




9.  數位證書。iOS軟體具有接受 Apple 或第三⽅方發放之數位證書的功能。決定是否信賴 APPLE 或第三
⽅方發放的證書是閣下獨⾃自的責任，閣下須獨⾃自承擔使⽤用數位證書的風險。在適⽤用法律律允許的最⼤大範圍內，
APPLE 對於數位證書的銷路路或⽤用於任何特定⽤用途的適⽤用性、準確性、安全性或不侵犯第三⽅方權利利，不作任
何明⽰示或默⽰示的擔保或陳述。

10. 出⼝口控制 除美國法律律及獲得iOS軟體的所在國家地區的法律律授權外，閣下不得使⽤用或以任何⽅方式出
⼝口或轉⼝口iOS軟體。特別是(但不以此為限)iOS軟體不得出⼝口或轉⼝口(a) 到任何遭美國禁運的國家，或(b) 給
美國財政部的特別指定國⺠民名單或美國商務部的被禁⼈人⼠士或機構名單或任何其他受限制⽅方名單上任何⼈人
⼠士。閣下使⽤用iOS軟體，即表⽰示閣下聲明和保證閣下並非位於上述任何國家，或列列入上述任何名單。閣下並
同意不會使⽤用iOS軟體於美國法律律禁⽌止使⽤用的任何⽬目的，包括但不限於開發、設計、製造或⽣生產導彈、核
⼦子、化學或⽣生化武器。

11. 政府最終⽤用⼾戶 iOS軟體和相關⽂文檔均屬「商業項⽬目」，該詞定義⾒見見48 C.F.R. §2.101，包含「商⽤用電
腦軟體」和「商⽤用電腦軟體⽂文檔」，定義⾒見見48 C.F.R. §12.212或48 C.F.R. §227.7202，以適⽤用者為準。在
符合48 C.F.R. §12.212或48 C.F.R. §227.7202-1⾄至227.7202-4(以適⽤用者為準)的規定下，商⽤用電腦軟體
和商⽤用電腦軟體⽂文檔(a) 只作為商業專案許可美國政府的最終⽤用⼾戶使⽤用，及(b) 只附有根據本許可證條款和
條件授予所有其他最終⽤用⼾戶的權利利。Apple根據美國的著作權法律律保留留任何未經發佈的權利利。

12. 管轄法律律和可分割性 本許可證受美國加利利福尼亞州法律律管轄並按該等法律律解釋，但加利利福尼亞州的
法律律衝突原則除外。本許可證不受《聯聯合國國際貨物銷售合同公約》管轄，其對本許可證的適⽤用在此明確
排除。如閣下是英國消費者,本許可證將受對閣下居住國家地區具司法管轄權的法律律管轄。如果基於任何原
因，具有合法管轄權的法院裁定本許可證的任何條款或其任何部分不可被強制執⾏行行，本許可證的其餘規定
應繼續充分有效。

13. 全部協定：管轄語⾔言 本許可證構成閣下與Apple有關iOS軟體的全部協定，並取代與該標的事項有
關的以前或現在的所有諒解。未經Apple簽署書⾯面⽂文件，對本許可證的任何修訂或修改不具約束⼒力力。本許可
證的任何譯本僅僅為了了滿⾜足當地需要。如果英⽂文本與任何非英⽂文譯本有任何抵觸之處，在閣下所在國家地
區當地法律律不禁⽌止的範圍內，應以本許可證的英⽂文本為準。

14.    第三⽅方確認 iOS軟體的若若⼲干部分使⽤用或包含第三⽅方的軟體及其他享有著作權的材料。這些材料的確
認、許可證條款和免責聲明包含在iOS軟體的電⼦子⽂文檔中，閣下對這些材料的使⽤用受它們的相應條款的約
束。使⽤用Google Safe Browsing服務須遵守Google的服務條款(https://www.google.com/intl/zh-tw/
policies/terms/)和Google的隱私政策( https://www.google.com/intl/zh-tw/policies/privacy/)。

15.    MPEG-4的使⽤用；H.264/AVC通知。
(a) iOS軟體是依據MPEG-4系統專利利組合許可證特許使⽤用，以按照MPEG-4系統標準進⾏行行編碼，但與 (i)
以實質媒體貯存或複製且按照所有權基礎逐項⽀支付之資料、和/或 (ii) 按照所有權基礎逐項⽀支付並傳送給最
終⽤用⼾戶以永久貯存和/或使⽤用之資料編碼有關、以及須就相關編碼持有額外許可證和⽀支付特許權使⽤用費者除
外。該額外許可證可通過MPEG LA, LLC. 取得，請參參閱http://www.mpegla.com 瞭解進⼀一步細節。

(b) iOS套裝軟體含MPEG-4視像編碼和/或解碼功能，iOS軟體是依據MPEG-4視像專利利組合許可證特許予
消費者個⼈人和非商業性使⽤用，以(i) 按照MPEG-4視像標準進⾏行行視像編碼(「MPEG-4視像」)，和/或(ii) 對
從事個⼈人和非商業活動的消費者所編碼、和/或從獲MPEG LA許可提供MPEG-4視像的視像提供者取得的
MPEG-4視像進⾏行行解碼。沒有就任何其他⽤用途發出許可證或默⽰示作任何其他⽤用途。與宣傳推廣、內部和商
業性使⽤用及許可證賦予有關的進⼀一步資料，可通過MPEG LA, LLC取得。請參參閱http://
www.mpegla.com。
         Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 116 of 452




(c) iOS軟體含AVC編碼和/或解碼功能，H.264/AVC的商業性使⽤用需要額外的許可及以下規定適⽤用：本許
可證許可iOS軟體的AVC功能僅供消費者的個⼈人和非商業性使⽤用，以(i) 按照AVC標準(「AVC視像」)進⾏行行視
像編碼，和/或(ii) 對從事個⼈人和非商業性活動的消費者所編碼的AVC視像、和/或獲取⾃自特許提供AVC視像
的視像提供者的AVC視像進⾏行行解碼。與其他使⽤用及許可證有關的資料，可通過MPEG LA L.L.C.取得。請參參
閱http://www.mpegla.com。

16. 雅虎搜尋服務限制 通過Safari提供的雅虎搜尋服務只被授權在以下國家和地區使⽤用：阿根庭、阿
魯魯巴、澳⼤大利利亞、奧地利利、巴巴多斯、比利利時、百慕⼤大、巴⻄西、保加利利亞、加拿⼤大、開曼群島、智利利、中
國⼤大陸、香港、臺灣、哥倫倫比亞、賽普勒勒斯、捷克共和國、丹丹麥、多明尼加共和國、厄瓜多爾、薩爾亞
多、芬蘭蘭、法國、德國、希臘、格林林伍德、瓜地⾺馬拉、匈牙利利、冰島、印度、印尼、愛爾蘭蘭、義⼤大利利、牙
買加、⽇日本、拉脫維亞、立陶苑、盧森堡、⾺馬來來⻄西亞、⾺馬爾他、墨墨⻄西哥、荷蘭蘭、新⻄西蘭蘭、尼瓜拉瓜、挪
威、巴拿⾺馬、秘魯魯、菲律律賓、波蘭蘭、葡萄牙、波多黎黎各、羅⾺馬尼亞、新加岩伐克、斯洛洛⽂文尼亞、南韓、⻄西
班牙、聖盧⻄西亞、聖⽂文孫特、瑞典、瑞⼠士、泰國、巴哈⾺馬、特立尼達和多巴哥、⼟土耳其、英國、烏拉圭、
美國和委內瑞拉。

17.  Microsoft Exchange通知。iOS軟體內的Microsoft Exchange郵件設置，僅許可⽤用於空中同步處理理
閣下的iOS與Microsoft Exchange伺服器或Microsoft許可的其他伺服器軟體之間的資訊，例例如電⼦子郵件、
聯聯繫⼈人、⾏行行事曆和⼯工作等，以實施Microsoft Exchange ActiveSync協定。

EA1566
2019年年2⽉月21⽇日

————————————
Apple Pay補充條款和條件

這些Apple Pay補充條款和條件（這些「補充條款」）補充了了iOS軟體許可協定（「許可證」）;許可證條款
及這些補充條款同時規管閣下對被視為許可證下其中⼀一項「服務」之Apple Pay功能的使⽤用。這些補充條款
中以⼤大寫字⺟母表⽰示的詞匯，具有許可證內規定的含義。

1.       概述和使⽤用限制

Apple Pay可讓閣下：

     ‧     存儲哪些獲Apple Pay功能⽀支援的信⽤用卡、借記卡和預付卡（包括商店信⽤用卡、借記卡、預付卡和
          Apple Pay Cash卡）（「獲⽀支援付款卡」）的信貸虛擬表⽰示，並使⽤用獲⽀支援的iOS裝置在選定地點
          或在app或網站內進⾏行行非接觸式⽀支付;
     ‧     使⽤用在Wallet內存放的獎勵卡和禮物卡（簡稱「⽀支援Apple Pay的卡」，與獲⽀支援付款卡統稱「獲
          ⽀支援卡」），以在選定商店進⾏行行作為使⽤用Apple Pay進⾏行行非接觸式⽀支付⼀一部分的非接觸式獎勵卡和
          禮物卡交易易；和
     ‧     向Apple Pay其他⽤用⼾戶進⾏行行個⼈人對個⼈人付款。

iOS軟體的Apple Pay功能可能僅在選定地區提供，以及僅適⽤用於選定發卡⾏行行、⾦金金融機構和商⼾戶。功能可能
因地區、發卡⾏行行及商⼾戶⽽而異異。

要使⽤用Apple Pay，閣下必須有⼀一張獲⽀支援卡。獲⽀支援卡可能會不時有變。此外，閣下必須有⼀一張Apple
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 117 of 452




Pay Cash卡，⽅方可進⾏行行個⼈人對個⼈人付款或收款。

獲⽀支援付款卡和個⼈人對個⼈人付款與閣下登入iCloud之Apple ID關聯聯，以便便使⽤用這些功能。獲⽀支援卡僅提供
給13歲或以上⼈人⼠士，並可能會受到iCloud或閣下嘗試配置的獲⽀支援卡所額外施加的年年齡限制。Apple Pay
Cash卡和個⼈人對個⼈人付款和收款的能⼒力力，僅提供給18歲或以上⼈人⼠士。

Apple Pay僅供閣下個⼈人使⽤用，閣下只能配置⾃自⼰己的獲⽀支援卡。如閣下要配置獲⽀支援的公司卡，閣下聲明閣
下已得到閣下的雇主授權這樣做，以及閣下獲授權使閣下的雇主受到這些使⽤用條款和通過使⽤用此功能進⾏行行
的所有交易易的約束。如閣下正在進⾏行行個⼈人對個⼈人付款或收款，閣下聲明閣下這樣做是⽤用於閣下⾃自⼰己個⼈人的
非商業⽤用途。

閣下同意不使⽤用Apple Pay於非法或欺詐的⽬目的，或本許可證和這些補充條款禁⽌止的任何其他⽬目的。閣下進
⼀一步同意按照適⽤用法律律及法規使⽤用Apple Pay。閣下同意不⼲干擾或擾亂Apple Pay的服務（包括以任何⾃自動
⽅方式存取服務）、或連接到服務的任何伺服器或網路路、或連接到服務的任何網路路政策、規定或法規（包括
任何對數據或數據流量量未經授權的存取、使⽤用或監測）。

2.   Apple與閣下的關係

Apple Pay能讓閣下在閣下獲⽀支援的iOS裝置上，創建閣下獲⽀支援卡的虛擬表⽰示。然⽽而，Apple不會處理理付
款或其他非付款卡交易易（例例如累積或兌換獎勵）、收取、持有或轉帳閣下的資⾦金金，或對因閣下使⽤用該功能
⽽而可能產⽣生的付款、退貨、退款、獎勵、價值、折扣或其他商業活動具有任何其他控制權。

閣下與閣下的發卡機構之間可能存在的持卡⼈人協定條款，將繼續規限閣下對閣下的獲⽀支援卡的使⽤用，以及
它們與Apple Pay的相關使⽤用。同樣，閣下在任何商⼾戶獎勵或禮物卡計畫的參參與以及閣下就Apple Pay對⽀支
援Apple Pay的卡之使⽤用，皆須遵守該商⼾戶的條款和條件規限。

Apple Pay Cash卡和個⼈人對個⼈人付款和收款的能⼒力力僅在美國提供，是聯聯邦存款保險公司成員Green Dot
Bank提供的服務。當閣下在Apple Pay中啟動這些功能時，閣下即在Green Dot Bank開立帳⼾戶，⽽而當閣下
進⾏行行個⼈人對個⼈人付款或收款、或從閣下的Apple Pay Cash卡載入或提取⾦金金錢時，Green Dot Bank將負責收
取和將閣下的⾦金金錢發送給預期的收款⼈人。在Apple Pay中負責提供Apple Pay Cash和個⼈人對個⼈人付款的⾦金金
融機構可能有變，閣下使⽤用該等功能須遵守其條款和條件。

許可證或這些補充條款並無任何規定修改任何持卡⼈人、使⽤用者或商⼾戶協定條款，該等條款將規限閣下對適
⽤用的獲⽀支援卡的使⽤用或Apple Pay的個⼈人對個⼈人付款功能，以及它們在閣下的iOS裝置上的虛擬表⽰示。閣下
同意Apple並非閣下的持卡⼈人或商⼾戶協定其中⼀一⽅方，⽽而Apple亦無須就以下事項負責：(a)於使⽤用Apple Pay
功能期間，任何付款卡、獎勵卡、禮物卡、商業活動、交易易或購買之內容、準確性或無法獲得；(b)信貸的
發放或對信貸資格的評估；(c)個別商⼾戶計畫下的獎勵或儲值之累積或兌換；(d)預付卡資⾦金金的提供或重新載
入；(e)個⼈人對個⼈人付款或收款；或(f)從閣下的Apple Pay Cash卡載入、兌換或提取款項。

有關付款卡、獎勵卡、禮物卡或相關商業活動的所有糾紛或問題，請聯聯繫閣下的發卡⾏行行或適⽤用的商⼾戶。有
關Apple Pay Cash卡或個⼈人對個⼈人付款的問題，請聯聯繫Apple⽀支援。

3.   隱私

Apple Pay需要從閣下的iOS裝置獲取⼀一些資訊，以便便提供全⾯面的體驗。此外，當閣下使⽤用Apple Pay Cash
卡或進⾏行行個⼈人對個⼈人付款或收款時，基於為閣下的帳⼾戶提供服務和防⽌止欺詐及監管⽬目的，有關閣下交易易的
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 118 of 452




附加資訊會被收集和保留留。通過閱讀關於Apple Pay和隱私（閣下可在iOS裝置上的Wallet & Apple Pay或
配對的iOS裝置上的Watch app內查閱）或訪問 https://www.apple.com/tw/privacy/，閣下可以找到關
於作為閣下使⽤用Apple Pay、Apple Pay Cash卡或以Apple Pay進⾏行行個⼈人對個⼈人付款⼀一部分⽽而收集、使⽤用或
共享的資料之詳細資訊。閣下使⽤用這些功能，即表⽰示同意和允許Apple及其附屬公司和代理理⼈人傳輸、收集、
維護、處理理和使⽤用所有上述資訊，以提供Apple Pay功能。

4.   安全性; 遺失或禁⽤用裝置

Apple Pay會存儲閣下的獲⽀支援卡之虛擬表⽰示，因此應予以保護，就如同閣下會保護現⾦金金或閣下的實體信⽤用
卡、借記卡、預付卡、獎勵卡或禮物卡⼀一樣。如閣下向第三⽅方提供裝置的密碼或允許第三⽅方添加其指紋以
使⽤用Touch ID或啟動Face ID，他們即可在閣下的裝置上使⽤用Apple Pay付款、進⾏行行、要求或收取個⼈人對個
⼈人付款、從閣下的Apple Pay Cash卡提取款項、或獲取或兌換獎勵或信貸。閣下須⾃自⾏行行負責維護閣下的裝
置以及閣下的密碼之安全性。閣下同意，如閣下遺失或與他⼈人共享對閣下裝置的存取，Apple不負任何責
任。閣下同意，如閣下對iOS作出未經授權的修改（例例如以「越獄」⽅方式），Apple不負任何責任。

閣下或需啟動額外的安全性措施（例例如對閣下的Apple ID實施雙因素⾝身份認證）⽅方可訪問Apple Pay的特定
功能，包括Apple Pay Cash卡和在Apple Pay中進⾏行行個⼈人對個⼈人付款。如閣下其後刪除該等安全性功能，
閣下未必能繼續訪問Apple Pay的特定功能。

如閣下的裝置丟失或被盜，⽽而閣下已啟動Find My iPhone的話，閣下可使⽤用Find My iPhone功能將其置於
Lost Mode，嘗試暫停在該裝置上以虛擬獲⽀支援付款卡付款或進⾏行行個⼈人對個⼈人付款的能⼒力力。閣下也可以擦
除閣下的裝置，此舉將嘗試暫停在裝置上以虛擬獲⽀支援付款卡付款或進⾏行行個⼈人對個⼈人付款的能⼒力力，並且會
嘗試移除⽀支援Apple Pay的卡。閣下亦應聯聯繫發⾏行行閣下獲⽀支援付款卡之發卡機構、發⾏行行閣下⽀支援Apple Pay
的卡之商⼾戶及Apple（如屬閣下的Apple Pay Cash卡之情況），以防⽌止他⼈人未經授權存取閣下的獲⽀支援
卡。

如閣下報告或Apple懷疑有欺詐或詐騙活動，閣下同意在任何調查中與Apple合作，並使⽤用我們規定的任何
防欺詐措施。

5.   責任限制

除許可證載明的不作出擔保和責任限制外，APPLE亦不對使⽤用APPLE PAY功能進⾏行行的購買、⽀支付、交易易、
或其他商業活動承擔任何責任。閣下並同意在尋求解決與閣下的獲⽀支援卡、個⼈人對個⼈人付款和相關商業活
動有關的任何問題或爭議時，只檢視閣下與發卡機構、⽀支付網路路、⾦金金融機構或商⼾戶之間可能訂立的協定。

————————————
來來⾃自APPLE的通知
如果Apple需要就閣下的產品或帳⼾戶聯聯繫閣下，閣下同意通過電⼦子郵件接收這些通知。閣下同意我們發送給
閣下的任何這些通知，將符合任何法定通信要求。
        ‫‪Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 119 of 452‬‬



                                                                                                                                   ‫اﻟﻌرﺑﯾﺔ‬

        ‫ھﺎم‪ :‬ﺑﺎﺳﺗﺧداﻣك ﺟﮭﺎز ‪ iPHONE‬أو ‪ iPAD‬أو ‪ iPOD TOUCH‬اﻟﺧﺎص ﺑك )ﺟﮭﺎز ‪ ،( iOS‬أﻧت ﺗواﻓق ﻋﻠﻰ اﻻﻟﺗزام ﺑﺎﻷﺣﻛﺎم اﻟﺗﺎﻟﯾﺔ‪:‬‬

                                                                                             ‫اﺗﻔﺎﻗﯾﺔ ﺗرﺧﯾص ﺑرﻧﺎﻣﺞ ‪APPLE iOS‬‬             ‫أ‪.‬‬
                                                                                                ‫ﺷروط ‪ APPLE PAY‬اﻟﺗﻛﻣﯾﻠﯾﺔ‬               ‫ب‪.‬‬
                                                                                                          ‫إﺧطﺎرات ﻣن ‪APPLE‬‬             ‫ج‪.‬‬

                                                                                                                 ‫ﺷرﻛﺔ ‪APPLE INC.‬‬
                                                                                                              ‫اﺗﻔﺎﻗﯾﺔ ﺗرﺧﯾص ﺑرﻧﺎﻣﺞ ‪iOS‬‬
                                                                                                                ‫ﺗرﺧﯾص اﻻﺳﺗﺧدام اﻟﻔردي‬

  ‫اﻟرﺟﺎء ﻗراءة اﺗﻔﺎﻗﯾﺔ ﺗرﺧﯾص اﻟﺑرﻧﺎﻣﺞ ھذه )“اﻟﺗرﺧﯾص”( ﺑﻌﻧﺎﯾﺔ ﻗﺑل اﺳﺗﺧدام ﺟﮭﺎز ‪ iOS‬اﻟﺧﺎص ﺑك أو ﻗﺑل ﺗﻧزﯾل ﺗﺣدﯾث ﺑرﻧﺎﻣﺞ ﻣﺻﺎﺣب ﻟﮭذا‬
   ‫اﻟﺗرﺧﯾص‪ .‬ﻣن ﺧﻼل اﺳﺗﺧدام ‪ iOS‬اﻟﺧﺎص ﺑك أو ﻣن ﺧﻼل ﺗﻧزﯾل ﺗﺣدﯾث ھذا اﻟﺑرﻧﺎﻣﺞ‪ ،‬ﻋﻠﻰ ﺣﺳب اﻷﺣوال‪ ،‬ﻓﺈﻧك ﺗواﻓق ﻋﻠﻰ اﻻﻟﺗزام ﺑﺄﺣﻛﺎم ھذا‬
                                      ‫اﻟﺗرﺧﯾص‪ .‬إذا ﻟم ﺗواﻓق ﻋﻠﻰ أﺣﻛﺎم ھذا اﻟﺗرﺧﯾص‪ ،‬ﻓﻼ ﺗﺳﺗﺧدم ﺟﮭﺎز ‪ iOS‬وﻻ ﺗﻘم ﺑﺗﻧزﯾل ﺗﺣدﯾث اﻟﺑرﻧﺎﻣﺞ‪.‬‬

       ‫ﻓﻲ ﺣﺎل ﻗﻣت ﻣؤﺧًرا ﺑﺷراء ﺟﮭﺎز ‪ iOS‬وﻟم ﺗواﻓق ﻋﻠﻰ أﺣﻛﺎم اﻟﺗرﺧﯾص‪ ،‬ﻓﯾﻣﻛﻧك إﻋﺎدة ﺟﮭﺎز ‪ iOS‬ﺧﻼل ﻓﺗرة اﻻﺳﺗرﺟﺎع إﻟﻰ ﻣﺗﺟر ﺷرﻛﺔ‬
    ‫‪ APPLE‬أو اﻟﻣوزع اﻟﻣﻌﺗﻣد اﻟذي اﺷﺗرﯾﺗﮫ ﻣﻧﮫ ﻻﺳﺗﻌﺎدة أﻣواﻟك‪ ،‬ﺑﻣﺎ ﯾﺗواﻓق ﻣﻊ ﺳﯾﺎﺳﺔ اﻹﻋﺎدة ﻣن ﺷرﻛﺔ ‪ APPLE‬اﻟﻣﺗﺎﺣﺔ ﻋﻠﻰ ‪https://‬‬
                                                                            ‫‪./www.apple.com/legal/sales-support‬‬

                                                                                                                             ‫‪ .1‬ﻋﺎم‪.‬‬
      ‫)أ( اﻟﺑرﻧﺎﻣﺞ )اﻟذي ﯾﺿم ﻛود ﺗﺷﻐﯾل ‪ ROM‬واﻟﺑرﻧﺎﻣﺞ اﻟﻣﺿﻣن وﺑراﻣﺞ اﻟﺟﮭﺎت اﻷﺧرى(‪ ،‬واﻟوﺛﺎﺋق‪ ،‬واﻟواﺟﮭﺎت‪ ،‬واﻟﻣﺣﺗوﯾﺎت‪ ،‬واﻟﺧطوط‪ ،‬وأي‬
‫ﺑﯾﺎﻧﺎت ﺗﺄﺗﻲ ﻣﻊ ﺟﮭﺎز ‪ iOS‬اﻟﺧﺎص ﺑك )“ﺑرﻧﺎﻣﺞ ‪ iOS‬اﻷﺻﻠﻲ”(‪ ،‬واﻟﺗﻲ ﯾﻣﻛن أن ﯾﺗم ﺗﺣدﯾﺛﮭﺎ أو اﺳﺗﺑداﻟﮭﺎ ﻣن ﺗﻌزﯾزات اﻟﺧﺻﺎﺋص أو ﺗﺣدﯾث اﻟﺑراﻣﺞ‬
      ‫أو ﺑراﻣﺞ اﺳﺗﻌﺎدة اﻟﻧظﺎم اﻟﺗﻲ ﺗوﻓرھﺎ ﺷرﻛﺔ ‪“) Apple‬ﺗﺣدﯾﺛﺎت ﺑرﻧﺎﻣﺞ ‪ ،(“ iOS‬ﺳواء ﻛﺎﻧت ﻣﺗﺎﺣﺔ ﻓﻲ اﻟذاﻛرة اﻟﻣﻘروءة ﻓﻘط‪ ،‬أو ﻓﻲ أي وﺳﺎﺋط‬
     ‫أﺧرى‪ ،‬أو ﺑﺄي ﺷﻛل ﻣن اﻷﺷﻛﺎل )ﯾﺷﺎر إﻟﻰ ﺑرﻧﺎﻣﺞ ‪ iOS‬اﻷﺻﻠﻲ وﺗﺣدﯾﺛﺎت ﺑرﻧﺎﻣﺞ ‪ iOS‬ﻣﺟﺗﻣﻌﯾن “ﺑرﻧﺎﻣﺞ ‪ “ iOS‬ﯾﺗم ﺗرﺧﯾﺻﮫ ﻟك ﻣن ﺷرﻛﺔ‬
     ‫)”‪ Apple Inc. (“Apple‬وﻻ ﯾﺗم ﺑﯾﻌﮫ ﻟك‪ ،‬وذﻟك ﺑﻐرض اﻻﺳﺗﺧدام وﻓﻘﺎ ﻷﺣﻛﺎم ھذا اﻟﺗرﺧﯾص ﻓﻘط‪ ،‬وﺗﺣﺗﻔظ ﺷرﻛﺔ ‪ Apple‬وﻣرﺧﺻﯾﮭﺎ ﺑﻣﻠﻛﯾﺔ‬
 ‫ﺑرﻧﺎﻣﺞ ‪ iOS‬ذاﺗﮫ ﻛﻣﺎ ﺗﺣﺗﻔظ ﺑﻛﺎﻓﮫ اﻟﺣﻘوق اﻟﺗﻲ ﻟم ﯾﺗم ﻣﻧﺣﮭﺎ ﺻراﺣﺔ ﻟك‪ .‬أﻧت ﺗواﻓق ﻋﻠﻰ ﺳرﯾﺎن ﺷروط ھذا اﻟﺗرﺧﯾص ﻋﻠﻰ أي ﺗطﺑﯾق ﯾﺣﻣل ﻋﻼﻣﺔ‬
 ‫‪ Apple‬اﻟﺗﺟﺎرﯾﺔ ﻗد ﯾﻛون ﻣﺗﺿﻣًﻧﺎ ﻋﻠﻰ ﺟﮭﺎز ‪ ،iOS‬ﻣﺎ ﻟم ﯾﻛن ذﻟك اﻟﺗطﺑﯾق ﻣﺻﺣوًﺑﺎ ﺑﺗرﺧﯾص ﻣﻧﻔﺻل‪ ،‬وﻓﻲ ھذه اﻟﺣﺎﻟﺔ ﺗواﻓق ﻋﻠﻰ أن ﺗﺣﻛم ﺷروط‬
                                                                                                 ‫ذﻟك اﻟﺗرﺧﯾص اﺳﺗﺧداﻣك ﻟذﻟك اﻟﺗطﺑﯾق‪.‬‬

‫)ب( وﻓًﻘﺎ ﻹرادة ﺷرﻛﺔ ‪ Apple‬اﻟﻣﻧﻔردة‪ ،‬ﯾﻣﻛن إﺗﺎﺣﺔ ﺗﺣدﯾﺛﺎت ﻣﺳﺗﻘﺑﻠﯾﺔ ﻟﺑرﻧﺎﻣﺞ ‪ .iOS‬وﻻ ﺗﺗﺿﻣن ﺗﺣدﯾﺛﺎت ﺑرﻧﺎﻣﺞ ‪ iOS‬ﺑﺎﻟﺿرورة‪،‬إذا وﺟدت‪ ،‬ﻛﺎﻓﺔ‬
 ‫ﻣﯾزات اﻟﺑراﻣﺞ‪ ،‬أو اﻟﻣﯾزات اﻟﺟدﯾدة اﻟﺗﻲ ﺗطرﺣﮭﺎ ﺷرﻛﺔ ‪ Apple‬ﻷﺣدث طرازات أﺟﮭزة ‪ iOS‬أو ﻏﯾرھﺎ‪ .‬وﺷروط ھذا اﻟﺗرﺧﯾص ﺗﺣﻛم أي ﺗﺣدﯾﺛﺎت‬
 ‫ﺑرﻧﺎﻣﺞ ‪ iOS‬اﻟﺗﻲ ﺗﻘدﻣﮭﺎ ﺷرﻛﺔ ‪ ،Apple‬ﻣﺎ ﻟم ﯾراﻓق ﺗﺣدﯾث ﺑرﻧﺎﻣﺞ ‪ iOS‬ھذا ﺗرﺧﯾص ﻣﻧﻔﺻل وﻓﻲ ھذه اﻟﺣﺎﻟﺔ أﻧت ﺗواﻓق أن ﺷروط ھذا اﻟﺗرﺧﯾص‬
                                                                                                                           ‫ﺳﺗﺣﻛم‪.‬‬

   ‫)ج( إذا ﻛﻧت ﺗﺳﺗﺧدم ﻣﯾزة اﻹﻋداد اﻟﺳرﯾﻊ ﻹﻋداد ﺟﮭﺎز ‪ iOS‬ﺟدﯾد اﺳﺗﻧﺎًدا إﻟﻰ ﺟﮭﺎز ‪ iOS‬ﻟدﯾك ﺑﺎﻟﻔﻌل‪ ،‬ﻓﺈﻧك ﺗواﻓق ﻋﻠﻰ أن ﺷروط ھذا اﻟﺗرﺧﯾص‬
     ‫ﺳﺗﺣﻛم اﺳﺗﺧداﻣك ﻟﺑرﻧﺎﻣﺞ ‪ iOS‬ﻋﻠﻰ ﺟﮭﺎز ‪ iOS‬اﻟﺟدﯾد‪ ،‬ﻣﺎ ﻟم ﯾﻛن ﻣﺻﺣوًﺑﺎ ﺑﺗرﺧﯾص ﻣﻧﻔﺻل‪ ،‬وﻓﻲ ھذه اﻟﺣﺎﻟﺔ ﻓﺈﻧك ﺗواﻓق ﻋﻠﻰ أن ﺷروط ھذا‬
‫اﻟﺗرﺧﯾص ﺳﺗﺣﻛم اﺳﺗﺧداﻣك ﻟﺑرﻧﺎﻣﺞ ‪ iOS‬ھذا‪ .‬ﺳﯾﺗﺣﻘق ﺟﮭﺎز ‪ iOS‬اﻟﺧﺎص ﺑك ﺑﺷﻛل دوري ﻣﻊ ‪ Apple‬ﻣن ﺗﺣدﯾﺛﺎت ﺑرﻧﺎﻣﺞ ‪ .iOS‬وﻓﻲ ﺣﺎﻟﺔ ﺗوﻓر‬
‫ﺗﺣدﯾث‪ ،‬ﻗد ﯾﺗم ﺗﻧزﯾل اﻟﺗﺣدﯾث وﺗﺛﺑﯾﺗﮫ ﺗﻠﻘﺎﺋًﯾﺎ ﻋﻠﻰ ﺟﮭﺎز ‪ iOS‬اﻟﺧﺎص ﺑك‪ ،‬وﻛذﻟك اﻷﺟﮭزة اﻟطرﻓﯾﺔ اﻟﺧﺎﺻﺔ ﺑك‪ ،‬إن أﻣﻛن‪ .‬ﺑﺎﺳﺗﺧدام ﺑرﻧﺎﻣﺞ ‪،Apple‬‬
  ‫ﻓﺈﻧك ﺗواﻓق ﻋﻠﻰ أن ‪ Apple‬ﻗد ﺗﻘوم ﺑﺗﻧزﯾل وﺗﺛﺑﯾت ﺗﺣدﯾﺛﺎت ﺑرﻧﺎﻣﺞ ‪ iOS‬اﻟﺗﻠﻘﺎﺋﯾﺔ ﻋﻠﻰ ﺟﮭﺎز ‪ iOS‬اﻟﺧﺎص ﺑك واﻷﺟﮭزة اﻟطرﻓﯾﺔ اﻟﺧﺎﺻﺔ ﺑك‪.‬‬
   ‫ﯾﻣﻛﻧك إﯾﻘﺎف اﻟﺗﺣدﯾﺛﺎت اﻟﺗﻠﻘﺎﺋﯾﺔ ﺗﻣﺎًﻣﺎ ﻓﻲ أي وﻗت ﻋن طرﯾق ﺗﻐﯾﯾر إﻋدادات اﻟﺗﺣدﯾﺛﺎت اﻟﺗﻠﻘﺎﺋﯾﺔ اﻟﻣوﺟودة ﻓﻲ اﻹﻋدادات < ﻋﺎم < ﺗﺣدﯾث اﻟﺑرﻧﺎﻣﺞ‪.‬‬

                                                                                           ‫‪ .2‬اﻻﺳﺗﺧداﻣﺎت اﻟﻣﺳﻣوح ﺑﮭﺎ وﻗﯾود اﻟﺗرﺧﯾص‬
   ‫)أ( ﺑﻣوﺟب أﺣﻛﺎم وﺷروط ھذا اﻟﺗرﺧﯾص‪ ،‬ﯾﺗم ﻣﻧﺣك ﺗرﺧﯾص ﻣﺣدود وﻏﯾر ﺣﺻري ﻻﺳﺗﺧدام ﺑرﻧﺎﻣﺞ ‪ iOS‬ﻋﻠﻰ ﺟﮭﺎز ‪ iOS‬واﺣد ﯾﺣﻣل اﻟﻌﻼﻣﺔ‬
 ‫اﻟﺗﺟﺎرﯾﺔ ﻟﺷرﻛﺔ ‪ .Apple‬ﺑﺎﺳﺗﺛﻧﺎء ﻣﺎ ھو ﻣﺻرح ﺑﮫ ﻓﻲ اﻟﺑﻧد ‪)2‬ب( اﻟﻣوﺿﺢ أدﻧﺎه‪ ،‬واﻻ ﻛﻣﺎ ھو ﻣﻧﺻوص ﻋﻠﯾﮫ ﻓﻲ اﺗﻔﺎﻗﯾﺔ ﻣﻧﻔﺻﻠﺔ ﺑﯾﻧك وﺑﯾن آﺑل‪ ،‬ﻻ‬
   ‫ﯾﺳﻣﺢ ھذا “اﻟﺗرﺧﯾص” ﺑﺗواﺟد ﺑرﻧﺎﻣﺞ ‪ iOS‬ﻋﻠﻰ أﻛﺛر ﻣن ﺟﮭﺎز ‪ iOS‬واﺣد ﯾﺣﻣل اﻟﻌﻼﻣﺔ اﻟﺗﺟﺎرﯾﺔ ﻟﺷرﻛﺔ ‪ Apple‬ﻓﻲ ﻧﻔس اﻟوﻗت‪ ،‬وﻻ ﯾﺟوز ﻟك‬
    ‫ﺗوزﯾﻊ أو إﺗﺎﺣﺔ ﺑرﻧﺎﻣﺞ ‪ iOS‬ﻋﺑر ﺷﺑﻛﺔ ﯾﻣﻛن أن ﺗﺳﺗﺧدﻣﮭﺎ ﻋدة أﺟﮭزة ﻓﻲ ذات اﻟوﻗت‪ .‬ﻻ ﯾﻣﻧﺣك ھذا “اﻟﺗرﺧﯾص” أي ﺣﻘوق ﻻﺳﺗﺧدام اﻟواﺟﮭﺎت‬
    ‫اﻟﻣﻣﻠوﻛﺔ ﻟﺷرﻛﺔ ‪ Apple‬أو ﺣﻘوق اﻟﻣﻠﻛﯾﺔ اﻟﻔﻛرﯾﺔ اﻷﺧرى اﻟﻣﺗﻌﻠﻘﺔ ﺑﺗﺻﻣﯾم أو ﺗطوﯾر أو ﺗﺻﻧﯾﻊ أو ﺗرﺧﯾص أو ﺗوزﯾﻊ أﺟﮭزة وﻛﻣﺎﻟﯾﺎت اﻷطراف‬
    ‫اﻷﺧرى‪ ،‬أو ﺗطﺑﯾﻘﺎت ﺑراﻣﺞ اﻷطراف اﻷﺧرى‪ ،‬ﻟﻼﺳﺗﺧدام ﻣﻊ أﺟﮭزة ‪ .iOS‬ﺗﻛون ﺑﻌض ﺗﻠك اﻟﺣﻘوق ﻣﺗﺎﺣﺔ ﺑﻣوﺟب ﺗراﺧﯾص ﻣﻧﻔﺻﻠﺔ ﻣن ﺷرﻛﺔ‬
                  ‫‪ .Apple‬ﻟﻣزﯾد ﻣن اﻟﻣﻌﻠوﻣﺎت اﻟﻣﺗﻌﻠﻘﺔ ﺑﺗطوﯾر أﺟﮭزة وﻛﻣﺎﻟﯾﺎت اﻷطراف اﻷﺧرى ﻷﺟﮭزة ‪ ،iOS‬اﻟرﺟﺎء زﯾﺎرة اﻟﻣوﻗﻊ ‪https://‬‬
      ‫‪ ./developer.apple.com/programs/mfi‬ﻟﻣزﯾد ﻣن اﻟﻣﻌﻠوﻣﺎت اﻟﻣﺗﻌﻠﻘﺔ ﺑﺗطوﯾر ﺗطﺑﯾﻘﺎت اﻟﺑراﻣﺞ ﻷﺟﮭزة ‪ ،iOS‬اﻟرﺟﺎء زﯾﺎرة اﻟﻣوﻗﻊ‬
                                                                                                ‫‪.https://developer.apple.com‬‬

   ‫)ب( ﻓﯾﻣﺎ ﯾﺗﻌﻠق ﺑﺗﺣدﯾﺛﺎت ﺑرﻧﺎﻣﺞ ‪ iOS‬اﻟﺗﻲ ﻗد ﺗﺗﯾﺣﮭﺎ ﺷرﻛﺔ ‪ ،Apple‬أﻧت ﺗﻘر ﺑﺄن ﺑﻌض ﺗﺣدﯾﺛﺎت ﺑرﻧﺎﻣﺞ ‪ iOS‬أو أﺟزاء ﻣﻧﮭﺎ ﻗد ﺗﻛون ﻣﻘﺻورة‬
‫ﻋﻠﻰ ﺑﻌض طرازات أو أﺟﯾﺎل ﺟﮭﺎز ‪ iOS‬وﻗد ﻻ ﺗﻛون ﻣﺗﺎﺣﺔ ﻟﻛﺎﻓﺔ طرازات ‪ .iOS‬ﺑﻣوﺟب أﺣﻛﺎم وﺷروط ھذا اﻟﺗرﺧﯾص‪ ،‬ﯾﺗم ﻣﻧﺣك ﺗرﺧﯾص ﻣﺣدود‬
‫وﻏﯾر ﺣﺻري ﻟﺗﻧزﯾل ﺗﺣدﯾﺛﺎت ﺑرﻧﺎﻣﺞ ‪ iOS‬اﻟذي ﻗد ﯾﺗﺎح ﺑواﺳطﺔ ‪ Apple‬ﻟطراز ‪ iOS‬اﻟﺧﺎص ﺑك ﻟﺗﺣدﯾث أو اﺳﺗﻌﺎدة اﻟﺑراﻣﺞ ﻋﻠﻰ أي أﺟﮭزة ‪iOS‬‬
   ‫اﻟﺗﻲ ﺗﻣﺗﻠﻛﮭﺎ أو ﺗﺣت ﺳﯾطرﺗك‪ .‬ﻓﻲ ﺣﺎل ﻗﻣت ﺑﺗﻧزﯾل ﺑرﻧﺎﻣﺞ ‪ iOS‬ﻋﻠﻰ ﺟﮭﺎز اﻟﻛﻣﺑﯾوﺗر اﻟﺧﺎص ﺑك‪ ،‬ﯾﻣﻛﻧك ﻋﻣل ﻧﺳﺧﺔ واﺣدة ﻣن ﺗﺣدﯾﺛﺎت ﺑرﻧﺎﻣﺞ‬
         ‫‪Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 120 of 452‬‬



  ‫‪ iOS‬وﺗﺧزﯾﻧﮭﺎ ﻋﻠﻰ ﺟﮭﺎز اﻟﻛﻣﺑﯾوﺗر اﻟﺧﺎص ﺑك ﺑﺻﯾﻐﺔ ﻣﻘروءة آﻟًﯾﺎ ﻷﻏراض اﻟﻧﺳﺦ اﻻﺣﺗﯾﺎطﻲ ﻓﻘط‪ ،‬ﻋﻠﻲ أن ﺗﺣﺗوي اﻟﻧﺳﺧﺔ اﻟﻣﺧزﻧﺔ اﺣﺗﯾﺎطًﯾﺎ ﻋﻠﻰ‬
                                                  ‫ﻛل إﺧطﺎرات ﺣﻘوق اﻟطﺑﻊ واﻟﻧﺷر أو إﺧطﺎرات اﻟﻣﻠﻛﯾﺔ اﻷﺧرى اﻟﻣوﺟودة ﻓﻲ اﻟﻧﺳﺧﺔ اﻷﺻﻠﯾﺔ‪.‬‬

      ‫)ج( إﻟﻰ اﻟﺣد اﻟﻼزم ﻟﻘﯾﺎم ‪ Apple‬ﺑﺗﺛﺑت ﺗطﺑﯾﻘﺎت ﺗﺣﻣل ﻋﻼﻣﺔ ‪ Apple‬اﻟﺗﺟﺎرﯾﺔ ﻣﺳﺑًﻘﺎ ﻣن ‪ App Store‬ﻋﻠﻰ ﺟﮭﺎز ‪ iOS‬اﻟﺧﺎص ﺑك ﻓﻲ وﻗت‬
‫اﻟﺷراء )واﻟﺗﻲ ُﯾﺷﺎر إﻟﯾﮭﺎ ﺑﺎﺳم “اﻟﺗطﺑﯾﻘﺎت اﻟﻣﺛﺑﺗﺔ ﻣﺳﺑًﻘﺎ”(‪ ،‬ﯾﺗﻌﯾن ﻋﻠﯾك ﺗﺳﺟﯾل اﻟدﺧول إﻟﻰ ﺣﺳﺎب ‪ App Store‬اﻟﺧﺎص ﺑك ﻟﻛﻲ ﺗﺗﻣﻛن ﻣن اﺳﺗﺧداﻣﮭﺎ‬
     ‫ﻋﻠﻰ ﺟﮭﺎز ‪ .iOS‬ﻋﻧدﻣﺎ ﺗﻘرن ﺗطﺑﯾًﻘﺎ ﻣﺛﺑًﺗﺎ ﻣﺳﺑًﻘﺎ ﺑﺣﺳﺎب ‪ App Store‬اﻟﺧﺎص ﺑك‪ ،‬ﺳﺗﻘوم ﺗﻠﻘﺎﺋًﯾﺎ ﻓﻲ اﻟوﻗت ﻧﻔﺳﮫ ﺑﺈﻗران ﺟﻣﯾﻊ اﻟﺗطﺑﯾﻘﺎت اﻷﺧرى‬
  ‫اﻟﻣﺛﺑﺗﺔ ﻣﺳﺑًﻘﺎ ﻋﻠﻰ ﺟﮭﺎز ‪ .iOS‬ﯾﻌﻧﻲ اﺧﺗﯾﺎر إﻗران اﻟﺗطﺑﯾﻘﺎت اﻟﻣﺛﺑﺗﺔ ﻣﺳﺑًﻘﺎ ﺑﺣﺳﺎب ‪ App Store‬اﻟﺧﺎص ﺑك ﻣواﻓﻘﺗك ﻋﻠﻰ أﻧﮫ ﯾﺟوز ﻟﺷرﻛﺔ ‪Apple‬‬
‫ﻧﻘل ﻛل ﻣن ﻣﻌرف ‪ Apple ID‬اﻟذي ﯾﺳﺗﺧدﻣﮫ ﺣﺳﺎب ‪ App Store‬اﻟﺧﺎص ﺑك وﻣﻌرف اﻟﺟﮭﺎز اﻟﻔرﯾد اﻟذي ﯾﺟﻣﻌﮫ ﺟﮭﺎز ‪ iOS‬اﻟﺧﺎص ﺑك وﺟﻣﻌﮭﻣﺎ‬
   ‫وﺻﯾﺎﻧﺗﮭﺎ وﻣﻌﺎﻟﺟﺗﮭﻣﺎ واﺳﺗﺧداﻣﮭﻣﺎ ﻟﻐرض اﻟﺗﺣﻘق ﻣن أھﻠﯾﺔ طﻠﺑك وإﺗﺎﺣﺔ إﻣﻛﺎﻧﯾﺔ وﺻوﻟك إﻟﻰ اﻟﺗطﺑﯾﻘﺎت اﻟﻣﺛﺑﺗﺔ ﻣﺳﺑًﻘﺎ ﻣن ﺧﻼل ‪ .App Store‬إذا‬
                                           ‫ﻛﻧت ﻻ ﺗرﻏب ﻓﻲ اﺳﺗﺧدام ﺗطﺑﯾق ﻣﺛﺑت ﻣﺳﺑًﻘﺎ‪ ،‬ﻓﯾﻣﻛﻧك ﺣذﻓﮫ ﻣن ﺟﮭﺎز ‪ iOS‬اﻟﺧﺎص ﺑك ﻓﻲ أي وﻗت‪.‬‬

    ‫)د( ﻻ ﯾﺟوز ﻟك‪ ،‬وﺗواﻓق ﻋﻠﻰ ﻋدم اﻟﻘﯾﺎم‪ ،‬أو اﻟﺳﻣﺎح ﻟﻶﺧرﯾن‪ ،‬ﺑﻧﺳﺦ )ﺑﺎﺳﺗﺛﻧﺎء ﻣﺎ ھو ﻣﺳﻣوح ﺑﮫ ﺻراﺣﺔ ﻓﻲ ھذا “اﻟﺗرﺧﯾص”(‪ ،‬أو ﻓك اﻟﺑراﻣﺞ أو‬
   ‫إﺟراء اﻟﮭﻧدﺳﺔ اﻟﻌﻛﺳﯾﺔ‪ ،‬أو اﻟﺗﻔﻛﯾك‪ ،‬أو ﻣﺣﺎوﻟﺔ اﺳﺗﺧراج ﻣﺻدر اﻟﺗﻌﻠﯾﻣﺎت اﻟﺑرﻣﺟﯾﺔ‪ ،‬أو ﻓك اﻟﺗﺷﻔﯾر‪ ،‬أو اﻟﺗﻌدﯾل‪ ،‬أو إﻧﺷﺎء أﻋﻣﺎل ﻣﺷﺗﻘﺔ ﻣن ﺑرﻧﺎﻣﺞ‬
  ‫‪ iOS‬أو أي ﺧدﻣﺎت ﯾوﻓرھﺎ ﺑرﻧﺎﻣﺞ ‪ ،iOS‬أو أي ﺟزء ﻣﻧﮫ )ﺑﺎﺳﺗﺛﻧﺎء ﻣﺎ ﺗﺣظره اﻟﻘواﻧﯾن اﻟﺳﺎرﯾﺔ ﻣن اﻟﻘﯾود اﻟﻣذﻛورة وﻓﻘط ﺣﺗﻰ ذﻟك اﻟﺣد أو ﺑﺷروط‬
                                           ‫اﻟﺗرﺧﯾص اﻟﺗﻲ ﺗﺣﻛم اﺳﺗﺧدام اﻟﻣﻛوﻧﺎت ذات اﻟﻣﺻدر اﻟﻣﻔﺗوح واﻟﺗﻲ ﻗد ﺗﻛون ﻣرﻓﻘﺔ ﻣﻊ ﺑرﻧﺎﻣﺞ ‪.(iOS‬‬

 ‫)ھـ( ﯾﺟوز اﺳﺗﺧدام ﺑرﻧﺎﻣﺞ ‪ iOS‬ﻹﻋﺎدة إﻧﺗﺎج ﻣواد طﺎﻟﻣﺎ ﻛﺎن ھذا اﻻﺳﺗﺧدام ﻣﻘﺻوًرا ﻋﻠﻰ إﻋﺎدة إﻧﺗﺎج ﻣواد ﻻ ﺗﺧﺿﻊ ﻟﺣﻘوق اﻟطﺑﻊ واﻟﻧﺷر‪ ،‬أو ﻣواد‬
‫ﺻﺎ أو ﻣﺳﻣوًﺣﺎ ﻟك ﻗﺎﻧوًﻧﺎ ﺑﺈﻋﺎدة إﻧﺗﺎﺟﮭﺎ‪ .‬اﻟﻣﻠﻛﯾﺔ وﺣﻘوق اﻟﻣﻠﻛﯾﺔ اﻟﻔﻛرﯾﺔ ﻓﻲ وﻷي ﻣﺣﺗوى ﯾﺗم ﻋرﺿﮫ‬‫ﺗﻣﺗﻠك ﺣﻘوق طﺑﻌﮭﺎ وﻧﺷرھﺎ‪ ،‬أو ﻣواد ﯾﻛون ﻣرﺧ ً‬
       ‫أو ﺗﺧزﯾﻧﮫ أو اﻟوﺻول إﻟﯾﮫ ﻣن ﺧﻼل ﺟﮭﺎز ‪ iOS‬ﺗﻌود إﻟﻰ ﻣﺎﻟك اﻟﻣﺣﺗوى اﻟﻣﻌﻧﻲ‪ .‬ﻗد ﯾﻛون ھذا اﻟﻣﺣﺗوى ﻣﺣﻣﯾﺎ ً ﺑﺣﻘوق اﻟطﺑﻊ واﻟﻧﺷر أو ﻗواﻧﯾن‬
  ‫وﻣﻌﺎھدات أﺧرى ﺧﺎﺻﺔ ﺑﺎﻟﻣﻠﻛﯾﺔ اﻟﻔﻛرﯾﺔ‪ ،‬وﻗد ﯾﺧﺿﻊ ﻟﺷروط اﺳﺗﺧدام اﻟطرف اﻟﺛﺎﻟث اﻟذي ﻗدم ھذا اﻟﻣﺣﺗوى‪ .‬ﺑﺎﺳﺗﺛﻧﺎء ﻣﺎ ھو ﻣﻧﺻوص ﻋﻠﯾﮫ ﻓﻲ ھذه‬
                                 ‫اﻟوﺛﯾﻘﺔ‪ ،‬ﻓﺈن ھذا اﻟﺗرﺧﯾص ﻻ ﯾﻣﻧﺣك أي ﺣﻘوق ﻻﺳﺗﺧدام ھذا اﻟﻣﺣﺗوى وﻻ ﯾﺿﻣن اﺳﺗﻣرار ﺗوﻓر ھذا اﻟﻣﺣﺗوى ﻟك‪.‬‬

     ‫)و( وﻓًﻘﺎ ﻟﺷروط وأﺣﻛﺎم ھذا اﻟﺗرﺧﯾص‪ ،‬ﯾﻣﻛﻧك اﺳﺗﺧدام أﺣرف ‪ Animoji‬و ‪ Memoji‬اﻟﻣﺿﻣﻧﺔ ﻓﻲ أو اﻟﺗﻲ ﺗم إﻧﺷﺎؤھﺎ ﺑﺎﺳﺗﺧدام ﺑرﻧﺎﻣﺞ ‪iOS‬‬
 ‫)“أﺣرف اﻟﻧظﺎم”( )‪ (١‬أﺛﻧﺎء ﺗﺷﻐﯾل ﺑرﻧﺎﻣﺞ ‪ iOS‬و )‪ (٢‬ﻹﻧﺷﺎء اﻟﻣﺣﺗوى اﻷﺻﻠﻲ اﻟﺧﺎص ﺑك وﻣﺷﺎرﯾﻊ ﻻﺳﺗﺧداﻣك اﻟﺷﺧﺻﻲ ﻏﯾر اﻟﺗﺟﺎري‪ .‬ﻻ ﯾﺳﻣﺢ‬
    ‫ﻷي اﺳﺗﺧدام آﺧر ﻷﺣرف اﻟﻧظﺎم ﻣن ﺧﻼل ھذا اﻟﺗرﺧﯾص‪ ،‬ﺑﻣﺎ ﻓﻲ ذﻟك ﻋﻠﻰ ﺳﺑﯾل اﻟﻣﺛﺎل ﻻ اﻟﺣﺻر‪ ،‬اﺳﺗﺧدام أو إﻋﺎدة اﻧﺗﺎج أو ﻋرض أو أداء أو‬
                   ‫ﺗﺳﺟﯾل أو ﻧﺷر أو إﻋﺎدة ﺗوزﯾﻊ أي ﻣن “أﺣرف اﻟﻧظﺎم” ﻓﻲ ﺳﯾﺎق رﺑﺣﻲ أو ﻏﯾر ھﺎدف ﻟﻠرﺑﺢ أو ﺳﯾﺎق ﻣﺷﺎرﻛﺔ ﻋﺎﻣﺔ أو ﺗﺟﺎرﯾﺔ‪.‬‬

    ‫)ز( أﻧت ﺗواﻓق ﻋﻠﻰ اﺳﺗﺧدام ﺑراﻣﺞ وﺧدﻣﺎت ‪) iOS‬ﻛﻣﺎ ھو ﻣﻌرف ﺑﺎﻟﺑﻧد ‪ 5‬أدﻧﺎه( وذﻟك طﺑًﻘﺎ ﻟﻛﺎﻓﺔ اﻟﻘواﻧﯾن اﻟﺳﺎرﯾﺔ‪ ،‬ﺑﻣﺎ ﻓﻲ ذﻟك اﻟﻘواﻧﯾن اﻟﻣﺣﻠﯾﺔ‬
   ‫اﻟﻣﻌﻣول ﺑﮭﺎ ﻓﻲ اﻟﺑﻠد أو اﻟﻣﻧطﻘﺔ اﻟﺗﻲ ﺗﻘطن ﺑﮭﺎ أو ﺣﺗﻰ اﻟﺗﻲ ﻗﻣت ﺑﺗﻧزﯾل أو اﺳﺗﺧدام ﺑراﻣﺞ وﺧدﻣﺎت ‪ iOS‬ﻓﯾﮭﺎ‪ .‬ﻗد ﻻ ﺗﺗوﻓر ﻣﯾزات ﺑراﻣﺞ وﺧدﻣﺎت‬
  ‫‪ iOS‬ﺑﺟﻣﯾﻊ اﻟﻠﻐﺎت أو ﻓﻲ ﺟﻣﯾﻊ اﻟﻣﻧﺎطق؛ ﻓﻘد ﺗﺧﺗﻠف ﺑﻌض اﻟﻣﯾزات ﺑﺎﺧﺗﻼف اﻟﻣﻧطﻘﺔ وﻗد ﺗﻛون ﺑﻌﺿﮭﺎ ﻣﻘﯾدة أو ﻏﯾر ﻣﺗﺎﺣﺔ ﻣن ﻣوﻓر اﻟﺧدﻣﺔ ﻟدﯾك‪.‬‬
                                                     ‫ﯾﻠزم وﺟود اﺗﺻﺎل ‪ Wi-Fi‬أو اﺗﺻﺎل ﺑﯾﺎﻧﺎت ﺧﻠوي ﻟﺗﺷﻐﯾل ﺑﻌض ﻣﯾزات ﺑراﻣﺞ وﺧدﻣﺎت ‪.iOS‬‬

               ‫)ح( ﯾﺗطﻠب اﺳﺗﺧدام ‪ App Store‬ﻣﺟﻣوﻋﺔ ﻓرﯾدة ﻣؤﻟﻔﺔ ﻣن اﺳم اﻟﻣﺳﺗﺧدم وﻛﻠﻣﺔ اﻟﺳر‪ ،‬واﻟﺗﻲ ُﺗﻌرف ﺑﺎﺳم ‪ .Apple ID‬ﯾﻠزم أﯾ ً‬
‫ﺿﺎ ﺗوﻓر ‪Apple ID‬‬
                                                          ‫ﻟﺗﺗﻣﻛن ﻣن اﻟوﺻول إﻟﻰ ﺗﺣدﯾﺛﺎت اﻟﺗطﺑﯾﻘﺎت وﺑﻌض ﻣﯾزات ﺑراﻣﺞ وﺧدﻣﺎت ‪.iOS‬‬

 ‫)ط( أﻧت ﺗﻘر ﺑﺄن اﻟﻌدﯾد ﻣن اﻟﻣﯾزات‪ ،‬اﻟﺗطﺑﯾﻘﺎت اﻟﻣﺗﺿﻣﻧﺔ‪ ،‬واﻟﺧدﻣﺎت ﻟﺑرﻧﺎﻣﺞ ‪ iOS‬ﺗﻧﻘل اﻟﺑﯾﺎﻧﺎت وﯾﻣﻛن أن ﺗؤﺛر ﻋﻠﻰ ﺧطﺔ رﺳوم اﻟﺑﯾﺎﻧﺎت وأﻧك ﺗﻌد‬
     ‫ﻣﺳؤوﻻً ﻋن أي ﻣن ھذه اﻟرﺳوم‪ .‬ﯾﻣﻛﻧك أن ﺗﻌرض وﺗﺣدد أي ﻣن اﻟﺗطﺑﯾﻘﺎت اﻟﻣﺳﻣوح ﺑﺎﺳﺗﺧداﻣﮭﺎ ﻓﻲ ﺑﯾﺎﻧﺎت اﻟﺟوال‪ ،‬وﻗﯾﺎس ﺣﺟم اﻟﺑﯾﺎﻧﺎت اﻟﺗﻲ ﺗم‬
 ‫اﺳﺗﮭﻼﻛﮭﺎ ﻓﻲ إﻋدادات ﺑﯾﺎﻧﺎت اﻟﺟوال‪ .‬ﺑﺎﻹﺿﺎﻓﺔ إﻟﻰ ذﻟك ‪ ،‬ﺳﯾﻧﺗﻘل ﻣﺳﺎﻋد ‪ Wi-Fi‬ﺗﻠﻘﺎﺋًﯾﺎ إﻟﻰ اﻟﺟوال ﻋﻧدﻣﺎ ﯾﻛون اﺗﺻﺎل ‪ Wi-Fi‬ﺿﻌﯾًﻔﺎ‪ ،‬ﻣﻣﺎ ﻗد ﯾؤدي‬
 ‫إﻟﻰ زﯾﺎدة اﺳﺗﺧدام ﺑﯾﺎﻧﺎت اﻟﺟوال واﻟﺗﺄﺛﯾر ﻋﻠﻰ رﺳوم ﻓﻲ ﺧطﺔ اﻟﺑﯾﺎﻧﺎت‪ .‬ﯾﺗم ﺗﺷﻐﯾل ﻣﺳﺎﻋد ‪ Wi-Fi‬اﻓﺗراﺿًﯾﺎ ‪ ،‬وﻟﻛن ﯾﻣﻛن ﺗﻌطﯾﻠﮫ ﺿﻣن “اﻹﻋدادات”‪.‬‬
                                                                ‫ﻟﻣزﯾد ﻣن اﻟﻣﻌﻠوﻣﺎت‪ ،‬ﯾرﺟﻰ اﻟرﺟوع إﻟﻰ دﻟﯾل اﻟﻣﺳﺗﺧدم ﻟﺟﮭﺎز ‪ iOS‬اﻟﺧﺎص ﺑك‪.‬‬

         ‫)ي( إذا اﺧﺗرت اﻟﺳﻣﺎح ﺑﺗﺣدﯾﺛﺎت اﻟﺗطﺑﯾﻘﺎت اﻟﺗﻠﻘﺎﺋﯾﺔ‪ ،‬ﻓﺈن ﺟﮭﺎز ‪ iOS‬اﻟﺧﺎص ﺑك ﺳﯾﺗﺣﻘق دورًﯾﺎ ﻣﻊ ‪ Apple‬ﻟﻣﻌرﻓﺔ اﻟﺗﺣدﯾﺛﺎت اﻟﺗﻲ ﺗطرأ ﻋﻠﻰ‬
  ‫اﻟﺗطﺑﯾﻘﺎت اﻟﻣﺛﺑﺗﺔ ﻋﻠﻰ ﺟﮭﺎزك‪ ،‬وﻓﻲ ﺣﺎﻟﺔ اﻟﻌﺛور ﻋﻠﻰ ﺗﺣدﯾث ﺳﯾﺗم ﺗﻧزﯾﻠﮫ وﺗﺛﺑﯾﺗﮫ ﻋﻠﻰ ﺟﮭﺎزك ﺗﻠﻘﺎﺋًﯾﺎ‪ .‬ﯾﻣﻛﻧك إﯾﻘﺎف ﺗﺷﻐﯾل ﺗﺣدﯾﺛﺎت اﻟﺗطﺑﯾﻘﺎت اﻟﺗﻠﻘﺎﺋﯾﺔ‬
‫ﻧﮭﺎﺋًﯾﺎ ﻓﻲ أي وﻗت ﻋن طرﯾق اﻻﻧﺗﻘﺎل إﻟﻰ “اﻹﻋدادات” واﻟﻧﻘر ﻓوق ‪ iTunes & App Store‬وإﯾﻘﺎف ﺗﺷﻐﯾل “اﻟﺗﺣدﯾﺛﺎت” ﺿﻣن “اﻟﺗﻧزﯾﻼت اﻟﺗﻠﻘﺎﺋﯾﺔ”‪.‬‬

    ‫)ك( ﻗد ﯾؤدي اﺳﺗﺧدام ﺟﮭﺎز ‪ iOS‬اﻟﺧﺎص ﺑك ﻓﻲ ﺑﻌض اﻟظروف إﻟﻰ ﺗﺷﺗﯾﺗك وﻗد ﯾؤدي إﻟﻰ ﺣدوث ﻣوﻗف ﺧطﯾر )ﻋﻠﻰ ﺳﺑﯾل اﻟﻣﺛﺎل‪ ،‬ﺗﺟﻧب ﻛﺗﺎﺑﺔ‬
‫اﻟرﺳﺎﺋل اﻟﻧﺻﯾﺔ أﺛﻧﺎء ﻗﯾﺎدة اﻟﺳﯾﺎرة وﺗﺟﻧب اﺳﺗﺧدام ﺳﻣﺎﻋﺎت اﻷذن أﺛﻧﺎء رﻛوب اﻟدراﺟﺔ(‪ .‬وﺑﺎﺳﺗﺧداﻣك ‪ ،iOS‬أﻧت ﺗواﻓق ﻋﻠﻰ أﻧك ﻣﺳؤول ﻋن اﺣﺗرام‬
    ‫اﻟﻘواﻋد اﻟﺗﻲ ﺗﺣظر أو ﺗﻘﯾد اﺳﺗﺧدام اﻟﮭواﺗف اﻟﻣﺣﻣوﻟﺔ أو ﺳﻣﺎﻋﺎت اﻟرأس )ﻋﻠﻰ ﺳﺑﯾل اﻟﻣﺛﺎل‪ ،‬ﻣطﻠب اﺳﺗﺧدام ﺧﯾﺎرات اﻷﺟﮭزة ﺣرة اﻟﯾدﯾن ﻹﺟراء‬
                                                                                                              ‫اﻟﻣﻛﺎﻟﻣﺎت أﺛﻧﺎء اﻟﻘﯾﺎدة(‪.‬‬

      ‫‪ .3‬اﻟﻧﻘل ﻻ ﯾﺟوز ﺗﺄﺟﯾر ﺑرﻧﺎﻣﺞ ‪ iOS‬أو إﯾﺟﺎره أو إﻗراﺿﮫ أو ﺑﯾﻌﮫ أو إﻋﺎدة ﺗوزﯾﻌﮫ أو ﺗرﺧﯾﺻﮫ ﻟﻠﻐﯾر‪ .‬وﻟﻛن ﯾﺟوز ﻟك ﻋﻣل ﺗﺣوﯾل ﻣرة واﺣدة‬
‫وﺑﺷﻛل داﺋم ﻟﻛل ﺣﻘوق اﻟﺗرﺧﯾص اﻟﺧﺎﺻﺔ ﺑك ﻓﻲ ﺑرﻧﺎﻣﺞ ‪ iOS‬إﻟﻰ طرف آﺧر ﻓﯾﻣﺎ ﯾﺗﻌﻠق ﺑﺗﺣوﯾل ﻣﻠﻛﯾﺔ ﺟﮭﺎز ‪ iOS‬اﻟﺧﺎص ﺑك‪ ،‬وذﻟك ﺑﺷرط أن‪) :‬أ(‬
 ‫ﯾﺷﺗﻣل اﻟﺗﺣوﯾل ﻋﻠﻰ ﺟﮭﺎز ‪ iOS‬اﻟﺧﺎص ﺑك وﻛل ﺑراﻣﺞ ‪ ،iOS‬ﺑﻣﺎ ﻓﻲ ذﻟك ﻛل ﻣﻛوﻧﺎﺗﮫ وھذا اﻟﺗرﺧﯾص‪) ،‬ب( أﻻ ﺗﺣﺗﻔظ ﺑﺄي ﻧﺳﺦ ﻣن ﺑرﻧﺎﻣﺞ ‪،iOS‬‬
‫ﻛﺎﻣﻠﺔ أو ﺟزﺋﯾﺔ‪ ،‬ﺑﻣﺎ ﻓﻲ ذﻟك اﻟﻧﺳﺦ اﻟﻣﺧزﻧﺔ ﻋﻠﻰ أي ﺟﮭﺎز ﻛﻣﺑﯾوﺗر أو وﺳﯾﻠﺔ ﺗﺧزﯾن أﺧرى‪) ،‬ج( ﯾﻘوم اﻟطرف اﻟذي ﯾﺣﺻل ﻋﻠﻰ ﺑرﻧﺎﻣﺞ ‪ iOS‬ﺑﻘراءة‬
                                                                                        ‫أﺣﻛﺎم وﺷروط ھذا اﻟﺗرﺧﯾص وﯾواﻓق ﻋﻠﻰ ﻗﺑوﻟﮭﺎ‪.‬‬

 ‫‪ .4‬اﻟﻣواﻓﻘﺔ ﻋﻠﻰ اﺳﺗﺧدم اﻟﺑﯾﺎﻧﺎت‪ .‬ﻋﻧدﻣﺎ ﺗﺳﺗﺧدم ﺟﮭﺎزك‪ ،‬ﯾﺗم إرﺳﺎل رﻗم ھﺎﺗﻔك وﻣﻌّرﻓﺎت ﻓرﯾدة ﻣﻌﯾﻧﺔ ﻟﺟﮭﺎز ‪ iOS‬اﻟﺧﺎص ﺑك إﻟﻰ ‪ Apple‬ﻟﻠﺳﻣﺎح‬
         ‫‪Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 121 of 452‬‬



  ‫ﻟﻶﺧرﯾن ﺑﺎﻟوﺻول إﻟﯾك ﻣن ﺧﻼل رﻗم ھﺎﺗف ﻋﻧد اﺳﺗﺧدام ﻣﯾزات اﻻﺗﺻﺎل اﻟﻣﺗﻧوﻋﺔ ﻓﻲ ‪ ،iOS‬ﻣﺛل ‪ iMessage‬و‪ .FaceTime‬ﻋﻧدﻣﺎ ﺗﺳﺗﺧدم‬
    ‫‪ ،iMessage‬ﻗد ﺗﺣﺗﻔظ ‪ Apple‬ﺑرﺳﺎﺋﻠك ﺑﺻﯾﻐﺔ ﻣﺷﻔرة ﻟﻣدة ﻣﺣدودة ﻟﺿﻣﺎن ﺗﺳﻠﯾﻣﮭﺎ‪ .‬ﯾﻣﻛﻧك إﯾﻘﺎف ‪ FaceTime‬أو ‪ iMessage‬ﻋن طرﯾق‬
    ‫اﻻﻧﺗﻘﺎل إﻟﻰ إﻋدادات ‪ FaceTime‬أو اﻟرﺳﺎﺋل ﻋﻠﻰ ﺟﮭﺎز ‪ iOS‬اﻟﺧﺎص ﺑك‪ .‬ﻗد ﺗﺗطﻠب ﻣﯾزات ﻣﻌﯾﻧﺔ – ﻣﺛل اﻟﺗﺣﻠﯾﻼت‪ ،‬وﺧدﻣﺎت اﻟﻣوﻗﻊ‪ ،‬و‪،Siri‬‬
 ‫واﻹﻣﻼء ‪ -‬ﻣﻌﻠوﻣﺎت ﻣن ﺟﮭﺎز ‪ iOS‬اﻟﺧﺎص ﺑك ﻟﺗوﻓﯾر اﻟﺧدﻣﺎت اﻟﺧﺎﺻﺔ ﺑﮭﺎ‪ .‬ﻋﻧدﻣﺎ ﺗﻘوم ﺑﺗﺷﻐﯾل أو اﺳﺗﺧدام ﺗﻠك اﻟﻣﯾزات‪ ،‬ﺳﯾﺗم ﺗوﻓﯾر ﺗﻔﺎﺻﯾل ﺑﺷﺄن‬
             ‫ﻧوﻋﯾﺔ اﻟﻣﻌﻠوﻣﺎت اﻟﺗﻲ ﯾﺗم إرﺳﺎﻟﮭﺎ إﻟﻰ ‪ Apple‬وﻛﯾﻔﯾﺔ اﺳﺗﺧدام ھذه اﻟﻣﻌﻠوﻣﺎت‪ .‬ﯾﻣﻛﻧك ﻣﻌرﻓﺔ اﻟﻣزﯾد ﻋن طرﯾق زﯾﺎرة اﻟﻣوﻗﻊ ‪https://‬‬
   ‫‪ .www.apple.com/privacy‬وﺳﯾﺗم اﻟﺗﻌﺎﻣل ﻣﻊ ﻣﻌﻠوﻣﺎﺗك ﻓﻲ ﺟﻣﯾﻊ اﻷوﻗﺎت وﻓًﻘﺎ ﻟﺳﯾﺎﺳﺔ اﻟﺧﺻوﺻﯾﺔ اﻟﻣﺗﺑﻌﺔ ‪ ،Apple‬واﻟﺗﻲ ﯾﻣﻛﻧك ﻋرﺿﮭﺎ‬
                                                                            ‫ﻋﻠﻰ اﻟﻣوﻗﻊ‪./https://www.apple.com/legal/privacy :‬‬

                                                                                                   ‫‪ .5‬اﻟﺧدﻣﺎت وﻣواد اﻷطراف اﻷﺧرى‪.‬‬
     ‫)أ( ﻗد ﯾﺳﻣﺢ ﺑرﻧﺎﻣﺞ ‪ iOS‬ﺑﺎﻟوﺻول إﻟﻰ ‪ iTunes Store‬و‪ App Store‬و‪ Apple Books‬و‪ Game Center‬و‪ iCloud‬و‪ Maps‬ﻣن‬
       ‫‪ Apple‬وﻏﯾرھﺎ ﻣن اﻟﺧدﻣﺎت وﻣواﻗﻊ اﻹﻧﺗرﻧت ﻣن ‪ Apple‬أو ﺟﮭﺎت أﺧرى )واﻟﺗﻲ ُﯾﺷﺎر إﻟﯾﮭﺎ ﻣﺟﺗﻣﻌﺔ أو ﻣﻧﻔردة ﺑﺎﺳم “اﻟﺧدﻣﺎت”(‪ .‬ﻣﺛل ھذه‬
 ‫اﻟﺧدﻣﺎت ﻗد ﻻ ﺗﻛون ﻣﺗﺎﺣﺔ ﺑﻛﺎﻓﺔ اﻟﻠﻐﺎت أو ﻓﻲ ﻛﺎﻓﺔ اﻟدول‪ .‬ﻗد ﯾﺗطﻠب اﺳﺗﺧدام ھذه “اﻟﺧدﻣﺎت” ﺗواﺟد اﺗﺻﺎل ﺑﺎﻹﻧﺗرﻧت‪ ،‬وﻗد ﯾﺗطﻠب اﺳﺗﺧدام “ﺧدﻣﺎت”‬
  ‫ﻣﻌﯾﻧﺔ ﻣﻌّرﻓﺎ ً ﻣن آﺑل وﻗد ﯾﺗطﻠب ﻗﺑول اﻟﻣزﯾد ﻣن اﻟﺷروط ﻛﻣﺎ ﻗد ﯾﺧﺿﻊ ﻟرﺳوم إﺿﺎﻓﯾﺔ‪ .‬ﺑﺎﺳﺗﺧدام ھذا اﻟﺑرﻧﺎﻣﺞ ﻣﻊ ‪ Apple ID‬أو ﺧدﻣﺔ أﺧرى ﻣن‬
     ‫‪ ،Apple‬أﻧت ﺗواﻓق ﻋﻠﻰ ﺷروط اﻟﺧدﻣﺔ اﻟﺳﺎرﯾﺔ ﻟﺗﻠك اﻟﺧدﻣﺔ ﻣﺛل أﺣدث أﺣﻛﺎم وﺷروط ﺧدﻣﺎت ‪ Apple‬اﻹﻋﻼﻣﯾﺔ ﻓﻲ اﻟﺑﻠد اﻟذي ﺗﺻل إﻟﻰ ھذه‬
         ‫اﻟﺧدﻣﺎت ﻣﻧﮫ واﻟﺗﻲ ﯾﻣﻛﻧك اﻟوﺻول إﻟﯾﮭﺎ وﻣراﺟﻌﺗﮭﺎ ﻋﻠﻰ اﻟﻣوﻗﻊ ‪/https://www.apple.com/legal/internet-services/itunes‬‬

  ‫)ب( إذا اﺷﺗرﻛت ﻓﻲ ‪ ،iCloud‬ﯾﻣﻛن اﻟوﺻول ﻟﺑﻌض ﻣﯾزات ‪ iCloud‬ﻣﺛل “ﺻور ‪ ”iCloud‬و”ﺗدﻓق اﻟﺻور اﻟﺧﺎص ﺑﻲ” و”اﻷﻟﺑوﻣﺎت اﻟﻣﺷﺗرﻛﺔ”‬
‫و”اﻟﻧﺳﺦ اﻻﺣﺗﯾﺎطﻲ” و”اﻟﻌﺛور ﻋﻠﻰ اﻟـ ‪ ”iPhone‬ﻣﺑﺎﺷرة ﻣن ﺑرﻧﺎﻣﺞ ‪ .iOS‬ﺗﻘّر وﺗواﻓق ﻋﻠﻰ أن اﺳﺗﻌﻣﺎﻟك ﻟـ ‪ iCloud‬وھذه اﻟﻣﯾّزات ﯾﺧﺿﻊ ﻷﺣدث‬
‫ﺷروط وﺑﻧود ﺧدﻣﺔ ‪ ،iCloud‬وﯾﻣﻛﻧك اﻟوﺻول إﻟﯾﮭﺎ واﻻطﻼع ﻋﻠﯾﮭﺎ ﻓﻲ‪./https://www.apple.com/legal/internet-services/icloud :‬‬

‫)ج( ﻣﺣﺗوى ﺗطﺑﯾق ‪ .News‬ﯾﻘﺗﺻر اﺳﺗﺧداﻣك ﻟﻠﻣﺣﺗوى اﻟذي ﯾﺗم اﻟوﺻول إﻟﯾﮫ ﻣن ﺧﻼل ﺗطﺑﯾق ‪ News‬ﻋﻠﻰ اﻻﺳﺗﺧدام اﻟﺷﺧﺻﻲ ﻏﯾر اﻟﺗﺟﺎري‪ ،‬وﻻ‬
‫ﯾﻧﻘل أي ﺣﺻص ﻣﻠﻛﯾﺔ ﻟك ﻓﻲ اﻟﻣﺣﺗوى‪ ،‬وﯾﺳﺗﺑﻌد ﻋﻠﻰ وﺟﮫ اﻟﺧﺻوص وﻟﯾس اﻟﺣﺻر أي ﺣﻘوق اﺳﺗﺧدام ﺗﺟﺎري أو ﺗروﯾﺟﻲ ﻓﻲ ھذا اﻟﻣﺣﺗوى‪ .‬إﺿﺎﻓًﺔ‬
                    ‫إﻟﻰ ذﻟك‪ ،‬ﻻ ﯾﺟوز ﻟك إﻋﺎدة ﻧﺷر‪ ،‬إﻋﺎدة إرﺳﺎل‪ ،‬وإﻋﺎدة ﻧﺳﺦ أي ﺻور ﯾﺗم اﻟوﺻول إﻟﯾﮭﺎ ﻣن ﺧﻼل ‪ News‬ﻛﻣﻠف ﻣﺳﺗﻘل ﺑذاﺗﮫ‪.‬‬

  ‫)د( اﻟﺧراﺋط‪ .‬ﻗد ﺗﺧﺗﻠف ﺧدﻣﺔ اﻟﺧراﺋط وﻣﯾزات ﺑرﻧﺎﻣﺞ ‪) iOS‬اﻟﻣﺷﺎر إﻟﯾﮭﺎ ﺑﺎﺳم “اﻟﺧراﺋط”(‪ ،‬ﺑﻣﺎ ﻓﻲ ذﻟك ﺗﻐطﯾﺔ ﺑﯾﺎﻧﺎت اﻟﺧراﺋط‪ ،‬ﺑﺎﺧﺗﻼف اﻟﻣﻧطﻘﺔ‪.‬‬
 ‫ﻋﻧد اﺳﺗﺧداﻣك أي ﻣﯾزات ﺗﻌﺗﻣد ﻋﻠﻰ اﻟﻣوﻗﻊ ﺿﻣن ‪ ،Maps‬ﻣﺛل اﻟﺗﻧﻘل ﺑﻛل دور ﻋﻠﻰ ﺣدة‪ ،‬واﻟﺣرﻛﺔ واﻟﺑﺣث اﻟﻣﺣﻠﻲ‪ ،‬ﻗد ﯾﺗم إرﺳﺎل ﻣﻌﻠوﻣﺎت ﻣﺧﺗﻠﻔﺔ‬
   ‫ﻋن اﻻﺳﺗﺧدام وﻣﺗﻌﻠﻘﺔ ﺑﺎﻟﻣوﻗﻊ إﻟﻰ ‪ ،Apple‬ﺑﻣﺎ ﻓﻲ ذﻟك اﻟﻣوﻗﻊ اﻟﺟﻐراﻓﻲ اﻟﺣﻘﯾﻘﻲ ﻟﺟﮭﺎز ‪ iOS‬اﻟﺧﺎص ﺑك‪ ،‬ﻣن أﺟل ﻣﻌﺎﻟﺟﺔ طﻠﺑك واﻟﻣﺳﺎﻋدة ﻋﻠﻰ‬
    ‫ﺗﺣﺳﯾن اﻟﺧراﺋط‪ .‬وﯾﺗم ﺟﻣﻊ ﻣﺛل ﺑﯾﺎﻧﺎت اﻻﺳﺗﺧدام واﻟﻣوﻗﻊ ھذه ﻣن ﻗﺑل ‪ Apple‬ﻓﻲ ﺷﻛل ﻻ ﯾﻌّرف ﻋﻧك ﺷﺧﺻﯾﺎ ً‪ .‬وﺑﺎﺳﺗﺧدام ‪ ،Maps‬ﻓﺈﻧك ﺗواﻓق‬
  ‫وﺗﻘﺑل أن ﺗﻘوم ‪ Apple‬واﻟﺷرﻛﺎت اﻟﺗﺎﺑﻌﺔ ﻟﮭﺎ ووﻛﻼﺋﮭﺎ ﺑﻧﻘل ھذه اﻟﻣﻌﻠوﻣﺎت وﺗﺟﻣﯾﻌﮭﺎ وﺻﯾﺎﻧﺗﮭﺎ وﻣﻌﺎﻟﺟﺗﮭﺎ واﺳﺗﺧداﻣﮭﺎ‪ ،‬ﻟﺗوﻓﯾر وﺗﺣﺳﯾن ﻣﯾزات‬
‫ﺿﺎ ﺑﺗوﻓﯾر ھذه اﻟﻣﻌﻠوﻣﺎت – إﻣﺎ ﺑﺷﻛل ﻣﺟﻣﻊ أو ﻋﻠﻰ ﻧﺣو ﻻ ﯾدل ﻋﻠﻰ‬  ‫وﺧدﻣﺔ ‪ ،Maps‬وﻏﯾر ذﻟك ﻣن ﻣﻧﺗﺟﺎت وﺧدﻣﺎت ‪ .Apple‬ﻗد ﺗﻘوم ‪ Apple‬أﯾ ً‬
   ‫اﻟﮭوﯾﺔ اﻟﺷﺧﺻﯾﺔ – ﻟﺷرﻛﺎﺋﮭﺎ واﻟﺟﮭﺎت اﻟﻣﻣﻧوح ﻟﮭﺎ ﺗرﺧﯾص ﻣن اﻟﺷرﻛﺔ‪ ،‬ﻟﻠﻣﺳﺎﻋدة ﻓﻲ ﺗﺣﺳﯾن ﻣﻧﺗﺟﺎﺗﮭم وﺧدﻣﺎﺗﮭم اﻟﻣرﺗﺑطﺔ ﺑﺎﻟﺧراﺋط واﻟﻣﺳﺗﻧدة إﻟﻰ‬
 ‫اﻟﻣوﻗﻊ‪ .‬ﯾﻣﻛﻧك إﯾﻘﺎف ﺗﺷﻐﯾل وظﯾﻔﺔ ‪ Maps‬اﻟﺗﻲ ﺗﻌﺗﻣد ﻋﻠﻰ اﻟﻣوﻗﻊ ﻋن طرﯾق اﻻﻧﺗﻘﺎل إﻟﻰ إﻋداد ﺧدﻣﺎت اﻟﻣوﻗﻊ ﻋﻠﻰ ﺟﮭﺎز ‪ iOS‬اﻟﺧﺎص ﺑك وإﯾﻘﺎف‬
   ‫إﻋداد اﻟﻣوﻗﻊ اﻟﻔردي ﻟـ ‪ .Maps‬ﻟﻛن ﺑﻌض ﻣﯾزات ‪ Maps‬ﻟن ﺗﻛون ﻣﺗﺎﺣﺔ ﻓﻲ ﺣﺎل ﻗﻣت ﺑﺗﻌطﯾل إﻋداد ﺧدﻣﺎت ‪ ،Maps‬ﻣﺛل اﻟﺗﻧﻘل ﺑﻛل دور ﻋﻠﻰ‬
                                                                                                                                 ‫ﺣدة‪.‬‬

      ‫)ھـ( أﻧت ﺗدرك أﻧﮫ ﻣن ﺧﻼل اﺳﺗﺧدام أي ﻣن “اﻟﺧدﻣﺎت”‪ ،‬ﻓﻘد ﺗﻘﺎﺑل ﻣﺣﺗوﯾﺎت ﯾﻣﻛن اﻋﺗﺑﺎرھﺎ ﻏﯾر ﻣﻘﺑوﻟﺔ‪ ،‬أو ﺑذﯾﺋﺔ‪ ،‬أو ﺗﺛﯾر اﻻﻋﺗراﺿﺎت‪ ،‬وھذه‬
  ‫اﻟﻣﺣﺗوﯾﺎت ﯾﻣﻛن أو ﻻ ﯾﻣﻛن ﺗﻌرﯾﻔﮭﺎ ﻋﻠﻰ أﻧﮭﺎ ﺗﺣﺗوي ﻋﻠﻰ ﻟﻐﺔ ﺻرﯾﺣﺔ‪ ،‬وأن ﻧﺗﺎﺋﺞ أي ﻋﻣﻠﯾﺔ ﺑﺣث أو إدﺧﺎل أي ﻋﻧوان ‪ URL‬ﻣﺣدد ﯾﻣﻛن أن ﯾؤدي‬
 ‫إﻟﻰ اﻟﺣﺻول ﻋﻠﻰ رواﺑط أو ﻣراﺟﻊ ﺗﺷﯾر إﻟﻰ اﻟﻣواد اﻟﺗﻲ ﺗﺛﯾر اﻻﻋﺗراﺿﺎت ﺑﺷﻛل ﺗﻠﻘﺎﺋﻲ وﻏﯾر ﻣﺗﻌﻣد‪ .‬وﻣﻊ ذﻟك‪ ،‬أﻧت ﺗواﻓق ﻋﻠﻰ اﺳﺗﺧدام “اﻟﺧدﻣﺎت”‬
    ‫وﺗﺗﺣﻣل ﻛﺎﻣل اﻟﻣﺧﺎطرة وﻻ ﺗﺗﺣﻣل ﺷرﻛﺔ ‪ Apple‬أو اﻟﺷرﻛﺎت اﻟﺗﺎﺑﻌﺔ ﻟﮭﺎ أو وﻛﻼؤھﺎ أو ﻣﺳؤوﻟوھﺎ أو ﻣرﺧﺻوھﺎ أي ﻣﺳؤوﻟﯾﺔ ﻧﺣوك ﺑﺧﺻوص‬
                                                                  ‫اﻟﻣﺣﺗوﯾﺎت اﻟﺗﻲ ﯾﻣﻛن أن ﯾﺗﺿﺢ أﻧﮭﺎ ﻏﯾر ﻻﺋﻘﺔ أو ﺑذﯾﺋﺔ أو ﺗﺛﯾر اﻻﻋﺗراﺿﺎت‪.‬‬

        ‫)و( ﺑﻌض اﻟﺧدﻣﺎت ﯾﻣﻛن أن ﺗﻌرض أو ﺗﺣﺗوي أو ﺗﻘوم ﺑﺈﺗﺎﺣﺔ ﻣﺣﺗوﯾﺎت أو ﺑﯾﺎﻧﺎت أو ﻣﻌﻠوﻣﺎت أو ﺗطﺑﯾﻘﺎت أو ﻣواد ﻣن أطراف أﺧري )“ﻣواد‬
    ‫اﻷطراف اﻷﺧرى “( أو ﺗﻘوم ﺑﺗوﻓﯾر رواﺑط ﻟﻣواﻗﻊ أطراف أﺧري ﻋﻠﻰ اﻹﻧﺗرﻧت‪ .‬ﻣن ﺧﻼل اﺳﺗﺧدام “اﻟﺧدﻣﺎت”‪ ،‬أﻧت ﺗﻘر وﺗواﻓق أﻻ ﺗﻛون ﺷرﻛﺔ‬
     ‫‪ Apple‬ﻣﺳؤوﻟﺔ ﻋن ﻓﺣص أو ﺗﻘﯾﯾم ﻣﺣﺗوى ﻣواد أو ﻣواﻗﻊ اﻹﻧﺗرﻧت اﻟﺧﺎﺻﺔ ﺑﮭذه اﻷطراف اﻷﺧرى أو دﻗﺗﮭﺎ أو اﻛﺗﻣﺎﻟﮭﺎ أو ﻣﻼءﻣﺗﮭﺎ اﻟزﻣﻧﯾﺔ أو‬
‫ﺻﺣﺗﮭﺎ أو ﺗواﻓﻘﮭﺎ ﻣﻊ ﺣﻘوق اﻟطﺑﻊ واﻟﻧﺷر أو ﻗﺎﻧوﻧﯾﺗﮭﺎ أو ﻟﯾﺎﻗﺗﮭﺎ أو ﺟودﺗﮭﺎ‪ ،‬أو أي وﺟﮫ آﺧر ﻣن أوﺟﮫ ھذه اﻟﻣواد أو اﻟﻣواﻗﻊ‪ .‬ﻻ ﺗﺿﻣن ﺷرﻛﺔ ‪Apple‬‬
‫أو ﻣﺳؤوﻟﯾﮭﺎ أو اﻟﺷرﻛﺎت اﻟﺗﺎﺑﻌﺔ ﻟﮭﺎ أو ﺗﺻدق وﻻ ﺗﻔﺗرض وﻟن ﺗﻛون ﻣﺳؤوﻟﺔ أو ﻣﻠﺗزﻣﺔ ﻧﺣوك أو ﻧﺣو أي ﺷﺧص آﺧر ﻓﯾﻣﺎ ﯾﺗﻌﻠق “ﺑﺧدﻣﺎت” اﻷطراف‬
   ‫اﻷﺧرى‪ ،‬أو ﻣواد “اﻷطراف اﻷﺧرى” أو ﻣواﻗﻊ اﻹﻧﺗرﻧت اﻟﺧﺎﺻﺔ ﺑﮭﺎ‪ ،‬أو ﻋن أي ﻣواد أو ﻣﻧﺗﺟﺎت أو ﺧدﻣﺎت أﺧرى ﻣن أطراف أﺧري‪ .‬ﯾﺗم ﺗوﻓﯾر‬
                                             ‫“ﻣواد اﻷطراف اﻷﺧرى”‪ ،‬واﻟرواﺑط ﻟﻣواﻗﻊ اﻟوﯾب اﻷﺧرى ﺑﺷﻛل ﻓردي ﻛوﺳﯾﻠﺔ ﻋﻠﻰ ﺳﺑﯾل اﻟﻣﻼﺋﻣﺔ ﻟك‪.‬‬

‫)ز( ﻻ ‪ Apple‬وﻻ أي ﻣن ﻣﻘدﻣﻲ ﻣﺣﺗواھﺎ ﯾﺿﻣن ﺗواﻓر أو دﻗﺔ أو اﻛﺗﻣﺎل أو ﻣوﺛوﻗﯾﺔ أو ﺣﺳن ﺗوﻗﯾت اﻟﻣﻌﻠوﻣﺎت ﻋن اﻟﻣﺧزون أو ﺑﯾﺎﻧﺎت اﻟﻣوﻗﻊ أو أي‬
        ‫ﺑﯾﺎﻧﺎت أﺧرى ﯾﺗم ﻋرﺿﮭﺎ ﻣن ﻗﺑل أي ﺧدﻣﺎت‪ .‬اﻟﻣﻌﻠوﻣﺎت اﻟﻣﺎﻟﯾﺔ اﻟﺗﻲ ﺗﻌرﺿﮭﺎ أي “ﺧدﻣﺎت” ﺗﻛون ﻷﻏراض اﻟﻣﻌﻠوﻣﺎت اﻟﻌﺎﻣﺔ ﻓﻘط‪ ،‬وﻻ ﯾﺟب‬
‫اﻻﻋﺗﻣﺎد ﻋﻠﻰ ﺗﻠك اﻟﻣﻌﻠوﻣﺎت ﻛﻧﺻﯾﺣﺔ اﺳﺗﺛﻣﺎرﯾﺔ‪ .‬ﻓﻘﺑل إﺟراء أي ﻣﻌﺎﻣﻼت ﻋﻠﻰ اﻷوراق اﻟﻣﺎﻟﯾﺔ ﺑﻧﺎًء ﻋﻠﻰ اﻟﻣﻌﻠوﻣﺎت اﻟﺗﻲ ﯾﺗم اﻟﺣﺻول ﻋﻠﯾﮭﺎ ﻣن ﺧﻼل‬
     ‫“اﻟﺧدﻣﺎت”‪ ،‬ﯾﺟب أن ﺗﺳﺗﺷﯾر أﺣد اﻟﺧﺑراء ﻓﻲ اﻟﻣﺟﺎل اﻟﻣﺎﻟﻲ واﻟﺳﻧدات واﻷوراق اﻟﻣﺎﻟﯾﺔ واﻟﻣؤھﻠﯾن ﻗﺎﻧوﻧﺎ ﻟﺗﻘدﯾم ﻣﺷورة ﻓﯾﻣﺎ ﯾﺗﻌﻠق ﺑﻣﺟﺎل اﻷوراق‬
   ‫اﻟﻣﺎﻟﯾﺔ ﻓﻲ ﺑﻠدك أو ﻣﻧطﻘﺗك‪ .‬ﯾﺗم ﺗوﻓﯾر ﻣﻌﻠوﻣﺎت اﻟﻣواﻗﻊ ﻣن ﻗﺑل أي “ﺧدﻣﺎت”‪ ،‬ﺑﻣﺎ ﻓﯾﮫ ﺧدﻣﺔ ‪ ،Apple Maps‬ﻷﻏراض اﻟﺗﻧﻘل اﻷﺳﺎﺳﯾﺔ واﻟﺗﺧطﯾط‬
       ‫ﻓﻘط‪ ،‬وﻻ ﯾﻘﺻد اﻻﻋﺗﻣﺎد ﻋﻠﯾﮭﺎ ﻓﻲ اﻟﻣواﻗف اﻟﺗﻲ ﺗﺣﺗﺎج إﻟﻰ ﻣﻌﻠوﻣﺎت دﻗﯾﻘﺔ ﺣول اﻟﻣواﻗﻊ أو ﻓﻲ اﻟﺣﺎﻻت اﻟﺗﻲ ﯾﻣﻛن أن ﺗؤدي ﻓﯾﮭﺎ ﺑﯾﺎﻧﺎت اﻟﻣواﻗﻊ‬
    ‫اﻟﺧﺎطﺋﺔ أو ﻏﯾر اﻟدﻗﯾﻘﺔ أو اﻟﻣؤﺧرة أو ﻏﯾر اﻟﻛﺎﻣﻠﺔ إﻟﻰ اﻟوﻓﺎة‪ ،‬أو اﻹﺻﺎﺑﺔ اﻟﺷﺧﺻﯾﺔ‪ ،‬أو ﺗﻌرض اﻟﻣﻣﺗﻠﻛﺎت أو اﻟﺑﯾﺋﺔ ﻟﻸﺿرار‪ .‬أﻧت ﺗواﻓق ﻋﻠﻰ أن‪،‬‬
 ‫اﻟﻧﺗﺎﺋﺞ اﻟﺗﻲ ﺗﺗﻠﻘﺎھﺎ ﻣن ﺧدﻣﺔ ‪ Maps‬ﻗد ﺗﺧﺗﻠف ﻣن ظروف اﻟطرﯾق أو اﻟﺣﻘل اﻟﻔﻌﻠﻲ ﻧﺗﯾﺟﺔ ﻟﻌواﻣل ﯾﻣﻛن أن ﺗؤﺛر ﻋﻠﻰ دﻗﺔ ﺑﯾﺎﻧﺎت ‪ ،Maps‬ﻋﻠﻰ ﺳﺑﯾل‬
         ‫‪Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 122 of 452‬‬



  ‫اﻟﻣﺛﺎل ﻻ اﻟﺣﺻر ظروف اﻟﻣﻧﺎخ واﻟطرق وﺣرﻛﺔ اﻟﻣرور‪ ،‬واﻷﺣداث اﻟﺟﻐراﻓﯾﺔ اﻟﺳﯾﺎﺳﯾﺔ‪ .‬ﻟﻠﺣﻔﺎظ ﻋﻠﻰ ﺳﻼﻣﺗك‪ ،‬ﺗوﺧﻰ اﻟﺣذر دوًﻣﺎ ﻋﻧد اﺳﺗﺧدام ﻣﯾزة‬
    ‫اﻟﻣﻼﺣﺔ ﻟﻣراﻗﺑﺔ إﺷﺎرات اﻟطرق اﻟﻣﻌﻠن ﻋﻧﮭﺎ وظروف اﻟطرق اﻟﺣﺎﻟﯾﺔ‪ .‬اﺗﺑﻊ ﻣﻣﺎرﺳﺎت اﻟﻘﯾﺎدة اﻵﻣﻧﺔ وﻗواﻋد اﻟﻣرور وﻻﺣظ أن اﺗﺟﺎھﺎت اﻟﺳﯾر ﻗد ﻻ‬
                                                                                               ‫ﺗﺗﺿﻣن ﻣﻣرات ﺟﺎﻧﺑﯾﺔ أو ﻣﺳﺎرات ﻟﻠﻣﺷﺎة‪.‬‬

  ‫)ح( إﻟﻰ اﻟﺣد اﻟذي ﺗﻘوم ﺑﮫ ﺑﺗﺣﻣﯾل أي ﻣﺣﺗوى ﻣن ﺧﻼل اﺳﺗﺧدام اﻟﺧدﻣﺎت‪ ،‬ﻓﺈﻧك ﺗﻘّر ﺑﺄﻧك ﺗﻣﻠك ﺟﻣﯾﻊ اﻟﺣﻘوق ﻓﻲ‪ ،‬أو أﻧك ﻣﺧّول أو ﺑﺧﻼف ذﻟك إﻟﻰ‬
 ‫اﻟﺣد اﻟﻣﺳﻣوح ﺑﮫ ﻗﺎﻧوﻧﺎ ً ﻟﺗﺣﻣﯾل ﻣﺛل ھذا اﻟﻣﺣﺗوى وأن ﻣﺛل ھذا اﻟﻣﺣﺗوى ﻻ ﯾﻧﺗﮭك أي ﺷروط ﺧدﻣﺔ ﺗﻧطﺑق ﻋﻠﻰ اﻟﺧدﻣﺎت‪ .‬أﻧت ﺗواﻓق ﻋﻠﻰ أن اﻟﺧدﻣﺎت‬
 ‫ﺗﺣﺗوي ﻋﻠﻰ ﻣﺣﺗوى ﻣﺗﻌﻠق ﺑﺣﻘوق اﻟﻣﻠﻛﯾﺔ وﻣﻌﻠوﻣﺎت وﻣواد ﻣﻣﻠوﻛﺔ ﻟﺷرﻛﺔ ‪ Apple‬أو ﻣﺎﻟك اﻟﻣوﻗﻊ أو ﻣرﺧﺻﯾﮫ‪ ،‬وھﻲ ﻣﺣﻣﯾﺔ ﺑﻣوﺟب ﻗواﻧﯾن ﺣﻘوق‬
  ‫اﻟﻣﻠﻛﯾﺔ اﻟﻔﻛرﯾﺔ اﻟﻣﻌﻣول ﺑﮭﺎ وﻗواﻧﯾن أﺧرى ﺑﻣﺎ ﻓﻲ ذﻟك ﻋﻠﻰ ﺳﺑﯾل اﻟﻣﺛﺎل ﻻ اﻟﺣﺻر ﻗواﻧﯾن ﺣﻘوق اﻟطﺑﻊ واﻟﻧﺷر‪ .‬أﻧت ﺗواﻓق ﻋﻠﻰ أﻧك ﻟن ﺗﺳﺗﺧدم ھذا‬
     ‫اﻟﻣﺣﺗوى اﻟﻣﺗﻌﻠق ﺑﺣﻘوق اﻟﻣﻠﻛﯾﺔ وھذه اﻟﻣﻌﻠوﻣﺎت أو اﻷدوات ﻓﻲ أي ﻏرض آﺧر ﺑﺧﻼف اﻻﺳﺗﺧدام اﻟﻣﺳﻣوح ﺑﮫ ﻟﻠﺧدﻣﺎت أو ﺑﺄي طرﯾﻘﺔ أﺧرى ﻻ‬
  ‫ﺗﺗطﺎﺑق ﻣﻊ ﺷروط ھذا اﻟﺗرﺧﯾص أو ﺗﻧﺗﮭك أي ﺣﻘوق ﻣﻠﻛﯾﺔ ﻓﻛرﯾﺔ ﺗﺧص أي ﺟﮭﺔ أﺧرى أو ﺗﺧص ﺷرﻛﺔ ‪ .Apple‬ﻻ ﯾﺟوز إﻋﺎدة إﻧﺗﺎج أي ﺟزء ﻣن‬
      ‫“اﻟﺧدﻣﺎت” ﺑﺄي ﺷﻛل أو ﺑﺄي وﺳﯾﻠﺔ‪ .‬أﻧت ﺗواﻓق ﻋﻠﻰ ﻋدم ﺗﻌدﯾل أو ﺗﺄﺟﯾر أو إﯾﺟﺎر أو إﻗراض أو ﺑﯾﻊ أو ﺗوزﯾﻊ أو إﻧﺷﺎء أﻋﻣﺎل ﻣﺷﺗﻘﺔ ﻗﺎﺋﻣﺔ ﻋﻠﻰ‬
 ‫“اﻟﺧدﻣﺎت”‪ ،‬ﺑﺄي طرﯾﻘﺔ ﻛﺎﻧت‪ ،‬وﻻ ﯾﺟوز ﻟك اﺳﺗﻐﻼل “اﻟﺧدﻣﺎت” ﺑﺄي طرﯾﻘﺔ ﻏﯾر ﻣﻌﺗﻣدة ﻣن أي ﻧوع‪ ،‬ﺑﻣﺎ ﻓﻲ ذﻟك‪ ،‬ودون اﻟﺣﺻر‪ ،‬اﺳﺗﺧداﻣﮭﺎ ﻓﻲ ﻧﻘل‬
   ‫ﻓﯾروﺳﺎت اﻟﺣﺎﺳب اﻵﻟﻲ أو اﻟﻔﯾروﺳﺎت اﻟﻣﺗﻧﻘﻠﺔ اﻟﺿﺎرة وأﺣﺻﻧﺔ طروادة )“‪ (”Trojan horses‬وﻏﯾرھﺎ ﻣن اﻟﺑراﻣﺞ اﻟﺿﺎرة‪ ،‬أو ﻣن ﺧﻼل اﻟﺗﻌدي‬
                                                                                               ‫ﻋﻠﻰ ﺳﻌﺔ اﻟﺷﺑﻛﺔ أو إﺛﻘﺎﻟﮭﺎ‪ .‬ﻛﻣﺎ أﻧك ﺗواﻓق أﯾ ً‬
     ‫ﺿﺎ ﻋﻠﻰ ﻋدم اﺳﺗﺧدام “اﻟﺧدﻣﺎت” ﺑﺄي طرﯾﻘﺔ ﻟﻠﻣﺿﺎﯾﻘﺔ أو إﺳﺎءة اﻻﺳﺗﺧدام أو اﻟﻣطﺎردة أو اﻟﺗﮭدﯾد أو‬
‫اﻟﺗﺷﮭﯾر أو اﻟﺗﻌدي ﻋﻠﻰ ﺣﻘوق اﻷطراف اﻷﺧرى أو اﻧﺗﮭﺎﻛﮭﺎ‪ ،‬وأن ﺷرﻛﺔ ‪ Apple‬ﻻ ﺗﻛون ﻣﺳؤوﻟﺔ ﺑﺄي ﺷﻛل ﻣن اﻷﺷﻛﺎل ﻋن أي اﺳﺗﺧدام ﯾﻧدرج ﺗﺣت‬
‫ﺗﻠك اﻷﻣور ﺗﻘوم ﺑﮫ‪ ،‬وﻻ ﻋن أي رﺳﺎﺋل أو ﻋﻣﻠﯾﺎت ﺑث ﺗﻧطوي ﻋﻠﻰ ﻣﺿﺎﯾﻘﺔ أو ﺗﮭدﯾد أو ﺗﺷﮭﯾر أو ﺗﻌد ﻋﻠﯾك أو اﻧﺗﮭﺎك أو أي أﻣور ﻏﯾر ﻣﺷروﻋﺔ ﯾﻣﻛن‬
                                                                                              ‫أن ﺗﺳﺗﻠﻣﮭﺎ ﻛﻧﺗﯾﺟﺔ ﻻﺳﺗﺧدام أي ﻣن “اﻟﺧدﻣﺎت”‪.‬‬

   ‫)ط( ﺑﺎﻹﺿﺎﻓﺔ إﻟﻰ ذﻟك‪ ،‬ﻟن ﺗﻛون “ﺧدﻣﺎت” اﻷطراف اﻷﺧرى و”ﻣواد اﻷطراف اﻟﺛﺎﻟﺛﺔ” اﻟﺗﻲ ﯾﻣﻛن اﻟوﺻول إﻟﯾﮭﺎ ﻣن ﺟﮭﺎز ‪ iOS‬أو اﻻﺗﺻﺎل ﺑﮫ أو‬
      ‫ﻋرﺿﮭﺎ ﻋﻠﯾﮫ ﻣﺗﺎﺣﺔ ﺑﻛل اﻟﻠﻐﺎت أو ﻓﻲ ﻛل اﻟدول‪ .‬ﻻ ﺗﺗﻌﮭد ﺷرﻛﺔ ‪ Apple‬أن ﺗﻛون ھذه “اﻟﺧدﻣﺎت” و” ﻣواد اﻷطراف اﻟﺛﺎﻟﺛﺔ “ ﻣﻧﺎﺳﺑﺔ أو ﻣﺗﺎﺣﺔ‬
    ‫ﻟﻼﺳﺗﺧدام ﻓﻲ أي ﻣﻛﺎن ﺑﻌﯾﻧﮫ‪ .‬إﻟﻰ اﻟﺣد اﻟذي اﺧﺗرﺗﮫ ﻻﺳﺗﺧدام ﺗﻠك “اﻟﺧدﻣﺎت” و” ﻣواد اﻷطراف اﻟﺛﺎﻟﺛﺔ “‪ ،‬ﻓﺄﻧت ﺗﻘوم ﺑذﻟك ﺑﻣﺑﺎدرة ﺷﺧﺻﯾﺔ وﺗﻛون‬
      ‫ﻣﺳؤوﻻ ﻋن اﻻﻟﺗزام ﺑﺎﻟﻘواﻧﯾن اﻟﺳﺎرﯾﺔ‪ ،‬ﺑﻣﺎ ﻓﻲ ذﻟك ودون اﻟﺣﺻر اﻟﻘواﻧﯾن اﻟﻣﺣﻠﯾﺔ اﻟﺳﺎرﯾﺔ‪ ،‬واﻟﻘواﻧﯾن اﻟﺧﺎﺻﺔ ﺑﺎﻟﺳرﯾﺔ وﺟﻣﻊ اﻟﺑﯾﺎﻧﺎت‪ .‬ﻗد ﺗﺗﺳﺑب‬
‫ﻣﺷﺎرﻛﺔ اﻟﺻور أو ﻣزاﻣﻧﺗﮭﺎ ﻣن ﺧﻼل ﺟﮭﺎز ‪ iOS‬ﻓﻲ إرﺳﺎل ﺑﯾﺎﻧﺎت اﻟﺗﻌرﯾف ﻣﻊ اﻟﺻور‪ ،‬ﺑﻣﺎ ﻓﻲ ذﻟك وﻗت وﻣﻛﺎن اﻟﺗﻘﺎط اﻟﺻورة‪ ،‬وﻣﻌﻠوﻣﺎت اﻟﻌﻣق‪.‬‬
‫ﻛﻣﺎ أن اﺳﺗﺧدام ﺧدﻣﺎت ‪) Apple‬ﻣﺛل ﻣﻛﺗﺑﺔ ﺻور ‪ (iCloud‬ﻟﺗﺑﺎدل أو ﻣزاﻣﻧﺔ ﻣﺛل ھذه اﻟﺻور ﺳوف ﯾﺷﻣل اﺳﺗﻼم وﺗﺧزﯾن ﺑﯾﺎﻧﺎت اﻟﺗﻌرﯾف ھذه ﻟدى‬
 ‫ﺷرﻛﺔ ‪ .Apple‬وﺗﺣﺗﻔظ ﺷرﻛﺔ ‪ Apple‬وﻣرﺧﺻﯾﮭﺎ ﺑﺎﻟﺣق ﻓﻲ ﺗﻐﯾﯾر أو ﺗﻌﻠﯾق أو إزاﻟﺔ أو ﺗﻌطﯾل اﺳﺗﺧدام أي “ﺧدﻣﺎت” ﻓﻲ أي وﻗت ودون ﺗﻧﺑﯾﮫ‪ .‬وﻟن‬
   ‫ﺗﻛون ﺷرﻛﺔ ‪ Apple‬ﻣﺳؤوﻟﺔ ﺑﺄي ﺣﺎل ﻣن اﻷﺣوال ﻋن إزاﻟﺔ أو ﺗﻌطﯾل اﺳﺗﺧدام أي ﻣن ھذه “اﻟﺧدﻣﺎت”‪ .‬ﻛﻣﺎ ﯾﻣﻛن أن ﺗﻔرض ﺷرﻛﺔ ‪ Apple‬ﻗﯾود‬
                                                            ‫ﻋﻠﻰ اﺳﺗﺧدام “ﺧدﻣﺎت” ﻣﻌﯾﻧﺔ أو اﻟوﺻول إﻟﯾﮭﺎ‪ ،‬ﻓﻲ أي ﺣﺎﻟﺔ ودون ﺗﻧﺑﯾﮫ أو ﻣﺳؤوﻟﯾﺔ‪.‬‬

 ‫‪ .6‬إﻧﮭﺎء اﻟﺗرﺧﯾص‪ .‬ھذا اﻟﺗرﺧﯾص ﺳﺎٍر إﻟﻰ أن ﯾﺗم إﻧﮭﺎؤه‪ .‬ﺗﻧﺗﮭﻲ ﺣﻘوﻗك اﻟﻣﻣﻧوﺣﺔ ﻟك ﺑﻣوﺟب ھذا “اﻟﺗرﺧﯾص” أو ﺗﺻﺑﺢ ﻏﯾر ﺳﺎرﯾﺔ دون إﺧطﺎر ﻣن‬
‫ﺷرﻛﺔ ‪ Apple‬ﻓﻲ ﺣﺎﻟﺔ ﻋدم اﻟﺗزاﻣك ﺑﺄي ﻣن أﺣﻛﺎم ھذا “اﻟﺗرﺧﯾص”‪ .‬وﻋﻧد إﻧﮭﺎء ھذا “اﻟﺗرﺧﯾص”‪ ،‬ﯾﺟب ﻋﻠﯾك اﻟﺗوﻗف ﻋن أي اﺳﺗﺧدام ﻟﺑرﻧﺎﻣﺞ ‪.iOS‬‬
                                                  ‫ﺗظل اﻟﺑﻧود ‪ 4‬و‪ 5‬و‪ 6‬و‪ 7‬و‪ 8‬و‪ 9‬و‪ 12‬و‪ 13‬ﻣن ھذا اﻟﺗرﺧﯾص ﺳﺎرﯾﺔ ﺣﺗﻰ ﺑﻌد اﻧﺗﮭﺎﺋﮫ‪.‬‬

                                                                                                         ‫‪ .7‬إﺧﻼء اﻟﻣﺳؤوﻟﯾﺔ ﻋن اﻟﺿﻣﺎﻧﺎت‪.‬‬
                                                                                                                ‫‪ 7.1‬إذا ﻛﻧت ﻋﻣﯾﻼً ﻣﺳﺗﮭﻠ ً‬
 ‫ك )ﺗﺳﺗﺧدم ﺑرﻧﺎﻣﺞ ‪ iOS‬ﺧﺎرج ﻧطﺎق اﻟﺗﺟﺎرة أو اﻟﻌﻣل أو اﻟﻣﮭﻧﺔ اﻟﺧﺎﺻﺔ ﺑك(‪ ،‬ﻓﻘد ﯾﻛون ﻟدﯾك ﺣﻘوًﻗﺎ ﻗﺎﻧوﻧﯾﺔ ﻓﻲ ﺑﻠد اﻹﻗﺎﻣﺔ‬
    ‫اﻟﺧﺎﺻﺔ ﺑك واﻟﺗﻲ ﺗﺣظر ﺗطﺑﯾق اﻟﻘﯾود اﻟﺗﺎﻟﯾﺔ ﻋﻠﯾك‪ .‬ﻟﻠﺗﻌرف ﻋﻠﻰ اﻟﻣزﯾد ﺣول اﻟﺣﻘوق اﻟﺧﺎﺻﺔ ﺑك‪ ،‬ﯾﺟب اﻻﺗﺻﺎل ﺑﺄﺣد اﻟﻣؤﺳﺳﺎت اﻟﺧﺎﺻﺔ ﺑﺗوﺟﯾﮫ‬
                                                                                                              ‫اﻟﻧﺻﺎﺋﺢ إﻟﻰ اﻟﻣﺳﺗﮭﻠك اﻟﻣﺣﻠﻲ‪.‬‬

‫‪ 7.2‬أﻧت ﺗﻘر وﺗواﻓق ﺑﺷﻛل ﺻرﯾﺢ‪ ،‬واﻟﻲ أﻗﺻﻲ ﺣد ﺗﺳﻣﺢ ﺑﮫ اﻟﻘواﻧﯾن اﻟﺳﺎرﯾﺔ‪ ،‬ﻋﻠﻰ أن اﺳﺗﺧدام ﺑرﻧﺎﻣﺞ وأي ﺧدﻣﺎت ﯾﺗم ﺗوﻓﯾرھﺎ أو اﻟوﺻول إﻟﯾﮭﺎ‬
          ‫ﻣن ﺧﻼل ﺑرﻧﺎﻣﺞ ‪ iOS‬ﯾﻛون ﻋﻠﻰ ﻣﺳؤوﻟﯾﺗك وﺣدك وأﻧك ﺗﺗﺣﻣل اﻟﻣﺳؤوﻟﯾﺔ اﻟﻛﺎﻣﻠﺔ اﻟﻣﺗﻌﻠﻘﺔ ﺑﺎﻟﺟودة واﻷداء واﻟدﻗﺔ واﻟﻣﺟﮭود اﻟﻣرﺿﻲ‪.‬‬

      ‫‪ 7.3‬إﻟﻰ أﻗﺻﻰ ﺣد ﺗﺳﻣﺢ ﺑﮫ اﻟﻘواﻧﯾن اﻟﺳﺎرﯾﺔ‪ ،‬ﻓﺈن ﺑرﻧﺎﻣﺞ وﺧدﻣﺎت ‪ iOS‬ﯾﺗم ﺗوﻓﯾرھﺎ “ﻛﻣﺎ ھﻲ” و”ﻛﻣﺎ ھﻲ ﻣﺗﺎﺣﺔ” ﺑﻛل اﻷﺧطﺎء ودون أي‬
   ‫ﺿﻣﺎن ﻣن أي ﻧوع‪ ،‬وﺗﺧﻠﻲ ﺷرﻛﺔ ‪ Apple‬وﻣرﺧﺻﯾﮭﺎ )واﻟذﯾن ﯾﺷﺎر إﻟﯾﮭم ﺑﺷﻛل ُﻣَﺟﱠﻣﻊ ﺑﺎﺳم “‪ ”Apple‬ﻷﻏراض اﻟﻘﺳﻣﯾن ‪7‬و‪ (8‬ﻣﺳؤوﻟﯾﺗﮭﺎ‬
 ‫ﺑﻣوﺟب ھذا اﻟﺗرﺧﯾص ﻋن ﻛل اﻟﺿﻣﺎﻧﺎت واﻟﺷروط ﻓﯾﻣﺎ ﯾﺗﻌﻠق ﺑﺑرﻧﺎﻣﺞ ‪ iOS‬واﻟﺧدﻣﺎت‪ ،‬ﺳواء ﻛﺎﻧت ﺻرﯾﺣﺔ‪ ،‬أو ﺿﻣﻧﯾﺔ‪ ،‬أو ﺗﺷرﯾﻌﯾﺔ‪ ،‬وﯾﺷﻣل ذﻟك‬
  ‫دون ﺣﺻر‪ ،‬اﻟﺿﻣﺎﻧﺎت اﻟﺿﻣﻧﯾﺔ و‪/‬أو ﺷروط اﻟرواج اﻟﺗﺟﺎري‪ ،‬واﻟﺟودة اﻟﻣرﺿﯾﺔ‪ ،‬واﻟﻣﻼءﻣﺔ ﻟﻐرض ﻣﻌﯾن‪ ،‬واﻟدﻗﺔ‪ ،‬واﻟﺗﻣﺗﻊ اﻟﮭﺎدئ‪ ،‬وﻋدم اﻟﺗﻌدي‬
                                                                                                       ‫ﻋﻠﻰ ﺣﻘوق اﻷطراف اﻷﺧرى‪.‬‬

  ‫‪ 7.4‬ﻻ ﺗﻘدم ﺷرﻛﺔ ‪ Apple‬ﺿﻣﺎﻧﺎت ﺿد اﻟﺗﻌدي ﻋﻠﻰ اﺳﺗﻣﺗﺎﻋك ﺑﺑرﻧﺎﻣﺞ ‪ iOS‬واﻟﺧدﻣﺎت‪ ،‬وأن اﻟوظﺎﺋف اﻟﻣوﺟودة أو اﻟﺧدﻣﺎت اﻟﺗﻲ ﯾﻘوم ﺑﮭﺎ أو‬
‫ﯾوﻓرھﺎ ﺑرﻧﺎﻣﺞ ‪ iOS‬ﺳﺗﻔﻲ ﺑﻣﺗطﻠﺑﺎﺗك‪ ،‬أو أن ﺗﺷﻐﯾل ﺑرﻧﺎﻣﺞ ‪ iOS‬واﻟﺧدﻣﺎت ﻟن ﯾﺗﻌرض ﻟﻠﻣﻘﺎطﻌﺔ أو ﯾﻛون دون أﺧطﺎء‪ ،‬أو أن ﺗظل اﻟﺧدﻣﺔ ﻣﺗﺎﺣﺔ‪،‬‬
        ‫أو أن ﯾﺗم إﺻﻼح اﻟﻌﯾوب اﻟﺗﻲ ﺗﻛون ﻣوﺟودة ﻓﻲ ﺑرﻧﺎﻣﺞ ‪ iOS‬أو اﻟﺧدﻣﺎت‪ ،‬أو أن ﺑرﻧﺎﻣﺞ ‪ iOS‬ﺳﯾﻛون ﻣﺗواﻓًﻘﺎ أو ﺳﯾﻌﻣل ﻣﻊ أي ﺑراﻣﺞ أو‬
 ‫ﺗطﺑﯾﻘﺎت ﻣن أطراف أﺧري أو أي ﺧدﻣﺎت ﻣن أطراف أﺧري‪ .‬ﯾﻣﻛن أن ﯾؤﺛر ﺗﺛﺑﯾت ﺑرﻧﺎﻣﺞ ‪ iOS‬ھذا ﻋﻠﻰ ﺗوﻓر ﺑراﻣﺞ أو ﺗطﺑﯾﻘﺎت أو ﺧدﻣﺎت ﺟﮭﺎت‬
                                                                              ‫أﺧرى واﺳﺗﺧداﻣﮭﺎ‪ ،‬ﻓﺿﻼً ﻋن ﻣﻧﺗﺟﺎت وﺧدﻣﺎت ‪.APPLE‬‬

  ‫ﺿﺎ ﺑﺄن ﺑرﻧﺎﻣﺞ ‪ iOS‬واﻟﺧدﻣﺎت ﻟﯾس اﻟﻐرض ﻣﻧﮭﻣﺎ أو ﻟﯾﺳﺎ ﻣﻧﺎﺳﺑﯾن ﻟﻼﺳﺗﺧدام ﻓﻲ اﻟﻣواﻗف أو اﻷﺣوال اﻟﺗﻲ ﯾﺣﺗﻣل أن ﯾؤدي‬     ‫‪ 7.5‬ﻛﻣﺎ أﻧك ﺗﻘر أﯾ ً‬
   ‫ﻓﯾﮭﺎ اﻟﻘﺻور ﻓﻲ أو ﺗﺄﺧﯾر اﻟوﻗت أو اﻷﺧطﺎء أو ﻋدم دﻗﺔ اﻟﻣﺣﺗوى أو اﻟﺑﯾﺎﻧﺎت أو اﻟﻣﻌﻠوﻣﺎت اﻟﺗﻲ ﯾﺗم ﺗوﻓﯾرھﺎ ﻣن ﺧﻼل ﺑرﻧﺎﻣﺞ ‪ iOS‬أو اﻟﺧدﻣﺎت‬
  ‫إﻟﻰ ﺣدوث اﻟوﻓﺎة أو اﻹﺻﺎﺑﺔ اﻟﺷﺧﺻﯾﺔ‪ ،‬أو اﻷﺿرار اﻟﺑدﻧﯾﺔ أو اﻟﺑﯾﺋﯾﺔ اﻟﺑﺎﻟﻐﺔ‪ ،‬وﯾﺷﻣل ذﻟك دون ﺣﺻر‪ ،‬ﺗﺷﻐﯾل اﻟﻣﻧﺷﺋﺎت اﻟﻧووﯾﺔ أو ﺑراﻣﺞ اﻟﻣﻼﺣﺔ‬
                                            ‫ﻓﻲ اﻟطﺎﺋرات أو أﻧظﻣﺔ اﻻﺗﺻﺎﻻت‪ ،‬ﻣراﻗﺑﺔ اﻟﺣرﻛﺔ اﻟﺟوﯾﺔ‪ ،‬أو دﻋم إﻧﻘﺎذ اﻟﺣﯾﺎة‪ ،‬أو أﻧظﻣﺔ اﻷﺳﻠﺣﺔ‪.‬‬
        ‫‪Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 123 of 452‬‬



   ‫‪ 7.6‬ﻻ ﺗﻣﺛل أي ﻣﻌﻠوﻣﺎت أو ﻧﺻﺎﺋﺢ ﺷﻔﮭﯾﺔ أو ﻣﻛﺗوﺑﺔ ﺗﻌطﯾﮭﺎ ﺷرﻛﺔ ‪ Apple‬أو أي ﻣﻣﺛل ﻣﻌﺗﻣد ﻟﺷرﻛﺔ ‪ Apple‬ﺿﻣﺎًﻧﺎ‪ .‬ﻓﻲ ﺣﺎﻟﺔ ﺛﺑوت وﺟود‬
  ‫ﻋﯾوب ﺑرﻧﺎﻣﺞ ‪ iOS‬أو اﻟﺧدﻣﺎت‪ ،‬ﻓﺄﻧت ﺗﺗﺣﻣل ﻣﺟﻣل ﺗﻛﻠﻔﺔ ﻋﻣﻠﯾﺎت اﻟﺻﯾﺎﻧﺔ أو اﻹﺻﻼح أو اﻟﺗﺻﺣﯾﺢ اﻟﻼزﻣﺔ‪ .‬ﻻ ﺗﺳﻣﺢ ﺑﻌض اﻟﺗﺷرﯾﻌﺎت ﺑﺎﺳﺗﺛﻧﺎء‬
  ‫اﻟﺿﻣﺎﻧﺎت اﻟﺿﻣﻧﯾﺔ أو اﻟﻘﯾود اﻟﺳﺎرﯾﺔ ﻋﻠﻰ اﻟﺣﻘوق اﻟﺗﺷرﯾﻌﯾﺔ اﻟﺳﺎرﯾﺔ ﻟﻠﻣﺳﺗﮭﻠك‪ ،‬وﺑﺎﻟﺗﺎﻟﻲ ﻓﻘد ﻻ ﺗﻧطﺑق اﻟﻘﯾود واﻻﺳﺗﺛﻧﺎء اﻟﻣذﻛوران أﻋﻼه ﻋﻠﯾك‪.‬‬

            ‫‪ .8‬ﺗﺣدﯾد اﻟﻣﺳؤوﻟﯾﺔ‪ .‬إﻟﻰ اﻟﺣد ﻏﯾر اﻟﻣﺣظور ﺑﻣوﺟب اﻟﻘﺎﻧون اﻟﺳﺎري‪ ،‬ﻟن ﺗﺗﺣﻣل ‪ Apple‬أو اﻟﺷرﻛﺎت اﻟﺗﺎﺑﻌﺔ ﻟﮭﺎ أو وﻛﻼؤھﺎ أو ﻣدﯾروھﺎ‬
‫اﻟﻣﺳؤوﻟﯾﺔ ﺑﺄي ﺣﺎل ﻣن اﻷﺣوال ﻋن اﻹﺻﺎﺑﺔ اﻟﺷﺧﺻﯾﺔ‪ ،‬أو اﻷﺿرار ﻏﯾر اﻟﻣﺑﺎﺷرة أو اﻟﺗﺑﻌﯾﺔ أو اﻟﻌرﺿﯾﺔ أو اﻟﺧﺎﺻﺔ ﻣن أي ﻧوع‪ ،‬وﯾﺷﻣل ذﻟك ﻋﻠﻰ‬
        ‫ﺳﺑﯾل اﻟﻣﺛﺎل ﻻ اﻟﺣﺻر‪ ،‬أﺿرار ﺧﺳﺎﺋر اﻷرﺑﺎح أو ﺗﻠف أو ﻓﻘدان اﻟﺑﯾﺎﻧﺎت أو اﻟﻔﺷل ﻓﻲ إرﺳﺎل أو اﺳﺗﻘﺑﺎل أي ﺑﯾﺎﻧﺎت )ﺗﺷﻣل ﻋﻠﻰ ﺳﺑﯾل اﻟﻣﺛﺎل ﻻ‬
      ‫اﻟﺣﺻر اﻹرﺷﺎدات واﻟﺗﻌﯾﯾﻧﺎت واﻟﻣواد اﻟﺧﺎﺻﺔ ﺑﺳﯾﺎق اﻟﻌﻣل( أو ﻣﻘﺎطﻌﺔ اﻷﻋﻣﺎل‪ ،‬أو أي أﺿرار أو ﺧﺳﺎﺋر ﺗﺟﺎرﯾﺔ أﺧرى‪ ،‬واﻟﺗﻲ ﺗﺣدث ﺑﺳﺑب‪ ،‬أو‬
‫ﺗﺗﻌﻠق ﺑﺎﺳﺗﺧداﻣك أو ﻋدم ﻗدرﺗك ﻋﻠﻰ اﺳﺗﺧدام ﺑرﻧﺎﻣﺞ ‪ iOS‬واﻟﺧدﻣﺎت‪ ،‬أو أي ﺑراﻣﺞ أو ﺗطﺑﯾﻘﺎت أطراف أﺧري ﺗﺗﻌﻠق ﺑﺑرﻧﺎﻣﺞ أو ﺧدﻣﺎت ‪ ،iOS‬أًﯾﺎ‬
     ‫ﻛﺎن ﺳﺑﺑﮭﺎ‪ ،‬وﺑﻐض اﻟﻧظر ﻋن ﻧظرﯾﺔ اﻟﻣﺳؤوﻟﯾﺔ )اﻟﺗﻌﺎﻗدﯾﺔ أو اﻟﺗﻘﺻﯾرﯾﺔ أو ﻏﯾر ذﻟك(‪ ،‬ﺣﺗﻰ وإن ﺗم إﻋﻼم ﺷرﻛﺔ ‪ Apple‬ﻣﺳﺑﻘـًﺎ ﺑﺎﺣﺗﻣﺎل ﺣدوث‬
    ‫ھذه اﻷﺿرار‪ .‬ﻻ ﺗﺳﻣﺢ ﺑﻌض اﻟﺗﺷرﯾﻌﺎت ﺑﺎﻟﺣد أو اﻻﺳﺗﺛﻧﺎء ﻣن اﻟﻣﺳؤوﻟﯾﺔ اﻟﻣﺗﻌﻠﻘﺔ ﺑﺎﻹﺻﺎﺑﺔ اﻟﺷﺧﺻﯾﺔ‪ ،‬أو اﻷﺿرار اﻟﻌرﺿﯾﺔ أو اﻟﺗﺑﻌﯾﺔ‪ ،‬وﺑﺎﻟﺗﺎﻟﻲ‬
‫ﻗد ﻻ ﯾﻧطﺑق ھذا اﻟﺗﺣدﯾد ﻋﻠﯾك‪ .‬وﻻ ﺗﺗﺟﺎوز ﻣﺳؤوﻟﯾﺔ ﺷرﻛﺔ ‪ Apple‬اﻹﺟﻣﺎﻟﯾﺔ ﺑﺄي ﺣﺎل ﻣن اﻷﺣوال ﻣﻘﺎﺑل ﻛل اﻷﺿرار )ﺑﺧﻼف ﻣﺎ ﻗد ﺗﻔرﺿﮫ اﻟﻘواﻧﯾن‬
  ‫اﻟﺳﺎرﯾﺔ ﻓﻲ اﻟﺣﺎﻻت اﻟﺗﻲ ﺗﺗﻌﻠق ﺑﺎﻹﺻﺎﺑﺔ اﻟﺷﺧﺻﯾﺔ( ﻣﺎﺋﺗﯾن وﺧﻣﺳﯾن دوﻻًرا )‪ 250‬دوﻻر أﻣرﯾﻛﻲ(‪ .‬ﺗﺳري اﻟﺣدود اﻟﻣذﻛورة أﻋﻼه ﺣﺗﻰ ﻓﻲ ﺣﺎﻟﺔ ﻋدم‬
                                                                                             ‫ﺗﺣﻘﯾق اﻟﺗﺳوﯾﺔ اﻟﻣذﻛورة أﻋﻼه ﻏرﺿﮭﺎ اﻷﺳﺎﺳﻲ‪.‬‬

    ‫‪ .9‬اﻟﺷﮭﺎدات اﻟرﻗﻣﯾﺔ‪ .‬ﯾﺣﺗوي ﺑرﻧﺎﻣﺞ ‪ iOS‬ﻋﻠﻰ وظﺎﺋف ﺗﺳﻣﺢ ﻟﮫ ﺑﻘﺑول اﻟﺷﮭﺎدات اﻟرﻗﻣﯾﺔ اﻟﺻﺎدرة ﻣن ﺷرﻛﺔ ‪ Apple‬أو ﻣن اﻷطراف اﻷﺧرى‪.‬‬
      ‫ﺗﻛون أﻧت ﻓﻘط ﻣﺳؤوﻻً ﺣﺻرًﯾﺎ ﻋن ﺗﺣدﯾد ﻣﺎ إذا ﻛﺎن ﯾﺟب اﻻﻋﺗﻣﺎد ﻋﻠﻰ ﺷﮭﺎدة أو ﻻ ﺳواء ﻛﺎﻧت ﺻﺎدرة ﻣن ﺷرﻛﺔ ‪ Apple‬أو ﻣن طرف آﺧر‪.‬‬
    ‫وﯾﻛون اﺳﺗﺧدام اﻟﺷﮭﺎدات اﻟرﻗﻣﯾﺔ ﻋﻠﻰ ﻣﺳؤوﻟﯾﺗك اﻟﺧﺎﺻﺔ‪ .‬إﻟﻰ اﻟﺣد اﻟﻣﺳﻣوح ﺑﻣوﺟب اﻟﻘﺎﻧون اﻟﻣطﺑق‪ ،‬ﻻ ﺗﻘدم ﺷرﻛﺔ ‪ Apple‬أي ﺿﻣﺎﻧﺎت أو‬
      ‫ﺗﻌﮭدات‪ ،‬ﺳواء ﻛﺎﻧت ﺻرﯾﺣﺔ أو ﺿﻣﻧﯾﺔ‪ ،‬ﻓﯾﻣﺎ ﯾﺗﻌﻠق ﺑﺎﻟرواج اﻟﺗﺟﺎري أو اﻟﻣﻼءﻣﺔ ﻷي ﻏرض ﻣﻌﯾن‪ ،‬أو اﻟدﻗﺔ‪ ،‬أو اﻷﻣﺎن‪ ،‬أو ﻋدم اﻟﺗﻌدي ﻋﻠﻰ‬
                                                                               ‫ﺣﻘوق اﻷطراف اﻷﺧرى‪ ،‬ﻓﯾﻣﺎ ﯾﺗﻌﻠق ﺑﺎﻟﺷﮭﺎدات اﻟرﻗﻣﯾﺔ‪.‬‬

      ‫‪ .10‬اﻟﺗﺣﻛم ﻓﻲ اﻟﺗﺻدﯾر‪ .‬ﻻ ﯾﺟوز ﻟك اﺳﺗﺧدام أو ﺗﺻدﯾر أو إﻋﺎدة ﺗﺻدﯾر ﺑرﻧﺎﻣﺞ ‪ iOS‬إﻻ ﻛﻣﺎ ھو ﻣﺻرح ﺑﮫ ﻣن ﺧﻼل ﻗﺎﻧون اﻟوﻻﯾﺎت اﻟﻣﺗﺣدة‬
  ‫واﻟﺗﺷرﯾﻊ‪/‬اﻟﺗﺷرﯾﻌﺎت اﻟﻣﺣﻠﯾﺔ ﻓﻲ اﻟﻣﻧطﻘﺔ اﻟﺗﻲ ﺗم اﻟﺣﺻول ﻋﻠﻰ ﺑرﻧﺎﻣﺞ ‪ iOS‬ﻓﯾﮭﺎ‪ .‬وﻋﻠﻰ وﺟﮫ اﻟﺧﺻوص‪ ،‬وﺑدون اﻟﺣﺻر‪ ،‬ﻻ ﯾﺟوز ﺗﺻدﯾر ﺑرﻧﺎﻣﺞ‬
    ‫‪ iOS‬أو إﻋﺎدة ﺗﺻدﯾره )أ( إﻟﻰ أي دول ﺗﻔرض اﻟوﻻﯾﺎت اﻟﻣﺗﺣدة ﺣظًرا ﻋﻠﯾﮭﺎ‪ ،‬أو )ب( إﻟﻰ أي ﺷﺧص ﻓﻲ ﻗﺎﺋﻣﺔ وزارة اﻟﻣﺎﻟﯾﺔ اﻷﻣرﯾﻛﯾﺔ ﻟـ “ﻷﻓراد‬
   ‫اﻟﻣﺣددﯾن ﺑﺷﻛل ﺧﺎص” )“‪ (”Specially Designated Nationals‬أو ﻗﺎﺋﻣﺔ اﻟﻣﺣظورﯾن ﻟوزارة اﻟﺗﺟﺎرﯾﺔ اﻷﻣرﯾﻛﯾﺔ أو ﻗﺎﺋﻣﺔ اﻟﻛﯾﺎﻧﺎت‪ ،‬أو أي‬
 ‫ﻗواﺋم أطراف ﻣﺣظورة أﺧرى‪ .‬ﺑﺎﺳﺗﺧدام ﺑرﻧﺎﻣﺞ ‪ ،iOS‬أﻧت ﺗﺿﻣن وﺗﻘر أﻧك ﻏﯾر ﻣوﺟود ﻓﻲ أي دوﻟﺔ ﻣن ﺗﻠك اﻟدول أو ﻓﻲ أي ﻗﺎﺋﻣﺔ ﻣن ﺗﻠك اﻟﻘواﺋم‪.‬‬
      ‫ﻛﻣﺎ أﻧك ﺗواﻓق ﻋﻠﻰ أﻧك ﻟن ﺗﺳﺗﺧدم ﺑرﻧﺎﻣﺞ ‪ iOS‬ﻷي أﻏراض ﯾﺣظرھﺎ ﻗﺎﻧون اﻟوﻻﯾﺎت اﻟﻣﺗﺣدة‪ ،‬ﺑﻣﺎ ﻓﻲ ذﻟك‪ ،‬ودون ﺣﺻر‪ ،‬ﺗطوﯾر أو ﺗﺻﻣﯾم أو‬
                                                                        ‫ﺗﺻﻧﯾﻊ أو إﻧﺗﺎج اﻟﺻوارﯾﺦ أو اﻷﺳﻠﺣﺔ اﻟﻧووﯾﺔ أو اﻟﻛﯾﻣﺎوﯾﺔ أو اﻟﺑﯾوﻟوﺟﯾﺔ‪.‬‬

     ‫‪ .11‬اﻟﻣﺳﺗﺧدﻣون اﻟﻧﮭﺎﺋﯾون اﻟﺣﻛوﻣﯾون‪ .‬ﯾﻌد ﺑرﻧﺎﻣﺞ ‪ iOS‬واﻟوﺛﺎﺋق ذات اﻟﺻﻠﺔ “ﺑﻧود ﺗﺟﺎرﯾﺔ”‪ ،‬ﻛﻣﺎ ﺗم ﺗﻌرﯾف ھذا اﻟﻣﺻطﻠﺢ ﻓﻲ ‪C.F.R. 48‬‬
   ‫‪ ،§2.101‬ﻣﻛوﻧﺔ ﻣن “ﺑراﻣﺞ ﻛﻣﺑﯾوﺗر ﺗﺟﺎرﯾﺔ” و”وﺛﺎﺋق ﺑراﻣﺞ ﻛﻣﺑﯾوﺗر ﺗﺟﺎرﯾﺔ” ﻛﻣﺎ ھﻲ ﻣﺳﺗﺧدﻣﺔ ﻓﻲ ‪ C.F.R. §12.212 48‬أو ‪C.F.R. 48‬‬
‫‪ §227.7202-1‬إﻟﻰ ‪ 4-227.7202‬ﺑﺣﺳب اﻷﺣوال‪ ،‬ﯾﺗم ﺗرﺧﯾص “ﺑراﻣﺞ اﻟﻛﻣﺑﯾوﺗر اﻟﺗﺟﺎرﯾﺔ” و”وﺛﺎﺋق ﺑراﻣﺞ اﻟﻛﻣﺑﯾوﺗر اﻟﺗﺟﺎرﯾﺔ” إﻟﻰ اﻟﻣﺳﺗﺧدﻣﯾن‬
‫اﻟﻧﮭﺎﺋﯾﯾن ﻣن اﻟﺣﻛوﻣﺔ اﻷﻣرﯾﻛﯾﺔ )أ( ﻛﺑﻧود ﺗﺟﺎرﯾﺔ ﻓﻘط و)ب( ﻓﻘط ﺑﺗﻠك اﻟﺣﻘوق اﻟﺗﻲ ﺗﻣﻧﺢ ﻟﻛل اﻟﻣﺳﺗﺧدﻣﯾن اﻟﻧﮭﺎﺋﯾﯾن اﻵﺧرﯾن ﺑﻣوﺟب اﻷﺣﻛﺎم واﻟﺷروط‬
                                ‫اﻟﻣﻧﺻوص ﻋﻠﯾﮭﺎ ﻓﻲ ھذا اﻟﺗرﺧﯾص‪ .‬اﻟﺣﻘوق ﻏﯾر اﻟﻣﻧﺷورة ﻣﺣﻔوظﺔ ﺑﻣوﺟب ﻗواﻧﯾن ﺣﻘوق اﻟﻧﺷر ﺑﺎﻟوﻻﯾﺎت اﻟﻣﺗﺣدة‪.‬‬

   ‫‪ .12‬اﻟﻘﺎﻧون اﻟﻣطﺑق واﺳﺗﻣرار ﺻﺣﺔ ﻧﺻوص اﻟﺗرﺧﯾص‪ .‬ﯾﺧﺿﻊ ھذا اﻟﺗرﺧﯾص‪ ،‬وُﯾﻔﺳر وﻓﻘﺎ‪ ،‬ﻟﻘواﻧﯾن وﻻﯾﺔ ﻛﺎﻟﯾﻔورﻧﯾﺎ‪ ،‬ﻣﻊ اﺳﺗﺛﻧﺎء ﻣﺑﺎدئ ﺗﻧﺎزع‬
   ‫اﻟﻘواﻧﯾن‪ .‬ﻻ ﯾﺧﺿﻊ ھذا اﻟﺗرﺧﯾص ﻻﺗﻔﺎﻗﯾﺔ اﻷﻣم اﻟﻣﺗﺣدة ﺑﺷﺄن ﻋﻘود اﻟﺑﯾﻊ اﻟدوﻟﻲ ﻟﻠﺑﺿﺎﺋﻊ‪ ،‬ﺣﯾث ﯾﺳﺗﺛﻧﻰ ﺗطﺑﯾق ھذه اﻻﺗﻔﺎﻗﯾﺔ ﺑﺷﻛل ﺻرﯾﺢ‪ .‬إذا ﻛﻧت‬
  ‫ﻣﺳﺗﮭﻠك ﻣﻘﯾم ﻓﻲ اﻟﻣﻣﻠﻛﺔ اﻟﻣﺗﺣدة‪ ،‬ﺳوف ﯾﺧﺿﻊ ھذا اﻟﺗرﺧﯾص ﻟﻘواﻧﯾن ﻣﺣل إﻗﺎﻣﺗك‪ .‬وإذا‪،‬وﺟدت أي ﻣﺣﻛﻣﺔ ذات اﺧﺗﺻﺎص‪ ،‬ﻷي ﺳﺑب‪ ،‬أن أي ﻧص‬
                                                              ‫أو ﺟزء ﻣﻧﮫ ﻻ ﯾﻣﻛن ﺗطﺑﯾﻘﮫ‪ ،‬ﻓﺈن اﻟﺟزء اﻟﻣﺗﺑﻘﻲ ﻣن ھذا اﻟﺗرﺧﯾص ﯾﺑﻘﻰ ﺳﺎرًﯾﺎ وﻧﺎﻓذ‪.‬‬

    ‫‪ .13‬ﻛﺎﻣل اﻻﺗﻔﺎق‪ ،‬واﻟﻠﻐﺔ اﻟﺳﺎرﯾﺔ‪ .‬ﯾﻣﺛل ھذا اﻟﺗرﺧﯾص ﻛﺎﻣل اﻻﺗﻔﺎق ﺑﯾﻧك وﺑﯾن ‪ Apple‬ﻓﯾﻣﺎ ﯾﺗﻌﻠق ﺑﺑرﻧﺎﻣﺞ ‪ ،iOS‬ﻛﻣﺎ أﻧﮫ ﯾﻠﻐﻲ ﺟﻣﯾﻊ اﻻﺗﻔﺎﻗﯾﺎت‬
 ‫واﻟﺗﻔﺎھﻣﺎت اﻟﺳﺎﺑﻘﺔ ﻓﯾﻣﺎ ﯾﺗﻌﻠق ﺑﮭذا اﻟﻣوﺿوع‪ .‬ﻟن ﯾﻛون أي ﺗﻌدﯾل أو ﺗﻐﯾﯾر ﻓﻲ ھذا اﻟﺗرﺧﯾص ﻣﻠزًﻣﺎ إﻻ إذا ﻛﺎن ﻣﻛﺗوًﺑﺎ وﻣوﻗًﻌﺎ ﻣن ﺷرﻛﺔ ‪ .Apple‬أي‬
  ‫ﺗرﺟﻣﺔ ﺗﺗم ﻟﮭذا اﻟﺗرﺧﯾص ﺗﻛون ﻟﻣﺗطﻠﺑﺎت ﻣﺣﻠﯾﺔ‪ ،‬وﻓﻲ ﺣﺎﻟﺔ وﺟود ﺧﻼف ﺑﯾن اﻟﻧﺳﺧﺔ اﻹﻧﺟﻠﯾزﯾﺔ واﻟﻧﺳﺦ اﻟﻣﻛﺗوﺑﺔ ﺑﻠﻐﺎت ﻏﯾر اﻟﻠﻐﺔ اﻹﻧﺟﻠﯾزﯾﺔ‪ ،‬ﺗﻛون‬
                                                     ‫اﻟﻠﻐﺔ اﻹﻧﺟﻠﯾزﯾﺔ ھﻲ اﻟﻠﻐﺔ اﻟﺳﺎرﯾﺔ‪ ،‬إﻟﻰ اﻟﺣد ﻏﯾر اﻟﻣﺣظور ﺑﻣوﺟب اﻟﻘﺎﻧون اﻟﻣﺣﻠﻲ ﻓﻲ ﺑﻠدك‪.‬‬

  ‫‪ .14‬إﻗرارات اﻷطراف اﻷﺧرى‪ .‬ﺗﻘوم أﺟزاء ﻣن ﺑرﻧﺎﻣﺞ ‪ iOS‬ﺑﺎﺳﺗﺧدام وﺗﺿﻣﯾن ﺑراﻣﺞ ﻣن طرف ﺛﺎﻟث وﻏﯾر ذﻟك ﻣن اﻟﻣواد اﻟﻣﺣﻣﯾﺔ ﺑﻣوﺟب ﺣﻘوق‬
‫اﻟطﺑﻊ واﻟﻧﺷر‪ .‬وﺗرد اﻹﻗرارات وﺷروط اﻟﺗرﺧﯾص وإﺧﻼء اﻟﻣﺳؤوﻟﯾﺔ ﻟﮭذه اﻟﻣواد ﻓﻲ اﻟوﺛﺎﺋق اﻹﻟﻛﺗروﻧﯾﺔ ﻟﺑرﻧﺎﻣﺞ ‪ ،iOS‬وﯾﺧﺿﻊ اﺳﺗﺧداﻣك ﻟﮭذه اﻟﻣواد‬
                     ‫ﻟﺗﻠك اﻟﺷروط اﻟﺧﺎﺻﺔ ﺑﻛل ﻣﻧﮭﺎ‪ .‬ﺗﺧﺿﻊ ﺧدﻣﺔ اﺳﺗﺧدام اﻟﺗﺻﻔﺢ اﻵﻣن ﻟﺷروط ﺧدﻣﺔ ‪ Google‬اﻟﻣوﺟودة ﻋﻠﻰ اﻟﻣوﻗﻊ )‪https://‬‬
‫‪ (www.google.com/intl/ar/policies/terms‬وﺳﯾﺎﺳﺔ ﺧﺻوﺻﯾﺔ ‪ Google‬اﻟﻣوﺟودة ﻋﻠﻰ اﻟﻣوﻗﻊ )‪https://www.google.com/intl/‬‬
                                                                                                          ‫‪.(ar/policies/privacy‬‬

                                                                                          ‫‪ .15‬اﺳﺗﺧدام ‪ ،MPEG-4‬إﺧطﺎر ‪.H.264/AVC‬‬
      ‫)أ( ﺑرﻧﺎﻣﺞ ‪ iOS‬ﻣرﺧص ﺑﻣوﺟب ﺗرﺧﯾص ﻣﺣﻔظﺔ ﺑراءة اﻻﺧﺗراع ﻷﻧظﻣﺔ ‪ MPEG-4‬ﻟﻠﺗرﻣﯾز ﺑﺎﻟﺗواﻓق ﻣﻊ ﻣﻌﯾﺎر أﻧظﻣﺔ ‪ ،MPEG-4‬إﻻ أن‬
 ‫اﻟﺗرﻣﯾز ﯾﺗطﻠب ﺗرﺧﯾﺻﺎ ً إﺿﺎﻓﯾﺎ ً ودﻓﻊ اﻣﺗﯾﺎزات ﻓﯾﻣﺎ ﯾﺗﻌﻠق ﺑﻣﺎ ﯾﻠﻲ )‪ (1‬اﻟﺑﯾﺎﻧﺎت اﻟﻣﺧزﻧﺔ أو اﻟﻣﻛررة ﻓﻲ اﻟوﺳﺎﺋط اﻟﻣﺎدﯾﺔ اﻟﻣدﻓوﻋﺔ ﻋﻠﻰ أﺳﺎس ﻛل ﺳﻧد‬
 ‫ﻣﻠﻛﯾﺔ و‪/‬أو )‪ (2‬اﻟﺑﯾﺎﻧﺎت اﻟﻣدﻓوﻋﺔ ﻋﻠﻰ أﺳﺎس ﻛل ﺳﻧد ﻣﻠﻛﯾﺔ واﻟﻣﻧﻘوﻟﺔ إﻟﻰ اﻟﻣﺳﺗﺧدم اﻟﻧﮭﺎﺋﻲ ﻟﻠﺗﺧزﯾن و‪/‬أو اﻻﺳﺗﺧدام اﻟداﺋم‪ .‬وﯾﻣﻛن اﻟﺣﺻول ﻋﻠﻰ ھذا‬
                   ‫اﻟﺗرﺧﯾص اﻹﺿﺎﻓﻲ ﻣن ﺷرﻛﺔ ‪ .MPEG LA، LLC‬راﺟﻊ ‪ http://www.mpegla.com‬ﻟﻼطﻼع ﻋﻠﻰ ﺗﻔﺎﺻﯾل إﺿﺎﻓﯾﺔ‪.‬‬
         ‫‪Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 124 of 452‬‬



       ‫)ب( ﯾﺷﺗﻣل ﺑرﻧﺎﻣﺞ ‪ iOS‬ﻋﻠﻰ وظﺎﺋف ﺗﺷﻔﯾر و‪/‬أو ﻓك ﺗﺷﻔﯾر اﻟﻔﯾدﯾو ﺑﺻﯾﻐﺔ ‪ .MPEG-4‬ﺑرﻧﺎﻣﺞ ‪ iOS‬ﻣرﺧص ﺑﺣﺳب ﺗرﺧﯾص ﺣﺎﻓظﺔ ﺑراءة‬
      ‫اﻻﺧﺗراع اﻟﻣرﺋﯾﺔ اﻟﺧﺎﺻﺔ ﺑـ ‪ MPEG-4‬ﻟﻼﺳﺗﺧدام اﻟﺷﺧﺻﻲ وﻏﯾر اﻟﺗﺟﺎري ﻟﻣﺎ ﯾﻠﻲ‪ (1) :‬ﺗﺷﻔﯾر اﻟﻔﯾدﯾو ﺑﺎﻟﺗواﻓق ﻣﻊ ﻣﻌﯾﺎر ‪ MPEG-4‬اﻟﻣرﺋﻲ‬
‫)“ﻓﯾدﯾو ‪ (”MPEG-4‬و‪/‬أو )‪ (2‬ﻓك ﺗﺷﻔﯾر ﻓﯾدﯾو ‪ MPEG-4‬ﺗم ﺗﺷﻔﯾره ﻣن ﺧﻼل ﻣﺳﺗﺧدم ﻣرﺗﺑط ﺑﻧﺷﺎط ﺷﺧﺻﻲ وﻏﯾر ﺗﺟﺎري و‪/‬أو ﺗم اﻟﺣﺻول ﻋﻠﯾﮫ‬
   ‫ﻣن ﻣﻘدم ﻓﯾدﯾو ﻣرﺧص ﻟﮫ ﻣن ﺷرﻛﺔ ‪ MPEG LA‬ﻟﺗوﻓﯾر ﻓﯾدﯾو ‪ .MPEG-4‬ﻻ ﯾﺗم ﻣﻧﺢ أو ﺗﺿﻣﯾن أي ﺗرﺧﯾص ﻷي اﺳﺗﺧدام آﺧر‪ .‬ﯾﻣﻛن اﻟﺣﺻول‬
    ‫ﻋﻠﻰ ﻣﻌﻠوﻣﺎت إﺿﺎﻓﯾﺔ ﺑﻣﺎ ﻓﻲ ذﻟك ﺗﻠك اﻟﻣﺗﻌﻠﻘﺔ ﺑﺎﻻﺳﺗﺧداﻣﺎت واﻟﺗرﺧﯾص اﻟﺗروﯾﺟﻲ واﻟﺗﺟﺎري واﻟداﺧﻠﻲ ﻣن ‪ .MEGA LA, LLC‬راﺟﻊ ‪http://‬‬
                                                                                                       ‫‪.www.mpegla.com‬‬

  ‫)ج( ﯾﺣﺗوي ﺑرﻧﺎﻣﺞ ‪ iOS‬ﻋﻠﻰ وظﯾﻔﺔ ﺗﺷﻔﯾر و‪/‬أو ﻓك ﺗﺷﻔﯾر ‪ ،AVC‬وﯾﺗطﻠب اﻻﺳﺗﺧدام اﻟﺗﺟﺎري ﻟـ ‪ H.264/AVC‬اﻟﺣﺻول ﻋﻠﻰ ﺗراﺧﯾص إﺿﺎﻓﯾﺔ‬
     ‫وﯾﺳري ﺣﻛم اﻟﻧص اﻟﺗﺎﻟﻲ‪ :‬ﺗم ﺗرﺧﯾص وظﯾﻔﺔ ‪ AVC‬ﻓﻲ ﺑرﻧﺎﻣﺞ ‪ iOS‬ﺑﺣﺳب ھذا اﻟﺗرﺧﯾص ﻓﻘط ﻟﻼﺳﺗﺧدام اﻟﺷﺧﺻﻲ وﻏﯾر اﻟﺗﺟﺎري ﻟﻠﻣﺳﺗﮭﻠك‬
      ‫ﻟﻠﻘﯾﺎم ﺑﻣﺎ ﯾﻠﻲ‪ (1) :‬ﺗﺷﻔﯾر اﻟﻔﯾدﯾو ﺑﺎﻟﺗواﻓق ﻣﻊ ﻣﻌﯾﺎر ‪“) AVC‬ﻓﯾدﯾو ‪ (”AVC‬و‪/‬أو )‪ (2‬ﻓك ﺗﺷﻔﯾر ﻓﯾدﯾو ‪ AVC‬ﺗم ﺗﺷﻔﯾره ﻣن ﺧﻼل ﻣﺳﺗﺧدم‬
       ‫ﻣرﺗﺑط ﺑﻧﺷﺎط ﺷﺧﺻﻲ وﻏﯾر ﺗﺟﺎري و‪/‬أو ﻓﯾدﯾو ‪ AVC‬ﺗم اﻟﺣﺻول ﻋﻠﯾﮫ ﻣن ﻣﻘدم ﻓﯾدﯾو ﻣرﺧص ﻟﮫ ﻟﺗوﻓﯾر ﻓﯾدﯾو ‪ .AVC‬ﯾﻣﻛن اﻟﺣﺻول ﻋﻠﻰ‬
                       ‫اﻟﻣﻌﻠوﻣﺎت اﻟﻣﺗﻌﻠﻘﺔ ﺑﺎﻻﺳﺗﺧداﻣﺎت واﻟﺗراﺧﯾص اﻷﺧرى ﻣن ‪ .MPEG LA L.L.C‬راﺟﻊ ‪http://www.mpegla.com‬‬

    ‫‪ .16‬ﻗﯾود ﺧدﻣﺔ اﻟﺑﺣث ﻓﻲ ‪ .Yahoo‬ﺧدﻣﺔ اﻟﺑﺣث ﻓﻲ ‪ Yahoo‬واﻟﻣﺗﺎﺣﺔ ﻣن ﺧﻼل ‪ Safari‬ﻣرﺧص ﺑﺎﺳﺗﺧداﻣﮭﺎ ﻓﻲ اﻟدول واﻟﻣﻧﺎطق اﻟﺗﺎﻟﯾﺔ ﻓﻘط‪:‬‬
‫اﻷرﺟﻧﺗﯾن‪ ،‬أروﺑﺎ‪ ،‬أﺳﺗراﻟﯾﺎ‪ ،‬اﻟﻧﻣﺳﺎ‪ ،‬ﺑرﺑﺎدوس‪ ،‬ﺑﻠﺟﯾﻛﺎ‪ ،‬ﺑرﻣودا‪ ،‬اﻟﺑرازﯾل‪ ،‬ﺑﻠﻐﺎرﯾﺎ‪ ،‬ﻛﻧدا‪ ،‬ﺟزر ﻛﯾﻣﺎن‪ ،‬ﺗﺷﯾﻠﻲ‪ ،‬اﻟﺻﯾن‪ ،‬ﺑر اﻟﺻﯾن اﻟرﺋﯾﺳﻲ‪ ،‬ھوﻧﻎ ﻛوﻧﻎ‪،‬‬
          ‫ﺗﺎﯾوان‪ ،‬ﻛوﻟوﻣﺑﯾﺎ‪ ،‬ﻗﺑرص‪ ،‬ﺟﻣﮭورﯾﺔ اﻟﺗﺷﯾك‪ ،‬اﻟدﻧﻣﺎرك‪ ،‬ﺟﻣﮭورﯾﺔ اﻟدوﻣﯾﻧﯾﻛﺎن‪ ،‬اﻹﻛوادور‪ ،‬اﻟﺳﻠﻔﺎدور‪ ،‬ﻓﻧﻠﻧدا‪ ،‬ﻓرﻧﺳﺎ‪ ،‬أﻟﻣﺎﻧﯾﺎ‪ ،‬اﻟﯾوﻧﺎن‪ ،‬ﺟرﯾﻧﺎدا‪،‬‬
  ‫ﺟواﺗﯾﻣﺎﻻ‪ ،‬اﻟﻣﺟر‪ ،‬آﯾﺳﻠﻧدا‪ ،‬اﻟﮭﻧد‪ ،‬إﻧدوﻧﯾﺳﯾﺎ‪ ،‬آﯾرﻟﻧدا‪ ،‬إﯾطﺎﻟﯾﺎ‪ ،‬ﺟﺎﻣﺎﯾﻛﺎ‪ ،‬ﯾﺎﺑﺎن‪ ،‬ﻻﺗﻔﯾﺎ‪ ،‬ﻟﯾﺗواﻧﯾﺎ‪ ،‬ﻟوﻛﺳﻣﺑورج‪ ،‬ﻣﺎﻟﯾزﯾﺎ‪ ،‬ﻣﺎﻟطﺎ‪ ،‬اﻟﻣﻛﺳﯾك‪ ،‬ھوﻟﻧدا‪ ،‬ﻧﯾوزﯾﻠﻧدا‪،‬‬
 ‫ﻧﯾﻛﺎراﺟوا‪ ،‬اﻟﻧروﯾﺞ‪ ،‬ﺑﻧﻣﺎ‪ ،‬ﺑﯾرو‪ ،‬اﻟﻔﻠﺑﯾن‪ ،‬ﺑوﻟﻧدا‪ ،‬اﻟﺑرﺗﻐﺎل‪ ،‬ﺑورﺗو رﯾﻛو‪ ،‬روﻣﺎﻧﯾﺎ‪ ،‬ﺳﻧﻐﺎﻓورة‪ ،‬ﺳﻠوﻓﺎﻛﯾﺎ‪ ،‬ﺳﻠوﻓﯾﻧﯾﺎ‪ ،‬ﻛورﯾﺎ اﻟﺟﻧوﺑﯾﺔ‪ ،‬إﺳﺑﺎﻧﯾﺎ‪ ،‬ﺳﺎﻧت ﻟوﺷﯾﺎ‪،‬‬
          ‫ﺳﺎﻧت ﻓﯾﻧﺳﯾﻧت‪ ،‬اﻟﺳوﯾد‪ ،‬ﺳوﯾﺳرا‪ ،‬ﺗﺎﯾﻼﻧد‪ ،‬ﺟزر اﻟﺑﺎھﺎﻣﺎس‪ ،‬ﺗرﯾﻧداد وﺗوﺑﺎﺟو‪ ،‬ﺗرﻛﯾﺎ‪ ،‬اﻟﻣﻣﻠﻛﺔ اﻟﻣﺗﺣدة‪ ،‬أوروﺟواي‪ ،‬اﻟوﻻﯾﺎت اﻟﻣﺗﺣدة‪ ،‬ﻓﯾﻧزوﯾﻼ‪.‬‬

      ‫‪ .17‬إﺧطﺎر ‪ .Microsoft Exchange‬ﺗم ﺗرﺧﯾص ﺿﺑط ﺑرﯾد ‪ Microsoft Exchange‬ﻓﻲ ﺑرﻧﺎﻣﺞ ‪ iOS‬ﻓﻘط ﻟﻣزاﻣﻧﺔ اﻟﻣﻌﻠوﻣﺎت ﻋﺑر‬
       ‫اﻟﮭواء ﻣﺛل اﻟﺑرﯾد اﻹﻟﻛﺗروﻧﻲ واﻷﺳﻣﺎء واﻟﺗﻘوﯾم واﻟﻣﮭﻣﺎت ﺑﯾن اﻟـ ‪ iOS‬اﻟﺧﺎص ﺑك وﺧﺎدم ‪ Microsoft Exchange‬أو ﺑراﻣﺞ ﺧﺎدﻣﺔ أﺧرى‬
                                              ‫ﻣرﺧﺻﺔ ﺑواﺳطﺔ ‪ Microsoft‬ﻟﺗطﺑﯾق ﺑروﺗوﻛول ‪.Microsoft Exchange Active Sync‬‬

                                                                                                                                         ‫‪EA1566‬‬
                                                                                                                                      ‫‪21/02/2019‬‬

                                                                                                                ‫————————————‬
                                                                                                                  ‫أﺣﻛﺎم وﺷروط ‪Apple Pay‬‬

     ‫أﺣﻛﺎم وﺷروط ‪ Apple Pay‬اﻟﺗﻛﻣﯾﻠﯾﺔ ھذه )واﻟﻣﺷﺎر إﻟﯾﮭﺎ ﺑﺎﺳم “اﻟﺷروط اﻟﺗﻛﻣﯾﻠﯾﺔ”( ھﻲ ﺗﻛﻣﻠﺔ ﻻﺗﻔﺎﻗﯾﺔ ﺗرﺧﯾص ﺑرﻧﺎﻣﺞ ‪) iOS‬اﻟﻣﺷﺎر إﻟﯾﮭﺎ ﺑﺎﺳم‬
          ‫“اﻟﺗرﺧﯾص”(؛ وﺗﺣﻛم ﻛل ﻣن ﺷروط اﻟﺗرﺧﯾص وھذه اﻟﺷروط اﻟﺗﻛﻣﯾﻠﯾﺔ اﺳﺗﺧدام ﻣﯾزة ‪ ،Apple Pay‬واﻟﺗﻲ ﯾﺗﻌﯾن اﻋﺗﺑﺎرھﺎ “ﺧدﻣﺔ” ﺑﻣوﺟب‬
    ‫اﻟﺗرﺧﯾص‪ .‬ﺗﺣﻣل اﻟﻣﺻطﻠﺣﺎت اﻟﻣﻛﺗوﺑﺔ ﺑﺎﻟﺣروف اﻟﻼﺗﯾﻧﯾﺔ اﻟﻛﺑﯾرة واﻟﻣﺳﺗﺧدﻣﺔ ﻓﻲ ھذه اﻟﺷروط اﻟﺗﻛﻣﯾﻠﯾﺔ اﻟﻣﻌﺎﻧﻲ اﻟﻣﻧﺻوص ﻋﻠﯾﮭﺎ ﻓﻲ اﻟﺗرﺧﯾص‪.‬‬

                                                                                                                      ‫‪ .1‬ﻧظرة ﻋﺎﻣﺔ وﻗﯾود اﻻﺳﺗﺧدام‬

                                                                                                                              ‫ﺗﺗﯾﺢ ﻟك ‪:Apple Pay‬‬

 ‫إﻣﻛﺎﻧﯾﺔ ﺗﺧزﯾن ﺗﻣﺛﯾﻼت اﻓﺗراﺿﯾﺔ ﻟﺑطﺎﻗﺎت اﻻﺋﺗﻣﺎن واﻟﺳﺣب واﻟﺑطﺎﻗﺎت ﻣﺳﺑﻘﺔ اﻟدﻓﻊ – ﺑﻣﺎ ﻓﻲ ذﻟك ﺑطﺎﻗﺎت اﻻﺋﺗﻣﺎن واﻟﺳﺣب واﻟﺑطﺎﻗﺎت‬                     ‫•‬
    ‫ﻣﺳﺑﻘﺔ اﻟدﻓﻊ اﻟﺧﺎﺻﺔ ﺑﺎﻟﻣﺗﺎﺟر وﺑطﺎﻗﺎت ‪ - Apple Pay Cash‬اﻟﺗﻲ ﺗدﻋﻣﮭﺎ ﻣﯾزة ‪) Apple Pay‬اﻟﻣﺷﺎر إﻟﯾﮭﺎ ﺑﺎﺳم “ﺑطﺎﻗﺎت اﻟدﻓﻊ‬
 ‫اﻟﻣدﻋوﻣﺔ”( واﺳﺗﺧدام أﺟﮭزة ‪ iOS‬اﻟﻣدﻋوﻣﺔ ﻹﺟراء ﻋﻣﻠﯾﺎت اﻟدﻓﻊ اﻟذﻛﯾﺔ )ﺑدون ﻣﻼﻣﺳﺔ( ﻓﻲ ﻣواﻗﻊ ﺑﻌﯾﻧﮭﺎ أو داﺧل اﻟﺗطﺑﯾﻘﺎت أو ﻣواﻗﻊ‬
                                                                                                                       ‫اﻟوﯾب‪.‬‬
 ‫اﺳﺗﺧدام ﺑطﺎﻗﺎت اﻟﺟواﺋز واﻟﮭداﯾﺎ اﻟﻣﺣﻔوظﺔ ﻓﻲ ‪) Wallet‬اﻟﻣﺷﺎر إﻟﯾﮭﺎ ﺑﺎﺳم “اﻟﺑطﺎﻗﺎت اﻟﺗﻲ ﺗم ﺗﻣﻛﯾﻧﮭﺎ ﻟـ ‪ ،”Apple Pay‬واﻟﻣﺷﺎر إﻟﯾﮭﺎ‬                ‫•‬
      ‫ﻋﻧدﻣﺎ ﺗﻛون ﻣﻊ ﺑطﺎﻗﺎت اﻟدﻓﻊ اﻟﻣدﻋوﻣﺔ ﺑﺎﺳم “اﻟﺑطﺎﻗﺎت اﻟﻣدﻋوﻣﺔ”(‪ ،‬ﻹﺟراء ﻣﻌﺎﻣﻼت ﺑطﺎﻗﺎت ﺟواﺋز وھداﯾﺎ ذﻛﯾﺔ ﻓﻲ ﻣﺗﺎﺟر ﻣﺣددة‬
                                                                            ‫ﻛﺟزء ﻣن ﻋﻣﻠﯾﺔ اﻟدﻓﻊ اﻟذﻛﯾﺔ ﺑﺎﺳﺗﺧدام ‪.Apple Pay‬‬
                                                       ‫اﻟﻘﯾﺎم ﺑﻌﻣﻠﯾﺎت اﻟدﻓﻊ اﻟﻣﺑﺎﺷر ﻣن ﺷﺧص ﻵﺧر إﻟﻰ ﻣﺳﺗﺧدﻣﻲ ‪.Apple Pay‬‬                        ‫•‬

‫ﻻ ﺗﺗوﻓر ﻣﯾزات ‪ Apple Pay‬اﻟﺧﺎﺻﺔ ﺑﺑرﻧﺎﻣﺞ ‪ iOS‬ﺳوى ﻓﻲ ﻣﻧﺎطق ﺑﻌﯾﻧﮭﺎ وﻟدى ﺟﮭﺎت إﺻدار ﺑطﺎﻗﺎت ﺑﻌﯾﻧﮭﺎ وﻟدى ﺗﺟﺎر وﻣؤﺳﺳﺎت ﻣﺎﻟﯾﺔ ﺑﻌﯾﻧﮭﺎ‪.‬‬
                                                                          ‫ﻟذا ﻓﻘد ﺗﺧﺗﻠف اﻟﻣﯾزات ﺑﺎﺧﺗﻼف اﻟﻣﻧطﻘﺔ وﺟﮭﺔ اﻹﺻدار واﻟﺗﺎﺟر‪.‬‬

 ‫ﻟﻛﻲ ﺗﺳﺗﺧدم ‪ ،Apple Pay‬ﯾﺟب أن ﺗﻛون ﻟدﯾك ﺑطﺎﻗﺔ ﻣدﻋوﻣﺔ‪ .‬وﻗد ﺗﺗﻐﯾر اﻟﺑطﺎﻗﺎت اﻟﻣدﻋوﻣﺔ ﻣن وﻗت ﻵﺧر‪ .‬ﺑﺎﻹﺿﺎﻓﺔ إﻟﻰ ذﻟك‪ ،‬ﻹرﺳﺎل أو اﺳﺗﻼم‬
                                                ‫ﻋﻣﻠﯾﺎت اﻟدﻓﻊ اﻟﻣﺑﺎﺷر ﻣن ﺷﺧص ﻵﺧر‪ ،‬ﯾﺟب أن ﯾﻛون ﻟدﯾك ﺑطﺎﻗﺔ ‪.Apple Pay Cash‬‬

    ‫ﺗﻘﺗرن ﺑطﺎﻗﺎت اﻟدﻓﻊ اﻟﻣدﻋوﻣﺔ وﻋﻣﻠﯾﺎت اﻟدﻓﻊ اﻟﻣﺑﺎﺷر ﻣن ﺷﺧص ﻵﺧر ﻣﻊ ‪ Apple ID‬اﻟﻣﺳﺗﺧدم ﻓﻲ ﺗﺳﺟﯾل اﻟدﺧول إﻟﻰ ‪ iCloud‬ﻻﺳﺗﺧدام ھذه‬
  ‫اﻟﻣﯾزات‪ .‬ﻻ ﺗﺗوﻓر اﻟﺑطﺎﻗﺎت اﻟﻣدﻋوﻣﺔ إﻻ ﻟﻸﻓراد اﻟذﯾن ﻻ ﺗﻘل أﻋﻣﺎرھم ﻋن ‪ ١٣‬ﻋﺎًﻣﺎ‪ ،‬وﻗد ﺗﺧﺿﻊ ﻟﻘﯾود إﺿﺎﻓﯾﺔ ﻣﺗﻌﻠﻘﺔ ﺑﺎﻟُﻌﻣر ﺗﻔرﺿﮭﺎ ‪ iCloud‬أو‬
  ‫اﻟﺑطﺎﻗﺔ اﻟﻣدﻋوﻣﺔ اﻟﺗﻲ ﺗﺣﺎول ﺗﻘدﯾﻣﮭﺎ‪ .‬ﺗﺗوﻓر ﺑطﺎﻗﺔ ‪ Apple Pay Cash‬واﻟﻘدرة ﻋﻠﻰ إرﺳﺎل واﺳﺗﻼم ﻋﻣﻠﯾﺎت اﻟدﻓﻊ اﻟﻣﺑﺎﺷر ﻣن ﺷﺧص ﻵﺧر ﻓﻘط‬
                                                                                            ‫ﻟﻸﻓراد اﻟذﯾن ﺗﺑﻠﻎ أﻋﻣﺎرھم ‪ ١٨‬ﻋﺎًﻣﺎ أو أﻛﺛر‪.‬‬
         ‫‪Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 125 of 452‬‬




                                                                                                 ‫ﻣﯾزة ‪ Apple Pay‬ﻣﺻﻣﻣﺔ ﺧﺻﯾ ً‬
      ‫ﺻﺎ ﻟﻼﺳﺗﺧدام اﻟﺷﺧﺻﻲ وﻻ ﯾﺟوز ﻟك ﺗﻘدﯾم ﺳوى اﻟﺑطﺎﻗﺎت اﻟﻣدﻋوﻣﺔ اﻟﺧﺎﺻﺔ ﺑك‪ .‬إذا ﻛﻧت ﺗﻘدم ﺑطﺎﻗﺔ ﺷرﻛﺔ‬
   ‫ﻣدﻋوﻣﺔ‪ ،‬ﻓﺄﻧت ﺗﺗﻌﮭد ﺑﺄﻧك ﺗﻔﻌل ذﻟك ﺑﺗﻔوﯾض ﻣن ﺻﺎﺣب اﻟﺷرﻛﺔ وﺗﻠزم ﺻﺎﺣب اﻟﺷرﻛﺔ ﺑﺷروط اﻻﺳﺗﺧدام ھذه وﺟﻣﯾﻊ اﻟﻣﻌﺎﻣﻼت اﻟﻣﺗﺄﺛرة ﺑﺎﺳﺗﺧدام‬
     ‫ھذه اﻟﻣﯾزة‪ .‬إذا ﻛﻧت ﺗﻘوم ﺑﺈرﺳﺎل أو اﺳﺗﻼم ﻋﻣﻠﯾﺎت اﻟدﻓﻊ اﻟﻣﺑﺎﺷر ﻣن ﺷﺧص ﻵﺧر‪ ،‬ﻓﺄﻧت ﺗﻘر أﻧك ﺗﻘوم ﺑذﻟك ﻻﺳﺗﺧداﻣك اﻟﺷﺧﺻﻲ ﻏﯾر اﻟﺗﺟﺎري‪.‬‬

       ‫أﻧت ﺗواﻓق ﻋﻠﻰ ﻋدم اﺳﺗﺧدام ‪ Apple Pay‬ﻷﻏراض ﻏﯾر ﻗﺎﻧوﻧﯾﺔ أو اﺣﺗﯾﺎﻟﯾﺔ أو ﻷي أﻏراض أﺧرى ﻣﺣظورة ﺑﻣوﺟب ﺷروط اﻟﺗرﺧﯾص وھذه‬
  ‫اﻟﺷروط اﻟﺗﻛﻣﯾﻠﯾﺔ‪ .‬أﻧت ﺗواﻓق ﻛذﻟك ﻋﻠﻰ اﺳﺗﺧدام ‪ Apple Pay‬ﺑﻣﺎ ﯾﺗواﻓق ﻣﻊ اﻟﻘواﻧﯾن واﻟﺗﺷرﯾﻌﺎت اﻟﻣﻌﻣول ﺑﮭﺎ‪ .‬أﻧت ﺗواﻓق ﻋﻠﻰ ﻋدم اﻟﺗداﺧل ﻣﻊ‬
      ‫ﺧدﻣﺔ ‪ Apple Pay‬أو ﻣﻘﺎطﻌﺗﮭﺎ )ﺑﻣﺎ ﻓﻲ ذﻟك اﻟوﺻول إﻟﻰ اﻟﺧدﻣﺔ ﺑﺄي طرق ﺗﻠﻘﺎﺋﯾﺔ( أو أي ﺧوادم أو ﺷﺑﻛﺎت ﻣﺗﺻﻠﺔ ﺑﺎﻟﺧدﻣﺔ أو أي ﺳﯾﺎﺳﺎت أو‬
  ‫ﻣﺗطﻠﺑﺎت أو ﻗواﻋد ﺧﺎﺻﺔ ﺑﺎﻟﺷﺑﻛﺎت اﻟﻣﺗﺻﻠﺔ ﺑﺎﻟﺧدﻣﺔ )ﺑﻣﺎ ﻓﻲ ذﻟك أي وﺻول ﻏﯾر ﻣﻌﺗﻣد إﻟﻰ ﺑﯾﺎﻧﺎﺗﮭﺎ أو ﺣرﻛﺎت ﻣرورھﺎ أو اﺳﺗﺧداﻣﮭﺎ أو ﻣراﻗﺑﺗﮭﺎ(‪.‬‬

                                                                                                               ‫‪ .2‬اﻟﻌﻼﻗﺔ ﺑﯾﻧك وﺑﯾن ‪Apple‬‬

 ‫ﺗﺗﯾﺢ ﻟك ‪ Apple Pay‬إﻣﻛﺎﻧﯾﺔ إﻧﺷﺎء ﺗﻣﺛﯾل اﻓﺗراﺿﻲ ﻟﺑطﺎﻗﺎﺗك اﻟﻣدﻋوﻣﺔ ﻋﻠﻰ ﺟﮭﺎز ‪ .iOS‬وﻣﻊ ذﻟك ﻻ ﺗﻌﺎﻟﺞ ‪ Apple‬اﻟدﻓﻌﺎت أو ﻣﻌﺎﻣﻼت اﻟﺑطﺎﻗﺎت‬
 ‫ﻏﯾر اﻟدﻓﻌﯾﺔ اﻷﺧرى )ﻣﺛل ﺗراﻛم اﻟﺟواﺋز واﺳﺗردادھﺎ(‪ ،‬أو ﺗﺳﺗﻠم اﻷﻣوال أو ﺗﺣﺟزھﺎ أو ﺗﻘوم ﺑﻧﻘﻠﮭﺎ‪ ،‬أو ﺗﺗﺣﻛم ﺑﺄي ﺷﻛل آﺧر ﻓﻲ اﻟدﻓﻌﺎت أو اﻟﻌواﺋد أو‬
                                   ‫اﻷﻣوال اﻟﻣﺳﺗردة أو اﻟﺟواﺋز أو اﻟﻘﯾﻣﺔ أو اﻟﺧﺻوﻣﺎت أو أي ﻧﺷﺎط ﺗﺟﺎري آﺧر ﻗد ﯾﻧﺷﺄ ﻋن اﺳﺗﺧدام ھذه اﻟﻣﯾزة‪.‬‬

   ‫ﻻ ﺗزال ﺷروط اﺗﻔﺎﻗﯾﺎت ﻣﺎﻟك اﻟﺑطﺎﻗﺔ اﻟﺗﻲ أﺑرﻣﺗﮭﺎ ﻣﻊ ﺟﮭﺔ إﺻدار اﻟﺑطﺎﻗﺔ ﺗﺣﻛم ﺑطﺎﻗﺎﺗك اﻟﻣدﻋوﻣﺔ واﺳﺗﺧداﻣﮭﺎ ﻓﯾﻣﺎ ﯾﺗﻌﻠق ﺑﻣﯾزة ‪.Apple Pay‬‬
‫وﺑﺎﻟﻣﺛل‪ ،‬ﻓﺈن ﻣﺷﺎرﻛﺗك ﻓﻲ أي ﺑراﻣﺞ ﺟواﺋز ﺗﺟﺎرﯾﺔ أو ﺑطﺎﻗﺎت ھداﯾﺎ واﺳﺗﺧداﻣك ﻟﻠﺑطﺎﻗﺎت اﻟﺗﻲ ﺗم ﺗﻣﻛﯾن ‪ Apple Pay‬ﻟﮭﺎ ﻓﯾﻣﺎ ﯾﺗﻌﻠق ﺑﻣﯾزة ‪Apple‬‬
                                                                                  ‫‪ Pay‬ﺳﯾﺧﺿﻊ ﻟﻸﺣﻛﺎم واﻟﺷروط اﻟﺧﺎﺻﺔ ﺑذﻟك اﻟﺗﺎﺟر‪.‬‬

    ‫ﺗﺗوﻓر ﺑطﺎﻗﺔ ‪ Apple Pay Cash‬واﻟﻘدرة ﻋﻠﻰ إرﺳﺎل واﺳﺗﻼم ﻋﻣﻠﯾﺎت اﻟدﻓﻊ اﻟﻣﺑﺎﺷر ﻣن ﺷﺧص ﻵﺧر ﻓﻘط ﻓﻲ اﻟوﻻﯾﺎت اﻟﻣﺗﺣدة‪ ،‬وھﻲ اﻟﺧدﻣﺎت‬
       ‫اﻟﺗﻲ ﯾﻘدﻣﮭﺎ ﺑﻧك ‪ ،Green Dot‬اﻟذي ﻟدﯾﮫ ﻋﺿوﯾﺔ ﻓﻲ ‪ .FDIC‬ﻋﻧدﻣﺎ ﺗﻘوم ﺑﺗﻣﻛﯾن ھذه اﻟﻣﯾزات ﻓﻲ ‪ ،Apple Pay‬ﻓﺈﻧك ﺗﻔﺗﺢ ﺣﺳﺎًﺑﺎ ﻟدى ﺑﻧك‬
  ‫‪ ،Green Dot‬وﻋﻧدﻣﺎ ﺗﻘوم ﺑﺈرﺳﺎل أو اﺳﺗﻼم ﻋﻣﻠﯾﺎت اﻟدﻓﻊ اﻟﻣﺑﺎﺷر ﻣن ﺷﺧص ﻵﺧر أو ﺗﺣﻣﯾل أو ﺳﺣب أﻣوال ﻣن ﺑطﺎﻗﺔ ‪،Apple Pay Cash‬‬
    ‫ﺳﯾﻛون ﺑﻧك ‪ Green Dot‬ﻣﺳؤوًﻻ ﻋن اﺳﺗﻼم وإرﺳﺎل أﻣواﻟك إﻟﻰ اﻟﻣﺳﺗﻠم اﻟﻣﻘﺻود‪ .‬اﻟﻣؤﺳﺳﺔ اﻟﻣﺎﻟﯾﺔ اﻟﻣﺳؤوﻟﺔ ﻋن ﺗﻘدﯾم ‪Apple Pay Cash‬‬
     ‫وﻋﻣﻠﯾﺎت اﻟدﻓﻊ اﻟﻣﺑﺎﺷر ﻣن ﺷﺧص ﻵﺧر اﻟدﻓﻊ ﺑﺎﺳﺗﺧدام ‪ Apple Pay‬ﻋرﺿﺔ ﻟﻠﺗﻐﯾﯾر‪ ،‬وﯾﺧﺿﻊ اﺳﺗﺧداﻣك ﻟﮭذه اﻟﻣﯾزات إﻟﻰ اﻷﺣﻛﺎم واﻟﺷروط‬
                                                                                                                  ‫اﻟﺧﺎﺻﺔ ﺑﮭﺎ‪.‬‬

     ‫ﻻ ﯾوﺟد ﺷﻲء ﻓﻲ اﻟﺗرﺧﯾص أو ھذه اﻟﺷروط اﻹﺿﺎﻓﯾﺔ ﯾﻘوم ﺑﺗﻌدﯾل ﺷروط اﺗﻔﺎﻗﯾﺔ أي ﻣن ﺣﺎﻣﻠﻲ اﻟﺑطﺎﻗﺎت أو اﻟﻣﺳﺗﺧدﻣﯾن أو اﻟﺗﺟﺎر‪ ،‬وﺳﺗﺣﻛم ھذه‬
  ‫اﻟﺷروط اﺳﺗﺧداﻣك ﻟﻠﺑطﺎﻗﺔ اﻟﻣدﻋوﻣﺔ أو ﻣﯾزة اﻟدﻓﻊ اﻟﻣﺑﺎﺷر ﻣن ﺷﺧص ﻵﺧر ﺑﺎﺳﺗﺧدام ‪ Apple Pay‬وﺗﻣﺛﯾﻠﮭﺎ اﻻﻓﺗراﺿﻲ ﻋﻠﻰ ﺟﮭﺎز ‪ iOS‬اﻟﺧﺎص‬
   ‫ﺑك‪ .‬أﻧت ﺗواﻓق ﻋﻠﻰ أن ‪ Apple‬ﻟﯾﺳت طرًﻓﺎ ﻓﻲ اﺗﻔﺎﻗﯾﺎت ﻣﺎﻟك اﻟﺑطﺎﻗﺔ أو اﻟﺗﺎﺟر وﻻ ﺗﺗﺣﻣل ‪ Apple‬اﻟﻣﺳؤوﻟﯾﺔ ﻋن )أ( ﻣﺣﺗوى أي ﺑطﺎﻗﺎت دﻓﻊ أو‬
  ‫ﺑطﺎﻗﺎت ﺟواﺋز أو ﺑطﺎﻗﺎت ھداﯾﺎ أو أﻧﺷطﺔ ﺗﺟﺎرﯾﺔ أو ﻣﻌﺎﻣﻼت أو ﻣﺷﺗرﯾﺎت أو دﻗﺗﮭﺎ أو ﻋدم ﺗوﻓرھﺎ أﺛﻧﺎء اﺳﺗﺧدام وظﯾﻔﺔ ‪) Apple Pay‬ب( إﺻدار‬
‫ﺑطﺎﻗﺔ اﻻﺋﺗﻣﺎن أو ﺗﻘﯾﯾم ﻣدى أھﻠﯾﺗﮭﺎ؛ )ج( ﺗراﻛم ﺑطﺎﻗﺎت اﻟﺟواﺋز أو اﻟﻘﯾﻣﺔ اﻟﻣﺧزﻧﺔ أو اﺳﺗردادھﺎ ﺑﻣوﺟب ﺑرﻧﺎﻣﺞ ﻷﺣد اﻟﺗﺟﺎر؛ )د( ﺗﻣوﯾل أو إﻋﺎدة ﺷﺣن‬
 ‫اﻟﺑطﺎﻗﺎت ﻣﺳﺑﻘﺔ اﻟدﻓﻊ؛ )ھـ( إرﺳﺎل أو اﺳﺗﻼم ﻋﻣﻠﯾﺎت اﻟدﻓﻊ اﻟﻣﺑﺎﺷر ﻣن ﺷﺧص ﻵﺧر؛ أو )و( ﺗﺣﻣﯾل أو اﺳﺗرداد أو ﺳﺣب اﻷﻣوال ﻣن ﺑطﺎﻗﺔ ‪Apple‬‬
                                                                                                                             ‫‪.Pay Cash‬‬

‫ﺑﺎﻟﻧﺳﺑﺔ ﻟﺟﻣﯾﻊ اﻟﻧزاﻋﺎت أو اﻟﻣﺳﺎﺋل اﻟﻣﺗﻌﻠﻘﺔ ﺑﺑطﺎﻗﺎت اﻟدﻓﻊ أو ﺑطﺎﻗﺎت اﻟﺟواﺋز أو ﺑطﺎﻗﺎت اﻟﮭداﯾﺎ أو اﻟﻧﺷﺎط اﻟﺗﺟﺎري اﻟﻣرﺗﺑط ﺑﮭﺎ‪ُ ،‬ﯾرﺟﻰ اﻻﺗﺻﺎل ﺑﺟﮭﺔ‬
‫اﻹﺻدار أو اﻟﺗﺎﺟر اﻟﻣﻧﺎﺳب‪ .‬إذا ﻛﺎن ﻟدﯾك أي أﺳﺋﻠﺔ ﻣﺗﻌﻠﻘﺔ ﺑﺑطﺎﻗﺔ ‪ Apple Pay Cash‬أو ﻋﻣﻠﯾﺎت اﻟدﻓﻊ اﻟﻣﺑﺎﺷر ﻣن ﺷﺧص ﻵﺧر‪ ،‬ﯾرﺟﻰ اﻻﺗﺻﺎل‬
                                                                                                                               ‫ﺑدﻋم ‪.Apple‬‬

                                                                                                                              ‫‪ .3‬اﻟﺧﺻوﺻﯾﺔ‬

       ‫ﺗﺗطﻠب ‪ Apple Pay‬ﺑﻌض اﻟﻣﻌﻠوﻣﺎت ﻣن ﺟﮭﺎز ‪ iOS‬اﻟﺧﺎص ﺑك ﺣﺗﻰ ﺗﺗﻣﻛن ﻣن ﺗﻘدﯾم اﻟﺗﺟرﺑﺔ اﻟﻛﺎﻣﻠﺔ‪ .‬ﺑﺎﻹﺿﺎﻓﺔ إﻟﻰ ذﻟك‪ ،‬ﻋﻧد اﺳﺗﺧدام ﺑطﺎﻗﺔ‬
‫‪ Apple Pay Cash‬أو إرﺳﺎل أو اﺳﺗﻼم ﻋﻣﻠﯾﺎت اﻟدﻓﻊ اﻟﻣﺑﺎﺷر ﻣن ﺷﺧص ﻵﺧر‪ ،‬ﯾﺗم ﺟﻣﻊ ﻣﻌﻠوﻣﺎت إﺿﺎﻓﯾﺔ ﺣول اﻟﻣﻌﺎﻣﻼت اﻟﺧﺎﺻﺔ ﺑك واﻻﺣﺗﻔﺎظ‬
   ‫ﺑﮭﺎ ﻟﺧدﻣﺔ ﺣﺳﺎﺑك وﻣﻧﻊ اﻟﻐش واﻷﻏراض اﻟﺗﻧظﯾﻣﯾﺔ‪ .‬ﯾﻣﻛﻧك اﻟﻌﺛور ﻋﻠﻰ ﻣزﯾد ﻣن اﻟﻣﻌﻠوﻣﺎت ﺣول اﻟﺑﯾﺎﻧﺎت اﻟﺗﻲ ﺗم ﺟﻣﻌﮭﺎ أو اﺳﺗﺧداﻣﮭﺎ أو ﻣﺷﺎرﻛﺗﮭﺎ‬
        ‫ﻛﺟزء ﻣن اﺳﺗﺧداﻣك ﻟـ ‪ Apple Pay‬أو ﺑطﺎﻗﺔ ‪ Apple Pay Cash‬أو ﻋﻣﻠﯾﺎت اﻟدﻓﻊ اﻟﻣﺑﺎﺷر ﻣن ﺷﺧص ﻵﺧر ﺑﺎﺳﺗﺧدام ‪ Apple Pay‬ﻋن‬
‫طرﯾق ﻗراءة “ﺣول ‪ Apple Pay‬واﻟﺧﺻوﺻﯾﺔ” )واﻟﺗﻲ ﯾﻣﻛن اﻟوﺻول إﻟﯾﮭﺎ ﺑﺎﻻﻧﺗﻘﺎل إﻟﻰ ‪ Wallet‬و‪ Apple Pay‬ﻋﻠﻰ ﺟﮭﺎز ‪ iOS‬اﻟﺧﺎص ﺑك‪ ،‬أو‬
   ‫داﺧل ﺗطﺑﯾق ‪ Watch‬ﻋﻠﻰ ﺟﮭﺎز ‪ iOS‬ﻣﻘﺗرن( أو ﻋن طرﯾق زﯾﺎرة ‪ .https://www.apple.com/privacy‬ﯾﻌد اﺳﺗﺧداﻣك ھذه اﻟﻣﯾزات ﺑﻣﺛﺎﺑﺔ‬
  ‫ﻣواﻓﻘﺔ ﻣﻧك ﻋﻠﻰ أن ﺗﻘوم ﻋﻠﻰ ﻧﻘل ﺷرﻛﺔ ‪ Apple‬وﺷرﻛﺎﺗﮭﺎ اﻟﻔرﻋﯾﺔ ووﻛﻼؤھﺎ ﺑﻧﻘل ﺟﻣﯾﻊ اﻟﻣﻌﻠوﻣﺎت اﻟﻣذﻛورة آﻧًﻔﺎ وﺟﻣﻌﮭﺎ واﻻﺣﺗﻔﺎظ ﺑﮭﺎ وﻣﻌﺎﻟﺟﺗﮭﺎ‬
                                                                                                   ‫واﺳﺗﺧداﻣﮭﺎ‪ ،‬ﻟﺗوﻓﯾر وظﯾﻔﺔ ‪.Apple Pay‬‬

                                                                                                           ‫‪ .4‬اﻷﻣﺎن وﻓﻘد اﻷﺟﮭزة أو ﺗﻌطﯾﻠﮭﺎ‬

     ‫ﺗﻘوم ‪ Apple Pay‬ﺑﺗﺧزﯾن اﻟﺗﻣﺛﯾﻼت اﻻﻓﺗراﺿﯾﺔ ﻟﻠﺑطﺎﻗﺎت اﻟﻣدﻋوﻣﺔ اﻟﺧﺎﺻﺔ ﺑك وﯾﺟب ﺣﻣﺎﯾﺗﮭﺎ ﻣﺛﻠﮭﺎ ﻣﺛل اﻷﻣوال أو ﺑطﺎﻗﺎت اﻻﺋﺗﻣﺎن واﻟﺳﺣب‬
‫واﻟﺑطﺎﻗﺎت ﻣﺳﺑﻘﺔ اﻟدﻓﻊ وﺑطﺎﻗﺎت اﻟﺟواﺋز وﺑطﺎﻗﺎت اﻟﮭداﯾﺎ اﻟﻣﺎدﯾﺔ‪ .‬ﻗد ﯾؤدي ﺗﻘدﯾم رﻣز اﻟدﺧول ﻟﺟﮭﺎزك إﻟﻰ ﺟﮭﺔ أﺧرى أو اﻟﺳﻣﺎح ﻟﺷﺧص آﺧر ﺑﺈﺿﺎﻓﺔ‬
   ‫ﺑﺻﻣﺗﮫ واﺳﺗﺧدام ‪ Touch ID‬أو ﺗﻣﻛﯾن ‪ Face ID‬إﻟﻰ ﺗﻣﻛﯾن ﺗﻠك اﻟﺟﮭﺔ ﻣن إﺟراء ﻋﻣﻠﯾﺎت دﻓﻊ أو إرﺳﺎل ﻋﻣﻠﯾﺎت اﻟدﻓﻊ اﻟﻣﺑﺎﺷر ﻣن ﺷﺧص ﻵﺧر‬
        ‫أو طﻠﺑﮭﺎ أو اﺳﺗﻼﻣﮭﺎ ﺑﺎﺳﺗﺧدام ‪ Apple Pay‬ﻋﻠﻰ ﺟﮭﺎزك‪ ،‬أو ﺳﺣب أﻣوال ﻣن ﺑطﺎﻗﺔ ‪ Apple Pay Cash‬أو اﺳﺗرداد اﻟﺟواﺋز أو اﻟرﺻﯾد‬
     ‫ﺑﺎﺳﺗﺧدام ‪ Apple Pay‬ﻋﻠﻰ ﺟﮭﺎزك‪ .‬ﺗﺗﺣﻣل أﻧت اﻟﻣﺳؤوﻟﯾﺔ ﻛﺎﻣﻠًﺔ ﻋن اﻟﺣﻔﺎظ ﻋﻠﻰ أﻣﺎن ﺟﮭﺎزك واﻟﻛود اﻟﺳري اﻟﺧﺎص ﺑك‪ .‬أﻧت ﺗواﻓق ﻋﻠﻰ أﻻ‬
         ‫‪Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 126 of 452‬‬



   ‫ﺗﺗﺣﻣل ‪ Apple‬أي ﻣﺳؤوﻟﯾﺔ ﻓﻲ ﺣﺎﻟﺔ ﻓﻘد أو ﻣﺷﺎرﻛﺔ اﻟوﺻول إﻟﻰ ﺟﮭﺎزك‪ .‬أﻧت ﺗواﻓق ﻋﻠﻰ أﻻ ﺗﺗﺣﻣل ‪ Apple‬أي ﻣﺳؤوﻟﯾﺔ ﻓﻲ ﺣﺎﻟﺔ ﻗﯾﺎﻣك ﺑﺈﺟراء‬
                                                            ‫ﺗﻌدﯾﻼت ﻏﯾر ﻣﺳﻣوح ﺑﮭﺎ ﻋﻠﻰ ‪) iOS‬ﻛﻣﺎ ھو اﻟﺣﺎل ﻋن طرﯾق “ﻛﺳر اﻟﻘﯾود”(‪.‬‬

 ‫ﻗد ﺗﺣﺗﺎج إﻟﻰ ﺗﻣﻛﯾن إﺟراءات أﻣﺎن إﺿﺎﻓﯾﺔ‪ ،‬ﻣﺛل اﻟﻣﺻﺎدﻗﺔ اﻟﺛﻧﺎﺋﯾﺔ ﻟـ ‪ ،Apple ID‬ﻟﻠوﺻول إﻟﻰ ﻣﯾزات ﻣﻌﯾﻧﺔ ﻣن ‪ ،Apple Pay‬ﺑﻣﺎ ﻓﻲ ذﻟك ﺑطﺎﻗﺔ‬
 ‫‪ Apple Pay Cash‬ﻋﻣﻠﯾﺎت اﻟدﻓﻊ اﻟﻣﺑﺎﺷر ﻣن ﺷﺧص ﻵﺧر‪ .‬إذا ﻗﻣت ﺑﺈزاﻟﺔ ﻣﯾزات اﻷﻣﺎن ھذه ﻓﻲ وﻗت ﻻﺣق‪ ،‬ﻓﻘد ﻻ ﺗﻛون ﻗﺎدًرا ﻋﻠﻰ اﻻﺳﺗﻣرار‬
                                                                                   ‫ﻓﻲ اﻟوﺻول إﻟﻰ ﻣﯾزات ﻣﻌﯾﻧﺔ ﻣن ‪.Apple Pay‬‬

   ‫ﻓﻲ ﺣﺎﻟﺔ ﻓﻘدان ﺟﮭﺎزك أو ﺳرﻗﺗﮫ وﻛﺎن ﺗطﺑﯾق ‪ Find My iPhone‬ﻣﻔﻌﻼً‪ ،‬ﯾﻣﻛﻧك اﺳﺗﺧدام ﺗطﺑﯾق اﻟﻌﺛور ﻋﻠﻰ اﻟـ ‪ iPhone‬ﻟﻣﺣﺎوﻟﺔ ﺗﻌﻠﯾق اﻟﻘدرة‬
‫ﻋﻠﻰ اﻟدﻓﻊ ﺑﺎﺳﺗﺧدام ﺑطﺎﻗﺎت اﻟدﻓﻊ اﻟﻣدﻋوﻣﺔ اﻻﻓﺗراﺿﯾﺔ أو اﻟﻘﯾﺎم ﺑﻌﻣﻠﯾﺎت اﻟدﻓﻊ اﻟﻣﺑﺎﺷر ﻣن ﺷﺧص ﻵﺧر ﻋﻠﻰ ھذا اﻟﺟﮭﺎز ﻋن طرﯾق إدﺧﺎﻟﮫ ﻓﻲ اﻟوﺿﻊ‬
                                                                                                                     ‫“ﻣﻔﻘود”‪ .‬ﯾﻣﻛﻧك أﯾ ً‬
    ‫ﺿﺎ ﻣﺳﺢ ﻣﺣﺗوى اﻟﺟﮭﺎز‪ ،‬اﻷﻣر اﻟذي ﺳﯾﻌﻣل ﻋﻠﻰ ﺗﻌﻠﯾق اﻟﻘدرة ﻋﻠﻰ اﻟدﻓﻊ ﺑﺎﺳﺗﺧدام ﺑطﺎﻗﺎت اﻟدﻓﻊ اﻟﻣدﻋوﻣﺔ اﻻﻓﺗراﺿﯾﺔ أو اﻟﻘﯾﺎم‬
 ‫ﺿﺎ اﻻﺗﺻﺎل‬  ‫ﺿﺎ ﻋﻠﻰ إزاﻟﺔ ﺑطﺎﻗﺎت اﻟﺟواﺋز اﻟﺗﻲ ﺗم ‪ Apple Pay‬ﻟﮭﺎ‪ .‬ﯾﺗﻌﯾن ﻋﻠﯾك أﯾ ً‬ ‫ﺑﻌﻣﻠﯾﺎت اﻟدﻓﻊ اﻟﻣﺑﺎﺷر ﻣن ﺷﺧص ﻵﺧر ﻋﻠﻰ اﻟﺟﮭﺎز وﺳﯾﻌﻣل أﯾ ً‬
   ‫ﺑﺟﮭﺔ إﺻدار ﺑطﺎﻗﺎت اﻟدﻓﻊ اﻟﻣدﻋوﻣﺔ واﻟﺗﺎﺟر اﻟذي أﺻدر ﻟك اﻟﺑطﺎﻗﺎت اﻟﺗﻲ ﺗم ﺗﻣﻛﯾن ‪ Apple Pay‬ﻟﮭﺎ‪ ،‬وﺷرﻛﺔ ‪ Apple‬ﻓﻲ ﺣﺎﻟﺔ ﺑطﺎﻗﺔ ‪Apple‬‬
                                                         ‫‪ Pay Cash‬وذﻟك ﻟﻣﻧﻊ اﻟوﺻول ﻏﯾر اﻟﻣﺳﻣوح ﺑﮫ إﻟﻰ اﻟﺑطﺎﻗﺎت اﻟﻣدﻋوﻣﺔ اﻟﺧﺎﺻﺔ ﺑك‪.‬‬

      ‫إذا أﺑﻠﻐت ﻋن وﺟود أو ﻛﺎﻧت ‪ Apple‬ﺗﺷك ﻓﻲ وﺟود ﻧﺷﺎط اﺣﺗﯾﺎﻟﻲ أو ﻣﺳﻲء‪ ،‬ﻓﺄﻧت ﺗواﻓق ﻋﻠﻰ اﻟﺗﻌﺎون ﻣﻊ ‪ Apple‬ﻓﻲ أي ﺗﺣﻘﯾﻘﺎت واﺗﺑﺎع أي‬
                                                                                 ‫إﺟراءات ﺗﺻﻔﮭﺎ ﻟك ﻣن ﺷﺄﻧﮭﺎ ﻣﻧﻊ اﻻﺣﺗﯾﺎل واﻟﺗﺻدي ﻟﮫ‪.‬‬

                                                                                                                      ‫‪ .5‬ﺗﺣدﯾد اﻟﻣﺳؤوﻟﯾﺔ‬

 ‫ﺑﺎﻹﺿﺎﻓﺔ إﻟﻰ إﺧﻼء اﻟﻣﺳؤوﻟﯾﺔ ﻋن اﻟﺿﻣﺎﻧﺎت وﺣدود اﻟﻣﺳؤوﻟﯾﺔ اﻟﻣﻧﺻوص ﻋﻠﯾﮭﺎ ﻓﻲ اﻟﺗرﺧﯾص‪ ،‬ﻻ ﺗﺗﺣﻣل ‪ APPLE‬أي ﻣﺳؤوﻟﯾﺔ ﻋن اﻟﻣﺷﺗرﯾﺎت أو‬
‫اﻟدﻓﻌﺎت أو اﻟﻣﻌﺎﻣﻼت أو أي ﻧﺷﺎط ﺗﺟﺎري آﺧر ﯾﺗم ﺑﺎﺳﺗﺧدام ﻣﯾزة ‪ ،APPLE PAY‬وﺗواﻓق أﻧت ﻋﻠﻰ ﺗﺣﻣل اﻟﻣﺳؤوﻟﯾﺔ ﻛﺎﻣﻠﺔ ﻋن ﻣراﺟﻌﺔ اﺗﻔﺎﻗﯾﺎﺗك ﻣﻊ‬
     ‫ﺟﮭﺔ إﺻدار اﻟﺑطﺎﻗﺔ أو ﺷﺑﻛﺔ اﻟدﻓﻊ أو اﻟﻣؤﺳﺳﺔ اﻟﻣﺎﻟﯾﺔ أو اﻟﺗﺎﺟر ﻟﺣل أي ﻗﺿﺎﯾﺎ أو ﻧزاﻋﺎت ﺗﺗﻌﻠق ﺑﺎﻟﺑطﺎﻗﺎت اﻟﻣدﻋوﻣﺔ وﻋﻣﻠﯾﺎت اﻟدﻓﻊ اﻟﻣﺑﺎﺷر ﻣن‬
                                                                                                   ‫ﺷﺧص ﻵﺧر واﻟﻧﺷﺎط اﻟﺗﺟﺎري ذي اﻟﺻﻠﺔ‪.‬‬

                                                                                                    ‫————————————‬
                                                                                                         ‫اﻹﺧطﺎرات ﻣن ﺷرﻛﺔ ‪APPLE‬‬
   ‫إذا اﺣﺗﺎﺟت ﺷرﻛﺔ ‪ Apple‬إﻟﻰ اﻻﺗﺻﺎل ﺑك ﻓﯾﻣﺎ ﯾﺗﻌﻠق ﺑﺎﻟﻣﻧﺗﺞ اﻟﺧﺎص ﺑك أو ﺣﺳﺎﺑك ﻟدى اﻟﺷرﻛﺔ‪ ،‬ﻓﺄﻧت ﺗواﻓق ﻋﻠﻰ اﺳﺗﻼم اﻹﺧطﺎرات ﻋﺑر اﻟﺑرﯾد‬
                        ‫اﻹﻟﻛﺗروﻧﻲ‪ .‬وأﻧت ﺗواﻓق ﻋﻠﻰ أن ﺗﻛون ﻛل ھذه اﻹﺧطﺎرات اﻟﺗﻲ ﻧرﺳﻠﮭﺎ ﻟك إﻟﻛﺗروﻧًﯾﺎ واﻓﯾﺔ ﺑﻣﺗطﻠﺑﺎت اﻻﺗﺻﺎﻻت اﻟﻘﺎﻧوﻧﯾﺔ‪.‬‬
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 127 of 452



PORTUGUÊS, BRASIL

IMPORTANTE: AO UTILIZAR SEU iPHONE, iPAD OU iPOD TOUCH (“DISPOSITIVO iOS”) VOCÊ
CONCORDA EM ESTAR SUJEITO AOS SEGUINTES TERMOS:

A.   CONTRATO DE LICENÇA DE SOFTWARE DO iOS DA APPLE
B.   APPLE PAY TERMOS ADICIONAIS
C.   AVISOS DA APPLE

APPLE INC.
CONTRATO DE LICENÇA DE SOFTWARE DO iOS
Licença de Uso Simples

POR FAVOR, LEIA ESTE CONTRATO DE LICENÇA DE SOFTWARE (“LICENÇA”)
CUIDADOSAMENTE ANTES DE USAR O SEU DISPOSITIVO iOS OU DE TRANSFERIR A
ATUALIZAÇÃO DE SOFTWARE QUE ACOMPANHA ESTA LICENÇA. AO USAR O SEU DISPOSITIVO
iOS OU AO TRANSFERIR UMA ATUALIZAÇÃO DE SOFTWARE, CONFORME APLICÁVEL, VOCÊ
CONCORDA EM ESTAR SUJEITO AOS TERMOS DESTA LICENÇA. SE VOCÊ NÃO CONCORDAR
COM OS TERMOS DESTA LICENÇA, NÃO UTILIZE O DISPOSITIVO iOS OU TRANSFIRA A
ATUALIZAÇÃO DE SOFTWARE.

SE VOCÊ COMPROU RECENTEMENTE UM DISPOSITIVO iOS E NÃO CONCORDA COM OS
TERMOS DA LICENÇA, PODERÁ DEVOLVER O DISPOSITIVO iOS, DENTRO DO PRAZO DE
DEVOLUÇÃO, A UMA LOJA DA APPLE OU DISTRIBUIDOR AUTORIZADO ONDE O ADQUIRIU
PARA OBTER UM REEMBOLSO, SUJEITO À POLÍTICA DE DEVOLUÇÃO DA APPLE QUE SE
ENCONTRA NO SITE https://www.apple.com/legal/sales_support/.

1. Geral.
(a) O software (incluindo o código da ROM de Boot, software integrados e software de terceiros), a
documentação, interfaces, conteúdo, fontes e quaisquer dados que acompanhem o seu Dispositivo iOS
(“Software do iOS Original”), que possam ser atualizados ou substituídos por melhorias de recursos,
atualizações de software ou software de restauração de sistema fornecidos pela Apple (“Atualizações de
Software do iOS”), seja em memória apenas para leitura, em qualquer outro meio físico ou em qualquer
outra forma (o Software Original do iOS e as Atualizações de Software do iOS são referidos
coletivamente como o “Software do iOS”) são licenciados, não vendidos, a você pela Apple Inc.
(“Apple”) para serem utilizados sob os termos desta Licença. A Apple e seus licenciadores conservam a
propriedade do Software do iOS e se reservam todos os direitos não concedidos expressamente a
você. Você concorda que os termos desta Licença se aplicarão a qualquer aplicativo da Apple que
esteja integrado em seu Dispositivo iOS, a não ser que tal aplicativo venha acompanhado por uma
licença à parte, caso no qual você concorda que os termos de tal licença regerão o seu uso sobre o dito
aplicativo.

(b) A Apple, à sua conveniência, pode tornar disponíveis futuras Atualizações de Software do iOS. As
Atualizações de Software do iOS, se houver, podem não incluir necessariamente todos os recursos
existentes do software ou novos recursos que a Apple lança para os modelos mais recentes ou outros
modelos dos Dispositivos iOS. Os termos desta Licença regerão quaisquer Atualizações de Software
fornecidas pela Apple, a menos que tal Atualização de Software esteja acompanhada por uma licença à
parte, caso no qual você concorda que os termos daquela licença prevalecerão.

(c) Se você usar o recurso de instalação expressa para configurar um novo Dispositivo iOS baseado em
um Dispositivo iOS existente, você concorda que os termos desta Licença regerão o seu uso do
Software do iOS no seu novo Dispositivo iOS, a menos que ele venha acompanhado de uma licença
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 128 of 452



separada, caso no qual você concorda que os termos da licença separada regerão o seu uso do
Software do iOS. Seu Dispositivo iOS verificará periodicamente com a Apple se há novas Atualizações
de Software do iOS. Se houver uma atualização disponível, ela poderá ser transferida e instalada
automaticamente no seu Dispositivo iOS e, se aplicável, nos seus dispositivos periféricos. Ao usar o
Software Apple, você concorda que a Apple pode transferir e instalar Atualizações de Software do
iOS automáticas no seu Dispositivo iOS e nos seus dispositivos periféricos. Você pode desativar as
atualizações automáticas a qualquer momento. Para isso, altere as configurações de Atualizações
Automáticas encontradas em Ajustes > Geral> Atualização de Software.

2. Uso Autorizado e Restrições da Licença.
(a) Sujeito aos termos e condições desta Licença, lhe é concedida uma licença limitada e não-exclusiva
para usar o Software do iOS em um único Dispositivo iOS da marca Apple. Exceto se permitido no Item
2(b) abaixo e exceto se fornecido em um contrato à parte entre você e a Apple, esta Licença não
permite que o Software do iOS seja instalado em mais de um Dispositivo iOS da marca Apple por vez, e
você não poderá distribuir ou disponibilizar o Software do iOS em uma rede onde ele poderá ser
utilizado por vários dispositivos ao mesmo tempo. Esta Licença não outorga a você quaisquer direitos
de utilizar as interfaces proprietárias da Apple e outra propriedade intelectual
no desenho, desenvolvimento, fabricação, licenciamento ou distribuição de dispositivos e acessórios de
terceiros ou aplicativos de software de terceiros para a utilização com os Dispositivos iOS. Alguns
desses direitos estão disponíveis sob licenças à parte da Apple. Para obter mais informações sobre o
desenvolvimento de dispositivos e acessórios de terceiros para os Dispositivos iOS, visite https://
developer.apple.com/programs/mfi/. Para obter mais informações sobre o desenvolvimento de
aplicativos de software para os Dispositivos iOS, visite https://developer.apple.com.

(b) Sujeito aos termos e condições desta Licença, lhe é concedida uma licença limitada e não-exclusiva
para fazer a transferência das Atualizações de Software do iOS que podem ser disponibilizadas pela
Apple para o seu modelo de Dispositivo iOS, para atualizar ou restaurar o software em qualquer
Dispositivo iOS que você possua ou tenha o controle. Esta Licença não permite que você atualize ou
restaure qualquer Dispositivo iOS que você não controla ou possui, e você não pode distribuir ou
disponibilizar as Atualizações de Software do iOS em uma rede onde elas possam ser utilizadas por
vários dispositivos ou vários computadores ao mesmo tempo. Se você transferir uma Atualização de
Software do iOS para o seu computador, você pode fazer uma cópia das Atualizações de Software do
iOS armazenadas no seu computador em formato de leitura de máquina somente para fins de backup,
de tal maneira que a cópia de backup deve incluir todos os avisos de copyright ou informações
proprietárias contidas no original.

(c) Na medida em que a Apple tenha pré-instalado aplicativos da Apple oriundos da App Store em seu
Dispositivo iOS quando da compra (“Aplicativos Pré-Instalados”), você deverá iniciar uma sessão na
App Store e associar esses Aplicativos Pré-Instalados à sua conta da App Store para poder usá-los em
seu Dispositivo iOS. Ao associar um Aplicativo Pré-Instalado à sua conta da App Store, você associará,
ao mesmo tempo, todos os outros Aplicativos Pré-Instalados em seu Dispositivo iOS. Ao escolher
associar os Aplicativos Pré-Instalados à sua conta da App Store, você concorda que a Apple possa
transmitir, coletar, manter, processar e usar, tanto o ID Apple utilizado pela sua conta da App Store como
um identificador exclusivo de hardware coletado de seu Dispositivo iOS, como identificadores
exclusivos de conta com o propósito de verificar a elegibilidade do seu pedido e para fornecer-lhe
acesso aos Aplicativos Pré-Instalados através da App Store. Caso não deseje usar um Aplicativo Pré-
Instalado, você pode apagá-lo de seu Dispositivo iOS a qualquer momento.

(d) Você não deve, e concorda que não o fará e nem possibilitará que outros copiem (exceto se
expressamente permitido por esta Licença), descompilem, revertam a engenharia, desmontem, tentem
derivar o código fonte, descriptografem, modifiquem ou criem obras derivadas do Software do iOS ou
de quaisquer serviços fornecidos pelo Software do iOS, ou de qualquer parte aqui (exceto se e somente
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 129 of 452



na extensão, qualquer restrição precedente está proibida pela lei aplicável ou pelos termos de licença
que regem o uso de componentes de código aberto que podem ser incluídos com o Software do iOS).

(e) O Software do iOS pode ser usado para reproduzir materiais de forma que este uso seja limitado à
reprodução de material que não esteja protegido por copyright, materiais aos quais você detenha os
direitos de copyright ou materiais que você esteja autorizado ou permitido por lei a reproduzir. Os
direitos de titularidade e de propriedade intelectual de/para qualquer conteúdo exibido por, armazenado
em ou acessado através do seu Dispositivo iOS pertencem aos respectivos proprietários do conteúdo.
Tal conteúdo pode estar protegido por leis de direitos autorais ou por outras leis ou tratados de
propriedade intelectual, e podem estar sujeitos aos termos de utilização dos terceiros que estejam
fornecendo esse conteúdo. Exceto se determinado de outra maneira nesta, esta Licença não lhe
garante nenhum direito para usar tal conteúdo e nem garante que tal conteúdo continuará disponível
para você.

(f) Sujeito aos termos e condições desta Licença, você pode usar os caracteres Animoji e Memoji
incluídos ou criados com o Software do iOS (“Caracteres do Sistema”) (i) durante a execução do
Software do iOS e (ii) para criar seu próprio conteúdo original e projetos para uso pessoal e não
comercial. Nenhum outro uso dos Caracteres do Sistema é permitido por esta Licença, incluindo, mas
não se limitando, ao uso, reprodução, exibição, desempenho, gravação, publicação ou redistribuição de
qualquer um dos Caracteres do Sistema, em compartilhamento público ou contexto comercial, com ou
sem fins lucrativos.

(g) Você concorda em usar o Software do iOS e os Serviços (como definido na Seção 5 abaixo) em
conformidade com todas as leis aplicáveis, incluindo as leis locais do país ou da região na qual reside,
ou onde faz a transferência ou usa o Software do iOS e Serviços. Recursos do Software do iOS e
Serviços podem não estar disponíveis em todos os idiomas ou regiões, alguns recursos podem variar
conforme a região, e alguns podem estar restringidos ou indisponíveis dado o seu provedor de serviço.
Uma conexão Wi-Fi ou de dados celulares é requerida para alguns dos recursos do Software do iOS e
Serviços.

(h) O uso da App Store requer uma combinação exclusiva de nome de usuário e senha, conhecida por
ID Apple. Um ID Apple também é necessário para acessar atualizações de aplicativos e determinados
recursos do Software do iOS e Serviços.

(i) Você reconhece que vários recursos, aplicativos integrados e Serviços do Software do iOS
transmitem dados e poderiam resultar em cobrança ao seu plano de dados e que você é responsável
por tais cobranças. Você pode ver e controlar quais aplicativos têm permissão para usar dados
celulares e ver uma estimativa do volume de dados que tais aplicativos consumiram, em Ajustes de
Dados Celulares. Além disso, a Assistência Wi-Fi mudará automaticamente para o celular quando você
tiver uma conexão Wi-Fi ruim, o que pode resultar em maior uso de dados da rede celular e altos
valores a serem pagos pelo seu plano de dados. A Assistência Wi-Fi está ativada por padrão, mas pode
ser desativada nos Ajustes. Para obter mais informações, consulte o Manual do Usuário do seu
Dispositivo iOS.

(j) Caso escolha permitir a atualização automática de aplicativos, seu Dispositivo iOS buscará
periodicamente na Apple por atualizações para os aplicativos em seu dispositivo e, caso haja
disponibilidade, a atualização será transferida e instalada automaticamente em seu dispositivo. Você
pode desativar as atualizações automáticas de uma só vez a qualquer momento abrindo os Ajustes,
tocando em iTunes e App Store e, sob Transferências Automáticas, desativando as Atualizações.

(k) O uso do seu Dispositivo iOS sob certas circunstâncias pode distraí-lo e causar uma situação
perigosa (evite digitar mensagens de texto enquanto estiver dirigindo um carro ou usar fones de ouvido
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 130 of 452



enquanto estiver em uma bicicleta, por exemplo). Ao usar o seu Dispositivo iOS, você concorda em
responsabilizar-se pela observação de regras que proíbem ou restringem o uso de telefones celulares ou
fones de ouvido (como a obrigatoriedade do uso da opção viva-voz para fazer ligações ao dirigir).

3. Transferência. Você não pode alugar, arrendar, emprestar, vender, redistribuir ou sublicenciar o
Software do iOS. Você pode, entretanto, realizar uma única transferência permanente de todos seus
direitos de licença do Software do iOS a uma terceira parte em conjunto com uma transferência de
propriedade do seu Dispositivo iOS, desde que: (a) a transferência inclua o seu Dispositivo iOS e o
Software do iOS completo, incluindo todos os componentes e esta Licença; (b) você não retenha
nenhuma cópia do Software do iOS, completa ou parcial, inclusive cópias armazenadas em um
computador ou outro dispositivo de armazenamento; e (c) a parte que irá receber o Software do iOS leia
e concorde em aceitar os termos e condições desta Licença.

4. Consentimento para o Uso de Dados. Quando você usa o seu dispositivo, seu número de telefone
e alguns identificadores exclusivos ao seu Dispositivo iOS são enviados à Apple para permitir que
outras pessoas se conectem a você pelo seu número de telefone durante o uso de vários recursos de
comunicação do Software do iOS, como iMessage e FaceTime. Quando você usa o iMessage, a Apple
poderá manter suas mensagens de forma criptografada por um período de tempo limitado, para
assegurar a entrega dessas informações. Você pode desativar o FaceTime ou o iMessage acessando os
ajustes do FaceTime ou do iMessage no seu Dispositivo iOS. Determinados recursos, como Análise,
Serviços de Localização, Siri e Ditado podem requerer informações do seu Dispositivo iOS para
fornecerem suas respectivas funções. Quando você ativa ou usa esses recursos, serão fornecidos
dados relativos a quais informações são enviadas à Apple e como as informações podem ser usadas.
Você pode obter mais informações sobre quais recursos enviam informações à Apple, visitando https://
www.apple.com/br/privacy/. Suas informações sempre serão tratadas de acordo com a Política de
Privacidade da Apple, que pode ser visualizada em: https://www.apple.com/legal/privacy/.

5. Serviços e Materiais de Terceiros.
(a) Talvez o Software do iOS possa permitir o acesso à iTunes Store da Apple, App Store, Apple Books,
Game Center, iCloud, Mapas e a outros serviços e sites da Apple e de terceiros (coletiva e
individualmente, “Serviços”). Talvez tais Serviços não estejam disponíveis em todos os idiomas ou em
todos os países. O uso desses Serviços requer acesso à Internet e o uso de determinados Serviços
talvez exija um ID Apple, podendo requerer que você aceite termos adicionais e podendo sujeitá-lo a
taxas adicionais. Ao utilizar este software em associação com um ID Apple ou com outro Serviço da
Apple, você concorda com os termos de serviço aplicáveis a esse Serviço, como os Termos e
Condições mais recentes dos Serviços de Mídia da Apple do país onde você acessa tais Serviços, os
quais você poderá acessar e revisar no site https://www.apple.com/legal/internet-services/itunes/.

(b) Se você assinar o iCloud, determinados recursos do iCloud tais como “Fotos do iCloud”, “Meu
Compart. de Fotos”, “Álbuns Compartilhados”, “Backup” e “Buscar iPhone” poderão ser acessados
diretamente a partir do Software do iOS. Você reconhece e concorda que sua utilização do iCloud e
desses recursos está sujeita aos últimos termos e condições do serviço iCloud, que podem ser
acessados e revisados no site: https://www.apple.com/legal/internet-services/icloud/.

(c) Conteúdo do Aplicativo News. O seu uso do conteúdo acessado por meio do aplicativo News é
limitado exclusivamente ao uso pessoal, não comercial, não transfere qualquer interesse de propriedade
a você sobre o conteúdo e exclui especificamente, sem limitação, qualquer direito de uso comercial ou
promocional sobre tal conteúdo. Além disso, você está proibido de republicar, retransmitir e reproduzir
quaisquer imagens acessadas por meio do News como arquivo independente.

(d) Mapas. O serviço de mapas e os recursos do Software do iOS (“Mapas”), incluindo cobertura de
dados de mapa, podem variar conforme a região. Quando você utiliza quaisquer recursos com base em
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 131 of 452



localização no Mapas, tais como a navegação ponto a ponto, a busca local e de tráfego, várias
informações de uso e relacionadas à localização podem ser enviadas à Apple, inclusive a localização
geográfica em tempo real do seu Dispositivo iOS, para poder processar o seu pedido e ajudar a
melhorar o Mapas. Tais dados de localização e uso são coletados pela Apple de uma forma que não
identifica você pessoalmente. Ao usar os Mapas você concorda e consente com a transmissão,
coleta, manutenção, processamento e uso dessas informações pela Apple e por suas subsidiárias
e agentes, para melhorar os recursos e serviços dos Mapas e outros serviços e produtos da
Apple. A Apple também pode fornecer tais informações, seja de forma agregada, seja de forma não
identificável em nível pessoal, para seus parceiros e licenciados para ajudar a aprimorar seus produtos e
serviços baseados em localização e mapas. Você pode desativar a funcionalidade com base em
localização do aplicativo Mapas acessando o ajuste Serviços de Localização do seu Dispositivo iOS e
desativando o ajuste de localização individual do Mapas. Entretanto, determinados recursos do
aplicativo Mapas não estarão disponíveis se você desativar o ajuste Serviços de Localização, como a
navegação ponto a ponto.

(e) Você compreende que, ao utilizar quaisquer destes Serviços, poderá deparar-se com conteúdo que
pode ser considerado ofensivo, indecente ou indesejável, sendo que esse conteúdo poderá conter
linguagem explícita, e que os resultados de qualquer pesquisa ou acesso a um determinado URL
poderão automaticamente e não propositadamente gerar vínculos ou referências a material
questionável. Contudo, você aceita que o risco decorrente da utilização dos Serviços é exclusivamente
seu e que a Apple, seus afiliados, agentes, diretores ou licenciados não tem nenhuma responsabilidade
com você pelo conteúdo que possa ser considerado ofensivo, indecente ou questionável.

(f) Alguns Serviços podem exibir, incluir ou disponibilizar conteúdo, dados, informações, aplicativos ou
materiais de terceiros (“Materiais de Terceiros”) ou fornecer links a determinados sites de terceiros. Ao
utilizar os Serviços, você reconhece e concorda que a Apple não é responsável pela investigação e
avaliação do conteúdo, exatidão, oportunidade, validade, cumprimento de direitos autorais, legalidade,
decência, qualidade ou por qualquer outro aspecto de tais Materiais de Terceiros ou sites. A Apple, seus
funcionários, afiliadas e subsidiárias não garantem ou aprovam e não assumem ou não terão qualquer
obrigação ou responsabilidade com você ou com qualquer outra pessoa por quaisquer Serviços de
terceiros, Materiais ou sites de Terceiros, ou por quaisquer outros materiais, produtos ou serviços de
terceiros. Os Materiais de Terceiros e links a outros sites são fornecidos unicamente para sua
comodidade.

(g) Nem a Apple nem nenhum dos seus fornecedores de conteúdo garante a disponibilidade, precisão,
integridade, confiabilidade ou conveniência das informações sobre ações, dados de localização ou de
quaisquer outros dados exibidos por quaisquer Serviços. A informação financeira exibida por quaisquer
Serviços serve apenas para efeitos informativos e não deve servir como base para aconselhamento para
investimentos. Antes de executar qualquer transação de valores com base na informação obtida através
dos Serviços, você deverá consultar um profissional da área financeira. Os dados de localização
fornecidos por quaisquer Serviços, inclusive o serviço Mapas da Apple, são fornecidos apenas para fins
de navegação e/ou planificação básicos e não se destinam a ser utilizados em situações em que sejam
necessárias informações de localização precisas ou em que dados incorretos, imprecisos, atrasados ou
incompletos possam conduzir à morte, ferimentos, ou danos de propriedade ou ambientais. Você
concorda que os resultados que receber do serviço Mapas podem variar, dependendo das condições
da estrada ou do terreno, devido a fatores que podem afetar a precisão dos dados do serviço Mapas,
tais como, mas não se limitando, às condições do tempo, da estrada e do tráfego e a eventos
geopolíticos. Para a sua segurança, ao utilizar o recurso de navegação, preste muita atenção à
sinalização rodoviária e às condições atuais da estrada. Siga as práticas de direção segura e as normas
de trânsito, e observe que os itinerários a pé podem não incluir calçadas ou vias para pedestres.

(h) Na medida em que você envie qualquer conteúdo através do uso dos Serviços, você declara ser o
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 132 of 452



proprietário de todos os direitos ou possuir autorização ou, por outro lado, possuir permissão legal para
enviar tal conteúdo e que tal conteúdo não viola qualquer termo de serviço aplicável aos Serviços. Você
concorda que os Serviços possuem conteúdo, informações e materiais proprietários que são
propriedade da Apple, do proprietário do site ou de seus licenciadores e que estão protegidos pela lei
de propriedade intelectual aplicável e por outras leis, incluindo, mas não se limitando, ao copyright.
Você concorda em não utilizar tal conteúdo, informações ou materiais proprietários, além do uso
permitido dos Serviços ou de nenhuma maneira que seja inconsistente com os termos desta Licença ou
que infrinja quaisquer direitos de propriedade intelectual de um terceiro ou da Apple. Nenhuma parte
dos Serviços pode ser reproduzida de qualquer forma e através de quaisquer meios. Você concorda que
não modificará, alugará, arrendará, emprestará, venderá, distribuirá ou criará trabalhos derivados
baseados nos Serviços, em qualquer forma, e você não deve explorar os Serviço sem autorização em
absoluto, incluindo, mas não se limitando, ao uso os Serviços para transmitir quaisquer vírus, worms,
cavalos de troia ou outros malwares de computador, através da invasão ou sobrecarga da capacidade
de rede. Além disso, você concorda que não utilizará os Serviços de qualquer forma para assediar,
abusar, perseguir, ameaçar, difamar ou infringir ou violar os direitos de qualquer outra parte, e que a
Apple não é de forma alguma responsável por seu uso e nem por qualquer assédio, ameaça, difamação,
mensagens ou transmissões ofensivas, violadoras ou ilegais que você possa receber como resultado do
uso de qualquer um dos Serviços.

(i) Além disso, os Serviços e Materiais de Terceiros que podem ser acessados, vinculados ou exibidos
no Dispositivo iOS, não estão disponíveis em todos os idiomas ou em todos os países ou regiões. A
Apple não afirma que tais Serviços e Materiais de Terceiros sejam adequados ou estejam disponíveis
para o uso em qualquer localização em particular. Na medida em que você decidir acessar ou utilizar
tais Serviços e Materiais de Terceiros, você o faz segundo sua própria iniciativa e você é responsável
pelo cumprimento de quaisquer leis aplicáveis, incluindo, mas não se limitando, às leis locais aplicáveis
e às leis de privacidade e coleta de dados. O compartilhamento ou sincronização das fotos através do
seu Dispositivo iOS pode causar a transmissão de metadados, incluindo onde e quando a foto foi tirada
e informações de profundidade, a serem transmitidos com as fotos. O uso de serviços da Apple (como
Fototeca do iCloud) para compartilhar ou sincronizar fotos envolverá o recebimento e armazenamento
de tais metadados pela Apple. A Apple e os seus licenciadores reservam-se o direito de alterar,
suspender, remover ou desativar o acesso a quaisquer Serviços, em qualquer momento, sem aviso
prévio. Em nenhuma circunstância, a Apple será responsável pela remoção ou desativação do acesso a
esses Serviços. A Apple poderá ainda impor limites à utilização e acesso a determinados Serviços, em
qualquer caso, e sem aviso prévio ou responsabilidade.

6. Término. Esta Licença é efetiva até que termine. Seus direitos sob esta Licença terminarão
automaticamente ou, de outra forma, deixarão de ser efetivos sem aviso prévio da Apple se você não
cumprir quaisquer termos desta Licença. Com o término desta Licença, você deve deixar de utilizar o
Software do iOS. Os itens 4, 5, 6, 7, 8, 9, 12 e 13 desta Licença devem subsistir a qualquer forma de
término.

7. Isenção de Garantia.
7.1 Se você é um cliente consumidor (uma pessoa que utiliza o Software do iOS fora da sua
atividade, negócio ou profissão), talvez você tenha direitos legais no seu país de residência, que
poderiam proibir que as seguintes limitações sejam aplicadas a você e onde, se forem proibidas, elas
não serão aplicadas a você. Para saber mais sobre os seus direitos, você deve entrar em contato com
uma empresa de informações ao consumidor local.

7. 2 VOCÊ RECONHECE E ACEITA EXPRESSAMENTE QUE O RISCO DECORRENTE DA
UTILIZAÇÃO DO SOFTWARE DO iOS E DE QUAISQUER SERVIÇOS REALIZADOS PELO OU
ACESSADOS ATRAVÉS DO SOFTWARE DO iOS É EXCLUSIVAMENTE SEU E QUE TODO O RISCO
REFERENTE À QUALIDADE SATISFATÓRIA, DESEMPENHO, EXATIDÃO E ESFORÇO DEPENDE DE
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 133 of 452



VOCÊ.

7.3 NA EXTENSÃO MÁXIMA PERMITIDA PELA LEI EM VIGOR, O SOFTWARE DO iOS E SERVIÇOS
SÃO FORNECIDOS “NO ESTADO EM QUE SE ENCONTRAM” E “CONFORME A DISPONIBILIDADE”,
COM TODAS AS FALHAS E SEM GARANTIA DE QUALQUER ESPÉCIE, E A APPLE E OS LICENCIADOS
DA APPLE (COLETIVAMENTE REFERIDOS COMO “APPLE” A PROPÓSITO DOS ITENS 7 E 8)
RENUNCIAM EXPRESSAMENTE A TODAS AS GARANTIAS E CONDIÇÕES COM RESPEITO AO
SOFTWARE E SERVIÇOS DO iOS, EXPRESSAS, IMPLÍCITAS OU ESTATUTÁRIAS, INCLUINDO, MAS
NÃO SE LIMITANDO, ÀS GARANTIAS IMPLÍCITAS E/OU CONDIÇÕES DE COMERCIALIZAÇÃO, DE
QUALIDADE SATISFATÓRIA, DE ADEQUAÇÃO A UMA FINALIDADE ESPECÍFICA, DE EXATIDÃO, DE
DIVERTIMENTO E DE NÃO VIOLAÇÃO DE DIREITOS DE TERCEIROS.

7.4 A APPLE NÃO GARANTE - INDEPENDENTE DO DIVERTIMENTO COM O SOFTWARE DO iOS E
SERVIÇOS - QUE AS FUNÇÕES CONTIDAS OU QUE OS SERVIÇOS REALIZADOS OU FORNECIDOS
PELO SOFTWARE DO iOS ATENDAM ÀS SUAS NECESSIDADES, QUE A OPERAÇÃO DO SOFTWARE
DO iOS E DOS SERVIÇOS SERÃO ININTERRUPTAS OU LIVRES DE ERROS, QUE QUALQUER
SERVIÇO CONTINUARÁ DISPONÍVEL, QUE OS DEFEITOS NO SOFTWARE DO iOS OU NOS
SERVIÇOS SERÃO CORRIGIDOS OU QUE O SOFTWARE DO iOS SERÁ COMPATÍVEL OU FUNCIONE
COM QUALQUER SOFTWARE, APLICAÇÕES OU SERVIÇOS DE TERCEIROS. A INSTALAÇÃO DESTE
SOFTWARE DO iOS PODE AFETAR A DISPONIBILIDADE E USABILIDADE DO SOFTWARE,
APLICATIVOS OU SERVIÇOS DE TERCEIROS, ASSIM COMO DE PRODUTOS E SERVIÇOS DA APPLE.

7.5 ALÉM DISSO, VOCÊ RECONHECE QUE O SOFTWARE DO iOS E OS SERVIÇOS NÃO
PRETENDEM SER UTILIZADOS OU NÃO SÃO ADEQUADOS PARA SEREM UTILIZADOS EM
SITUAÇÕES OU AMBIENTES NOS QUAIS A FALHA, ATRASOS, ERROS OU INEXATIDÕES DE
CONTEÚDO, DADOS OU INFORMAÇÕES FORNECIDAS PELO SOFTWARE DO iOS OU SERVIÇOS
POSSAM LEVAR À MORTE, DANOS PESSOAIS, OU DANOS FÍSICOS OU AMBIENTAIS GRAVES,
INCLUINDO, MAS NÃO SE LIMITANDO, À OPERAÇÃO DE INSTALAÇÕES NUCLEARES, SISTEMAS DE
NAVEGAÇÃO OU DE COMUNICAÇÃO AÉREA, CONTROLE DE TRÁFEGO AÉREO, SISTEMAS DE
SUPORTE VITAL OU DE ARMAS.

7.6 NENHUMA INFORMAÇÃO OU AVISO ORAL OU ESCRITO FORNECIDO PELA APPLE OU POR
UM REPRESENTANTE AUTORIZADO DA APPLE CRIARÁ ALGUMA GARANTIA. SE O SOFTWARE DO
iOS OU OS SERVIÇOS ESTIVEREM COMPROVADAMENTE DEFEITUOSOS, VOCÊ ASSUMIRÁ O
CUSTO INTEGRAL DE TODOS OS SERVIÇOS, REPAROS E CORREÇÕES NECESSÁRIOS. ALGUMAS
JURISDIÇÕES NÃO PERMITEM A EXCLUSÃO DE GARANTIAS IMPLÍCITAS OU LIMITAÇÕES EM
ESTATUTOS DOS DIREITOS DO CONSUMIDOR EM VIGOR, ASSIM AS EXCLUSÕES E LIMITAÇÕES
ACIMA NÃO SERÃO APLICÁVEIS A VOCÊ.

8. Limitação da Responsabilidade. DENTRO DO NÃO PROIBIDO PELA LEI APLICÁVEL, EM NENHUM
CASO A APPLE, SEUS AFILIADOS, AGENTES OU DIRETORES SERÃO RESPONSÁVEIS POR DANOS
PESSOAIS OU QUALQUER PREJUÍZO INCIDENTAL, ESPECIAL, INDIRETO OU CONSEQUENTE,
INCLUINDO, SEM LIMITAÇÃO, PREJUÍZOS POR PERDA DE LUCRO, CORRUPÇÃO OU PERDA DE
DADOS, FALHA DE TRANSMISSÃO OU RECEPÇÃO DE DADOS (INCLUINDO SEM LIMITAÇÃO,
INSTRUÇÕES DE CURSOS, TAREFAS E MATERIAIS), NÃO CONTINUIDADE DO NEGÓCIO OU
QUALQUER OUTRO PREJUÍZO OU PERDA COMERCIAL, DECORRENTES OU RELACIONADOS AO
SEU USO OU SUA INABILIDADE EM USAR O SOFTWARE DO iOS E OS SERVIÇOS, OU DE
QUALQUER SOFTWARE OU APLICATIVOS DE TERCEIROS ADJUNTOS AO SOFTWARE DO iOS OU
AOS SERVIÇOS, POR QUALQUER OUTRO MOTIVO, SEM LEVAR EM CONSIDERAÇÃO A TEORIA DE
RESPONSABILIDADE CIVIL (NÃO CUMPRIMENTO DE CONTRATO OU QUALQUER OUTRO) E ATÉ
MESMO SE A APPLE HOUVER SIDO AVISADA DA POSSIBILIDADE DESTES PREJUÍZOS. ALGUMAS
JURISDIÇÕES NÃO PERMITEM A EXCLUSÃO OU LIMITAÇÃO DE RESPONSABILIDADE POR DANOS
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 134 of 452



PESSOAIS OU PREJUÍZOS INCIDENTAIS OU CONSEQUENTES, ASSIM ESTA LIMITAÇÃO NÃO SERÁ
APLICÁVEL A VOCÊ. Sob nenhuma circunstância a responsabilidade integral da Apple com relação a
você por todos os danos (além dos que poderão ser requeridos pela lei em vigor nos casos de danos
pessoais) excederá a quantia de duzentos e cinquenta dólares (US$250,00). As limitações precedentes
serão aplicáveis mesmo se o recurso descrito acima não cumprir seu propósito essencial.

9. Certificados Digitais. O Software do iOS contém uma funcionalidade que permite que ele aceite
certificados digitais emitidos pela Apple ou por terceiros. VOCÊ É UNICAMENTE RESPONSÁVEL PELA
DECISÃO DE CONFIAR OU NÃO CONFIAR EM UM CERTIFICADO, SEJA EMITIDO PELA APPLE OU
POR TERCEIROS. O RISCO DECORRENTE DA UTILIZAÇÃO DOS CERTIFICADOS DIGITAIS É
EXCLUSIVAMENTE SEU. NA EXTENSÃO MÁXIMA PERMITIDA PELA LEGISLAÇÃO APLICÁVEL, A
APPLE NÃO FAZ NENHUMA GARANTIA OU REPRESENTAÇÃO, EXPRESSA OU IMPLÍCITA, ASSIM
COMO DE COMERCIALIZAÇÃO OU ADEQUAÇÃO A QUALQUER FIM EM PARTICULAR, EXATIDÃO,
SEGURANÇA, OU NÃO INFRAÇÃO DOS DIREITOS DE TERCEIROS COM RESPEITO A CERTIFICADOS
DIGITAIS.

10. Controle de Exportação. Você não pode usar ou exportar ou reexportar o Software do iOS exceto
na forma autorizada pela lei dos Estados Unidos e do país no qual o Software do iOS foi adquirido.
Particularmente, porém sem limitação, o Software do iOS não poderá ser exportado ou reexportado (a)
para qualquer um dos países embargados pelos EUA ou (b) para qualquer pessoa constante da lista de
Cidadãos Especialmente Indicados do Departamento do Tesouro dos Estados Unidos ou da Relação de
Pessoa Recusada do Departamento de Comércio dos Estados Unidos ou de qualquer outra lista de
pessoas restritas. Ao utilizar o Software do iOS você declara e garante que não está situado em nenhum
dos países ou listas descritas. Você também aceita que não utilizará o Software do iOS para qualquer
fim que esteja proibido pelas leis dos Estados Unidos, incluindo, sem limitação, o desenvolvimento, a
concepção, a fabricação ou a produção de mísseis, armas biológicas ou químicas ou nucleares.

11. Usuários Finais do Governo. O Software do iOS e a documentação relacionada são “Itens
Comerciais”, de acordo com a definição deste termo no 48 C.F.R. §2.101, consistindo em um “Software
de Computador Comercial” e “Documentação de Software de Computador Comercial”, de acordo com
a maneira que estes termos são utilizados no 48 C.F.R. Consistente com o 48 C.F.R. §12.212 ou 48
C.F.R. §227.7202-1 à 227.7202-4, conforme for aplicável, o Software de Computador Comercial e a
Documentação de Software de Computador Comercial são licenciados aos usuários do Governo dos
Estados Unidos (a) somente como Itens Comerciais e (b) apenas com os direitos que são oferecidos a
outros usuários de acordo com os termos e condições aqui descritos. Os direitos não publicados estão
protegidos pelas leis de direitos autorais dos Estados Unidos.

12. Lei de Controle e Exequibilidade. Esta Licença será governada por e interpretada de acordo com
as leis do Estado da Califórnia, excluindo seus conflitos de princípios legais. Esta Licença não deverá
ser governada pela Convenção das Nações Unidas sobre Contratos para a Venda Internacional de
Produtos e a aplicação desta está expressamente excluída. Se você for um consumidor estabelecido na
Reino Unido, esta Licença será regida pelas leis da jurisdição da sua residência. Se por algum motivo,
um tribunal competente determine que qualquer disposição, ou parte da mesma, é inexequível, as
demais disposições desta Licença permanecerão em pleno vigor.

13. Integralidade; Idioma Regulador. Esta Licença constitui o acordo integral entre você e a Apple com
relação ao Software do iOS e prevalece sobre todos os entendimentos anteriores ou contemporâneos
relativos ao referido uso. Nenhuma modificação ou alteração dos termos desta Licença será vinculante,
a menos que assinada pela Apple. Qualquer tradução desta Licença é feita para os requisitos locais e
no caso de alguma discussão entre as versões em inglês e em outro idioma, a versão em inglês desta
Licença deve prevalecer, na extensão não proibida pela legislação local da sua jurisdição.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 135 of 452



14. Reconhecimento de Terceiros. Partes do Software do iOS podem utilizar ou incluir software de
terceiros e outros materiais com direitos autorais. Os reconhecimentos, termos de licenciamento e
exclusões de garantia desse material estão incluídos na documentação eletrônica do Software do iOS e
o uso que você fizer desse material está regido pelos respectivos termos. O uso do Serviço Google Safe
Browsing está sujeito aos Termos de Serviço do Google (https://www.google.com/intl/pt-br/policies/
terms/) e à Política de Privacidade do Google (https://www.google.com/intl/pt-br/policies/privacy/).

15. Utilização de MPEG-4; Aviso sobre H.264 / AVC.
(a) O Software do iOS está licenciado sob a Licença de Portfólio de Patentes de Sistemas MPEG-4
(MPEG-4 Systems Patent Portfolio License) para codificação de acordo com o Padrão de Sistemas
MPEG-4 (MPEG-4 Systems Standard), exceto no caso de que uma licença adicional e o pagamento de
direitos de utilização (royalties) sejam necessários para a codificação em relação a (i) dados
armazenados ou duplicados em um meio físico que sejam pagos título a título e/ou (ii) dados que sejam
pagos título a título e sejam transmitidos a um usuário final para armazenamento e/ou utilização
permanente. Essa licença adicional pode ser obtida de MPEG LA, LLC. Consulte http://
www.mpegla.com para obter detalhes adicionais.

(b) O Software do iOS contém funcionalidade de codificação/decodificação de vídeo MPEG-4. O
Software do iOS está licenciado sob a licença de portfólio de patentes visuais MPEG-4 (MPEG-4 Visual
Patent Portfolio License) para o uso pessoal e sem fins comerciais de um consumidor para (i)
codificação de vídeo de acordo com o padrão visual MPEG-4 (“Vídeo MPEG-4”) e/ou (ii) decodificação
de vídeo MPEG-4 que tenha sido codificado por um consumidor que realize uma atividade e uma
utilização pessoal sem finalidades comerciais e/ou que tenha sido obtido a partir de um fornecedor de
vídeo licenciado pela MPEG LA para fornecer vídeo MPEG-4. Nenhuma licença será concedida ou
interpretada para qualquer outra finalidade. Informações adicionais, inclusive as que estejam
relacionadas com utilizações e concessão de licenças promocionais, internas e comerciais, podem ser
obtidas de MPEG LA, LLC. Consulte: http://www.mpegla.com.

(c) O Software do iOS contém a funcionalidade de codificação e/ou decodificação AVC. O uso comercial
do H.264/AVC necessitará de licença adicional e a seguinte cláusula será aplicável: A
FUNCIONALIDADE AVC NO SOFTWARE DO iOS FICA AQUI LICENCIADA SOMENTE PARA USO
PESSOAL E SEM FINS COMERCIAIS DE UM CONSUMIDOR PARA (i) CODIFICAR VÍDEO DE ACORDO
COM O PADRÃO AVC (“VÍDEO AVC”) E/OU (ii) DECODIFICAR VÍDEO AVC QUE TENHA SIDO
CODIFICADO POR UM CONSUMIDOR ENVOLVIDO EM UMA ATIVIDADE PESSOAL E SEM FINS
COMERCIAIS E/OU VÍDEO AVC QUE TENHA SIDO OBTIDO DE UM FORNECEDOR DE VÍDEO COM
LICENÇA PARA FORNECER VÍDEO AVC. VOCÊ PODE OBTER INFORMAÇÕES SOBRE OUTRAS
UTILIZAÇÕES E LICENÇAS DE MPEG LA L.L.C. CONSULTE O SITE http://www.mpegla.com.

16. Restrições do Serviço Yahoo Search. O serviço Yahoo Search disponibilizado através do Safari
está licenciado para a utilização apenas nos seguintes países e regiões: Argentina, Aruba, Austrália,
Áustria, Barbados, Bélgica, Bermuda, Brasil, Bulgária, Canadá, Ilhas Cayman, Chile, China continental,
Hong Kong, Taiwan, Colômbia, Chipre, República Checa, Dinamarca, República Dominicana, Equador,
El Salvador, Finlândia, França, Alemanha, Grécia, Granada, Guatemala, Hungria, Islândia, Índia,
Indonésia, Irlanda, Itália, Jamaica, Japão, Letônia, Lituânia, Luxemburgo, Malásia, Malta, México,
Holanda, Nova Zelândia, Nicarágua, Noruega, Panamá, Peru, Filipinas; Polônia, Portugal, Porto Rico,
Romênia, Singapura, Eslováquia, Eslovênia, Coréia do Sul, Espanha, Santa Lúcia, St. Vincent, Suécia,
Suíça, Formosa, Tailândia, Bahamas, Trinidad e Tobago, Turquia, Reino Unido, Uruguai, EUA e
Venezuela.

17. Aviso sobre o Microsoft Exchange. O ajuste de correio Microsoft Exchange do Software do iOS
está licenciado somente para a sincronização de informações de forma remota (over-the-air), tal como
e-mails, contatos, calendário e tarefas, entre o seu iOS e o servidor Microsoft Exchange ou outro
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 136 of 452



software de servidor licenciado pela Microsoft para implementar o protocolo ActiveSync do Microsoft
Exchange.

EA1566
21/02/2019

————————————
Termos e Condições Adicionais do Apple Pay

Estes Termos e Condições Adicionais do Apple Pay (estes “Termos Adicionais”) adicionam o Contrato
de Licença de Software do iOS (a “Licença”); ambos os termos das Licenças e estes Termos Adicionais
regem o seu uso do recurso Apple Pay, que serão referidos sob esta Licença como “Serviço”. Os
termos em letras maiúsculas usados nestes Termos Adicionais possuem os propósitos apresentados na
Licença.

1. Visão Geral e Restrições de Uso

O Apple Pay permite que você:

   •   armazene representações virtuais de cartões de crédito, débito e pré-pago, incluindo cartões de
       crédito, de débito, pré-pago de lojas e o cartão Apple Pay Cash, que sejam compatíveis com o
       recurso Apple Pay (“Cartões de Pagamento Compatíveis”) e usem Dispositivos iOS compatíveis
       para fazer pagamentos sem contato em locais selecionados ou dentro de apps ou websites;
   •   use cartões de fidelidade e cartões presente salvos no Wallet, incluindo aqueles contendo
       valores armazenados (“Cartões de Fidelidade Compatíveis com o Apple Pay” simultaneamente
       aos Cartões de pagamento Compatíveis, “Cartões Compatíveis”) para fazer transações de
       cartões de fidelidade e cartões presente sem contato em lojas selecionadas como parte de
       pagamentos sem contato usando o Apple Pay; e
   •   envie pagamentos de pessoa para pessoa a outros usuários do Apple Pay.

Os recursos do Apple Pay do Software do iOS podem estar disponíveis apenas em regiões
selecionadas, com emissores de cartões, instituições financeiras e comerciantes selecionados. Os
recursos podem variar por região, emissor e comerciante.

Para usar o Apple Pay, você deve ter um Cartão Compatível. Os Cartões Compatíveis podem ser
alterados ocasionalmente. Além disso, a fim de receber pagamentos de pessoa para pessoa, você deve
ter um cartão Apple Pay Cash.

Os Cartões de Pagamento Compatíveis e pagamentos de pessoa para pessoa são associados a um ID
Apple com o qual você iniciou sessão no iCloud para o uso desses recursos. Os Cartões Compatíveis
estão disponíveis apenas para maiores de 13 anos e podem estar sujeitos a outras restrições por faixa
etária impostas pelo iCloud ou pelo Cartão Compatível que você tentar fornecer. O cartão Apple Pay
Cash e a capacidade de enviar e receber pagamentos de pessoa para pessoa estão disponíveis
somente para indivíduos maiores de 18 anos.

O Apple Pay é destinado para uso pessoal e você só pode fornecer o seu próprio Cartão Compatível.
Caso esteja fornecendo um cartão corporativo compatível, você reconhece estar fazendo isso com a
autorização de seu empregador e que está autorizado a vincular o seu empregador a estes termos de
uso e a todas as transações decorrentes do uso deste recurso. Caso você esteja enviando ou
recebendo um pagamento de pessoa para pessoa, você representa que está fazendo isso para seu
próprio uso pessoal e não comercial.

Você concorda em não utilizar o Apple Pay com propósitos ilegais ou fraudulentos, ou quaisquer outros
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 137 of 452



propósitos que são proibidos pela Licença e por estes Termos Adicionais. Você concorda ainda em usar
o Apple Pay de acordo com as leis e normas aplicáveis. Você concorda em não interferir ou atrapalhar o
serviço do Apple Pay (incluindo o acesso ao serviço através de qualquer meio automatizado) ou a
quaisquer servidores ou redes conectadas ao serviço, ou quaisquer políticas, requisitos ou regulações
das redes conectadas ao serviço (incluindo qualquer acesso não autorizado, uso ou monitoramento dos
dados ou tráfego contido).

2. Relacionamento da Apple com Você

O Apple Pay permite que você crie uma representação virtual dos seus Cartões Compatíveis no seu
Dispositivo iOS. Porém, a Apple não processa cartões de pagamento ou de não pagamento (como
acúmulo de fidelidade ou resgate), não recebe, retém ou transfere seus fundos, nem possui nenhum
outro controle sobre os pagamentos, estornos, ressarcimentos, recompensas, valores ou descontos ou
qualquer outra atividade comercial oriunda do uso que você faz deste recurso.

Os termos do contrato de titularidade que você pode ter com o emissor do cartão continuarão a reger o
uso dos seus Cartões de Compatíveis e o seu uso relacionado ao Apple Pay. Da mesma forma, sua
participação em qualquer programa de recompensas ou de cartões presente de comerciantes e seu uso
de Cartões de Fidelidade Compatíveis com o Apple Pay relacionados ao Apple Pay estarão sujeitos aos
termos e condições do comerciante em questão.

O cartão Apple Pay Cash e a capacidade de enviar e receber pagamentos de pessoa para pessoa estão
disponíveis nos Estados Unidos e constituem serviços prestados pelo Green Dot Bank, membro da
FDIC. Ao ativar tais recursos dentro do Apple Pay, você está abrindo uma conta no Green Dot Bank, e
quando você receber um pagamento de pessoa para pessoa, depositar ou retirar dinheiro do seu cartão
Apple Pay Cash, o Green Dot Bank será responsável por receber e enviar o seu dinheiro ao destinatário
pretendido. A instituição financeira responsável por oferecer o Apple Pay Cash e os pagamentos de
pessoa para pessoa dentro do Apple Pay está sujeita a alteração, e o seu uso de tais recursos está
sujeito aos seus termos e condições.

Nada contido na Licença ou nestes Termos Adicionais modifica os termos de nenhum contrato de
titularidade ou de comerciante e tais termos continuarão a governar o uso dos Cartões Compatíveis e
de suas representações virtuais em seu Dispositivo iOS. Você concorda que a Apple não faz parte do
seu contrato de titularidade ou de comerciante, e que a Apple não é responsável: (a) pelo conteúdo,
precisão ou indisponibilidade de quaisquer cartões de pagamento, cartões de recompensas, cartões
presente atividades comerciais, transação ou compra durante o uso da funcionalidade do Apple Pay; (b)
pela emissão de crédito ou avaliação de elegibilidade para tal; (c) pelo acúmulo ou resgate de
recompensas ou valor armazenado em programas de recompensas de comerciantes; (d) por inclusão de
fundos ou recarga de cartões pré-pagos; (e) por enviar ou receber pagamentos de pessoa para pessoa;
ou (f) por depositar, resgatar ou retirar dinheiro do seu cartão Apple Pay Cash.

Contate o emissor ou o comerciante específico para qualquer disputa ou dúvida sobre cartões de
pagamento, cartões de recompensa, cartões presente ou atividades comerciais associadas. Em caso de
questões a respeito do cartão Apple Pay Cash ou pagamentos de pessoa para pessoa, contate o
Suporte da Apple.

3. Privacidade

O Apple Pay requer algumas informações do seu Dispositivo iOS para oferecer a experiência completa.
Além disso, quando você usa o seu cartão Apple Pay Cash ou envia ou recebe pagamentos de pessoa
para pessoa, informações adicionais sobre a sua transação são coletadas e retidas para fins de atender
à sua conta, prevenir fraudes e para fins regulatórios. Você pode encontrar mais informações sobre os
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 138 of 452



dados coletados, usados ou compartilhados como parte do seu uso do Apple Pay, do cartão Apple Pay
Cash ou pagamentos de pessoa para pessoa com o Apple Pay lendo Sobre Apple Pay e Privacidade
(que pode ser acessado através do Wallet e Apple Pay no seu Dispositivo iOS ou dentro do aplicativo
Watch em um Dispositivo iOS emparelhado) ou visitando: https://www.apple.com/br/privacy/. Ao usar
tais recursos, você concorda e consente com a transmissão, coleta, manutenção, processamento e uso
de todas as informações acima mencionadas feitos pela Apple, suas subsidiárias e agentes, visando o
fornecimento da funcionalidade do Apple Pay.

4. Segurança; Dispositivos Perdidos ou Desativados

O Apple Pay armazena representações virtuais dos seus Cartões Compatíveis e deve ser protegido
assim como você protege seu dinheiro, seus cartões de crédito, de débito, pré-pago, de recompensas
ou cartões presente físicos. O fornecimento de sua senha para terceiros ou permitir que um terceiro
adicione a impressão digital para usar o Touch ID ou ativar o Face ID pode resultar na possibilidade de
eles realizarem pagamentos e receberem ou resgatarem recompensas ou crédito usando o Apple Pay
em seu dispositivo. Você é o único responsável pela manutenção da segurança do seu dispositivo e de
sua senha. Você concorda que a Apple não tem nenhuma responsabilidade caso você perca ou
compartilhe o acesso ao seu dispositivo. Você concorda que a Apple não tem nenhuma
responsabilidade caso você faça modificações não autorizadas ao iOS (como por através de
“jailbreak”).

Talvez você tenha que ativar medidas de segurança adicionais, como autenticação de dois fatores para
seu ID Apple, a fim de acessar recursos específicos do Apple Pay, entre eles o cartão Apple Pay Cash e
pagamentos de pessoa para pessoa com o Apple Pay. Se você remover subsequentemente tais
recursos de segurança, talvez você não seja capaz de continuar a acessar recursos específicos do
Apple Pay.

Se o seu dispositivo for roubado ou perdido e você tiver ativado o Buscar iPhone, você pode usar o
Buscar iPhone para tentar suspender a possibilidade de pagamento com os Cartões de Pagamento
Compatíveis virtuais ou de envio de pagamentos de pessoa para pessoa no dispositivo colocando-o no
Modo Perdido. Você também pode apagar o seu dispositivo, o que tentará suspender a possibilidade de
pagamento com os Cartões de Pagamento Compatíveis virtuais ou de envio de pagamentos de pessoa
para pessoa no dispositivo e também tentará remover os Cartões de Fidelidade Compatíveis com o
Apple Pay. Você também deve contatar o emissor dos seus Cartões de Pagamento Compatíveis, o
comerciante que emitiu seus Cartões Ativados para Apple Pay e a Apple, no caso do cartão Apple Pay
Cash, para impedir o acesso não autorizado aos seus Cartões Compatíveis.

Caso você relate ou a Apple suspeite de atividade fraudulenta ou abusiva, você concorda em cooperar
com a Apple em qualquer investigação e em usar quaisquer medidas de prevenção contra fraude
prescrita por nós.

5. Limitação da Responsabilidade

ALÉM DAS ISENÇÕES DE GARANTIAS E DA LIMITAÇÃO DA RESPONSABILIDADE APRESENTADAS
NESTA LICENÇA, A APPLE NÃO ASSUME NENHUMA RESPONSABILIDADE POR COMPRAS,
PAGAMENTOS, TRANSAÇÕES OU OUTRA ATIVIDADE COMERCIAL FEITA PELO USO DO RECURSO
APPLE PAY, E VOCÊ CONCORDA EM RECORRER UNICAMENTE AOS CONTRATOS QUE VOCÊ
POSSA TER COM O EMISSOR DO SEU CARTÃO, REDE DE PAGAMENTO, INSTITUIÇÕES
FINANCEIRAS OU COMERCIANTE PARA RESOLVER QUAISQUER PROBLEMAS OU DISPUTAS
RELACIONADAS AOS SEUS CARTÕES COMPATÍVEIS, PAGAMENTOS DE PESSOA PARA PESSOA E
ATIVIDADES COMERCIAIS ASSOCIADAS.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 139 of 452



————————————
AVISOS DA APPLE
Caso a Apple tenha que entrar em contato com você com respeito a sua conta ou produto, você
autoriza o envio de avisos por e-mail. Você concorda que qualquer aviso que nós lhe enviemos
eletronicamente cumprirá com quaisquer requisitos legais de comunicação.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 140 of 452



DANSK

VIGTIGT: VED AT BRUGE iPHONE, iPAD ELLER iPOD TOUCH (“iOS-ENHED”) ERKLÆRER
LICENSTAGER SIG INDFORSTÅET MED AT VÆRE UNDERLAGT DE FØLGENDE BETINGELSER:

A.   APPLE iOS-SOFTWARELICENSAFTALE
B.   SUPPLERENDE BETINGELSER FOR APPLE PAY
C.   KOMMUNIKATION FRA APPLE

APPLE INC.
iOS-SOFTWARELICENSAFTALE
Licens til en bruger

DENNE LICENSAFTALE FOR SOFTWARE (“LICENS”) BØR LÆSES GRUNDIGT IGENNEM FØR
IBRUGTAGNING AF iOS-ENHEDEN ELLER OVERFØRSEL AF DEN SOFTWAREOPDATERING, DER
FØLGER MED DENNE LICENSAFTALE. VED AT BRUGE iOS-ENHEDEN ELLER HENTE EN
SOFTWAREOPDATERING ERKLÆRER LICENSTAGER SIG INDFORSTÅET MED AT VÆRE
UNDERLAGT BETINGELSERNE I NÆRVÆRENDE LICENS. HVIS LICENSTAGER IKKE ØNSKER AT
VÆRE BUNDET AF NEDENSTÅENDE LICENS, SKAL LICENSTAGER UNDLADE AT BRUGE iOS-
ENHEDEN ELLER AT HENTE SOFTWAREOPDATERINGEN.

HVIS LICENSTAGER HAR KØBT EN iOS-ENHED FOR NYLIG OG IKKE ØNSKER AT VÆRE BUNDET
AF BETINGELSERNE I LICENSAFTALEN, KAN LICENSTAGER RETURNERE iOS-ENHEDEN TIL
APPLE STORE ELLER EN AUTORISERET FORHANDLER, HVOR DEN BLEV KØBT, INDEN FOR
RETURPERIODEN OG FÅ KØBSPRISEN REFUNDERET I OVERENSSTEMMELSE MED APPLES
RETURPOLITIK, SOM FINDES PÅ https://www.apple.com/legal/sales-support/.

1. Generelt.
(a) Apple Inc. (“Apple”) giver hermed licenstager licens til at bruge software (inklusive Boot ROM-kode,
integreret software og anden tredjepartssoftware), dokumentation, grænseflader, indhold, skrifter og evt.
data, som følger med iOS-enheden (“original iOS-software”), og som er opdateret eller erstattet af
funktionsforbedringer, softwareopdateringer eller software til systemgendannelse fra Apple (“iOS-
softwareopdateringer”), uanset om de forefindes som ROM (Read Only Memory) eller på andet medie
(den originale iOS-software og iOS-softwareopdateringer kaldes under et “iOS-software”) i henhold til
betingelserne i denne licensaftale. Apple og dets licensgivere bevarer ejendomsretten til selve iOS-
softwaren og forbeholder sig alle de rettigheder, som ikke udtrykkeligt er givet til licenstager. Licenstager
erklærer sig indforstået med, at betingelserne i nærværende licens gælder for alle Apple-apps, der evt.
er indbygget i licenstagers iOS-enhed, medmindre en sådan app leveres med en separat licensaftale, og
i så fald erklærer licenstager sig indforstået med, at betingelserne i den licens er gældende for
licenstagers brug af appen.

(b) Apple vil efter eget valg evt. frigive iOS-softwareopdateringer. Evt. iOS-softwareopdateringer
inkluderer ikke nødvendigvis alle de eksisterende softwarefunktioner eller nye funktioner, som Apple
frigiver til nyere modeller af iOS-enheder. Brugen af iOS-softwareopdateringer er underlagt
betingelserne i nærværende licensaftale fra Apple, medmindre iOS-softwareopdateringerne ledsages af
en separat licensaftale. I så fald erklærer licenstager sig indforstået med, at betingelserne i den
pågældende licensaftale vil være gældende.

(c) Hvis licenstager bruger funktionen ekspresindstilling til at indstille en ny iOS-enhed på basis af
licenstagers eksisterende iOS-enhed, erklærer licenstager sig indforstået med, at betingelserne i
nærværende Licensaftale vil gælde licenstagers brug af iOS-softwaren på licenstagers nye iOS-enhed,
medmindre der følger en separat licensaftale med enheden. Hvis det er tilfældet erklærer licenstager sig
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 141 of 452



indforstået med, at betingelserne i den licensaftale vil være gældende for licenstagers brug af den iOS-
software. Licenstagers iOS-enhed vil regelmæssigt søge efter opdateringer til iOS-software hos Apple.
Hvis der findes en opdatering, hentes og installeres opdateringen muligvis automatisk på licenstagers
iOS-enhed og, hvis dette er relevant, også på licenstagers eksterne enheder. Ved at bruge Apple-
software giver licenstager Apple tilladelse til at hente og installere automatiske iOS-
softwareopdateringer på licenstagers iOS-enhed og eksterne enheder. Licenstager kan altid slå
automatiske opdateringer fra ved at ændre indstillingerne for Automatiske opdateringer under
Indstillinger > Generelt > Softwareopdatering.

2. Tilladt brug og begrænsninger i henhold til licens.
(a) I henhold til betingelserne i denne licensaftale har licenstager en begrænset og ikke eksklusiv licens til
at bruge iOS-software på en iOS-enhed fra Apple. Medmindre det er tilladt i paragraf 2(b) nedenfor eller i
en separat licensaftale mellem licenstager og Apple, tillader licensen ikke, at iOS-software findes på
mere end en iOS-enhed fra Apple ad gangen, og iOS-software må ikke distribueres eller gøres
tilgængelig via et netværk, hvor flere enheder kan bruge iOS-software samtidig. Denne licensaftale giver
ikke licenstager ret til at bruge Apples grænseflader og andre immaterielle rettigheder tilhørende Apple til
design, udvikling, produktion, licensering eller distribution af tjenester og tilbehør eller programmer fra
tredjeparter til iOS-enheder. Nogle af disse rettigheder kan erhverves i henhold til en separat licens fra
Apple. Der er flere oplysninger om udvikling af tredjepartsenheder og -tilbehør til iOS-enheder på https://
developer.apple.com/programs/mfi/. Oplysninger om udvikling af programmer til iOS-enheder kan findes
på https://developer.apple.com.

(b) I henhold til betingelserne i denne licens har licenstager en begrænset og ikke eksklusiv licens til at
hente iOS-softwareopdateringer, som Apple evt. gør tilgængelige, til sin iOS-enhed for at opdatere eller
gendanne software på alle iOS-enheder, som licenstager ejer eller kontrollerer. Licensen tillader ikke, at
licenstager opdaterer eller gendanner software på iOS-enheder, som licenstager ikke kontrollerer eller
ejer, og iOS-softwareopdateringer må ikke distribueres eller gøres tilgængelige via et netværk, hvor de
kan bruges af flere enheder eller computere samtidig. Hvis licenstager henter en iOS-softwareopdatering
til sin computer, må licenstager fremstille en kopi af de iOS-softwareopdateringer, der opbevares som en
sikkerhedskopi i maskinlæsbar form på licenstagers computer, under forudsætning af at
sikkerhedskopien indeholder de samme oplysninger om ophavsret og andre rettigheder som originalen.

(c) I den udstrækning Apple har præinstalleret Apple-apps fra App Store på licenstagers iOS-enhed på
købstidspunktet (“Præinstallerede apps”), skal licenstager logge ind på App Store og forbinde disse
Præinstallerede apps med licenstagers App Store-konto for at kunne bruge dem på iOS-enheden. Når
licenstager forbinder Præinstallerede apps med sin App Store-konto, vil licenstager samtidig automatisk
forbinde alle andre Præinstallerede apps på licenstagers iOS-enhed. Ved at vælge at forbinde
Præinstallerede apps med sin App Store-konto erklærer licenstager sig indforstået med, at Apple må
sende, indsamle, opbevare, behandle og bruge både det Apple-id, som bruges af App Store-kontoen,
og en entydig hardware-id indsamlet fra licenstagers iOS-enhed, som entydige konto-id’er med det
formål at kontrollere gyldigheden af licenstagers anmodning og give licenstager adgang til
Præinstallerede apps via App Store. Hvis licenstager ikke ønsker at bruge de Præinstallerede apps, kan
licenstager altid slette dem fra iOS-enheden.

(d) Licenstager må ikke og erklærer sig indforstået med ikke at ville eller give andre mulighed for at
kopiere (medmindre det udtrykkeligt er tilladt i henhold til denne licensaftale), dekompilere, udføre
“reverse engineering”, adskille, ændre eller afkryptere, forsøge at udskille kildekoden til eller fremstille
andre produkter på grundlag af iOS-softwaren eller de tjenester, der leveres af iOS-softwaren, eller dele
heraf (medmindre begrænsninger som ovenfor er forbudt af gældende lov eller i henhold til
licensbetingelserne for Open Source-komponenter, som evt. følger med iOS-softwaren).

(e) iOS-software må bruges til kopiering af materiale, som ikke er beskyttet af ophavsret; materiale, som
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 142 of 452



licenstager ejer rettighederne til; og materiale, som licenstager har ret til – eller fået tilladelse til – at
kopiere. Adkomst og immaterielle rettigheder til indhold, der vises, opbevares på eller gøres tilgængeligt
via licenstagers iOS-enhed, tilhører de respektive ejere af indholdet. Det pågældende indhold kan være
beskyttet af ophavsret eller andre love og forordninger om immaterielle rettigheder og kan være
underlagt betingelser for brug fra den tredjepart, der har leveret indholdet. Medmindre andet fremgår af
nærværende licensaftale, giver denne licensaftale ikke licenstager nogen rettigheder med hensyn til brug
af dette indhold, og den indeholder heller ingen garanti for, at dette indhold vil vedblive at være
tilgængeligt.

(f) I henhold til betingelserne i denne licensaftale er licenstager berettiget til at bruge de Animoji- og
Memoji-tegn, der følger med eller oprettes ved brug af iOS-software (“systemtegn”) (i) ved afvikling af
iOS Software og (ii) til at skabe licenstagers eget originale indhold og projekter til licenstagers personlige,
ikke-kommercielle brug. Ingen anden brug af systemtegnene er tilladt i henhold til denne licensaftale,
herunder men ikke begrænset til, brug, reproduktion, visning, optræden, optagelse, publicering eller
videreformidling af systemtegnene i en profitskabende, almennyttig eller kommerciel sammenhæng eller
ved oﬀentlig deling.

(g) Licenstager erklærer sig indforstået med at bruge iOS-software og -tjenester (som defineret nedenfor
i paragraf 5) i overensstemmelse med gældende lov, inkl. lokale love i det land eller område, hvor
licenstager er bosiddende, eller hvor licenstager henter eller bruger iOS-software og -tjenester.
Funktionerne i iOS-softwaren og -tjenesterne er muligvis ikke tilgængelige på alle sprog eller i alle
områder; nogle funktioner kan afhænge af området, og andre kan være begrænsede eller utilgængelige
fra tjenesteudbyderen. Der kræves en Wi-Fi- eller mobildataforbindelse til nogle funktioner i iOS-
softwaren og -tjenester.

(h) Brug af App Store kræver en entydig kombination af brugernavn og adgangskode, kaldet et Apple-id.
Der kræves også et Apple-id til at få adgang til opdateringer af apps og visse funktioner i iOS-software
og -tjenester.

(i) Licenstager erklærer sig indforstået med, at mange funktioner, indbyggede apps og tjenester i iOS-
software transmitterer data, hvilket kan føre til udgifter ift. licenstagers abonnement, og at licenstager er
ansvarlig for sådanne udgifter. Licenstager kan se og bestemme, hvilke programmer der må bruge
mobildata, og se disse programmers anslåede dataforbrug under Mobildata i Indstillinger. Wi-Fi Assist vil
desuden automatisk skifte til mobil, når licenstagers Wi-Fi-forbindelse er dårlig, hvilket kan resultere i
øget forbrug af mobildata og få indflydelse på taksterne i licenstagers dataabonnement. Wi-Fi Assist er
som standard slået til, men kan slås fra under Indstillinger. Der findes flere oplysninger i
brugerhåndbogen til iOS-enheden.

(j) Hvis licenstager vælger at tillade automatiske programopdateringer, vil licenstagers iOS-enhed
regelmæssigt søge efter opdateringer hos Apple til de apps, der ligger på licenstagers enhed, og hvis
der findes en opdatering, hentes den automatisk og installeres på licenstagers enhed. Licenstager kan til
enhver tid slå automatisk opdatering af apps helt fra ved at gå til Indstillinger, trykke på iTunes & App
Store og slå opdateringer fra under Automatiske overførsler.

(k) Brug af en iOS-enhed i visse situationer kan virke distraherende, så der opstår en farlig situation
(undgå f.eks. at skrive sms’er, når du kører bil, eller bruge hovedtelefoner, mens du cykler). Ved at bruge
en iOS-enhed erklærer licenstager sig indforstået med at overholde regler, der forbyder eller begrænser
brugen af mobiltelefoner eller hovedtelefoner (f.eks. kravet om at bruge håndfrie løsninger ved opkald
under kørsel).

3. Overdragelse. Licenstager må ikke udleje, lease, udlåne, sælge, videredistribuere eller sublicensere
iOS-software til andre. Licenstager har dog ret til at foretage en permanent overdragelse af alle
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 143 of 452



licensrettigheder til iOS-software til en anden person i forbindelse med overdragelse af den iOS-enhed,
hvorpå den er installeret, under følgende forudsætninger: (a) Overdragelsen skal omfatte iOS-enheden
og al iOS-software, herunder alle enkelte komponenter og denne licens; (b) licenstager må ikke beholde
nogen kopier af iOS-software eller dele heraf, herunder kopier på computere eller andre lagringsenheder;
og (c) den part, som modtager iOS-software, skal læse og acceptere vilkår og betingelser i nærværende
licens.

4. Tilladelse til brug af data. Når licenstager bruger sin enhed, sendes licenstagers telefonnummer og
visse entydige id’er til licenstagers iOS-enhed til Apple for at give andre mulighed for at få forbindelse til
licenstager via telefonnummeret ved brug af forskellige kommunikationsfunktioner i iOS-softwaren, f.eks.
iMessage og FaceTime. Når licenstager bruger iMessage, opbevarer Apple muligvis licenstagers
beskeder i krypteret form i en begrænset periode for at sikre, at de leveres. Du kan slå FaceTime eller
iMessage fra via indstillingen FaceTime eller Beskeder på iOS-enheden. Visse funktioner som Analyse,
Lokaliseringstjenester, Siri og Diktering kan kræve oplysninger fra licenstagers iOS-enhed for at kunne
udføre deres respektive opgaver. Når licenstager slår disse funktioner til, vil det blive oplyst nærmere,
hvilke oplysninger der sendes til Apple, og hvordan disse oplysninger vil blive brugt. Der er flere
oplysninger her https://www.apple.com/dk/privacy/. Licenstagers oplysninger vil til enhver tid blive
behandlet i overensstemmelse med Apples anonymitetspolitik, som kan læses på: https://
www.apple.com/legal/privacy/.

5. Tjenester og materiale fra tredjeparter.
(a) iOS-software kan give adgang til Apples iTunes Store, App Store, Apple Books, Game Center, iCloud,
Kort og andre tjenester og websteder fra Apple eller tredjeparter (under et kaldet “tjenester”). Disse
tjenester findes evt. ikke på alle sprog eller i alle lande. Brug af disse tjenester kræver internetadgang, og
brug af visse tjenester kræver evt. et Apple-id, accept af yderligere betingelser og betaling af ekstra
gebyrer. Ved at bruge denne software i forbindelse med et Apple-id eller en anden Apple-tjeneste
erklærer licenstager sig indforstået med de relevante betingelser for brug af den pågældende tjeneste,
f.eks. de nyeste vilkår og betingelser for Apples medietjenester i det land, som licenstager bruger disse
tjenester i. Disse vilkår og betingelser kan ses på https://www.apple.com/legal/internet-services/
itunes/.

(b) Hvis licenstager tilmelder sig iCloud, er der muligvis adgang til visse iCloud-funktioner, f.eks. “iCloud-
fotos”, “Min fotostream”, “Fælles album”, “Back Up” og “Find min iPhone”, direkte fra iOS-softwaren.
Licenstager erklærer sig indforstået med, at brugen af iCloud og disse funktioner er underlagt de nyeste
betingelser og vilkår for iCloud-tjenesten, som findes på: https://www.apple.com/legal/internet-services/
icloud/.

(c) Indhold i appen News. Licenstagers brug af indhold, som bliver gjort tilgængeligt via appen News er
udelukkende begrænset til personligt, ikke kommercielt brug, og giver ikke licenstager nogen
ejendomsret til indhold og udelukker specielt – uden begrænsning – alle kommercielle eller
reklamemæssige brugsrettigheder til sådant indhold. Det er desuden forbudt for licenstager at
genpublicere, gentransmittere og reproducere evt. billeder, som licenstager har fået adgang til via News,
som et selvstændigt arkiv.

(d) Kort. Korttjenesten og -funktionerne i iOS-softwaren (“Kort”), inkl. kortdækningen, kan variere efter
område. Når licenstager bruger lokalitetsbaserede funktioner i Kort, f.eks. trinvis vejvisning, oplysninger
om trafikafvikling og lokal søgning, sendes der evt. forskellige lokalitetsrelaterede oplysninger og
oplysninger om brug til Apple, inklusive oplysninger om den geografiske placering af iOS-enheden i
realtid, med henblik på at behandle licenstagers forespørgsler og forbedre Kort. Disse lokalitets- og
brugsdata indsamles af Apple på en måde, som ikke gør det muligt at identificere licenstager
personligt. Ved at bruge Kort erklærer licenstager sig indforstået med, at Apples, dets
datterselskaber og agenter sender, indsamler, vedligeholder, behandler og benytter disse
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 144 of 452



oplysninger med henblik på at levere og forbedre funktionen og tjenesten Kort og andre Apple-
produkter og -tjenester. Apple kan også enten gøre visse ikke personlige oplysninger eller oplysninger,
der ikke kan identificere dig personligt, tilgængelige for dets partnere og licensindehavere for at forbedre
dets kort- og lokalitetsbaserede produkter og tjenester. Licenstager kan slå de lokalitetsbaserede
funktioner i Kort fra via indstillingen Lokalitetstjenester på iOS-enheden ved at slå den individuelle
lokalitetsindstilling til Kort fra. Visse funktioner i Kort, f.eks. trinvis vejvisning, er dog ikke tilgængelige,
hvis licenstager slår lokalitetstjenester fra.

(e) Licenstager erklærer sig indforstået med, at disse tjenester kan inkludere indhold, som virker
anstødeligt, uanstændigt eller krænkende, og som måske er forsynet med advarsler om anstødeligt
sprog, samt at resultaterne af en søgning eller indtastning af en bestemt URL-adresse automatisk kan
vise links til anstødeligt materiale, selvom det ikke er hensigten. Licenstager erklærer sig indforstået
med, at brugen af tjenesterne sker på egen risiko, og at Apple, dets datterselskaber, agenter, direktører
eller licensgivere ikke har noget ansvar for indhold, der kan forekomme anstødeligt, uanstændigt eller
vulgært.

(f) Nogle tjenester kan vise, inkludere eller give adgang til indhold, data, oplysninger, programmer og
materiale fra tredjeparter (“materiale fra tredjeparter”) eller vise links til tredjeparters websteder. Ved at
bruge disse tjenester erklærer licenstager sig indforstået med, at Apple ikke har noget ansvar for at
undersøge eller vurdere indholdet, nøjagtigheden, fuldstændigheden, aktualiteten, gyldigheden,
lovligheden med hensyn til ophavsret, anstændigheden, kvaliteten eller andre aspekter af tredjeparters
materiale eller websteder. Apple, dets agenter, partnere og datterselskaber yder ingen garanti for,
anbefaler ikke og er ikke ansvarlig over for licenstager og andre personer for tredjeparters tjenester,
materiale eller websteder eller for tredjeparters øvrige produkter. Henvisninger til tredjeparters websteder
leveres kun af praktiske hensyn.

(g) Apple og dets leverandører af indhold yder ingen garanti for, at de aktiekurser, lokalitetsdata eller
andre data, der vises af tjenesterne, er tilgængelige, nøjagtige, fuldstændige, pålidelige eller relevante.
Økonomiske oplysninger, der vises af tjenesterne, har kun oplysende karakter og skal ikke opfattes som
rådgivning i forbindelse med investering. Før licenstager udfører transaktioner med værdipapirer baseret
på oplysninger, som er tilvejebragt via tjenesterne, bør licenstager rådføre sig med en økonomisk
rådgiver, som er autoriseret til at udføre økonomisk rådgivning i licenstagers land eller område. De
lokalitetsdata, der leveres af tjenesterne, inklusive Apple-tjenesten Kort, er kun beregnet til enkle
navigations- og planlægningsformål og skal ikke benyttes i situationer, hvor der er behov for præcise
lokalitetsoplysninger, eller hvor fejlagtige, upræcise, forsinkede eller ufuldstændige lokalitetsdata kan
medføre dødsfald, personskader eller skader på ejendom og miljø. Licenstager erklærer sig indforstået
med, at de resultater, som modtages fra tjenesten Kort, kan afvige fra de faktiske vej- eller terrænforhold
pga. faktorer, der kan have indflydelse på nøjagtigheden af data i Kort, f.eks. – men ikke begrænset til –
vejr-, vej- og trafikforhold og geopolitiske begivenheder. Af hensyn til sikkerheden skal licenstager ved
brug af navigationsfunktionen altid være opmærksom på vejskilte og de aktuelle vejforhold. Følg reglerne
for sikker trafikafvikling og gældende trafikregulativer, og vær opmærksom på, at vejledninger til
fodgængere måske ikke inkluderer fortove og fodgængerstier.

(h) Ved at overføre indhold via tjenesterne erklærer licenstager at være ejer af alle rettigheder til – eller at
have tilladelse til at overføre – dette indhold, og at indholdet ikke krænker nogen af betingelserne for
brug af tjenesterne. Licenstager erklærer sig indforstået med, at der i tjenester findes indhold,
oplysninger og materialer, der ejes af Apple, webstedets ejer eller deres licensgivere og er beskyttet af
de relevante love om immaterielle rettigheder og andre love, inklusive – men ikke begrænset til – love om
ophavsret. Licenstager erklærer sig indforstået med ikke at ville bruge dette indhold, disse oplysninger
eller disse materialer til andet end tilladt brug af tjenesterne eller på andre måder, der strider imod
betingelserne i nærværende licensaftale eller krænker en tredjeparts eller Apples immaterielle rettigheder.
Tjenesterne eller dele heraf må ikke reproduceres på nogen måde. Licenstager erklærer sig indforstået
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 145 of 452



med ikke at ville ændre, udleje, lease, udlåne, sælge, distribuere eller fremstille materiale på grundlag af
disse tjenester og ikke at ville benytte tjenesterne på ulovlig vis, inklusive – men ikke begrænset til –
bruge tjenesterne til at overføre computervira, orme, trojanske heste og anden ondsindet software ved
hjælp af ulovlig netværksindtrængen eller overbelastning af netværk. Licenstager erklærer sig desuden
indforstået med ikke at ville bruge tjenesterne til at chikanere, fornærme, forfølge, true, smæde eller på
anden vis krænke en anden part og dennes rettigheder, og at Apple på ingen måde er ansvarlig for
sådan brug af tjenesterne fra licenstagers side eller for evt. chikane, trusler, fornærmelser, krænkelser
eller ulovligheder, som licenstager modtager pga. sin brug af disse tjenester.

(i) Tjenester og indhold fra tredjeparter, hvortil der er adgang, hvortil der henvises, eller som vises på
iOS-enheden, er derudover ikke tilgængelige på alle sprog eller i alle lande og områder. Apple yder ingen
garanti for, at disse tjenester og dette materiale fra tredjeparter er anstændige eller tilgængelige og kan
bruges på et bestemt sted. Hvis licenstager vælger at bruge eller åbne disse tjenester og dette materiale
fra tredjeparter, sker det på eget initiativ, og licenstager er selv ansvarlig for at overholde de relevante
love, inklusive – men ikke begrænset til – de relevante lokale love samt love om anonymitet og
dataindsamling. Deling eller synkronisering af fotos via licenstagers iOS-enhed kan resultere i, at
metadata, inkl. oplysninger om, hvor og hvornår fotoet blev taget, og farveoplysninger sendes sammen
med fotoene. Brug af Apple-tjenester (f.eks. iCloud-fotobibliotek) til at dele eller synkronisere sådanne
fotos vil betyde, at Apple vil modtage og opbevare sådanne metadata. Apple og dets licensgivere
forbeholder sig til enhver tid ret til at ændre, stoppe, fjerne eller slå adgang til tjenester fra uden varsel.
Apple er under ingen omstændigheder ansvarlig for tab, der skyldes, at der ikke længere er adgang til
disse tjenester. Apple kan desuden fastsætte begrænsninger med hensyn til brugen af og adgang til
visse tjenester uden varsel, og uden at det medfører erstatningsansvar.

6. Ophør. Denne licens er gældende, indtil den opsiges. Licenstagers rettigheder i henhold til denne
licens ophører automatisk eller bringes på anden vis til ophør uden varsel fra Apple, hvis licenstager ikke
overholder betingelserne i aftalen. Når aftalen ophører, skal licenstager holde op med at bruge iOS-
software. Paragraﬀerne 4, 5, 6, 7, 8, 9, 12 og 13 i denne licens gælder, selvom denne licens opsiges.

7. Ingen reklamationsret.
7.1 Hvis licenstager er en kunde, som er privat forbruger (dvs. en person, som ikke bruger iOS-
software i forbindelse med sit fag, sin virksomhed eller sin profession), har licenstager evt. andre
rettigheder i sit hjemland, så følgende begrænsninger ikke gælder, og hvis disse begrænsninger ikke er
tilladt, gælder de ikke. Licenstager kan få flere oplysninger om sine rettigheder hos en
forbrugerorganisation.

7.2 LICENSTAGER ERKLÆRER SIG INDFORSTÅET MED OG ER ENIG I, AT DET – FOR SÅ VIDT SOM
DET ER LOVLIGT – HELT ER DENNES EGEN BESLUTNING OG PÅ DENNES RISIKO AT ANVENDE DEN
AF NÆRVÆRENDE LICENS OMFATTEDE iOS-SOFTWARE OG EVT. TJENESTER UDFØRT AF ELLER
ÅBNET VIA iOS-SOFTWAREN.

7.3 FOR SÅ VIDT SOM DET ER LOVLIGT, LEVERES iOS-SOFTWARE OG -TJENESTER, SOM DE “ER
OG FOREFINDES”, MED ALLE FEJL OG UDEN GARANTI FOR FUNKTION ELLER ANDEN EGENSKAB.
APPLE OG APPLES LICENSGIVERE (I PKT. 7 og 8 UNDER ÉT KALDET “APPLE”) FRASKRIVER SIG
HERMED ENHVER GARANTI I FORBINDELSE MED iOS-SOFTWARE OG -TJENESTER, INKLUSIVE –
MEN IKKE BEGRÆNSET TIL – ENHVER GARANTI FOR GODT KØBMANDSKAB, EGNETHED TIL
BESTEMTE FORMÅL OG UFORSTYRRET BESIDDELSE ELLER ENHVER GARANTI FOR, AT
TREDJEPARTERS RETTIGHEDER IKKE KRÆNKES.

7.4 APPLE YDER INGEN GARANTI FOR, AT iOS-SOFTWARE OG -TJENESTER KAN BENYTTES
UDEN AFBRYDELSER, AT FUNKTIONERNE I ELLER TJENESTERNE, DER AFVIKLES ELLER LEVERES
AF iOS-SOFTWARE VIL OPFYLDE LICENSTAGERS BEHOV, AT AFVIKLINGEN AF iOS-SOFTWARE OG -
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 146 of 452



TJENESTER VIL FORLØBE FEJLFRIT OG UDEN AFBRYDELSER, AT TJENESTER VIL VEDBLIVE MED
AT BLIVE GJORT TILGÆNGELIGE, AT EVENTUELLE FEJL I iOS-SOFTWARE ELLER -TJENESTER VIL
BLIVE RETTET, ELLER AT iOS-SOFTWARE ER KOMPATIBEL ELLER KAN SAMARBEJDE MED
SOFTWARE, PROGRAMMER ELLER TJENESTER FRA TREDJEPARTER. INSTALLERING AF DENNE
iOS-SOFTWARE KAN HAVE BETYDNING FOR TILGÆNGELIGHEDEN OG BRUGEN AF SOFTWARE,
PROGRAMMER ELLER TJENESTER FRA TREDJEPARTER SAMT APPLES PRODUKTER OG
TJENESTER.

7.5 LICENSTAGER ERKLÆRER SIG DESUDEN INDFORSTÅET MED, AT iOS-SOFTWARE OG -
TJENESTER IKKE ER BEREGNET ELLER EGNET TIL BRUG I SITUATIONER ELLER OMGIVELSER,
HVOR FEJL ELLER FORSINKELSER ELLER UNØJAGTIGHEDER I INDHOLD, DATA ELLER
OPLYSNINGER, DER LEVERES AF iOS-SOFTWARE ELLER -TJENESTER, KAN MEDFØRE DØDSFALD,
PERSONSKADE, OMFATTENDE FYSISKE ØDELÆGGELSER ELLER MILJØSKADER, INKLUSIVE – MEN
IKKE BEGRÆNSET TIL – DRIFT AF ATOMREAKTORER, NAVIGATIONSSYSTEMER TIL LUFTFART,
KOMMUNIKATIONSSYSTEMER, SYSTEMER TIL STYRING AF LUFTTRAFIKKEN, RESPIRATORER
ELLER VÅBENSYSTEMER.

7.6 INGEN MUNDTLIGE ELLER SKRIFTLIGE OPLYSNINGER ELLER RÅD FRA APPLE ELLER EN
PERSON ELLER ET SELSKAB AUTORISERET AF APPLE KAN I NOGET TILFÆLDE TRÆDE I STEDET
FOR BETINGELSERNE I DENNE LICENS. SKULLE iOS-SOFTWARE ELLER -TJENESTER VISE SIG AT
VÆRE DEFEKTE, PÅHVILER DET LICENSTAGER AT INDESTÅ FOR ALLE OMKOSTNINGER I
FORBINDELSE MED SERVICERING, REPARATION ELLER RETTELSE. OVENNÆVNTE BEGRÆNSEDE
REKLAMATIONSRET GÆLDER ALENE I DEN UDSTRÆKNING, UFRAVIGELIGE LOVBESTEMMELSER
IKKE ER TIL HINDER HERFOR.

8. Begrænsning af ansvar. APPLE, DETS DATTERSELSKABER, AGENTER ELLER DIREKTØRER ER
UNDER INGEN OMSTÆNDIGHEDER, HELLER IKKE I TILFÆLDE AF UAGTSOMHED,
ERSTATNINGSPLIGTIG FOR TILFÆLDIGE ELLER SPECIELLE SKADER, FØLGESKADER (HERUNDER
DRIFTSTAB), ØDELÆGGELSE ELLER TAB AF DATA, FEJL DER MEDFØRER, AT DER IKKE KAN
SENDES ELLER MODTAGES DATA (INKLUSIVE – MEN IKKE BEGRÆNSET TIL –
KURSUSINSTRUKTIONER, -OPGAVER OG -MATERIALER), DRIFTSAFBRYDELSER ELLER ANDRE
SKADER ELLER TAB, DER MÅTTE OPSTÅ SOM RESULTATET AF BRUG/IKKE BRUG AF iOS-
SOFTWARE OG -TJENESTER ELLER SOFTWARE ELLER PROGRAMMER FRA TREDJEPARTER TIL
BRUG MED iOS-SOFTWARE, UANSET OM APPLE ER BLEVET ADVISERET OM MULIGHEDEN FOR
SÅDANNE SKADER. UDELUKKELSEN AF ELLER BEGRÆNSNINGEN I ANSVAR FOR PERSONSKADER
OG FØLGESKADER GÆLDER DOG ALENE I DEN UDSTRÆKNING, UFRAVIGELIGE
LOVBESTEMMELSER IKKE ER TIL HINDER HERFOR. Apples samlede erstatningspligt over for
licenstager for enhver skade, ethvert tab eller foranstaltninger kan maksimalt udgøre to hundrede og
halvtreds amerikanske dollar ($250,00). Ovenstående begrænsning af Apples ansvar gælder alene i den
udstrækning, ufravigelige lovbestemmelser ikke er til hinder herfor.

9. Digitale certifikater. iOS-software indeholder funktioner, som gør det muligt for den at acceptere
digitale certifikater udstedt af Apple eller tredjeparter. LICENSTAGER BÆRER DET FULDE ANSVAR FOR
AT BESLUTTE, OM VEDKOMMENDE VIL STOLE PÅ ET CERTIFIKAT, HVAD ENTEN DET ER UDSTEDT
AF APPLE ELLER EN TREDJEPART. BRUGEN AF DIGITALE CERTIFIKATER SKER FOR EGEN RISIKO.
FOR SÅ VIDT SOM DET ER LOVLIGT, YDER APPLE INGEN UDTRYKKELIGE ELLER
UNDERFORSTÅEDE GARANTIER MED HENSYN TIL GODT KØBMANDSKAB ELLER EGNETHED TIL
BESTEMTE FORMÅL, NØJAGTIGHED ELLER SIKKERHED OG YDER INGEN GARANTIER FOR, AT
TREDJEPARTERS RETTIGHEDER IKKE KRÆNKES MED HENSYN TIL DIGITALE CERTIFIKATER.

10. Eksportkontrol. Licenstager må kun bruge og eksportere eller reeksportere iOS-software i
overensstemmelse med gældende amerikansk lov og med gældende lov i det land, hvor iOS-software
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 147 of 452



blev købt. I særdeleshed – men ikke begrænset til – må iOS-software ikke eksporteres eller
reeksporteres (a) til lande, som er underlagt handelsboykot fra USA, eller (b) til personer opført på det
amerikanske finansministeriums liste over “Specially Designated Nationals” eller på det amerikanske
handelsministeriums “Denied Person’s List or Entity List” eller nogen andre lister over begrænsede
parter. Ved at bruge iOS-software garanterer licenstager ikke at være bosiddende i et af ovennævnte
lande eller være opført på nogen af ovennævnte lister. Licenstager erklærer sig desuden indforstået med
ikke at ville bruge iOS-software til forbudte formål i henhold til gældende amerikansk lov, inklusive – men
ikke begrænset til – udvikling, design og fremstilling af kernevåben, missiler og kemiske eller biologiske
våben.

11. Amerikanske oﬀentlige myndigheder som slutbrugere. iOS-software og tilhørende dokumentation
er defineret som “Commercial Items” i henhold til 48 C.F.R. §2.101 og som bestående af “Commercial
Computer Software” og “Commercial Computer Software Documentation” i henhold til 48 C.F.R.§12.212
eller 48 C.F.R. §227.7202. I henhold til 48 C.F.R. §12.212 og 48 C.F.R. §227.7202-1 til 227.7202-4 gives
amerikanske oﬀentlige myndigheder som slutbrugere licens til “Commercial Computer Software” og
“Commercial Computer Software Documentation” (i) kun som “Commercial Items” (i) og kun med de
rettigheder, som andre slutbrugere har i henhold til denne licensaftale. Alle rettigheder til upubliceret
materiale forbeholdes i henhold til den amerikanske lov om ophavsret.

12. Gældende lovgivning og tilsidesættelse af bestemmelser. Denne licens er underlagt lovgivningen
i staten Californien med undtagelse af bestemmelserne om retstvister. Licensen er ikke underlagt FN-
konventionen vedr. aftaler om internationale løsørekøb. Hvis licenstager er privat forbruger med bopæl i
Storbritannien, er nærværende licensaftale underlagt gældende lokal lov. Hvis en retsinstans skulle
finde, at en paragraf eller en del af en paragraf i denne licens er i modstrid med gældende ret, skal resten
af denne licens stadig gælde i fuldt omfang.

13. Komplet licensaftale; sprogforrang. Denne licens udgør den eneste aftale mellem licenstager og
Apple med hensyn til brugen af iOS-software og erstatter alle tidligere eller nuværende aftaler herom.
Ingen tilføjelser eller ændringer til nærværende licens vil være bindende, medmindre de er udfærdiget
skriftligt og underskrevet af Apple. Alle oversættelser af denne licens foretages pga. lokale lovkrav, og i
tilfælde af uoverensstemmelse mellem den engelske version af licensaftalen og den oversatte version er
den engelske version altid den gældende, for så vidt som dette ikke er ulovligt i henhold til gældende
lokal lov.

14. Tredjeparters rettigheder. Dele af iOS-software bruger eller inkluderer software fra tredjeparter og
andet materiale, der er beskyttet af ophavsret. Oplysninger om rettigheder, licensbetingelser og
ansvarsfraskrivelser til dette materiale findes i den elektroniske dokumentation til iOS-software, og
licenstagers brug af dette materiale er underlagt de respektive rettighedshaveres betingelser. Brug af
Googles Safe Browsing-tjeneste er underlagt Googles servicevilkår (https://www.google.com/intl/da/
policies/terms/) og Googles privatlivspolitik (https://www.google.com/intl/da/policies/privacy/).

15. Brug af MPEG-4; bemærkning om H.264/AVC.
(a) iOS-software gives i licens i henhold til MPEG-4-systempatentets kodning i overensstemmelse med
MPEG-4-systemstandarden. Dog kræves en ekstra licens og betaling af afgift for kodning i forbindelse
med (i) data, der lagres på eller kopieres til fysiske medier, hvis der er betalt en afgift pr. titel, og/eller (ii)
data, som overføres til en slutbruger med henblik på permanent lagring og/eller brug, hvis der er betalt
en afgift pr. titel. Ekstra licenser kan indhentes fra MPEG LA, LLC. Der findes flere oplysninger på
adressen http://www.mpegla.com.

(b) iOS-software indeholder funktioner til kodning og/eller afkodning af MPEG-4-video. iOS-software
gives i licens i henhold til MPEG-4 Visual Patent Portfolio License til personlig og ikke kommerciel brug
af en almindelig forbruger i forbindelse med (i) kodning af video i overensstemmelse med MPEG-4 Visual
          Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 148 of 452



Standard (“MPEG-4-video”) og/eller (ii) afkodning af MPEG-4-video, som er kodet af en almindelig
forbruger som led i personlig og ikke kommerciel aktivitet, og/eller MPEG-4-video, som leveres af en
videoudbyder i overensstemmelse med en licens fra MPEG LA. Der er ikke givet nogen licens, hverken
direkte eller indirekte, til nogen anden brug. Der kan indhentes flere oplysninger, inklusive oplysninger om
reklame-, intern og kommerciel brug og licens hertil, fra MPEG LA, LLC. Se http://www.mpegla.com.

(c) Da iOS-software indeholder funktioner til AVC-kodning og/eller -afkodning, kræver kommerciel brug
af H.264/AVC yderligere licens, og følgende betingelser gælder: LICENSEN TIL AVC-FUNKTIONERNE I
iOS-SOFTWARE GÆLDER KUN TIL PERSONLIG OG IKKE KOMMERCIEL BRUG TIL AT (i) KODE VIDEO
I OVERENSSTEMMELSE MED AVC-STANDARDEN (“AVC-VIDEO”) OG/ELLER (ii) AFKODE AVC-VIDEO,
DER ER KODET AF EN BRUGER SOM ET LED I PERSONLIGE OG IKKE KOMMERCIELLE
AKTIVITETER, OG/ELLER AVC-VIDEO, SOM ER LEVERET AF EN VIDEOUDBYDER MED LICENS TIL AT
LEVERE AVC-VIDEO. OPLYSNINGER OM ANDEN BRUG OG LICENSER KAN INDHENTES FRA MPEG
LA L.L.C. SE http://www.mpegla.com.

16. Begrænsninger på Yahoo-søgetjenesten. Den Yahoo-søgetjeneste, der er tilgængelig via Safari,
gives i licens til brug i følgende lande og områder: Argentina, Aruba, Australien, Bahamas, Barbados,
Belgien, Bermuda, Brasilien, Bulgarien, Canada, Cayman Islands, Chile, Colombia, Cypern, Danmark,
Den Dominikanske Republik, Ecuador, El Salvador, Filippinerne, Finland, Frankrig, Grenada, Grækenland,
Guatemala, Holland, Indien, Indonesien, Irland, Island, Italien, Jamaica, Japan, Kina (fastlandet),
Hongkong, Taiwan, Letland, Litauen, Luxembourg, Malaysia, Malta, Mexico, New Zealand, Nicaragua,
Norge, Panama, Peru, Polen, Portugal, Puerto Rico, Rumænien, Schweiz, Singapore, Slovakiet,
Slovenien, Spanien, St. Lucia, St. Vincent, Storbritannien, Sverige, Sydkorea, Thailand, Tjekkiet, Trinidad
og Tobago, Tyrkiet, Tyskland, Ungarn, Uruguay, USA, Venezuela og Østrig.

17. Bemærkning om Microsoft Exchange. E-post-indstillingen til Microsoft Exchange i iOS-software
må kun bruges til trådløs synkronisering af oplysninger, f.eks. e-post, kontakter, kalendere og opgaver,
mellem iOS-enheden og Microsoft Exchange Server eller anden serversoftware, som Microsoft har
licenseret til implementering af Microsoft Exchange ActiveSync-protokollen.

EA1566
21/02/2019

————————————
Supplerende betingelser for Apple Pay

Disse Supplerende betingelser for Apple Pay (disse “Supplerende betingelser”) er et supplement til
Apple iOS-softwarelicensaftalen (“Licens”); licenstagers brug af funktionen Apple Pay er underlagt både
Licensen og nærværende Supplerende betingelser, som skal opfattes som en “Tjeneste” i henhold til
licensen. De ord og udtryk, der er skrevet med store forbogstaver i disse Supplerende betingelser, har
den betydning, der er brugt i Licensen.

1.       Oversigt og brugsbegrænsninger

Med Apple Pay kan licenstager:

     •     lagre virtuelle repræsentationer af kredit-, debetkort og forudbetalte kort, inklusive kredit- og
           debetkort samt forudbetalte kort til butikker, og Apple Pay Cash-kortet, som understøttes af
           funktionen Apple Pay (“Understøttede betalingskort”), og bruge understøttede iOS-enheder til at
           foretage kontaktfri betaling i udvalgte lokaliteter eller i apps og på websteder;
     •     bruge bonus- og gavekort, der opbevares i Wallet (“Kort kompatible med Apple Pay” og
           sammen med understøttede betalingskort, “Understøttede kort”) til at foretage kontaktfrie køb
           Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 149 of 452



           med bonus- og gavekort i udvalgte butikker som en del af kontaktfri betaling vha. Apple Pay; og
     •     sende betaling fra person til person til andre brugere af Apple Pay.

Apple Pay-funktionerne i iOS-software er muligvis kun tilgængelige i udvalgte områder, med udvalgte
kortudstedere, finansielle institutioner og i udvalgte butikker. Funktioner kan variere efter område,
udsteder og butik.

Hvis licenstager vil bruge Apple Pay, skal licenstager have et Understøttet kort. Understøttede kort kan
ændres fra tid til anden. For at kunne sende eller modtage betaling fra person til person skal licenstager
desuden have et Apple Pay Cash-kort.

Understøttede betalingskort og betaling fra person til person er forbundet med det Apple-id, som
licenstager har brugt til at logge ind på iCloud for at anvende disse funktioner. Understøttede kort er kun
tilgængelige for enkeltpersoner på 13 år og derover og kan være underlagt flere aldersbaserede
begrænsninger fra iCloud eller det Understøttede kort, som licenstager forsøger at benytte. Apple Pay
Cash-kortet og muligheden for at sende og modtage betaling fra person til person er kun tilgængelige
for personer på 18 år og derover.

Apple Pay er beregnet på licenstagers personlige brug og kan kun bruges til licenstagers egne
Understøttede kort. Hvis licenstager bruger et understøttet firmakort, erklærer licenstager, at det gøres
med arbejdsgiverens godkendelse, og at licenstager har godkendelse til at binde arbejdsgiveren til
nærværende betingelser for brug og alle transaktioner udført ved brug af denne funktion. Hvis
licenstager sender eller modtager betaling fra person til person, garanterer licenstager, at det gøres til
licenstagers eget personlige, ikke kommercielle brug.

Licenstager erklærer sig enig i ikke at bruge Apple Pay til ulovlige eller svigagtige formål eller nogen
andre formål, som er forbudt i henhold til Licensen og nærværende Supplerende betingelser. Licenstager
erklærer sig desuden enig i at bruge Apple Pay i overensstemmelse med gældende love og regulativer.
Licenstager erklærer sig enig i ikke at ville forstyrre eller afbryde Apple Pay-tjenesten (herunder at få
adgang til tjenesten vha. automatiske midler), servere eller netværk, som er forbundet med tjenesten,
eller regler, krav og regulativer for netværk, der er forbundet med tjenesten (inklusive ulovlig adgang til,
brug eller overvågning af data eller trafik på disse);

2.       Apples forhold til licenstager

Med Apple Pay kan licenstager oprette en virtuel repræsentation af sine Understøttede kort på
licenstagers understøttede iOS-enhed. Men Apple behandler ikke betalinger eller andre
korttransaktioner uden betaling (f.eks. indsættelse eller indløsning af beløb), modtager, ligger inde med
eller overfører heller ikke licenstagers midler eller har nogen anden kontrol over betalinger, returneringer,
refusioner, bonusser, værdi, rabatter eller andre kommercielle aktiviteter, der kan opstå på basis af
licenstagers brug af denne funktion.

Betingelserne i kortholderaftaler med licenstagers kortudsteder vil fortsat være bestemmende for
licenstagers brug af Understøttede kort og deres brug i forbindelse med Apple Pay. På lignende måde er
licenstagers deltagelse i eventuelle bonusfordele eller gavekortprogrammer i butikker og licenstagers
brug af Kort kompatible med Apple Pay i forbindelse med Apple Pay underlagt vedkommende butiks
vilkår og betingelser.

Apple Pay Cash-kortet og muligheden for at sende og modtage betaling fra person til person findes kun
i USA og er tjenester, som leveres af Green Dot Bank, medlem af FDIC. Når licenstager slår disse
funktioner til i Apple Pay, åbner licenstager en konto hos Green Dot Bank, og når licenstager sender eller
modtager betaling fra person til person eller indsætter eller hæver penge fra licenstagers Apple Pay
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 150 of 452



Cash-kort, vil Green Dot Bank være ansvarlig for at modtage og sende licenstagers penge til den
påtænkte modtager. Den finansielle institution, der er ansvarlig for at tilbyde Apple Pay Cash og betaling
fra person til person inde fra Apple Pay, kan ændres, og licenstagers brug af sådanne funktioner er
underlagt vilkår og betingelser for disse funktioner.

Der er intet i Licensen eller nærværende Supplerende betingelser, som ændrer betingelserne i
licenstagers evt. kortholder-, bruger- eller butiksaftale, og sådanne betingelser vil fortsat være
bestemmende for licenstagers brug af det gældende Understøttede kort eller betalingsfunktionen fra
person til person i Apple Pay og deres virtuelle repræsentation på licenstagers iOS-enhed. Licenstager
erklærer sig enig i, at Apple ikke er en del af licenstagers kortholder- eller butiksaftale, og Apple er heller
ikke ansvarlig for: (a) disse betalingskorts, bonuskorts og værdikorts indhold, nøjagtighed eller
utilgængelighed, ej heller for kommercielle aktiviteter, transaktioner eller køb ved brug af funktionaliteten
i Apple Pay; og (b) Apple er heller ikke på nogen måde involveret i bevilling af kredit eller vurdering af
kreditværdighed; eller (c) indsættelse eller indløsning af beløb på værdikort iht. en butiks bonusprogram;
eller (d) betaling af eller genopfyldning af forudbetalte kort; (e) afsendelse eller modtagelse af betaling fra
person til person; eller (f) indsættelse, indløsning eller hævning af penge fra licenstagers Apple Pay
Cash-kort.

I tilfælde af uoverensstemmelser eller spørgsmål mht. betalingskort, bonuskort, gavekort eller tilknyttede
kommercielle aktiviteter bedes licenstager kontakte den pågældende udsteder eller butik. Ved spørgsmål
angående Apple Pay Cash-kortet eller betaling fra person til person kan henvendelse ske til Apple-
support.

3.   Personlige oplysninger

Apple Pay kræver nogle oplysninger fra licenstagers iOS-enhed for at kunne tilbyde hele oplevelsen. Når
licenstager bruger Apple Pay Cash-kortet eller sender eller modtager betaling fra person til person,
indsamles der desuden oplysninger om licenstagers transaktioner, og disse oplysninger bevares for at
sikre vedligeholdelse af licenstagers konto, forhindre svindel og opfylde lovmæssige krav. Licenstager
kan finde flere oplysninger om de data, der indsamles, bruges eller deles som en del af licenstagers brug
af Apple Pay, Apple Pay Cash-kortet eller betaling fra person til person med Apple Pay ved at læse Om
Apple Pay og anonymitet (som findes i Wallet & Apple Pay på licenstagers iOS-enhed eller i appen
Watch på en parret iOS-enhed) eller besøge https://www.apple.com/dk/privacy. Ved at bruge disse
funktioner erklærer licenstager sig indforstået med, at Apple, dets datterselskaber og agenter sender,
indsamler, vedligeholder, behandler og benytter alle førnævnte oplysninger med henblik på at levere
funktionaliteten i Apple Pay.

4.   Sikkerhed; mistede enheder eller enheder, der er slået fra

Apple Pay opbevarer virtuelle repræsentationer af licenstagers Understøttede kort, og disse skal
beskyttes på samme måde som kontanter eller fysiske kredit-, debetkort, forudbetalte kort, bonus- og
gavekort. Hvis koden til licenstagers enhed overdrages til en tredjepart, eller en tredjepart får tilladelse til
at tilføje vedkommendes fingeraftryk til brug med Touch ID eller aktivering af Face ID, kan vedkommende
muligvis foretage betalinger, sende, anmode om eller modtage betaling fra person til person, hæve
penge på licenstagers Apple Pay Cash-kort eller modtage eller indløse bonus eller tilgodehavender vha.
Apple Pay på licenstagers enhed. Licenstager er eneansvarlig for at vedligeholde sikkerheden på
enheden og beskytte adgangskoden. Licenstager erklærer sig enig i, at Apple ikke er ansvarlig, hvis
licenstager mister eller deler adgangen til licenstagers enhed. Licenstager erklærer sig enig i, at Apple
ikke er ansvarlig, hvis licenstager foretager uautoriserede ændringer i iOS (f.eks. i form af “jailbreak”).

Licenstager skal muligvis slå flere sikkerhedsforanstaltninger til, f.eks. tofaktorgodkendelse til
licenstagers Apple-id, for at kunne få adgang til bestemte funktioner i Apple Pay, inkl. Apple Pay Cash-
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 151 of 452



kortet eller betaling fra person til person med Apple Pay. Hvis licenstager senere fjerner disse
sikkerhedsfunktioner, vil licenstager måske ikke kunne fortsætte med at få adgang til bestemte
funktioner i Apple Pay.

Hvis licenstagers enhed mistes eller stjæles, og Find min iPhone er slået til, kan licenstager bruge Find
min iPhone til at forsøge at suspendere muligheden for at betale med de virtuelle Understøttede
betalingskort eller sende betaling fra person til person på den pågældende enhed ved at aktivere
funktionen Mistet. Licenstager kan også slette sin enhed, som vil forsøge at suspendere muligheden for
at betale med de virtuelle Understøttede betalingskort eller for at sende betaling fra person til person på
enheden, og det vil også forsøge at fjerne Kort kompatible med Apple Pay. Licenstager bør også
kontakte udstederen af licenstagers Understøttede betalingskort, den butik, som har udstedt
licenstagers Kort kompatible med Apple Pay, og Apple i tilfælde af licenstagers Apple Pay Cash-kort, for
at forhindre uautoriseret adgang til licenstagers virtuelle Understøttede kort.

Hvis licenstager rapporterer om eller Apple har mistanke om svigagtige eller lyssky aktiviteter, erklærer
licenstager sig indforstået med at samarbejde med Apple i en evt. undersøgelse og til at benytte evt.
forholdsregler til forhindring af svindel, som Apple måtte foreskrive.

5.   Begrænset ansvar

UD OVER DE ANSVARSFRASKRIVELSER OG ANSVARSBEGRÆNSNINGER, SOM ER ANFØRT I
NÆRVÆRENDE LICENS, PÅTAGER APPLE SIG IKKE NOGET ANSVAR FOR KØB, BETALINGER,
TRANSAKTIONER ELLER ANDRE KOMMERCIELLE AKTIVITETER FORETAGET VHA. FUNKTIONEN
APPLE PAY, OG LICENSTAGER ERKLÆRER SIG INDFORSTÅET MED UDELUKKENDE AT BENYTTE
EVT. AFTALER MED LICENSTAGERS KORTUDSTEDER, BETALINGSNETVÆRK, FINANCIELLE
INSTITUTIONER ELLER BUTIK MHB. AT LØSE EVT. SPØRGSMÅL OG UOVERENSSTEMMELSER
ANGÅENDE LICENSTAGERS UNDERSTØTTEDE KORT, BETALING FRA PERSON TIL PERSON OG
TILKNYTTEDE KOMMERCIELLE AKTIVITETER.

————————————
KOMMUNIKATION FRA APPLE
Hvis Apple har brug for at kontakte licenstager angående licenstagers produkt eller konto, erklærer
licenstager sig indforstået med at modtage kommunikation via e-post. Du erklærer dig enig i, at en
sådan kommunikation, som du modtager elektronisk fra Apple, overholder alle juridiske krav til
kommunikation.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 152 of 452



SUOMI

TÄRKEÄÄ: KÄYTTÄMÄLLÄ iPHONEA, iPADIA TAI iPOD TOUCHIA (”iOS-LAITE”) SITOUDUT
SEURAAVIIN EHTOIHIN:

A.   APPLE iOS -OHJELMISTOLISENSSISOPIMUS
B.   APPLE PAYN LISÄEHDOT
C.   APPLEN ILMOITUKSET

APPLE INC.
iOS-OHJELMISTOLISENSSISOPIMUS
Yhden käyttäjän lisenssi

LUE TARKASTI TÄMÄ OHJELMISTOLISENSSISOPIMUS (”LISENSSI”) ENNEN iOS-LAITTEEN
KÄYTTÖÄ TAI TÄHÄN LISENSSIIN LIITTYVÄN OHJELMISTOPÄIVITYKSEN LATAAMISTA.
KÄYTTÄMÄLLÄ iOS-LAITETTA TAI LATAAMALLA OHJELMISTOPÄIVITYKSEN SITOUDUT
NOUDATTAMAAN TÄMÄN LISENSSIN EHTOJA. ELLET HYVÄKSY LISENSSIN EHTOJA, ÄLÄ
KÄYTÄ iOS-LAITETTA TAI LATAA OHJELMISTOPÄIVITYSTÄ.

JOS OLET ÄSKETTÄIN OSTANUT iOS-LAITTEEN ETKÄ HYVÄKSY LISENSSIN EHTOJA, VOIT
HYVITYKSEN SAADAKSESI PALAUTTAA iOS-LAITTEEN PALAUTUSAJAN SISÄLLÄ APPLEN
PALAUTUSKÄYTÄNNÖN MUKAISESTI APPLE STOREEN TAI VALTUUTETUN JÄLLEENMYYJÄN
LIIKKEESEEN, JOSTA OLET SEN HANKKINUT. SÄÄNNÖT OVAT LUETTAVISSA OSOITTEESSA
https://www.apple.com/legal/sales-support/.

1. Yleistä.
(a) Apple Inc. (”Apple”) myöntää Lisenssin ehtojen mukaisen käyttöoikeuden iOS-laitteen mukana
tulleisiin ohjelmiin (mukaan lukien Boot ROM -koodi, sisällytetyt ohjelmat ja muiden valmistajien
ohjelmat), dokumentaatioon, käyttöliittymiin, sisältöön, fontteihin ja dataan (”Alkuperäinen iOS-
ohjelmisto”), jotka saattavat päivittyä tai korvautua ominaisuuksien parannuksissa,
ohjelmistopäivityksissä tai Applen järjestelmänpalautusohjelmistossa (”iOS-ohjelmistopäivitykset”),
olivatpa nämä muistissa tai millä tahansa muulla medialla taikka missä tahansa muodossa
(Alkuperäiseen iOS-ohjelmistoon ja iOS-ohjelmistopäivityksiin viitataan yhteisnimityksellä ”iOS-
ohjelmisto”). Apple ei myy iOS-ohjelmistoa sinulle. Apple ja Applen lisensoijat säilyttävät omistajuutensa
iOS-ohjelmistoon ja pidättävät itsellään kaikki oikeudet, joita ei ole erikseen annettu sinulle. Hyväksyt,
että tämän Lisenssin ehtoja sovelletaan kaikkiin Apple-merkkisiin ohjelmiin jotka saattavat sisältyä iOS-
laitteeseen, ellei tällaisen ohjelman mukana tule erillistä lisenssiä, missä tapauksessa hyväksyt, että sen
lisenssin ehdot määräävät kyseisen ohjelman käyttöäsi.

(b) Apple voi oman harkintansa mukaan tulevaisuudessa tarjota iOS-ohjelmapäivityksiä. Mahdolliset iOS-
ohjelmistopäivitykset eivät välttämättä sisällä kaikkia nykyisiä ohjelmisto-ominaisuuksia tai uusia
ominaisuuksia, jotka Apple julkaisee uudemmille tai muille iOS-laitteiden malleille. Tämän Lisenssin
ehdot kattavat myös Applen mahdollisesti tarjoamat iOS-ohjelmistopäivitykset, ellei tällaisen iOS-
ohjelmistopäivityksen mukana tule erillistä lisenssiä, jolloin hyväksyt kyseisen lisenssin ehdot koskemaan
kyseistä päivitystä.

(c) Jos asennat uuden iOS-laitteen vanhan iOS-laitteen avulla käyttämällä pikakäyttöönottoa, hyväksyt,
että tämän Lisenssin ehtoja sovelletaan uuden iOS-laitteesi iOS-ohjelmistoon, ellei sen mukana tule
erillistä lisenssiä, missä tapauksessa hyväksyt, että kyseisen lisenssin ehdot määräävät iOS-ohjelmiston
käyttöäsi. iOS-laitteesi tarkistaa ajoittain Applelta iOS-ohjelmistopäivityksiä. Jos päivitys on saatavilla,
päivitys ladataan ja asennetaan iOS-laitteeseen ja tarvittaessa lisälaitteisiin automaattisesti. Käyttämällä
Apple-ohjelmistoa osoitat hyväksyväsi sen, että Apple voi ladata ja asentaa automaattisia iOS-
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 153 of 452



ohjelmistopäivityksiä iOS-laitteeseesi ja lisälaitteisiisi. Voit laittaa automaattiset päivitykset kokonaan
pois päältä koska tahansa muuttamalla automaattisten päivitysten asetusta valitsemalla Asetukset >
Yleiset > Ohjelmistopäivitys.

2. Lisenssin käyttö ja rajoitukset.
(a) Sinulle myönnetään tämän Lisenssin sopimusehtojen puitteissa rajoitettu, rinnakkainen lisenssi
käyttää iOS-ohjelmistoa yhdessä Apple-merkkisessä iOS-laitteessa. Lukuun ottamatta kohdassa 2 (b)
jäljempänä sallittua poikkeusta sekä erillistä sinun ja Applen välillä tehtävää sopimusta tämä Lisenssi
kieltää iOS-ohjelmiston samanaikaisen asentamisen useampaan kuin yhteen Apple-merkkiseen iOS-
laitteeseen, eikä iOS-ohjelmistoa saa jaella tai asettaa käyttöön verkossa, jossa sitä voisi käyttää
useampi kuin yksi laite kerrallaan. Tämä Lisenssi ei anna mitään oikeuksia käyttää Applen omisteisia
käyttöliittymiä tai muuta Applen immateriaalioikeuksien piiriin kuuluvaa omaisuutta iOS-laitteiden kanssa
käytettävien muiden valmistajien oheislaitteiden, lisävarusteiden tai ohjelmistosovellusten suunnittelussa,
kehittämisessä, valmistuksessa, lisensoinnissa tai jakelussa. Jotkin näistä oikeuksista ovat saatavissa
Applelta erillisillä lisensseillä. Lisätietoja kolmansien osapuolten laitteiden ja lisävarusteiden
kehittämisestä iOS-laitteille saat osoitteesta https://developer.apple.com/programs/mfi/. Lisätietoja
appien kehittämisestä iOS-laitteille saat osoitteesta https://developer.apple.com.

(b) Sinulle myönnetään tämän Lisenssin ehtojen puitteissa rajoitettu, rinnakkainen lupa ladata iOS-
ohjelmistopäivityksiä, joita Apple mahdollisesti tarjoaa sinun iOS-laitteellesi, päivittääksesi tai
palauttaaksesi omistamasi tai hallitsemasi iOS-laitteen ohjelmiston. Lisenssi ei salli muiden kuin
omistamasi tai hallitsemasi iOS-laitteen ohjelmistopäivityksiä ja -palautuksia. iOS-ohjelmistopäivityksiä ei
myöskään saa jaella tai asettaa saataville verkossa, jossa niitä voisi käyttää useampi kuin yksi laite tai
tietokone kerrallaan. Mikäli lataat iOS-ohjelmistopäivityksen tietokoneellesi, iOS-ohjelmistopäivityksistä
voidaan ainoastaan varmuuskopiointitarkoituksessa tehdä yksi tietokoneella luettavissa oleva kopio,
jossa tulee näkyä samat tekijänoikeustiedot ja muut omistajuustiedot kuin alkuperäisessä.

(c) Siinä määrin kuin Apple on esiasentanut Apple-ohjelmistoja App Storesta iOS-laitteelle ostohetkenä
(”esiasennettu ohjelmisto”), sinun pitää kirjautua sisään App Storeen ja yhdistää esiasennetut ohjelmistot
App Store -tiliisi, jotta sitä voi käyttää iOS-laitteella. Kun yhdistät esiasennetun ohjelmiston App Store -
tiliisi, yhdistät samalla automaattisesti kaikki mahdolliset muut esiasennetut ohjelmat, jotka ovat iOS-
laitteessasi. Valitsemalla esiasennetun ohjelmiston yhdistämisen App Store -tiliisi, hyväksyt, että Apple
voi lähettää, kerätä, ylläpitää, käsitellä ja käyttää sekä App Store -tilin käyttämää Apple ID:tä että iOS-
laitteestasi poimittua yksilöllistä laitteistotunnistetta yksilöllisinä tilitunnisteina pyyntösi oikeutuksen
varmistamiseen ja pääsyn tarjoamiseen esiasennettuun ohjelmistoon App Storen kautta. Jos et halua
käyttää esiasennettua ohjelmistoa, voit poistaa sen iOS-laitteesta koska tahansa.

(d) Sitoudut siihen, että et saa kopioida (muutoin kuin tässä Lisenssissä on erikseen sallittu),
takaisinkääntää, takaisinmallintaa tai yrittää muuten palauttaa lähdekoodiksi tai muokata iOS-
ohjelmistoa, sen tarjoamia palveluita tai mitään niiden osia, purkaa niiden salausta tai luoda niiden
pohjalta johdannaisteoksia etkä antaa muille mahdollisuutta tehdä näin (muutoin kuin ainoastaan mikäli
ja siinä määrin kuin jonkin edellä mainitun rajoituksen estävät sovellettava laki tai iOS-ohjelmiston
mahdollisesti sisältämien avoimen lähdekoodin komponenttien käyttöä koskevat lisenssiehdot).

(e) iOS-ohjelmistoa voidaan käyttää materiaalin jäljentämiseen, jos käyttö rajoittuu muuhun kuin
tekijänoikeuksilla suojattuun materiaaliin tai sellaiseen materiaaliin, johon sinulla on tekijänoikeus, tai
jonka jäljentämiseen sinulla on valtuutus tai laillinen lupa. iOS-ohjelmiston kautta katsellun, tallennetun
tai ladatun sisällön omistus- ja immateriaalioikeudet kuuluvat vastaavan sisällön omistajalle. Tällaista
sisältöä saattavat suojata tekijänoikeus- tai muut omistusoikeudelliset lait ja sopimukset ja sisältö
saattaa olla tällaista sisältöä tarjoavan muun valmistajan käyttöehtojen alainen. Ellei ole mainittu toisin,
tämä Lisenssi ei anna sinulle minkäänlaista oikeutta tällaisen sisällön käyttöön eikä takaa, että sisältö on
jatkossakin saatavillasi.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 154 of 452




(f) Tämän Lisenssin ehtojen puitteissa voit käyttää iOS-ohjelmiston mukana tulevia tai sillä luotuja
Animoji- ja Memoji-merkkejä (”Järjestelmämerkit”), (i) kun käytät iOS-ohjelmistoa ja (ii) kun luot
alkuperäistä sisältöä ja projekteja henkilökohtaiseen ei-kaupalliseen käyttöön. Tämä Lisenssi ei salli
mitään muuta Järjestelmänmerkkien käyttöä, mukaan lukien rajoituksetta käyttö, kopioiminen,
näyttäminen, esittäminen, tallentaminen, julkaiseminen tai jakelu kaupallisessa, ei-kaupallisessa tai
julkisen jakamisen kontekstissa.

(g) Sitoudutte käyttämään iOS-ohjelmistoa ja Palveluita (kuten määritetty osiossa 5 alla) noudattaen
kaikkia sovellettavia lakeja, mukaan lukien paikalliset lait maassa, jossa asutte tai jossa latasitte tai
käytätte iOS-ohjelmistoa ja Palveluita. iOS-ohjelmiston ja Palveluiden kaikki ominaisuudet eivät
välttämättä ole käytettävissä kaikilla kielillä ja alueilla ja jotkin ominaisuudet saattavat vaihdella alueen
mukaan ja joitain ei välttämättä ole saatavilla palveluntarjoajaltasi. iOS-ohjelmiston ja Palveluiden jotkin
ominaisuudet vaativat Wi-Fi- tai mobiilidatayhteyden.

(h) App Storen käyttö edellyttää yksilöllistä käyttäjätunnuksen ja salasanan yhdistelmää, josta käytetään
nimitystä Apple ID. Apple ID:tä tarvitaan myös iOS-ohjelmiston päivitysten sekä tiettyjen ominaisuuksien
ja Palveluiden käyttöön.

(i) Hyväksyt, että useat iOS-ohjelmiston ominaisuudet, vakioapit ja Palvelut välittävät tietoja ja saattavat
aiheuttaa kustannuksia internet-palveluusi ja että olet yksin vastuussa sellaisista kustannuksista.
Mobiilidata-asetuksissa voit katsoa ja hallita sitä, mitkä ohjelmat saavat käyttää mobiilidataa, ja katsoa
arvion siitä, kuinka paljon dataa kyseiset ohjelmat ovat kuluttaneet. Lisäksi Wi‑Fi-apuri vaihtaa
automaattisesti mobiiliyhteyteen, kun Wi‑Fi-yhteys on heikko, mistä saattaa aiheutua enemmän
mobiilidatan käyttöä ja liittymän maksuja. Wi‑Fi-apuri on oletuksena päällä, mutta se voidaan ottaa pois
käytöstä Asetuksissa. Katso lisätietoja iOS-laitteesi käyttöoppaasta.

(j) Jos valitset, että suostut automaattisiin päivityksiin, iOS-laitteesi tarkistaa ajoittain Applelta onko
laitteeseesi asennettuihin ohjelmistoihin saatavilla päivityksiä. Jos päivitys on saatavilla, se ladataan ja
asennetaan automaattisesti laitteeseesi. Voit laittaa automaattiset päivitykset pois päältä milloin tahansa
menemällä Asetuksiin, napauttamalla sitten iTunes ja App Store ja ottamalla Automaattiset lataukset -
kohdasta Päivitykset pois päältä.

(k) iOS-laitteen käyttäminen voi joissakin tilanteissa häiritä keskittymistäsi ja aiheuttaa vaaratilanteita
(vältä esimerkiksi tekstiviestien kirjoittamista autoa ajaessasi tai kuulokkeiden käyttämistä pyöräillessäsi).
Käyttämällä iOS-laitetta osoitat hyväksyväsi, että sinä olet vastuussa matkapuhelinten tai
kuulokemikrofonien käyttöä rajoittavien tai sen kieltävien sääntöjen noudattamisesta (esimerkiksi
vaatimuksesta käyttää hands free -ratkaisua, jos puhut puheluita autoa ajaessasi).

3. Siirto. Sinulla ei ole oikeutta vuokrata, liisata, lainata, myydä, jaella edelleen tai jatkolisensoida iOS-
ohjelmistoa. Voit kuitenkin pysyvästi siirtää tämän Lisenssin suomat oikeudet iOS-ohjelmistoon
kertaalleen kokonaisuudessaan yhdessä omistamasi iOS-laitteesi kanssa edellyttäen, että: (a)
omistamasi iOS-laite ja iOS-ohjelmisto siirretään kokonaisuudessaan, mukaan lukien kaikki
komponenttien osat ja tämä Lisenssi, (b) sitoudut hävittämään hallussasi olevat muut osittaisetkin iOS-
ohjelmiston kopiot, myös tietokoneeseen tai muuhun tallennuslaitteeseen tallennetut kopiot ja (c)
osapuoli, jonka haltuun iOS-ohjelmisto siirtyy, lukee tämän Lisenssin sopimusehdot ja hyväksyy ne.

4. Suostumus tiedon käyttöön. Kun käytät laitettasi, puhelinnumerosi ja tietyt iOS-laitteesi yksilölliset
tunnisteet läheteään Applelle, jotta muut käyttäjät voivat saada sinuun yhteyden puhelinnumerollasi kun
käytät iOS-ohjelmiston kommunikointiominaisuuksia, kuten iMessagea ja FaceTimea. Kun käytät
iMessagea, Apple voi säilyttää viestejäsi salatussa muodossa rajoitetun ajan, jotta niiden toimitus
voidaan varmistaa. Voit ottaa FaceTime- tai iMessage-palvelun pois käytöstä menemällä iOS-laitteesi
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 155 of 452



FaceTime- tai Viestit-asetuksiin. Muut ominaisuudet, kuten Analyysit, Sijaintipalvelut, Siri ja Sanelu voivat
toimiakseen tarvita tietoja iOS-laitteeltasi. Kun otat näitä ominaisuuksia käyttöön tai kun käytät niitä, saat
lisätietoja siitä, mitä tietoja lähetetään Applelle ja kuinka tietoja käytetään. Saat lisätietoja osoitteesta
https://www.apple.com/privacy/.. Tietojasi käsitellään aina Applen tietosuojakäytännön mukaisesti, joka
on luettavissa osoitteessa: https://www.apple.com/fi/legal/privacy/.

5. Palvelut ja muiden valmistajien aineisto.
(a) iOS-ohjelmisto saattaa mahdollistaa pääsyn Applen iTunes Storeen, App Storeen, Apple Booksiin,
Game Centeriin, iCloudiin, Karttoihin ja muihin Applen ja kolmansien osapuolten palveluihin ja
verkkosivustoihin (yhdessä ja erikseen ”Palvelut”). Kyseiset Palvelut eivät ehkä ole saatavilla kaikilla
kielillä tai kaikissa maissa. Näiden Palveluiden käyttö edellyttää internet-yhteyttä, ja joidenkin Palveluiden
käyttö voi edellyttää Apple ID:tä ja erillisten palveluehtojen hyväksymistä ja voi olla erikseen maksullista.
Käyttämällä tätä ohjelmistoa yhdessä Apple ID:n tai muun Applen Palvelun kanssa sitoudut kyseistä
Palvelua koskeviin palveluehtoihin, kuten uusimpiin Applen mediapalveluehtoihin maassa, jossa käytät
Palvelua. Voit perehtyä näihin ehtoihin osoitteessa https://www.apple.com/legal/internet-services/
itunes/.

(b) Mikäli liityt iCloud-palveluun, tiettyjä iCloud-ominaisuuksia, kuten iCloud-kuvat, Oma kuvavirta, Jaetut
albumit, Varmuuskopioi ja Etsi iPhoneni, voidaan käyttää suoraan iOS-ohjelmistosta. Ymmärrät ja
hyväksyt, että iCloudin ja näiden ominaisuuksien käyttö on iCloud-palvelun uusimpien ehtojen ja
määräysten alaista. iCloudin ehdot ja määräykset ovat luettavissa osoitteessa: https://www.apple.com/
legal/internet-services/icloud/.

(c) News-ohjelman sisältö. News-ohjelman kautta käyttämäsi sisältö on rajoitettu ainoastaan
henkilökohtaiseen epäkaupalliseen käyttöön, sen käyttäminen ei siirrä sinulle mitään omistajuutta
sisältöön ja erityisesti sulkee pois rajoituksetta sisällön kaupalliset tai myynnin edistämisen
käyttöoikeudet. Lisäksi News-ohjelman kautta itsenäisinä tiedostoina käytettyjen kuvien uudelleen
julkaiseminen, edelleen lähettäminen ja jäljentäminen on kielletty.

(d) Kartat. iOS-ohjelmiston karttapalvelu ja ominaisuudet (”Kartat”), kuten karttadatan kattavuus
saattavat vaihdella alueen mukaan. Kun käytät mitä tahansa sijaintiin perustuvia ominaisuuksia
Kartoissa, kuten käännös käännökseltä etenevää navigointia, liikennetietoja ja paikallista hakua, erinäisiä
sijaintiin ja käyttöön liittyviä tietoja saatetaan lähettää Applelle, mukaan lukien iOS-laitteesi reaaliaikainen
maantieteellinen sijainti, jotta pyyntösi voidaan käsitellä ja Karttoja parantaa. Apple kerää kyseiset
sijainti- ja käyttötiedot muodossa, josta sinua ei voida tunnistaa henkilökohtaisesti. Käyttämällä Kartat-
ohjelmaa hyväksyt, että Apple, sen tytäryhtiöt ja edustajat välittävät, keräävät, ylläpitävät,
käsittelevät ja käyttävät näitä tietoja, jotta ne voivat tarjota ja parantaa Kartat-ominaisuuksia ja -
palvelua sekä muita Applen tuotteita ja palveluita. Apple voi myös tarjota tällaisia tietoja joko
koostetussa muodossa tai sellaisessa muodossa, josta henkilöä ei voida tunnistaa,
yhteistyökumppaneille ja lisenssinhaltijoille auttaakseen parantamaan karttoihin ja sijainteihin perustuvia
tuotteita ja palveluita. Voit poistaa Karttojen sijaintiin perustuvan toiminnallisuuden käytöstä avaamalla
iOS-laitteessasi Sijaintipalvelut-asetuksen ja asettamalla pois päältä Karttojen yksittäisen
sijaintiasetuksen. Jotkin Kartat-ominaisuudet, kuten käännös käännökseltä etenevä navigointi, eivät
kuitenkaan ole käytettävissä, jos poistat Sijaintipalvelut-asetuksen käytöstä.

(e) Sinun tulee ymmärtää, että Palveluita käyttäessäsi voit kohdata sisältöä, joka saattaa olla loukkaavaa,
siveetöntä tai sopimatonta ja saattaa sisältää rumaa kieltä, ja että mikä tahansa haku tai tietyn verkko-
osoitteen kirjoittaminen saattaa tahattomasti ja automaattisesti luoda linkkejä tai viittauksia
sopimattomaan aineistoon. Hyväksyt, että käytät Palveluita omalla riskilläsi ja että Apple, sitä lähellä
olevat yritykset, sen edustajat, toimeksiantajat tai lisensoijat eivät ole vastuussa sisällöstä, joka on ehkä
loukkaavaa, siveetöntä tai sopimatonta.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 156 of 452



(f) Tietyt Palvelut voivat näyttää, sisältää tai tuoda saataville kolmansien osapuolten sisältöä, dataa,
tietoja, sovelluksia tai aineistoa (”Kolmansien osapuolten aineisto”) tai tarjota linkkejä tietyille kolmansien
osapuolten verkkosivustoille. Käyttämällä Palveluita osoitat hyväksyväsi, että Applen vastuulla ei ole
tarkastaa tai arvioida Muiden valmistajien tai verkkosivustojen aineiston sisältöä, täsmällisyyttä,
kattavuutta, ajantasaisuutta, pätevyyttä, tekijänoikeuksien kunnioittamista, laillisuutta, sopivuutta, laatua
tai muita ominaisuuksia. Apple, sen edustajat, sen konserniyhtiöt tai tytäryritykset eivät anna takuita tai
suosituksia tai ole vastuussa sinulle tai kenellekään muulle koskien muiden valmistajien Palveluita,
Muiden valmistajien aineistoa tai verkkosivustoja tai mitään muuta muiden valmistajien aineistoa,
tuotteita tai palveluita. Muiden valmistajien aineistoa ja linkkejä muille verkkosivustoille tarjotaan vain
käytön helpottamiseksi.

(g) Apple tai sen sisällöntuottajat eivät takaa minkään Palveluiden näyttämien pörssi-, sijainti- tai muiden
tietojen saatavuutta, tarkkuutta, kattavuutta, luotettavuutta tai ajantasaisuutta. Palveluiden näyttämät
taloudelliset tiedot on annettu vain yleisessä tiedonvälitystarkoituksessa, eikä niitä pidä käyttää
luotettavina sijoitusneuvoina. Ennen kuin suoritat mitään arvopaperikauppoja Palveluiden kautta
saatavien tietojen perusteella, sinun kannattaa ottaa yhteyttä talous- tai arvopaperiammattilaiseen, joka
on laillisesti pätevä antamaan talous- tai arvopaperineuvontaa maassasi tai alueellasi. Kaikki Palveluiden
tarjoamat sijaintitiedot, mukaan lukien Applen Kartat-palvelu, on tarjottu vain tavanomaista
suunnistamista ja suunnittelua varten, eikä niihin tule luottaa tilanteissa, joissa tarvitaan täsmällisiä
sijaintitietoja ja joissa virheellinen, epätarkka, viivästynyt tai puutteellinen sijaintitieto voi johtaa
kuolemaan tai henkilö-, omaisuus- tai ympäristövahinkoon. Hyväksyt, että Kartat-palvelusta saadut
tulokset saattavat erota todellisista tie- tai maasto-olosuhteista johtuen syistä, jotka voivat vaikuttaa
karttadatan tarkkuuteen, kuten rajoituksetta sää, tie- ja liikenneolosuhteet sekä geopoliittiset tapahtumat.
Oman turvallisuutesi vuoksi, kun käytät navigointiominaisuutta, kiinnitä aina huomiota liikennemerkkeihin
ja vallitseviin tieolosuhteisiin. Noudata turvallista ajotapaa ja liikennesääntöjä ja ota huomioon, että
kävelyohjeet eivät ehkä sisällä jalkakäytäviä tai kävelypolkuja.

(h) Siltä osin kuin lähetät mitään sisältöä näiden Palveluiden kautta vakuutat, että omistat kyseisen
sisällön tai sinulla on tarvittava laillinen oikeus tai lupa lähettää sitä ja että kyseinen sisältö ei riko
Palveluun sovellettavia palveluehtoja. Hyväksyt, että Palveluissa on omisteista sisältöä, tietoa ja
aineistoa, jonka omistavat Apple, sivuston omistaja tai sen lisensoijat ja jota suojaavat siihen
sovellettavat immateriaalioikeutta koskevat ja muut lait mukaan lukien rajoituksetta tekijänoikeudet.
Hyväksyt, että et käytä tällaista omisteista sisältöä, tietoa tai aineistoa millään muulla tavoin kuin
käyttämällä Palveluita sallitusti tai millään tavalla, joka on ristiriidassa tämän Lisenssin ehtojen kanssa tai
loukkaa Applen tai muun valmistajan immateriaalioikeuksia. Palveluiden mitään osaa ei saa jäljentää
missään muodossa tai millään keinolla. Sitoudut olemaan muokkaamatta, vuokraamatta, liisaamatta,
lainaamatta, myymättä tai levittämättä Palveluita tai luomatta niistä johdannaisteoksia millään tavalla ja
olemaan käyttämättä Palveluita millään ei-sallitulla tavalla, mukaan lukien rajoituksetta Palveluiden
käyttäminen tietokonevirusten, matojen, troijalaisten tai muiden haittaohjelmien levittämiseen tai verkon
luvattomaan käyttöön tai kuormittamiseen. Lisäksi sitoudut siihen, että et käytä Palveluita millään tavoin
muiden osapuolten häiritsemiseen, vahingoittamiseen, varjostamiseen, uhkaamiseen, kunnian
loukkaamiseen tai muuhun oikeuksien rikkomiseen tai loukkaamiseen, eikä Apple ole millään tavoin
vastuussa tällaisesta toiminnastasi eikä mistään Palveluiden käytön seurauksena mahdollisesti
vastaanottamistasi häiritsevistä, uhkaavista, kunniaa loukkaavista, loukkaavista tai laittomista viesteistä
tai tiedonsiirroista.

(i) Lisäksi Palvelut ja Kolmansien osapuolten aineisto, jota voidaan käyttää, linkittää tai näyttää iOS-
laitteessa, ei ole käytettävissä kaikilla kielillä tai kaikissa maissa tai kaikilla alueilla. Apple ei esitä, että
kyseiset Palvelut tai Muiden valmistajien aineisto sopisivat käytettäviksi tai olisivat käytettävissä missään
tietyssä paikassa. Mikäli päätät käyttää tällaisia Palveluita tai Muiden valmistajien aineistoa, teet sen
omasta aloitteestasi ja vastaat siitä, että käyttö on kaikkien sovellettavien lakien mukaista, mukaan lukien
mutta niihin rajoittumatta sovellettavat paikalliset lait ja henkilötietoja ja tietojen keräämistä koskevat lait.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 157 of 452



Valokuvien synkronoiminen ja jakaminen iOS-laitteen avulla voi aiheuttaa metadatan, kuten missä ja
milloin valokuva on otettu, ja syvyystiedon siirtymisen valokuvien mukana. Applen palveluiden (kuten
iCloud-kuvakirjaston) käyttäminen kuvien jakamiseen tai synkronointiin tarkoittaa, että Apple
vastaanottaa ja tallentaa kyseistä metadataa. Applella ja sen lisensoijilla on oikeus muuttaa, keskeyttää
tai poistaa mitä tahansa Palveluita tai estää niiden käyttö koska tahansa asiasta ilmoittamatta. Apple ei
missään olosuhteissa ole vastuussa näiden Palveluiden poistamisesta tai käytön estämisestä. Apple voi
myös aina rajoittaa tiettyjen Palveluiden käyttöä tai rajoittaa niihin pääsyä ilman ilmoitusta tai
korvausvelvollisuutta.

6. Sopimuksen päättyminen. Tämä Lisenssi on voimassa kunnes toisin päätetään. Jos Lisenssin ehtoja
ei noudateta, Lisenssin alaiset oikeutesi päättyvät automaattisesti tai niiden voimassaolo lakkaa muuten
ilman erillistä ilmoitusta Applelta. Lisenssin päättyessä iOS-ohjelmiston käyttö on lopetettava. Tämän
Lisenssin kohdat 4, 5, 6, 7, 8, 9, 12 ja 13 pysyvät voimassa myös Lisenssin päättyessä mistä tahansa
syystä.

7. Vastuuvapautus.
7.1 Mikäli olet kuluttaja-asiakas (eli käytät iOS-ohjelmistoa muuhun kuin yritystoimintaan tai
ammatilliseen tarkoitukseen), sinulla saattaa olla asuinmaassasi laillisia oikeuksia, jotka kieltävät
seuraavien rajoitusten soveltamisen sinuun, ja mikäli rajoitukset on kielletty, niitä ei sovelleta sinuun. Jos
haluat lisätietoja oikeuksistasi, ota yhteyttä paikalliseen kuluttajaneuvontaorganisaatioon.

7.2 YMMÄRRÄT JA HYVÄKSYT, ETTÄ SIINÄ MÄÄRIN KUIN SOVELLETTAVA LAKI SEN SALLII, iOS-
OHJELMISTON JA iOS-OHJELMISTON KAUTTA SUORITETTAVIEN TAI KÄYTETTÄVIEN PALVELUIDEN
KÄYTTÖ, TYYDYTTÄVÄ LAATU, SUORITUSKYKY, TARKKUUS JA TOIMINTA OVAT SINUN OMALLA
VASTUULLASI.

7.3 SIINÄ MÄÄRIN KUIN SOVELLETTAVA LAKI SEN SALLII, iOS-OHJELMISTO JA PALVELUT
TOIMITETAAN ”SELLAISINA KUIN NE OVAT” JA ”SELLAISINA KUIN NE OVAT SAATAVILLA”
MAHDOLLISINE VIRHEINEEN JA ILMAN MINKÄÄNLAISIA TAKUITA, JA APPLE JA APPLEN
LISENSOIJAT (JOITA KOHDISSA 7 JA 8 KUTSUTAAN YHTEISNIMITYKSELLÄ ”APPLE”) VAPAUTTAVAT
ITSENSÄ SUORASTA, VÄLILLISESTÄ JA LAKISÄÄTEISESTÄ TUOTE- JA MUUSTA VASTUUSTA iOS-
OHJELMISTON JA PALVELUIDEN SUHTEEN MUKAAN LUKIEN KAUPPAKELPOISUUS, LAADUN
TYYDYTTÄVYYS, SOVELTUVUUS TIETTYYN TARKOITUKSEEN, VIRHEETTÖMYYS, KÄYTÖN
HÄIRITSEMÄTTÖMYYS JA KOLMANSIEN OSAPUOLTEN OIKEUKSIEN LOUKKAAMATTOMUUS.

7.4 APPLE EI TAKAA, ETTÄ VOIT NAUTTIA iOS-OHJELMISTOSTA TAI PALVELUISTA ILMAN
HÄIRIÖITÄ TAI ETTÄ iOS-OHJELMISTON SISÄLTÄMÄT TOIMINNOT TAI SEN SUORITTAMAT TAI
TARJOAMAT PALVELUT TÄYTTÄVÄT KAIKKI VAATIMUKSET, ETTÄ iOS-OHJELMISTON JA
PALVELUIDEN TOIMINTA ON KESKEYTYMÄTÖNTÄ JA VIRHEETÖNTÄ, ETTÄ MITKÄÄN PALVELUT
SÄILYVÄT SAATAVILLA, ETTÄ iOS-OHJELMISTON TAI PALVELUIDEN VIRHEET TULLAAN
KORJAAMAAN TAI ETTÄ iOS-OHJELMISTO ON YHTEENSOPIVA MINKÄÄN KOLMANSIEN
OSAPUOLTEN OHJELMISTOJEN, SOVELLUSTEN TAI PALVELUIDEN KANSSA. TÄMÄN iOS-
OHJELMISTON ASENNUS SAATTAA VAIKUTTAA KOLMANSIEN OSAPUOLTEN OHJELMISTOJEN,
SOVELLUSTEN TAI PALVELUIDEN, SEKÄ APPLEN TUOTTEIDEN JA PALVELUIDEN SAATAVUUTEEN JA
KÄYTETTÄVYYTEEN.

7.5 iOS-OHJELMISTOA JA PALVELUITA EI OLE SUUNNITELTU KÄYTETTÄVIKSI TILANTEISSA TAI
YMPÄRISTÖISSÄ, JOISSA iOS-OHJELMISTON TAI PALVELUIDEN TOIMINTAHÄIRIÖ TAI AIKAVIIVE TAI
NIIDEN TARJOAMAN SISÄLLÖN, DATAN TAI TIETOJEN VIRHE TAI EPÄTARKKUUS SAATTAA
AIHEUTTAA KUOLEMAN, HENKILÖVAHINGON TAI VAKAVAN FYYSISEN TAI YMPÄRISTÖHAITAN,
MUKAAN LUKIEN RAJOITUKSETTA YDINENERGIA-ALAN TOIMINTA, LENTOKONEEN NAVIGOINTI- TAI
TIETOLIIKENNEJÄRJESTELMÄT, LENNONJOHTOJÄRJESTELMÄT, ELINTOIMINTOJA YLLÄPITÄVÄT
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 158 of 452



JÄRJESTELMÄT JA ASEJÄRJESTELMÄT.

7.6. MIKÄÄN APPLEN TAI APPLEN VALTUUTTAMAN EDUSTAJAN ANTAMA SUULLINEN TAI
KIRJALLINEN TIETO TAI OHJE EI LUO TAKUUTA. JOS iOS-OHJELMISTO TAI PALVELUT TODETAAN
VIALLISIKSI, OLET VASTUUSSA KAIKISTA HUOLTO- JA KORJAUSKULUISTA. KOSKA JOILLAKIN
OIKEUSTOIMIALUEILLA EI SALLITA VÄLILLISTEN TAKUIDEN POISSULKEMISTA TAI SOVELLETTAVIEN
KULUTTAJAN LAKISÄÄTEISTEN OIKEUKSIEN RAJOITTAMISTA, EDELLÄ MAINITTU EI EHKÄ KOSKE
SINUA.

8. Vastuun rajoitus. SOVELLETTAVAN LAIN SALLIMISSA RAJOISSA JA HUOLIMATTA
VASTUUTEORIASTA (SOPIMUKSEN, RIKKOMUKSEN TAI MUUN OSALTA) TAI SIITÄ, ETTÄ APPLEA
OLISI VAROITETTU KYSEISEN VAHINGON MAHDOLLISUUDESTA, APPLE, SITÄ LÄHELLÄ OLEVAT
YRITYKSET, SEN EDUSTAJAT TAI TOIMEKSIANTAJAT EIVÄT OLE MISSÄÄN TAPAUKSISSA
VASTUUSSA MISTÄÄN HENKILÖVAHINGOISTA TAI SUORISTA, EPÄSUORISTA TAI VÄLILLISISTÄ
VAHINGOISTA MUKAAN LUKIEN RAJOITUKSETTA VOITTOJEN MENETYKSET, VIOITTUMINEN,
TIEDON HÄVIÄMINEN, TAI KYVYTTÖMYYS LÄHETTÄÄ TAI VASTAANOTTAA TIETOJA (MUKAAN
LUKIEN MUTTA SIIHEN RAJOITTUMATTA, KURSSIOHJEET, -TEHTÄVÄT JA -MATERIAALIT),
LIIKETOIMINNAN KESKEYTYMINEN TAI MUUT KAUPALLISET VAHINGOT TAI MENETYKSET, JOTKA
JOHTUVAT iOS-OHJELMISTON TAI PALVELUIDEN JA iOS-OHJELMISTON TAI PALVELUIDEN
YHTEYDESSÄ KÄYTETTÄVIEN KOLMANSIEN OSAPUOLTEN OHJELMISTON TAI SOVELLUSTEN
KÄYTÖSTÄSI TAI KYVYTTÖMYYDESTÄSI KÄYTTÄÄ NIITÄ. KOSKA JOILLAKIN OIKEUSTOIMIALUEILLA
EI SALLITA VASTUUN POISSULKEMISTA TAI RAJOITTAMISTA HENKILÖVAHINGOISSA TAI
EPÄSUORISSA TAI VÄLILLISISSÄ VAHINGOISSA, EDELLÄ MAINITTU EI EHKÄ KOSKE SINUA. Missään
tapauksessa Applen kokonaiskorvausvelvollisuus vahingoista (ellei sovellettavan lain vaatimus
henkilövahinkotapauksissa poikkea tästä) ei ylitä kahtasataaviittäkymmentä Yhdysvaltain dollaria (250,00
USD). Edellä olevat rajoitukset ovat voimassa myös silloin, jos yllä esitetty korvaus ei vastaa perimmäistä
tarkoitustaan.

9. Digitaaliset varmenteet. iOS-ohjelmisto sisältää toiminnallisuuden, joka mahdollistaa Applen tai
kolmansien osapuolten antamien digitaalisten varmenteiden hyväksymisen. OLET YKSIN VASTUUSSA
PÄÄTÖKSESTÄSI LUOTTAA APPLEN TAI KOLMANNEN OSAPUOLEN ANTAMAAN VARMENTEESEEN.
KÄYTÄT DIGITAALISIA VARMENTEITA TÄYSIN OMALLA VASTUULLASI. NIIN PITKÄLTI KUIN
SOVELLETTAVA LAKI SEN SALLII, APPLE EI ANNA SUORIA TAI EPÄSUORIA TAKUITA TAI LUPAUKSIA
KAUPPAKELPOISUUDESTA, SOVELTUVUUDESTA TIETTYYN TARKOITUKSEEN, TÄSMÄLLISYYDESTÄ,
TURVALLISUUDESTA TAI KOLMANSIEN OSAPUOLTEN OIKEUKSIEN LOUKKAAMATTOMUUDESTA
MINKÄÄN DIGITAALISTEN VARMENTEIDEN YHTEYDESSÄ.

10. Vientisäätely. Sitoudut siihen, ettei iOS-ohjelmistoa viedä edelleen suorasti eikä epäsuorasti
ulkomaille, ellei tähän ole erikseen annettu lupaa Yhdysvaltain tai sen oikeustoimialueen/niiden
oikeustoimialueiden laissa, jo(i)sta iOS-ohjelmisto on hankittu. Erityisesti iOS-ohjelmistoa ei saa viedä
suorasti tai epäsuorasti (a) Yhdysvaltojen vientikiellossa olevaan maahan tai (b) kenellekään U.S.
Treasury Departmentin Specially Designated Nationals -luettelossa olevalle tai U.S.Department of
Commercen Denied Person’s List- tai Entity List -luetteloissa tai missään muissa rajoitusten alaisten
osapuolten luetteloissa olevalle. iOS-ohjelmistoa käyttämällä annat takuun siitä, ettet ole missään
tällaisessa maassa tai luettelossa. Takaat myös, että et käytä iOS-ohjelmistoa mihinkään sellaiseen
tarkoitukseen, joka on kielletty Yhdysvaltain laissa, mukaan lukien (mutta näihin rajoittumatta) ohjusten,
ydinaseiden tai kemiallisten tai biologisten aseiden kehitys, suunnittelu, valmistus tai tuotanto.

11. Yhdysvaltain viranomaiset. iOS-ohjelmisto ja siihen liittyvä dokumentaatio ovat ”Commercial
Items”, kuten termi on määritelty säädöksessä 48 C.F.R. §2.101, koostuen osista ”Commercial Computer
Software” ja ”Commercial Computer Software Documentation”, kuten termit on määritelty säädöksessä
48 C.F.R. §12.212 tai 48 C.F.R. §227.7202, soveltuvin osin. Mikäli Lisenssin hankkija tai käyttäjä on
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 159 of 452



Yhdysvaltain viranomainen, sovelletaan säädöksiä 48 C.F.R. §12.212 tai 48 C.F.R. §227.7202-1 -
227.7202-4, soveltuvin osin, niin, että Commercial Computer Software ja Commercial Computer
Software Documentation on lisensoitu (a) vain Commercial Item -tuotteina ja (b) samoilla näissä
sopimusehdoissa ilmoitetuilla oikeuksilla, jotka koskevat kaikkia muita loppukäyttäjiä. Julkaisemattoman
materiaalin oikeudet pidätetään Yhdysvaltojen tekijänoikeuslakien mukaisesti.

12. Sovellettava laki ja sopimuksen osien riippumattomuus. Tähän Lisenssiin ja sen tulkintaan
sovelletaan Kalifornian osavaltion lakeja, lukuun ottamatta niihin sisältyviä lainvalintaa koskevia
säädöksiä. Tämä Lisenssi ei kuulu United Nations Convention on Contracts for the International Sale of
Goods -määräysten alaisuuteen. Jos olet Isossa-Britanniassa asuva kuluttaja, tähän Lisenssiin
sovelletaan asuinpaikkasi oikeustoimialueen lakeja. Vaikka toimivaltainen tuomioistuin katsoisi, ettei
Lisenssin jotakin osaa voida pakottaa täytäntöönpantavaksi, Lisenssi on muilta osin voimassa.

13. Kokonaissopimus ja kieli. Tämä Lisenssi muodostaa koko sopimuksen sinun ja Applen välillä iOS-
ohjelmistoa koskien ja korvaa kaikki aiemmat tai samanaikaiset samaa koskevat sopimukset. Lisenssin
lisäykset tai muutokset eivät ole sitovia ilman kirjallista, Applen allekirjoittamaa hyväksyntää. Lisenssin
käännökset on tehty paikallisia vaatimuksia ajatellen ja mahdolliset epäselvyydet englanninkielisen
version ja käännösversion välillä ratkaistaan englanninkielisen lisenssiversion eduksi sikäli kuin
oikeustoimialueesi paikallinen lainsäädäntö ei sitä estä.

14. Muiden valmistajien materiaali. Osa iOS-ohjelmistosta saattaa käyttää tai sisältää kolmansien
osapuolten ohjelmistoja ja muuta tekijänoikeudella suojattua materiaalia. Tällaisen materiaalin
lähdemaininnat, lisenssiehdot ja vastuuvapauslausekkeet ovat iOS-ohjelmiston sähköisessä
dokumentaatiossa, ja tällaisen materiaalin käyttöä koskevat kyseisen valmistajan ehdot. Google Safe
Browsing -palvelun käyttö on Googlen palveluehtojen (https://www.google.com/intl/fi/policies/terms/) ja
Googlen tietosuojakäytännön (https://www.google.com/intl/fi/policies/privacy/) alaista.

15. MPEG-4:n käyttö; H.264/AVC-huomautus.
(a) iOS-ohjelmisto on lisensoitu MPEG-4 Systems Patent Portfolio License -lisenssin alaisena MPEG-4
Systems Standard -standardin mukaiseen koodaukseen. Käyttäjältä vaaditaan kuitenkin lisälisenssi ja
lisenssimaksuja, jos koodaus koskee (i) dataa, joka tallennetaan tai kopioidaan fyysiselle
tallennusmedialle ja josta peritään kappalekohtainen maksu, ja/tai (ii) dataa, josta maksetaan
kappalekohtaisesti ja joka välitetään loppukäyttäjälle pysyvää tallennusta ja/tai käyttöä varten.
Lisälisenssi voidaan hankkia MPEG LA, LLC:ltä. Lisätietoja annetaan osoitteessa http://
www.mpegla.com.

(b) iOS-ohjelmisto sisältää MPEG-4-videokoodaus- ja/tai dekoodausominaisuuksia. iOS-ohjelmisto on
lisensoitu MPEG-4 Visual Patent Portfolio License -lisenssin alaisena kuluttajan henkilökohtaiseen ja ei-
kaupalliseen käyttöön, joka koskee (i) MPEG-4 Visual Standard -standardin (”MPEG-4 Video”) mukaista
videon koodausta ja/tai (ii) sellaisen MPEG-4-videon dekoodausta, jonka kuluttaja on koodannut
henkilökohtaiseen ja ei-kaupalliseen käyttöön ja/tai joka saatiin MPEG LA:n MPEG-4-videontarjoajaksi
lisensoimalta videontarjoajalta. Lisenssiä ei myönnetä suorasti tai epäsuorasti mihinkään muuhun
tarkoitukseen. Lisätietoja esittelykäytöstä, sisäisestä käytöstä ja kaupallisesta käytöstä sekä
lisensoinnista antaa MPEG LA, LLC. Katso http://www.mpegla.com.

(c) iOS-ohjelmisto sisältää AVC-koodaus- ja/tai dekoodausominaisuuksia, H.264/AVC:n kaupallinen
käyttö vaatii lisälisensoinnin ja seuraavat ehdot pätevät: iOS-OHJELMISTON AVC-TOIMINNALLISUUS
ON LISENSOITU TÄSSÄ VAIN HENKILÖKOHTAISEEN, EI-KAUPALLISEEN KÄYTTÖÖN. KULUTTAJA
VOI (i) KOODATA VIDEOTA AVC-STANDARDIN MUKAISESTI (”AVC-VIDEO”) JA/TAI (ii) DEKOODATA
AVC-VIDEOTA, JONKA KULUTTAJA ON KOODANNUT HENKILÖKOHTAISESSA JA EI-KAUPALLISESSA
TARKOITUKSESSA JA/TAI AVC-VIDEOTA, JOKA ON HANKITTU VIDEONTARJOAJALTA, JOLLA ON
LUPA TARJOTA AVC-VIDEOTA. MUITA KÄYTTÖÄ JA LISENSSEJÄ KOSKEVIA TIETOJA ANTAA MPEG
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 160 of 452



LA L.L.C. KATSO http://www.mpegla.com.

16. Yahoo Search -palvelun rajoitukset. Safarin kautta käytettävä Yahoo Search -palvelu on lisensoitu
käytettäväksi ainoastaan seuraavissa maissa ja seuraavilla alueilla: Alankomaat, Argentiina, Aruba,
Australia, Bahamasaaret, Barbados, Belgia, Bermuda, Brasilia, Bulgaria, Caymansaaret, Chile,
Dominikaaninen tasavalta, Ecuador, El Salvador, Espanja, Etelä-Korea, Filippiinit, Grenada, Guatemala,
Intia, Indonesia, Irlanti, Islanti, Iso-Britannia, Italia, Itävalta, Jamaika, Japani, Kanada, Kiina (manner-),
Hongkong, Taiwan, Kolumbia, Kreikka, Kypros, Latvia, Liettua, Luxemburg, Malesia, Malta, Meksiko,
Nicaragua, Norja, Panama, Peru, Portugali, Puerto Rico, Puola, Ranska, Romania, Ruotsi, Saksa,
Singapore, Slovakia, Slovenia, St. Lucia, St. Vincent, Suomi, Sveitsi, Tanska, Thaimaa, Trinidad ja
Tobago, Tšekin tasavalta, Turkki, Unkari, Uruguay, Uusi-Seelanti, Venezuela ja Yhdysvallat.

17. Microsoft Exchange -huomautus iOS-ohjelmiston Microsoft Exchange -sähköpostiasetus on
lisensoitu ainoastaan langattomaan informaation (kuten sähköpostien, yhteystietojen, kalenterin ja
tehtävien) synkronointiin iOS-laitteen ja Microsoft Exchange Serverin tai muun sellaisen
palvelinohjelmiston välillä, jolle Microsoft on myöntänyt lisenssin Microsoft Exchange ActiveSync -
protokollan käyttämiseen.

EA1566
21.2.2019

————————————
Apple Payn lisäehdot ja -määräykset

Nämä Apple Payn lisäehdot ja määräykset (”Lisäehdot”) täydentävät iOS-ohjelmistolisenssisopimusta
(”Lisenssi”); sekä Lisenssi että nämä lisäehdot määräävät Apple Pay -ominaisuuden käyttöäsi, joka
katsotaan lisenssin mukaiseksi ”Palveluksi”. Näissä Lisäehdoissa käytetyillä termeillä on sama merkitys
kuin Lisenssissä on määritelty.

1.   Yleiskatsaus ja käyttörajoitukset

Apple Pay -ominaisuuden avulla voit:

        •   tallentaa virtuaalisesti luotto-, pankki- ja prepaid-korttien tietoja, mukaan lukien kauppojen
            luotto-, pankki- ja prepaid-kortit sekä Apple Pay Cash -kortti, joita Apple Pay tukee (”Tuetut
            maksukortit”), ja käyttää tuettuja iOS-laitteita etämaksujen tekemiseen valituissa
            myymälöissä tai ostosten tekemiseen appien tai verkkosivustojen kautta;
        •   käyttää Walletissa olevia bonus- ja lahjakortteja (”Apple Pay -yhteensopivat kortit” ja
            yhdessä tuettujen maksukorttien kanssa ”Tuetut kortit”) etämaksujen tekemiseen bonus- ja
            lahjakorteilla valituissa myymälöissä osana Apple Pay -ominaisuudella tehtyä etämaksua ja
        •   lähettää henkilöiden välisiä maksuja muille Apple Pay -käyttäjille.

iOS-ohjelmiston Apple Pay -ominaisuudet saattavat olla käytettävissä vain tietyillä alueilla ja tietyillä
korteilla, rahoituslaitoksilla ja kauppiailla. Ominaisuudet saattavat vaihdella alueen, kortin antajan ja
kauppiaan mukaan.

Jotta voit käyttää Apple Pay -ominaisuutta, sinulla on oltava Tuettu kortti. Tuetut kortit voivat muuttua
aikaa myöten. Jotta voit lisäksi lähettää ja vastaanottaa henkilöiden välisiä maksuja, sinulla on oltava
Apple Pay Cash -kortti.

Tuetut kortit ja henkilöiden väliset maksut liitetään Apple ID:hen, jolla olet kirjautunut iCloudiin näiden
ominaisuuksien käyttämistä varten. Tuetut kortit ovat vain 13-vuotiaiden tai vanhempien henkilöiden
käytettävissä ja voi määräytyä iCloudin tai liitettävän Tuetun kortin ikärajoitusten mukaan.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 161 of 452



Apple Pay Cash -kortti ja mahdollisuus lähettää ja vastaanottaa henkilöiden välisiä maksuja ovat
saatavilla vain vähintään 18-vuotiaille henkilöille.

Apple Pay on tarkoitettu henkilökohtaiseen käyttöösi ja voit lisätä siihen ainoastaan omia tuettuja
korttejasi. Jos olet liittämässä tuettua yrityskorttia, vakuutat, että sinulla on työnantajasi lupa siihen ja
että sinulla on oikeus sitouttaa työnantajasi näihin käyttöoikeuksiin ja kaikkiin tällä ominaisuudella
tehtyihin tilitapahtumiin. Jos lähetät tai vastaanotat henkilöiden välisiä maksuja, takaat, että teet sen
omassa henkilökohtaisessa ja ei-kaupallisessa käytössä.

Vakuutat, että et käytä Apple Pay -ominaisuutta laittomuuksiin tai huijauksiin, tai mihin tahansa muuhun
sellaiseen mikä on Lisenssissä ja näissä Lisäehdoissa kielletty. Lupaat lisäksi käyttää Apple Pay -
ominaisuutta voimassa olevien lakien ja asetusten mukaisesti. Lupaat olla häiritsemättä tai
keskeyttämättä Apple Pay -palvelua (mukaan lukien palvelun käyttäminen automaattisin keinoin) tai
palveluun liittyviä palvelimia tai verkkoja tai olla rikkomatta palveluun liittyvien verkkojen käytäntöjä,
vaatimuksia tai säännöksiä (mukaan lukien tietojen tai liikenteen luvaton käyttö tai seuranta).

2.   Applen suhde sinuun

Apple Pay -ominaisuuden avulla voit luoda virtuaalisen kuvan Tuetuista korteista tuetulle iOS-laitteelle.
Apple ei kuitenkaan prosessoi maksutapahtumia eikä muita korttitapahtumia (kuten bonusten kertyminen
ja lunastaminen) eikä vastaanota, säilytä tai siirrä varojasi. Apple ei myöskään millään tavoin hallitse tällä
ominaisuudella tehtyjä maksuja, palautuksia, hyvityksiä, bonuksia, arvoa, alennuksia tai muita kaupallisia
tapahtumia.

Voimassa olevat korttisopimuksesi kortin myöntäneen tahon kanssa ovat voimassa ja määrittelevät
Tuetun kortin käytön Apple Pay -ominaisuuden kanssa. Samalla osallistumisesi johonkin kauppiaan
bonus- tai lahjakorttiohjelmaan ja Apple Pay -yhteensopivien korttien käyttösi yhdessä Apple Pay -
ominaisuuden kanssa on kyseisen kauppiaan ehtojen alaista.

Apple Pay Cash -kortti ja mahdollisuus lähettää ja vastaanottaa henkilöiden välisiä maksuja ovat
käytettävissä ainoastaan Yhdysvalloissa, ja nämä palvelut tarjoaa Green Dot Bank, joka on FDIC:n jäsen.
Kun otat nämä ominaisuudet käyttöön Apple Payssa, avaat tilin Green Dot Bank -pankkiin. Kun lähetät
tai vastaanotat henkilöiden välisiä maksuja tai lataat tai nostat rahaa Apple Pay Cash -kortilta, Green Dot
Bank on vastuussa rahan vastaanottamisesta ja lähettämisestä valitulle vastaanottajalle. Rahoituslaitos,
joka on vastuussa Apple Pay Cash -kortin ja henkilöiden välisten maksujen tarjoamisesta Apple Payssa,
voi muuttua, ja näiden ominaisuuksien käyttöäsi koskevat kyseisen rahoituslaitoksen käyttöehdot.

Lisenssissä tai lisäehdoissa ei ole mitään sellaista, mikä muuttaisi kortinhaltija-, käyttäjä- tai
kauppiassopimuksen ehtoja, ja kaikki sellaiset sopimukset määräävät Tuetun kortin tai Apple Payssa
tapahtuvan henkilöiden välisen maksuominaisuuden sekä niiden iOS-laitteella olevan virtuaalisen kuvan
käytön. Hyväksyt, että Apple ei ole osallinen kortinhaltija- tai kauppiassopimuksessasi eikä Apple ole
vastuussa: (a) minkään maksu-, bonus- tai lahjakortin sisällöstä, tarkkuudesta tai ei saatavilla olemisesta,
kaupallisesta käytöstä, maksutapahtumista tai ostoista, kun Apple Pay -ominaisuutta käytetään; (b)
luoton antamisesta tai luottokelpoisuuden selvittämisestä; (c) bonuksen tai arvon kertymisestä tai
lunastamisesta kauppiaan ohjelmassa; (d) prepaid-korttien rahoittamisesta tai uudelleen lataamisesta; (e)
henkilöiden välisten maksujen lähettämisestä tai vastaanottamisesta; eikä (f) rahan lataamisesta,
lunastamisesta tai nostamisesta Apple Pay Cash -kortilta.

Kaikissa maksu-, bonus- tai lahjakorttiin tai maksutapahtumaan liittyvissä erimielisyyksissä tai
kysymyksissä ota yhteyttä kortin myöntäneeseen tahoon tai kauppiaaseen. Jos sinulla on kysyttävää
Apple Pay Cash -kortista tai henkilöiden välisistä maksuista, ota yhteys Applen tukeen.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 162 of 452



3.   Yksityisyys

Täyden hyödyn saamiseksi Apple Pay vaatii joitakin tietoja iOS-laitteestasi. Lisäksi kun käytät
Apple Pay Cash -korttia tai lähetät tai vastaanotat henkilöiden välisiä maksuja, maksutapahtumasta
kerätään ja säilytetään lisätietoja tilisi ylläpitoa varten, huijauksien estämiseksi ja viranomaismääräysten
vuoksi. Saat lisätietoja Apple Pay -ominaisuuden ja Apple Pay Cash -kortin käytön sekä Apple Payssa
tehtävien henkilöiden välisten maksujen yhteydessä kerätyistä, käytetyistä tai jaetuista tiedoista
lukemalla Apple Paysta ja tietosuojasta (pääset tietoihin valitsemalla Wallet ja Apple Pay iOS-laitteessa
tai pariksi asetetun iOS-laitteen Watch-apissa) tai vierailemalla osoitteessa https://www.apple.com/fi/
privacy. Käyttämällä näitä ominaisuuksia hyväksyt, että Apple, sen tytäryhtiöt ja edustajat välittävät,
keräävät, ylläpitävät, käsittelevät ja käyttävät näitä tietoja Apple Pay -toiminnallisuuden tarjoamiseen.

4.   Turvallisuus; kadonneet tai käytöstä poistetut laitteet

Apple Pay tallentaa virtuaaliset kuvat Tuetuista korteistasi ja sen tulisi olla yhtä hyvin suojattu kuin
käteisesi tai oikeat luotto-, pankki-, prepaid-, bonus- tai lahjakorttisi. Jos luovutat pääsykoodisi toiselle
henkilölle tai annat toisen henkilön lisätä sormenjälkensä Touch ID:hen tai käyttää Face ID:tä, hänellä on
mahdollisuus suorittaa maksuja, lähettää, pyytää tai vastaanottaa henkilöiden välisiä maksuja, nostaa
rahaa Apple Pay Cash -kortilta tai ottaa vastaan tai hyödyntää bonuksia tai luottoa käyttäen Apple Payta
laitteellasi. Olet yksin vastuussa laitteesi suojauksen ylläpidosta ja pääsykoodistasi. Hyväksyt, että
Applella ei ole mitään vastuuta, jos kadotat laitteesi tai annat muiden käyttää sitä. Hyväksyt, että Applella
ei ole mitään vastuuta, jos teet valtuuttamattomia muutoksia iOS:ään (kuten esim. ”jailbreak”).

Sinun on ehkä otettava käyttöön muita suojaustoimenpiteitä, kuten Apple ID:n kaksiosainen
todentaminen, jotta voit käyttää tiettyjä Apple Payn ominaisuuksia, kuten Apple Pay Cash -korttia ja
henkilöiden välisiä maksuja Apple Payssa. Jos poistat myöhemmin kyseiset suojausominaisuudet, et voi
välttämättä jatkaa näiden Apple Payn ominaisuuksien käyttöä.

Jos laitteesi häviää tai varastetaan ja sinulla on Etsi iPhoneni käytössä, voit yrittää lopettaa
mahdollisuuden maksaa laitteella olevalla virtuaalisella Tuetulla maksukortilla tai lähettää henkilöiden
välisiä maksuja laittamalla laitteen Kadonnut-tilaan. Voit myös tyhjentää laitteesi sisällön, jolloin se yrittää
lopettaa mahdollisuuden maksaa laitteella olevalla virtuaalisella Tuetulla maksukortilla tai lähettää
henkilöiden välisiä maksuja ja poistaa Apple Pay -yhteensopivat kortit. Sinun tulisi myös ottaa yhteyttä
Tuetut maksukortit myöntäneeseen tahoon, Apple Pay -yhteensopivat kortit myöntäneeseen
kauppiaaseen ja Apple Pay Cash -kortin tapauksessa Appleen estääksesi Tuettujen korttien luvattoman
käytön.

Jos raportoit tai jos Apple epäilee laittomuuksia tai väärinkäyttöä, sitoudut tekemään Applen kanssa
yhteistyötä tutkimuksissa ja käyttämään kaikkia petoksenestämistoimenpiteitä, jotka Apple esittää.

5.   Vastuun rajoitus

LISENSSISSÄ OLEVIEN VASTUUNVAPAUTUKSIEN JA VASTUUN RAJOITUKSIEN LISÄKSI APPLE EI
OTA MINKÄÄNLAISTA VASTUUTA APPLE PAY -OMINAISUUDELLA TEHDYISTÄ OSTOKSISTA,
MAKSUISTA, TAPAHTUMISTA TAI MUISTA MAKSUTAPAHTUMISTA JA HYVÄKSYT, ETTÄ SELVITÄT
KAIKKI TUETTUIHIN KORTTEIHISI, HENKILÖIDEN VÄLISIIN MAKSUIHIN JA NIIHIN LIITTYVIIN
MAKSUTAPAHTUMIIN LIITTYVÄT KYSYMYKSET JA ERIMIELISYYDET KORTTISI MYÖNTÄJÄN,
MAKSUNVÄLITTÄJÄN, RAHOITUSLAITOKSEN TAI KAUPPIAAN KANSSA.

————————————
APPLEN ILMOITUKSET
Jos Applen on otettava sinuun yhteyttä koskien tuotettasi tai tunnustasi, suostut vastaanottamaan
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 163 of 452



ilmoituksia sähköpostitse. Hyväksyt, että tällaiset mahdollisesti lähettämäsi sähköiset ilmoitukset
täyttävät kaikki laillisen viestinnän vaatimukset.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 164 of 452



NORSK

VIKTIG: VED Å BRUKE EN iPHONE, iPAD ELLER iPOD TOUCH («iOS-ENHET») SAMTYKKER DU I Å
VÆRE BUNDET TIL FØLGENDE BETINGELSER FRA APPLE OG TREDJEPARTER.

A.   PROGRAMVARELISENSAVTALE FOR APPLE iOS
B.   TILLEGGSVILKÅR FOR APPLE PAY
C.   KOMMUNIKASJON FRA APPLE

APPLE INC.
iOS-PROGRAMVARELISENSAVTALE
Enbrukerlisens

LES DENNE PROGRAMVARELISENSAVTALEN (LISENSEN) NØYE FØR DU BEGYNNER Å BRUKE
iOS-ENHETEN ELLER LASTER NED PROGRAMVAREOPPDATERINGEN SOM LEVERES SAMMEN
MED DENNE LISENSEN. VED Å BRUKE iOS-ENHETEN ELLER LASTE NED EN
PROGRAMVAREOPPDATERING AKSEPTERER DU SAMTIDIG Å VÆRE BUNDET AV
BESTEMMELSENE I DENNE LISENSEN. HVIS DU IKKE ER ENIG I BESTEMMELSENE I DENNE
LISENSEN, KAN DU IKKE BRUKE iOS-ENHETEN ELLER LASTE NED
PROGRAMVAREOPPDATERINGEN.

HVIS DU NYLIG HAR KJØPT EN iOS-ENHET OG DU IKKE ER ENIG I BESTEMMELSENE I DENNE
LISENSEN, KAN DU RETURNERE iOS-ENHETEN INNENFOR RETURPERIODEN TIL APPLE
STORE-BUTIKKEN ELLER DEN AUTORISERTE DISTRIBUTØREN DU KJØPTE ENHETEN FRA.
PRODUKTRETUR ER UNDERLAGT APPLES RETNINGSLINJER FOR PRODUKTRETUR, SOM DU
KAN LESE PÅ https://www.apple.com/legal/sales-support/.

1. Generelt.
(a) All programvare (inkludert Boot ROM-kode, integrert programvare og tredjepartsprogramvare),
dokumentasjon, grensesnitt, innhold, fonter og andre data som fulgte med iOS-enheten («original iOS-
programvare»), som er av en slik type at det kan oppdateres eller erstattes av framtidige forbedringer,
programvareoppdateringer eller systemgjenoppbyggingsprogramvare fra Apple («iOS-
programvareoppdateringer»), uansett om materialet befinner seg i ROM, på et hvilket som helst annet
medium, eller i en hvilken som helst annen form (den originale iOS-programvaren og iOS-
programvareoppdateringer omtales samlet som «iOS-programvaren»), er lisensiert, ikke solgt, til deg av
Apple Inc. («Apple») og må kun brukes i samsvar med vilkårene i denne avtalen, og Apple og Apples
lisensgivere beholder eierskapet til iOS-programvaren og forbeholder seg alle rettigheter som ikke
uttrykkelig overføres til deg. Du godtar at vilkårene i denne lisensen skal gjelde for alle Apple-merkede
programmer som er innebygd i din iOS-enhet, med mindre et slikt program følges av en egen lisens, som
da skal gjelde for din bruk av programmet.

(b) Apple kan etter eget valg gjøre framtidige iOS-oppdateringer tilgjengelig. Det er ikke sikkert at
eventuelle iOS-programvareoppdateringer inneholder alle eksisterende programvarefunksjoner eller nye
funksjoner som Apple lanserer for nyere eller andre iOS-enheter. Vilkårene i denne lisensen gjelder for
eventuelle iOS-programvareoppdateringer fra Apple, med mindre en slik iOS-programvareoppdatering
følges av en egen lisens. Hvis det er tilfellet, samtykker du til at vilkårene i den lisensen gjelder.

(c) Hvis du bruker ekspresskonfigureringsfunksjonen til å konfigurere en ny iOS-enhet basert på din
eksisterende iOS-enhet, samtykker du til at vilkårene i denne lisensavtalen gjelder for bruken av iOS-
programvare på den nye iOS-enheten, med mindre den følges av en egen lisens. Hvis det er tilfellet,
samtykker du til at vilkårene i den lisensen gjelder. iOS-enheten vil med jevne mellomrom søke etter iOS-
programvareoppdateringer fra Apple. Hvis en oppdatering er tilgjengelig, kan oppdateringen bli
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 165 of 452



automatisk lastet ned og installert på iOS-enheten din og, hvis det er relevant, på de eksterne enhetene
dine. Ved å ta i bruk Apple-programvaren godtar du at Apple kan laste ned og installere automatiske
iOS-programvareoppdateringer på iOS-enheten din og de eksterne enhetene dine. Du kan når som helst
slå av automatiske oppdateringer helt ved å endre innstillingen for automatisk oppdateringer, som du
finner i Systemvalg > Generelt > Oppdatering.

2. Tillatt bruk og restriksjoner.
(a) I henhold til vilkårene og betingelsene i denne lisensen får du en begrenset, ikke-eksklusiv lisens til å
bruke iOS-programvaren på én enkelt Apple-merket iOS-enhet. Bortsett fra slik det gis tillatelse til i del
2(b) nedenfor, og med mindre annet er angitt i en separat avtale mellom deg og Apple, tillater ikke
lisensavtalen at iOS-programvaren eksisterer på flere enn én Apple-merket iOS-enhet om gangen, og det
er ikke tillatt å distribuere iOS-programvaren eller gjøre iOS-programvaren tilgjengelig over et nettverk
der den kan brukes av flere enheter samtidig. Denne lisensen gir deg ingen rett til å bruke grensesnitt og
annen immateriell eiendom som Apple eier, i design, utvikling, framstilling, lisensiering eller distribusjon
av enheter, tilbehør eller programvare for tredjeparter, for bruk sammen med iOS-enheter. Rett til bruk av
enkelte elementer er tilgjengelig under separate lisenser fra Apple. Hvis du vil ha mer informasjon om
utvikling av enheter og tilbehør for tredjeparter, for bruk sammen med iOS-enheter, kan du gå til https://
developer.apple.com/programs/mfi/. Hvis du vil vite mer om utvikling av programvare for bruk sammen
med iOS-enheter, kan du gå til https://developer.apple.com.

(b) I henhold til vilkårene og betingelsene i denne lisensen får du en begrenset, ikke-eksklusiv lisens til å
laste ned iOS-programvareoppdateringer Apple kan gjøre tilgjengelig for iOS-enheten din, for å
oppdatere eller gjenoppbygge programvaren på iOS-enheter du eier eller kontrollerer. Denne lisensen
tillater ikke at du oppdaterer eller gjenoppbygger iOS-enheter du ikke bruker eller kontrollerer, og det er
ikke tillatt å distribuere iOS-programvareoppdateringer eller gjøre iOS-programvareoppdateringer
tilgjengelige over et nettverk der de kan brukes av flere slike enheter eller datamaskiner samtidig. Hvis
du laster ned en iOS-programvareoppdatering til datamaskinen din, kan du kan lage én kopi av iOS-
programvareoppdateringene som er arkivert på datamaskinen din, i et maskinlesbart format kun i
sikkerhetskopieringsøyemed og kun hvis sikkerhetskopien inkluderer all copyrightinformasjon og annen
opphavsrettinformasjon som er i originalen.

(c) I den grad Apple har forhåndsinstallert Apple-merkede programmer fra App Store på din iOS-enhet
på kjøpstidspunktet («forhåndsinstallerte programmer»), må du logge på App Store og knytte de
forhåndsinstallerte programmene til din App Store-konto for å bruke dem på iOS-enheten. Når du knytter
ett forhåndsinstallert program til App Store-kontoen, blir alle andre forhåndsinstallerte programmer på
iOS-enheten tilknyttet automatisk. Ved å velge å knytte forhåndsinstallerte programmer til App Store-
kontoen godtar du at Apple kan overføre, innhente, vedlikeholde, behandle og bruke både Apple-ID-en
som brukes til App Store-kontoen, og en unik maskinvareidentifikator som innhentes fra iOS-enheten,
som unike kontoidentifikatorer med det formål å bekrefte hvorvidt forespørselen din er berettiget, og å gi
deg tilgang til de forhåndsinstallerte programmene via App Store. Hvis du ikke ønsker å bruke et
forhåndsinstallert program, kan du når som helst slette det fra iOS-enheten.

(d) Du kan ikke, og du går med på å ikke legge til rette for at andre skal kunne kopiere (bortsett fra slik
det eksplisitt tillates i denne lisensen), dekompilere, dekode, dele opp, forsøke å avlede kildekoden fra,
modifisere, dekryptere eller skape avlede åndsverk med utgangspunkt i iOS-programvaren eller tjenester
som tilbys av iOS-programvaren, eller deler av disse (unntatt hvis og kun i den utstrekning forannevnte
restriksjoner er forbudt ved lov eller det tillates i lisensvilkår som gjelder for bruk av åpen kildekode-
komponenter som kan følge med iOS-programvaren).

(e) iOS-programvaren kan brukes til å reprodusere materiale så lenge denne bruken begrenses til
materiale som ikke er opphavsrettslig beskyttet, materiale du eier opphavsretten til, eller materiale du er
autorisert eller har lovlig adgang til å reprodusere. Alle immaterielle rettigheter og juridiske
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 166 of 452



eierskapsrettigheter i og til innhold som vises av, lagres på eller som det gis tilgang til via iOS-enheten,
tilhører innholdets respektive eiere. Slikt innhold kan være beskyttet av lover om opphavsrettigheter og
eierskap og kan i tillegg være underlagt bruksvilkår fra tredjeparter som gir tilgang til slikt innhold. Med
unntak for der annet er angitt i dette dokumentet, gir denne lisensen deg ingen rettigheter til bruk av slikt
innhold og ingen garantier for at slikt innhold skal fortsette å være tilgjengelig for deg.

(f) Du kan, i overensstemmelse med betingelsene i denne lisensen, bruke Animoji- og Memoji-figurene
som følger med i iOS-programvaren eller blir skapt ved hjelp av den (“systemfigurer”), (i) mens du bruker
iOS-programvaren og (ii) for å lage ditt eget innhold og i dine egne prosjekter for personlig, ikke-
kommersiell bruk. Det gis ikke tillatelse til annen bruk av systemfigurene i denne lisensen, inkludert, men
ikke begrenset til bruk, reproduksjon, framvisning, opptak, publisering eller videredistribuering av noen
av systemfigurene i en kommersiell sammenheng, til nonprofit-formål eller for deling med oﬀentligheten.

(g) Du godtar å bruke iOS-programvaren og tjenestene (slik dette defineres i del 5 nedenfor) i samsvar
med alle gjeldende lover, inkludert lokale lover i landet eller regionen du bor i eller befinner deg i når du
laster ned eller bruker iOS-programvaren og -tjenester. Funksjoner i iOS-programvaren og -tjenestene er
ikke alltid tilgjengelige på alle språk eller i alle områder, enkelte funksjoner kan variere etter område, og
enkelte kan være forbudt eller ikke tilgjengelige fra tjenesteleverandøren. Enkelte funksjoner i iOS-
programvare og -tjenester krever en Wi-Fi- eller mobildataforbindelse.

(h) Bruk av App Store krever at du bruker et unikt brukernavn og et passord, kjent som en Apple-ID. En
Apple-ID kreves også for tilgang til programoppdateringer og noen av funksjonene i iOS-programvaren
og -tjenestene.

(i) Du godtar at mange funksjoner, medfølgende apper og tjenester i iOS-programvaren overfører data, at
dette kan medføre at dataabonnementet ditt belastes, og at du er ansvarlig for å betale denne
kostnaden. Du kan se og kontrollere hvilke applikasjoner som har tillatelse til å bruke mobildata, og se et
estimat over hvor mye data slike applikasjoner har brukt, i mobildatainnstillingene. I tillegg bytter Wi-Fi-
hjelp automatisk til mobildata når du har dårlig Wi-Fi-forbindelse, noe som kan resultere i større forbruk
av mobildata og påvirke prisen på dataabonnementet ditt. Wi-Fi-hjelp er aktivert som standard, men kan
deaktiveres i Innstillinger. Hvis du vil ha mer informasjon, kan du lese i brukerhåndboken for iOS-
enheten.

(j) Hvis du velger å tillate automatisk oppdatering av programmer, vil iOS-enheten med jevne mellomrom
søke etter oppdateringer for programmene på enheten, og hvis en oppdatering er tilgjengelig, blir den
automatisk lastet ned og installert på enheten din. Du kan når som helst slå av automatisk oppdatering
av programmer ved å gå til Innstillinger, trykke på iTunes og App Store og slå av Oppdateringer under
Automatisk nedlasting.

(k) Bruk av iOS-enheten under visse omstendigheter kan distrahere deg og skape farlige situasjoner (du
bør for eksempel unngå å skrive tekstmeldinger mens du kjører bil eller bruke hodetelefoner mens du
sykler). Når du bruker iOS-enheten, godtar du at du skal følge bestemmelser som forbyr eller begrenser
bruken av mobiltelefon eller hodetelefoner (for eksempel bestemmelsen om å bruke enheten håndfritt
når du snakker i telefonen mens du kjører bil).

3. Overføring. Det er ikke tillatt å leie ut, lease, låne bort, selge, videreformidle eller underlisensiere iOS-
programvaren. Det er imidlertid lov å overføre, én gang og på permanent basis, alle lisensrettigheter du
har til iOS-programvaren, til en annen part ved overføring av eierskapet til iOS-enheten under
forutsetning av at: (a) overføringen inkluderer iOS-enheten og alle deler av iOS-programvaren, inkludert
denne lisensavtalen, og (b): at ingen kopier av iOS-programvaren beholdes, helt eller delvis, inkludert
kopier som er lagret på en datamaskin eller annen lagringsenhet, og (c): parten som overtar iOS-
programvaren leser og godtar betingelsene og vilkårene i denne lisensavtalen.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 167 of 452




4. Samtykke til bruk av data. Når du bruker enheten, blir telefonnummeret ditt og bestemte unike
identifikatorer for iOS-enheten sendt til Apple, slik at andre kan kontakte deg på telefonnummeret ditt via
ulike kommunikasjonsfunksjoner i iOS-programvaren, som iMessage og FaceTime. Når du bruker
iMessage, kan det hende at Apple beholder meldingene i kryptert form i en begrenset periode for å sikre
at de blir levert. Du kan slå av FaceTime- eller iMessage-tjenesten ved å gå til innstillingene for FaceTime
eller Meldinger på iOS-enheten. Visse funksjoner, som Analyse, Stedstjenester, Siri og Diktering, kan
kreve informasjon fra iOS-enheten for at de respektive funksjonene skal kunne benyttes. Når du slår på
eller bruker disse funksjonene, vises det opplysninger om hva slags informasjon som blir sendt til Apple,
og hvordan den blir brukt. Du finner mer informasjon på https://www.apple.com/no/privacy/.
Opplysningene dine blir behandlet i samsvar med Apples retningslinjer for personvern, som du kan lese
på https://www.apple.com/legal/privacy/.

5. Tjenester og materiale fra tredjeparter.
(a) iOS-programvaren kan gi tilgang til Apples iTunes Store, App Store, Apple Books, Game Center,
iCloud, Kart og andre tjenester og nettsteder fra Apple og tredjeparter (samlet og individuelt kalt
«tjenester»). Det er mulig at slike tjenester ikke er tilgjengelig på alle språk eller i alle land. Bruk av disse
tjenestene krever Internett-tilgang, og bruk av enkelte tjenester kan kreve en Apple-ID og at du godtar
ytterligere tjenestevilkår, og det kan medføre ekstra kostnader. Når du bruker denne programvaren
sammen med en Apple-ID eller annen Apple-tjeneste, samtykker du til de gjeldende tjenestevilkårene for
den tjenesten, for eksempel de gjeldende vilkårene for Apple Media Services for landet du er i når du
bruker tjenesten. Vilkårene er tilgjengelige og kan leses på https://www.apple.com/legal/internet-
services/itunes/.

(b) Hvis du registrerer deg for iCloud, kan du få tilgang til enkelte iCloud-funksjoner, for eksempel
«iCloud-bilder», «Min bildestrøm», «Delte albumer», «Back Up» og «Finn iPhone», direkte fra iOS-
programvaren. Du erkjenner og samtykker i at din bruk av iCloud og disse funksjonene er underlagt de
gjeldende vilkårene og betingelsene for iCloud-tjenesten, som er tilgjengelig her: https://
www.apple.com/legal/internet-services/icloud/.

(c) Innhold i News-appen. Din bruk av innhold du har tilgang til i News-appen, er begrenset til personlig,
ikke-kommersiell bruk og gir deg ingen rettighet til innholdet, og du har heller ingen kommersiell rettighet
eller markedsføringsrettighet tilknyttet slikt innhold. Du skal heller ikke overføre, republisere eller
reprodusere bilder du får tilgang til gjennom News-appen, på nytt som en separat fil.

(d) Kart. Kart-tjenesten og -funksjonene i iOS-programvaren («Kart»), herunder kartdatadekning, kan
variere etter område. Ved bruk av de stedsbaserte funksjonene i Kart, for eksempel navigering, trafikk og
lokale søk, kan ulik stedsbasert og bruksrelatert informasjon bli sendt til Apple, inkludert den geografiske
sanntidsplasseringen til iOS-enheten, for utføring av forespørsler og forbedring av Kart-funksjonen.
Apple innhenter denne informasjonen i en form som ikke kan identifisere deg. Når du bruker Kart,
samtykker du i og godtar at Apple og Apples datterselskaper og samarbeidspartnere overfører,
innhenter, vedlikeholder, behandler og bruker denne informasjonen for å kunne tilby og forbedre
Kart-funksjonene og -tjenesten og andre produkter og tjenester fra Apple. Apple kan også gi slike
opplysninger, enten i form av samlet informasjon eller informasjon som ikke kan spores tilbake til deg
som person, til sine partnere og lisensinnehavere for å bidra til å forbedre deres kart- og stedsbaserte
produkter og tjenester. Du kan deaktivere den stedsbaserte funksjonaliteten til Kart ved å gå til
innstillingen for stedstjenester på iOS-enheten og slå av stedsinnstillingen for Kart. Enkelte Kart-
funksjoner, som for eksempel navigeringsfunksjonen, vil ikke lenger være tilgjengelige hvis du deaktiverer
stedstjenester.

(e) Du er innforstått med at du ved å bruke hvilken som helst av tjenestene, kan komme over innhold
som kan anses som støtende, uanstendig eller upassende, og med språkbruk som kan oppfattes som
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 168 of 452



utilslørt og direkte, og at søk eller innskriving av en bestemt URL automatisk og utilsiktet kan opprette
koblinger eller referanser til støtende materiale. Likevel godtar du at din bruk av tjenestene fullt ut er på
din egen risiko og at Apple og Apples samarbeidspartnere, representanter, agenturgivere eller
lisensgivere ikke har noe ansvar overfor deg for innhold som kan anses anstøtelig, uanstendig eller
upassende.

(f) Enkelte tjenester kan vise, omfatte eller gjøre tilgjengelig data, informasjon, programmer eller materiale
fra tredjeparter («materiale fra tredjeparter») eller koblinger til nettsteder fra enkelte tredjeparter. Du er
innforstått med, og sier deg enig i, at Apple ikke er ansvarlig for å undersøke eller vurdere innhold,
nøyaktighet, fullstendighet, gyldighet, validitet, overholdelse av opphavsrett, lovlighet, anstendighet eller
kvalitet eller noe annet aspekt av slikt materiale fra tredjeparter eller slike nettsteder. Apple, dets ledere,
samarbeidspartnere og datterselskaper vil ikke innestå for eller støtte og vil ikke påta seg eller ha noe
som helst ansvar overfor deg eller andre for noen tredjeparters tjenester, materiale fra tredjeparter eller
nettsteder, eller for noen andre materialer, produkter eller tjenester fra tredjeparter. Materiale fra
tredjeparter og koblinger til andre nettsteder gis kun i tjenesteøyemed.

(g) Verken Apple eller noen av Apples innholdsleverandører garanterer for tilgjengeligheten,
nøyaktigheten, fullstendigheten, påliteligheten eller aktualiteten av informasjon om aksjer,
stedsinformasjon eller annen informasjon som kan vises av tjenester. Økonomisk informasjon som vises
av tjenester, er kun for generelle informasjonsformål, og bør ikke brukes som investeringsråd. Før du
utfører investeringer basert på informasjon du har fått via tjenestene, bør du konsultere en økonomisk
rådgiver som er juridisk kvalifisert til å gi råd om økonomi og verdipapirer i landet eller området du bor i.
Stedsinformasjon du får tilgang til via en hvilken som helst tjeneste, inkludert Kart-tjenesten fra Apple,
tilbys kun for enkel navigering og planlegging og er ikke ment å brukes i situasjoner der nøyaktig
stedsinformasjon er påkrevd eller der feilaktig, unøyaktig, forsinket eller ufullstendig stedsinformasjon
kan føre til død eller skade på person, eiendom eller miljøet. Du samtykker i at informasjon du får fra
Kart-tjenesten, kan avvike fra faktiske vei- eller terrengforhold grunnet faktorer som kan påvirke
presisjonen i Kart-dataene, blant annet, men ikke begrenset til, værforhold, vei- og trafikkforhold og
geopolitiske hendelser. Ivareta din egen sikkerhet når du bruker navigeringsfunksjonen ved å alltid være
oppmerksom på veiskilt og kjøreforhold. Kjør til enhver tid defensivt og i henhold til trafikkreglene, og
vær oppmerksom på at veianvisninger for gående ikke alltid inkluderer fortau eller gangveier.

(h) I den grad du bruker tjenestene til å laste opp innhold, bekrefter du at du eier alle rettigheter til, eller
har tillatelse til eller på annen måte har lovlig tilgang til å laste opp, slikt innhold og at slikt innhold ikke
bryter noen av tjenestevilkårene som gjelder for tjenestene. Du godtar at tjenestene inneholder
proprietært innhold, informasjon og materiale som eies av Apple, nettstedeieren eller deres lisensgivere,
og er beskyttet av gjeldende regelverk for immaterielle rettigheter og andre lover, inkludert, men ikke
begrenset til lover om opphavsrett. Du samtykker til at du ikke vil bruke slikt proprietært innhold eller slikt
materiale utover de tillatte anvendelser av tjenestene eller på noen som helst måte som ikke er i samsvar
med vilkårene i denne lisensavtalen eller som krenker en tredjeparts eller Apples immaterielle rettigheter.
Ingen deler av tjenestene skal kopieres eller reproduseres i noen som helst form eller på noen som helst
måte. Du forplikter deg til ikke å endre, leie ut, låne bort, selge, distribuere eller skape avledede verker
basert på tjenestene på noen som helst måte, og til ikke å utnytte tjenestene på noen som helst
uautorisert måte, inkludert, men ikke begrenset til å bruke tjenestene til å overføre datavirus, ormer,
trojanske hester eller annen skadelig programvare, eller ved eiesiendomskrenkelse eller overbelastning
av nettverkskapasitet. Du sier deg videre enig i å ikke bruke tjenestene til på noen måte å sjikanere,
fornærme, forfølge, true, injuriere eller på andre måte krenke rettighetene til en annen part, og at Apple
ikke på noen måte er ansvarlig om du skulle bruke tjenestene slik eller hvis du skulle motta sjikanerende,
truende, injurierende, krenkende eller ulovlige meldinger eller overføringer som en følge av bruk av
tjenestene.

(i) Tjenester og materiale fra tredjeparter som fås tilgang til, kan kobles til eller vises på iOS-enheten, er
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 169 of 452



ikke tilgjengelig på alle språk eller i alle land eller regioner. Apple gir ingen garantier for at slike tjenester
og slikt materiale fra tredjeparter er passende eller tilgjengelig for bruk på et bestemt sted. I den grad du
velger å bruke eller få tilgang til slike tjenester og slikt materiale, gjør du det på ditt eget initiativ og er
selv ansvarlig for å følge gjeldende lover, inkludert, men ikke begrenset til, gjeldende lokale lover eller
lover om personvern og innhenting av data. Deling eller synkronisering av bilder via iOS-enheten kan føre
til at metadata, herunder dybdeinformasjon og data om hvor og når bildet ble tatt, overføres med
bildene. Bruk av Apple-tjenester (for eksempel iCloud-bildebibliotek) til å dele eller synkronisere slike
bilder innebærer at Apple vil motta og lagre slik metadata. Apple og Apples lisensgivere forbeholder seg
retten til å endre, oppheve, fjerne eller deaktivere tilgang til en hvilken som helst tjeneste når som helst
og uten varsel. Under ingen omstendigheter vil Apple være ansvarlig for følgene av å ha fjernet eller
deaktivert tilgang til en slik tjeneste. Apple kan også innføre begrensninger på bruk av eller tilgang til
enkelte tjenester, i begge tilfellene uten varsel eller ansvar.

6. Opphør. Denne avtalen gjelder til den opphører. Dine rettigheter under denne lisensavtalen vil også
opphøre automatisk eller på andre måter slutte å gjelde, uten varsel fra Apple hvis du bryter noen som
helst av vilkårene i denne avtalen. Når denne avtalen opphører, skal du slutte å bruke iOS-programvaren.
Punkt 4, 5, 6, 7, 8, 9, 12 og 13 i denne lisensen gjelder selv om avtalen opphører.

7. Garantifraskrivelse.
7.1 Hvis du er en forbrukerkunde (en kunde som ikke bruker iOS-programvaren i jobbsammenheng),
er det mulig at du har juridiske rettigheter i landet ditt som medfører at følgende begrensninger ikke
gjelder for deg, og der dette er tilfelle, gjelder ikke disse begrensningene for deg. Hvis du vil ha mer
informasjon om rettighetene dine, tar du kontakt med en rådgivningsorganisasjon for forbrukere.

7.2 DU ERKJENNER OG SAMTYKKER UTTRYKKELIG I AT, I DEN GRAD DET TILLATES AV
GJELDENDE LOV, BRUKEN AV iOS-PROGRAMVAREN OG EVENTUELLE TJENESTER SOM UTFØRES
AV BRUKES VIA iOS-PROGRAMVAREN, FULLT OG HELT SKJER PÅ DIN EGEN RISIKO, OG AT HELE
RISIKOEN MED HENSYN TIL TILFREDSSTILLENDE KVALITET, YTELSE, NØYAKTIGHET OG
PRESTASJON LIGGER HOS DEG.

7.3 iOS-PROGRAMVAREN OG -TJENESTER LEVERES SOM DET ER, MED ALLE EVENTUELLE FEIL
OG UTEN GARANTI AV NOE SLAG, OG APPLE OG APPLES LISENSGIVERE (I AVSNITT 7 OG 8
BETEGNES DISSE PARTER SAMLET SOM «APPLE») FRASKRIVER SEG MED DETTE UTTRYKKELIG
ETHVERT GARANTIANSVAR FOR iOS-PROGRAMVAREN OG TJENESTENE, INKLUDERT, MEN IKKE
BEGRENSET TIL, UNDERFORSTÅTTE GARANTIER FOR SALGBARHET, TILFREDSSTILLENDE
KVALITET, ANVENDELIGHET FOR ET SPESIELT FORMÅL SAMT GARANTIER FOR AT TREDJEPARTS
RETTIGHETER IKKE KRENKES.

7.4 APPLE GARANTERER IKKE iOS-PROGRAMVAREN OG TJENESTENE VIL TILFREDSSTILLE DINE
FORHÅPNINGER, AT FUNKSJONENE I ELLER TJENESTER SOM UTFØRES AV ELLER GIS AV iOS-
PROGRAMVAREN, VIL TILFREDSSTILLE DINE KRAV, AT iOS-PROGRAMVAREN OG TJENESTENE VIL
VIRKE UTEN AVBRUDD ELLER FEILFRITT, AT TJENESTER VIL FORTSETTE Å VÆRE TILGJENGELIG,
AT FEIL I iOS-PROGRAMVAREN ELLER TJENESTENE VIL BLI UTBEDRET ELLER AT iOS-
PROGRAMVAREN VIL VÆRE KOMPATIBEL MED PROGRAMVARE OG TJENESTER FRA
TREDJEPARTER. INSTALLERING AV DENNE IOS-PROGRAMVAREN KAN PÅVIRKE
TILGJENGELIGHETEN OG MULIGHETEN TIL Å BRUKE PROGRAMVARE, PROGRAMMER ELLER
TJENESTER FRA TREDJEPARTSLEVERANDØRER OG APPLE-PRODUKTER ELLER APPLE-
TJENESTER.

7.5 I TILLEGG VEDGÅR DU AT iOS-PROGRAMVAREN OG TJENESTENE IKKE ER BEREGNET TIL
ELLER KAN BRUKES I SITUASJONER ELLER OMGIVELSER HVOR DET AT iOS-PROGRAMVAREN
ELLER TJENESTENE SLUTTER Å FUNGERE ELLER DET ER FEIL, FORSINKELSER ELLER
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 170 of 452



UNØYAKTIGHETER I INNHOLDET, DATA ELLER INFORMASJONEN SOM OPPGIS AV iOS-
PROGRAMVAREN ELLER TJENESTENE, KAN FØRE DØD, SKADE PÅ PERSON, ALVORLIGE FYSISKE
SKADER ELLER MILJØØDELEGGELSER, INKLUDERT MED IKKE BEGRENSET TIL DRIFT AV
KJERNEKRAFTVERK, FLYNAVIGERINGSSYSTEMER, LUFTFARTSKOMMUNIKASJONSSYSTEMER,
LUFTFARTSTRAFIKKSTYRINGSSYSTEMER, MEDISINSK UTSTYR OG VÅPENSYSTEMER.

7.6 INGEN MUNTLIG ELLER SKRIFTLIG INFORMASJON ELLER RÅD SOM GIS AV APPLE ELLER AV
EN APPLE-AUTORISERT REPRESENTANT, SKAL SKAPE NOEN GARANTIFORPLIKTELSER. SKULLE
DET VISE SEG Å VÆRE FEIL VED iOS-PROGRAMVAREN ELLER TJENESTENE, MÅ DU (OG IKKE
APPLE ELLER EN AV APPLE AUTORISERT REPRESENTANT) PÅTA DEG ALLE KOSTNADER I
FORBINDELSE MED ALL NØDVENDIG SERVICE, REPARASJON ELLER KORREKSJON. ENKELTE
STEDER TILLATER IKKE LOVGIVNINGEN GARANTIFRASKRIVELSE AV GARANTIER I MEDHOLD AV
LOV ELLER BEGRENSNINGER I RETTIGHETER FOR FORBRUKERE, OG DET ER MULIG AT
OVENSTÅENDE BEGRENSNING IKKE GJELDER DEG.

8. Ansvarsbegrensning. I DEN GRAD DET IKKE BEGRENSES AV GJELDENDE LOVGIVNING, ER
APPLE OG APPLES SAMARBEIDSPARTNERE, REPRESENTANTER OG AGENTURGIVERE IKKE UNDER
NOEN OMSTENDIGHET ANSVARLIG FOR SPESIELLE, DIREKTE, INDIREKTE ELLER AVLEDEDE TAP
OG SKADER, INKLUDERT, UTEN BEGRENSNING, SKADER SOM FØLGER AV TAP AV PROFITT, SKADE
PÅ ELLER TAP AV DATA, MANGLENDE OVERFØRING ELLER MOTTAK AV DATA (INKLUDERT OG UTEN
BEGRENSNING KURSINSTRUKSJONER, OPPGAVER OG MATERIELL), AVBRUDD I ARBEID ELLER
ANDRE KOMMERSIELLE SKADER ELLER TAP SOM FØLGER AV ELLER ER RELATERT TIL DIN BRUK
AV ELLER MANGLENDE EVNE TIL Å BRUKE iOS-PROGRAMVAREN OG TJENESTENE ELLER
PROGRAMVARE FRA TREDJEPARTER SOM BRUKES SAMMEN MED iOS-PROGRAMVAREN ELLER -
TJENESTER, UAVHENGIG AV ANSVARSGRUNNLAG, SELV OM APPLE ER BLITT INFORMERT OM
MULIGHETENE FOR SLIK SKADE. I ENKELTE JURISDIKSJONER TILLATER IKKE LOVGIVNINGEN
BEGRENSNINGER ELLER ANSVARSFRAVIKELSE FOR PERSONLIG SKADE ELLER TILFELDIGE ELLER
INDIREKTE SKADER OG DET ER MULIG AT OVENSTÅENDE BEGRENSNING IKKE GJELDER DEG. Ikke
i noe tilfelle skal Apples totale ansvar overfor deg for skade, tap og erstatning (enten ansvaret gjøres
gjeldende etter kontrakt eller utenfor kontrakt (herunder uaktsomhet) eller på annen måte) overstige 250
US dollar (US $250). Foregående begrensninger skal gjelde selv om ovenstående opprettelse ikke virker
etter hensikten.

9. Digitale sertifikater. iOS-programvaren har funksjoner som tillater at den kan godta digitale
sertifikater som enten kommer fra Apple eller fra en tredje part. DU ER ENE OG ALENE ANSVARLIG FOR
OM DU VIL STOLE PÅ ET SERTIFIKAT SOM ER UTSTEDT AV APPLE ELLER EN TREDJEPART. BRUKEN
AV DIGITALE SERTIFIKATER FOREGÅR PÅ EGEN RISIKO. APPLE GIR, TIL DET MAKSIMALE SOM
TILLATES AV GJELDENDE LOVGIVNING, INGEN UTTRYKTE ELLER INDIREKTE GARANTIER ELLER
FREMSTILLINGER FOR SALGBARHET ELLER EGNETHET FOR NOE SPESIELT FORMÅL,
KORREKTHET, SIKKERHET ELLER KRENKELSE AV EN TREDJEPARTS RETTIGHETER MED HENSYN
TIL DIGITALE SERTIFIKATER.

10. Eksportkontroll. Du må ikke bruke, eksportere eller videreeksportere iOS-programvaren, unntatt i
overensstemmelse med gjeldende eksportlovgivning i USA og gjeldende lovgivning i det land iOS-
programvaren ble anskaﬀet. I særdeleshet, men uten begrensning, er det ikke tillatt å eksportere eller
videreeksportere iOS-programvaren til a) land som er omfattet av USAs embargo, eller b) personer som
er oppført på US Treasury Departments liste over «Specially Designated Nationals» eller US Department
of Commerces liste «Denied Person’s List« eller «Entity List» eller noen annen liste over forbudte parter.
Ved å ta i bruk iOS-programvaren bekrefter du at du ikke er i et av disse landene eller står oppført på
noen av de nevnte lister. Du bekrefter også at du ikke skal bruke iOS-programvaren til formål som ikke er
tillatt under USAs lovgivning, inkludert, uten begrensning, utvikling, utforming, tilvirkning eller produksjon
av atomvåpen, raketter eller kjemiske eller biologiske våpen.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 171 of 452




11. US Government-sluttbrukere. iOS-programvaren og tilhørende dokumentasjon er definert som
«Commercial items» slik det er definert i 48 C.F.R. § 2.101, og består av «Commercial Computer
Software» og «Commercial Computer Software Documentation» slik begrepene brukes i 48 C.F.R.
§12.212 eller 48 C.F.R. § 227.7202 avhengig av hva som gjelder. I samsvar med 48 C.F.R. §12.212 eller
48 C.F.R. § 227.7202-1 til og med 48 C.F.R. § 227.7202-4, avhengig av hva som gjelder, blir Commercial
Computer Software (programvaren) og Commercial Computer Software Documentation
(dokumentasjonen) lisensiert til US Government-sluttbrukere a) kun som Commercial Items og b) kun
med de rettigheter som gjelder for alle andre sluttbrukere som er beskrevet her. Upubliserte rettigheter
forbeholdes under lovgivningen om opphavsrettigheter for USA.

12. Gjeldende lovgivning og tilsidesettelse av bestemmelser. Denne lisensen skal være underlagt og
være i samsvar med lovene i staten California, unntatt de deler av loven som vedrører lovkonflikter.
Denne lisensen skal uttrykkelig ikke være underlagt de Forente Nasjoners konvensjon om kontrakter for
salg av varer internasjonalt. Hvis du er en forbruker som er bosatt i Den Storbritannia, er denne lisensen
underlagt lovgivningen i landet du bor i. Dersom en domstol, med kompetanse til dette, finner at noen av
bestemmelsene i denne lisensavtale helt eller delvis ikke kan gjøres gjeldende, skal den gjenværende del
av lisensavtalen fortsatt gjelde fullt ut.

13. Fullstendig avtale, gjeldende språk. Denne lisensavtalen inneholder alt som er avtalt mellom deg
og Apple med hensyn til bruk av iOS-programvaren og erstatter samtlige tidligere skriftlige eller muntlige
avtaler og enhver annen kommunikasjon mellom partene vedrørende alt som omfattes av avtalen. Ingen
tillegg eller endringer i denne lisensavtalen er bindende, med mindre de er skriftlige og undertegnet av
Apple. Enhver oversettelse av denne avtalen er tilpasset lokale forhold og ved en eventuell
uoverensstemmelse mellom den engelske og oversatte versjonen skal den engelske versjonen gjelde, i
den grad det ikke begrenses av gjeldende lovgivning i landet du bor i.

14. Anerkjennelse av tredjeparter. Deler av iOS-programvaren benytter eller inkluderer programvare fra
tredjeparter og annet opphavsrettslig beskyttet materiale. Anerkjennelser, lisensbetingelser og
garantifraskrivelser for slikt materiale er inkludert i den elektroniske dokumentasjonen for iOS-
programvaren, og bruken av slikt materiale er underlagt de respektive betingelsene. Bruk av Google Safe
Browsing-tjenesten er underlagt Googles tjenestevilkår (https://www.google.com/intl/no/policies/terms/)
og Googles retningslinjer for personvern (https://www.google.com/intl/no/policies/privacy/).

15. Bruk av MPEG-4, merknad om H.264/AVC.
(a) iOS-programvaren er lisensiert under MPEG-4 Systems Patent Portfolio License for koding i samsvar
med MPEG-4 Systems Standard, med unntak av at det er nødvendig med en tilleggslisens og betaling
av royalties for koding i forbindelse med (i) data som lagres eller replikeres på fysiske medier som det
betales for per tittel, og/eller (ii) data som det betales for per tittel, og som overføres til en sluttbruker for
permanent lagring og/eller bruk. En slik tilleggslisens kan fås fra MPEG LA, LLC. Du finner mer
informasjon på http://www.mpegla.com.

(b) iOS-programvaren inneholder funksjonalitet for koding og/eller dekoding av MPEG-4-video. iOS-
programvaren er lisensiert under MPEG-4 Visual Patent Portfolio License for personlig og ikke-
kommersiell bruk av en forbruker til (i) koding av video i overenssemmelse med MPEG-4 Visual Standard
(«MPEG-4-video») og/eller (ii) dekoding av MPEG-4-video som har blitt kodet av en forbruker som driver
en privat og ikke-kommersiell aktivitet, og/eller som har blitt framskaﬀet fra en videoleverandør som har
lisens fra MPEG LA til å levere MPEG-4-video. Ingen lisens gis eller kan forstås som tillatelse til annen
bruk. Ytterligere informasjon, også om bruk og lisenser for bruk i markedsføringssammenheng,
kommersiell og intern bruk, kan fås fra MPEG LA, LLC. Se http://www.mpegla.com.

(c) iOS-programvaren inneholder funksjonalitet for AVC-koding og/eller AVC-dekoding, kommersiell bruk
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 172 of 452



krever ekstra lisensiering og følgende gjelder: AVC-FUNKSJONALITETEN I iOS-PROGRAMVAREN KAN
KUN ANVENDES AV FORBRUKERE OG KUN FOR PERSONLIG OG IKKE-KOMMERSIELL BRUK TIL (i)
KODING AV VIDEO I OVERENSSTEMMELSE MED AVC-STANDARDEN («AVC-VIDEO») OG/ELLER (ii)
DEKODING AV AVC-VIDEO SOM ER KODET AV EN FORBRUKER TIL PERSONLIG OG IKKE-
KOMMERSIELL BRUK OG/ELLER DEKODING AV AVC-VIDEO FRA EN VIDEOLEVERANDØR SOM HAR
LISENS TIL Å TILBY AVC-VIDEO. INFORMASJON OM ANNEN BRUK OG LISENSIERING KAN
INNHENTES FRA MPEG LA L.L.C. SE http://www.mpegla.com.

16. Begrensninger for Yahoo-søketjenesten. Yahoo-søketjenesten som er tilgjengelig via Safari, er kun
lisensiert for bruk i følgende land og regioner: Argentina, Aruba, Australia, Bahamas, Barbados, Belgia,
Bermuda, Brasil, Bulgaria, Canada, Caymanøyene, Chile, Colombia, Danmark, Den dominikanske
republikk, Ecuador, El Salvador, Filippinene, Finland, Frankrike, Grenada, Guatemala, Hellas, India,
Indonesia, Irland, Island, Italia, Jamaica, Japan, Kina (fastlandet), Hongkong, Taiwan, Kypros, Latvia,
Litauen, Luxembourg, Malaysia, Malta, Mexico, Nederland, New Zealand, Nicaragua, Norge, Panama,
Peru, Polen, Portugal, Puerto Rico, Romania, Singapore, Slovakia, Slovenia, Spania, St. Lucia,
Storbritannia, St. Vincent, Sveits, Sverige, Sør-Korea, Thailand, Trinidad og Tobago, Tsjekkia, Tyrkia,
Tyskland, Ungarn, Uruguay, USA, Venezuela og Østerrike.

17. Merknad om Microsoft Exchange. E-postinnstillingen for Microsoft Exchange i iOS-programvaren
er kun lisensiert for synkronisering av informasjon, for eksempel e-post, kontakter, kalendere og
oppgaver, via trådløst nettverk mellom iOS og Microsoft Exchange Server eller annen tjenerprogramvare
som er lisensiert av Microsoft for å implementere Microsoft Exchange ActiveSync-protokollen.

EA1566
21.02.2019

————————————
Tilleggsvilkår for Apple Pay

Disse Tilleggsvilkårene for Apple Pay («Tilleggsvilkår») gjelder i tillegg til Lisensavtalen for iOS-
programvare («Lisensen»), og både Lisensvilkårene og disse Tilleggsvilkårene gjelder for din bruk av
funksjonen Apple Pay, som skal regnes som en «Tjeneste» i tilknytning til lisensen. Ord skrevet med
store bokstaver i disse Tilleggsvilkårene, skal tolkes etter definisjonene som er fastsatt i Lisensen.

1. Oversikt og begrensninger for bruk

Apple Pay gjør det mulig å:

    •   agre virtuelle versjoner av kredittkort, debetkort og kontantkort, også kredittkort, bankkort og
        kontantkort utstedt av butikker, og Apple Pay Cash-kortet, som støttes av Apple Pay-funksjonen
        («Betalingskort som støttes»), og bruke iOS-enheter som støttes, til å utføre trådløse betalinger
        på utvalgte steder, i apper eller på nettsteder;
    •   bruke lojalitets- og gavekort som lagres i Wallet («Apple Pay-aktiverte kort», og sammen med
        Betalingskort som støttes, «Kort som støttes»), for å utføre kontaktløse transaksjoner med
        lojalitets- og gavekort i utvalgte butikker i tilknytning til en kontaktløs betaling med Apple Pay,
        og;
    •   sende person-til-person-betalinger til andre Apple Pay-brukere.

Apple Pay-funksjonene i iOS-programvaren er bare tilgjengelige i utvalgte områder, med utvalgte
kortutstedere, finansinstitusjoner og hos utvalgte forhandlere. Funksjonene kan variere avhengig av sted,
utsteder og forhandler.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 173 of 452



Hvis du skal bruke Apple Pay, må du ha et Kort som støttes. Utvalget av Kort som støttes, kan variere fra
tid til annen. I tillegg, hvis du vil sende og motta person-til-person-betalinger, må du ha et Apple Pay
Cash-kort.

Betalingskort som støttes, og person-til-person-betalinger knyttes til Apple-ID-en du har logget på
iCloud med for å bruke disse funksjonene. Kort som støttes, er kun tilgjengelige for personer som er 13
år eller eldre, og ytterligere aldersbegrensninger kan gjelde for bruk av iCloud eller Kortet som støttes.
Apple Pay Cash-kortet og muligheten til å sende og motta person-til-person-betalinger er kun
tilgjengelig for personer over 18 år.

Apple Pay er for personlig bruk, og du kan bare aktivere dine egne Kort som støttes. Hvis du aktiverer et
firmakort som støttes, bekrefter du at du gjør det med godkjenning fra arbeidsgiveren din, og at du har
tillatelse til å binde arbeidsgiveren til disse vilkårene og alle transaksjoner som utføres ved bruk av
funksjonen. Hvis du sender eller mottar en person-til-person-betaling, bekrefter du at du gjør dette for
egen personlig, ikke-kommersiell bruk.

Du samtykker i at du ikke skal bruke Apple Pay til ulovlige eller straﬀbare formål eller andre formål som
er i strid med lisensen og tilleggsvilkårene. Videre samtykker du i å bruke Apple Pay i samsvar med
gjeldende lover og forskrifter. Du samtykker i at du ikke skal gripe inn i eller skape forstyrrelser for
tjenesten Apple Pay (herunder ved automatisk tilgang til tjenesten) eller tjenere eller nettverk tilknyttet
tjenesten eller retningslinjer, bestemmelser eller forskrifter for nettverk tilknyttet tjenesten (herunder
uautorisert tilgang til, bruk eller overvåkning av data eller trafikk på slike).

2. Forholdet mellom deg og Apple

Apple Pay gjør det mulig å lage virtuelle versjoner av dine Kort som støttes, på den støttede iOS-
enheten. Apple behandler imidlertid ikke betalinger eller andre transaksjoner med kort som ikke er
betalingskort (som bruk eller opptjening av bonus), og verken mottar, oppbevarer eller overfører midlene
dine, eller har noen kontroll over betalinger, tilbakebetalinger, refusjoner, bonuser, verdier, rabatter eller
annen kommersiell bruk tilknyttet din bruk av funksjonen.

Vilkårene i kortavtalene du har med kortutstederen, vil fortsatt gjelde for din bruk av Kort som støttes, og
for bruk av disse i tilknytning til Apple Pay. Likeledes vil din deltakelse i forhandleres lojalitets- eller
gavekortprogrammer og din bruk av Apple Pay-aktiverte kort i tilknytning til Apple Pay være underlagt
forhandlerens vilkår.

Apple Pay Cash-kortet og muligheten til å sende og motta person-til-person-betalinger er kun
tilgjengelig i USA, og er tjenester som leveres av Green Dot Bank, medlem av FDIC. Når du aktiverer
disse funksjonene i Apple Pay, åpner du en konto i Green Dot Bank, og når du sender eller mottar en
person-til-person-betaling eller fyller på eller tar ut penger fra Apple Pay Cash-kortet, er Green Dot Bank
ansvarlig for å motta og sende pengene til rette mottaker. Finansinstitusjonen som er ansvarlig for å tilby
Apple Pay Cash-kortet og person-til-person-betalinger i Apple Pay, kan bli endret, og din bruk av slike
tjenester er underlagt deres vilkår og betingelser.

Ingen del av lisensen eller tilleggsvilkårene endrer vilkårene i avtaler du har med kortutstedere, brukere
eller forhandlere, og vilkårene gjelder for din bruk av Kortet som støttes, eller person-til-person-
betalingsfunksjonen i Apple Pay og deres virtuelle versjon på iOS-enheten. Du godtar at Apple ikke er
part i dine avtaler med kortutstedere eller forhandlere, og at Apple heller ikke er ansvarlig for: (a)
innholdet, nøyaktigheten eller utilgjengeligheten til betalingskort, kommersielle aktiviteter, transaksjoner
eller kjøp ved bruk av Apple Pay-funksjonaliteten; (b) utstedelsen av kreditt eller vurdering av
kredittverdighet; (c) opptjening eller bruk av lojalitets- eller bonuspoeng i forhandlerprogrammer; (d)
finansiering eller påfylling av kontantkort; (e) sending eller mottak av person-til-person-betalinger; eller (f)
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 174 of 452



påfylling, innløsing eller uttak av penger fra Apple Pay Cash-kortet.

Kontakt utsteder eller gjeldende forhandler vedrørende alle tvister eller spørsmål om betalingskort,
lojalitetskort, gavekort eller tilknyttet kommersiell bruk. Spørsmål vedrørende Apple Pay Cash-kortet eller
person-til-person-betalinger kan rettes til Apples kundestøtte.

3. Personvern

Apple Pay trenger bestemt informasjon fra iOS-enheten din for at du skal få tilgang til all funksjonalitet. I
tillegg, når du bruker Apple Pay Cash-kortet eller sender eller mottar person-til-person-betalinger,
samles og oppbevares ytterligere informasjon om dine transaksjoner for å betjene kontoen din samt for
svindelforebyggende og juridiske formål. Hvis du vil ha mer informasjon om data som samles inn, brukes
eller deles når du benytter Apple Pay, Apple Pay Cash-kortet eller person-til-person-betalinger med
Apple Pay, kan du lese Om Apple Pay og personvern (som du finner ved å gå til Wallet og Apple Pay på
iOS-enheten din, i Apple Watch-appen på en sammenkoblet iOS-enhet) eller gå til https://
www.apple.com/no/privacy. Når du bruker disse funksjonene, samtykker du i og tillater du at Apple og
Apples datterselskaper og agenter overfører, innhenter, vedlikeholder, behandler og bruker all
forannevnte informasjon for å kunne tilby Apple Pay-funksjonaliteten.

4. Sikkerhet, enheter som er mistet eller deaktivert

Apple Pay lagrer en virtuell versjon av Kort som støttes, og bør beskyttes på samme måte som du
beskytter fysiske kredittkort, debetkort, kontantkort, lojalitetskort eller gavekort. Hvis du oppgir koden til
enheten til en tredjepart eller tillater at en tredjepart legger til sitt fingeravtrykk for bruk med Touch ID
eller aktiverer Face ID, kan vedkommende utføre betalinger, sende, be om eller motta person-til-person-
betalinger, ta ut penger fra Apple Pay Cash-kortet eller motta eller bruke bonus eller kreditt ved hjelp av
Apple Pay på din enhet. Du alene er ansvarlig for å beskytte enheten og koden. Du samtykker i at Apple
ikke er ansvarlig hvis du mister eller deler tilgangen til enheten. Du samtykker i at Apple ikke er ansvarlig
hvis du foretar uautoriserte endringer av iOS (for eksempel via «jailbreak»).

Det er mulig du må aktivere ytterligere sikkerhetstiltak, for eksempel tofaktorautentisering for Apple-ID-
en, for å få tilgang til enkelte Apple Pay-funksjoner, inkludert Apple Pay Cash-kortet og person-til-
person-betalinger med Apple Pay. Hvis du senere fjerner disse sikkerhetsfunksjonene, er det mulig du
ikke fortsatt får tilgang til enkelte Apple Pay-funksjoner.

Dersom du mister enheten eller den blir stjålet, og du har aktivert Finn iPhone, kan du bruke Finn iPhone
til å sette enheten i Mistet-modus for å prøve å hindre at de virtuelle, Støttede betalingskortene eller
sending av person-til-person-betalinger på den enheten blir brukt. Du kan også slette enheten for å
prøve å hindre bruk av de virtuelle, Støttede betalingskortene eller sending av person-til-person-
betalinger på enheten og prøve å fjerne Apple Pay-aktiverte kort. Du bør også kontakte utstederen av
Betalingskortene som støttes, forhandleren som har utstedt de Apple Pay-aktiverte kortene og Apple,
hvis du har et Apple Pay Cash-kort, for å hindre at uvedkommende får tilgang til virtuelle Kort som
støttes.

Hvis du rapporterer om eller Apple mistenker straﬀbare handlinger eller misbruk, godtar du at du skal
samarbeide med Apple i etterforskningen og iverksette de tiltakene vi fastsetter for å forhindre svindel.

5. Ansvarsbegrensning

I TILLEGG TIL GARANTIFRASKRIVELSENE OG ANSVARSBEGRENSNINGENE SOM ER FASTSATT I
LISENSEN, FRASKRIVER APPLE SEG ETHVERT ANSVAR FOR KJØP, BETALINGER, TRANSAKSJONER
OG ANNEN KOMMERSIELL BRUK I TILKNYTNING TIL APPLE PAY-FUNKSJONEN, OG DU GODTAR AT
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 175 of 452



DU KUN SKAL BRUKE AVTALER DU HAR MED KORTUTSTEDEREN, BETALINGSNETTVERK,
FINANSINSTITUSJONER ELLER FORHANDLER FOR Å LØSE EVENTUELLE SPØRSMÅL ELLER
TVISTER I FORBINDELSE MED STØTTEDE BETALINGSKORT, PERSON TIL PERSON-BETALINGER OG
TILKNYTTET KOMMERSIELL BRUK.

————————————
KOMMUNIKASJON FRA APPLE
Hvis Apple trenger å kontakte deg om produktet ditt eller kontoen din, samtykker du i at Apple kan
sende slik kommunikasjon via e-post. Du samtykker i at kommunikasjon vi sender deg elektronisk,
tilfredsstiller eventuelle rettslige krav.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 176 of 452



POLSKI

WAŻNE: KORZYSTANIE PRZEZ UŻYTKOWNIKA Z iPHONE’A, iPADA LUB iPODA TOUCH
(URZĄDZENIA iOS) JEST JEDNOZNACZNE Z ZAAKCEPTOWANIEM WARUNKÓW
I POSTANOWIEŃ:

A.   UMOWA LICENCYJNA NA OPROGRAMOWANIE APPLE iOS
B.   DODATKOWE WARUNKI KORZYSTANIA Z APPLE PAY
C.   UWAGI OD APPLE

APPLE INC.
UMOWA LICENCYJNA NA OPROGRAMOWANIE iOS
Licencja dla jednego użytkownika

PRZED UŻYCIEM URZĄDZENIA iOS LUB POBRANIEM UAKTUALNIENIA OPROGRAMOWANIA
TOWARZYSZĄCEGO TEJ LICENCJI NALEŻY DOKŁADNIE PRZECZYTAĆ NINIEJSZĄ UMOWĘ
(ZWANĄ DALEJ LICENCJĄ). KORZYSTANIE PRZEZ UŻYTKOWNIKA ZE SWOJEGO URZĄDZENIA
iOS LUB POBIERANIE UAKTUALNIEŃ OPROGRAMOWANIA JEST
JEDNOZNACZNE Z ZAAKCEPTOWANIEM WARUNKÓW I OGRANICZEŃ WYNIKAJĄCYCH Z TEJ
LICENCJI. JEŻELI UŻYTKOWNIK NIE ZGADZA SIĘ Z POSTANOWIENIAMI NINIEJSZEJ LICENCJI,
NIE POWINIEN UŻYWAĆ TEGO URZĄDZENIA iOS, ANI POBIERAĆ TEGO UAKTUALNIENIA
OPROGRAMOWANIA.

JEŻELI UŻYTKOWNIK, KTÓRY NABYŁ URZĄDZENIE Z SYSTEMEM iOS, NIE ZGADZA SIĘ
Z WARUNKAMI NINIEJSZEJ LICENCJI, MOŻE ZWRÓCIĆ TO URZĄDZENIE W CIĄGU
USTALONEGO OKRESU DO AUTORYZOWANEGO DYSTRYBUTORA, U KTÓREGO ZOSTAŁO
ZAKUPIONE W CELU ZWROTU PIENIĘDZY ZGODNIE Z ZASADAMI REFUNDOWANIA APPLE,
Z KTÓRYMI MOŻNA SIĘ ZAPOZNAĆ POD ADRESEM https://www.apple.com/legal/sales-support/.

1. Postanowienia ogólne.
(a) Na oprogramowanie (w tym kod Boot ROM, wbudowane oprogramowanie oraz oprogramowanie firm
trzecich ), interfejsy, zawartość, czcionki, dokumentację i inne dane dołączone do Urządzenia iOS
(„Oryginalne oprogramowanie iOS”), które może być uaktualnione lub zastąpione przez uaktualnienie
oprogramowania lub odtworzenie oprogramowania Apple („Uaktualnienia oprogramowania iOS”), w
pamięci tylko do odczytu, na dowolnym nośniku lub w dowolnej innej formie (Oryginalne
oprogramowanie iOS oraz Uaktualnienia oprogramowania iOS zwane dalej ogólnie „Oprogramowaniem
iOS”) firma Apple Inc. (zwana dalej „Apple”) udziela licencji wyłącznie na warunkach określonych w
niniejszej Licencji. Apple oraz licencjodawcy Apple zachowują wszelkie prawa do Oprogramowania iOS,
które nie zostały w niniejszym dokumencie wprost przekazane Użytkownikowi. Użytkownik przyznaje, że
warunki niniejszej Licencji będą miały zastosowanie do wszystkich aplikacji firmy Apple wbudowanych
w urządzeniu iOS, o ile do takiej aplikacji nie będzie dołączona odrębna licencja. W takim przypadku
Użytkownik akceptuje, że mają zastosowanie warunki licencji dołączonej do tej aplikacji.

(b) Apple, według własnego uznania, może udostępniać w przyszłości Uaktualnienia Oprogramowania
iOS. Uaktualnienia Oprogramowania iOS, jeśli takie będą, mogą nie zawierać wszystkich bieżących lub
nowych funkcji oprogramowania, które Apple udostępnia z nowymi lub innymi modelami Urządzeń iOS.
Warunki niniejszej Licencji mają zastosowanie do wszystkich Uaktualnień oprogramowania iOS
dostarczanych przez Apple, o ile do takiego Uaktualnienia nie jest dołączona oddzielna licencja. W takim
przypadku obowiązują warunki i ograniczenia wynikające z nowej licencji.

(c) Jeśli Użytkownik korzysta z opcji szybkiego konfigurowania nowego urządzenia iOS przy użyciu
swojego dotychczasowego urządzenia iOS, wówczas akceptuje, że warunki tej Licencji będą regulowały
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 177 of 452



korzystanie z Oprogramowania iOS na nowym urządzeniu iOS Użytkownika, chyba że będzie do niego
dołączona oddzielna licencja, w którym to przypadku Użytkownik zgadza się, że warunki tej licencji będą
regulowały korzystanie z tego Oprogramowania iOS. Urządzenie iOS Użytkownika będzie będzie
okresowo sprawdzało dostępność uaktualnień oprogramowania iOS. Jeśli takie uaktualnienie
Oprogramowania Apple będzie dostępne, może zostać automatycznie pobrane oraz zainstalowane na
urządzeniu iOS oraz, w określonych przypadkach, na urządzeniach peryferyjnych. Korzystanie
z Oprogramowania Apple jest jednoznaczne z zaakceptowaniem przez Użytkownika, że Apple
może pobierać i instalować na jego urządzeniu iOS oraz urządzeniach peryferyjnych
automatyczne uaktualnienia oprogramowania iOS. Użytkownik może w dowolnym momencie
wyłączyć automatyczne uaktualnianie, zmieniając ustawienia Uaktualnień automatycznych, które
znajdują się w Ustawienia > Ogólne > Uaktualnienia.

2. Dozwolone sposoby wykorzystania licencji i jej ograniczenia.
(a) Zgodnie z warunkami i postanowieniami zawartymi w niniejszej Licencji, Użytkownik otrzymuje
ograniczone i niewyłączne prawo do korzystania z Oprogramowania iOS na pojedynczym Urządzeniu
iOS marki Apple. Poza warunkami wymienionymi w punkcie 2(b) poniżej, oraz jeśli nie zostało to
ustalone w odrębnej umowie pomiędzy Użytkownikiem oraz Apple, niniejsza Licencja nie zezwala na to,
aby Oprogramowanie iOS było zainstalowane w tym samym czasie na więcej niż jednym Urządzeniu iOS
firmy Apple, a także nie zezwala na dystrybuowanie lub udostępnianie Oprogramowania iOS przez sieć,
dzięki czemu mogłoby być używane przez kilka urządzeń w tym samym czasie. Niniejsza Licencja nie
przyznaje Użytkownikowi żadnych praw do używania zastrzeżonych interfejsów Apple i do innej
własności intelektualnej zawartej w projektach, tworzonych aplikacjach, produkcji, licencjonowaniu lub
dystrybucji urządzeń i akcesoriów stron trzecich lub aplikacji firm trzecich do używania z Urządzeniami
iOS. Niektóre z tych praw są dostępne w oddzielnych licencjach od Apple. Więcej informacji na temat
projektowania i produkowania urządzeń oraz akcesoriów firm trzecich dla Urządzeń iOS można uzyskać
pod adresem https://developer.apple.com/programs/mfi/. Informacje na temat tworzenia aplikacji dla
urządzeń iOS można uzyskać pod adresem https://developer.apple.com.

(b) Zgodnie z warunkami i postanowieniami zawartymi w niniejszej Licencji, Użytkownik otrzymuje
ograniczone i niewyłączne prawo do pobrania Uaktualnień Oprogramowania iOS, które mogą być
udostępniane przez Apple dla posiadanego przez Użytkownika modelu Urządzenia iOS, w celu
uaktualnienia lub odtworzenia oprogramowania na każdym posiadanym lub kontrolowanym przez
Użytkownika Urządzeniu iOS. Niniejsza Licencja nie zezwala na uaktualnianie lub odtwarzanie
oprogramowania Urządzenia iOS, które nie są własnością lub pod kontrolą Użytkownika oraz na
udostępnianie Uaktualnienia Oprogramowania iOS przez sieć, dzięki czemu mogłoby być używane przez
kilka urządzeń lub komputerów w tym samym czasie. Jeśli Użytkownik pobrał Uaktualnienie
Oprogramowania iOS na swój komputer, może utworzyć jedną kopię Uaktualnienia Oprogramowania
iOS w formie czytelnej dla komputera wyłącznie w celu archiwizacji, pod warunkiem, że kopia archiwalna
będzie zawierać wszystkie informacje o prawach autorskich i innych prawach własności, jakie były
zawarte w oryginale.

(c) Ze względu na to, że w momencie zakupu Urządzenia iOS były na nim zainstalowane przez Apple
aplikacje Apple (Zainstalowane aplikacje Apple), Użytkownik powinien zalogować się w App Store
i powiązać te Zainstalowane aplikacje Apple ze swoim kontem w App Store w celu korzystania z tego
oprogramowania na swoim Urządzeniu iOS. Po takim powiązaniu Zainstalowanej aplikacji Apple ze
swoim kontem w App Store, inne aplikacje Apple pochodzące z App Store, jeśli były wcześniej
zainstalowane na urządzeniu iOS Użytkownika, zostaną automatycznie powiązane z tym kontem.
Decydując się na powiązane Zainstalowanej aplikacji Apple ze swoim kontem w App Store, Użytkownik
zgadza się, że Apple może przesyłać, gromadzić, utrzymywać, przetwarzać oraz wykorzystywać
zarówno Apple ID Użytkownika wykorzystywane na koncie w App Store oraz identyfikator sprzętowy
pobrany z urządzenia iOS Użytkownika, jako niepowtarzalny identyfikator konta w celu zweryfikowania
prawa żądania i zapewnienia Użytkownikowi dostępu do Zainstalowanej aplikacji Apple przez App Store.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 178 of 452



Jeśli Użytkownik nie chce korzystać z Zainstalowanej Apple, może ją w dowolnym momencie usunąć ze
swojego urządzenia iOS.

(d) Użytkownik nie może i przyznaje, że samemu nie będzie ani też nie będzie umożliwiał innym
kopiowania (poza określonymi w tej Licencji wyjątkami) dekompilowania, stosowania odwrotnej
inżynierii, deasemblowania, tworzenia prac pochodnych z kodu źródłowego, deszyfrowania,
modyfikowania lub tworzenia prac pochodnych z Oprogramowania iOS lub wszelkich usług
udostępnianych przez Oprogramowanie iOS ani żadnej jego części składowej (poza określonymi
wyjątkami i tylko w zakresie ograniczeń dopuszczalnych przez odpowiednie prawo lub warunki licencji
dotyczące używania składników Wolnego oprogramowania, które mogą być zawarte w Oprogramowaniu
iOS).

(e) Oprogramowanie iOS może być używane do reprodukowania materiałów pod warunkiem, że to
reprodukowanie jest ograniczone do materiałów, które nie są chronione prawami autorskimi, materiałów,
do których prawa autorskie posiada ich właściciel lub materiałów, do których Użytkownik posiada
zezwolenie do legalnego reprodukowania. Tytuł i prawo własności intelektualnej do dowolnych treści
wyświetlanych lub udostępnianych przez urządzenie iOS należy do odpowiednich właściciela tych treści.
Treść taka może być chroniona prawem autorskim lub innymi przepisami prawa dotyczącymi własności
intelektualnej oraz może podlegać postanowieniom i warunkom strony trzeciej, będącej dostarczycielem
takiej treści. Z wyjątkiem przypadków określonych w niniejszym dokumencie, ta Licencja nie przyznaje
żadnych praw do używania tej treści oraz nie gwarantuje, że ta treść będzie nadal dostępna.

(f) Zgodnie z warunkami niniejszej Licencji, Użytkownik może używać znaków Animoji and Memoji
dołączonych do lub utworzonych w Oprogramowaniu iOS („Znaków systemowych”) (i) podczas
korzystania z Oprogramowania iOS oraz (ii) do tworzenia własnych materiałów i projektów,
przeznaczonych do osobistego, niekomercyjnego użytku. Jakiekolwiek inne wykorzystanie Znaków
systemowych nie jest dozwolone, włączając w to między innymi reprodukcję, przedstawianie, publiczne
wykonanie, nagrywanie, publikowanie, redystrybucję i publiczne udostępnianie dowolnego z Znaków
systemowych w komercyjnym lub niekomercyjnym kontekście.

(g) Użytkownik wyraża zgodę na korzystanie z Oprogramowania iOS i Usług (zdefiniowanych
w punkcie 5 poniżej) zgodnie z obowiązującym prawem, w tym także prawem lokalnym kraju lub
regionu, w którym się znajduje, w którym pobiera, lub w którym używa Usług i Oprogramowania iOS.
Funkcje Oprogramowania iOS i Usług mogą być niedostępne we wszystkich językach lub regionach,
niektóre funkcje mogą zależeć od regionu, a jeszcze inne mogą być ograniczone lub nie być
udostępniane przez dostawcę usług. Niektóre funkcje oprogramowania oraz usług w iOS wymagają
połączenia z siecią Wi-Fi lub dostępności transmisji danych w sieci komórkowej.

(h) Korzystanie z App Store wymaga podania unikatowej kombinacji nazwy użytkownika i hasła zwaną
Apple ID. Apple ID jest też wymagany do dostępu do uaktualnień aplikacji oraz niektórych funkcji
Oprogramowania iOS i Usług.

(i) Użytkownik akceptuje, że wiele funkcji, aplikacje wbudowane i Usługi Oprogramowania iOS przesyła
dane, co może mieć wpływ na wysokość opłat dotyczących transmisji danych, a obowiązek ponoszenia
opłat z tego tytułu ponosi Użytkownik. Użytkownik może przeglądać oraz kontrolować, które aplikacje
mogą wykorzystywać dane sieci komórkowej. Może także sprawdzać w ustawieniach transmisji danych
komórkowych szacunkową ilość transmisji danych wykorzystaną przez te aplikacje. Ponadto, Asysta Wi-
Fi automatycznie przełączy na sieć komórkową, gdy Użytkownik będzie w zasięgu sieci Wi-Fi o słabym
sygnale, co może powodować wykorzystanie większej ilości przesyłanych danych przez sieć komórkową
i wpływać na opłaty z tytułu abonamentu wykorzystania danych sieci komórkowej. Asysta Wi-Fi jest
włączona domyślnie i może być wyłączona w Ustawieniach. Więcej informacji można znaleźć
w Podręczniku użytkownika Urządzenia iOS.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 179 of 452




(j) Jeśli Użytkownik zezwoli na automatyczne uaktualnianie aplikacji, jego Urządzenie iOS będzie w
ustalonych odstępach czasu sprawdzać w Apple uaktualnienia dla aplikacji na urządzeniu Użytkownika i
o ile takie uaktualnienie będzie dostępne, pobierze je automatycznie i zainstaluje na urządzeniu
Użytkownika. Użytkownik może całkowicie wyłączyć automatyczne uaktualnianie aplikacji w dowolnym
czasie otwierając Ustawienia, stukając w iTunes Store i App Store i wyłączając Uaktualnienia pod
POBIERANIE AUTOMATYCZNE.

(k) Korzystanie z Urządzenia IOS może w pewnych okolicznościach rozpraszać Użytkownika oraz
powodować niebezpieczne sytuacje (na przykład, podczas prowadzenia pojazdu należy unikać
wysyłania SMS-ów, lub podczas jazdy na rowerze nie należy używać słuchawek). Użytkownik zgadza
się, że w czasie korzystania z Urządzenia iOS będzie odpowiedzialny za przestrzegania przepisów, które
zakazują lub ograniczają korzystanie z telefonów komórkowych (na przykład wymóg stosowania
zestawów głośnomówiących pozwalających wykonywać połączenia w czasie jazdy).

3. Przeniesienie praw.Użytkownik nie ma prawa do wypożyczania, dzierżawienia, pożyczania,
sprzedawania, redystrybucji, ani do udzielania licencji na Uaktualnienie Oprogramowania iOS. Może
natomiast dokonać jednorazowego przeniesienia wszystkich praw licencyjnych do Oprogramowania iOS
na rzecz innego podmiotu wraz z przeniesieniem prawa własności urządzenia iOS, pod następującymi
warunkami: (a) przeniesienie musi zawierać Urządzenie iOS wraz z całym Oprogramowaniem iOS, w tym
wszystkie jego składowe oraz niniejszą Licencję; (b) użytkownik nie pozostawi żadnej kopii
Oprogramowania iOS, pełnej lub częściowej, w tym kopii przechowywanej na komputerze lub innym
nośniku; oraz (c) podmiot otrzymujący Oprogramowanie iOS przeczyta i zaakceptuje warunki niniejszej
Licencji.

4. Zgoda na używanie danych. W trakcie korzystania przez Użytkownika ze swojego urządzenia, jego
numer telefonu oraz pewne unikatowe identyfikatory Urządzenia iOS Użytkownika są wysyłane do Apple
w celu umożliwienia innym nawiązania kontaktu za pomocą numeru telefonu Użytkownika oraz za
pomocą innych funkcji komunikacyjnych Oprogramowania iOS, takich jak iMessage oraz FaceTime.
 Podczas korzystania z iMessage, Apple może przechowywać wiadomości Użytkownika w postaci
zaszyfrowanej przez ograniczony okres czasu w celu zapewnienia ich realizacji. Podobnie, funkcję
FaceTime lub iMessage można wyłączyć, przechodząc do ustawień FaceTime lub Wiadomości na
urządzeniu iOS Użytkownika. Niektóre funkcje, takie jak Analizy, Usługi lokalizacji, Siri i Dyktowanie
mogą wymagać danych z urządzenia iOS Użytkownika w celu zapewnienia działania odpowiednich
funkcji. Gdy Użytkownik włączy lub będzie korzystać z tych funkcji, przedstawione zostaną szczegółowe
informacje, jakie dane są wysyłane do Apple oraz jak mogą być wykorzystywane. Więcej można się
dowiedzieć, odwiedzając stronę https://www.apple.com/privacy/. Dane Użytkownika są zawsze
traktowane zgodnie z polityką ochrony prywatności klientów firmy Apple, z którą można się zapoznać
pod adresem https://www.apple.com/legal/privacy/.

5. Usługi i materiały innych firm.
(a) Oprogramowanie iOS może umożliwiać dostęp do iTunes Store, App Store, Apple Books, Game
Center, iCloud, Map oraz innych usług firmy Apple oraz firm trzecich, a także witryn internetowych
(łącznie i oddzielnie: „Usług”). Usługi te mogą nie być dostępne we wszystkich językach lub we
wszystkich krajach. Korzystanie z tych Usług wymaga połączenia z Internetem. Dostęp i korzystanie
z niektórych Usług może wymagać własnego Apple ID, może wymagać zaakceptowania dodatkowych
warunków, a także może podlegać dodatkowym opłatom. Korzystanie z tego oprogramowania w
połączeniu z Apple ID lub inną Usługą Apple przez Użytkownika jest jednoznaczne z zaakceptowaniem
stosownych warunków świadczenia tych Usług, takich jak najnowsze warunki sprzedaży i korzystania
z Apple Media Services (Apple Media Services Terms and Conditions) dla kraju, w którym uzyskuje
dostęp do tych usług. Z tymi warunkami można zapoznać się na stronie internetowej https://
www.apple.com/legal/internet-services/itunes/.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 180 of 452




(b) W przypadku zarejestrowania się w iCloud, niektóre funkcje iCloud, takie jak „Mój strumień zdjęć”
oraz „Albumy udostępniane” mogą być dostępne bezpośrednio z Oprogramowania watchOS.
Użytkownik przyjmuje do wiadomości i wyraża zgodę, że korzystanie z usługi iCloud oraz tych funkcji
podlega warunkom korzystania z usługi iCloud, dostępnym pod adresem https://www.apple.com/legal/
internet-services/icloud/.

(c) Treści aplikacji News. Korzystanie przez Użytkownika z treści dostępnych w aplikacji News jest
ograniczone wyłącznie do osobistego, niekomercyjnego użytku, nie powoduje przeniesienia korzyści
wynikających z praw własności do tych treści na Użytkownika, i wyraźnie wyklucza, bez ograniczeń,
prawo do komercyjnego lub promocyjnego wykorzystania praw takich treści. Ponadto zabrania się
publikowania, retransmisji oraz reprodukcji wszelkich zdjęć dostępnych w aplikacji News, jako
samodzielnych plików.

(d) Mapy. Usługi i funkcje map Oprogramowania iOS Software („Mapy”), w tym zakres danych mapy,
mogą różnić się w zależności od regionu. Korzystając z wykorzystującej dane lokalizacji funkcji Mapy,
np. nawigacja krok-po-kroku, sprawdzanie ruchu samochodowego, wyszukiwanie lokalne, różne
informacje wykorzystujące lokalizację oraz dane użytkowe mogą być wysłane do Apple, w tym położenie
geograficzne urządzenia iOS Użytkownika w czasie rzeczywistym, w celu przetworzenia jego zapytania
oraz ulepszenia funkcji Mapy. Powyższe dane lokalizacji oraz dane użytkowe są gromadzone przez
Apple w postaci, która nie pozwala zidentyfikować Użytkownika. Korzystanie z funkcji Mapy oznacza
wyrażenie przez Użytkownika zgody na przesyłanie, gromadzenie, przechowywanie,
przetwarzanie i używanie tych informacji przez Apple, firmy zależne oraz przedstawicieli, w celu
dostarczania oraz ulepszania funkcji i usługi Mapy, a także innych produktów i usług Apple. Apple
może dostarczać takie informacje w postaci zagregowanej albo w formie, która nie pozwala na
identyfikację osoby, swoim partnerom biznesowym oraz licencjobiorcom w celu udoskonalania
produktów i usług wykorzystujących lokalizację. Użytkownik może wyłączyć funkcję wykorzystującą
lokalizację, Mapy, przechodząc do ustawień usług lokalizacji na Urządzeniu iOS i wyłączając przełącznik
Mapy. Niektóre funkcje usługi Mapy mogą być niedostępne, np. nawigacja krok-po-kroku, jeśli
Użytkownik wyłączy Usługi lokalizacji.

(e) Użytkownik przyjmuje do wiadomości, że podczas używania jakiejkolwiek Usługi może napotkać
zawartość, która może być uznana przez niego za obraźliwą, niestosowną lub niepożądaną, a jej język
za niedwuznaczny, oraz że wyniki szukania lub wprowadzenia określonego adresu URL mogą
automatycznie i nieumyślnie wygenerować odwołania lub referencje do niewłaściwych materiałów.
Pomimo to, Użytkownik zgadza się korzystać z Usługi na swoje wyłączne ryzyko, a firma Apple, filie
Apple, przedstawicielstwa, zleceniodawcy lub licencjodawcy nie będą ponosić żadnej odpowiedzialności
przed Użytkownikiem za zawartość, która może być obraźliwa, niestosowna lub niepożądana.

(f) Pewne Usługi mogą wyświetlać, zawierać lub udostępniać treści, dane, informacje, aplikacje lub
materiały firm trzecich („Materiały firm trzecich”) lub udostępniać połączenia do pewnych witryn firm
trzecich. Korzystając z tych Usług, Użytkownik potwierdza i zgadza się, że Apple nie odpowiada za
sprawdzenie i ocenę zawartości lub dokładności, kompletności, aktualności, ważności, zgodności
z prawami autorskimi, zgodności z prawem powszechnym, przyzwoitości, jakości lub wszelkich innych
aspektów Materiałów firm trzecich. Apple, zatrudnieni przez Apple urzędnicy, strony współpracujące
oraz filie nie gwarantują, nie popierają, ani nie zakładają ponoszenia jakichkolwiek zobowiązań lub
odpowiedzialności za Usługi, Materiały lub witryny firm trzecich, ani też za inne materiały, produkty lub
usługi firm trzecich. Materiały lub połączenia do witryn WWW firm trzecich są dostarczane wyłącznie
z uwagi na wygodę Użytkownika.

(g) Zarówno Apple, ani też jakikolwiek dostawca treści nie gwarantują dostępności, dokładności,
kompletności, rzetelności i aktualności informacji giełdowych, danych lokalizacji lub innych danych,
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 181 of 452



wyświetlanych przez Usługi. Informacje finansowe prezentowane przez jakąkolwiek Usługę są
przeznaczone wyłącznie w ogólnych celach informacyjnych i nie mogą być w żaden sposób traktowane
jako zalecenia dla inwestorów. Przed wykonaniem jakiejkolwiek transakcji w oparciu o informacje
uzyskane poprzez Usługi, Użytkownik powinien skonsultować się z doradcą finansowym, który jest
prawnie upoważniony do udzielania rad dotyczących finansów i obrotu papierami wartościowymi
w danym kraju lub regionie. Dane o lokalizacji dostarczone przez dowolne Usługi, w tym usługi Mapy
Apple, są przeznaczone jedynie do celów podstawowej nawigacji i tylko celów planowania, i nie można
na nich polegać w sytuacji, gdy są potrzebne dokładne informacje o lokalizacji lub w przypadku, gdy
błędne, niedokładne lub niepełne dane o położeniu mogą doprowadzić do śmierci lub urazu osoby albo
uszkodzenia nieruchomości lub środowiska. Użytkownik akceptuje, że wyniki jakie uzyska z usługi Mapy,
mogą się różnić od rzeczywistych warunków drogowych lub terenowych z przyczyn, które mogą
oddziaływać na dokładność danych usługi Mapy, w tym, ale nie tylko, pogodowych, warunków
drogowych lub wydarzeń geopolitycznych. Ze względu na bezpieczeństwo, podczas korzystania
z nawigacji, należy zawsze zwracać uwagę na znaki drogowe oraz bieżące warunki drogowe. Należy
postępować zgodnie z zasadami bezpiecznego kierowania pojazdem oraz przepisami o ruchu
drogowym, a także zwracać uwagę na kierunki marszu, które nie muszą pokrywać się z chodnikami oraz
ścieżkami dla pieszych.

(h) W związku z tym, że korzystając z tych usług Użytkownik może umieszczać dowolne materiały,
Użytkownik oświadcza, że posiada wszelkie prawa lub posiada zgodę lub w inny sposób ma prawną
zgodę do umieszczania tych materiałów, oraz że te materiały nie naruszają w żaden sposób warunków
korzystania z usług oraz postanowień stosownych do tych Usług. Użytkownik przyjmuje do wiadomości,
że Usługi zawierają prawnie chronioną zawartość, informacje i materiały należące do firmy Apple,
właścicieli witryny lub jej licencjobiorców, chronione między innymi przez odpowiednie prawa dotyczące
własności intelektualnej, w tym także przez prawo autorskie. Użytkownik zgadza się, że nie będzie
wykorzystywał tych zastrzeżonych treści, danych lub materiałów w jakikolwiek inny sposób oprócz tego,
który jest dozwolony przez Usługi lub w inny sposób, który jest niezgodny z warunkami i ograniczeniami
tej Licencji, lub naruszający prawa własności intelektualnej firm trzecich lub Apple. Żadna część Usług
nie może być reprodukowana w jakiejkolwiek formie ani w jakikolwiek sposób. Użytkownik wyraża zgodę
na to, że nie będzie tworzył, modyfikował, wypożyczał, wynajmował, dzierżawił, sprzedawał ani
rozpowszechniał dzieł pochodnych w oparciu o Usługi, ani nie będzie wykorzystywał Usług w jakikolwiek
nieautoryzowany sposób, włączając w to m.in. przesyłanie za ich pośrednictwem wirusów, robaków,
koni trojańskich lub innego złośliwego oprogramowania oraz naruszanie lub obciążanie sieci. Użytkownik
zgadza się nie korzystać z Usług w żaden sposób powodujący niepokojenie, znieważanie, śledzenie,
grożenie, zniesławianie lub w inny sposób naruszanie lub łamanie praw innych użytkowników lub stron.
Firma Apple nie będzie w żaden sposób odpowiedzialna za wszelkie takie działania użytkownika, ani
z tytułu niepokojenia, grożenia, oszczerstw, obraźliwych lub nielegalnych wiadomości lub przekazów,
jakie użytkownik może otrzymać w wyniku korzystania z Usług.

(i) Dodatkowo, usługi oraz materiały innych firm, które mogą być dostępne z Urządzenia iOS poprzez te
usługi, do której mogą się one odwoływać, lub mogą być wyświetlane na ekranie Urządzenia iOS, nie są
dostępne we wszystkich językach lub regionach. Apple nie gwarantuje, że te Usługi oraz Materiały firm
trzecich są odpowiednie lub dostępne dla użytkowników do użycia w danym miejscu. W zakresie
wybranym przez Użytkownika możliwości użycia lub dostępu do takich usług oraz materiałów firm
trzecich, Użytkownik robi to ze swojej własnej inicjatywy i odpowiada za to zgodnie z odpowiednimi
przepisami prawnymi, w tym, ale nie tylko, z prawem lokalnym oraz praw o ochronie prywatności
i gromadzeniu danych. Udostępnianie lub synchronizowanie zdjęć przez Urządzenie iOS Użytkownika
może spowodować przesłanie wraz ze zdjęciami metadanych, w tym danych o tym gdzie i kiedy zdjęcie
zostało zrobione oraz głębia ostrości zdjęcia. Korzystanie z usług Apple (takich jak Biblioteka zdjęć
iCloud) do udostępniania lub synchronizowania takich zdjęć będzie angażowało firmę Apple w proces
odbierania i przechowywania takich metadanych. Apple i jego licencjodawcy zastrzegają sobie prawo do
zmiany, zawieszenia, usunięcia lub wyłączenia dostępu do Usług w dowolnym momencie bez
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 182 of 452



powiadomienia. W żadnym wypadku firma Apple nie będzie odpowiedzialna za usunięcie lub wyłączenie
dostępu do jakichkolwiek usług. Apple może też wprowadzić ograniczenia w korzystaniu lub w dostępie
do niektórych usług, w dowolnym momencie bez powiadomienia i bez ponoszenia odpowiedzialności.

6. Wygaśnięcie licencji.Niniejsza Licencja obowiązuje do czasu jej wygaśnięcia. Prawa Użytkownika
automatycznie wygasają lub przestają obowiązywać bez osobnego powiadomienia ze strony Apple,
jeżeli Użytkownik nie zastosuje się do dowolnego punktu niniejszej Licencji. Po wygaśnięciu niniejszej
Licencji użytkownik powinien całkowicie zaprzestać używania Oprogramowania iOS. Wygaśnięcie to nie
dotyczy punktów 4, 5, 6, 7, 8, 9, 12 i 13.

7. Ograniczenia rękojmi.
7.1 Jeśli Użytkownik jest klientem, który jest konsumentem (korzysta z Oprogramowania iOS poza
własną branżą, firmą lub bez związku z wykonywanym przez Użytkownika zawodem), może mieć w
kraju, w którym mieszka, prawa do wyłączenia stosowania poniższych ograniczeń względem niego. Aby
dowiedzieć się więcej na temat praw Użytkownika, należy się skontaktować z lokalną organizacją
konsumencką.

7.2 UŻYTKOWNIK WYRAŹNIE PRZYZNAJE I WYRAŻA ZGODĘ, ŻE W ZAKRESIE DOPUSZCZALNYM
PRZEZ STOSOWNE PRAWO, UŻYWA OPROGRAMOWANIA I DOWOLNYCH USŁUG PEŁNIONYCH
PRZEZ OPROGRAMOWANIE iOS LUB DOSTĘPNYCH PRZEZ OPROGRAMOWANIE iOS, NA SWOJE
WYŁĄCZNE RYZYKO, A TAKŻE BIERZE NA SIEBIE RYZYKO ZWIĄZANE Z JAKOŚCIĄ, WYDAJNOŚCIĄ,
DOKŁADNOŚCIĄ I OSIĄGNIĘCIAMI.

7.3 W MAKSYMALNYM ZAKRESIE DOPUSZCZALNYM PRZEZ STOSOWNE PRZEPISY PRAWNE,
OPROGRAMOWANIE iOS I JAKIEKOLWIEK USŁUGI SĄ DOSTARCZANE „TAKIE JAKIE SĄ” ORAZ
„JAKO DOSTĘPNE”, ZE WSZYSTKIMI WADAMI I BEZ JAKIEJKOLWIEK GWARANCJI, A APPLE
I PODMIOTY, KTÓRE UDZIELIŁY LICENCJI FIRMIE APPLE (ZWANE DALEJ JAKO „APPLE” DLA
POTRZEB ROZDZIAŁÓW 7 i 8), ODRZUCAJĄ WSZYSTKIE GWARANCJE W ODNIESIENIU DO
OPROGRAMOWANIA iOS I USŁUG, ZARÓWNO WYRAŻONE WPROST, DOMNIEMANE LUB
USTAWOWE, W TYM, MIĘDZY INNYMI, DOMNIEMANE GWARANCJE I/LUB WARUNKI HANDLOWE,
SATYSFAKCJONUJĄCEJ JAKOŚCI I PRZYDATNOŚCI DO OKREŚLONEGO CELU, DOKŁADNOŚCI,
UŻYTKOWANIA ORAZ NIENARUSZANIA PRAW FIRM TRZECICH.

7.4 APPLE NIE GWARANTUJE, ŻE UŻYTKOWNIK BĘDZIE ZADOWOLONY Z OPROGRAMOWANIA
iOS ORAZ, ŻE FUNKCJE ZAWARTE W OPROGRAMOWANIU iOS, USŁUGI WYKONYWANE LUB
DOSTARCZANE PRZEZ IOS, SPEŁNIĄ WYMAGANIA UŻYTKOWNIKA, ŻE DZIAŁANIE
OPROGRAMOWANIA iOS LUB USŁUG BĘDĄ NIEPRZERWANE LUB WOLNE OD BŁĘDÓW ORAZ, ŻE
WADY OPROGRAMOWANIA iOS LUB USŁUG BĘDĄ USUNIĘTE, A TAKŻE OPROGRAMOWANIE iOS
BĘDZIE ZGODNE LUB BĘDZIE WSPÓŁDZIAŁAŁO Z KAŻDYM OPROGRAMOWANIEM, APLIKACJĄ LUB
USŁUGĄ FIRM TRZECICH. ZAINSTALOWANIE OPROGRAMOWANIA iOS MOŻE MIEĆ WPŁYW NA
DOSTĘPNOŚĆ ORAZ UŻYTECZNOŚĆ OPROGRAMOWANIA LUB USŁUG FIRM TRZECICH, A TAKŻE
PRODUKTÓW I USŁUG APPLE.

7.5 UŻYTKOWNIK AKCEPTUJE, ŻE OPROGRAMOWANIE iOS ORAZ USŁUGI NIE SĄ
PRZEZNACZONE DO UŻYCIA W SYTUACJACH LUB ŚRODOWISKU, GDZIE AWARIE, OPÓŹNIENIA
CZASOWE, BŁĘDY LUB NIEDOKŁADNOŚCI W TREŚCI, DANYCH LUB INFORMACJI
DOSTARCZANYCH PRZEZ OPROGRAMOWANIE iOS LUB USŁUGI MOGŁYBY DOPROWADZIĆ DO
ZGONU, URAZU LUB POWAŻNYCH ZNISZCZEŃ ŚRODKÓW TRWAŁYCH LUB ŚRODOWISKA, W TYM
BEZ OGRANICZEŃ DO UŻYCIA W URZĄDZENIACH JĄDROWYCH, URZĄDZENIACH NAWIGACJI
LOTNICZEJ LUB SYSTEMACH KOMUNIKACJI, W SYSTEMACH KONTROLI RUCHU POWIETRZNEGO,
W MASZYNACH PODTRZYMUJĄCYCH ŻYCIE LUB SYSTEMACH OBRONNYCH.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 183 of 452



7.6 ŻADNA USTNA LUB PISEMNA INFORMACJA UDZIELONA PRZEZ APPLE LUB
AUTORYZOWANEGO PRZEDSTAWICIELA APPLE NIE STANOWI RĘKOJMI. W PRZYPADKU
UDOWODNIENIA WADY OPROGRAMOWANIA iOS LUB USŁUG UŻYTKOWNIK PONIESIE WSZYSTKIE
KOSZTY ZWIĄZANE Z SERWISEM, NAPRAWĄ LUB POPRAWĄ. NIEKTÓRE KRAJE NIE ZEZWALAJĄ
NA WYŁĄCZENIE RĘKOJMI LUB OGRANICZENIA W ZAKRESIE STOSOWANIA USTAWOWYCH PRAW
KONSUMENTA, DLATEGO TEŻ POWYŻSZE WYŁĄCZENIA MOGĄ NIE MIEĆ ZASTOSOWANIA.

8. Ograniczenie odpowiedzialności. W ZAKRESIE DOPUSZCZONYM PRZEZ PRAWO, APPLE, JEJ
PODMIOTY STOWARZYSZONE, AGENCI LUB ZLECENIODAWCY, W ŻADNYM WYPADKU NIE
PONOSZĄ ODPOWIEDZIALNOŚCI ZA OSOBISTE URAZY ANI ZA JAKIEKOLWIEK PRZYPADKOWE,
SPECJALNE, POŚREDNIE LUB WYNIKOWE SZKODY, W TYM, BEZ OGRANICZEŃ, ZA STRATY
SPOWODOWANE UTRATĄ ZYSKÓW, USZKODZENIEM LUB UTRATĄ DANYCH, ZAKŁÓCENIEM
PRZESYŁANIA LUB ODEBRANIA DANYCH (W TYM BEZ OGRANICZEŃ INSTRUKCJI, ZADAŃ ORAZ
WSZELKICH MATERIAŁÓW), DZIAŁALNOŚCI FIRMY LUB INNE STRATY HANDLOWE, A TAKŻE ZA
STRATY POWSTAŁE W WYNIKU LUB ZWIĄZANE UŻYWANIEM Z BRAKIEM MOŻLIWOŚCI UŻYWANIA
OPROGRAMOWANIA iOS ORAZ USŁUG, LUB OPROGRAMOWANIA, APLIKACJI FIRM TRZECICH
W POŁĄCZENIU Z OPROGRAMOWANIEM iOS LUB USŁUGAMI, NIEZALEŻNIE OD TEGO, KIEDY
POWSTAŁY I BEZ WZGLĘDU NA TEORIĘ ODPOWIEDZIALNOŚCI (KONTRAKT, SZKODA CYWILNA LUB
INNE), NAWET W PRZYPADKU POINFORMOWANIA APPLE O MOŻLIWOŚCI TAKICH SZKÓD.
NIEKTÓRE KRAJE NIE ZEZWALAJĄ NA WYKLUCZENIE LUB OGRANICZENIE ODPOWIEDZIALNOŚCI
ZA PONIESIONE OBRAŻENIA CIAŁA LUB ZA SZKODY PRZYPADKOWE BĄDŹ WYNIKOWE, WOBEC
KTÓRYCH POWYŻSZE OGRANICZENIA MOGĄ NIE MIEĆ ZASTOSOWANIA. W żadnym wypadku
łączna odpowiedzialność Apple za wszystkie uszkodzenia (inne niż wymagane przez stosowne przepisy
prawne w przypadkach, w których doszło do urazów osób) nie przekroczy kwoty pięćdziesięciu dolarów
(250,00 USD). Powyższe ograniczenia będą miały zastosowanie nawet wtedy, gdy wyżej wymienione
zadośćuczynienie straci swoją celowość.

9. Certyfikaty cyfrowe.Oprogramowanie iOS zawiera możliwości, które pozwalają na akceptację
certyfikatów cyfrowych, zarówno wydawanych przez Apple, jak też przez firmy trzecie.
UŻYTKOWNIK PONOSI CAŁKOWITĄ ODPOWIEDZIALNOŚĆ ZA DECYZJĘ, CZY CHCE POLEGAĆ NA
CERTYFIKATACH WYDANYCH PRZEZ APPLE LUB FIRMY TRZECIE. UŻYTKOWNIK UŻYWA
CERTYFIKATÓW CYFROWYCH NA SWOJE WYŁĄCZNE RYZYKO. W MAKSYMALNYM STOPNIU
DOPUSZCZONYM PRZEZ OBOWIĄZUJĄCE PRAWO, APPLE NIE UDZIELA RĘKOJMI, ANI
GWARANCJI, NIEZALEŻNIE CZY SĄ ONE WYRAŹNIE OKREŚLONE, CZY DOMNIEMANE, ODNOŚNIE
ZASTOSOWANIA I PRZYDATNOŚCI DO OKREŚLONEGO CELU, DOKŁADNOŚCI, BEZPIECZEŃSTWA,
A TAKŻE NIENARUSZALNOŚCI PRAW STRONY TRZECIEJ ODNOŚNIE CERTYFIKATÓW
CYFROWYCH.

10. Kontrola eksportu. Użytkownik nie może używać, lub w inny sposób eksportować lub
reeksportować Oprogramowania iOS z wyjątkiem przypadków określonych przez prawo Stanów
Zjednoczonych i prawo kraju, na terenie którego Oprogramowanie iOS zostało zakupione. W
szczególności, ale bez ograniczeń, Oprogramowanie iOS nie może być eksportowane lub
reeksportowane (a) do jakiegokolwiek kraju objętego przez USA embargiem bądź (b) do kogokolwiek,
kto znajduje się na liście Specially Designated Nationals Departamentu Skarbu USA lub na liście U.S.
Department of Commerce Denied Person’s List lub Entity List, ani na żadnej liście podmiotów objętych
restrykcjami Używając Oprogramowania iOS, użytkownik gwarantuje, że nie znajduje się na terenie
takiego kraju lub na terenie kontrolowanym przez ten kraj ani na żadnej z wyżej wymienionych list.
Użytkownik zobowiązuje się też, że nie użyje Oprogramowania iOS do żadnego z celów zabronionych
przez prawo USA, w tym między innymi do projektowania, wytwarzania bądź produkcji broni jądrowej,
broni rakietowej, broni chemicznej lub biologicznej.

11. Użytkownicy rządowi. Oprogramowanie iOS i związana z nim dokumentacja są „Towarami
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 184 of 452



Handlowymi”, w znaczeniu zdefiniowanym w 48 C.F.R. §2.101, obejmującym „Handlowe
Oprogramowanie Komputerowe” (ang. Commercial Computer Software) oraz „Dokumentację
Handlowego Oprogramowania Komputerowego” (ang. Commercial Computer Software Documentation),
w znaczeniu używanym odpowiednio w 48 C.F.R. §12.212 lub 48 C.F.R. §227.7202. Zgodnie
z odpowiednimi przepisami 48 Tytułu Kodeksu Przepisów Federalnych (C.F.R.) §12.212 lub 48 Tytułu
Kodeksu Przepisów Federalnych (C.F.R.) §227.7202-1 do 227.7202-4, Handlowe Oprogramowanie
Komputerowe oraz Dokumentacja Handlowego Oprogramowania Komputerowego są licencjonowane
dla użytkowników rządowych w USA (a) tylko jako Towary Handlowe i (b) tylko z prawami
gwarantowanymi dla wszystkich innych użytkowników zgodnie z warunkami niniejszej licencji.
Zastrzeżone są niepublikowane prawa zgodnie z ustawą o ochronie praw autorskich obowiązującą
w USA.

12. Prawo nadrzędne i odrębność. Niniejsza Licencja skonstruowana została zgodnie z prawem stanu
Kalifornia i jest od niego zależna, z wyłączeniem norm kolizyjnych. Niniejsza Licencja nie będzie
podlegała konwencji ONZ w sprawie kontraktów na międzynarodową sprzedaż towarów (ang. United
Nations Convention on Contracts for the International Sale of Goods), której zastosowanie jest wyraźnie
wyłączone. W przypadku konsumentów z Wielkiej Brytanii, niniejsza Licencja podlega prawom lokalnym
zgodnym z miejscem zamieszkania Użytkownika. Jeżeli z jakichkolwiek przyczyn sąd kompetentnej
jurysdykcji stwierdzi, że dowolna klauzula niniejszej Licencji, bądź jakakolwiek jej część jest niemożliwa
do wyegzekwowania, wówczas nadal będzie obowiązywała pozostała część niniejszej licencji.

13. Kompletność porozumienia; nadrzędny język. Niniejsza Licencja zawiera kompletną umowę
pomiędzy Użytkownikiem a Apple, odnoszącą się do Oprogramowania iOS i zastępuje ona wszelkie
poprzednie lub obecne porozumienia dotyczące tej kwestii. Żadne poprawki ani modyfikacje niniejszej
Licencji nie będą wiążące, o ile nie zostaną sporządzone na piśmie i podpisane przez Apple. Przekład
niniejszej Licencji wykonany został na potrzeby lokalne. W przypadku niezgodności pomiędzy wersją
angielską a wersją lokalną, decydujące jest brzmienie wersji angielskiej niniejszej licencji w zakresie nie
przekraczającym obowiązującego prawa lokalnego.

14. Podziękowania dla firm trzecich. Elementy Oprogramowania iOS mogą wykorzystywać lub
zawierać oprogramowanie firm trzecich i inne materiały chronione prawami autorskimi. Podziękowania,
warunki licencji oraz zrzeczenia się dla takich materiałów są zawarte w dokumentacji elektronicznej
Oprogramowania iOS, a użytkownik używa tych materiałów zgodnie z odpowiednimi warunkami.
Korzystanie z usługi Google Safe Browsing Service podlega Warunkom korzystania z Usług firmy Google
(https://www.google.com/intl/en/policies/terms/)) oraz Zasadom zachowania prywatności (https://
www.google.com/intl/en/policies/privacy/).

15. Korzystanie z MPEG-4; uwagi dotyczące H.264/AVC.
(a) Oprogramowanie iOS jest licencjonowane na podstawie licencji MPEG-4 Systems Patent Portfolio do
kodowania informacji zgodnie ze standardem MPEG-4, z wyjątkiem przypadków, w których dla
kodowania wymagane są dodatkowe licencje i opłaty za honoraria autorskie związane z (i) danymi
przechowywanymi lub powielanymi na fizycznym nośniku, dla których obowiązują opłaty za tytuł na
podstawie prawa własności do tytułu i/lub (ii) danych, dla których obowiązują opłaty za tytuł na
podstawie prawa własności do tytułu i które są przenoszone na użytkownika końcowego w celu stałego
przechowywania lub użytku. Dodatkowe licencje można uzyskać w MPEG LA, LLC. Więcej informacji
można znaleźć na stronie http://www.mpegla.com.

(b) Oprogramowanie iOS zawiera funkcje kodowania oraz/lub dekodowania wideo MPEG-4. To
Oprogramowanie iOS posiada licencję MPEG-4 Visual Patent Portfolio License w zakresie osobistego i
niekomercyjnego używania przez konsumenta (i) kodowania wideo zgodnego z MPEG-4 Visual Standard
(„Wideo MPEG-4”) i/lub (ii) dekodowania wideo MPEG-4, które było zakodowanie przez konsumenta
zaangażowanego w osobistą i niekomercyjną działalność i/lub zostało uzyskane od dostawcy wideo
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 185 of 452



posiadającego licencję MPEG LA na dostarczanie Wideo MPEG-4. Żadna licencja nie jest przyznana, ani
też nie może być domniemana do jakiegokolwiek innego użycia. Dodatkowe informacje dotyczące
między innymi zastosowań promocyjnych, wewnętrznych i handlowych oraz licencjonowania mogą być
uzyskane w MPEG LA, LLC. Zobacz: http://www.mpegla.com.

(c) Oprogramowanie iOS zawiera funkcje kodowania oraz/lub dekodowania AVC. Komercyjne
wykorzystanie H.264/AVC wymaga dodatkowej licencji oraz mają zastosowanie następujące
postanowienia: FUNKCJONALNOŚĆ AVC ZAWARTA W OPROGRAMOWANIU iOS MOŻE BYĆ
WYKORZYSTYWANA WYŁĄCZNIE W CELACH PRYWATNYCH I NIEKOMERCYJNYCH DO (i)
KODOWANIA WIDEO ZGODNIE ZE STANDARDEM AVC („AVC VIDEO”) I/LUB (ii) DEKODOWANIA AVC
WIDEO, KTÓRE BYŁO ZAKODOWANE PRZEZ KONSUMENTA W WYNIKU PRYWATNEJ
I NIEHANDLOWEJ DZIAŁALNOŚCI I/LUB ZOSTAŁO UZYSKANE OD DOSTAWCY WIDEO Z LICENCJĄ
NA DOSTARCZANIE AVC VIDEO. INFORMACJE NA TEMAT INNEGO WYKORZYSTYWANIA I LICENCJI
MOŻNA UZYSKAĆ W MPEG LA L.L. ZOBACZ: http://www.mpegla.com.

16. Ograniczenia usługi wyszukiwania Yahoo. Usługa wyszukiwania Yahoo dostępna w Safari jest
licencjonowana użytkownikom tylko w następujących krajach i regionach: Argentyna, Aruba, Australia,
Austria, Bahamy, Barbados, Belgia, Bermudy, Brazylia, Bułgaria, Chile, Chiny kontynentalne, Hongkong,
Tajwan, Kolumbia, Cypr, Republika Czeska, Dania, Republika Dominikany, Ekwador, Filipiny, Finlandia,
Francja, Grecja, Grenada, Gwatemala, Holandia, Hongkong, Islandia, Indie, Indonezja, Irlandia, Jamajka,
Japonia, Kanada, Kajmany, Korea Południowa, Litwa, Luksemburg, Łotwa, Malezja, Malta, Meksyk,
Niemcy, Nowa Zelandia, Nikaragua, Norwegia, Panama, Peru, Polska, Portugalia, Portoryko, Rumunia,
Salwador, Singapur, Słowacja, Słowenia, Hiszpania, St. Lucia, St. Vincent, Szwecja, Szwajcaria,
Tajlandia, Tajwan, Trynidad i Tobago, Turcja, Urugwaj, USA, Węgry, Wielka Brytania, Włochy oraz
Wenezuela.

17. Zastrzeżenie Microsoft Exchange. Licencja funkcji Microsoft Exchange w Oprogramowaniu iOS
obejmuje tylko i wyłącznie wykorzystanie jej do bezprzewodowej synchronizacji informacji (takiej jak
wiadomości email, kontakty, kalendarz i zadania) pomiędzy iOS i serwerem Microsoft Exchange lub
innym serwerem, licencjonowanym przez Microsoft w celu użycia protokołu Microsoft Exchange
ActiveSync.

EA1566
21.02.2019

————————————
Warunki uzupełniające korzystania z Apple Pay

Niniejsze Warunki uzupełniające korzystania z Apple Pay (Warunki uzupełniające) uzupełniają Umowę
licencyjną na Oprogramowanie iOS (Licencję). Warunki zawarte w obu dokumentach – Licencji
i Warunkach uzupełniających – określają zasady korzystania przez Użytkownika z funkcji Apple Pay,
która zostanie uznana za Usługę podlegającą warunkom tej Licencji. Warunki pisane wielkimi literami
w niniejszych Warunkach uzupełniających są użyte w znaczeniu określonym w Licencji.

1.   Przegląd i zastosowane ograniczenia

Apple Pay umożliwia Użytkownikowi:

       •     przechowywanie wirtualnych reprezentacji kart kredytowych, debetowych i przedpłaconych,
             w tym przechowywanie kart kredytowych, debetowych, przedpłaconych oraz kart Apple Pay
             Cash, które są obsługiwane przez funkcję Apple Pay (Obsługiwane karty płatnicze)
             i używanie obsługiwanych urządzeń iOS do dokonywania płatności bezdotykowych
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 186 of 452



            w wybranych lokalizacjach, w aplikacjach lub w witrynach;
        •   Apple Pay umożliwia również korzystanie z kart nagród oraz kart podarunkowych, które
            zostały zachowane w aplikacji Wallet (Aktywne w Apple Pay karty lojalnościowe wraz
            z Obsługiwanymi kartami płatniczymi, dalej łącznie określanymi jako „Obsługiwane karty”)
            do dokonywania transakcji bezdotykowych za pomocą kart nagród oraz kart
            podarunkowych w wybranych sklepach, czyli bezdotykowych płatności za pomocą Apple
            Pay; oraz
        •   wysyłania płatności między osobami do innych użytkowników Apple Pay.

Funkcje Apple Pay w Oprogramowaniu iOS mogą być dostępne tylko w wybranych regionach, dla
wybranych emitentów kart, instytucji finansowych oraz w sklepach. Funkcje te mogą różnić się zależnie
od regionu, emitenta i sklepu.

Aby korzystać z funkcji Apple Pay, Użytkownik musi posiadać Obsługiwaną kartę. Zestaw
Obsługiwanych kart może z czasem ulegać zmianie. Ponadto, w celu wysyłania lub odbierania płatności
między osobami, Użytkownik musi posiadać kartę Apple Pay Cash.

Obsługiwane Karty płatnicze oraz płatności między osobami są powiązane z identyfikatorem Apple ID,
którego Użytkownik używa do logowania się w iCloud w celu korzystania z tych funkcji. Obsługiwane
karty są dostępne tylko dla osób w wieku 13 lat lub starszych i mogą podlegać dodatkowym
ograniczeniom wynikającym z wieku, mogą być narzucone przez iCloud lub przez Obsługiwaną kartę,
którą Użytkownik próbuje dołączyć. Karta Apple Pay Cash oraz możliwość wysyłania i odbierania
płatności między osobami są dostępne tylko dla osób w wieku 18 lat lub starszych.

Apple Pay jest przeznaczone do użytku prywatnego i Użytkownik może dołączać tylko własne
Obsługiwane karty płatnicze. W przypadku dołączenia obsługiwanej firmowej karty płatniczej,
Użytkownik potwierdza tym samym, że jest do tego uprawniony przez pracodawcę oraz jest również
upoważniony do zobowiązania pracodawcy do przestrzegania niniejszych warunków użycia oraz
akceptacji wszystkich transakcji, na które wpływ miało użycie tej funkcji. Jeśli Użytkownik wysyła lub
odbiera płatność między osobami, oświadcza, że dokonuje tego do celów prywatnych,
niekomercyjnych.

Użytkownik potwierdza, że nie będzie używał Apple Pay w celach niezgodnych z prawem, ani w celu
popełniania oszustw lub do innych celów, które są zabronione przez tę Licencję oraz niniejsze Warunki
dodatkowe. Użytkownik zgadza się używać Apple Pay zgodnie z obowiązującymi przepisami
ustawowymi i wykonawczymi. Użytkownik zobowiązuje się, że nie będzie zakłócał ani uniemożliwiał
działania usługi Apple Pay (między innymi, nie będzie uniemożliwiał dostępu do usługi za pomocą
środków automatycznych), oraz nie będzie niszczył serwerów lub sieci związanych z usługą oraz nie
będzie naruszał polityki, wymagań i przepisów sieci związanej z usługą (dotyczy to między innymi
nieautoryzowanego dostępu lub wykorzystywania i monitorowania danych lub komunikacji).

2.   Relacje Apple z Użytkownikiem

Apple Pay umożliwia Użytkownikowi tworzyć wirtualne reprezentacje Obsługiwanych kart na
obsługiwanym urządzeniu iOS. Niemniej jednak Apple nie przetwarza płatności ani żadnych transakcji
kartami niepłatniczymi (takimi jak naliczanie nagród lub realizację nagród), nie otrzymuje, nie
przetrzymuje, nie przekazuje, ani nie ma żadnej kontroli nad płatnościami, zwrotami, refundacjami,
nagrodami, przeliczaniem walut lub rabatami lub innymi działaniami handlowymi, jakie mogą wyniknąć
podczas korzystania z tej funkcji.

Warunki umów zawartych przez posiadacza kart płatniczych z emitentem tych kart, będą nadal
obowiązywały w zakresie użycia Obsługiwanych kart Użytkownika oraz w zakresie ich użycia
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 187 of 452



w połączeniu z Apple Pay. Podobnie, udział Użytkownika w programach lojalnościowych lub programach
z kartami nagród oraz korzystanie z Obsługiwanych przez Apple Pay kartami w połączeniu z Apple Pay
będzie podlegać warunkom i ograniczeniom ustalonym ze sprzedawcą.

Karta Apple Pay Cash oraz możliwość wysyłania i odbierania płatności między osobami są dostępne
tylko w Stanach Zjednoczonych i jest usługą realizowaną przez Green Dot Bank, członka Federalnej
Korporacji Ubezpieczeń Depozytów (FDIC). W trakcie włączania tych funkcji Użytkownik otwiera konto
w Green Dot Bank. Gdy Użytkownik wysyła lub odbiera płatności między osobami, wpłaca lub wypłaca
pieniądze ze swoje karty Apple Pay Cash, Green Dot Bank jest odpowiedzialny za odebranie i wysłanie
pieniędzy do zamierzonego odbiorcy. Instytucja finansowa odpowiedzialna za oferowanie karty Apple
Pay Cash oraz realizowanie płatności między osobami w ramach Apple Pay może ulec zmianie,
a korzystanie przez Użytkownika z tych możliwości będą regulowane przez jej warunki świadczenia
usług.

Licencja i niniejsze Warunki dodatkowe nie zawierają niczego, co modyfikowałoby warunki umowy
zawartej przez posiadacza karty, użytkownika ze sprzedawcą. Te warunki nadal będą obowiązywały w
zakresie użycia Obsługiwanej karty lub płatności między osobami oraz ich wirtualnej reprezentacji
w urządzeniu iOS Użytkownika. Użytkownik akceptuje, że Apple nie jest stroną umów zawartych przez
posiadacza kart płatniczych lub sprzedawcę, oraz Apple nie odpowiada za: (a) zawartość, dokładność
i możliwość użycia kart płatniczych, kart nagród, kart podarunkowych, prowadzenia działalności
handlowej, dokonywania transakcji lub zakupów przy wykorzystaniu funkcji Apple Pay; (b) uznanie
kredytu lub oceny możliwości przyznania kredytu; (c) naliczanie, realizowanie nagród lub przedpłaconych
wartości w programach lojalnościowych sprzedawców; ani (d) finansowanie lub ponowne zasilanie kart
przedpłaconych; (e) wysyłanie lub odbieranie płatności między osobami; lub (f) wpłacanie, realizowanie
płatności lub wypłacanie pieniędzy z karty Użytkownika.

We wszystkich sporach lub pytaniach dotyczących kart płatniczych, kart nagród, kart podarunkowych,
lub związanych z działalnością handlową Użytkownik powinien kontaktować się z wydawcą karty lub
sprzedawcą. W przypadku pytań dotyczących kart Apple Pay Cash lub płatności między osobami,
prosimy kontaktować się z działem Wsparcia Apple.

3.   Prywatność

W celu zaoferowania pełnej usługi funkcja Apple Pay wymaga pewnych danych z urządzenia iOS
Użytkownika Ponadto, gdy Użytkownik korzysta ze swojej karty Apple Pay Cash, bądź wysyła lub
odbiera płatności między osobami, wówczas w celu obsłużenia konta oraz ze względów regulacyjnych
oraz w celu zapobieżenia oszustwom gromadzone są dodatkowe informacje. Więcej informacji na temat
danych gromadzonych, używanych lub udostępnianych w ramach korzystania z funkcji Apple Pay, karty
Apple Pay Cash lub płatności między osobami, można znaleźć w dokumencie „Bezpieczeństwo i
poufność danych w usłudze Apple Pay” (który można wyświetlić, otwierając Wallet i Apple Pay
w aplikacji Watch na urządzeniu iOS Użytkownika lub w aplikacji Watch na połączonym w parę
urządzeniu iOS) lub odwiedzając stronę http://www.apple.com/privacy. Używając tych funkcji,
Użytkownik zgadza się i udziela pozwolenia Apple, firmom zależnym i przedstawicielom na przesyłanie,
gromadzenie, przechowywanie, przetwarzanie i wykorzystywanie wszystkich powyższych informacji
w celu zapewnienia funkcjonalności Apple Pay oraz ulepszania produktów i usług Apple.

4.   Bezpieczeństwo; utrata lub uszkodzenie urządzenia

Apple Pay przechowuje wirtualne reprezentacje Obsługiwanych kart płatniczych Użytkownika i dlatego
powinno być chronione tak samo, jak Użytkownik chroni swoją gotówkę lub swoje fizyczne karty
kredytowe, debetowe, karty nagród lub karty podarunkowe. Podawanie kodu dostępu do urządzenia
Użytkownika innym podmiotom lub osobom lub umożliwienie im dodanie odcisku palca Użytkownika
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 188 of 452



w celu wykorzystania Touch ID lub włączenia Face ID może powodować możliwość realizowania przez
nich płatności, wypłatę pieniędzy z karty Apple Pay Cash Użytkownika, lub otrzymywania lub
realizowania kredytu za pomocą Apple Pay na urządzeniu Użytkownika. Za zabezpieczenie urządzenia i
hasła dostępu do tego urządzenia odpowiada wyłącznie Użytkownik. Użytkownik akceptuje, że Apple
nie ponosi żadnej odpowiedzialności z powodu zagubienia urządzenia lub udostępnienia hasła do niego.
Użytkownik akceptuje, że Apple nie ponosi żadnej odpowiedzialności za dokonanie nieautoryzowanych
modyfikacji iOS (takich jak „jailbreak” systemu iOS).

W celu dostępu do niektórych funkcji Apple Pay, w tym karty Apple Pay Cash oraz realizowania płatności
między osobami za pomocą Apple Pay, może być konieczne włączenie dodatkowych zabezpieczeń,
takich jak uwierzytelnianie dwuczynnikowe do identyfikatora Apple ID Użytkownika, Jeśli Użytkownik
usunie te zabezpieczenia, nie będzie mógł korzystać z niektórych funkcji Apple Pay.

Jeśli Użytkownik zgubi swoje urządzenie lub zostanie ono ukradzione i ma włączoną funkcję Znajdź mój
iPhone, może użyć aplikacji Znajdź mój iPhone i zawiesić możliwość dokonywania płatności za pomocą
wirtualnych Obsługiwanych kart płatniczych lub płatności pomiędzy osobami na tym urządzeniu,
przełączając je w tryb Utracony. Użytkownik może także wymazać swoje urządzenie, co spowoduje
zawieszenie możliwości dokonywania płatności za pomocą wirtualnych Obsługiwanych kart płatniczych
lub płatności między osobami w tym urządzeniu oraz spowoduje podjęcie próby usunięcia kart z Apple
Pay. Użytkownik powinien także skontaktować się z emitentem Obsługiwanych kart płatniczych, a także
sprzedawcą, który wystawił Obsługiwane karty płatnicze Apple Pay, oraz Apple w przypadku karty Apple
Pay Cash, w celu uniemożliwienia nieautoryzowanego dostępu do wirtualnych Obsługiwanych kart.

W przypadku zauważenia przez Użytkownika lub gdy Apple będzie podejrzewać nieuczciwą lub
obraźliwą aktywność, Użytkownik zgadza się na współpracę z Apple w zakresie śledztwa oraz na użycie
wszystkich środków zapobiegających nadużyciom, które zostaną zalecone przez Apple.

5.   Ograniczenie odpowiedzialności

W UZUPEŁNIENIU ZRZECZENIA SIĘ GWARANCJI I OGRANICZONEJ ODPOWIEDZIALNOŚCI
USTALONYCH W LICENCJI, APPLE NIE PONOSI ŻADNEJ ODPOWIEDZIALNOŚCI ZA NABYCIE,
PŁATNOŚCI, TRANSAKCJE LUB INNĄ DZIAŁALNOŚĆ HANDLOWĄ PROWADZONĄ PRZEZ UŻYCIE
FUNKCJI APPLE PAY, A UŻYTKOWNIK ZGADZA SIĘ NA ODWOŁYWANIE SIĘ WYŁĄCZNIE DO UMÓW
PODPISANYCH Z EMITENTEM KARTY PŁATNICZEJ, SIECIĄ PŁATNICZĄ, INSTYTUCJĄ FINANSOWĄ
LUB SPRZEDAWCĄ W CELU OTRZYMANIA ODPOWIEDZI NA PYTANIA LUB ROZWIĄZANIA SPORÓW
ZWIĄZANYCH Z OBSŁUGIWANYMI KARTAMI PŁATNICZYMI, OBSŁUGIWANYMI WIRTUALNYMI
KARTAMI PŁATNICZYMI, PŁATNOŚCIAMI MIĘDZY OSOBAMI I ZWIĄZANĄ Z NIMI DZIAŁALNOŚCIĄ
HANDLOWĄ.

————————————
UWAGI OD APPLE
Jeżeli firma Apple będzie chciała skontaktować się z Użytkownikiem w związku z produktem lub kontem,
użytkownik zgadza się na powiadomienie przez pocztę elektroniczną. Użytkownik zgadza się, że
wszystkie takie uwagi, które firma Apple wyśle do Użytkownika w postaci elektronicznej, spełnią prawne
wymagania komunikacji.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 189 of 452



PORTUGUÊS, PORTUGAL

IMPORTANTE: AO UTILIZAR O iPHONE, iPAD ou iPOD TOUCH (“DISPOSITIVO iOS”), O
UTILIZADOR FICA VINCULADO AOS SEGUINTES TERMOS:

A.   CONTRATO DE LICENÇA DE SOFTWARE iOS DA APPLE
B.   TERMOS SUPLEMENTARES DE APPLE PAY
C.   AVISOS DA APPLE

APPLE INC.
CONTRATO DE LICENÇA DE SOFTWARE iOS
Licença de Utilização Individual

LEIA CUIDADOSAMENTE ESTE CONTRATO DE LICENÇA DE SOFTWARE (“LICENÇA”) ANTES DE
UTILIZAR O DISPOSITIVO iOS OU ANTES DE DESCARREGAR A ATUALIZAÇÃO DE SOFTWARE
QUE ACOMPANHA ESTA LICENÇA. AO UTILIZAR O DISPOSITIVO iOS, OU AO DESCARREGAR
UMA ATUALIZAÇÃO DE SOFTWARE (CONFORME O CASO), O UTILIZADOR ESTARÁ A
CONCORDAR EM FICAR VINCULADO AOS TERMOS DA PRESENTE LICENÇA. SE NÃO
CONCORDAR COM OS TERMOS DA PRESENTE LICENÇA, O UTILIZADOR NÃO DEVE UTILIZAR O
DISPOSITIVO iOS NEM DESCARREGAR A ATUALIZAÇÃO DE SOFTWARE.

SE TIVER ADQUIRIDO RECENTEMENTE UM DISPOSITIVO iOS E NÃO CONCORDAR COM OS
TERMOS DA LICENÇA PODERÁ DEVOLVER O DISPOSITIVO iOS DENTRO DO PRAZO DE
DEVOLUÇÃO À LOJA DA APPLE OU AO DISTRIBUIDOR AUTORIZADO ONDE O ADQUIRIU PARA
OBTER UM REEMBOLSO, SUJEITO À POLÍTICA DE DEVOLUÇÕES DA APPLE EM https://
www.apple.com/legal/sales-support/.

1. Geral.
(a) O software (incluindo o código ROM de inicialização, software incorporado e software de terceiros), a
documentação, as interfaces, o conteúdo, os tipos de letra e quaisquer dados que acompanhem o
Dispositivo iOS (“Software iOS Original”), e que possam ser atualizados ou substituídos por futuras
melhorias, atualizações de software ou software de restauro do sistema fornecidos pela Apple
(“Atualizações do Software iOS”), quer em memória apenas de leitura ou em qualquer outro suporte ou
de qualquer outra forma (o Software iOS Original e as Atualizações do Software iOS são coletivamente
designados por “Software iOS”) são licenciados, e não vendidos, ao Utilizador pela Apple Inc. (“Apple”)
para serem utilizados sob os termos da presente Licença. A Apple e os respetivos licenciadores
conservam o direito de propriedade do Software iOS e reservam-se todos os direitos não concedidos
expressamente ao Utilizador. O Utilizador concorda que os termos da presente Licença se aplicam a
qualquer aplicação de marca Apple que possa estar integrada no Dispositivo iOS, a menos que tal
aplicação contenha uma Licença em separado e, nesse caso, o Utilizador concorda que prevalecerão os
termos dessa Licença no uso dessa aplicação.

(b) A Apple, ao seu critério, pode disponibilizar futuras Atualizações do Software iOS. As Atualizações
do Software iOS, caso existam, podem não incluir necessariamente todas as funcionalidades do
software existente ou as novas funcionalidades que a Apple lançar para os modelos mais recentes ou
outros modelos de Dispositivos iOS. Os termos da presente Licença regulam quaisquer Atualizações do
Software iOS fornecidas pela Apple, a menos que tal Atualização do Software iOS contenha uma
Licença em separado e, nesse caso, o Utilizador concorda que prevalecerão os termos dessa Licença.

(c) Se o Utilizador usar a funcionalidade de configuração rápida para configurar um novo Dispositivo iOS
com base no respetivo Dispositivo iOS existente, o Utilizador concorda que os termos da presente
Licença regulam a utilização do Software iOS no novo Dispositivo iOS do Utilizador, a menos que o
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 190 of 452



Software iOS contenha uma licença em separado e, nesse caso, o Utilizador concorda que prevalecerão
os termos dessa Licença no uso do Software iOS. O dispositivo iOS do Utilizador verificará
periodicamente junto da Apple por Atualizações de Software iOS. Se uma atualização estiver disponível,
a atualização pode ser automaticamente descarregada para o dispositivo iOS do Utilizador e, se for
aplicável, para os dispositivos periféricos do Utilizador. Ao usar o Software Apple, o Utilizador concorda
que a Apple pode descarregar e instalar Atualizações de Software iOS automáticas para o dispositivo
iOS e dispositivos periféricos do Utilizador. O Utilizador pode desativar completamente as atualizações a
qualquer momento alterando as definições das atualizações automáticas em Definições > Geral >
Atualização de software.

2. Utilização autorizada pela Licença e restrições.
(a) Sujeito aos termos e condições da presente Licença, é concedida ao Utilizador uma licença limitada
e não exclusiva para utilizar o Software iOS num único Dispositivo iOS de marca Apple. Exceto
conforme permitido pela Alínea 2(b) abaixo, e salvo disposição em contrário num contrato em separado
entre o Utilizador e a Apple, a presente Licença não permite que o Software iOS exista simultaneamente
em mais de um Dispositivo iOS de marca Apple, e o Utilizador não poderá distribuir ou disponibilizar o
Software iOS numa rede onde possa ser utilizado por vários dispositivos em simultâneo. A presente
Licença não concede ao Utilizador direitos de utilização de interfaces proprietárias da Apple e outra
propriedade intelectual na conceção, desenvolvimento, produção, licenciamento ou distribuição de
dispositivos e acessórios de terceiros, ou aplicações de software de terceiros, para utilização com o
Dispositivos iOS. Alguns desses direitos estão disponíveis mediante licenças distintas da Apple. Para
mais informações sobre como desenvolver dispositivos e acessórios de terceiros para Dispositivos iOS,
visite https://developer.apple.com/programs/mfi/. Para mais informações sobre como desenvolver
aplicações de software para o Dispositivos iOS, visite https://developer.apple.com.

(b) Sujeito aos termos e condições da presente Licença, é concedida ao Utilizador uma licença limitada
e não exclusiva para descarregar as Atualizações do Software iOS que possam ser disponibilizadas pela
Apple para o seu modelo de Dispositivo iOS para atualizar ou restaurar o software de qualquer
Dispositivo iOS que o Utilizador possua ou controle. A presente Licença não permite a atualização ou
restauro pelo Utilizador de Dispositivos iOS que não controle ou possua, sendo igualmente proibida a
distribuição ou disponibilização das Atualizações do Software iOS numa rede onde possam ser
utilizadas por vários dispositivos ou computadores em simultâneo. Se o Utilizador descarregar uma
Atualização do Software iOS para o respetivo computador, pode fazer uma cópia das Atualizações do
Software iOS armazenadas no respetivo computador num formato legível por computador mas apenas
para efeitos de segurança e desde que a referida cópia de segurança contenha todos os avisos de
direitos de autor ou propriedade constantes do original.

(c) Na medida em que a Apple tenha pré-instalado aplicações de marca Apple a partir da App Store no
Dispositivo iOS do Utilizador no momento da compra (“Aplicações Pré-instaladas”), o Utilizador terá de
iniciar sessão na App Store e associar estas Aplicações Pré-instaladas à sua conta da App Store para
poder utilizá-las no respetivo Dispositivo iOS. Ao associar uma Aplicação Pré-instalada à sua conta da
App Store, o Utilizador estará, de forma automática e em simultâneo, a associar todas as outras
Aplicações Pré-instaladas no seu Dispositivo iOS. Ao decidir associar as Aplicações Pré-Instaladas à
sua conta da App Store, o Utilizador concorda que a Apple pode transmitir, recolher, manter, processar e
utilizar o ID Apple utilizado pela sua conta da Apple Store e um identificador de hardware único
recolhido do seu Dispositivo iOS como identificadores de conta únicos com a finalidade de verificar a
elegibilidade do pedido e de fornecer acesso às Aplicações Pré-Instaladas através da App Store. Caso
o Utilizador não pretenda utilizar a Aplicação Pré-instalada, o Utilizador pode apagá-la do Dispositivo
iOS, em qualquer momento.

(d) O Utilizador não pode (e aceita não permitir que outros o façam) copiar (exceto nos casos
expressamente permitidos pela presente Licença), descompilar, efetuar engenharia inversa, desmontar,
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 191 of 452



tentar obter o código-fonte, desencriptar, modificar ou criar obras derivadas do Software iOS ou de
quaisquer serviços fornecidos pelo Software iOS, nem de nenhuma parte do mesmo (exceto e apenas
na extensão que qualquer restrição precedente seja proibida pela lei vigente ou pelos termos de
licenciamento que regem a utilização dos componentes de código aberto eventualmente incluídos no
Software iOS).

(e) O Software iOS pode ser utilizado para reproduzir materiais, desde que essa utilização esteja limitada
à reprodução de materiais que não estejam protegidos por direitos de autor, materiais dos quais o
Utilizador seja o proprietário dos direitos de autor ou materiais para os quais o Utilizador tenha uma
autorização expressa ou legal para reproduzir. Os direitos de titularidade e de propriedade intelectual
sobre qualquer conteúdo apresentado, armazenado ou acedido por intermédio do Dispositivo iOS
pertencem aos respetivos proprietários desse conteúdo. Tal conteúdo pode estar protegido por leis de
direitos de autor ou por outros tratados e leis de propriedade intelectual, podendo estar sujeito aos
termos de utilização dos terceiros que fornecem o referido conteúdo. Salvo disposição em contrário, a
presente Licença não concede ao Utilizador nenhum direito de utilização de tal conteúdo, nem garante
que tal conteúdo continuará a estar disponível para o Utilizador.

(f) Sujeito aos termos e condições da presente Licença, o Utilizador pode usar os caracteres Animoji e
Memoji incluídos ou criados com o Software iOS (“Caracteres do sistema”) (i) enquanto executa o
Software iOS e (ii) para criar o seu próprio conteúdo original e projetos para sua utilização pessoal e
não-comercial. Nenhuma outra utilização dos Caracteres do sistema é permitida pela presente Licença,
incluindo, mas não limitado a, uso, reprodução, exibição, desempenho, gravação, publicação ou
redistribuição de qualquer um dos Caracteres do sistema num contexto com fins lucrativos, sem fins
lucrativos, de partilha pública ou comercial.

(g) O Utilizador aceita usar o Software iOS e os Serviços (conforme definido na Alínea 5 mais adiante)
em conformidade com todas as leis aplicáveis, incluindo as leis locais do país ou da região onde o
Utilizador reside ou descarrega ou usa o Software iOS e os Serviços. As funcionalidades do Software
iOS e dos Serviços podem não estar disponíveis em todos os idiomas ou regiões, algumas
funcionalidades podem variar consoante a região, e algumas podem estar restritas ou indisponíveis por
parte do fornecedor do serviço. É necessária uma ligação Wi-Fi ou de dados móveis para algumas
funcionalidades do Software iOS e dos Serviços.

(h) A utilização da App Store requer uma combinação única de nome de utilizador e palavra-passe,
conhecida como ID Apple. Também é necessário um ID Apple para aceder a atualizações de aplicações
e a determinadas funcionalidades do Software iOS e dos Serviços.

(i) O Utilizador reconhece que muitas funcionalidades, aplicações integradas e Serviços do Software iOS
transmitem dados e podem implicar encargos consoante o tarifário de dados do Utilizador, sendo,
nesse caso, o Utilizador responsável pelo seu pagamento. O Utilizador pode ver e controlar que
aplicações têm permissão para usar dados móveis e ver uma estimativa do consumo de dados das
aplicações nas definições de “Dados móveis”. Além disso, o Wi-Fi Assist alternará automaticamente
para dados móveis quando o Utilizador tem uma ligação Wi-Fi fraca, a qual pode resultar numa maior
utilização de dados móveis e causar impacto nos custos do seu plano de dados. O Wi-Fi Assist está
ativo por predefinição, mas pode ser desativado nas Definições. Encontrará mais informação no Manual
do Utilizador do Dispositivo iOS.

(j) Se o Utilizador decidir autorizar atualizações de aplicações automáticas, o Dispositivo iOS verifica
periodicamente junto da Apple a existência de atualizações para as aplicações do dispositivo e, se
houver alguma disponível, a atualização é automaticamente descarregada e instalada no dispositivo. O
Utilizador pode desativar todas as atualizações de aplicações em simultâneo, acedendo às Definições,
tocando em iTunes e App Store e desativando a opção Atualizações em “Descargas automáticas”.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 192 of 452




(k) A utilização do Dispositivo iOS em determinadas circunstâncias pode ser uma distração e pode
provocar uma situação perigosa (por exemplo, o Utilizador deve evitar usar os auscultadores enquanto
anda de bicicleta ou digitar uma mensagem de texto enquanto conduz um automóvel). Ao utilizar o
Dispositivo iOS, o Utilizador assume a responsabilidade pelo cumprimento das regras que proíbem ou
restringem o uso de telemóveis ou auscultadores (por exemplo, a obrigatoriedade de utilização de
equipamento mãos-livres para efetuar chamadas enquanto conduz).

3. Transferência. O Utilizador não pode alugar, arrendar, emprestar, vender, redistribuir ou sublicenciar o
Software iOS. O Utilizador pode, no entanto, realizar uma única transferência permanente de todos seus
direitos sobre a Licença do Software iOS a terceiros associada à transferência de propriedade do
respetivo Dispositivo iOS, desde que: (a) a transferência compreenda o Dispositivo iOS e todo o
Software iOS, incluindo todos os componentes e a presente Licença; (b) o Utilizador não mantenha na
sua posse nenhuma cópia do Software iOS, completa ou parcial, incluindo cópias armazenadas num
computador ou outro dispositivo de armazenamento; e (c) a parte que irá receber o Software iOS leia e
concorde em aceitar os termos e condições da presente Licença.

4. Autorização para a utilização de dados. Durante a utilização do dispositivo, o número de telefone e
determinados identificadores únicos do Dispositivo iOS são enviados à Apple para permitir que outras
pessoas contactem o Utilizador através do respetivo número de telefone quando utilizam diversas
funcionalidades de comunicação do Software iOS, como o iMessage e o FaceTime. Quando é utilizado
iMessage, a Apple poderá conservar as mensagens do Utilizador, num formato cifrado, por um período
de tempo limitado para garantir a sua entrega. O Utilizador pode desativar o FaceTime ou iMessage nas
definições do FaceTime ou Mensagens do Dispositivo iOS. Certas funcionalidades como Análise,
Serviços de localização, Siri e Ditado podem necessitar de informações do Dispositivo iOS para
fornecerem as respetivas funcionalidades. Quando ativa ou desativa estas funcionalidades, os detalhes
serão fornecidos independentemente de informação que é enviada à Apple e de como a informação
pode ser usada. Pode obter mais informação em https://www.apple.com/privacy/. Os dados do
Utilizador serão sempre tratados em conformidade com a Política de Privacidade da Apple, que está
disponível para consulta no seguinte website: https://www.apple.com/legal/privacy/.

5. Serviços e materiais de terceiros.
(a) O Software iOS pode permitir o acesso à iTunes Store da Apple, App Store, Apple Books, Game
Center, iCloud, Mapas e a outros serviços e websites da Apple e de terceiros (coletiva e individualmente,
“Serviços”). Esses Serviços podem não estar disponíveis em todos os idiomas nem em todos os países.
O uso desses Serviços requer acesso à Internet e o uso de determinados Serviços pode requerer um ID
Apple, pode exigir que o Utilizador aceite termos adicionais e poderão estar sujeitos a custos adicionais.
Ao utilizar este software em associação com um ID Apple, ou outro Serviço Apple, o Utilizador aceita os
termos de serviço aplicáveis a esse Serviço, tais como os Termos e Condições dos Serviços de
Multimédia da Apple mais recentes e as Condições do país em que o Utilizador acede a esses Serviços,
a que poderá aceder e analisar em https://www.apple.com/legal/internet-services/itunes/.

(b) Se o Utilizador efetuar o registo no iCloud, é possível ter acesso direto a determinadas
funcionalidades do iCloud como “Fotografias em iCloud”, “A minha partilha”, “Álbuns partilhados”,
“Cópia de segurança” e “Encontrar o iPhone” a partir do Software iOS. O Utilizador reconhece e aceita
que a utilização do iCloud e destas funcionalidades está sujeita aos termos e condições mais recentes
do serviço iCloud, que estão disponíveis para consulta no seguinte endereço: https://www.apple.com/
legal/internet-services/icloud/.

(c) Conteúdo da aplicação Notícias. A utilização por parte do Utilizador do conteúdo acedido através da
aplicação Notícias está limitada exclusivamente a fins pessoais, não comerciais. Tal utilização não
transfere qualquer interesse na propriedade do conteúdo para o Utilizador e, exclui, especificamente,
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 193 of 452



sem limitação, quaisquer direitos de utilização comercial ou promocional sobre tal conteúdo.
Adicionalmente, o Utilizador está proibido de republicar, retransmitir e reproduzir quaisquer imagens
acedidas através da aplicação Notícias como ficheiro independente.

(d) Mapas. As funcionalidades e o serviço de mapas do Software iOS (“Mapas”), incluindo a cobertura
dos dados cartográficos, podem variar por país e região. Ao utilizar as funcionalidades baseadas na
localização em Mapas, como a navegação passo a passo, o trânsito ou a pesquisa local, várias
informações relacionadas com a localização e a utilização podem ser enviadas à Apple, incluindo a
localização geográfica em tempo real do Dispositivo iOS, para processar o pedido e ajudar a melhorar
Mapas. Os dados de localização e utilização atrás referidos são recolhidos pela Apple num formato que
não identifica pessoalmente o Utilizador. Ao utilizar Mapas, o Utilizador aceita e autoriza que a Apple
e os respetivos agentes e subsidiárias transmitam, recolham, mantenham, processem e utilizem a
referida informação para o fornecimento e melhoria do serviço e das funcionalidades de Mapas,
assim como de outros produtos e serviços da Apple. A Apple também podem fornecer tal
informação, quer de forma agregada ou não identificável pessoalmente, aos seus parceiros e
licenciados para ajudar a melhorar os seus produtos e serviços com base no mapa e na localização. O
Utilizador pode desativar a funcionalidade de Mapas baseada na localização na definição “Serviços de
localização” do Dispositivo iOS, onde pode desativar a definição de localização específica de Mapas.
No entanto, determinadas funcionalidades de Mapas deixarão de estar disponíveis se desativar a
definição “Serviços de localização”, nomeadamente a navegação passo a passo.

(e) O Utilizador compreende que, ao utilizar quaisquer destes Serviços, poderá deparar-se com
conteúdo que pode ser considerado ofensivo, indecente ou indesejável, sendo que esse conteúdo
poderá conter linguagem explícita, e que os resultados de qualquer pesquisa ou acesso a um
determinado URL poderão automaticamente e não propositadamente gerar ligações ou referências a
material indesejável. Não obstante, o Utilizador concorda em utilizar os Serviços por sua conta e risco e
que a Apple, seus afiliados, agentes, diretores ou licenciadores não são responsáveis por conteúdo que
possa ser considerado ofensivo, indecente ou indesejável.

(f) Determinados Serviços podem apresentar, incluir ou disponibilizar conteúdos, dados, informação,
aplicações ou materiais de terceiros (“Materiais de Terceiros”) ou fornecer ligações para determinados
websites de terceiros. Ao usar os Serviços, o Utilizador reconhece e aceita que a Apple não é
responsável pela análise ou avaliação do conteúdo, da correção, plenitude, prontidão, validade,
cumprimento de direitos de autor, legalidade, decência, qualidade ou qualquer outro aspeto desses
websites ou Materiais de Terceiros. A Apple, os seus agentes, afiliados e subsidiárias não garantem nem
aprovam e não assumem e não terão qualquer responsabilidade para com o Utilizador ou qualquer
outra pessoa por quaisquer websites, Serviços ou Materiais de Terceiros, ou por quaisquer outros
materiais, produtos ou serviços de terceiros. Os Materiais de Terceiros e as ligações a outros websites
são fornecidos apenas para conveniência do Utilizador.

(g) Nem a Apple nem qualquer dos seus fornecedores de conteúdos garante a disponibilidade,
correção, integralidade, fiabilidade ou oportunidade da informação da bolsa de valores, dados de
localização ou quaisquer outros dados apresentados por quaisquer Serviços. A informação financeira
apresentada por quaisquer Serviços serve apenas para efeitos informativos e não deve ser considerada
como aconselhamento para investimentos. Antes de executar qualquer transação de valores com base
em informação obtida através dos Serviços, o Utilizador deverá consultar um profissional da área
financeira, legalmente qualificado para prestar aconselhamento financeiro no seu país ou região. Os
dados de localização fornecidos por quaisquer Serviços, incluindo o serviço Mapas da Apple, servem
apenas para efeitos de navegação ou planeamento, não se destinando a ser utilizados em situações em
que sejam necessárias informações de localização precisas ou em que dados errados, incorretos,
atrasados ou incompletos possam conduzir a morte, ferimentos, ou danos de propriedade ou
ambientais. O Utilizador aceita que os resultados que receber do serviço Mapas podem diferir das
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 194 of 452



condições reais das estradas ou do terreno devido a fatores que podem afetar a exatidão dos dados de
Mapas, tais como, mas sem a isso estarem limitados, condições meteorológicas, rodoviárias e de
tráfego, bem como acontecimentos geopolíticos. Para segurança do Utilizador, quando for utilizada a
funcionalidade de navegação, o Utilizador deve prestar sempre atenção à sinalização e às condições
atuais da rodovia. O Utilizador deve praticar uma condição segura e cumprir o código da estrada, bem
como ter em atenção que as indicações a pé podem não incluir passeios ou vias pedonais.

(h) Na medida em que o Utilizador transfira qualquer conteúdo através da utilização dos Serviços, o
Utilizador declara que detém todos os direitos, ou tem autorização ou está legalmente autorizado a
efetuar essa transferência, e que tal conteúdo não viola quaisquer termos de serviço aplicáveis aos
Serviços. O Utilizador aceita que os Serviços contêm conteúdos, informações e materiais proprietários
que pertencem à Apple, ao proprietário do site ou aos respetivos licenciadores, e que está protegido
pela lei de propriedade intelectual e outras leis vigentes, incluindo sem limitação os direitos de autor. O
Utilizador aceita que não irá usar esses conteúdos, informações e materiais proprietários de qualquer
outra forma que não seja a utilização permitida dos Serviços, ou de qualquer forma que não seja
consistente com os termos da presente Licença ou que viole quaisquer direitos proprietários de
terceiros ou da Apple. Nenhuma parte dos Serviços pode ser reproduzida em qualquer forma ou por
qualquer meio. O Utilizador aceita não modificar, arrendar, alugar, emprestar, vender, distribuir nem criar
obras derivadas baseadas nos Serviços, seja de que forma for, e o Utilizador não irá tirar partido dos
Serviços de qualquer outra forma não autorizada, incluindo sem limitação a utilização dos Serviços para
transmitir vírus de computador, worms, trojans ou outro malware, ou o trespasse ou a sobrecarga da
capacidade da rede. O Utilizador aceita ainda em não usar os Serviços de qualquer forma que possa
molestar, abusar, perseguir, ameaçar, difamar ou de outra forma infringir ou violar os direitos de qualquer
terceiro, e que a Apple não é responsável por esse uso feito pelo Utilizador, nem pelo assédio, ameaça,
difamação, transgressão, mensagens ofensivas ou ilegais ou transmissões que o Utilizador possa vir a
receber como resultado do seu uso dos Serviços.

(i) Adicionalmente, os Serviços e Materiais de Terceiros que podem ser acedidos, ligados ou
apresentados a partir do Dispositivo iOS não estão disponíveis em todos os idiomas nem em todos os
países ou regiões. A Apple não faz qualquer representação de que esses Serviços e Materiais de
Terceiros são apropriados ou estão disponíveis para utilização em qualquer localização. Na extensão em
que o Utilizador decide usar ou aceder a tais Serviços e Materiais de Terceiros, fá-lo a sua própria
iniciativa e é responsável pelo cumprimento de quaisquer leis vigentes, incluindo mas sem limitação as
leis locais vigentes, assim como as leis em matéria de privacidade e recolha de dados. A partilha ou
sincronização de fotografias através do Dispositivo iOS pode provocar metadados, incluindo quando e
onde a fotografia foi tirada, assim como informação de profundidade, que são transmitidos com as
fotografias. A utilização dos serviços Apple (como a Fototeca em iCloud) para partilhar ou sincronizar
fotografias implica que a Apple receba e armazene os referidos metadados. A Apple e os seus
licenciadores reservam-se o direito de alterar, suspender, remover ou desativar o acesso a quaisquer
Serviços, em qualquer altura, sem aviso prévio. Em nenhuma circunstância, a Apple será responsável
pela remoção ou desativação do acesso a esses Serviços. A Apple poderá ainda impor limites à
utilização e acesso a determinados Serviços, em qualquer caso, e sem aviso prévio ou
responsabilidade.

6. Término. A presente Licença está em vigor até ser terminada. Os direitos do Utilizador ao abrigo da
presente Licença cessam automaticamente ou deixam de ter efeito sem aviso prévio da Apple, em caso
de incumprimento de qualquer dos termos da presente Licença. Com o término da presente Licença, o
Utilizador deve deixar de utilizar o Software iOS. As Alíneas 4, 5, 6, 7, 8, 9, 12 e 13 da presente Licença
subsistirão a esse término.

7. Exclusão de garantias.
7.1 Caso se trate de um cliente consumidor (alguém que utiliza o Software iOS fora do contexto do
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 195 of 452



seu ofício, empresa ou profissão), o Utilizador pode ter direitos legais no seu país de residência que
poderiam proibir a aplicação das seguintes limitações ao mesmo e, na medida em que sejam proibidas,
estas limitações não se aplicarão ao Utilizador. Para mais informações acerca dos seus direitos, deverá
contactar uma organização de apoio ao cliente local.

7.2 O UTILIZADOR RECONHECE E ACEITA EXPRESSAMENTE QUE, NA EXTENSÃO MÁXIMA
PERMITIDA PELA LEI VIGENTE, O RISCO DECORRENTE DA UTILIZAÇÃO DO SOFTWARE iOS E DE
QUAISQUER SERVIÇOS REALIZADOS PELO SOFTWARE iOS OU ACEDIDOS ATRAVÉS DO
SOFTWARE iOS É EXCLUSIVAMENTE SEU E QUE TODO O RISCO REFERENTE À QUALIDADE
SATISFATÓRIA, DESEMPENHO, EXATIDÃO E ESFORÇO DEPENDE DE SI.

7.3 NA EXTENSÃO MÁXIMA PERMITIDA PELA LEI EM VIGOR, O SOFTWARE iOS E OS SERVIÇOS
SÃO FORNECIDOS “TAL COMO ESTÃO” E “SEGUNDO A SUA DISPONIBILIDADE”, COM TODAS AS
FALHAS E SEM GARANTIA DE QUALQUER ESPÉCIE, E A APPLE E OS RESPETIVOS LICENCIADORES
(COLETIVAMENTE REFERIDOS COMO “APPLE” PARA EFEITOS DAS ALÍNEAS 7 E 8) EXCLUEM
EXPRESSAMENTE TODAS AS GARANTIAS E CONDIÇÕES RESPEITANTES AO SOFTWARE iOS E AOS
SERVIÇOS, EXPRESSAS, IMPLÍCITAS OU PREVISTAS POR LEI, INCLUINDO, MAS SEM A ISSO
ESTAREM LIMITADAS, AS GARANTIAS IMPLÍCITAS E/OU CONDIÇÕES DE COMERCIALIDADE,
QUALIDADE SATISFATÓRIA, ADEQUAÇÃO A UMA FINALIDADE ESPECÍFICA, EXATIDÃO, GOZO
PACÍFICO E DE NÃO VIOLAÇÃO DE DIREITOS DE TERCEIROS.

7.4 A APPLE NÃO DÁ QUALQUER GARANTIA QUANTO A INTERFERÊNCIAS NO GOZO DO
SOFTWARE iOS E DOS SERVIÇOS, QUE AS FUNÇÕES OU SERVIÇOS REALIZADOS OU
FORNECIDOS PELO SOFTWARE iOS SE ADEQUAM ÀS NECESSIDADES DO UTILIZADOR, QUE A
OPERAÇÃO DO SOFTWARE iOS E DOS SERVIÇOS SERÁ ININTERRUPTA OU ISENTA DE ERROS, QUE
QUALQUER SERVIÇO CONTINUARÁ A SER DISPONIBILIZADO, QUE OS DEFEITOS NO SOFTWARE
iOS OU NOS SERVIÇOS SERÃO CORRIGIDOS, OU QUE O SOFTWARE iOS SERÁ COMPATÍVEL OU
FUNCIONARÁ COM QUAISQUER APLICAÇÕES, SOFTWARE OU SERVIÇOS DE TERCEIROS. A
INSTALAÇÃO DESTE SOFTWARE iOS PODE AFETAR A DISPONIBILIDADE E USABILIDADE DO
SOFTWARE DE TERCEIROS, APLICAÇÕES OU SERVIÇOS DE TERCEIROS, ASSIM COMO PRODUTOS
E SERVIÇOS DA APPLE.

7.5 O UTILIZADOR RECONHECE AINDA QUE O SOFTWARE iOS E OS SERVIÇOS NÃO SÃO
DESTINADOS NEM ADEQUADOS PARA UTILIZAÇÃO EM SITUAÇÕES OU AMBIENTES EM QUE A
FALHA OU ATRASO, ERROS OU INCORREÇÕES DO CONTEÚDO, DOS DADOS OU DA INFORMAÇÃO
FORNECIDOS PELO SOFTWARE iOS OU PELOS SERVIÇOS POSSAM ORIGINAR A MORTE,
FERIMENTOS PESSOAIS OU DANOS FÍSICOS OU AMBIENTAIS GRAVES, INCLUINDO MAS SEM
LIMITAÇÃO A OPERAÇÃO DE INSTALAÇÕES NUCLEARES, SISTEMAS DE NAVEGAÇÃO AÉREA OU
DE COMUNICAÇÕES, CONTROLO DE TRÁFEGO AÉREO, SISTEMAS DE MANUTENÇÃO DAS
FUNÇÕES VITAIS OU DE ARMAS.

7.6 NENHUMA INFORMAÇÃO OU ACONSELHAMENTO ORAL OU ESCRITO FORNECIDO PELA
APPLE OU POR UM REPRESENTANTE AUTORIZADO DA APPLE CONSTITUIRÁ UMA GARANTIA. SE O
SOFTWARE iOS OU OS SERVIÇOS TIVEREM DEFEITOS, O UTILIZADOR ASSUMIRÁ O CUSTO
INTEGRAL DE TODA A ASSISTÊNCIA E DE TODAS AS REPARAÇÕES OU CORREÇÕES
NECESSÁRIAS. ALGUMAS JURISDIÇÕES NÃO PERMITEM A EXCLUSÃO DE GARANTIAS IMPLÍCITAS
OU LIMITAÇÕES AOS ESTATUTOS DOS DIREITOS DO CONSUMIDOR EM VIGOR, PODENDO, POR
ISSO, AS EXCLUSÕES E LIMITAÇÕES ACIMA MENCIONADAS NÃO SER APLICÁVEIS AO
UTILIZADOR.

8. Limitação da responsabilidade. DENTRO DO PERMITIDO PELA LEI APLICÁVEL, EM NENHUM
CASO A APPLE, OU SEUS AFILIADOS, AGENTES OU DIRETORES, SERÁ RESPONSÁVEL POR DANOS
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 196 of 452



PESSOAIS OU QUALQUER PREJUÍZO ACIDENTAL, ESPECIAL OU INDIRETO, INCLUINDO, SEM
LIMITAÇÃO, PREJUÍZOS POR PERDA DE LUCROS, CORRUPÇÃO OU PERDA DE DADOS, FALHA NA
TRANSMISSÃO OU RECEÇÃO DE DADOS (INCLUINDO, SEM LIMITAÇÃO, INSTRUÇÕES, TAREFAS E
MATERIAIS DE CURSOS), INTERRUPÇÃO DA ATIVIDADE OU QUALQUER OUTRO PREJUÍZO OU
PERDA DE NATUREZA COMERCIAL, DECORRENTES OU RELACIONADOS COM A UTILIZAÇÃO OU
IMPOSSIBILIDADE DE UTILIZAR O SOFTWARE iOS E SERVIÇOS, OU QUALQUER SOFTWARE OU
APLICAÇÕES DE TERCEIROS JUNTAMENTE COM O SOFTWARE iOS OU OS SERVIÇOS, POR
QUALQUER MOTIVO, INDEPENDENTEMENTE DA TEORIA DE RESPONSABILIDADE CIVIL
(CONTRATO, DOLO OU QUALQUER OUTRO) E ATÉ MESMO SE A APPLE TIVER SIDO AVISADA DA
POSSIBILIDADE DESSES PREJUÍZOS. ALGUMAS JURISDIÇÕES NÃO PERMITEM A EXCLUSÃO OU A
LIMITAÇÃO DE RESPONSABILIDADE POR DANOS PESSOAIS OU POR PREJUÍZOS ACIDENTAIS OU
INDIRETOS, PELO QUE ESTA LIMITAÇÃO PODE NÃO SER APLICÁVEL AO UTILIZADOR. Em nenhuma
circunstância a responsabilidade total da Apple perante o Utilizador por todos os danos (além dos que
sejam exigidos pela lei em vigor nos casos de danos pessoais) poderá exceder a quantia de duzentos e
cinquenta dólares (USD 250,00). As limitações precedentes serão aplicáveis mesmo se o recurso
descrito acima não cumprir o seu propósito essencial.

9. Certificados digitais. O Software iOS contém funcionalidades que lhe permitem aceitar certificados
digitais emitidos pela Apple ou por terceiros. O UTILIZADOR É O ÚNICO RESPONSÁVEL PELA
DECISÃO DE CONFIAR OU NÃO NUM CERTIFICADO EMITIDO PELA APPLE OU POR TERCEIROS. O
USO DOS CERTIFICADOS DIGITAIS É DA INTEIRA RESPONSABILIDADE E RISCO DO UTILIZADOR.
NA EXTENSÃO MÁXIMA PERMITIDA PELA LEI APLICÁVEL, A APPLE NÃO FAZ QUAISQUER
GARANTIAS OU REPRESENTAÇÕES, EXPRESSAS OU IMPLÍCITAS, RELATIVAMENTE À
COMERCIALIDADE OU ADEQUAÇÃO PARA UM DETERMINADO FIM, À CORREÇÃO, SEGURANÇA OU
INCUMPRIMENTO DOS DIREITOS DE TERCEIROS COM RESPEITO AOS CERTIFICADOS DIGITAIS.

10. Controlo de exportação. O Utilizador não pode utilizar, exportar ou reexportar o Software iOS,
exceto na forma autorizada pela legislação dos Estados Unidos e do país no qual o Software iOS foi
obtido. Em particular, porém sem limitação, o Software iOS não poderá ser exportado ou reexportado
(a) para qualquer um dos países embargados pelos EUA ou (b) para qualquer pessoa constante da lista
de Cidadãos Especialmente Indicados do Departamento do Tesouro dos Estados Unidos ou da Relação
de Pessoas ou Entidades Recusadas do Departamento de Comércio dos Estados Unidos ou de
quaisquer outras listas de entidades sujeitas a restrições. Ao utilizar o Software iOS, o Utilizador declara
e garante que não está situado em nenhum dos países indicados nem consta das listas mencionadas. O
Utilizador também aceita que não utilizará o Software iOS para qualquer fim que esteja proibido pelas
leis dos Estados Unidos, incluindo, sem limitação, o desenvolvimento, a conceção, o fabrico ou a
produção de mísseis, armamento nuclear, armas biológicas ou químicas.

11. Utilizadores finais do Governo dos EUA. O Software iOS e a documentação relacionada são
“Artigos Comerciais”, de acordo com a definição deste termo no n.º 48 do C.F.R. (Code of Federal
Rules) §2.101, constituído por “Software de Computador Comercial” e “Documentação de Software de
Computador Comercial”, de acordo com a forma como estes termos são utilizados no n.º 48 do C.F.R.
§12.212 ou o n.º 48 do C.F.R. §227.7202, consoante for aplicável. Em consonância com o n.º 48 do
C.F.R. §12.212 ou o n.º 48 do C.F.R. §227.7202-1 à 227.7202-4, consoante for aplicável, o Software de
Computador Comercial e a Documentação de Software de Computador Comercial são licenciados aos
utilizadores finais do Governo dos Estados Unidos (a) somente como Artigos Comerciais e (b) apenas
com os direitos que são oferecidos a outros utilizadores finais de acordo com os termos e condições
aqui descritos. Os direitos não publicados estão protegidos pelas leis de direitos de autor dos Estados
Unidos.

12. Legislação aplicável e exequibilidade. A presente Licença será regida e interpretada de acordo
com as leis do Estado da Califórnia, excluindo os respetivos princípios de conflito de leis. A presente
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 197 of 452



Licença não será regida pela convenção das Nações Unidas sobre contratos para a venda internacional
de produtos, cuja aplicação está expressamente excluída. Caso se trate de um consumidor residente no
Reino Unido, a presente Licença será regida pelas leis da jurisdição local. Se por algum motivo, um
tribunal competente determinar que qualquer disposição, ou parte da mesma, é inexequível, as demais
disposições desta Licença permanecerão em pleno vigor.

13. Integralidade; idioma aplicável. A presente Licença constitui o contrato integral entre o Utilizador e
a Apple relativamente ao Software iOS e prevalece sobre todos os entendimentos anteriores ou
contemporâneos relativos a esta matéria. Nenhuma modificação ou alteração dos termos da presente
Licença será vinculativa, salvo se for feita por escrito e estiver assinada pela Apple. Qualquer tradução
da presente Licença é feita para cumprir requisitos locais e no caso de alguma divergência entre as
versões em inglês e noutro idioma, prevalecerá a versão em inglês da presente Licença, dentro do
permitido pela legislação local na jurisdição aplicável.

14. Reconhecimento de terceiros. Partes do Software iOS podem utilizar ou incluir software de
terceiros e outro material com direitos de propriedade. Os reconhecimentos, termos de licenciamento e
exclusões de garantias desse material estão incluídos na documentação eletrónica do Software iOS, e o
uso pelo Utilizador desse material é regido pelos respetivos termos. A utilização do serviço Google Safe
Browsing Service está sujeito aos Termos de Serviço do Google (https://www.google.com/intl/pt/
policies/terms) e à Política de Privacidade do Google (https://www.google.com/intl/pt/policies/privacy/).

15. Utilização de MPEG-4; aviso sobre H.264/AVC.
(a) O Software iOS está licenciado ao abrigo da Licença do Portfólio de Patentes de Sistemas MPEG-4
para codificação de acordo com a Norma de Sistemas MPEG-4, exceto no caso em que uma licença
adicional e o pagamento de direitos de utilização (royalties) sejam necessários para a codificação em
relação a (i) dados armazenados ou duplicados num suporte físico que sejam pagos título por título e/ou
(ii) dados que sejam pagos título por título e transmitidos a um utilizador final para armazenamento e/ou
utilização permanente. Essa licença adicional pode ser obtida junto de MPEG LA, LLC. Visite http://
www.mpegla.com para mais informações (em inglês).

(b) O Software iOS contém a funcionalidade de codificação e/ou descodificação de vídeo MPEG-4. O
Software iOS está licenciado ao abrigo da Licença do Portefólio de Patentes Visuais MPEG-4 para
utilização pessoal e sem fins comerciais de um consumidor para (i) codificação de vídeo de acordo com
a Norma Visual MPEG-4 (“Vídeo MPEG-4”) e/ou (ii) descodificação de vídeo MPEG-4 que tenha sido
codificado por um consumidor a título pessoal e sem fins comerciais e/ou que tenha sido obtido a partir
de um fornecedor de vídeo licenciado pela MPEG LA para fornecer vídeo MPEG-4. Nenhuma licença
será concedida para qualquer outra finalidade, nem deverá ser subentendida a sua permissão para
qualquer outra finalidade. Informações adicionais, inclusive as que estejam relacionadas com utilizações
e concessão de licenças promocionais, internas e comerciais, podem ser obtidas junto de MPEG LA,
LLC. Visite http://www.mpegla.com.

(c) O Software iOS contém a funcionalidade de codificação e/ou descodificação AVC. A utilização
comercial do H.264/AVC necessitará de licença adicional e a seguinte cláusula será aplicável: A
FUNCIONALIDADE AVC DO SOFTWARE iOS É LICENCIADA APENAS PARA USO PESSOAL E SEM
FINS COMERCIAIS DE UM CONSUMIDOR PARA (i) CODIFICAR VÍDEO DE ACORDO COM A NORMA
AVC (“VÍDEO AVC”) E/OU (ii) DESCODIFICAR VÍDEO AVC QUE TENHA SIDO CODIFICADO POR UM
CONSUMIDOR A TÍTULO PESSOAL E SEM FINS COMERCIAIS E/OU VÍDEO AVC QUE TENHA SIDO
OBTIDO A PARTIR DE UM FORNECEDOR DE VÍDEO COM LICENÇA PARA FORNECER VÍDEO AVC. É
POSSÍVEL OBTER INFORMAÇÕES SOBRE OUTRAS UTILIZAÇÕES E LICENÇAS JUNTO DE MPEG LA
L.L.C. VISITE O SITE http://www.mpegla.com.

16. Restrições do serviço Yahoo Search. O serviço Yahoo Search disponibilizado através do Safari
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 198 of 452



está licenciado para utilização apenas nos seguintes países e regiões: Alemanha, Argentina, Aruba,
Austrália, Áustria, Bahamas, Barbados, Bélgica, Bermudas, Brasil, Bulgária, Canadá, Chile, China
continental, Hong Kong, Taiwan, Chipre, Colômbia, Coreia do Sul, Dinamarca, El Salvador, Equador,
Eslováquia, Eslovénia, Espanha, EUA, Filipinas, Finlândia, França, Granada, Grécia, Guatemala, Hungria,
Ilhas Caimão, Índia, Indonésia, Irlanda, Islândia, Itália, Jamaica, Japão, Letónia, Lituânia, Luxemburgo,
Malásia, Malta, México, Nicarágua, Noruega, Nova Zelândia, Países Baixos, Panamá, Peru, Polónia,
Porto Rico, Portugal, Reino Unido, República Checa, República Dominicana, Roménia, Singapura, St.
Lucia, St. Vincent, Suécia, Suíça, Tailândia, Trinidade e Tobago, Turquia, Uruguai e Venezuela.

17. Aviso sobre o Microsoft Exchange. A configuração de correio do Microsoft Exchange no Software
iOS é licenciada apenas para fins de sincronização pelo ar (“Over the Air”) de informação (por exemplo,
e-mail, contactos, calendário e tarefas) entre o seu Dispositivo iOS e o Microsoft Exchange Server ou
outro software de servidor licenciado pela Microsoft para implementar o protocolo Exchange ActiveSync
da Microsoft.

EA1566
21/02/2019

————————————
Termos e Condições Suplementares de Apple Pay

Os presentes Termos e Condições Suplementares de Apple Pay (estes “Termos Suplementares”)
suplementam o Contrato de Licença de Software watchOS (a “Licença”); tanto os termos da Licença,
como os Termos Suplementares regem a utilização da funcionalidade Apple Pay por parte do Utilizador,
que se deve considerar como um “Serviço” ao abrigo da presente Licença. Os termos com letra
maiúscula utilizados nos presentes Termos Suplementares têm o significado estabelecido na Licença.

1. Visão geral e restrições de utilização

Apple Pay permite ao Utilizador:

        •    armazenar representações virtuais de cartões de crédito, débito e pré-pagos, incluindo
             cartões de crédito, débito e pré-pagos de lojas e cartão Apple Pay Cash, que são
             suportados pela funcionalidade Apple Pay (“Cartões de Pagamento Suportados”) e utilizar o
             Apple Watch para efetuar pagamentos sem contacto em localizações selecionadas ou
             pagamentos nas aplicações ou em websites;
        •    usar cartões de fidelização e oferta guardados na Wallet (“Cartões Compatíveis com Apple
             Pay” e, em conjunto com os Cartões de Pagamento Suportados, “Cartões Suportados”),
             para efetuar transações com cartões de fidelização e de oferta sem contacto em lojas
             selecionadas no âmbito de um pagamento sem contacto usando Apple Pay; e
        •    enviar pagamentos de pessoa para pessoa a outros utilizadores do Apple Pay.

As funcionalidades Apple Pay do Software iOS podem estar disponíveis apenas em regiões
selecionadas, com emissores de cartões, instituições financeiras e comerciantes selecionados. As
funcionalidades podem variar consoante a região, o emissor e o comerciante.

Para poder utilizar Apple Pay, o Utilizador tem de ter um Cartão Suportado. Os Cartões Suportados
podem variar periodicamente. Além disso, para receber pagamentos de pessoa para pessoa, o
Utilizador tem de ter um cartão Apple Pay Cash.

Os Cartões de Pagamento Suportados e os pagamentos de pessoa para pessoa estão associados ao
ID Apple com o qual iniciou sessão em iCloud para utilizar estas funcionalidades. Os Cartões
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 199 of 452



Suportados estão apenas disponíveis para indivíduos com idade igual ou superior a 13 anos e podem
estar sujeitos a restrições de idade adicionais impostas por iCloud ou pelo Cartão Suportado que está a
tentar fornecer. O cartão Apple Pay Cash e a capacidade de enviar e receber pagamentos de pessoa
para pessoa estão apenas disponíveis para indivíduos maiores de 18 anos.

Apple Pay destina-se à utilização pessoal por parte do Utilizador e o Utilizador apenas pode fornecer os
seus próprios Cartões Suportados. Se o Utilizador estiver a fornecer um cartão empresarial suportado, o
Utilizador declara que está a fazê-lo com a autorização do empregador e que está autorizado a vincular
o empregador aos presentes termos de utilização e a todas as transações efetuadas através da
utilização desta funcionalidade. Caso esteja a enviar ou receber um pagamento de pessoa para pessoa,
o Utilizador representa que está a fazê-lo para seu próprio uso pessoal e não comercial.

O Utilizador concorda em não utilizar Apple Pay para finalidades ilegais ou fraudulentas, ou quaisquer
outras finalidades que são proibidas pela Licença e pelos presentes Termos Suplementares. O Utilizador
concorda ainda em utilizar Apple Pay de acordo com as leis e os regulamentos aplicáveis. O Utilizador
concorda em não interferir ou perturbar o serviço Apple Pay (incluindo aceder ao serviço através de
meios automatizados), ou quaisquer servidores ou redes ligadas ao serviço, ou quaisquer políticas,
requisitos ou regulamentos de redes ligadas ao serviço (incluindo qualquer acesso não autorizado,
utilização, monitorização de dados ou de tráfico).

2. Relação da Apple com o Utilizador

Apple Pay permite ao Utilizador criar criar uma representação virtual dos Cartões Suportados no
Dispositivo iOS suportado. No entanto, a Apple não processa pagamentos ou outras transações de
cartões que não são de pagamento (tais como a acumulação ou resgate de pontos), recebe, retém ou
transfere os fundos do Utilizador, nem tem qualquer outro controlo sobre pagamentos, devoluções,
reembolsos, pontos, valores, descontos ou outras atividades comerciais que possam surgir da utilização
desta funcionalidade por parte do Utilizador.

Os termos dos contratos de titular de cartão que possam existir entre o Utilizador e o emissor do cartão
continuam a reger a utilização dos Cartões de Pagamento Suportados e a sua utilização relacionada
com Apple Pay. De igual modo, a participação do Utilizador em programas de fidelização ou cartão de
oferta e a utilização dos Cartões Compatíveis com Apple Pay em articulação com Apple Pay estarão
sujeitas aos termos e condições do comerciante em questão.

O cartão Apple Pay Cash e a capacidade de enviar e receber pagamentos de pessoa para pessoa estão
disponíveis nos Estados Unidos e constituem serviços prestados pelo Green Dot Bank, membro da
FDIC. Ao ativar tais funcionalidades dentro do Apple Pay, o Utilizador está a abrir uma conta no Green
Dot Bank, e quando o Utilizador receber um pagamento de pessoa para pessoa, depositar ou levantar
dinheiro do seu cartão Apple Pay Cash, o Green Dot Bank será responsável por receber e enviar o
dinheiro do Utilizador ao destinatário pretendido. A instituição financeira responsável por oferecer o
Apple Pay Cash e os pagamentos de pessoa para pessoa dentro do Apple Pay está sujeita a alteração,
e a utilização de tais funcionalidades por parte do Utilizador está sujeita aos respetivos termos e
condições.

Nada presente na Licença ou nestes Termos Suplementares modifica os termos de qualquer contrato de
titular de cartão ou com o comerciante, e esses termos continuam a reger a utilização do Cartão
Suportado aplicável e da respetiva representação virtual no Dispositivo iOS. O Utilizador concorda que a
Apple não é parte dos seus contratos de titular de cartão ou com comerciantes, nem é responsável: (a)
pelo conteúdo, fiabilidade ou indisponibilidade de quaisquer cartões de pagamento, cartões de
fidelização, cartões de oferta, atividades comerciais, transações ou compras durante a utilização da
funcionalidade Apple Pay; (b) pela emissão de crédito ou na avaliação de elegibilidade para crédito; (c)
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 200 of 452



pela a acumulação ou resgate de pontos ou acumulação de valor monetário ao abrigo de um programa
de um comerciante; (d) pelo financiamento ou recarregamento de cartões pré-pagos; (e) pelo envio ou a
receção de pagamentos de pessoa para pessoa; ou (f) pelo depósito, resgate ou levantamento de
dinheiro do cartão Apple Pay Cash do Utilizador.

Para todas as disputas ou questões acerca de cartões de pagamento, cartões de fidelização, cartões de
oferta ou atividade comercial associada, contacte o emissor ou o comerciante em causa. Em caso de
dúvidas a respeito do cartão Apple Pay Cash ou de pagamentos de pessoa para pessoa, contacte o
Suporte da Apple.

3. Privacidade

Apple Pay necessita de alguma informação do Dispositivo iOS para disponibilizar todas as
funcionalidades. Além disso, quando o Utilizador utiliza o seu cartão Apple Pay Cash ou envia ou recebe
pagamentos de pessoa para pessoa, as informações adicionais sobre a respetiva transação são
recolhidas e retidas para dar assistência à sua conta, para prevenir fraudes e para fins regulatórios.
Encontrará mais informação sobre os dados recolhidos, usados ou partilhados no âmbito da utilização
de Apple Pay, do cartão Apple Pay Cash ou dos pagamentos de pessoa para pessoa com Apple Pay na
secção Acerca de Apple Pay e Privacidade (que pode ser acedida através de Wallet e Apple Pay no seu
dispositivo iOS emparelhado ou dentro da aplicação Watch num Dispositivo iOS emparelhado) ou
visitando https://www.apple.com/privacy. Ao utilizar estas funcionalidades, o Utilizador concorda e
aceita a transmissão, recolha, manutenção, processamento e utilização de toda a informação
supracitada por parte da Apple e respetivos agentes e subsidiárias com a finalidade de fornecer a
funcionalidade Apple Pay.

4. Segurança; perda ou desativação de dispositivos

Apple Pay armazena representações virtuais dos Cartões Suportados do Utilizador e deve ser protegida
à semelhança do dinheiro ou dos cartões de crédito, débito, pré-pagos, de fidelização ou de oferta
físicos. O fornecimento do código do dispositivo a terceiros ou a permissão dada a terceiros para
adicionarem a respetiva impressão digital para usar o Touch ID ou ativar o Face ID pode resultar na
capacidade dos mesmos para fazerem pagamentos, enviarem, solicitarem ou receberem pagamentos
de pessoa para pessoa, levantarem dinheiro do cartão Apple Pay Cash, ou receberem ou resgatarem
pontos ou crédito com Apple Pay no dispositivo. O Utilizador é o único responsável pela manutenção da
segurança do seu dispositivo e do respetivo código. O Utilizador concorda que a Apple não tem
qualquer responsabilidade em caso de perda ou partilha do acesso ao dispositivo do Utilizador. O
Utilizador concorda que a Apple não tem qualquer responsabilidade em caso de modificações não
autorizadas ao iOS (como através de “jailbreak”).

Pode ser necessário ativar medidas de segurança adicionais, como autenticação de dois fatores para o
ID Apple, de forma a aceder a funcionalidades específicas de Apple Pay, entre elas o cartão Apple Pay
Cash e pagamentos de pessoa para pessoa com Apple Pay. Se o Utilizador remover subsequentemente
tais funcionalidades de segurança, talvez não seja capaz de continuar a aceder a funcionalidades
específicas de Apple Pay.

Em caso de perda ou roubo do dispositivo, e se a funcionalidade Encontrar iPhone estiver ativada, o
Utilizador pode utilizar a funcionalidade Encontrar iPhone para tentar suspender a capacidade de
efetuar pagamentos com os Cartões de Pagamento Suportados virtuais ou enviar pagamentos de
pessoa para pessoa nesse dispositivo, colocando-o em modo perdido. Além disso, o Utilizador pode
apagar o dispositivo, o que acionará uma tentativa de suspender a capacidade de efetuar pagamentos
com os Cartões Suportados virtuais ou enviar pagamentos de pessoa para pessoa no dispositivo e
também de remover os Cartões Compatíveis com Apple Pay. O Utilizador deve também contactar o
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 201 of 452



emissor dos Cartões de Pagamento Suportados, o comerciante que emitiu os Cartões Compatíveis com
Apple Pay e a Apple, no caso do cartão Apple Pay Cash, para impedir o acesso aos Cartões
Suportados.

Caso o Utilizador comunique ou a Apple suspeite de atividade fraudulenta ou abusiva, o Utilizador
concorda em cooperar com a Apple em qualquer investigação e em utilizar quaisquer medidas de
prevenção de fraude prescritas por nós.

5. Limitação da responsabilidade

PARA ALÉM DAS EXCLUSÕES DE GARANTIA E DA LIMITAÇÃO DE RESPONSABILIDADE
ESTABELECIDA NA LICENÇA, A APPLE NÃO ASSUME QUALQUER RESPONSABILIDADE POR
COMPRAS, PAGAMENTOS, TRANSAÇÕES OU OUTRA ATIVIDADE COMERCIAL EFETUADA ATRAVÉS
DA FUNCIONALIDADE APPLE PAY, E O UTILIZADOR CONCORDA EM OLHAR UNICAMENTE PARA OS
CONTRATOS QUE POSSA TER COM O BANCO EMISSOR, A REDE DE PAGAMENTOS, A
INSTITUIÇÃO FINANCEIRA OU O COMERCIANTE PARA RESOLVER QUAISQUER QUESTÕES OU
DISPUTAS RELACIONADAS COM OS CARTÕES SUPORTADOS, PAGAMENTOS DE PESSOA PARA
PESSOA E ATIVIDADE COMERCIAL ASSOCIADA.

————————————
AVISOS DA APPLE
Caso a Apple precise de contactar o Utilizador sobre o produto ou a conta, o Utilizador autoriza o envio
de avisos por e-mail. O Utilizador aceita que esses avisos enviados de forma eletrónica cumprirão
quaisquer requisitos legais.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 202 of 452



PУССКИЙ

ВНИМАНИЕ: ИСПОЛЬЗУЯ iPHONE, iPAD ИЛИ iPOD TOUCH (ДАЛЕЕ — «УСТРОЙСТВО iOS»),
ВЫ СОГЛАШАЕТЕСЬ СОБЛЮДАТЬ СЛЕДУЮЩИЕ УСЛОВИЯ

A. ЛИЦЕНЗИОННОЕ СОГЛАШЕНИЕ КОМПАНИИ APPLE ОБ ИСПОЛЬЗОВАНИИ
ПРОГРАММНОГО ОБЕСПЕЧЕНИЯ iOS
B. ДОПОЛНИТЕЛЬНЫЕ УСЛОВИЯ ИСПОЛЬЗОВАНИЯ APPLE PAY
C. УВЕДОМЛЕНИЯ КОМПАНИИ APPLE

APPLE INC.
ЛИЦЕНЗИОННОЕ СОГЛАШЕНИЕ ОБ ИСПОЛЬЗОВАНИИ ПРОГРАММНОГО ОБЕСПЕЧЕНИЯ
iOS
Однопользовательская лицензия

ВНИМАТЕЛЬНО ОЗНАКОМЬТЕСЬ С НАСТОЯЩИМ ЛИЦЕНЗИОННЫМ СОГЛАШЕНИЕМ
(ДАЛЕЕ — «ЛИЦЕНЗИЯ») ПЕРЕД ИСПОЛЬЗОВАНИЕМ УСТРОЙСТВА iOS ИЛИ ЗАГРУЗКОЙ
ОБНОВЛЕНИЯ ПРОГРАММНОГО ОБЕСПЕЧЕНИЯ, К КОТОРОМУ ПРИЛАГАЕТСЯ ДАННАЯ
ЛИЦЕНЗИЯ. ИСПОЛЬЗУЯ УСТРОЙСТВО iOS ИЛИ ЗАГРУЖАЯ ОБНОВЛЕНИЕ
ПРОГРАММНОГО ОБЕСПЕЧЕНИЯ, ВЫ ОБЯЗУЕТЕСЬ СОБЛЮДАТЬ УСЛОВИЯ НАСТОЯЩЕЙ
ЛИЦЕНЗИИ. ЕСЛИ ВЫ НЕ СОГЛАШАЕТЕСЬ С УСЛОВИЯМИ НАСТОЯЩЕЙ ЛИЦЕНЗИИ, ТО НЕ
ИСПОЛЬЗУЙТЕ УСТРОЙСТВО iOS И НЕ ЗАГРУЖАЙТЕ ОБНОВЛЕНИЕ ПРОГРАММНОГО
ОБЕСПЕЧЕНИЯ.

ЕСЛИ ВЫ НЕДАВНО ПРИОБРЕЛИ УСТРОЙСТВО iOS И НЕ СОГЛАШАЕТЕСЬ С УСЛОВИЯМИ
НАСТОЯЩЕЙ ЛИЦЕНЗИИ, ВЫ МОЖЕТЕ ВЕРНУТЬ УСТРОЙСТВО iOS В ТЕЧЕНИЕ ПЕРИОДА
ВОЗВРАТА В МАГАЗИН КОМПАНИИ APPLE ИЛИ УПОЛНОМОЧЕННОМУ ДИСТРИБЬЮТОРУ
ПО МЕСТУ ПРИОБРЕТЕНИЯ И ПОЛУЧИТЬ НАЗАД УПЛАЧЕННУЮ ВАМИ СУММУ ПРИ
УСЛОВИИ СОБЛЮДЕНИЯ ПОЛОЖЕНИЙ О ПОЛИТИКЕ ВОЗВРАТА КОМПАНИИ APPLE,
КОТОРАЯ ОПУБЛИКОВАНА НА ВЕБ-САЙТЕ https://www.apple.com/legal/sales_support/.

1. Общие положения.
(a) Программное обеспечение (включая код загрузочного Boot ROM, встроенное программное
обеспечение и стороннее программное обеспечение), документация, интерфейсы, контент,
шрифты и любые данные, идущие в комплекте с Устройством iOS (далее — «Исходная
конфигурация программного обеспечения iOS»), которые могут быть усовершенствованы или
впоследствии заменены обновлениями, новые версии программного обеспечения или
программное обеспечение для восстановления системы, предоставленные Apple (далее —
«Обновления программного обеспечения iOS») и находящиеся на постоянном запоминающем
устройстве или на любом ином носителе информации или в любой иной форме (Исходная
конфигурация программного обеспечения iOS и Обновления программного обеспечения iOS,
совместно именуемые «Программное обеспечение iOS»), не продаются Вам, а предоставляются
компанией Apple Inc. (далее — «Apple») для использования исключительно на условиях
настоящей Лицензии. Apple и ее лицензиары остаются собственниками Программного
обеспечения iOS и сохраняют все прямо не переданные Вам права. Вы соглашаетесь с тем, что
условия настоящей Лицензии применяются к любой программе марки Apple, которая может быть
встроена в Ваше Устройство iOS, если такая программа не сопровождается отдельной
лицензией, с условиями которой Вы соглашаетесь при использовании данной программы.

(b) Apple на свое усмотрение может предоставлять доступ к будущим Обновлениям
программного обеспечения iOS. Обновления программного обеспечения iOS, при их наличии, не
обязательно включают все существующие функции программного обеспечения или новые
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 203 of 452



функции, которые Apple выпускает для более новых или других моделей Устройств iOS. Условия
настоящей Лицензии распространяются на любые предоставляемые компанией Apple
Обновления программного обеспечения iOS, за исключением случаев, когда к подобному
Обновлению программного обеспечения iOS прилагается отдельная лицензия, с условиями
которой Вы соглашаетесь.

(с) Если Вы используете функцию быстрой настройки, чтобы настроить новое Устройство iOS на
основе имеющегося у Вас Устройства iOS, Вы соглашаетесь, что условия настоящей Лицензии
распространяются на использование Программного обеспечения iOS на Вашем новом
Устройстве iOS, за исключением случаев, когда к нему прилагается отдельная лицензия, с
условиями которой Вы соглашаетесь при использовании данного Программного обеспечения
iOS. Ваше Устройство iOS будет периодически проверять наличие в системе Apple обновлений
для программного обеспечения iOS. Если обновление доступно, оно будет автоматически
загружено и установлено на Ваше устройство iOS и в случае применимости на Ваши
периферийные устройства. Используя ПО Apple, Вы соглашаетесь, что Apple может
автоматически загружать и устанавливать обновления программного обеспечения iOS на
Ваш устройство iOS и Ваши периферийные устройства. Вы можете полностью отключить
автоматические обновления в любой момент, изменив настройку параметра «Автоматические
обновления» в разделе «Настройки» > «Основные» > «Обновление ПО».

2. Использование, разрешенное Лицензией и ограничения использования.
(a) В соответствии с условиями и положениями настоящей Лицензии Вам предоставляется
ограниченная неисключительная лицензия на использование Программного обеспечения iOS на
одном Устройстве iOS марки Apple. За исключением случаев, предусмотренных в Разделе 2 (b)
ниже и если иное не предусмотрено отдельным соглашением между Вами и Apple, настоящая
Лицензия не разрешает Вам использовать Программное обеспечение iOS более чем на одном
Устройстве iOS марки Apple. Вы также не имеете права распространять или предоставлять
сетевой доступ к Программному обеспечению iOS для одновременного его использования
несколькими устройствами. Настоящая Лицензия не предоставляет Вам права на использование
запатентованных интерфейсов Apple и другой интеллектуальной собственности при
проектировании, разработке, производстве, лицензировании или распространении устройств и
вспомогательных устройств третьих сторон или программ третьих сторон, предназначенных для
использования с Устройствами iOS. Некоторые из указанных прав предоставляются компанией
Apple на основании отдельных лицензий. Дальнейшая информация по разработке устройств и
вспомогательных устройств третьих сторон, предназначенных для Устройств iOS, доступна на
сайте https://developer.apple.com/programs/mfi/. Дальнейшая информация по разработке
программ для Устройств iOS доступна на сайте https://developer.apple.com.

(b) В соответствии с положениями и условиями настоящей Лицензии Вам предоставляется
ограниченная неисключительная лицензия на загрузку Обновлений программного обеспечения
iOS, которые могут быть предоставлены компанией Apple для Вашей модели Устройства iOS, для
обновления или восстановления программного обеспечения любого такого Устройства iOS,
владельцем которого Вы являетесь или которое Вы контролируете. Настоящая Лицензия не
разрешает Вам обновлять или восстанавливать Устройства iOS, владельцем которых Вы не
являетесь или которые Вы не контролируете. Вы также не имеете права распространять или
предоставлять сетевой доступ к обновлениям Программного обеспечения iOS для
одновременного их использования на нескольких компьютерах или устройствах. При загрузке
Обновления программного обеспечения iOS на свой компьютер Вы вправе изготовить только
одну копию Обновлений программного обеспечения iOS, которая будет храниться на Вашем
компьютере в машиночитаемой форме, исключительно для резервных целей, при условии, что в
данной резервной копии будут сохранены уведомления об авторских правах и иные примечания
владельца прав, содержащиеся в оригинале.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 204 of 452




(c) В случае, если в момент покупки на Вашем Устройстве iOS присутствуют программы марки
Apple из App Store («Предварительно установленные программы»), для использования этих
Предварительно установленных программ на Вашем Устройстве iOS Вам необходимо войти в
систему App Store и связать эти программы с Вашей учетной записью App Store. Связывая одну
Предварительно установленную программу со своей учетной записью App Store, Вы
одновременно с этим автоматически связываете все прочие Предварительно установленные
программы на Вашем Устройстве iOS. Связывая Предварительно установленные программы со
своей учетной записью App Store, Вы соглашаетесь с тем, что Apple может передавать, собирать,
хранить, обрабатывать и использовать Apple ID, который используется Вашей учетной записью
App Store, и уникальный аппаратный идентификатор, полученный с Вашего Устройства iOS, как
уникальные идентификаторы учетной записи в целях проверки правомерности Вашего запроса и
предоставления Вам доступа к Предварительно установленным программам через App Store.
Если Вы не желаете использовать Предварительно установленную программу, Вы можете
удалить ее со своего Устройства iOS в любое время.

(d) Вы не вправе копировать и соглашаетесь не копировать и не предоставлять другим
возможность копировать (кроме случаев, прямо установленных настоящей Лицензией),
декомпилировать, разбирать на части, пытаться осуществить расшифровку структуры
программного обеспечения, вносить изменения или создавать производные произведения на
основе Программного обеспечения iOS или услуг, предоставляемых Программным обеспечением
iOS, или любой их части (кроме случаев, когда упомянутые выше ограничения запрещены
действующим законодательством или положениями лицензии, регулирующей использование
компонентов с открытым кодом, которые могут быть включены в Программное обеспечение iOS,
исключительно в пределах такого запрещения).

(e) Программное обеспечение iOS может быть использовано для воспроизведения материалов
при условии, что такое использование ограничивается воспроизведением материалов, не
защищенных положениями авторского права, материалов, на которые Вам принадлежат
авторские права, или тех материалов, в отношении которых Вам предоставлено право или
законное разрешение на их воспроизведение. Правовой титул и права интеллектуальной
собственности в отношении любых данных, отображаемых, хранящихся или доступных при
помощи Вашего Устройства iOS, принадлежат владельцу соответствующих данных. Эти данные
могут быть защищены авторским правом либо иными законами и международными
соглашениями о правах на интеллектуальную собственность, и третьи лица, предоставившие
такие данные, могут ставить условия их использования. За исключением указанных здесь
случаев, настоящая Лицензия не предоставляет Вам каких-либо прав на использование таких
материалов и не гарантирует, что эти материалы будут доступны для Вас в дальнейшем.

(f) В соответствии с условиями и положениями настоящей Лицензии, Вы можете использовать
символы Animoji и Memoji, входящие в программное обеспечение iOS или созданные с его
помощью (далее — «Системные символы») (i) во время работы программного обеспечения iOS и
(ii) для создания собственных оригинальных материалов и проектов, предназначенных для
личного некоммерческого использования. Настоящая Лицензия не разрешает никакое другое
использование Системных символов, включая без ограничения использование,
воспроизведение, отображение, исполнение, запись, публикацию или распространение
Системных символов для коммерческих и некоммерческих целей, а также коллективного
использования.

(g) Вы соглашаетесь использовать Программное обеспечение iOS и Услуги (как определено в
Разделе 5 ниже) в соответствии с действующим законодательством, включая местное
законодательство страны или региона, в которых Вы проживаете или в которых Вы загружаете
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 205 of 452



или используете Программное обеспечение iOS и Услуги. Функции Программного обеспечения
iOS и Услуги могут быть доступны не на всех языках и не во всех регионах, список доступных
функций может зависеть от региона, а некоторые функции могут быть ограничены или могут не
предоставляться Вашим поставщиком услуг. Для использования некоторых функций
Программного обеспечения iOS и Услуг требуется подключение к сети Wi-Fi или сотовой сети
передачи данных.

(h) Для использования App Store требуется сочетание уникального имени пользователя и пароля,
известное под названием Apple ID. Apple ID также требуется для доступа к обновлениям
программ и определенным функциям Программного обеспечения iOS и Услуг.

(i) Вы признаете, что многие функции, встроенные программы и Услуги Программного
обеспечения iOS передают данные, и такая передача данных может повлечь за собой выплаты в
рамках Вашего тарифного плана, и что Вы несете ответственность за любые такие выплаты. Вы
можете просмотреть и проконтролировать, каким программам разрешено использование данных
сотовых сетей и оценить, сколько таких данных используется этими программами в меню
настроек «Сотовые данные». Кроме того, функция «Помощь Wi-Fi» автоматически переключает
устройство в режим сотовой сети при плохом соединении по сети Wi-Fi, что может привести к
более долгому использованию сотовой сети и повлечь за собой выплаты в рамках Вашего
тарифного плана. По умолчанию функция «Помощь Wi-Fi» включена, но Вы можете отключить ее
в разделе «Настройки». Подробнее см. в Руководстве пользователя Вашего Устройства iOS.

(j) Если Вы включите автоматическое обновление программ, Ваше Устройство iOS будет
периодически проверять наличие в системе Apple обновлений для программ на Вашем
устройстве, и, если доступно обновление, оно будет автоматически загружено и установлено на
Ваше устройство. Вы можете в любой момент полностью отключить автоматическое обновление
программ, открыв «Настройки», нажав «iTunes Store и App Store» и выключив «Обновления» в
разделе «Автоматические обновления».

(k) В некоторых обстоятельствах использование Вашего Устройства iOS может отвлекать Вас и
приводить к опасным ситуациям (например, избегайте набирать текстовые сообщения во время
вождения автомобиля или использовать наушники во время езды на велосипеде). Используя
свое Устройство iOS, Вы соглашаетесь с тем, что Вы несете ответственность за соблюдение
правил, запрещающих или ограничивающих использование мобильных телефонов и наушников
(например, требования использовать гарнитуру при совершении вызовов во время вождения).

3. Передача прав. Вы не вправе брать или сдавать в прокат, аренду, предоставлять на время,
продавать, повторно распространять или сублицензировать Программное обеспечение iOS.
Однако Вы можете произвести единовременную необратимую передачу всех Ваших прав по
лицензии на Программное обеспечение iOS третьей стороне в связи с передачей права
собственности на Устройство iOS при условии, что (a) подобная передача прав будет включать в
себя Устройство iOS и все Программное обеспечение iOS, включая все его составные части и
настоящую Лицензию; (b) у Вас не останется полных или частичных копий Программного
обеспечения iOS, включая копии, хранящиеся на компьютере или ином устройстве хранения
данных; (c) сторона, получающая Программное обеспечение iOS, прочитает и согласится принять
условия настоящей Лицензии.

4. Согласие на использование информации. Когда Вы используете свое устройство, Ваш
телефонный номер и определенные уникальные идентификаторы Вашего Устройства iOS
отправляются в Apple, чтобы другие пользователи имели возможность найти Вас по
телефонному номеру при использовании различных функций связи Программного обеспечения
iOS, таких как iMessage и FaceTime. Когда Вы используете iMessage, Apple может сохранять
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 206 of 452



Ваши сообщения в зашифрованной форме в течение ограниченного периода времени, чтобы
гарантировать их доставку. Вы можете отключить FaceTime или iMessage, перейдя в настройки
FaceTime или iMessage на своем Устройстве iOS. Определенным функциям, таким как «Анализ»,
«Службы геолокации», «Диктовка» и Siri, для работы может требоваться информация с Вашего
устройства iOS. При включении или использовании этих функций предоставляются сведения о
том, какая информация отправляется в Apple и как она может использоваться. Подробнее об
этом можно узнать на сайте https://www.apple.com/ru/privacy/. Ваша информация всегда
обрабатывается в соответствии с Политикой конфиденциальности Apple, ознакомиться с
которой Вы можете на сайте https://www.apple.com/legal/privacy/.

5. Услуги и материалы третьих сторон.
(a) Программное обеспечение iOS может предоставлять доступ к онлайн-магазинам компании
Apple iTunes Store, App Store, Apple Books, Game Center, iCloud, Картам и другим услугам и веб-
сайтам, предоставляемым компанией Apple и третьими сторонами (далее совместно и по
отдельности именуемым «Услуги»). Такие Услуги могут быть доступны не на всех языках и не во
всех странах. Для пользования этими Услугами необходим доступ к Интернету. Для пользования
отдельными Услугами может требоваться Apple ID, может требоваться Ваше согласие с
дополнительными условиями, а также за пользование отдельными Услугами может взиматься
дополнительная плата. Используя данное программное обеспечение с Apple ID или другой
Услугой Apple, Вы соглашаетесь с применимыми условиями пользования данной Услугой,
например с новейшими условиями и положениями пользования Мультимедийными сервисами
Apple для страны, в которой Вы пользуетесь данными Услугами, с которыми Вы можете
ознакомиться по адресу: https://www.apple.com/legal/internet-services/itunes/.

(b) При наличии регистрации в iCloud Вы можете получать доступ к определенным функциям
iCloud, таким как «Фотоархив iCloud», «Мой фотопоток», «Общие альбомы», «Создать резервную
копию» и «Найти iPhone», напрямую из Программного обеспечения iOS. Вы признаете и
соглашаетесь с тем, что Ваше использование iCloud и этих функций регулируется новейшей
версией положений и условий использования службы iCloud, с которой Вы можете ознакомиться
по адресу: https://www.apple.com/legal/internet-services/icloud/.

(c) Контент программы News. Вы имеете право только личного некоммерческого использования
контента, к которому Вы получаете доступ через программу News; его использование не
наделяет Вас никакими правами собственности на этот контент; Вы также не имеете права
использовать такой контент в любых коммерческих или рекламных целях, без каких-либо
исключений. Кроме того, Вам запрещается переиздавать, передавать или воспроизводить любые
изображения, к которым Вы получаете доступ через программу News в качестве отдельных
файлов.

(d) Карты. Услуги и функции карт в Программном обеспечении iOS (далее — «Карты»), включая
доступность картографических данных, могут различаться в зависимости от региона. Когда Вы
используете любые функции Карт, связанные с определением местоположения, например
пошаговую навигацию, информацию о дорожном движении и местный поиск, в Apple может
отправляться различная информация, связанная с Вашим местоположением, и сведения об
использовании, включая местоположение Вашего Устройства iOS в реальном времени, в целях
обработки Вашего запроса и помощи в улучшении Карт. Сбор таких данных о местоположении и
использовании выполняется Apple в такой форме, которая не идентифицирует Вас лично.
Используя Карты, Вы даете компании Apple и ее партнерам и агентам право на передачу,
сбор, хранение, обработку и использование этой информации в целях предоставления и
улучшения функций и услуг Карт и других продуктов и услуг Apple. Кроме того, Apple может
передавать такую информацию либо в сводной, либо в не позволяющей установить личность
конкретных пользователей форме своим партнерам и лицензиарам в целях улучшения продуктов
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 207 of 452



и услуг, использующих карты и информацию о местоположении. Вы можете отключить функции
Карт, связанные с определением местоположения, в настройках Служб размещения на своем
Устройстве iOS, выключив службы определения местоположения для Карт. Однако при
отключенных Службах размещения Вам будут недоступны некоторые функции Карт, например
пошаговая навигация.

(e) Вы сознаете, что во время использования подобных Услуг Вам может встретиться контент,
который может показаться оскорбительным, неприличным или нежелательным, содержание
которого может или не может быть определено как имеющее откровенно неприличный характер,
и что в результате поиска или ввода определенного URL-адреса автоматически и
непреднамеренно могут быть созданы ссылки на оскорбительный материал. Тем не менее, Вы
соглашаетесь с тем, что использование подобных Услуг осуществляется Вами на свой
собственный риск и что Apple, ее дочерние предприятия, агенты, принципалы и лицензиары не
несут перед Вами ответственности за контент, содержание которого Вы можете счесть
оскорбительным, неприличным или нежелательным.

(f) Некоторые Услуги предполагают показ, а также включают или предоставляют доступ к
контенту, данным, информации, программам или материалам третьих сторон («Материалы
третьих сторон»), а также предоставляют ссылки на веб-сайты третьих сторон. Пользуясь
данными Услугами, Вы признаете и соглашаетесь с тем, что компания Apple не принимает на себя
обязательств по изучению или оценке данного контента, а также точности, полноты,
актуальности, правильности, соблюдения авторских прав, правомерности, пристойности,
качества и прочих качеств любых Материалов или веб-сайтов третьих сторон. Компания Apple,
ее сотрудники, аффилированные лица, дочерние предприятия не гарантируют и не рекомендуют,
а также не принимают на себя и не несут никакой ответственности перед Вами или третьими
сторонами за любые Услуги, Материалы или веб-сайты третьих сторон, либо за любые другие
материалы, продукты или услуги третьих сторон. Материалы и ссылки на веб-сайты третьих
сторон предоставляются исключительно для Вашего удобства.

(g) Компания Apple и ее контент-провайдеры не гарантируют доступность, точность, полноту,
надежность и своевременность информации о ценных бумагах, данных о местоположении и иных
данных, отображаемых посредством любой из Услуг. Финансовая информация, которая
отображается посредством Услуг, предоставляется только в информативных целях и не должна
рассматриваться как рекомендация по инвестированию. Перед осуществлением каких-либо
сделок с ценными бумагами на основе информации, полученной посредством Услуг, Вы
обязуетесь проконсультироваться со специалистом в области финансов и ценных бумаг, который
правомочен давать финансовые рекомендации или рекомендации по ценным бумагам в Вашей
стране или регионе. Данные о местоположении, предоставленные любыми Услугами, включая
услугу «Карты» Apple, предоставляются только для простых целей навигации и планирования и
не предназначены для ситуаций, когда необходима точная информация о местоположении, или
ситуаций, когда ошибочные, неточные, запаздывающие или неполные данные о местоположении
могут привести к смерти, травме, нанесению ущерба собственности или окружающей среде. Вы
соглашаетесь с тем, что результаты, полученные Вами при пользовании услугой «Карты», могут
различаться в зависимости от текущей дорожной обстановки и условий на местности, под
действием факторов, которые могут повлиять на точность данных Карт, включая, помимо
прочего, погодные и дорожные условия, а также геополитическую обстановку. В целях Вашей
безопасности, во время использования функции навигации всегда обращайте внимание на
дорожные знаки на местности и обстановку на дороге. Соблюдайте правила безопасного
вождения и правила дорожного движения, а также помните, что на пеших маршрутах могут
отсутствовать тротуары и пешеходные дорожки.

(h) В тех случаях, когда Вы выгружаете любой контент посредством использования Услуг, Вы
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 208 of 452



заявляете, что Вы обладаете всеми правами, были уполномочены или другим способом имеете
законное право на выгрузку такого контента и что такой контент не нарушает любые условия
оказания услуг, применимые к Услугам. Вы соглашаетесь, что Услуги содержат запатентованный
контент, информацию и материалы, являющиеся собственностью компании Apple, владельца
сайта или их лицензиаров, которые защищены соответствующими законодательством о правах
на интеллектуальную собственность и другими законами, в том числе законодательством об
авторском праве. Вы соглашаетесь не использовать подобный контент, информацию или
материалы каким-либо способом, кроме разрешенных для данных Услуг, или каким-либо
способом, который противоречит условиям настоящей Лицензии или нарушает права на
интеллектуальную собственность третьей стороны или компании Apple. Запрещается
воспроизводить Услуги, полностью или частично, в любой форме и каким бы то ни было
способом. Вы соглашаетесь не изменять, не брать и не сдавать в аренду, не сдавать в прокат, не
давать в залог, не продавать, не распространять и не создавать производные работы,
основанные на Услугах, каким бы то ни было образом. Вы не должны пользоваться Услугами
каким-либо неразрешенным способом, включая, помимо прочего, использование Услуг для
передачи любых компьютерных вирусов, червей, троянских коней или других вредоносных
программ, а также способами, вызывающими снижение пропускной способности сети или ее
перегрузку. Кроме того, Вы соглашаетесь не использовать Услуги каким бы то ни было образом
с целью причинения беспокойства, оскорбления, преследования, угроз, клеветы или нарушения
прав третьих сторон иным образом, и компания Apple не несет ответственности за подобное
использование Услуг Вами или за любые причиняющие беспокойство, содержащие угрозы,
клевету, оскорбительные, нарушающие права или неправомерные сообщения, которые Вы
можете получить в результате использования какой-либо из данных Услуг.

(i) Кроме того, Услуги и Материалы третьих сторон, к которым можно получить доступ, перейти
по ссылке или отобразить с помощью Устройства iOS, доступны не на всех языках и не во всех
странах и регионах. Apple не делает никаких заявлений относительно того, что подобные Услуги
и Материалы третьих сторон адекватны или доступны для использования в каком-либо
определенном регионе. Во время обмена фотографиями или синхронизации фотографий через
Устройство iOS вместе с фотографиями могут быть переданы метаданные, включая информацию
о том где и когда было сделано фото и подробную информацию о нем. Пользование услугами
Apple (такими как «Фотоархив iCloud») для обмена фотографиями или их синхронизации влечет
за собой получение компанией Apple таких метаданных и их последующее хранение. Компания
Apple и ее лицензиары сохраняют за собой право в любой момент и без уведомления изменять,
приостанавливать, удалять Услуги или блокировать доступ к ним. Компания Apple также вправе в
любой ситуации и без уведомления наложить ограничения на использование определенных Услуг
или доступ к ним, не неся за это ответственности.

6. Прекращение. Настоящая Лицензия действительна до момента ее прекращения. В случае
нарушения Вами условия или условий настоящей Лицензии Ваши права по настоящей лицензии
автоматически прекращаются, или Лицензия прекращает действие иным способом без
уведомления со стороны Apple. По окончании действия настоящей Лицензии Вы должны
прекратить любое использование Программного обеспечения iOS. Разделы 4, 5, 6, 7, 8, 9, 12 и 13
настоящей Лицензии продолжают действовать даже после прекращения действия Лицензии.

7. Отказ от гарантий.
7.1. Если Вы являетесь клиентом-потребителем, то есть используете Программное
обеспечение iOS вне сферы своей предпринимательской или профессиональной деятельности,
Вы можете иметь юридические права в своей стране пребывания, которые запрещают
применение к Вам следующих ограничений; в этом случае эти ограничения не будут применяться
к Вам. Подробную информацию о правах Вы можете получить в обществе защиты прав
потребителей.
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 209 of 452




7.2. ВЫ БЕЗОГОВОРОЧНО ПРИЗНАЕТЕ И СОГЛАШАЕТЕСЬ С ТЕМ, ЧТО В СТЕПЕНИ,
РАЗРЕШЕННОЙ ДЕЙСТВУЮЩИМ ЗАКОНОДАТЕЛЬСТВОМ, ИСПОЛЬЗОВАНИЕ НАСТОЯЩЕГО
ПРОГРАММНОГО ОБЕСПЕЧЕНИЯ iOS И ЛЮБЫХ УСЛУГ, ПРЕДОСТАВЛЯЕМЫХ ИЛИ
ДОСТУПНЫХ ПОСРЕДСТВОМ ПРОГРАММНОГО ОБЕСПЕЧЕНИЯ iOS, ОСУЩЕСТВЛЯЕТСЯ ВАМИ
НА ВАШ СОБСТВЕННЫЙ РИСК, И, ЧТО ВЫ НЕСЕТЕ РИСК ЗА НАДЛЕЖАЩЕЕ КАЧЕСТВО,
ЭФФЕКТИВНОСТЬ, ТОЧНОСТЬ И РЕЗУЛЬТАТ ИХ ИСПОЛЬЗОВАНИЯ.

7.3. В МАКСИМАЛЬНОЙ СТЕПЕНИ, РАЗРЕШЕННОЙ ДЕЙСТВУЮЩИМ
ЗАКОНОДАТЕЛЬСТВОМ, ПРОГРАММНОЕ ОБЕСПЕЧЕНИЕ iOS И УСЛУГИ ПОСТАВЛЯЮТСЯ НА
УСЛОВИЯХ «КАК ЕСТЬ» И «КАК ДОСТУПНО», СО ВСЕМИ НЕДОСТАТКАМИ И БЕЗ ГАРАНТИЙ
ЛЮБОГО РОДА. КОМПАНИЯ APPLE И ЕЕ ЛИЦЕНЗИАРЫ (СОВМЕСТНО ИМЕНУЕМЫЕ «APPLE» В
ЦЕЛЯХ РАЗДЕЛОВ 7 И 8) НАСТОЯЩИМ ОТКАЗЫВАЮТСЯ ОТ ПРЕДОСТАВЛЕНИЯ ЛЮБЫХ
ГАРАНТИЙНЫХ ОБЯЗАТЕЛЬСТВ В ОТНОШЕНИИ ПРОГРАММНОГО ОБЕСПЕЧЕНИЯ iOS И УСЛУГ,
ЯВНЫХ, ПОДРАЗУМЕВАЕМЫХ ИЛИ ПРЕДПИСАННЫХ ЗАКОНОМ, ВКЛЮЧАЯ, ПОМИМО
ПРОЧЕГО, ПОДРАЗУМЕВАЕМЫЕ ГАРАНТИИ И/ИЛИ УСЛОВИЯ ПРИГОДНОСТИ К ПРОДАЖЕ,
НАДЛЕЖАЩЕГО КАЧЕСТВА, ПРИГОДНОСТИ ДЛЯ ИСПОЛЬЗОВАНИЯ В КОНКРЕТНЫХ ЦЕЛЯХ,
ТОЧНОСТИ, СПОКОЙНОГО ПОЛЬЗОВАНИЯ И НЕНАРУШЕНИЯ ПРАВ ТРЕТЬИХ СТОРОН.

7.4. APPLE НЕ ПРЕДОСТАВЛЯЕТ ГАРАНТИЙ В ОТНОШЕНИИ ЗАЩИТЫ ОТ ОБСТОЯТЕЛЬСТВ,
ПРЕПЯТСТВУЮЩИХ РАБОТЕ С ПРОГРАММНЫМ ОБЕСПЕЧЕНИЕМ iOS И УСЛУГАМИ,
СООТВЕТСТВИЯ ФУНКЦИЙ И УСЛУГ, ВЫПОЛНЯЕМЫХ ИЛИ ПРЕДОСТАВЛЯЕМЫХ
ПРОГРАММНЫМ ОБЕСПЕЧЕНИЕМ iOS, КОНКРЕТНЫМ ТРЕБОВАНИЯМ, БЕСПЕРЕБОЙНОЙ И
БЕЗОШИБОЧНОЙ РАБОТЫ ПРОГРАММНОГО ОБЕСПЕЧЕНИЯ iOS, СОХРАНЕНИЯ
ДОСТУПНОСТИ ЛЮБЫХ УСЛУГ, ИСПРАВЛЕНИЯ НЕДОСТАТКОВ В ПРОГРАММНОМ
ОБЕСПЕЧЕНИИ И УСЛУГАХ iOS, А ТАКЖЕ СОВМЕСТИМОСТИ И РАБОТЫ ПРОГРАММНОГО
ОБЕСПЕЧЕНИЯ iOS С ПРОГРАММНЫМ ОБЕСПЕЧЕНИЕМ, ПРОГРАММАМИ ИЛИ УСЛУГАМИ
ТРЕТЬИХ СТОРОН. УСТАНОВКА ДАННОГО ПРОГРАММНОГО ОБЕСПЕЧЕНИЯ iOS МОЖЕТ
ПОВЛИЯТЬ НА ДОСТУПНОСТЬ И ЭКСПЛУАТАЦИОННУЮ ПРИГОДНОСТЬ ПРОГРАММНОГО
ОБЕСПЕЧЕНИЯ, ПРОГРАММ ИЛИ УСЛУГ ТРЕТЬИХ СТОРОН, А ТАКЖЕ ПРОДУКТОВ И УСЛУГ
APPLE.

7.5. ВЫ ПРИЗНАЕТЕ, ЧТО ПРОГРАММНОЕ ОБЕСПЕЧЕНИЕ iOS И УСЛУГИ НЕ
ПРЕДНАЗНАЧЕНЫ И НЕ ПОДХОДЯТ ДЛЯ ИСПОЛЬЗОВАНИЯ В СИТУАЦИЯХ ИЛИ СРЕДАХ, В
КОТОРЫХ НЕВОЗМОЖНОСТЬ ИСПОЛЬЗОВАНИЯ, ЗАДЕРЖКИ, ОШИБКИ ИЛИ НЕТОЧНОСТИ В
КОНТЕНТЕ, ДАННЫХ ИЛИ ИНФОРМАЦИИ, КОТОРЫЕ ПРЕДОСТАВЛЯЮТСЯ ПРОГРАММНЫМ
ОБЕСПЕЧЕНИЯМ iOS ИЛИ УСЛУГАМИ, МОГУТ ПОВЛЕЧЬ ЗА СОБОЙ СМЕРТЬ ИЛИ
ПРИЧИНЕНИЕ ВРЕДА ЛИЧНОСТИ ЛИБО ПРИВЕСТИ К СЕРЬЕЗНЫМ ПОВРЕЖДЕНИЯМ ИЛИ
НАНЕСЕНИЮ УЩЕРБА ОКРУЖАЮЩЕЙ СРЕДЕ, ВКЛЮЧАЯ, ПОМИМО ПРОЧЕГО,
ИСПОЛЬЗОВАНИЕ В ЯДЕРНЫХ УСТАНОВКАХ, ПРИ УПРАВЛЕНИИ ВОЗДУШНЫМИ СУДАМИ ИЛИ
КОММУНИКАЦИОННЫМИ СИСТЕМАМИ, СИСТЕМАМИ КОНТРОЛЯ ДВИЖЕНИЯ ВОЗДУШНОГО
ТРАНСПОРТА, АППАРАТАМИ ИСКУССТВЕННОГО ПОДДЕРЖАНИЯ ЖИЗНЕДЕЯТЕЛЬНОСТИ ИЛИ
УПРАВЛЕНИЕМ СИСТЕМАМИ ВООРУЖЕНИЯ.

7.6. НИКАКАЯ УСТНАЯ ИЛИ ПИСЬМЕННАЯ ИНФОРМАЦИЯ ИЛИ СОВЕТ СО СТОРОНЫ APPLE
ИЛИ ЕЕ УПОЛНОМОЧЕННОГО ПРЕДСТАВИТЕЛЯ НЕ МОГУТ РАССМАТРИВАТЬСЯ КАК
ГАРАНТИЙНЫЕ ОБЯЗАТЕЛЬСТВА. В СЛУЧАЕ ЕСЛИ В ПРОГРАММНОМ ОБЕСПЕЧЕНИИ iOS
ОБНАРУЖАТСЯ КАКИЕ-ЛИБО НЕДОСТАТКИ, ЛЮБОЕ ОБСЛУЖИВАНИЕ, ИСПРАВЛЕНИЯ ИЛИ
РЕМОНТ ПРОИЗВОДЯТСЯ ЗА ВАШ СЧЕТ. В НЕКОТОРЫХ ЮРИСДИКЦИЯХ СУЩЕСТВУЕТ
ЗАПРЕТ НА ОТКАЗ ОТ ПОДРАЗУМЕВАЕМЫХ ГАРАНТИЙ ИЛИ ОГРАНИЧЕНИЙ В ОТНОШЕНИИ
СООТВЕТСТВУЮЩИХ, УСТАНОВЛЕННЫХ ЗАКОНОМ ПРАВ ПОТРЕБИТЕЛЯ, ПОЭТОМУ
ВЫШЕУКАЗАННЫЕ ИСКЛЮЧЕНИЯ ИЛИ ОГРАНИЧЕНИЯ МОГУТ БЫТЬ НЕПРИМЕНИМЫ К ВАМ.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 210 of 452




8. Ограничение ответственности. В ОБЪЕМЕ, ПРЯМО НЕ ЗАПРЕЩЕННОМ ДЕЙСТВУЮЩИМ
ЗАКОНОДАТЕЛЬСТВОМ, APPLE, ЕЕ ДОЧЕРНИЕ ПРЕДПРИЯТИЯ, АГЕНТЫ И ПРИНЦИПАЛЫ НЕ
НЕСУТ ОТВЕТСТВЕННОСТИ ЗА ПРИЧИНЕНИЕ ВРЕДА ФИЗИЧЕСКОМУ ЛИЦУ ИЛИ ЛЮБЫЕ
СЛУЧАЙНЫЕ, ОСОБЫЕ, НЕПРЯМЫЕ ИЛИ КОСВЕННЫЕ УБЫТКИ, ВКЛЮЧАЯ, ПОМИМО
ПРОЧЕГО, УПУЩЕННУЮ ВЫГОДУ, ПОВРЕЖДЕНИЕ ИЛИ ПОТЕРЮ ДАННЫХ, НЕИСПРАВНОСТИ
ПРИ ПЕРЕДАЧЕ ИЛИ ПОЛУЧЕНИИ ЛЮБЫХ ДАННЫХ (ВКЛЮЧАЯ, ПОМИМО ПРОЧЕГО,
ИНСТРУКЦИИ, НАЗНАЧЕНИЯ И МАТЕРИАЛЫ К КУРСАМ), ПЕРЕРЫВ В КОММЕРЧЕСКОЙ
ДЕЯТЕЛЬНОСТИ ИЛИ ИНЫЕ КОММЕРЧЕСКИЕ УБЫТКИ ИЛИ УЩЕРБ, ВОЗНИКШИЕ ИЛИ
СВЯЗАННЫЕ С ИСПОЛЬЗОВАНИЕМ ИЛИ НЕВОЗМОЖНОСТЬЮ ИСПОЛЬЗОВАНИЯ
ПРОГРАММНОГО ОБЕСПЕЧЕНИЯ iOS И УСЛУГ ИЛИ ЛЮБОГО ПРОГРАММНОГО ОБЕСПЕЧЕНИЯ
ИЛИ ПРОГРАММ ТРЕТЬИХ СТОРОН В СВЯЗИ С ИСПОЛЬЗОВАНИЕМ ПРОГРАММНОГО
ОБЕСПЕЧЕНИЯ iOS ИЛИ УСЛУГ ПО ЛЮБОЙ ПРИЧИНЕ, НЕЗАВИСИМО ОТ ТЕОРИИ
ОТВЕТСТВЕННОСТИ (ИЗ ДОГОВОРА, ИЗ ДЕЛИКТА ИЛИ НА ИНЫХ ОСНОВАНИЯХ), ДАЖЕ В
СЛУЧАЕ ЕСЛИ КОМПАНИИ APPLE БЫЛО ИЗВЕСТНО О ВОЗМОЖНОСТИ ВОЗНИКНОВЕНИЯ
ПОДОБНЫХ УБЫТКОВ. В НЕКОТОРЫХ ЮРИСДИКЦИЯХ СУЩЕСТВУЕТ ЗАПРЕТ ИСКЛЮЧЕНИЯ
ИЛИ ОГРАНИЧЕНИЯ ОТВЕТСТВЕННОСТИ ЗА ВРЕД ФИЗИЧЕСКИМ ЛИЦАМ ИЛИ ЗА СЛУЧАЙНЫЕ
ИЛИ КОСВЕННЫЕ УБЫТКИ, ПОЭТОМУ ПОДОБНЫЕ ОГРАНИЧЕНИЯ МОГУТ БЫТЬ
НЕПРИМЕНИМЫ К ВАМ. В любом случае общая ответственность Apple перед Вами за все убытки
(помимо тех, которые могут подлежать возмещению в соответствии с требованиями
применимого законодательства в случае причинения вреда физическому лицу) ограничивается
суммой в 250 (двести пятьдесят) долларов США. Вышеуказанные ограничения действуют, даже
если применение какого-либо из вышеназванных средств правовой защиты не соответствует его
основной цели.

9. Цифровые сертификаты. Функциональные возможности Программного обеспечения iOS
позволяют принимать цифровые сертификаты, выданные Apple или третьими сторонами. ВЫ
САМОСТОЯТЕЛЬНО НЕСЕТЕ ПОЛНУЮ ОТВЕТСТВЕННОСТЬ ЗА РЕШЕНИЕ ПРИНЯТЬ ИЛИ
ОТКЛОНИТЬ СЕРТИФИКАТ, ВЫДАННЫЙ APPLE ИЛИ ТРЕТЬЕЙ СТОРОНОЙ. ВЫ ИСПОЛЬЗУЕТЕ
ЦИФРОВЫЕ СЕРТИФИКАТЫ НА СВОЙ РИСК. В МАКСИМАЛЬНО РАЗРЕШЕННОМ
ПРИМЕНИМЫМ ЗАКОНОДАТЕЛЬСТВОМ ОБЪЕМЕ APPLE НЕ ПРЕДОСТАВЛЯЕТ НИКАКИХ
ЯВНЫХ ИЛИ ПОДРАЗУМЕВАЕМЫХ ГАРАНТИЙ ИЛИ ЗАЯВЛЕНИЙ КАСАТЕЛЬНО ПРИГОДНОСТИ
К ПРОДАЖЕ ИЛИ ПРИГОДНОСТИ ДЛЯ ИСПОЛЬЗОВАНИЯ В КОНКРЕТНЫХ ЦЕЛЯХ, ТОЧНОСТИ,
БЕЗОПАСНОСТИ ИЛИ НЕНАРУШЕНИЯ ПРАВ ТРЕТЬИХ СТОРОН В ОТНОШЕНИИ ЦИФРОВЫХ
СЕРТИФИКАТОВ.

10. Экспортный контроль. Вы не вправе использовать или иным образом экспортировать или
реэкспортировать Программное обеспечение iOS за исключением тех случаев, когда это
разрешено законодательством США и законодательством юрисдикции(й), в которой(ых)
Программное обеспечение iOS было приобретено. В частности, помимо прочего, Программное
обеспечение iOS не может быть экспортировано или реэкспортировано (a) в страны, в отношении
которых США введено эмбарго, или (б) любому из установленного Департаментом финансов
США Списка особо означенных граждан или из установленного Департаментом торговли США
Списка исключенных физических или юридических лиц или любого другого списка исключенных
лиц. Используя Программное обеспечение iOS, Вы заявляете и гарантируете, что Вы не
находитесь ни в одной из указанных стран и не включены ни в один из перечисленных списков.
Вы также соглашаетесь не использовать Программное обеспечение iOS в любых целях,
запрещенных законодательством США, включая, помимо прочего, разработку, проектирование,
изготовление или производство ракет, ядерного, химического или биологического оружия.

11. Конечные пользователи Правительства. Программное обеспечение iOS и сопутствующая
документация представляют собой «Коммерческие продукты» в значении, установленном в главе
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 211 of 452



48 Свода федеральных постановлений (C.F.R.) п. 2.101, состоящие из «Коммерческого
компьютерного программного обеспечения» и «Коммерческой документации для компьютерного
программного обеспечения», в значении этих терминов предусмотренных, соответственно, в
главе 48 Свода федеральных постановлений (C.F.R.) п. 12.212 или в главе 48 Свода федеральных
постановлений (C.F.R.) п. 227.7202. Как указано соответственно в п. 12.212 главы 48 или в пп.
227.7202-1 - 227.7202-4 главы 48 Свода федеральных постановлений (C.F.R.), лицензии на
Коммерческое Программное компьютерное обеспечение и Коммерческую документацию на
Программное компьютерное обеспечение выдаются конечным пользователям Правительства
США (a) только в качестве Коммерческих продуктов и (б) только в объеме тех прав, которые
предоставляются всем другим конечным пользователям в соответствии с условиями настоящей
Лицензии. Неопубликованные права сохраняются за Apple в соответствии с законодательством
об авторских правах США.

12. Применимое право и частичная недействительность. Положения настоящей Лицензии
регулируются и толкуются в соответствии с законодательством штата Калифорния, за
исключением положений коллизионного права. Настоящая Лицензия не подлежит
регулированию Конвенцией ООН о договорах международной торговли товарами, действие
которой прямо исключено. Если Вы являетесь потребителем, проживающих в Соединенном
Королевстве, данное соглашение регулируется законами юрисдикции страны пребывания. Если
по какой-либо причине надлежащая судебная инстанция признает одно из положений или его
часть не подлежащими принудительному исполнению, оставшиеся положения Лицензии
сохраняют полную юридическую силу.

13. Целостность соглашения. Основной язык соглашения. Настоящая Лицензия представляет
собой полное соглашение между Вами и компанией Apple в отношении Программного
обеспечения iOS и заменяет собой все предыдущие или временные договоренности сторон по
предмету соглашения. Любые поправки или изменения настоящей Лицензии действительны,
только если они внесены в письменной форме и подписаны компанией Apple. Любой перевод
настоящей Лицензии осуществляется только для соблюдения требований местного
законодательства. В случае расхождений между версиями на английском и любом другом языке
приоритет имеет версия Лицензии на английском языке в максимальном объеме, прямо не
запрещенном местным законодательством.

14. Признание прав третьих сторон. Некоторые части Программного обеспечения iOS могут
использовать или включать в себя программное обеспечение третьих сторон и другие
материалы, охраняемые авторским правом. Признание прав третьих сторон, условия
лицензирования и отказ от предоставления гарантий в отношении таких материалов содержатся
в электронной документации к Программному обеспечению iOS, а использование Вами подобных
материалов регулируется соответствующими вышеуказанными положениями. Использование
службы Google Safe Browsing должно соответствовать Условиям предоставления услуг Google
(https://www.google.com/intl/ru/policies/terms/) и Политике конфиденциальности Google (https://
www.google.com/intl/ru/policies/privacy/).

15. Использование MPEG-4; H.264/AVC.
(a) Программное обеспечение iOS предоставляется по Лицензии Пакета Патентов на Системы
MPEG-4 для кодирования в соответствии со Стандартом Систем MPEG-4, за исключением тех
случаев, при которых необходима дополнительная лицензия и оплата лицензионных отчислений
для кодирования в связи с (i) данными, хранящимися или воспроизведенными на физическом
носителе, которые оплачиваются исходя из количества наименований, и/или (ii) данными,
оплачиваемыми, исходя из количества наименований, и передающимися конечному
пользователю для постоянного хранения и/или использования. Подобная дополнительная
лицензия может быть получена в компании MPEG LA, LLC. Подробную информацию Вы найдете
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 212 of 452



по адресу: http://www.mpegla.com.

(b) Программное обеспечение iOS содержит функциональные средства кодирования и/или
декодирования формата MPEG-4. Программное обеспечение iOS предоставляется на условиях
Лицензии на пакет патентов MPEG-4 Visual для персонального и некоммерческого использования
потребителем в целях (i) кодирования видео в соответствии с Визуальным Стандартом MPEG-4
(«MPEG-4 Видео») и/или (ii) декодирования видео MPEG-4, которое было закодировано
потребителем для персонального и некоммерческого использования, и/или было получено от
поставщика видеопродукции, имеющего лицензию на поставку видео MPEG-4, выданную
компанией MPEG LA. Лицензия не предоставляется и не распространяется на использование в
иных целях. Дополнительную информацию относительно рекламного, внутреннего и
коммерческого использования и лицензирования Вы можете получить в компании MPEG LA, LLC,
посетив сайт http://www.mpegla.com.

(c) Программное обеспечение iOS содержит функциональные средства кодирования и/или
декодирования формата AVC. Коммерческое использование декодера H.264/AVC требует
дополнительного лицензирования и соблюдения следующих условий: ФУНКЦИОНАЛЬНЫЕ
КАЧЕСТВА AVC В ПРОГРАММНОМ ОБЕСПЕЧЕНИИ iOS ПРЕДОСТАВЛЯЮТСЯ ИСКЛЮЧИТЕЛЬНО
ДЛЯ ЛИЧНОГО И НЕКОММЕРЧЕСКОГО ИСПОЛЬЗОВАНИЯ ПОТРЕБИТЕЛЕМ ДЛЯ (i)
КОДИРОВАНИЯ ВИДЕО В СООТВЕТСТВИИ СО СТАНДАРТАМИ AVC (ВИДЕО AVC) И/ИЛИ (ii)
ДЕКОДИРОВАНИЯ ВИДЕО AVC, КОТОРОЕ БЫЛО ЗАКОДИРОВАНО ПОТРЕБИТЕЛЕМ В ЦЕЛЯХ
ЛИЧНОГО И НЕКОММЕРЧЕСКОГО ИСПОЛЬЗОВАНИЯ, И/ИЛИ ВИДЕО AVC, КОТОРОЕ БЫЛО
ПОЛУЧЕНО ОТ ПРОВАЙДЕРА, ПОЛУЧИВШЕГО ЛИЦЕНЗИЮ НА ПРЕДОСТАВЛЕНИЕ ВИДЕО AVC.
БОЛЕЕ ПОДРОБНУЮ ИНФОРМАЦИЮ ОБ ИСПОЛЬЗОВАНИИ И ЛИЦЕНЗИРОВАНИИ ВЫ
МОЖЕТЕ ПОЛУЧИТЬ В КОМПАНИИ MPEG LA L.L.C., ПОСЕТИВ САЙТ http://www.mpegla.com.

16. Ограничение службы поиска Yahoo. Служба поиска Yahoo, доступная через Safari,
лицензирована для использования только в следующих странах и регионах: Австралия, Австрия,
Аргентина, Аруба, Багамские Острова, Барбадос, Бельгия, Бермуды, Болгария, Бразилия,
Великобритания, Венгрия, Венесуэла, Гватемала, Германия, Гренада, Греция, Дания,
Доминиканская Республика, Индия, Индонезия, Ирландия, Исландия, Испания, Италия,
Каймановы острова, Канада, Кипр, материковый Китай, Гонконг, Тайвань, Колумбия, Латвия,
Литва, Люксембург, Малайзия, Мальта, Мексика, Нидерланды, Никарагуа, Новая Зеландия,
Норвегия, Панама, Перу, Польша, Португалия, Пуэрто-Рико, Румыния, Сальвадор, Сент-Винсент,
Сент-Люсия, Сингапур, Словакия, Словения, США, Таиланд, Тринидад и Тобаго, Турция, Уругвай,
Филиппины, Финляндия, Франция, Чешская Республика, Чили, Швейцария, Швеция, Эквадор,
Южная Корея, Ямайка и Япония.

17. Примечание Microsoft Exchange. Настройка почты Microsoft Exchange на Программном
обеспечении iOS лицензирована только для беспроводной синхронизации информации, такой
как электронная почта, контакты, календарь и задачи, между Вашим iOS и сервером Microsoft
Exchange или другим программным обеспечением сервера, лицензированным компанией
Microsoft для реализации протокола Microsoft Exchange ActiveSync.

EA1566
21.02.2019 г.

————————————
Дополнительные положения и условия использования Apple Pay

Данные Дополнительные положения и условия использования Apple Pay (далее —
«Дополнительные условия») дополняют Лицензионное соглашение об использовании
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 213 of 452



программного обеспечения iOS (далее — «Лицензия»); данные Дополнительные условия и
Лицензия регулируют использование функции Apple Pay, которая в рамках Лицензии считается
Услугой. Все термины данных Дополнительных условий, начинающиеся с заглавной буквы,
имеют значения, установленные в Лицензии.

1.   Обзор и ограничения использования.

Функция Apple Pay позволяет:

      •   хранить виртуальные представления карты Apple Pay Cash, кредитных, дебетовых и
          предоплаченных карт, в том числе кредитных, дебетовых и предоплаченных карт
          магазинов, поддерживаемых функцией Apple Pay (далее — «Поддерживаемые
          платежные карты»), и использовать поддерживаемые Устройства iOS для совершения
          бесконтактных платежей в определенных местах, а также для оплаты в программах и
          на веб-сайтах;
      •   использовать карты постоянного покупателя и подарочные карты, хранящиеся в
          программе Wallet («Карты с поддержкой Apple Pay», совместно с Поддерживаемыми
          платежными картами именуемые «Поддерживаемыми картами»), для совершения
          бесконтактных транзакций с карт постоянного покупателя и подарочных карт в
          определенных магазинах в рамках бесконтактного платежа с использованием
          Apple Pay;
      •   совершать личные платежи, доступные Вам и другим пользователям Apple Pay.

Функции Apple Pay Программного обеспечения iOS могут быть доступны не во всех регионах и не
всем эмитентам карт, финансовым учреждениям и продавцам. Список функций может
различаться в зависимости от региона, эмитента и продавца.

Для использования Apple Pay необходима Поддерживаемая карта. Список Поддерживаемых карт
может периодически изменяться. Кроме того, чтобы совершать личные платежи, необходимо
иметь карту Apple Pay Cash.

Для использования Поддерживаемых платежных карт и совершения личных платежей
выполняется их привязка к учетной записи Apple ID, с помощью которой выполнен вход в iCloud.
Поддерживаемые карты доступны только пользователям, достигшим 13 лет, и могут быть
предметом возрастных ограничений, налагаемых iCloud или Поддерживаемой картой, которую
Вы хотите использовать. Карта Apple Pay Cash и личные платежи доступны только лицам,
достигшим 18 лет.

Функция Apple Pay предназначена для личного пользования, и Вы можете создавать
виртуальные представления только собственных Поддерживаемых карт. Если Вы создаете
виртуальное представление поддерживаемой корпоративной карты, Вы подтверждаете, что
делаете это с разрешения своего работодателя и у Вас есть полномочия связать Вашего
работодателя обязательствами соблюдать данные условия использования в отношении всех
операций, проводимых с использованием этой функции. Если Вы совершаете или получаете
личный платеж, Вы подтверждаете, что делаете это только в целях личного некоммерческого
пользования.

Вы соглашаетесь не использовать Apple Pay в незаконных или мошеннических целях или любых
других целях, которые запрещены Лицензией и данными Дополнительными условиями. Вы также
соглашаетесь использовать Apple Pay в соответствии с применимыми законами и правилами. Вы
соглашаетесь не препятствовать и не нарушать работу службы Apple Pay (включая доступ к
службе с использованием любых средств автоматизации) и любых серверов и сетей,
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 214 of 452



подключенных к службе, а также не нарушать любые политики, требования и правила сетей,
подключенных к службе (включая любой несанкционированный доступ, использование или
мониторинг соответствующих данных или трафика).

2.   Отношения между Вами и компанией Apple.

Apple Pay позволяет создавать виртуальное представление Ваших Поддерживаемых карт на
принадлежащем Вам поддерживаемом Устройстве iOS. Однако компания Apple не обрабатывает
платежи или транзакции с других неплатежных карт (такие как вознаграждения и скидки на
картах постоянного покупателя) не получает, не удерживает, не переводит Ваши средства и не
имеет никакого контроля над платежами, возвратами, возмещениями, вознаграждениями,
суммами, скидками или другими коммерческими действиями, которые могут возникать в
результате использования этой функции.

Если между Вами и эмитентом карты заключен договор с держателем банковской карты, его
условия продолжают регулировать Ваше использование Поддерживаемых карт и их
использование в связи с функцией Apple Pay. Аналогичным образом Ваше участие в программах
использования карт постоянного покупателя или подарочных карт у определенных продавцов и
Ваше использование Карт с поддержкой Apple Pay в связи с Apple Pay будет регулироваться
условиями и положениями таких продавцов.

Использование карты Apple Pay Cash и совершение личных платежей доступны исключительно в
США, и эти услуги оказывает банк Green Dot Bank, член Федеральной корпорации по
страхованию вкладов. Когда Вы пользуетесь указанными услугами посредством Apple Pay, Вы
открываете счет в банке Green Dot Bank, а когда Вы получаете или отправляете личные платежи
либо пополняете свою карту Apple Pay Cash или снимаете с нее деньги, Green Dot Bank отвечает
за отправку и получение денег по назначению. Финансовое учреждение, ответственное за услуги,
связанные с использованием карты Apple Pay Cash и совершение личных платежей посредством
Apple Pay, может изменяться, а использование этих функций будет регулироваться применимыми
к ним условиями и положениями.

Никакие из положений Лицензии или данных Дополнительных условий не изменяют условий
любого договора с держателем банковской карты, пользователем или продавцом, и такие
условия будут регулировать Ваше использование соответствующей Поддерживаемой карты и
личных платежей в рамках функции Apple Pay, а также их виртуального представления на Вашем
Устройстве iOS. Вы соглашаетесь с тем, что компания Apple не является стороной в Ваших
договорах с держателем карты или продавцом; не несет ответственности за: (а) содержание,
точность или недоступность каких-либо платежных карт, карт постоянного покупателя,
подарочных карт, коммерческих действий, транзакций или покупок при использовании функции
Apple Pay; (б) выдачу кредита или оценку платежеспособности для его получения; (в) накопление
или использование вознаграждения или скидок в рамках программ продавца; (г) пополнение или
обновление предоплаченных карт; (д) отправку и получение личных платежей; или (е) пополнение
карты Apple Pay Cash, списание или снятие с нее денег.

При возникновении любых споров или вопросов о платежных картах, картах постоянного
покупателя, подарочных картах или связанных с ними коммерческих действиях обратитесь к
эмитенту карты или соответствующему продавцу. По вопросам, касающимся карты
Apple Pay Cash или личных платежей, обратитесь в службу поддержки Apple.

3.   Конфиденциальность.

Для полноценной работы функции Apple Pay ей требуется определенная информация с Вашего
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 215 of 452



Устройства iOS. Кроме того, когда Вы пользуетесь картой Apple Pay Cash или совершаете
личные платежи, выполняется сбор и хранение дополнительной информации о транзакциях для
обслуживания Вашего счета, соблюдения норм и правил и предотвращения мошенничества.
Подробнее о данных, которые собираются, используются и предоставляются при использовании
Вами Apple Pay или карты Apple Pay Cash и совершении личных платежей с Apple Pay, Вы можете
узнать в разделе «Об Apple Pay и конфиденциальности» (к которому можно перейти, выбрав
Wallet и Apple Pay на Устройстве iOS или открыв программу Watch на Устройстве iOS, с которым
создана пара) или на странице https://www.apple.com/ru/privacy. Используя эти функции, Вы даете
компании Apple, ее дочерним предприятиям и агентам согласие на передачу, сбор, хранение,
обработку и использование всей вышеизложенной информации в целях предоставления функции
Apple Pay.

4.   Безопасность; потерянные или отключенные устройства.

Функция Apple Pay хранит виртуальные представления Ваших Поддерживаемых карт, и уровень
ее защиты должен соответствовать уровню защиты наличных или Ваших физических кредитных,
дебетовых, предоплаченных, подарочных карт и карт постоянного покупателя. Если Вы сообщите
код-пароль Вашего устройства третьему лицу, или позволите ему добавить свой отпечаток
пальца для использования Touch ID, или этот человек зарегистрируется с помощью функции
Face ID на Вашем устройстве, этот человек сможет совершать платежи, отправлять, запрашивать
или получать личные платежи, снимать деньги с карты Apple Pay Cash или получать и
использовать бонусные баллы или кредитные средства через Apple Pay на Вашем устройстве. Вы
несете единоличную ответственность за обеспечение безопасности Вашего устройства и Вашего
код-пароля. Вы соглашаетесь с тем, что компания Apple не несет никакой ответственности в
случае потери Вашего устройства, а также если Вы предоставите общий доступ к Вашему
устройству. Вы соглашаетесь с тем, что компания Apple не несет никакой ответственности в
случае, если Вы вносите в iOS несанкционированные изменения (например, путем
«джейлбрейка»).

Для использования некоторых функций Apple Pay, в том числе карты Apple Pay Cash и личных
платежей посредством Apple Pay, Вам могут понадобиться дополнительные меры безопасности,
такие как двухфакторная аутентификация для доступа к учетной записи Apple ID. Если Вы в
дальнейшем перестанете использовать эти дополнительные меры безопасности, будет
невозможно получить доступ к некоторым функциям Apple Pay.

Если Ваше устройство потеряно или украдено и у Вас включена функция «Найти iPhone», Вы
можете использовать эту функцию, чтобы попытаться приостановить возможность оплаты при
помощи виртуальных Поддерживаемых платежных карт и совершение личных платежей на
устройстве, включив режим пропажи. Вы также можете стереть содержимое устройства; при
этом будет предпринята попытка приостановить возможность оплаты при помощи виртуальных
Поддерживаемых платежных карт и совершение личных платежей на устройстве и попытка
удалить Карты с поддержкой Apple Pay. Вы также должны обратиться к эмитенту Ваших
Поддерживаемых платежных карт, к продавцу, выдавшему Вам Карты с поддержкой Apple Pay, а
в случае карты Apple Pay Cash Вы также должны обратиться в Apple, чтобы предотвратить
несанкционированный доступ к Вашим Поддерживаемым картам.

Если Вы сообщаете в компанию Apple о мошеннических или оскорбительных действиях или
компания Apple подозревает о ведении таких действий, Вы соглашаетесь сотрудничать с
компанией Apple в любом расследовании и принимать любые предписанные нами меры по
предотвращению мошенничества.

5.   Ограничение ответственности.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 216 of 452




В ДОПОЛНЕНИЕ К ОТКАЗУ ОТ ГАРАНТИЙ И ОГРАНИЧЕНИЮ ОТВЕТСТВЕННОСТИ, КОТОРЫЕ
ИЗЛОЖЕНЫ В ЛИЦЕНЗИИ, КОМПАНИЯ APPLE НЕ БЕРЕТ НА СЕБЯ НИКАКОЙ
ОТВЕТСТВЕННОСТИ ЗА ПОКУПКИ, ПЛАТЕЖИ, ТРАНЗАКЦИИ ИЛИ ДРУГИЕ КОММЕРЧЕСКИЕ
ДЕЙСТВИЯ, СОВЕРШЕННЫЕ С ПОМОЩЬЮ ФУНКЦИИ APPLE PAY, И ВЫ СОГЛАШАЕТЕСЬ ДЛЯ
РАЗРЕШЕНИЯ ЛЮБЫХ ВОПРОСОВ ИЛИ СПОРОВ В ОТНОШЕНИИ ПОДДЕРЖИВАЕМЫХ КАРТ,
ЛИЧНЫХ ПЛАТЕЖЕЙ И СВЯЗАННЫХ КОММЕРЧЕСКИХ ДЕЙСТВИЙ ОБРАЩАТЬСЯ
ИСКЛЮЧИТЕЛЬНО К ДОГОВОРАМ, КОТОРЫЕ МОГУТ БЫТЬ ЗАКЛЮЧЕНЫ МЕЖДУ ВАМИ И
ЭМИТЕНТОМ ВАШИХ КАРТ, ПЛАТЕЖНОЙ СЕТЬЮ, ФИНАНСОВЫМИ УЧРЕЖДЕНИЯМИ ИЛИ
ПРОДАВЦОМ.

————————————
УВЕДОМЛЕНИЯ КОМПАНИИ APPLE
Если компании Apple потребуется связаться с Вами по вопросам Вашего продукта или учетной
записи, Вы соглашаетесь на получение уведомлений по электронной почте. Вы соглашаетесь, что
любые подобные уведомления, рассылаемые нами электронным способом, соответствуют всем
законным требованиям в области информационного обмена.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 217 of 452



SVENSKA

VIKTIGT: GENOM ATT ANVÄNDA iPHONE, iPAD ELLER iPOD TOUCH (”iOS-ENHET”) GODKÄNNER
DU FÖLJANDE VILLKOR FRÅN APPLE OCH TREDJE PART:

A.   PROGRAMLICENSAVTAL FÖR APPLE iOS-PROGRAMVARA
B.   TILLÄGGSVILLKOR FÖR APPLE PAY
C.   MEDDELANDEN FRÅN APPLE

APPLE INC.
PROGRAMLICENSAVTAL FÖR iOS-PROGRAMVARA
Enanvändarlicens

LÄS NOGA IGENOM DETTA PROGRAMLICENSAVTAL (”AVTALET”) INNAN DU ANVÄNDER iOS-
ENHETEN ELLER HÄMTAR DEN PROGRAMUPPDATERING SOM DETTA LICENSAVTAL HÖR TILL.
GENOM ATT ANVÄNDA DIN iOS-ENHET ELLER HÄMTA EN PROGRAMUPPDATERING, OM
TILLÄMPLIGT, SAMTYCKER DU TILL VILLKOREN I DETTA AVTAL. OM DU INTE SAMTYCKER TILL
VILLKOREN I AVTALET SKA DU INTE ANVÄNDA iOS-ENHETEN ELLER HÄMTA
PROGRAMUPPDATERINGEN.

OM DU NYLIGEN HAR KÖPT EN iOS-ENHET MEN INTE GODKÄNNER VILLKOREN I AVTALET KAN
DU RETURNERA iOS-ENHETEN, SÅ LÄNGE RETURRÄTTEN GÄLLER, TILL APPLE STORE ELLER
DEN AUKTORISERADE ÅTERFÖRSÄLJARE DU KÖPTE DEN HOS OCH FÅ PENGARNA TILLBAKA I
ENLIGHET MED APPLES RETURPOLICY PÅ https://www.apple.com/legal/sales-support/.

1. Allmänt.
(a) Programvaran (inklusive startinstruktioner i ROM-minnet, inbäddad programvara och programvara
från tredje part), dokumentation, gränssnitt, innehåll, typsnitt och eventuella data som levereras med
iOS-enheten (”iOS-originalprogramvara”), och som kan uppdateras eller ersättas av
funktionsförbättringar, programuppdateringar eller program för systemåterställning från Apple (”iOS-
programuppdateringar”), vare sig det lagras i ROM-minne eller annat medium (iOS-originalprogramvara
och iOS-programuppdateringar benämns kollektivt ”iOS-programvara”) licensieras, utan att säljas, till dig
av Apple Inc. (”Apple”) för användning i enlighet med villkoren i detta Avtal. Apple och dess licensgivare
behåller äganderätten till iOS-programvaran och förbehåller alla rättigheter som inte uttryckligen givits till
dig. Du godkänner att villkoren i detta Avtal gäller för samtliga Apple-märkta programvaror som är
inbyggda på din iOS-enhet, såvida inte ett separat avtal medföljer sådan programvara. Om så är fallet
godkänner du att villkoren i det separata avtalet gäller användningen av den programvaran.

(b) Apple kan, efter eget gottfinnande, ge dig tillgång till framtida uppdateringar av iOS-programvaran.
Eventuella iOS-programuppdateringar kanske inte innehåller alla befintliga programvarufunktioner, eller
nya funktioner som Apple inkluderar i nyare modeller av iOS-enheter. Villkoren i detta Avtal gäller för alla
iOS-programuppdateringar som Apple tillhandahåller, såvida inte iOS-programuppdateringen åtföljs av
en separat licens som du i så fall godkänner är de villkor som gäller.

(c) Om du använder expressinställningsfunktionen till att ställa in en ny iOS-enhet baserad på din
befintliga iOS-enhet samtycker du till att villkoren i detta Avtal ska gälla för din användning av iOS-
programvaran på dina nya iOS-enhet, med undantag för om den åtföljs av ett separat avtal i vilket fall du
samtycker till att villkoren i det avtalet ska gälla för din användning av iOS-programvaran. Din iOS-enhet
kommer då och då att leta efter iOS-programuppdateringar hos Apple. Om en uppdatering av Apple-
programvaran finns tillgänglig kan uppdateringen automatiskt hämtas och installeras på iOS-enheten
och eventuell kringutrustning. Genom att använda Apple-programvaran samtycker du till att Apple
hämtar och installerar automatiska iOS-programuppdateringar på din iOS-enhet och enheter i
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 218 of 452



kringutrustningen. Du kan när som helst stänga av automatiska uppdateringar helt och hållet genom att
ändra inställningarna för Automatiska uppdateringar som finns i Inställningar > Allmänt >
Programuppdatering.

2. Tillåten användning och begränsningar.
(a) Enligt gällande villkor i detta Avtal beviljas du en begränsad icke-exklusiv licens att använda iOS-
programvaran på en enda Apple-märkt iOS-enhet. Med undantag för användning enligt punkt 2(b)
nedan, och för vad som eventuellt har avtalats separat mellan dig och Apple, tillåter inte Avtalet att iOS-
programvaran finns på fler än en Apple-märkt iOS-enhet samtidigt och du har inte rätt att distribuera
iOS-programvaran eller göra iOS-programvaran tillgänglig via ett nätverk för flera enheter samtidigt.
Avtalet ger dig inte rätt att använda Apples egenutvecklade gränssnitt eller övriga immateriella rättigheter
vid design, utveckling, tillverkning, licensiering eller distribution av enheter och tillbehör från tredje part
eller programvara från tredje part för användning med iOS-enheter. Vissa av dessa rättigheter kan
erhållas via separata licenser från Apple. Om du vill få mer information om att som tredje part utveckla
enheter och tillbehör till iOS-enheter besöker du https://developer.apple.com/programs/mfi/. Om du vill
få mer information om att utveckla programvara för iOS-enheter besöker du https://
developer.apple.com.

(b) Enligt villkoren i denna Licens beviljas du en begränsad, icke-exklusiv licens för att hämta iOS-
programvaruuppdateringar som kan göras tillgängliga av Apple för din iOS-enhet för att uppdatera eller
återställa programvaran på iOS-enheter som du äger eller administrerar. Avtalet ger dig inte rätt att
uppdatera eller återskapa iOS-enheter som du inte äger eller administrerar och du får inte distribuera
eller göra iOS-programuppdateringar tillgängliga via ett nätverk så att de kan användas för att uppdatera
flera enheter eller flera datorer samtidigt. Om du hämtar en iOS-programuppdatering till din dator får du
göra en säkerhetskopia av iOS-programuppdateringen som lagras på datorn i maskinläsbar form,
förutsatt att säkerhetskopian återger alla upplysningar om upphovsrätt eller andra juridiska anmärkningar
som finns i originalet.

(c) I den utsträckning som Apple har förinstallerat Apple-märkta programvaror från App Store på din iOS-
enhet vid tiden för inköpet (”Förinstallerade appar”) måste du logga in på App Store och associera
Förinstallerade appar med ditt App Store-konto för att använda dem på din iOS-enhet. När du associerar
en Förinstallerad app med ditt App Store-konto associerar du samtidigt alla övriga Förinstallerade appar
på din iOS-enhet. Genom att associera Förinstallerade appar med ditt App Store-konto samtycker du till
att Apple överför, samlar in, lagrar, bearbetar och använder både det Apple-ID som används av ditt App
Store-konto och ett unikt maskinvaru-ID som samlats in från din iOS-enhet som unika kontoidentifierare i
syfte att bekräfta behörigheten för din förfrågan och ge dig tillgång till Förinstallerade appar via App
Store. Om du inte vill använda en Förinstallerad app kan du när som helst radera den från din iOS-enhet.

(d) Du får inte och förbinder dig att inte, eller möjliggöra att andra kan, kopiera (utöver vad som
uttryckligen tillåts i detta Avtal), dekompilera, dekonstruera, disassemblera, försöka härleda källkoden,
avkryptera, modifiera eller skapa härledda produkter helt eller delvis baserade på iOS-programvaran eller
på tjänster som den levererar (med undantag för vad som tillåts i tillämpliga lagar, eller av licensvillkoren
gällande komponenter med öppen källkod som kan ingå i iOS-programvaran).

(e) iOS-programvaran får användas till att mångfaldiga icke upphovsrättsskyddat material, material som
du äger upphovsrätten till och material som du är behörig eller har erforderligt tillstånd att mångfaldiga.
Titlar och immateriella rättigheter i och till material som visas av, lagras i eller ansluts till via din iOS-enhet
tillhör sina respektive ägare. Sådant material kan skyddas av lagar och fördrag gällande upphovsrätt eller
andra immateriella rättigheter och kan gälla under användarvillkor från tredje part som tillhandahåller
sådant material. Med undantag för vad som tillåts i detta Avtal ger detta Avtal dig inte någon rätt att
använda sådant innehåll och garanterar inte heller att sådant material kommer att vara tillgängligt i
framtiden.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 219 of 452




(f) I enlighet med villkoren i detta Avtal får du använda de Animoji- och Memoji-tecken som ingår i eller
skapas med iOS-programvaran (”Systemtecken”) (i) medan du använder iOS-programvaran och (ii) till att
skapa eget innehåll och projekt för personlig, icke-kommersiell användning. Ingen annan användning av
Systemtecken medges i detta Avtal, inklusive men inte begränsat till användning, mångfaldigande,
visning, framförande, inspelning, publicering eller vidaredistribution av Systemtecken i vinstdrivande,
ideella, oﬀentligt delade eller kommersiella sammanhang.

(g) Du samtycker till att använda iOS-programvaran och Tjänster (som de definieras i avsnitt 5 nedan) i
överensstämmelse med tillämplig lagstiftning, inklusive lokala regler och bestämmelser som gäller där du
är bosatt eller hämtar och använder iOS-programvaran och Tjänster. Alla funktioner i iOS-programvaran
och iOS-tjänsterna kanske inte är tillgängliga på alla språk eller i alla områden, vissa funktioner kan
variera beroende på område, och vissa kan vara begränsade eller inte tillgängliga via din
tjänsteleverantör. En Wi-Fi- eller mobildataanslutning krävs för vissa funktioner i iOS-programvaran och
iOS-tjänster.

(h) Användning av App Store kräver en unik kombination av användarnamn och lösenord, kallat ett
Apple-ID. Ett Apple-ID krävs även för åtkomst till programuppdateringar och vissa funktioner i iOS-
programvaran och iOS-tjänsterna.

(i) Du förstår och godkänner att många funktioner, inbyggda appar och Tjänster i iOS-programvaran
sänder data och kan medföra kostnader för ditt dataabonnemang samt att du ansvarar för dessa
kostnader. Du kan se och styra vilka programvaror som får tillgång till mobildata och visa en
uppskattning av hur mycket data sådana programvaror har använt i inställningarna för Mobildata. Utöver
detta kan Wi-Fi-assistans växla till mobilnät när du har en svag Wi-Fi-anslutning, vilket kan leda till att
större mängder mobildata används och medföra kostnader för ditt mobildataabonnemang. Wi-Fi-
assistans är aktiverat som förval, men kan avaktiveras i Inställningar. Mer information finns i
användarhandboken för din iOS-enhet.

(j) Om du väljer att tillåta automatiska programuppdateringar kommer din iOS-enhet att regelbundet
kontrollera med Apple om det finns uppdateringar för programvaran på din enhet. Om en uppdatering
finns tillgänglig hämtas och installeras den automatiskt på din enhet. Du kan när som helst stänga av
automatiska programuppdateringar helt genom att gå till Inställningar, trycka på iTunes och App Store
och stänga av Uppdateringar under Automatiska hämtningar.

(k) Användning av din iOS-enhet under vissa förhållanden kan utgöra en distraktion och leda till att farliga
situationer uppstår (du bör t.ex. inte skriva SMS medan du kör bil eller använda hörlurar när du cyklar).
Genom att använda iOS-enheten samtycker du till att hållas ansvarig för att efterleva lagar och regler
som begränsar eller förbjuder användningen av mobiltelefoner eller hörlurar (t.ex. kravet att använda
handsfree under telefonsamtal vid bilkörning).

3. Överlåtelse. Du får inte hyra ut, leasa, låna ut, sälja, distribuera eller underlicensiera iOS-
programvaran. Du får emellertid överlåta alla licensrättigheter till iOS-programvaran till annan part i
samband med att iOS-enheten byter ägare, förutsatt att (a) du överlåter din iOS-enhet och hela iOS-
programvaran, inklusive alla komponentdelar samt detta Avtal, (b) du inte behåller några fullständiga eller
partiella kopior av iOS-programvaran, inklusive kopior som lagrats på en dator eller annan lagringsenhet,
samt att (c) den mottagande parten läser och godkänner villkoren i detta Avtal.

4. Godkännande av dataanvändning. När du använder din enhet skickas ditt telefonnummer och vissa
unika identifierare för din iOS-enhet till Apple så att andra ska kunna nå dig via ditt telefonnummer när de
använder olika kommunikationsfunktioner, som iMessage och FaceTime, i iOS-programvaran. När du
använder iMessage kan Apple spara dina meddelanden i krypterad form under en begränsad tidsperiod
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 220 of 452



för att säkerställa leveransen av dem. Du kan stänga av FaceTime eller iMessage genom att öppna
inställningen FaceTime eller Meddelanden på din iOS-enhet. Vissa funktioner, som Analys, Platstjänster,
Siri och Diktering, kan kräva information från din iOS-enhet för att kunna tillhandahålla sina respektive
funktionaliteter. När du slår på eller använder de här funktionerna tillhandahålls uppgifter om vilken
information som skickas till Apple och hur informationen kan användas. Du kan läsa mer genom att
besöka https://www.apple.com/se/privacy/. Under alla förhållanden behandlas din information i enlighet
med Apples integritetspolicy som kan läsas på: https://www.apple.com/legal/privacy/.

5. Tjänster och tredjepartsmaterial.
(a) iOS-programvaran kan ge tillgång till Apples iTunes Store, App Store, Apple Books, Game Center,
iCloud, Kartor, samt andra tjänster och webbplatser från Apple och tredje part (kallas kollektivt och
individuellt ”Tjänster”). Sådana Tjänster kanske inte är tillgängliga på alla språk eller i alla länder. För att
använda dessa Tjänster krävs tillgång till internet. Användning av vissa Tjänster kan kräva ett Apple-ID
och att du godkänner ytterligare användarvillkor och betalar avgifter som kan tillkomma. Genom att
använda denna programvara med ett Apple-ID eller annan Apple-tjänst godkänner du tillämpliga
användningsvillkor för den tjänsten, exempelvis de senaste villkoren för Apples medietjänster för landet
där du ansluter till sådana Tjänster, som du kan komma åt och granska på https://www.apple.com/legal/
internet-services/itunes/.

(b) Om du tecknar ett iCloud-konto kan du använda vissa iCloud-funktioner, till exempel ”iCloud-bilder”,
”Min bildström”, ”Delade album”, ”Säkerhetskopiera” och ”Hitta min iPhone”, direkt från iOS-
programvaran. Du förstår och godkänner att din användning av iCloud och dessa funktioner lyder under
de senaste villkoren för iCloud-tjänsten, vilka du kommer åt och kan granska på: https://
www.apple.com/legal/internet-services/icloud/ww/.

(c) Innehåll i appen News. Din användning av innehåll som du får tillgång till via appen News är
begränsad till enbart personligt, icke-kommersiellt bruk. Ingen äganderätt överförs till dig gällande
innehållet och din användning exkluderar specifikt, utan begränsning, alla rättigheter till kommersiellt
eller marknadsföringsmässigt bruk av sådant innehåll. Vidare är du förbjuden att återpublicera,
vidaresända och reproducera eventuella bildfiler i fristående format som du får tillgång till via News.

(d) Kartor. Karttjänsten och kartfunktionerna i iOS-programvaran (”Kartor”), inklusive kartdatatäckning,
kan variera beroende på region. När du använder platsbaserade funktioner i Kartor, exempelvis steg-för-
steg-navigering, trafikövervakning och lokala sökningar, kan information relaterad till plats och
användning skickas till Apple, inklusive geografisk position för din iOS-enhet i realtid, för att kunna
bearbeta din förfrågan och hjälpa till att förbättra Kartor. Sådan information om plats och användning
samlas in av Apple på ett sätt som inte identifierar dig personligen. Genom att använda Kartor
godkänner du att Apple och dess dotterbolag och ombud överför, samlar in, lagrar, bearbetar och
använder denna information för att tillhandahålla och förbättra funktionen Kartor och dess
tjänster, liksom andra tjänster och produkter från Apple. Apple kan även tillhandahålla sådan
information, i antingen en sammanslagen form eller en form där du inte kan identifieras, till
samarbetspartners och licenstagare för att hjälpa dem förbättra sina kart- och platsbaserade produkter
och tjänster. Du kan avaktivera den platsbaserade funktionaliteten hos Kartor genom att öppna
inställningen Platstjänster på din iOS-enhet och slå av enskilda platsinställningar för Kartor. Vissa
funktioner i Kartor, exempelvis steg-för-steg-navigering, blir dock otillgängliga om du avaktiverar
inställningen Platstjänster.

(e) Du förstår att du genom att använda dig av någon av Tjänsterna kan stöta på material som uppfattas
som stötande av vissa personer eller kan betraktas som olämpligt för minderåriga, och att du genom att
söka på internet eller ange en särskild URL automatiskt och oavsiktligt kan generera länkar eller
referenser till stötande material. Du godkänner att användning av Tjänsterna sker på egen risk och att
Apple, dess samarbetspartners, ombud, representanter, agenturer eller licensgivare inte kan hållas
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 221 of 452



ansvarigt för eventuellt innehåll som kan betraktas som stötande på något sätt.

(f) En del Tjänster kan visa, innehålla eller göra tillgängligt innehåll, data, information, program eller
material från tredje part (”Material från tredje part”) eller tillhandahålla länkar till webbplatser från tredje
part. Genom att använda Tjänsterna samtycker du till att Apple inte ansvarar för granskning eller
utvärdering avseende innehåll, riktighet, fullständighet, aktualitet, giltighet, användning av
copyrightskyddat material, legalitet, anständighet, kvalitet, eller andra aspekter av material eller
webbplatser från tredje part. Varken Apple, dess tjänstemän, partners eller dotterbolag garanterar eller
rekommenderar och tar inte på sig något ansvar eller någon skadeståndsskyldighet gentemot dig eller
någon annan person avseende Tjänster från tredje part, Material från tredje part, webbplatser från tredje
part eller annat material, produkter eller tjänster från tredje part. Material från tredje part och länkar till
övriga webbplatser erbjuds endast som en bekvämlighet.

(g) Varken Apple eller dess innehållsleverantörer kan garantera att aktieinformation, platsinformation eller
annan information som visas i någon Tjänst är tillgänglig, riktig, fullständig, tillförlitlig eller aktuell. Finans-
och ekonomiinformation som visas av Tjänster är enbart avsedd som allmän information och ska inte
betraktas som en tillförlitlig beslutsgrund för ekonomiska investeringar. Du bör konsultera en kvalificerad/
certifierad ekonomisk rådgivare innan du genomför någon handel med värdepapper baserat på
information du fått via Tjänsterna. Platsinformation som eventuellt tillhandahålls av Tjänster, inklusive
Apples tjänst Kartor, är endast avsedd för grundläggande navigeringssyften och/eller planeringssyften
och är inte tillförlitlig i situationer som kräver exakt platsinformation, eller när felaktig, ofullständig eller
fördröjd platsinformation kan leda till dödsfall, personskador eller skador på egendom eller miljö. Du
godkänner att de resultat du får från tjänsten Kartor kan skilja sig från de faktiska väg- eller
terrängförhållandena på grund av faktorer som kan påverka datanoggrannheten hos Kartor, såsom, men
inte begränsat till, väder-, väg- och trafikförhållanden och geopolitiska händelser. För din egen säkerhet
bör du, när du använder navigeringsfunktionen, alltid vara uppmärksam på vägskyltar och aktuella
vägförhållanden. Kör på ett säkert och ansvarsfullt sätt i enlighet med gällande trafikbestämmelser och
tänk på att anvisningar för gångtrafikanter kanske inte omfattar trottoarer eller promenadvägar.

(h) I den utsträckning du överför innehåll via användning av Tjänster försäkrar du att du äger
rättigheterna till, är auktoriserad eller på annat sätt har laglig rätt att överföra detta innehåll och att detta
innehåll inte strider mot något användningsvillkor som gäller för dessa Tjänster. Du samtycker till att
Tjänsterna har innehåll, information och material som tillhör Apple, webbplatsinnehavaren eller deras
licensgivare och skyddas av lagstiftning gällande immateriella rättigheter och andra lagar, inklusive men
inte begränsat till upphovsrätt. Du försäkrar att du inte kommer att använda sådant innehåll, information
eller material i några som helst sammanhang, med undantag för tillåten användning av Tjänsterna, och
inte heller på något sätt som inkräktar på Apples eller tredje parts immateriella rättigheter Ingen del av
Tjänsterna får reproduceras på något sätt eller i någon form. Du godkänner att inte ändra, hyra ut, leasa,
låna ut, sälja, distribuera eller på något sätt skapa produkter som baseras på Tjänsterna och du får inte
utnyttja Tjänsterna på något otillåtet sätt, inklusive men inte begränsat till att använda Tjänster till att
överföra datorvirus, maskar, trojaner eller andra skadeprogram, eller till att inkräkta på eller belasta
nätverkskapaciteten. Du godkänner dessutom att inte på något sätt använda Tjänsterna till att
trakassera, bedraga, förfölja, hota eller förtala någon annan part, eller på annat sätt inkräkta på eller
bryta mot dennes rättigheter. Vidare medger du att Apple inte på något sätt kan hållas ansvarigt för
sådan användning av dig eller för eventuella trakasserande, hotande, skymfande, stötande, inkräktande
eller olagliga meddelanden eller överföringar du kan få motta som en följd av användning av någon
Tjänst.

(i) Dessutom är Tjänster från tredje part och Material från tredje part som kan anslutas till, länkas till eller
visas på iOS-enheten inte tillgängliga på alla språk eller i alla länder och regioner. Apple hävdar inte att
sådana Tjänster och Material från tredje part är lämpliga eller tillgängliga för användning på alla platser. I
den utsträckning du väljer att använda eller ansluta till Tjänster och Material från tredje part gör du detta
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 222 of 452



på eget bevåg och ansvarar för att följa tillämpliga lagar, inklusive men inte begränsat till tillämpliga lagar
i det land du befinner dig, samt lagstiftning gällande personlig integritet och datainsamling. Delning eller
synkronisering av bilder via din iOS-enhet kan resultera i att metadata, inklusive var och när bilden togs
samt djupinformation, överförs med bilderna. Användning av Apple-tjänster (som iCloud-bildbibliotek) för
att dela eller synkronisera sådana bilder medför att Apple tar emot och lagrar sådana metadata. Apple
och dess licensgivare förbehåller sig rätten att när som helst ändra, suspendera, avbryta eller avaktivera
åtkomst till någon av Tjänsterna utan föregående varning. Under inga omständigheter kan Apple hållas
ansvarigt för borttagning eller avaktivering av åtkomsten till någon av Tjänsterna. Apple kan också
komma att, utan varsel eller skadeståndsansvar, införa begränsningar i användningen eller åtkomsten till
vissa Tjänster.

6. Uppsägning. Detta Avtal gäller tills vidare. Dina rättigheter enligt detta Avtal upphör att gälla
automatiskt eller på annat sätt utan varsel från Apple om du inte uppfyller samtliga villkor i detta Avtal.
När licensen upphör att gälla måste du omedelbart upphöra med all användning av iOS-programvaran.
Punkterna 4, 5, 6, 7, 8, 9, 12 och 13 i detta Avtal fortsätter att gälla även efter Avtalets upphörande.

7. Inskränkning i garantin.
7.1 Om du är en privatkund (någon som använder iOS-programvaran utanför arbetet, företaget eller
yrkesområdet) kan du ha vissa lagstadgade rättigheter i det land där du är bosatt, vilket innebär att du
kanske inte omfattas av följande begränsningar. Du kan få mer information om dina rättigheter genom att
kontakta en lokal konsumentrådgivare.

7.2 DU BEKRÄFTAR ATT DU ÄR INFÖRSTÅDD MED OCH ACCEPTERAR ATT, I DEN UTSTRÄCKNING
DET TILLÅTS ENLIGT GÄLLANDE LAGSTIFTNING, ANVÄNDNING AV iOS-PROGRAMVARAN OCH
TJÄNSTER SOM UTFÖRS AV ELLER FÖRMEDLAS AV iOS-PROGRAMVARAN SKER PÅ EGEN RISK
AVSEENDE PRESTANDA, TILLFÖRLITLIGHET OCH ANVÄNDNING.

7.3 I DEN UTSTRÄCKNING SOM TILLÄMPLIGA LAGAR TILLÅTER DETTA, TILLHANDAHÅLLS iOS-
PROGRAMVARAN OCH TJÄNSTER I BEFINTLIGT SKICK OCH UTAN NÅGRA SOM HELST
GARANTIER. APPLE OCH APPLES LICENSGIVARE (I PARAGRAFERNA 7 OCH 8 KOLLEKTIVT
BENÄMNDA ”APPLE”) FRISKRIVER SIG HÄRMED FRÅN ALLA GARANTIER OCH/ELLER VILLKOR
AVSEENDE iOS-PROGRAMVARAN OCH TJÄNSTER, VARE SIG UTTRYCKTA ELLER
UNDERFÖRSTÅDDA, INKLUSIVE MEN INTE BEGRÄNSAT TILL, UNDERFÖRSTÅDDA GARANTIER
OCH/ELLER VILLKOR AVSEENDE ALLMÄN BESKAFFENHET, PRESTANDA, LÄMPLIGHET FÖR VISST
ÄNDAMÅL, TILLFÖRLITLIGHET OCH STÖRNINGSFRI UPPLEVELSE SAMT ATT INTRÅNG INTE SKER I
TREDJE PARTS IMMATERIELLA RÄTTIGHETER.

7.4 APPLE GARANTERAR INTE EN HELT STÖRNINGSFRI UPPLEVELSE AV iOS-PROGRAMVARAN
OCH TJÄNSTER, ATT FUNKTIONERNA I iOS-PROGRAMVARAN ELLER TJÄNSTER SOM UTFÖRS
ELLER TILLHANDAHÅLLS AV iOS-PROGRAMVARAN UPPFYLLER ANVÄNDARENS KRAV, ATT iOS-
PROGRAMVARAN OCH TJÄNSTER FUNGERAR OSTÖRT ELLER FELFRITT, OCH INTE HELLER ATT
APPLE KOMMER ATT RÄTTA TILL FEL I iOS-PROGRAMVARAN OCH TJÄNSTER ELLER ATT iOS-
PROGRAMVARAN ÄR KOMPATIBEL ELLER FUNGERAR MED PROGRAM. TILLÄMPNINGAR ELLER
TJÄNSTER FRÅN TREDJE PART. INSTALLATION AV DEN HÄR iOS-PROGRAMVARAN KAN PÅVERKA
TILLGÄNGLIGHETEN OCH ANVÄNDBARHETEN HOS PROGRAM ELLER TJÄNSTER FRÅN TREDJE
PART, LIKSOM TJÄNSTER OCH PRODUKTER FRÅN APPLE.

7.5 iOS-PROGRAMVARAN OCH TJÄNSTER ÄR INTE AVSEDDA FÖR ELLER LÄMPLIGA FÖR
ANVÄNDNING I SITUATIONER OCH MILJÖER DÄR TIDSFÖRDRÖJNING ELLER FEL OCH BRISTER I
INNEHÅLL, DATA ELLER INFORMATION SOM TILLHANDAHÅLLS AV iOS-PROGRAMVARAN ELLER
TJÄNSTER KAN LEDA TILL DÖDSFALL, PERSONSKADOR ELLER ALLVARLIGA SKADOR PÅ
EGENDOM ELLER MILJÖ, INKLUSIVE MEN INTE BEGRÄNSAT TILL DRIFT AV
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 223 of 452



KÄRNKRAFTSANLÄGGNINGAR, LUFTFARTSNAVIGERING, KOMMUNIKATIONSSYSTEM,
FLYGLEDNINGSSYSTEM, LIVSUPPEHÅLLANDE MASKINER ELLER VAPENSYSTEM.

7.6 DENNA GARANTI KAN INTE UTÖKAS GENOM MUNTLIGA ELLER SKRIFTLIGA MEDDELANDEN
FRÅN VARE SIG APPLE ELLER APPLES REPRESENTANTER. OM iOS-PROGRAMVARAN ELLER
TJÄNSTER VISAR SIG VARA BEHÄFTADE MED FEL, ANSVARAR KUNDEN FÖR ALLA KOSTNADER
FÖR NÖDVÄNDIG SERVICE, REPARATIONER OCH JUSTERINGAR. VISSA JURISDIKTIONER TILLÅTER
INTE UNDANTAG AV ELLER BEGRÄNSNINGAR I UNDERFÖRSTÅDDA GARANTIER ELLER
INSKRÄNKNINGAR I LAGSTADGADE KONSUMENTRÄTTIGHETER, VILKET KAN MEDFÖRA ATT
OVANSTÅENDE UNDANTAG OCH BEGRÄNSNINGAR INTE GÄLLER DIG.

8. Begränsat skadeståndsansvar. SÅVIDA INTE ANNAT FÖRESKRIVS I TVINGANDE LAGSTIFTNING,
ANSVARAR APPLE, DESS SAMARBETSPARTNERS, OMBUD, REPRESENTANTER ELLER AGENTURER
UNDER INGA OMSTÄNDIGHETER FÖR NÅGON FORM AV PERSONSKADOR, DIREKTA ELLER
INDIREKTA SKADOR ELLER FÖLJDSKADOR, INKLUSIVE, MEN INTE BEGRÄNSAT TILL, SKADOR I
FORM AV UTEBLIVEN VINST, SKADADE ELLER FÖRLORADE DATA, UTEBLIVEN SÄNDNING ELLER
MOTTAGNING AV DATA (INKLUSIVE, UTAN BEGRÄNSNINGAR, KURSANVISNINGAR, HEMUPPGIFTER
OCH MATERIAL), AVBROTT I AFFÄRSVERKSAMHETEN ELLER ANDRA AFFÄRSMÄSSIGA SKADOR
ELLER FÖRLUSTER SOM ORSAKATS AV ELLER SOM KAN RELATERAS TILL KUNDENS ANVÄNDNING
AV ELLER OFÖRMÅGA ATT ANVÄNDA iOS-PROGRAMVARAN OCH TJÄNSTER, ELLER PROGRAM
ELLER TILLÄMPNINGAR FRÅN TREDJE PART I SAMBAND MED iOS-PROGRAMVARAN ELLER
TJÄNSTERNA, OAVSETT OM TALAN GRUNDAS PÅ AVTALSRÄTT, GARANTI, UTOMOBLIGATORISKT
ANSVAR (INKLUSIVE VÅRDSLÖSHET), PRODUKTANSVAR ELLER ANNAT, ÄVEN OM APPLE HAR
UPPMÄRKSAMMATS PÅ RISKEN FÖR SÅDANA SKADOR. VISSA JURISDIKTIONER TILLÅTER INTE
UNDANTAG ELLER BEGRÄNSNINGAR AV ANSVARET FÖR PERSONSKADOR, ELLER FÖR
FÖLJDSKADOR ELLER INDIREKTA SKADOR, VILKET KAN GÖRA ATT OVANSTÅENDE
BEGRÄNSNINGAR INTE GÄLLER DIG. Under inga omständigheter (annat än vad som föreskrivs i
tillämpliga lagar gällande personskador) ska Apples totala skadeståndsansvar överstiga ett belopp
motsvarande tvåhundrafemtio dollar (250 USD). Dessa begränsningar är tillämpliga även om det
egentliga syftet med ovanstående gottgörelse inte skulle uppnås.

9. Digitala certifikat. iOS-programvaran innehåller funktionalitet som gör det möjligt att godkänna
digitala certifikat som utfärdats antingen av Apple eller tredje part. DU ÄR ENSAMT ANSVARIG ÖVER
ATT BESTÄMMA OM DU SKA ELLER INTE SKA LITA PÅ ETT CERTIFIKAT, OBEROENDE AV OM DET
UTFÄRDATS AV APPLE ELLER TREDJE PART. DIN ANVÄNDNING AV DIGITALA CERTIFIKAT SKER
HELT OCH HÅLLET PÅ EGEN RISK. I DEN UTSTRÄCKNING SOM TILLÄMPLIG LAGSTIFTNING
TILLÅTER GER APPLE INGA GARANTIER ELLER GÖR NÅGRA UTFÄSTELSER, VARKEN UTTRYCKTA
ELLER UNDERFÖRSTÅDDA, AVSEENDE ALLMÄN BESKAFFENHET ELLER LÄMPLIGHET FÖR VISST
ÄNDAMÅL, TILLFÖRLITLIGHET, SÄKERHET ELLER ATT INTRÅNG INTE SKER I TREDJE PARTS
IMMATERIELLA RÄTTIGHETER VID ANVÄNDNING AV DIGITALA CERTIFIKAT.

10. Exportåtaganden. Du får inte använda eller exportera eller vidareexportera iOS-programvaran på
annat sätt än vad som är tillåtet enligt gällande lag i USA eller i det land iOS-programvaran förvärvades. I
synnerhet gäller, men utan begränsning härtill, att iOS-programvaran inte får exporteras eller
vidareexporteras till (a) något land beträﬀande vilket USA har förordnat om handelsförbud, eller till (b)
någon person som finns upptagen på listan ”Specially Designated Nationals” som sammanställs av det
amerikanska finansdepartementet (U.S. Treasury Department) eller listorna ”Denied Person’s List” eller
”Entity List” som publiceras av det amerikanska handelsdepartementet (U.S. Department of Commerce)
eller någon annan lista över parter med vilka handel begränsas. Genom att använda iOS-programvaran
försäkrar du att du inte vistas i något sådant land och att du inte finns upptagen på någon av de ovan
angivna listorna. Du godkänner också att inte använda iOS-programvaran för verksamhet som förbjuds
av gällande lagstiftning i USA, inklusive, men inte begränsat till, utveckling, utformning, tillverkning eller
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 224 of 452



produktion av atomvapen, missiler eller kemiska eller biologiska vapen.

11. Slutanvändare inom amerikansk förvaltning. iOS-programvaran och tillhörande dokumentation
betraktas som ”Commercial Items”, enligt definitionen i 48 C.F.R. §2.101, och består av ”Commercial
Computer Software” och ”Commercial Computer Software Documentation”, enligt definitionen i 48
C.F.R. §12.212 eller 48 C.F.R. §227.7202, beroende på vilken punkt som är tillämplig. I enlighet med 48
C.F.R. § 12.212 eller 48 C.F.R. § 227.7202-1 till och med 227.7202-4, beroende på vilken punkt som är
tillämplig, licensieras ”Commercial Computer Software” och ”Commercial Computer Software
Documentation” till användare inom amerikansk förvaltning (a) endast som ”Commercial Items” och (b)
endast med de rättigheter som tillkommer alla andra slutanvändare i enlighet med villkoren i detta avtal.
Rätten till icke publicerat material (unpublished rights) förbehålls enligt amerikansk upphovsrätt.

12. Gällande lag och särskiljbarhet. Villkoren i detta Avtal regleras och tolkas i enlighet med tillämplig
lagstiftning i staten Kalifornien, utan beaktande av motstridig lagstiftning. FN-konventionen om
internationell försäljning av gods, ”Contracts for the International Sale of Goods”, undantas uttryckligen
från tillämpning på detta Avtal. Om du är en kund bosatt i Storbritannien ska detta Avtal tolkas och
regleras i enlighet den lagstiftning som tillämpas där du är bosatt. Om behörig domstol eller myndighet
finner att en bestämmelse eller del därav i detta Avtal i något avseende inte kan hävdas ska resten av
Avtalet fortsätta att gälla.

13. Fullständigt Avtal; Gällande språkversion. Detta avtal utgör den totala överenskommelsen mellan
dig och Apple gällande iOS-programvaran och ersätter alla tidigare eller samtidiga avtal gällande denna
programvara. Inga tillägg till eller ändringar i detta Avtal är bindande om de inte är skriftliga och har
undertecknats av Apple. Översättningar av detta Avtal görs för att uppfylla nationella krav. Om villkoren i
den engelska och den översatta versionen skulle strida mot varandra gäller den engelska versionen av
Avtalet, så länge detta inte strider mot tillämplig lagstiftning i din jurisdiktion.

14. Tillkännagivanden rörande produkter från andra tillverkare. Delar av iOS-programvaran kan
utnyttja eller innehålla program och annat upphovsrättsskyddat material från andra tillverkare.
Tillkännagivanden, licensvillkor och friskrivningsklausuler för dylikt material finns med i den elektroniska
dokumentationen till iOS-programvaran och din användning av materialet omfattas av deras respektive
villkor. Användning av Googles Safe Browsing Service gäller enligt Googles villkor (https://
www.google.com/intl/sv/policies/terms/) och Googles integritetspolicy (https://www.google.com/intl/sv/
policies/privacy/).

15. Användning av MPEG-4; H.264/AVC-meddelande.
(a) iOS-programvaran licensieras under licensen MPEG-4 Systems Patent Portfolio för kodning i enlighet
med standarden MPEG-4 Systems, dock krävs det ytterligare en licens och royaltybetalning för kodning i
samband med (i) data som lagras eller replikeras i fysiska medier som betalas per titel och/eller (ii) data
som betalas per titel och som överförs till en slutanvändare för permanent lagring och/eller användning.
En sådan ytterligare licens kan erhållas från MPEG LA, LLC. Mer information finns på adressen http://
www.mpegla.com.

(b) iOS-programvaran innehåller funktioner för kodning och/eller avkodning av MPEG-4-video. iOS-
programvaran licensieras under MPEG-4 Visual Patent Portfolio License till konsumenter för personligt,
icke-kommersiellt bruk för (i) kodning av video i överensstämmelse med MPEG-4 Visual Standard
(”MPEG-4 Video”) och/eller (ii) avkodning av MPEG-4-video som kodats av en konsument inom ramen
för en personlig och icke-kommersiell aktivitet eller som erhållits från en videoleverantör som licensierats
av MPEG LA att tillhandahålla MPEG-4-video. Ingen licens ges eller underförstås för annan användning.
Mer information, bland annat om användning inom marknadsföring, intern och kommersiell användning
och licensiering, kan erhållas från MPEG LA, LLC. Se http://www.mpegla.com.
          Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 225 of 452



(c) iOS-programvaran innehåller funktionalitet för AVC-kodning och/eller -avkodning. Vid kommersiell
användning av H.264/AVC krävs ytterligare en licens och följande gäller: AVC-FUNKTIONERNA I iOS-
PROGRAMVARAN FÅR ENLIGT DETTA AVTAL ENDAST ANVÄNDAS FÖR PERSONLIGT,
ICKEKOMMERSIELLT BRUK TILL ATT (i) KODA VIDEO I ÖVERENSSTÄMMELSE MED AVC-
STANDARDEN (”AVC-VIDEO”) OCH/ELLER (ii) AVKODA AVC-VIDEO SOM KODATS AV EN
KONSUMENT FÖR PERSONLIG, ICKEKOMMERSIELL VERKSAMHET OCH/ELLER AVC-VIDEO SOM
ERHÅLLITS FRÅN EN VIDEOLEVERANTÖR MED LICENS ATT ERBJUDA AVC-VIDEO. INFORMATION
OM ANNAN ANVÄNDNING OCH OM LICENSER KAN ERHÅLLAS FRÅN MPEG LA L.L.C. SE http://
www.mpegla.com.

16. Begränsning av Yahoos söktjänst. Yahoos söktjänst som finns tillgänglig via Safari är endast
licensierad för användning i följande länder och regioner: Argentina, Aruba, Australien/Nya Zeeland,
Bahamas, Barbados, Belgien, Bermuda, Brasilien, Bulgarien, Caymanöarna, Chile, Colombia, Cypern,
Danmark, Dominikanska republiken, Ecuador, El Salvador, Fastlandskina, Hongkong, Taiwan,
Filippinerna, Finland, Frankrike, Grekland, Grenada, Guatemala, Indien, Indonesien, Irland, Island, Italien,
Jamaica, Japan, Kanada, Lettland, Litauen, Luxemburg, Malaysia, Malta, Mexiko, Nederländerna, Nya
Zeeland, Nicaragua, Norge, Panama, Peru, Polen, Portugal, Puerto Rico, Rumänien, Schweiz, Singapore,
Slovakien, Slovenien, Spanien, S:t Lucia, S:t Vincent, Storbritannien, Sverige, Sydkorea, Thailand,
Tjeckien, Trinidad och Tobago, Tyskland, Turkiet, Ungern, Uruguay, USA, Venezuela och Österrike.

17. Meddelande om Microsoft Exchange. E-postinställningarna för Microsoft Exchange i iOS-
programvaran är endast licensierade för trådlös synkronisation av information, exempelvis e-post,
kontakter, kalendrar och uppgifter, mellan iOS och Microsoft Exchange Server eller annan
serverprogramvara som licensierats av Microsoft för att implementera Microsoft Exchange ActiveSync-
protokoll.

EA1566
2019-02-21

————————————
Tilläggsvillkor för Apple Pay

Dessa tilläggsvillkor för Apple Pay (dessa ”Tilläggsvillkor”) är ett tillägg till licensavtalet för iOS-
programvaran (”Avtalet”); både villkoren i Licensen och dessa Tilläggsvillkor gäller för din användning av
funktionen Apple Pay som betraktas som en tjänst i detta Avtal. För de termer som skrivs med versal i
dessa Tilläggsvillkor finns betydelsen förklarad i Licensen.

1.       Översikt och begränsningar i användningen

Med Apple Pay kan du:

     •     lagra virtuella versioner av kredit- och bankkort samt förbetalda kort, inklusive butikers egna
           kredit- och bankkort samt förbetalda kort och Apple Pay Cash-kort, som stöds av funktionen
           Apple Pay (”Kontokort som stöds”) och använda iOS-enheter som stöds till att genomföra
           kontaktlösa betalningar på utvalda platser, i appar eller på webbplatser;
     •     använda bonus- och presentkort som har sparats i Wallet, (”Apple Pay-aktiverade kort”, och
           tillsammans med Kontokort som stöds, ”Kort som stöds”), till att genomföra kontaktlösa
           bonusgrundande transaktioner eller transaktioner med presentkort i utvalda butiker som en del
           av en kontaktlös betalning via Apple Pay;
     •     skicka betalningar mellan privatpersoner till en annan Apple Pay-användare.

Funktionerna i Apple Pay i iOS-programvaran kan vara begränsade till vissa områden, vissa
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 226 of 452



kortutfärdare, vissa finansinstitut och vissa försäljningsställen. Tillgängliga funktioner kan variera
beroende på område, utfärdare och försäljningsställe.

Du måste ha ett Kort som stöds för att kunna använda Apple Pay. Vilka kort som stöds kan då och då
ändras. För att skicka eller ta emot betalningar mellan privatpersoner måste du även ha ett
Apple Pay Cash-kort.

Kontokort som stöds och betalningar mellan privatpersoner är kopplade till det Apple-ID du loggade in
med på iCloud för att använda dessa funktioner. Kort som stöds är endast tillgängliga för personer som
är minst 13 år gamla och kan falla under ytterligare åldersgränser som sätts av iCloud eller det Kort som
stöds du försöker registrera. Apple Pay Cash-kortet och möjligheten att skicka och ta emot betalningar
mellan privatpersoner är endast tillgängliga för personer som har fyllt 18 år.

Apple Pay är endast avsedd för personligt bruk och du kan endast registrera dina egna Kort som stöds.
Om du registrerar ett företagskort som stöds tillstår du att du gör detta med behörighet från
arbetsgivaren, samt att du har behörighet att binda din arbetsgivare vid dessa användarvillkor och alla
de transaktioner som sker vid användningen av denna funktion. När du skickar eller tar emot en
betalning mellan privatpersoner försäkrar du att du gör detta för personligt, icke-kommersiellt bruk.

Du förbinder dig att inte använda Apple Pay i illegalt eller bedrägligt syfte, eller i något annat syfte som är
otillåtet i enlighet med Avtalet och dessa Tilläggsvillkor. Du förbinder dig också att använda Apple Pay i
enlighet med gällande lagar och förordningar. Du förbinder dig att inte störa eller hindra tjänsten Apple
Pay (inklusive åtkomst till tjänsten på automatiserade sätt), eller servrar eller nätverk som är anslutna till
tjänsten, eller någon policy, krav eller reglering hos nätverk som är anslutna till tjänsten (inklusive otillåten
åtkomst till, användning av eller övervakning av data eller trafik på dessa).

2.   Apples relation till dig

Med Apple Pay kan du skapa en virtuell version av dina Kort som stöds på din iOS-enhet som stöds.
Apple bearbetar dock inte betalningar eller transaktioner med icke-betalkort (t.ex. insamling eller inlösen
av poäng) eller tar emot, håller inne eller överför dina medel, och har inte någon som helst annan kontroll
över betalningar, returer, återbetalningar, bonuspoäng, värden, rabatter eller annan kommersiell aktivitet
som din användning av denna funktion kan leda till.

Villkoren i de kortavtal du har slutit med kortutfärdaren fortsätter att reglera din användning av Kort som
stöds och hur de används tillsammans med Apple Pay. På samma sätt lyder ditt deltagande i eller
användning av försäljningsställens bonusprogram eller presentkort, samt din användning av Apple Pay-
aktiverade kort i samband med Apple Pay, av sådana försäljningsställens villkor.

Apple Pay Cash-kortet och möjligheten att skicka och ta emot betalningar mellan privatpersoner är
endast tillgängliga i USA och är tjänster som tillhandahålls av Green Dot Bank som är medlem i FDIC.
När du aktiverar dessa funktioner i Apple Pay öppnar du ett konto hos Green Dot Bank, och när du
skickar eller tar emot en betalning mellan privatpersoner eller laddar eller tar ut pengar från
Apple Pay Cash-kortet ansvarar Green Dot Bank för att pengarna tas emot och skickas till rätt
mottagare. Finansinstitutet som ansvarar för Apple Pay Cash och betalningar mellan privatpersoner i
Apple Pay kan komma att ändras, och deras villkor för användningen av sådana funktioner gäller.

Inget i Avtalet eller dessa Tilläggsvillkor påverkar villkoren i något avtal du har ingått med enskilda
kortutfärdare, användare eller försäljningsställen, och sådana villkor fortsätter att reglera din användning
av varje enskilt Kort som stöds eller funktionen för betalningar mellan privatpersoner i Apple Pay och
deras virtuella kopia på din iOS-enhet. Du samtycker till att Apple inte utgör någon part i dina avtal med
kortutfärdare eller försäljningsställen, och att Apple inte heller ansvarar för: (a) innehållet, riktigheten eller
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 227 of 452



tillgängligheten vid transaktioner eller inköp som genomförs med kontokort, bonuskort eller presentkort
eller andra kommersiella aktiviteter vid användning av funktionen Apple Pay; (b) utfärdandet av kredit
eller bedömningen av kreditbehörighet; (c) insamling eller inlösen av bonuspoäng som förknippas med
ett försäljningsställes bonusprogram; (d) överföring eller påfyllning av medel på förbetalda kort; (e)
överföring eller mottagning av betalningar mellan privatpersoner, eller (f) påfyllning, inlösen eller uttag av
pengar från ditt Apple Pay Cash-kort.

Kontakta utfärdaren eller tillämpligt försäljningsställe för alla klagomål eller frågor som rör kontokort,
bonuskort, presentkort eller tillhörande kommersiell aktivitet. Kontakta Apple-supporten om du har
frågor om Apple Pay Cash-kortet eller betalningar mellan privatpersoner.

3.   Integritetsskydd

När du använder Apple Pay Cash-kortet eller skickar eller tar emot betalningar mellan privatpersoner
samlas ytterligare information om dina transaktioner in och behålls i syfte att utföra service på kontot
samt för förebyggande av bedrägeri och lagstadgade ändamål. Du hittar information om vilka data som
samlas in, används eller delas som en del av din användning av Apple Pay, Apple Pay Cash-kortet eller
betalningar mellan privatpersoner med Apple Pay genom att läsa Om Apple Pay och integritet (som du
kommer åt genom att öppna Wallet och Apple Pay på din iOS-enhet eller i Apple Watch-appen på en
parkopplad iOS-enhet) eller genom att gå in på https://www.apple.com/se/privacy. Genom att använda
dessa funktioner samtycker du till att Apple och dess dotterbolag och ombud överför, samlar in, lagrar,
bearbetar och använder all ovan angivna information för att tillhandahålla funktionen Apple Pay.

4.   Säkerhet; Förlorade eller avaktiverade enheter

Apple Pay lagrar virtuella kopior av dina Kort som stöds och ska skyddas på samma sätt som du
skyddar kontanter eller dina fysiska kredit- och bankkort, förbetalda kort, bonuskort eller presentkort.
Om du tillhandahåller lösenkoden till din enhet till tredje part, eller tillåter tredje part att lägga till ett
fingeravtryck för att använda Touch ID eller aktivera Face ID, kan detta leda till att de kan genomföra
betalningar, skicka, begära eller ta emot betalningar mellan privatpersoner, ta ut pengar med ditt
Apple Pay Cash-kort och samla in eller lösa in bonuspoäng med hjälp av Apple Pay på din enhet. Du är
ensam ansvarig för att upprätthålla säkerheten för din enhet och din lösenkod. Du godkänner att Apple
inte har något ansvar om du förlorar eller delar åtkomsten till din enhet. Du godkänner att Apple inte har
något ansvar om du gör otillåtna ändringar av iOS (till exempel genom ”jailbreak”).

Du kan behöva aktivera ytterligare säkerhetsåtgärder, t.ex. tvåfaktorsautentisering för ditt Apple-ID, för
att komma åt vissa funktioner i Apple Pay, inklusive Apple Pay Cash-kortet och betalningar mellan
privatpersoner med Apple Pay. Om du därefter tar bort dessa säkerhetsfunktioner kanske du inte kan
fortsätta att använda vissa funktioner i Apple Pay.

Om din enhet förloras eller stjäls, och Hitta min iPhone är aktiverat, kan du använda Hitta min iPhone till
att försöka låsa möjligheten att betala med de virtuella Kontokorten som stöds eller att skicka
betalningar mellan privatpersoner på den enheten genom att försätta den i Förlorat läge. Du kan även
radera din enhet, vilket kommer att försöka låsa möjligheten att betala med de virtuella Kontokorten som
stöds och att skicka betalningar mellan privatpersoner på enheten samt även försöka ta bort Apple Pay-
aktiverade kort. Du bör även kontakta utfärdaren av dina Kontokort som stöds, försäljningsstället som
utfärdade de Apple Pay-aktiverade korten och Apple om det gäller Apple Pay Cash-kortet för att
förhindra obehörig åtkomst till dina Kort som stöds.

Om du rapporterar eller om Apple misstänker bedräglig eller oegentlig aktivitet förbinder du dig att
samarbeta med Apple i en eventuell utredning samt att använda de metoder för att förhindra bedrägeri
som vi föreskriver.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 228 of 452




5.   Ansvarsbegränsning

UTÖVER DEN GARANTIFRISKRIVNING OCH ANSVARSBEGRÄNSNING SOM ANGES I AVTALET TAR
APPLE INTE NÅGOT ANSVAR FÖR DE INKÖP, BETALNINGAR, TRANSAKTIONER ELLER ANNAN
KOMMERSIELL AKTIVITET SOM UTFÖRS MED FUNKTIONEN APPLE PAY, OCH DU GODKÄNNER ATT
ENDAST ANVÄNDA DE AVTAL DU HAR MED KORTUTFÄRDAREN, BETALNINGSNÄTVERKET,
FINANSINSTITUTEN ELLER FÖRSÄLJNINGSSTÄLLET FÖR ATT LÖSA EVENTUELLA FRÅGOR OCH
KLAGOMÅL SOM RÖR DINA KORT SOM STÖDS, BETALNINGAR MELLAN PRIVATPERSONER OCH
TILLHÖRANDE KOMMERSIELL AKTIVITET.

————————————
MEDDELANDEN FRÅN APPLE
Om Apple behöver kontakta dig angående din produkt eller ditt konto godkänner du att sådana
meddelanden skickas via e-post. Du godkänner att eventuella meddelanden av den typen som vi skickar
till dig elektroniskt uppfyller de kommunikationskrav som krävs enligt lag.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 229 of 452




ภาษาไทย

สำคัญ: โดยการใช้เครื่อง iPhone, iPad หรือ iPod Touch (“อุปกรณ์ iOS”) ของท่าน ท่านตกลงที่จะผูกพันตาม
เงื่อนไขดังต่อไปนี้:

ก.   สัญญาให้ใช้สิทธิ์ซอฟต์แวร์ iOS ของ Apple
ข.   ข้อกำหนดเพิ่มเติมสำหรับ APPLE PAY
ค.   คำบอกกล่าวจาก Apple

Apple Inc.
สัญญาให้ใช้สิทธิ์ซอฟต์แวร์ iOS ของ Apple
สิทธิ์ให้ใช้กับเครื่องเดี่ยว

โปรดอ่านสัญญาให้ใช้สิทธิ์ในซอฟต์แวร์นี้ (“การให้ใช้สิทธิ์”) อย่างรอบคอบก่อนใช้อุปกรณ์ iOS หรือดาวน์โหลด
ซอฟต์แวร์อัพเดทกำกับการให้ใช้สิทธิ์นี้ โดยการใช้อุปกรณ์ iOS หรือดาวน์โหลดซอฟต์แวร์อัพเดทที่มาพร้อมกับการ
ให้ใช้สิทธิ์นี้ ท่านตกลงที่จะผูกพันตามข้อกำหนดของการให้ใช้สิทธิ์นี้ หากท่านไม่ตกลงตามข้อกำหนดของการให้ใช้
สิทธิ์นี้ ห้ามมิให้ใช้อุปกรณ์ iOS หรือดาวน์โหลดซอฟต์แวร์อัพเดท

หากท่านได้ซื้ออุปกรณ์ iOS มาก่อนหน้า และไม่ตกลงตามข้อกำหนดของการให้ใช้สิทธิ์ ท่านอาจส่งคืนอุปกรณ์ iOS
ให้กับร้านค้าของ Apple ภายในระยะเวลาการส่งคืน หรือให้แก่ผู้จัดจำหน่ายที่ได้รับอนุญาตที่ท่านได้ซื้ออุปกรณ์เพื่อ
ขอรับเงินคืนก็ได้ ทั้งนี้ ภายใต้บังคับของนโยบายการคืนเงินของ Apple ซึ่งจะหาดูได้ที่ https://www.apple.com/
legal/sales-support/

1. ทั่วไป
(ก) ซอฟต์แวร์ (รวมทั้งรหัสบู้ทรอม (Boot ROM) ซอฟต์แวร์ในตัว และซอฟต์แวร์บุคคลภายนอก) เอกสาร ตัว
ประสานเชื่อมต่อต่างๆ เนื้อหา ชุดแบบอักษร และข้อมูลใดๆ ที่มีมาพร้อมกับอุปกรณ์ iOS ของท่าน (“ซอฟต์แวร์ OS
เดิม”) ซึ่งอาจจะมีการปรับปรุงให้เป็นปัจจุบันหรือเปลี่ยนโดยการเพิ่มลักษณะ ซอฟต์แวร์อัพเดท หรือซอฟต์แวร์กู้ระบบ
ซึ่ง Apple จัดให้ (“ซอฟต์แวร์อัพเดท iOS”) ไม่ว่าจะในรูปของรอม หรือสื่ออื่นใดหรือแบบอื่นใด (ทั้งซอฟต์แวร์ iOS
เดิมและซอฟต์แวร์อัพเดทของ iOS เรียกรวมกันว่า “ซอฟต์แวร์ iOS”) เป็นซอฟต์แวร์ที่บริษัท Apple Inc. (“Apple”)
ให้ท่านใช้สิทธิ์ ไม่ได้ขายให้แก่ท่าน สำหรับใช้ตามข้อกำหนดของการให้ใช้สิทธิ์นี้ และ Apple ตลอดจนผู้ให้ใช้สิทธิ์
ของ Apple ยังคงเป็นเจ้าของกรรมสิทธิ์ในตัวซอฟต์แวร์ iOS และสงวนสิทธิ์ทั้งปวงที่มิได้ให้ไว้แก่ท่านโดยชัดแจ้ง
ซอฟต์แวร์ ท่านตกลงว่าเงื่อนไขของใบอนุญาตให้ใช้สิทธินี้จะใช้บังคับกับแอพยี่ห้อ Apple ใดๆ ที่อาจมีอยู่ในอุปกรณ์
iOS ของท่าน เว้นแต่แอพนั้นจะมีใบอนุญาตให้ใช้สิทธิแยกต่างหาก ซึ่งในกรณีเช่นนั้น ท่านตกลงให้ข้อกำหนดของใบ
อนุญาตให้ใช้สิทธินั้นใช้บังคับกับการใช้แอพของท่าน

(ข) Apple อาจใช้ดุลพินิจ ในการจัดทำซอฟต์แวร์อัพเดท iOS ใดๆ ที่อาจออกมาในอนาคต โดยที่ซอฟต์แวร์อัพเดท
iOS (หากมี) อาจไม่รวมถึงรูปแบบการใช้งานของซอฟแวร์ทั้งหมดที่มีอยู่ในปัจจุบัน หรือรูปแบบการทำงานแบบใหม่ที่
Apple ได้ทำออกมาสำหรับอุปกรณ์ iOS รุ่นใหม่หรืออุปกรณ์ iOS แบบอื่นๆ โดยข้อความของสัญญาการให้ใช้สิทธินี้
จะใช้บังคับกับซอฟต์แวร์ อัพเดท iOS ใดๆที่ได้จัดทำขึ้นโดย Apple เว้นแต่ซอฟท์แวร์อัพเดท iOS ดังกล่าวจะมีสัญญา
การให้ใช้สิทธิแยกต่างหาก ซึ่งในกรณีนี้ท่านตกลงว่าซอฟท์แวร์อัพเดท iOS นั้นๆ จะต้องอยู่ภายใต้สัญญาการให้ใช้
สิทธิเฉพาะ

(ค) ถ้าหากท่านใช้รูปแบบการใช้งานการติดตั้งแบบเร่งด่วนเพื่อติดตั้งอุปกรณ์ iOS ใหม่ตามอุปกรณ์ iOS ที่มีอยู่ของ
ท่าน ท่านตกลงว่าข้อกำหนดของสัญญาการให้ใช้สิทธินี้จะใช้บังคับกับการที่ท่านใช้งานซอฟต์แวร์ iOS ในอุปกรณ์
iOS ใหม่ของท่าน เว้นแต่รูปแบบการใช้งานดังกล่าวจะมีสัญญาการให้ใช้สิทธิแยกต่างหาก ซึ่งในกรณีนี้ท่านตกลงว่า
ข้อกำหนดของสัญญาการให้ใช้สิทธิดังกล่าวจะใช้บังคับกับการที่ท่านใช้งานซอฟต์แวร์ iOS ดังกล่าว อุปกรณ์ iOS
ของท่านจะตรวจสอบกับ Apple เป็นระยะๆ สำหรับการอัปเดตซอฟต์แวร์ iOS โดยถ้าการอัปเดตนั้นมีการจัดทำขึ้น
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 230 of 452




การอัปเดตอาจถูกดาวน์โหลดและติดตั้งไปยังอุปกรณ์ iOS ของท่าน และอุปกรณ์เชื่อมต่อคอมพิวเตอร์ของท่าน (หาก
สามารถปรับใช้ได้) โดยอัตโนมัติ โดยการใช้งานซอฟต์แวร์ของ Apple ท่านตกลงว่า Apple อาจดาวน์โหลดและติด
ตั้งอัปเดตซอฟต์แวร์ iOS โดยอัตโนมัติในอุปกรณ์ iOS ของท่านและอุปกรณ์เชื่อมต่อคอมพิวเตอร์ของท่าน ท่าน
สามารถปิดการใช้งานการอัปเดตทั้งหมดพร้อมกันได้ทุกเมื่อ โดยการเปลี่ยนการตั้งค่าการอัปเดตอัตโนมัติซึ่งจะพบอยู่
ในตั้งค่าระบบ > ทั่วไป > การอัปเดตซอฟต์แวร์

2. การใช้สิทธ์ที่ได้รับอนุญาตแล้วและข้อจำกัดในการใช้
(ก) ภายใต้บังคับข้อกำหนดและเงื่อนไขของการให้ใช้สิทธิ์นี้ ท่านได้รับอนุญาตอย่างจำกัดให้ใช้ซอฟต์แวร์ iOS กับ
อุปกรณ์ iOS ยี่ห้อ Apple เครื่องเดียว นอกจากที่อนุญาตไว้ในข้อ 2 (ข) ด้านล่างนี้ และเว้นแต่จะได้มีสัญญาแยกต่าง
หากระหว่างท่านกับ Apple การให้ใช้สิทธิ์นี้จะไม่อนุญาตให้ซอฟต์แวร์ iOS อยู่ในอุปกรณ์ iOS ยี่ห้อ Apple เกินคราว
ละหนึ่งเครื่อง และท่านจะกระทำการจัดจำหน่าย หรือทำให้มีซอฟต์แวร์ iOS บนเครือข่ายที่อุปกรณ์หลายเครื่อง
สามารถใช้ซอฟต์แวร์ได้ในเวลาเดียวกันมิได้ การให้ใช้สิทธิ์นี้ไม่ได้ให้สิทธิ์แก่ท่านในการใช้ตัวประสานเชื่อมต่ออันเป็น
ทรัพย์สินของ Apple และทรัพย์สินทางปัญญาอื่นๆในการออกแบบ การพัฒนา การผลิต การให้ใช้สิทธิ์หรือการ
จำหน่ายเครื่องมือและอุปกรณ์ของบุคคลภายนอก หรือแอพพลิเคชั่นซอฟต์แวร์ของบุคคลภายนอกสำหรับใช้กับ
อุปกรณ์ iOS สิทธิต่างๆ เหล่านั้นบางอย่าง Apple ได้ให้สิทธิ์ตามสัญญาการให้ใช้สิทธิ์ที่แยกต่างหาก สำหรับข้อมูล
เพิ่มเติมเกี่ยวกับการพัฒนาเครื่องมือและอุปกรณ์ของบุคคลภายนอกอุปกรณ์ iOS โปรดดูได้ที่ https://
developer.apple.com/programs/mfi สำหรับข้อมูลเพิ่มเติมเกี่ยวกับการพัฒนาซอฟต์แวร์แอพพลิเคชั่นสำหรับ
อุปกรณ์ iOS โปรดดูได้ที่ https://developer.apple.com

(ข) ภายใต้บังคับข้อกำหนดและเงื่อนไขของการให้ใช้สิทธิ์นี้ ท่านได้รับอนุญาตอย่างจำกัดให้ดาวน์โหลดซอฟต์แวร์
อัพเดท iOS ที่ Apple อาจมีให้สำหรับอุปกรณ์ iOS รุ่นของท่านเพื่ออัพเดทหรือกู้คืนซอฟท์แวร์ในอุปกรณ์ iOS ที่ท่าน
เป็นเจ้าของและควบคุมนั้น แต่การอนุญาตนี้จะไม่จำกัดการให้อนุญาตแก่ผู้อื่นด้วย การให้ใช้สิทธิ์นี้ ไม่อนุญาตให้ท่าน
อัพเดทหรือกู้คืนอุปกรณ์ iOS ที่ท่านไม่ได้เป็นเจ้าของและควบคุม และท่านจะแจกจ่ายหรือให้มีซอฟต์แวร์อัพเดท iOS
บนเครือข่ายที่มีอุปกรณ์หลายเครื่อง หรือคอมพิวเตอร์หลายเครื่องสามารถใช้ได้ในเวลาเดียวกันไม่ได้ หากท่านได้
ดาวน์โหลดซอฟท์แวร์อัพเดท iOS ลงบนคอมพิวเตอร์ของท่าน ท่านอาจทำสำเนาซอฟต์แวร์อัพเดท iOS ไว้ที่เครื่อง
คอมพิวเตอร์ของท่านก็ได้ในรูปแบบที่อ่านได้ด้วยเครื่องหรือเก็บไว้เพื่อสำรองใช้เท่านั้น โดยสำเนาสำรองใช้นั้นจะต้อง
รวมเอาลิขสิทธิ์หรือการแจ้งแสดงความเป็นเจ้าของที่มีอยู่ในต้นฉบับซอฟต์แวร์ iOS ทั้งหมดด้วย

(ค) ตราบเท่าที่ Apple ได้ติดตั้งแอพยี่ห้อ Apple จาก App Store ไว้ล่วงหน้าในอุปกรณ์ iOS ของท่านในเวลาที่ซื้อ
(“แอพที่ติดตั้งล่วงหน้า”) ท่านจำเป็นจะต้องเชื่อมต่อเข้าไปยัง App Store และเชื่อมต่อแอพที่ติดตั้งล่วงหน้าเหล่านี้
เข้ากับบัญชี App Store ของท่านเพื่อที่จะใช้งานแอพที่ติดตั้งล่วงหน้าในอุปกรณ์ iOS ของท่าน เมื่อท่านเชื่อมต่อแอพ
ที่ติดตั้งล่วงหน้าเข้ากับบัญชี App Store ของท่าน ท่านก็จะเชื่อมต่อแอพที่ติดตั้งล่วงหน้าทั้งหมดในอุปกรณ์ iOS ของ
ท่านโดยอัตโนมัติด้วย ถ้าท่านเลือกเชื่อมต่อแอพที่ติดตั้งล่วงหน้าเข้ากับบัญชี App Store ของท่าน ท่านตกลงว่า
Apple อาจส่ง รวบรวม เก็บรักษา ประมวลผล และใช้ Apple ID ที่ใช้โดยบัญชี App Store ของท่านและการระบุ
ลักษณะเฉพาะของฮาร์ดแวร์ที่เก็บรวบรวมจาก iOS ของท่าน เพื่อเป็นการระบุลักษณะเฉพาะของบัญชีเพื่อวัตถุประสงค์
ในการตรวจสอบการมีสิทธิตามคำขอของท่านและเพื่อให้ท่านสามารถเข้าถึงแอพที่ติดตั้งล่วงหน้าโดยผ่านทาง App
Store ได้ ถ้าท่านไม่ประสงค์ที่จะใช้แอพที่ติดตั้งล่วงหน้า ท่านสามารถลบทิ้งออกจากอุปกรณ์ iOS ของท่านได้ไม่ว่าใน
เวลาใด

(ง) ท่านจะลอกเลียนซอฟต์แวร์ iOS ไม่ได้ และท่านตกลงที่จะไม่ทำหรือให้คนอื่นทำการลอกเลียน (เว้นแต่จะได้รับ
อนุญาตโดยการให้ใช้สิทธิ์นี้อย่างชัดแจ้ง) กระจาย ทำวิศวกรรมย้อนกลับ แยกประกอบ หรือพยายามที่จะดึงรหัส
ข้อมูล หรือถอดรหัส หรือแก้ไข หรือสร้างงานอนุพันธุ์ของซอฟต์แวร์ iOS หรือการบริการใดๆ ที่ iOS จัดให้ หรือส่วน
ใดๆ ของ iPad (เว้นแต่และเท่าที่ข้อจำกัดข้างต้นนั้นจะถูกห้ามโดยกฎหมาย หรือโดยข้อกำหนดการให้ใช้สิทธิ์อันว่า
ด้วยการใช้ส่วนประกอบที่เป็น open-sourced ที่อาจมีอยู่ในซอฟต์แวร์ iOS)

(จ) ซอฟต์แวร์ iOS อาจใช้ผลิตงานซ้ำได้เท่าที่การใช้ดังกล่าวจำกัดเฉพาะการผลิตซ้ำงานอันไม่มีลิขสิทธิ์ งานที่ท่าน
เป็นเจ้าของลิขสิทธิ์ หรืองานที่ท่านได้รับอนุญาตให้ผลิตซ้ำโดยถูกต้องตามกฎหมาย กรรมสิทธิ์และสิทธิในทรัพย์สิน
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 231 of 452




ทางปัญญาในเนื้อหาใด ๆ ที่แสดงโดย เก็บอยู่ใน หรือเข้าถึงผ่านอุปกรณ์ iOS ของท่าน ย่อมตกแก่เจ้าของเนื้อหานั้น
ๆ เนื้อหาเช่นว่านั้นอาจได้รับการคุ้มครองโดยกฎหมายและสนธิสัญญาว่าด้วยลิขสิทธิ์หรือทรัพย์สินทางปัญญาประเภท
อื่นและอาจอยู่ภายใต้บังคับข้อกำหนดการใช้ของบุคคลภายนอกซึ่งเป็นผู้ให้เนื้อหานั้นได้ เว้นแต่จะได้มีการระบุไว้ใน
ใบอนุญาตให้ใช้สิทธินี้ ใบอนุญาตให้ใช้สิทธินี้ไม่ให้สิทธิใด ๆ แก่ท่านที่จะใช้เนื้อหานั้นหรือไม่รับประกันว่า เนื้อหานั้น
จะยังคงจัดให้ท่านอยู่ต่อไป

(ฉ) ภายใต้บังคับของข้อกำหนดและเงื่อนไขของการอนุญาตให้ใช้สิทธินี้ ท่านอาจใช้ตัวคาแรกเตอร์ Animoji หรือ
Memoji ที่มีอยู่ในหรือถูกสร้างขึ้นด้วยซอฟต์แวร์ iOS (“ตัวคาแรกเตอร์ของระบบ”) (1) ในขณะที่ใช้ซอฟต์แวร์ iOS
และ (2) เพื่อสร้างเนื้อหาและโครงการดั้งเดิมของท่านเองเพื่อการใช้งานส่วนบุคคลที่ไม่ใช่เพื่อการค้าของท่าน โดย
การอนุญาตให้ใช้สิทธินี้ไม่อนุญาตให้ใช้ตัวคาแรกเตอร์ของระบบในลักษณะอื่น รวมทั้งแต่ไม่จำกัดเพียง การใช้ การ
ทำซ้ำ การแสดงผล การแสดง การบันทึก การพิมพ์เผยแพร่ หรือการแจกจ่ายซ้ำตัวคาแรกเตอร์ของระบบใดๆ ใน
ลักษณะเพื่อแสวงหากำไร เพื่อไม่แสวงหากำไร เพื่อแบ่งปันต่อสาธารณะ หรือเพื่อการพาณิชย์

(ช) ท่านตกลงใช้ซอฟต์แวร์ iOS และการบริการ (ตามที่ได้มีการแจกแจงไว้ในข้อ 5 ด้านล่างนี้) โดยถูกต้องตาม
กฎหมาย ซึ่งรวมถึงกฎหมายภายในของประเทศหรือของภูมิภาคที่ท่านอาศัยอยู่ หรือที่ท่านพำนักอยู่ในขณะที่
ดาวน์โหลด หรือใช้ซอฟต์แวร์ iOS และบริการ รูปแบบการใช้งานซอฟต์แวร์ iOS และบริการอาจไม่มีให้บริการในทุก
ภาษาหรือภูมิภาค การใช้งานบางรูปแบบอาจเปลี่ยนแปลงไปตามภูมิภาคและบางรูปแบบอาจถูกจำกัดหรือไม่มีให้
บริการจากผู้ให้บริการของท่าน รูปแบบการใช้งานบางอย่างของซอฟต์แวร์ iOS และบริการจำเป็นจะต้องมีการเชื่อมต่อ
ข้อมูลทาง Wi-Fi หรือโทรศัพท์มือถือ

(ซ) การใช้งาน App Store จำเป็นต้องมีชื่อผู้ใช้ (Username) และรหัสพาสเวิร์ด (Password) ที่มีความเฉพาะ
เจาะจง หรือที่รู้จักในนาม Apple ID และ Apple ID ยังมีความจำเป็นในการเข้าถึงการอัพเดตของแอพและรูปแบบ
การใช้งานบางอย่างของซอฟต์แวร์ iOS และบริการ

(ฌ) ท่านรับทราบว่ารูปแบบการใช้งานเฉพาะแอพสำเร็จรูปภายใน และการบริการหลายอย่างของซอฟท์แวร์ iOS จะ
ส่งผ่านข้อมูลและอาจส่งผลกระทบต่อค่าใช้จ่ายของแผนข้อมูลของท่าน และท่านจะเป็นผู้รับผิดชอบค่าใช้จ่ายใดๆ ที่
เกิดขึ้น ท่านสามารถดูและควบคุมได้ว่าแอพพลิเคชั่นใดที่ได้รับอนุญาตให้ใช้ข้อมูลโทรศัพท์เคลื่อนที่และดูประมาณ
การว่าแอพพลิเคชั่นดังกล่าวได้ใช้ข้อมูลมากเพียงใดภายใต้การกำหนดค่าข้อมูลโทรศัพท์เคลื่อนที่ นอกจากนี้ Wi-Fi
Assist จะปรับเปลี่ยนเป็นการใช้ข้อมูลจากโทรศัพท์เคลื่อนที่ในกรณีที่ท่านมีสัญญาณการเชื่อมต่อ Wi-Fi ไม่ดี ซึ่งอาจ
ส่งผลให้มีการใช้ข้อมูลโทรศัพท์เคลื่อนที่มากขึ้นและมีผลต่อค่าใช้จ่ายตามแผนการใช้โทรศัพท์เคลื่อนที่ของท่าน Wi-
Fi Assist จะถูกตั้งค่าให้เปิดทำงานเป็นอันดับแรกแต่สามารถปิดการทำงานได้ภายใต้การตั้งค่า สำหรับข้อมูลเพิ่ม
เติม โปรดขอรับคำปรึกษาได้จาก คู่มือการใช้งาน (User Guide) สำหรับอุปกรณ์ iOS ของท่าน

(ญ) ถ้าท่านเลือกใช้การอัพเดตแอพอัตโนมัติ อุปกรณ์ iOS ของท่านจะตรวจสอบกับ Apple เป็นระยะๆ สำหรับการ
อัพเดตแอพในอุปกรณ์ของท่าน และถ้ามีให้บริการ การอัพเดตดังกล่าวก็จะดาวน์โหลดและติดตั้งในอุปกรณ์ของท่าน
โดยอัตโนมัติ ท่านสามารถปิดการอัพเดตแอพอัตโนมัติทั้งหมดได้ไม่ว่าในเวลาใดโดยการเข้าไปที่การตั้งค่า เลือก
iTunes & App Store และภายใต้ Automatic Downloads ให้ปิดการอัพเดต

(ฎ) การใช้อุปกรณ์ iOS ของท่านในบางลักษณะอาจหันเหความสนใจของท่านและอาจก่อให้เกิดสถานการณ์ที่
อันตราย (ตัวอย่างเช่น ให้หลีกเลี่ยงการพิมพ์ข้อความในขณะขับรถยนต์ หรือใช้หูฟังในขณะขี่รถจักรยาน) โดยการใช้
อุปกรณ์ iOS ของท่าน ท่านตกลงว่าท่านจะรับผิดชอบในการปฏิบัติตามกฎระเบียบที่ห้ามหรือจำกัดการใช้โทรศัพท์มือ
ถือหรือหูฟัง (ตัวอย่างเช่น ข้อกำหนดสำหรับการใช้ทางเลือกที่เป็นอุปกรณ์แฮนด์ฟรีในการโทรศัพท์ในขณะขับขี่)

3. การโอน ท่านจะให้เช่า ให้ยืม ขาย จำหน่ายต่อ หรือให้ใช้สิทธิ์ช่วงซอฟต์แวร์ iOS ไม่ได้ แต่ท่านอาจทำการโอน
ถาวรทีเดียวซึ่งสิทธิ์ทั้งหมดจากการให้ใช้สิทธิ์ใน iOS ให้แก่อีกฝ่ายหนึ่ง ด้วยการโอนกรรมสิทธิ์ในอุปกรณ์ iOS ของ
ท่านได้ โดยที่ (ก) การโอนนั้นจะต้องรวมทั้งอุปกรณ์ iOS ของท่านและซอฟต์แวร์ iOS นั้นของท่านทั้งหมด รวมทั้งชิ้น
ส่วนประกอบทั้งหมด และการให้ใช้สิทธิ์นี้ด้วย (ข) ท่านจะต้องไม่เก็บสำเนาซอฟต์แวร์ iOS ใดๆ ไว้ ไม่ว่าทั้งหมดหรือ
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 232 of 452




บางส่วน รวมถึงสำเนาต่างๆ ที่เก็บไว้ในเครื่องคอมพิวเตอร์ หรือเครื่องมือเก็บอื่นๆ และ (ค) ฝ่ายที่รับโอนซอฟต์แวร์
iOS อ่านและตกลงที่จะรับข้อกำหนดและเงื่อนไขของการให้ใช้สิทธิ์นี้

4. ยินยอมให้ใช้ข้อมูล เมื่อท่านใช้อุปกรณ์ของท่าน หมายเลขโทรศัพท์ และการระบุลักษณะที่เฉพาะเจาะจงบางอย่าง
ของท่านสำหรับอุปกรณ์ iOS ของท่านจะอนุญาตให้ผู้อื่นเข้าถึงท่านได้โดยหมายเลขโทรศัพท์ของท่านเมื่อใช้ลักษณะ
การใช้งานด้านการสื่อสารจำนวนมากของซอฟท์แวร์ iOS เช่น iMessage และ FaceTime เมื่อท่านใช้ iMessage
Apple อาจเก็บข้อความของท่านไว้ในรูปแบบการเข้ารหัสเป็นระยะเวลาที่จำกัดเพื่อให้แน่ใจว่าข้อความดังกล่าวจะได้
รับการส่ง ท่านอาจปิด FaceTime หรือ iMessage ได้โดยเข้าไปที่การตั้งค่าของ FaceTime หรือ Messages ใน
อุปกรณ์ iOS ของท่าน ลักษณะการใช้งานบางประการ เช่น การวิเคราะห์ข้อมูล บริการเชิงพื้นที่ Siri และการป้อนตาม
คำบอก อาจจำเป็นต้องมีข้อมูลจากอุปกรณ์ iOS ของท่าน เพื่อที่จะสามารถทำงานได้ตามที่กำหนด เมื่อท่านเปิดหรือใช้
รูปแบบการใช้งานเหล่านี้ จะมีการแสดงรายละเอียดให้ทราบว่าข้อมูลใดถูกส่งให้แก่ Apple และข้อมูลดังกล่าวอาจถูก
ใช้อย่างไร ท่านสามารถศึกษาเพิ่มเติมโดยการเข้าไปที่ https://www.apple.com/th/privacy/ ข้อมูลของท่านจะ
ได้รับการปฏิบัติตามนโยบายความเป็นส่วนตัวของ Apple (Apple Privacy Policy) อยู่เสมอ ซึ่งสามารถหาดูได้ที่
https://www.apple.com/legal/privacy/

5. บริการและข้อมูลของบุคคลภายนอก
(ก) ซอฟต์แวร์ iOS อาจทำให้สามารถเข้าถึง iTunes Store App Store Apple Books Game Center iCloud
Maps ของ Apple และการบริการอื่นๆ ของ Apple และของบุคคลภายนอก ซึ่งรวมทั้งเว็บไซต์ต่างๆ (รวมกันและแยก
กันเรียกว่า “บริการ”) ได้ การบริการดังกล่าวอาจมิได้จัดให้ทุกภาษาหรือในทุกประเทศก็ได้ การใช้บริการนี้จะต้องเข้า
อินเทอร์เน็ต และในการใช้บริการบางอย่าง ซึ่งอาจจำต้องใช้ Apple ID ของท่าน ท่านอาจจำต้องยอมรับข้อกำหนด
เพิ่มเติม และอาจต้องชำระค่าธรรมเนียมเพิ่มเติม โดยที่การใช้ซอฟต์แวร์นี้ในส่วนที่เกี่ยวกับ Apple ID บัญชี หรือ
บริการของ Apple อื่นๆ ถือว่าท่านตกลงตามข้อกำหนดและเงื่อนไขของบริการนั้นๆ เช่นข้อกำหนดและเงื่อนไขของ
บริการสื่อของ Apple ฉบับล่าสุด สำหรับประเทศที่ท่านเข้าถึงบริการดังกล่าว ซึ่งท่านอาจเข้าไปดูได้ที่ https://
www.apple.com/legal/internet-services/itunes /

(ข) หากท่านลงทะเบียนเพื่อใช้งาน iCloud ท่านอาจเข้าถึง รูปแบบการใช้งาน iCloud บางประเภท เช่น “iCloud
Photos” “My Photo Stream” “Shared Albums” “Back Up” และ “Find My iPhone” ได้โดยตรงจาก
ซอฟท์แวร์ iOS ทั้งนี้ ท่านทราบดีและตกลงว่าการใช้งาน iCloud ของท่าน และรูปแบบการใช้งานดังกล่าวนี้จะอยู่ภาย
ใต้ข้อกำหนดและเงื่อนไขล่าสุดของการบริการ iCloud ซึ่งท่านอาจเข้าไปดูได้ที่ https://www.apple.com/legal/
internet-services/icloud/

(ค) เนื้อหาของแอพ News การที่ท่านใช้เนื้อหาที่เข้าถึงโดยผ่านทางแอพพลิเคชั่น News จะจำกัดอยู่เฉพาะการใช้
งานส่วนบุคคลที่ไม่ใช่ในเชิงพาณิชย์เท่านั้น โดยจะไม่มีการโอนผลประโยชน์ที่เป็นกรรมสิทธิ์ใดๆ ให้แก่ท่านในเนื้อหา
ดังกล่าว และโดยเฉพาะอย่างยิ่ง จะไม่รวมถึงแต่ไม่จำกัดเพียง สิทธิการใช้ในเชิงพาณิชย์หรือเพื่อการส่งเสริมการขาย
ใดๆ ในเนื้อหาดังกล่าว นอกจากนี้ ห้ามไม่ให้ท่านเผยแพร่ซ้ำ ถ่ายทอดซ้ำ และผลิตซ้ำ ซึ่งภาพใดๆ ที่เข้าถึงโดยผ่าน
ทาง News เป็นไฟล์ในลักษณะสแตนด์อะโลน

(ง) Maps บริการและรูปแบบการใช้งานแผนที่ของซอฟต์แวร์ iOS (“Maps”) รวมทั้งการครอบคลุมของข้อมูลแผนที่
อาจแตกต่างกันไปตามภูมิภาค เมื่อท่านใช้ลักษณะการใช้งานเชิงพื้นที่ใน Maps เช่น โปรแกรมบอกเส้นทาง turn-
by-turn การค้นหาเกี่ยวกับจราจรและท้องถิ่น ข้อมูลการใช้งานและข้อมูลที่เกี่ยวข้องกับข้อมูลพื้นที่อันหลากหลายอาจ
ถูกส่งไปที่ Apple รวมถึงข้อมูลเชิงพื้นที่ทางภูมิศาสตร์ของอุปกรณ์ iOS ของท่าน เพื่อที่จะดำเนินการตามคำร้องขอ
ของท่านและช่วยพัฒนาMaps โดยข้อมูลเชิงพื้นที่และข้อมูลการใช้งานดังกล่าวจะจัดเก็บโดย Apple ในรูปแบบซึ่งไม่
ระบุตัวท่านเป็นการเฉพาะเจาะจง โดยการใช้งาน Maps นี้ท่านตกลงและยินยอมให้ Apple ตลอดจนบริษัทย่อยและ
ตัวแทน ส่งผ่านข้อมูล เก็บรวบรวมข้อมูล เก็บรักษาข้อมูล ประมวลผล และนำข้อมูลไปใช้งาน เพื่อที่จะจัดทำและ
พัฒนาการใช้งานและบริการของ Maps และผลิตภัณฑ์และการบริการอื่นๆ ของ Apple ให้ดียิ่งขึ้น Apple อาจให้
ข้อมูลดังกล่าวไม่ว่าในรูปแบบรวมหรือที่ไม่ระบุตัวตนเป็นการส่วนบุคคล แก่หุ้นส่วนและผู้ได้รับอนุญาตให้ใช้สิทธิของ
ตนเองเพื่อช่วยในการปรับปรุงแผนที่หรือผลิตภัณฑ์และบริการเชิงพื้นที่ของบุคคลดังกล่าว ท่านอาจปิดการใช้งานเชิง
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 233 of 452




พื้นที่ของ Maps ได้โดยการไปที่การตั้งค่าบริการเชิงพื้นที่ในอุปกรณ์ iOS ของท่านและเลือกปิดการตั้งค่าพื้นที่ส่วน
บุคคลสำหรับ Maps อย่างไรก็ตามการใช้งานบางอย่างของ Maps อาจไม่สามารถุใช้งานได้ถ้าท่านปิดการตั้งค่า
บริการเชิงพื้นที่ เช่นโปรแกรมบอกเส้นทาง turn-by-turn

  (จ) ท่านเข้าใจว่า โดยการใช้บริการใดๆ ท่านอาจจะพบกับเนื้อหาที่อาจถือว่าหยาบคาย ไม่เหมาะสม หรือน่ารังเกียจ
ซึ่งจะจัดเป็นเนื้อหาที่ใช้ภาษาที่ชัดแจ้งหรือไม่ก็ได้ และเข้าใจว่าผลของการค้นหาหรือการใส่ URL เฉพาะเข้าไป อาจ
เชื่อมต่อไปยังหรืออ้างไปถึงข้อมูลที่น่ารังเกียจโดยอัตโนมัติ หรือโดยไม่ตั้งใจก็ได้ อย่างไรก็ตาม ท่านตกลงที่จะใช้
บริการด้วยความเสี่ยงของท่านเองฝ่ายเดียว และ Apple บริษัทในเครือ ตัวแทน ตัวการ หรือผู้อนุญาตให้ใช้สิทธิของ
Appleไม่มีความรับผิดต่อท่านสำหรับเนื้อหาที่อาจพบว่าหยาบคาย ไม่เหมาะสม หรือน่ารังเกียจ

(ฉ) บริการบางอย่างอาจแสดง มี หรือให้เนื้อหา ข้อมูล สารสนเทศ แอพพลิเคชั่น หรือข้อมูลต่างๆ จากบุคคลภายนอก
(“ข้อมูลของบุคคลภายนอก”) หรือให้เชื่อมต่อไปยังเว็บไซต์ของบุคคลภายนอกบางเว็บไซต์ โดยการใช้บริการ ท่าน
ยอมรับและตกลงว่า Apple ไม่รับผิดชอบต่อการตรวจสอบหรือประเมินเนื้อหา ความถูกต้อง ความครบถ้วน ความ
เหมาะแก่เวลา ความสมบูรณ์ การปฏิบัติตามลิขสิทธิ์ ความถูกต้องตามกฎหมาย ความเหมาะสม คุณภาพหรือลักษณะ
อื่นใดของข้อมูลหรือเว็บไซต์ของบุคคลภายนอกนั้น Apple เจ้าหน้าที่ บริษัทในเครือและบริษัทย่อยของ Apple ไม่
รับประกัน หรือรับรอง และไม่รับเอา และจะไม่มีความรับผิดหรือความรับผิดชอบใดๆ ต่อท่าน หรือต่อบุคคลอื่นใด
สำหรับการให้บริการของบุคคลภายนอก ข้อมูลหรือเว็บไซต์ของบุคคลภายนอกใดๆ หรือสำหรับข้อมูลอื่นใด
ผลิตภัณฑ์หรือการบริการของบุคคลภายนอก ข้อมูลและการเชื่อมต่อไปยังเว็บไซต์ของบุคคลภายนอกนั้น จัดให้เพื่อ
ความสะดวกแก่ท่านเท่านั้น

(ช) ทั้ง Apple และผู้ให้บริการข้อมูลของ Apple จะไม่รับประกันการมีอยู่ ความถูกต้อง ความสมบูรณ์ ความเชื่อถือได้
หรือข้อมูลหุ้นที่ตรงต่อเวลา ข้อมูลเชิงพื้นที่ หรือข้อมูลอื่นใดที่ปรากฏขึ้นโดยบริการของ Apple ข้อมูลด้านการเงินที่
แสดงโดยบริการใดๆ เป็นข้อมูลโดยทั่วไปเท่านั้น และไม่ควรเชื่อถือเป็นคำแนะนำในการลงทุน ก่อนทำธุรกรรมเกี่ยว
กับหลักทรัพย์ใดๆ โดยอาศัยข้อมูลที่ได้จากการบริการ ท่านควรปรึกษาผู้มีวิชาชีพทางการเงิน หรือหลักทรัพย์ ผู้ซึ่งมี
คุณสมบัติถูกต้องตามกฎหมายในการให้คำปรึกษาด้านการเงินหรือหลักทรัพย์ในประเทศหรือในภูมิภาคของท่าน
ข้อมูลเชิงพื้นที่ที่การบริการใดๆ รวมถึงบริการ Maps ของ Apple จัดให้ก็เพื่อวัตถุประสงค์ในการค้นหาเส้นทางพื้น
ฐานและการวางแผนเท่านั้น และมิได้ประสงค์จะให้เชื่อถือในสถานการณ์ที่ต้องการข้อมูลเชิงพื้นที่ที่แน่ชัด หรือใน
สถานการณ์ที่ข้อมูลเชิงพื้นที่ที่ผิดพลาด ไม่ถูกต้อง ล่าช้า หรือไม่ครบถ้วนอาจนำไปสู่การเสียชีวิต ความเสียหายส่วน
บุคคล ความเสียหายต่อทรัพย์สินหรือสภาพแวดล้อมได้ ท่านตกลง ผลที่ท่านได้รับจากบริการ Maps อาจแตกต่างกัน
ไปจากสภาพท้องถนนหรือภูมิประเทศที่แท้จริง อันเนื่องมาจากปัจจัยที่สามารถส่งผลกระทบต่อความถูกต้องของข้อมูล
Maps เช่นปัจจัยดังต่อไปนี้แต่ไม่จำกัดเพียง อากาศ สภาพท้องถนนและจราจร และเหตุการณ์ภูมิรัฐศาสตร์ เพื่อความ
ปลอดภัยของท่านเมื่อใช้งานโปรแกรมบอกเส้นทาง โปรดให้ความสนใจกับสัญลักษณ์ถนนที่มีการประกาศ และสภาพ
ท้องถนนในเวลาปัจจุบัน และขับรถด้วยความปลอดภัยและกฎจราจร และโปรดทราบว่าทิศทางสำหรับการเดินอาจไม่
รวมบาทวิถีหรือทางสำหรับเดินเท้า

(ซ) ในกรณีที่ท่านได้อัปโหลดเนื้อหาใดๆ ผ่านการใช้บริการ ท่านรับรองว่าท่านเป็นเจ้าของสิทธิ หรือมีอำนาจ หรือได้
รับอนุญาตตามกฎหมายให้อัปโหลด เนื้อหาดังกล่าวและเนื้อหาอื่นใดที่มิได้เป็นการละเมิดข้อกำหนดใดที่ใช้บังคับกับ
การบริการ ท่านตกลงว่า บริการมีเนื้อหา สารสนเทศ และข้อมูลอันเป็นทรัพยสิทธิ ซึ่ง Apple เจ้าของเว็บไซต์ หรือผู้ให้
ใช้สิทธิ์ของ Apple เป็นเจ้าของ และได้รับการคุ้มครองโดยกฎหมายทรัพย์สินทางปัญญาและกฎหมายอื่นๆ ซึ่งรวมถึง
โดยไม่จำกัดเฉพาะลิขสิทธิ์ และท่านตกลงว่าจะไม่ใช้เนื้อหา สารสนเทศ หรือข้อมูลอันเป็นทรัพยสิทธิ นอกเหนือไปจาก
วัตถุประสงค์เพื่อการใช้บริการที่ได้รับอนุญาตแล้ว หรือการใช้งานในลักษณะที่ไม่ได้เป็นไปตามที่ระบุไว้ในข้อกำหนด
ของการใช้สิทธิ์ฉบับนี้ หรือที่ละเมิดสิทธิในทรัพย์สินทางปัญญาของผู้อื่นหรือของ Apple การบริการส่วนใดๆ จะทำซ้ำ
ในรูปแบบใดหรือโดยวิธีใดไม่ได้ ท่านตกลงที่จะไม่แก้ไข ให้เช่า ให้ยืม ขาย จำหน่าย หรือสร้างงานที่เป็นอนุพันธุ์โดย
อาศัยการบริการในลักษณะใดๆ และท่านจะไม่ใช้ประโยชน์ในทางที่ไม่ได้รับอนุญาตใดๆ ก็ตาม ซึ่งรวมถึงโดยไม่
จำกัดเฉพาะการใช้บริการเพื่อส่งไวรัสของคอมพิวเตอร์ เวอร์ม ม้าโทรจัน หรือมัลแวร์ หรือโดยการเจาะเข้าไป หรือเพิ่ม
ภาระให้แก่ความสามารถของเครือข่าย ท่านตกลงยินยอมต่อไปที่จะไม่ใช้บริการในลักษณะใดๆ เพื่อลวนลาม ทำร้าย
ติดตาม ข่มขู่ ดูหมิ่น หรือละเมิดหรือฝ่าฝืนโดยประการอื่นซึ่งสิทธิของบุคคลอื่นใด และตกลงว่า Apple ไม่รับผิดชอบ
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 234 of 452




ในทางใดๆ สำหรับการใช้ใดๆ ดังกล่าวโดยท่าน หรือสำหรับข้อความหรือการส่งข้อความอันเป็นการลวนลาม การ
ข่มขู่ การดูหมิ่น น่ารังเกียจ ละเมิดสิทธิ หรือผิดกฎหมาย ซึ่งท่านอาจได้รับเนื่องจากการใช้บริการใดๆ

(ฌ) นอกจากนั้น การบริการและข้อมูลของบุคคลภายนอกซึ่งอาจเข้าถึงได้จาก เชื่อมต่อไปยัง หรือแสดงอยู่บน
อุปกรณ์ iOS มิได้มีการจัดทำไว้ในทุกภาษาหรือมีอยู่ทุกประเทศ หรือทุกภูมิภาค Apple ไม่แสดงข้อความจริงว่า
บริการและข้อมูลของบุคคลภายนอกดังกล่าวมีความเหมาะสม หรือมีไว้เพื่อการใช้เฉพาะพื้นที่ใดๆ เท่าที่ท่านเลือกใช้
หรือเข้าถึงบริการหรือและข้อมูลของบุคคลภายนอกดังกล่าว ท่านทำเช่นนั้นด้วยการริเริ่มของท่านเอง และท่านจะต้อง
รับผิดชอบในการปฏิบัติตามกฎหมายใดๆ ที่ใช้บังคับ ซึ่งรวมถึงโดยไม่จำกัดเฉพาะกฎหมายท้องถิ่นที่ใช้บังคับและ
กฎหมายเกี่ยวกับการเก็บข้อมูลและความเป็นส่วนตัว การแบ่งปันหรือประสานภาพถ่ายโดยผ่านทางอุปกรณ์ iOS ของ
ท่านอาจทำให้ข้อมูลเชิงพิกัด รวมทั้งข้อมูลว่าภาพถ่ายถูกบันทึกที่ไหนและเมื่อใด และข้อมูลเชิงลึก ถูกส่งไปพร้อมกับ
ภาพถ่าย การใช้บริการของ Apple (เช่น iCloud Photo Library) เพื่อแบ่งปันหรือประสานภาพถ่ายดังกล่าวจะ
เกี่ยวข้องกับการที่ Apple ได้รับและจัดเก็บข้อมูลเชิงพิกัดดังกล่าว Apple และผู้ให้ใช้สิทธิ์ของตนสงวนสิทธิ์ที่จะ
เปลี่ยน ระงับ ย้ายออก หรือทำให้เข้าถึงบริการใดๆ ไม่ได้ ณ เวลาใดๆ ก็ได้ โดยไม่ต้องแจ้งให้ทราบ ไม่ว่าในกรณี
ใดๆ Apple จะไม่รับผิดต่อการย้ายออก หรือการทำให้เข้าบริการดังกล่าวใดๆ ไม่ได้ Apple ยังอาจจำกัดการใช้
หรือการเข้าถึงบริการบางอย่างอีกด้วย ในกรณีใดๆ โดยไม่ต้องแจ้งให้ทราบหรือโดยไม่มีความผิด

6. การสิ้นสุด การให้ใช้สิทธิ์นี้มีผลบังคับไปจนกว่าจะได้มีการยกเลิก สิทธิของท่านตามการให้ใช้สิทธิ์นี้จะสิ้นสุดลง
โดยอัตโนมัติหรือสิ้นผลแต่โดยประการอื่นโดย Apple ไม่ต้องแจ้งให้ทราบ หากท่านไม่สามารถปฏิบัติตามข้อกำหนด
ของการให้ใช้สิทธิ์นี้ได้ เมื่อยกเลิกการให้ใช้สิทธิ์แล้ว ท่านจะต้องหยุดใช้ซอฟต์แวร์ iOS ทั้งหมด การให้ใช้สิทธิ์นี้ใน
ข้อ 4 5 6 7 8 9 12 และ 12 13 ให้มีผลใช้บังคับต่อไปภายหลังการให้ใช้สิทธิ์นี้สิ้นสุดลง

7. การปฏิเสธการรับประกัน
7.1      หากท่านเป็นลูกค้าผู้บริโภค (ผู้ใช้ซอฟต์แวร์ iOS นอกจากการค้า ธุรกิจ และอาชีพของท่าน) ท่านอาจมีสิทธิ์
ตามกฎหมายในประเทศถิ่นที่อยู่ของท่าน ซึ่งห้ามมิให้นำข้อจำกัดดังต่อไปนี้มาใช้กับท่าน และที่ใดที่ห้าม ก็จะไม่นำข้อ
จำกัดนี้มาใช้กับท่าน ท่านควรติดต่อหน่วยงานให้คำแนะนำผู้บริโภคภายในประเทศเพื่อดูสิทธิเพิ่มเติม

7.2      ท่านยอมรับและตกลงอย่างชัดแจ้งว่า เท่าที่กฎหมายที่เกี่ยวข้องจะอนุญาต การใช้ซอฟต์แวร์ iOS และบริการ
ใดๆ ที่กระทำขึ้นโดยหรือเข้าถึงทางซอฟต์แวร์ iOS เป็นความเสี่ยงของท่านแต่เพียงฝ่ายเดียว และความเสี่ยงทั้งหมด
เกี่ยวกับคุณภาพที่พึงพอใจ การทำงาน ความถูกต้องและความพยายามอยู่ที่ท่าน

7.3      เท่าที่ที่กฎมายที่ใช้บังคับจะอนุญาตให้กระทำได้ ซอฟต์แวร์ iOS และการบริการ ถูกจัดทำขึ้น “ตาม
สภาพ”และ “ตามที่มี” พร้อมกับข้อบกพร่องทั้งหมด และปราศจากการรับประกันทุกประเภท และโดยข้อนี้ Apple
และผู้ให้ใช้สิทธิ์ของ Apple (รวมเรียกว่า “ Apple ” เพื่อวัตถุประสงค์ของข้อ 7 และข้อ 8) ขอปฏิเสธการรับประกัน
และเงื่อนไขทั้งหมดในส่วนที่เกี่ยวกับซอฟต์แวร์ iOS และบริการ ไม่ว่าโดยชัดแจ้ง โดยปริยาย หรือตามกฎหมาย ซึ่ง
รวมถึงโดยไม่จำกัดเฉพาะการรับประกันโดยปริยาย และ/หรือสภาพที่เหมาะสมแก่การวางตลาด คุณภาพที่น่าพึง
พอใจ ความเหมาะกับวัตถุประสงค์เฉพาะอย่าง ความถูกต้อง การใช้โดยสงบ และการไม่ละเมิดสิทธิของบุคคล
ภายนอก

7.4        Apple ไม่รับประกันการปราศจากการรบกวนการใช้ซอฟต์แวร์ iOS และการบริการของท่าน และไม่รับประกัน
ว่าฟังก์ชั่นที่มีอยู่ในหรือบริการที่ให้หรือที่จัดทำโดยซอฟต์แวร์ iOS จะตอบสนองความต้องการของท่านได้ หรือปฏิบัติ
การของซอฟต์แวร์ iOS หรือบริการจะไม่ถูกขัดขวาง หรือไม่มีข้อผิดพลาด หรือบริการใดจะยังคงมีการให้บริการอยู่ต่อ
ไป หรือข้อชำรุดบกพร่องของซอฟต์แวร์ iOS หรือบริการจะได้รับการแก้ไข หรือว่าซอฟต์แวร์ iOS จะเข้ากันได้หรือ
ทำงานร่วมกันได้กับซอฟต์แวร์ แอพพลิเคชั่น หรือการบริการของบุคคลภายนอกใดๆ การติดตั้งซอฟต์แวร์ iOS นี้อาจ
กระทบการมีให้บริการและความสามารถในการใช้ของแอพพลิเคชั่นหรือซอฟต์แวร์ของบุคคลภายนอกหรือบริการของ
บุคคลภายนอก ตลอดจนผลิตภัณฑ์และบริการของ Apple

7.5     ท่านยอมรับต่อไปว่า ซอฟต์แวร์ iOS และการบริการมิได้มุ่งหมายหรือเหมาะสำหรับใช้ในสถานการณ์หรือ
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 235 of 452




สภาพแวดล้อมต่างๆ ที่ความล้มเหลว ความล่าช้า ความผิดพลาด หรือความไม่ถูกต้องในเนื้อหา ข้อมูล หรือ
สารสนเทศที่จัดให้โดยซอฟต์แวร์ iOS หรือบริการ อาจจะนำไปสู่การเสียชีวิต ความเสียหายส่วนบุคคล หรือความเสีย
หายทางกายภาพหรือสภาพแวดล้อมอย่างร้ายแรง ซึ่งรวมถึงโดยไม่จำกัดเฉพาะการปฏิบัติการของโรงงานนิวเคลียร์
การนำทางการบินของเครื่องบิน หรือระบบสื่อสารต่างๆ การควบคุมการจราจรทางอากาศ ระบบสนับสนุนชีวิต และ
ระบบอาวุธ

7.6      สารสนเทศหรือคำแนะนำ ที่ทำด้วยวาจาหรือเป็นลายลักษณ์อักษร ที่ Apple หรือผู้แทนที่ได้รับอนุญาตได้ให้ไว้
ไม่ก่อให้เกิดการรับประกันแต่อย่างใด หากพิสูจน์ได้ว่าซอฟแวร์ iOS หรือบริการชำรุดบกพร่อง ท่านเป็นผู้จ่ายค่าใช้
จ่ายที่จำเป็นทั้งหมดในการบริการ การซ่อมแซม หรือการแก้ไข ในบางเขตปกครอง ไม่อนุญาตให้ยกเว้นการรับ
ประกันโดยปริยาย หรือการจำกัดการบังคับใช้สิทธิตามกฎหมายของผู้บริโภค ดังนั้น การยกเว้นและการจำกัดข้างต้น
จะไม่นำมาใช้กับท่าน

8. การจำกัดความรับผิด เท่าที่กฎหมายที่เกี่ยวข้องมิได้ห้ามไว้ ไม่ว่ากรณีใดๆ Apple บริษัทในเครือ ตัวแทน หรือ
ตัวการของ Apple จะไม่รับผิดต่อการบาดเจ็บของบุคคล หรือความเสียหายที่เกี่ยวเนื่อง พิเศษ ทางอ้อม หรือที่มิได้เกิด
โดยตรงแต่เกิดต่อเนื่องจากผลของการกระทำใดๆ ก็ตาม ซึ่งรวมถึงแต่ไม่จำกัดเฉพาะค่าเสียหายสำหรับการสูญเสีย
กำไร ความผิดเพี้ยนหรือการสูญหายของข้อมูล การส่งหรือรับข้อมูลใดๆ ไม่ได้ (รวมถึงแต่ไม่จำกัดเพียงคำสั่งใน
หลักสูตรการเรียนการสอน การมอบหมายงาน และสื่ออุปกรณ์ต่าง) การหยุดชะงักของธุรกิจ หรือค่าเสียหายหรือความ
เสียหายทางการค้าอื่นใดที่เกิดจากหรือเกี่ยวกับการใช้หรือไม่สามารถจะใช้ซอฟแวร์ iOS และบริการ หรือซอฟแวร์
และแอพพลิเคชันของบุคคลภายนอกใดๆ ร่วมกับซอฟแวร์ หรือบริการของ iOS ไม่ว่าจะเกิดจากอะไรก็ตาม โดยไม่
คำนึงทฤษฎีการรับผิด (สัญญา ละเมิด หรือโดยประการอื่น) และถึงแม้ Apple จะได้รับการแจ้งถึงความเป็นไปได้ของ
ความเสียหายดังกล่าวก็ตาม เขตปกครองบางเขตไม่อนุญาตให้ตัดหรือจำกัดความรับผิดสำหรับการเจ็บของบุคคล
หรือความเสียหายที่เกี่ยวเนื่อง หรือที่มิได้เกิดโดยตรงแต่เกิดต่อเนื่องจากผลของการกระทำ ดังนั้น การจำกัดนี้อาจไม่
นำมาใช้กับท่าน ไม่ว่ากรณีใดๆ ความรับผิดทั้งหมดของ Apple ต่อท่านสำหรับค่าเสียหายทั้งหมด(นอกเหนือจากที่
กฎหมายอาจกำหนดไว้ ในกรณีเกี่ยวกับการบาดเจ็บของบุคคล) เกินจำนวนสองร้อยห้าสิบ (250) เหรียญสหรัฐ ข้อ
จำกัดข้างต้นยังจะนำมาใช้ถึงแม้การแก้ไขเยียวยาที่ระบุไว้ข้างต้นจะไม่เป็นไปตามวัตถุประสงค์ที่สำคัญ

9. หนังสือรับรองดิจิตอล ซอฟต์แวร์ iOS มีฟังก์ชันทำงานที่ทำให้รับหนังสือรับรองที่เป็นรูปดิจิตอลได้ ไม่ว่าจะออกให้
โดย Apple หรือโดยบุคคลภายนอก ท่านเป็นผู้รับผิดชอบแต่เพียงผู้เดียวในการตัดสินว่าจะใช้หนังสือรับรองหรือไม่
ไม่ว่าจะออกโดย Apple หรือบุคคลภายนอก การใช้หนังสือรับรองดิจิตอลเป็นความเสี่ยงของท่านแต่เพียงฝ่ายเดียว
เท่าที่กฎหมายที่เกี่ยวข้องอนุญาตให้ทำได้ Apple ไม่รับประกันหรือรับรอง ไม่ว่าโดยชัดแจ้งหรือโดยปริยาย เกี่ยวกับ
ความเหมาะสมที่จะวางตลาดได้ หรือความเหมาะสำหรับวัตถุประสงค์เฉพาะใดๆ ความถูกต้อง ความปลอดภัย หรือ
การไม่ละเมิดสิทธิ์ของบุคคลภายนอกในส่วนที่เกี่ยวกับหนังสือรับรองดิจิตอล

10. การควบคุมการส่งออก ท่านจะใช้หรือส่งออกโดยประการอื่นหรือส่งออกไปอีกซึ่งซอฟต์แวร์ iOS ไม่ได้ เว้นแต่จะ
ได้รับอนุญาตโดยกฎหมายสหรัฐ และกฎหมายของเขตปกครองที่ท่านได้ซอฟแวร์ iOS มา ทั้งนี้โดยเจาะจงแต่ไม่จำกัด
เฉพาะซอฟต์แวร์ iOS จะส่งออกหรือส่งออกกลับไปยัง (ก) ประเทศใดๆ ที่สหรัฐอเมริกาสั่งห้ามส่งไป หรือ (ข) บุคคล
ใดๆ ที่อยู่ในรายชื่อผู้มีสัญชาติซึ่งถูกระบุไว้เป็นพิเศษของกระทรวงการคลังของสหรัฐ หรือรายชื่อของบุคคลหรือองค์กร
ที่ถูกปฏิเสธโดยกระทรวงพาณิชย์ของสหรัฐ หรือบัญชีรายชื่อบุคคลต้องห้ามอื่นใด โดยการใช้ซอฟต์แวร์ iOS ท่าน
แสดงข้อความจริงและรับรองว่า ท่านไม่ประจำอยู่ในประเทศดังกล่าวใดๆ หรือมีชื่อปรากฏในรายชื่อดังกล่าวใดๆ ท่าน
ยังตกลงด้วยว่า ท่านจะไม่ใช้ซอฟต์แวร์ iOS เพื่อวัตถุประสงค์ใดๆ ที่กฎหมายสหรัฐห้ามไว้ ซึ่งรวมถึงโดยไม่
จำ_a1ัดเฉพาะการพัฒนา การออกแบบ การทำ หรือการผลิตขีปนาวุธ อาวุธนิวเคลียร์ อาวุธเคมี หรืออาวุธชีวภาพ

11. ผู้ใช้สุดท้ายที่เป็นรัฐบาล ซอฟต์แวร์ iOS และเอกสารที่เกี่ยวข้อง เป็น “สิ่งของรายการทางการค้า” ตามคำที่
กำหนดไว้ใน 48 C.F.R. 2.101 อันประกอบด้วย “ซอฟต์แวร์คอมพิวเตอร์ทางการค้า” และ “เอกสารซอฟต์แวร์
คอมพิวเตอร์ทางการค้า” ตามที่ใช้ใน 48 C.F.R. §12.212 หรือ 48 C.F.R. §227.7202 ตามแต่กรณี โดย
สอดคล้องกับ 48 C.F.R. §12.212 หรือ 48 C.F.R. §227.7202-1 ถึง §227.7202-4 ซอฟต์แวร์คอมพิวเตอร์
ทางการค้า และเอกสารซอฟต์แวร์คอมพิวเตอร์ทางการค้านั้น ได้ให้ใช้สิทธิ์ใช้แก่ผู้ใช้ที่เป็นรัฐบาลสหรัฐ (ก) เฉพาะที่
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 236 of 452




เป็นสิ่งของทางการค้า และ (ข) พร้อมกับเฉพาะสิทธิ์ที่ให้แก่ผู้ใช้สุดท้ายรายอื่นตามข้อกำหนดและเงื่อนไขในสัญญานี้
สิทธิ์ที่ไม่ได้เผยแพร่ถูกสงวนไว้ตามกฎหมายลิขสิทธิ์สหรัฐ

12. กฎหมายที่ใช้บังคับ และการแยกจากกันได้ การให้ใช้สิทธิ์นี้ให้ใช้บังคับและตีความตามกฎหมายของรัฐ
แคลิฟอร์เนีย โดยไม่คำนึงถึงหลักการว่าด้วยการขัดกันแห่งกฎหมาย การให้ใช้สิทธิ์นี้มิให้ใช้บังคับตามอนุสัญญาของ
สหประชาชาติว่าด้วยการขายสินค้าระหว่างประเทศ ซึ่งได้ถูกยกเว้นไว้โดยชัดแจ้ง หากท่านเป็นผู้บริโภคซึ่งอยู่ในสห
ราชอาณาจักร การให้ใช้สิทธิ์นี้จะอยู่ภายใต้บังคับกฎหมายของเขตอำนาจในถิ่นที่อยู่ของท่าน หากศาลที่มีอำนาจใด
พบข้อความหรือส่วนใดๆ ของการให้ใช้สิทธิ์ว่าไม่สามารถใช้บังคับได้ ส่วนที่เหลือของการให้ใช้สิทธิ์นี้ยังคงใช้มีผล
บังคับโดยสมบูรณ์ต่อไป

13. สัญญาอันบริบูรณ์ ภาษาที่ใช้บังคับ การให้ใช้สิทธิ์นี้ เป็นสัญญาอันบริบูรณ์ระหว่างท่านกับ Apple ในส่วนที่เกี่ยว
กับการใช้ซอฟต์แวร์ iOS และให้แทนที่ความเข้าใจที่มีอยู่ก่อนหรือที่มีขึ้นพร้อมกันทั้งหมดเกี่ยวกับเรื่องดังกล่าว การ
แก้ไขหรือเปลี่ยนแปลงสัญญานี้จะไม่มีผลผูกพัน เว้นแต่จะได้ทำเป็นลายลักษณ์อักษรและลงลายมือชื่อโดย Apple คำ
แปลของการให้ใช้สิทธิ์จัดทำขึ้นตามความต้องการของท้องถิ่น และหากมีข้อพิพาทระหว่างฉบับภาษาอังกฤษกับฉบับที่
มิใช่ภาษาอังกฤษ ให้ใช้ฉบับภาษาอังกฤษของการให้ใช้สิทธิ์นี้บังคับเท่าที่กฎหมายท้องถิ่นในประเทศของท่านมิได้
ห้ามไว้

14. การยอมรับบุคคลภายนอก ส่วนต่างๆ ของซอฟต์แวร์ iOS อาจใช้ หรือมีซอฟต์แวร์ของบุคคลภายนอกและงาน
อันมีลิขสิทธิ์อื่นๆ อยู่ด้วย การยอมรับ ข้อกำหนดในการให้ใช้สิทธิ์ และการปฏิเสธความรับผิดสำหรับข้อมูลดังกล่าว มี
อยู่ในเอกสารอิเล็กทรอนิกส์สำหรับซอฟต์แวร์ iOS และการใช้ข้อมูลดังกล่าวของท่านให้เป็นไปตามข้อกำหนดของส่วน
ต่างๆ ที่เกี่ยวข้อง การใช้บริการ Google Safe Browsing Service อยู่ภายใต้บังคับข้อกำหนดบริการของ Google
(https://www.google.com/intl/th/policies/terms/) และนโยบายรักษาข้อมูลส่วนบุคคล (https://
www.google.com/intl/th/policies/privacy/)

15. การใช้ MPEG-4; การแจ้ง H.264 AVC
(ก) ซอฟต์แวร์ iOSได้รับอนุญาตภายใต้การให้ใช้สิทธิ์ชุดสิทธิบัตรระบบ MPEG-4 (MPEG-4 Systems Patent
Portfolio License) สำหรับการเข้ารหัสตามมาตรฐานระบบ MPEG-4 (MPEG-4 Systems Standard) เว้นแต่
จำเป็นต้องมีการให้ใช้สิทธิ์เพิ่ม หรือการจ่ายค่าสิทธิ์เพิ่มสำหรับการเข้ารหัสในส่วนที่เกี่ยวกับ (i) ข้อมูลที่เก็บไว้หรือที่
ทำซ้ำในสื่อที่มีรูปร่างซึ่งจ่ายให้เป็นรายๆไปตามแต่กรณี และ/หรือ (ii) ข้อมูลซึ่งจ่ายให้เป็นรายๆไปตามแต่กรณี และ
ถูกส่งให้แก่ผู้ใช้สุดท้ายสำหรับเก็บไว้และ/หรือใช้เป็นการถาวร การให้ใช้สิทธิ์เพิ่มเติมดังกล่าวอาจขอรับได้จากบริษัท
MPEG LA, LLC โปรดดู http://www.mpegla.com สำหรับรายละเอียดเพิ่มเติม

(ข) ซอฟต์แวร์ iOS มีฟังก์ชั่นการทำงานเข้ารหัสและ/หรือถอดรหัส MPEG-4 โดยได้รับสิทธิ์ภายใต้การให้ใช้สิทธิ์ชุด
สิทธิบัตรภาพ MPEG-4 (MPEG-4 Visual Patent Portfolio License) สำหรับการใช้ส่วนบุคคลและมิใช่เพื่อการ
ค้าของผู้ใช้ เพื่อ (1) เข้ารหัสวีดิทัศน์ตามมาตรฐานภาพ MPEG-4 (วีดิทัศน์ MPEG-4) และ/หรือ (2) ถอดรหัสวีดิ
ทัศน์ MPEG-4 ซึ่งเข้ารหัสโดยผู้ใช้ที่ทำกิจกรรมส่วนบุคคล และที่มิใช่เพื่อการค้า และ/หรือที่ได้จากผู้ให้บริการวีดิ
ทัศน์ที่ให้ใช้สิทธิ์โดย MPEG LA ในการให้บริการวีดิทัศน์ MPEG-4 จะไม่มีการให้ใช้สิทธิ์หรือให้สิทธิ์โดยปริยาย
สำหรับการใช้อื่นใด ข้อมูลเพิ่มเติม รวมทั้งที่เกี่ยวกับการใช้เพื่อส่งเสริมการขาย การใช้ภายใน และการใช้เพื่อการค้า
และการให้ใช้สิทธิ์อาจหาได้จาก MPEG LA, LLC โปรดดูที่ http://www.mpegla.com

(ค) ซอฟต์แวร์ iOS มีฟังก์ชั่นทำการเข้ารหัส และ/หรือถอดรหัสเอวีซี การใช้ H.264 AVC ในทางการค้า จะต้องได้
รับสิทธิ์เพิ่มเติม และใช้ข้อกำหนดต่อไปนี้บังคับ: ฟังก์ชั่นทำงานของเอวีซีในซอฟต์แวร์ iOS ได้รับสิทธิ์ในที่นี้เพื่อใช้
ส่วนบุคคลและมิใช่เพื่อการค้าของผู้ใช้ เพื่อ (1) เข้ารหัสวีดิทัศน์ตามมาตรฐานเอวีซี (“วีดิทัศน์เอวีซี”) และ/หรือ (2)
การถอดรหัสวีดิทัศน์เอวีซี ที่ถูกเข้ารหัสโดยผู้ใช้ที่เกี่ยวข้องกับกิจกรรมส่วนบุคคลและมิใช่เพื่อการค้า และ/หรือวีดิ
ทัศน์เอวีซีที่ได้รับจากผู้ให้บริการวีดิทัศน์ ที่ได้รับสิทธิ์ในการให้บริการวีดิทัศน์ สารสนเทศเกี่ยวกับการใช้และการให้ใช้
สิทธิ์อื่นๆ อาจหาได้จาก MPEG LA L.L.C. โปรดดูที่ http://www.mpegla.com
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 237 of 452




16. ข้อจำกัดบริการการค้นหาของ Yahoo การบริการการค้นหาของ Yahoo ผ่านซาฟารีได้รับสิทธิ์ให้ใช้ในประเทศ
และภูมิภาคดังต่อไปนี้: อาร์เจนตินา อารูบา ออสเตรเลีย ออสเตรีย บาร์เบโดส เบลเยียม เบอร์มิวดา บราซิล
บัลแกเรีย แคนาดา หมู่เกาะเคย์แมน ชิลี จีนแผ่นดินใหญ่ ฮ่องกง ไต้หวัน โคลัมเบีย ไซปรัส สาธารณรัฐเช็ก เดนมาร์ก
สาธารณรัฐโดมินิกัน เอกวาดอร์ เอลซัลวาดอร์ ฟินแลนด์ ฝรั่งเศส เยอรมัน กรีซ เกรเนดา กัวเตมาลา ฮังการี ไอซ์
แลนด์ อินเดีย อินโดนีเซีย ไอร์แลนด์ อิตาลี จาเมกา ญี่ปุ่น ลัตเวีย ลิทัวเนีย ลักเซมเบิร์ก มาเลเซีย มอลตา เม็กซิโก
เนเธอร์แลนด์ นิวซีแลนด์ นิการากัว นอร์เวย์ ปานามา เปรู ฟิลิปปินส์ โปแลนด์ โปรตุเกส เปอร์โตริโก โรมาเนีย
สิงคโปร์ สโลวัก สโลวีเนีย เกาหลีใต้ สเปน เซนต์ลูเซีย เซนต์วินเซนต์ สวีเดน สวิตเซอร์แลนด์ ไทย บาฮามาส
ตรินิแดดและโตเบโก ตุรกี สหราชอาณาจักร อุรุกวัย สหรัฐ และเวเนซุเอลา

17. คำบอกกล่าวเกี่ยวกับไมโครซอฟท์ เอกซ์เชนจ์ (Microsoft Exchange) การตั้งค่าสำหรับ Microsoft
Exchange Mail ในซอฟต์แวร์ iOS เป็นการให้อนุญาตเฉพาะเพื่อการอัพเดทข้อมูลแบบโอเวอร์ดิแอร์ (over-the-air
synchronization) ของข้อมูลต่างๆ เช่น อีเมล (Email) ข้อมูลติดต่อ (Contact) ปฏิทิน (Calendar) และข้อมูล
จัดระบบงาน (Task) ระหว่าง iOS ของท่านกับเซิร์ฟเวอร์ของ Microsoft Exchange หรือซอฟต์แวร์เซิร์ฟเวอร์อื่นที่
Microsoft อนุญาตให้ใช้เพื่อปฏิบัติตามขั้นตอนวิธีการ (protocol) ของ Microsoft Exchange ActiveSync
เท่านั้น

EA1566
21 กุมภาพันธ์ 2562

————————————
ข้อกำหนดและเงื่อนไขเพิ่มเติมสำหรับ Apple Pay

ข้อกำหนดและเงื่อนไขเพิ่มเติมสำหรับ Apple Pay นี้ (“ข้อกำหนดเพิ่มเติมนี้”) เป็นส่วนเสริมของสัญญาอนุญาตให้ใช้
สิทธิในซอฟต์แวร์ iOS (“ใบอนุญาตให้ใช้สิทธิ”) ทั้งข้อกำหนดของใบอนุญาตให้ใช้สิทธิและข้อกำหนดเพิ่มเติมนี้จะ
ใช้บังคับกับการที่ท่านใช้รูปแบบการใช้งานของ Apple Pay ซึ่งจะถือว่าเป็น “บริการ” ภายใต้ใบอนุญาตให้ใช้สิทธิ
ถ้อยคำที่ขึ้นต้นด้วยอักษรพิมพ์ใหญ่ที่ใช้อยู่ในข้อกำหนดเพิ่มเติมนี้จะมีความหมายตามที่กำหนดอยู่ในใบอนุญาตให้
ใช้สิทธิ

1.     บททั่วไปและข้อจำกัดการใช้

Apple Pay อนุญาตให้ท่าน

        • จัดเก็บการแสดงข้อมูลแบบเสมือนสำหรับบัตรเครดิต บัตรเดบิต และบัตรชำระเงินล่วงหน้า รวมทั้งจัดเก็บ
          บัตรเครดิต บัตรเดบิต บัตรชำระเงินล่วงหน้า และบัตร Apple Pay Cash ที่มีรูปแบบการใช้งานของ
          Apple Pay รองรับ (“บัตรชำระเงินที่มีการรองรับ”) และใช้อุปรณ์ iOS ที่มีการรองรับเพื่อทำการชำระ
          เงินแบบไม่มีการสัมผัสในสถานที่ที่เลือกหรือภายในแอพหรือเว็บไซต์ต่างๆ
        • ใช้บัตรรางวัลและบัตรของขวัญที่จัดเก็บอยู่ใน Wallet (“บัตรที่ใช้ได้กับ Apple Pay” และพร้อมทั้งบัตร
          ชำระเงินที่มีการรองรับ เรียกรวมกันว่า “บัตรที่มีการรองรับ”) เพื่อทำธุรกรรมบัตรรางวัลและบัตรของ
          ขวัญที่ไม่มีการสัมผัสในร้านค้าที่เลือกโดยเป็นส่วนหนึ่งการชำระเงินแบบไม่มีการสัมผัสโดยการใช้
          Apple Pay และ
        • ส่งการชำระเงินระหว่างบุคคลถึงบุคคลให้แก่ผู้ใช้ Apple Pay รายอื่น

รูปแบบการใช้งานของ Apple Pay ของซอฟต์แวร์ iOS อาจมีให้บริการเฉพาะในบางภูมิภาคที่ได้รับคัดเลือกสำหรับผู้
ออกบัตร สถาบันการเงิน และผู้ค้าบางรายที่ได้รับคัดเลือกเท่านั้น รูปแบบการใช้งานดังกล่าวอาจแตกต่างกันไปตาม
ภูมิภาค ผู้ออกบัตร และผู้ค้า

ในการใช้งาน Apple Pay ท่านจะต้องมีบัตรที่มีการรองรับ บัตรที่มีการรองรับอาจมีการเปลี่ยนแปลงเป็นครั้งคราว
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 238 of 452




นอกจากนี้ เพื่อที่จะส่งหรือรับการชำระเงินระหว่างบุคคลถึงบุคคล ท่านจะต้องมีบัตร Apple Pay Cash

บัตรชำระเงินที่มีการรองรับและการชำระเงินระหว่างบุคคลถึงบุคคล จะมีอยู่ร่วมกับ Apple ID ที่ท่านลงชื่อเข้าใช้ใน
iCloud เพื่อใช้รูปแบบการใช้งานเหล่านี้ บัตรที่มีการรองรับ จะมีให้บริการแก่บุคคลที่มีอายุตั้งแต่ 13 ปีขึ้นไปเท่านั้น
และอาจอยู่ภายใต้บังคับของข้อจำกัดด้านอายุเพิ่มเติมที่ iCloud กำหนด หรือของบัตรที่มีการรองรับที่ท่านพยายาม
จัดหา บัตร Apple Pay Cash และความสามารถที่จะส่งและรับการชำระเงินระหว่างบุคคลถึงบุคคลจะมีให้บริการ
เฉพาะแก่บุคคลธรรมดาที่มีอายุตั้งแต่ 18 ปีขึ้นไปเท่านั้น

Apple Pay มีวัตถุประสงค์เพื่อให้ท่านใช้งานส่วนบุคคลและท่านอาจจัดหาบัตรที่มีการรองรับของท่านเองเท่านั้น ถ้า
หากท่านกำลังจัดหาบัตรของนิติบุคคลที่มีการรองรับ ท่านรับรองว่าท่านกำลังกระทำการดังกล่าวโดยได้รับอนุญาตจาก
นายจ้างของท่านและท่านได้รับอนุญาตให้กระทำการผูกพันนายจ้างของท่านกับข้อกำหนดการใช้เหล่านี้และธุรกรรม
ทั้งหมดที่ได้รับผลกระทบจากการใช้รูปแบบการใช้งานนี้ ถ้าหากท่านกำลังส่งหรือรับการชำระเงินระหว่างบุคคลถึง
บุคคล ท่านรับรองว่าท่านกระทำการดังกล่าวเพื่อการใช้งานส่วนบุคคลของตัวท่านเองและไม่ใช่เพื่อการพาณิชย์

ท่านตกลงที่จะไม่ใช้ Apple Pay เพื่อวัตถุประสงค์ที่ผิดกฎหมายหรือฉ้อฉล หรือเพื่อวัตถุประสงค์อื่นใดที่ต้องห้ามโดย
ใบอนุญาตให้ใช้สิทธิและข้อกำหนดเพิ่มเติมนี้ ท่านตกลงต่อไปที่จะใช้ Apple Pay ให้เป็นไปตามกฎหมายและ
ระเบียบต่างๆ ที่ใช้บังคับ ท่านตกลงที่จะไม่แทรกแซงหรือสร้างความวุ่นวายให้แก่บริการของ Apple Pay (รวมทั้งการ
เข้าถึงบริการโดยผ่านวิธีการอัตโนมัติใดๆ) หรือเซิร์ฟเวอร์หรือโครงข่ายใดๆ ที่เชื่อมต่อกับบริการ หรือนโยบาย ข้อ
กำหนด หรือระเบียบใดๆ ของโครงข่ายที่เชื่อมต่อกับบริการ (รวมทั้งการเข้าถึง ใช้ เฝ้าติดตามข้อมูลหรือปริมาณ
ข้อมูลเข้าออกในบริการดังกล่าว)

2.     ความสัมพันธ์ของ Apple กับท่าน

Apple Pay ทำให้ท่านสามารถสร้างการแสดงข้อมูลแบบเสมือนสำหรับบัตรที่มีการรองรับของท่านในอุปกรณ์ iOS ที่มี
การรองรับของท่าน อย่างไรก็ดี Apple ไม่ประมวลผลการชำระเงินหรือธุรกรรมบัตรที่ไม่ใช่เพื่อการชำระเงินอื่นๆ (เช่น
การสะสมหรือแลกรางวัล) รับ ถือไว้ หรือโอนเงินของท่าน หรือมีการควบคุมอื่นใดเหนือการชำระเงิน การคืนสินค้า
การคืนเงิน รางวัล มูลค่า ส่วนลด หรือกิจกรรมในเชิงพาณิชย์อื่นๆ ที่อาจเกิดขึ้นจากการที่ท่านใช้รูปแบบการใช้งานนี้

ข้อกำหนดของสัญญาผู้ถือบัตรที่ท่านอาจมีอยู่กับผู้ออกบัตรของท่านจะยังคงใช้บังคับกับการใช้บัตรที่มีการรองรับของ
ท่านและการใช้งานที่เกี่ยวเนื่องกับ Apple Pay ในทำนองเดียวกัน การที่ท่านเข้าร่วมในรางวัลของผู้ค้าหรือโครงการ
บัตรของขวัญใดๆ และการที่ท่านใช้บัตรที่ใช้ได้กับ Apple Pay ในส่วนที่เกี่ยวเนื่องกับ Apple Pay จะอยู่ภายใต้
บังคับของข้อกำหนดและเงื่อนไขของผู้ค้าดังกล่าว

บัตร Apple Pay Cash และความสามารถที่จะส่งและรับการชำระเงินระหว่างบุคคลถึงบุคคลจะมีให้บริการเฉพาะใน
สหรัฐอเมริกา และเป็นบริการที่จัดให้โดยธนาคาร Green Dot Bank ซึ่งเป็นสมาชิกของ FDIC เมื่อท่านเปิดใช้รูป
แบบการใช้งานเหล่านี้ภายใน Apple Pay ให้ถือว่าท่านกำลังเปิดบัญชีกับธนาคาร Green Dot Bank และเมื่อท่าน
ส่งหรือรับการชำระเงินระหว่างบุคคลถึงบุคคล หรือเติมหรือถอนเงินจากบัตร Apple Pay Cash ของท่าน ธนาคาร
Green Dot Bank จะรับผิดชอบในการรับและส่งเงินของท่านให้แก่ผู้รับตามที่กำหนด สถาบันการเงินที่รับผิดชอบใน
การเสนอบริการ Apple Pay Cash และการชำระเงินระหว่างบุคคลถึงบุคคลภายใน Apple Pay จะอยู่ภายใต้บังคับ
ของการเปลี่ยนแปลงได้ และการที่ท่านใช้รูปแบบการใช้งานดังกล่าวจะอยู่ภายใต้บังคับของข้อกำหนดและเงื่อนไขของ
สถาบันการเงินดังกล่าว

ไม่มีสิ่งใดในใบอนุญาตให้ใช้สิทธิหรือในข้อกำหนดเพิ่มเติมนี้ที่จะเปลี่ยนแปลงข้อกำหนดของสัญญาผู้ถือบัตร สัญญาผู้
ใช้ หรือสัญญาผู้ค้าใดๆ และข้อกำหนดดังกล่าวจะใช้บังคับกับการที่ท่านใช้บัตรที่มีการรองรับที่ใช้บังคับหรือกับรูป
แบบการใช้งานการชำระเงินระหว่างบุคคลถึงบุคคลของ Apple Pay และการแสดงข้อมูลแบบเสมือนบนอุปกรณ์ iOS
ของท่านท่านตกลงว่า Apple ไม่ใช่คู่สัญญาในสัญญาผู้ถือบัตรหรือสัญญาผู้ค้าของท่าน หรือ Apple จะต้องรับผิดชอบ
สำหรับ(ก) เนื้อหา ความถูกต้อง การไม่มีให้บริการของบัตรชำระเงิน บัตรรางวัล บัตรของขวัญ กิจกรรมในเชิง
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 239 of 452




พาณิชย์ ธุรกรรม หรือการซื้อขายใดๆ ในขณะที่ใช้การทำงานของ Apple Pay (ข) การให้เครดิตหรือประเมินการมี
สิทธิได้รับเครดิต (ค) การสะสมหรือแลกรางวัลหรือมูลค่าที่จัดเก็บภายใต้โครงการของผู้ค้า หรือ (ง) การชำระเงิน
หรือการเติมเงินสำหรับบัตรชำระเงินล่วงหน้า (จ) การส่งหรือรับการชำระเงินระหว่างบุคคลถึงบุคคล หรือ (ฉ) การเติม
แลก หรือถอนเงินจากบัตร Apple Pay Cash ของท่าน

สำหรับข้อพิพาทหรือปัญหาทั้งหมดเกี่ยวกับบัตรชำระเงิน บัตรรางวัล บัตรของขวัญ หรือกิจกรรมในเชิงพาณิชย์ที่
เกี่ยวข้อง กรุณาติดต่อผู้ออกบัตรหรือผู้ค้าที่ใช้บังคับของท่าน สำหรับปัญหาเกี่ยวกับบัตร Apple Pay Cash หรือการ
ชำระเงินระหว่างบุคคลถึงบุคคล กรุณาติดต่อ Apple Support

3.     ความเป็นส่วนตัว

Apple Pay จำเป็นต้องใช้ข้อมูลบางอย่างจากอุปกรณ์ iOS ของท่านเพื่อที่จะเสนอให้ประสบการณ์เต็มรูปแบบ
นอกจากนี้ เมื่อท่านใช้บัตร Apple Pay Cash ของท่านหรือส่งหรือรับการชำระเงินระหว่างบุคคลถึงบุคคล ข้อมูลเพิ่ม
เติมเกี่ยวกับธุรกรรมของท่านจะถูกรวบรวมและจัดเก็บไว้เพื่อให้บริการแก่บัญชีของท่านและเพื่อป้องกันการฉ้อโกงและ
เพื่อวัตถุประสงค์ในทางกฎหมาย ท่านสามารถตรวจสอบข้อมูลเพิ่มเติมเกี่ยวกับข้อมูลที่ถูกจัดเก็บ ใช้ หรือแบ่งปัน โดย
เป็นส่วนหนึ่งของการที่ท่านใช้ Apple Pay บัตร Apple Pay Cash หรือการชำระเงินระหว่างบุคคลถึงบุคคล ร่วมกับ
Apple Pay โดยการอ่านเกี่ยวกับ Apple Pay หรือความเป็นส่วนตัว (ซึ่งสามารถเข้าถึงได้โดยเข้าไปที่ Wallet &
Apple Pay ภายในแอพ Watch ในอุปกรณ์ iOS คู่ขนาน) หรือโดยการเข้าไปดูที่ https://www.apple.com/th/
privacy/ โดยการใช้รูปแบบการใช้งานเหล่านี้ ท่านตกลงและยินยอมให้ Apple ตลอดจนบริษัทย่อยและตัวแทนของ
Apple ส่งผ่าน เก็บรวบรวม เก็บรักษา ประมวลผล และนำข้อมูลข้างต้นทั้งหมดไปใช้งาน เพื่อทำให้ Apple Pay
สามารถทำงานได้ตามที่กำหนด

4.     การรักษาความปลอดภัย อุปกรณ์สูญหายหรือใช้การไม่ได้

Apple Pay จัดเก็บข้อมูลเสมือนเกี่ยวกับบัตรที่มีการรองรับของท่านและควรได้รับการป้องกันดังเช่นท่านป้องกันเงินสด
หรือบัตรเครดิต บัตรเดบิต บัตรชำระเงินล่วงหน้า บัตรรางวัล หรือบัตรของขวัญจริงของท่านเอง การให้รหัสผ่าน
อุปกรณ์ของท่านแก่บุคคลภายนอกหรือการอนุญาตให้บุคคลภายนอกเพิ่มลายนิ้วมือเพื่อใช้ Touch ID หรือเพื่อเปิดใช้
Face ID อาจทำให้บุคคลภายนอกดังกล่าวสามารถชำระเงิน ส่ง ขอ หรือรับการชำระเงินระหว่างบุคคลถึงบุคคล ถอน
เงินจากบัตร Apple Pay Cash ของท่าน หรือ รับหรือแลกรางวัลหรือเครดิตโดยการใช้ Apple Pay ในอุปกรณ์ของ
ท่านได้ ท่านจะต้องรับผิดชอบแต่เพียงผู้เดียวในการรักษาความปลอดภัยอุปกรณ์ของท่านและรหัสผ่านของท่าน ท่าน
ตกลงว่า Apple ไม่มีความรับผิดชอบใดๆ ถ้าหากท่านสูญเสียหรือแบ่งปันการเข้าถึงอุปกรณ์ของท่าน ท่านตกลงว่า
Apple ไม่มีความรับผิดชอบใดๆ ถ้าหากท่านดัดแปลง iOS โดยไม่ได้รับอนุญาต (เช่น โดยวิธี “การเจาะระบบเพื่อติด
ตั้งระบบ AppStore บุคคลภายนอก” (jailbreak))

ท่านอาจจำเป็นต้องเปิดใช้มาตรการรักษาความปลอดภัยเพิ่มเติม เช่น การตรวจสอบความถุกต้องแท้จริงแบบสอง
ปัจจัยสำหรับ Apple ID ของท่านเพื่อที่จะเข้าถึงรูปแบบการใช้งานบางประการของ Apple Pay รวมทั้งบัตร Apple
Pay Cash หรือการชำระเงินระหว่างบุคคลถึงบุคคลกับ Apple Pay ถ้าหากในภายหลังท่านลบทิ้งรูปแบบการใช้งาน
เหล่านี้ ท่านอาจไม่สามารถเข้าถึงรูปแบบการใช้งานบางประการของ Apple Pay ได้ต่อไป

ถ้าหากอุปกรณ์ของท่านสูญหายหรือถูกขโมย และท่านยังเปิดการทำงาน Find My iPhone อยู่ ท่านสามารถใช้ Find
My iPhone ในการพยายามที่จะระงับความสามารถในการชำระเงินโดยใช้บัตรชำระเงินที่มีการรองรับเสมือนหรือการ
ส่งการชำระเงินระหว่างบุคคลถึงบุคคลในอุปกรณ์ดังกล่าวไว้ชั่วคราวได้โดยการกำหนดให้อุปกรณ์ของท่านอยู่ใน
โหมดสูญหาย ท่านยังสามารถลบทิ้งอุปกรณ์ของท่านซึ่งจะพยายามระงับความสามารถในการชำระเงินโดยใช้บัตร
ชำระเงินที่มีการรองรับเสมือนหรือในการส่งการชำระเงินระหว่างบุคคลถึงบุคคลในอุปกรณ์ไว้ชั่วคราวและจะพยายาม
ลบบัตรที่ใช้ได้กับ Apple Pay ท่านควรติดต่อผู้ออกบัตรชำระเงินที่มีการรองรับของท่าน ผู้ค้าผู้ออกบัตรที่ใช้ได้กับ
Apple Pay ให้แก่ท่าน และ Apple ในกรณีของบัตร Apple Pay Cash ของท่านด้วยเพื่อป้องกันการเข้าถึงบัตรที่มี
การรองรับของท่านโดยไม่ได้รับอนุญาต
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 240 of 452




ถ้าท่านรายงานหรือ Apple สงสัยว่ามีกิจกรรมฉ้อโกงหรือใช้ในทางที่ผิด ท่านตกลงที่จะร่วมมือกับ Apple ในการ
สืบสวนสอบสวนใดๆ และใช้มาตรการป้องกันการฉ้อโกงตามที่เรากำหนด

5.     ข้อจำกัดความรับผิด

นอกเหนือจากการปฏิเสธการรับประกันและข้อจำกัดความรับผิดที่กำหนดอยู่ในใบอนุญาตให้ใช้สิทธิแล้ว APPLE ไม่
ขอรับผิดใดๆ สำหรับการซื้อขาย การชำระเงิน ธุรกรรม หรือกิจกรรมในเชิงพาณิชย์อื่นๆ ที่กระทำโดยใช้รูปแบบการ
ใช้งาน APPLE PAY และท่านตกลงที่จะดูเพียงเฉพาะสัญญาที่ท่านอาจมีกับผู้ออกบัตร โครงข่ายชำระเงิน สถาบันการ
เงิน หรือผู้ค้าของท่านเพื่อแก้ไขปัญหาหรือข้อพิพาทใดๆ ที่เกี่ยวข้องกับบัตรที่มีการรองรับ การชำระเงินระหว่างบุคคล
ถึงบุคคล และกิจกรรมในเชิงพาณิชย์ที่เกี่ยวข้องของท่านเท่านั้น

————————————
การแจ้งให้ทราบจาก Apple
หาก Apple ต้องการติดต่อท่านเกี่ยวกับผลิตภัณฑ์หรือบัญชีผู้ใช้ ท่านยินยอมที่จะรับหนังสือแจ้งโดยทางอีเมล ท่าน
ตกลงว่าหนังสือแจ้งดังกล่าวใดๆ ที่ส่งให้ท่านทางอิเล็กทรอนิกส์ ถือว่าได้ปฏิบัติตามข้อกำหนดว่าด้วยการสื่อสารซึ่งถูก
ต้องตามกฎหมายใดๆ แล้ว
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 241 of 452



TÜRKÇE

ÖNEMLİ: iPHONE’UNUZU, iPAD’İNİZİ VEYA iPOD TOUCH’INIZI (“iOS AYGITINIZI”) KULLANDIĞINIZ
TAKDİRDE AŞAĞIDAKİ ŞARTLAR İLE BAĞLI OLMAYI KABUL EDERSİNİZ:

A.   APPLE iOS YAZILIM LİSANS SÖZLEŞMESİ
B.   APPLE PAY EK ŞARTLARI
C.   APPLE’IN BİLDİRİMLERİ

APPLE INC.
iOS YAZILIM LİSANS SÖZLEŞMESİ
Tek Kullanım Lisansı

iOS AYGITINIZI KULLANMADAN VE BU LİSANSLA BİRLİKTE VERİLEN YAZILIM GÜNCELLEMESİNİ
İNDİRMEDEN ÖNCE LÜTFEN BU YAZILIM LİSANS SÖZLEŞMESİNİ (“LİSANS”) DİKKATLİCE
OKUYUN. UYGUN BİR ŞEKİLDE iOS AYGITINIZI KULLANARAK VEYA YAZILIM GÜNCELLEMESİNİ
İNDİREREK, BU LİSANSIN ŞARTLARI İLE BAĞLI KALMAYI KABUL EDERSİNİZ. BU LİSANSIN
ŞARTLARINI KABUL ETMİYORSANIZ, iOS AYGITINI KULLANMAYIN VEYA YAZILIM
GÜNCELLEMESİNİ İNDİRMEYİN.

YAKIN ZAMANDA BİR iOS AYGITI SATIN ALDIYSANIZ VE LİSANSIN ŞARTLARINI KABUL
ETMİYORSANIZ, YAPTIĞINIZ ÖDEMEYİ GERİ ALMAK İÇİN iOS AYGITINI, https://www.apple.com/
legal/sales-support/ ADRESİNDE BULUNAN APPLE İADE KURALLARINA GÖRE İADE SÜRESİ
İÇİNDE ALDIĞINIZ APPLE STORE’A VEYA YETKİLİ DİSTRİBÜTÖRE İADE EDEBİLİRSİNİZ.

1. Genel Şartlar.
(a) Salt okunur bellek ya da başka bir ortam veya biçimde Apple tarafından sağlanan özellik
iyileştirmeleri, yazılım güncellemeleri veya sistem geri yükleme yazılımları ile (“iOS Yazılım
Güncellemeleri”) güncellenmiş veya değiştirilmiş olarak iOS Aygıtınızla birlikte verilen (Boot ROM kodu,
gömülü yazılımlar ve üçüncü taraf yazılımlar dahil olmak üzere) yazılımlar, belgeler, arayüzler, içerikler,
fontlar ve her türlü veriler (“Orijinal iOS Yazılımı”), (Orijinal iOS Yazılımları ve iOS Yazılım Güncellemeleri
hep birlikte “iOS Yazılımları” olarak adlandırılır) size satılmamış olup, bunlar Apple Inc. (“Apple”)
tarafından yalnızca işbu Lisansın şartlarına göre kullanılmak üzere size lisanslanmıştır. Apple ve Apple’a
lisans verenler, iOS Yazılımının mülkiyetini ellerinde tutar ve size açıkça verilmeyen tüm hakları saklı tutar.
Bu Lisansın şartlarının, iOS Aygıtınızda yerleşik olabilecek tüm Apple markalı uygulamalar için geçerli
olacağını kabul edersiniz. Böyle bir uygulama ayrı bir lisansla birlikte verilmişse, bu lisansın uygulamayı
kullanımınızı yöneteceğini kabul edersiniz.

(b) Apple, kendi takdirine bağlı olarak, gelecekte iOS Yazılım Güncellemeleri yayımlayabilir. iOS Yazılım
Güncellemeleri çıktığında, var olan tüm yazılım özelliklerini veya Apple’ın daha yeni veya diğer iOS
Aygıtları modelleri için yayımladığı yeni özellikleri içermek zorunda değildir. Apple tarafından sağlanan iOS
Yazılım Güncellemesine ayrı bir lisans eşlik etmediği sürece, işbu Lisans hükümleri iOS Yazılım
Güncellemelerine de uygulanır. iOS Yazılım Güncellemesine eşlik eden ayrı bir lisans varsa o lisansın
hükümlerinin uygulanacağını kabul edersiniz.

(c) Var olan iOS Aygıtınızı baz alan yeni bir iOS Aygıtı ayarlamak için hızlı ayarlama özelliğini kullanırsanız
iOS Yazılımına ayrı bir lisans eşlik etmediği sürece, işbu Lisans hükümlerinin yeni iOS Aygıtınızdaki iOS
Yazılımı kullanımınıza da uygulanacağını kabul edersiniz. iOS Yazılımına eşlik eden ayrı bir lisans varsa
iOS Yazılımı kullanımınıza o lisansın hükümlerinin uygulanacağını kabul edersiniz. iOS Aygıtınız, periyodik
olarak Apple ile iletişime geçerek iOS Yazılım Güncellemelerini denetleyecektir. Güncelleme varsa
otomatik olarak iOS Aygıtınıza ve varsa çevrebirim aygıtına indirilip yüklenebilir. Apple Yazılımını
kullanarak Apple’ın iOS Aygıtınıza ve çevrebirim aygıtlarınıza otomatik iOS Yazılım Güncellemeleri
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 242 of 452



indirip yükleyebileceğini kabul edersiniz. Ayarlar > Genel > Yazılım Güncellemesi konumundaki
Otomatik Güncellemeler ayarını değiştirerek istediğiniz zaman otomatik güncellemeleri toplu olarak
kapatabilirsiniz.

2. İzin Verilen Lisans Kullanımları ve Kısıtlamalar.
(a) İşbu Lisansın hüküm ve şartlarına tabi olmak üzere, iOS Yazılımını tek bir Apple marka iOS Aygıtı
üzerinde kullanmanız için size sınırlı ve münhasır olmayan bir lisans verilir. Aşağıdaki 2(b) bölümünde izin
verilmesi dışında ve sizinle Apple arasındaki ayrı bir sözleşmede izin verilmediği sürece; işbu Lisans, iOS
Yazılımının aynı anda birden fazla Apple markalı iOS Aygıtında bulunmasına izin vermez ve iOS Yazılımını
aynı anda birden fazla aygıt tarafından kullanılabileceği bir ağ üzerinde dağıtamaz veya hazır
bulunduramazsınız. İşbu Lisans, Apple’ın mülkiyetindeki arayüzleri ve diğer fikri mülkiyet haklarını, iOS
Aygıtları ile kullanılmak üzere, üçüncü taraf aygıtların ve aksesuarlarının veya üçüncü taraf yazılım
uygulamalarının tasarlanması, geliştirilmesi, üretilmesi, lisansının verilmesi veya dağıtılması için kullanma
hakkını size vermez. Bu haklardan bazıları, Apple’dan ayrı lisanslarla edinilebilir. iOS Aygıtlarına yönelik
üçüncü taraf aygıtlar ve aksesuarlar geliştirme hakkında daha fazla bilgi için lütfen https://
developer.apple.com/programs/mfi/ adresini ziyaret edin. iOS Aygıtlarına yönelik yazılım uygulamaları
geliştirme hakkında daha fazla bilgi için lütfen https://developer.apple.com adresini ziyaret edin.

(b) İşbu Lisansın hüküm ve şartlarına tabi olmak üzere, sahip olduğunuz veya kullandığınız herhangi bir
iOS Aygıtındaki yazılımları güncellemek veya geri yüklemek amacıyla Apple’ın iOS Aygıtı modelinize
uygun yüklemeler için hazır bulundurabileceği iOS Yazılım Güncellemelerini indirmeniz için size sınırlı ve
münhasır olmayan bir lisans verilir. İşbu Lisans, kullanmadığınız veya sahip olmadığınız herhangi bir iOS
aygıtını güncellemenize veya geri yüklemenize izin vermez ve iOS Yazılım Güncellemelerini aynı anda
birden fazla aygıt veya birden fazla bilgisayar tarafından kullanılabilecekleri bir ağ üzerinde dağıtamaz
veya hazır bulunduramazsınız. Bilgisayarınıza iOS Yazılım Güncellemesi indirirseniz, yedek kopya tüm telif
hakkı veya orijinalde yer alan diğer özel bildirimleri içerdiği sürece bilgisayarınızda yalnızca yedekleme
amaçları için makine tarafından okunabilir bir biçimde saklanan iOS Yazılım Güncellemelerinin bir
kopyasını oluşturabilirsiniz.

(c) Apple, App Store’daki Apple markalı uygulamaları satın alma sırasında iOS aygıtınıza önceden
yüklediği sürece (“Önceden Yüklenmiş Uygulamalar”), bu Önceden Yüklenmiş Uygulamaları iOS
Aygıtınızda kullanabilmek için App Store’da oturum açmanız ve bunları App Store hesabınızla
ilişkilendirmeniz gerekir. Önceden Yüklenmiş bir Uygulamayı App Store hesabınızla ilişkilendirdiğinizde,
aynı zamanda iOS Aygıtınızdaki diğer tüm Önceden Yüklenmiş Uygulamaları otomatik olarak
ilişkilendirirsiniz. Önceden Yüklenmiş Uygulamaları App Store hesabınızla ilişkilendirmeyi seçerek,
Apple’ın isteğin uygunluğunu doğrulamak ve App Store aracılığıyla Önceden Yüklenmiş Uygulamalara
erişmenizi sağlamak için hem App Store hesabınız tarafından kullanılan Apple kimliğini hem de iOS
Aygıtından alınan benzersiz bir donanım tanıtıcısını benzersiz hesap tanıtıcıları olarak kullanmasını kabul
edersiniz. Önceden Yüklenmiş Uygulama kullanmak istemiyorsanız, istediğiniz zaman iOS Aygıtınızdan
silebilirsiniz.

(d) (İşbu Lisansta açıkça izin verilen haller dışında) iOS Yazılımını veya iOS Yazılımı tarafından verilen diğer
hizmetleri veya bunların herhangi bir kısmını (aşağıdaki kısıtlamanın yürürlükteki kanunlar veya iOS
Yazılımıyla birlikte gelebilen açık kaynaklı bileşenlerin kullanımını düzenleyen lisanslama şartları tarafından
yasaklandığı haller dışında) kopyalayamaz, kaynak koda dönüştüremez, tersine mühendislik yapamaz,
parçalarına ayıramaz, kaynak kodunu türetmeyi deneyemez, şifresini çözemez, üzerinde değişiklik
yapamaz veya türetilmiş çalışmalar yaratamazsınız. Bunları yapmayacağınızı veya başkalarının bunları
yapmasına imkan sağlamayacağınızı da kabul edersiniz.

(e) iOS Yazılımı, kullanım telif haklı olmayan malzemeleri, telif hakkına sahip olduğunuz malzemeleri ya da
yeniden oluşturmak için yetkili olduğunuz veya yasal olarak izinli olduğunuz malzemeleri çoğaltmakla
sınırlı olduğu sürece malzemelerin çoğaltılması için kullanılabilir. iOS Aygıtınız tarafından görüntülenen,
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 243 of 452



iOS Aygıtınızda saklanan veya iOS Aygıtınız yoluyla erişilen tüm içeriklerin marka ve fikri mülkiyet hakları
ilgili içerik sahiplerine aittir. Bu tür içerikler, telif hakkı veya diğer fikri mülkiyet kanunları ve anlaşmaları ile
korunuyor olabilir ve bu tür içerikleri sağlayan üçüncü tarafın kullanım hükümlerine tabi olabilir. İşbu
belgede aksi belirtilmedikçe, işbu Lisans size böyle bir içeriği kullanma hakkı vermez ve böyle bir içeriğin
size sunulmaya devam edeceğini garanti etmez.

(f) İşbu Lisansın hüküm ve koşullarına tabi olmak üzere, iOS Yazılımında yer alan veya onunla yaratılmış
Animoji ve Memoji karakterleri (“Sistem Karakterleri”) (i) iOS Yazılımını kullanırken ve (ii) ticari olmayan
kişisel kullanımınız için kendi özgün içeriğinizi ve projelerinizi yaratmak amacıyla kullanabilirsiniz. Sistem
Karakterlerinin kâr amaçlı, kâr amacı gütmeyen, herkesle paylaşıma yönelik ya da ticari amaçlarla
kullanılması, çoğaltılması, görüntülenmesi, ifa edilmesi, kaydedilmesi, yayımlanması ya da dağıtılması
dahil olmak ancak bunlarla sınırlı olmamak üzere işbu Lisans, başka hiçbir Sistem Karakteri kullanımına
izin vermez.

(g) iOS Yazılımını ve Hizmetlerini (aşağıdaki 5. Bölümde tanımlandığı şekilde), yaşadığınız veya iOS
Yazılımını ve Hizmetlerini indirdiğiniz ya da kullandığınız ülkenin ya da bölgenin yerel kanunları da dahil
olmak üzere uygulanan tüm kanunlara uygun bir şekilde kullanacağınızı kabul edersiniz. iOS Yazılımının
ve Hizmetlerinin özellikleri tüm dillerde veya bölgelerde kullanılamayabilir, bazı özellikler ülkeden ülkeye
değişebilir ve bazıları hizmet sağlayıcınız tarafından kısıtlanmış veya sağlanamıyor olabilir. iOS Yazılım ve
Hizmetlerinin bazı özellikleri için Wi-Fi veya hücresel veri bağlantısı gereklidir.

(h) App Store kullanımı için Apple kimliği olarak bilinen benzersiz bir kullanıcı adı ve parola kombinasyonu
gereklidir. Uygulama güncellemelerine ve iOS Yazılım ve Hizmetlerinin belirli özelliklerine erişmek için de
Apple kimliği gerekir.

(i) iOS Yazılımının birçok özelliğinin, yerleşik uygulamalarının ve Hizmetlerinin veri aktarımında
bulunabileceğini ve veri tarifenizden ücret alınmasına neden olabileceğini ve alınan bu tür ücretlerden
sizin sorumlu olacağınızı onaylarsınız. Hücresel Veri ayarlarında hangi uygulamaların hücresel veriyi
kullanmasına izin verileceğini görüntüleyip denetleyebilir ve bu tür uygulamaların yaklaşık kullanım
miktarlarını görüntüleyebilirsiniz. Ayrıca, Wi-Fi Assist, Wi-Fi bağlantısı kötü olduğunda otomatik olarak
hücresel bağlantıya geçecek olup, bu durum, daha fazla hücresel veri kullanımıyla sonuçlanarak veri planı
maliyetinizi artırabilir. Wi-Fi Assist varsayılan olarak açıktır, ancak Ayarlar’dan kapatılabilir. Daha fazla bilgi
için lütfen iOS Aygıtınız için olan Kullanma Kılavuzu’na danışın.

(j) Otomatik uygulama güncellemelerine izin vermeyi seçerseniz, iOS Aygıtınız düzenli olarak
uygulamanızdaki aygıtlar için güncelleme olup olmadığını Apple’dan kontrol edecektir. Bir güncelleme
varsa, aygıtınıza otomatik olarak indirilip yüklenecektir. Ayarlar’a gidip iTunes ve App Store’a dokunarak
ve Otomatik İndirmeler altında Güncellemeler’i kapatarak otomatik uygulama güncellemelerini istediğiniz
zaman kapatabilirsiniz.

(k) iOS Aygıtınızın bazı durumlarda kullanılması dikkatinizi dağıtabilir ve tehlikeli bir duruma yol açabilir
(örneğin araba kullanırken mesaj yazmaktan veya bisiklet sürerken kulaklık kullanmaktan kaçının). iOS
Aygıtınızı kullanarak cep telefonlarının veya kulaklıkların kullanımını engelleyen veya sınırlayan kurallara
(örneğin araba kullanırken arama yapmak için eller serbest seçeneklerini kullanma zorunluluğu) uymaktan
sorumlu olduğunuzu kabul etmiş olursunuz.

3. Devir. iOS Yazılımını kiralayamaz, kiraya veremez, ödünç veremez, satamaz, yeniden dağıtamaz veya
alt lisansını veremezsiniz. Bununla birlikte iOS Yazılımınızın tüm lisans haklarını iOS Aygıtınızın
mülkiyetinin devriyle bağlantılı olarak bir defaya mahsus olmak üzere şu şartlarla devredebilirsiniz: (a)
devir tüm bileşen parçaları ve işbu Lisans dahil olmak üzere, iOS Aygıtınızı ve tüm iOS Yazılımlarını
içermelidir; (b) iOS Yazılımının, bilgisayar veya başka bir depolama aygıtında depolanan kopyaları da
dahil olmak üzere, tamamen veya kısmen hiçbir kopyasını elinizde tutamazsınız ve (c) iOS Yazılımını alan
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 244 of 452



taraf işbu Lisansın hüküm ve şartlarını okuyup kabul ettiğini beyan eder.

4. Verileri Kullanma İzni. Aygıtınızı kullandığınızda, telefon numaranız ve iOS Aygıtınızın bazı benzersiz
tanıtıcıları, iOS Yazılımının iMessage ve FaceTime gibi çeşitli iletişim özellikleri kullanılırken diğer kişilerin
size telefon numaranız yoluyla ulaşmasını sağlamak için Apple’a gönderilir. iMessage’ı kullandığınızda,
Apple, yayınlanmalarını sağlamak için mesajlarınızı sınırlı bir süre şifrelenmiş bir biçimde tutabilir. iOS
Aygıtınızda FaceTime veya Mesajlar ayarlarına giderek FaceTime’ı veya iMessage’ı kapatabilirsiniz.
Analiz, Konum Servisleri, Siri ve Dikte gibi belirli iOS Yazılımı özellikleri, ilgili işlevleri sağlamak için iOS
Aygıtınızdan bilgi gerektirebilir. Bu özellikleri açtığınızda veya kullandığınızda, Apple’a hangi bilgilerin
gönderildiği ve bu bilgilerin nasıl kullanılabileceğiyle ilgili ayrıntılı bilgiler sağlanacaktır. https://
www.apple.com/tr/privacy/ adresini ziyaret ederek daha fazla bilgi alabilirsiniz. Bilgileriniz her zaman,
https://www.apple.com/legal/privacy/ adresinde görüntülenebilen Apple’ın Gizlilik Politikası’na uygun
olarak kullanılacaktır.

5. Hizmetler ve Üçüncü Taraf Malzemeleri.
(a) iOS Yazılımı, Apple’ın iTunes Store’una, App Store’una, Apple Books’una, Game Center’ına,
iCloud’una, Harita hizmetine ve diğer Apple ve üçüncü taraf hizmetlerine ve web sitelerine (hep birlikte ve
ayrı ayrı “Hizmetler” olarak anılacaktır) erişmenizi sağlayabilir. Söz konusu hizmetler bazı dillerde veya
bazı ülkelerde kullanılamayabilir. Bu Hizmetlerin kullanılması İnternet erişimini gerektirir ve belirli
Hizmetlerin kullanılması Apple kimliğini ve ek şartların kabul edilmesini gerektirebilir ve ek ücretler
uygulanabilir. Bu yazılımı bir Apple kimliğiyle veya başka bir Apple Hizmetiyle bağlantılı olarak
kullanmanız halinde, https://www.apple.com/legal/internet-services/itunes adresinden erişerek
inceleyebileceğiniz, bu tür Hizmetlere eriştiğiniz ülkeye ait en son Apple Medya Hizmetleri Hüküm ve
Koşulları gibi Hizmet için geçerli olan hizmet şartlarını kabul edersiniz.

(b) iCloud’a kaydolursanız, “iCloud Fotoğrafları”, “Fotoğraf Yayınım”, “Paylaşılan Albümler”, “Yedekle” ve
“iPhone’umu Bul” gibi belirli iCloud özelliklerine doğrudan iOS Yazılımından erişilebilir. iCloud’un ve bu
özelliklerin kullanımının şu adresten erişerek inceleyebileceğiniz en son iCloud Hüküm ve Şartlarına tabi
olduğunu onaylar ve kabul edersiniz: https://www.apple.com/legal/internet-services/icloud.

(c) News Uygulaması İçerikleri. News uygulaması yoluyla erişilen içerikleri kullanımınız; yalnızca kişisel,
ticari olmayan kullanımla sınırlıdır, içerikle ilgili size herhangi bir sahiplik payı devretmez ve hiçbir
sınırlama olmaksızın, bu tür içeriklerdeki herhangi bir ticari veya tanıtım amaçlı kullanım hakkını özellikle
hariç tutar. Ayrıca, News yoluyla erişilen herhangi bir görüntüyü tek başına bir dosya olarak yeniden
yayımlamanız, yeniden aktarmanız ve çoğaltmanız yasaktır.

(d) Harita. iOS Yazılımının harita verileri kapsamını da içeren Harita hizmeti ve özellikleri (“Harita”),
bölgeden bölgeye değişebilir. Harita’nın içindeki herhangi bir konuma dayalı özelliği kullandığınızda
(dönüşlere dayalı navigasyon, trafik ve yerel arama gibi), iOS Aygıtınızın gerçek zamanlı coğrafi konumu
da dahil olmak üzere çeşitli konuma dayalı bilgiler ve kullanım bilgileri, isteğinizi işlemek ve Harita’nın
geliştirilmesine yardımcı olmak için Apple’a gönderilebilir. Bu tür konum ve kullanım verileri Apple
tarafından sizi teşhis etmeyecek biçimde toplanır. Harita’yı kullanarak Apple ve Apple’ın ortaklarının
ve lisans sahiplerinin, Harita özelliklerini ve hizmetini ve diğer Apple ürünlerini ve hizmetlerini
sağlamak ve iyileştirmek için bu bilgileri iletmesini, toplamasını, bulundurmasını, işlemesini ve
kullanmasını kabul eder ve onaylarsınız. Apple, böyle bilgileri iş ortaklarına ve lisans sahiplerine
haritalarını, konuma dayalı ürünlerini ve hizmetlerini geliştirmek için hem toplu olarak hem de kimliğinizi
teşhis etmeyecek şekilde de sağlayabilir. iOS Aygıtınızda Konum Servisleri ayarına gidip Harita’ya özel
konum ayarını kapatarak Harita’nın konuma dayalı işlevini etkisizleştirebilirsiniz. Konum Servisleri ayarını
etkisizleştirirseniz, dönüşlere dayalı navigasyon gibi bazı Harita özellikleri kullanılamayacaktır.

(e) İşbu Hizmetlerden herhangi birini kullanarak, açık bir dil ile ifade edilmiş olsun veya olmasın her türlü
saldırgan, ahlaksız veya sakıncalı sayılabilecek içerikle karşılaşabileceğinizi ve herhangi bir arama
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 245 of 452



işleminin veya belirli bir URL’yi girmenin kendiliğinden ve istemeyerek sakıncalı malzemeye
bağlanabileceğini veya benzer kaynaklar üretebileceğini teyit edersiniz. Bununla birlikte, Hizmetleri, riski
yalnızca size ait olmak üzere kullanmayı ve saldırgan, ahlaksız veya sakıncalı olarak değerlendirilebilecek
herhangi bir içerik karşısında Apple’ın, bağlı kuruluşlarının, temsilcilerinin, sorumlularının veya Apple’a
lisans verenlerin size karşı herhangi bir sorumluluk taşımayacağını kabul edersiniz.

(f) Belirli Hizmetler üçüncü tarafların içerik, veri, bilgi veya malzemelerini (“Üçüncü Taraf Malzemeleri”)
görüntüleyebilir, içerebilir veya hazır bulundurabilir ve belirli üçüncü taraf web siteleri için bağlantı
verebilir. Hizmetleri kullanarak, Apple’ın bu tip Üçüncü Taraf Malzemelerinin veya web sitelerinin içeriği,
doğruluğu, eksiksizliği, güncelliği, geçerliliği, telif haklarına uygunluğu, yasallığı, dürüstlüğü, kalitesi veya
diğer yanlarının incelenmesinden veya değerlendirilmesinden sorumlu olmadığını onaylar ve kabul
edersiniz. Apple, görevlileri, bağlı kuruluşları ve iştiraklerinin üçüncü taraf Hizmetleri, Üçüncü Taraf
Malzemeleri veya web siteleri ya da üçüncü tarafların diğer malzemeleri, ürünleri veya hizmetlerini garanti
etmez veya desteklemez ya da bunlarla ilgili herhangi bir sorumluluk üstlenmez ve yükümlülük veya
sorumluluğa sahip olmaz. Üçüncü Taraf Malzemeleri ve diğer web sitelerine yönelik bağlantılar, yalnızca
size kolaylık olması amacıyla sağlanır.

(g) Apple veya onun içerik sağlayıcılarından hiçbiri, Hizmetlerden herhangi biri tarafından görüntülenen
borsa bilgilerinin, konum belirlenmesine ilişkin verilerin ve diğer verilerin kullanılabilirliği, doğruluğu,
eksiksizliği, güvenilirliği veya dakikliğini garanti etmez. Hizmetlerden herhangi biri tarafından gösterilen
finansal bilgiler yalnızca genel bilgilendirme amaçlı olup, yatırım tavsiyesi olarak bunlara itimat
edilmemelidir. Hizmetler aracılığıyla elde edilen bilgilere dayalı olarak herhangi bir menkul kıymet işlemi
yapmadan önce, ülkenizde veya bölgenizde finans ya da menkul kıymetler konularında tavsiye vermeye
yasal olarak yetkili olan bir finans veya menkul kıymetler uzmanına danışmalısınız. Apple’ın Harita hizmeti
de dahil olmak üzere, herhangi bir Hizmet tarafından verilen konum belirlenmesine ilişkin veriler yalnızca
temel navigasyon ve planlama amacıyla sağlanır ve kesin konum bilgilerinin gerekli olduğu veya hatalı,
yanlış, zaman gecikmeli veya eksik konum belirlenmesine ilişkin verilerin ölüme, kişisel yaralanmaya veya
mal veya çevrenin zarar görmesine yol açabileceği durumlarda güvenilmesi amacını taşımaz. Harita
hizmetinden alacağınız sonuçların hava durumu, yol ve trafik şartları ve jeopolitik olaylar da dahil, ancak
bunlarla sınırlı olmamak üzere Harita verilerinin doğruluğunu etkileyebilecek faktörler nedeniyle gerçek yol
veya arazi şartlarından değişiklik gösterebileceğini kabul edersiniz. Navigasyon özelliğini kullanırken,
kendi güvenliğiniz için her zaman yerleştirilmiş olan yol işaretlerine ve o anki yol şartlarına dikkat edin.
Güvenli sürüş kurallarına ve trafik düzenlemelerine uyun ve yürüme için yol tariflerinin kaldırımları veya
yaya yollarını içermeyebileceğini unutmayın.

(h) Hizmetleri kullanarak herhangi bir içeriği karşıya yüklediğiniz takdirde, söz konusu içerikle ilgili tüm
haklara sahip olduğunuzu veya içeriği karşıya yükleme yetkinizin olduğunu ya da başka bir şekilde yasal
olarak izinli olduğunuzu ve söz konusu içeriğin Hizmetlere ilişkin herhangi bir hizmet kullanım şartını ihlal
etmediğini beyan edersiniz. Hizmetlerin Apple, site sahibi veya bunlara lisans verenlerin sahip olduğu
özel içerik, bilgi ve malzemeler içerdiğini ve telif hakkı da dahil, ancak bununla sınırlı olmamak üzere
uygulanan fikri mülkiyet hakları ve diğer kanunlar tarafından korunduğunu kabul edersiniz. Söz konusu
özel içerik, bilgi veya malzemeleri hiçbir şekilde Hizmetlerin kullanımı için izin verilen amacın dışında ya
da işbu Lisansın hükümlerine aykırı olacak biçimde veya üçüncü tarafların ya da Apple’ın fikri mülkiyet
haklarını ihlal edecek biçimde kullanmayacağınızı kabul edersiniz. Hizmetlerin hiçbir kısmı herhangi bir
biçim ve surette çoğaltılamaz. Hiçbir şekilde Hizmetlerde değişiklik yapmamayı, onları kiralamamayı,
kiraya vermemeyi, ödünç vermemeyi, satmamayı, dağıtmamayı veya Hizmetlere dayalı türetilmiş
çalışmalar yaratmamayı ve Hizmetleri; herhangi bir bilgisayar virüsü, solucan, truva atı ya da başka bir
kötü amaçlı yazılım göndermek, ağ kapasitesini ihlal etmek veya yük bindirmek de dahil, ancak bunlarla
sınırlı olmamak üzere izin verilmeyen şekilde kullanmamayı kabul edersiniz. Ayrıca başka bir kişiyi taciz
edecek, kötüye kullanacak, gizlice takip edecek, tehdit edecek, kötüleyecek veya haklarını başka şekilde
ihlal edecek şekilde kullanmamayı ve sizin tarafınızdan yapılan benzer kullanımlardan veya Hizmetlerden
herhangi birinin kullanılması sonucunda maruz kalabileceğiniz tacizkâr, tehdit edici, küçük düşürücü,
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 246 of 452



saldırgan, ihlal edici veya kanun dışı mesaj veya iletimlerden Apple’ın hiçbir şekilde sorumlu olmayacağını
kabul edersiniz.

(i) Ayrıca iOS Aygıtından erişilebilen, bağlantı kurulabilen veya iOS Aygıtında görüntülenebilen Hizmetler
ve Üçüncü Taraf Malzemeleri, bazı dillerde, bazı ülkelerde ya da bazı bölgelerde bulunmaz. Apple, söz
konusu Hizmetlerin ve Üçüncü Taraf Malzemelerin belirli bir yerde kullanılmaya uygun ve kullanılabilir
olduğuna ilişkin hiçbir beyanda bulunmaz. Söz konusu Hizmetleri ve Üçüncü Taraf Malzemeleri
kullanmayı veya onlara erişmeyi seçtiğiniz takdirde, bunu kendi inisiyatifinizle yaparsınız ve yerel kanunlar
ile gizlilik ve veri toplama kanunları da dahil olmak üzere, yürürlükteki tüm kanunlara uymaktan sorumlu
olursunuz. Fotoğrafların iOS Aygıtınız aracılığıyla paylaşılması veya eşzamanlanması, fotoğrafın nerede ve
ne zaman çekildiği de dahil olmak üzere üst verilerin ve derinlik bilgilerinin fotoğraflarla aktarılmasına
neden olabilir. Bu tür fotoğrafları paylaşmak veya eşzamanlamak için Apple hizmetlerinin (iCloud Fotoğraf
Arşivi gibi) kullanımı, Apple’ın bu tür üst verileri almasını ve saklamasını gerektirecektir. Apple ve Apple’a
lisans verenler herhangi bir Hizmeti, herhangi bir zamanda, önceden bildirmeksizin değiştirmek,
durdurmak, kaldırmak veya ona erişim yetkisini geri almak hakkını saklı tutar. Hiçbir durumda Apple, söz
konusu Hizmetlerden herhangi birinin kaldırılmasından veya erişim yetkisinin geri alınmasından dolayı
sorumlu olmayacaktır. Aynı zamanda Apple, önceden bildirmeksizin veya herhangi bir sorumluluk
taşımaksızın belirli Hizmetlerin kullanımına veya erişimine sınırlamalar koyabilir.

6. Fesih. İşbu Lisans feshedilene kadar yürürlükte kalacaktır. İşbu Lisansın şartlarına uymamanız halinde,
Apple’ın herhangi bir ihbarda bulunmasına gerek olmadan işbu Lisanstaki haklarınız kendiliğinden sona
erecektir veya başka bir şekilde geçerliliği bitecektir. İşbu Lisansın feshedilmesini takiben iOS Yazılımının
tüm kullanımını durdurmalısınız. İşbu Lisansın 4, 5, 6, 7, 8, 9, 12 ve 13. bölümleri söz konusu fesihten
etkilenmeden yürürlükte kalmaya devam edecektir.

7. Garantilerden Feragat.
7.1 Tüketici olan bir müşteriyseniz (iOS Yazılımını ticari, işle ilgili veya mesleki nedenler dışında
kullanan biriyseniz), yaşadığınız ülkede aşağıdaki sınırlamaların size uygulanmasını engelleyen yasal
haklarınız olabilir ve bu durumda bu sınırlamalar size uygulanmaz. Haklarınız hakkında daha fazla bilgi
edinmek için yerel bir tüketici danışma kuruluşuna danışmanız gerekir.

7.2 iOS YAZILIMINI VE iOS YAZILIMI TARAFINDAN GERÇEKLEŞTİRİLEN VEYA iOS YAZILIMI
YOLUYLA ERİŞİLEBİLEN HERHANGİ BİR HİZMETİ, UYGULANABİLİR KANUNLARIN İZİN VERDİĞİ
ÖLÇÜDE, RİSKİ YALNIZCA SİZE AİT OLMAK ÜZERE KULLANDIĞINIZI VE TATMİN EDİCİ KALİTE,
PERFORMANS, DOĞRULUK VE ÇABAYA İLİŞKİN TÜM RİSKİN SİZE AİT OLDUĞUNU AÇIKÇA
ONAYLAR VE KABUL EDERSİNİZ.

7.3 YÜRÜRLÜKTEKİ KANUNLARIN İZİN VERDİĞİ AZAMİ ÖLÇÜDE, iOS YAZILIMI VE HİZMETLER,
TÜM KUSURLARIYLA BİRLİKTE “OLDUĞU GİBİ” VE “BULUNDUĞU KADARIYLA” VE HİÇBİR TÜRDEN
GARANTİ OLMAKSIZIN VERİLİR VE APPLE VE APPLE’A LİSANS VERENLER (7 VE 8. BÖLÜMLERDEKİ
ŞARTLARIN YERİNE GETİRİLMESİ AMACIYLA HEP BİRLİKTE “APPLE” OLARAK ANILACAKTIR) iOS
YAZILIMI VE HİZMETLERİNE İLİŞKİN PAZARLANABİLİRLİK, TATMİN EDİCİ KALİTE, BELİRLİ BİR
AMACA UYGUNLUK, HATASIZLIK, ZİLYETLİK, ÜÇÜNCÜ TARAF HAKLARINI İHLAL ETMEMEYE İLİŞKİN
ZIMNİ GARANTİLER VE/VEYA KOŞULLAR DA DAHİL, ANCAK BUNLARLA SINIRLI OLMAMAK ÜZERE
TÜM AÇIK, ZIMNİ VEYA KANUNİ TÜM GARANTİ VE KOŞULLARI İŞBU BELGEYLE KABUL ETMEZ.

7.4 APPLE, iOS YAZILIMI VE HİZMETLERİNİ KULLANMANIZA MÜDAHALE EDİLMEYECEĞİNİ, iOS
YAZILIMININ İŞLEVLERİNİN YA DA GERÇEKLEŞTİRİLEN VEYA SAĞLANAN HİZMETLERİN
İHTİYAÇLARINIZI KARŞILAYACAĞINI, iOS YAZILIMININ VE HİZMETLERİNİN ÇALIŞMASININ
KESİNTİSİZ VE HATASIZ OLACAĞINI, HERHANGİ BİR HİZMETİN KULLANILABİLİR OLMAYA DEVAM
EDECEĞİNİ, iOS YAZILIMI VEYA HİZMETLERİNDEKİ KUSURLARIN DÜZELTİLECEĞİNİ, iOS
YAZILIMININ ÜÇÜNCÜ TARAF YAZILIMLAR, UYGULAMALAR VEYA ÜÇÜNCÜ TARAF HİZMETLERLE
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 247 of 452



UYUMLU OLACAĞINI VEYA ONLARLA BİRLİKTE ÇALIŞACAĞINI GARANTİ ETMEZ. BU iOS
YAZILIMININ YÜKLENMESİ; APPLE ÜRÜNLERİNİN VE HİZMETLERİNİN YANI SIRA, ÜÇÜNCÜ TARAF
YAZILIMLARININ, UYGULAMALARININ VEYA HİZMETLERİNİN BULUNABİLİRLİĞİNİ VE
KULLANILABİLİRLİĞİNİ ETKİLEYEBİLİR.

7.5 AYRICA iOS YAZILIMI VE HİZMETLERİNİN, NÜKLEER TESİSLER, HAVA ARACI SEYİR VEYA
İLETİŞİM SİSTEMLERİ, HAVA TRAFİK KONTROLÜ, YAŞAM DESTEK VEYA SİLAH SİSTEMLERİ DE
DAHİL, ANCAK BUNLARLA SINIRLI OLMAMAK ÜZERE, iOS YAZILIMI VEYA HİZMETLERİ TARAFINDAN
SAĞLANAN İÇERİK, VERİ VEYA BİLGİLERDEKİ KUSUR, ZAMAN GECİKMELERİ, HATA VEYA
TUTARSIZLIKLARIN ÖLÜM, KİŞİSEL YARALANMA ZARAR VEYA AĞIR MADDİ VEYA ÇEVRESEL
ZARARA YOL AÇABİLECEĞİ DURUMLAR VEYA ORTAMLARDA KULLANILMAK AMACINI
TAŞIMADIĞINI VEYA KULLANILMAYA UYGUN OLMADIĞINI DA ONAYLAR VE KABUL EDERSİNİZ.

7.6 APPLE VEYA APPLE’IN YETKİ VERDİĞİ BİR TEMSİLCİ TARAFINDAN VERİLMİŞ SÖZLÜ VEYA
YAZILI BİLGİLER YA DA ÖNERİLER BİR GARANTİ OLUŞTURMAZ. iOS YAZILIMLARI VEYA
HİZMETLERİNİN KUSURLU OLDUĞU GÖRÜLÜRSE, GEREKLİ TÜM SERVİS, ONARIM VE DÜZELTME
İŞLEMLERİNİN TÜM MALİYETİNİ SİZ ÜSTLENİRSİNİZ. BAZI ÜLKELERDEKİ KANUNLAR, ZIMNİ
GARANTİLERİN SÖZLEŞMENİN DIŞINDA BIRAKILMASINA VEYA TÜKETİCİNİN YÜRÜRLÜKTEKİ
KANUNİ HAKLARININ SINIRLANDIRILMASINA İZİN VERMEZ, BU DURUMDA YUKARIDAKİ HARİÇ
TUTMA VEYA SINIRLANDIRMALAR SİZE UYGULANMAYABİLİR.

8. Sorumluluğun Sınırlandırılması. YÜRÜRLÜKTEKİ KANUN TARAFINDAN SINIRLANDIRILMADIĞI
ÖLÇÜDE VE APPLE’A SÖZ KONUSU ZARARLARIN MEYDANA GELME OLASILIĞI BİLDİRİLMİŞ OLSA
DAHİ APPLE, BAĞLI KURULUŞLARI, TEMSİLCİLERİ VEYA SORUMLULARI HİÇBİR DURUMDA iOS
YAZILIMINI VE HİZMETLERİNİ YA DA iOS YAZILIMIYLA VEYA HİZMETLERİYLE BİRLİKTE HERHANGİ
BİR ÜÇÜNCÜ TARAF YAZILIMI VEYA UYGULAMASINI KULLANMANIZDAN YA DA
KULLANAMAMANIZDAN KAYNAKLANAN VEYA BUNUNLA İLİŞKİLİ KÂR KAYBI, VERİ KAYBI VEYA
BOZULMASI, HERHANGİ BİR VERİYİ İLETEMEME VEYA ALAMAMA (KURS YÖNERGELERİ, ATAMALARI
VE MALZEMELERİ DAHİL, ANCAK BUNLARLA SINIRLI OLMAMAK ÜZERE), İŞİN KESİNTİYE
UĞRAMASI VEYA DİĞER TİCARİ ZARARLAR VEYA KAYIPLAR DA DAHİL, ANCAK BUNLARLA SINIRLI
OLMAMAK ÜZERE HANGİ TÜRDEN OLURSA OLSUN VE HER NE ŞEKİLDE MEYDANA GELİRSE
GELSİN HİÇBİR ARIZİ, ÖZEL, DOLAYLI VEYA SONUÇ OLARAK ORTAYA ÇIKAN ZARARLAR YA DA
YARALANMALARDAN ÖTÜRÜ SORUMLULUK VARSAYIMINA (AKDİ SORUMLULUK, HAKSIZ FİİL
SORUMLULUK VEYA DİĞER SORUMLULUK HALLERİNE) GÖRE SORUMLU OLMAYACAKTIR. BAZI
ÜLKE KANUNLARI KİŞİSEL YARALANMALARA VEYA ARIZİ VEYA SONUÇ OLARAK ORTAYA ÇIKAN
ZARARLAR İÇİN SORUMLULUĞUN MUAFİYETİNE VEYA SINIRLANDIRILMASINA İZİN VERMEZ; BU
DURUMDA BU SINIRLANDIRMA SİZE UYGULANMAYABİLİR. Apple’ın her türlü zarara karşı (kişisel
yaralanmayı içeren durumlarda yürürlükteki kanunun gerekli gördüğü durumlar dışında) toplam
sorumluluğu, hiçbir şekilde iki yüz elli doları (250,00 ABD doları) aşmayacaktır. Yukarıdaki sınırlamalar,
üstte belirtilen çözüm esas amacını karşılamasa bile uygulanacaktır.

9. Dijital Sertifikalar. iOS Yazılımı, Apple veya üçüncü tarafların verdiği dijital sertifikaların kabul
edilmesine izin veren bir işlev içerir. APPLE VEYA ÜÇÜNCÜ TARAFIN VERDİĞİ BİR SERTİFİKAYA
GÜVENİP GÜVENMEMEYE KARAR VERMEK, YALNIZCA SİZİN SORUMLULUĞUNUZDADIR. DİJİTAL
SERTİFİKALARI KULLANMANIZA İLİŞKİN RİSK YALNIZCA SİZE AİTTİR. YÜRÜRLÜKTEKİ KANUNLARIN
İZİN VERDİĞİ AZAMİ ÖLÇÜDE; APPLE, DİJİTAL SERTİFİKALARIN SATILABİLİRLİĞİNE VEYA BELİRLİ
BİR AMACA UYGUNLUĞUNA YA DA ÜÇÜNCÜ TARAFLARIN HAKLARINI İHLAL ETMEMESİNE
YÖNELİK AÇIK VEYA ZIMNİ HERHANGİ BİR BEYANDA YA DA TAAHHÜTTE BULUNMAZ.

10. İhracat Kontrolü. Amerika Birleşik Devletleri kanunları ve iOS Yazılımının edinildiği ülkenin kanunları
tarafından izin verilen durumlar dışında, iOS Yazılımını kullanamaz veya başka şekilde ihraç veya yeniden
ihraç edemezsiniz. Özel olarak ancak bununla sınırlı olmaksızın, iOS Yazılımı (a) ABD tarafından ambargo
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 248 of 452



uygulanan hiçbir ülkeye, (b) ABD Hazine Bakanlığı’nın Özel Olarak Belirtilen Vatandaşlar listesinde veya
ABD Ticaret Bakanlığı’nın Reddedilen Kişiler veya Kurumlar Listesinde veya başka herhangi bir
kısıtlanmış taraflar listesinde bulunan hiçbir kişiye ihraç veya yeniden ihraç edilemez. iOS Yazılımını
kullanarak, böyle bir ülkede veya böyle bir listede bulunmadığınızı beyan ve taahhüt edersiniz. Ayrıca,
iOS Yazılımını, füzelerin, nükleer, kimyasal veya biyolojik silahların geliştirilmesi, tasarlanması, imalatı veya
üretimi de dahil, ancak bunlarla sınırlı olmamak üzere Amerika Birleşik Devletleri kanunları tarafından
yasaklanan hiçbir amaçla kullanmayacağınızı kabul edersiniz.

11. Hükümet Son Kullanıcıları. iOS Yazılımı veya ilişkili belgeler, terimin 48 C.F.R. §2.101’de
tanımlandığı şekliyle “Ticari Öğeler”, yürürlükte olan 48 C.F.R. §12.212 veya 48 C.F.R. §227.7202’de
kullanıldığı şekliyle “Ticari Bilgisayar Yazılımı” ve “Ticari Bilgisayar Yazılımı Belgeleri”ni içerir. Yürürlükte
olan 48 C.F.R. §12.212 veya 48 C.F.R. §227.7202-4’te tanımlanan 48 C.F.R. §227.7202-1 ile tutarlı olarak,
Ticari Bilgisayar Yazılımı ve Ticari Bilgisayar Yazılımı Dokümantasyonunun lisansı ABD Hükümeti son
kullanıcılarına (a) yalnızca Ticari Öğeler olarak ve (b) buradaki hüküm ve şartlara uygun olarak diğer tüm
son kullanıcılara sağlanan haklarla verilir. Yayımlanmamış haklar, Amerika Birleşik Devletleri telif hakkı
kanunlarının kapsamında saklı tutulur.

12. Geçerli Hukuk ve Ayrılabilirlik. İşbu Lisans, kanunların çatışması ilkesi hariç olmak üzere Kaliforniya
Eyaleti kanunlarına tabidir ve bu kanunlar doğrultusunda yorumlanacaktır. İşbu Lisans, Milletlerarası Mal
Satımına İlişkin Sözleşmeler Hakkında Birleşmiş Milletler Antlaşması’na tabi değildir; bu antlaşmanın
uygulanması işbu Lisansın açıkça kapsamı dışında bırakılmıştır. İngiltere’de bulunan bir tüketiciyseniz,
işbu Lisans, yaşadığınız yerin kanunlarına göre yorumlanacaktır. Yetkili herhangi bir mahkeme, herhangi
bir nedenle işbu Lisansın herhangi bir hükmünü veya onun bir kısmını uygulanamaz olarak kabul ederse,
işbu Lisansın kalan hükümleri tüm geçerliliğiyle yürürlükte kalacaktır.

13. Sözleşmenin Bütünü; Geçerli Dil. İşbu Lisans, iOS Yazılımına ilişkin olarak sizinle Apple arasındaki
anlaşmanın bütününü oluşturur ve söz konusu konuya ilişkin taraflar arasındaki daha önceki veya
eşzamanlı tüm mutabakatların yerine geçer. Yazılı olmadığı ve Apple tarafından imzalanmadığı sürece,
işbu Lisanstaki hiçbir tadil veya değişiklik bağlayıcı olmayacaktır. İşbu Lisansın çevirileri yerel
gereksinimler için yapılır ve işbu Lisansın İngilizce kopyası ile İngilizce olmayan kopyaları arasında
herhangi bir ihtilaf olması halinde, bulunduğunuz yerin kanunları izin verdiği sürece, İşbu Lisansın
İngilizce kopyası geçerli olacaktır.

14. Üçüncü Taraf Onayları. iOS Yazılımının belirli kısımları üçüncü taraf yazılımları ve telif hakkı olan
başka malzemeleri kullanabilir veya içerebilir. Söz konusu malzemelerin onayları, lisans şartları ve
feragatleri iOS Yazılımının elektronik belgelerinde bulunur ve söz konusu malzemeyi kullanımınız bunların
kendi şartlarına tabidir. Google Güvenli Tarama Hizmetinin kullanımı, Google Hizmet Şartları’na (https://
www.google.com/intl/tr/policies/terms/) ve Google Gizlilik Politikası’na (https://www.google.com/intl/tr/
policies/privacy/) tabidir.

15. MPEG-4’ün kullanımı; H.264/AVC Bildirimi.
(a) iOS Yazılımı, (i) başlık başlık ödeme yapılan, fiziksel ortamlarda saklanan veya çoğaltılan verilerle ve/
veya (ii) başlık başlık ödeme yapılan ve kalıcı olarak saklama ve/veya kullanım için son kullanıcıya
aktarılan verilerle bağlantılı kodlama için ek lisans alınması ve imtiyaz ödenmesi gerekli olduğu haller
dışında, MPEG-4 Systems Standardına uygun şekilde kodlama için MPEG-4 Systems Patent Portföy
Lisansı kapsamında lisanslanmıştır. Bu tür bir ek lisans MPEG LA, LLC’den edinilebilir. Diğer ayrıntılar için
http://www.mpegla.com adresine bakın.

(b) iOS Yazılımı MPEG-4 video kodlama ve/veya kod çözme işlevini içerir. iOS Yazılımı tüketicinin kişisel
ve ticari olmayan bir faaliyette kullanımı için MPEG-4 Görsel Patent Portföyü Lisansına sahiptir ve (i)
videonun MPEG-4 Görsel Standardına (“MPEG-4 Video”) uygun kodlanması ve/veya (ii) kişisel ve ticari
olmayan faaliyette bulunan bir tüketici tarafından kodlanmış ve/veya MPEG-4 video vermek için MPEG
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 249 of 452



LA tarafından lisans verilen bir video sağlayıcısından alınmış MPEG-4 videonun kodunun çözülmesi için
verilmiştir. Başka herhangi bir kullanım için lisans verilmemiştir veya verildiği ima edilemez. Tanıtıma
ilişkin, iç veya ticari kullanımlar ve lisans almaya ilişkin ek bilgiler MPEG LA, LLC’den edinilebilir. http://
www.mpegla.com adresine bakın.

(c) iOS Yazılımı AVC kodlama ve/veya kod çözme işlevini içerir, H.264/AVC’nin ticari kullanımı ek lisans
alınmasını gerektirir ve şu hükümler uygulanır: İŞBU BELGEDE iOS YAZILIMINDA YER ALAN AVC İŞLEVİ
İÇİN YALNIZCA KİŞİSEL VE TİCARİ OLMAYAN KULLANIMA YÖNELİK OLARAK LİSANS VERİLİR VE BU
KULLANIMLAR, TÜKETİCİNİN (i) VİDEOYU AVC STANDARDINA (“AVC VİDEO”) UYGUN OLARAK
KODLAMASINI VE/VEYA (ii) KİŞİSEL VE TİCARİ OLMAYAN BİR FAALİYETTE BULUNAN TÜKETİCİ
TARAFINDAN KODLANAN AVC VİDEONUN VE/VEYA AVC VİDEO LİSANSI OLAN BİR AVC VİDEO
TEDARİKÇİSİNDEN ALINAN AVC VİDEONUN KODUNU ÇÖZMESİNİ İÇERİR. DİĞER KULLANIMLARA
VE LİSANSLARA İLİŞKİN BİLGİLER MPEG LA L.L.C.’DEN ALINABİLİR. http://www.mpegla.com
ADRESİNE BAKIN.

16. Yahoo Arama Servisi Kısıtlamaları. Safari aracılığıyla kullanılan Yahoo Arama Servisinin lisansı,
yalnızca şu ülkelerde ve bölgelerde kullanılmak üzere verilmiştir: Arjantin, Aruba, Avustralya, Avusturya,
Barbados, Belçika, Bermuda, Brezilya, Bulgaristan, Kanada, Cayman Adaları, Şili, Çin anakarası, Hong
Kong, Tayvan, Kolombiya, Kıbrıs Rum Kesimi, Çek Cumhuriyeti, Danimarka, Dominik Cumhuriyeti,
Ekvador, El Salvador, Finlandiya, Fransa, Almanya, Yunanistan, Grenada, Guatemala, Macaristan,
İzlanda, Hindistan, Endonezya, İrlanda, İtalya, Jamaika, Japonya, Letonya, Litvanya, Lüksemburg,
Malezya, Malta, Meksika, Hollanda, Yeni Zelanda, Nikaragua, Norveç, Panama, Peru, Filipinler, Polonya,
Portekiz, Porto Riko, Romanya, Singapur, Slovakya, Slovenya, Güney Kore, İspanya, Saint Lucia, Saint
Vincent, İsveç, İsviçre, Tayland, Bahama Adaları, Trinidad ve Tobago, Türkiye, İngiltere, Uruguay, ABD ve
Venezuela.

17. Microsoft Exchange Bildirimi. iOS Yazılımındaki Microsoft Exchange Mail ayarı, iOS’unuzla
Microsoft Exchange Server veya Microsoft Exchange ActiveSync protokolünü gerçekleştirmesi için
Microsoft tarafından lisans verilmiş başka bir sunucu yazılımı arasında yalnızca e‑postalar, kişiler,
takvimler ve görevler gibi bilgilerin kablosuz olarak eşzamanlanması için lisanslanmıştır.

EA1566
21.02.2019

————————————
Apple Pay Ek Şart ve Koşulları

Bu Apple Pay Ek Şart ve Koşulları (bu “Ek Şartlar”), iOS Yazılım Lisans Sözleşmesi’ni (“Lisans”)
tamamlar; Lisans kapsamında bir “Servis” olarak değerlendirilecek olan Apple Pay özelliğini kullanımınız
hem Lisans şartlarına hem de bu Ek Şartlara tabidir. Bu Ek Şartlarda büyük harfli terimler Lisansta
belirtilen anlamlara sahiptir.

1. Genel Bakış ve Kullanım Kısıtlamaları

Apple Pay:

    •   mağazanın banka, kredi ve ön ödemeli kartları da dahil olmak üzere Apple Pay özelliği tarafından
        desteklenen banka, kredi, ön ödemeli kartlarının ve Apple Pay Cash kartının (“Desteklenen
        Ödeme Kartları”) görsel temsillerini saklamanızı ve belirli konumlarda temassız ödeme ya da
        uygulamaların veya web sitelerinin içinde ödeme yapmak için desteklenen iOS Aygıtlarını
        kullanmanızı sağlar;
    •   belirli mağazalarda Apple Pay’i kullanarak temassız ödemenin bir parçası olarak temassız ödül ve
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 250 of 452



        hediye kartı işlemleri yapmak için Wallet’ta saklanan ödül ve hediye kartlarını da (“Apple Pay
        Özellikli Kartlar” ve Desteklenen Ödeme Kartlarıyla birlikte “Desteklenen Kartlar”) kullanmanızı
        sağlar ve
    •   diğer Apple Pay kullanıcılarına kişiler arası ödemeler yapar.

iOS Yazılımının Apple Pay özellikleri yalnızca belirli bölgelerde, belirli kart düzenleyicileri, finans kuruluşları
ve satıcılarla kullanılabilir. Özellikler bölgeye, düzenleyiciye ve satıcıya göre değişebilir.

Apple Pay’i kullanmak için Desteklenen Kartınızın olması gerekir. Desteklenen Kartlar zamanla değişebilir.
Ayrıca, kişiler arası ödemeler yapmak veya almak için, Apple Pay Cash kartınızın olması gerekir.

Desteklenen Ödeme Kartları ve kişiler arası ödemeler, bu özelliklerin kullanılabilmesi için iCloud’a giriş
yaptığınız bir Apple Kimliği ile ilişkilendirilir. Desteklenen Kartlar ancak 13 yaşında veya 13 yaşından
büyük kişilerce kullanılabilir ve iCloud veya sağlamaya çalıştığınız Desteklenen Kart tarafından uygulanan
başkaca yaşa bağlı kısıtlamalara tabi olabilir. Apple Pay Cash kartı ve kişiler arası ödeme yapma ve alma
özelliği yalnızca 18 ve üzeri yaştaki bireyler tarafından kullanılabilir.

Apple Pay, kişisel kullanımınız içindir ve yalnızca kendi Desteklenen Kartlarınızı sağlayabilirsiniz.
Desteklenen bir kurumsal kart sağlıyorsanız, bunu işvereninizin yetkisiyle yaptığınızı ve işvereninizi bu
kullanım şartlarına ve bu özelliğin kullanımından etkilenen tüm işlemlere bağlamaya yetkili olduğunuzu
beyan edersiniz. Kişiler arası ödeme yapıyor veya alıyorsanız, bunu ticari olmayan, kendi kişisel
kullanımınız için yaptığınızı beyan edersiniz.

Apple Pay özelliğini yasadışı amaçlarla, dolandırıcılık amacıyla veya Lisans ve bu Ek Şartlar tarafından
yasaklanmış diğer amaçlar doğrultusunda kullanmamayı kabul edersiniz. Apple Pay özelliğini geçerli
kanunlara ve düzenlemelere göre kullanmayı da kabul edersiniz. Apple Pay hizmetini, hizmete bağlanan
sunucuları veya ağları ya da hizmete bağlı olan ağların politikalarını, gereksinimlerini ve düzenlemelerini
(verilerine veya trafiğine yetkisiz erişim, bunların yetkisiz kullanımı veya izlenmesi dahil) engellememeyi
veya kesintiye uğratmamayı (otomatik yöntemlerle hizmete erişim dahil) kabul edersiniz.

2. Apple’ın Sizinle İlişkisi

Apple Pay, desteklenen iOS Aygıtınızda Desteklenen Kartların görsel temsilini yaratmanızı sağlar. Ancak
Apple ödemeleri veya diğer ödeme dışı kart işlemlerini (ödül biriktirme ve kullanma gibi) işlemez, paranızı
almaz, tutmaz veya aktarmaz ya da Apple’ın bu özelliği kullanmanızdan kaynaklanan ödemeler, iadeler,
geri ödemeler, ödüller, biriken değerler, indirimler veya diğer ticari faaliyetler üzerinde hiçbir kontrolü
yoktur..

Kartı veren bankayla imzalamış olduğunuz kart sahibi sözleşmelerinin şartları, Desteklenen Kartlarınızın
kullanımını ve Apple Pay özelliğiyle bağlantılı olarak kullanımlarını yönetmeye devam edecektir. Benzer
şekilde herhangi bir satıcının ödül ve hediye kartı programlarına katılımınız ve Apple Pay Özellikli Kartları
Apple Pay ile bağlantılı olarak kullanımınız, satıcının hüküm ve koşullarına tabi olacaktır.

Apple Pay Cash kartı ve kişiler arası ödeme yapma ve alma özelliği yalnızca Amerika Birleşik
Devletleri’nde kullanılabilir ve servisler FDIC üyesi olan Green Dot Bank tarafından sağlanır. Apple Pay’de
bu özellikleri etkinleştirdiğinizde, Green Dot Bank ile hesap açmış olursunuz; kişiler arası ödeme yapıp
aldığınızda ya da Apple Pay Cash kartınıza para yükleyip çektiğinizde, Green Dot Bank paranızı ilgili
alıcıya göndermek veya ondan almakla sorumludur. Apple Pay’de Apple Pay Cash ve kişiler arası
ödemeleri sunmaktan sorumlu finans kuruluşu değişikliğe tabidir ve bu özellikleri kullanmanız bu
kuruluşun hüküm ve koşullarına tabidir.

Lisanstaki veya bu Ek Şartlardaki hiçbir şey, kart sahibi, kullanıcı veya satıcı sözleşmesinin hükümlerini
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 251 of 452



değiştirmez ve bu hükümler geçerli Desteklenen Kartı veya Apple Pay’in kişiler arası ödeme özelliğini ve
iOS Aygıtınızdaki görsel temsilini kullanımınızı yönetir. Apple’ın kart sahibi veya satıcı sözleşmelerinize
taraf olmadığını ve Apple’ın (a) Apple Pay işlevi kullanılırken ödeme kartları, ödül kartları, hediye kartları,
ticari faaliyetler, işlemler veya satın almaların içeriğinden, doğruluğundan veya bulunamama
durumundan, (b) kredi vermekten veya krediye uygunluğu değerlendirmekten, (c) satıcının programı
altında ödülleri biriktirmekten veya kullanmaktan ya da birikmiş değeri kullanmaktan, (d) ön ödemeli
kartların doldurulmasından veya yeniden yüklenmesinden, (e) kişiler arası ödeme yapmaktan veya
almaktan ya da (f) Apple Pay Cash kartınıza para yüklemekten, kullanmaktan veya çekmekten sorumlu
olmadığını kabul edersiniz.

Ödeme kartları, ödül kartları, hediye kartları veya ilişkili ticari faaliyetle ilgili tüm anlaşmazlıklar veya
sorular için lütfen kartı verene veya uygun satıcıya başvurun. Apple Pay Cash kartı veya kişiler arası
ödemelere yönelik sorular için, lütfen Apple Destek’e başvurun.

3. Gizlilik

Apple Pay eksiksiz bir deneyim sunabilmek için iOS Aygıtınızdan bazı bilgiler gerektirir. Ayrıca, Apple Pay
Cash kartınızı kullandığınızda ya da kişiler arası ödeme yapıp aldığınızda, işlemlerinizle ilgili ek bilgiler
toplanır ve hesabınıza hizmet etmek ve dolandırıcılık önleme ve düzenleyici amaçlarla korunur. Apple Pay,
Apple Pay Cash kartı veya Apple Pay ile kişiler arası ödemeler kullanımınızın bir parçası olarak toplanan,
kullanılan veya paylaşılan veriler hakkında daha fazla bilgiyi, Apple Pay ve Gizlilik Hakkında’yı (iOS
Aygıtınızda Wallet ve Apple Pay’e gidilerek ya da eşleştirilmiş iOS Aygıtındaki Watch uygulamasından
erişilebilir) okuyarak veya https://www.apple.com/tr/privacy/ adresini ziyaret ederek bulabilirsiniz. Bu
özellikleri kullanarak Apple’ın, ortaklarının ve lisans sahiplerinin Apple Pay işlevini sağlamak için
yukarıdaki tüm bilgileri iletmesine, toplamasına, saklamasına, işlemesine ve kullanmasına onay ve izin
verirsiniz.

4. Güvenlik; Kaybedilen veya Etkisizleştirilen Aygıtlar

Apple Pay, Desteklenen Kartlarınızın görsel temsillerini saklar ve nakit veya normal banka, kredi, ön
ödemeli ya da hediye kartlarınızı nasıl koruyorsanız öyle korunmalıdır. Aygıt parolanızın üçüncü bir tarafa
sağlanması veya üçüncü bir tarafın Touch ID kullanması için parmak izini eklemesine veya Face ID’yi
etkinleştirmesine izin verilmesi, bu üçüncü tarafın aygıtınızda Apple Pay’i kullanarak ödeme yapmasına,
kişiler arası ödeme yapmasına, talep etmesine veya almasına, Apple Pay Cash kartınızdan para
çekmesine ve ödül veya kredi kazanmasına ya da kullanmasına izin verilmesine yol açabilir. Aygıtınızın ve
parolanızın güvenliğini korumaktan yalnızca siz sorumlusunuz. Aygıtınızı kaybettiğiniz veya aygıtınıza
erişimi paylaştığınız takdirde Apple’ın hiçbir sorumluluk kabul etmeyeceğini kabul edersiniz. iOS’de
yetkisiz değişiklikler (“jailbreak” gibi) yaptığınız takdirde Apple’ın hiçbir sorumluluk kabul etmeyeceğini
kabul edersiniz.

Apple Pay Cash kartı ve Apple Pay ile kişiler arası ödeme de dahil olmak üzere Apple Pay’in belirli
özelliklerine erişmek amacıyla Apple Kimliğiniz için iki faktörlü kimlik doğrulama gibi ek güvenlik
önlemlerini etkinleştirmeniz gerekebilir.

Aygıtınız kaybolursa veya çalınırsa ve iPhone’umu Bul’u etkinleştirdiyseniz, aygıtı Kayıp Modu’na
geçirerek aygıttaki sanal Desteklenen Ödeme Kartlarıyla ödeme yapabilmeyi veya kişiler arası ödeme
yapmayı askıya almayı denemek için iPhone’umu Bul’u kullanabilirsiniz. Ayrıca aygıtınızı silebilirsiniz; bu
durumda aygıttaki sanal Desteklenen Ödeme Kartlarıyla veya kişiler arası ödeme yapabilme askıya
alınmaya ve Apple Pay Özellikli Kartlar da silinmeye çalışılacaktır. Desteklenen Kartlarınıza yetkisiz erişimi
önlemek için Desteklenen Ödeme Kartlarınızı veren kuruma, Apple Pay Özellikli Kartlarınızı veren satıcıya
ve Apple Pay Cash kartınız durumunda Apple’a başvurmanız gerekir.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 252 of 452



Dolandırıcılık veya kötüye kullanım içeren bir faaliyeti bildirirseniz veya Apple böyle bir etkinlikten
şüphelenirse, herhangi bir araştırmada Apple ile işbirliği yapmayı ve öngördüğümüz dolandırıcılığı önleme
tedbirlerini kullanmayı kabul edersiniz.

5. Sorumluluğun Sınırlandırılması

LİSANSTA BELİRTİLEN GARANTİ FERAGATLERİ VE SORUMLULUK SINIRLAMASININ YANI SIRA,
APPLE APPLE PAY ÖZELLİĞİ KULLANILARAK YAPILAN SATIN ALMALAR, ÖDEMELER, İŞLEMLER
VEYA DİĞER TİCARİ FAALİYETLER İÇİN HİÇBİR SORUMLULUK KABUL ETMEZ VE DESTEKLENEN
KARTLARINIZLA, KİŞİLER ARASI ÖDEMELERİNİZLE VE İLİŞKİLİ TİCARET FAALİYETLERİNİZLE İLGİLİ
SORULARI VE ANLAŞMAZLIKLARI ÇÖZMEK İÇİN YALNIZCA KARTINIZI VEREN KURUMLA, ÖDEME
AĞINIZLA, FİNANS KURULUŞLARIYLA VEYA SATICINIZLA YAPTIĞINIZ SÖZLEŞMELERE BAĞLI
KALACAĞINIZI KABUL EDERSİNİZ.

————————————
APPLE’IN BİLDİRİMLERİ
Apple’ın ürününüz veya hesabınız hakkında sizinle bağlantı kurması gerekirse, bildirimleri e‑posta yolu ile
almayı onaylarsınız. Size elektronik olarak gönderdiğimiz bu tür bildirimlerin, tüm yasal iletişim
gereksinimlerini karşıladığını kabul edersiniz.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 253 of 452



CATALÀ

IMPORTANT: EN UTILITZAR EL TEU iPHONE, iPAD O iPOD TOUCH («DISPOSITIU iOS»), S’ENTÉN
QUE ACCEPTES COMPLIR ELS TERMES I CONDICIONS SEGÜENTS:

A.   CONTRACTE DE LLICÈNCIA DE PROGRAMARI DE L’iOS D’APPLE
B.   TERMES I CONDICIONS ADDICIONALS DE APPLE PAY
C.   NOTIFICACIONS D’APPLE

APPLE INC.
CONTRACTE DE LLICÈNCIA DE PROGRAMARI DE L’iOS
Llicència d’un sol ús

SI US PLAU, LLEGEIX ATENTAMENT AQUEST CONTRACTE DE LLICÈNCIA DE PROGRAMARI
(«LLICÈNCIA») ABANS D’UTILITZAR EL TEU DISPOSITIU iOS O DESCARREGAR
L’ACTUALITZACIÓ DE PROGRAMARI QUE ACOMPANYA AQUESTA LLICÈNCIA. EN UTILITZAR EL
TEU DISPOSITIU iOS O DESCARREGAR UNA ACTUALITZACIÓ DE PROGRAMARI, SEGONS EL
QUE ESCAIGUI, S’ENTÉN QUE ACCEPTES COMPLIR ELS TERMES I CONDICIONS D’AQUESTA
LLICÈNCIA. SI NO ELS ACCEPTES, NO FACIS SERVIR EL DISPOSITIU iOS NI DESCARREGUIS
L’ACTUALITZACIÓ DE PROGRAMARI.

EN CAS QUE RECENTMENT HAGIS ADQUIRIT UN DISPOSITIU iOS I NO ACCEPTIS ELS TERMES I
CONDICIONS D’AQUESTA LLICÈNCIA, POTS TORNAR EL DISPOSITIU iOS DURANT EL PERÍODE
DE DEVOLUCIÓ A L’APPLE STORE O AL DISTRIBUÏDOR AUTORITZAT ON EL VAS ADQUIRIR PER
OBTENIR-NE EL REEMBOSSAMENT, D’ACORD AMB LA POLÍTICA DE DEVOLUCIONS D’APPLE
EXPOSADA A https://www.apple.com/legal/sales-support/.

1. General.
(a) Apple Inc.(«Apple») et concedeix, sense efectuar acte de venda i conforme exclusivament als termes i
condicions d’aquesta Llicència, una llicència per a l’ús del programari (inclòs el codi ROM d’arrencada,
el programari integrat i programari de tercers), de la documentació, de les interfícies, del contingut, de
les tipografies i de qualsevol dada que acompanyi el teu Dispositiu iOS («Programari iOS Original»), que
poden ser actualitzats o substituïts, si escau, per millores funcionals, per actualitzacions de programari o
per programari de restauració del sistema («Actualitzacions del Programari iOS») que Apple proporcioni,
ja sigui en memòria de només lectura, en qualsevol altre suport o de qualsevol altra manera (el
Programari iOS Original i les Actualitzacions del Programari iOS s’anomenen conjuntament «Programari
iOS»). Apple i els seus llicenciadors conserven la propietat del Programari iOS i es reserven tots els drets
que no et són concedits expressament. Acceptes que els termes i condicions d’aquesta Llicència
tindran validesa per a qualsevol aplicació de la marca Apple que pugui estar integrades al teu Dispositiu
iOS, llevat que aquesta aplicació estigui acompanyada d’una llicència específica, cas en què acceptes
que els termes i condicions d’aquesta llicència específica regiran l’ús que facis de l’aplicació.

(b) Apple, a la seva discreció, pot fer disponibles futures Actualitzacions del Programari iOS. Les
Actualitzacions del Programari iOS, si n’hi ha, no han d’incloure necessàriament totes les funcions de
programari existents ni les noves funcions que Apple proporcioni per a models nous o per a altres
models de Dispositius iOS. Els termes i condicions d’aquesta Llicència són aplicables a qualsevol
Actualització del Programari iOS proporcionada per Apple, llevat que tal Actualització del Programari
iOS tingui una llicència específica, cas en què acceptes que seran aplicables els termes i condicions
d’aquesta llicència específica.

(c) Si utilitzes la funció de configuració exprés per configurar un Dispositiu iOS nou basat en el Dispositiu
iOS existent, acceptes que els termes d’aquesta Llicència són aplicables a l’ús que facis del Programari
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 254 of 452



iOS al teu Dispositiu iOS nou, llevat que tingui una llicència específica, cas en què acceptes que els
termes d’aquesta llicència seran aplicables a l’ús que facis d’aquest Programari iOS. El teu Dispositiu
iOS comprovarà periòdicament si hi ha actualitzacions de programari de l’iOS disponibles. Si n’hi ha,
l’actualització es descarregarà automàticament, s’instal·larà al Dispositiu iOS i si escau, als teus
dispositius perifèrics. En utilitzar el Programari d’Apple, acceptes que Apple descarregui i instal·li
automàticament actualitzacions de programari de l’iOS al teu Dispositiu iOS i als teus dispositius
perifèrics. En tot moment pots desactivar les actualitzacions automàtiques canviant la configuració
d’actualitzacions automàtiques que trobaràs a Configuració > General > Actualització de programari.

2. Usos permesos de la Llicència i restriccions.
(a) D’acord amb els termes i condicions d’aquesta Llicència, se’t concedeix una llicència limitada no
exclusiva per utilitzar el Programari iOS en un sol Dispositiu iOS de marca Apple. Amb excepció del que
permet l’apartat 2.b següent i del que estableixi un altre contracte que hagis subscrit amb Apple,
aquesta Llicència no permet que el Programari iOS estigui instal·lat en més d’un Dispositiu iOS de
marca Apple alhora i no t’autoritza a distribuir o fer disponible el Programari iOS a través d’una xarxa
que permeti utilitzar-lo en diversos dispositius a la vegada. Aquesta Llicència no et concedeix cap dret a
fer servir les interfícies propietat d’Apple ni cap altra propietat intel·lectual d’Apple per al disseny, el
desenvolupament, la fabricació, la concessió de llicències o la distribució de dispositius i accessoris de
tercers o d’aplicacions de programari de tercers que estiguin destinats a utilitzar-se amb Dispositius
iOS. Alguns d’aquests drets es poden obtenir mitjançant altres llicències d’Apple. Si vols més informació
sobre el desenvolupament de dispositius i accessoris de tercers per a Dispositius iOS, visita https://
developer.apple.com/programs/mfi/. Si vols més informació sobre el desenvolupament d’aplicacions de
programari per a Dispositius iOS, visita https://developer.apple.com.

(b) D’acord amb els termes i condicions d’aquesta Llicència, se’t concedeix una llicència limitada no
exclusiva per descarregar Actualitzacions del Programari iOS que Apple pot fer disponibles per al teu
model de Dispositiu iOS per tal d’actualitzar o restaurar el programari de qualsevol Dispositiu iOS del
qual en tinguis la propietat o el control. Aquesta Llicència no et permet actualitzar o restaurar cap
Dispositiu iOS del qual no en tinguis la propietat o el control i no t’autoritza a distribuir o fer disponibles
les Actualitzacions del Programari iOS a través d’una xarxa que permeti utilitzar-les en diversos
dispositius o ordinadors a la vegada. Si descarregues qualsevol Actualització del Programari iOS al teu
ordinador, pots fer una còpia de les Actualitzacions del Programari iOS emmagatzemades a l’ordinador
en un format llegible per aquest i únicament amb finalitats de còpia de seguretat, sempre que aquesta
còpia de seguretat contingui tota la informació de copyright i tots els altres avisos sobre propietat que
consten a l’original.

(c) En la mesura que Apple hagi preinstal·lat aplicacions de la marca Apple des de l’App Store al teu
Dispositiu iOS en el moment de la compra («Aplicacions Preinstal·lades»), hauràs de registrar-te a l’App
Store i associar aquestes Aplicacions Preinstal·lades amb el teu compte de l’App Store per poder
utilitzar-les al teu Dispositiu iOS. Quan associïs una Aplicació Preinstal·lada al teu compte de l’App
Store, al mateix temps s’associaran automàticament totes les altres Aplicacions Preinstal·lades al teu
Dispositiu iOS. Si decideixes associar les Aplicacions Preinstal·lades al teu compte de l’App Store,
s’entén que acceptes que Apple pot transmetre, recopilar, mantenir, processar i utilitzar tant l’ID d’Apple
emprat al teu compte de l’App Store com un identificador únic de maquinari obtingut del teu Dispositiu
iOS, com a identificadors de compte únics destinats a verificar si la teva sol.licitud és acceptable i
donar-te accés a les Aplicacions Preinstal·lades a través de l’App Store. Si no vols utilitzar una Aplicació
Preinstal·lada, pots eliminar-la del teu Dispositiu iOS en qualsevol moment.

(d) No tens autorització per efectuar les operacions (i acceptes no efectuar-les ni permetre que altres les
duguin a terme) de copiar (excepte en els casos permesos expressament per aquesta Llicència),
descompilar, realitzar enginyeria inversa, desmuntar, intentar obtenir el codi font, desencriptar, modificar
o crear treballs derivats del Programari iOS o de qualsevol servei proporcionat pel Programari iOS, ni de
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 255 of 452



cap de les seves parts (excepte en els casos i exclusivament dins els límits en què qualsevol de les
restriccions anteriors sigui prohibida per la legislació vigent o per termes i condicions de llicència que
regeixin l’ús de components de codi font obert que puguin trobar-se inclosos al Programari iOS).

(e) El Programari iOS es pot utilitzar per reproduir materials sempre que aquest ús es limiti a la
reproducció de materials sense copyright, materials dels quals tinguis el copyright o materials que
puguis reproduir perquè disposes de l’autorització o permís legal corresponents. Els drets de titularitat i
propietat intel·lectual de qualsevol contingut o sobre qualsevol contingut que sigui visualitzat,
emmagatzemat o accedit al teu Dispositiu iOS o a través d’aquest pertanyen al corresponent propietari
del contingut. Aquest contingut pot estar protegit per copyright o d’altres lleis o tractats referents a la
propietat intel·lectual i pot estar subjecte a les condicions particulars d’ús establertes pel tercer que el
proporciona. Excepte en els casos indicats en el present document, aquesta Llicència no t’atorga cap
dret d’ús del contingut ni garanteix la disponibilitat continuada d’aquest contingut.

(f) Sempre d’acord amb els termes i condicions d’aquesta Llicència, pots utilitzar els caràcters Animoji i
Memoji inclosos o creats amb el programari iOS (“Caràcters de sistema”) (i) mentre s’estigui executant el
programari iOS i (ii) sempre que sigui per crear continguts i projectes propis i originals per un ús
personal i no comercial. Aquesta llicència no permet fer cap altre ús dels Caràcters de sistema, entenent
com a ús a tall d’exemple, la utilització, reproducció, exhibició, demostració, gravació, publicació o
redistribució de qualsevol dels Caràcters de sistema en un context lucratiu, no lucratiu, públic o
comercial.

(g) Acceptes utilitzar el Programari iOS i els Serveis (definits en l’apartat 5 d’aquesta Llicència) complint
totes les lleis aplicables, incloses les lleis del país o regió on resideixes o on descarregues i fas servir el
Programari iOS i els Serveis. Algunes funcions del Programari iOS i dels Serveis poden no estar
disponibles en tots els idiomes o regions, algunes funcions poden variar segons la regió i d’altres poden
estar restringides o no disponibles al teu proveïdor de serveis. Es necessita una connexió Wi-Fi o de
dades via telefonia mòbil per a algunes funcions del Programari iOS i dels Serveis.

(h) L’ús de l’App Store requereix una combinació única de nom d’usuari i contrasenya, anomenada ID
d’Apple. També es requereix un ID d’Apple per accedir a les actualitzacions d’aplicacions i a
determinades característiques del Programari iOS i dels Serveis.

(i) Reconeixes que moltes de les funcions, aplicacions integrades i Serveis del Programari iOS
transmeten dades i poden generar càrrecs en el teu servei de dades i que assumeixes tota la
responsabilitat en relació amb aquests possibles càrrecs. Pots visualitzar i controlar quines aplicacions
poden utilitzar dades de telefonia mòbil i consultar una estimació de quantes dades han consumit
aquestes aplicacions a la secció de configuració «Dades mòbils». A més, l’assistent de Wi-Fi passarà
automàticament a dades mòbils quan tinguis una mala connexió Wi-Fi, de manera que podries consumir
més dades mòbils amb el consegüent càrrec al teu pla de dades. L’assistent de Wi-Fi està activat per
omissió i el pots desactivar a la Configuració. Per obtenir més informació, consulta el manual d’usuari
del teu Dispositiu iOS.

(j) Si decideixes permetre l’actualització automàtica d’aplicacions, el teu Dispositiu iOS comprovarà
periòdicament als servidors Apple si hi ha actualitzacions per a les aplicacions del dispositiu i, si n’hi ha
de disponibles, es descarregaran i s’instal·laran automàticament al dispositiu. Pots desactivar
completament l’actualització automàtica d’aplicacions en qualsevol moment; per fer-ho, vés a
Configuració, prem «iTunes i App Store» i, sota «Descàrregues automàtiques», desactiva l’opció
Actualitzacions.

(k) L’ús del teu Dispositiu iOS en algunes circumstàncies pot distreure’t i pot provocar una situació
perillosa (per exemple, evita escriure missatges de text mentre condueixes un cotxe i no utilitzis
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 256 of 452



auriculars quan vagis en bicicleta). En utilitzar el teu Dispositiu iOS, acceptes que ets responsable del
compliment de les normes que prohibeixen o restringeixen l’ús de telèfons mòbils o auriculars (per
exemple, el requisit d’utilitzar opcions de mans lliures per fer trucades mentre condueixes).

3. Transferència. No tens autorització per llogar, arrendar, prestar, vendre ni redistribuir el Programari
iOS ni concedir-ne llicència a tercers. Tanmateix, pots transferir a un tercer, de forma permanent i una
sola vegada, tots els teus drets sobre el Programari iOS que et concedeix aquesta Llicència, en
connexió amb la transferència de la propietat del teu Dispositiu iOS, sempre que: (a) la transferència
comprengui el teu Dispositiu iOS i tot el Programari iOS, inclosos tots els seus components i aquesta
Llicència; (b) no conservis cap còpia, total o parcial, del Programari iOS, incloses les còpies desades en
un ordinador o en qualsevol altre dispositiu d’emmagatzematge; i (c) el tercer que rebi el Programari iOS
llegeixi i accepti els termes i condicions d’aquesta Llicència.

4. Consentiment per a l’ús de dades. Quan utilitzis el teu dispositiu, el teu número de telèfon i
determinats identificadors únics del teu Dispositiu iOS s’envien a Apple per permetre que altres
persones et puguin contactar amb el teu número de telèfon en utilitzar diverses funcions de
comunicació del Programari iOS, com ara l’iMessage i el FaceTime. En utilitzar l’iMessage, Apple pot
conservar els teus missatges de forma encriptada durant un període de temps limitat, per tal
d’assegurar-ne el lliurament. Pots desactivar el FaceTime o l’iMessage a la secció de configuració del
FaceTime o de l’aplicació Missatges del teu Dispositiu iOS. Algunes funcions, com ara Anàlisi, els
serveis d’ubicació, Siri, i Dictat poden requerir informació del teu Dispositiu iOS per proporcionar-te les
seves funcionalitats. En el moment d’activar o utilitzar aquestes funcions, se t’informarà sobre quina
informació s’enviarà a Apple i com podrà ser utilitzada. Pots obtenir més informació a través de: https://
www.apple.com/privacy/. En tot moment, la teva informació es tractarà d’acord amb la Política de
Privadesa d’Apple, que es pot consultar a: https://www.apple.com/legal/privacy/.

5. Serveis i materials de tercers.
(a) El Programari iOS pot permetre accedir a l’iTunes Store, l’App Store, l’Apple Books, el Game Center,
l’iCloud i el Mapes d’Apple, així com a altres serveis i llocs web d’Apple i de tercers (anomenats,
col·lectivament i individualment, «Serveis»). És possible que aquests Serveis no estiguin disponibles en
tots els idiomes o països. L’ús d’aquests Serveis requereix accés a Internet (així mateix, l’ús de
determinats Serveis pot requerir un ID d’Apple), pot requerir que acceptis termes i condicions
addicionals i és possible que estigui subjecte a tarifes addicionals. En utilitzar aquest programari en
connexió amb un ID d’Apple o un altre Servei d’Apple, s’entén que acceptes els termes i condicions de
servei aplicables per a tal Servei, com ara la darrera versió dels termes i condicions dels Serveis de
Continguts d’Apple corresponents al país des d’on accedeixes a aquests serveis, que pots obtenir i
consultar a https://www.apple.com/legal/internet-services/itunes/

(b) Si et registres a l’iCloud, podràs accedir directament des del Programari iOS a determinades
funcions de l’iCloud, com ara «Fotos a l’iCloud», «Les meves fotos en streaming», «Àlbums compartits»,
«Còpia de seguretat» i «Buscar l’iPhone». Reconeixes i acceptes que el teu ús de l’iCloud i d’aquestes
funcions està subjecte a la versió més recent dels termes i condicions del servei iCloud, que pots
obtenir i consultar a la pàgina web següent: https://www.apple.com/legal/internet-services/icloud/.

(c) Contingut de l’aplicació News. L’ús que fas del contingut a què accedeixes a través de l’aplicació
News està limitat exclusivament a ús personal i no comercial, no t’atorga cap tipus de propietat del
contingut i s’exclou explícitament, sense límit, qualsevol dret comercial o de promoció en relació amb
aquest contingut. A més, queda prohibit tornar a publicar, retransmetre i reproduir com a arxiu
independent qualsevol imatge a la qual s’hagi accedit a través de News.

(d) Mapes. El servei de mapes i les funcions del programari iOS («Mapes»), inclosa la cobertura de les
dades dels mapes, poden variar segons la regió. Quan utilitzis funcions de localització al Mapes, com
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 257 of 452



ara la navegació per passos o les cerques locals i del trànsit, diverses dades de localització i d’ús poden
ser enviades a Apple, inclosa la ubicació geogràfica en temps real del teu Dispositiu iOS, per tal de
processar la teva sol·licitud i ajudar a millorar el Mapes. Apple recopila aquestes dades de localització i
d’ús de manera que no t’identifica personalment. En utilitzar el Mapes, s’entén que acceptes i
consents que Apple i les seves filials i agents puguin transmetre, recopilar, mantenir, processar i
utilitzar aquesta informació per tal de proporcionar i millorar les funcions i els serveis del Mapes i
altres productes i serveis d’Apple. Apple també pot traspassar aquesta informació, ja sigui de manera
agregada o de manera que no t’identifiqui personalment als seus socis i llicenciadors amb la finalitat
d’ajudar a millorar els seus mapes i els productes i serveis basats en la ubicació. Pots desactivar la
funció del Mapes basada en la localització a la secció de configuració Serveis de Localització del teu
Dispositiu iOS, desactivant l’opció individual de localització corresponent al Mapes. Tanmateix,
determinades funcions del Mapes no estaran disponibles si desactives la configuració dels Serveis de
Localització, com ara la navegació per passos.

(e) Reconeixes que, en utilitzar qualsevol dels Serveis, és possible que accedeixis a continguts que
poden ser considerats ofensius, indecents o censurables, els quals poden estar identificats o no com a
llenguatge per a adults, i que els resultats de qualsevol cerca o de la introducció d’una determinada URL
poden generar de manera automàtica i involuntària enllaços o referències a material censurable. No
obstant això, acceptes que utilitzaràs els Serveis pel teu compte i risc i que Apple i els seus afiliats,
agents, poderdants o llicenciadors no seran responsables davant teu per continguts que es puguin
considerar ofensius, indecents o censurables.

(f) Determinats Serveis poden mostrar, incloure o fer disponibles continguts, dades, informació,
aplicacions o materials de tercers («Materials de Tercers») o proporcionar enllaços a determinats llocs
web de tercers. En utilitzar els Serveis, reconeixes i acceptes que Apple no és responsable d’examinar o
avaluar el contingut, la precisió, la completesa, la puntualitat, la validesa, el compliment del copyright, la
legalitat, la decència, la qualitat o qualsevol altre aspecte dels Materials de Tercers o dels llocs web
esmentats. Apple i els seus representants, subsidiaris i filials no donen garantia ni suport i no seran
responsables davant teu ni davant cap altra persona per cap Servei, Material de Tercers o lloc web
d’una altra empresa, ni per cap altre material, producte o servei de tercers. Els Materials de Tercers i els
enllaços a altres llocs web es proporcionen exclusivament per a la teva comoditat.

(g) Ni Apple ni cap dels seus proveïdors de contingut no garanteixen la disponibilitat, la precisió, la
completesa, la fiabilitat ni la puntualitat de la informació borsària, de les dades de localització o de
qualsevol altre tipus de dades que mostri qualsevol dels Serveis. Les dades financeres que mostri
qualsevol dels Serveis només tenen un propòsit informatiu general i no s’han de considerar fiables per
decidir inversions. Abans d’efectuar qualsevol tipus de transacció de valors basada en la informació
obtinguda a través dels Serveis, és recomanable que consultis un assessor financer professional que
estigui legalment capacitat per oferir assessorament financer al teu país o regió. Les dades de
localització facilitades per qualsevol dels Serveis, incloent el servei Mapes d’Apple, es proporcionen
únicament amb finalitats de planificació i/o navegació bàsica i no s’han de considerar una font
d’informació fiable en situacions en què calgui informació de localització precisa o en què una
informació de localització errònia, inexacta, diferida o incompleta pugui ocasionar la mort, lesions
personals o danys en la propietat o el medi natural. Acceptes que els resultats que reps del servei
Mapes poden variar respecte de les condicions actuals del terreny o la carretera, a causa de factors que
poden afectar la precisió de les dades del Mapes, com ara (sense caràcter limitador) la situació
meteorològica, viària o del trànsit i els esdeveniments geopolítics. Per a la teva seguretat quan utilitzis la
funció de navegació, presta atenció sempre als senyals de trànsit i a l’estat actual de la carretera.
Segueix les pràctiques de conducció segura i les normes de trànsit i tingues en compte que les
instruccions de les rutes a peu poden no incloure voreres o carrers de vianants.

(h) En la mesura que carreguis contingut mitjançant la utilització dels Serveis, declares que ets el
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 258 of 452



propietari de tots els drets relatius a aquest contingut (o que tens autorització o un altre permís legal per
carregar-lo) i que el contingut no vulnera cap dels termes i condicions de servei aplicables als Serveis.
Acceptes que els Serveis inclouen continguts registrats, informació i material que són propietat d’Apple,
del propietari del lloc o dels seus llicenciadors i que estan protegits per les lleis de propietat intel·lectual
aplicables i per altres lleis, incloses, sense caràcter limitador, les lleis de copyright. Acceptes que no
faràs servir aquests continguts registrats, informació i materials propietat d’Apple per a cap finalitat que
no sigui l’ús permès dels Serveis, ni de cap altra manera que sigui incoherent amb els termes i
condicions d’aquesta Llicència o infringeixi qualsevol dret de propietat intel·lectual d’un tercer o
d’Apple. No estàs autoritzat a reproduir cap part dels Serveis, en cap forma ni per cap mitjà. Acceptes
no modificar, llogar, arrendar, prestar, vendre, distribuir ni crear treballs derivats basats en els Serveis,
per cap mitjà, i acceptes no explotar els Serveis de cap manera no autoritzada, incloent, sense caràcter
limitador, l’ús dels Serveis per transmetre virus, cucs o troians informàtics ni cap altre programari
maliciós o per sobrepassar o sobrecarregar la capacitat de la xarxa. A més, acceptes no utilitzar els
Serveis de cap manera que pugui assetjar, utilitzar abusivament, espiar, amenaçar, difamar o vulnerar o
infringir de qualsevol altra manera els drets de cap tercer, i també acceptes que Apple no serà
responsable de cap manera de qualsevol ús d’aquesta naturalesa, ni dels missatges o transmissions
assetjadors, amenaçadors, difamatoris, ofensius, infractors o il·legals que puguis rebre com a resultat de
l’ús de qualsevol dels Serveis.

(i) Així mateix, els Serveis i els Materials de Tercers als quals puguis accedir o que es puguin mostrar o
enllaçar a través del Dispositiu iOS no estan disponibles en tots els idiomes ni a tots els països. Apple
no declara que els Serveis o Materials de Tercers esmentats siguin adequats o estiguin disponibles per
a utilitzar-los en cap regió determinada. En la mesura en què decideixis utilitzar o accedir als Serveis o
Materials de Tercers esmentats, s’entén que ho fas per iniciativa pròpia i que assumeixes la
responsabilitat del compliment de totes les lleis aplicables, incloses, sense caràcter limitador, les lleis
locals aplicables i les lleis sobre privadesa i recollida de dades. Compartir o sincronitzar fotos a través
del teu Dispositiu iOS pot provocar que, juntament amb les fotos, es transmetin metadades, inclosos el
lloc i la data on es van fer la foto i informació sobre la profunditat. L’ús dels serveis d’Apple (com ara la
fototeca de l’iCloud) per compartir o sincronitzar aquestes fotografies suposarà que Apple rebi i
emmagatzemi aquestes metadades. Apple i els seus llicenciadors es reserven el dret a modificar,
suspendre, eliminar o desactivar l’accés a qualsevol dels Serveis en qualsevol moment i sense previ
avís. Apple no serà en cap cas responsable de l’eliminació o desactivació de l’accés a qualsevol dels
Serveis. Així mateix, Apple pot imposar límits a l’ús o accés a determinats Serveis, en qualsevol cas i
sense previ avís ni subjecció a responsabilitat.

6. Expiració de la Llicència. Aquesta Llicència és vigent fins que expiri. Els drets que et concedeix
aquesta Llicència expiraran automàticament o seran revocats sense previ avís d’Apple si incompleixes
qualsevol dels termes i condicions que conté. En expirar la Llicència, has de deixar d’utilitzar el
Programari iOS. Els apartats 4, 5, 6, 7, 8, 9, 12 i 13 d’aquesta Llicència continuaran sent vigents després
de l’expiració de la Llicència.

7. Exclusió de garanties.
7.1 Si ets un usuari consumidor (és a dir, si fas servir el Programari iOS fora del teu negoci, empresa o
entorn professional), és possible que tinguis drets legals en el teu país de residència que prohibeixin que
se t’apliquin les limitacions següents, per la qual cosa en aquests països no et seran aplicables. Per
obtenir més informació sobre aquests drets, posa’t en contacte amb una organització d’assessorament
a consumidors del teu país.

7.2 RECONEIXES I ACCEPTES EXPRESSAMENT QUE, DINS ELS LÍMITS PERMESOS PER LA LLEI
APLICABLE, L’ÚS DEL PROGRAMARI iOS I DE QUALSEVOL SERVEI QUE S’EXECUTI O AL QUAL
S’ACCEDEIXI A TRAVÉS DEL PROGRAMARI iOS S’EFECTUA EXCLUSIVAMENT PEL TEU COMPTE I
RISC, I QUE ASSUMEIXES TOT EL RISC RELATIU A QUALITAT SATISFACTÒRIA, FUNCIONAMENT,
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 259 of 452



PRECISIÓ I APTITUD.

7.3 DINS ELS LÍMITS PERMESOS PER LA LLEI APLICABLE, EL PROGRAMARI iOS I ELS SERVEIS
ES PROPORCIONEN «TAL COM SÓN» I «TAL COM ESTAN DISPONIBLES», AMB TOTS ELS SEUS
POSSIBLES DEFECTES I SENSE GARANTIA DE CAP TIPUS, I APPLE I ELS LLICENCIADORS D’APPLE
(ANOMENATS CONJUNTAMENT «APPLE» ALS EFECTES DELS APARTATS 7 I 8) EXCLOUEN PER
MITJÀ D’AQUESTA LLICÈNCIA TOTES LES GARANTIES I CONDICIONS RELATIVES AL PROGRAMARI
iOS I ALS SERVEIS, JA SIGUIN EXPRESSES, IMPLÍCITES O LEGALS, INCLOSES, SENSE CARÀCTER
LIMITADOR, LES GARANTIES I/O CONDICIONS DE COMERCIABILITAT, QUALITAT SATISFACTÒRIA,
IDONEÏTAT PER A UN FI DETERMINAT, PRECISIÓ, GAUDI PACÍFIC I NO-INFRACCIÓ DE DRETS DE
TERCERS.

7.4 APPLE NO GARANTEIX, SENS PERJUDICI DEL TEU GAUDI DEL PROGRAMARI iOS I DELS
SERVEIS, QUE LES FUNCIONS CONTINGUDES EN EL PROGRAMARI iOS O EN ELS SERVEIS
EFECTUATS O PROPORCIONATS PER AQUEST PROGRAMARI SATISFACIN LES TEVES
NECESSITATS, QUE EL FUNCIONAMENT DEL PROGRAMARI iOS I DELS SERVEIS ESTIGUI LLIURE
D’INTERRUPCIONS O ERRORS, QUE TOTS ELS SERVEIS CONTINUÏN ESTANT DISPONIBLES, QUE
ELS DEFECTES DEL PROGRAMARI iOS O DELS SERVEIS SIGUIN CORREGITS, NI QUE EL
PROGRAMARI iOS SIGUI COMPATIBLE O FUNCIONI AMB QUALSEVOL PROGRAMARI, APLICACIÓ O
SERVEI DE TERCERS. LA INSTAL·LACIÓ D’AQUEST PROGRAMARI iOS POT AFECTAR LA
DISPONIBILITAT I USABILITAT DE PROGRAMARI, APLICACIONS O SERVEIS DE TERCERS, AIXÍ COM
DELS PRODUCTES I SERVEIS D’APPLE.

7.5 RECONEIXES, A MÉS, QUE EL PROGRAMARI iOS I ELS SERVEIS NO ES DESTINEN NI SÓN
ADEQUATS A UN ÚS EN SITUACIONS O ENTORNS EN QUÈ UNA FALLIDA O RETARD O UN ERROR O
IMPRECISIÓ DEL CONTINGUT, DE LES DADES O DE LA INFORMACIÓ QUE PROPORCIONEN EL
PROGRAMARI iOS O ELS SERVEIS POGUESSIN OCASIONAR LA MORT, DANYS PERSONALS O
GREUS DANYS FÍSICS O MEDIAMBIENTALS, INCLOENT, SENSE CARÀCTER LIMITADOR,
L’OPERACIÓ D’INSTAL·LACIONS NUCLEARS, SISTEMES DE NAVEGACIÓ AÈRIA O COMUNICACIÓ,
SISTEMES DE CONTROL DEL TRÀNSIT AERI, APARELLS DE SUPORT VITAL O EQUIPS
ARMAMENTÍSTICS.

7.6 CAP INFORMACIÓ O ASSESSORAMENT ESCRIT O VERBAL FACILITAT PER APPLE O PER UN
REPRESENTANT AUTORITZAT D’APPLE GENERARAN CAP GARANTIA. SI EL PROGRAMARI iOS O
ELS SERVEIS RESULTESSIN SER DEFECTUOSOS, ASSUMIRÀS EL COST ÍNTEGRE DE TOTS ELS
SERVEIS TÈCNICS, REPARACIONS I CORRECCIONS NECESSARIS. ATÈS QUE LES JURISDICCIONS
D’ALGUNS PAÏSOS NO PERMETEN L’EXCLUSIÓ DE GARANTIES IMPLÍCITES O LA LIMITACIÓ DE
DRETS LEGALS APLICABLES D’UN CONSUMIDOR, ÉS POSSIBLE QUE L’EXCLUSIÓ I LES
LIMITACIONS ANTERIORS NO ET SIGUIN APLICABLES.

8. Limitació de la responsabilitat. DINS ELS LÍMITS PERMESOS PER LA LLEI APLICABLE, APPLE I
ELS SEUS AFILIATS, AGENTS O PODERDANTS NO SERAN RESPONSABLES EN CAP CAS DELS
DANYS PERSONALS NI DE CAP DANY ACCESSORI, ESPECIAL, INDIRECTE O EMERGENT,
INCLOENT, SENSE CARÀCTER LIMITADOR, ELS DANYS PER LUCRE CESSANT, CORRUPCIÓ O
PÈRDUA DE DADES, IMPOSSIBILITAT DE TRANSMETRE O REBRE DADES (INCLOENT, SENSE
CARÀCTER LIMITADOR, LES INSTRUCCIONS, LES TASQUES I ELS MATERIALS DELS CURSOS),
INTERRUPCIÓ DE L’ACTIVITAT EMPRESARIAL O QUALSEVOL ALTRE TIPUS DE DANY O PÈRDUA
COMERCIAL DERIVAT O RELACIONAT AMB EL TEU ÚS O MAL ÚS DEL PROGRAMARI iOS I DELS
SERVEIS O DE QUALSEVOL PROGRAMARI O APLICACIÓ DE TERCERS QUE S’UTILITZI JUNT AMB
EL PROGRAMARI iOS O ELS SERVEIS, SIGUI QUINA EN SIGUI LA CAUSA I AMB INDEPENDÈNCIA DE
LA TEORIA DE LA RESPONSABILITAT CIVIL (RESPONSABILITAT CONTRACTUAL O
EXTRACONTRACTUAL, O ALTRES), FINS I TOT SI APPLE HA ESTAT INFORMAT DE LA POSSIBILITAT
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 260 of 452



QUE ES PRODUEIXIN ELS DANYS ESMENTATS. ATÈS QUE LES JURISDICCIONS D’ALGUNS PAÏSOS
NO PERMETEN L’EXCLUSIÓ O LA LIMITACIÓ DE RESPONSABILITAT PER DANYS PERSONALS O
PER DANYS ACCESSORIS O EMERGENTS, ÉS POSSIBLE QUE AQUESTA LIMITACIÓ NO ET SIGUI
APLICABLE. La responsabilitat total d’Apple per danys i perjudicis (diferents dels exigits per la llei vigent
en els casos en què hi hagi danys personals) no superarà en cap cas la quantitat de dos-cents
cinquanta dòlars dels EUA (250 USD). Les limitacions anteriors seran aplicables fins i tot si la reparació
esmentada no aconsegueix el seu objectiu fonamental.

9. Certificats digitals. El Programari iOS conté funcions que li permeten acceptar certificats digitals
emesos tant per Apple com per tercers. TU ETS L’ÚNIC RESPONSABLE DE LA DECISIÓ DE CONFIAR
O NO EN UN CERTIFICAT, TANT SI HA ESTAT EMÈS PER APPLE COM PER UN TERCER. L’ÚS QUE
FACIS DELS CERTIFICATS DIGITALS ÉS PEL TEU COMPTE I RISC. DINS ELS LÍMITS PERMESOS PER
LA LLEI APLICABLE, APPLE NO OFEREIX CAP GARANTIA NI DECLARACIÓ, EXPLÍCITA O IMPLÍCITA,
SOBRE LA COMERCIABILITAT O IDONEÏTAT PER A UN FI DETERMINAT, LA PRECISIÓ, LA
SEGURETAT O LA NO-INFRACCIÓ DE DRETS DE TERCERS RESPECTE ALS CERTIFICATS DIGITALS.

10. Control de les exportacions. No estàs autoritzat a utilitzar ni, sota cap altra circumstància, exportar
o reexportar el Programari iOS, excepte en els casos autoritzats expressament per la legislació dels
Estats Units i per les lleis del país o països en què has obtingut el Programari iOS. En concret, però
sense caràcter limitador, el Programari iOS no es pot exportar ni reexportar a: (a) cap país sotmès a
embargament pels Estats Units, o (b) cap persona que figuri en la Llista de Ciutadans Especialment
Designats del Departament del Tresor dels Estats Units, en les llistes de Persones Denegades o Entitats
Denegades del Departament de Comerç dels Estats Units o en qualsevol altra llista de persones o
entitats restringides. En utilitzar el Programari iOS, s’entén que declares i garanteixes que no ets en cap
d’aquests països i que no figures en cap de les llistes esmentades. Així mateix, acceptes no utilitzar el
Programari iOS amb finalitats prohibides per la legislació dels Estats Units, inclosos, sense caràcter
limitador, el desenvolupament, el disseny, la fabricació o la producció de míssils o armes nuclears,
químiques o biològiques.

11. L’Administració com a usuari final. El Programari iOS i la documentació relacionada es consideren
«Articles Comercials», segons la definició que fa d’aquest terme l’apartat 48, paràgraf 2.101, del Codi de
Normes Federals (CFR) dels Estats Units, i consten de «Programari Informàtic d’Ús Comercial» i
«Documentació de Programari Informàtic d’Ús Comercial», d’acord amb l’ús que fan d’aquests termes
els apartats 48, paràgraf 12.212, o 48, paràgraf 227.7202, del CFR, segons el que escaigui. En virtut dels
apartats 48, paràgraf 12.212, i 48, paràgrafs del 227.7202-1 al 227.7202-4, del CFR, segons el que
escaigui, el Programari Informàtic d’Ús Comercial i la Documentació de Programari Informàtic d’Ús
Comercial es distribueixen i es concedeixen sota llicència a usuaris finals de l’Administració dels Estats
Units: (a) únicament com a Articles Comercials i (b) només amb els drets concedits a tots els altres
usuaris finals per mitjà dels termes i condicions d’aquesta Llicència. Queden reservats els drets no
publicats, d’acord amb les lleis de copyright dels Estats Units.

12. Llei aplicable i independència de les estipulacions. Aquesta Llicència es regirà i s’interpretarà
segons les lleis de l’Estat de Califòrnia, excloent-ne els principis de conflicte de dret. Aquesta Llicència
no estarà regida per la Convenció de les Nacions Unides sobre Contractes de Compravenda
Internacional de Mercaderies, l’aplicació de la qual s’exclou expressament. Si ets un consumidor
resident al Regne Unit, aquesta Llicència es regirà per les lleis corresponents a la jurisdicció on
resideixes. Si, per qualsevol raó, un tribunal competent declarés no vàlida alguna disposició o un
fragment d’alguna disposició d’aquesta Llicència, la resta de la Llicència continuarà sent plenament
vigent i efectiva.

13. Contracte íntegre; idioma aplicable. Aquesta Llicència constitueix l’acord complet entre tu i Apple
respecte al Programari iOS i substitueix tots els acords anteriors o actuals relatius a aquest assumpte.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 261 of 452



Cap modificació o esmena d’aquesta Llicència no serà vàlida si no s’efectua per escrit i du la signatura
d’Apple. Tota traducció d’aquesta Llicència s’efectua per satisfer les necessitats dels usuaris dels
diferents països, i si sorgís cap conflicte entre la versió anglesa i qualsevol versió en una altra llengua,
prevaldrà la versió anglesa d’aquesta Llicència, dins els límits permesos per les lleis de cada jurisdicció
nacional.

14. Reconeixements de tercers. És possible que algunes parts del Programari iOS utilitzin o incloguin
programari de tercers i altres materials amb copyright. Els reconeixements, els termes i condicions de
llicència i les limitacions de responsabilitat corresponents als materials esmentats estan inclosos en la
documentació electrònica del Programari iOS, i l’ús que facis d’aquests materials està subjecte als
respectius termes i condicions. L’ús del servei Google Safe Browsing està subjecte a les Condicions del
Servei de Google (https://www.google.com/intl/ca/policies/terms/) i a la Política de Privadesa de Google
(https://www.google.com/intl/ca/policies/privacy/).

15. Ús d’MPEG-4; avís sobre l’H.264/AVC.
(a) El Programari iOS es concedeix sota llicència d’acord amb l’MPEG-4 System Patent Portfolio License
(Llicència de la Cartera de Patents de Sistemes MPEG-4) per a la codificació d’acord amb l’Estàndard
de Sistemes MPEG-4, llevat que calgui disposar d’una llicència addicional i abonar regalies per a la
codificació en relació amb (i) les dades emmagatzemades o duplicades en un suport físic per a les quals
es faci un pagament títol per títol i/o (ii) les dades per a les quals es faci un pagament títol per títol i que
es transmetin a un usuari final per a un ús o emmagatzemament permanent. Aquest tipus de llicència
addicional es pot obtenir d’MPEG LA, LLC. Visita http://www.mpegla.com per obtenir informació
addicional.

(b) El Programari iOS conté funcions de codificació i/o descodificació de vídeo MPEG-4. El Programari
iOS es concedeix sota llicència d’acord amb l’MPEG-4 Visual Patent Portfolio License (Llicència de la
Cartera de Patents de l’Estàndard Visual MPEG-4) per a l’ús personal i no comercial d’un consumidor
per (i) codificar vídeo conforme a l’Estàndard Visual MPEG-4 («Vídeo MPEG-4») i/o per (ii) descodificar
vídeo MPEG-4 que hagi estat codificat per un consumidor al llarg d’una activitat personal i no comercial
i/o s’hagi obtingut d’un proveïdor de vídeo amb llicència d’MPEG LA per subministrar vídeo MPEG-4.
No es concedeix ni s’entén que s’ha concedit tàcitament cap altra llicència per a cap altre ús. Pots
obtenir més informació, inclosa la informació sobre usos promocionals, interns i comercials i la
concessió de llicències, a MPEG LA, LLC. Visita http://www.mpegla.com.

(c) El Programari iOS conté funcions de codificació i/o descodificació d’AVC; l’ús comercial de l’H.264/
AVC requereix una llicència addicional i s’hi aplica la disposició següent: LA FUNCIÓ AVC DEL
PROGRAMARI iOS ES CONCEDEIX SOTA LLICÈNCIA PER MITJÀ D’AQUESTA LLICÈNCIA
ÚNICAMENT PER A L’ÚS PERSONAL I NO COMERCIAL D’UN CONSUMIDOR PER (i) CODIFICAR
VÍDEO SEGONS L’ESTÀNDARD AVC («VÍDEO AVC») I/O (ii) DESCODIFICAR VÍDEO AVC QUE HAGI
ESTAT CODIFICAT PER UN CONSUMIDOR AL LLARG D’UNA ACTIVITAT PERSONAL I NO
COMERCIAL I/O VÍDEO AVC QUE S’HAGI OBTINGUT D’UN PROVEÏDOR DE VÍDEO AMB LLICÈNCIA
PER SUBMINISTRAR VÍDEO AVC. POTS OBTENIR INFORMACIÓ SOBRE ALTRES USOS I LLICÈNCIES
A MPEG LA L.L.C. VISITA http://www.mpegla.com.

16. Restriccions del servei Yahoo Search. El servei Yahoo Search disponible per mitjà del Safari es
concedeix sota llicència únicament per utilitzar-lo en els països i regions següents: Alemanya, Argentina,
Aruba, Austràlia, Àustria, Bahames, Barbados, Bèlgica, Bermudes, Brasil, Bulgària, Canadà, Colòmbia,
Corea del Sud, Dinamarca, El Salvador, Equador, Eslovàquia, Eslovènia, Espanya, Estats Units, Filipines,
Finlàndia, França, Grenada, Grècia, Guatemala, Hongria, Illes Caiman, Índia, Indonèsia, Irlanda, Islàndia,
Itàlia, Jamaica, Japó, Letònia, Lituània, Luxemburg, Malàisia, Malta, Mèxic, Nicaragua, Noruega, Nova
Zelanda, Països Baixos, Panamà, Perú, Polònia, Portugal, Puerto Rico, Regne Unit, República Txeca,
República Dominicana, Romania, Saint Vincent, Santa Lucia, Singapur, Suècia, Suïssa, Tailàndia, Trinitat
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 262 of 452



i Tobago, Turquia, Uruguai, Veneçuela, Xile, Xina continental, Hong Kong, Taiwan i Xipre.

17. Avís de Microsoft Exchange. La configuració de correu de Microsoft Exchange del Programari iOS
es concedeix sota llicència únicament per a la sincronització remota d’informació, com ara correu
electrònic, contactes, calendaris i tasques, entre el teu iOS i el servidor de Microsoft Exchange o un altre
programari de servidor amb llicència de Microsoft per implementar el protocol ActiveSync de Microsoft
Exchange.

EA1566
21/02/2019

————————————
Termes i condicions addicionals d’Apple Pay

Aquests termes i condicions addicionals d’Apple Pay (aquests «Termes Addicionals») complementen el
contracte de llicència del Programari iOS (la «Llicència»); tant els termes i condicions de llicència com
els presents Termes Addicionals regeixen l’ús que fas de la funció Apple Pay, a la qual es pot fer
referència com a «Servei» en relació amb aquesta Llicència. Els termes en majúscula que figuren en
aquests Termes Addicionals tenen els significats que estableix la Llicència.

1. Visió general i restriccions d’ús

Apple Pay et permet:

    •   Emmagatzemar representacions virtuals de targetes de crèdit, de dèbit i de prepagament,
        incloses targetes de crèdit, dèbit, prepagament de comerços i la targeta d’Apple Pay Cash, que
        siguin compatibles amb la funció Apple Pay («Targetes de Pagament Compatibles»). També et
        permet utilitzar Dispositius iOS compatibles per efectuar pagaments sense contacte en
        determinades ubicacions o pagaments integrats en aplicacions o llocs web;
    •   utilitzar les targetes de punts i de regal desades al Wallet («Targetes Compatibles amb Apple
        Pay», juntament amb les Targetes de Pagament Compatibles, «Targetes Compatibles»), per fer
        transaccions sense contacte amb targetes de punts i de regal en determinades botigues com a
        part del pagament sense contacte amb Apple Pay i
    •   fer pagaments entre usuaris d’Apple Pay.

És possible que la funció Apple Pay del programari iOS només estigui disponible en algunes regions i
amb determinats emissors de targetes, institucions financeres i venedors. Les funcions poden variar en
funció de la regió, emissor i venedor.

Per utilitzar Apple Pay, has de tenir una Targeta Compatible. Les Targetes Compatibles poden canviar
de tant en tant. A més, per fer o rebre pagaments entre usuaris, cal tenir una Targeta Apple Pay Cash.

Les Targetes de Pagament compatibles i els pagaments entre usuaris es vinculen amb l’ID d’Apple amb
el qual has iniciat sessió a l’iCloud per utilitzar aquestes funcions. Les Targetes Compatibles només
estan disponibles per als usuaris majors de 13 anys, i poden estar subjectes a restriccions per edat
addicionals imposades per l’iCloud o la Targeta Compatible que intentes facilitar. La targeta Apple Pay
Cash i la capacitat de fer i rebre pagaments entre usuaris només és disponible per a persones majors de
18 anys.

Apple Pay està destinat a un ús personal i és possible que només puguis facilitar les teves pròpies
Targetes Compatibles. Si facilites una targeta corporativa compatible, declares que ho fas amb
l’autorització de la teva empresa i que estàs autoritzat a sotmetre la teva empresa a aquests termes i
condicions d’ús i a totes les transaccions efectuades mitjançant l’ús d’aquesta funció. Si estàs fent o
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 263 of 452



rebent pagaments entre usuaris, afirmes que ho estàs fent per un ús personal i no comercial.

Acceptes no utilitzar Apple Pay per a finalitats il·legals o fraudulentes ni per a qualsevol altre propòsit
que estigui prohibit per la Llicència i per aquests Termes Addicionals. A més, acceptes fer servir Apple
Pay de conformitat amb les lleis i reglaments aplicables. Acceptes no interferir ni interrompre el servei
Apple Pay (incloent l’accés al servei per qualsevol mitjà automatitzat) ni cap servidor o xarxa que estigui
connectat al servei, així com tampoc cap política, requisit o reglament de les xarxes connectades al
servei (incloent qualsevol accés no autoritzat, ús o monitoratge de dades o trànsit de xarxa).

2. Relació d’Apple amb tu

Apple Pay et permet crear una representació virtual de les teves Targetes Compatibles al teu Dispositiu
iOS compatible. No obstant això, Apple no processarà pagaments ni transaccions amb altres targetes
que no siguin de pagament (com l’acumulació i el bescanvi de punts), rebrà, retindrà o transferirà els
teus fons, ni tindrà cap altre control sobre pagaments, devolucions, reemborsaments, punts, valor,
descomptes o altres activitats comercials que es puguin derivar de l’ús que facis d’aquesta funció.

Els termes i condicions dels contractes de titularitat de targetes que puguis haver subscrit amb l’emissor
de la targeta continuaran regint l’ús que facis de les teves Targetes de Pagament Compatibles i l’ús que
en facis en relació amb Apple Pay. De manera similar, la teva participació en qualsevol programa de
punts o targetes de regal i l’ús que facis de les Targetes Compatibles amb Apple Pay en relació amb
Apple Pay es regiran pels termes i les condicions del comerç.

La Targeta Apple Pay Cash i la capacitat de fer i rebre pagaments entre usuaris només està disponible
als Estats Units, i és un servei proporcionat per Green Dot Bank, membre de l’FDIC. Quan actives
aquestes funcions amb l’Apple Pay, estàs obrint un compte al Green Dot Bank, i quan fas o reps un
pagament entre persones o ingresses o retires diners de la targeta Apple Pay Cash, el Green Dot Bank
serà el responsable de rebre i enviar els teus diners al destinatari. La institució financera responsable
d’oferir l’Apple Pay Cash i els pagaments entre persones fets mitjançant l’Apple Pay està subjecta A
canvis, i l’ús que facis d’aquestes funcions està subjecte als seus termes i condicions.

Cap disposició de la Llicència o d’aquests Termes Addicionals modifica els termes i condicions de
qualsevol contracte de titularitat de targetes, d’usuari o comercial que puguis haver subscrit, i aquests
termes i condicions regiran l’ús que facis de la Targeta Compatible corresponent, de la funció de
pagament entre usuaris d’Apple Pay i de la seva representació virtual existent al teu Dispositiu iOS.
Acceptes que Apple no és part en els teus contractes de titularitat de targetes o comercials, ni
responsable de: (a) el contingut, exactitud o manca de disponibilitat de qualsevol targeta de pagament,
de punts, de regal, d’activitat comercial, de transacció o compra durant l’ús de la funció Apple Pay; (b)
l’emissió de crèdit o de l’avaluació dels requisits per rebre crèdit; (c) l’acumulació i el bescanvi de punts
o valor acumulat com a part del programa d’un comerç; (d) la provisió de fons o recàrrega de targetes
de prepagament; (e) fer o rebre pagaments entre usuaris o (f) carregar, bescanviar o retirar diners de la
teva targeta Apple Pay Cash.

Per a qualsevol disputa o dubte sobre targetes de pagament, de punts o de regal o l’activitat comercial
associada, posa’t en contacte amb l’emissor o el venedor corresponent. Si tens dubtes sobre la targeta
Apple Pay Cash o els pagaments entre usuaris, posa’t en contacte amb l’Apple Support.

3. Privadesa

Apple Pay sol·licita certa informació del teu Dispositiu iOS per oferir-te el millor servei. D’altra banda,
quan utilitzes la targeta Apple Pay Cash o fas o reps pagaments entre usuaris, es recopila i es reté
informació addicional sobre les teves transaccions per poder prestar el servei, per prevenir el frau i per a
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 264 of 452



finalitats normatives. Per obtenir més informació sobre les dades que es recopilen, s’utilitzen o es
comparteixen en relació amb l’ús que fas d’Apple Pay, la targeta d’Apple Pay Cash o els pagaments
entre usuaris mitjançant l’Apple Pay, llegeix l’article «Sobre l’Apple Pay i la privadesa» (accessible a
l’apartat “Wallet i Apple Pay” de l’aplicació Watch d’un dispositiu iOS enllaçat) o vés a https://
www.apple.com/privacy/. Fent servir aquestes funcions, acceptes i consents que Apple, les seves filials
i els seus agents puguin transmetre, recopilar, mantenir, processar i utilitzar tota la informació anterior,
per proporcionar-te la funcionalitat Apple Pay.

4. Seguretat; dispositius perduts o desactivats

Apple Pay emmagatzema representacions virtuals de les teves Targetes Compatibles i l’has de protegir
tal com faries amb les targetes moneder, de crèdit, dèbit, de prepagament, de punts o de regal físiques.
Si proporciones la contrasenya del teu dispositiu a un tercer o permets a un tercer afegir la seva
empremta digital per utilitzar el Touch ID o activar el Face ID, aquest pot arribar a efectuar pagaments,
fer, sol·licitar o rebre pagaments entre usuaris, retirar diners de la teva targeta Apple Pay Cash o rebre o
reemborsar recompenses o crèdit utilitzant Apple Pay al teu dispositiu. Ets l’únic responsable de
mantenir la seguretat del teu dispositiu i de la teva contrasenya. Acceptes que Apple queda exempt de
responsabilitat si perds o comparteixes l’accés al teu dispositiu. Acceptes que Apple queda exempt de
responsabilitat si fas modificacions no autoritzades a l’iOS (per exemple, mitjançant un «jailbreak»).

És possible que hagis d’activar mesures de seguretat addicionals a l’Apple ID, com ara l’autenticació de
dos factors, per accedir a funcions particulars de l’Apple Pay, inclosa la targeta d’Apple Pay Cash i els
pagaments entre usuaris amb l’Apple Pay. Si més endavant elimines aquestes mesures de seguretat, és
possible que no puguis seguir accedint a determinades funcions de l’Apple Pay.

Si el teu dispositiu es perd o és robat i havies activat la funció «Buscar l’iPhone», pots utilitzar aquesta
funció per intentar suspendre la funció de pagar amb les Targetes de Pagament Compatibles virtuals o
fer pagaments entre usuaris mitjançant el dispositiu posant-lo en el «Mode Perdut». També pots
esborrar el dispositiu, que intentarà suspendre la funció de pagar amb les Targetes de Pagament
Compatibles virtuals o fer pagaments entre usuaris mitjançant el dispositiu i també intentarà eliminar les
Targetes Compatibles amb Apple Pay. També t’has de posar en contacte amb l’emissor de les teves
Targetes de Pagament Compatibles, amb qui va emetre les teves Targetes Compatibles amb Apple Pay
i amb Apple si tens una targeta d’Apple Pay Cash per tal d’evitar un accés no autoritzat a les teves
Targetes Compatibles.

Si comuniques una activitat fraudulenta o impròpia o Apple té sospita que s’ha produït una activitat
d’aquesta mena, acceptes cooperar amb Apple en qualsevol investigació i aplicar les mesures de
prevenció del frau que indiquem.

5. Limitació de la responsabilitat

A MÉS DE LES EXCLUSIONS DE GARANTIES I DE LA LIMITACIÓ DE LA RESPONSABILITAT QUE
S’ESTABLEIXEN EN AQUESTA LLICÈNCIA, APPLE NO ASSUMEIX CAP RESPONSABILITAT PER LES
COMPRES, PAGAMENTS, TRANSACCIONS O ALTRES ACTIVITATS COMERCIALS QUE ES DUGUIN A
TERME UTILITZANT LA FUNCIÓ APPLE PAY; AIXÍ MATEIX, ACCEPTES RECÓRRER EXCLUSIVAMENT
ALS CONTRACTES QUE PUGUIS HAVER SUBSCRIT AMB EL TEU EMISSOR DE TARGETES, LA
XARXA DE PAGAMENT, INSTITUCIONS FINANCERES O EL VENEDOR PER RESOLDRE QUALSEVOL
DUBTE O LITIGI RELATIU A LES TEVES TARGETES COMPATIBLES, ELS PAGAMENTS ENTRE
USUARIS I A L’ACTIVITAT COMERCIAL ASSOCIADA.

————————————
NOTIFICACIONS D’APPLE
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 265 of 452



Si Apple necessita contactar-te en relació amb el teu producte o compte, consents rebre les
notificacions corresponents per correu electrònic. Acceptes que totes les notificacions d’aquest tipus
que Apple t’enviï electrònicament satisfaran tots els requisits legals sobre comunicacions.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 266 of 452



HRVATSKI

VAŽNO: KORIŠTENJEM SVOJEG iPHONE, iPAD ili iPOD TOUCH (“iOS UREĐAJ”) UREĐAJA,
PRISTAJETE SE PRIDRŽAVATI SLJEDEĆIH ODREDBI:

A.   SPORAZUM O LICENCIRANJU APPLE iOS SOFTVERA
B.   APPLE PAY DODATNE ODREDBE
C.   OBAVIJESTI TVRTKE APPLE

APPLE INC.
SPORAZUM O LICENCIRANJU iOS SOFTVERA
Licenca za jednokratnu uporabu

PAŽLJIVO PROČITAJTE OVAJ SPORAZUM O LICENCIRANJU SOFTVERA (“LICENCU”) PRIJE
KORIŠTENJA iOS UREĐAJA ILI PREUZIMANJA NADOGRADNJE SOFTVERA KOJI JE
OBUHVAĆEN OVOM LICENCOM. KORIŠTENJEM SVOJEG iOS UREĐAJA ILI PREUZIMANJEM
NADOGRADNJE SOFTVERA, KAKO JE NAVEDENO, PRISTAJETE OBVEZATI SE NA
PRIDRŽAVANJE ODREDABA OVE LICENCE. AKO SE NE SLAŽETE S ODREDBAMA OVE LICENCE,
NEMOJTE KORISTITI iOS UREĐAJ NI PREUZIMATI IKAKVE NADOGRADNJE SOFTVERA.

AKO STE NEDAVNO KUPILI iOS UREĐAJ I AKO SE NE SLAŽETE S ODREDBAMA LICENCE,
MOŽETE VRATITI iOS UREĐAJ TIJEKOM PERIODA POVRATA U APPLE TRGOVINU ILI
OVLAŠTENOM DISTRIBUTERU OD KOJEGA STE KUPILI UREĐAJ UZ POVRAT NOVCA,
PODLOŽNO POLITICI VRAĆANJA PROIZVODA KOJU MOŽETE PRONAĆI NA https://
www.apple.com/legal/sales_support/.

1. Općenito.
(a) Softver (uključujući Boot ROM kôd, ugrađeni softver i softver drugih proizvođača), dokumentacija,
sučelja, sadržaj, fontovi i bilo koji podaci koji dolaze uz vaš iOS uređaj (“Originalni iOS softver”), koji
mogu biti nadograđeni ili zamijenjeni poboljšanim značajkama, nadogradnjom softvera ili softverom za
obnavljanje sustava koje osigurava tvrtka Apple (“iOS nadogradnje softvera”), bilo u memoriji samo za
očitavanje, na bilo kojem drugom mediju ili u bilo kojem drugom obliku (Originalni iOS softver i iOS
nadogradnje softvera zajedno se nazivaju “iOS softver”), nisu vam prodani, već ih vam je tvrtka Apple
Inc. (“Apple”) ustupila na uporabu isključivo prema odredbama ove Licence. Apple i ovlaštenici tvrtke
Apple zadržavaju pravo vlasništva nad samim iOS softverom i zadržavaju sva prava koja vam izričito nisu
odobrena. Suglasni ste s tim da će se odredbe ove Licence primjenjivati na svaku aplikaciju marke Apple
koja je ugrađena u vaš iOS uređaj, osim ako je toj aplikaciji dodijeljena zasebna licenca te ste suglasni da
u tom slučaju odredbe te licence reguliraju uporabu te aplikacije.

(b) Apple vam po vlastitom nahođenju može omogućiti buduće iOS nadogradnje softvera. iOS
nadogradnje softvera, ako postoje, ne moraju nužno uključivati sve postojeće značajke softvera ili nove
značajke koje Apple izdaje za novije ili druge modele iOS uređaja. Odredbe ove licence vrijedit će za sve
iOS nadogradnje softvera koje osigurava tvrtka Apple, osim ako je takvom ažuriranju iOS softvera
dodijeljena zasebna licenca te ste suglasni da će u tom slučaju vrijediti odredbe te licence.

(c) Ako za podešavanje novog iOS uređaja koristite značajku ekspresnog podešavanja baziranog na
postojećem iOS uređaju, slažete se da se odredbe ove Licence primjenjuju na uporabu iOS softvera na
vašem novom iOS uređaju, osim ako nije popraćen zasebnom licencom, u kojem slučaju ste suglasni da
uporabu tog iOS softvera reguliraju odredbe te licence. Vaš će iOS uređaj periodično putem tvrtke Apple
tražiti nadogradnje za iOS softver. Ako je nadogradnja dostupna, ta nadogradnja bi se mogla automatski
preuzeti i instalirati na vaš iOS uređaj i, ako je primjenjivo, na periferne uređaje. Uporabom softvera
tvrtke Apple slažete se da Apple može preuzeti i automatski instalirati iOS nadogradnju softvera
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 267 of 452



na vaš iOS uređaj i periferne uređaje. Možete u potpunosti isključiti sve automatske nadogradnje u
bilo kojem trenutku tako da promijenite postavke za automatske nadogradnje u Postavke > Općenito >
Nadogradnja softvera.

2. Dozvoljene uporabe Licence i ograničenja.
(a) Podložno odredbama i uvjetima ove Licence, omogućena vam je ograničena, neisključiva licenca za
uporabu iOS softvera na jednom iOS uređaju marke Apple. Osim kako je dozvoljeno u Odjeljku 2(b) u
nastavku, te ako nije drukčije određeno zasebnim ugovorom između vas i tvrtke Apple, ova Licenca ne
dopušta istovremeno postojanje iOS softvera na više od jednog iOS uređaja marke Apple i ne smijete
distribuirati ili omogućavati distribuciju iOS softvera putem mreže gdje bi se mogao koristiti na više
uređaja istovremeno. Ova Licenca vam ne dodjeljuje nikakva prava na uporabu Apple vlasničkih sučelja i
drugog intelektualnog vlasništva za potrebe dizajna, razvoja, proizvodnje, odobravanja ili distribucije
uređaja i pribora drugih proizvođača, ili softverskih aplikacija drugih proizvođača, koji su namijenjeni
korištenju uz iOS uređaje. Neka od tih prava dostupna su prema zasebnim licencama tvrtke Apple. Za
dodatne informacije o razvoju uređaja i pribora drugih proizvođača za uporabu uz iOS uređaje posjetite
https://developer.apple.com/programs/mfi/. Za dodatne informacije o razvoju softverskih aplikacija za
iOS uređaje posjetite https://developer.apple.com.

(b) Podložno odredbama i uvjetima ove Licence, omogućena vam je ograničena, neisključiva licenca za
preuzimanje iOS nadogradnji softvera koje tvrtka Apple može ustupiti za vaš model iOS uređaja, kako
biste nadogradili ili obnovili softver na svakom takvom iOS uređaju koji posjedujete ili kojim upravljate.
Ova vam Licenca ne dopušta nadogradnju ili obnavljanje iOS uređaja koji ne posjedujete ili kontrolirate i
ne smijete distribuirati ni omogućavati distribuciju iOS nadogradnji softvera putem mreže gdje bi se
mogao koristiti na više uređaja ili računala istovremeno. Preuzmete li nadogradnju iOS softvera na svoje
računalo, smijete izraditi jednu kopiju iOS nadogradnje softvera te je pohraniti na računalo u strojno
čitljivom obliku isključivo iz sigurnosnih razloga, a sigurnosna kopija treba sadržavati sve obavijesti o
autorskim i ostalim vlasničkim pravima koje se nalaze i na originalu.

(c) U onom opsegu u kojem je Apple unaprijed instalirao aplikacije marke Apple iz trgovine App Store na
vaš iOS uređaj u trenutku kupnje (“Unaprijed instalirane aplikacije”), trebat ćete se prijaviti u trgovinu App
Store i povezati te unaprijed instalirane aplikacije sa svojim App Store računom kako biste ih mogli
upotrebljavati na svojemu iOS uređaju. Kad povežete unaprijed instaliranu aplikaciju sa svojim App Store
računom, istovremeno ćete automatski povezati sve ostale unaprijed instalirane aplikacije na svojemu
iOS uređaju. Kad odaberete povezati Unaprijed povezane aplikacije sa svojim App Store računom,
suglasni ste s tim da tvrtka Apple može odašiljati, prikupljati, čuvati, obrađivati i upotrebljavati Apple ID
kojim se koristi vaš App Store račun, ali i jedinstvene identifikatore hardvera koji su prikupljeni s vašeg
iOS uređaja kao jedinstvene identifikatore računa za potrebe provjere podobnosti vašeg zahtjeva i
osiguranja pristupa Unaprijed instaliranim aplikacijama putem trgovine App Store. Ako ne želite
upotrebljavati unaprijed instaliranu aplikaciju, možete je u bilo kojem trenutku obrisati sa svog iOS
uređaja.

(d) Ne smijete i suglasni ste da nećete umnožavati (osim kako je izričito dozvoljeno ovom Licencom),
rastavljati, obavljati obrnuti inženjering, rasklapati, pokušati izvlačiti izvorni kôd, dešifrirati, preinačiti ili
izrađivati inačice na temelju iOS softvera ili bilo kojih usluga koje nudi iOS softver ili bilo koji njegov dio
(osim i samo do opsega do kojeg je unaprijed utvrđeno ograničenje zabranjeno primjenjivim zakonskim
propisima ili propisima odobrenja kojima je utvrđena uporaba open-source dijelova uključenih u iOS
softver) niti omogućavati drugima da čine isto.

(e) iOS softver smije se koristiti za reprodukciju materijala sve dok je ta uporaba ograničena na
reprodukciju materijala koji nisu zaštićeni autorskim pravom, materijala čija autorska prava posjedujete ili
materijala za čiju reprodukciju ste ovlašteni ili vam je zakonski dopuštena. Naslov i prava na intelektualno
vlasništvo u i na bilo koji sadržaj koji se prikazuje, pohranjuje ili mu se pristupa pomoću iOS uređaja
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 268 of 452



pripadaju vlasnicima sadržaja. Takav sadržaj može biti zaštićen autorskim pravima ili drugim zakonima i
ugovorima o intelektualnom vlasništvu te može biti podložan uvjetima upotrebe drugih osoba koje nude
takav sadržaj. Osim ako nije drukčije propisano u ovom dokumentu, ova Licenca ne dodjeljuje vam
pravo na uporabu tih sadržaja niti vam jamči daljnju dostupnost tih sadržaja.

(f) Podložno uvjetima i pravilima ove Licence, možete koristiti znakove animojija i emojija koji dolaze s
iOS softverom ili se izrađuju njime (“Znakovi sustava”) (i) dok je iOS softver pokrenut i (ii) za izradu
vlastitog originalnog sadržaja i projekata za osobnu, nekomercijalnu uporabu. U sklopu ove Licence nije
dozvoljena niti jedna druga uporaba Znakova sustava, uključujući, ali nije ograničeno na, reprodukciju,
prikazivanje, učinkovitost, snimanje, objavu ili ponovnu distribuciju bilo kojeg od Znakova sustava u
profitnom, neprofitnom i komercijalnom kontekstu ili kontekstu javnog dijeljenja.

(g) Slažete se da ćete koristiti iOS softver i usluge (kako je definirano u odjeljku 5 u nastavku) u skladu sa
svim primjenjivim zakonima, uključujući i lokalne zakone zemlje ili regije u kojoj prebivate ili u kojoj
preuzimate ili koristite iOS softver i usluge. Značajke iOS softvera i usluga možda nisu dostupne na svim
jezicima ili u svim regijama, neke značajke mogu biti različite ovisno o regiji, a neke mogu biti ograničene
ili nedostupne s vašeg pružatelja usluga. Wi-Fi ili mobilna podatkovna mreža potrebni su za neke
značajke iOS softvera i usluga.

(h) Uporaba trgovine App Store zahtijeva jedinstvenu kombinaciju korisničkog imena i lozinke, poznatu
kao Apple ID. Apple ID također je potreban za pristup ažuriranjima aplikacija i određenim značajkama
iOS softvera i usluga.

(i) Prihvaćate da mnoge značajke, ugrađene aplikacije i Usluge iOS softvera odašilju podatke te mogu
utjecati na troškove vašeg podatkovnog prometa i da ste vi odgovorni za sve takve troškove. Možete
pregledavati i kontrolirati koje aplikacije mogu koristiti mobilne podatke te u postavkama mobilnih
podataka pregledati i procijeniti koliko su podataka takve aplikacije upotrijebile. Osim toga, značajka
Pomoć za Wi-Fi će automatski prebaciti na mobilne podatke kad imate slabiju Wi-Fi vezu, što može
prouzrokovati veću uporabu mobilnih podataka te može utjecati na troškove vašeg podatkovnog
prometa. Pomoć za Wi-Fi je uključena standardno, ali se može onemogućiti u Postavkama. Za više
informacija pogledajte upute za uporabu svog iOS uređaja.

(j) Ako odaberete omogućiti automatsku nadogradnju aplikacija, vaš će iOS uređaj periodično putem
tvrtke Apple tražiti ažuriranje za aplikacije na vašem uređaju, a u slučaju da je ono dostupno, automatski
će biti preuzeto i instalirano na vaš uređaj. Možete u potpunosti isključiti automatsko ažuriranje aplikacija
u bilo kojem trenutku tako što ćete otvoriti Postavke, dodirnuti iTunes i App Store, te pod opcijom
Automatska preuzimanja isključiti Ažuriranja.

(k) Uporaba vašeg iOS uređaja može vas ometati u nekim okolnostima i može uzrokovati opasne
situacije (primjerice, izbjegavajte tipkanje poruka kad vozite automobil ili korištenje slušalica kad vozite
bicikl). Uporabom svog iOS uređaja, slažete se da ste odgovorni za poštivanje pravila koja zabranjuju ili
ograničavaju uporabu mobilnih telefona ili slušalica (primjerice, preporuka za uporabu hands-free opcija
za uspostavljanje poziva prilikom vožnje).

3. Prijenos. Ne smijete unajmljivati, iznajmljivati, posuđivati, prodavati, distribuirati ili licencirati uporabu
iOS softvera. Međutim, možete provesti jednokratni trajni prijenos svih svojih prava na iOS softver na
drugu osobu povezanu s prijenosom vlasništva vašeg iOS uređaja, pod uvjetima: (a) prijenos treba
uključivati vaš iOS uređaj i sav iOS softver, uključujući sve dijelove i ovu Licencu; (b) ne smijete zadržati
nikakve kopije iOS softvera, cjelovite ili u dijelovima, uključujući kopije pohranjene na računalu ili drugom
uređaju za pohranu; i (c) osoba koja prima iOS softver treba pročitati i složiti se oko prihvaćanja odredbi i
uvjeta navedenih u ovoj Licenci.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 269 of 452



4. Pristanak na korištenje podataka. Kad koristite svoj uređaj, vaš telefonski broj i određeni jedinstveni
identifikatori vašeg iOS uređaja šalju se tvrtki Apple kako bi vas drugi korisnici mogli kontaktirati pomoću
vašeg telefonskog broja prilikom uporabe raznih komunikacijskih značajki iOS softvera, kao što su
iMessage i FaceTime. Kad koristite iMessage, Apple može zadržati vaše poruke u kriptiranom obliku na
ograničeni vremenski period kako bi osigurao njihovu isporuku. Možete isključiti FaceTime ili iMessage u
postavkama aplikacije FaceTime ili Poruka na svom iOS uređaju. Određene značajke poput Analize,
Lokacijskih usluga, Siri i Diktata mogu zahtijevati informacije s vašeg iOS uređaja kako bi pružale svoje
odgovarajuće funkcije. Kad uključite ili koristite neku od tih značajki, dobit ćete detalje o tome koje se
informacije šalju tvrtki Apple i kako se te informacije mogu koristiti. Možete saznati više tako da posjetite
https://www.apple.com/privacy/. Vašim informacijama će se u svakom trenutku baratati u skladu s
Appleovim pravilima privatnosti, koja možete pročitati na https://www.apple.com/legal/privacy/.

5. Usluge i materijali drugih tvrtki.
(a) iOS softver može omogućiti pristup Appleovim aplikacijama iTunes Store, App Store, Apple Books,
Game Center, iCloud, Karte i ostalim uslugama i internetskim stranicama tvrtke Apple i drugih tvrtki
(zajednički i pojedinačno “Usluge”). Takve Usluge možda neće biti dostupne na svim jezicima ili u svim
zemljama. Uporaba tih Usluga zahtijeva pristup internetu, a uporaba određenih Usluga može zahtijevati
Apple ID, može zahtijevati od vas prihvaćanje dodatnih odredbi i može se dodatno naplaćivati.
Upotrebom ovog softvera zajedno s Apple ID računom ili drugom uslugom tvrtke Apple, pristajete na
primjenjive uvjete korištenja te Usluge, poput npr. najnovijih odredbi i uvjeta za Appleove medijske
usluge za zemlju u kojoj pristupate tim uslugama, koji su dostupni za pregled na https://www.apple.com/
legal/internet-services/itunes.

(b) Prijavite li se za iCloud, nekim iCloud značajkama kao što su “iCloud fotografije”, “Moj Photo
Stream”, “Dijeljeni albumi”, “Sigurnosna kopija” i “Pronađi moj iPhone” možete pristupati izravno iz iOS
softvera. Primate na znanje i slažete se s tim da je vaše korištenje iClouda i tih značajki podložno
najnovijim odredbama i uvjetima usluge iCloud koji su dostupni za pregled na: https://www.apple.com/
legal/internet-services/icloud/.

(c) Sadržaj aplikacije News. Vaša uporaba sadržaja kojima pristupate putem aplikacije News ograničena
je isključivo na osobnu, nekomercijalnu uporabu, ne prenosi vam nikakvi vlasnički udio nad sadržajem i
izričito isključuje, bez ograničenja, pravo na bilo kakvu komercijalnu ili promotivnu uporabu takvog
sadržaja. Osim toga, zabranjeno vam je ponovno objavljivanje, ponovno odašiljanje i reproduciranje bilo
koje slike kojoj ste pristupili putem aplikacije News kao samostalne datoteke.

(d) Karte. Usluge i značajka karata iOS softvera (“Karte”), uključujući pokrivenost podataka o karti, može
se razlikovati ovisno o regiji. Pri korištenju bilo kojih značajki koje se temelje na lokaciji unutar usluge
Karte, npr. navigacija skretanje po skretanje, praćenje prometa ili pretraživanje lokacija, tvrtki Apple
mogu se slati različite informacije, uključujući geografsku lokaciju vašeg iOS uređaja u stvarnom
vremenu, kako bi se obradio vaš zahtjev i poboljšala usluga Karte. Apple prikuplja takve podatke o
lokaciji i uporabi u obliku koji vas osobno ne identificira. Korištenjem usluge Karte slažete se i
pristajete na to da tvrtka Apple, njene podružnice i agenti odašilju, prikupljaju, održavaju,
obrađuju i upotrebljavaju ove informacije, kako bi omogućili i poboljšali značajke i usluge za Karte
te druge proizvode i usluge tvrtke Apple. Apple također može takve informacije pružati ili u skupnom
obliku ili obliku u kojem nije moguća osobna identifikacija svojim partnerima i korisnicima licence da bi
se pomoglo poboljšati njihove proizvode i usluge koji se temelje na lokaciji. Možete isključiti funkcije
usluge Karte koje se zasnivaju na lokaciji tako da otvorite postavku Lokacijske usluge na svojem iOS
uređaju i isključite pojedinačne lokacijske postavke za Karte. Međutim, određene značajke usluge Karte
bit će nedostupne ako isključite postavku Lokacijske usluge, primjerice navigaciju skretanje po skretanje.

(e) Shvaćate da upotrebom bilo kojih Usluga možete naići na sadržaj koji je uvredljiv, nepristojan ili
nepoželjan, čiji sadržaj može i ne mora uključivati eksplicitan jezik i da rezultati bilo koje pretrage ili unos
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 270 of 452



određene URL adrese mogu automatski i nenamjerno učitati linkove ili reference na neprihvatljiv
materijal. Usprkos navedenom, suglasni ste s tim da Usluge upotrebljavate na vlastiti rizik i da tvrtka
Apple, njene podružnice, agenti, opunomoćitelji ili ovlaštenici ne snose odgovornost prema vama za
sadržaj koji je možda uvredljiv, nepristojan ili neprihvatljiv.

(f) Određene Usluge mogu prikazivati, uključivati ili učiniti dostupnim sadržaje, podatke, informacije,
aplikacije ili materijale drugih tvrtki (“Materijali drugih tvrtki”) ili nuditi linkove na određene internetske
stranice drugih tvrtki. Upotrebom tih usluga potvrđujete i slažete se da tvrtka Apple nije odgovorna za
pregled i evaluaciju sadržaja, kao ni za točnost, potpunost, pravovremenost, valjanost, usklađenost s
autorskim pravima, zakonitost, pristojnost, kvalitetu ili bilo koji drugi aspekt takvih materijala drugih tvrtki
ili internetskih stranica. Tvrtka Apple, njeni djelatnici, udruženja i podružnice ne jamče niti potvrđuju i ne
prihvaćaju i neće snositi nikakve obveze ni odgovornosti prema vama ili bilo kojoj drugoj osobi za bilo
kakve usluge, materijale ili internetske stranice trećih strana ili bilo koje druge materijale, proizvode ili
usluge drugih tvrtki. Materijali drugih tvrtki i linkovi na druge internetske stranice pruženi su vam
isključivo iz usluge.

(g) Ni tvrtka Apple ni bilo koji od njenih pružatelja sadržaja ne jamče dostupnost, točnost, potpunost,
čitljivost ili pravovremenost informacija o dionicama, lokacijskih podataka i bilo kojih drugih podataka
koje prikazuje bilo koja Usluga. Financijske informacije koje prikazuje bilo koja usluga služe samo za
općenitu informiranost i na njih se ne treba oslanjati kao na savjet za ulaganje. Prije provođenja bilo
kakvih sigurnosnih transakcija koje se temelje na informacijama pruženim putem usluga, trebali biste se
konzultirati sa stručnjakom za financije ili sigurnost koji je kvalificiran za pružanje financijskih ili
sigurnosnih savjeta u vašoj zemlji ili regiji. Podaci o lokaciji koje su pružile bilo koje usluge, uključujući
uslugu Apple Karte, služe samo za osnovne svrhe navigacije i planiranja te se na njih ne treba oslanjati u
situacijama u kojima su potrebne precizne informacije o lokaciji ili u kojima pogrešni, netočni,
nepravovremeni ili nepotpuni podaci o lokaciji mogu dovesti do smrti, ozljeđivanja ljudi, materijalne štete
ili zagađenja okoliša. Suglasni ste da se rezultati koje primite od usluge Karte mogu razlikovati od
stvarnih uvjeta na cesti ili terenu zbog čimbenika koji mogu utjecati na točnost podataka usluge Karte,
primjerice vremena, uvjeta na cesti i prometu, geopolitičkih događaja itd. Radi vlastite sigurnosti, pri
korištenju navigacije uvijek pratite postavljene znakove na cesti i tekuće stanje u prometu. Pridržavajte
se pravila sigurne vožnje i prometnih propisa te obratite pozornost da pješački pravci ne moraju
uključivati pločnike ili pješačke prijelaze.

(h) U mjeri u kojoj šaljete sadržaje upotrebom Usluga, dajete do znanja da imate sva prava ili da imate
odobrenje ili kakvo dugo zakonsko dopuštenje za postavljanje takvog sadržaja te da takav sadržaj ne
krši uvjete pružanja usluge koji se primjenjuju na Usluge. Suglasni ste s tim da Usluge sadrže vlasnički
sadržaj, informacije i materijale koji su u vlasništvu tvrtke Apple, vlasnika stranice ili njihovih ovlaštenika,
te da su zaštićeni primjenjivim zakonskim propisima o intelektualnom vlasništvu i ostalim zakonima,
uključujući između ostalog autorsko pravo. Suglasni ste s tim da ne smijete koristiti takav vlasnički
sadržaj, informacije ili materijale na bilo koji drugi način osim dozvoljene uporabe usluga ili na bilo koji
način koji nije dosljedan s uvjetima ove Licence ili koji povređuje bilo koja prava na intelektualno
vlasništvo treće strane ili tvrtke Apple. Niti jedan dio Usluga ne smije se reproducirati u bilo kojem obliku
i ni na koji način. Suglasni ste da nećete preinačiti, iznajmljivati, unajmljivati, posuđivati, prodavati,
distribuirati ili izrađivati prerađevine bazirane na uslugama na bilo koji način i da nećete ni na koji
neovlašteni način iskorištavati usluge, uključujući između ostalog uporabu usluga za prijenos bilo kakvih
računalnih virusa, crva, trojanskih konja ili drugog zloćudnog softvera ili za prijestupe ili opterećenje
kapaciteta mreže. Suglasni ste i da nećete upotrebljavati usluge na bilo koji način za uznemiravanje,
zlostavljanje, uhođenje, prijetnju, klevetanje ili drugu povredu ili kršenje prava bilo koje osobe te da tvrtka
Apple nije ni na koji način odgovorna za bilo koju vašu takvu uporabu, ni za bilo kakve uznemiravajuće,
prijeteće, klevetničke, uvredljive ili ilegalne poruke ili prijenose koje možete primiti uslijed upotrebe bilo
koje usluge.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 271 of 452



(i) Nadalje, usluge i materijali drugih tvrtki kojima se može pristupiti, te koji mogu biti prikazani ili
povezani putem iOS uređaja nisu dostupni na svim jezicima ni u svim državama ili regijama. Apple ne
tvrdi da su te usluge i materijali drugih tvrtki prikladni ili dostupni za upotrebu na bilo kojoj lokaciji. U
mjeri u kojoj odaberete koristiti ili pristupati takvim uslugama i materijalima drugih tvrtki, to činite na
vlastitu inicijativu i odgovorni ste za poštovanje svih primjenjivih zakona, uključujući između ostalog
lokalne zakone te zakone o privatnosti i prikupljanju podataka. Dijeljenje ili sinkronizacija fotografija
putem iOS uređaja može uzrokovati odašiljanje metapodataka, uključujući mjesto i vrijeme snimanja
fotografije i informacije o dubini. Uporabom Appleovih usluga (kao što je iCloud fotoalbum) za dijeljenje ili
sinkroniziranje takvih fotografija tvrtki Apple omogućava se primanje i pohrana takvih metapodataka.
Tvrtka Apple i njeni ovlaštenici zadržavaju pravo na izmjenu, prekid, uklanjanje ili onemogućavanje
pristupa bilo kojim uslugama u bilo koje vrijeme bez prethodne najave. Tvrtka Apple ni u kakvom slučaju
neće biti odgovorna za uklanjanje ili onemogućavanje pristupa bilo kojim takvim uslugama. Apple
također može nametnuti ograničenja na upotrebu ili pristup određenim uslugama, u bilo kojem slučaju i
bez najave ili odgovornosti.

6. Poništenje. Ova Licenca je na snazi do poništenja. Vaša prava prema ovoj Licenci automatski će biti
poništena bez najave tvrtke Apple ako se ne pridržavate bilo koje/kojih odredbi ove Licence. Uslijed
poništenja ove Licence prestajete s uporabom iOS softvera. Odjeljci 4, 5, 6, 7, 8, 9, 12 i 13 ove Licence
ostaju na snazi i nakon takvog poništenja.

7. Odricanje od jamstava.
7.1 Ako ste korisnik koji je potrošač (netko tko koristi iOS softver izvan područja trgovine, poslovanja
ili profesije), možda posjedujete zakonska prava u svojoj zemlji prebivališta koja sprječavaju da se
sljedeća ograničenja primijene na vas i ondje gdje su zabranjena, ona se ne primjenjuju na vas. Za
dodatne informacije o vašim pravima obratite se lokalnoj organizaciji za prava potrošača.

7.2 IZRIČITO POTVRĐUJETE I SUGLASNI STE DA, DO OPSEGA DOZVOLJENOG VAŽEĆIM
ZAKONOM, NA VLASTITI RIZIK UPOTREBLJAVATE iOS SOFTVER I BILO KOJE USLUGE KOJE SE
IZVODE ILI IM SE PRISTUPA PUTEM iOS SOFTVERA TE DA SNOSITE CJELOKUPNI RIZIK GLEDE
ZADOVOLJAVAJUĆE KVALITETE, UČINKOVITOSTI, TOČNOSTI I NASTOJANJA.

7.3 DO NAJVEĆE MJERE KOJA JE DOPUŠTENA PRIMJENJIVIM ZAKONOM, iOS SOFTVER I
USLUGE OMOGUĆENE SU “KAKVE JESU” I “KAO DOSTUPNE”, SA SVIM NEDOSTACIMA I BEZ
JAMSTAVA IKAKVE VRSTE TE SE TVRTKA APPLE I NJENI OVLAŠTENICI (ZAJEDNIČKOG NAZIVA
“APPLE” ZA POTREBE ODJELJAKA 7 I 8) OVIME ODRIČU SVIH JAMSTAVA I UVJETA U ODNOSU NA
iOS SOFTVER I USLUGE, BILO IZRAŽENIH, IMPLICIRANIH ILI ZAKONSKIH, UKLJUČUJUĆI IZMEĐU
OSTALOG IMPLICIRANA JAMSTVA I/ILI UVJETE PRODAJE, ZADOVOLJAVAJUĆU KVALITETU,
PRIKLADNOST ZA ODREĐENU SVRHU, TOČNOST, TIHO UŽIVANJE I NEPOVREDIVOST PRAVA
DRUGIH STRANA.

7.4 APPLE NE JAMČI ZA NEPOSTOJANJE OMETANJA VAŠEG UŽIVANJA U iOS SOFTVERU I
USLUGAMA, NITI JAMČI DA ĆE SADRŽANE FUNKCIJE ILI USLUGE KOJE IZVODI ILI PRUŽA iOS
SOFTVER BITI U SKLADU S VAŠIM ZAHTJEVIMA, DA ĆE RAD iOS SOFTVERA I USLUGA BITI
NEOMETAN ILI BEZ POGREŠAKA, DA ĆE BILO KOJA USLUGA I DALJE BITI DOSTUPNA, DA ĆE
GREŠKE U iOS SOFTVERU ILI USLUGAMA BITI ISPRAVLJENE, NITI DA ĆE iOS SOFTVER BITI
KOMPATIBILAN ILI DA ĆE RADITI S BILO KOJIM SOFTVEROM, APLIKACIJAMA ILI USLUGAMA
DRUGIH PROIZVOĐAČA. INSTALACIJA OVOG iOS SOFTVERA MOŽE UTJECATI NA DOSTUPNOST I
UPOTREBLJIVOST SOFTVERA, APLIKACIJA ILI USLUGA DRUGIH PROIZVOĐAČA, KAO I APPLE
PROIZVODA I USLUGA.

7.5 NADALJE, POTVRĐUJETE DA iOS SOFTVER I USLUGE NISU NAMIJENJENI ILI PRIKLADNI ZA
UPORABU U SITUACIJAMA ILI OKRUŽENJIMA GDJE KVAR ILI NEPRAVOVREMENOST, POGREŠKE ILI
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 272 of 452



NETOČNOSTI U SADRŽAJU, PODACIMA ILI INFORMACIJAMA KOJE OMOGUĆUJE iOS SOFTVER ILI
USLUGE MOGU DOVESTI DO SMRTI, OZLJEĐIVANJA LJUDI, VELIKE MATERIJALNE ŠTETE ILI
ONEČIŠĆENJA OKOLIŠA, UKLJUČUJUĆI IZMEĐU OSTALOG RAD NUKLEARNIH POSTROJENJA,
NAVIGACIJU ZRAKOPLOVA ILI KOMUNIKACIJSKE SUSTAVE, KONTROLU ZRAČNOG PROMETA,
ODRŽAVANJE ŽIVOTA ILI SUSTAVA NAORUŽANJA.

7.6 NIKAKVA USMENA ILI PISANA INFORMACIJA ILI SAVJET KOJI PRUŽI TVRTKA APPLE ILI NJEN
OVLAŠTENI PREDSTAVNIK NE PREDSTAVLJA JAMSTVO. AKO SE POKAŽE DA SU iOS SOFTVER ILI
USLUGE NEISPRAVNE, PREUZIMATE CIJELI IZNOS CIJENE SVIH POTREBNIH SERVISIRANJA,
POPRAVAKA ILI KOREKCIJA. ODREĐENI PRAVNI SUSTAVI NE DOPUŠTAJU IZUZIMANJE
IMPLICIRANIH JAMSTAVA ILI OGRANIČENJE VAŽEĆIH USTAVNIH PRAVA POTROŠAČA, STOGA SE
GORE NAVEDENA IZUZIMANJA I OGRANIČENJA MOŽDA NE ODNOSE NA VAS.

8. Ograničenje odgovornosti. DO MJERE DO KOJE NIJE ZABRANJENO ZAKONOM, TVRTKA APPLE,
NJENE PODRUŽNICE, AGENTI ILI OPUNOMOĆITELJI NI U KOJEM SLUČAJU NISU ODGOVORNI ZA
OZLJEĐIVANJE LJUDI ILI ZA BILO KOJU NENAMJERNU, POSEBNU, NEIZRAVNU ILI POSLJEDIČNU
ŠTETU, UKLJUČUJUĆI IZMEĐU OSTALOG ŠTETU USLIJED GUBITKA PROFITA, OŠTEĆIVANJA ILI
GUBITKA PODATAKA, NEMOGUĆNOSTI PRENOŠENJA ILI PRIMANJA BILO KAKVIH PODATAKA
(UKLJUČUJUĆI IZMEĐU OSTALOG UPUTE, ZADATKE I MATERIJALE ZA OBUKU) USLIJED PREKIDA U
POSLOVANJU ILI ZA BILO KOJU DRUGU KOMERCIJALNU ŠTETU ILI GUBITKE, KOJI MOGU NASTATI
USLIJED ILI BITI U VEZI S VAŠOM UPORABOM ILI NEMOGUĆNOŠĆU UPORABE iOS SOFTVERA I
USLUGA ILI BILO KOJIH SOFTVERA ILI APLIKACIJA DRUGIH PROIZVOĐAČA U KOMBINACIJI S iOS
SOFTVEROM ILI USLUGAMA, BEZ OBZIRA NA UZROK I BEZ OBZIRA NA OSNOVU ODGOVORNOSTI
(UGOVOR, DELIKT ILI NEŠTO DRUGO), ČAK I AKO JE TVRTKA APPLE OBAVIJEŠTENA O
MOGUĆNOSTI NASTANKA TAKVE ŠTETE. ODREĐENI PRAVNI SUSTAVI NE DOPUŠTAJU
ISKLJUČENJE ILI OGRANIČENJE ODGOVORNOSTI ZA OZLJEĐIVANJE LJUDI ILI ZA NENAMJERNE ILI
POSLJEDIČNE ŠTETE, STOGA SE OVO OGRANIČENJE MOŽDA NE ODNOSI NA VAS. Ukupna obveza
tvrtke Apple prema vama, za sve nastale štete (osim onih koje može zahtijevati primjenjiv zakon u
slučajevima koji se tiču ozljeđivanja ljudi) ni u kojem slučaju nije veća od dvjesto i pedeset dolara
($250.00). Prethodno spomenuta ograničenja primjenjivat će se čak i ako gore navedena pravna sredstva
ne ispune svoju osnovnu svrhu.

9. Digitalni certifikati. iOS softver sadrži funkcionalnost koja mu omogućuje prihvaćanje digitalnih
certifikata koje je izdala tvrtka Apple ili druge tvrtke. ISKLJUČIVO STE SAMI ODGOVORNI ZA ODLUKU
O OSLANJANJU NA CERTIFIKATE KOJE SU IZDALE BILO TVRTKA APPLE, BILO NEKA DRUGA
TVRTKA. DIGITALNE CERTIFIKATE UPOTREBLJAVATE NA VLASTITI RIZIK. DO MAKSIMALNE RAZINE
KOJU DOZVOLJAVA PRIMIJENJENI ZAKON, APPLE NE JAMČI NITI NE PREDSTAVLJA, IZRIČITO ILI
IMPLICITNO, PRODAJU ILI PRIKLADNOST ZA BILO KOJU ODREĐENU SVRHU, TOČNOST,
SIGURNOST ILI IZOSTANAK KRŠENJA PRAVA DRUGE STRANE U POGLEDU DIGITALNIH
CERTIFIKATA.

10. Kontrola izvoza. Ne smijete koristiti ili na bilo koji drugi način izvoziti ili ponovno izvoziti iOS softver
osim kako je određeno zakonom SAD-a i zakonima pravnih sustava u kojima je iOS softver nabavljen.
Posebno, ali bez ograničenja, iOS softver se ne smije izvoziti ili ponovno izvoziti u (a) zemlje koje su pod
embargom SAD-a ili (b) bilo kome tko je na popisu Posebno određenih državljana Ministarstva financija
SAD-a ili na popisu Zabranjenih osoba ili entiteta Ministarstva trgovine SAD-a ili bilo kojem drugom
popisu zabranjenih strana. Upotrebom iOS softvera pokazujete i jamčite da se ne nalazite ni u jednoj
takvoj zemlji ili ni na kojem takvom popisu. Također se slažete da nećete koristiti iOS softver ni u koje
svrhe koje su zabranjene zakonom SAD-a, uključujući između ostalog razvoj, dizajn, izradu ili proizvodnju
projektila, nuklearnog, kemijskog ili biološkog oružja.

11. Vladini krajnji korisnici. iOS softver i povezana dokumentacija su “komercijalne stavke”, prema
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 273 of 452



definiciji tog pojma u 48 C.F.R. §2.101, koji se sastoje od “Komercijalnog računalnog softvera” i
“Komercijalne računalne softverske dokumentacije”, kako se ti nazivi koriste u 48 C.F.R. §12.212 ili 48
C.F.R. §227.7202, kako je primjenjivo. U skladu s 48 C.F.R. §12.212 ili 48 C.F.R. §227.7202-1 do
227.7202-4, kako je primjenjivo, Komercijalni računalni softver i Komercijalna računalna softverska
dokumentacija odobrene su američkim Vladinim krajnjim korisnicima (a) samo kao Komercijalni predmeti
i (b) sa samo onim pravima koja su omogućena svim ostalim krajnjim korisnicima prema ovdje
navedenim propisima i uvjetima. Neobjavljena prava pridržana su u skladu sa zakonima o autorskom
pravu SAD-a.

12. Nadležnost i djelomična ništavost. Na ovu Licencu primjenjivat će se zakoni države Kalifornije,
isključujući konflikte zakonskih principa. Na ovu Licencu ne primjenjuje se Konvencija Ujedinjenih
Naroda o sporazumima za međunarodnu prodaju dobara, čija je primjena izričito isključena. Ako ste
potrošač iz Ujedinjenog Kraljevstva, na ovu Licencu će se primjenjivati zakoni jurisdikcije u kojoj boravite.
Ako iz bilo kojeg razloga sud ili mjerodavno zakonodavstvo zaključi da je bilo koja odredba ili dio
sadržaja ništavan, preostali dio ove Licence nastavlja djelovati u punoj snazi.

13. Cjelokupni sporazum; mjerodavni jezik. Ova Licenca predstavlja cjelokupni sporazum između vas i
tvrtke Apple u pogledu uporabe iOS softvera i zamjenjuje sve prijašnje ili sadašnje sporazume u vezi s
predmetom ovog sporazuma. Nikakve izmjene i preinake ove Licence neće biti obvezujuće osim ako ih
je napisala i potpisala tvrtka Apple. Svaki prijevod ove Licence izrađen je za lokalne potrebe te u slučaju
neslaganja između inačice na engleskom i inačice na nekom drugom jeziku, inačica ove Licence na
engleskom jeziku smatra se mjerodavnom, do mjere koja je dozvoljena lokalnim zakonima u vašem
pravnom sustavu.

14. Priznanje neovisnim proizvođačima. Dijelovi iOS softvera mogu koristiti ili sadržavati softver
neovisnih proizvođača i ostale materijale zaštićene autorskim pravom. Priznanja, uvjeti licence i odricanja
od odgovornosti za takve materijale sadržani su u elektroničkoj dokumentaciji za iOS softver i vaša
uporaba tog materijala podložna je njihovim propisima. Uporaba usluge Google Safe Browsing podložna
je uvjetima tvrtke Google (https://www.google.com/intl/hr/policies/terms/)) i pravilima o privatnosti tvrtke
Google (https://www.google.com/intl/hr/policies/privacy/).

15. Uporaba MPEG-4 standarda; H.264/AVC obavijest.
(a) iOS softver licenciran je prema licenci MPEG-Systems Patent Portfolio License za kodiranje u skladu
s normom MPEG-4 Systems, osim što je potrebna dodatna licenca i plaćanje tantijema za kodiranje
povezana s (i) podacima pohranjenim ili repliciranim na fizičkim medijima, što se plaća na temelju svakog
naslova i/ili (ii) podacima, što se plaća na temelju svakog naslova te se prenosi krajnjem korisniku na
trajno pohranjivanje i/ili upotrebu. Takva dodatna licenca može se dobiti od tvrtke MPEG LA, LLC.
Dodatne pojedinosti potražite na http://www.mpegla.com.

(b) iOS softver sadržava MPEG-4 funkciju kodiranja i/ili dekodiranja videosadržaja. iOS softver licenciran
je prema MPEG-4 Visual Patent Portfolio licenci za osobnu i nekomercijalnu uporabu korisnika za (i)
kodiranje videosadržaja u skladu s normom MPEG-4 Visual (“MPEG-4 Video”) i/ili (ii) dekodiranje
MPEG-4 videosadržaja koje je kodirao korisnik tijekom osobne i nekomercijalne aktivnosti i/ili je nabavio
od dobavljača videosadržaja koji je licencirao MPEG LA za pružanje MPEG-4 videosadržaja. Nikakva
licenca nije dodijeljena niti se podrazumijeva za bilo koju drugu uporabu. Dodatne informacije,
uključujući informacije o promotivnim, unutarnjim i komercijalnim uporabama i licenciranju mogu se
nabaviti od tvrtke MPEG LA, LLC. Pogledajte http://www.mpegla.com.

(b) iOS softver sadržava značajku za AVC kodiranje i/ili dekodiranje, komercijalna uporaba H.264/AVC
zahtijeva dodatne licence i primjenjuje se sljedeći propis: AVC ZNAČAJKA U iOS SOFTVERU OVDJE JE
LICENCIRANA SAMO ZA OSOBNU I NEKOMERCIJALNU UPORABU POTROŠAČA ZA (i) KODIRANJE
VIDEOSADRŽAJA U SKLADU S AVC NORMOM (“AVC VIDEO”) I/ILI (ii) DEKODIRANJE AVC
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 274 of 452



VIDEOSADRŽAJA KOJI JE KODIRAO KORISNIK TIJEKOM OSOBNE I NEKOMERCIJALNE AKTIVNOSTI
I/ILI AVC VIDEO KOJI JE NABAVLJEN OD DOBAVLJAČA VIDEO SADRŽAJA KOJI POSJEDUJE
LICENCU ZA PRUŽANJE AVC VIDEOSADRŽAJA. INFORMACIJE VEZANE UZ OSTALE UPORABE I
LICENCE MOGU SE DOBITI OD TVRTKE MPEG LA L.L.C. POGLEDAJTE http://www.mpegla.com.

16. Ograničenja Yahoo usluge pretraživanja. Yahoo usluga pretraživanja koja je dostupna kroz
aplikaciju Safari licencirana je samo za uporabu u sljedećim zemljama i regijama: Argentina, Aruba,
Australija, Austrija, Barbados, Belgija, Bermuda, Brazil, Bugarska, Kanada, Kajmanski otoci, Čile,
kontinentalna Kina, Hong Kong, Tajvan, Kolumbija, Cipar, Češka, Danska, Dominikanska Republika,
Ekvador, El Salvador, Finska, Francuska, Njemačka, Grčka, Grenada, Gvatemala, Mađarska, Island,
Indija, Indonezija, Irska, Italija, Jamajka, Japan, Latvija, Litva, Luksemburg, Malezija, Malta, Meksiko,
Nizozemska, Novi Zeland, Nikaragva, Norveška, Panama, Peru, Filipini, Poljska, Portugal, Portoriko,
Rumunjska, Singapur, Slovačka, Slovenija, Južna Koreja, Španjolska, Sv. Lucija, Sv. Vincent, Švedska,
Švicarska, Tajland, Bahami, Trinidad i Tobago, Turska, UK, Urugvaj, SAD i Venezuela.

17. Obavijest o Microsoft Exchange računu. Postavke Microsoft Exchange računa unutar iOS softvera
licencirane su samo za bežičnu sinkronizaciju informacija, primjerice e-mail poruka, kontakata, kalendara
i zadataka, između vašeg iOS uređaja i Microsoft Exchange poslužitelja ili drugog softvera poslužitelja za
implementiranje Microsoft Exchange ActiveSync protokola, koji je licencirala tvrtka Microsoft.

EA1566
21.02.2019.

————————————
Dodatne odredbe i uvjeti za ApplePay

Ove Apple Pay dodatne odredbe i uvjeti (ove “Dodatne odredbe”) predstavljaju dodatak Sporazumu o
licenciranju Apple iOS softvera (“Licenci”); i odredbe Licence i ove dodatne odredbe mjerodavne su za
vašu uporabu značajke Apple Pay, koja se prema Licenci smatra „Uslugom“. Pojmovi napisani s velikim
početnim slovom spomenuti u ovim Dodatnim odredbama imaju značenja definirana u Licenci.

1.   Pregled i ograničenja uporabe

Apple Pay vam omogućuje:

        •     pohranu virtualnih prikaza kreditnih, debitnih i unaprijed plaćenih kartica, uključujući
              kreditne, debitne, unaprijed plaćene kartice trgovina i Apple Pay Cash karticu koje podržava
              značajka Apple Pay (“Podržane kartice za plaćanje”) i upotrebu iOS uređaja podržanih za
              beskontaktno plaćanje na odabranim lokacijama ili unutar aplikacija ili web stranica;
        •     uporabu nagradnih i darovnih kartica koje su spremljene u Walletu (“Kartice koje podržavaju
              Apple Pay”, zajedno s podržanim karticama za plaćanje, “Podržane kartice”) za
              beskontaktne transakcije pomoću nagradnih i darovnih kartica u odabranim trgovinama kao
              dio beskontaktnog plaćanja putem Apple Paya i
        •     slanje plaćanja “osoba osobi” drugim korisnicima Apple Paya.

Značajke Apple Pay iOS softvera možda su dostupne samo u određenim regijama, s odabranim
izdavateljima kartica, financijskim institucijama i trgovcima. Značajke se mogu razlikovati ovisno o regiji,
izdavatelju i trgovcu.

Kako biste upotrebljavali Apple Pay morate posjedovati Podržanu karticu, a popis Podržanih kartica
može se povremeno mijenjati. Uz to, za slanje ili primanje plaćanja “osoba osobi” morate imati Apple
Pay Cash karticu.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 275 of 452



Podržane kartice za plaćanje i plaćanja “osoba osobi” povezane su s Apple ID računom s kojim ste se
prijavili u iCloud za potrebe uporabe ovih značajki. Podržane kartice dostupne su samo osobama u dobi
od 13 ili više godina i mogu podlijegati dodatnim ograničenjima temeljenima na dobi koja određuje
iCloud ili Podržana kartica koju želite upotrijebiti. Apple Pay Cash kartica i mogućnost slanja i primanja
plaćanja “osoba osobi” dostupni su samo osobama u dobi od 18 godina ili starijima.

Apple Pay namijenjena je osobnoj upotrebi i smijete upotrebljavati samo svoje Podržane kartice. Ako
upotrebljavate podržanu korporativnu karticu, smatra se da to činite uz odobrenje poslodavca i ovlašteni
ste za to da obvezujete svog poslodavca na ove uvjete upotrebe i sve transakcije na koje utječe uporaba
ove značajke. Ako šaljete ili primate plaćanje “osoba osobi”, izjavljujete da to činite za svoju osobnu,
nekomercijalnu uporabu.

Suglasni ste s tim da ne upotrebljavate Apple Pay za potrebe nezakonitih aktivnosti ili prijevare koje
Licenca i ove Dodatne odredbe zabranjuju. Nadalje, suglasni ste s upotrebom Apple Paya u skladu s
primjenjivim zakonima i propisima. Suglasni ste s tim da nećete ometati ili prekidati Apple Pay uslugu
(uključujući pristupanje usluzi putem bilo kojeg automatiziranog sredstva), ili bilo koji poslužitelj ili mrežu
povezanu s uslugom, ili bilo koja pravila, uvjete ili propise mreža povezanih s uslugom (uključujući bilo
kakav neovlašteni pristup, upotrebu ili nadzor podataka ili prometa).

2.   Odnos tvrtke Apple s vama

Apple Pay vam omogućuje izradu virtualnog prikaza svojih Podržanih kartica na podržanom iOS uređaju.
Međutim, Apple ne obrađuje uplate ili transakcije ostalih neplatnih kartica (kao što je prikupljanje ili
trošenje bodova), prima, zadržava ili prenosi vaša sredstva, niti ima ikakvu kontrolu nad uplatama,
prihodima, povratima, nagradama, vrijednostima, popustima i ostalim komercijalnim aktivnostima koje
možda proizlaze iz vaše uporabe ove značajke.

Odredbe ugovora o korištenju kartice koji ste sklopili s izdavateljem kartice i dalje reguliraju vašu
uporabu Podržanih kartica i njihovu uporabu u vezi s uslugom Apple Pay. Slično tome, vaše sudjelovanje
u bilo kojem programu nagrada ili darovnih kartica trgovaca i vaša uporaba kartica koje podržavaju
Apple Pay zajedno sa značajkom Apple Pay podliježu odredbama i uvjetima tog trgovca.

Apple Pay Cash kartica i mogućnost slanja i primanja plaćanja “osoba osobi” značajke su dostupne
samo u Sjedinjenim Državama, a pruža ih Green Dot Bank, član Američke agencije za osiguranje
depozita (FDIC). Kad omogućite ove značajke u usluzi Apple Pay, otvarate račun u banci Green Dot
Bank, a kad šaljete ili primate plaćanje “osoba osobi” ili uplaćujete ili povlačite sredstva sa svoje Apple
Pay Cash kartice, banka Green Dot Bank odgovorna je za primanje i slanje vašeg novca namijenjenom
primatelju. Financijska institucija odgovorna za nuđenje usluge Apple Pay Cash i plaćanja “osoba osobi”
unutar usluge Apple Pay podliježe promjeni, a vaša uporaba tih značajki podliježe njihovim odredbama i
uvjetima.

Ništa navedeno u Odredbama i uvjetima licence ili ovim Dodatnim odredbama i uvjetima ne izmjenjuje
uvjete bilo kojeg ugovora o korištenju kartice, ugovora o korištenju ili trgovini, a takvi uvjeti reguliraju
vašu uporabu važećih Podržanih kartica ili značajke plaćanja “osoba osobi” usluge Apple Pay i njihovog
virtualnog prikaza na vašem iOS uređaju. Suglasni ste s tim da tvrtka Apple ne predstavlja stranu u
vašim ugovorima s izdavateljem kartice ili trgovcem, niti je tvrtka Apple odgovorna za: (a) sadržaj,
točnost ili nedostupnost bilo koje platne kartice, nagradne kartice, darovne kartice, komercijalnih
aktivnosti, transakcija ili kupnji prilikom korištenja usluge Apple Pay, (b) odobrenje kredita ili procjenu
kreditne sposobnosti, (c) prikupljanje ili preuzimanje nagrada ili pohranjene vrijednosti u programu
trgovca, (d) financiranje ili ponovno punjenje unaprijed plaćenih kartica, (e) slanje ili primanje plaćanja
“osoba osobi” ili (f) uplatu, povrat ili povlačenje novca s vaše Apple Pay Cash kartice.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 276 of 452



U slučaju bilo kakvog spora ili pitanja vezanog uz platne kartice, nagradne kartice, darovne kartice ili
povezanu komercijalnu aktivnost, obratite se izdavatelju kartice ili trgovcu. Za pitanja vezana uz Apple
Pay Cash karticu ili plaćanja “osoba osobi” obratite se Apple Podršci za korisnike.

3.   Privatnost

Kako bi pružio cjelovito iskustvo, Apple Pay zahtijeva neke informacije s vašeg iOS uređaja. Nadalje, kad
koristite svoju Apple Pay Cash karticu ili šaljete ili primate plaćanja “osoba osobi”, prikupljaju se dodatne
informacije o vašim transakcijama i zadržavaju radi servisiranja vašeg računa, sprječavanja prijevare i za
regulatorne svrhe. Dodatne informacije o vrsti prikupljanih podataka, korištenih i dijeljenih kao dio vaše
uporabe usluge Apple Pay, Apple Pay Cash kartice ili plaćanja “osoba osobi” kod usluge Apple Pay,
možete pročitati u odjeljku Više o Apple Payu i privatnosti (kojima se može pristupiti ako odete na Wallet
i Apple Pay na vašem iOS uređaju ili u aplikaciji Watch na uparenom iOS uređaju) ili ako posjetite https://
www.apple.com/privacy/. Korištenjem tih značajki, pristajete i suglasni ste da Apple i njegove podružnice
i zastupnici mogu prenositi, prikupljati, održavati, obrađivati i upotrebljavati sve navedene informacije
kako bi omogućili funkcionalnost aplikacije Apple Pay.

4.   Sigurnost; izgubljeni ili oštećeni uređaji

Apple Pay pohranjuje virtualne prikaze vaših Podržanih kartica i trebali biste ih zaštititi kao što biste
zaštitili gotovinu ili svoje kreditne, debitne, unaprijed plaćene ili darovne kartice u fizičkom obliku.
Prosljeđivanje lozinke uređaja drugoj osobi ili davanje dopuštenja drugoj osobi za unošenje svojeg otiska
prsta radi uporabe značajke Touch ID ili omogućavanja značajke Face ID može rezultirati time da će
druga osoba moći vršiti plaćanja, slati, tražiti ili primati plaćanja “osoba osobi”, povlačiti novac s vaše
Apple Pay Cash kartice ili primati ili preuzimati nagrade ili kredit pomoću Apple Paya na vašem uređaju.
Isključivo ste sami odgovorni za održavanje sigurnosti svojeg uređaja i lozinke. Suglasni ste s tim da
Apple ne snosi odgovornost ako izgubite ili podijelite pristup vašem uređaju. Suglasni ste s tim da Apple
ne snosi odgovornost ako izvršite neovlaštene izmjene na iOS softveru (npr. probijanjem zaštite).

Možda ćete morati uključiti dodatne sigurnosne mjere, kao što je autorizacija s dva faktora za svoj Apple
ID, kako biste pristupali određenim značajkama usluge Apple Pay, uključujući Apple Pay Cash karticu i
plaćanja “osoba osobi” s uslugom Apple Pay. Ako naknadno uklonite te sigurnosne značajke, možda
nećete moći nastaviti pristupati određenim značajkama usluge Apple Pay.

Ako se vaš uređaj izgubi ili ga ukradu i omogućena je opcija Nađi moj iPhone, možete upotrijebiti opciju
Nađi moj iPhone kako biste pokušali spriječiti mogućnost plaćanja virtualnim Podržanim platnim
karticama ili slanja plaćanja “osoba osobi” na tom uređaju tako da podesite Mod izgubljenog uređaja.
Također možete obrisati svoj uređaj, čime će se pokušati spriječiti mogućnost plaćanja virtualnim
Podržanim platnim karticama ili slanja plaćanja “osoba osobi” na uređaju te će se također pokušati
ukloniti kartice koje podržavaju Apple Pay. Također biste se trebali izdavatelju Podržane platne kartice,
prodavatelju koji je izdao Apple kartice s mogućnošću plaćanja i Apple u slučaju vaše Apple Pay Cash
kartice kako biste spriječili neovlašteni pristup svojim Podržanim karticama.

Ako prijavite aktivnost prijevare ili zlouporabe ili Apple pretpostavlja da se takva aktivnost dogodila,
pristajete surađivati s tvrtkom Apple pri bilo kojoj istrazi te primjenjivati bilo koje mjere sprječavanja
prijevare koje propišemo.

5.   Ograničenje odgovornosti.

UZ ODRICANJE OD JAMSTVA I OGRANIČENJE ODGOVORNOSTI NAVEDENA U LICENCI, APPLE NE
PREUZIMA ODGOVORNOST ZA KUPNJE, UPLATE, TRANSAKCIJE I OSTALE KOMERCIJALNE
AKTIVNOSTI IZVRŠENE UPOTREBOM ZNAČAJKE APPLE PAY, I PRISTAJETE RJEŠAVATI SVE
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 277 of 452



PROBLEME ILI SPOROVE POVEZANE SA SVOJIM PODRŽANIM KARTICAMA, PLAĆANJIMA „OSOBA
OSOBI“ I POVEZANOM KOMERCIJALNOM AKTIVNOSTI ISKLJUČIVO U SKLOPU UGOVORA KOJE
STE SKLOPILI S IZDAVATELJEM KARTICA, PLATNOM MREŽOM, FINANCIJSKIM INSTITUCIJAMA ILI
TRGOVCEM.

————————————
OBAVIJESTI TVRTKE APPLE
Ako vas tvrtka Apple treba kontaktirati u vezi proizvoda ili računa, pristajete na to da obavijesti primate
putem elektroničke pošte. Suglasni ste da će sve takve obavijesti koje vam pošaljemo elektroničkim
putem, zadovoljiti sve pravne komunikacijske zahtjeve.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 278 of 452



ČESKY

DŮLEŽITÉ: POUŽITÍM SVÉHO iPHONU, iPADU NEBO iPODU TOUCH („ZAŘÍZENÍ S iOS“)
VYJADŘUJETE SVŮJ SOUHLAS S TÍM, ŽE JSTE VÁZÁNI NÁSLEDUJÍCÍMI PODMÍNKAMI:

A.   LICENČNÍ UJEDNÁNÍ APPLE PRO SOFTWARE iOS
B.    DOPLŇUJÍCÍ PODMÍNKY PRO SLUŽBU APPLE PAY
C.   UPOZORNĚNÍ SPOLEČNOSTI APPLE

APPLE INC.
LICENČNÍ UJEDNÁNÍ SPOLEČNOSTI APPLE PRO SOFTWARE iOS
Licence pro jedno použití

PŘED POUŽITÍM ZAŘÍZENÍ S iOS NEBO STAŽENÍM AKTUALIZACE SOFTWARU DOPROVÁZEJÍCÍ
TUTO LICENCI SI PEČLIVĚ PŘEČTĚTE TOTO LICENČNÍ UJEDNÁNÍ O SOFTWARU („LICENCE“).
POUŽITÍM ZAŘÍZENÍ S iOS NEBO STAŽENÍM AKTUALIZACE SOFTWARU VYJADŘUJETE SVŮJ
SOUHLAS S TÍM, ŽE JSTE VÁZÁNI PODMÍNKAMI TÉTO LICENCE. POKUD S PODMÍNKAMI TÉTO
LICENCE NESOUHLASÍTE, ZAŘÍZENÍ S iOS NEPOUŽÍVEJTE A AKTUALIZACI SOFTWARU
NESTAHUJTE.

POKUD JSTE V POSLEDNÍ DOBĚ ZAKOUPILI ZAŘÍZENÍ S iOS A NESOUHLASÍTE S PODMÍNKAMI
LICENCE, MŮŽETE ZAŘÍZENÍ S iOS VRÁTIT V OBDOBÍ POSKYTNUTÉM K VRÁCENÍ ZBOŽÍ DO
AUTORIZOVANÉHO OBCHODU APPLE STORE NEBO AUTORIZOVANÉMU DISTRIBUTOROVI, OD
KTERÉHO JSTE ZAŘÍZENÍ S iOS OBDRŽELI. REFUNDACE SE PROVÁDÍ PODLE PRAVIDEL
REFUNDACE A VRÁCENÍ ZBOŽÍ SPOLEČNOSTI APPLE, KTERÁ JSOU K DISPOZICI NA ADRESE
https://www.apple.com/legal/sales-support/.

1. Obecné
(a) Tento software (zahrnující kód Boot ROM, zapouzdřený software a software třetích stran),
dokumentaci, rozhraní, obsah, písma a jakákoli data, jež byla součástí dodávky zařízení s iOS („původní
software iOS“), které mohou být aktualizovány nebo nahrazeny vylepšeními funkcí, aktualizacemi
softwaru nebo softwarem z obnovy systému, poskytnutými společností Apple („aktualizace softwaru
iOS“), ať už v paměti pouze ke čtení, na libovolném jiném médiu nebo v libovolné jiné podobě (původní
software iOS a aktualizace softwaru iOS jsou souhrnně označovány jako „software iOS“) jsou vám
licencovány, ne prodány, společností Apple Inc. („Apple“) pro použití výhradně v souladu s podmínkami
této licence. Společnost Apple a její licenční partneři si zachovávají vlastnictví softwaru iOS a vyhrazují si
všechna práva, která vám nebyla výslovně poskytnuta. Souhlasíte s tím, že se podmínky této licence
budou vztahovat na jakoukoli aplikaci značky Apple, která může být případně předinstalována ve vašem
zařízení s iOS, pokud k takové aplikaci není přiložena samostatná licence – v takovém případě souhlasíte
s tím, že vaše používání takové aplikace bude podléhat podmínkám přiložené licence.

(b) Společnost Apple vám dle uvážení může poskytnout budoucí aktualizace softwaru iOS. Aktualizace
softwaru iOS, pokud jsou k dispozici, nemusí obsahovat všechny softwarové funkce vydané společností
Apple pro nové nebo jiné modely zařízení s iOS. Pro veškeré aktualizace softwaru iOS poskytnuté
společností Apple platí podmínky a ustanovení této licence, není-li k takové aktualizaci softwaru iOS
přiložena samostatná licence; v takovém případě souhlasíte, že budou pro aktualizaci platit podmínky
této nové licence.

(c) Když k nastavení nového zařízení s iOS použijete funkci rychlého nastavení založenou na vašem
existujícím zařízení s iOS, vyjadřujete svůj souhlas s tím, že pro vaše používání softwaru iOS na vašem
novém zařízení s iOS budou platit podmínky této nové licence, vyjma případu, že byla k zařízení
přiložena samostatná licence. V takovém případě souhlasíte, že vaše používání softwaru iOS se bude
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 279 of 452



řídit podmínkami přiložené licence. Vaše iOS zařízení bude pravidelně sledovat softwarové aktualizace
systému iOS, vydávané společností Apple. Je-li taková aktualizace k dispozici, může být automaticky
stažena a nainstalována do vašeho iOS zařízení a případně také do periferních zařízení. Používáním
softwaru Apple vyjadřujete svůj souhlas s tím, že společnost Apple může stáhnout a nainstalovat
automatické aktualizace softwaru iOS do vašeho iOS zařízení a případně do periferních zařízení.
Všechny automatické aktualizace můžete kdykoli vypnout změnou nastavení Automatické aktualizace,
které najdete v Nastavení > Obecné > Aktualizace softwaru.

2. Povolené použití licence a omezení
(a) V souladu s podmínkami a ustanoveními této licence je vám udělena omezená nevýhradní licence pro
použití softwaru iOS v jednom zařízení s iOS značky Apple. Vyjma případu uvedeného v odstavci 2(b)
níže a nestanoví-li zvláštní smlouva mezi vámi a společností Apple jinak, nedovoluje tato licence
existenci softwaru iOS ve více než jednom zařízení s iOS značky Apple a neuděluje vám oprávnění
k šíření ani poskytování softwaru iOS prostřednictvím sítě, kde by mohl být používán ve více zařízeních
současně. Tato licence vám neposkytuje žádná práva k použití autorizovaných rozhraní společnosti
Apple a dalšího duševního vlastnictví pro navrhování, vývoj, výrobu, licencování ani šíření zařízení
a příslušenství třetích stran nebo softwarových aplikací třetích stran, určených pro použití se zařízeními
s iOS. Některá z těchto práv jsou dostupná v rámci samostatných licencí poskytovaných společností
Apple. Další informace o vývoji zařízení a příslušenství třetích stran pro zařízení s iOS najdete na adrese
https://developer.apple.com/programs/mfi/. Další informace o vývoji aplikačního softwaru pro zařízení
s iOS najdete na adrese https://developer.apple.com/.

(b) V souladu s podmínkami a ustanoveními této licence je vám udělena omezená nevýhradní licence pro
stažení aktualizací softwaru iOS, které může společnost Apple poskytnout ke stažení pro váš model
zařízení s iOS za účelem aktualizace nebo obnovy softwaru v jakémkoli takovém zařízení s iOS, které
vlastníte nebo užíváte. Tato licence vám nedovoluje aktualizovat ani obnovit žádná zařízení s iOS, která
neužíváte a nevlastníte, a nemáte oprávnění k šíření ani poskytování aktualizací softwaru zařízení s iOS
prostřednictvím sítě, kde by mohly být používány ve více zařízeních nebo počítačích současně.
Stáhnete-li si aktualizaci softwaru iOS do svého počítače, můžete vytvořit jednu kopii aktualizace
softwaru iOS uloženou v počítači ve strojově čitelné podobě, a to pouze pro záložní účely a za
předpokladu, že záložní kopie bude zahrnovat veškerá oznámení o vlastnictví a autorských právech
obsažená v originálu.

(c) V rozsahu, ve kterém společnost Apple do vašeho zařízení s iOS před zakoupením předinstalovala
aplikace značky Apple z App Storu („předinstalované aplikace“), budete moci tyto předinstalované
aplikace ve svém zařízení s iOS používat až poté, co se k App Storu přihlásíte a přidružíte
předinstalované aplikace ke svému účtu na App Storu. Přidružením předinstalované aplikace k vašemu
účtu na App Storu zároveň automaticky přidružujete všechny ostatní předinstalované aplikace ve vašem
zařízení s iOS. Rozhodnutím přidružit předinstalované aplikace k vašemu účtu na App Storu vyjadřujete
svůj souhlas s tím, aby společnost Apple přenášela, shromažďovala, uchovávala, zpracovávala
a využívala Apple ID, pod kterým je veden váš účet na App Storu, a jedinečné hardwarové identifikátory,
které byly získány z vašeho zařízení s iOS, pro účely ověření oprávněnosti vašeho požadavku a k tomu,
aby vám poskytla přístup k předinstalovaným aplikacím prostřednictvím App Storu. Pokud si
předinstalované aplikace nepřejete používat, můžete je ze svého zařízení s iOS kdykoli odstranit.

(d) Není vám dovoleno a souhlasíte s tím, že se takové činnosti zdržíte ani ji neumožníte jiným: kopírovat
software iOS ani jakékoli služby poskytované softwarem iOS nebo jejich části (pokud to není výslovně
povoleno v této licenci), dekompilovat je, provádět jejich zpětnou analýzu, pokoušet se odvozovat jejich
zdrojový kód, dešifrovat je, měnit nebo z nich vytvářet odvozená díla (s výjimkami nepřekračujícími
rozsah, ve kterém jsou taková omezení zakázána platnými právními předpisy nebo licenčními
podmínkami, jimiž se řídí použití open-source komponent, které mohou být v softwaru iOS zahrnuty).
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 280 of 452



(e) Software iOS lze použít k reprodukci materiálů, pokud je takovéto použití omezeno na reprodukci
materiálů nepodléhajících autorskému právu, materiálů, k nimž vlastníte autorská práva, nebo materiálů,
k jejichž reprodukci vám bylo uděleno svolení nebo na ni máte nárok ze zákona. Vlastnická práva a práva
k duševnímu vlastnictví pro obsah, který je pomocí vašeho zařízení s iOS zobrazován či ukládán nebo
k němuž software Apple přistupuje, patří příslušným vlastníkům obsahu. Takový obsah může být chráněn
autorským právem nebo jinými zákony a úmluvami o duševním vlastnictví a mohou se na něj vztahovat
užívací podmínky třetí strany, která jej poskytuje. S výjimkami, které jsou uvedeny v této smlouvě, vám
tato licence neposkytuje žádná práva k použití takového obsahu ani nezaručuje, že takový obsah budete
mít k dispozici trvale.

(f) V souladu s podmínkami této licence můžete používat znaky animoji a memoji (animované emotikony)
zahrnuté v softwaru iOS nebo v nich vytvářené („systémové znaky“), a to (i) během používání softwaru
iOS a (ii) k vytváření vlastního původního obsahu a projektů pro své osobní, nekomerční využití. Touto
licencí není povoleno žádné jiné využití systémových znaků, včetně následujících typů využití (ale nikoli
pouze jich): použití, reprodukce, zobrazení, předvádění, nahrávání, publikování nebo redistribuce
jakéhokoli ze systémových znaků v ziskovém, neziskovém, veřejně sdíleném nebo komerčním kontextu.

(g) Souhlasíte, že použití softwaru iOS a služeb (dle definice v oddílu 5 níže) je v souladu se všemi
platnými právními předpisy včetně místních zákonů země nebo oblasti, ve které sídlíte nebo stahujete
a používáte software iOS a služby. Funkce softwaru iOS a služeb nemusí být dostupné ve všech zemích
a oblastech, některé funkce se mohou v určitých oblastech lišit a k některým vám může omezit nebo
znemožnit přístup váš operátor. Některé funkce softwaru iOS a služeb vyžadují Wi-Fi nebo mobilní
datové připojení.

(h) Použití App Storu vyžaduje kombinaci jedinečného uživatelského jména a hesla, nazývanou Apple ID.
Apple ID je vyžadováno také pro přístup k aktualizacím aplikací a k některým funkcím softwaru a služeb
iOS.

(i) Berete na vědomí, že mnohé funkce, integrované aplikace a služby softwaru iOS přenášejí data, což
může mít dopad na poplatky, které vám bude účtovat váš poskytovatel datových služeb, a že
odpovídáte za uhrazení všech takových poplatků. Výběr aplikací, kterým povolíte použití mobilních dat,
můžete zobrazit a změnit v nastavení mobilních dat, kde jsou rovněž k dispozici odhady datového
objemu spotřebovaného těmito aplikacemi. Asistent Wi-Fi navíc automaticky přepne na mobilní data,
kdykoli máte slabé Wi-Fi připojení, což může vést k dalšímu čerpání mobilních dat a nárůstu poplatků za
datový tarif. Asistent Wi-Fi je standardně zapnutý; lze jej však vypnout v Nastavení. Další informace
najdete v uživatelské příručce k vašemu zařízení s iOS.

(j) Rozhodnete-li se povolit automatické aktualizace aplikací, bude vaše zařízení s iOS pravidelně
vyhledávat u společnosti Apple aktualizace aplikací ve vašem zařízení a pokud nalezne dostupnou
aktualizaci, automaticky ji stáhne a nainstaluje. Automatické aktualizace aplikací můžete kdykoli zcela
vypnout tím, že přejděte do Nastavení, klepnete na iTunes a App Store a v části Automatická stahování
vypnete volbu Aktualizace.

(k) Používání iOS zařízení vás může za určitých okolností rozptylovat a způsobit vznik nebezpečné
situace (proto například nepište textové zprávy při řízení auta a nepoužívejte sluchátka při jízdě na kole).
Používáním iOS zařízení vyjadřujete svůj souhlas s tím, že odpovídáte za dodržování pravidel
zakazujících nebo omezujících používání mobilních telefonů a sluchátek (například povinné použití
hands-free sady při telefonování během řízení).

3. Převod. Nemáte oprávnění k pronajímání, půjčování, prodeji, redistribuci ani sublicencování softwaru
iOS. Můžete však provést jednorázový trvalý převod všech vašich licenčních práv k softwaru iOS na třetí
stranu v souvislosti s převodem vlastnictví zařízení s iOS pod podmínkou, že: (a) převod obsahuje vaše
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 281 of 452



zařízení s iOS a veškerý software iOS včetně všech jeho součástí, a tuto licenci; (b) si neponecháte
v držení žádné kopie softwaru iOS, úplné ani dílčí, včetně kopií uložených v počítači nebo jiném
záznamovém zařízení; a (c) strana přijímající software iOS si přečte a bude souhlasit se smluvními
podmínkami této licence.

4. Souhlas s použitím dat. Když své zařízení použijete, je společnosti Apple zasláno vaše telefonní číslo
spolu s některými jedinečnými identifikátory vašeho iOS zařízení. Cílem tohoto postupu je umožnit jiným
uživatelům spojit se s vámi na vašem telefonním čísle v rámci používání různých komunikačních funkcí
softwaru iOS, jako je iMessage a FaceTime. Pokud používáte iMessage, může společnost Apple po
omezenou dobu vaše zprávy v zašifrované podobě uchovávat za účelem zajištění jejich doručení.
FaceTime a iMessage můžete vypnout v nastavení FaceTimu nebo zpráv na vašem iOS zařízení. Některé
funkce softwaru iOS, například analýza, polohové služby, Siri a diktování, mohou pro svoji činnost
vyžadovat údaje z vašeho iOS zařízení. Když tyto funkce zapnete nebo využijete, budou vám poskytnuty
informace o tom, jaká data jsou společnosti Apple odesílána a jak mohou být využita. Další informace
najdete na https://www.apple.com/privacy/. S vašimi údaji bude vždy nakládáno v souladu se zásadami
ochrany soukromí společnosti Apple, které jsou k dispozici pro prostudování na adrese https://
www.apple.com/legal/privacy/.

5. Služby a materiály třetích stran
(a) Software iOS může umožňovat přístup k Apple iTunes Storu, App Storu, Apple Books, službě Game
Center, iCloudu, Mapám a k dalším službám společnosti Apple a třetích stran a k webovým stránkám
(společně a jednotlivě „služby“). V některých jazycích a zemích nemusí být tyto služby k dispozici. Použití
těchto služeb vyžaduje přístup k internetu. Použití některých služeb může dále vyžadovat Apple ID, může
být podmíněno tím, že přijmete další podmínky, a zpoplatněno doplňujícími poplatky. Použitím tohoto
softwaru spolu s Apple ID nebo jinou službou společnosti Apple vyjadřujete svůj souhlas s příslušnými
podmínkami služby platnými pro danou službu, jako například s nejnovějšími podmínkami
a ustanoveními pro mediální služby společnosti Apple platnými v zemi, v níž k těmto službám
přistupujete a které jsou dostupné na adrese https://www.apple.com/legal/internet-services/itunes/.

(b) Pokud se zaregistrujete ve službě iCloud, může software iOS přímo přistupovat k některým funkcím
iCloudu, například k Fotkám na iCloudu, k funkci Můj fotostream, Sdílená alba, Zálohovat nebo Hledat
iPhone. Berete na vědomí a souhlasíte s tím, že vaše užívání iCloudu a těchto funkcí podléhá
nejnovějším podmínkám a ustanovením služby iCloud, které jsou dostupné k nahlédnutí na adrese
https://www.apple.com/legal/internet-services/icloud/.

(c) Obsah aplikace News. Vaše užívání obsahu, k němuž přistupujete prostřednictvím aplikace News, je
omezeno výhradně na osobní nekomerční použití, v rámci tohoto užívání na vás nepřechází žádný
vlastnický podíl na obsahu a jsou z něj výslovně vyloučena práva na jakékoli komerční a propagační
využití takového obsahu. Kromě toho nesmíte dále publikovat, přenášet ani reprodukovat žádný
obrazový materiál, k němuž přistupujete prostřednictvím aplikace News, v podobě samostatných
souborů.

(d) Mapy. Mapová služba a funkce softwaru iOS („Mapy“) včetně pokrytí kartografickými daty se mohou
v různých oblastech lišit. Pokud v Mapách používáte jakékoli služby závislé na poloze, například
podrobnou navigaci, informace o provozu a místní vyhledávání, společnosti Apple mohou být za účelem
zpracování vašich požadavků a zlepšování služby Mapy zasílány různé informace související s vaší
polohou a využitím služby včetně zeměpisné polohy vašeho zařízení s iOS v reálném čase. Tyto
informace o poloze a využití jsou společností Apple shromažďovány ve formátu, který neumožňuje vaši
osobní identifikaci. Používáním služby Mapy vyjadřujete svůj souhlas a svolení k tomu, aby
společnost Apple a její pobočky a zástupci tyto informace přenášeli, shromažďovali, spravovali,
zpracovávali a používali za účelem zlepšování funkcí a služeb Map a dalších produktů a služeb
společnosti Apple. Společnost Apple také může tyto informace v agregovaném nebo osobně
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 282 of 452



neidentifikovatelném formátu poskytnout svým partnerům a držitelům licence na pomoc s vylepšováním
jejich mapových a na poloze závislých produktů a služeb. Polohově závislé funkce v Mapách můžete
vypnout tak, že na svém zařízení s iOS otevřete nastavení Polohové služby a vypnete individuální
nastavení polohových služeb pro Mapy. Některé funkce Map, například podrobná navigace, však budou
při vypnutém nastavení Polohové služby nedostupné.

(e) Jste srozuměni s tím, že při používání kterékoli ze služeb se můžete setkat s obsahem, který může být
považován za urážlivý, neslušný nebo sporný, s obsahem, ve kterém může a nemusí být zjištěn výskyt
explicitních výrazů, a že výsledkem libovolného hledání nebo zadání určitého URL mohou být
automaticky a nezáměrně vygenerované odkazy či reference na sporný materiál. Souhlasíte však s tím,
že služby používáte výhradně na vlastní nebezpečí a že společnost Apple, její afilace, zástupci, vedoucí
pracovníci ani licenční partneři neponesou vůči vám žádné právní závazky za obsah, který může být
shledán urážlivým, neslušným nebo sporným.

(f) Některé služby mohou zobrazovat, zahrnovat nebo zpřístupňovat obsah, data, informace, aplikace
a materiály třetích stran („materiály třetích stran“) nebo poskytovat odkazy na určité webové stránky
třetích stran. Použitím služeb vyjadřujete své srozumění a souhlas s tím, že společnost Apple není
odpovědná za zkoumání a vyhodnocování obsahu, přesnosti, úplnosti, aktuálnosti, platnosti, dodržování
autorských práv, legálnosti, patřičnosti, kvality ani jakékoli jiné vlastnosti takovýchto materiálů
a webových stránek třetích stran. Společnost Apple, její pracovníci, afilace a pobočky se nezaručují za
služby třetích stran, materiály třetích stran ani webové stránky a jakékoli jiné materiály, produkty a služby
třetích stran, nedoporučují je a nepřejímají za ně nyní ani do budoucna žádné závazky ani odpovědnost
vůči vám ani jakékoli jiné osobě. Materiály třetích stran a odkazy na jiné webové stránky jsou
poskytovány výhradně pro vaše pohodlí.

(g) Společnost Apple ani žádný z jejích dodavatelů obsahu negarantuje dostupnost, přesnost, úplnost,
spolehlivost ani aktuálnost informací o akciích, polohových dat ani jakýchkoli jiných dat zobrazených
kteroukoli ze služeb. Finanční informace zobrazené libovolnými službami slouží pouze k obecným
informačním účelům a nelze se na ně spoléhat jako na formu investičního poradenství. Před provedením
jakékoli transakce s cennými papíry na základě informací získaných prostřednictvím těchto služeb se
poraďte s finančním nebo pojišťovacím odborníkem, který má licenci pro poskytování finančního nebo
pojišťovacího poradenství ve vaší zemi nebo oblasti. Polohová data poskytovaná kteroukoli ze služeb
včetně služby Mapy od společnosti Apple jsou poskytována pouze pro základní navigační a plánovací
účely a nelze se na ně spoléhat v případech, kdy je potřebné přesné určení polohy nebo kdy chybná,
nepřesná, zpožděná nebo neúplná polohová data mohou vést k úmrtí, zranění nebo poškození majetku
či životního prostředí. Souhlasíte s tím, že výsledky, které obdržíte ze služby Mapy, se mohou lišit od
skutečného stavu komunikací či terénu s ohledem na faktory, jež mohou ovlivnit přesnost dat v Mapách,
mimo jiné počasí, stav silnic, dopravní situace a geopolitické události. V zájmu vlastního bezpečí při
používání navigace vždy věnujte pozornost ukazatelům a aktuálním podmínkám na silnicích. Dodržujte
zásady bezpečného řízení, respektujte dopravní omezení a pamatujte na to, že trasy pro pěší nemusí
počítat s chodníky a cestami pro chodce.

(h) V rozsahu, ve kterém prostřednictvím služeb odesíláte jakýkoli materiál, prohlašujete, že k němu
vlastníte veškerá práva nebo že k jeho odesílání máte povolení či jiné zákonné oprávnění a že tento
obsah nenarušuje žádné podmínky služby vztahující se ke službám. Souhlasíte s tím, že služby obsahují
chráněný obsah, informace a materiál vlastněný společností Apple, vlastníkem webových stránek nebo
jejich licenčními partnery a jsou chráněny příslušnými zákony o duševním vlastnictví a dalšími právními
předpisy včetně autorského práva. Souhlasíte s tím, že takovýto chráněný obsah, informace a materiály
nebudete používat jinak, než k povoleným účelům v rámci použití služeb, a žádným jiným způsobem,
který se neslučuje s podmínkami této licence nebo narušuje duševní vlastnictví třetích stran nebo
společnosti Apple. Žádná část služeb nesmí být v žádné podobě a žádnými prostředky reprodukována.
Souhlasíte s tím, že služby nebudete žádným způsobem měnit, pronajímat, půjčovat, poskytovat na
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 283 of 452



leasing, prodávat, šířit ani na jejich základě vytvářet odvozená díla, a že je nebudete využívat žádným
neautorizovaným způsobem, mimo jiné používáním služeb k přenosu jakýchkoli počítačových virů,
červů, trojských koní ani jiného škodlivého softwaru nebo překračováním či přetěžováním kapacity sítě.
Dále souhlasíte s tím, že nebudete služby žádným způsobem používat k obtěžování, zneužívání,
pronásledování, vyhrožování, poškozování dobrého jména ani jinému porušování nebo ohrožování práv
žádné strany, a že společnost Apple není žádným způsobem odpovědna za jakékoli takovéto vaše
používání služeb ani za jakékoli obtěžování, vyhrůžky, pomluvy, urážlivé, neoprávněné či protiprávní
zprávy nebo sdělení, které můžete obdržet jako důsledek používání kterékoli ze služeb.

(i) Služby a materiály třetích stran, ke kterým lze přistupovat ze zařízení s iOS, odkazovat na ně z tohoto
zařízení nebo je na tomto zařízení zobrazovat, nemusí být k dispozici ve všech jazycích a ve všech
zemích a regionech. Společnost Apple se nijak závazně nevyjadřuje k vhodnosti ani dostupnosti použití
takovýchto služeb a materiálů třetích stran na jakémkoli konkrétním místě. Přístup k takovýmto službám
a materiálům třetích stran ve vámi zvoleném rozsahu je vaší iniciativou a odpovídáte při něm za dodržení
všech platných právních předpisů včetně platných místních právních předpisů a zákonů upravujících
ochranu soukromí a sběr dat. Při sdílení a synchronizaci fotografií prostřednictvím vašeho zařízení s iOS
mohou být současně s fotografiemi přenášena metadata včetně údajů o místě a čase pořízení fotografií
a použité hloubce ostrosti. Využívání služeb společnosti Apple (například knihovny fotografií na iCloudu)
ke sdílení nebo synchronizaci fotografií bude zahrnovat příjem a uchovávání těchto metadat. Společnost
Apple a její licenční partneři si vyhrazují právo kdykoli bez upozornění změnit, pozastavit, odstranit nebo
vypnout přístup ke kterékoli ze služeb. Společnost Apple nebude v žádném případě odpovědná za
odstranění ani vypnutí přístupu ke kterékoli z těchto služeb. Společnost Apple též může stanovit
omezení pro používání určitých služeb nebo přístup k nim, a to v jakémkoli případě, bez upozornění
a bez jakékoli odpovědnosti.

6. Ukončení. Tato licence zůstává v účinnosti, dokud nebude ukončena. Vaše práva v rámci této licence
budou automaticky ukončena nebo jiným způsobem pozbudou účinnosti bez upozornění od společnosti
Apple, pokud nedodržíte kteroukoli podmínku této licence. Při ukončení této licence přestanete používat
veškerý software iOS. Oddíly 4, 5, 6, 7, 8, 9, 12 a 13 této licence zůstávají při ukončení nedotčeny.

7. Odmítnutí záruk
7.1 Pokud se jako zákazník řadíte mezi spotřebitele (subjekty používající software iOS mimo svůj
obchod, podnikání nebo profesi), můžete mít ve své zemi pobytu zákonná práva, která vylučují, aby se
na vás vztahovala následující omezení. V takovém případě se na vás tato omezení nevztahují. Chcete-li
se o svých právech dozvědět více, obraťte se na místní sdružení ochrany spotřebitelů.

7.2 VÝSLOVNĚ BERETE NA VĚDOMÍ A SOUHLASÍTE S TÍM, ŽE POUŽÍVÁNÍ SOFTWARU iOS
A JAKÝCHKOLI SLUŽEB, KTERÉ SOFTWARE iOS POSKYTUJE NEBO K NIM ZPROSTŘEDKOVÁVÁ
PŘÍSTUP, PROBÍHÁ V ROZSAHU POVOLENÉM PLATNÝMI PRÁVNÍMI PŘEDPISY VÝHRADNĚ NA VAŠE
VLASTNÍ NEBEZPEČÍ A ŽE NESETE VEŠKERÁ RIZIKA SPOJENÁ S USPOKOJIVOU KVALITOU,
VÝKONEM, PŘESNOSTÍ A VLOŽENÝM ÚSILÍM.

7.3 V MAXIMÁLNÍM ROZSAHU POVOLENÉM PRÁVNÍMI PŘEDPISY JSOU SOFTWARE iOS
A SLUŽBY POSKYTOVÁNY „TAK, JAK JSOU“ A „TAK, JAK JSOU K DISPOZICI“, SE VŠEMI CHYBAMI
A BEZ ZÁRUKY JAKÉHOKOLI DRUHU, A SPOLEČNOST APPLE A JEJÍ LICENČNÍ PARTNEŘI (PRO
POTŘEBY ČLÁNKU 7 A 8 SPOLEČNĚ OZNAČOVÁNI JAKO „APPLE“) TÍMTO VE VZTAHU
K SOFTWARU iOS A SLUŽBÁM ODMÍTAJÍ VŠECHNY ZÁRUKY A PODMÍNKY, AŤ UŽ VÝSLOVNÉ,
ODVOZENÉ NEBO STATUTÁRNÍ, VČETNĚ ODVOZENÝCH ZÁRUK A PODMÍNEK PRODEJNOSTI,
USPOKOJIVÉ KVALITY, VHODNOSTI PRO KONKRÉTNÍ ÚČEL, PŘESNOSTI, NERUŠENÉ DRŽBY
A NEPORUŠENÍ PRÁV TŘETÍCH STRAN.

7.4   SPOLEČNOST APPLE NEPOSKYTUJE ZÁRUKU PROTI ZÁSAHU DO DRŽBY SOFTWARU iOS
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 284 of 452



A SLUŽEB ANI ZÁRUKU ZA TO, ŽE FUNKCE OBSAŽENÉ VE SLUŽBÁCH POSKYTOVANÝCH NEBO
ZPROSTŘEDKOVANÝCH SOFTWAREM iOS BUDOU SPLŇOVAT VAŠE POŽADAVKY, ŽE PROVOZ
SOFTWARU iOS A SLUŽEB BUDE NEPŘERUŠOVANÝ A BEZCHYBNÝ, ŽE KTERÁKOLI SLUŽBA BUDE
K DISPOZICI TRVALE, ŽE VADY SOFTWARU iOS A SLUŽEB BUDOU OPRAVENY, ANI ŽE SOFTWARE
iOS BUDE KOMPATIBILNÍ NEBO BUDE SPOLUPRACOVAT S LIBOVOLNÝM SOFTWAREM TŘETÍCH
STRAN, APLIKACEMI ČI SLUŽBAMI TŘETÍCH STRAN. INSTALACE TOHOTO SOFTWARU iOS MŮŽE
OVLIVNIT DOSTUPNOST A POUŽITELNOST SOFTWARU, APLIKACÍ A SLUŽEB TŘETÍCH STRAN
A TAKÉ PRODUKTŮ A SLUŽEB SPOLEČNOSTI APPLE.

7.5 DÁLE BERETE NA VĚDOMÍ, ŽE SOFTWARE iOS A SLUŽBY NEJSOU URČENÉ ANI VHODNÉ
K POUŽITÍ V SITUACÍCH A PROSTŘEDÍCH, VE KTERÝCH MŮŽE SELHÁNÍ, ZPOŽDĚNÍ, CHYBY NEBO
NEPŘESNOSTI V OBSAHU, DATECH NEBO INFORMACÍCH POSKYTOVANÝCH SOFTWAREM iOS
NEBO SLUŽBAMI VÉST K ÚMRTÍ, ZRANĚNÍ NEBO VÁŽNÉMU POŠKOZENÍ ZDRAVÍ NEBO ŽIVOTNÍHO
PROSTŘEDÍ, MIMO JINÉ PŘI PROVOZOVÁNÍ JADERNÝCH ZAŘÍZENÍ, V LETECKÉ NAVIGACI
A KOMUNIKAČNÍCH SYSTÉMECH, PŘI ŘÍZENÍ LETOVÉHO PROVOZU, V SYSTÉMECH PODPORY
ŽIVOTNÍCH FUNKCÍ A ZBRAŇOVÝCH SYSTÉMECH.

7.6 Z ŽÁDNÉ ÚSTNÍ ANI PÍSEMNÉ INFORMACE ČI RADY POSKYTNUTÉ SPOLEČNOSTÍ APPLE
NEBO AUTORIZOVANÝM PRODEJCEM APPLE NEMŮŽE VZNIKNOUT ZÁRUKA. POKUD SE
SOFTWARE iOS NEBO SLUŽBY PROJEVÍ JAKO VADNÉ, PŘEJÍMÁTE VEŠKERÉ NÁKLADY
NEZBYTNÉHO SERVISU, OPRAV A NÁPRAV. NĚKTERÉ JURISDIKCE NEUMOŽŇUJÍ VYLOUČENÍ
ODVOZENÝCH ZÁRUK NEBO OMEZENÍ PŘÍSLUŠNÝCH STATUTÁRNÍCH PRÁV SPOTŘEBITELE,
TAKŽE JE MOŽNÉ, ŽE SE VÁS VÝŠE UVEDENÁ VYLOUČENÍ A OMEZENÍ NETÝKAJÍ.

8. Omezení odpovědnosti. V MAXIMÁLNÍ MOŽNÉ MÍŘE, KTEROU UMOŽŇUJE ZÁKON, NEBUDOU
SPOLEČNOST APPLE, JEJÍ AFILACE, ZÁSTUPCI ANI VEDOUCÍ PRACOVNÍCI V ŽÁDNÉM PŘÍPADĚ
ODPOVÍDAT ZA OSOBNÍ ZRANĚNÍ ANI ZA JAKÉKOLI NÁHODNÉ, ZVLÁŠTNÍ, NEPŘÍMÉ ČI NÁSLEDNÉ
ŠKODY JAKÉHOKOLI DRUHU VČETNĚ ODŠKODNÉHO ZA ZTRÁTU ZISKU, POŠKOZENÍ NEBO
ZTRÁTU DAT, SELHÁNÍ PŘI PŘENOSU NEBO PŘÍJMU JAKÝCHKOLI DAT (MIMO JINÉ POKYNŮ,
ÚKOLŮ A MATERIÁLŮ V RÁMCI KURZŮ), PŘERUŠENÍ PODNIKÁNÍ ANI JAKÉKOLI OBCHODNÍ ŠKODY
NEBO ZTRÁTY VZNIKLÉ V DŮSLEDKU NEBO SOUVISLOSTI S POUŽITÍM NEBO NEMOŽNOSTÍ
POUŽITÍ SOFTWARU iOS A SLUŽEB NEBO JAKÉHOKOLI SOFTWARU NEBO APLIKACÍ TŘETÍCH
STRAN VE SPOJENÍ SE SOFTWAREM iOS NEBO SLUŽBAMI, JAKKOLI ZPŮSOBENÉ, BEZ OHLEDU
NA TEORII ODPOVĚDNOSTI (SMLUVNÍ, OBČANSKOPRÁVNÍ, ČI JINOU) A DOKONCE ANI V PŘÍPADĚ,
ŽE SPOLEČNOST APPLE BYLA NA MOŽNOST VZNIKU TAKOVÝCH ŠKOD UPOZORNĚNA. NĚKTERÉ
JURISDIKCE NEUMOŽŇUJÍ VYLOUČENÍ NEBO OMEZENÍ ODPOVĚDNOSTI ZA OSOBNÍ ZRANĚNÍ
NEBO SOUVISEJÍCÍ ČI NÁSLEDNÉ ŠKODY, PROTO JE MOŽNÉ, ŽE SE VÁS TOTO OMEZENÍ NETÝKÁ.
Celková odpovědnost společnosti Apple vůči vám za všechny škody (kromě případů zahrnujících osobní
zranění, které mohou být platnými právními předpisy upraveny jinak) v žádném případě nepřekročí
částku dvě stě padesát dolarů (250,00 USD). Výše uvedená omezení budou platit i v případech, kdy výše
uvedené odškodnění nesplní svůj základní účel.

9. Digitální certifikáty. Software iOS obsahuje funkce, které umožňují přijímat digitální certifikáty vydané
společností Apple nebo třetími stranami. ZA ROZHODNUTÍ, ZDA SPOLÉHAT, NEBO NESPOLÉHAT NA
URČITÝ CERTIFIKÁT, BEZ OHLEDU NA TO, ZDA BYL VYSTAVEN SPOLEČNOSTÍ APPLE NEBO TŘETÍ
STRANOU, NESETE VÝHRADNÍ ODPOVĚDNOST VY. POUŽÍVÁNÍ DIGITÁLNÍCH CERTIFIKÁTŮ JE
VÝHRADNĚ NA VAŠE VLASTNÍ NEBEZPEČÍ. V MAXIMÁLNÍM ROZSAHU POVOLENÉM PRÁVNÍMI
PŘEDPISY SPOLEČNOST APPLE NEPOSKYTUJE VE VZTAHU K DIGITÁLNÍM CERTIFIKÁTŮM ŽÁDNÉ
VÝSLOVNÉ ANI ODVOZENÉ ZÁRUKY ANI ZÁVAZNÉ VYJÁDŘENÍ VE VĚCI PRODEJNOSTI
A VHODNOSTI K JAKÉMUKOLI KONKRÉTNÍMU POUŽITÍ, PŘESNOSTI, BEZPEČNOSTI
A NEPORUŠENÍ PRÁV TŘETÍCH STRAN.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 285 of 452



10. Omezení vývozu. Software iOS nesmíte používat ani jinak exportovat či reexportovat jiným
způsobem, než stanovují právní předpisy USA nebo právní předpisy jurisdikce, ve které byl software iOS
získán. Zejména není dovoleno exportovat ani reexportovat software iOS (a) do žádných zemí pod
embargem USA a (b) do rukou žádného subjektu uvedeného v seznamu speciálně určených státních
příslušníků Ministerstva financí USA, v seznamu zakázaných osob a subjektů Ministerstva obchodu USA
nebo v jakémkoli jiném seznamu stran podléhajících omezení. Použitím softwaru iOS vyjadřujete své
závazné prohlášení a záruku, že se nenacházíte v žádné takové zemi ani na žádném takovém seznamu.
Dále souhlasíte s tím, že software iOS nebudete používat k žádným účelům, které jsou zakázány
právními předpisy Spojených států, mimo jiné k vývoji, navrhování, výrobě či produkci střel
a nukleárních, chemických nebo biologických zbraní.

11. Koncoví uživatelé ve státní správě. Software iOS a příslušná dokumentace jsou „obchodními
položkami“ v souladu s definicí tohoto pojmu v 48 C.F.R. §2.101, sestávající z „komerčního počítačového
softwaru” a „dokumentace komerčního počítačového softwaru“ v souladu s definicí těchto pojmů v 48
C.F.R. §12.212 nebo 48 C.F.R. §227.7202. V souladu s ustanoveními 48 C.F.R. §12.212 a 48 C.F.R.
§227.7202-1 až 227.7202-4 jsou komerční počítačový software a dokumentace komerčního
počítačového softwaru licencovány uživatelům ve státní správě USA (a) pouze jako obchodní položky
a (b) pouze s právy, která jsou udělena všem ostatním koncovým uživatelům v rámci smluvních
podmínek uvedených v tomto dokumentu. Autorská práva k nezveřejněnému dílu vyhrazena v rámci
autorskoprávních zákonů USA.

12. Rozhodující právo a oddělitelnost. Tato licence se řídí a je vytvořena v souladu s právními předpisy
státu Kalifornie s vyloučením jejích principů konfliktu právních předpisů. Tato licence se neřídí Konvencí
Spojených Národů nebo Úmluvami pro smlouvy o mezinárodním prodeji zboží, jejichž použití je výslovně
vyloučeno. Jste-li uživatelem se sídlem ve Spojeném království, bude tato licence řízena právem
jurisdikce v místě vašeho pobytu. Pokud z jakéhokoli důvodu shledá soudní dvůr směrodatných
jurisdikcí kteroukoli klauzuli nebo její část právně neúčinnou, ostatní části této licence si zachovávají
plnou platnost a účinnost.

13. Úplná smlouva; rozhodný jazyk. Tato licence tvoří úplnou dohodu mezi vámi a společností Apple ve
vztahu k softwaru iOS a nahrazuje všechna předchozí i současná ujednání ohledně předmětu této
smlouvy. Žádný dodatek ani úprava této licence nebudou závazné, pokud nebudou uzavřeny písemnou
formou a podepsány společností Apple. V rozsahu, ve kterém takové ustanovení nezakazují místní právní
předpisy vaší jurisdikce, jsou všechny překlady této licence zhotoveny pouze pro místní účely a v
případě neshody mezi anglickou verzí a neanglickými verzemi je rozhodující anglická verze licence.

14. Uznání třetích stran. Části softwaru iOS mohou využívat nebo obsahovat software třetích stran
a další materiál chráněný autorským právem. Uznání, licenční podmínky a odmítnutí záruk pro takovéto
materiály jsou obsaženy v elektronické dokumentaci pro software iOS a používání takovýchto materiálů
se řídí příslušnými podmínkami těchto materiálů. Použití služby Google Safe Browsing Service podléhá
podmínkám služby Google (https://www.google.com/intl/cs/policies/terms/) a zásadám ochrany
soukromí společnosti Google (https://www.google.com/intl/cs/policies/privacy/).

15. Použití standardu MPEG-4; upozornění pro standard H.264/AVC
(a) Software iOS je licencován v rámci licence na portfolio systémových patentů MPEG-4 pro kódování
videa v souladu s normou MPEG-4 Systems Standard, nicméně kódování ve spojení s (i) daty uloženými
nebo replikovanými na fyzických médiích, která jsou placena od titulu, a (ii) daty, která jsou placena od
titulu a jsou přenášena ke koncovému uživateli za účelem trvalého uložení anebo používání, podléhá
dalším licenčním poplatkům a podmínkám. Tuto dodatkovou licenci lze získat od společnosti MPEG LA,
LLC. Další podrobnosti najdete na webové stránce http://www.mpegla.com.

(b) Software iOS obsahuje funkce pro kódování a dekódování videa MPEG-4. Software iOS je licencován
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 286 of 452



v rámci licence MPEG-4 Visual Patent Portfolio License pro osobní a nekomerční použití spotřebitelem
pro (i) kódování videa v souladu s normou MPEG-4 Visual Standard („MPEG-4 Video“) a (ii) dekódování
MPEG-4 videa, které bylo zakódováno v rámci osobní a nekomerční aktivity nebo získáno od
poskytovatele videa, který je držitelem licence společnosti MPEG LA pro poskytování videa MPEG-4s.
Pro žádné jiné použití se licence neuděluje a nelze ji ani odvozovat. Další informace včetně informací
souvisejících s propagačním, interním a komerčním použitím lze získat od společnosti MPEG LA, LLC.
Viz http://www.mpegla.com.

(c) Software iOS obsahuje funkce kódování a dekódování formátu AVC. Komerční použití standardu H.
264/AVC vyžaduje dodatečné licencování a platí následující doložka: FUNKCE AVC V SOFTWARU iOS
JE ZDE LICENCOVÁNA POUZE PRO OSOBNÍ A NEKOMERČNÍ POUŽITÍ SPOTŘEBITELEM PRO (i)
KÓDOVÁNÍ VIDEA V SOULADU SE STANDARDEM AVC („AVC VIDEO“) A (ii) DEKÓDOVÁNÍ VIDEA AVC,
KTERÉ BYLO ZAKÓDOVÁNO SPOTŘEBITELEM V RÁMCI OSOBNÍ A NEKOMERČNÍ AKTIVITY NEBO
VIDEA AVC ZÍSKANÉHO OD POSKYTOVATELE VIDEA, KTERÝ JE DRŽITELEM LICENCE PRO
POSKYTOVÁNÍ VIDEA AVC. INFORMACE O JINÉM POUŽITÍ A LICENCÍCH LZE ZÍSKAT OD
SPOLEČNOSTI MPEG LA L.L.C. VIZ http://www.mpegla.com.

16. Omezení vyhledávací služby Yahoo. Vyhledávací služba Yahoo, která je k dispozici v prohlížeči
Safari, je licencována pouze pro použití v těchto zemích a oblastech: Argentina, Aruba, Austrálie,
Bahamy, Barbados, Belgie, Bermudy, Brazílie, Bulharsko, Česká republika, kontinentální Čína, Dánsko,
Dominikánská republika, Ekvádor, El Salvador, Filipíny, Finsko, Francie, Grenada, Guatemala, Hongkong,
Chile, Indie, Indonésie, Irsko, Island, Itálie, Jamajka, Japonsko, Jižní Korea, Kajmanské ostrovy, Kanada,
Kolumbie, Kypr, Litva, Lotyšsko, Lucembursko, Maďarsko, Malajsie, Malta, Mexiko, Německo,
Nikaragua, Nizozemsko, Norsko, Nový Zéland, Panama, Peru, Polsko, Portoriko, Portugalsko,
Rakousko, Rumunsko, Řecko, Singapur, Slovensko, Slovinsko, Spojené království, Spojené státy, Svatá
Lucie, Svatý Vincent, Španělsko, Švédsko, Švýcarsko, Thajsko, Tchaj‑wan, Trinidad a Tobago, Turecko,
Uruguay a Venezuela.

17. Upozornění pro Microsoft Exchange. Nastavení pošty Microsoft Exchange v softwaru iOS je
licencováno pouze pro bezdrátovou synchronizaci dat, jako jsou e-maily, kontakty, kalendáře a úlohy,
mezi zařízením s iOS a Microsoft Exchange Serverem nebo jiným serverovým softwarem licencovaným
společností Microsoft pro implementaci protokolu Microsoft Exchange ActiveSync.

EA1566
21.02.2019

————————————
Doplňující podmínky a ustanovení pro službu Apple Pay

Tyto doplňující podmínky a ustanovení pro službu Apple Pay („doplňující podmínky“) doplňují licenční
ujednání pro software iOS („licence“); vaše používání služby Apple Pay (v rámci této licence dále jen
„služba“) se řídí jak podmínkami licence, tak i těmito doplňujícími podmínkami. Pojmy definované v textu
licence a používané v těchto doplňujících podmínkách mají význam uvedený v licenci.

1. Přehled a omezení použití

Služba Apple Pay vám umožňuje:

       •     uložit virtuální ekvivalent vašich kreditních, debetních a předplatních karet (včetně kreditních,
             debetních a předplatních karet jednotlivých obchodů a karet Apple Pay Cash), které služba
             Apple Pay podporuje („podporované platební karty“), a využívat podporovaná iOS zařízení
             pro bezkontaktní platby na vybraných místech nebo v aplikacích či na webových stránkách;
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 287 of 452



       •   používat ve vybraných obchodech odměnové karty a dárkové poukázky uložené ve Walletu
           („karty s podporou Apple Pay“ a souhrnně s podporovanými platebními kartami
           „podporované karty“), k provádění transakci s bezkontaktními odměnovými kartami
           a dárkovými poukázkami v rámci bezkontaktních plateb přes Apple Pay;
       •   zasílat osobní platby jiným uživatelům Apple Pay.

Funkce Apple Pay softwaru iOS mohou být dostupné jen ve vybraných oblastech, pro vybrané
vydavatele karet, finanční instituce a obchodníky. Dostupnost funkcí může záviset na oblasti, vydavateli
a obchodníkovi.

K použití služby Apple Pay potřebujete podporovanou kartu. Seznam podporovaných karet se může čas
od času měnit. Pro odesílání a příjem osobních plateb potřebujete navíc kartu Apple Pay Cash.

Podporované platební karty a osobní platby jsou sdruženy s Apple ID, pod kterým jste se za účelem
využívání těchto služeb přihlásili k iCloudu. Podporované karty jsou k dispozici pouze osobám starším
13 let a jejich použití může podléhat dalším věkovým omezením platným pro službu iCloud nebo pro
podporovanou kartu, kterou chcete zřídit. Karta Apple Pay Cash a možnost odesílat a přijímat osobní
platby jsou k dispozici jen pro osoby starší 18 let.

Služba Apple Pay je určena jen pro osobní potřebu a smíte ji využívat pouze k zřizování svých vlastních
podporovaných karet. Pokud zřizujete podporovanou firemní kartu, prohlašujete, že tak činíte se
svolením svého zaměstnavatele a že jste oprávněni jeho jménem závazně přijmout tyto podmínky použití
a provádět všechny transakce, které při vašem používání této funkce vzniknou. Pokud odešlete nebo
přijmete osobní platbu, prohlašujete, že tak činíte pro svou osobní, nekomerční potřebu.

Souhlasíte s tím, že nebudete službu Apple Pay zneužívat k protiprávním a podvodným účelům ani
k žádnému jinému jednání, které je zakázáno v textu licence a těchto doplňujících podmínek. Dále
souhlasíte s tím, že budete službu Apple Pay využívat v souladu s platnými právními normami a předpisy.
Souhlasíte s tím, že nebudete narušovat ani poškozovat službu Apple Pay (týká se i přístupu ke službě
prostřednictvím jakýchkoli automatizovaných prostředků), jakékoli servery a sítě propojené s touto
službou ani zásady, požadavky a omezení sítí, které jsou s touto službou propojeny (týká se
i neautorizovaného přístupu k nim a využívání či monitorování jejich dat a datového provozu).

2. Vztah mezi vámi a společností Apple

Služba Apple Pay vám umožňuje vytvořit ve vašem podporovaném iOS zařízení virtuální ekvivalent
vašich podporovaných karet. Společnost Apple však nezpracovává platby ani transakce s neplatebními
kartami (například udělování, připisování a uplatňování odměn), nepřijímá, neuchovává ani nepřevádí
vaše prostředky a nemá žádný vliv na platby, vratky, náhrady, odměny, zhodnocování, slevy ani jiné
obchodní transakce, které mohou při vašem používání této funkce probíhat.

Používání vašich podporovaných karet samostatně i v kombinaci se službou Apple Pay se nadále řídí
podmínkami smlouvy s držitelem platební karty, kterou jste při vystavení platební karty uzavřeli
s vydavatelem karty. Podobně vaše účast v jakýchkoli obchodnických odměnových či poukázkových
programech a vaše používání karet s aktivovaných pro Apple Pay v kombinaci se službou Apple Pay
podléhá podmínkám a ustanovením příslušného obchodníka.

Karta Apple Pay Cash a možnost odesílat a přijímat osobní platby jsou k dispozici jen v USA; tyto služby
zajišťuje Green Dot Bank, člen FDIC. Povolením těchto služeb v rámci Apple Pay si u společnosti Green
Dot Bank zřizujete účet a společnost Green Dot Bank také odpovídá za přijetí peněz od správného
plátce a předání peněz zamýšlenému příjemci při odesílání a přijímání osobních plateb a vkládání
a vybírání vašich finančních prostředků na kartě Apple Pay Cash. Finanční instituce zodpovědná za
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 288 of 452



nabídku služby Apple Pay Cash a za osobní platby v rámci Apple Pay se může změnit a vaše používání
těchto služeb podléhá podmínkám této instituce.

Žádná část licence ani těchto doplňujících podmínek nemění podmínky žádné smlouvy s držitelem
platební karty, uživatelem ani obchodníkem a vaše používání příslušné podporované karty a služby
osobních plateb v rámci Apple Pay i jejich virtuálních ekvivalentů ve vašem iOS zařízení se řídí
podmínkami této smlouvy. Souhlasíte s tím, že společnost Apple není účastníkem vašich smluv držitele
platební karty ani smluv s obchodníky, ani neodpovídá za: (a) obsah, přesnost či nedostupnost jakýchkoli
platebních karet, odměnových karet, dárkových poukázek, obchodních aktivit, transakcí a nákupů
uskutečněných s použitím funkcí služby Apple Pay; (b) přidělování kreditu či posuzování nároku na něj;
(c) připisování a uplatňování odměn či uložené hodnoty v rámci programů obchodníků; (d) financování či
dobíjení předplatních karet; (e) odesílání a příjem osobních plateb; ani (f) vkládání, uplatňování a vybírání
finančních prostředků na vaší kartě Apple Pay Cash.

Se všemi námitkami a dotazy, které se týkají vašich platebních karet, odměnových karet, dárkových
poukázek nebo souvisejících obchodních aktivit, se obracejte na vydavatele karty nebo příslušného
obchodníka. S dotazy ke kartám Apple Pay Cash a osobním platbám se obracejte na podporu Apple.

3. Soukromí

Aby vám služba Apple Pay mohla nabídnout všechny své funkce a možnosti, potřebuje některé údaje
z vašeho iOS zařízení. Pokud používáte také kartu Apple Pay Cash nebo odesíláte či přijímáte osobní
platby, dochází navíc ke shromažďování dalších informací o vašich transakcích a k uchovávání těchto
informací za účelem obsluhy vašeho účtu a prevence podvodů a pro potřeby naplnění regulatorních
požadavků. Další informace o datech, která služba Apple Pay shromažďuje, využívá a sdílí v rámci
vašeho využívání služby Apple Pay, karty Apple Pay Cash nebo osobních plateb, jsou k dispozici
v dokumentu „Apple Pay a soukromí“ (který najdete na panelu Wallet a Apple Pay na vašem iOS zařízení
nebo v aplikaci Watch na spárovaném iOS zařízení) nebo na adrese https://www.apple.com/privacy/.
Používáním těchto služeb vyjadřujete svůj výslovný souhlas s tím, že společnost Apple, její pobočky
a zástupci mohou za účelem poskytování funkcí Apple Pay přenášet, shromažďovat, spravovat,
zpracovávat a využívat všechna výše uvedená data.

4. Zabezpečení; ztracená a zablokovaná zařízení

Ve službě Apple Pay se ukládají virtuální ekvivalenty vašich podporovaných karet, které je třeba chránit
stejně, jako chráníte svou hotovost a své fyzické kreditní, debetní a odměnové karty a dárkové poukázky.
Poskytnete-li přístupový kód ke svému zařízení jiné osobě nebo umožníte-li jí přidat její otisk prstu nebo
tváře do databáze Touch ID nebo Face ID na vašem zařízení, tato osoba tím může získat možnost
provádět z vašeho zařízení platby prostřednictvím služby Apple Pay, odesílat, požadovat a přijímat
osobní platby, vybírat peníze z vaší karty Apple Pay Cash a přijímat či uplatňovat odměny a kredity. Za
zachování bezpečnosti vašeho zařízení a přístupového kódu odpovídáte výhradně vy. Souhlasíte s tím,
že společnost Apple neponese žádnou zodpovědnost, pokud své zařízení ztratíte nebo k nim umožníte
přístup třetí osobě. Souhlasíte s tím, že společnost Apple neponese žádnou odpovědnost, pokud
v systému iOS provedete jakékoli neautorizované úpravy (například prostřednictvím tzv. „jailbreaku“).

Pro získání přístupu k některým funkcím služby Apple Pay, mimo jiné ke kartě Apple Pay Cash
a k osobním platbám prostřednictvím Apple Pay, může být nezbytné, abyste si aktivovali posílená
bezpečnostní opatření, například dvoufaktorové ověřování vašeho Apple ID. Pokud tyto bezpečnostní
funkce následně deaktivujete, můžete tím přístup k některým funkcím služby Apple Pay ztratit.

Dojde-li ke ztrátě nebo krádeži vašeho zařízení a máte-li aktivovanou funkci Hledat iPhone, můžete se
jejím prostřednictvím pokusit v daném zařízení pozastavit možnost placení pomocí podporovaných
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 289 of 452



virtuálních platebních karet a zasílání osobních plateb tím, že zařízení přepnete do režimu Ztraceno. Další
možností je zařízení vymazat, přičemž dojde k pokusu pozastavit v zařízení možnost placení pomocí
podporovaných virtuálních platebních karet a zasílání osobních plateb a také k pokusu o odebrání karet
aktivovaných pro Apple Pay. Současně byste se však v zájmu zabránění neoprávněnému přístupu
k vašim podporovaným kartám měli obrátit na vydavatele vašich podporovaných platebních karet, na
obchodníky, kteří vám poskytli vaše karty aktivované pro Apple Pay, a v případě karty Apple Pay Cash
také na společnost Apple.

Souhlasíte s tím, že pokud ohlásíte podvod nebo zneužití nebo bude-li mít společnost Apple na takové
jednání podezření, poskytnete jí při vyšetřování spolupráci a přijmete jí doporučená opatření.

5. Omezení odpovědnosti

KROMĚ ODMÍTNUTÍ ZÁRUK A OMEZENÍ ZODPOVĚDNOSTI, JAK JSOU UVEDENY V TEXTU LICENCE,
SPOLEČNOST APPLE DÁLE NEPŘIJÍMÁ ŽÁDNOU ODPOVĚDNOST ZA NÁKUPY, PLATBY,
TRANSAKCE A DALŠÍ OBCHODNÍ AKTIVITY USKUTEČNĚNÉ PROSTŘEDNICTVÍM SLUŽBY APPLE
PAY. SOUHLASÍTE S TÍM, ŽE PŘI ŘEŠENÍ JAKÝCHKOLI OTÁZEK ČI SPORŮ, KTERÉ SE TÝKAJÍ
VAŠICH PODPOROVANÝCH KARET, OSOBNÍCH PLATEB A SOUVISEJÍCÍ OBCHODNÍ AKTIVITY, SE
BUDETE OPÍRAT VÝHRADNĚ O SMLOUVY UZAVŘENÉ S PŘÍSLUŠNÝM VYDAVATELEM KARTY,
PLATEBNÍ SÍTÍ, FINANČNÍ INSTITUCÍ NEBO OBCHODNÍKEM.

————————————
UPOZORNĚNÍ SPOLEČNOSTI APPLE
Souhlasíte s tím, že pokud se na vás společnost Apple bude potřebovat obrátit v souvislosti s vaším
produktem nebo účtem, budou vám příslušná upozornění zaslána e-mailem. Souhlasíte s tím, že veškerá
taková upozornění, která vám budou zaslána elektronicky, budou splňovat veškeré právní požadavky na
komunikaci.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 290 of 452



ΕΛΛΗΝΙΚΑ

ΣΗΜΑΝΤΙΚΟ: Η ΑΠΟ ΜΕΡΟΥΣ ΣΑΣ ΧΡΗΣΗ ΤΟΥ iPHONE, iPAD Ή iPOD TOUCH («ΣΥΣΚΕΥΗ iOS»)
ΣΥΝΕΠΑΓΕΤΑΙ ΤΗΝ ΑΠΟΔΟΧΗ ΤΩΝ ΠΑΡΑΚΑΤΩ ΟΡΩΝ:

Α.   ΑΔΕΙΑ ΧΡΗΣΗΣ ΛΟΓΙΣΜΙΚΟΥ iOS ΤΗΣ APPLE
Β.   ΠΡΟΣΘΕΤΟΙ ΟΡΟΙ ΓΙΑ ΤΟ APPLE PAY
Γ.   ΕΙΔΟΠΟΙΗΣΕΙΣ ΑΠΟ ΤΗΝ APPLE

APPLE INC.
ΑΔΕΙΑ ΧΡΗΣΗΣ ΛΟΓΙΣΜΙΚΟΥ iOS ΤΗΣ APPLE
Άδεια χρήσης σε μεμονωμένη συσκευή

ΔΙΑΒΑΣΤΕ ΠΡΟΣΕΚΤΙΚΑ ΤΗΝ ΠΑΡΟΥΣΑ ΣΥΜΒΑΣΗ ΑΔΕΙΑΣ ΧΡΗΣΗΣ ΛΟΓΙΣΜΙΚΟΥ («ΑΔΕΙΑ
ΧΡΗΣΗΣ») ΠΡΙΝ ΧΡΗΣΙΜΟΠΟΙΗΣΕΤΕ ΤΗ ΣΥΣΚΕΥΗ iOS ΣΑΣ Ή ΠΡΑΓΜΑΤΟΠΟΙΗΣΕΤΕ ΛΗΨΗ ΤΗΣ
ΕΝΗΜΕΡΩΣΗΣ ΛΟΓΙΣΜΙΚΟΥ ΠΟΥ ΣΥΝΟΔΕΥΕΙ ΤΗΝ ΠΑΡΟΥΣΑ ΑΔΕΙΑ ΧΡΗΣΗΣ. Η ΧΡΗΣΗ ΤΗΣ
ΣΥΣΚΕΥΗΣ iOS ΚΑΘΩΣ ΚΑΙ Η ΛΗΨΗ ΤΗΣ ΕΝΗΜΕΡΩΣΗΣ ΛΟΓΙΣΜΙΚΟΥ, ΚΑΤΑ ΠΕΡΙΠΤΩΣΗ,
ΣΥΝΕΠΑΓΟΝΤΑΙ ΤΗΝ ΑΠΟΔΟΧΗ ΤΩΝ ΟΡΩΝ ΤΗΣ ΠΑΡΟΥΣΑΣ ΑΔΕΙΑΣ ΧΡΗΣΗΣ. ΑΝ ΔΕΝ
ΣΥΜΦΩΝΕΙΤΕ ΜΕ ΤΟΥΣ ΟΡΟΥΣ ΤΗΣ ΠΑΡΟΥΣΑΣ ΑΔΕΙΑΣ ΧΡΗΣΗΣ, ΜΗ ΧΡΗΣΙΜΟΠΟΙΗΣΕΤΕ ΤΗ
ΣΥΣΚΕΥΗ iOS ΚΑΙ ΜΗΝ ΠΡΑΓΜΑΤΟΠΟΙΗΣΕΤΕ ΛΗΨΗ ΤΗΣ ΕΝΗΜΕΡΩΣΗΣ ΛΟΓΙΣΜΙΚΟΥ.

ΑΝ ΑΓΟΡΑΣΑΤΕ ΠΡΟΣΦΑΤΑ ΜΙΑ ΣΥΣΚΕΥΗ iOS ΚΑΙ ΔΕΝ ΣΥΜΦΩΝΕΙΤΕ ΜΕ ΤΟΥΣ ΟΡΟΥΣ ΤΗΣ
ΑΔΕΙΑΣ ΧΡΗΣΗΣ, ΜΠΟΡΕΙΤΕ ΝΑ ΕΠΙΣΤΡΕΨΕΤΕ ΤΗ ΣΥΣΚΕΥΗ iOS ΕΝΤΟΣ ΤΗΣ ΠΡΟΘΕΣΜΙΑΣ
ΕΠΙΣΤΡΟΦΗΣ ΣΤΟ APPLE STORE Ή ΣΤΟΝ ΕΞΟΥΣΙΟΔΟΤΗΜΕΝΟ ΔΙΑΝΟΜΕΑ ΑΠΟ ΟΠΟΥ ΤΗΝ
ΠΡΟΜΗΘΕΥΤΗΚΑΤΕ ΚΑΙ ΝΑ ΛΑΒΕΤΕ ΕΠΙΣΤΡΟΦΗ ΧΡΗΜΑΤΩΝ, ΣΥΜΦΩΝΑ ΜΕ ΤΗΝ ΠΟΛΙΤΙΚΗ
ΕΠΙΣΤΡΟΦΩΝ ΤΗΣ APPLE, ΠΟΥ ΠΑΡΑΤΙΘΕΤΑΙ ΣΤΗ ΔΙΕΥΘΥΝΣΗ https://www.apple.com/legal/
sales-support/.

1. Γενικά.
(α) Το λογισμικό (συμπεριλαμβανομένων του κώδικα Boot ROM, ενσωματωμένου λογισμικού και
λογισμικού τρίτων), τα έγγραφα τεκμηρίωσης, οι διεπαφές, το περιεχόμενο, οι γραμματοσειρές και
οποιαδήποτε δεδομένα που παρέχονται μαζί με τη Συσκευή iOS σας («Γνήσιο λογισμικό iOS»), όπως
ενδέχεται να ενημερωθούν ή να αντικατασταθούν μέσω βελτιώσεων δυνατοτήτων, ενημερώσεων του
λογισμικού ή λογισμικού επαναφοράς του συστήματος που παρέχεται από την Apple («Ενημερώσεις
λογισμικού iOS»), είτε σε μνήμη μόνο για ανάγνωση (μνήμη ROM) είτε σε οποιοδήποτε άλλο μέσο είτε σε
οποιαδήποτε άλλη μορφή (το Γνήσιο λογισμικό iOS και οι Ενημερώσεις λογισμικού iOS αναφέρονται από
κοινού ως το «Λογισμικό iOS»), δεν πωλούνται σε εσάς από την Apple Inc. (η «Apple») αλλά σας
παρέχονται για χρήση μόνο σύμφωνα με τους όρους της παρούσας Άδειας χρήσης. Η Apple και οι
δικαιοπάροχοί της διατηρούν την κυριότητα του ίδιου του λογισμικού iOS και επιφυλάσσονται όλων των
δικαιωμάτων που δεν σας παραχωρούνται ρητώς. Συμφωνείτε ότι οι όροι της παρούσας Άδειας χρήσης
θα ισχύουν για οποιαδήποτε εφαρμογή της Apple που μπορεί να είναι ενσωματωμένη στη Συσκευή iOS
σας, εκτός κι αν τυχόν τέτοια εφαρμογή συνοδεύεται από ξεχωριστή άδεια χρήσης. Σε τέτοια περίπτωση,
συμφωνείτε ότι οι όροι της ξεχωριστής άδειας χρήσης θα διέπουν τη χρήση της εν λόγω εφαρμογής.

(β) Η Apple, σύμφωνα με τη διακριτική της ευχέρεια, μπορεί να καταστήσει διαθέσιμες μελλοντικές
Ενημερώσεις λογισμικού iOS. Οι Ενημερώσεις λογισμικού iOS, αν υπάρχουν, δεν είναι απαραίτητο να
περιλαμβάνουν όλα τα υπάρχοντα χαρακτηριστικά λογισμικού ή νέα χαρακτηριστικά που διαθέτει η Apple
για νεότερα ή άλλα μοντέλα των Συσκευών iOS. Οι όροι της παρούσας Άδειας χρήσης θα διέπουν
οποιεσδήποτε Ενημερώσεις iOS που παρέχει η Apple, εκτός αν μια τέτοια Ενημέρωση λογισμικού iOS
συνοδεύεται από ξεχωριστή άδεια, στην οποία περίπτωση συμφωνείτε ότι θα ισχύουν οι όροι της
συγκεκριμένης άδειας.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 291 of 452



(γ) Αν χρησιμοποιήσετε τη δυνατότητα γρήγορης διαμόρφωσης για τη διαμόρφωση μιας νέας Συσκευής
iOS με βάση την υπάρχουσα Συσκευή iOS σας, συμφωνείτε ότι οι όροι της παρούσας Άδειας χρήσης θα
διέπουν την από μέρους σας χρήση του Λογισμικού iOS στη νέα Συσκευή iOS σας, εκτός κι συνοδεύεται
από ξεχωριστή άδεια, στην οποία περίπτωση συμφωνείτε ότι οι όροι της συγκεκριμένης άδειας θα
διέπουν την από μέρους σας χρήση του εν λόγω Λογισμικού iOS. Η Συσκευή iOS σας θα πραγματοποιεί
περιοδικούς ελέγχους στην Apple για Ενημερώσεις iOS. Αν υπάρχει κάποια διαθέσιμη ενημέρωση,
ενδέχεται να γίνεται αυτόματη λήψη και εγκατάσταση της ενημέρωσης στη Συσκευή iOS σας και στις
τυχόν περιφερειακές συσκευές σας. Κάνοντας χρήση του Λογισμικού Apple, συμφωνείτε ότι η Apple
μπορεί να πραγματοποιεί λήψη και εγκατάσταση αυτόματων Ενημερώσεων iOS στη Συσκευή iOS
σας και στις περιφερειακές συσκευές σας. Μπορείτε να απενεργοποιήσετε τις αυτόματες
ενημερώσεις οποιαδήποτε στιγμή μέσω των ρυθμίσεων για τις Αυτόματες ενημερώσεις στις «Ρυθμίσεις»
> «Γενικά» > «Ενημέρωση λογισμικού».

2. Επιτρεπόμενες χρήσεις και περιορισμοί της Άδειας χρήσης.
(α) Σύμφωνα με τους όρους και τις προϋποθέσεις της παρούσας Άδειας χρήσης, σας παραχωρείται
περιορισμένη, μη αποκλειστική άδεια να χρησιμοποιείτε το Λογισμικό iOS σε μία μόνο Συσκευή iOS της
Apple. Εκτός όπως επιτρέπεται στην Ενότητα 2 (β) κατωτέρω, και εκτός αν παρέχεται σε ξεχωριστή
σύμβαση μεταξύ ημών και της Apple, η παρούσα Άδεια χρήσης δεν επιτρέπει το Λογισμικό iOS να
υπάρχει ταυτόχρονα σε περισσότερες από μία Συσκευές iOS της Apple, και δεν μπορείτε να διανείμετε ή
να καταστήσετε διαθέσιμο το Λογισμικό iOS μέσω ενός δικτύου όπου θα μπορούσε να χρησιμοποιηθεί
από περισσότερες συσκευές ταυτόχρονα. Η παρούσα Άδεια χρήσης δεν σας παρέχει οποιοδήποτε
δικαίωμα να χρησιμοποιείτε τις ιδιόκτητες διεπαφές της Apple ή άλλη πνευματική ιδιοκτησία που ανήκει
αποκλειστικά στην Apple, για τον σχεδιασμό, την ανάπτυξη, την κατασκευή, την παραχώρηση άδειας
χρήσης ή τη διανομή συσκευών ή παρελκόμενων τρίτων και παρελκόμενων ή εφαρμογών λογισμικού
τρίτων για χρήση με Συσκευές iOS. Ορισμένα από αυτά τα δικαιώματα παραχωρούνται από την Apple
βάσει ξεχωριστών αδειών χρήσης. Περισσότερες πληροφορίες σχετικά με την ανάπτυξη συσκευών και
παρελκόμενων τρίτων για Συσκευές iOS, επισκεφθείτε τη διεύθυνση https://developer.apple.com/
programs/mfi/. Για περισσότερες πληροφορίες σχετικά με την ανάπτυξη εφαρμογών λογισμικού για
Συσκευές iOS, επισκεφθείτε τη διεύθυνση https://developer.apple.com.

(β) Σύμφωνα με τους Όρους και τις Προϋποθέσεις της παρούσας Άδειας χρήσης, σας παραχωρείται
περιορισμένη, μη αποκλειστική άδεια λήψης των Ενημερώσεων λογισμικού iOS που μπορεί να διατίθενται
από την Apple για το δικό σας μοντέλο της Συσκευής iOS για ενημέρωση ή επαναφορά λογισμικού σε
οποιαδήποτε τέτοια Συσκευή iOS που βρίσκεται υπό την κυριότητα ή τον έλεγχό σας. Η παρούσα Άδεια
χρήσης δεν σας επιτρέπει να πραγματοποιείτε ενημέρωση ή επαναφορά σε Συσκευές iOS που δεν
βρίσκονται υπό την κυριότητα ή τον έλεγχό σας, και δεν μπορείτε να διανείμετε ή να διαθέσετε
Ενημερώσεις λογισμικού iOS μέσω ενός δικτύου όπου θα μπορούσαν να χρησιμοποιηθούν από
περισσότερες συσκευές ή περισσότερους ηλεκτρονικούς υπολογιστές ταυτόχρονα. Εάν
πραγματοποιήσετε λήψη της Ενημέρωσης λογισμικού iOS στον υπολογιστή σας, μπορείτε να
δημιουργήσετε ένα αντίγραφο των Ενημερώσεων λογισμικού iOS που είναι αποθηκευμένες στον
υπολογιστή σας σε μορφή αναγνώσιμη από τον υπολογιστή, μόνο για σκοπούς δημιουργίας εφεδρικών
αντιγράφων, υπό την προϋπόθεση ότι το εφεδρικό αντίγραφο θα περιλαμβάνει όλες τις δηλώσεις
πνευματικών δικαιωμάτων ή άλλων αποκλειστικών δικαιωμάτων που περιλαμβάνονται στο πρωτότυπο.

(γ) Στον βαθμό που η Apple έχει προεγκαταστήσει εφαρμογές Apple από το App Store στη Συσκευή iOS
σας κατά την αγορά («Προεγκατεστημένες εφαρμογές»), θα χρειαστεί να πραγματοποιήσετε είσοδο στο
App Store και να συσχετίσετε αυτές τις Προεγκατεστημένες εφαρμογές με τον λογαριασμό σας στο App
Store για να μπορείτε να τις χρησιμοποιείτε στη Συσκευή iOS σας. Όταν συσχετίσετε μια
Προεγκατεστημένη εφαρμογή με τον λογαριασμό σας στο App Store, παράλληλα θα συσχετιστούν
αυτόματα και όλες οι άλλες Προεγκατεστημένες εφαρμογές στη Συσκευή iOS σας. Αν επιλέξετε να
συσχετίσετε τις Προεγκατεστημένες εφαρμογές με τον λογαριασμό σας στο App Store, συμφωνείτε ότι η
Apple θα μπορεί να μεταδίδει, να συλλέγει, να διατηρεί, να επεξεργάζεται και να χρησιμοποιεί και το
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 292 of 452



Apple ID που χρησιμοποιείται στον λογαριασμό σας στο App Store και ένα μοναδικό αναγνωριστικό
υλισμικού που θα συλλεχθεί από τη Συσκευή iOS σας, ως μοναδικά αναγνωριστικά λογαριασμού για να
επαληθεύσει την καταλληλότητα του αιτήματός σας και για να σας παρέχει πρόσβαση στις
Προεγκατεστημένες εφαρμογές μέσω του App Store. Αν δεν επιθυμείτε να χρησιμοποιήσετε μια
Προεγκατεστημένη εφαρμογή, μπορείτε να τη διαγράψετε από τη Συσκευή iOS σας ανά πάσα στιγμή.

(δ) Δεν σας επιτρέπεται και συμφωνείτε να μην προβείτε σε καμία από τις παρακάτω ενέργειες ούτε να
παράσχετε σε άλλους τη δυνατότητα να προβούν σε αυτές: αντιγραφή (εκτός αν επιτρέπεται ρητώς από
την παρούσα Άδεια χρήσης), αποσυμπίληση (decompilation), ανάστροφη μηχανίκευση (reverse
engineering), αποσυναρμολόγηση επανάκτηση του πηγαίου κώδικα, αποκρυπτογράφηση, τροποποίηση ή
δημιουργία παραγώγων έργων του Λογισμικού iOS ή οποιωνδήποτε υπηρεσιών που παρέχονται από το
Λογισμικό iOS, ή οποιουδήποτε μέρους αυτού (εκτός αν και στον βαθμό που οποιοσδήποτε από τους
ανωτέρω περιορισμούς απαγορεύεται από το εφαρμοστέο δίκαιο ή τους όρους αδειοδότησης που
διέπουν τη χρήση των στοιχείων ανοικτού κώδικα που μπορεί να περιλαμβάνονται στο Λογισμικό iOS).

(ε) Το Λογισμικό iOS μπορεί να χρησιμοποιηθεί για την αναπαραγωγή υλικού εφόσον αυτή η χρήση
περιορίζεται στην αναπαραγωγή υλικού που δεν προστατεύεται από πνευματικά δικαιώματα, υλικού για
το οποίο κατέχετε πνευματικά δικαιώματα ή υλικού που είστε εξουσιοδοτημένος ή έχετε εκ του νόμου
την άδεια να αναπαραγάγετε. Τα δικαιώματα πνευματικής ιδιοκτησίας και τίτλων κάθε περιεχομένου που
εμφανίζεται από, αποθηκεύεται σε ή στο οποίο γίνεται πρόσβαση μέσω της Συσκευής iOS σας ανήκουν
στον αντίστοιχο κάτοχο περιεχομένου. Το εν λόγω περιεχόμενο μπορεί να προστατεύεται από
πνευματικά δικαιώματα ή άλλους νόμους και συνθήκες περί πνευματικής ιδιοκτησίας, και μπορεί να
υπόκειται στους όρους χρήσης του τρίτου μέρους που παρέχει το εν λόγω περιεχόμενο. Εκτός αν
προβλέπεται άλλως στο παρόν, η παρούσα Άδεια χρήσης δεν σας παραχωρεί δικαιώματα χρήσης τέτοιου
περιεχομένου ούτε σας εγγυάται ότι το εν λόγω περιεχόμενο θα συνεχίσει να είναι διαθέσιμο σε εσάς.

(στ) Σύμφωνα με τους όρους και τις προϋποθέσεις της παρούσας Άδειας χρήσης, μπορείτε να
χρησιμοποιείτε τους χαρακτήρες Animoji και Memoji που περιλαμβάνονται στο Λογισμικό iOS ή που
δημιουργούνται με αυτό («Χαρακτήρες συστήματος») (i) κατά τη λειτουργία του Λογισμικού iOS και (ii) για
τη δημιουργία δικού σας πρωτότυπου περιεχομένου και έργων για προσωπική και μη εμπορική χρήση.
Δεν επιτρέπεται καμία άλλη χρήση από την παρούσα Άδεια χρήσης, συμπεριλαμβανομένων ενδεικτικά
της χρήσης, της αναπαραγωγής, της εμφάνισης, της παρουσίασης, της εγγραφής, της δημοσίευσης ή
της αναδιανομής οποιουδήποτε από τους Χαρακτήρες συστήματος σε πλαίσιο κερδοσκοπικό, μη
κερδοσκοπικό, εμπορικό ή δημόσιας κοινοποίησης.

(ζ) Συμφωνείτε να χρησιμοποιείτε το Λογισμικό και τις Υπηρεσίες iOS (όπως ορίζονται στην Ενότητα 5
παρακάτω) σύμφωνα με όλες τις ισχύουσες νομοθεσίες, περιλαμβάνοντας τις τοπικές νομοθεσίες της
χώρας ή της περιοχής στην οποία κατοικείτε ή στην οποία πραγματοποιήσατε λήψη ή χρησιμοποιείτε το
Λογισμικό και τις Υπηρεσίες iOS. Οι δυνατότητες του Λογισμικού και των Υπηρεσιών iOS μπορεί να μην
είναι διαθέσιμες σε όλες τις γλώσσες ή περιοχές. Κάποιες δυνατότητες μπορεί να διαφέρουν ανά
περιοχή και κάποιες μπορεί να έχουν περιοριστεί ή να έχουν καταστεί μη διαθέσιμες από τον πάροχο
υπηρεσιών σας. Απαιτείται σύνδεση μέσω Wi-Fi ή κινητού δικτύου δεδομένων για κάποιες δυνατότητες
του Λογισμικού και των Υπηρεσιών iOS.

(η) Η χρήση του App Store απαιτεί έναν μοναδικό συνδυασμό ονόματος χρήστη και συνθηματικού,
γνωστό ως Apple ID. Το Apple ID απαιτείται επίσης για την πρόσβαση σε ενημερώσεις εφαρμογών και
ορισμένες δυνατότητες του Λογισμικού και των Υπηρεσιών iOS.

(θ) Αναγνωρίζετε ότι πολλές δυνατότητες, ενσωματωμένες εφαρμογές και Υπηρεσίες του Λογισμικού iOS
μεταδίδουν δεδομένα και μπορούν να επιφέρουν χρεώσεις στο πρόγραμμα δεδομένων σας, και εσείς
είστε ο υπεύθυνος για οποιεσδήποτε τέτοιες χρεώσεις. Μπορείτε να προβάλλετε και να ελέγχετε τις
εφαρμογές στις οποίες θα επιτρέπεται η χρήση δεδομένων κινητού δικτύου και να εμφανίζετε μια
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 293 of 452



εκτίμηση της κατανάλωσης δεδομένων αυτών των εφαρμογών στις ρυθμίσεις Δεδομένων.
Επιπροσθέτως, η Βοήθεια Wi-Fi θα κάνει αυτόματα εναλλαγή σε δεδομένα κινητού δικτύου όταν η
σύνδεση Wi-Fi σας δεν είναι καλή, που μπορεί να έχει ως αποτέλεσμα τη χρήση περισσότερων
δεδομένων δικτύου και να επιφέρει χρεώσεις στο πρόγραμμα δεδομένων σας. Η Βοήθεια Wi-Fi είναι
ενεργοποιημένη από προεπιλογή, αλλά μπορεί να απενεργοποιηθεί στις Ρυθμίσεις. Για περισσότερες
πληροφορίες, συμβουλευτείτε τον Οδηγό χρήσης για τη Συσκευή iOS σας.

(ι) Αν επιλέξετε να επιτρέψετε τις αυτόματες ενημερώσεις εφαρμογών, η Συσκευή iOS σας θα ελέγχει
περιοδικά τους διακομιστές της Apple για ενημερώσεις των εφαρμογών που βρίσκονται στη συσκευή σας
και, αν διατίθεται ενημέρωση, θα πραγματοποιείται αυτόματη λήψη και εγκατάσταση της ενημέρωσης
στη συσκευή σας. Μπορείτε να απενεργοποιήσετε τις αυτόματες ενημερώσεις εφαρμογών εντελώς ανά
πάσα στιγμή. Για να το κάνετε αυτό, μεταβείτε στις «Ρυθμίσεις», αγγίξτε «iTunes και App Store», και μετά
στις «Αυτόματες λήψεις» απενεργοποιήστε τις «Ενημερώσεις».

(κ) Σε κάποιες περιπτώσεις, η χρήση της Συσκευής iOS σας μπορεί να σας αποσπάσει την προσοχή και
να προκαλέσει επικίνδυνες καταστάσεις (για παράδειγμα, να αποφεύγετε την πληκτρολόγηση μηνυμάτων
κειμένου όταν οδηγείτε αυτοκίνητο ή τη χρήση ακουστικών όταν κάνετε ποδήλατο). Χρησιμοποιώντας
της Συσκευή iOS σας, αποδέχεστε ότι είστε υπεύθυνοι για την τήρηση κανόνων που απαγορεύουν ή
περιορίζουν τη χρήση κινητών τηλεφώνων ή ακουστικών [όπως, για παράδειγμα, η απαίτηση χρήσης
επιλογών συνομιλίας σε ανοιχτή ακρόαση (hands-free) για πραγματοποίηση κλήσεων κατά την οδήγηση].

3. Μεταβίβαση. Δεν επιτρέπονται η εκμίσθωση, η χρονομίσθωση, ο δανεισμός, η αναδιανομή ή η
υποαδειοδότηση του Λογισμικού iOS. Μπορείτε, ωστόσο, να προβείτε σε μία μοναδική, μόνιμη
μεταβίβαση όλων των δικαιωμάτων χρήσης σας επί του Λογισμικού iOS σε τρίτο πρόσωπο, σε περίπτωση
μεταβίβασης κυριότητας της Συσκευής iOS σας, υπό την προϋπόθεση ότι: (α) Η μεταβίβαση θα
περιλαμβάνει οπωσδήποτε τη Συσκευή iOS σας και το σύνολο του Λογισμικού iOS,
συμπεριλαμβανομένων όλων των συστατικών μερών του και της παρούσας Άδειας χρήσης, (β) δεν θα
διατηρήσετε οποιαδήποτε πλήρη ή μερικά αντίγραφα του Λογισμικού iOS, συμπεριλαμβανομένων των
αντιγράφων που είναι αποθηκευμένα σε ηλεκτρονικό υπολογιστή ή άλλη συσκευή αποθήκευσης, και (γ)
το πρόσωπο που θα λάβει το Λογισμικό iOS θα διαβάσει και θα συμφωνήσει ότι αποδέχεται τους όρους
της παρούσας Άδειας χρήσης.

4. Συναίνεση για τη χρήση δεδομένων. Όταν χρησιμοποιείτε τη συσκευή σας, ο αριθμός τηλεφώνου
σας και συγκεκριμένα μοναδικά αναγνωριστικά της Συσκευής iOS σας στέλνονται στην Apple ώστε να
επιτρέπεται σε άλλους να επικοινωνούν μαζί σας με τον αριθμό τηλεφώνου σας όταν χρησιμοποιείτε
διάφορες δυνατότητες επικοινωνίας του Λογισμικού iOS, όπως το iMessage και το FaceTime. Όταν
χρησιμοποιείτε το iMessage, η Apple μπορεί να διατηρεί τα μηνύματά σας σε κρυπτογραφημένη μορφή
για περιορισμένη χρονική περίοδο για διασφάλιση της παράδοσής τους. Μπορείτε να απενεργοποιήσετε
το FaceTime ή το iMessage μεταβαίνοντας στις ρυθμίσεις του FaceTime ή των Μηνυμάτων στη Συσκευή
iOS σας. Ορισμένες δυνατότητες, όπως η Ανάλυση, οι Υπηρεσίες τοποθεσίας, το Siri και η Υπαγόρευση
μπορεί να απαιτούν πληροφορίες από τη Συσκευή iOS για σκοπούς παροχής των αντίστοιχων
λειτουργιών τους. Όταν ενεργοποιείτε ή χρησιμοποιείτε αυτές τις δυνατότητες, θα παρέχονται
λεπτομέρειες σχετικά με τις πληροφορίες που αποστέλλονται στην Apple και τον πιθανό τρόπο χρήσης
αυτών των πληροφοριών. Μπορείτε να μάθετε περισσότερες λεπτομέρειες μεταβαίνοντας στη διεύθυνση
https://www.apple.com/privacy/. Οι πληροφορίες σας θα αντιμετωπίζονται πάντα σύμφωνα με τα όσα
ορίζονται στην Πολιτική απορρήτου της Apple, την οποία μπορείτε να διαβάσετε στη διεύθυνση: https://
www.apple.com/legal/privacy/.

5. Υπηρεσίες και υλικό τρίτων.
(α) Το Λογισμικό iOS μπορεί να επιτρέπει την πρόσβαση στα iTunes Store, App Store, Apple Books,
Game Center, iCloud και τους Χάρτες της Apple καθώς και σε άλλες υπηρεσίες και ιστότοπους της
Apple και τρίτων (από κοινού και χωριστά «οι Υπηρεσίες»). Τέτοιες Υπηρεσίες ενδέχεται να μη
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 294 of 452



διατίθενται σε όλες τις γλώσσες ή σε όλες τις χώρες. Η χρήση αυτών των Υπηρεσιών προϋποθέτει
πρόσβαση στο Διαδίκτυο και η χρήση ορισμένων Υπηρεσιών ενδέχεται να απαιτεί Apple ID, να
προϋποθέτει την από μέρους σας αποδοχή πρόσθετων όρων και να υπόκειται σε πρόσθετες χρεώσεις. Η
χρήση αυτού του λογισμικού σε σχέση με ένα Apple ID ή άλλη Υπηρεσία Apple, συνεπάγεται την από
μέρους σας αποδοχή των ισχυόντων όρων υπηρεσίας για τη συγκεκριμένη Υπηρεσία, όπως π.χ. οι πιο
πρόσφατοι Όροι και προϋποθέσεις των Υπηρεσιών πολυμέσων Apple για τη χώρα όπου προσπελάζετε
τέτοιες Υπηρεσίες, τους οποίους μπορείτε να βρείτε και να διαβάσετε στη διεύθυνση https://
www.apple.com/legal/internet-services/itunes/.

(β) Αν εγγραφείτε για το iCloud, μπορείτε να αποκτήσετε πρόσβαση σε ορισμένες δυνατότητες, όπως οι
Φωτογραφίες iCloud, η Ροή φωτό μου, τα Κοινόχρηστα άλμπουμ, το Εφεδρικό αντίγραφο, και η Εύρεση
iPhone, απευθείας από το Λογισμικό iOS. Αναγνωρίζετε και συμφωνείτε ότι η χρήση σας του iCloud και
αυτών των δυνατοτήτων υπόκειται στους πιο πρόσφατους όρους και προϋποθέσεις της υπηρεσίας
iCloud, τους οποίους μπορείτε να προσπελάσετε και να διαβάσετε στη διεύθυνση: https://
www.apple.com/legal/internet-services/icloud/.

(γ) Περιεχόμενο στην εφαρμογή News. Η από μέρους σας χρήση περιεχομένου που προσπελάζετε μέσω
της εφαρμογής News περιορίζεται αποκλειστικά σε προσωπική, μη εμπορική χρήση, δεν μεταφέρει
κανένα δικαίωμα ιδιοκτησίας σε εσάς ως προς το περιεχόμενο, και συγκεκριμένα εξαιρεί, χωρίς
περιορισμό, τυχόν δικαιώματα για εμπορική ή προωθητική χρήση του εν λόγω περιεχομένου. Επιπλέον,
απαγορεύεται η αναδημοσίευση, η αναμετάδοση και η αναπαραγωγή τυχόν εικόνων τις οποίες
προσπελάζετε ως μεμονωμένα αρχεία μέσω του News.

(δ) Χάρτες. Η υπηρεσία και οι δυνατότητες χαρτών του Λογισμικού iOS («Χάρτες»),
συμπεριλαμβανομένης της κάλυψης δεδομένων χαρτών, μπορεί να διαφέρει ανά περιοχή. Όταν
χρησιμοποιείτε οποιεσδήποτε δυνατότητες βάσει τοποθεσίας στους Χάρτες, όπως π.χ. η λεπτομερής
πλοήγηση, η οδική κίνηση και η τοπική αναζήτηση, μπορεί να αποστέλλονται στην Apple ποικίλες
πληροφορίες σχετικές με την τοποθεσία και τη χρήση, συμπεριλαμβανομένης της γεωγραφικής
τοποθεσίας σε πραγματικό χρόνο της Συσκευής iOS σας, για την επεξεργασία του αιτήματός σας και τη
βελτίωση των Χαρτών. Αυτές οι πληροφορίες τοποθεσίας και χρήσης συλλέγονται από την Apple σε
μορφή που δεν αποκαλύπτει την ταυτότητά σας. Με τη χρήση των Χαρτών από μέρους σας,
αποδέχεστε και συναινείτε ως προς τη μετάδοση, συλλογή, διατήρηση, επεξεργασία και χρήση
αυτών των πληροφοριών από την Apple, τους συνεργάτες και τους αντιπροσώπους της, για την
παροχή και τη βελτίωση των δυνατοτήτων και της υπηρεσίας Χαρτών, καθώς και άλλων
προϊόντων και υπηρεσιών της Apple. Η Apple μπορεί επίσης να παρέχει αυτές τις πληροφορίες, είτε
σε συγκεντρωτική ή μη ταυτοποιήσιμη μορφή, στους συνεργάτες και δικαιοπαρόχους της με σκοπό τη
βελτίωση των προϊόντων και υπηρεσιών χαρτών και τοποθεσίας τους. Μπορείτε να απενεργοποιήσετε τη
λειτουργικότητα βάσει τοποθεσίας των Χαρτών μεταβαίνοντας στη ρύθμιση «Υπηρεσίες τοποθεσίας» στη
Συσκευή iOS και απενεργοποιώντας τη μεμονωμένη ρύθμιση τοποθεσίας για τους Χάρτες. Ορισμένες
λειτουργίες των Χαρτών δεν θα είναι διαθέσιμες εάν απενεργοποιήσετε τη ρύθμιση «Υπηρεσίες
τοποθεσίας», όπως η λεπτομερής πλοήγηση.

(ε) Αντιλαμβάνεστε ότι κατά τη χρήση των Υπηρεσιών, ενδέχεται να συναντήσετε υλικό που θα μπορούσε
να κριθεί προσβλητικό, άσεμνο ή ανάρμοστο, το οποίο υλικό ενδέχεται να έχει ή να μην έχει επισημανθεί
ότι περιέχει άσεμνο λεξιλόγιο, και ότι τα αποτελέσματα οποιασδήποτε αναζήτησης ή η εισαγωγή μιας
συγκεκριμένης διεύθυνσης URL ενδέχεται να παραγάγει αυτόματα και ακουσίως συνδέσμους ή αναφορές
προς ανάρμοστο υλικό. Ωστόσο, αποδέχεστε να χρησιμοποιείτε τις Υπηρεσίες με αποκλειστικά δική σας
ευθύνη και ότι η Apple, οι θυγατρικές, αντιπρόσωποι, εντολοδότες ή δικαιοπάροχοί της δεν φέρουν
καμία ευθύνη απέναντί σας για περιεχόμενο που τυχόν κριθεί προσβλητικό, άσεμνο ή ανάρμοστο.

(στ) Ορισμένες Υπηρεσίες ενδέχεται να παρουσιάζουν, να περιλαμβάνουν ή να καθιστούν διαθέσιμο
περιεχόμενο, δεδομένα, πληροφορίες, εφαρμογές και υλικό από τρίτους («Υλικό τρίτων») ή να παρέχουν
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 295 of 452



συνδέσμους προς ορισμένους ιστότοπους τρίτων. Χρησιμοποιώντας τις Υπηρεσίες, αναγνωρίζετε και
αποδέχεστε ότι η Apple δεν έχει την ευθύνη να εξετάζει ή να αξιολογεί το περιεχόμενο, την ακρίβεια, την
πληρότητα, την επικαιρότητα, την εγκυρότητα, τη συμμόρφωση με τους κανόνες πνευματικής
ιδιοκτησίας, τη νομιμότητα, τη σεμνότητα, την ποιότητα ή οποιαδήποτε άλλη πλευρά αυτού του Υλικού
τρίτων ή των ιστότοπων τρίτων. Η Apple, τα στελέχη της, οι συνδεδεμένες επιχειρήσεις και οι θυγατρικές
της δεν εγγυώνται ούτε εγκρίνουν απαραιτήτως και δεν αναλαμβάνουν ούτε έχουν οποιαδήποτε ευθύνη
απέναντι σε σας ή άλλα πρόσωπα για οποιεσδήποτε Υπηρεσίες τρίτων, Υλικό τρίτων ή ιστότοπους
τρίτων, ή για οποιοδήποτε άλλο υλικό, προϊόντα ή υπηρεσίες τρίτων. Το Υλικό τρίτων και οι σύνδεσμοι
προς άλλους ιστότοπους παρέχονται αποκλειστικά ως διευκόλυνση προς εσάς.

(ζ) Ούτε η Apple ούτε οποιοσδήποτε από τους παρόχους περιεχομένου της εγγυώνται τη διαθεσιμότητα,
την ακρίβεια, την πληρότητα, την αξιοπιστία ή την επικαιρότητα χρηματιστηριακών πληροφοριών,
δεδομένων τοποθεσίας ή άλλων δεδομένων που εμφανίζονται από οποιεσδήποτε Υπηρεσίες. Οι
οικονομικές πληροφορίες που παρουσιάζονται από οποιεσδήποτε Υπηρεσίες παρέχονται για σκοπούς
γενικής πληροφόρησης μόνο και δεν πρέπει θεωρηθούν ως αξιόπιστες επενδυτικές συμβουλές. Πριν από
την εκτέλεση οποιασδήποτε συναλλαγής κινητών αξιών με βάση πληροφορίες που αντλήθηκαν από τις
Υπηρεσίες, συνιστάται να απευθύνεστε σε χρηματοοικονομικό σύμβουλο ή επαγγελματία χρεογράφων, ο
οποίος είναι νομικά εξουσιοδοτημένος να παρέχει οικονομικές συμβουλές ή συμβουλές για χρεόγραφα
στη χώρα ή στην περιοχή σας. Τα δεδομένα τοποθεσίας που παρέχονται από οποιεσδήποτε Υπηρεσίες,
συμπεριλαμβανομένης της υπηρεσίας Χαρτών της Apple, παρέχονται μόνο για σκοπούς στοιχειώδους
πλοήγησης και προγραμματισμού και δεν διατίθενται με σκοπό να αποτελέσουν αξιόπιστη πληροφόρηση
σε περιπτώσεις όπου απαιτούνται ακριβείς πληροφορίες για τη θέση ή σε περιπτώσεις όπου τα
εσφαλμένα, ανακριβή, καθυστερημένα ή ελλιπή δεδομένα τοποθεσίας ενδέχεται να οδηγήσουν σε
θάνατο, σωματική βλάβη, περιουσιακή ζημία ή βλάβη στο περιβάλλον. Αποδέχεστε ότι τα αποτελέσματα
που λαμβάνετε από την υπηρεσία Χαρτών μπορεί να ποικίλλουν από τις πραγματικές συνθήκες του
δρόμου ή του εδάφους λόγω παραγόντων που μπορεί να επηρεάσουν την ακρίβεια των δεδομένων
Χαρτών, όπως για παράδειγμα, χωρίς περιορισμό, ο καιρός, συνθήκες του δρόμου ή του εδάφους και
γεωπολιτικά γεγονότα. Για την ασφάλειά σας κατά τη χρήση της δυνατότητας λεπτομερούς πλοήγησης,
να προσέχετε πάντοτε τις οδικές πινακίδες και τις τρέχουσες οδικές συνθήκες. Να τηρείτε πρακτικές
ασφαλούς οδήγησης και τον κώδικα οδικής κυκλοφορίας και να έχετε υπόψη σας ότι οι οδηγίες
βαδίσματος μπορεί να μην περιλαμβάνουν πεζοδρόμια ή πεζόδρομους.

(η) Στον βαθμό που αποστέλλετε τυχόν περιεχόμενο μέσω της χρήσης των Υπηρεσιών, δηλώνετε ότι
κατέχετε όλα τα δικαιώματα αυτού του περιεχομένου, έχετε εξουσιοδότηση ή σας επιτρέπεται νομίμως
με άλλο τρόπο η αποστολή του περιεχομένου και ότι το περιεχόμενο δεν παραβιάζει τυχόν όρους
υπηρεσίας που ισχύουν για τις Υπηρεσίες. Αποδέχεστε ότι οι Υπηρεσίες περιλαμβάνουν περιεχόμενο,
πληροφορίες και υλικό που ανήκει κατ’ αποκλειστικότητα στην Apple, στον κάτοχο ιστότοπου ή στους
δικαιοπαρόχους τους, και ότι προστατεύονται από την εφαρμοστέα νομοθεσία περί πνευματικής
ιδιοκτησίας ή άλλη νομοθεσία, που περιλαμβάνει, μεταξύ άλλων, και τα πνευματικά δικαιώματα.
Συμφωνείτε ότι δεν θα χρησιμοποιήσετε αυτό το περιεχόμενο, τις πληροφορίες και το υλικό που
καλύπτεται από αποκλειστικά δικαιώματα με τρόπο πέραν της επιτρεπόμενης χρήσης των Υπηρεσιών ή
με οποιονδήποτε τρόπο ο οποίος δεν συμφωνεί με τους όρους της παρούσας Άδειας ή ο οποίος
παραβιάζει οποιαδήποτε πνευματικά δικαιώματα τρίτων μερών ή της Apple. Κανένα μέρος των
Υπηρεσιών δεν επιτρέπεται να αναπαραχθεί με οποιαδήποτε μορφή ή οποιονδήποτε τρόπο. Συμφωνείτε
να μην προβείτε σε τροποποίηση, εκμίσθωση, χρονομίσθωση, δανεισμό, πώληση, διανομή ή δημιουργία
παραγώγων έργων, με βάση τις Υπηρεσίες με οποιονδήποτε τρόπο ή σε εκμετάλλευση των Υπηρεσιών
με οποιονδήποτε τρόπο για τον οποίο δεν έχει χορηγηθεί άδεια, περιλαμβανομένης, ενδεικτικά, της
χρήσης των Υπηρεσιών για τη μεταβίβαση ιών υπολογιστών, λογισμικών σκωλήκων, δούρειων ίππων ή
άλλου κακόβουλου λογισμικού, ή της κατάχρησης ή επιβάρυνσης της χωρητικότητας του δικτύου.
Επιπλέον, συμφωνείτε ότι δεν θα χρησιμοποιήσετε τις Υπηρεσίες με οποιονδήποτε τρόπο με σκοπό την
παρενόχληση, την εξύβριση, την καταδίωξη, τη διατύπωση απειλών, την δυσφήμηση ή την με
οποιονδήποτε άλλον τρόπο παραβίαση ή καταπάτηση των δικαιωμάτων οποιουδήποτε τρίτου, και ότι η
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 296 of 452



Apple δεν ευθύνεται κατά κανένα τρόπο για τέτοια χρήση από μέρους σας, ούτε για οποιαδήποτε
παρενοχλητικά, απειλητικά, δυσφημιστικά, προσβλητικά, παραβατικά ή παράνομα μηνύματα ή εκπομπές
που τυχόν λάβετε ως αποτέλεσμα της χρήσης οποιασδήποτε από τις Υπηρεσίες.

(θ) Επιπροσθέτως, οι Υπηρεσίες και το Υλικό τρίτων που τυχόν είναι προσπελάσιμα, προς τα οποία
υπάρχει σύνδεσμος ή εμφανίζονται στην οθόνη της Συσκευής iOS, δεν διατίθενται σε όλες τις γλώσσες
ούτε σε όλες τις χώρες και περιοχές. Η Apple δεν προβαίνει σε καμία προσυμβατική δήλωση ότι αυτές οι
Υπηρεσίες και το Υλικό τρίτων είναι κατάλληλα ή διαθέσιμα για χρήση σε οποιαδήποτε τοποθεσία. Εάν
επιλέξετε να χρησιμοποιήσετε ή να προσπελάσετε αυτές τις Υπηρεσίες και το Υλικό τρίτων, ενεργείτε με
δική σας πρωτοβουλία και φέρετε την ευθύνη για τη συμμόρφωση με οποιουσδήποτε εφαρμοστέους
νόμους, συμπεριλαμβανομένων, μεταξύ άλλων, της ισχύουσας τοπικής νομοθεσίας και των νόμων περί
απορρήτου και συλλογής δεδομένων. Η κοινοποίηση ή ο συγχρονισμός φωτογραφιών μέσω της
Συσκευής iOS σας μπορεί να οδηγήσει σε μετάδοση μεταδεδομένων, συμπεριλαμβανομένων της
τοποθεσίας και της ημερομηνίας λήψης φωτογραφιών και στοιχείων βάθους, μαζί με τις φωτογραφίες. Η
χρήση υπηρεσιών Apple (όπως η Βιβλιοθήκη φωτογραφιών iCloud) για κοινοποίηση ή συγχρονισμό
τέτοιων φωτογραφιών θα συνεπάγεται τη λήψη και την αποθήκευση των εν λόγω μεταδεδομένων από
την Apple. Η Apple και οι δικαιοπάροχοί της διατηρούν το δικαίωμα τροποποίησης, αναστολής,
κατάργησης ή απενεργοποίησης της πρόσβασης σε οποιεσδήποτε Υπηρεσίες οποτεδήποτε και χωρίς
προειδοποίηση. Η Apple σε καμία περίπτωση δεν φέρει ευθύνη για τυχόν κατάργηση ή απενεργοποίηση
της πρόσβασης σε οποιεσδήποτε από τις Υπηρεσίες αυτές. Η Apple δύναται επίσης να επιβάλει όρια στη
χρήση ορισμένων Υπηρεσιών ή στην πρόσβαση σε αυτές σε οποιαδήποτε περίπτωση και χωρίς
προειδοποίηση ή ευθύνη.

6. Λύση της σύμβασης. Η παρούσα Άδεια χρήσης ισχύει μέχρι τη λύση της. Τα δικαιώματά σας δυνάμει
της παρούσας Άδειας χρήσης αίρονται αυτόματα ή ειδάλλως παύουν να ισχύουν χωρίς προειδοποίηση
από την Apple σε περίπτωση μη συμμόρφωσής σας με οποιονδήποτε όρο ή όρους της παρούσας Άδειας
χρήσης. Μετά τη λύση της άδειας χρήσης οφείλετε να διακόψετε κάθε χρήση του Λογισμικού iOS. Οι
ενότητες 4, 5, 6, 7, 8, 9, 12 και 13 της παρούσας Άδειας χρήσης εξακολουθούν να ισχύουν σε περίπτωση
οποιουδήποτε εν λόγω τερματισμού.

7. Αποποίηση εγγυήσεων.
7.1 Αν είστε πελάτης που είναι καταναλωτής (κάποιος που χρησιμοποιεί το λογισμικό iOS εκτός της
εργασίας, της επιχείρησης ή του επαγγέλματός του), μπορεί να έχετε νομικά δικαιώματα στη χώρα
κατοικίας σας σύμφωνα με τα οποία απαγορεύεται η εφαρμογή των παρακάτω περιορισμών σε εσάς, και
όπου ισχύει αυτή η απαγόρευση οι περιορισμοί αυτοί δεν θα ισχύουν για εσάς. Για να μάθετε
περισσότερα σχετικά με τα δικαιώματα, επικοινωνήστε με έναν τοπικό οργανισμό ενημέρωσης πελατών.

7.2 ΡΗΤΩΣ ΔΗΛΩΝΕΤΕ ΚΑΙ ΑΠΟΔΕΧΕΣΤΕ ΟΤΙ, ΣΤΟΝ ΒΑΘΜΟ ΠΟΥ ΕΠΙΤΡΕΠΕΤΑΙ ΑΠΟ ΤΗΝ
ΙΣΧΥΟΥΣΑ ΝΟΜΟΘΕΣΙΑ, Η ΧΡΗΣΗ ΤΟΥ ΛΟΓΙΣΜΙΚΟΥ ΚΑΙ ΤΥΧΟΝ ΥΠΗΡΕΣΙΩΝ ΠΟΥ ΕΚΤΕΛΟΥΝΤΑΙ Ή
ΕΙΝΑΙ ΠΡΟΣΠΕΛΑΣΙΜΑ ΜΕΣΩ ΤΟΥ ΛΟΓΙΣΜΙΚΟΥ iOS, ΓΙΝΕΤΑΙ ΑΠΟΚΛΕΙΣΤΙΚΑ ΜΕ ΔΙΚΗ ΣΑΣ ΕΥΘΥΝΗ
ΚΑΙ ΟΤΙ Η ΣΥΝΟΛΙΚΗ ΕΥΘΥΝΗ ΑΝΑΦΟΡΙΚΑ ΜΕ ΤΗΝ ΙΚΑΝΟΠΟΙΗΤΙΚΗ ΠΟΙΟΤΗΤΑ, ΑΠΟΔΟΣΗ,
ΑΚΡΙΒΕΙΑ ΚΑΙ ΠΡΟΣΠΑΘΕΙΑ ΒΑΡΥΝΕΙ ΕΣΑΣ.

7.3 ΚΑΤΑ ΤΟΝ ΜΕΓΙΣΤΟ ΒΑΘΜΟ ΠΟΥ ΕΠΙΤΡΕΠΕΤΑΙ ΑΠΟ ΤΟ ΕΦΑΡΜΟΣΤΕΟ ΔΙΚΑΙΟ, ΤΟ
ΛΟΓΙΣΜΙΚΟ iOS ΚΑΙ ΟΙ ΥΠΗΡΕΣΙΕΣ ΠΑΡΕΧΟΝΤΑΙ «ΩΣ ΕΧΟΥΝ» ΚΑΙ «ΕΦΟΣΟΝ ΔΙΑΤΙΘΕΝΤΑΙ», ΜΕ ΟΛΑ
ΤΑ ΕΛΑΤΤΩΜΑΤΑ ΚΑΙ ΧΩΡΙΣ ΕΓΓΥΗΣΗ ΟΠΟΙΑΣΔΗΠΟΤΕ ΜΟΡΦΗΣ ΚΑΙ Η APPLE ΚΑΙ ΟΙ
ΔΙΚΑΙΟΠΑΡΟΧΟΙ ΤΗΣ APPLE (ΚΑΛΟΥΜΕΝΟΙ ΑΠΟ ΚΟΙΝΟΥ «Η APPLE» ΓΙΑ ΤΟΥΣ ΣΚΟΠΟΥΣ ΤΩΝ
ΠΑΡΑΓΡΑΦΩΝ 7 ΚΑΙ 8) ΔΙΑ ΤΟΥ ΠΑΡΟΝΤΟΣ ΑΠΟΠΟΙΟΥΝΤΑΙ ΟΠΟΙΕΣΔΗΠΟΤΕ ΕΓΓΥΗΣΕΙΣ ΚΑΙ
ΠΡΟΫΠΟΘΕΣΕΙΣ ΑΝΑΦΟΡΙΚΑ ΜΕ ΤΟ ΛΟΓΙΣΜΙΚΟ ΚΑΙ ΤΙΣ ΥΠΗΡΕΣΙΕΣ iOS, ΕΙΤΕ ΕΙΝΑΙ ΡΗΤΕΣ,
ΣΙΩΠΗΡΕΣ Ή ΕΚ ΤΟΥ ΝΟΜΟΥ, ΣΥΜΠΕΡΙΛΑΜΒΑΝΟΜΕΝΩΝ, ΕΝΔΕΙΚΤΙΚΑ, ΤΩΝ ΣΙΩΠΗΡΩΝ
ΕΓΓΥΗΣΕΩΝ ΚΑΙ/Ή ΠΡΟΫΠΟΘΕΣΕΩΝ ΕΜΠΟΡΕΥΣΙΜΟΤΗΤΑΣ, ΙΚΑΝΟΠΟΙΗΤΙΚΗΣ ΠΟΙΟΤΗΤΑΣ,
ΚΑΤΑΛΛΗΛΟΤΗΤΑΣ ΓΙΑ ΣΥΓΚΕΚΡΙΜΕΝΟ ΣΚΟΠΟ, ΑΚΡΙΒΕΙΑΣ, ΑΔΙΑΤΑΡΑΚΤΗΣ ΚΑΤΟΧΗΣ ΚΑΙ ΧΡΗΣΗΣ
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 297 of 452



ΚΑΙ ΜΗ ΠΑΡΑΒΙΑΣΗΣ ΤΩΝ ΔΙΚΑΙΩΜΑΤΩΝ ΤΡΙΤΩΝ.

7.4 Η APPLE ΔΕΝ ΕΓΓΥΑΤΑΙ ΟΤΙ ΔΕΝ ΘΑ ΥΠΑΡΞΕΙ ΔΙΑΤΑΡΑΞΗ ΤΗΣ ΧΡΗΣΗΣ ΤΟΥ ΛΟΓΙΣΜΙΚΟΥ ΚΑΙ
ΤΩΝ ΥΠΗΡΕΣΙΩΝ iOS, ΟΤΙ ΟΙ ΛΕΙΤΟΥΡΓΙΕΣ ΠΟΥ ΠΕΡΙΛΑΜΒΑΝΟΝΤΑΙ ΣΤΟ ΛΟΓΙΣΜΙΚΟ iOS Ή ΟΙ
ΥΠΗΡΕΣΙΕΣ ΠΟΥ ΕΚΤΕΛΟΥΝΤΑΙ Ή ΠΑΡΕΧΟΝΤΑΙ ΑΠΟ ΑΥΤΟ ΘΑ ΑΝΤΑΠΟΚΡΙΘΟΥΝ ΣΤΙΣ ΑΠΑΙΤΗΣΕΙΣ
ΣΑΣ, ΟΤΙ Η ΛΕΙΤΟΥΡΓΙΑ ΤΟΥ ΛΟΓΙΣΜΙΚΟΥ ΚΑΙ ΤΩΝ ΥΠΗΡΕΣΙΩΝ iOS ΘΑ ΕΙΝΑΙ ΑΔΙΑΛΕΙΠΤΗ Ή ΧΩΡΙΣ
ΣΦΑΛΜΑΤΑ, ΟΤΙ ΟΠΟΙΑΔΗΠΟΤΕ ΥΠΗΡΕΣΙΑ ΘΑ ΣΥΝΕΧΙΣΕΙ ΝΑ ΕΙΝΑΙ ΔΙΑΘΕΣΙΜΗ, ΟΤΙ ΤΥΧΟΝ
ΕΛΑΤΤΩΜΑΤΑ ΣΤΟ ΛΟΓΙΣΜΙΚΟ Ή ΤΙΣ ΥΠΗΡΕΣΙΕΣ ΤΟΥ iOS ΘΑ ΔΙΟΡΘΩΘΟΥΝ Ή ΟΤΙ ΤΟ ΛΟΓΙΣΜΙΚΟ
iOS ΘΑ ΕΙΝΑΙ ΣΥΜΒΑΤΟ Ή ΘΑ ΣΥΝΕΡΓΑΖΕΤΑΙ ΜΕ ΟΠΟΙΟΔΗΠΟΤΕ ΛΟΓΙΣΜΙΚΟ Ή ΕΦΑΡΜΟΓΕΣ
ΤΡΙΤΩΝ Ή ΥΠΗΡΕΣΙΕΣ ΤΡΙΤΩΝ. Η ΕΓΚΑΤΑΣΤΑΣΗ ΑΥΤΟΥ ΤΟΥ ΛΟΓΙΣΜΙΚΟΥ iOS ΕΝΔΕΧΕΤΑΙ ΝΑ
ΕΠΗΡΕΑΣΕΙ ΤΗ ΔΙΑΘΕΣΙΜΟΤΗΤΑ ΚΑΙ ΤΗ ΧΡΗΣΤΙΚΟΤΗΤΑ ΛΟΓΙΣΜΙΚΟΥ, ΕΦΑΡΜΟΓΩΝ ‘Η ΥΠΗΡΕΣΙΩΝ
ΤΡΙΤΩΝ, ΚΑΘΩΣ ΚΑΙ ΠΡΟΪΟΝΤΩΝ ΚΑΙ ΥΠΗΡΕΣΙΩΝ ΤΗΣ APPLE.

7.5 ΕΠΙΠΡΟΣΘΕΤΩΣ, ΑΝΑΓΝΩΡΙΖΕΤΕ ΟΤΙ ΤΟ ΛΟΓΙΣΜΙΚΟ ΚΑΙ ΟΙ ΥΠΗΡΕΣΙΕΣ iOS ΔΕΝ
ΠΡΟΟΡΙΖΟΝΤΑΙ ΟΥΤΕ ΕΙΝΑΙ ΚΑΤΑΛΛΗΛΕΣ ΓΙΑ ΧΡΗΣΗ ΣΕ ΠΕΡΙΣΤΑΣΕΙΣ Ή ΠΕΡΙΒΑΛΛΟΝΤΑ ΟΠΟΥ Η
ΑΝΕΠΑΡΚΕΙΑ Ή ΟΙ ΚΑΘΥΣΤΕΡΗΣΕΙΣ, ΤΑ ΣΦΑΛΜΑΤΑ Ή ΟΙ ΑΝΑΚΡΙΒΕΙΕΣ ΣΤΟ ΠΕΡΙΕΧΟΜΕΝΟ, ΤΑ
ΔΕΔΟΜΕΝΑ Ή ΤΙΣ ΠΛΗΡΟΦΟΡΙΕΣ ΠΟΥ ΠΑΡΕΧΟΝΤΑΙ ΑΠΟ ΤΟ ΛΟΓΙΣΜΙΚΟ iOS ΕΝΔΕΧΕΤΑΙ ΝΑ
ΕΧΟΥΝ ΩΣ ΣΥΝΕΠΕΙΑ ΤΟ ΘΑΝΑΤΟ, ΣΩΜΑΤΙΚΕΣ ΒΛΑΒΕΣ Ή ΣΟΒΑΡΕΣ ΥΛΙΚΕΣ ΖΗΜΙΕΣ Η ΒΛΑΒΗ
ΣΤΟ ΠΕΡΙΒΑΛΛΟΝ, ΣΥΜΠΕΡΙΛΑΜΒΑΝΟΜΕΝΩΝ, ΜΕΤΑΞΥ ΑΛΛΩΝ, ΤΗΣ ΕΠΙΧΕΙΡΗΣΙΑΚΗΣ
ΛΕΙΤΟΥΡΓΙΑΣ ΠΥΡΗΝΙΚΩΝ ΕΓΚΑΤΑΣΤΑΣΕΩΝ, ΣΥΣΤΗΜΑΤΩΝ ΠΛΟΗΓΗΣΗΣ Ή ΕΠΙΚΟΙΝΩΝΙΑΣ
ΑΕΡΟΣΚΑΦΩΝ, ΕΛΕΓΧΟΥ ΕΝΑΕΡΙΑΣ ΚΥΚΛΟΦΟΡΙΑΣ, ΥΠΟΣΤΗΡΙΞΗΣ ΖΩΤΙΚΩΝ ΛΕΙΤΟΥΡΓΙΩΝ Ή
ΟΠΛΙΚΩΝ ΣΥΣΤΗΜΑΤΩΝ.

7.6 ΚΑΜΙΑ ΠΡΟΦΟΡΙΚΗ Ή ΓΡΑΠΤΗ ΠΛΗΡΟΦΟΡΙΑ Ή ΣΥΜΒΟΥΛΗ ΠΟΥ ΤΥΧΟΝ ΠΑΡΑΣΧΕΘΕΙ ΑΠΟ
ΤΗΝ APPLE Ή ΕΞΟΥΣΙΟΔΟΤΗΜΕΝΟ ΕΚΠΡΟΣΩΠΟ ΤΗΣ APPLE ΔΕΝ ΑΠΟΤΕΛΕΙ ΕΓΓΥΗΣΗ. ΣΕ
ΠΕΡΙΠΤΩΣΗ ΠΟΥ ΤΟ ΛΟΓΙΣΜΙΚΟ Ή ΟΙ ΥΠΗΡΕΣΙΕΣ iOS ΑΠΟΔΕΙΧΘΟΥΝ ΕΛΑΤΤΩΜΑΤΙΚΕΣ,
ΑΝΑΛΑΜΒΑΝΕΤΕ ΤΟ ΣΥΝΟΛΟ ΤΗΣ ΔΑΠΑΝΗΣ ΓΙΑ ΤΙΣ ΥΠΗΡΕΣΙΕΣ ΤΕΧΝΙΚΗΣ ΕΞΥΠΗΡΕΤΗΣΗΣ,
ΕΠΙΣΚΕΥΗΣ Ή ΔΙΟΡΘΩΣΗΣ ΠΟΥ ΘΑ ΚΡΙΘΟΥΝ ΑΠΑΡΑΙΤΗΤΕΣ. ΟΡΙΣΜΕΝΕΣ ΔΙΚΑΙΟΔΟΣΙΕΣ ΔΕΝ
ΕΠΙΤΡΕΠΟΥΝ ΤΟΝ ΑΠΟΚΛΕΙΣΜΟ ΣΙΩΠΗΡΩΝ ΕΓΓΥΗΣΕΩΝ Ή ΤΟΝ ΠΕΡΙΟΡΙΣΜΟ ΤΩΝ
ΚΑΤΑΝΑΛΩΤΙΚΩΝ ΔΙΚΑΙΩΜΑΤΩΝ ΠΟΥ ΠΡΟΒΛΕΠΟΝΤΑΙ ΕΚ ΤΟΥ ΝΟΜΟΥ, ΟΠΟΤΕ ΟΙ ΠΑΡΑΠΑΝΩ
ΑΠΟΚΛΕΙΣΜΟΙ ΚΑΙ ΠΕΡΙΟΡΙΣΜΟΙ ΕΝΔΕΧΕΤΑΙ ΝΑ ΜΗΝ ΙΣΧΥΟΥΝ ΓΙΑ ΕΣΑΣ.

8. Περιορισμός ευθύνης. ΚΑΤΑ ΤΟΝ ΒΑΘΜΟ ΠΟΥ Η ΙΣΧΥΟΥΣΑ ΝΟΜΟΘΕΣΙΑ ΔΕΝ ΤΟ ΑΠΑΓΟΡΕΥΕΙ,
Η APPLE, ΟΙ ΣΥΝΕΡΓΑΤΕΣ, ΑΝΤΙΠΡΟΣΩΠΟΙ Ή ΕΝΤΟΛΟΔΟΤΕΣ ΤΗΣ, ΣΕ ΚΑΜΙΑ ΠΕΡΙΠΤΩΣΗ ΔΕΝ ΘΑ
ΦΕΡΟΥΝ ΕΥΘΥΝΗ ΓΙΑ ΣΩΜΑΤΙΚΕΣ ΒΛΑΒΕΣ Ή ΓΙΑ ΟΠΟΙΑΔΗΠΟΤΕ ΑΠΟΘΕΤΙΚΗ, ΕΙΔΙΚΗ, ΕΜΜΕΣΗ Ή
ΠΑΡΕΠΟΜΕΝΗ ΖΗΜΙΑ, ΣΥΜΠΕΡΙΛΑΜΒΑΝΟΜΕΝΗΣ, ΜΕΤΑΞΥ ΑΛΛΩΝ, ΤΗΣ ΖΗΜΙΑΣ ΑΠΟ
ΔΙΑΦΥΓΟΝΤΑ ΚΕΡΔΗ, ΤΗΣ ΖΗΜΙΑΣ ΛΟΓΩ ΑΛΛΟΙΩΣΗΣ Ή ΑΠΩΛΕΙΑΣ ΔΕΔΟΜΕΝΩΝ, ΤΗΣ
ΠΑΡΑΛΕΙΨΗΣ ΔΙΑΒΙΒΑΣΗΣ Ή ΛΗΨΗΣ ΟΠΟΙΩΝΔΗΠΟΤΕ ΔΕΔΟΜΕΝΩΝ (ΣΥΜΠΕΡΙΛΑΜΒΑΝΟΜΕΝΩΝ
ΧΩΡΙΣ ΠΕΡΙΟΡΙΣΜΟ ΟΔΗΓΙΩΝ, ΕΡΓΑΣΙΕΣ ΚΑΙ ΥΛΙΚΑ ΜΑΘΗΜΑΤΩΝ), ΤΗΣ ΔΙΑΚΟΠΗΣ
ΕΠΙΧΕΙΡΗΜΑΤΙΚΗΣ ΔΡΑΣΤΗΡΙΟΤΗΤΑΣ Ή ΟΠΟΙΑΣΔΗΠΟΤΕ ΑΛΛΗΣ ΖΗΜΙΑΣ Ή ΑΠΩΛΕΙΑΣ
ΕΜΠΟΡΙΚΗΣ ΦΥΣΗΣ ΠΟΥ ΑΝΑΚΥΨΕΙ ΑΠΟ Ή ΣΧΕΤΙΖΕΤΑΙ ΜΕ ΤΗΝ ΑΠΟ ΜΕΡΟΥΣ ΣΑΣ ΧΡΗΣΗ Ή
ΑΔΥΝΑΜΙΑ ΧΡΗΣΗΣ ΤΟΥ ΛΟΓΙΣΜΙΚΟΥ ΚΑΙ ΤΩΝ ΥΠΗΡΕΣΙΩΝ iOS Ή ΟΠΟΙΟΥΔΗΠΟΤΕ ΛΟΓΙΣΜΙΚΟΥ Ή
ΕΦΑΡΜΟΓΩΝ ΤΡΙΤΩΝ ΣΕ ΣΥΝΔΥΑΣΜΟ ΜΕ ΤΟ ΛΟΓΙΣΜΙΚΟ Ή ΤΙΣ ΥΠΗΡΕΣΙΕΣ iOS, ΟΠΟΥ ΚΑΙ ΑΝ
ΟΦΕΙΛΕΤΑΙ, ΑΝΕΞΑΡΤΗΤΑ ΑΠΟ ΤΟ ΠΕΔΙΟ ΤΗΣ ΕΥΘΥΝΗΣ (ΣΥΜΒΑΣΗ, ΑΔΙΚΟΠΡΑΞΙΑ Ή ΑΛΛΗ) ΚΑΙ
ΑΚΟΜΑ ΚΑΙ ΑΝ Η APPLE ΕΧΕΙ ΛΑΒΕΙ ΠΡΟΕΙΔΟΠΟΙΗΣΗ ΣΧΕΤΙΚΑ ΜΕ ΤΗΝ ΠΙΘΑΝΟΤΗΤΑ ΑΥΤΗΣ ΤΗΣ
ΖΗΜΙΑΣ. ΟΡΙΣΜΕΝΕΣ ΔΙΚΑΙΟΔΟΣΙΕΣ ΔΕΝ ΕΠΙΤΡΕΠΟΥΝ ΤΗΝ ΕΞΑΙΡΕΣΗ Ή ΤΟΝ ΠΕΡΙΟΡΙΣΜΟ ΤΗΣ
ΕΥΘΥΝΗΣ ΓΙΑ ΣΩΜΑΤΙΚΕΣ ΒΛΑΒΕΣ Ή ΓΙΑ ΑΠΟΘΕΤΙΚΕΣ Ή ΠΑΡΕΠΟΜΕΝΕΣ ΖΗΜΙΕΣ, ΣΥΝΕΠΩΣ
ΑΥΤΗ Η ΡΗΤΡΑ ΠΕΡΙΟΡΙΣΜΟΥ ΕΥΘΥΝΗΣ ΕΝΔΕΧΕΤΑΙ ΝΑ ΜΗΝ ΙΣΧΥΕΙ ΓΙΑ ΕΣΑΣ. Η συνολική ευθύνη
της Apple απέναντί σας για όλες τις ζημίες (εκτός από αυτές που τυχόν προβλέπονται από το
εφαρμοστέο δίκαιο για περιπτώσεις σωματικών βλαβών) σε καμία περίπτωση δεν θα υπερβαίνει το ποσό
των διακοσίων πενήντα (250) δολαρίων ΗΠΑ. Οι ανωτέρω περιορισμοί της ευθύνης ισχύουν ακόμα και αν
το προαναφερθέν μέσο αποκατάστασης δεν καλύπτει τον σκοπό για τον οποίο προορίζεται.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 298 of 452




9. Ψηφιακά πιστοποιητικά. Το Λογισμικό iOS περιέχει λειτουργικές δυνατότητες οι οποίες του
επιτρέπουν να αποδέχεται ψηφιακά πιστοποιητικά που έχουν εκδοθεί είτε από την Apple είτε από
τρίτους. ΕΙΣΤΕ ΑΠΟΚΛΕΙΣΤΙΚΑ ΥΠΕΥΘΥΝΟΙ ΝΑ ΑΠΟΦΑΣΙΣΕΤΕ ΑΝ ΘΑ ΕΜΠΙΣΤΕΥΘΕΙΤΕ ΕΝΑ
ΠΙΣΤΟΠΟΙΗΤΙΚΟ Ή ΟΧΙ, ΕΙΤΕ ΑΥΤΟ ΕΧΕΙ ΕΚΔΟΘΕΙ ΑΠΟ ΤΗΝ APPLE ΕΙΤΕ ΑΠΟ ΤΡΙΤΟ ΠΡΟΣΩΠΟ. Η
ΑΠΟ ΜΕΡΟΥΣ ΣΑΣ ΧΡΗΣΗ ΨΗΦΙΑΚΩΝ ΠΙΣΤΟΠΟΙΗΤΙΚΩΝ ΓΙΝΕΤΑΙ ΜΕ ΔΙΚΗ ΣΑΣ ΕΥΘΥΝΗ
ΑΠΟΚΛΕΙΣΤΙΚΑ. ΣΤΟΝ ΜΕΓΙΣΤΟ ΒΑΘΜΟ ΠΟΥ ΕΠΙΤΡΕΠΕΤΑΙ ΑΠΟ ΤΗΝ ΙΣΧΥΟΥΣΑ ΝΟΜΟΘΕΣΙΑ, Η
APPLE ΔΕΝ ΠΡΟΒΑΙΝΕΙ ΣΕ ΚΑΜΙΑ ΕΓΓΥΗΣΗ Ή ΠΡΟΣΥΜΒΑΤΙΚΗ ΔΗΛΩΣΗ, ΡΗΤΗ Ή ΣΙΩΠΗΡΗ, ΟΣΟΝ
ΑΦΟΡΑ ΤΗΝ ΕΜΠΟΡΕΥΣΙΜΟΤΗΤΑ Ή ΚΑΤΑΛΛΗΛΟΤΗΤΑ ΓΙΑ ΟΠΟΙΟΝΔΗΠΟΤΕ ΣΥΓΚΕΚΡΙΜΕΝΟ
ΣΚΟΠΟ Ή ΓΙΑ ΤΗΝ ΑΚΡΙΒΕΙΑ, ΑΣΦΑΛΕΙΑ Ή ΜΗ ΠΑΡΑΒΙΑΣΗ ΔΙΚΑΙΩΜΑΤΩΝ ΤΡΙΤΩΝ ΑΝΑΦΟΡΙΚΑ ΜΕ
ΨΗΦΙΑΚΑ ΠΙΣΤΟΠΟΙΗΤΙΚΑ.

10. Έλεγχος εξαγωγών. Δεν επιτρέπεται να χρησιμοποιήσετε ή με άλλον τρόπο να εξαγάγετε ή να
επανεξαγάγετε το Λογισμικό iOS εκτός από ό,τι επιτρέπεται από τη νομοθεσία των Ηνωμένων Πολιτειών
και της νομοθεσίας της δικαιοδοσίας ή των δικαιοδοσιών όπου αποκτήθηκε το Λογισμικό iOS.
Συγκεκριμένα, αλλά όχι περιοριστικά, το Λογισμικό iOS δεν μπορεί να εξαχθεί ή να επανεξαχθεί (α) σε
κάποια χώρα στην οποία έχουν επιβάλει εμπορικό αποκλεισμό οι ΗΠΑ ή (β) σε οποιονδήποτε που
περιλαμβάνεται στον κατάλογο Ειδικώς χαρακτηρισμένων αλλοδαπών προσώπων (Specially Designated
Nationals List) του Υπουργείου Οικονομικών των ΗΠΑ ή στον κατάλογο Αποκλεισμένων φυσικών ή
νομικών προσώπων του Υπουργείου Εμπορίου των ΗΠΑ ή οποιονδήποτε κατάλογο αποκλεισμένων
τρίτων μερών. Η χρήση του Λογισμικού iOS, συνεπάγεται ότι δηλώνετε και εγγυάστε πως δεν βρίσκεστε
σε κάποια από αυτές τις χώρες ή σε κάποιον από αυτούς τους καταλόγους. Αποδέχεστε επίσης ότι δεν
θα χρησιμοποιήσετε το Λογισμικό iOS για σκοπούς που απαγορεύονται από το δίκαιο των Ηνωμένων
Πολιτειών, όπως, μεταξύ άλλων, η ανάπτυξη, ο σχεδιασμός, η κατασκευή ή η παραγωγή πυραύλων,
πυρηνικών, χημικών ή βιολογικών όπλων.

11. Τελικοί χρήστες του Δημοσίου. Το Λογισμικό iOS και η σχετική τεκμηρίωση αποτελούν «Εμπορικά
είδη», όπως η έννοια αυτή ορίζεται στο άρθρο 48, παράγραφος 2.101 του Κώδικα ομοσπονδιακών
κανονισμών (C.F.R.), και συνίστανται σε «Εμπορικό λογισμικό υπολογιστών» και «Πληροφοριακό υλικό
εμπορικού λογισμικού υπολογιστών», όπως οι έννοιες αυτές ορίζονται, κατά περίπτωση, στο άρθρο 48,
παράγραφος 12.212 ή στο άρθρο 48, παράγραφος 227.7202 του C.F.R. Σύμφωνα με το άρθρο 48,
παράγραφος 12.212 ή το άρθρο 48, παράγραφοι 227.7202-1 έως 227.7202-4, κατά περίπτωση, το
Εμπορικό λογισμικό υπολογιστών και το Πληροφοριακό υλικό εμπορικού λογισμικού υπολογιστών
παρέχονται με άδεια χρήσης σε τελικούς χρήστες του αμερικανικού Δημοσίου (α) μόνο ως Εμπορικά είδη
και (β) μόνο με εκείνα τα δικαιώματα που χορηγούνται σε όλους τους άλλους τελικούς χρήστες σύμφωνα
με τους όρους που περιέχονται στην παρούσα. Με την επιφύλαξη όλων των μη δημοσιευμένων
δικαιωμάτων σύμφωνα με το δίκαιο περί πνευματικής ιδιοκτησίας των Ηνωμένων Πολιτειών.

12. Εφαρμοστέο δίκαιο και ακυρότητα επιμέρους όρων. Η παρούσα Άδεια χρήσης διέπεται από και
ερμηνεύεται σύμφωνα με το δίκαιο της Πολιτείας της Καλιφόρνιας, με εξαίρεση τη σύγκρουση των
αρχών νόμου. Η παρούσα Άδεια χρήσης δεν διέπεται από τη Σύμβαση του Οργανισμού των Ηνωμένων
Εθνών για τις διεθνείς πωλήσεις κινητών (Σύμβαση της Βιέννης), η εφαρμογή της οποίας αποκλείεται
ρητώς. Αν είστε καταναλωτής με έδρα στο Ηνωμένο Βασίλειο, η παρούσα Άδεια χρήσης διέπεται από
τους νόμους της δικαιοδοσίας της χώρας κατοικίας σας. Αν για οποιονδήποτε λόγο ένα δικαστήριο της
αρμόδιας δικαιοδοσίας κρίνει ότι οποιοσδήποτε όρος ή μέρος αυτού είναι άκυρος, η υπόλοιπη Άδεια
χρήσης παραμένει σε πλήρη ισχύ και εξακολουθεί να παράγει τα αποτελέσματά της.

13. Πλήρης συμφωνία. Επίσημη γλώσσα. Η Άδεια χρήσης αντιπροσωπεύει την πλήρη συμφωνία μεταξύ
εσάς και της Apple αναφορικά με το Λογισμικό iOS, και υπερισχύει κάθε προηγούμενης ή ταυτόχρονης
συμφωνίας αναφορικά με το ίδιο αντικείμενο. Καμία τροποποίηση ή μεταβολή της παρούσας Άδειας
χρήσης δεν θα είναι δεσμευτική εκτός αν συνταχθεί εγγράφως και υπογραφεί από την Apple. Η τυχόν
μετάφραση της παρούσας Άδειας χρήσης εξυπηρετεί τις τοπικές ανάγκες και σε περίπτωση διαφοράς
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 299 of 452



μεταξύ του κειμένου στην αγγλική γλώσσα και του κειμένου σε άλλη γλώσσα, το κείμενο στην αγγλική
γλώσσα θα υπερισχύει στον βαθμό που δεν απαγορεύεται από την τοπική νομοθεσία της δικαιοδοσίας
σας.

14. Αναγνώριση δικαιωμάτων τρίτων. Μέρη του Λογισμικού iOS ενδέχεται να χρησιμοποιούν ή να
περιλαμβάνουν λογισμικό τρίτων ή άλλο υλικό που προστατεύεται από πνευματικά δικαιώματα. Οι
δηλώσεις αναγνώρισης δικαιωμάτων, οι όροι χορήγησης άδειας χρήσης και οι ρήτρες περιορισμού της
ευθύνης περιέχονται στην ηλεκτρονική τεκμηρίωση για το Λογισμικό iOS και η από μέρους σας χρήση
αυτού του υλικού διέπεται από τους αντίστοιχους όρους. Η χρήση της υπηρεσίας «Ασφαλής Περιήγηση»
της Google υπόκειται στους Όρους υπηρεσίας της Google (https://www.google.com/intl/el/policies/
terms/) και στην Πολιτική απορρήτου της Google (https://www.google.com/intl/el/policies/privacy/).

15. Χρήση MPEG-4. Δήλωση Η.264/AVC.
(α) Το Λογισμικό iOS διαθέτει άδεια χρήσης σύμφωνα με την Άδεια χαρτοφυλακίου διπλώματος
ευρεσιτεχνίας οπτικού υλικού MPEG-4 για κωδικοποίηση σύμφωνα με το πρότυπο MPEG-4 Systems
Standard, με τη διαφορά ότι απαιτείται επιπρόσθετη άδεια χρήσης και πληρωμή πνευματικών
δικαιωμάτων για κωδικοποίηση που αφορά (i) δεδομένα αποθηκευμένα ή αντιγραμμένα σε φυσικό μέσο
που πληρώνονται σε ατομική βάση και/ή (ii) δεδομένα που πληρώνονται σε ατομική βάση και
μεταδίδονται σε τελικό χρήστη για μόνιμη αποθήκευση και/ή χρήση. Μπορείτε να λάβετε τέτοιου είδους
επιπρόσθετη άδεια από την MPEG LA, LLC. Για περισσότερες λεπτομέρειες, ανατρέξτε στη διεύθυνση
http://www.mpegla.com.

(β) Το Λογισμικό iOS περιλαμβάνει λειτουργία κωδικοποίησης και/ή αποκωδικοποίησης βίντεο MPEG-4.
Το Λογισμικό iOS παρέχεται με άδεια χρήσης σύμφωνα με την Άδεια χρήσης MPEG-4 Visual Patent
Porfolio License για την προσωπική και μη εμπορική χρήση από μέρους ενός καταναλωτή για (i)
κωδικοποίηση βίντεο σύμφωνα με το Πρότυπο οπτικών μέσων MPEG-4 («MPEG-4 Video») και/ή (ii)
αποκωδικοποίηση βίντεο MPEG-4 που κωδικοποιήθηκε από έναν καταναλωτή ενεργούντα στο πλαίσιο
προσωπικής και μη εμπορικής δραστηριότητας και/ή παρασχέθηκε από πάροχο βίντεο στον οποίο
χορηγήθηκε άδεια από την εταιρία MPEG LA για την παροχή βίντεο MPEG-4. Καμία άδεια δεν χορηγείται
ούτε συνάγεται ότι χορηγείται για οποιαδήποτε άλλη χρήση. Για πρόσθετες πληροφορίες,
συμπεριλαμβανομένων αυτών που σχετίζονται με προωθητικές, εσωτερικές και εμπορικές χρήσεις καθώς
και με τη χορήγηση αδειών χρήσης, μπορείτε να απευθύνεστε στην εταιρεία MPEG LA, LLC.
Επισκεφτείτε τη διεύθυνση http://www.mpegla.com.

(γ) Το Λογισμικό iOS περιέχει λειτουργία κωδικοποίησης και/ή αποκωδικοποίησης AVC. Η εμπορική
χρήση του H.264/AVC προϋποθέτει πρόσθετη άδεια και εφαρμόζεται η παρακάτω διάταξη: Η
ΛΕΙΤΟΥΡΓΙΚΟΤΗΤΑ AVC ΣΤΟ ΛΟΓΙΣΜΙΚΟ iOS, ΔΙΑ ΤΗΣ ΠΑΡΟΥΣΗΣ, ΠΑΡΕΧΕΤΑΙ ΜΕ ΑΔΕΙΑ ΓΙΑ
ΠΡΟΣΩΠΙΚΗ ΚΑΙ ΜΗ ΕΜΠΟΡΙΚΗ ΧΡΗΣΗ ΑΠΟ ΜΕΡΟΥΣ ΕΝΟΣ ΚΑΤΑΝΑΛΩΤΗ ΓΙΑ (i) ΚΩΔΙΚΟΠΟΙΗΣΗ
ΒΙΝΤΕΟ ΣΥΜΦΩΝΑ ΜΕ ΤΟ ΠΡΟΤΥΠΟ ΟΠΤΙΚΩΝ ΜΕΣΩΝ AVC («AVC VIDEO») ΚΑΙ/Η (ii)
ΑΠΟΚΩΔΙΚΟΠΟΙΗΣΗ ΒΙΝΤΕΟ AVC ΠΟΥ ΚΩΔΙΚΟΠΟΙΗΘΗΚΕ ΑΠΟ ΕΝΑΝ ΚΑΤΑΝΑΛΩΤΗ ΕΝΕΡΓΟΥΝΤΑ
ΣΤΟ ΠΛΑΙΣΙΟ ΠΡΟΣΩΠΙΚΗΣ ΚΑΙ ΜΗ ΕΜΠΟΡΙΚΗΣ ΔΡΑΣΤΗΡΙΟΤΗΤΑΣ ΚΑΙ/Η ΠΑΡΑΣΧΕΘΗΚΕ ΑΠΟ
ΠΑΡΟΧΟ ΒΙΝΤΕΟ ΣΤΟΝ ΟΠΟΙΟ ΧΟΡΗΓΗΘΗΚΕ ΑΔΕΙΑ ΒΙΝΤΕΟ ΓΙΑ ΤΗΝ ΠΑΡΟΧΗ ΒΙΝΤΕΟ AVC. ΓΙΑ
ΠΛΗΡΟΦΟΡΙΕΣ ΓΙΑ ΑΛΛΕΣ ΧΡΗΣΕΙΣ ΚΑΙ ΑΔΕΙΕΣ, ΜΠΟΡΕΙΤΕ ΝΑ ΑΠΕΥΘΥΝΕΣΤΕ ΣΤΗΝ ΕΤΑΙΡΕΙΑ
MPEG LA L.L.C. ΕΠΙΣΚΕΦΘΕΙΤΕ ΤΗ ΔΙΕΎΘΥΝΣΗ http://www.mpegla.com.

16. Περιορισμοί της υπηρεσίας αναζήτησης Yahoo Search Service. Η άδεια για την υπηρεσία
αναζήτησης Yahoo Search Service που διατίθεται μέσω της εφαρμογής Safari χορηγείται για χρήση στις
παρακάτω χώρες και περιοχές μόνο: Αγία Λουκία, Άγιος Βικέντιος, Αργεντινή, Αρούμπα, Αυστραλία,
Αυστρία, Βέλγιο, Βενεζουέλα, Βερμούδα, Βουλγαρία, Βραζιλία, Γαλλία, Γερμανία, Γουατεμάλα, Γρενάδα,
Δανία, Δομινικανή Δημοκρατία, Ελ Σαλβαδόρ, Ελβετία, Ελλάδα, ΗΠΑ, Ηνωμένο Βασίλειο, Ιαπωνία, Ινδία,
Ινδονησία, Ιρλανδία, Ισημερινός, Ισλανδία, Ισπανία, Ιταλία, Καναδάς, Κίνα (ηπειρωτική), Χονγκ Κονγκ,
Ταϊβάν, Κολομβία, Κύπρος, Λετονία, Λιθουανία, Λουξεμβούργο, Μαλαισία, Μάλτα, Μεξικό,
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 300 of 452



Μπαρμπέιντος, Μπαχάμες, Νέα Ζηλανδία, Νήσοι Κέιμαν, Νικαράγουα, Νορβηγία, Νότια Κορέα,
Ολλανδία, Ουγγαρία, Ουρουγουάη, Παναμάς, Περού, Πολωνία, Πορτογαλία, Πουέρτο Ρίκο, Ρουμανία,
Σιγκαπούρη, Σλοβακία, Σλοβενία, Σουηδία, Ταϊλάνδη, Τζαμάικα, Τρινιντάντ και Τομπάγκο, Τουρκία,
Τσεχία, Φιλιππίνες, Φινλανδία και Χιλή.

17. Ειδοποίηση για το Microsoft Exchange. Παρέχεται άδεια για τη ρύθμιση αλληλογραφίας Microsoft
Exchange στο Λογισμικό iOS μόνο για ασύρματο συγχρονισμό πληροφοριών, όπως email, επαφές,
ημερολόγιο και εργασίες, μεταξύ του iOS και του Microsoft Exchange Server ή άλλου λογισμικού
διακομιστή που παρέχεται κατόπιν άδειας της Microsoft για εφαρμογή του πρωτοκόλλου Microsoft
Exchange ActiveSync.

EA1566
21/2/2019

————————————
Πρόσθετοι όροι και προϋποθέσεις για το Apple Pay

Οι παρόντες Όροι και προϋποθέσεις για το Apple Pay (οι παρόντες «Πρόσθετοι όροι») συμπληρώνουν τη
Σύμβαση άδειας χρήσης του Λογισμικού iOS (η «Άδεια χρήσης»). Οι όροι της Άδειας χρήσης και οι
παρόντες Πρόσθετοι όροι διέπουν τη χρήση από μέρους σας της δυνατότητας Apple Pay, η οποία θα
αποκαλείται «Υπηρεσία» εφεξής στην παρούσα άδεια χρήσης. Οι λέξεις-όροι με το πρώτο γράμμα
κεφαλαίο που χρησιμοποιούνται στους παρόντες Πρόσθετους όρους έχουν τις έννοιες που ορίζονται
στην Άδεια χρήσης.

1.   Επισκόπηση και περιορισμοί χρήσης

Το Apple Pay επιτρέπει:

       •    την αποθήκευση εικονικών απεικονίσεων πιστωτικών, χρεωστικών και προπληρωμένων
            καρτών, συμπεριλαμβανομένων πιστωτικών, χρεωστικών και προπληρωμένων καρτών
            καταστημάτων καθώς και τη κάρτας μετρητών Apple Pay, που υποστηρίζονται από τη
            δυνατότητα Apple Pay («Υποστηριζόμενες κάρτες πληρωμής») και χρησιμοποιούν
            υποστηριζόμενες Συσκευές iOS για πραγματοποίηση ανέπαφων πληρωμών σε συγκεκριμένα
            καταστήματα ή μέσα από εφαρμογές ή ιστότοπους.
       •    τη χρήση καρτών επιβραβεύσεων και δωροκαρτών που είναι αποθηκευμένες στο Wallet
            («Κάρτες με δυνατότητα Apple Pay», και μαζί με τις Υποστηριζόμενες κάρτες πληρωμής,
            «Υποστηριζόμενες κάρτες»), για πραγματοποίηση ανέπαφων συναλλαγών μέσω καρτών
            επιβραβεύσεων και δωροκαρτών σε συγκεκριμένα καταστήματα ως μέρος ανέπαφης
            πληρωμής με χρήση του Apple Pay, και
       •    την αποστολή ατομικών πληρωμών σε άλλους χρήστες του Apple Pay.

Οι δυνατότητες Apple Pay του Λογισμικού iOS μπορεί να είναι διαθέσιμες μόνο σε συγκεκριμένες
περιοχές, για συγκεκριμένους εκδότες καρτών, συγκεκριμένα χρηματοπιστωτικά ιδρύματα και
συγκεκριμένους εμπόρους. Οι δυνατότητες μπορεί να διαφέρουν κατά περιοχή, εκδότη και έμπορο.

Για να χρησιμοποιήσετε το Apple Pay, πρέπει να διαθέτετε Υποστηριζόμενη κάρτα. Οι Υποστηριζόμενες
κάρτες μπορεί να αλλάζουν κατά καιρούς. Επιπλέον, για να στέλνετε ή να λαμβάνετε ατομικές
πληρωμές, πρέπει να διαθέτετε την κάρτα μετρητών Apple Pay.

Οι Υποστηριζόμενες κάρτες πληρωμής και οι ατομικές πληρωμές σχετίζονται με το Apple ID το οποίο
έχετε χρησιμοποιήσει για σύνδεση στο iCloud για χρήση αυτών των δυνατοτήτων. Οι Υποστηριζόμενες
κάρτες πληρωμής είναι διαθέσιμες μόνο σε άτομα ηλικίας 13 ετών ή άνω, ενδέχεται να υπόκειται σε
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 301 of 452



πρόσθετους περιορισμούς ηλικίας που επιβάλλονται από το iCloud ή την Υποστηριζόμενη κάρτα που
προσπαθείτε να χρησιμοποιήσετε. Η κάρτα μετρητών Apple Pay και η δυνατότητα αποστολής και λήψης
ατομικών πληρωμών διατίθεται μόνο σε άτομα ηλικίας 18 ετών και άνω.

Το Apple Pay προορίζεται για την προσωπική χρήση σας και μπορείτε να παρέχετε αποκλειστικά και
μόνο δικές σας Υποστηριζόμενες κάρτες. Αν χρησιμοποιείτε υποστηριζόμενη εταιρική κάρτα, δηλώνετε
ότι το κάνετε κατόπιν άδειας από τον εργοδότη σας και ότι έχετε εξουσιοδοτηθεί για τη συμμόρφωση
του εργοδότη σας με τους παρόντες όρους χρήσης και την τήρηση όλων των συναλλαγών που
επηρεάζουν τη χρήση της δυνατότητας. Αν στέλνετε ή λαμβάνετε ατομικές πληρωμές, δηλώνετε ότι το
κάνετε για προσωπική, μη εμπορική χρήση.

Συμφωνείτε να μη χρησιμοποιείτε το Apple Pay για παράνομους ή δόλιους σκοπούς ή άλλους σκοπούς
που απαγορεύονται από την Άδεια χρήσης και τους παρόντες Πρόσθετους όρους. Επιπλέον, συμφωνείτε
να χρησιμοποιείτε το Apple Pay σύμφωνα με τους ισχύοντες νόμους και κανονισμούς. Συμφωνείτε να μη
δημιουργήσετε παρεμβολές ή να διακόψετε την υπηρεσία Apple Pay (συμπεριλαμβανομένης της
πρόσβασης στην υπηρεσία μέσω αυτοματοποιημένων τρόπων) ή τυχόν διακομιστές ή δίκτυα που είναι
συνδεδεμένα με την υπηρεσία ή τυχόν πολιτικές, απαιτήσεις ή κανονισμούς δικτύων που είναι
συνδεδεμένα με την υπηρεσία (συμπεριλαμβανομένων της μη εξουσιοδοτημένης πρόσβασης, της χρήσης
ή παρακολούθησης δεδομένων ή κίνησης που την σχετίζονται με αυτήν).

2.   Η σχέση της Apple με εσάς

Το Apple Pay σάς επιτρέπει να δημιουργήσετε μια εικονική απεικόνιση των Υποστηριζόμενων καρτών
σας στην υποστηριζόμενη Συσκευή iOS σας. Ωστόσο έχετε υπόψη σας ότι η Apple δεν επεξεργάζεται
πληρωμές ή άλλες συναλλαγές μη πληρωμής από κάρτες (όπως π.χ. συσσώρευση και εξαργύρωση
επιβραβεύσεων), ούτε λαμβάνει, παρακρατά ή μεταφέρει τα κεφάλαιά σας ή έχει οποιονδήποτε έλεγχο
ως προς πληρωμές, επιστροφές προϊόντων/υπηρεσιών ή χρημάτων, επιβραβεύσεις, αξίες, εκπτώσεις ή
άλλη εμπορική δραστηριότητα που μπορεί να προκύψει από τη χρήση της παρούσας δυνατότητας από
μέρους σας.

Οι όροι συμβάσεων κατόχου κάρτας που έχετε συνάψει με τον εκδότη κάρτας σας θα συνεχίσουν να
διέπουν τη χρήση των Υποστηριζόμενων καρτών από μέρους σας καθώς και τη χρήση των καρτών από
μέρους σας σε σχέση με τπ Apple Pay. Παρομοίως, η συμμετοχή σας σε οποιαδήποτε εμπορικά
προγράμματα επιβραβεύσεων ή δωροκαρτών και η χρήση Καρτών με το Apple Pay από μέρους σας σε
συνδυασμό με το Apple Pay θα υπόκεινται στους αντίστοιχους όρους και προϋποθέσεις των εν λόγω
προγραμμάτων.

Η κάρτα μετρητών Apple Pay και η δυνατότητα αποστολής και λήψης ατομικών πληρωμών διατίθεται
μόνο στις ΗΠΑ, και οι υπηρεσίες παρέχονται από την τράπεζα Green Dot Bank, μέλος της FDIC. Όταν
ενεργοποιείτε αυτές τις δυνατότητες εντός του Apple Pay, ανοίγετε έναν λογαριασμό στην Green Dot
Bank, και όταν στέλνετε ή λαμβάνετε ατομικές πληρωμές ή κατά τη χρηματοδότηση ή την ανάληψη
χρημάτων από την κάρτα μετρητών Apple Pay, η Green Dot Bank θα είναι υπεύθυνη για τη λήψη και την
αποστολή των χρημάτων σας στον προοριζόμενο παραλήπτη. Το χρηματοπιστωτικό ίδρυμα που είναι
υπεύθυνο για την παροχή Μετρητών Apple Pay και ατομικών πληρωμών εντός του Apple Pay υπόκειται
σε αλλαγή και η χρήση τέτοιων δυνατοτήτων από μέρους σας υπόκειται στους όρους και τις
προϋποθέσεις του.

Τίποτα στην Άδεια χρήσης ή τους παρόντες Πρόσθετους όρους δεν τροποποιεί τους όρους σύμβασης
κατόχου κάρτας, χρήστη ή εμπόρου και οι εν λόγω όροι θα διέπουν τη χρήση της συγκεκριμένης
Υποστηριζόμενης κάρτας από μέρους σας ή τη δυνατότητα ατομικών πληρωμών του Apple Pay και την
εικονική απεικόνισή τους στη Συσκευή iOS σας. Συμφωνείτε ότι η Apple δεν αποτελεί συμβαλλόμενο
μέρος των συμβάσεων κατόχου κάρτας σας ή των συμβάσεων εμπορικών φορέων, ότι η Apple δεν είναι
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 302 of 452



υπεύθυνη για: (α) το περιεχόμενο, την ακρίβεια ή τη διαθεσιμότητα καρτών πληρωμής, καρτών
επιβραβεύσεων, δωροκαρτών, εμπορικών δραστηριοτήτων, συναλλαγών ή αγορών που
πραγματοποιούνται κατά τη χρήση της λειτουργίας Apple Pay, (β) την έκδοση πίστωσης ή την εκτίμηση
καταλληλότητας για πίστωση, (γ) τη συσσώρευση ή εξαργύρωση επιβραβεύσεων ή αξίας αγοράς στο
πλαίσιο εμπορικών προγραμμάτων, (δ) τη χρηματοδότηση ή προσθήκη κεφαλαίων προπληρωμένων
καρτών, (ε) την αποστολή ή λήψη ατομικών πληρωμών, ή (στ) τη φόρτωση εξαργύρωση ή ανάληψη
χρημάτων από την κάρτα μετρητών Apple Pay σας.

Για όλες τις διαφορές ή ερωτήσεις που αφορούν κάρτες πληρωμής, κάρτες επιβραβεύσεων,
δωροκαρτών σε καταστήματα ή σχετιζόμενη εμπορική δραστηριότητα, επικοινωνήστε με τον αντίστοιχο
εκδότη της κάρτας ή τον έμπορο. Για ερωτήσεις σχετικλά με την κάρτα μετρητών Apple Pay ή τις
ατομικές πληρωμές, επικοινωνήστε με την Υποστήριξη της Apple.

3.   Απόρρητο

Το Apple Pay απαιτεί κάποιες πληροφορίες σχετικά με τη Συσκευή iOS σας ώστε να παρέχει την πλήρη
εμπειρία χρήσης. Επιπλέον, όταν χρησιμοποιείτε υην κάρτα μετρητών Apple Pay ή στέλνετε ατομικές
πληρωμές, συλλέγονται κια διατηρούνται επιπρόσθετα στοιχεία για εξυπηρέτηση του λογαριασμού σας
και για σκοπούς αποτροπής απατών, καθώς και για ρυθμιστικούς σκοπούς. Μπορείτε να βρείτε
λεπτομέρειες σχετικά με τα δεδομένα που συλλέγονται, χρησιμοποιούνται ή κοινοποιούνται ως μέρος
της χρήσης του Apple Pay, της κάρτας μετρητών Apple Pay ή των ατομικών πληρωμών από μέρους σας
μεταβαίνοντας στην ενότητα «Πληροφορίες για το Apple Pay και το Απόρρητο» (ενότητα «Wallet και
Apple Pay» σε Συσκευή iOS ή στην εφαρμογή Watch σε ζευγοποιημένη Συσκευή iOS) ή στη διεύθυνση
https://www.apple.com/privacy. Με τη χρήση αυτών των δυνατοτήτων από μέρους σας, αποδέχεστε και
συναινείτε ως προς τη μετάδοση, συλλογή, διατήρηση, επεξεργασία και χρήση όλων των
προαναφερόμενων πληροφοριών από την Apple, τις θυγατρικές και τους εκπροσώπους της, με σκοπό
την παροχή της λειτουργικότητας του Apple Pay.

4.   Ασφάλεια. Απώλεια συσκευής ή απενεργοποιημένες συσκευές

Το Apple Pay αποθηκεύει εικονικές απεικονίσεις των Υποστηριζόμενων καρτών σας και πρέπει να
βρίσκεται υπό την ίδια προστασία όπως προστατεύετε τα μετρητά ή τις φυσικές πιστωτικές, χρεωστικές
και προπληρωμένες κάρτες σας, καθώς και τις κάρτες επιβραβεύσεων και τις δωροκάρτες. Αν δώσετε το
συνθηματικό συσκευής σας σε τρίτο άτομο ή επιτρέψετε σε τρίτο άτομο να προσθέσει το δαχτυλικό του
αποτύπωμα για να χρησιμοποιεί το Touch ID ή να ενεργοποιεί το Face ID, του δίνετε τη δυνατότητα να
πραγματοποιεί πληρωμές, αποστολή, υποβολή αιτήματος, λήψη ατομικών πληρωμών, ανάληψη
χρημάτων από την κάρτα μετρητών Apple Pay ή να λαμβάνει ή να εξαργυρώνει επιβραβεύσεις ή πίστωση
χρησιμοποιώντας το Apple Pay στη συσκευή σας. Είστε αποκλειστικά υπεύθυνοι για τη διατήρηση της
ασφάλειας της συσκευής και του συνθηματικού σας. Συμφωνείτε ότι η Apple δεν φέρει καμία ευθύνη αν
χάσετε τη συσκευή ή μοιραστείτε με κάποιον τρίτο την πρόσβαση στη συσκευή. Συμφωνείτε ότι η Apple
δεν φέρει καμία ευθύνη αν πραγματοποιήσετε μη εξουσιοδοτημένες τροποποιήσεις στο iOS (όπως π.χ.
το jailbreak).

Ενδέχεται να χρειαστεί να ενεργοποιήσετε επιπρόσθετα μέτρα προστασίας, όπως έλεγχος ταυτότητας
δύο παραγόντων για το Apple ID σας, προκειμένου να έχετε πρόσβαση σε συγκεκριμένες δυνατότητες
του Apple Pay, συμπεριλαμβανομένης της κάρτας μετρητών Apple Pay και των ατομικών πληρωμών
μέσω Apple Pay. Αν μελλοντικά αφαιρέσετε αυτές τις δυνατότητες ασφαλείας, ενδέχεται να μην
μπορείτε να συνεχίσετε να έχετε πρόσβαση σε συγκεκριμένες δυνατότητες του Apple Pay.

Αν η συσκευή σας χαθεί ή κλαπεί και έχετε ενεργοποιημένη τη δυνατότητα «Εύρεση iPhone», μπορείτε
να χρησιμοποιήσετε τη δυνατότητα «Εύρεση iPhone» για να προσπαθήσετε να αναστείλετε τη
δυνατότητα πληρωμών με τις εικονικές Υποστηριζόμενες κάρτες πληρωμής ή την αποστολή ατομικών
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 303 of 452



πληρωμών στη συσκευή, θέτοντας τη συσκευή σε Λειτουργία απώλειας. Μπορείτε επίσης να σβήσετε τη
συσκευή σας ώστε να γίνει απόπειρα αναστολής της δυνατότητας πληρωμών με τις Υποστηριζόμενες
κάρτες πληρωμής ή της αποστολής ατομικών πληρωμών στη συσκευή, καθώς και προσπάθεια
αφαίρεσης των Καρτών με δυνατότητα Apple Pay. Θα πρέπει επίσης να επικοινωνήσετε με τον εκδότη
των Υποστηριζόμενων καρτών πληρωμής, με τον έμπορο που εξέδωσε τις Κάρτες σας με δυνατότητα
Apple Pay και με την Apple σε περίπτωση που διαθέτετε την κάρτα μετρητών Apple Pay προκειμένου να
αποτραπεί η μη εξουσιοδοτημένη πρόσβαση στις εικονικές Υποστηριζόμενες κάρτες σας.

Αν αναφέρετε δόλια ή καταχρηστική δραστηριότητα ή η Apple έχει σχετικές υποψίες, συμφωνείτε να
συνεργαστείτε με την Apple σε οποιαδήποτε έρευνα και να χρησιμοποιήσετε τα μέτρα αποτροπής
απάτης που θα σας παρέχει.

5.   Περιορισμός ευθύνης

ΕΚΤΟΣ ΑΠΟ ΤΙΣ ΑΠΟΠΟΙΗΣΕΙΣ ΕΓΓΥΗΣΕΩΝ ΚΑΙ ΤΟΝ ΠΕΡΙΟΡΙΣΜΟ ΕΥΘΥΝΗΣ ΠΟΥ ΟΡΙΖΟΝΤΑΙ ΣΤΗΝ
ΑΔΕΙΑ ΧΡΗΣΗΣ, Η APPLE ΔΕΝ ΦΕΡΕΙ ΚΑΜΙΑ ΕΥΘΥΝΗ ΓΙΑ ΑΓΟΡΕΣ, ΠΛΗΡΩΜΕΣ, ΣΥΝΑΛΛΑΓΕΣ Ή
ΟΠΟΙΑΔΗΠΟΤΕ ΑΛΛΗ ΕΜΠΟΡΙΚΗ ΔΡΑΣΤΗΡΙΟΤΗΤΑ ΠΟΥ ΕΧΕΙ ΠΡΑΓΜΑΤΟΠΟΙΗΘΕΙ ΜΕΣΩ ΤΗΣ
ΔΥΝΑΤΟΤΗΤΑΣ APPLE PAY ΚΑΙ ΣΥΜΦΩΝΕΙΤΕ ΝΑ ΑΝΑΤΡΕΞΕΤΕ ΜΟΝΟ ΣΤΙΣ ΣΥΜΒΑΣΕΙΣ ΠΟΥ ΕΧΕΤΕ
ΣΥΝΑΨΕΙ ΜΕ ΤΟΝ ΕΚΔΟΤΗ, ΤΟ ΔΙΚΤΥΟ ΠΛΗΡΩΜΩΝ , ΤΑ ΧΡΗΜΑΤΟΠΙΣΤΩΤΙΚΑ ΙΔΡΥΜΑΤΑ Ή ΤΟΝ
ΕΜΠΟΡΟ ΓΙΑ ΤΗΝ ΕΠΙΛΥΣΗ ΠΡΟΒΛΗΜΑΤΩΝ Ή ΔΙΑΦΟΡΩΝ ΠΟΥ ΣΧΕΤΙΖΟΝΤΑΙ ΜΕ ΤΙΣ
ΥΠΟΣΤΗΡΙΖΟΜΕΝΕΣ ΚΑΡΤΕΣ ΣΑΣ, ΤΙΣ ΑΤΟΜΙΚΕΣ ΠΛΗΡΩΜΕΣ ΚΑΙ ΤΗ ΣΧΕΤΙΖΟΜΕΝΗ ΕΜΠΟΡΙΚΗ
ΔΡΑΣΤΗΡΙΟΤΗΤΑ.

————————————
ΕΙΔΟΠΟΙΗΣΕΙΣ ΑΠΟ ΤΗΝ APPLE
Αν η Apple χρειαστεί να επικοινωνήσει μαζί σας σχετικά με το προϊόν ή τον λογαριασμό σας, συναινείτε
να λαμβάνετε τις ειδοποιήσεις μέσω email. Αποδέχεστε ότι οι ειδοποιήσεις που σας αποστέλλουμε
ηλεκτρονικά πληρούν τις νομικές προϋποθέσεις επικοινωνίας.
      ‫‪Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 304 of 452‬‬



                                                                                                           ‫עברית‬

     ‫חשוב‪ :‬על‪-‬ידי השימוש ב‪ ,iPhone-‬ב‪ iPad-‬או ב‪) iPod touch-‬״מכשיר ‪iOS‬״(‪ ,‬הינך מביע‪/‬ה את הסכמתך להיות‬
                                                                          ‫כפוף‪/‬ה לתנאי השימוש כדלקמן‪:‬‬

                                                                       ‫הסכם רישיון התוכנה של ‪Apple iOS‬‬         ‫א‪.‬‬
                                                                          ‫תנאים משלימים ל‪APPLE PAY-‬‬            ‫ב‪.‬‬
                                                                                       ‫הודעות מ‪Apple-‬‬          ‫ג‪.‬‬

                                                                                                    ‫‪ Apple‬בע”מ‬
                                                                                        ‫הסכם רישיון תוכנה ל‪iOS-‬‬
                                                                                              ‫רישיון לשימוש יחיד‬

    ‫נא לקרוא הסכם רישיון תוכנה זה )“הרישיון”( בקפידה בטרם שימוש במכשיר ה‪ iOS-‬שברשותך ולפני הורדת עדכון‬
     ‫התוכנה הנלווה לרישיון‪ .‬על‪-‬ידי השימוש במכשיר ה‪ iOS-‬שלך או הורדת עדכון תוכנה‪ ,‬לפי העניין‪ ,‬הינך מביע‪/‬ה את‬
‫הסכמתך להיות כפוף‪/‬ה לתנאי רישיון זה‪ .‬אם אינך מסכים‪/‬ה לתנאי הרישיון‪ ,‬אל תשתמש‪/‬י במכשיר ה‪ iOS-‬ואל תוריד‪/‬י‬
                                                                                           ‫את עדכון התוכנה‪.‬‬

‫אם רכשת לאחרונה מכשיר ‪ iOS‬ואינך מסכים‪/‬ה לתנאי הרישיון‪ ,‬הינך רשאי‪/‬ת להחזיר את מכשיר ה‪ iOS-‬במשך תקופת‬
      ‫ההחזרה ל‪ Apple Store-‬או למפיץ המורשה שממנו רכשת אותו‪ ,‬תמורת החזר‪ ,‬בכפוף למדיניות ההחזרות של‬
                                ‫‪ ,Apple‬הנמצאת בכתובת ‪./https://www.apple.com/legal/sales-support‬‬

                                                                                                       ‫‪ .1‬כללי‪.‬‬
     ‫)א( התוכנה )לרבות קוד ‪ ,Boot ROM‬תוכנות מוטמעות ותוכנות צד ג’(‪ ,‬מסמכי התיעוד‪ ,‬הממשקים‪ ,‬התוכן‪ ,‬הגופנים וכל‬
  ‫הנתונים שהגיעו ביחד עם מכשיר ה‪ iOS-‬שלך )“תוכנת ה‪ iOS-‬המקורית”(‪ ,‬כפי שייתכן שיעודכנו או יוחלפו בעקבות שיפורי‬
‫תכונות‪ ,‬עדכוני תוכנה או תוכנה לאחזור המערכת המסופקים על‪-‬ידי ‪“) Apple‬עדכוני תוכנה ל‪ ,(”iOS-‬בין אם בזיכרון לקריאה‬
     ‫בלבד‪ ,‬על‪-‬גבי כל מדיה אחרת או בכל מתכונת אחרת )תוכנת ה‪ iOS-‬המקורית ועדכוני תוכנת ה‪ iOS-‬יכונו ביחד “תוכנת‬
  ‫‪ (”iOS‬ניתנים לך ברישיון‪ ,‬ולא נמכרים לך‪ ,‬על‪-‬ידי ‪ Apple‬בע”מ )“‪ ,(”Apple‬לשימוש בהתאם להוראות של רישיון זה בלבד‪.‬‬
 ‫‪ Apple‬ובעלי הרישיון שלה ממשיכים להיות הבעלים של תוכנת ה‪ iOS-‬עצמה ושומרים לעצמם את כל הזכויות שאינן ניתנות‬
‫לך במפורש‪ .‬הינך מסכים‪/‬ה לכך שתנאי רישיון זה יחולו על כל יישום ממותג ‪ Apple‬שעשוי להיות מובנה במכשיר ‪ iOS‬שלך‪,‬‬
  ‫אלא אם יישום כזה מלווה ברישיון נפרד‪ .‬במקרה כזה‪ ,‬הינך מסכים‪/‬ה לכך שתנאי רישיון זה יפקחו על השימוש שלך ביישום‬
                                                                                                            ‫זה‪.‬‬

    ‫)ב( ‪ ,Apple‬על‪-‬פי ראות עיניה‪ ,‬עשויה להפיץ עדכונים עתידיים לתוכנת ה‪ .iOS-‬עדכונים לתוכנת ה‪ ,iOS-‬אם יהיו כאלה‪,‬‬
    ‫עשויים שלא לכלול את כל מאפייני התוכנה הקיימים או החדשים ש‪ Apple-‬תפיץ עבור דגמים אחרים או חדשים יותר של‬
    ‫מכשירי ‪ .iOS‬תנאי רישיון זה יחולו על כל עדכוני התוכנה של ‪ iOS‬ש‪ Apple-‬תספק‪ ,‬להוציא מקרים בהם עדכון התוכנה‬
                                     ‫ל‪ iOS-‬יהיה מלווה ברישיון נפרד‪ .‬במקרים אלו‪ ,‬הינך מסכים‪/‬ה כי אותו רישיון יגבר‪.‬‬

     ‫)ג( אם תשתמש‪/‬י במאפיין ההגדרה המהירה להגדרת מכשיר ‪ iOS‬חדש בהתבסס על מכשיר ה‪ iOS-‬הקיים שלך‪ ,‬הינך‬
       ‫מסכים‪/‬ה כי תנאי רישיון זה יפקחו על השימוש שלך בתוכנת ה‪ iOS-‬במכשיר ה‪ iOS-‬החדש שלך‪ ,‬אלא אם היא מלווה‬
   ‫ברישיון נפרד‪ .‬במקרה כזה‪ ,‬הינך מסכים‪/‬ה לכך שתנאי רישיון זה יפקחו על השימוש שלך בתוכנת ‪ iOS‬זו‪ .‬מכשיר ה‪iOS-‬‬
      ‫שלך יבדוק באופן קבוע עם ‪ Apple‬אם קיימים עדכונים לתוכנת ה‪ .iOS-‬אם קיים עדכון זמין‪ ,‬ייתכן שהעדכון יורד ויותקן‬
    ‫במכשיר ה‪ iOS-‬שלך‪ ,‬וכן בציוד ההיקפי שלך‪ ,‬במידת האפשר‪ .‬על‪-‬ידי שימוש בתוכנה של ‪ ,Apple‬הינך מסכים‪/‬ה לכך‬
  ‫ש‪ Apple-‬רשאית להוריד ולהתקין באופן אוטומטי עדכונים לתוכנת ה‪ iOS-‬במכשיר ה‪ iOS-‬ובציוד ההיקפי שלך‪ .‬ניתן‬
‫לבטל את כל העדכונים האוטומטיים בכל עת על‪-‬ידי שינוי ההגדרות של “עדכונים אוטומטיים” הנמצאות ב”הגדרות” < “כללי”‬
                                                                                                  ‫< “עדכון תוכנה”‪.‬‬

                                                                            ‫‪ .2‬שימושים מותרים ברישיון והגבלות‪.‬‬
    ‫)א( בכפוף לתנאים ולמגבלות של רישיון זה‪ ,‬מוענק לך רישיון מוגבל ולא‪-‬בלעדי להשתמש בתוכנת ה‪ iOS-‬על‪-‬גבי מכשיר‬
     ‫‪ iOS‬יחיד ממותג ‪ .Apple‬להוציא את ההיתר המוזכר בסעיף ‪) 2‬ב( להלן‪ ,‬וכן להוציא מקרים בהם קיים בינך לבין ‪Apple‬‬
‫הסכם נפרד‪ ,‬רישיון זה אינו מתיר את קיומה של תוכנת ה‪ iOS-‬ביותר מאשר מכשיר ‪ iOS‬יחיד ממותג ‪ Apple‬בכל עת נתונה‬
    ‫ואינך רשאי‪/‬ת להפיץ או להפוך את תוכנת ה‪ iOS-‬לזמינה ברשת שבה ניתן לעשות בה שימוש באמצעות מספר מכשירים‬
  ‫בעת ובעונה אחת‪ .‬רישיון זה אינו מעניק לך זכויות כלשהן לשימוש בממשקים המהווים את קניינה של ‪ Apple‬ובקניין רוחני‬
    ‫אחר של ‪ Apple‬לעיצוב‪ ,‬פיתוח‪ ,‬ייצור‪ ,‬רישוי או הפצה של מכשירים וציוד היקפי של צדדים שלישיים‪ ,‬או יישומי תוכנה של‬
‫צדדים שלישיים‪ ,‬לשימוש יחד עם מכשירי ‪ .iOS‬חלק מאותן זכויות זמינות בהתאם לרישיונות נפרדים מ‪ .Apple-‬למידע נוסף‬
                      ‫בנושא פיתוח מכשירים וציוד היקפי של צדדים שלישיים עבור מכשירי ‪ ,iOS‬היכנס‪/‬י לכתובת ‪https://‬‬
     ‫‪ .developer.apple.com/programs/mfi‬למידע נוסף בנושא פיתוח יישומי תוכנה עבור מכשירי ‪ ,iOS‬היכנס‪/‬י לכתובת‬
       ‫‪Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 305 of 452‬‬



                                                                                   ‫‪.https://developer.apple.com‬‬

  ‫)ב( בכפוף לתנאים ולמגבלות של רישיון זה‪ ,‬מוענק לך רישיון מוגבל ולא‪-‬בלעדי להוריד את עדכוני התוכנה למכשיר ה‪iOS-‬‬
  ‫שיופצו על‪-‬ידי ‪ Apple‬עבור דגם מכשיר ה‪ iOS-‬שברשותך על‪-‬מנת לעדכן או לשחזר את התוכנה בכל מכשיר ‪ iOS‬מסוג זה‬
 ‫הנמצא בבעלותך או בשליטתך‪ .‬רישיון זה אינו מתיר לך לעדכן או לאחזר מכשירי ‪ iOS‬שאינם בשליטתך או בבעלותך‪ ,‬ואינך‬
 ‫רשאי‪/‬ת להפיץ או להפוך את עדכוני תוכנת ה‪ iOS-‬לזמינים ברשת שבה ניתן לעשות בהם שימוש באמצעות מספר מכשירים‬
   ‫או מספר מחשבים בעת ובעונה אחת‪ .‬הינך רשאי‪/‬ת להכין עותק אחד של עדכוני תוכנת ה‪ ,iOS-‬אשר יישמר במחשב שלך‬
    ‫במתכונת הניתנת לקריאה על‪-‬ידי מחשב למטרות גיבוי בלבד‪ ,‬בתנאי שעותק הגיבוי יכלול את כל הודעות זכויות היוצרים‬
                                                        ‫וההודעות האחרות בדבר זכות קניין‪ ,‬הכלולות בתוכנת המקור‪.‬‬

    ‫)ג( במידה ש‪ Apple-‬התקינה במכשיר ה‪ iOS-‬שברשותך בקדם‪-‬התקנה יישומים ממותג ‪ Apple‬מה‪ App Store-‬במועד‬
      ‫הרכישה )״יישומים בקדם‪-‬התקנה״(‪ ,‬תצטרך‪/‬י להיכנס ל‪ App Store-‬ולשייך יישומים בקדם‪-‬התקנה אלה לחשבון שלך‬
      ‫ב‪ App Store-‬כדי להשתמש בהם במכשיר ה‪ iOS-‬שלך‪ .‬בעת שיוך יישום בקדם‪-‬התקנה לחשבון ה‪ App Store-‬שלך‪,‬‬
     ‫תשייך‪/‬י אוטומטית באותה פעולה גם את כל היישומים האחרים המותקנים במכשיר ה‪ iOS-‬שלך בקדם‪-‬התקנה‪ .‬על‪-‬ידי‬
   ‫הבחירה לשייך יישומים בקדם‪-‬התקנה לחשבון ה‪ App Store-‬שלך‪ ,‬הינך מסכים‪/‬ה לכך ש‪ Apple-‬רשאית לשדר‪ ,‬לאסוף‪,‬‬
‫לשמור‪ ,‬לעבד ולהשתמש הן ב‪ Apple ID-‬המשמש את חשבון ה‪ App Store-‬שלך והן במזהה חומרה ייחודי שנאסף ממכשיר‬
  ‫ה‪ iOS-‬שלך‪ ,‬כמזהי חשבון ייחודיים למטרת אימות החוקיות של בקשתך ומתן גישה עבורך ליישומים בקדם‪-‬התקנה ב‪App-‬‬
                 ‫‪ .Store‬אם אינך מעוניין‪/‬ת להשתמש ביישום בקדם‪-‬התקנה‪ ,‬תוכל‪/‬י למחוק אותו ממכשיר ה‪ iOS-‬בכל עת‪.‬‬

   ‫)ד( אינך רשאי‪/‬ת‪ ,‬ולא תאפשר‪/‬י לאחרים‪ ,‬להעתיק )למעט כפי שמותר באופן מפורש לפי רישיון זה(‪ ,‬לבצע דה‪-‬קומפילציה‪,‬‬
 ‫לבצע הנדסה חוזרת‪ ,‬לפרק‪ ,‬לנסות לפצח את קוד המקור‪ ,‬לפענח‪ ,‬לשנות או ליצור עבודות נגזרות של תוכנת ה‪ iOS-‬או של‬
   ‫שירותים המסופקים לך על ידי תוכנת ה‪ ,iOS-‬או של כל חלק מהם )למעט כפי ובמידה שהמגבלה כאמור אסורה לפי החוק‬
‫הרלוונטי‪ ,‬או לפי תנאי רישוי המסדירים שימוש ברכיבים בעלי קוד מקור פתוח העשויים להיות כלולים בתוכנת ה‪ ,(iOS-‬והינך‬
                                                                             ‫מביע‪/‬ה את הסכמתך שלא לעשות כן‪.‬‬

      ‫)ה( ניתן להשתמש בתוכנת ה‪ iOS-‬כדי לשכפל חומרים‪ ,‬כל עוד שימוש כאמור מוגבל לשכפול של חומרים שאינם מוגנים‬
   ‫בזכויות יוצרים‪ ,‬חומרים שהינך בעל‪/‬ת זכויות היוצרים שלהם‪ ,‬או חומרים אשר הינך מוסמך‪/‬ת או מורשה‪/‬ית מבחינה חוקית‬
  ‫לשכפל אותם‪ .‬זכויות הכותרת וכל זכויות הקניין הרוחני בכל ועבור כל תוכן המוצג על‪-‬ידי מכשיר ה‪ iOS-‬שברשותך‪ ,‬מאוחסן‬
 ‫בו או שהגישה אליו מתאפשרת על‪-‬ידי המכשיר שייכות לבעלי התוכן המתאימים‪ .‬תוכן זה עשוי להיות מוגן בזכויות יוצרים או‬
    ‫חוקים או חוזים של קניין רוחני אחרים ועשוי להיות נתון לתנאי שימוש של הצד השלישי המספק תוכן זה‪ .‬למעט כפי שצוין‬
     ‫אחרת במסמך זה‪ ,‬רישיון זה אינו מעניק לך כל זכות שימוש בתוכן מסוג זה וכן אינו מבטיח שתוכן כזה ימשיך להיות זמין‬
                                                                                                            ‫עבורך‪.‬‬

 ‫)ו( בכפוף לתנאים ולמגבלות של רישיון זה‪ ,‬הינך רשאי‪/‬ת להשתמש בתווים של אנימוג’י ומימוג’י שכלולים בתוכנת ה‪ iOS-‬או‬
‫שנוצרו באמצעותה )“תווי מערכת”(‪ (1) ,‬בעת הפעלת תוכנת ה‪ iOS-‬וגם )‪ (2‬ליצירת תוכן ופרויקטים מקוריים משלך לשימושך‬
      ‫האישי‪ ,‬הלא מסחרי‪ .‬אינך רשאי‪/‬ת לעשות אף שימוש אחר ב”תווי המערכת” לפי רישיון זה‪ ,‬לרבות‪ ,‬אך לא רק‪ ,‬שימוש‪,‬‬
     ‫שעתוק‪ ,‬הצגה‪ ,‬ביצוע‪ ,‬הקלטה‪ ,‬פרסום או הפצה של כל אחד מ”תווי המערכת” למטרות רווח‪ ,‬ללא מטרות רווח‪ ,‬למטרות‬
                                                                                ‫מסחריות או למטרת שיתוף ציבורי‪.‬‬

‫)ז( הינך מסכים‪/‬ה להשתמש בתוכנת ה‪ iOS-‬ובשירותים )המפורטים בחלק ‪ 5‬להלן( בהתאם לכל החוקים הרלוונטיים‪ ,‬לרבות‬
‫חוקי המדינה או האזור שבו הינך מתגורר‪/‬ת‪ ,‬או שבו הינך מוריד‪/‬ה או משתמש‪/‬ת בתוכנת ה‪ iOS-‬ובשירותים‪ .‬ייתכן שתכונות‬
‫של תוכנת ה‪ iOS-‬והשירותים לא יהיו זמינות בכל השפות או האזורים‪ .‬חלק מהתכונות עשויות להשתנות לפי אזור וחלק מהן‬
  ‫עשויות להיות מוגבלות או לא זמינות בהחלטת ספק השירות שלך‪ .‬תכונות מסוימות של תוכנת ה‪ iOS-‬והשירותים מחייבות‬
                                                                         ‫חיבור ‪ Wi-Fi‬או חיבור נתונים סלולריים‪.‬‬

    ‫)ח( השימוש ב‪ App Store-‬מחייב הזנת שילוב ייחודי של שם משתמש וסיסמה‪ ,‬המכונה ‪ Apple ID. Apple ID‬נדרש גם‬
                                   ‫לצורך גישה לעדכוני יישומים ולתכונות מסוימות של תוכנת ה‪ iOS-‬והשירותים שלה‪.‬‬

       ‫)ט( הינך מכיר‪/‬ה בכך שמאפיינים‪ ,‬יישומים מוכללים ושירותים רבים של תוכנת ה‪ iOS-‬שולחים נתונים‪ ,‬ועשויים לגרום‬
‫לחיובים בתכנית הנתונים שלך‪ ,‬שלהם תהי‪/‬ה אחראי‪/‬ת‪ .‬יש לך אפשרות להציג ולקבוע אילו יישומים יורשו להשתמש בנתונים‬
    ‫סלולריים ולהציג הערכה של כמות הנתונים שיישומים אלה צרכו תחת ׳הגדרות נתונים סלולריים׳‪ .‬נוסף לכך‪“ ,‬סיוע לרשת‬
    ‫אלחוטית” יעבור באופן אוטומטי לסלולרי כאשר החיבור האלחוטי באיכות ירודה‪ ,‬מה שעלול לגרום לשימוש נוסף בנתונים‬
    ‫סלולריים ולהשפיע על החיובים בתכנית הנתונים שלך‪“ .‬סיוע לרשת אלחוטית” פועל כברירת‪-‬מחדל‪ ,‬אך ניתן לבטלו תחת‬
                                   ‫“הגדרות”‪ .‬למידע נוסף‪ ,‬נא לעיין במדריך למשתמש‪/‬ת עבור מכשיר ה‪ iOS-‬שברשותך‪.‬‬

    ‫)י( אם תבחר‪/‬י לאפשר עדכוני יישום אוטומטיים‪ ,‬מכשיר ה‪ iOS-‬שלך יבדוק מעת לעת ב‪ Apple-‬אם ישנם עדכונים עבור‬
 ‫היישומים המותקנים במכשיר‪ ,‬ובמקרה שישנו עדכון‪ ,‬המכשיר יוריד אותו ויתקין אותו אוטומטית‪ .‬ניתן לבטל את התכונה של‬
       ‫‪Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 306 of 452‬‬



 ‫עדכוני יישום אוטומטיים‪ .‬לשם כך‪ ,‬עבור‪/‬י אל ״הגדרות״‪ ,‬הקש‪/‬י על ‪ iTunes & App Store‬ואז‪ ,‬תחת ״הורדות אוטומטיות״‪,‬‬
                                                                               ‫בטל‪/‬י את הסימון לצד ״עדכונים״‪.‬‬

   ‫)יא( השימוש במכשיר ה‪ ,iOS-‬במקרים מסוימים‪ ,‬עלול להסיח את דעתך וליצור מצב מסוכן )לדוגמא‪ ,‬יש להימנע משליחת‬
      ‫הודעות מלל במהלך נהיגה ברכב‪ ,‬או משימוש באזניות בזמן רכיבה על אופניים(‪ .‬על‪-‬ידי שימוש במכשיר ה‪ ,iOS-‬הינך‬
    ‫מסכים‪/‬ה לכך שהינך אחראי‪/‬ת לשמירה על חוקים אשר אוסרים או מגבילים את השימוש במכשירים סלולריים או אזניות‬
                           ‫)לדוגמא‪ ,‬חוק אשר מחייב שימוש באמצעים שאינם דורשים אחיזה של המכשיר במהלך נהיגה(‪.‬‬

‫‪ .3‬העברה‪ .‬אינך רשאי‪/‬ת להשכיר‪ ,‬להחכיר‪ ,‬להשאיל‪ ,‬למכור‪ ,‬להפיץ מחדש‪ ,‬או להעניק רישיונות משנה עבור תוכנת ה‪.iOS-‬‬
       ‫עם זאת‪ ,‬הינך רשאי‪/‬ת לבצע העברה קבועה וחד‪-‬פעמית של כל זכויותיך לפי הרישיון בתוכנת ה‪ iOS-‬לצד אחר בקשר‬
  ‫להעברת הבעלות במכשיר ה‪ iOS-‬שלך‪ ,‬בתנאי ש‪) :‬א( ההעברה תכלול את מכשיר ה‪ iOS-‬שלך ואת כל תוכנת ה‪ ,iOS-‬על‬
‫כל מרכיביה ורישיון זה; )ב( לא תשמור‪/‬י כל עותק של תוכנת ה‪ ,iOS-‬כולה או חלקה‪ ,‬לרבות עותקים המאוחסנים במחשב או‬
    ‫על‪-‬גבי אמצעי אחסון אחר; ו)ג( הצד המקבל את תוכנת ה‪ iOS-‬יקרא ויסכים לקבל את התנאים והמגבלות של רישיון זה‪.‬‬

      ‫‪ .4‬הסכמה לשימוש בנתונים‪ .‬כאשר הינך משתמש‪/‬ת במכשיר‪ ,‬מספר הטלפון שלך ומזהים ייחודיים מסוימים של מכשיר‬
     ‫ה‪ iOS-‬נשלחים אל ‪ Apple‬על‪-‬מנת לאפשר לאחרים להשיג אותך באמצעות מספר הטלפון שלך במהלך שימוש במאפייני‬
     ‫תקשורת שונים של תוכנת ה‪ ,iOS-‬כגון ‪ iMessage‬ו‪ .FaceTime-‬כאשר הינך משתמש‪/‬ת ב‪ ,iMessage-‬יתכן ש‪Apple-‬‬
    ‫תשמור את ההודעות שלך בצורה מוצפנת למשך זמן מוגבל על למנת להבטיח את שליחתן‪ .‬ניתן לבטל את ‪ FaceTime‬או‬
‫את ‪ iMessage‬על‪-‬ידי מעבר אל הגדרות ‪ FaceTime‬או ״הודעות״ במכשיר ה‪ .iOS-‬מאפיינים מסוימים כגון “אבחון”‪“ ,‬שירותי‬
    ‫מיקום”‪ Siri ,‬ו”הכתבה” עשויים לדרוש מידע ממכשיר ה‪ iOS-‬שלך על מנת לספק את הפונקציות שלהם‪ .‬בעת ההפעלה או‬
 ‫השימוש במאפיינים אלה‪ ,‬יסופקו לך פרטים לגבי סוג המידע הנשלח ל‪ Apple-‬ולמה משמש מידע זה‪ .‬לפרטים נוספים‪ ,‬בקר‪/‬י‬
  ‫בכתובת ‪ .https://www.apple.com/privacy‬בכל מקרה‪ ,‬המידע שלך יטופל בכפוף למדיניות הפרטיות של ‪ ,Apple‬הזמינה‬
                                                                  ‫בכתובת ‪.https://www.apple.com/legal/privacy‬‬

                                                                          ‫‪ .5‬שירותים וחומרים של צדדים שלישיים‪.‬‬
   ‫)א( תוכנת ה‪ iOS-‬עשויה לאפשר גישה ל‪ ,iTunes Store-‬ל‪ ,App Store-‬ל‪ ,Apple Books-‬ל‪ ,Game Center-‬ל‪iCloud-‬‬
‫ול”מפות” של ‪ ,Apple‬ולשירותים ולאתרי אינטרנט אחרים של ‪ Apple‬ושל צדדים שלישיים )ביחד ולחוד‪“ ,‬שירותים”(‪ .‬שירותים‬
   ‫כגון אלו עשויים שלא להיות זמינים בכל השפות או בכל המדינות‪ .‬השימוש בשירותים אלו מחייב גישה לאינטרנט‪ .‬שירותים‬
 ‫מסוימים עשויים לחייב שימוש ב‪ Apple ID-‬וכן לחייב אותך להסכים לתנאים נוספים ולהיות כרוכים בעלויות נוספות‪ .‬השימוש‬
  ‫שלך בתוכנה זו בשילוב עם ‪ ,Apple ID‬או שירות אחר של ‪ ,Apple‬מהווה את הסכמתך לתנאי השירות החלים עבור שירות‬
 ‫זה‪ ,‬כגון התנאים והמגבלות העדכניים של שירותי המדיה של ‪ Apple‬במדינה שבה הינך ניגש‪/‬ת לשירותים כאלה‪ ,‬אותם ניתן‬
                                          ‫לסקור בכתובת ‪.https://www.apple.com/legal/internet-services/itunes‬‬

    ‫)ב( אם תירשם‪/‬י ל‪ ,iCloud-‬תוכל‪/‬י לגשת לתכונות מסוימות של ‪ iCloud‬כגון ״תמונות ב‪iCloud-‬״‪ ,‬״זרם התמונות שלי״‪,‬‬
  ‫״אלבומים משותפים״‪ ,‬״גיבוי״ ו״מצא את ה‪ iPhone-‬שלי״ ישירות מתוכנת ה‪ .iOS-‬הינך מכיר‪/‬ה בכך ומסכים‪/‬ה כי השימוש‬
     ‫שלך ב‪ iCloud-‬ובתכונות אלה כפוף לתנאים ולמגבלות העדכניים ביותר של שירות ‪ ,iCloud‬אותם ניתן לסקור בכתובת‪:‬‬
                                                       ‫‪.https://www.apple.com/legal/internet-services/icloud‬‬

  ‫)ג( תוכן היישום ‪ .News‬שימושך בתוכן הנגיש דרך היישום ‪ News‬מוגבל אך ורק לשימוש אישי שאינו מסחרי ולא תשתמע‬
  ‫ממנו העברת זכויות בעלות על התוכן אליך‪ .‬באופן ספציפי‪ ,‬אינך רשאי‪/‬ת לעשות כל שימוש מסחרי או שימוש לצורך קידום‬
    ‫מכירות בתוכן‪ .‬בנוסף‪ ,‬אינך רשאי‪/‬ת לפרסם מחדש‪ ,‬לשדר מחדש ולהפיק מחדש כל תמונה הנגישה דרך ‪ News‬כקובץ‬
                                                                                                      ‫עצמאי‪.‬‬

‫)ד( מפות‪ .‬השירות והתכונות של “מפות” בתוכנת ‪“) iOS‬מפות”(‪ ,‬לרבות כיסוי הנתונים של מפות‪ ,‬עשויים להשתנות בין אזור‬
  ‫לאזור‪ .‬בעת שימוש במאפיינים מבוססי מיקום מסוימים ב”מפות”‪ ,‬כגון הוראות ניווט פנייה‪-‬אחר‪-‬פנייה‪ ,‬דיווחי תנועה וחיפוש‬
    ‫מקומי‪ ,‬נתוני מיקום ושימוש מסוימים עשויים להישלח אל ‪ ,Apple‬לרבות המיקום הגאוגרפי של מכשיר ה‪ iOS-‬שלך בזמן‬
     ‫אמת‪ ,‬על‪-‬מנת לעבד את הבקשה שלך ולסייע בשיפור היישום “מפות”‪ .‬נתוני מיקום ושימוש כאלה נאספים על‪-‬ידי ‪Apple‬‬
   ‫באופן שאינו מזהה אותך אישית‪ .‬השימוש שלך ב”מפות” מהווה את הסכמתך לשידור‪ ,‬איסוף‪ ,‬החזקה‪ ,‬עיבוד ושימוש‬
        ‫במידע זה על‪-‬ידי ‪ ,Apple‬חברות הבת שלה וסוכניה במטרה לספק ולשפר את השירות והמאפיינים של היישום‬
 ‫“מפות”‪ ,‬וכן מוצרים ושירותים אחרים של ‪ Apple. Apple‬עשויה גם להעביר מידע זה‪ ,‬בין אם במצטבר או בצורה שאינה‬
     ‫מאפשרת זיהוי אישי‪ ,‬לשותפיה ולבעלי הרישיונות שלה על מנת לשפר את דיוק המפה ואת המוצרים והשירותים מבוססי‬
   ‫המיקום שלהם‪ .‬ניתן לבטל את הפונקציונליות של שירותים מבוססי מיקום עבור היישום “מפות” על‪-‬ידי מעבר אל ההגדרה‬
‫“שירותי מיקום” במכשיר ה‪ iOS-‬וביטול הגדרת המיקום הספציפית עבור “מפות”‪ .‬עם זאת‪ ,‬מאפיינים מסוימים של “מפות” לא‬
                                     ‫יהיו זמינים אם תבטל‪/‬י את ההגדרה של “שירותי מיקום”‪ ,‬כגון ניווט פנייה‪-‬אחר‪-‬פנייה‪.‬‬

 ‫)ה( הינך מבין‪/‬ה כי בעת השימוש באותם שירותים‪ ,‬הינך עלול‪/‬ה לבוא במגע עם תוכן שעשוי להיחשב לפוגעני‪ ,‬בלתי‪-‬צנוע או‬
 ‫בלתי‪-‬הולם‪ ,‬כאשר תוכן כאמור עלול להכיל‪ ,‬או שלא להכיל‪ ,‬שפה בוטה‪ ,‬וכי התוצאות של כל חיפוש או הקלדת כתובת ‪URL‬‬
       ‫‪Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 307 of 452‬‬



     ‫מסוימת‪ ,‬עשויות‪ ,‬באופן אוטומטי וללא כוונה תחילה‪ ,‬להפיק קישורים או הפניות לחומר בלתי‪-‬הולם‪ .‬על אף האמור‪ ,‬הינך‬
   ‫מסכים‪/‬ה שהשימוש באותם שירותים הינו באחריותך הבלעדית‪ ,‬וכי ל‪ ,Apple-‬לחברות הבנות שלה‪ ,‬לסוכניה‪ ,‬למנהליה או‬
                    ‫לבעלי הרישיון שלה לא תהא חבות כלפיך בגין תוכן שעשוי להיחשב לפוגעני‪ ,‬בלתי‪-‬צנוע או בלתי‪-‬הולם‪.‬‬

    ‫)ו( שירותים מסוימים עשויים להציג‪ ,‬לכלול או להעמיד תוכן‪ ,‬נתונים‪ ,‬מידע‪ ,‬יישומים או חומרים מצדדים שלישיים )“חומרים‬
     ‫של צדדים שלישיים”(‪ ,‬או לספק קישורים לאתרי אינטרנט מסוימים של צדדים שלישיים‪ .‬על‪-‬ידי השימוש בשירותים‪ ,‬הינך‬
   ‫מכיר‪/‬ה בכך ומסכים‪/‬ה‪ ,‬כי ‪ Apple‬אינה אחראית לבחינה או להערכה של התוכן‪ ,‬רמת הדיוק‪ ,‬השלמות‪ ,‬העדכניות‪ ,‬התוקף‪,‬‬
 ‫קיום זכויות היוצרים‪ ,‬החוקיות‪ ,‬ההגינות‪ ,‬האיכות או כל היבט אחר של חומרים או אתרי אינטרנט של צדדים שלישיים כאמור‪.‬‬
   ‫‪ ,Apple‬נושאי משרה בה‪ ,‬גופים הקשורים אליה וחברות בנות שלה‪ ,‬אינם מצהירים או מקדמים‪ ,‬ולא נוטלים ולא תהא להם‬
‫חבות או אחריות כלפיך או כלפי כל אדם אחר‪ ,‬בגין שירותים של צדדים שלישיים‪ ,‬חומרים של צדדים שלישיים‪ ,‬אתרי אינטרנט‬
        ‫של צדדים שלישיים‪ ,‬או בגין כל חומרים‪ ,‬מוצרים או שירותים אחרים של צדדים שלישיים‪ .‬חומרים של צדדים שלישיים‬
                                                          ‫וקישורים לאתרי אינטרנט אחרים מסופקים אך ורק לנוחיותך‪.‬‬

   ‫)ז( הן ‪ Apple‬והן ספקי התוכן שלה אינם ערבים לזמינות‪ ,‬למידת הדיוק‪ ,‬לשלמות‪ ,‬למהימנות או לדייקנות בזמנים של מידע‬
‫אודות מניות‪ ,‬נתוני מיקום או כל מידע אחר המוצג על‪-‬ידי שירותים כלשהם‪ .‬מידע פיננסי המוצג על‪-‬ידי שירותים הינו למטרות‬
        ‫מידע כלליות‪ ,‬ואין להסתמך עליו כייעוץ להשקעות‪ .‬לפני ביצוע כל עסקה בניירות ערך המתבססת על מידע שהושג דרך‬
        ‫שירותים אלו‪ ,‬עליך להתייעץ עם איש מקצוע בנושאים פיננסיים ובנושא ניירות‪-‬ערך‪ ,‬המוסמך להעניק ייעוץ פיננסי וייעוץ‬
  ‫בנושא ניירות‪-‬ערך על‪-‬פי חוק במדינה או באזור שבו הינך גר‪/‬ה‪ .‬נתונים בנושא מיקום‪ ,‬המושגים באמצעות השירותים הללו‪,‬‬
 ‫לרבות השירות “מפות” של ‪ ,Apple‬ניתנים למטרות ניווט כללי ותכנון בלבד‪ ,‬ואינם מיועדים לכך שתסתמך‪/‬י עליהם במקרים‬
‫בהם נדרש מידע מדויק בנושא מיקום‪ ,‬או כאשר נתונים מוטעים‪ ,‬בלתי‪-‬מדויקים‪ ,‬מעוכבים בזמן או בלתי‪-‬שלמים בנושא מיקום‬
        ‫עלולים להוביל למוות‪ ,‬פגיעה בגוף‪ ,‬ברכוש או לנזק סביבתי‪ .‬הינך מסכים‪/‬ה לכך שהתוצאות שתקבל‪/‬י מהיישום “מפות”‬
‫עשויות להיות שונות מתנאי השטח או הכביש בפועל עקב גורמים העשויים להשפיע על מידת הדיוק ביישום “מפות”‪ ,‬כגון‪ ,‬אך‬
      ‫ללא הגבלה למזג‪-‬אוויר‪ ,‬תנאי הדרך והתנועה ואירועים גאו‪-‬פוליטיים‪ .‬למען בטיחותך בעת שימוש במאפיין הניווט‪ ,‬שים‪/‬י‬
     ‫תמיד לב לשילוט ולתנאי הדרך בפועל‪ .‬נהג‪/‬י בזהירות ועל‪-‬פי תקנות התנועה‪ ,‬ושים‪/‬י לב שהוראות להולכי רגל לא כוללות‬
                                                                                 ‫לפעמים מדרכות או מעברים להולכי רגל‪.‬‬

‫)ח( במידה שהינך מעלה תוכן באמצעות השירותים‪ ,‬הינך מכריז‪/‬ה שבבעלותך הזכויות לחומר זה‪ ,‬או הרשאה לגביו או שהינך‬
‫מורשה משפטית באופן אחר להעלות תוכן זה וכן שתוכן זה אינו מפר את תנאי השימוש החלים על השירותים‪ .‬הינך מסכים‪/‬ה‬
   ‫כי השירותים כוללים תוכן‪ ,‬מידע וחומר קנייניים שהינם בבעלות ‪ ,Apple‬בעלי האתר או נותני הרישיון שלהם‪ ,‬והינם מוגנים‬
‫לפי חוקי קניין רוחני וחוקים רלוונטיים אחרים‪ ,‬לרבות‪ ,‬אך לא רק‪ ,‬זכויות יוצרים‪ .‬הינך מסכים‪/‬ה שלא להשתמש בתוכן‪ ,‬במידע‬
     ‫ובחומר קנייניים כאמור‪ ,‬למעט עבור שימוש מותר בשירותים הללו‪ ,‬או בכל צורה שאינה עולה בקנה אחד עם התנאים של‬
  ‫רישיון זה‪ ,‬או שמפרה את זכויות הקניין הרוחני של גורם חיצוני או של ‪ .Apple‬אף חלק של השירותים הללו לא ישוכפל בכל‬
‫צורה או בכל אמצעי‪ .‬הינך מסכים‪/‬ה שלא לשנות‪ ,‬לשכור‪ ,‬להשכיר‪ ,‬להלוות‪ ,‬למכור‪ ,‬להפיץ או ליצור עבודות נגזרות המבוססות‬
  ‫על השירותים הללו‪ ,‬בכל צורה שהיא‪ ,‬ושלא לנצל את השירותים הללו בכל צורה שלא הותרה לך‪ ,‬לרבות‪ ,‬אך לא רק‪ ,‬על‪-‬ידי‬
‫שימוש בשירותים להפצת וירוסים‪ ,‬תולעים‪ ,‬סוסים טרויאניים או כל תוכנה זדונית אחרת‪ ,‬או על‪-‬ידי הסגת גבול או העמסה על‬
      ‫קיבולת רשת‪ .‬כמו כן‪ ,‬הינך מסכים‪/‬ה שלא להשתמש בשירותים אלו בכל אופן על‪-‬מנת להטריד כל צד אחר‪ ,‬להתעלל בו‪,‬‬
 ‫לארוב לו‪ ,‬לאיים עליו‪ ,‬להשמיץ אותו‪ ,‬לפגוע בו או להפר באופן אחר את זכויותיו‪ ,‬וכי ‪ Apple‬אינה אחראית‪ ,‬בכל צורה שהיא‪,‬‬
 ‫בגין שימוש על‪-‬ידך כאמור‪ ,‬וגם לא תהא אחראית בגין הודעות או תשדורות מטרידות‪ ,‬מאיימות‪ ,‬משמיצות‪ ,‬פוגעניות‪ ,‬מפרות‬
                                               ‫זכויות‪-‬יוצרים או בלתי חוקיות שתקבל‪/‬י כתוצאה משימוש בשירותים אלו‪.‬‬

       ‫)ט( בנוסף‪ ,‬שירותים וחומרים של צדדים שלישיים אשר ניתן לקבל אליהם גישה‪ ,‬לקשר אליהם או להציג אותם במכשיר‬
         ‫ה‪ ,iOS-‬אינם זמינים בכל השפות או בכל המדינות או האזורים‪ Apple .‬אינה מצהירה כי שירותים וחומרים של צדדים‬
       ‫שלישיים שכאלה הינם ראויים או זמינים לשימוש בכל מקום נתון‪ .‬במידה שתחליט‪/‬י להשתמש בשירותים ובחומרים של‬
 ‫צדדים שלישיים שכאלה או לגשת אליהם‪ ,‬הינך עושה זאת מתוך יוזמתך שלך‪ ,‬והינך אחראי‪/‬ת לקיום כל חוק רלוונטי‪ ,‬לרבות‪,‬‬
      ‫אך לא רק‪ ,‬החוקים המקומיים הרלוונטיים וחוקים הנוגעים לפרטיות ואיסוף נתונים‪ .‬השיתוף או הסנכרון של תמונות דרך‬
  ‫מכשיר ה‪ iOS-‬עשויים לגרום לשידור של מטה‪-‬נתונים יחד עם התמונות‪ ,‬לרבות המיקום והזמן שבו התמונה צולמה וכן פרטי‬
    ‫עומק‪ .‬השימוש בשירותים של ‪) Apple‬כגון ״ספריית התמונות ב‪iCloud-‬״( לשיתוף או סנכרון של תמונות כאלה יגרום לכך‬
   ‫ש‪ Apple-‬תקבל ותאחסן מטה‪-‬נתונים מסוג זה‪ Apple .‬ונותני הרישיון שלה‪ ,‬שומרים על הזכות לשנות‪ ,‬להשעות‪ ,‬להסיר או‬
‫לחסום את הגישה לשירותים כאמור בכל עת‪ ,‬ללא הודעה מראש‪ .‬בכל מקרה‪ Apple ,‬לא תהא אחראית בגין הסרה או חסימה‬
    ‫של הגישה לשירותים כאמור‪ Apple .‬רשאית גם להטיל מגבלות על השימוש או הגישה לשירותים מסוימים‪ ,‬בכל מצב וללא‬
                                                                                      ‫הודעה מראש או חבות מצידה‪.‬‬

     ‫‪ .6‬סיום‪ .‬רישיון זה הינו בתוקף עד לסיומו‪ .‬זכויותיך לפי רישיון זה יסתיימו באופן אוטומטי‪ ,‬או יאבדו מתוקפן בפועל‪ ,‬ללא‬
  ‫הודעה מ‪ ,Apple-‬אם לא תקיים‪/‬י תנאי כלשהו מתנאי רישיון זה‪ .‬עם סיומו של רישיון זה‪ ,‬תחדל‪/‬י משימוש בתוכנת ה‪.iOS-‬‬
                           ‫סעיפים ‪ 12 ,9 ,8 ,7 ,6 ,5 ,4‬ו‪ 13-‬של רישיון זה ימשיכו להיות תקפים גם לאחר סיום הרישיון‪.‬‬

                                                                                                     ‫‪ .7‬העדר אחריות‬
       ‫‪Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 308 of 452‬‬



  ‫‪ 7.1‬אם הינך לקוח‪/‬ה שהינו‪/‬ה צרכן‪/‬נית )מישהו שמשתמש בתוכנת ה‪ iOS-‬מחוץ לתחום העיסוק‪ ,‬העסק או המקצוע‬
  ‫שלו(‪ ,‬ייתכן שיש לך זכויות משפטיות במדינת מגוריך הפוטרות אותך מההגבלים הבאים‪ .‬במקרה כזה‪ ,‬היכן שהגבלים‬
     ‫אלה אסורים‪ ,‬הם לא יחולו עליך‪ .‬לפרטים נוספים על זכויות אלה‪ ,‬עליך לפנות אל ארגון ייעוץ צרכני במקום מגוריך‪.‬‬

   ‫‪ 7.2‬הינך מכיר‪/‬ה בכך ומסכים‪/‬ה באופן מפורש‪ ,‬כי השימוש בתוכנת ה‪ iOS-‬ובשירותים כלשהם המבוצע באמצעות‬
    ‫תוכנת ה‪ iOS-‬או דרכה‪ ,‬הוא באחריותך בלבד‪ ,‬וכי כל הסיכון באשר לאיכות‪ ,‬לביצוע‪ ,‬לדיוק ולמאמץ משביעי‪-‬הרצון‪,‬‬
                                                                                                ‫מוטל עליך‪.‬‬

   ‫‪ 7.3‬במידת האפשר על‪-‬פי חוק‪ ,‬תוכנת ה‪ iOS-‬והשירותים מסופקים “כפי שהם” ו”כפי שזמינים”‪ ,‬עם כל הפגמים‬
   ‫וללא אחריות מכל סוג‪ ,‬ו‪ Apple-‬ונותני הרישיון שלה )ביחד “‪ ,”Apple‬למטרות סעיפים ‪ 7‬ו‪ ,(8-‬פוטרים עצמם בזאת‬
‫מכל אחריות ותנאים בנוגע לתוכנת ה‪ iOS-‬ולשירותים‪ ,‬בין אם מפורשים‪ ,‬משתמעים או סטטוטוריים‪ ,‬לרבות‪ ,‬אך לא רק‪,‬‬
      ‫האחריות ו‪/‬או התנאים המשתמעים בנושא סחירות‪ ,‬איכות מספקת‪ ,‬התאמה למטרה מסוימת‪ ,‬דיוק‪ ,‬הנאה שקטה‬
                                                                     ‫ואי‪-‬הפרת הזכויות של צדדים שלישיים‪.‬‬

    ‫‪ Apple 7.4‬אינה אחראית לעניין הפרעה להנאתך מתוכנת ה‪ iOS-‬ומהשירותים‪ ,‬אינה אחראית לכך שהפונקציות‬
‫הכלולות או השירותים המבוצעים או ניתנים על‪-‬ידי תוכנת ה‪ iOS-‬יתאימו לדרישותיך‪ ,‬לכך שפעולת התוכנה והשירותים‬
   ‫יהיו ללא הפרעה או ללא טעויות‪ ,‬לכך ששירות כלשהו ימשיך להיות זמין‪ ,‬לכך שפגמים בתוכנת ה‪ iOS-‬או בשירותים‬
‫יתוקנו‪ ,‬או לכך שתוכנת ה‪ iOS-‬תהא תואמת או תפעל עם כל תוכנה‪ ,‬יישום או שירות של צדדים שלישיים‪ .‬ההתקנה של‬
 ‫תוכנת ‪ iOS‬זו עשויה להשפיע על הזמינות והשמישות של תוכנות‪ ,‬יישומים או שירותים של צדדים שלישיים כמו גם על‬
                                                                         ‫של מוצרים ושירותים של ‪.APPLE‬‬

 ‫‪ 7.5‬כמו כן‪ ,‬הינך מכיר‪/‬ה בכך כי תוכנת ה‪ iOS-‬והשירותים אינם מיועדים או מתאימים לשימוש במצבים או בסביבות‬
  ‫בהם כשל‪ ,‬עיכוב זמני‪ ,‬טעויות או אי‪-‬דיוקים בתוכן‪ ,‬בנתונים או במידע המסופקים על‪-‬ידי תוכנת ה‪ iOS-‬או השירותים‪,‬‬
  ‫עלולים להוביל למוות‪ ,‬נזק גוף או לנזק פיזי או סביבתי חמור‪ ,‬לרבות‪ ,‬אך לא רק‪ ,‬הפעלת מתקנים גרעיניים‪ ,‬ניווט של‬
                                ‫כלי טיס או מערכות תקשורת‪ ,‬בקרת תנועה אווירית‪ ,‬מערכות תומכות‪-‬חיים או נשק‪.‬‬

     ‫‪ 7.6‬אף מידע בעל‪-‬פה או בכתב‪ ,‬או ייעוץ הניתן על‪-‬ידי ‪ Apple‬או נציג מורשה של ‪ ,Apple‬לא יהווה אחריות‪ .‬אם‬
  ‫תוכנת ה‪ iOS-‬או השירותים יהיו פגומים‪ ,‬הינך נוטל‪/‬ת על עצמך את כל העלות של קבלת שירות או תיקון כנדרש‪ .‬ישנן‬
  ‫מדינות אשר אינן מתירות שלילת אחריות משתמעת או מגבלות על זכויות סטטוטוריות רלוונטיות של צרכן‪ ,‬ולכן ייתכן‬
                                                                    ‫כי השלילה והמגבלות דלעיל לא יחולו עליך‪.‬‬

‫‪ .8‬הגבלת חבות‪ .‬במידה בה הדבר אינו אסור על‪-‬פי חוקים רלוונטיים‪ ,‬בכל מקרה ‪ ,Apple‬החברות הבנות שלה‪ ,‬סוכניה‬
‫או מנהליה לא יחובו בגין נזק גופני או בגין נזקים נלווים‪ ,‬מיוחדים‪ ,‬עקיפים או תוצאתיים‪ ,‬לרבות‪ ,‬אך לא רק‪ ,‬נזקים בגין‬
   ‫אובדן רווחים‪ ,‬נזק לנתונים או אובדן נתונים‪ ,‬כשל בשליחה או בקבלה של נתונים )כולל‪ ,‬ללא הגבלה‪ ,‬הנחיות‪ ,‬מטלות‬
   ‫וחומרים של שיעורים(‪ ,‬הפרעה עסקית או כל נזק או אובדן מסחרי אחר‪ ,‬הנובעים או הקשורים לשימושך או אי‪-‬יכולתך‬
         ‫להשתמש בתוכנת ה‪ iOS-‬ובשירותים‪ ,‬או בכל תוכנה או יישומים של צדדים שלישיים ביחד עם תוכנת ה‪ iOS-‬או‬
 ‫השירותים‪ ,‬אשר ייגרמו ככל שייגרמו‪ ,‬בהתעלם מתיאוריית החבות )חוזית‪ ,‬נזיקית או אחרת(‪ ,‬ואף אם ‪ Apple‬ידעה על‬
     ‫האפשרות לנזקים כאמור‪ .‬ישנן מדינות אשר אינן מתירות הוצאה מהכלל או הגבלה של חבות בגין נזקי גוף‪ ,‬או בגין‬
 ‫נזקים נלווים או תוצאתיים‪ ,‬כך שייתכן שמגבלה זאת אינה חלה עליך‪ .‬בכל מקרה‪ ,‬חבותה הכוללת של ‪ Apple‬כלפיך בגין‬
       ‫כל הנזקים )למעט כפי שיידרש לפי החוק הרלוונטי במקרים בהם מעורב נזק גוף(‪ ,‬לא תעלה על מאתיים וחמישים דולר‬
                     ‫ארה״ב )‪ .(U.S.$250.00‬המגבלות דלעיל יחולו‪ ,‬אף אם הסעד כאמור אינו מקיים את מטרתו המהותית‪.‬‬

‫‪ .9‬אישורים דיגיטליים‪ .‬תוכנת ה‪ iOS-‬כוללת מאפיין המאפשר לה לקבל אישורים דיגיטליים‪ ,‬בין אם הונפקו על‪-‬ידי ‪ Apple‬או‬
 ‫על‪-‬ידי צדדים שלישיים‪ .‬הינך אחראי‪/‬ת באופן בלעדי להחלטה אם להסתמך על אישור‪ ,‬בין אם הונפק על‪-‬ידי ‪ Apple‬ובין‬
    ‫אם על‪-‬ידי צד שלישי‪ .‬שימושך באישורים דיגיטליים הינו באחריותך בלבד‪ .‬עד כמה שהדבר מותר על‪-‬ידי החוק החל‪,‬‬
‫‪ Apple‬אינה אחראית או מצהירה‪ ,‬באופן מפורש או משתמע‪ ,‬בעניין סחירות או התאמה למטרה מסוימת‪ ,‬דיוק‪ ,‬אבטחה‬
                                                   ‫או אי‪-‬הפרת זכויות של צדדים שלישיים ביחס לאישורים דיגיטליים‪.‬‬

‫‪ .10‬בקרת ייצוא‪ .‬אינך רשאי‪/‬ת להשתמש בתוכנת ה‪ ,iOS-‬לייצאה או לייצאה מחדש‪ ,‬למעט לפי המותר בהתאם לדיני ארה”ב‬
   ‫ודיני המדינה)ות( שבה)ן( הושגה תוכנת ה‪ .iOS-‬בייחוד‪ ,‬אך לא רק‪ ,‬תוכנת ה‪ iOS-‬לא תיוצא או תיוצא מחדש )א( למדינות‬
     ‫עליהן הוטל חרם על ידי ארה”ב; )ב( לאדם כלשהו ברשימת משרד האוצר האמריקאי בדבר נתינים שהוגדרו מפורשות או‬
    ‫ברשימת האנשים הבלתי מורשים‪/‬רשימת הישויות של משרד המסחר האמריקאי או כל רשימה אחרת של גופים מוגבלים‪.‬‬
‫על‪-‬ידי שימוש בתוכנת ה‪ ,iOS-‬הינך טוען‪/‬ת ומצהיר‪/‬ה כי אינך נמצא‪/‬ת בכל מדינה כאמור או בכל רשימה כאמור‪ .‬כמו כן‪ ,‬הינך‬
  ‫מסכים‪/‬ה כי לא תשתמש‪/‬י בתוכנת ה‪ iOS-‬לשם מטרות האסורות לפי דיני ארה”ב‪ ,‬לרבות‪ ,‬אך לא רק‪ ,‬פיתוח‪ ,‬עיצוב‪ ,‬הפקה‬
                                                       ‫או ייצור של טילים‪ ,‬אמצעי‪-‬לחימה גרעיניים‪ ,‬כימיים או ביולוגיים‪.‬‬

  ‫‪ .11‬משתמשי‪-‬קצה ממשלתיים‪ .‬תוכנת ה‪ iOS-‬ומסמכי תיעוד הקשורים לה הינם “פריטים מסחריים”‪ ,‬כפי שמונח זה מוגדר‬
        ‫‪Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 309 of 452‬‬



 ‫בסעיף ‪ ,48ý C.F.R. §2.101‬הכולל “תוכנת מחשב מסחרית” ו”תיעוד תוכנת מחשב מסחרית”‪ ,‬כפי שמונחים אלה משמשים‬
   ‫בסעיף ‪ 48ý C.F.R. §12.212‬או בסעיף ‪ ,48ý C.F.R. §227.7202‬לפי העניין‪ .‬בהתאם לסעיף ‪ 48ý C.F.R. §12.212‬או‬
        ‫לסעיפים ‪ ý48 C.F.R. §227.7202-1‬עד ‪ ,227.7202-4‬לפי העניין‪“ ,‬תוכנת מחשב מסחרית” ו”תיעוד תוכנת מחשב‬
  ‫מסחרית” ניתנים ברישיון למשתמשי קצה בארה”ב )א( כפריטים מסחריים בלבד ו)ב( רק עם אותן זכויות שניתנות לכל שאר‬
          ‫משתמשי הקצה לפי התנאים והמגבלות במסמך זה‪ .‬זכויות שלא פורסמו שמורות במסגרת זכויות יוצרים בארה”ב‪.‬‬

 ‫‪ .12‬הדין החל ונתיקות‪ .‬על רישיון זה יחולו דיני מדינת קליפורניה‪ ,‬להוציא עקרונותיה באשר לסתירה בין חוקים‪ ,‬והוא יפורש‬
 ‫לפיהם‪ .‬רישיון זה לא יהא כפוף לאמנת האו”ם בדבר חוזים למכירה בינלאומית של טובין‪ ,‬והיישום שלה נשלל באופן מפורש‪.‬‬
  ‫אם הינך צרכן‪/‬ית היושב‪/‬ת בבריטניה‪ ,‬על רישיון זה יחולו חוקי תחום השיפוט של מקום מגוריך‪ .‬אם‪ ,‬מכל סיבה‪ ,‬בית משפט‬
                         ‫מוסמך יקבע כי כל הוראה‪ ,‬או חלק ממנה‪ ,‬אינם ניתנים לאכיפה‪ ,‬יתר הרישיון ייוותר בתוקפו המלא‪.‬‬

   ‫‪ .13‬הסכם שלם; השפה הקובעת‪ .‬רישיון זה מהווה את כלל ההסכם בינך לבין ‪ Apple‬בקשר לתוכנת ה‪ ,iOS-‬וגובר על כל‬
     ‫הבנות קודמות או נוכחיות בנושא זה‪ .‬אף תיקון או שינוי ברישיון זה לא יהיו מחייבים‪ ,‬אלא אם נעשו בכתב ונחתמו על‪-‬ידי‬
 ‫‪ .Apple‬כל תרגום של רישיון זה נעשה לשם דרישות מקומיות‪ ,‬ובמקרה של אי‪-‬התאמה בין הגרסה האנגלית לגרסאות שאינן‬
                     ‫באנגלית‪ ,‬תגבר הגרסה האנגלית של הרישיון‪ ,‬עד כמה שהדבר מותר לפי החוק המקומי באזור מגוריך‪.‬‬

     ‫‪ .14‬הכרה בצדדים שלישיים‪ .‬חלקים מתוכנת ה‪ iOS-‬עשויים להשתמש או לכלול תוכנה של צדדים שלישיים וחומר אחר‬
 ‫המוגן בזכויות יוצרים‪ .‬הכרה בצדדים שלישיים‪ ,‬תנאי רישוי וויתורים בנוגע לחומר כאמור‪ ,‬כלולים במסמכים האלקטרוניים של‬
  ‫תוכנת ה‪ ,iOS-‬ושימושך בחומר כאמור כפוף להוראותיהם לפי העניין‪ .‬השימוש ב‪ Google Safe Browsing Service-‬כפוף‬
      ‫לתנאי השירות של ‪ ((/https://www.google.com/intl/iw/policies/terms) Google‬ולמדיניות הפרטיות של ‪Google‬‬
                                                           ‫)‪.(/https://www.google.com/intl/iw/policies/privacy‬‬

                                                                    ‫‪ .15‬שימוש ב‪ ;MPEG-4-‬הודעת ‪.H.264/AVC‬‬
   ‫)א( תוכנת ה‪ iOS-‬ניתנת ברישיון במסגרת רישיון ‪ MPEG-4 Systems Patent Portfolio License‬לקידוד בהתאם לתקן‬
  ‫‪ ,MPEG-4 Systems Standard‬למעט העובדה שרישיון נוסף ותשלום תמלוגים נדרשים לקידוד כאשר מדובר ב)‪ (1‬קידוד‬
 ‫של נתונים המאוחסנים או משוכפלים במדיה פיזית שהתשלום עבורם מתבצע על בסיס כל פריט לחוד‪ ,‬ו‪/‬או )‪ (2‬קידוד נתונים‬
  ‫שהתשלום עבורם מתבצע על בסיס כל פריט לחוד והמשודרים למשתמש קצה לאחסון ו‪/‬או שימוש קבועים‪ .‬רישיון נוסף כגון‬
                                 ‫זה ניתן להשיג דרך ‪ .MPEG LA, LLC‬ראה‪/‬י ‪ http://www.mpegla.com‬לפרטים נוספים‪.‬‬

       ‫)ב( תוכנת ה‪ iOS-‬כוללת פונקציית קידוד ו‪/‬או פענוח וידאו ‪ .MPEG-4‬תוכנת ה‪ iOS-‬ניתנת ברישיון במסגרת הרישיון‬
  ‫‪ MPEG-4 Visual Patent Portfolio License‬לשימוש אישי ובלתי‪-‬מסחרי על ידי צרכנים למטרת )א( קידוד וידאו בהתאם‬
 ‫לתקן החזותי ‪“) MPEG-4‬וידאו ‪ (”MPEG-4‬ו‪/‬או )ב( פענוח וידאו ‪ MPEG-4‬אשר קודד על‪-‬ידי צרכן העוסק בפעילות אישית‬
   ‫ובלתי‪-‬מסחרית ו‪/‬או וידאו שהושג מספק וידאו המורשה על‪-‬ידי ‪ MPEG LA‬לספק וידאו ‪ .MPEG-4‬אף רישיון אינו ניתן או‬
 ‫משתמע לכל שימוש אחר‪ .‬מידע נוסף‪ ,‬לרבות מידע בנוגע לשימוש ורישוי פרסומי‪ ,‬פנימי ומסחרי‪ ,‬ניתן להשיג מ‪MPEG LA,-‬‬
                                                                         ‫‪ .LLC‬ראה‪/‬י ‪.http://www.mpegla.com‬‬

    ‫)ג( תוכנת ה‪ iOS-‬כוללת פונקציית קידוד ו‪/‬או פענוח ‪ .AVC‬שימוש מסחרי ב‪ H.264/AVC-‬מחייב רישוי נוסף ויחול התנאי‬
‫הבא‪ :‬ניתן בזאת רישיון לפונקציית ה‪ AVC-‬בתוכנת ה‪ ,iOS-‬אך ורק לשימוש אישי ובלתי‪-‬מסחרי על‪-‬ידי צרכנים לשם )א(‬
 ‫קידוד וידאו בהתאם לתקן ‪) AVC‬״וידאו ‪AVC‬״( ו‪/‬או )ב( פענוח וידאו ‪ AVC‬שקודד על‪-‬ידי צרכן שעוסק בפעילות אישית‬
        ‫ובלתי‪-‬מסחרית ו‪/‬או וידאו ‪ AVC‬שהושג מספק וידאו המורשה לספק וידאו ‪ .AVC‬מידע בנוגע לשימושים אחרים‬
                                     ‫ורישיונות ניתן להשיג מ‪ .MPEG LA L.L.C-‬ראה‪/‬י ‪.http://www.mpegla.com‬‬

         ‫‪ .16‬מגבלות על שירות החיפוש של ‪ .Yahoo‬שירות החיפוש של ‪ Yahoo‬הזמין ב‪ Safari-‬מורשה לשימוש במדינות‬
      ‫ובאזורים הבאים בלבד‪ :‬אוסטריה‪ ,‬אוסטרליה‪ ,‬אורוגוואי‪ ,‬איטליה‪ ,‬איי בהאמה‪ ,‬איי קיימן‪ ,‬אינדונזיה‪ ,‬איסלנד‪ ,‬אירלנד‪ ,‬אל‬
‫סלוודור‪ ,‬אקוודור‪ ,‬ארגנטינה‪ ,‬ארובה‪ ,‬ארצות‪-‬הברית‪ ,‬בולגריה‪ ,‬בלגיה‪ ,‬ברבדוס‪ ,‬ברזיל‪ ,‬בריטניה‪ ,‬ברמודה‪ ,‬גואטמלה‪ ,‬ג’מייקה‪,‬‬
 ‫גרמניה‪ ,‬גרנדה‪ ,‬דנמרק‪ ,‬דרום קוריאה‪ ,‬הודו‪ ,‬הולנד‪ ,‬הונגריה‪ ,‬ונצואלה‪ ,‬טורקיה‪ ,‬טרינידד וטובגו‪ ,‬יוון‪ ,‬יפן‪ ,‬לוקסמבורג‪ ,‬לטביה‪,‬‬
    ‫ליטא‪ ,‬מלזיה‪ ,‬מלטה‪ ,‬מקסיקו‪ ,‬נורבגיה‪ ,‬ניו זילנד‪ ,‬ניקרגואה‪ ,‬סין היבשתית‪ ,‬הונג קונג‪ ,‬טייוואן‪ ,‬סינגפור‪ ,‬סלובניה‪ ,‬סלובקיה‪,‬‬
  ‫סנט וינסנט‪ ,‬סנט לוציה‪ ,‬ספרד‪ ,‬פורטו ריקו‪ ,‬פולין‪ ,‬פורטוגל‪ ,‬הפיליפינים‪ ,‬פינלנד‪ ,‬פנמה‪ ,‬פרו‪ ,‬צ’ילה‪ ,‬צ’כיה‪ ,‬צרפת‪ ,‬קולומביה‪,‬‬
                                                    ‫קנדה‪ ,‬קפריסין‪ ,‬רומניה‪ ,‬הרפובליקה הדומיניקנית‪ ,‬שבדיה‪ ,‬שוויץ ותאילנד‪.‬‬

  ‫‪ .17‬הודעה בנושא ‪ .Microsoft Exchange‬הרישיון להגדרת הדואר של ‪ Microsoft Exchange‬בתוכנת ה‪ iOS-‬ניתן אך‬
     ‫ורק לסנכרון דרך האוויר )דרך הרשת הסלולרית( של מידע כגון דוא”ל‪ ,‬אנשי קשר‪ ,‬לוח שנה ומשימות בין מכשיר ה‪iOS-‬‬
        ‫לשרת ‪ ,Microsoft Exchange‬או לתוכנת שרת אחרת המורשית על‪-‬ידי ‪ Microsoft‬ליישם את פרוטוקול ‪Microsoft‬‬
                                                                                                ‫‪.ActiveSync‬‬

                                                                                                              ‫‪EA1566‬‬
                                                                                                            ‫‪21.2.2019‬‬
       ‫‪Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 310 of 452‬‬




                                                                                ‫————————————‬
                                                                        ‫תנאים ומגבלות משלימים ל‪Apple Pay-‬‬

   ‫תנאים ומגבלות משלימים אלה ל‪) Apple Pay-‬״תנאים משלימים״ אלה( משלימים את הסכם הרישיון עבור תוכנת ה‪iOS-‬‬
       ‫)ה”רישיון״(; הן תנאי הרישיון והן תנאים משלימים אלה מפקחים על השימוש שלך במאפיין ‪ ,Apple Pay‬אשר ייקרא‬
           ‫“השירות” במסגרת רישיון זה‪ .‬מונחים מודגשים בתנאים משלימים אלה נושאים את המשמעויות שצוינו ברישיון‪.‬‬

                                                                                      ‫‪ .1‬סקירה והגבלות שימוש‬

                                                                                 ‫המאפיין ‪ Apple Pay‬מאפשר לך‪:‬‬

‫לאחסן ייצוגים וירטואליים של כרטיסי אשראי‪ ,‬כרטיסי חיוב‪ ,‬כרטיסים ששולמו מראש וכרטיסי ‪,Apple Pay Cash‬‬     ‫•‬
    ‫כולל אשראי בחנויות‪ ,‬כרטיסי חיוב וכרטיסים ששולמו מראש‪ ,‬שנתמכים על‪-‬ידי המאפיין ‪) Apple Pay‬״כרטיסי‬
        ‫תשלום נתמכים״( ועושים שימוש במכשירי ‪ iOS‬נתמכים לביצוע תשלומים ללא מגע במיקומים נבחרים‪ ,‬או‬
                                                                     ‫תשלומים מתוך יישומים או אתרים‪.‬‬
   ‫להשתמש בשוברי שי וכרטיסי מתנה השמורים ב‪“) ,Wallet-‬כרטיסים הנתמכים על ידי ‪ ,”Apple Pay‬ביחד עם‬        ‫•‬
   ‫“כרטיסי תשלום נתמכים”‪“ ,‬כרטיסים נתמכים”( על מנת לבצע עסקאות באמצעות שוברי שי וכרטיסי מתנה ללא‬
   ‫מגע בחנויות נבחרות‪ ,‬כחלק מתשלום ללא מגע באמצעות ‪ .Apple Pay‬ייתכן שתכונות ‪ Apple Pay‬של תוכנת‬
 ‫ה‪ iOS-‬יהיו זמינות באזורים נבחרים בלבד‪ ,‬אצל מנפיקי כרטיסים נבחרים ומול סוחרים נבחרים‪ .‬התכונות עשויות‬
                                                                  ‫להשתנות לפי אזור‪ ,‬מנפיק וסוחר; וגם‬
                                           ‫לשלוח תשלומים מאדם לאדם אל משתמשי ‪ Apple Pay‬אחרים‪.‬‬          ‫•‬

   ‫יתכן שמאפייני ‪ Apple Pay‬של תוכנת ה‪ iOS-‬יהיו זמינים באזורים נבחרים בלבד ואצל מנפיקי כרטיסים‪ ,‬מוסדות פיננסיים‬
                                 ‫וסוחרים נבחרים בלבד‪ .‬המאפיינים עשויים להשתנות בין האזורים‪ ,‬המנפיקים והסוחרים‪.‬‬

‫על‪-‬מנת להשתמש ב‪ ,Apple Pay-‬דרוש כרטיס נתמך‪ .‬הכרטיסים הנתמכים עשויים להשתנות מעת לעת‪ .‬בנוסף‪ ,‬כדי לשלוח‬
                                                ‫או לקבל תשלומים מאדם לאדם‪ ,‬דרוש כרטיס ‪.Apple Pay Cash‬‬

     ‫כדי להשתמש במאפיינים אלו‪ ,‬כרטיסי התשלום הנתמכים ותשלומים מאדם לאדם משויכים ל‪ Apple ID-‬איתו התחברת‬
‫ל‪ .iCloud-‬כרטיסים נתמכים זמינים עבור בני ‪ 13‬ומעלה ועשויים להיות כפופים למגבלות גיל נוספות הנאכפות על‪-‬ידי ‪iCloud‬‬
   ‫או על‪-‬ידי חברת כרטיס האשראי שהינך מנסה להקצות‪ .‬כרטיס ‪ Apple Pay Cash‬והיכולת לשלוח ולקבל תשלומים מאדם‬
                                                                     ‫לאדם זמינים למשתמשים בני ‪ 18‬ומעלה בלבד‪.‬‬

‫‪ Apple Pay‬מיועד לשימושך האישי והינך רשאי להקצות אך ורק כרטיסים נתמכים ששייכים לך‪ .‬אם הינך מקצה כרטיס נתמך‬
    ‫ששייך לארגון‪ ,‬הינך מאשר‪/‬ת בכך כי הדבר נעשה בהרשאת המעסיק וכי קיבלת הרשאה לאגד את מעסיקך לתנאי שימוש‬
 ‫אלה ולכל העסקאות שינבעו מהשימוש במאפיין זה‪ .‬במקרה של שליחה או קבלה של תשלום מאדם לאדם‪ ,‬הינך מאשר‪/‬ת כי‬
                                                  ‫הפעולה מיועדת לשימושך האישי בלבד ולמטרה שאינה מסחרית‪.‬‬

  ‫הינך מסכים‪/‬ה שלא להשתמש ב‪ Apple Pay-‬למטרות בלתי חוקיות או למטרות הונאה‪ ,‬או לכל מטרה אחרת האסורה לפי‬
  ‫הרישיון ולפי תנאים משלימים אלה‪ .‬בנוסף‪ ,‬הינך מסכים‪/‬ה להשתמש ב‪ Apple Pay-‬בהתאם לחוקים ולתקנות הרלוונטיים‪.‬‬
 ‫הינך מסכים‪/‬ה שלא להתערב ולא להפריע לשירות של ‪) Apple Pay‬לרבות גישה לשירות באמצעים אוטומטיים( או לשרתים‬
      ‫או רשתות המחוברים לשירות‪ ,‬או לקווי מדיניות‪ ,‬דרישות או תקנות של רשתות המחוברות לשירות )לרבות גישה בלתי‬
                                           ‫מורשית לנתונים או תעבורה בהן‪ ,‬שימוש בנתונים כאלה או ניטור שלהם(‪.‬‬

                                                                                      ‫‪ .2‬הקשר של ‪ Apple‬אתך‬

   ‫‪ Apple Pay‬מאפשר לך ליצור ייצוג וירטואלי של הכרטיסים הנתמכים שלך במכשיר ה‪ iOS-‬הנתמך שלך‪ .‬עם זאת‪Apple ,‬‬
‫אינה מעבדת עסקאות של תשלומים או עסקאות בכרטיסים אחרים שאינם מיועדים לתשלומים )כגון צבירת נקודות או זיכויים(‬
‫ואינה מקבלת‪ ,‬מעבירה או מחזיקה בכספים שלך‪ ,‬וכן אין לה כל פיקוח אחר על תשלומים‪ ,‬החזרים‪ ,‬החזרות‪ ,‬נקודות‪ ,‬צבירות‪,‬‬
                                              ‫הנחות או כל פעילות מסחרית אחרת שעשויה לנבוע משימושך במאפיין זה‪.‬‬

   ‫תנאי ההסכם של מחזיקי כרטיס שנקבעו עבורך על ידי מנפיק הכרטיס ימשיכו לפקח על שימושך בכרטיסים הנתמכים ועל‬
   ‫השימוש בהם בהקשר של ‪ .Apple Pay‬באופן דומה‪ ,‬השתתפותך בתכניות הטבות או צבירת נקודות ושימושך בכרטיסים‬
                                 ‫תומכי ‪ Apple Pay‬במסגרת ‪ Apple Pay‬יהיה כפוף לתקנון של הסוחרים הרלוונטיים‪.‬‬

‫כרטיס ‪ Apple Pay Card‬והיכולת לשלוח ולקבל תשלומים מאדם לאדם זמינים בארצות הברית בלבד‪ ,‬ושירותים אלה ניתנים‬
       ‫‪Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 311 of 452‬‬



        ‫על‪-‬ידי ‪ ,Green Dot Bank‬החברה ב‪ .FDIC-‬כאשר תפעיל‪/‬י מאפיינים אלה בתוך ‪ ,Apple Pay‬ייפתח עבורך חשבון‬
    ‫ב‪ ,Green Dot Bank-‬וכאשר תשלח‪/‬י או תקבל‪/‬י תשלום מאדם לאדם או תטען‪/‬י או תמשוך‪/‬י כסף בכרטיס ‪Apple Pay‬‬
 ‫‪ Green Dot Bank ,Cash‬תהיה אחראית לקבלת הכסף ושליחתו אל הנמען‪ .‬המוסד הפיננסי האחראי לשירות ‪Apple Pay‬‬
  ‫‪ Cash‬ולשירות העברת תשלומים מאדם לאדם בתוך ‪ Apple Pay‬כפוף לשינוי‪ ,‬וכל שימוש שתעשה‪/‬י במאפיינים אלה יהיה‬
                                                                                  ‫כפוף לתקנון של אותו מוסד‪.‬‬

      ‫אף תנאי מתנאי הרשיון או התנאים המשלימים שמופיעים כאן אינו משנה את תנאי ההסכם של בעל כרטיס‪ ,‬משתמש או‬
   ‫סוחר כלשהו‪ ,‬ורק תנאי אותו הסכם יגדירו את השימוש שתעשה‪/‬י בכרטיס הנתמך או במאפיין התשלומים מאדם לאדם של‬
‫‪ Apple Pay‬ושל הייצוג הווירטואלי של ‪ Apple Pay‬במכשיר ה‪ iOS-‬שלך‪ .‬הינך מסכים‪/‬ה כי ‪ Apple‬אינה צד בהסכמי מחזיקי‬
 ‫הכרטיסים או הסוחרים שלך וכן אינה אחראית )א( לתוכן‪ ,‬לדיוק או לאי הזמינות של כרטיסי תשלום‪ ,‬כרטיסי הטבות‪ ,‬כרטיסי‬
   ‫מתנה‪ ,‬פעילויות מסחריות‪ ,‬עסקאות או רכישות בעת השימוש בפונקציונליות של ‪) ;Apple Pay‬ב( להנפקה של כרטיסים או‬
    ‫להערכת הזכאות לכרטיס; )ג( לצבירת נקודות או הטבות או למימושם במסגרת תכנית של סוחר זה או אחר; )ד( למימון או‬
‫טעינה מחדש של כרטיסים ששולמו מראש‪ .‬בכל מחלוקת או שאלה באשר לכרטיסי תשלום‪ ,‬כרטיסי הטבות או כרטיסי מתנה‪,‬‬
   ‫או פעילויות מסחריות קשורות‪ ,‬יש לפנות למנפיק או לסוחר הרלוונטי; )ה( לשליחה או קבלה של תשלומים מאדם לאדם; או‬
                                              ‫)ו( לטעינה‪ ,‬מימוש או משיכה של כספים מכרטיס ‪ Apple Pay Cash‬שלך‪.‬‬

‫בכל מקרה של מחלוקת או שאלה לגבי כרטיסי תשלום‪ ,‬כרטיסי נקודות‪ ,‬כרטיסי שי או פעילות מסחרית משויכת‪ ,‬יש לפנות אל‬
 ‫המנפיק או אל הסוחר הרלוונטי‪ .‬לשאלות בנושא כרטיס ‪ Apple Pay Cash‬או תשלומים מאדם לאדם‪ ,‬יש לפנות אל תמיכת‬
                                                                                                     ‫‪.Apple‬‬

                                                                                                    ‫‪ .3‬פרטיות‬

     ‫על מנת להציע לך חוויית שימוש מלאה‪ Apple Pay ,‬דורש מידע מסוים ממכשיר ה‪ iOS-‬שלך‪ .‬בנוסף‪ ,‬במהלך השימוש‬
  ‫בכרטיס ‪ Apple Pay Cash‬או במהלך שליחה או קבלה של תשלומים מאדם לאדם‪ ,‬מידע נוסף לגבי העסקאות שלך נאסף‬
‫ונשמר לצורך תחזוקת החשבון שלך‪ ,‬וכן למניעת הונאות ולמטרות רגולטוריות‪ .‬ניתן למצוא מידע נוסף לגבי האיסוף‪ ,‬השימוש‬
 ‫והשיתוף של נתונים כחלק מהשימוש שלך ב‪ ,Apple Pay-‬בכרטיס ‪ Apple Pay Cash‬או בתשלומים מאדם לאדם ב“אודות‬
‫‪ Apple Pay‬ופרטיות” )שניתן לגשת אליו על ידי מעבר אל “‪ Wallet‬ו‪ ”Apple Pay-‬במכשיר ה‪ ,iOS-‬או בתוך היישום ‪Watch‬‬
    ‫במכשיר ‪ iOS‬מקושר( או מעבר לכתובת‪ .https://www.apple.com/privacy :‬השימוש שלך במאפיינים אלה מהווה את‬
 ‫הסכמתך לשידור‪ ,‬איסוף‪ ,‬החזקה‪ ,‬עיבוד ושימוש במידע זה על‪-‬ידי ‪ ,Apple‬חברות הבת שלה וסוכניה במטרה לספק ולשפר‬
                                                                         ‫את השירות והמאפיינים של ‪.Apple Pay‬‬

                                                                            ‫‪ .4‬אבטחה; מכשיר שאבד או הושבת‬

      ‫המאפיין ‪ Apple Pay‬מאחסן ייצוגים וירטואליים של הכרטיסים הנתמכים שלך ויש לאבטח אותו כפי שהיית מאבטח את‬
        ‫הכסף המזומן‪ ,‬כרטיסי האשראי והחיוב‪ ,‬כרטיסי המתנה והכרטיסים המשולמים מראש הפיזיים שלך‪ .‬מתן קוד הגישה‬
  ‫למכשיר שלך לצד שלישי או מתן הרשאה לצד שלישי להוסיף את טביעת האצבע שלו‪/‬ה כדי להשתמש ב‪ Touch ID-‬או כדי‬
     ‫להפעיל את ‪ Face ID‬עשויים לאפשר להם לבצע תשלומים ולשלוח‪ ,‬לבקש או לקבל תשלומים מאדם לאדם‪ ,‬למשוך כסף‬
 ‫מכרטיס ‪ Apple Pay Cash‬שלך‪ ,‬או לקבל ולממש הטבות או אשראי באמצעות ‪ Apple Pay‬מהמכשיר שלך‪ .‬הינך אחראי‪/‬ת‬
‫באופן בלעדי לשמירה על אבטחת המכשיר וקוד הגישה שלך‪ .‬הינך מסכים‪/‬ה כי אין ל‪ Apple-‬כל אחריות במקרה שתאבד‪/‬י או‬
 ‫תשתף‪/‬י את הגישה למכשיר‪ .‬הינך מסכים‪/‬ה כי אין ל‪ Apple-‬כל אחריות במקרה שתבצע‪/‬י ב‪ iOS-‬שינויים ללא רשות )למשל‬
                                                                                         ‫פריצה של המכשיר(‪.‬‬

  ‫יתכן שתידרש‪/‬י להפעיל אמצעי אבטחה נוספים כגון אימות דו‪-‬גורמי עבור ה‪ Apple ID-‬שלך כדי לגשת למאפיינים מסוימים‬
    ‫של ‪ ,Apple Pay‬כולל כרטיס ‪ Apple Pay Cash‬ותשלומים מאדם לאדם ב‪ .Apple Pay-‬אם תסיר‪/‬י בשלב מאוחר יותר‬
                            ‫מאפייני בטיחות אלה‪ ,‬יתכן שלא תוכל‪/‬י להמשיך לגשת למאפיינים מסוימים של ‪.Apple Pay‬‬

 ‫אם המכשיר אבד או נגנב והמאפיין ״מצא את ה‪ iPhone-‬שלי״ הופעל‪ ,‬תוכל‪/‬י להשתמש בו כדי לנסות להשבית את היכולת‬
     ‫לשלם באמצעות הכרטיסים הנתמכים או לשלוח תשלומים מאדם לאדם במכשיר על‪-‬ידי העברתו ל״מצב אבדן״‪ .‬ניתן גם‬
  ‫למחוק את המכשיר‪ ,‬פעולה אשר תנסה להשבית את היכולת לשלם באמצעות כרטיסי התשלום הנתמכים הווירטואליים או‬
 ‫לשלוח תשלומים מאדם לאדם במכשיר‪ ,‬וגם תנסה להסיר את הכרטיסים שתומכים ב‪ .Apple Pay-‬עליך להתקשר למנפיק‬
    ‫של הכרטיסים הנתמכים‪ ,‬אל הסוחר שהנפיק את הכרטיסים שתומכים ב‪ Apple Pay-‬וגם אל ‪ Apple‬במקרה של כרטיס‬
                                           ‫‪ Apple Pay Cash‬כדי למנוע גישה בלתי מורשית לכרטיסים הנתמכים שלך‪.‬‬

 ‫אם תדווח‪/‬י על חשד להונאה‪ ,‬או במקרה ש‪ Apple-‬תחזיק בחשד כזה‪ ,‬הינך מסכים‪/‬ה לשתף פעולה עם ‪ Apple‬בכל חקירה‬
                                                           ‫שתהיה ולנקוט כל אמצעי למניעת הונאה שאנו נציין‪.‬‬

                                                                                               ‫‪ .5‬הגבלת חבות‬
      ‫‪Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 312 of 452‬‬




  ‫בנוסף לכתבי העדר אחריות והגבלת אחריות המפורטים ברישיון זה‪ APPLE ,‬אינה נוטלת כל אחריות לרכישות‪ ,‬תשלומים‪,‬‬
 ‫עסקאות או פעילויות מסחר אחרות שיבוצעו באמצעות ‪ ,APPLE PAY‬והינך מסכים‪/‬ה להסתמך אך ורק על הסכמים שייתכן‬
 ‫ויש לך עם מנפיק הכרטיס‪ ,‬עם רשת התשלום‪ ,‬עם המוסדות הפיננסיים או עם הסוחר לפתרון שאלות או מחלוקות הקשורות‬
                                          ‫לכרטיסים הנתמכים‪ ,‬לתשלומים מאדם לאדם ולפעילויות מסחריות קשורות‪.‬‬

                                                                                  ‫————————————‬
                                                                                              ‫הודעות מ‪Apple-‬‬
‫אם ‪ Apple‬תצטרך ליצור עמך קשר בנוגע למוצר או לחשבון שלך‪ ,‬הינך מסכים לקבל את ההודעות בדוא”ל‪ .‬הינך מסכים‪/‬ה כי‬
                             ‫הודעות כאמור אשר יישלחו אליך באופן אלקטרוני‪ ,‬יקיימו את דרישות התקשורת על‪-‬פי חוק‪.‬‬
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 313 of 452



MAGYAR

FONTOS: AZ iPHONE, iPAD VAGY iPOD TOUCH („iOS-ESZKÖZ”) HASZNÁLATÁVAL ELFOGADJA,
HOGY AZ ALÁBBI FELTÉTELEK ÖNRE NÉZVE KÖTELEZŐ ÉRVÉNYŰEK:

A.   APPLE iOS SZOFTVERLICENC-SZERZŐDÉS
B.   APPLE PAY – KIEGÉSZÍTŐ FELTÉTELEK
C.   ÉRTESÍTÉSEK AZ APPLE RÉSZÉRŐL

APPLE INC.
iOS SZOFTVERLICENC-SZERZŐDÉS
Egyszeres felhasználási licenc

AZ iOS-ESZKÖZ HASZNÁLATA VAGY A JELEN LICENCHEZ KAPCSOLÓDÓ SZOFTVERFRISSÍTÉS
LETÖLTÉSE ELŐTT FIGYELMESEN OLVASSA EL A SZOFTVERLICENC-SZERZŐDÉST („LICENC”).
AZ iOS-ESZKÖZ ÉS A LETÖLTÉSEK HASZNÁLATÁVAL VAGY A SZOFTVERFRISSÍTÉSEK
LETÖLTÉSÉVEL ELFOGADJA, HOGY A JELEN LICENC FELTÉTELEI ÖNRE NÉZVE KÖTELEZŐ
ÉRVÉNYŰEK. HA NEM FOGADJA EL A JELEN LICENC FELTÉTELEIT, NE HASZNÁLJA AZ iOS-
ESZKÖZT, ILLETVE NE TÖLTSE LE EZT A SZOFTVERFRISSÍTÉST.

HA NEMRÉG VÁSÁROLT iOS-ESZKÖZT, ÉS NEM FOGADJA EL A LICENC FELTÉTELEIT, A https://
www.apple.com/legal/sales_support/ CÍMEN ELÉRHETŐ APPLE VISSZATÉRÍTÉSI
IRÁNYELVEKNEK MEGFELELŐEN A VISSZATÉRÍTÉSI IDŐTARTAMON BELÜL JÓVÁÍRÁS
ELLENÉBEN VISSZAJUTTATHATJA iOS-ESZKÖZÉT AZ APPLE STORE ÁRUHÁZBA VAGY AHHOZ
A HIVATALOS VISZONTELADÓHOZ, AHOL VÁSÁROLTA AZT.

1. Általános rendelkezések
(a) Az iOS-eszközhöz olvasható memórián, bármely más adathordozón vagy más formátumban mellékelt
szoftvernek (beleértve a rendszerindítási ROM-kódot, a beágyazott szoftvereket és a külső féltől
származó szoftvereket), a dokumentációnak, a felületeknek, a tartalomnak, a betűkészleteknek és egyéb
adatoknak („Eredeti iOS-szoftver”), amelyek frissülhetnek, valamint az Apple új szolgáltatásokkal,
szoftverfrissítésekkel vagy rendszer-helyreállítási szoftverekkel helyettesítheti azokat („iOS-
szoftverfrissítések”) (az Eredeti iOS-szoftver és az iOS-szoftverfrissítések együttes megnevezése „iOS-
szoftver”), kizárólag a licencét, nem pedig tulajdonjogát szerezte meg az Apple Inc. vállalattól („Apple”) a
Licenc feltételeinek megfelelő felhasználásra. Az Apple és licenctulajdonosai maradnak az iOS-szoftver
tulajdonosai, és minden olyan jogot fenntartanak, amelyekre Ön nem kifejezetten jogosult. Elfogadja,
hogy a jelen Licenc feltételei érvényesek az iOS-eszközön beépített bármely Apple márkájú alkalmazás
esetén, kivéve, ha az alkalmazáshoz külön licenc tartozik, amely esetben elfogadja, hogy az adott licenc
feltételei az irányadók az adott alkalmazásra vonatkozóan.

(b) Az Apple saját belátása szerint elérhetővé tehet jövőbeni iOS-szoftverfrissítéseket. Az iOS-
szoftverfrissítések – ha vannak ilyenek – nem feltétlenül tartalmazzák az összes létező szoftverfunkciót
vagy az olyan új funkciókat, amelyeket az Apple az iOS-eszközök újabb vagy más modelljeihez ad ki. Az
Apple iOS-szoftverfrissítések esetében a jelen Licenc feltételei az irányadók, ha azokat Ön elfogadja,
kivéve, ha az iOS-szoftverfrissítéshez külön licenc tartozik, amely esetben az adott licenc rendelkezései
az irányadók.

(c) Ha expressz beállítási funkciót használ egy új iOS-eszköznek a régi iOS-eszközén alapuló
beállításához, akkor elfogadja, hogy ennek a Licencnek a feltételei vonatkoznak az új iOS-eszközön lévő
iOS szoftver használatára, kivéve, ha ahhoz külön licenc tartozik, mert ebben az esetben Ön elfogadja,
hogy annak a licencnek a feltételei fognak vonatkozni az iOS szoftver használatára. Az iOS-eszköz
rendszeres időközönként ellenőrzi az Apple-nél, hogy rendelkezésre állnak-e iOS-szoftverfrissítések. Ha
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 314 of 452



van rendelkezésre álló frissítés, letöltésére és telepítésére automatikusan sor kerülhet az iOS-eszközön,
illetve – adott esetben – a perifériákon. Az Apple-szoftverek használatával Ön beleegyezik, hogy az
Apple automatikus iOS-szoftverfrissítéseket tölthet le és telepíthet az iOS-eszközön és a
perifériákon. Az automatikus frissítéseket bármikor teljes mértékben kikapcsolhatja az Automatikus
frissítések beállítás módosításával, mely a Beállítások > Általános > Szoftverfrissítés lehetőségnél
található.

2. Engedélyezett licencfelhasználások és -korlátozások
(a) A jelen Licenc feltételeinek megfelelően Ön egy korlátozott, nem kizárólagos licencre jogosult,
amellyel az iOS-szoftvert egyetlen Apple márkájú iOS-eszközön használhatja. Az alábbi 2(b) szakaszban
vagy egy esetleges különálló, az Apple és Ön közötti szerződésben engedélyezett esetek kivételével a
jelen Licenc nem engedélyezi, hogy az iOS-szoftver egyidejűleg egynél több Apple márkájú iOS-
eszközön telepítve legyen, továbbá az iOS-szoftvert nem terjesztheti vagy teheti elérhetővé olyan
hálózaton keresztül, ahol azt több eszköz is futtathatja vagy használhatja egyszerre. A jelen Licenc nem
jogosítja fel az Apple védett felületeinek és egyéb szellemi tulajdonának használatára külső fél
eszközeinek, kiegészítőinek, illetve külső fél szoftveralkalmazásainak az iOS-eszközökön való
használathoz történő tervezéséhez, fejlesztéséhez, gyártásához, licenceléséhez vagy terjesztéséhez.
Ezen jogok némelyikét az Apple különálló licencek alapján biztosítja. Külső fél eszközeinek és
kiegészítőinek az iOS-eszközökhöz történő fejlesztésével kapcsolatos további tudnivalókért látogasson
el a https://developer.apple.com/programs/mfi/ weboldalra. Szoftveralkalmazások az iOS-eszközhöz
való fejlesztésével kapcsolatos további tudnivalókért keresse fel a https://developer.apple.com
weboldalat.

(b) A jelen Licenc feltételeinek megfelelően Ön egy korlátozott, nem kizárólagos licencre jogosult,
amellyel letöltheti az Apple által az iOS-eszköz modelljéhez esetlegesen elérhetővé tett iOS-
szoftverfrissítéseket az Ön tulajdonát képező vagy Ön által használt ilyen iOS-eszközön található szoftver
frissítése vagy visszaállítása érdekében. A jelen Licenc nem engedélyezi, hogy olyan iOS-eszközöket
frissítsen vagy állítson vissza, amelyek nem képezik az Ön tulajdonát, vagy amelyeket nem Ön használ,
továbbá az iOS-szoftverfrissítéseket nem terjesztheti vagy teheti elérhetővé olyan hálózaton keresztül,
ahol azt több eszköz vagy számítógép használhatja egyszerre. Ha letölt egy iOS-szoftverfrissítést a
számítógépére, az iOS-szoftverfrissítésről csak egyetlen, géppel olvasható formátumú másolatot
készíthet biztonsági tartalékmásolat céljából, azzal a feltétellel, hogy a biztonsági tartalékmásolat
tartalmazza az eredeti példányban meglévő összes szerzői jogi és egyéb tulajdonjogi információt.

(c) Ha az iOS-eszközre az Apple előre telepített Apple márkájú alkalmazásokat („Előre telepített
alkalmazások”), azok az iOS-eszközön történő használatához először be kell jelentkeznie az App Store
áruházba, és hozzá kell rendelnie ezen Előre telepített alkalmazásokat az App Store-fiókjához. Ha egy
Előre telepített alkalmazást az App Store-fiókjához rendel, azzal az iOS-eszközön található összes Előre
telepített alkalmazás hozzárendelése is automatikusan megtörténik. Azzal, hogy az Előre telepített
alkalmazásokat az App Store-fiókjához rendeli, Ön elfogadja, hogy az Apple az App Store-fiókjához
használt Apple ID azonosítót és az iOS-eszközről beszerzett egyedi hardverazonosítót továbbíthatja,
gyűjtheti, megtarthatja, feldolgozhatja és felhasználhatja egyedi fiókazonosítóként annak érdekében,
hogy az Ön kérelmének jogosultságát ellenőrizze, és hogy az Ön számára hozzáférést biztosítson az
Előre telepített alkalmazásokhoz az App Store áruházon keresztül. Ha nem kíván használni egy Előre
telepített alkalmazást, bármikor törölheti azt iOS-eszközről.

(d) Az iOS-szoftver felhasználható olyan anyagok másolására, amelyeket nem véd szerzői jog, amelyek
szerzői jogával Ön rendelkezik, illetve amelyek másolása jogszabályilag engedélyezett. Ön vállalja, hogy
nem gyakorolja, és másoknak sem teszi lehetővé az iOS-szoftver vagy az iOS-szoftver által biztosított
szolgáltatások vagy azok bizonyos részeinek másolását (kivéve, ha ezt a jelen Licenc kifejezetten
megengedi), belső felépítésének elemzését, visszafejtését, alkotóelemekre bontását, forráskódjának
kinyerését, titkosításának visszafejtését, módosítását vagy azokból származtatott munkák létrehozását
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 315 of 452



(kivéve, ha a fenti korlátozások tiltottak a vonatkozó jogszabályok vagy az esetlegesen az iOS-
szoftverben megtalálható nyílt forráskódú összetevők használatát szabályozó licenc feltételei szerint).

(e) Az iOS-eszköz használatával közzétett, tárolt vagy elérhetővé tett bármilyen tartalom jogcíme és
szellemi tulajdonhoz fűződő jogai a vonatkozó tartalom tulajdonosát illetik. Az ilyen tartalmat szerzői
jogok vagy egyéb, szellemi tulajdonjogokra vonatkozó jogszabályok és egyezmények védhetik, és a
tartalmat szolgáltató külső fél használati feltételei vonatkozhatnak rá. A jelen Licenc nem jogosítja fel az
ilyen jellegű tartalom használatára, és nem szavatolja, hogy ez a tartalom továbbra is elérhető lesz az Ön
számára, kivéve, ha az a jelen dokumentumban másként van meghatározva.

(f) Ön a jelen Licenc feltételeinek megfelelően használhatja az iOS-szoftverben megtalálható, illetve azzal
előállított Animoji és Memoji karaktereket („Rendszerkarakterek”) (I) az iOS-szoftver futtatása közben, és
(ii) saját, eredeti tartalom és projektek személyes, nem kereskedelmi célra történő előállításához. A jelen
Licenc a Rendszerkaraktereknek semmiféle egyéb felhasználását nem teszi lehetővé, korlátozás nélkül
ideértve a Rendszerkarakterek nyereségorientált, non-profit, nyilvános megosztással járó, illetve
kereskedelmi környezetben történő felhasználását, reprodukcióját, megjelenítését, előadását, rögzítését,
közzétételét és továbbadását.

(g) Elfogadja, hogy az iOS-szoftvert és a Szolgáltatásokat (az alábbi 5. szakaszban meghatározottak
szerint) a vonatkozó jogszabályoknak megfelelően használja, Ebbe beleértendők a lakhelyéül szolgáló
ország vagy régió helyi jogszabályai, illetve annak az országnak vagy régiónak a jogszabályai, ahol letölti
vagy használja az iOS-szoftvert és a Szolgáltatásokat. Az iOS-szoftver funkciói és a Szolgáltatások nem
minden nyelven és régióban érhetők el, egyes funkciók régiónként eltérhetnek, és előfordulhat, hogy a
szolgáltatója bizonyos funkciókat korlátoz vagy nem tesz elérhetővé. Az iOS-szoftver funkcióihoz és a
Szolgáltatásokhoz Wi-Fi vagy mobilhálózati adatkapcsolat szükséges.

(h) Az App Store használatához egyedi felhasználónév és jelszó kombináció, más néven Apple ID
azonosító szükséges. Az Apple ID azonosító az alkalmazásfrissítések, valamint az iOS-szoftver funkciói
és a Szolgáltatások eléréséhez is szükséges.

(i) Emellett tudomásul veszi, hogy az iOS-szoftver egyes funkciói, beépített alkalmazásai és
Szolgáltatásai adatokat továbbítanak, és ez hatással lehet az adatforgalmi előfizetésének díjaira,
valamint hogy ezen díjak megfizetéséért Ön a felelős. Megtekintheti és szabályozhatja, mely
alkalmazások használhatják a mobilhálózatot, és a mobil adatforgalmi beállításokban megtekintheti,
hogy ezen alkalmazások körülbelül mennyi adatot használnak. Ezenfelül a Wi-Fi Asszisztens
automatikusan mobilhálózatra vált gyenge Wi-Fi-kapcsolat esetén, ami nagyobb mobil-adatforgalommal
járhat, és kihathat az adatcsomag díjaira. A Wi-Fi Asszisztens alapértelmezés szerint be van kapcsolva,
de a Beállításokban kikapcsolható. További információkért tekintse meg az iOS-eszköz felhasználói
útmutatóját.

(j) Ha engedélyezi az automatikus alkalmazásfrissítéseket, az iOS-eszköz rendszeres időközönként
ellenőrzi az Apple webhelyén, hogy az eszközön található alkalmazásokhoz elérhetők-e frissítések, és ha
rendelkezésre áll frissítés, automatikusan megtörténik annak letöltése és telepítése az eszközön.
Bármikor kikapcsolhatja az összes automatikus alkalmazásfrissítést. Ehhez a Beállítások menü iTunes és
App Store, majd Automatikus letöltések lehetőségén belül kapcsolja ki a frissítéseket.

(k) Az iOS-eszköz használata bizonyos körülmények között elvonhatja a figyelmét, és veszélyhelyzetet
teremthet (pl. vezetés közben ne írjon SMS-üzenetet, vagy kerékpározás közben ne használjon
fejhallgatót). Az iOS-eszköz használatával Ön elfogadja, hogy a mobiltelefonok és fejhallgatók
használatára vonatkozó tiltások és korlátozások betartása az Ön felelőssége (ilyen korlátozás például,
hogy vezetés közben csak kihangosítva lehet telefonhívásokat lebonyolítani).
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 316 of 452



3. Átruházás Az iOS-szoftvert nem kölcsönözheti, lízingelheti, adhatja kölcsön, értékesítheti, terjesztheti,
és nem adhatja tovább annak licencét. Azonban egyszeri alkalommal, véglegesen átruházhatja az iOS-
szoftver vonatkozó összes licencjogát egy másik félre az iOS-eszköz tulajdonjogának átruházásához
kapcsolódóan, a következő feltételekkel: (a) az átruházás az iOS-eszközt és az iOS-szoftver egészét
tartalmazza, beleértve mindegyik összetevőt és a jelen Licencet, (b) Ön nem tartja meg az iOS-szoftver
semmilyen másolatát, legyen az teljes vagy részleges, beleértve a számítógépén vagy más
tárolóeszközön tárolt másolatokat is, és (c) az iOS-szoftvert fogadó fél elolvassa és elfogadja a jelen
Licenc feltételeit és kikötéseit.

4. Hozzájárulás az adatok felhasználásához Amikor az eszközt használja, a telefonszámát és az iOS-
eszköz bizonyos egyedi azonosítóit elküldi a rendszer az Apple számára, hogy mások el tudják Önt érni
a telefonszámán az iOS-szoftver által biztosított különféle kommunikációs funkciók (pl. az iMessage és a
FaceTime) használatakor. Az iMessage használata esetén az Apple a sikeres kézbesítés érdekében
titkosított formában eltárolhatja bizonyos időre az üzeneteit. A FaceTime vagy az iMessage
kikapcsolásához nyissa meg az iOS-eszközén a FaceTime vagy az Üzenetek alkalmazás beállításait.
Elképzelhető, hogy az iOS-szoftver bizonyos funkciói, mint például az Elemzés, a Helymeghatározás, Siri
és a Diktálás információkat igényelnek az iOS-eszközéről az általuk biztosított funkciók működéséhez.
Ha bekapcsolja és elkezdi használni ezeket a funkciókat, tájékoztatást kap arról, hogy milyen adatok
lesznek elküldve az Apple-nek, valamint hogyan lesznek azok felhasználva, További információkért
látogasson el a https://www.apple.com/privacy/ weboldalra. Az adatok kezelése minden esetben az
Apple adatvédelmi szabályzatával összhangban történik, amelyet a https://www.apple.com/legal/
privacy/ weboldalon tekinthet meg.

5. Szolgáltatások és külső felek anyagai.
(a) Az iOS-szoftver hozzáférést biztosíthat az Apple iTunes Store, App Store és Apple Books áruházához,
a Game Center, az iCloud, a Térképek és más, az Apple vállalattól vagy külső féltől származó
szolgáltatásokhoz és webhelyekhez (összefoglalóan és külön: „Szolgáltatások”). Előfordulhat, hogy ezek
a Szolgáltatások nem érhetők el minden országban vagy nyelven. A Szolgáltatások használata internet-
hozzáférést igényel, és bizonyos Szolgáltatások használatához Apple ID-ra lehet szüksége, továbbá
esetenként további feltételeket kell elfogadnia és további díjakra számíthat. A szoftver és az Apple ID
vagy más Apple Szolgáltatás együttes használatával Ön elfogadja az adott Szolgáltatás vonatkozó
szolgáltatási feltételeit, így például az Apple-médiaszolgáltatások azon országban érvényes legújabb
Használati feltételeit, ahol használja ezeket a Szolgáltatásokat (ezeket a https://www.apple.com/legal/
internet-services/itunes/ webhelyen érheti el és tekintheti át).

(b) Ha aktiválja az iCloud szolgáltatást, akkor az iCloud olyan funkciói, mint az „iCloud-fotók”, a „Saját
fotóadatfolyam”, a „Megosztott albumok”, a „Biztonsági mentés” és az „iPhone keresése” közvetlenül
hozzáférhetővé válnak az iOS-szoftveren keresztül. Ön tudomásul veszi és elfogadja, hogy az iCloud és
az ilyen funkciók használatára az iCloud szolgáltatás aktuális Használati feltételei vonatkoznak,
amelyeket a következő helyen tekinthet meg: https://www.apple.com/legal/internet-services/icloud/.

(c) A News alkalmazás tartalma. A News alkalmazáson keresztül elért tartalom felhasználása kizárólag
személyes, nem kereskedelmi célú lehet, nem ruházza Önre tartalom tulajdonjogait; valamint korlátozás
nélkül kizárja a tartalom kereskedelmi vagy reklámcélú felhasználását. Ezenfelül Ön nem teheti közzé,
nem adhatja át és nem sokszorosíthatja a News alkalmazáson keresztül elért képeket önálló fájlokként

(d) Térképek. Az iOS-szoftver térképszolgáltatása és térképfunkciói (a továbbiakban „Térképek”), a
térképadatok lefedettségét is beleértve, területenként változhatnak. Ha a Térképek alkalmazásban
helymeghatározáson alapuló szolgáltatást használ, például a részletes navigációt, a fogalommal
kapcsolatos információkat és a helyi keresést, akkor elképzelhető, hogy a rendszer hellyel és
használattal kapcsolatos különféle információkat küld az Apple-nek (pl. az iOS-eszköz valós idejű
földrajzi helyzetét), hogy az Ön kérését fel tudja dolgozni, és tovább tudja fejleszteni a Térképek
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 317 of 452



alkalmazást. Az ilyen jellegű, hellyel és használattal kapcsolatos adatokat az Apple olyan formában
gyűjti, amelyek nem azonosítják az Ön személyét. A Térképek használatával Ön elfogadja és
hozzájárul ahhoz, hogy az Apple és a leányvállalatai, illetve ügynökei továbbíthatják, gyűjthetik,
karbantarthatják, feldolgozhatják és felhasználhatják ezeket az információkat, hogy biztosítani és
fejleszteni tudják a Térképek alkalmazás funkcióit és szolgáltatásait, továbbá az Apple egyéb
termékeit és szolgáltatásait. Az Apple összesített vagy személyes azonosításra nem alkalmas
formában ezeket az adatokat továbbíthatja partnereinek és licencengedményeseinek is a térkép- és
helyalapú termékeik és szolgáltatásaik továbbfejlesztése érdekében. A Térképek alkalmazás
helymeghatározáson alapuló funkcióit igény szerint kikapcsolhatja, ha az iOS-eszközén megnyitja a
Helymeghatározás beállítást, és kikapcsolja a Térképekhez kapcsolódó egyes helybeállításokat. A
Térképek bizonyos funkciói azonban a helymeghatározás beállításának kikapcsolása esetén nem állnak
rendelkezésre (ilyen például a részletes navigáció).

(e) Ön tudomásul veszi, hogy bármely Szolgáltatás használatakor előfordulhatnak támadónak, illetlennek
vagy kifogásolhatónak minősíthető tartalmak, amely tartalmak nem biztos, hogy szókimondó
nyelvezetük alapján besorolhatók, és hogy bármely keresés vagy egy adott URL-cím beírása
automatikusan és akaratlanul is kifogásolható tartalmú hivatkozásokhoz vezethet. Mindazonáltal Ön
beleegyezik abba, hogy a Szolgáltatások használata kizárólag a saját felelősségére történik, és hogy az
Apple, illetve annak társvállalatai, ügynökei, igazgatói vagy licenctulajdonosai nem felelősek a sértő,
illetlen vagy kifogásolható tartalomért.

(f) Bizonyos Szolgáltatások megjeleníthetnek, tartalmazhatnak vagy elérhetővé tehetnek külső felek által
rendelkezésre bocsátott tartalmat, adatokat, információkat, alkalmazásokat vagy anyagokat („Külső felek
anyagai”), vagy hivatkozhatnak külső felek webhelyeire. A Szolgáltatások igénybevételével Ön tudomásul
veszi és elfogadja, hogy az Apple nem felelős az ilyen külső felek nyújtotta anyagok és webhelyek
tartalmának, pontosságának, teljességének, időszerűségének, érvényességének, szerzői jogi
megfelelőségének, jogszerűségének, illendőségének, minőségének vagy a Külső felek anyagaira vagy
webhelyeire vonatkozó egyéb tulajdonságok vizsgálatáért és értékeléséért. Az Apple, annak tisztviselői,
társvállalatai és leányvállalatai nem szavatolnak, vagy vállalnak garanciát, továbbá nem vállalnak
felelősséget, és nem terheli őket felelősség Önnel vagy másokkal szemben külső felek nyújtotta
Szolgáltatásokért, Külső felek anyagaiért vagy webhelyeiért, vagy más, külső felek által nyújtott
anyagokért, termékekért vagy szolgáltatásokért. A Külső felek anyagai és a más webhelyekre mutató
hivatkozások közzététele kizárólag az Ön kényelme érdekében történik.

(g) Sem az Apple, sem annak tartalomszolgáltatói nem garantálják a Szolgáltatásokon keresztül
megjelentetett tőzsdei vagy hely-, illetve egyéb adatok elérhetőségét, pontosságát, teljességét,
megbízhatóságát vagy időszerűségét. Bármely Szolgáltatás által megjelenített pénzügyi információ
kizárólag általános tájékoztatásra szolgál és nem arra, hogy arra befektetési tanácsként lehessen
támaszkodni. Mielőtt a Szolgáltatásokon keresztül megszerzett információra támaszkodva bármilyen
értékpapír-tranzakcióba kezdene, vegye fel a kapcsolatot egy pénzügyi vagy értékpapír-szakértővel (aki
az Ön országában vagy régiójában végzett pénzügyi vagy értékpapír-tanácsadáshoz hivatalosan is
elfogadott képzettséggel rendelkezik). A Szolgáltatásokon keresztül elérhetővé tett helyadatok – így az
Apple Térképek szolgáltatása is – kizárólag alapvető tájékozódási és tervezési célokra szolgálnak, és
nem arra, hogy azokat olyan helyzetben használják, amelyben pontos földrajzi információra van szükség,
vagy amelyben a hibás, pontatlan, időkésleltetéses vagy hiányos földrajzi adatok halálhoz, személyi
sérüléshez, illetve anyagi vagy környezeti károkhoz vezethetnek. Ön beleegyezik abba, hogy a Térképek
szolgáltatásból nyert találatok a Térképek adatainak pontosságát befolyásoló tényezők, többek között az
időjárás, az út- és forgalmi állapotok, illetve a geopolitikai események miatt eltérhetnek a tényleges út-
vagy terepkörülményektől. A biztonsága érdekében a navigáció használata közben mindig figyeljen az
útjelző táblákra és az aktuális útviszonyokra. Tartsa be a biztonságos közlekedés szabályait és
gyakorlatait, és vegye figyelembe, hogy a gyalogos útvonalak nem kizárólag járdákat és gyalogutakat
tartalmaznak.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 318 of 452




(h) Kijelenti az Ön által a Szolgáltatások használatával feltöltött tartalommal kapcsolatban, hogy
rendelkezik azok tulajdonjogával, illetve jogosult vagy jogilag egyéb módon meghatalmazott azok
feltöltésére, valamint ezek a tartalmak nem sértik a Szolgáltatásokra vonatkozó szolgáltatási feltételeket.
Ön elfogadja, hogy a Szolgáltatások védett tartalmakat, információkat és anyagokat tartalmaznak,
amelyek tulajdonosa az Apple, a webhely tulajdonosa vagy a licenctulajdonosok, és amelyek a
vonatkozó szellemi tulajdoni és más törvények (korlátozás nélkül ideértve a szerzői jogi törvényeket)
oltalma alatt állnak. Elfogadja, hogy semmilyen módon nem használja fel az ilyen védett tartalmakat,
információkat és anyagokat – a Szolgáltatások engedélyezett felhasználását kivéve –, ha az nincs
összhangban a Licenc feltételeivel, vagy sérti a külső fél vagy az Apple szellemi tulajdonhoz való jogát.
Tilos a Szolgáltatások bármely részét, bármilyen formában, bármilyen módon reprodukálni. Ön
tudomásul veszi, hogy nem módosíthat, adhat bérbe, kölcsönbe, értékesíthet, forgalmazhat, vagy nem
készíthet olyan származtatott művet, amely a Szolgáltatásokon alapul, továbbá nem élhet vissza nem
engedélyezett módokon a Szolgáltatások használatával, nem kizárólagosan ideértve a számítógépes
vírusok, férgek, trójaiak vagy egyéb kártevők a Szolgáltatások használatával történő továbbítását, illetve
a hálózati kapacitással való visszaélést vagy annak leterhelését. Továbbá Ön beleegyezik abba, hogy a
Szolgáltatásokat nem használja fel bármely egyéb fél jogait sértő módon zaklatás, becsületsértés,
megfigyelés, megfélemlítés, rágalmazás vagy egyéb jogsértés céljára, és hogy az Apple nem felelős
azért, ha Ön ilyen célra használja a Szolgáltatásokat, vagy azért, ha Ön a Szolgáltatásokon keresztül
zaklató, fenyegető, rágalmazó, sértő vagy illegális üzeneteket vagy közvetítéseket kap.

(i) Emellett azon Szolgáltatások és Külső felek anyagai, amelyek elérhetők, hivatkozottak vagy
megjelennek az iOS-eszközön keresztül, nem minden nyelven és országban vagy régióban érhetők el. Az
Apple nem vállal felelősséget az ilyen Szolgáltatások és Külső felek anyagai bármely adott helyen való
megfelelőségéért vagy elérhetőségéért. Amennyiben úgy dönt, hogy eléri vagy használja az ilyen
Szolgáltatásokat vagy Külső felek anyagait, azt saját kezdeményezésből teszi, és felelős az
alkalmazandó törvényeknek való megfelelésért, korlátozás nélkül beleértve az alkalmazandó helyi
törvényeket, valamint az adatvédelmi és adatgyűjtési törvényeket. Ha a fotóit a Fotók alkalmazással és
az Apple vagy külső fél szolgáltatásaival szinkronizálja, az adatai elveszhetnek. A fotók iOS-eszközzel
történő megosztása vagy szinkronizálása metaadatok (többek között a fotók készítésének ideje és hely,
valamint a színmélység) a fotókkal együtt történő továbbítását eredményezheti. Ha az Apple
szolgáltatásaival (például iCloud-fotókönyvtár) osztja meg vagy szinkronizálja az ilyen fotókat, akkor az
Apple megkapja és tárolja ezeket a metaadatokat. Az Apple és licenctulajdonosai fenntartják a jogot,
hogy előzetes figyelmeztetés nélkül bármikor módosíthatnak, felfüggeszthetnek, eltávolíthatnak bármely
Szolgáltatást, vagy megvonhatják a hozzáférést ahhoz. Az Apple semmilyen esetben sem tehető
felelőssé az ilyen Szolgáltatások eltávolításáért, vagy a hozzáférés megvonásáért. Az Apple továbbá
jogosult arra, hogy bármikor értesítés és felelősségvállalás nélkül korlátozza bizonyos Szolgáltatások
használatát, vagy az azokhoz való hozzáférést.

6. Megszűnés. A jelen Licenc a megszűnéséig van érvényben. Amennyiben Ön a Licenc bármely pontját
megszegi, az automatikusan vagy egyéb módon, az Apple részéről történő értesítés nélkül azonnali
hatállyal megszűnik. A felhasználási jogosultság megszűnésekor Ön köteles felhagyni az iOS-szoftver
használatával. A Licenc 4., 5., 6., 7., 8., 9., 12. és 13. bekezdése minden ilyen megszűnést követően is
érvényben marad.

7. Jótállási nyilatkozat.
7.1 Ha Ön olyan ügyfél, aki fogyasztónak számít (olyan személy, aki az iOS-szoftvert nem
kereskedelmi, üzleti vagy szakmai célra használja), a tartózkodási országának megfelelően további
törvényi jogokkal rendelkezhet, amelyek meggátolhatják az alábbi korlátozások érvényességét, és
törvényi tiltás esetén nem vonatkoznak Önre. A jogokat illetően további információt a helyi fogyasztói
tanácsadó szervezettől kaphat.
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 319 of 452



7.2 ÖN KIFEJEZETT MÓDON TUDOMÁSUL VESZI ÉS EGYETÉRT AZZAL, HOGY AZ
ALKALMAZANDÓ TÖRVÉNYEK ÁLTAL MEGENGEDETT MAXIMÁLIS MÉRTÉKIG AZ iOS-SZOFTVER
HASZNÁLATA ÉS AZ iOS-SZOFTVER ÁLTAL VAGY ANNAK HOZZÁFÉRÉSÉN KERESZTÜL NYÚJTOTT
SZOLGÁLTATÁSOK IGÉNYBEVÉTELE SAJÁT FELELŐSSÉGÉRE TÖRTÉNIK, ÉS ÖN VÁLLALJA A
TELJES KOCKÁZATOT A MEGFELELŐ MINŐSÉG, TELJESÍTMÉNY, PONTOSSÁG ÉS MUNKA
TEKINTETÉBEN.

7.3 AZ ALKALMAZANDÓ TÖRVÉNYEK ÁLTAL MEGENGEDETT MAXIMÁLIS MÉRTÉKIG AZ iOS-
SZOFTVER ÉS A SZOLGÁLTATÁSOK KÖZREBOCSÁTÁSA „JELEN ÁLLAPOTUKBAN” TÖRTÉNIK, AZ
ESETLEGES HIBÁKKAL EGYÜTT, MINDENFÉLE JÓTÁLLÁS NÉLKÜL, ÉS AZ APPLE, VALAMINT AZ
APPLE LICENCTULAJDONOSAI (ÖSSZEFOGLALÓAN A 7. ÉS A 8. BEKEZDÉSBEN AZ „APPLE”)
ELHÁRÍT MINDEN KIFEJEZETT, VÉLELMEZETT ÉS TÖRVÉNYI JÓTÁLLÁST ÉS KÖRÜLMÉNYT AZ iOS-
SZOFTVERRE ÉS A SZOLGÁLTATÁSOKRA VONATKOZÓAN, NEM KIZÁRÓLAGOSAN BELEÉRTVE A
KERESKEDELMI HASZNOSÍTHATÓSÁGRA, MEGFELELŐ MINŐSÉGRE, ADOTT CÉLNAK VALÓ
MEGFELELŐSÉGRE, PONTOSSÁGRA, ZAVARTALAN HASZNÁLATRA ÉS A KÜLSŐ FELEK JOGAINAK
TISZTELETBEN TARTÁSÁRA VONATKOZÓ JÓTÁLLÁST.

7.4 AZ APPLE NEM VÁLLAL JÓTÁLLÁST AZ iOS-SZOFTVER ÉS A SZOLGÁLTATÁSOK
HASZNÁLATÁNAK ZAVARTALANSÁGÁÉRT, NEM GARANTÁLJA, HOGY AZ ÁLTALUK NYÚJTOTT
FUNKCIÓK ÉS SZOLGÁLTATÁSOK AZ ÖN KÖVETELMÉNYEINEK MEGFELELNEK, AZ iOS-SZOFTVER
ÉS A SZOLGÁLTATÁSOK MŰKÖDÉSE ZAVARTALAN ÉS HIBAMENTES LESZ, MINDEN SZOLGÁLTATÁS
FOLYAMATOSAN RENDELKEZÉSRE FOG ÁLLNI, AZ iOS-SZOFTVER ÉS A SZOLGÁLTATÁSOK HIBÁIT
KIJAVÍTJA, ÉS AZ iOS-SZOFTVEREK ÉS A SZOLGÁLTATÁSOK KOMPATIBILISEK ÉS
EGYÜTTMŰKÖDNEK A KÜLSŐ FELEKTŐL SZÁRMAZÓ SZOFTVEREKKEL, ALKALMAZÁSOKKAL ÉS
SZOLGÁLTATÁSOKKAL. AZ iOS-SZOFTVER TELEPÍTÉSE HATÁSSAL LEHET A KÜLSŐ FELEK
SZOFTVEREINEK, ALKALMAZÁSAINAK VAGY SZOLGÁLTATÁSAINAK, TOVÁBBÁ AZ APPLE-
TERMÉKEK ÉS -SZOLGÁLTATÁSOK ELÉRHETŐSÉGÉRE ÉS HASZNÁLHATÓSÁGRA.

7.5 EZENKÍVÜL TUDOMÁSUL VESZI, HOGY AZ iOS-SZOFTVER ÉS A SZOLGÁLTATÁSOK NEM
HASZNÁLHATÓK OLYAN HELYZETBEN ÉS KÖRNYEZETBEN, AHOL AZ iOS-SZOFTVER ÉS A
SZOLGÁLTATÁSOK MEGHIBÁSODÁSA, KÉSÉSEI, TARTALMAINAK HIBÁI ÉS PONTATLANSÁGA
HALÁLT, SZEMÉLYI SÉRÜLÉST, KOMOLY FIZIKAI VAGY KÖRNYEZETI KÁROKAT OKOZHAT, NEM
KIZÁRÓLAGOSAN BELEÉRTVE A NUKLEÁRIS LÉTESÍTMÉNYEK, LÉGIFORGALOM-IRÁNYÍTÁSI ÉS -
KOMMUNIKÁCIÓS RENDSZEREK, ÉLETMENTÉSI ÉS FEGYVERRENDSZEREK ÜZEMELTETÉSÉT.

7.6 AZ APPLE VAGY APPLE ÁLTAL MEGHATALMAZOTT KÉPVISELŐTŐL SZÁRMAZÓ SZÓBELI
VAGY ÍRÁSBELI INFORMÁCIÓ NEM MINŐSÜL JÓTÁLLÁSNAK. AMENNYIBEN AZ iOS-SZOFTVER
VAGY A SZOLGÁLTATÁSOK HIBÁSNAK BIZONYULNAK, A SZÜKSÉGES JAVÍTÁS TELJES KÖLTSÉGÉT
ÖNNEK KELL VÁLLALNIA. EGYES JOGI SZABÁLYOZÁSOK NEM ENGEDÉLYEZIK A VÉLELMEZETT
JÓTÁLLÁSOK KIZÁRÁSÁT VAGY AZ ÜGYFÉL TÖRVÉNYI JOGAINAK KORLÁTOZÁSÁT, EZÉRT
ELŐFORDULHAT, HOGY A FENTI KIZÁRÁS ÉS KORLÁTOZÁSOK ÖNRE NEM VONATKOZNAK.

8. Felelősségkorlátozás. AZ ALKALMAZANDÓ TÖRVÉNYEK ÁLTAL ENGEDÉLYEZETT MAXIMÁLIS
MÉRTÉKIG AZ APPLE, ANNAK TÁRSVÁLLALATAI, ÜGYNÖKEI ÉS IGAZGATÓI NEM FELELŐSEK AZ
iOS-SZOFTVER ÉS A SZOLGÁLTATÁSOK, VALAMINT AZ iOS-SZOFTVERHEZ VAGY A
SZOLGÁLTATÁSOKHOZ KAPCSOLÓDÓ, KÜLSŐ FÉLTŐL SZÁRMAZÓ SZOFTVEREK ÉS
ALKALMAZÁSOK HASZNÁLATÁBÓL VAGY HASZNÁLHATATLANSÁGÁBÓL EREDŐ SZEMÉLYI
SÉRÜLÉSEKÉRT ÉS SEMMILYEN ESETLEGES, KÜLÖNLEGES, KÖZVETETT VAGY
KÖVETKEZMÉNYKÉNT JELENTKEZŐ KÁRÉRT, KORLÁTOZÁS NÉLKÜL BELEÉRTVE AZ ELMARADÓ
HASZNOT, AZ ADATOK SÉRÜLÉSÉT VAGY ELVESZTÉSÉT (KORLÁTOZÁS NÉLKÜL BELEÉRTVE AZ
OKTATÁSI CÉLÚ ÚTMUTATÁSOKAT, FELADATOKAT ÉS TANANYAGOKAT), AZ ADATOK SIKERTELEN
TOVÁBBÍTÁSÁT VAGY FOGADÁSÁT, AZ ÜZEMKIMARADÁST ÉS MINDEN EGYÉB KERESKEDELMI
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 320 of 452



KÁRT ÉS VESZTESÉGET, FÜGGETLENÜL AZOK KELETKEZÉSÉTŐL, A FELELŐSSÉG JELLEGÉTŐL
(SZERZŐDÉS, JOGSÉRTÉS VAGY EGYÉB), MÉG ABBAN AZ ESETBEN SEM, HA AZ APPLE
VÁLLALATOT ELŐZŐLEG ÉRTESÍTETTÉK AZ ILYEN KÁROK BEKÖVETKEZÉSÉNEK LEHETŐSÉGÉRŐL.
EGYES JOGI SZABÁLYOZÁSOK NEM ENGEDÉLYEZIK A SZEMÉLYI SÉRÜLÉSEKRE, AZ ESETLEGES
VAGY KÖVETKEZMÉNYKÉNT JELENTKEZŐ KÁROKRA VONATKOZÓ FELELŐSSÉG KORLÁTOZÁSÁT,
EZÉRT ELŐFORDULHAT, HOGY EZ A KORLÁTOZÁS ÖNRE NEM VONATKOZIK. Az Apple teljes anyagi
felelőssége – az összes keletkezett kár tekintetében – semmilyen esetben sem haladhatja meg a
kétszázötven dollárt (250 USD), kivéve, ha azt az alkalmazandó jogszabályok a személyi sérülések
esetében előírják. Az előző korlátozások akkor is érvényben maradnak, ha a fent említett jogorvoslat nem
éri el a célját.

9. Digitális tanúsítványok. Az iOS-szoftver olyan funkciókat tartalmaz, amelyek képessé teszik akár az
Apple, akár külső felek által kiadott digitális tanúsítványok fogadására. AZ ÖN KIZÁRÓLAGOS
FELELŐSSÉGE ELDÖNTENI, HOGY MEGBÍZIK-E AZ APPLE VAGY EGY KÜLSŐ FÉL ÁLTAL KIADOTT
TANÚSÍTVÁNYBAN. CSAK SAJÁT FELELŐSSÉGÉRE HASZNÁLJA A DIGITÁLIS TANÚSÍTVÁNYOKAT.
AZ APPLE AZ ALKALMAZANDÓ JOGSZABÁLYOK ÁLTAL MEGENGEDETT MAXIMÁLIS MÉRTÉKIG NEM
VÁLLAL SEM KIFEJEZETT, SEM VÉLELMEZETT JÓTÁLLÁST A DIGITÁLIS TANÚSÍTVÁNYOK
KERESKEDELMI HASZNOSÍTHATÓSÁGÁRA, ADOTT CÉLRA VALÓ ALKALMAZHATÓSÁGÁRA,
PONTOSSÁGÁRA, BIZTONSÁGÁRA, ILLETVE A KÜLSŐ FELEK JOGAINAK TISZTELETBEN
TARTÁSÁRA VONATKOZÓAN.

10. Exportszabályozás. Az iOS-szoftvert csak az Amerikai Egyesült Államok törvényei és az iOS-
szoftver beszerzési országának törvényei által nem tiltott módon használhatja, exportálhatja és
exportálhatja újra. Korlátozás nélküli különös tekintettel az iOS-szoftver nem exportálható vagy
exportálható újra (a) az Egyesült Államok által embargó alá helyezett országba, vagy (b) bárkinek, aki
szerepel az Egyesült Államok Pénzügyminisztériumának „Specially Designated Nationals” (külön
megjelölt állampolgárok) elnevezésű listáján, illetve az Egyesült Államok Kereskedelmi Minisztériumának
„Denied Persons List” (tiltólistán szereplő személyek) vagy „Entity List” (tiltólistán szereplő jogi
személyek) elnevezésű listáján vagy bármilyen más korlátozási listán. Az iOS-szoftver használatával
kinyilvánítja és szavatolja, hogy nem tartózkodik az említett országokban vagy olyan országban, amely
valamely említett listán szerepel. Vállalja, hogy nem használja az iOS-szoftvert az Amerikai Egyesült
Államok törvényei által tiltott célokra, korlátozás nélkül beleértve a rakéták, atom-, vegyi és biológiai
fegyverek fejlesztését, tervezését, gyártását és előállítását.

11. Kormányzati végfelhasználók. Az iOS-szoftver és a kapcsolódó dokumentáció a 48 C.F.R. §2.101
definíciójának megfelelően „Kereskedelmi termékek”, és a 48 C.F.R. §12.212 illetve a 48 C.F.R.
§227.7202 definíciójának megfelelően „Kereskedelmi számítógépes szoftverből” valamint „Kereskedelmi
számítógépes szoftverdokumentációból” állnak. Összhangban a 48 C.F.R. §12.212 vagy a 48 C.F.R.
§227.7202-1 és 227.7202-4 közötti bekezdésekkel, a Kereskedelmi számítógépes szoftver és
Kereskedelmi számítógépes szoftverdokumentáció az Amerikai Egyesült Államok kormányzatának
végfelhasználói számára (a) csak kereskedelmi termékként, valamint (b) csak ugyanazokkal a
végfelhasználói jogokkal licencelhető, mint a jelen szerződésben foglaltak szerint minden más
végfelhasználó számára. A nyilvánosságra nem hozott jogok az Amerikai Egyesült Államok szerzői jogi
törvényei alapján fenntartva.

12. Alkalmazandó jogszabályok és elválaszthatóság. A jelen licencre és annak értelmezésére
Kalifornia állam törvényei az irányadók, eltekintve annak jogütközéseitől. A jelen Licencre nem érvényes
az ENSZ által elfogadott „Nemzetközi árukereskedelmi szerződésekről szóló egyezmény”, amelynek
alkalmazását kifejezetten kizárjuk. Ha Ön az Egyesült Királyságban rendelkezik bejegyzett lakcímmel, a
Licencre a tartózkodási helyének megfelelő illetékes bíróság törvényei az irányadóak. Ha valamely
illetékes bíróság a Licenc bármely rendelkezését, vagy annak egy részét érvényesíthetetlennek ítéli, a
Licenc egyéb részei továbbra is teljes mértékben érvényben és hatályban maradnak.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 321 of 452




13. Teljes megállapodás, irányadó nyelv. Ez a Licenc alkotja a teljes megállapodást Ön és az Apple
vállalat között az iOS-szoftverre vonatkozóan, és hatályon kívül helyez minden korábbi vagy egyidejű
megállapodást a jelen ügy tárgyában. A Licenc kiegészítései vagy módosításai kizárólag akkor válnak
kötelező érvényűvé, ha azokat az Apple aláírással ellátott, írásos formában közli. A Licenc fordításai a
helyi követelményeknek megfelelően készülnek, és amennyiben eltérés mutatkozik a Licenc angol és
valamely nem angol változata között, a helyi törvények által megengedett mértékig a Licenc angol
változata az irányadó.

14. Külső felek feltüntetése. Az iOS-szoftver egyes részei külső féltől származó szoftvereket vagy
egyéb, szerzői jog által védett anyagokat használhatnak vagy tartalmazhatnak. Az ilyen anyagok
feltüntetése, licencfeltételei és kizárásai az iOS-szoftver elektronikus dokumentációjában találhatók, és
az anyagok használatát a megadott feltételek szabályozzák. A Google Biztonságos böngészési
szolgáltatására a Google Szolgáltatási feltételei (https://www.google.com/intl/hu/policies/terms/) és a
Google Adatvédelmi nyilatkozata (https://www.google.com/intl/hu/policies/privacy/) vonatkozik.

15. Az MPEG-4 használata, H.264/AVC-értesítés.
(a) Az iOS-szoftverben végzett kódolásra az MPEG-4 Systems Standard szabvány értelmében az
MPEG-4 Systems Patent Portfolio License vonatkozik, ami alól kivételt képez, hogy kiegészítő licenc és
jogdíjfizetés szükséges a kódoláshoz, amennyiben (i) az adatok tárolása vagy sokszorosítása fizikai
adathordozón történik, és az adatokért címenként kell fizetni, és/vagy (ii) az adatokért címenként kell
fizetni, és az adatokat végfelhasználóknak továbbítják végleges tárolás és/vagy használat céljából. Ilyen
jellegű licenc az MPEG LA, LLC vállalattól szerezhető be. További részleteket a következő webhelyen
olvashat: http://www.mpegla.com.

(b) Az iOS-szoftver MPEG-4 videokódoló és/vagy -dekódoló funkciót tartalmaz. Az iOS-szoftverre az
MPEG-4 Visual Patent Portfolio License vonatkozik, amelynek értelmében a felhasználók személyes és
nem kereskedelmi célú használat mellett (i) az MPEG-4 Visual Standard („MPEG-4 videó”) szabvány
szerint videókat kódolhatnak és/vagy (ii) olyan MPEG-4 videókat dekódolhatnak, amelyeket egy
felhasználó személyes és nem kereskedelmi tevékenység során kódolt és/vagy amelyeket MPEG-4
videoszolgáltatás keretében az MPEG LA vállalattól származó licenccel rendelkező videoszolgáltatótól
szerzett be. Más jellegű használatra a licenc nem jogosít fel, és a más jellegű használat nem
vélelmezhető. A promóciós, a belső és a kereskedelmi célú felhasználásról, valamint a licencekről
további információ az MPEG LA, LLC vállalattól szerezhető be. További információ: http://
www.mpegla.com.

(c) Az iOS-szoftver AVC-kódolási és/vagy -dekódolási funkcióján alapuló, a H.264/AVC kereskedelmi
célú, további licencet igénylő használatára a következő rendelkezés vonatkozik: A JELEN LICENCBEN
MEGHATÁROZOTT iOS-SZOFTVER AVC FUNKCIÓJÁT AZ ÜGYFÉL CSAK SZEMÉLYES ÉS NEM
KERESKEDELMI CÉLOKRA HASZNÁLHATJA, (i) VIDEÓK KÓDOLÁSÁRA AZ AVC SZABVÁNYNAK
(„AVC-VIDEÓ”) MEGFELELŐEN ÉS/VAGY (ii) OLYAN AVC-VIDEÓK DEKÓDOLÁSÁRA, AMELYEKET EGY
FELHASZNÁLÓ SZEMÉLYES ÉS NEM KERESKEDELMI TEVÉKENYSÉG SORÁN KÓDOLT ÉS/VAGY
AMELYEKET AVC-VIDEOSZOLGÁLTATÁS KERETÉBEN LICENCCEL RENDELKEZŐ
VIDEOSZOLGÁLTATÓTÓL SZERZETT BE. AZ EGYÉB JELLEGŰ FELHASZNÁLÁSRÓL ÉS MÁS
LICENCEKRŐL AZ MPEG LA L.L.C. VÁLLALATTÓL SZEREZHETŐ BE TOVÁBBI INFORMÁCIÓ.
TOVÁBBI INFORMÁCIÓ: http://www.mpegla.com.

16. A Yahoo keresési szolgáltatás korlátozásai. A Safari böngészőből elérhető Yahoo keresési
szolgáltatás a rá vonatkozó licenc értelmében csak a következő országokban használható: Argentína,
Aruba, Ausztrália, Ausztria, Bahamák, Barbados, Belgium, Bermuda, Brazília, Bulgária, Chile, Ciprus,
Cseh Köztársaság, Dánia, Dominikai Köztársaság, Ecuador, Egyesült Államok, Finnország,
Franciaország, Fülöp-szigetek, Görögország, Grenada, Guatemala, Hollandia, India, Indonézia, Írország,
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 322 of 452



Izland, Jamaica, Japán, Kajmán-szigetek, Kanada, Kína szárazföldi területe, Hongkong, Tajvan,
Kolumbia, Koreai Köztársaság, Lengyelország, Lettország, Litvánia, Luxemburg, Magyarország, Malajzia,
Málta, Mexikó, Nagy-Britannia, Németország, Nicaragua, Norvégia, Olaszország, Panama, Peru,
Portugália, Puerto Rico, Románia, Salvador, Spanyolország, St. Lucia, St. Vincent, Svájc, Svédország,
Szingapúr, Szlovákia, Szlovénia, Thaiföld, Törökország, Trinidad és Tobago, Uruguay, Új-Zéland és
Venezuela.

17. Microsoft Exchange-értesítés. Az iOS-szoftverben található Microsoft Exchange levelezőbeállítás
csak az információk, mint például az e-mailek, kontaktok, naptárak és teendők az iOS-eszköz és a
Microsoft Exchange Server vagy egyéb, a Microsoft által a Microsoft Exchange ActiveSync protokoll
megvalósítása érdekében licencelt kiszolgálószoftver közötti, vezeték nélküli szinkronizálására
rendelkezik licencengedéllyel.

EA1566
2019. 02. 21.

————————————
Apple Pay – kiegészítő használati feltételek

Az Apple Pay kiegészítő használati feltételei (a jelen „Kiegészítő feltételek”) kiegészítik az iOS-szoftver
licencszerződését (a „Licencet”). A Licenc feltételei és a jelen Kiegészítő feltételek együttesen
szabályozzák az Apple Pay használatát, amely a Licenc értelmében „Szolgáltatásként” értelmezendő. A
jelen Kiegészítő feltételekben használt nagybetűs kifejezések a Licencben meghatározott jelentéssel
bírnak.

1. Áttekintés és a használatra vonatkozó korlátozások

Az Apple Pay a következőket teszi lehetővé:

        •   az Apple Pay szolgáltatás által támogatott hitel- és bankkártyák, valamint feltöltőkártyák,
            többek között vásárlásokhoz használt hitel- és bankkártyák, feltöltőkártyák és az Apple Pay
            Cash kártya („Támogatott fizetőkártyák”) virtuális tárolását, valamint a támogatott iOS-
            eszközök használatát érintésmentes fizetésekhez a kijelölt helyeken, webhelyeken vagy az
            alkalmazásokon belül;
        •   a Wallet alkalmazásban mentett pontgyűjtő és ajándékkártyák („Apple Pay-kompatibilis
            kártyák” vagy a Támogatott fizetőkártyákkal együtt „Támogatott kártyák) használatát, hogy
            érintésmentes tranzakciókat lehessen lebonyolítani a pontgyűjtő és ajándékkártyákkal
            bizonyos áruházakban az érintésmentes fizetés részeként az Apple Pay használatával;
        •   a személyek közötti pénzküldést más Apple Pay-felhasználók számára.

Az iOS-szoftver Apple Pay szolgáltatása csak a kijelölt régiókban érhető el, a megnevezett
kártyakibocsátóknál, pénzintézeteknél és kereskedőknél. Az elérhető funkciók régiótól, kibocsátótól és
kereskedőtől függően eltérhetnek.

Az Apple Pay használatához Támogatott kártyával kell rendelkeznie. A Támogatott kártyák köre időről
időre változhat. Ezenkívül a személyek közötti pénzküldéshez és pénzfogadáshoz Apple Pay Cash kártya
szükséges.

A Támogatott fizetőkártyák és a személyek közötti fizetések azzal az Apple ID-val vannak társítva,
amellyel bejelentkezett az iCloudba, hogy használja ezeket a szolgáltatásokat. A Támogatott kártyák
kizárólag a 13. életévüket betöltött személyek által használhatók, továbbá szükség lehet az iCloud vagy
a Támogatott kártya által meghatározott, életkoron alapuló követelmények teljesülésére. Az Apple Pay
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 323 of 452



Cash kártya, illetve a személyek közötti pénzküldés és pénzfogadás kizárólag azok számára érhető el,
akik már betöltötték 18. életévüket.

Az Apple Pay személyes használatra készült, és csak a saját Támogatott kártyái fölött rendelkezhet a
segítségével. Ha egy támogatott vállalati kártya fölött szeretne rendelkezni, kijelenti, hogy azt a
munkaadója engedélyével teszi, és jogosult arra, hogy a munkaadót kötelezze a jelen használati
feltételek és a jelen szolgáltatás használata által érintett összes tranzakció teljesítésére. Ha a személyek
közötti fizetési szolgáltatással pénzt küld vagy pénzt fogad, akkor Ön kijelenti, hogy ezt saját személyes,
nem kereskedelmi célra teszi.

Beleegyezik abba, hogy nem használja az Apple Pay szolgáltatást törvényellenes vagy tisztességtelen
célokra, illetve bármely más, a Licenc vagy a Kiegészítő feltételek által tiltott célokra. Továbbá elfogadja,
hogy az Apple Pay szolgáltatást a vonatkozó törvényeknek és szabályozásoknak megfelelően veszi
igénybe. Beleegyezik abba, hogy nem zavarja meg és nem szakítja meg az Apple Pay szolgáltatás
működését (beleértve a szolgáltatás bármilyen automatizált módon történő elérését), vagy a
szolgáltatáshoz csatlakozó bármely kiszolgálót vagy hálózatot, illetve a szolgáltatáshoz csatlakozó
hálózatok bármely házirendjét, követelményét vagy szabályozását (beleértve az azon lévő adatok vagy
forgalom bármely jogosulatlan elérését, használatát vagy megfigyelését).

2. Az Apple és a felhasználó közötti jogviszony

Az Apple Pay lehetővé teszi a Támogatott kártyák virtuális tárolását a támogatott iOS-eszközön. Az
Apple azonban nem dolgozza fel a fizetéseket és a kártyákkal végrehajtott egyéb tranzakciókat (pl. a
pontok kifizetését vagy visszaváltását), nem fogad, nem tárol, illetve nem utal át pénzt, ezenkívül
semmilyen egyéb módon nincs befolyása a szolgáltatás használatából eredő kifizetésekre,
visszatérítésekre, jóváírásokra, pontokra, értékekre, engedményekre vagy egyéb kereskedelmi
tevékenységekre.

Továbbra is a kártyakibocsátóval kötött kártyatulajdonosi szerződések feltételei szabályozzák a
Támogatott kártyák használatát, illetve az Apple Pay szolgáltatásban történő használatukat. Ehhez
hasonlóan a kereskedelmi pontgyűjtő vagy ajándékkártyákkal kapcsolatos programokban való
részvételre és az Apple Pay szolgáltatáshoz kapcsolódó Apple Pay-kompatibilis kártyák használatára az
adott kereskedő általános használati feltételei vonatkoznak.

Az Apple Pay Cash kártya, illetve a személyek közötti pénzküldés és pénzfogadás kizárólag az Egyesült
Államokban érhető el, és ezek olyan szolgáltatások, amelyeket a Green Dot Bank, az FDIC tagintézete
biztosít. Amikor engedélyezi ezeket a szolgáltatásokat az Apple Payben, akkor Ön számlát nyit a Green
Dot Bankban, és amikor személyek közötti fizetéssel pénzt küld másoknak vagy pénzt fogad másoktól,
illetve amikor feltölti vagy használja az Apple Pay Cash kártyáját, akkor a Green Dot Bank gondoskodik
arról, hogy a küldött pénz megérkezzen Önhöz vagy az Ön pénze eljusson a címzetthez. Az Apple Pay
Cash- és a személyek közötti fizetések biztosításáért felelős pénzintézet módosulhat, és a szolgáltatások
használatára az adott pénzintézet általános feltételei érvényesek.

A Licenc vagy a Kiegészítő feltételek egyetlen rendelkezése sem módosítja a kártyatulajdonosi,
felhasználói vagy kereskedői megállapodást, és az ilyen feltételek fogják szabályozni az adott
Támogatott kártya vagy az Apple Pay személyek közötti fizetési szolgáltatása és azok iOS-eszközön lévő
virtuális másolatának használatát. Beleegyezik abba, hogy az Apple nem minősül szerződő félnek a
kártyatulajdonosi vagy kereskedői szerződés tekintetében, illetve az Apple nem felelős (a) a fizetéshez
használt kártyák, pontgyűjtő kártyák, ajándékkártyák tartalmáért, pontosságáért vagy elérhetőségéért, az
Apple Pay funkcióinak használata során folytatott kereskedelmi tevékenységekért, tranzakciókért vagy
vásárlásokért; (b) hitelkihelyezésért vagy a hitel-, kifizetés- és visszatérítési jogosultság elbírálásáért; (c) a
kereskedői program keretében szerzett jutalompontok vagy pontegyenleg gyűjtéséért vagy beváltásáért;
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 324 of 452



(d) a feltöltőkártyák feltöltéséért vagy fedezetéért; (e) a személyek közötti fizetések küldéséért vagy
fogadásáért; illetve (f) az Apple Pay Cash kártya feltöltéséért, beváltásáért és a kártyán lévő pénz
használatáért.

A fizetéshez használt kártyákkal, pontgyűjtő kártyákkal, ajándékkártyákkal vagy a kapcsolódó
kereskedelmi tevékenységekkel kapcsolatos minden vitás esetben vagy kérdésben a kibocsátó vagy az
adott kereskedő az illetékes. Ha az Apple Pay Cash kártyát vagy a személyek közötti fizetési
szolgáltatást illetően kérdései vannak, vegye fel a kapcsolatot az Apple-támogatással.

3. Adatvédelem

Az Apple Pay bizonyos adatokat igényel az iOS-eszközéről ahhoz, hogy teljes körű élményt tudjon
Önnek nyújtani. Ezenkívül az Apple Pay Cash kártya használatakor, illetve személyek közötti
pénzküldéskor és pénzfogadáskor a rendszer további adatokat is gyűjt a tranzakciókról, és megőrzi
azokat a számla kezelése, a csalások megelőzése és az előírások betartása céljából. Ha további
információkat szeretne megtudni az Apple Pay, az Apple Pay Cash kártya és a személyek közötti
fizetések Apple Payjel történő használatának részeként begyűjtött, felhasznált és megosztott adatokról,
olvassa el az Apple Pay adatvédelmi szabályzatát, amely elérhető a Wallet és Apple Pay iOS-eszközön
történő megnyitásával, vagy a párosított iOS-eszközök Watch alkalmazásából, illetve a https://
www.apple.com/privacy/ weboldalon. Ezen szolgáltatások használatával Ön beleegyezik abba, hogy az
Apple, annak leányvállalatai és a nevében eljáró ügynökei továbbítsák, összegyűjtsék, kezeljék,
feldolgozzák és felhasználják az előbbiekben említett összes, az Apple Pay működéséhez szükséges
adatot.

4. Biztonság, elvesztett vagy letiltott eszközök

Az Apple Pay a Támogatott kártyákat virtuális módon tárolja, és ezeket ugyanolyan védelemmel
szükséges ellátni, mint a készpénzt és a hitel- vagy betéti, pontgyűjtő, ajándék- vagy feltöltőkártyák
fizikai példányait. Ha az eszköz hozzáférési kódját külső felek számára átadja, vagy a Touch ID
használatához rögzíti az ujjlenyomatukat, vagy engedélyezi a Face ID-t, azzal számukra lehetőséget
biztosít arra, hogy fizetéseket kezdeményezzenek, a személyek közötti fizetési szolgáltatással pénzt
küldjenek, kérvényezzenek vagy fogadjanak, pénzt költsenek az Apple Pay Cash kártyáról, illetve
pontokat vagy krediteket kapjanak vagy váltsanak be az eszközön az Apple Pay használatával. Kizárólag
az Ön felelőssége az eszköz és a hozzáférési kód biztonságának fenntartása. Beleegyezik abba, hogy az
Apple semmilyen felelősséget sem vállal arra az esetre, ha elveszti az eszközt, vagy hozzáférést biztosít
ahhoz valakinek. Elfogadja, hogy az Apple semmilyen felelősséget sem vállal arra az esetre, ha
jogosulatlan módosításokat hajt végre az iOS rendszeren (például „jailbreak” útján).

Elképzelhető, hogy további biztonsági funkciókat, például a kétlépéses hitelesítést kell engedélyeznie az
Apple ID-jához, hogy az Apple Pay bizonyos funkcióihoz hozzáférjen, többek között az Apple Pay Cash
kártyához és a személyek között Apple Payjel lebonyolítható fizetésekhez. Ha az adott biztonsági
funkciókat a későbbiekben eltávolítja, akkor elképzelhető, hogy az Apple Pay bizonyos funkcióihoz nem
fog tudni többé hozzáférni.

Ha az eszközt elveszti vagy ellopják, és az iPhone keresése funkció engedélyezve van, az iPhone
keresése segítségével megpróbálhatja felfüggeszteni az eszközön a Támogatott virtuális fizetőkártyákkal
történő fizetési lehetőséget és a személyek közötti pénzküldési szolgáltatást az Elvesztve mód
bekapcsolásával. Igény szerint az eszköz tartalmát is törölheti, amellyel az eszköz megkísérli
felfüggeszteni a Támogatott virtuális fizetőkártyákkal történő fizetést vagy a személyek közötti
pénzküldést, és az Apple Pay-kompatibilis kártyák eltávolítását is megkísérli. Fel kell vennie a
kapcsolatot a Támogatott fizetőkártyák kártyakibocsátójával, az Apple Pay-kompatibilis kártyát
kibocsátó kereskedővel és az Apple Pay Cash kártya esetében az Apple-lel a Támogatott kártyák
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 325 of 452



jogosulatlan használatának megelőzése érdekében.

Ha az Apple tisztességtelen tevékenységet vagy visszaélést feltételez, vagy ezt a felhasználó jelenti, Ön
beleegyezik abba, hogy együttműködik az Apple vállalattal bármely vizsgálat során, és teljesíti az Apple
által előírt, a csalást megelőző intézkedéseket.

5. Felelősségkorlátozás

A LICENCBEN MEGHATÁROZOTT JÓTÁLLÁSI KÖTELEZETTSÉGEK KORLÁTOZÁSAI ÉS
FELELŐSSÉGKORLÁTOZÁS MELLETT AZ APPLE NEM VÁLLAL SEMMILYEN FELELŐSSÉGET AZ
APPLE PAY SZOLGÁLTATÁS HASZNÁLATÁVAL VÉGREHAJTOTT VÁSÁRLÁSOKÉRT, FIZETÉSEKÉRT,
TRANZAKCIÓKÉRT VAGY EGYÉB KERESKEDELMI TEVÉKENYSÉGÉRT, ÉS ÖN BELEEGYEZIK ABBA,
HOGY KIZÁRÓLAG A KÁRTYAKIBOCSÁTÓVAL, A FIZETÉSI HÁLÓZATTAL, A PÉNZINTÉZETTEL VAGY
A KERESKEDŐVEL KÖTÖTT MEGÁLLAPODÁSOKRA HAGYATKOZIK BÁRMELY, A TÁMOGATOTT
KÁRTYÁKRA, SZEMÉLYEK KÖZÖTTI FIZETÉSEKRE VAGY KAPCSOLÓDÓ KERESKEDELMI
TEVÉKENYSÉGRE VONATKOZÓ KÉRDÉS VAGY VITA MEGOLDÁSA ÉRDEKÉBEN.

————————————
ÉRTESÍTÉSEK AZ APPLE RÉSZÉRŐL
Amennyiben szükségessé válik, hogy az Apple a termékével vagy a fiókjával kapcsolatban felvegye
Önnel a kapcsolatot, Ön hozzájárul ahhoz, hogy az értesítéseket e-mail útján fogadja. Ön beleegyezik
abba, hogy bármely ilyen, elektronikus formában Önnek küldött értesítés eleget tesz a törvényes
kommunikációs követelményeknek.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 326 of 452



BAHASA INDONESIA

PENTING: DENGAN MENGGUNAKAN iPHONE, iPAD ATAU iPOD TOUCH ANDA (“PERANGKAT
iOS”), ANDA SETUJU UNTUK TERIKAT OLEH KETENTUAN-KETENTUAN SEBAGAI BERIKUT:

A.   PERJANJIAN LISENSI PERANGKAT LUNAK APPLE iOS
B.   KETENTUAN-KETENTUAN TAMBAHAN APPLE PAY
C.   PEMBERITAHUAN-PEMBERITAHUAN DARI APPLE

APPLE INC.
PERJANJIAN LISENSI PERANGKAT LUNAK iOS
Lisensi Penggunaan Tunggal

BACALAH PERJANJIAN LISENSI PERANGKAT LUNAK INI (”LISENSI”) DENGAN TELITI SEBELUM
MENGGUNAKAN PERANGKAT iOS ANDA ATAU MENGUNDUH PEMUTAKHIRAN PERANGKAT
LUNAK TERSEBUT YANG MENYERTAI LISENSI INI. DENGAN MENGGUNAKAN PERANGKAT iOS
ANDA ATAU MENGUNDUH SUATU PEMUTAKHIRAN PERANGKAT LUNAK, SEBAGAIMANA
RELEVAN, BERARTI ANDA SETUJU UNTUK TERIKAT OLEH KETENTUAN-KETENTUAN LISENSI
INI. APABILA ANDA TIDAK MENYETUJUI KETENTUAN-KETENTUAN LISENSI INI, JANGAN
MENGGUNAKAN PERANGKAT iOS ATAU MENGUNDUH PEMUTAKHIRAN PERANGKAT LUNAK
TERSEBUT.

APABILA ANDA BARU-BARU INI MEMBELI SUATU PERANGKAT iOS DAN ANDA TIDAK
MENYETUJUI KETENTUAN-KETENTUAN LISENSI INI, ANDA DAPAT MENGEMBALIKAN
PERANGKAT iOS TERSEBUT DALAM KURUN WAKTU PENGEMBALIAN KE TOKO APPLE ATAU
DISTRIBUTOR RESMI APPLE DI MANA ANDA MEMPEROLEHNYA UNTUK MENERIMA
PENGEMBALIAN UANG ANDA, DENGAN TUNDUK PADA KEBIJAKAN PENGEMBALIAN YANG
DITETAPKAN OLEH APPLE SEBAGAIMANA TERTERA DI https://www.apple.com/legal/sales-
support/.

1. Umum.
(a) Perangkat lunak (berikut kode Boot ROM, perangkat lunak dan perangkat lunak pihak ketiga yang
termasuk di dalamnya), dokumentasi, antarmuka-antarmuka, konten, huruf-huruf dan data apapun yang
telah ada pada Perangkat iOS anda (“Perangkat Lunak iOS yang Asli”), sebagaimana dapat
dimutakhirkan atau diganti oleh peningkatan fitur, pemutakhiran perangkat lunak atau perangkat lunak
untuk memperbaiki sistem yang disediakan oleh Apple (“Pemutakhiran Perangkat Lunak iOS”), baik
dalam memori baca-saja (read-only memory), dalam media apapun lainnya atau dalam bentuk apapun
lainnya (Perangkat Lunak iOS yang Asli dan Pemutakhiran Perangkat Lunak iOS secara bersama-sama
disebut sebagai “Perangkat Lunak iOS”) dilisensikan, namun tidak dijual, kepada anda oleh Apple Inc.
(“Apple”) hanya untuk penggunaan yang berdasarkan ketentuan-ketentuan Lisensi ini. Apple dan para
pemberi lisensinya tetap mempertahankan kepemilikan atas Perangkat Lunak iOS itu sendiri dan tetap
memiliki semua hak yang tidak secara tegas diberikan kepada anda. Anda menyetujui bahwa ketentuan-
ketentuan Lisensi ini akan berlaku terhadap aplikasi apapun bermerek Apple yang mungkin telah
menyatu di dalam Perangkat iOS anda, kecuali aplikasi tersebut disertai dengan suatu lisensi terpisah,
yang dalam hal apapun anda menyetujui bahwa ketentuan-ketentuan dari lisensi tersebut akan mengatur
penggunaan anda atas aplikasi tersebut.

(b) Apple, atas diskresinya, dapat menyediakan Pemutakhiran Perangkat Lunak iOS lebih lanjut.
Pemutakhiran Perangkat Lunak iOS, apabila ada, tidak harus mencakup seluruh fitur-fitur perangkat
lunak yang sudah ada atau fitur-fitur baru yang dikeluarkan oleh Apple untuk model-model terbaru atau
model-model lainnya dari Perangkat iOS. Ketentuan-ketentuan Lisensi ini akan mengatur setiap
Pemutakhiran Perangkat Lunak iOS yang disediakan oleh Apple, kecuali Pemutakhiran Perangkat Lunak
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 327 of 452



iOS tersebut dilengkapi dengan suatu lisensi terpisah, yang dalam hal apapun anda menyetujui bahwa
ketentuan-ketentuan dari lisensi tersebut akan mengatur mengenai pemutakhiran tersebut.

(c) Jika anda menggunakan fitur pengaturan cepat untuk mempersiapkan suatu Perangkat iOS baru
berdasarkan Perangkat iOS milik anda yang sudah ada, anda menyetujui bahwa ketentuan-ketentuan
Lisensi ini akan mengatur penggunaan Perangkat Lunak iOS oleh anda pada Perangkat iOS milik anda
yang baru, kecuali penggunaan Perangkat Lunak iOS tersebut dilengkapi dengan suatu lisensi terpisah,
yang dalam hal apapun anda menyetujui bahwa ketentuan-ketentuan dari lisensi tersebut akan mengatur
penggunaan Perangkat Lunak iOS tersebut oleh anda. Perangkat iOS anda akan secara berkala
mengecek dengan Apple untuk Pemutakhiran Perangkat Lunak iOS. Jika tersedia suatu pemutakhiran,
pemutakhiran tersebut dapat dengan sendirinya terunduh atau terpasang pada Perangkat iOS anda dan,
apabila relevan, perangkat periferal anda. Dengan menggunakan Perangkat Lunak Apple, anda
menyetujui bahwa Apple dapat mengunduh dan memasang Pemutakhiran Perangkat Lunak iOS
otomatis pada Perangkat iOS anda dan perangkat periferal anda. Anda dapat menonaktifkan
pemutakhiran otomatis semuanya setiap saat dengan mengubah pengaturan Pemutakhiran Otomatis
yang ditemukan di dalam Pengaturan > Umum > Pemutakhiran Perangkat Lunak.

2. Penggunaan-Penggunaan dan Pembatasan-Pembatasan Lisensi Yang Diizinkan.
(a) Dengan tunduk pada ketentuan-ketentuan dan syarat-syarat Lisensi ini, anda diberikan suatu lisensi
non-eksklusif yang terbatas untuk menggunakan Perangkat Lunak iOS pada satu Perangkat iOS
bermerek Apple. Kecuali sebagaimana diperbolehkan dalam Bagian 2(b) di bawah ini, dan kecuali
sebagaimana diatur dalam suatu perjanjian terpisah antara anda dan Apple, Lisensi ini tidak
memperbolehkan Perangkat Lunak iOS untuk berada pada lebih dari satu Perangkat iOS bermerek
Apple pada satu waktu, dan anda tidak boleh mendistribusikan atau menyediakan Perangkat Lunak iOS
melalui suatu jaringan yang memungkinkan untuk dapat dipergunakan oleh beberapa perangkat pada
waktu yang sama. Lisensi ini tidak memberikan kepada anda hak-hak apapun untuk menggunakan
antarmuka-antarmuka milik Apple dan kekayaan intelektual Apple yang lain mengenai desain,
pengembangan, pembuatan, pemberian lisensi atau distribusi dari peralatan-peralatan dan aksesoris-
aksesoris pihak ketiga, atau aplikasi-aplikasi perangkat lunak pihak ketiga, untuk dipergunakan dengan
Perangkat iOS. Beberapa hak tersebut tersedia melalui perjanjian-perjanjian lisensi tersendiri dari Apple.
Untuk informasi lebih lanjut mengenai pengembangan peralatan-peralatan dan aksesoris-aksesoris
pihak ketiga untuk Perangkat iOS, silakan kunjungi https://developer.apple.com/programs/mfi/. Untuk
informasi lebih lanjut tentang pengembangan aplikasi-aplikasi perangkat lunak untuk Perangkat iOS,
silakan kunjungi https://developer.apple.com.

(b) Dengan tunduk pada ketentuan-ketentuan dan syarat-syarat Lisensi ini, anda diberikan suatu lisensi
non-eksklusif yang terbatas untuk mengunduh Pemutakhiran Perangkat Lunak iOS yang mungkin
disediakan oleh Apple untuk model Perangkat iOS milik anda untuk memutakhirkan atau memperbaiki
perangkat lunak pada setiap Perangkat iOS yang anda miliki atau kuasai tersebut. Lisensi ini tidak
mengizinkan anda untuk memutakhirkan atau memperbaiki setiap Perangkat iOS yang tidak anda kuasai
atau miliki, dan anda tidak boleh mendistribusikan atau menyediakan Pemutakhiran Perangkat Lunak
iOS melalui suatu jaringan yang memungkinkan untuk dapat dipergunakan dengan beberapa perangkat
atau beberapa komputer pada saat yang sama. Jika anda mengunduh suatu Pemutakhiran Perangkat
Lunak iOS ke dalam komputer anda, anda boleh membuat satu salinan dari Pemutakhiran Perangkat
Lunak iOS yang disimpan dalam komputer anda dalam bentuk yang-dapat-dibaca-oleh-mesin khusus
untuk keperluan cadangan (backup) saja, dengan ketentuan bahwa salinan cadangan tersebut harus
memuat semua pemberitahuan mengenai hak cipta atau hak-hak kepemilikan lain yang terkandung pada
aslinya.

(c) Sepanjang Apple telah memasang terlebih dahulu aplikasi-aplikasi bermerek Apple dari Toko App
pada Perangkat iOS anda pada saat pembelian (“Aplikasi Yang-Telah-Terpasang-Terlebih-Dahulu”), anda
akan perlu login ke Toko App dan menghubungkan Aplikasi Yang-Telah-Terpasang-Terlebih-Dahulu ini
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 328 of 452



dengan akun Toko App anda untuk menggunakannya pada Perangkat iOS anda. Ketika anda
menghubungkan Aplikasi Yang-Telah-Terpasang-Terlebih-Dahulu dengan akun Toko App anda, pada
saat yang sama anda akan secara otomatis menghubungkan semua Aplikasi Yang-Telah-Terpasang-
Terlebih-Dahulu lainnya pada Perangkat iOS anda. Dengan memilih untuk menghubungkan Aplikasi
Yang-Telah-Terpasang-Terlebih-Dahulu dengan akun Toko App anda, anda menyetujui bahwa Apple
dapat mentransmisikan, mengumpulkan, menyimpan, memproses dan menggunakan baik Apple ID
yang digunakan oleh akun Toko App anda maupun pengenal perangkat keras yang unik yang
dikumpulkan dari Perangkat iOS anda, sebagai pengenal akun yang unik untuk memeriksa kelayakan
permintaan anda dan memberikan anda akses ke Aplikasi Yang-Telah-Terpasang-Terlebih-Dahulu melalui
Toko App. Jika anda tidak menghendaki untuk menggunakan Aplikasi Yang-Telah-Terpasang-Terlebih-
Dahulu, anda dapat menghapusnya kapan saja dari Perangkat iOS anda.

(d) Anda tidak boleh, dan anda setuju untuk tidak atau memperbolehkan orang lain untuk, menyalin
(kecuali sebagaimana secara tegas diizinkan oleh Lisensi ini), merombak, merekayasa balik,
membongkar, mencoba untuk menemukan kode sumber dari, mengurai sandi, mengubah, atau
menciptakan karya-karya turunan dari Perangkat Lunak iOS atau layanan-layanan apapun yang
disediakan oleh Perangkat Lunak iOS atau setiap bagian daripadanya (kecuali sebagaimana dan hanya
sepanjang pembatasan apapun tersebut di atas dilarang oleh hukum yang berlaku atau oleh ketentuan-
ketentuan pemberian lisensi yang mengatur penggunaan komponen-komponen sumber terbuka yang
mungkin disertakan dengan Perangkat Lunak iOS).

(e) Perangkat Lunak iOS boleh digunakan untuk memperbanyak materi-materi, sepanjang penggunaan
tersebut terbatas untuk memperbanyak materi-materi yang tidak dilindungi oleh hak cipta, materi-materi
yang hak ciptanya anda miliki, atau materi-materi yang mana anda berwenang atau secara sah diizinkan
untuk memperbanyaknya. Alas hak dan hak-hak kekayaan intelektual dalam dan terhadap setiap konten
yang ditampilkan oleh, disimpan pada atau diakses melalui Perangkat iOS anda merupakan milik dari
pemilik konten yang bersangkutan. Konten tersebut mungkin dilindungi oleh hak cipta atau hukum dan
perjanjian kekayaan intelektual lainnya, dan mungkin tunduk pada ketentuan-ketentuan penggunaan
pihak ketiga yang menyediakan konten tersebut. Kecuali ditentukan lain dalam Lisensi ini, Lisensi ini
tidak memberikan hak-hak apapun kepada anda untuk menggunakan konten tersebut maupun
menjamin bahwa konten tersebut akan terus tersedia bagi anda.

(f) Dengan tunduk pada ketentuan-ketentuan dan syarat-syarat Lisensi ini, anda dapat menggunakan
karakter Animoji dan Memoji yang dimuat dalam atau diciptakan dengan Perangkat Lunak iOS (“Karakter
Sistem”) (i) selagi menjalankan Perangkat Lunak iOS dan (ii) untuk menciptakan konten dan proyek asli
milik anda sendiri untuk penggunaan pribadi dan non-komersial oleh anda. Tidak ada penggunaan
lainnya atas Karakter Sistem yang diizinkan oleh Lisensi ini, termasuk namun tidak terbatas pada
penggunaan, reproduksi, tampilan, performa, rekaman, penerbitan atau pendistribusian kembali semua
Karakter Sistem dalam konteks laba, nirlaba, pembagian publik atau komersial.

(g) Anda setuju untuk menggunakan Perangkat Lunak iOS dan Layanan-Layanan (sebagaimana
didefinisikan pada Bagian 5 di bawah ini) dengan mematuhi semua hukum yang berlaku, termasuk
hukum setempat dari negara atau wilayah di mana anda tinggal atau di mana anda mengunduh atau
menggunakan Perangkat Lunak iOS dan Layanan-Layanan. Fitur-fitur Perangkat Lunak iOS dan
Layanan-Layanan mungkin tidak tersedia dalam semua bahasa atau di semua wilayah, beberapa fitur
dapat berbeda menurut wilayah, dan beberapa mungkin dibatasi atau tidak tersedia dari penyedia jasa
anda. Koneksi data Wi-Fi atau seluler diperlukan untuk beberapa fitur Perangkat Lunak iOS dan
Layanan-Layanan.

(h) Penggunaan Toko App memerlukan suatu nama pengguna yang unik dan kombinasi kata sandi, yang
dikenal sebagai Apple ID. Apple ID juga diperlukan untuk mengakses pemutakhiran aplikasi dan fitur-fitur
tertentu dari Perangkat Lunak iOS dan Layanan-Layanan.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 329 of 452




(i) Anda mengakui bahwa beberapa fitur, aplikasi-aplikasi yang menyatu, dan Layanan-Layanan
Perangkat Lunak iOS mengirimkan data dan dapat memengaruhi biaya-biaya pada rencana data anda,
dan bahwa anda bertanggung jawab atas setiap biaya tersebut. Anda dapat melihat dan mengatur
aplikasi-aplikasi mana yang diizinkan untuk menggunakan data seluler dan melihat perkiraan berapa
banyak data yang telah dipakai oleh aplikasi-aplikasi tersebut berdasarkan Pengaturan Data Seluler.
Selain itu, Bantuan Wi-Fi akan secara otomatis beralih ke seluler ketika anda memiliki koneksi Wi-Fi yang
buruk, yang mungkin mengakibatkan penggunaan data seluler lebih banyak dan berdampak biaya atas
rencana data anda. Bantuan Wi-Fi adalah aktif pada konfigurasi standar, namun dapat dinonaktifkan
dalam Pengaturan. Untuk informasi lebih lanjut, harap membaca Panduan Pengguna untuk Perangkat
iOS anda.

(j) Jika anda memilih untuk memperbolehkan pemutakhiran aplikasi otomatis, Perangkat iOS anda akan
secara berkala mengecek dengan Apple untuk pemutakhiran-pemutakhiran terhadap aplikasi-aplikasi
pada perangkat anda dan, jika pemutakhiran tersedia, pemutakhiran tersebut secara otomatis akan
terunduh dan terpasang pada perangkat anda. Anda dapat menonaktifkan pemutakhiran aplikasi
otomatis semuanya sewaktu-waktu dengan mengakses Pengaturan, tekan iTunes & Toko App, dan di
bawah Unduh Otomatis, nonaktifkan Pemutakhiran.

(k) Penggunaan Perangkat iOS anda dalam beberapa keadaan dapat mengalihkan perhatian anda dan
dapat menyebabkan situasi yang berbahaya (contohnya, hindari mengetik pesan teks ketika
mengendarai mobil atau menggunakan headphone ketika mengendarai sepeda). Dengan menggunakan
Perangkat iOS anda, anda menyetujui bahwa anda bertanggung jawab untuk menaati aturan-aturan
yang melarang atau membatasi penggunaan telepon genggam atau headphone (contohnya, persyaratan
untuk menggunakan pilihan tanpa-tangan untuk melakukan panggilan ketika mengemudi).

3. Pengalihan. Anda tidak boleh menyewa, menyewakan, meminjamkan, menjual, mendistribusikan
kembali, atau memberikan lisensi kembali Perangkat Lunak iOS. Akan tetapi, anda boleh melakukan
satu-kali pengalihan secara permanen atas semua hak lisensi anda terhadap Perangkat Lunak iOS
kepada pihak lain berkaitan dengan pengalihan kepemilikan atas Perangkat iOS anda, dengan ketentuan
bahwa: (a) pengalihan tersebut harus mencakup Perangkat iOS anda dan semua Perangkat Lunak iOS-
nya, berikut semua suku cadang komponennya dan Lisensi ini; (b) anda tidak menyimpan salinan
apapun dari Perangkat Lunak iOS, baik seluruhnya maupun sebagian, termasuk salinan yang disimpan
dalam komputer atau peralatan penyimpanan lainnya; dan (c) pihak yang menerima Perangkat Lunak
iOS membaca dan menyetujui untuk menerima ketentuan-ketentuan dan syarat-syarat Lisensi ini.

4. Persetujuan terhadap Penggunaan Data. Ketika anda menggunakan perangkat anda, nomor
telepon anda dan pengenal-pengenal tertentu yang unik milik anda untuk Perangkat iOS anda dikirimkan
kepada Apple dalam rangka untuk memperbolehkan orang lain menghubungi anda melalui nomor
telepon anda ketika menggunakan berbagai fitur komunikasi dari Perangkat Lunak iOS, seperti iMessage
dan FaceTime. Ketika anda menggunakan iMessage, Apple dapat menyimpan pesan-pesan anda dalam
bentuk yang terenkripsi untuk suatu jangka waktu yang terbatas untuk memastikan pengirimannya. Anda
dapat menonaktifkan FaceTime atau iMessage dengan mengakses pengaturan FaceTime atau Pesan
pada Perangkat iOS anda. Fitur-fitur tertentu seperti Analisis, Layanan-Layanan Lokasi, Siri, dan Dikte
dapat meminta informasi dari Perangkat iOS anda untuk memberikan fungsi mereka masing-masing.
Ketika anda mengaktifkan atau menggunakan fitur-fitur ini, rincian akan diberikan mengenai informasi
apa yang dikirimkan kepada Apple dan bagaimana informasi tersebut dapat dipergunakan. Anda dapat
mempelajari lebih lanjut dengan mengunjungi https://www.apple.com/id/privacy/. Dari waktu ke waktu
informasi anda akan diperlakukan sesuai dengan Kebijakan Privasi Apple, yang dapat dilihat di: https://
www.apple.com/legal/privacy/.

5. Layanan-Layanan dan Materi-Materi Pihak Ketiga.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 330 of 452



(a) Perangkat Lunak iOS dapat memungkinkan akses ke Toko iTunes, Toko App, Buku Apple, Pusat
Permainan, iCloud, Maps milik Apple dan layanan-layanan dan situs-situs web lainnya milik Apple dan
pihak ketiga (secara bersama-sama dan masing-masing, “Layanan-Layanan”). Layanan-Layanan
tersebut dapat tidak tersedia dalam semua bahasa atau di semua negara. Penggunaan Layanan-
Layanan ini memerlukan akses Internet dan penggunaan Layanan-Layanan tertentu mungkin
memerlukan suatu ID Apple, mungkin mengharuskan anda untuk menerima ketentuan-ketentuan
tambahan dan mungkin dikenakan biaya-biaya tambahan. Dengan menggunakan perangkat lunak ini
dalam kaitannya dengan ID Apple, atau Layanan Apple lainnya, anda menyetujui ketentuan-ketentuan
layanan yang berlaku terhadap Layanan tersebut, seperti Ketentuan-Ketentuan dan Syarat-Syarat
Layanan Media Apple yang terkini untuk negara tempat anda mengakses Layanan-Layanan tersebut,
yang dapat anda akses dan simak di https://www.apple.com/legal/internet-services/itunes/.

(b) Jika anda mendaftar untuk iCloud, fitur-fitur iCloud tertentu seperti “Foto iCloud”, “Stream Foto
Saya”, “Album Berbagi”, “Cadangan” dan “Cari iPhone Saya” dapat diakses secara langsung dari
Perangkat Lunak iOS. Anda mengakui dan menyetujui bahwa penggunaan iCloud dan fitur-fitur ini oleh
anda tunduk pada ketentuan-ketentuan dan syarat-syarat layanan iCloud yang terkini, yang dapat anda
akses dan simak di: https://www.apple.com/legal/internet-services/icloud/.

(c) Konten Aplikasi Berita. Penggunaan anda terhadap konten yang diakses melalui aplikasi Berita
adalah semata-mata terbatas pada penggunaan secara pribadi dan non-komersial, tidak menyerahkan
kepentingan hak milik apapun atas konten kepada anda, dan secara khusus mengecualikan, tanpa
pembatasan, hak-hak penggunaan komersial atau promosi apapun atas konten tersebut. Selanjutnya,
anda dilarang menerbitkan kembali, mentransmisikan kembali dan memperbanyak gambar-gambar
apapun yang diakses melalui Berita sebagai suatu arsip yang berdiri sendiri.

(d) Maps. Layanan dan fitur-fitur maps dari Perangkat Lunak iOS (“Maps”), termasuk cakupan data peta,
dapat berbeda-beda menurut wilayah. Saat anda menggunakan fitur-fitur berbasis lokasi dalam Maps,
seperti navigasi arah, pencarian lalu lintas dan lokal, beragam informasi yang-berkaitan-dengan-lokasi
dan penggunaan informasi dapat dikirimkan kepada Apple, termasuk lokasi geografis real-time
Perangkat iOS anda, untuk memproses permintaan anda dan membantu meningkatkan Maps. Lokasi
dan penggunaan data tersebut dikumpulkan oleh Apple dalam suatu bentuk yang tidak
mengidentifikasikan anda secara pribadi. Dengan menggunakan Maps, anda menyetujui dan
mengizinkan transmisi, pengumpulan, penyimpanan, pemrosesan, dan penggunaan informasi ini
oleh Apple dan anak-anak perusahaannya serta para agennya, untuk menyediakan dan
meningkatkan fitur-fitur dan layanan-layanan Maps, dan produk-produk dan layanan-layanan
Apple lainnya. Apple dapat juga memberikan informasi tersebut, baik dalam suatu bentuk yang
digabungkan atau tidak dapat dikenali sendiri-sendiri, kepada para mitra dan para penerima lisensinya
untuk membantu memperbaiki peta dan produk-produk dan layanan-layanan berbasis lokasi milik
mereka. Anda dapat menonaktifkan fungsi Maps yang berbasis lokasi dengan cara mengakses
pengaturan Layanan-Layanan Lokasi yang dipasang pada Perangkat iOS anda dan dengan
menonaktifkan pengaturan lokasi individu untuk Maps. Namun fitur-fitur Maps tertentu akan tidak
tersedia apabila anda menonaktifkan pengaturan Layanan-Layanan Lokasi, seperti navigasi arah.

(e) Anda memahami bahwa dengan menggunakan suatu Layanan, anda dapat menemukan konten yang
dapat dianggap sebagai ofensif, tidak layak, atau tidak dapat diterima, di mana konten tersebut dapat
atau tidak dapat diidentifikasikan sebagai mengandung bahasa yang eksplisit, dan bahwa hasil dari
pencarian atau masuknya dalam suatu Pelokasi Sumber Daya Seragam (URL) tertentu dapat secara
otomatis dan dengan tidak sengaja berakibat pada tautan-tautan atau acuan-acuan pada materi yang
tidak dapat diterima. Namun demikian, anda setuju untuk menggunakan Layanan-Layanan atas risiko
anda sendiri dan bahwa Apple, para afiliasi, para agen, para prinsipal, atau para pemberi lisensinya tidak
bertanggung jawab kepada anda atas konten-konten yang dianggap sebagai ofensif, tidak layak, atau
tidak dapat diterima.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 331 of 452




(f) Layanan-Layanan tertentu dapat menyajikan, mencakup atau menyediakan konten, data, informasi,
aplikasi-aplikasi atau materi-materi dari pihak-pihak ketiga (“Materi-Materi Pihak Ketiga”) atau
menyediakan tautan-tautan ke situs-situs web tertentu milik pihak ketiga. Dengan menggunakan
Layanan-Layanan, anda mengakui dan menyetujui bahwa Apple tidak bertanggung jawab untuk
memeriksa atau mengevaluasi konten, ketepatan, kelengkapan, ketepatan-waktu, keabsahan,
dipatuhinya hak cipta, legalitas, kesopanan, kualitas atau aspek lain dari Materi-Materi Pihak Ketiga atau
situs-situs web pihak ketiga tersebut. Apple, para pengurus, para afiliasi dan anak-anak perusahaannya
tidak menjamin atau mendukung dan tidak menanggung dan tidak akan memikul kewajiban atau
tanggung jawab apapun kepada anda atau kepada orang lain manapun atas setiap Layanan-Layanan
pihak ketiga, Materi-Materi Pihak Ketiga atau situs-situs web pihak ketiga, atau atas materi-materi,
produk-produk, atau layanan-layanan lainnya dari pihak-pihak ketiga. Materi-Materi Pihak Ketiga dan
tautan-tautan ke situs-situs web yang lain disediakan semata-mata untuk kemudahan anda.

(g) Baik Apple maupun para penyedia kontennya tidak menjamin tersedianya, ketepatan, kelengkapan,
dapat diandalkannya, atau ketepatan waktu dari informasi saham, data lokasi atau data apapun lainnya
yang ditampilkan oleh Layanan-Layanan apapun. Informasi keuangan yang ditampilkan oleh Layanan-
Layanan manapun bertujuan untuk memberikan informasi umum semata dan tidak dapat diandalkan
sebagai nasihat investasi. Sebelum melakukan suatu transaksi sekuritas berdasarkan suatu informasi
yang diperoleh melalui Layanan-Layanan, sebaiknya anda berkonsultasi dengan seorang ahli keuangan
atau ahli sekuritas profesional yang memiliki kualifikasi yang sah untuk memberikan nasihat keuangan
atau sekuritas di negara atau wilayah anda. Data lokasi yang disediakan oleh Layanan-Layanan apapun,
termasuk layanan Maps Apple, diberikan hanya sebagai petunjuk navigasi dasar dan rencana dan tidak
dimaksudkan untuk diandalkan dalam situasi-situasi yang memerlukan informasi lokasi yang tepat atau
di mana data lokasi yang salah, tidak tepat, terlambat atau tidak lengkap dapat menyebabkan kematian,
cedera diri, kerugian harta benda atau kerusakan lingkungan. Anda setuju bahwa, hasil-hasil yang anda
terima dari layanan Maps dapat berbeda-beda dari kondisi aktual jalan atau kondisi medan karena
faktor-faktor yang dapat memengaruhi keakuratan data Maps, seperti, namun tidak terbatas pada,
cuaca, kondisi jalan dan lalu lintas, dan kejadian-kejadian geopolitik. Untuk keamanan anda pada saat
menggunakan fitur navigasi, selalu perhatikan rambu-rambu jalan yang terpasang dan kondisi jalan saat
ini. Taati praktik-praktik mengemudi yang aman dan peraturan lalu lintas, dan harap diketahui bahwa
arah berjalan mungkin tidak termasuk trotoar atau jalur pejalan kaki.

(h) Sepanjang anda mengunggah konten apapun melalui penggunaan Layanan-Layanan, anda
menyatakan bahwa anda memiliki semua hak atas, atau mempunyai kewenangan atau dengan kata lain
diizinkan secara hukum untuk mengunggah, konten tersebut dan bahwa konten tersebut tidak
melanggar ketentuan-ketentuan layanan yang berlaku terhadap Layanan-Layanan. Anda setuju bahwa
Layanan-Layanan memuat konten, informasi dan materi hak kepemilikan yang dimiliki oleh Apple,
pemilik situs atau para pemberi lisensi mereka, dan yang dilindungi oleh hukum-hukum kekayaan
intelektual dan hukum-hukum lain yang berlaku, termasuk namun tidak terbatas pada hak cipta. Anda
setuju bahwa anda tidak akan menggunakan konten, informasi dan materi hak kepemilikan tersebut
selain untuk penggunaan Layanan-Layanan yang diizinkan atau dengan cara apapun yang tidak sesuai
dengan ketentuan-ketentuan Lisensi ini atau yang melanggar hak-hak kekayaan intelektual pihak ketiga
atau Apple. Tidak ada bagian dari Layanan-Layanan yang boleh diperbanyak dalam bentuk apapun atau
dengan cara apapun. Anda setuju untuk tidak memodifikasi, menyewa, menyewakan, meminjamkan,
menjual, mendistribusikan, atau menciptakan karya-karya turunan berdasarkan Layanan-Layanan,
dengan cara apapun, dan anda tidak boleh menggunakan Layanan-Layanan dengan cara apapun yang
tidak diizinkan, termasuk namun tidak terbatas pada, penggunaan Layanan-Layanan untuk
mentransmisikan virus komputer, worms, kuda trojan, atau perangkat perusak lainnya, atau dengan
melanggar atau membebani kapasitas jaringan. Anda lebih lanjut setuju untuk tidak menggunakan
Layanan-Layanan dengan cara apapun untuk mengganggu, melecehkan, menguntit, mengancam,
mencemarkan nama baik atau dengan cara lain mengganggu atau melanggar hak-hak pihak lain, dan
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 332 of 452



bahwa Apple sama sekali tidak bertanggung jawab atas penggunaan sedemikian rupa oleh anda, atau
atas pesan-pesan atau transmisi-transmisi yang bersifat pelecehan, ancaman, pencemaran nama baik,
penghinaan, gangguan atau pelanggaran hukum yang mungkin anda terima sebagai akibat dari
penggunaan Layanan-Layanan manapun.

(i) Selain itu, Layanan-Layanan dan Materi-Materi Pihak Ketiga yang dapat diakses, dihubungkan atau
ditampilkan pada Perangkat iOS tidak tersedia dalam semua bahasa atau di semua negara atau wilayah.
Apple tidak membuat pernyataan bahwa Layanan-Layanan atau Materi-Materi Pihak Ketiga tersebut
cukup memadai atau tersedia untuk digunakan di suatu lokasi khusus. Sepanjang anda memilih untuk
menggunakan atau mengakses Layanan-Layanan dan Materi-Materi Pihak Ketiga tersebut, anda
melakukannya atas inisiatif anda sendiri dan bertanggung jawab atas kepatuhan terhadap hukum-hukum
yang berlaku, termasuk akan tetapi tidak terbatas pada hukum-hukum setempat dan hukum-hukum
tentang privasi dan pengumpulan data yang berlaku. Berbagi atau menyinkronisasikan foto melalui
Perangkat iOS anda dapat menyebabkan metadata, termasuk di mana dan kapan foto diambil, dan
informasi kedalaman, terkirimkan dengan foto. Penggunaan layanan-layanan Apple (seperti
Perpustakaan Foto iCloud) untuk berbagi atau menyinkronisasikan foto-foto tersebut akan melibatkan
Apple dalam menerima dan menyimpan metadata tersebut. Apple dan para pemberi lisensinya berhak
untuk mengubah, menangguhkan, menghilangkan, atau memutuskan akses ke Layanan-Layanan
apapun setiap saat tanpa pemberitahuan. Dalam keadaan bagaimanapun Apple tidak bertanggung
jawab atas dihilangkannya atau diputuskannya akses ke Layanan-Layanan tersebut. Apple juga dapat
menetapkan pembatasan atas pemakaian dari atau akses ke Layanan-Layanan tertentu, dalam setiap
hal dan tanpa pemberitahuan atau tanggung jawab.

6. Pemutusan. Lisensi ini berlaku hingga diakhiri. Hak-hak anda berdasarkan Lisensi ini akan berakhir
secara otomatis atau dengan cara lain menjadi tidak berlaku tanpa pemberitahuan dari Apple apabila
anda gagal mematuhi ketentuan (ketentuan-ketentuan) apapun dari Lisensi ini. Setelah pemutusan
Lisensi ini, anda harus menghentikan semua penggunaan Perangkat Lunak iOS. Bagian-bagian 4, 5, 6,
7, 8, 9, 12 dan 13 dari Lisensi ini akan tetap berlaku setelah Lisensi ini berakhir.

7. Pernyataan Tidak Berlakunya Jaminan-Jaminan.
7.1 Jika anda seorang pelanggan yang merupakan seorang konsumen (seseorang yang menggunakan
Perangkat Lunak iOS di luar usaha, bisnis atau profesi anda), anda mungkin mempunyai hak-hak hukum
yang sah di negara domisili anda yang mungkin melarang diberlakukannya pembatasan-pembatasan
berikut ini terhadap anda, dan pembatasan-pembatasan tersebut tidak akan berlaku terhadap anda
apabila dilarang. Untuk mengetahui lebih banyak tentang hak-hak, sebaiknya anda menghubungi
organisasi saran konsumen lokal.

7.2 ANDA SECARA TEGAS MENGAKUI DAN MENYETUJUI BAHWA, SEPANJANG DIPERKENANKAN
OLEH HUKUM YANG BERLAKU, PENGGUNAAN PERANGKAT LUNAK iOS DAN LAYANAN-LAYANAN
APAPUN YANG DILAKUKAN OLEH ATAU DIAKSES MELALUI PERANGKAT LUNAK iOS ADALAH ATAS
RISIKO ANDA SENDIRI DAN BAHWA SELURUH RISIKO SEHUBUNGAN DENGAN KUALITAS, KINERJA,
KETEPATAN DAN UPAYA YANG MEMUASKAN ADA PADA ANDA.

7.3 SEPANJANG YANG SECARA MAKSIMUM DIIZINKAN OLEH HUKUM YANG BERLAKU,
PERANGKAT LUNAK iOS DAN LAYANAN-LAYANAN DISEDIAKAN “SEBAGAIMANA ADANYA” DAN
“SEBAGAIMANA TERSEDIA”, DENGAN SEMUA KEKURANGAN DAN TANPA JAMINAN APAPUN, DAN
APPLE DAN PARA PEMBERI LISENSI APPLE (SECARA BERSAMA-SAMA DISEBUT SEBAGAI “APPLE”
UNTUK MAKSUD-MAKSUD DARI BAGIAN-BAGIAN 7 DAN 8) DENGAN INI MENYATAKAN TIDAK
BERLAKUNYA SEMUA JAMINAN DAN PERSYARATAN SEHUBUNGAN DENGAN PERANGKAT LUNAK
iOS DAN LAYANAN-LAYANAN, BAIK SECARA TEGAS, TERSIRAT ATAU MENURUT UNDANG-UNDANG,
TERMASUK AKAN TETAPI TIDAK TERBATAS PADA, JAMINAN-JAMINAN YANG BERSIFAT TERSIRAT
DAN/ATAU PERSYARATAN-PERSYARATAN TENTANG KELAYAKAN USAHA, KEPUASAN KUALITAS,
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 333 of 452



KETEPATAN UNTUK TUJUAN KHUSUS, KEAKURATAN, KETENANGAN UNTUK MENIKMATI, DAN
TIDAK DILANGGARNYA HAK-HAK PIHAK KETIGA.

7.4 APPLE TIDAK MENJAMIN BAHWA ANDA TIDAK AKAN MENGALAMI GANGGUAN DALAM
MENIKMATI PERANGKAT LUNAK iOS DAN LAYANAN-LAYANAN, BAHWA FUNGSI-FUNGSI YANG
MELEKAT DI DALAM, ATAU LAYANAN-LAYANAN YANG DILAKUKAN ATAU DIBERIKAN OLEH,
PERANGKAT LUNAK iOS AKAN MEMENUHI KEBUTUHAN ANDA, BAHWA OPERASI PERANGKAT
LUNAK iOS DAN LAYANAN-LAYANAN TIDAK AKAN PERNAH TERGANGGU ATAU BEBAS DARI
KESALAHAN, BAHWA SETIAP LAYANAN AKAN SECARA BERKALA TETAP TERSEDIA, BAHWA CACAT-
CACAT PADA PERANGKAT LUNAK iOS ATAU LAYANAN-LAYANAN AKAN DIPERBAIKI, ATAU BAHWA
PERANGKAT LUNAK iOS AKAN KOMPATIBEL ATAU BEKERJA DENGAN SETIAP PERANGKAT LUNAK
PIHAK KETIGA, APLIKASI-APLIKASI PIHAK KETIGA ATAU LAYANAN-LAYANAN PIHAK KETIGA.
PEMASANGAN PERANGKAT LUNAK iOS INI DAPAT MEMENGARUHI KETERSEDIAAN DAN
KEGUNAAN PERANGKAT LUNAK PIHAK KETIGA, APLIKASI-APLIKASI PIHAK KETIGA ATAU LAYANAN-
LAYANAN PIHAK KETIGA, SERTA PRODUK-PRODUK DAN LAYANAN-LAYANAN APPLE.

7.5 ANDA SELANJUTNYA MENGAKUI BAHWA PERANGKAT LUNAK iOS DAN LAYANAN-LAYANAN
TIDAK DIMAKSUDKAN ATAU COCOK UNTUK DIPAKAI DALAM SITUASI-SITUASI ATAU KEADAAN-
KEADAAN DI MANA KEGAGALAN ATAU KETERLAMBATAN WAKTU DARI, ATAU KESALAHAN ATAU
KETIDAK-TEPATAN DALAM KONTEN, DATA ATAU INFORMASI YANG DIBERIKAN OLEH PERANGKAT
LUNAK iOS ATAU LAYANAN-LAYANAN DAPAT MENGAKIBATKAN KEMATIAN, CEDERA PRIBADI, ATAU
KERUSAKAN FISIK ATAU KERUSAKAN LINGKUNGAN YANG PARAH, TERMASUK TANPA
PEMBATASAN PENGOPERASIAN FASILITAS NUKLIR, SISTEM NAVIGASI ATAU SISTEM KOMUNIKASI
PESAWAT UDARA, KONTROL LALU LINTAS UDARA, SISTEM PENDUKUNG KEHIDUPAN ATAU SISTEM
PERSENJATAAN.

7.6 TIDAK SATU PUN INFORMASI ATAU NASIHAT TERTULIS ATAU LISAN YANG DIBERIKAN OLEH
APPLE ATAU PERWAKILAN APPLE YANG BERWENANG DAPAT MENCIPTAKAN SUATU JAMINAN.
APABILA PERANGKAT LUNAK iOS ATAU LAYANAN-LAYANAN TERNYATA CACAT, ANDA
MENANGGUNG SELURUH BIAYA PERAWATAN, PERBAIKAN, ATAU KOREKSI YANG DIPERLUKAN.
BEBERAPA YURISDIKSI TIDAK MENGIZINKAN PENYANGGAHAN ATAS JAMINAN YANG BERSIFAT
TERSIRAT ATAU PEMBATASAN-PEMBATASAN TENTANG HAK-HAK KONSUMEN YANG DIBERIKAN
OLEH UNDANG-UNDANG YANG BERLAKU, DENGAN DEMIKIAN PENYANGGAHAN DAN
PEMBATASAN DI ATAS MUNGKIN TIDAK BERLAKU TERHADAP ANDA.

8. Pembatasan Tanggung Jawab. SEPANJANG TIDAK DILARANG OLEH HUKUM YANG BERLAKU,
DALAM KEADAAN APAPUN APPLE, PARA AFILIASI, PARA AGEN ATAU PARA PRINSIPALNYA TIDAK
BERTANGGUNG JAWAB ATAS CEDERA PRIBADI, ATAU KERUGIAN APAPUN YANG SIFATNYA
INSIDENTAL, KHUSUS, TIDAK LANGSUNG ATAU KONSEKUENSIAL, TERMASUK TANPA
PEMBATASAN, KERUGIAN KARENA KEHILANGAN KEUNTUNGAN, KURANGNYA ATAU HILANGNYA
DATA, KEGAGALAN UNTUK MENGIRIMKAN ATAU MENERIMA DATA (TERMASUK TANPA
PEMBATASAN INSTRUKSI-INSTRUKSI, TUGAS-TUGAS DAN MATERI-MATERI KURSUS), INTERUPSI
USAHA ATAU KEHILANGAN ATAU KERUGIAN NIAGA YANG LAIN, YANG TIMBUL DARI ATAU
BERKAITAN DENGAN PENGGUNAAN OLEH ANDA ATAU KETIDAKMAMPUAN ANDA MENGGUNAKAN
PERANGKAT LUNAK iOS DAN LAYANAN-LAYANAN ATAU PERANGKAT LUNAK ATAU APLIKASI-
APLIKASI PIHAK KETIGA BERSAMA DENGAN PERANGKAT LUNAK iOS ATAU LAYANAN-LAYANAN,
BAGAIMANAPUN HAL TERSEBUT TERJADI, TANPA DIPENGARUHI OLEH TEORI
PERTANGGUNGJAWABAN (KONTRAK, PERBUATAN MELAWAN HUKUM ATAU LAINNYA) DAN
WALAUPUN APPLE TELAH DIBERITAHU TENTANG KEMUNGKINAN KERUGIAN TERSEBUT.
BEBERAPA YURISDIKSI TIDAK MENGIZINKAN PENGECUALIAN ATAU PEMBATASAN TANGGUNG
JAWAB ATAS CEDERA PRIBADI, ATAU KERUGIAN INSIDENTAL ATAU KONSEKUENSIAL, DENGAN
DEMIKIAN PEMBATASAN INI MUNGKIN TIDAK BERLAKU BAGI ANDA. Dalam keadaan bagaimanapun,
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 334 of 452



jumlah pertanggungjawaban Apple kepada anda untuk semua penggantian kerugian (selain dari yang
mungkin disyaratkan oleh hukum yang berlaku sehubungan dengan cedera pribadi) tidak melebihi dua
ratus lima puluh dolar Amerika Serikat (US$ 250,00). Pembatasan-pembatasan di atas akan berlaku
walaupun upaya yang dinyatakan di atas gagal mencapai maksud utamanya.

9. Sertifikat Digital. Perangkat Lunak iOS mengandung suatu fungsi yang memungkinkannya menerima
sertifikat-sertifikat digital baik yang dikeluarkan oleh Apple atau oleh pihak ketiga. ANDA
BERTANGGUNG JAWAB SENDIRI UNTUK MEMUTUSKAN APAKAH MEMPERCAYAI ATAU TIDAK
SUATU SERTIFIKAT YANG DIKELUARKAN OLEH APPLE ATAU OLEH SUATU PIHAK KETIGA.
PENGGUNAAN SERTIFIKAT-SERTIFIKAT DIGITAL OLEH ANDA ADALAH ATAS RISIKO ANDA SENDIRI.
SEPANJANG DIPERBOLEHKAN OLEH HUKUM YANG BERLAKU, APPLE TIDAK MENJAMIN ATAU
MEMBUAT PERNYATAAN, SECARA TEGAS ATAU YANG BERSIFAT TERSIRAT, SEHUBUNGAN DENGAN
KELAYAKAN NIAGA ATAU KETEPATAN UNTUK TUJUAN KHUSUS, KEAKURATAN, KEAMANAN, ATAU
TIDAK DILANGGARNYA HAK-HAK PIHAK KETIGA DALAM KAITANNYA DENGAN SERTIFIKAT-
SERTIFIKAT DIGITAL.

10. Kontrol Ekspor. Anda tidak boleh menggunakan atau dengan cara lain mengekspor atau
mengekspor kembali Perangkat Lunak iOS kecuali sebagaimana diizinkan oleh hukum Amerika Serikat
dan hukum dari yurisdiksi(-yurisdiksi) di mana Perangkat Lunak iOS diperoleh. Secara khusus, akan
tetapi tanpa pembatasan, Perangkat Lunak iOS tidak boleh diekspor atau diekspor kembali (a) ke
negara-negara yang diembargo oleh Amerika Serikat atau (b) ke seseorang dalam daftar Warganegara-
Warganegara Yang Ditunjuk secara Khusus pada Departemen Keuangan Amerika Serikat atau dalam
Daftar Orang atau Daftar Badan Yang Ditolak pada Departemen Perdagangan Amerika Serikat atau
daftar-daftar pihak yang terlarang lainnya. Dengan menggunakan Perangkat Lunak iOS, anda
menyatakan dan menjamin bahwa anda tidak berada di dalam negara-negara atau dalam daftar
tersebut. Anda juga setuju bahwa anda tidak akan menggunakan Perangkat Lunak iOS untuk maksud
apapun yang dilarang oleh hukum Amerika Serikat, termasuk, tanpa pembatasan, pengembangan,
perancangan, pembuatan atau produksi rudal, senjata nuklir, kimia atau biologis.

11. Pengguna Akhir Pemerintah. Perangkat Lunak iOS berikut dokumentasi yang berkaitan dengannya
merupakan “Barang-Barang Komersial”, sebagaimana istilah itu didefinisikan dalam 48 C.F.R. §2.101,
yang terdiri dari “Perangkat Lunak Komputer Komersial” dan “Dokumentasi Perangkat Lunak Komputer
Komersial”, sebagaimana istilah-istilah tersebut digunakan dalam 48 C.F.R. §12.212 atau 48 C.F.R.
§227.7202, sebagaimana diberlakukan. Sesuai dengan 48 C.F.R. §12.212 atau 48 C.F.R. §227.7202-1
sampai dengan 48 C.F.R. §227.7202-4, sebagaimana diberlakukan, Perangkat Lunak Komputer
Komersial dan Dokumentasi Perangkat Lunak Komputer Komersial dilisensikan kepada pengguna-
pengguna akhir Pemerintah Amerika Serikat (a) hanya sebagai Barang-Barang Komersial dan (b) hanya
dengan hak-hak sama yang juga diberikan kepada semua pengguna akhir yang lain sesuai dengan
syarat-syarat dan ketentuan-ketentuan dari Lisensi ini. Hak-hak yang tidak diumumkan dilindungi
berdasarkan undang-undang hak cipta Amerika Serikat.

12. Hukum yang Mengatur dan Keterpisahan. Lisensi ini akan diatur dengan dan ditafsirkan
berdasarkan hukum Negara Bagian California, dengan mengecualikan prinsip-prinsip hukum
perselisihannya. Lisensi ini tidak tunduk pada Konvensi Perserikatan Bangsa-Bangsa tentang Kontrak-
Kontrak untuk Penjualan Barang-Barang secara Internasional, yang keberlakuannya dengan ini secara
tegas dikecualikan. Jika anda seorang konsumen yang berdomisili di Inggris, Lisensi ini akan diatur
berdasarkan hukum dari yurisdiksi domisili anda. Apabila, dengan alasan apapun suatu pengadilan yang
berwenang mendapatkan bahwa suatu ketentuan, atau bagian daripadanya, tidak dapat diberlakukan,
semua ketentuan selebihnya dari Lisensi ini akan tetap berkekuatan dan berlaku sepenuhnya.

13. Perjanjian Yang Lengkap; Bahasa Yang Mengatur. Lisensi ini merupakan keseluruhan perjanjian
antara anda dan Apple tentang Perangkat Lunak iOS dan menggantikan semua pemahaman
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 335 of 452



sebelumnya atau yang bersamaan mengenai hal tersebut. Setiap perubahan atau modifikasi atas Lisensi
ini tidak akan mengikat kecuali dibuat secara tertulis dan ditandatangani oleh Apple. Terjemahan apapun
dari Lisensi ini dibuat untuk memenuhi persyaratan setempat dan jika terjadi perselisihan antara naskah
bahasa Inggris dan non-Inggrisnya, naskah bahasa Inggris Lisensi ini yang akan berlaku, sepanjang
tidak dilarang oleh ketentuan hukum setempat di yurisdiksi anda.

14. Pengakuan-Pengakuan Pihak Ketiga. Bagian-bagian dari Perangkat Lunak iOS dapat
menggunakan atau meliputi perangkat lunak pihak ketiga dan materi berhak cipta lainnya. Pengakuan-
pengakuan, ketentuan-ketentuan pemberian lisensi dan pernyataan-pernyataan tidak berlakunya
jaminan-jaminan atas materi-materi tersebut tercantum dalam dokumentasi elektronik Perangkat Lunak
iOS, dan penggunaan anda atas materi-materi tersebut diatur berdasarkan ketentuan masing-masing
materi-materi tersebut. Penggunaan Layanan Penjelajahan Google Safe tunduk pada Ketentuan-
Ketentuan Layanan Google (https://www.google.com/intl/id/policies/terms/) dan pada Kebijakan Privasi
Google (https://www.google.com/intl/id/policies/privacy).

15. Penggunaan Pemberitahuan MPEG-4; H.264/AVC.
(a) Perangkat Lunak iOS dilisensikan berdasarkan Lisensi Portofolio Paten Sistem MPEG-4 untuk
penyandian sesuai dengan Standar Sistem MPEG-4, kecuali bahwa suatu lisensi tambahan dan
pembayaran royalti diperlukan untuk penyandian berkenaan dengan (i) data yang disimpan atau
digandakan dalam media fisik yang dibayarkan berdasarkan judul-judul dan/atau (ii) data yang
dibayarkan berdasarkan judul-judul dan dikirimkan ke seorang pengguna untuk penyimpanan dan/atau
pemakaian permanen. Lisensi tambahan tersebut dapat diperoleh dari MPEG LA, LLC. Silakan kunjungi
http://www.mpegla.com untuk rincian tambahan.

(b) Perangkat Lunak iOS mengandung fungsi penyandian (encoding) dan/atau penguraian isi sandi
(decoding) video MPEG-4. Perangkat Lunak iOS dilisensikan berdasarkan Lisensi Portofolio Paten Visual
MPEG-4 untuk penggunaan secara pribadi dan non-komersial oleh seorang konsumen untuk (i)
penyandian video sesuai dengan Standar Visual MPEG-4 (“Video MPEG-4”) dan/atau (ii) penguraian isi
sandi video MPEG-4 yang telah disandikan oleh seorang konsumen dalam aktivitas pribadi dan non-
komersial dan/atau yang diperoleh dari suatu penyedia video yang memegang lisensi dari MPEG LA
untuk menyediakan video MPEG-4. Lisensi tidak diberikan atau dianggap sebagai diberikan untuk
penggunaan lain. Informasi tambahan termasuk mengenai penggunaan untuk keperluan promosi,
internal dan komersial dan pemberian lisensi dapat diperoleh di MPEG LA, LLC. Silakan kunjungi http://
www.mpegla.com.

(c) Perangkat Lunak iOS mengandung fungsi penyandian dan/atau penguraian isi sandi AVC,
penggunaan komersial H.264/AVC memerlukan lisensi tambahan dan ketentuan berikut ini berlaku:
FUNGSI AVC DALAM PERANGKAT LUNAK iOS DILISENSIKAN DISINI HANYA UNTUK PEMAKAIAN
PRIBADI DAN NON-KOMERSIAL OLEH SEORANG KONSUMEN UNTUK (i) PENYANDIAN VIDEO
SESUAI DENGAN STANDAR AVC (“VIDEO AVC”) DAN/ATAU (ii) PENGURAIAN ISI SANDI VIDEO AVC
YANG TELAH DISANDIKAN OLEH SEORANG KONSUMEN DALAM SUATU KEGIATAN PRIBADI DAN
NON-KOMERSIAL DAN/ATAU VIDEO AVC YANG DIPEROLEH DARI SUATU PENYEDIA VIDEO YANG
BERLISENSI UNTUK MENYEDIAKAN VIDEO AVC. INFORMASI MENGENAI PENGGUNAAN DAN
LISENSI-LISENSI LAIN DAPAT DIPEROLEH DI MPEG LA L.L.C. SILAKAN KUNJUNGI http://
www.mpegla.com.

16. Pembatasan-Pembatasan Layanan Yahoo Search. Layanan Yahoo Search yang tersedia melalui
Safari dilisensikan untuk digunakan hanya di negara-negara dan daerah-daerah sebagai berikut:
Argentina, Aruba, Australia, Austria, Barbados, Belgia, Bermuda, Brasil, Bulgaria, Kanada, Kepulauan
Cayman, Cile, Cina daratan, Hong Kong, Taiwan, Kolombia, Siprus, Republik Ceko, Denmark, Republik
Dominika, Ekuador, El Salvador, Finlandia, Perancis, Jerman, Yunani, Grenada, Guatemala, Hongaria,
Islandia, India, Indonesia, Irlandia, Italia, Jamaika, Jepang, Latvia, Lithuania, Luxemburg, Malaysia,
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 336 of 452



Malta, Meksiko, Belanda, Selandia Baru, Nicaragua, Norwegia, Panama, Peru, Filipina, Polandia,
Portugal, Puerto Rico, Rumania, Singapura, Slovakia, Slovania, Korea Selatan, Spanyol, St. Lucia, St.
Vincent, Swedia, Swiss, Thailand, Kepulauan Bahama, Trinidad dan Tobago, Turki, Inggris, Uruguay,
Amerika Serikat dan Venezuela.

17. PEMBERITAHUAN MICROSOFT EXCHANGE (Microsoft Exchange Notice). Pengaturan surat
Microsoft Exchange di dalam Perangkat Lunak iOS dilisensikan hanya untuk sinkronisasi informasi
secara maya, seperti surat elektronik, alamat kontak, kalender dan tugas-tugas, antara iOS anda dan
Microsoft Exchange Server atau perangkat lunak server lain yang dilisensikan oleh Microsoft untuk
mengimplementasikan protokol Microsoft Exchange ActiveSync.

EA1566
21/2/2019

————————————
Ketentuan-Ketentuan dan Syarat-Syarat Tambahan Apple Pay

Ketentuan-Ketentuan dan Syarat-Syarat Tambahan Apple Pay ini (“Ketentuan-Ketentuan Tambahan” ini)
melengkapi Perjanjian Lisensi Perangkat Lunak iOS (“Lisensi”); ketentuan-ketentuan Lisensi maupun
Ketentuan-Ketentuan Tambahan ini, keduanya mengatur penggunaan anda atas fitur Apple Pay, yang
akan dianggap sebagai “Layanan” berdasarkan Lisensi. Istilah-istilah dalam huruf kapital yang
digunakan dalam Ketentuan-Ketentuan Tambahan ini mempunyai arti sebagaimana diatur dalam Lisensi.

1.   Ikhtisar dan Pembatasan-Pembatasan Penggunaan

Apple Pay memperbolehkan anda untuk:

        •        menyimpan representasi virtual dari kartu kredit, kartu debet, dan kartu prabayar,
                termasuk menyimpan kartu kredit, kartu debet, kartu prabayar, dan kartu Tunai Apple
                Pay, yang didukung oleh fitur Apple Pay (“Kartu-Kartu Pembayaran Pendukung”) dan
                menggunakan Perangkat iOS pendukung untuk melakukan pembayaran tanpa kontak di
                lokasi-lokasi pilihan, atau dalam aplikasi-aplikasi atau situs-situs web;
        •        menggunakan kartu-kartu penghargaan dan hadiah yang disimpan dalam Wallet (“Kartu-
                Kartu Yang-Memungkinkan Apple Pay”, dan bersama-sama dengan Kartu-Kartu
                Pembayaran Pendukung, “Kartu-Kartu Pendukung”) untuk melakukan transaksi-
                transaksi kartu penghargaan dan hadiah tanpa kontak di toko-toko pilihan sebagai
                bagian dari suatu pembayaran tanpa kontak menggunakan Apple Pay; dan
        •        mengirimkan pembayaran-pembayaran orang-ke-orang kepada para pengguna Apple
                Pay lainnya.

Fitur-fitur Apple Pay Perangkat Lunak iOS hanya tersedia di wilayah-wilayah pilihan, dengan penerbit-
penerbit kartu, institusi-institusi keuangan, dan pedagang-pedagang terpilih. Fitur-fitur dapat berbeda-
beda menurut wilayah, penerbit, dan pedagang.

Untuk menggunakan Apple Pay, anda harus mempunyai Kartu Pendukung. Kartu-Kartu Pendukung
dapat berubah dari waktu ke waktu. Selain itu, dalam rangka untuk mengirimkan atau menerima
pembayaran-pembayaran orang-ke-orang, anda harus mempunyai suatu kartu Tunai Apple Pay.

Kartu-Kartu Pembayaran Pendukung dan pembayaran-pembayaran orang-ke-orang terkait dengan ID
Apple yang telah anda masukkan ke dalam iCloud untuk menggunakan fitur-fitur ini. Kartu-Kartu
Pendukung hanya tersedia untuk individu-individu dengan usia 13 tahun ke atas, dan dapat tunduk pada
pembatasan-pembatasan berbasis usia tambahan yang dikenakan oleh iCloud atau Kartu Pendukung di
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 337 of 452



mana anda mencoba untuk menyediakannya. Kartu Tunai Apple Pay dan kemampuan untuk
mengirimkan atau menerima pembayaran-pembayaran orang-ke-orang hanya tersedia untuk individu-
individu dengan usia 18 tahun ke atas.

Apple Pay ditujukan untuk penggunaan pribadi oleh anda dan anda hanya dapat menyediakan Kartu-
Kartu Pendukung anda sendiri. Jika anda menyediakan suatu kartu korporasi pendukung, anda
menyatakan bahwa anda melakukan hal tersebut dengan izin dari pemberi kerja anda dan anda diizinkan
untuk mengikat pemberi kerja anda pada ketentuan-ketentuan penggunaan ini dan semua transaksi
yang dilakukan oleh penggunaan fitur ini. Jika anda mengirimkan atau menerima suatu pembayaran
orang-ke-orang, anda menyatakan bahwa anda melakukan hal tersebut untuk penggunaan pribadi dan
non-komersial oleh anda sendiri.

Anda menyetujui untuk tidak menggunakan Apple Pay untuk tujuan yang ilegal atau bersifat penipuan,
atau untuk tujuan-tujuan apapun lainnya yang dilarang oleh Lisensi dan Ketentuan-Ketentuan Tambahan
ini. Anda selanjutnya menyetujui untuk menggunakan Apple Pay sesuai dengan hukum-hukum dan
peraturan-peraturan yang berlaku. Anda menyetujui untuk tidak mengganggu atau mengacaukan
layanan Apple Pay (termasuk mengakses layanan melalui sarana otomatis apapun), atau server-server
atau jaringan-jaringan apapun yang dikoneksikan ke layanan, atau kebijakan-kebijakan, persyaratan-
persyaratan, atau regulasi-regulasi apapun mengenai jaringan-jaringan yang dikoneksikan ke layanan
(termasuk setiap akses secara tidak sah ke, penggunaan, atau pengawasan data atau lalu lintas data).

2.   Hubungan Apple dengan Anda

Apple Pay memungkinkan anda untuk menciptakan suatu representasi virtual dari Kartu-Kartu
Pendukung anda pada Perangkat iOS pendukung milik anda. Akan tetapi Apple tidak memproses
pembayaran-pembayaran atau transaksi-transaksi kartu bukan pembayaran lainnya (seperti hadiah yang
bertambah dan penebusan), menerima, menyimpan, atau mentransfer dana-dana anda, atau mempunyai
kontrol lain apapun atas pembayaran, keuntungan, pengembalian uang, hadiah, harga, diskon, atau
aktivitas perdagangan lainnya yang mungkin timbul dari penggunaan fitur ini oleh anda.

Ketentuan-ketentuan perjanjian pemegang kartu yang mungkin anda miliki sebelumnya dengan penerbit
kartu anda akan terus mengatur penggunaan Kartu-Kartu Pendukung oleh anda dan penggunaan kartu-
kartu pendukung tersebut dalam hubungannya dengan Apple Pay. Demikian pula, partisipasi anda
dalam program hadiah pedagang atau program kartu hadiah dan penggunaan Kartu-Kartu Yang-
Memungkinkan Apple Pay oleh anda dalam hubungannya dengan Apple Pay akan tunduk pada
ketentuan-ketentuan dan syarat-syarat dari pedagang tersebut.

Kartu Tunai Apple Pay dan kemampuan untuk mengirimkan atau menerima pembayaran-pembayaran
orang-ke-orang hanya tersedia di Amerika Serikat, dan merupakan layanan-layanan yang disediakan
oleh Green Dot Bank, anggota FDIC. Ketika anda mengaktifkan fitur-fitur ini di dalam Apple Pay, anda
membuka suatu akun dengan Green Dot Bank, dan ketika anda mengirimkan atau menerima suatu
pembayaran orang-ke-orang atau mengisi atau menarik uang dari kartu Tunai Apple Pay anda, Green
Dot Bank akan bertanggung jawab untuk menerima dan mengirimkan uang anda kepada penerima yang
dituju. Institusi keuangan yang bertanggung jawab untuk menawarkan Tunai Apple Pay dan
pembayaran-pembayaran orang-ke-orang di dalam Apple Pay dapat berubah sewaktu-waktu dan
penggunaan fitur-fitur tersebut oleh anda tunduk pada ketentuan-ketentuan dan syarat-syarat fitur-fitur
tersebut.

Tidak ada dalam Lisensi dan Ketentuan-Ketentuan Tambahan ini yang mengubah ketentuan-ketentuan
dari perjanjian pemegang kartu, pengguna, atau pedagang, dan ketentuan-ketentuan tersebut akan
mengatur penggunaan anda atas Kartu Pendukung yang berlaku atau fitur pembayaran orang-ke-orang
dari Apple Pay dan representasi virtual mereka pada Perangkat iOS anda. Anda menyetujui bahwa Apple
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 338 of 452



bukan merupakan pihak dalam perjanjian pemegang kartu atau pedagang anda, dan Apple tidak
bertanggung jawab atas: (a) konten, keakuratan atau ketidaktersediaan dari setiap kartu pembayaran,
kartu penghargaan, kartu hadiah, aktivitas perdagangan, transaksi, atau pembelian selagi menggunakan
fungsi Apple Pay; (b) penerbitan kredit atau penilaian kelayakan kredit; (c) penambahan atau penebusan
hadiah atau nilai yang tersimpan berdasarkan program pedagang; (d) pembiayaan atau pengisian
kembali kartu-kartu prabayar; (e) pengiriman atau penerimaan pembayaran-pembayaran orang-ke-
orang; atau (f) pengisian, penebusan, atau penarikan uang dari kartu Tunai Apple Pay anda.

Mengenai semua sengketa atau pertanyaan tentang kartu pembayaran, kartu penghargaan, kartu
hadiah, atau kegiatan perdagangan yang terkait, silakan hubungi penerbit anda atau pedagang yang
bersangkutan. Untuk pertanyaan-pertanyaan mengenai kartu Tunai Apple Pay atau pembayaran-
pembayaran orang-ke-orang, silakan hubungi Bantuan Apple.

3.   Privasi

Apple Pay memerlukan beberapa informasi dari Perangkat iOS anda untuk menawarkan pengalaman
penuh. Selain itu, ketika anda menggunakan kartu Tunai Apple Pay anda atau mengirimkan atau
menerima pembayaran-pembayaran orang-ke-orang, informasi tambahan tentang transaksi-transaksi
anda dikumpulkan dan disimpan untuk melayani akun anda dan mencegah penipuan serta mematuhi
regulasi. Anda dapat menemukan informasi lebih lanjut mengenai data yang dikumpulkan, digunakan,
atau dibagi sebagai bagian dari penggunaan Apple Pay, kartu Tunai Apple Pay, atau pembayaran-
pembayaran orang-ke-orang dengan Apple Pay oleh anda dengan membaca Tentang Apple Pay dan
Privasi (yang dapat diakses dengan mengunjungi Wallet & Apple Pay pada Perangkat iOS anda, atau di
dalam aplikasi Watch pada suatu Perangkat iOS yang dipasangkan) atau dengan mengunjungi https://
www.apple.com/id/privacy/. Dengan menggunakan fitur-fitur ini, anda setuju dan sepakat atas transmisi,
pengumpulan, penyimpanan, pemrosesan, dan penggunaan semua informasi tersebut di atas oleh Apple
dan para anak perusahaannya serta para agennya, untuk menyediakan fungsi Apple Pay.

4.   Keamanan; Perangkat yang Hilang atau Cacat

Apple Pay menyimpan representasi virtual dari Kartu-Kartu Pendukung milik anda dan harus dilindungi
sebagaimana anda akan melindungi uang tunai atau kartu kredit, kartu debet, kartu prabayar, kartu
penghargaan, atau kartu hadiah fisik anda. Memberikan kode sandi (passcode) perangkat anda kepada
pihak ketiga atau mengizinkan suatu pihak ketiga untuk menambahkan sidik jari mereka untuk
menggunakan ID Sentuh atau mengaktifkan ID Muka dapat mengakibatkan kemampuan kartu-kartu
anda melakukan pembayaran, mengirimkan, meminta, atau menerima pembayaran-pembayaran orang-
ke-orang, menarik uang dari kartu Tunai Apple Pay anda, atau menerima atau menebus hadiah atau
kredit dengan menggunakan Apple Pay pada perangkat anda. Anda sendiri bertanggung jawab atas
pemeliharaan keamanan dari perangkat anda dan dari kode sandi anda. Anda menyetujui bahwa Apple
tidak mempunyai tanggung jawab apapun jika anda kehilangan atau berbagi akses pada perangkat
anda. Anda menyetujui bahwa Apple tidak mempunyai tanggung jawab apapun jika anda membuat
modifikasi yang tidak sah pada iOS (seperti dengan cara “jailbreak”).

Anda mungkin perlu mengaktifkan langkah-langkah keamanan tambahan, seperti autentikasi dua faktor
untuk ID Apple anda, dalam rangka untuk mengakses fitur-fitur tertentu dari Apple Pay, termasuk kartu
Tunai Apple Pay dan pembayaran-pembayaran orang-ke-orang dengan Apple Pay. Jika anda kemudian
menghapus fitur-fitur keamanan tersebut, anda mungkin tidak dapat terus mengakses fitur-fitur tertentu
dari Apple Pay.

Jika perangkat anda hilang atau dicuri dan anda mengaktifkan Cari iPhone Saya, anda dapat
menggunakan Cari iPhone Saya untuk mencoba menangguhkan kemampuan untuk membayar dengan
Kartu-Kartu Pembayaran Pendukung virtual atau mengirimkan pembayaran-pembayaran orang-ke-orang
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 339 of 452



pada perangkat tersebut dengan meletakkannya ke dalam Mode Hilang. Anda juga dapat menghapus
perangkat anda, yang akan mencoba untuk menangguhkan kemampuan untuk membayar dengan
Kartu-Kartu Pembayaran Pendukung virtual atau mengirimkan pembayaran-pembayaran orang-ke-orang
pada perangkat tersebut dan juga akan mencoba untuk menghapus Kartu-Kartu Yang-Memungkinkan
Apple Pay. Anda sebaiknya menghubungi penerbit Kartu-Kartu Pembayaran Pendukung milik anda,
pedagang yang menerbitkan Kartu-Kartu Yang-Memungkinkan Apple Pay milik anda, dan Apple dalam
hal kartu Tunai Apple Pay anda untuk mencegah akses yang tidak sah pada Kartu-Kartu Pendukung
anda.

Jika anda melaporkan atau Apple mencurigai penipuan atau tindakan yang sewenang-wenang, anda
menyetujui untuk bekerja sama dengan Apple dalam setiap investigasi dan menggunakan tindakan
pencegahan penipuan apapun yang kami tetapkan.

5.   Pembatasan Tanggung Jawab

SELAIN PENYANGKALAN JAMINAN-JAMINAN DAN PEMBATASAN TANGGUNG JAWAB YANG
DITETAPKAN DALAM LISENSI, APPLE TIDAK MENANGGUNG KEWAJIBAN APAPUN ATAS
PEMBELIAN, PEMBAYARAN, TRANSAKSI, ATAU KEGIATAN PERDAGANGAN LAINNYA YANG
DILAKUKAN DENGAN MENGGUNAKAN FITUR APPLE PAY, DAN ANDA MENYETUJUI UNTUK
MENCARI SENDIRI DALAM PERJANJIAN-PERJANJIAN YANG MUNGKIN ANDA MILIKI DENGAN
PENERBIT KARTU, JARINGAN PEMBAYARAN, INSTITUSI-INSTITUSI KEUANGAN, ATAU PEDAGANG
ANDA UNTUK MENYELESAIKAN SEMUA PERTANYAAN ATAU SENGKETA BERKENAAN DENGAN
KARTU-KARTU PENDUKUNG, PEMBAYARAN-PEMBAYARAN ORANG-KE-ORANG, DAN KEGIATAN
PERDAGANGAN YANG TERKAIT MILIK ANDA.

————————————
PEMBERITAHUAN-PEMBERITAHUAN DARI APPLE
Jika Apple perlu menghubungi anda mengenai produk atau akun anda, anda setuju untuk menerima
pemberitahuan-pemberitahuan tersebut melalui surat elektronik. Anda setuju bahwa pemberitahuan-
pemberitahuan tersebut yang kami kirimkan kepada anda secara elektronik akan memenuhi setiap
persyaratan komunikasi secara sah.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 340 of 452



BAHASA MALAYSIA

PERHATIAN: DENGAN MENGGUNAKAN iPHONE, iPAD, ATAU iPOD TOUCH ANDA (“PERANTI
iOS”), ANDA BERSETUJU ANDA TERIKAT KEPADA TERMA-TERMA YANG BERIKUT:

A. PERJANJIAN LESEN PERISIAN APPLE iOS
B. TERMA-TERMA TAMBAHAN APPLE PAY
C. NOTIS-NOTIS DARIPADA APPLE

APPLE INC.
PERJANJIAN LESEN PERISIAN iOS
Lesen Penggunaan Tunggal

SILA BACA PERJANJIAN LESEN PERISIAN INI (“LESEN”) DENGAN TELITI SEBELUM
MENGGUNAKAN PERANTI iOS ANDA ATAU MEMUAT TURUNKAN KEMAS KINI PERISIAN
TERSEBUT YANG MENGIRINGI LESEN INI. DENGAN MENGGUNAKAN PERANTI iOS ANDA
ATAU MEMUAT TURUNKAN SEBARANG KEMAS KINI PERISIAN, YANG MANA TERPAKAI,
ANDA BERSETUJU ANDA TERIKAT KEPADA TERMA-TERMA LESEN INI. SEKIRANYA ANDA
TIDAK BERSETUJU DENGAN TERMA-TERMA LESEN INI, JANGAN GUNAKAN PERANTI iOS
TERSEBUT ATAU MUAT TURUNKAN KEMAS KINI PERISIAN TERSEBUT.

SEKIRANYA ANDA TELAH MEMBELI SEBUAH PERANTI iOS BARU-BARU INI DAN ANDA
TIDAK BERSETUJU DENGAN TERMA-TERMA LESEN TERSEBUT, ANDA BOLEH
MEMULANGKAN PERANTI iOS TERSEBUT DALAM TEMPOH PEMULANGAN KEPADA APPLE
STORE ATAU PENGEDAR SAH DI MANA ANDA MEMPEROLEH PERANTI IOS TERSEBUT
UNTUK BAYARAN BALIK, TERTAKLUK KEPADA DASAR PEMULANGAN APPLE YANG BOLEH
DIDAPATI DI https://www.apple.com/legal/sales_policies-support/.

1. Am.
(a) Perisian tersebut (termasuk kod Boot ROM, perisian terbenam, dan perisian pihak ketiga),
dokumentasi, antara muka, kandungan, fon dan sebarang data yang mengiringi Peranti iOS anda
(“Perisian iOS Asal”), sepertimana yang mungkin dikemaskinikan dengan atau digantikan oleh
penambahan-penambahan ciri, pengemaskinian-pengemaskinian perisian, atau perisian pemulihan
sistem yang disediakan oleh Apple (“Kemas Kini Perisian iOS”), sama ada dalam ingatan baca
sahaja, sebarang media lain atau sebarang bentuk lain (Perisian iOS Asal dan Kemas Kini Perisian
iOS tersebut adalah secara kolektif dirujuk sebagai “Perisian iOS”) adalah dilesenkan, bukan
dijualkan, kepada anda oleh Apple Inc. (“Apple”) hanya untuk penggunaan menurut terma-terma
Lesen ini. Apple dan pemberi-pemberi lesennya mengekalkan hak milik Perisian iOS tersebut dan
menyimpan semua hak yang tidak diberikan kepada anda secara nyata. Anda bersetuju bahawa
terma-terma Lesen ini akan mengawal sebarang aplikasi berjenama Apple yang mungkin terbina
dalam Peranti iOS anda, melainkan jika aplikasi sedemikian diiringi oleh suatu lesen yang
berasingan, dan dalam kes tersebut anda bersetuju bahawa terma-terma lesen tersebut akan
mengawal penggunaan aplikasi tersebut oleh anda.

(b) Apple, menurut budi bicaranya, mungkin akan menyediakan Kemas Kini Perisian iOS masa
depan. Kemas Kini Perisian iOS tersebut, jika ada, tidak semestinya merangkumi kesemua ciri
perisian tersedia ada atau ciri baru yang dikeluarkan oleh Apple untuk model-model Peranti-peranti
iOS yang baru atau lain. Terma-terma Lesen ini akan mengawal sebarang Kemas Kini Perisian iOS
yang disediakan oleh Apple, melainkan Kemas Kini Perisian iOS sedemikian diiringi oleh suatu lesen
berasingan, dan dalam kes tersebut anda bersetuju bahawa terma-terma lesen tersebut akan
mengawal.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 341 of 452



(c) Sekiranya anda menggunakan ciri persediaan ekspres untuk menyediakan sesebuah Peranti iOS
baru berdasarkan Peranti iOS anda yang sedia ada, anda bersetuju bahawa terma-terma Lesen ini
akan mengawal penggunaan Perisian iOS tersebut oleh anda dalam Peranti iOS baru anda,
melainkan jika Perisian iOS tersebut diiringi oleh suatu Lesen berasingan, dan dalam kes tersebut,
anda bersetuju bahawa terma-terma lesen tersebut akan mengawal penggunaan Perisian iOS
tersebut oleh anda. Peranti iOS anda akan secara berkala memeriksa dengan Apple untuk Kemas
Kini Perisian iOS. Sekiranya suatu kemas kini adalah tersedia, kemas kini tersebut akan dimuat
turunkan dan dipasangkan secara automatik pada Peranti iOS anda dan, jika berkenaan, peranti-
peranti persisian anda. Dengan menggunakan Perisian Apple tersebut, anda bersetuju bahawa
Apple boleh memuat turunkan dan memasangkan Kemas Kini Perisian iOS kepada Peranti iOS
anda dan peranti-peranti persisian anda. Anda boleh mematikan kemas kini automatik sama
sekali pada bila-bila masa dengan menukar tetapan Kemas Kini Automatik yang boleh ditemui
dalam Tetapan > Am > Kemas Kini Perisian.

2. Penggunaan-penggunaan Lesen yang Dibenarkan dan Pembatasan-pembatasan.
(a) Tertakluk kepada terma-terma dan syarat-syarat Lesen ini, anda diberikan satu lesen terhad dan
tidak eksklusif untuk menggunakan Perisian iOS tersebut hanya pada sebuah Peranti iOS berjenama
Apple. Melainkan sepertimana yang dibenarkan dalam Seksyen 2(b) di bawah, dan melainkan
sepertimana yang diperuntukkan dalam suatu perjanjian berasingan antara anda dan Apple, Lesen
ini tidak membenarkan Perisian iOS tersebut wujud dalam lebih daripada satu Peranti iOS
berjenama Apple pada satu-satu masa, dan anda tidak boleh mengedarkan atau menyebabkan
Perisian iOS tersebut menjadi tersedia melalui rangkaian di mana Perisian iOS tersebut boleh
dijalankan oleh berbilang peranti pada masa yang sama. Lesen ini tidak memberi anda sebarang
hak untuk mengguna antara muka-antara muka proprietari Apple dan harta intelek lain dalam
perekaan, pembangunan, penghasilan, pelesenan atau pengedaran peranti-peranti pihak ketiga dan
aksesori-aksesori, atau aplikasi-aplikasi perisian pihak ketiga, untuk digunakan bersama Peranti-
peranti iOS. Sebahagian hak-hak tersebut boleh didapati di bawah lesen-lesen berasingan daripada
Apple. Untuk maklumat lanjutan berkenaan pembangunan peranti-peranti pihak ketiga dan aksesori-
aksesori untuk Peranti-peranti iOS, sila layari https://developer.apple.com/programs/mfi/. Untuk
maklumat lanjutan berkenaan pembangunan aplikasi-aplikasi perisian untuk Peranti-peranti iOS, sila
layari https://developer.apple.com.

(b) Tertakluk kepada terma-terma dan syarat-syarat Lesen ini, anda diberikan satu lesen terhad dan
tidak eksklusif untuk memuat turunkan Kemas Kini Perisian iOS yang mungkin akan disediakan oleh
Apple untuk model Peranti iOS anda untuk mengemaskini atau memulih perisian tersebut pada
sebarang Peranti iOS sedemikian yang anda memiliki atau mengawal. Lesen ini tidak membenarkan
anda untuk mengemaskinikan atau memulihkan sebarang Peranti iOS yang anda tidak mengawal
atau memiliki, dan anda tidak boleh mengedarkan atau menyebabkan Kemas Kini Perisian iOS
tersebut menjadi tersedia melalui rangkaian di mana Kemas Kini Perisian iOS tersebut boleh
dijalankan oleh berbilang peranti atau berbilang komputer pada masa yang sama. Sekiranya anda
memuat turun suatu Kemas Kini Perisian iOS ke dalam komputer anda, anda boleh membuat satu
salinan Kemas Kini Perisian iOS tersebut yang disimpan dalam komputer anda dalam bentuk yang
boleh dibaca mesin untuk tujuan sandaran sahaja, dengan syarat salinan sandaran tersebut mesti
termasuk semua hak cipta atau notis-notis proprietari lain yang terkandung dalam salinan asal.

(c) Setakat mana Apple telah pra-pasang aplikasi-aplikasi berjenama Apple dari App Store dalam
Peranti iOS anda pada masa pembelian (“Aplikasi Pra-pasang”), anda akan perlu log masuk ke
dalam App Store dan menghubungkan Aplikasi Pra-pasang ini dengan akaun App Store anda untuk
menggunakannya pada Peranti iOS anda. Apabila anda menghubungkan sebarang Aplikasi Pra-
pasang dengan akaun App Store anda, anda akan pada masa yang sama secara automatik
menghubungkan semua Aplikasi Pra-pasang lain pada Peranti iOS anda. Dengan memilih untuk
menghubungkan Aplikasi Pra-pasang tersebut dengan akaun App Store anda, anda bersetuju
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 342 of 452



bahawa Apple boleh menyampai, mengumpul, mengekal, memproses dan mengguna kedua-dua
Apple ID yang digunakan oleh akaun App Store anda dan suatu pengenalpasti perkakasan unik
yang dikumpulkan daripada Peranti iOS anda, sebagai pengenalpasti-pengenalpasti akaun unik
untuk tujuan mengesahkan kelayakan permintaan anda dan menyediakan anda dengan akses
kepada Aplikasi Pra-pasang melalui App Store. Sekiranya anda tidak ingin menggunakan sebarang
Aplikasi Pra-pasang, anda boleh menghapuskannya daripada Peranti iOS anda pada bila-bila masa.

(d) Anda tidak boleh, dan anda bersetuju untuk tidak, atau untuk tidak membolehkan orang lain
untuk, menyalin (melainkan sepertimana yang dibenarkan secara nyata oleh Lesen ini),
menyahsusun, melakukan kejuruteraan undur (reverse engineer), menyahhimpun, mencuba
memperoleh kod sumber, menyahsulitkan, mengubah, atau menghasilkan karya-karya terbitan
berdasarkan Perisian iOS tersebut atau sebarang perkhidmatan yang disediakan oleh Perisian iOS
tersebut, atau mana-mana bahagian daripadanya (melainkan sebagaimana dan hanya setakat
mana-mana pembatasan terdahulu dilarang oleh undang-undang terpakai atau oleh terma-terma
lesen yang mengawal penggunaan komponen-komponen sumber terbuka yang mungkin termasuk
bersama Perisian iOS tersebut).

(e) Perisian iOS tersebut boleh digunakan untuk mengeluarkan semula bahan-bahan dengan syarat
penggunaan sedemikian adalah terhad kepada pengeluaran semula bahan-bahan yang tidak
dilindungi hak cipta, bahan-bahan yang anda memiliki hak ciptanya, atau bahan-bahan yang anda
diberi kuasa atau kebenaran di sisi undang-undang untuk mengeluarkan semula. Hak milik dan hak-
hak harta intelek dalam dan kepada sebarang kandungan yang dipaparkan oleh, disimpan dalam,
atau diakses melalui Peranti iOS anda adalah kepunyaan pemilik kandungan masing-masing.
Kandungan sedemikian mungkin dilindungi oleh hak cipta atau undang-undang harta intelek dan
triti-triti lain, dan mungkin tertakluk kepada terma-terma penggunaan pihak ketiga yang
menyediakan kandungan sedemikian. Melainkan sepertimana yang diperuntukkan dalam Lesen ini,
Lesen ini tidak memberi anda sebarang hak untuk mengguna kandungan sedemikian, serta tidak
memberi sebarang jaminan bahawa kandungan tersebut akan terus tersedia untuk anda.

(f) Tertakluk kepada terma-terma dan syarat-syarat Lesen ini, anda boleh menggunakan watak-
watak Animoji dan Memoji yang termasuk bersama atau dicipta dengan Perisian iOS tersebut
(“Watak Sistem”) (i) semasa menjalankan Perisian iOS tersebut dan (ii) untuk mencipta kandungan
dan projek-projek asli anda untuk penggunaan peribadi, bukan komersial. Penggunaan Watak
Sistem lain tidak dibenarkan oleh Lesen ini, termasuk tetapi tidak terhad kepada penggunaan,
pengeluaran semula, pemaparan, persembahan, perakaman, penerbitan atau pengedaran semula
sebarang Watak Sistem tersebut dalam konteks keuntungan, bukan keuntungan, pengongsian
awam atau komersial.

(g) Anda bersetuju untuk mengguna Perisian iOS dan Perkhidmatan tersebut (seperti yang
didefinisikan dalam Seksyen 5 di bawah) dengan cara yang mematuhi semua undang-undang
terpakai, termasuk undang-undang tempatan negara atau rantau di mana anda menetap atau di
mana anda memuat turun atau mengguna Perisian iOS dan Perkhidmatan tersebut. Ciri-ciri Perisian
iOS dan Perkhidmatan tersebut mungkin tidak tersedia dalam semua bahasa atau semua rantau,
sesetengah ciri mungkin berbeza mengikut rantau, dan sesetengah ciri mungkin terlarang atau tidak
tersedia ada daripada pembekal perkhidmatan anda. Suatu sambungan Wi-Fi atau data selular
diperlukan untuk sesetengah ciri Perisian iOS dan Perkhidmatan tersebut.

(h) Penggunaan App Store memerlukan suatu kombinasi nama pengguna dan kata laluan unik, yang
dikenali sebagai Apple ID. Suatu Apple ID juga diperlukan untuk mengakses kemas kini-kemas kini
aplikasi dan sesetengah ciri Perisian iOS dan Perkhidmatan tersebut.

(i) Anda mengaku bahawa kebanyakan ciri, aplikasi terbina dalam, dan Perkhidmatan Perisian iOS
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 343 of 452



tersebut menyampaikan data dan boleh memberi kesan kepada caj-caj pelan data anda, dan
bahawa anda bertanggungjawab untuk sebarang caj sedemikian. Anda boleh merujuk dan
mengawal aplikasi-aplikasi yang mana dibenarkan untuk mengguna data selular dan mendapatkan
suatu anggaran jumlah data yang telah digunakan oleh aplikasi-aplikasi sebegitu di bawah Tetapan
Data Selular. Selain itu, Wi-Fi Assist akan secara automatik bertukar ke selular apabila anda
mempunyai suatu sambungan Wi-Fi yang lemah, yang mungkin menyebabkan penggunaan data
selular bertambah dan memberi kesan kepada caj-caj pelan data anda. Wi-Fi Assist dibolehkan
secara lalai, tetapi boleh dimatikan di bawah Tetapan. Untuk maklumat lanjutan, sila rujuk kepada
Panduan Pengguna Peranti iOS anda.

(j) Sekiranya anda memilih untuk membenarkan pengemaskinian aplikasi automatik, Peranti iOS
anda akan secara berkala memeriksa dengan Apple untuk kemas kini-kemas kini kepada aplikasi-
aplikasi dalam peranti anda dan, jika suatu kemas kini adalah tersedia, kemas kini tersebut akan
dimuat turunkan dan dipasangkan secara automatik kepada peranti anda. Anda boleh mematikan
pengemaskinian aplikasi automatik tersebut sama sekali pada bila-bila masa dengan menuju ke
Tetapan, memilih iTunes & App Store, dan di bawah Pemuatan Turun Automatik, mematikan Kemas
Kini.

(k) Penggunaan Peranti iOS anda dalam sesetengah keadaan boleh mengalih perhatian anda dan
boleh menyebabkan keadaan yang berbahaya (sebagai contoh, elakkan menaip mesej teks semasa
memandu kereta atau elakkan mengguna fon kepala semasa menunggang basikal). Dengan
menggunakan Peranti iOS anda, anda bersetuju bahawa anda bertanggungjawab untuk mematuhi
peraturan-peraturan yang melarang atau menghadkan penggunaan telefon-telefon bimbit atau fon-
fon kepala (sebagai contoh, keperluan untuk menggunakan pilihan bebas tangan untuk membuat
panggilan semasa memandu).

3. Pemindahan. Anda tidak boleh menyewa, memajak, meminjam, menjual, mengedar semula, atau
memberi sublesen kepada Perisian iOS tersebut. Walau bagaimanapun, anda boleh memindahkan
secara kekal kepada pihak lain segala hak lesen anda kepada Perisian iOS tersebut berhubungan
dengan pemindahan hak milik Peranti iOS anda, untuk sekali sahaja, dengan syarat: (a) pemindahan
hak milik tersebut mesti termasuk Peranti iOS anda dan keseluruhan Perisian iOS tersebut,
termasuk kesemua bahagian komponennya dan Lesen ini; (b) anda tidak menyimpan sebarang
salinan Perisian iOS tersebut, sama ada salinan penuh atau separa, termasuk salinan-salinan yang
disimpan dalam komputer atau peranti storan lain; dan (c) pihak yang menerima Perisian iOS
tersebut membaca dan bersetuju untuk menerima terma-terma dan syarat-syarat Lesen ini.

4. Kebenaran untuk Menggunakan Data. Apabila anda menggunakan peranti anda, nombor
telefon anda dan pengenalpasti-pengenalpasti unik tertentu untuk Peranti iOS anda dihantar kepada
Apple untuk membolehkan orang lain menghubungi anda melalui nombor telefon anda apabila
menggunakan pelbagai ciri komunikasi Perisian iOS tersebut, seperti iMessage dan FaceTime.
Apabila anda menggunakan iMessage, Apple mungkin menyimpan mesej-mesej anda dalam bentuk
tersulit untuk suatu tempoh masa yang terhad untuk memastikan penyampaiannya. Anda boleh
mematikan FaceTime atau iMessage dengan menuju ke tetapan FaceTime atau Mesej dalam Peranti
iOS anda. Ciri-ciri tertentu seperti Analitis, Perkhidmatan Lokasi, Siri, dan Pengimlakan mungkin
memerlukan maklumat daripada Peranti iOS anda untuk menyediakan fungsi-fungsi masing-masing.
Apabila anda memasangkan atau menggunakan ciri-ciri sedemikian, butir-butir akan
diberikan mengenai jenis maklumat yang dihantar kepada Apple dan bagaimana maklumat tersebut
boleh digunakan. Anda boleh mengetahui lebih lanjut dengan melayari https://www.apple.com/
privacy/. Pada sepanjang masa maklumat anda akan dikendali mengikut Dasar Privasi Apple, yang
boleh dilihat di: https://www.apple.com/legal/privacy/.

5. Perkhidmatan-perkhidmatan dan Bahan-Bahan Pihak Ketiga.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 344 of 452



(a) Perisian iOS tersebut mungkin membolehkan akses kepada iTunes Store Apple, App Store, Apple
Books, Game Center, iCloud, Maps, dan perkhidmatan-perkhidmatan dan laman web-laman web
Apple dan pihak-pihak ketiga lain (secara kolektif dan individu, “Perkhidmatan”). Perkhidmatan
sedemikian mungkin tidak tersedia dalam semua bahasa atau semua negara. Penggunaan
Perkhidmatan ini memerlukan akses Internet dan penggunaan Perkhidmatan tertentu mungkin
memerlukan Apple ID, dan mungkin memerlukan anda menerima terma-terma tambahan dan
mungkin tertakluk kepada yuran-yuran tambahan. Dengan menggunakan perisian ini berhubungan
dengan suatu Apple ID, atau Perkhidmatan Apple lain, anda bersetuju dengan terma-terma
perkhidmatan yang terpakai untuk Perkhidmatan tersebut, seperti Terma-terma dan Syarat-syarat
Perkhidmatan Apple Media terkini untuk negara di mana anda mengakses Perkhidmatan
sedemikian, yang anda boleh mengakses dan merujuk di https://www.apple.com/legal/internet-
services/itunes/.

(b) Sekiranya anda mendaftar untuk iCloud, ciri-ciri iCloud tertentu seperti “iCloud Photos”, “My
Photo Stream”, “Shared Albums”, “Back Up” and “Find My iPhone” boleh diakses secara langsung
dari Perisian iOS tersebut. Anda mengaku dan bersetuju bahawa penggunaan iCloud dan ciri-ciri ini
adalah tertakluk kepada terma-terma dan syarat-syarat perkhidmatan iCloud terkini, yang anda
boleh mengakses dan merujuk di: https://www.apple.com/legal/internet-services/icloud/.

(c) Kandungan Aplikasi News. Penggunaan kandungan yang diakses melalui aplikasi News oleh
anda adalah semata-mata terhad kepada penggunaan peribadi, dan bukan komersial, tidak
memindahkan sebarang kepentingan pemilikan kepada anda dalam kandungan tersebut, dan secara
khususnya tidak termasuk, tanpa had, sebarang hak penggunaan komersial atau promosi dalam
kandungan sedemikian. Selain itu, anda dilarang daripada menerbitkan semula, menyampaikan
semula dan mengeluarkan semula sebarang imej yang diakses melalui News sebagai fail kendiri.

(d) Maps. Perkhidmatan peta-peta dan ciri-ciri Perisian iOS tersebut (“Maps”), termasuk liputan data
peta, mungkin berbeza mengikut rantau. Apabila anda mengguna sebarang ciri berdasarkan lokasi
dalam Maps, seperti panduan arah belokan demi belokan (turn-by-turn navigation), pencarian trafik
dan setempatan, pelbagai maklumat berkenaan lokasi dan penggunaan mungkin dihantar kepada
Apple, termasuk lokasi geografi masa nyata Peranti iOS anda, untuk memproses permintaan anda
dan membantu memperbaiki Maps. Data lokasi dan penggunaan sedemikian dikumpulkan oleh
Apple dalam bentuk yang tidak mengenalpastikan anda secara peribadi. Dengan menggunakan
Maps, anda bersetuju dan membenarkan Apple dan anak-anak syarikatnya dan ejen-ejennya
untuk menyampai, mengumpul, mengekal, memproses, dan mengguna maklumat ini, untuk
menyediakan dan memperbaiki ciri-ciri dan perkhidmatan Maps, dan produk-produk dan
perkhidmatan-perkhidmatan Apple lain. Apple juga mungkin menyediakan maklumat sedemikian,
sama ada dalam bentuk teragregat atau bentuk yang tidak mengenalpastikan orang secara peribadi,
kepada rakan-rakan kongsinya dan pemegang-pemegang lesennya untuk membantu memperbaiki
produk-produk dan perkhidmatan-perkhidmatan mereka yang berdasarkan peta dan lokasi. Anda
boleh mematikan kefungsian berdasarkan lokasi Maps dengan mengakses tetapan Perkhidmatan
Lokasi dalam Peranti iOS anda dan mematikan tetapan lokasi individu untuk Maps. Walau
bagaimanapun, sesetengah ciri-ciri Maps tidak tersedia jika anda mematikan tetapan Perkhidmatan
Lokasi tersebut, seperti panduan arah belokan demi belokan.

(e) Anda memahami bahawa dengan menggunakan mana-mana Perkhidmatan tersebut, anda
mungkin berhadapan dengan kandungan yang mungkin dianggap menjelikkan, tidak senonoh, atau
tidak menyenangkan, yang kandungannya mungkin atau tidak mungkin dikenalpasti mengandungi
bahasa kesat, dan bahawa hasil-hasil sebarang carian atau kemasukan URL tertentu boleh secara
automatik dan dengan tidak sengaja menjana pautan-pautan atau rujukan-rujukan kepada bahan-
bahan yang tidak menyenangkan. Walau bagaimanapun, anda bersetuju untuk menanggung segala
risiko berkenaan penggunaan Perkhidmatan tersebut dan bahawa Apple, pihak-pihak berkaitannya,
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 345 of 452



ejen-ejennya, prinsipal-prinsipalnya, atau pemberi-pemberi lesennya tidak akan bertanggungjawab
terhadap anda untuk kandungan yang mungkin didapati menjelikkan, tidak senonoh, atau tidak
menyenangkan.

(g) Perkhidmatan tertentu mungkin memaparkan, termasuk atau menyediakan kandungan, data,
maklumat, aplikasi-aplikasi atau bahan-bahan daripada pihak ketiga (“Bahan Pihak Ketiga”) atau
menyediakan pautan-pautan kepada laman web-laman web pihak ketiga tertentu. Dengan
menggunakan Perkhidmatan tersebut, anda mengaku dan bersetuju bahawa Apple tidak
bertanggungjawab untuk memeriksa atau menilai kandungan, ketepatan, kelengkapan, kekinian,
kesahihan, pematuhan hak cipta, kesahan, kesopanan, kualiti atau mana-mana aspek lain Bahan
Pihak Ketiga atau laman web-laman web sedemikian. Apple, kakitangannya, pihak-pihak
berkaitannya dan anak-anak syarikatnya tidak menjamin atau menyokong dan tidak menerima dan
tidak akan mempunyai sebarang liabiliti atau tanggungjawab terhadap anda atau sesiapa orang lain
untuk, sebarang Perkhidmatan pihak ketiga, Bahan Pihak Ketiga, atau laman web-laman web, atau
untuk sebarang bahan, produk, atau perkhidmatan lain pihak-pihak ketiga. Bahan Pihak Ketiga dan
pautan-pautan kepada laman web-laman web lain disediakan hanya untuk kesenangan anda.

(h) Apple dan pembekal-pembekal kandungannya tidak menjamin ketersediaan, ketepatan,
kelengkapan, kebolehpercayaan, atau kekinian maklumat saham, data lokasi atau sebarang data
lain yang dipaparkan oleh sebarang Perkhidmatan. Maklumat kewangan yang dipaparkan oleh
mana-mana Perkhidmatan adalah untuk tujuan maklumat am sahaja dan tidak harus digunakan
sebagai nasihat pelaburan. Sebelum melaksanakan sebarang transaksi sekuriti berdasarkan
maklumat yang diperoleh melalui Perkhidmatan tersebut, anda harus berunding dengan profesional
kewangan atau sekuriti yang berkelayakan secara sah di sisi undang-undang untuk memberi nasihat
kewangan atau sekuriti di negara atau rantau anda. Data lokasi yang disediakan oleh sebarang
Perkhidmatan, termasuk perkhidmatan Apple Maps, adalah untuk tujuan panduan arah asas dan
tujuan perancangan sahaja dan tidak bertujuan untuk digunapakai dalam situasi-situasi di mana
maklumat lokasi tepat diperlukan atau data lokasi yang salah, tidak tepat, kelewatan masa atau
tidak lengkap mungkin akan menyebabkan maut, kecederaan diri, kerosakan harta atau alam
sekitar. Anda bersetuju bahawa, hasil-hasil yang anda menerima daripada perkhidmatan Maps
mungkin berbeza daripada jalan raya atau rupa bumi sebenar oleh sebab faktor-faktor yang boleh
menjejaskan ketepatan data Maps, seperti, tetapi tidak terhad kepada, cuaca, keadaan jalan raya
dan trafik, dan peristiwa-peristiwa geopolitik. Untuk keselamatan anda semasa menggunakan ciri
panduan arah tersebut, sila sentiasa berikan perhatian kepada papan tanda-papan tanda jalan raya
dan keadaan jalan raya semasa. Ikutilah amalan pandu cermat dan peraturan-peraturan lalu lintas,
dan sila ambil perhatian bahawa arahan untuk pejalan kaki mungkin tidak termasuk laluan atau
lorong pejalan kaki.

(i) Setakat mana yang anda memuat naik sebarang kandungan dengan menggunakan Perkhidmatan
tersebut, anda mewakili bahawa anda memiliki kesemua hak dalam, atau mempunyai kebenaran
atau selainnya dibenarkan di sisi undang-undang untuk memuat naik, kandungan sedemikian dan
bahawa kandungan sedemikian tidak melanggar sebarang terma perkhidmatan yang terpakai
kepada Perkhidmatan tersebut. Anda bersetuju bahawa Perkhidmatan tersebut mengandungi
kandungan, maklumat dan bahan proprietari yang dimiliki oleh Apple, pemilik laman dan/atau
pemberi-pemberi lesen mereka, dan dilindungi oleh undang-undang harta intelek dan undang-
undang lain yang terpakai, termasuk tetapi tidak terhad kepada hak cipta. Anda bersetuju bahawa
anda tidak akan mengguna kandungan, maklumat, atau bahan-bahan proprietari sedemikian selain
daripada penggunaan Perkhidmatan tersebut yang dibenarkan, atau dalam sebarang cara yang
bercanggah dengan terma-terma Lesen ini atau yang melanggar sebarang hak harta intelek pihak
ketiga atau Apple. Kesemua bahagian Perkhidmatan tersebut tidak boleh dihasilkan semula dalam
sebarang bentuk atau dalam sebarang cara. Anda bersetuju untuk tidak mengubahsuai, menyewa,
memajak, meminjam, menjual, mengedar, atau menghasilkan karya-karya terbitan berdasarkan
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 346 of 452



Perkhidmatan tersebut, dalam sebarang cara, dan anda tidak boleh mengeksploit Perkhidmatan
tersebut dalam sebarang cara yang tidak dibenarkan, termasuk tetapi tidak terhad kepada,
menggunakan Perkhidmatan tersebut untuk menghantar sebarang virus komputer, cecacing, kuda-
kuda Troy atau perisian hasad lain, atau dengan menceroboh atau membebani kapasiti rangkaian.
Anda bersetuju selanjutnya untuk tidak menggunakan Perkhidmatan tersebut dalam sebarang cara
yang menganggu, menyalahguna, menghendap, mengancam, memfitnah atau selainnya melanggar
atau mencabul hak-hak mana-mana pihak lain, dan bahawa Apple tidak bertanggungjawab dalam
sebarang cara untuk sebarang penggunaan sebegitu oleh anda, atau untuk sebarang mesej atau
penyampaian yang mengganggu, mengancam, memfitnah, menjelikkan, atau mesej-mesej atau
penyampaian-penyampaian yang melanggar atau menyalahi undang-undang yang anda mungkin
terima sebagai akibat mengguna mana-mana Perkhidmatan tersebut.

(j) Selanjutnya, Perkhidmatan dan Bahan Pihak Ketiga yang mungkin diakses, dipautkan kepada
atau dipaparkan melalui Peranti iOS tersebut tidak tersedia dalam semua bahasa atau semua
negara atau rantau. Apple tidak membuat sebarang representasi bahawa Perkhidmatan dan Bahan
Pihak Ketiga sedemikian adalah bersesuaian atau tersedia ada untuk digunakan di mana-mana
lokasi tertentu. Setakat mana anda memilih untuk menggunakan atau mengakses Perkhidmatan dan
Bahan Pihak Ketiga sedemikian, anda berbuat demikian di atas inisiatif anda sendiri dan
bertanggungjawab untuk pematuhan dengan undang-undang terpakai, termasuk tetapi tidak terhad
kepada undang-undang tempatan dan undang-undang privasi dan pengumpulan data yang
terpakai. Perkongsian atau penyelarasan gambar-gambar melalui Peranti iOS anda mungkin
menyebabkan metadata, termasuk di mana dan bila gambar tersebut diambil, dan maklumat
mengenai kedalaman, untuk disampaikan bersama gambar-gambar tersebut. Penggunaan
perkhidmatan-perkhidmatan Apple (seperti iCloud Photo Library) untuk mengongsi atau
menyegerakkan gambar-gambar sedemikian akan melibatkan penerimaan dan penyimpanan
metadata sebegitu oleh Apple. Apple dan pemberi-pemberi lesennya menyimpan hak untuk
mengubahkan, menggantungkan, melucutkan, atau melumpuhkan akses kepada mana-mana
Perkhidmatan pada bila-bila masa tanpa notis. Dalam apa jua keadaan, Apple tidak akan
bertanggungjawab untuk perlucutan atau kelumpuhan akses kepada mana-mana Perkhidmatan
sedemikian. Apple juga boleh mengehadkan penggunaan atau akses kepada Perkhidmatan tertentu,
dalam sebarang kes dan tanpa notis atau liabiliti.

6. Penamatan. Lesen ini adalah efektif sehingga ditamatkan. Hak-hak anda di bawah Lesen ini akan
ditamatkan secara automatik atau selainnya berhenti menjadi efektif tanpa notis daripada Apple
sekiranya anda gagal untuk mematuhi mana-mana terma(-terma) Lesen ini. Sebaik sahaja Lesen ini
tamat, anda mesti hentikan semua penggunaan Perisian iOS tersebut. Seksyen-seksyen 4, 5, 6, 7,
8, 9, 12, dan 13 Lesen ini akan terus berkuatkuasa selepas sebarang penamatan sedemikian.

7. Penolakan Tuntutan Waranti-waranti.
7.1 Sekiranya anda adalah seorang pelanggan yang merupakan seorang pengguna (seseorang
yang menggunakan Perisian iOS tersebut di luar bidang perdagangan, perniagaan, atau profesion
anda), anda mungkin mempunyai hak-hak dari segi undang-undang dalam negara di mana anda
menetap yang melarang had-had berikut daripada terpakai kepada anda, dan di mana ia dilarang, ia
tidak akan terpakai kepada anda. Untuk mengetahui lebih lanjut tentang hak-hak, anda seharusnya
menghubungi suatu organisasi penasihat pengguna tempatan.

7.2 ANDA MENGAKU DAN BERSETUJU SECARA NYATA BAHAWA, SETAKAT YANG DIBENARKAN
OLEH UNDANG-UNDANG TERPAKAI, RISIKO MENGGUNAKAN PERISIAN iOS TERSEBUT DAN
SEBARANG PERKHIDMATAN YANG DIJALANKAN OLEH ATAU DIAKSES MELALUI PERISIAN iOS
TERSEBUT, DITANGGUNG ANDA SENDIRI DAN BAHAWA SEGALA RISIKO BERKENAAN
KEPUASAN KUALITI, PRESTASI, KETEPATAN, DAN USAHA DITANGGUNG OLEH ANDA.
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 347 of 452



7.3 SETAKAT MAKSIMUM YANG DIBENARKAN OLEH UNDANG-UNDANG TERPAKAI, PERISIAN
iOS DAN PERKHIDMATAN-PERKHIDMATAN TERSEBUT ADALAH DISEDIAKAN “SEPERTI
DIDAPATI” (AS IS) DAN “SEPERTI TERSEDIA” (AS AVAILABLE), DENGAN SEGALA KEROSAKAN
DAN TANPA WARANTI WALAU APA JENIS SEKALIPUN, DAN APPLE SERTA PEMBERI-PEMBERI
LESEN APPLE (SECARA KOLEKTIF SEBAGAI “APPLE” UNTUK TUJUAN SEKSYEN-SEKSYEN 7
DAN 8) DENGAN INI MENOLAK TUNTUT SEMUA WARANTI DAN SYARAT BERKENAAN DENGAN
PERISIAN iOS DAN PERKHIDMATAN-PERKHIDMATAN TERSEBUT, SAMA ADA SECARA NYATA,
TERSIRAT ATAU STATUTORI, TERMASUK, TETAPI TIDAK TERHAD KEPADA, WARANTI-WARANTI
TERSIRAT DAN/ATAU SYARAT-SYARAT MENGENAI KEBOLEHDAGANGAN, KEPUASAN KUALITI,
KESESUAIAN UNTUK SEBARANG TUJUAN TERTENTU, KETEPATAN, KENIKMATAN AMAN
SENTOSA, DAN KETIADAAN PERLANGGARAN HAK-HAK PIHAK KETIGA.

7.4 APPLE TIDAK MENJAMIN BAHAWA TIDAK AKAN ADA SEBARANG GANGGUAN TERHADAP
PENGGUNAAN PERISIAN iOS DAN PERKHIDMATAN-PERKHIDMATAN TERSEBUT OLEH ANDA,
BAHAWA KEFUNGSIAN-KEFUNGSIAN YANG TERKANDUNG DALAM, ATAU PERKHIDMATAN-
PERKHIDMATAN YANG DILAKSANAKAN ATAU DISEDIAKAN OLEH, PERISIAN iOS TERSEBUT
AKAN MEMENUHI KEPERLUAN-KEPERLUAN ANDA, BAHAWA PENGOPERASIAN PERISIAN iOS
DAN PERKHIDMATAN-PERKHIDMATAN TERSEBUT TIDAK AKAN DIGANGGU ATAU BEBAS
DARIPADA RALAT, BAHAWA SEBARANG PERKHIDMATAN AKAN TERUS TERSEDIA, BAHAWA
KEROSAKAN DALAM PERISIAN iOS ATAU PERKHIDMATAN-PERKHIDMATAN TERSEBUT AKAN
DIPERBETULKAN, ATAU BAHAWA PERISIAN iOS TERSEBUT AKAN SERASI ATAU BERFUNGSI
DENGAN MANA-MANA PERISIAN PIHAK KETIGA, APLIKASI ATAU PERKHIDMATAN PIHAK KETIGA.
PEMASANGAN PERISIAN iOS INI MUNGKIN MENJEJASKAN KETERSEDIAAN DAN
KEBOLEHGUNAAN PERISIAN PIHAK KETIGA, APLIKASI-APLIKASI ATAU PERKHIDMATAN-
PERKHIDMATAN PIHAK KETIGA, SERTA PRODUK-PRODUK DAN PERKHIDMATAN-
PERKHIDMATAN APPLE.

7.5. ANDA SELANJUTNYA MENGAKU BAHAWA PERISIAN iOS DAN PERKHIDMATAN-
PERKHIDMATAN TERSEBUT TIDAK DINIATKAN ATAU SESUAI UNTUK DIGUNAKAN DALAM
SITUASI-SITUASI ATAU PERSEKITARAN-PERSEKITARAN DI MANA KEGAGALAN ATAU
KELEWATAN MASA, ATAU RALAT-RALAT ATAU KETIDAKTEPATAN DALAM KANDUNGAN, DATA
ATAU MAKLUMAT YANG DISEDIAKAN OLEH, PERISIAN iOS ATAU PERKHIDMATAN-
PERKHIDMATAN TERSEBUT BOLEH MENYEBABKAN MAUT, KECEDERAAN DIRI, ATAU
KEROSAKAN FIZIKAL ATAU ALAM SEKITAR YANG TERUK, TERMASUK TANPA HAD,
PENGOPERASIAN KEMUDAHAN NUKLEAR, SISTEM-SISTEM PANDU ARAH ATAU KOMUNIKASI
PESAWAT UDARA, KAWALAN LALU LINTAS UDARA, SISTEM-SISTEM SOKONGAN HIDUP ATAU
SISTEM-SISTEM SENJATA.

7.6. TIADA MAKLUMAT LISAN ATAU BERTULIS ATAU MAKLUMAN YANG DIBERIKAN OLEH
APPLE ATAU MANA-MANA WAKIL APPLE YANG SAH AKAN MEWUJUDKAN SEBARANG WARANTI.
SEKIRANYA PERISIAN iOS ATAU PERKHIDMATAN-PERKHIDMATAN TERSEBUT TERBUKTI ROSAK,
ANDA AKAN MENANGGUNG SEGALA KOS PERKHIDMATAN, PEMBAIKAN ATAU PEMBETULAN
YANG DIPERLUKAN. SESETENGAH BIDANG KUASA TIDAK MEMBENARKAN PENGECUALIAN
WARANTI-WARANTI TERSIRAT ATAU PENGEHADAN HAK-HAK STATUTORI TERPAKAI
SESEORANG PENGGUNA, OLEH ITU, PENGECUALIAN DAN HAD-HAD TERSEBUT MUNGKIN
TIDAK TERPAKAI KEPADA ANDA.

8. Pembatasan Liabiliti. SETAKAT MANA TIDAK DILARANG OLEH UNDANG-UNDANG TERPAKAI,
APPLE, PIHAK-PIHAK BERKAITANNYA, EJEN-EJENNYA, ATAU PRINSIPAL-PRINSIPALNYA DALAM
APA JUA KEADAAN TIDAK AKAN MENANGGUNG LIABILITI UNTUK KECEDERAAN DIRI, ATAU APA
JUA GANTI RUGI SAMPINGAN, KHAS, TIDAK LANGSUNG ATAU BERBANGKIT, TERMASUK,
TANPA HAD, GANTI RUGI UNTUK KEHILANGAN KEUNTUNGAN, KEROSAKAN ATAU KEHILANGAN
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 348 of 452



DATA, KEGAGALAN UNTUK MENYAMPAIKAN ATAU MENERIMA SEBARANG DATA (TERMASUK,
TANPA HAD ARAHAN-ARAHAN KURSUS, TUGASAN-TUGASAN DAN BAHAN-BAHAN),
GANGGUAN PERNIAGAAN ATAU SEBARANG GANTI RUGI ATAU KERUGIAN KOMERSIAL LAIN,
YANG TIMBUL DARIPADA ATAU BERKENAAN DENGAN PENGGUNAAN PERISIAN iOS DAN
PERKHIDMATAN-PERKHIDMATAN TERSEBUT ATAU SEBARANG PERISIAN PIHAK KETIGA ATAU
APLIKASI BERHUBUNGAN DENGAN PERISIAN iOS ATAU PERKHIDMATAN-PERKHIDMATAN
TERSEBUT OLEH ANDA ATAU KETIDAKUPAYAAN ANDA UNTUK MENGGUNAKANNYA, WALAU
APA SEBABNYA, TANPA MENGHIRAUKAN TEORI LIABILITI (KONTRAK, TORT ATAU SELAINNYA)
DAN WALAUPUN JIKA APPLE TELAH DIMAKLUMKAN TENTANG KEMUNGKINAN GANTI RUGI
SEDEMIKIAN. SESETENGAH BIDANG KUASA TIDAK MEMBENARKAN PENGECUALIAN ATAU
PEMBATASAN LIABILITI UNTUK KECEDERAAN DIRI, ATAU GANTI RUGI SAMPINGAN ATAU
BERBANGKIT, OLEH YANG DEMIKIAN, PEMBATASAN INI MUNGKIN TIDAK TERPAKAI KEPADA
ANDA. Dalam apa jua keadaan, jumlah liabiliti Apple kepada anda secara keseluruhannya untuk
semua ganti rugi (melainkan sepertimana yang diperuntukkan dalam undang-undang berkenaan
kes-kes yang melibatkan kecederaan diri) tidak akan melebihi amaun dua ratus lima puluh dolar
(U.S.$250.00). Had-had yang tersebut di atas akan terpakai walaupun sekiranya remedi yang
dinyatakan di atas gagal akan tujuan utamanya.

9. Sijil-sijil Digital. Perisian iOS tersebut mengandungi kefungsian yang membenarkannya
menerima sijil-sijil digital sama ada dikeluarkan oleh Apple atau pihak-pihak ketiga. ANDA
BERTANGGUNGJAWAB SEPENUHNYA UNTUK MENENTUKAN SAMA ADA UNTUK ATAU TIDAK
BERGANTUNG PADA MANA-MANA SIJIL SAMA ADA DIKELUARKAN OLEH APPLE ATAU PIHAK
KETIGA. RISIKO PENGGUNAAN SIJIL-SIJIL DIGITAL OLEH ANDA DITANGGUNG ANDA SENDIRI.
SETAKAT MAKSIMUM YANG DIBENARKAN OLEH UNDANG-UNDANG YANG TERPAKAI, APPLE
TIDAK MEMBERI SEBARANG JAMINAN ATAU REPRESENTASI, SAMA ADA SECARA NYATA ATAU
TERSIRAT, MENGENAI KEBOLEHDAGANGAN ATAU KESESUAIAN UNTUK SEBARANG TUJUAN
TERTENTU, KETEPATAN, KESELAMATAN, ATAU KETIADAAN PERLANGGARAN HAK-HAK PIHAK
KETIGA BERKENAAN SIJIL-SIJIL DIGITAL.

10. Pengawalan Eksport. Anda tidak boleh mengguna atau selainnya mengeksport atau
mengeksport semula Perisian iOS tersebut kecuali sebagaimana yang dibenarkan oleh undang-
undang Amerika Syarikat dan undang-undang dalam bidang kuasa(-bidang kuasa) di mana Perisian
iOS tersebut diperoleh. Khususnya, tetapi tanpa had, Perisian iOS tersebut tidak boleh dieksport
atau dieksportkan semula (a) ke dalam mana-mana negara yang dilarang untuk berdagang dengan
Amerika Syarikat atau (b) kepada sesiapa yang tersenarai dalam Senarai Warganegara Ditentukan
Khas (Specially Designated Nationals) Jabatan Perbendaharaan Amerika Syarikat atau Senarai
Orang Terhalang atau Senarai Entiti Terhalang (Denied Person’s List or Entity List) Jabatan
Perdagangan Amerika Syarikat atau mana-mana senarai pihak terlarang lain. Dengan menggunakan
Perisian iOS tersebut, anda mewakilkan dan menjamin bahawa anda tidak berada dalam mana-
mana negara sedemikian atau mana-mana senarai sebegitu. Anda juga bersetuju bahawa anda tidak
mengguna Perisian iOS tersebut untuk sebarang tujuan yang dilarang oleh undang-undang Amerika
Syarikat, termasuk, tanpa had, pembangunan, perekaan, penghasilan atau pengeluaran senjata-
senjata peluru berpandu, nuklear, kimia atau biologi.

11. Pengguna-pengguna Akhir Kerajaan. Perisian iOS tersebut dan dokumentasi berkaitan adalah
“Item Komersial”, sepertimana terma tersebut didefinisikan dalam 48 C.F.R. §2.101, yang
mengandungi “Perisian Komputer Komersial” dan “Dokumentasi Perisian Komputer Komersial”,
sepertimana terma-terma tersebut digunakan dalam 48 C.F.R. §12.212 atau 48 C.F.R. §227.7202,
yang mana terpakai. Selaras dengan 48 C.F.R. §12.212 atau 48 C.F.R. §227.7202-1 hingga
227.7202-4, yang mana terpakai, Perisian Komputer Komersial dan Dokumentasi Perisian Komputer
Komersial adalah dilesenkan kepada pengguna-pengguna akhir Kerajaan Amerika Syarikat (a) hanya
sebagai Item Komersial dan (b) hanya dengan hak-hak tersebut seperti yang diberikan kepada
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 349 of 452



semua pengguna akhir lain menurut terma-terma dan syarat-syarat yang dinyatakan di sini. Hak-hak
yang tidak diterbitkan disimpan di bawah undang-undang hak cipta Amerika Syarikat.

12. Undang-undang yang Mengawal dan Kebolehasingan. Lesen ini akan dikawal dan ditafsirkan
mengikut undang-undang Negeri California, tidak termasuk prinsip-prinsip konflik undang-
undangnya. Lesen ini tidak akan dikawal oleh Konvensyen Pertubuhan Bangsa-bangsa Bersatu
berkenaan Kontrak-kontrak untuk Jualan Barangan Antarabangsa, yang pemakaiannya dikecualikan
secara nyata. Sekiranya anda adalah seorang pengguna yang menetap di United Kingdom, Lesen ini
akan dikawal oleh undang-undang dalam bidang kuasa tempat kediaman anda. Sekiranya
mahkamah yang mempunyai bidang kuasa kompeten mendapati mana-mana peruntukan Lesen ini,
atau sebahagian daripadanya, tidak boleh dikuatkuasakan untuk sebarang alasan, selebihnya akan
terus berkuatkuasa dan berkesan penuh.

13. Perjanjian Lengkap; Bahasa yang Mengawal. Lesen ini membentuk keseluruhan perjanjian di
antara anda dan Apple berkenaan dengan Perisian iOS tersebut dan menggantikan segala
persefahaman sebelum ini atau persefahaman serentak berkenaan perkara sedemikian. Tiada
pindaan atau perubahan kepada Lesen ini akan mengikat melainkan pindaan atau perubahan
tersebut dibuat secara bertulis dan ditandatangani oleh Apple. Sebarang terjemahan Lesen ini
dibuat untuk keperluan tempatan dan dalam keadaan berlakunya suatu pertikaian antara versi
Bahasa Inggeris dengan versi-versi bukan Bahasa Inggeris, versi Bahasa Inggeris Lesen ini akan
mengawal, setakat mana tidak dilarangkan oleh undang-undang tempatan di bidang kuasa anda.

14. Perakuan-perakuan Pihak Ketiga. Sebahagian daripada Perisian iOS tersebut mungkin
menggunakan atau termasuk perisian pihak ketiga dan bahan lain yang dilindungi hak cipta.
Pengakuan-pengakuan, terma-terma pelesenan dan penolakan-penolakan tuntutan untuk bahan
sedemikian adalah terkandung di dalam dokumentasi elektronik untuk Perisian iOS tersebut, dan
penggunaan bahan sedemikian oleh anda adalah dikuasai mengikut terma-terma masing-masing.
Penggunaan Perkhidmatan Google Safe Browsing adalah tertakluk kepada Terma-terma
Perkhidmatan Google (https://www.google.com/intl/ms/policies/terms/) dan Dasar Privasi Google
(https://www.google.com/intl/ms/policies/privacy/).

15. Penggunaan MPEG-4; Notis H.264/AVC.
(a) Perisian iOS tersebut dilesenkan di bawah Lesen Portfolio Paten Sistem MPEG-4 (MPEG-4
Systems Patent Portfolio License) untuk pengekodan menurut Standard Sistem-sistem MPEG-4
(MPEG-4 Systems Standard), melainkan bahawa suatu lesen tambahan dan pembayaran royalti
adalah diperlukan untuk pengekodan berkaitan dengan (i) data yang disimpan atau yang direplikasi
dalam media fizikal yang dibayar atas dasar tajuk demi tajuk (title by title basis) dan/atau (ii) data
yang dibayar atas dasar tajuk demi tajuk dan dihantar kepada pengguna akhir untuk simpanan kekal
dan/atau penggunaan. Lesen tambahan sedemikian boleh diperoleh daripada MPEG LA, L.LC. Sila
rujuk http://www.mpegla.com untuk maklumat-maklumat tambahan.

(b) Perisian iOS tersebut mengandungi kefungsian pengekodan dan/atau penyahkodan video
MPEG-4. Perisian iOS tersebut dilesenkan di bawah Lesen Portfolio Paten Visual MPEG-4 untuk
penggunaan peribadi dan bukan komersial seseorang pengguna untuk (i) pengekodan video
menurut Standard Visual MPEG-4 (“Video MPEG-4”) dan/atau (ii) penyahkodan video MPEG-4 yang
dikodkan oleh pengguna yang terlibat dalam aktiviti peribadi dan bukan komersial dan/atau yang
telah diperoleh daripada pembekal video yang dilesenkan oleh MPEG LA untuk menyediakan video
MPEG-4. Tiada lesen diberikan atau yang akan tersirat untuk sebarang penggunaan lain. Maklumat
tambahan termasuk yang berkaitan dengan penggunaan-penggunaan promosi, dalaman dan
komersial dan pelesenan boleh diperoleh daripada MPEG LA, L.LC. Sila rujuk http://
www.mpegla.com.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 350 of 452



(c) Perisian iOS tersebut mengandungi kefungsian pengekodan dan/atau penyahkodan AVC,
penggunaan komersial H.264/AVC memerlukan pelesenan tambahan dan peruntukan berikut adalah
terpakai: KEFUNGSIAN AVC DALAM PERISIAN iOS TERSEBUT ADALAH DILESENKAN DI SINI
HANYA UNTUK PENGGUNAAN PERIBADI DAN BUKAN KOMERSIAL SESEORANG PENGGUNA
UNTUK (i) PENGEKODAN VIDEO MENURUT STANDARD AVC (“VIDEO AVC”) DAN/ATAU (ii)
PENYAHKODAN VIDEO AVC YANG DIKODKAN OLEH PENGGUNA YANG TERLIBAT DALAM
AKTIVITI PERIBADI DAN BUKAN KOMERSIAL DAN/ATAU AVC VIDEO YANG TELAH DIPEROLEH
DARIPADA PEMBEKAL VIDEO YANG DILESENKAN UNTUK MENYEDIAKAN VIDEO AVC.
MAKLUMAT MENGENAI PENGGUNAAN-PENGGUNAAN LAIN DAN LESEN-LESEN BOLEH
DIDAPATI DARIPADA MPEG LA L.LC. SILA RUJUK http://www.mpegla.com.

16. Pembatasan-pembatasan Perkhidmatan Carian Yahoo. Perkhidmatan Carian Yahoo yang
tersedia melalui Safari hanya dilesenkan untuk penggunaan di negara-negara dan rantau-rantau
berikut sahaja: Argentina, Aruba, Australia, Austria, Barbados, Belgium, Bermuda, Brazil, Bulgaria,
Canada, Cayman Islands, Chile, tanah besar China, Hong Kong, Taiwan, Colombia, Cyprus, Czech
Republic, Denmark, Dominican Republic, Ecuador, El Salvador, Finland, France, Germany, Greece,
Grenada, Guatemala, Hungary, Iceland, India, Indonesia, Ireland, Italy, Jamaica, Japan, Latvia,
Lithuania, Luxembourg, Malaysia, Malta, Mexico, Netherlands, New Zealand, Nicaragua, Norway,
Panama, Peru, Philippines, Poland, Portugal, Puerto Rico, Romania, Singapore, Slovakia, Slovenia,
South Korea, Spain, St. Lucia, St. Vincent, Sweden, Switzerland, Thailand, The Bahamas, Trinidad
and Tobago, Turkey, UK, Uruguay, US dan Venezuela.

17. Notis Microsoft Exchange. Tetapan mel Microsoft Exchange dalam Perisian iOS tersebut
adalah dilesenkan hanya untuk penyegerakkan maklumat wayarles, seperti e-mel, kenalan-kenalan,
kalendar dan tugas-tugas, antara iOS anda dan Pelayan Microsoft Exchange atau perisian pelayan
lain yang dilesenkan oleh Microsoft untuk melaksanakan protokol Microsoft Exchange ActiveSync.

EA1566
21/02/2019

———————————————————————————————
Terma-terma dan Syarat-syarat Tambahan Apple Pay

Terma-terma dan Syarat-syarat Tambahan Apple Pay ini (“Terma Tambahan” ini) menambah kepada
Perjanjian Lesen Perisian iOS tersebut (“Lesen” tersebut); kedua-dua terma Lesen tersebut dan
Terma Tambahan ini menguasai penggunaan ciri Apple Pay tersebut oleh anda, yang akan dianggap
sebagai suatu “Perkhidmatan” di bawah Lesen tersebut. Terma-terma yang dinyatakan dengan huruf
besar dalam Terma Tambahan ini mempunyai maksud-maksud yang dinyatakan dalam Lesen
tersebut.

1.   Gambaran Keseluruhan dan Pembatasan-Pembatasan Penggunaan

Apple Pay mengupayakan anda untuk:

• menyimpan representasi-representasi maya kad-kad kredit, debit, dan pra-bayar, termasuk kad-
kad kredit, debit, pra-bayar kedai, dan kad Apple Pay Cash, yang disokong oleh ciri Apple Pay
(“Kad Bayaran Disokong”) dan menggunakan Peranti-peranti iOS yang disokong untuk membuat
bayaran-bayaran tanpa sentuhan (contactless) di lokasi-lokasi terpilih, atau dalam aplikasi-aplikasi
atau laman web-laman web;
• menggunakan kad-kad ganjaran dan hadiah yang disimpan dalam Wallet (“Kad Boleh Guna Apple
Pay”, dan bersama dengan Kad Bayaran Disokong, “Kad Disokong”) untuk membuat transaksi-
transaksi kad ganjaran dan hadiah tanpa sentuhan di kedai-kedai terpilih sebagai sebahagian
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 351 of 452



daripada pembayaran tanpa sentuhan yang menggunakan Apple Pay; dan
• menghantar bayaran-bayaran seorang kepada seorang (person to person) kepada pengguna-
pengguna Apple Pay lain.

Ciri-ciri Apple Pay dalam Perisian iOS tersebut mungkin hanya tersedia di rantau-rantau terpilih,
dengan pengeluar-pengeluar kad, institusi-institusi kewangan, dan pedagang-pedagang terpilih.
Ciri-ciri mungkin berbeza mengikut rantau, pengeluar, dan pedagang.

Untuk menggunakan Apple Pay, anda mesti mempunyai satu Kad Disokong. Kad Disokong mungkin
berubah dari semasa ke semasa. Selanjutnya, untuk menghantar atau menerima bayaran-bayaran
seorang kepada seorang, anda mesti mempunyai suatu kad Apple Pay Cash.

Kad Bayaran Disokong dan bayaran-bayaran seorang kepada seorang adalah dikaitkan dengan
Apple ID yang anda gunakan untuk log masuk ke dalam iCloud untuk menggunakan ciri-ciri ini. Kad
Disokong hanya tersedia ada untuk individu-individu yang berumur 13 tahun ke atas sahaja, dan
mungkin tertakluk kepada had-had tambahan berdasarkan umur yang dikenakan oleh iCloud atau
Kad Disokong yang anda ingin memperuntukkan. Kad Apple Pay Cash dan keupayaan untuk
menghantar dan menerima bayaran-bayaran seorang kepada seorang hanya tersedia ada untuk
individu-individu yang berumur 18 tahun ke atas sahaja.

Apple Pay adalah bertujuan untuk penggunaan peribadi anda sahaja dan anda hanya boleh
memperuntukkan Kad Disokong yang dimiliki anda sendiri. Sekiranya anda memperuntukkan suatu
kad korporat yang disokong, anda mewakili bahawa anda berbuat demikian dengan kebenaran
majikan anda dan anda diberi kuasa untuk mengikat majikan anda dengan terma-terma penggunaan
ini dan semua transaksi yang telah dilaksanakan melalui penggunaan ciri ini. Sekiranya anda
menghantar atau menerima suatu bayaran seorang kepada seorang, anda mewakili bahawa anda
berbuat demikian untuk penggunaan peribadi anda sahaja, dan bukan untuk penggunaan komersial.

Anda bersetuju untuk tidak menggunakan Apple Pay untuk sebarang tujuan yang menyalahi
undang-undang atau bersifat penipuan, atau untuk sebarang tujuan lain yang dilarang oleh Lesen
tersebut dan Terma Tambahan ini. Anda bersetuju selanjutnya untuk menggunakan Apple Pay
mengikut undang-undang dan peraturan-peraturan yang terpakai. Anda bersetuju untuk tidak
mengusik atau mengganggu perkhidmatan Apple Pay (termasuk mengakses perkhidmatan tersebut
melalui sebarang cara bersifat automatik), atau sebarang pelayan atau rangkaian yang tersambung
kepada perkhidmatan tersebut, atau sebarang dasar, keperluan, atau peraturan rangkaian-rangkaian
yang tersambung kepada perkhidmatan tersebut (termasuk sebarang akses kepada, penggunaan,
atau pemantauan data atau trafiknya yang tidak dibenarkan).

2.   Hubungan Apple Dengan Anda

Apple Pay membolehkan anda mewujudkan representasi maya Kad Disokong anda pada Peranti
iOS anda yang disokong. Walau bagaimanapun, Apple tidak memproses sebarang bayaran atau
transaksi kad bukan bayaran lain (seperti pengakruan dan penebusan ganjaran), menerima,
mengekal, atau memindah wang anda, atau mempunyai sebarang kawalan lain ke atas sebarang
bayaran, pemulangan, bayaran balik, ganjaran, nilai, diskaun, atau aktiviti perdagangan lain yang
mungkin timbul daripada penggunaan ciri ini oleh anda.

Terma-terma perjanjian-perjanjian pemegang kad yang anda mungkin ada dengan pengeluar kad
anda akan terus mengawal penggunaan Kad Disokong anda dan penggunaannya berhubung
dengan Apple Pay. Serupanya, penyertaan anda dalam sebarang program ganjaran pedagang atau
kad hadiah dan penggunaan Kad Boleh Guna Apple Pay anda berhubung dengan Apple Pay juga
adalah tertakluk kepada terma-terma dan syarat-syarat pedagang sedemikian.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 352 of 452




Kad Apple Pay Cash dan keupayaan untuk menghantar dan menerima bayaran-bayaran seorang
kepada seorang hanya tersedia di Amerika Syarikat, dan adalah perkhidmatan-perkhidmatan yang
disediakan oleh Green Dot Bank, ahli FDIC. Apabila anda membolehkan ciri-ciri ini dalam Apple Pay,
ia bermakna anda membuka sebuah akaun dengan Green Dot Bank, dan apabila anda menghantar
atau menerima apa-apa bayaran seorang kepada seorang atau memuatkan atau mengeluarkan
wang daripada kad Apple Pay Cash anda, Green Dot Bank akan bertanggungjawab untuk menerima
dan menghantar wang anda kepada penerima yang ditujukan. Institusi kewangan yang
bertanggungjawab untuk menawarkan Apple Pay Cash dan bayaran-bayaran seorang kepada
seorang dalam Apple Pay adalah tertakluk kepada perubahan, dan penggunaan ciri-ciri sedemikian
oleh anda adalah tertakluk kepada terma-terma dan syarat-syarat mereka.

Tiada apa-apa dalam Lesen tersebut atau Terma Tambahan ini mengubah terma-terma sebarang
perjanjian pemegang kad, pengguna, atau pedagang, dan terma-terma sebegitu akan mengawal
penggunaan anda berkenaan dengan Kad Disokong terpakai atau ciri bayaran seorang kepada
seorang Apple Pay dan representasi mayanya pada Peranti iOS anda. Anda bersetuju bahawa Apple
bukan suatu pihak kepada perjanjian-perjanjian pemegang kad atau pedagang anda, dan juga
bahawa Apple tidak bertanggungjawab untuk (a) kandungan, ketepatan, atau ketiadaan sebarang
kad bayaran, kad ganjaran, kad hadiah, aktiviti perdagangan, transaksi, atau pembelian semasa
menggunakan kefungsian Apple Pay; (b) pengeluaran kredit atau penilaian kelayakan untuk kredit;
(c) pengakruan atau penebusan ganjaran atau nilai tersimpan di bawah suatu program pedagang; (d)
pembiayaan atau penambahan nilai kepada kad-kad pra-bayar; (e) menghantar atau menerima
bayaran-bayaran seorang kepada seorang; atau (f) pemuatan, penebusan, atau pengeluaran wang
daripada kad Apple Pay Cash anda.

Untuk semua pertikaian atau soalan mengenai kad-kad bayaran, kad-kad ganjaran, kad-kad hadiah,
atau aktiviti perdagangan yang berkaitan, sila hubungi pengeluar atau pedagang anda yang
terpakai. Untuk soalan-soalan berkenaan kad Apple Pay Cash atau bayaran-bayaran seorang
kepada seorang, sila hubungi Apple Support.

3.   Privasi

Apple Pay memerlukan sesetengah maklumat dari Peranti iOS anda untuk menawarkan pengalaman
penuh. Selanjutnya, apabila anda menggunakan kad Apple Pay Cash anda atau menghantar atau
menerima bayaran-bayaran seorang kepada seorang, maklumat tambahan mengenai transaksi-
transaksi anda adalah dikumpulkan dan disimpan untuk memberi perkhidmatan kepada akaun anda
dan untuk tujuan pencegahan penipuan dan pengawal selia. Anda boleh mendapatkan maklumat
lanjutan mengenai data yang dikumpulkan, digunakan, atau dikongsikan sebagai sebahagian
penggunaan Apple Pay, kad Apple Pay Cash tersebut, atau bayaran-bayaran seorang kepada
seorang dengan Apple Pay oleh anda dengan membaca Tentang Apple Pay dan Privasi (yang boleh
diakses melalui Wallet & Apple Pay dalam Peranti iOS anda, atau dalam aplikasi Watch dalam mana-
mana peranti iOS tersambung) atau dengan melayari https://www.apple.com/privacy/. Dengan
menggunakan ciri-ciri ini, anda bersetuju dan membenarkan Apple serta anak-anak syarikatnya dan
ejen-ejennya untuk menyampai, mengumpul, mengekal, memproses, dan mengguna kesemua
maklumat yang dinyatakan di atas, untuk menyediakan kefungsian Apple Pay.

4.   Keselamatan; Peranti-Peranti Terhilang atau Terlumpuh

Apple Pay menyimpan representasi-representasi maya Kad Disokong anda dan seharusnya
dilindungi sebagaimana anda akan melindungi wang tunai atau kad-kad kredit, debit, pra-bayar,
ganjaran, atau hadiah fizikal anda. Pemberian kata laluan peranti anda kepada pihak ketiga, atau
pemberian kebenaran kepada pihak ketiga untuk membenarkan cap jari mereka mengguna Touch ID
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 353 of 452



atau membolehkan Face ID, mungkin akan mengupayakan mereka untuk membuat bayaran-bayaran
menghantar, meminta, atau menerima bayaran-bayaran seorang kepada seorang, mengeluarkan
wang daripada kad Apple Pay Cash anda, atau menerima atau menebus ganjaran atau kredit
dengan menggunakan Apple Pay dalam peranti anda. Anda bertanggungjawab sepenuhnya untuk
mengekalkan keselamatan Peranti iOS anda dan kata laluan anda. Anda bersetuju bahawa Apple
tidak bertanggungjawab sekiranya anda hilang atau kongsi akses kepada peranti anda. Anda
bersetuju bahawa Apple tidak bertanggungjawab sekiranya anda membuat modifikasi-modifikasi
yang tidak dibenarkan kepada iOS (seperti melalui ‘jailbreak’).

Anda mungkin perlu membolehkan langkah-langkah keselamatan tambahan, seperti pengesahan
dua-faktor bagi Apple ID anda, untuk mengakses ciri-ciri tertentu Apple Pay, termasuk kad Apple
Pay Cash dan bayaran-bayaran seorang kepada seorang dengan Apple Pay. Sekiranya anda
kemudiannya melumpuhkan ciri-ciri keselamatan ini, anda mungkin tidak dapat meneruskan akses
anda kepada ciri-ciri tertentu Apple Pay.

Sekiranya peranti anda terhilang atau dicuri dan anda telah membolehkan Find My iPhone, anda
boleh menggunakan Find My iPhone untuk cuba menggantungkan keupayaan untuk membayar
dengan Kad Bayaran Disokong maya atau menghantar bayaran-bayaran seorang kepada seorang
pada peranti tersebut dengan mengaktifkan Lost Mode. Anda juga boleh memadamkan peranti
anda, yang akan cuba menggantungkan keupayaan untuk membayar dengan Kad Bayaran
Disokong maya atau menghantar bayaran-bayaran seorang kepada seorang pada peranti tersebut
dan juga akan cuba melumpuhkan Kad Boleh Guna Apple Pay. Anda juga harus menghubungi
pengeluar Kad Bayaran Disokong anda, pedagang yang mengeluarkan Kad Boleh Guna Apple Pay
anda, dan Apple jika kes tersebut melibatkan kad Apple Pay Cash anda untuk menghalang akses
yang tidak dibenarkan kepada Kad Disokong anda.

Sekiranya anda melaporkan atau Apple mengesyaki aktiviti yang bersifat penipuan atau
penyalahgunaan, anda bersetuju untuk bekerjasama dengan Apple dalam sebarang penyiasatan dan
untuk menggunakan langkah-langkah pencegahan penipuan yang kami tetapkan.

5   Pembatasan Liabiliti

SELAIN DARIPADA PENOLAKAN-PENOLAKAN TUNTUTAN WARANTI-WARANTI DAN
PEMBATASAN LIABILITI YANG DINYATAKAN DALAM LESEN TERSEBUT, APPLE TIDAK
MENANGGUNG SEBARANG LIABILITI UNTUK SEBARANG PEMBELIAN, PEMBAYARAN,
TRANSAKSI, ATAU AKTIVITI PERDAGANGAN LAIN YANG DILAKSANAKAN DENGAN
MENGGUNAKAN CIRI APPLE PAY, DAN ANDA BERSETUJU UNTUK MERUJUK SEPENUHNYA
KEPADA PERJANJIAN-PERJANJIAN YANG ANDA MUNGKIN ADA DENGAN PENGELUAR KAD,
RANGKAIAN BAYARAN, INSTITUSI-INSTITUSI KEWANGAN, ATAU PEDAGANG ANDA UNTUK
MENYELESAIKAN SEBARANG PERTANYAAN ATAU PERTIKAIAN BERKENAAN DENGAN KAD
DISOKONG, BAYARAN-BAYARAN SEORANG KEPADA SEORANG, DAN AKTIVITI PERDAGANGAN
YANG BERKAITAN ANDA.

————————————
NOTIS-NOTIS DARIPADA APPLE
Sekiranya Apple perlu menghubungi anda berkenaan produk atau akaun anda, anda bersetuju untuk
menerima notis-notis tersebut melalui e-mel. Anda bersetuju bahawa notis-notis sedemikian yang
kami hantar secara elektronik akan memenuhi sebarang keperluan komunikasi di sisi undang-
undang.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 354 of 452



ROMÂNĂ

IMPORTANT: PRIN UTILIZAREA iPHONE-ULUI, iPAD-ULUI sau iPOD TOUCH-ULUI DVS.
(“DISPOZITIV iOS”), SUNTEȚI DE ACORD CU OBLIGAȚIA DE A RESPECTA CONDIȚIILE
URMĂTOARE:

A.   CONTRACT DE LICENȚĂ SOFTWARE PENTRU APPLE iOS
B.   TERMENE SUPLIMENTARE PENTRU APPLE PAY
C.   ÎNȘTIINȚĂRI DIN PARTEA APPLE

APPLE INC.
CONTRACT DE LICENȚĂ SOFTWARE PENTRU iOS
Licență individuală

VĂ RUGĂM SĂ CITIȚI CU ATENȚIE ACEST CONTRACT DE LICENȚĂ SOFTWARE (“LICENȚĂ”)
ÎNAINTE DE A UTILIZA DISPOZITIVUL DVS. iOS SAU DE A DESCĂRCA ACTUALIZAREA
SOFTWARE CARE ÎNSOȚEȘTE ACEASTĂ LICENȚĂ. PRIN UTILIZAREA DISPOZITIVULUI DVS. iOS
SAU DESCĂRCAREA UNEI ACTUALIZĂRI SOFTWARE, DUPĂ CAZ, SUNTEȚI DE ACORD CU
OBLIGAȚIA DE A RESPECTA CLAUZELE ACESTEI LICENȚE. DACĂ NU SUNTEȚI DE ACORD CU
CLAUZELE ACESTEI LICENȚE, NU UTILIZAȚI DISPOZITIVUL iOS SAU NU DESCĂRCAȚI
ACTUALIZAREA SOFTWARE.

DACĂ AȚI CUMPĂRAT RECENT UN DISPOZITIV iOS ȘI NU SUNTEȚI DE ACORD CU CONDIȚIILE
LICENȚEI, PUTEȚI RETURNA DISPOZITIVUL iOS ÎN CADRUL PERIOADEI DE RETURNARE LA
MAGAZINUL APPLE STORE SAU LA DISTRIBUITORUL AUTORIZAT DE LA CARE L-AȚI OBȚINUT
PENTRU A OBȚINE O RAMBURSARE, ÎN CONFORMITATE CU POLITICA DE RETURNARE APPLE
DE LA https://www.apple.com/legal/sales-support/.

1. Generalități.
(a) Software-ul (inclusiv codul Boot ROM, software-ul încapsulat și software-ul de la terțe părți),
documentația, interfețele, conținutul, fonturile și orice alte date care însoțesc Dispozitivul dvs. iOS
(„Software iOS original”), care pot fi actualizate sau înlocuite prin îmbunătățiri ale funcționalităților,
actualizări software sau software-uri de restaurare a sistemului furnizate de Apple („Actualizări software
iOS”), fie că se află în memorie doar pentru citire, pe orice alt suport sau în orice altă formă (Software-ul
iOS original și Actualizările software iOS sunt denumite în ansamblu „Software iOS”) vă este licențiat și
nu vândut de către Apple Inc. („Apple”) pentru a fi utilizat doar în conformitate cu condițiile acestei
Licențe. Apple și licențiatorii săi își păstrează proprietatea asupra Software-ului iOS în sine și își rezervă
toate drepturile care nu vă sunt acordate în mod expres. Sunteți de acord că termenele acestei Licențe
se vor aplica oricărei aplicații marca Apple care poate fi integrată pe dispozitivul dvs. iOS, în afara
cazului în care aplicația respectivă are o licență separată, caz în care sunteți de acord că termenele
licenței respective vor guverna modul în care utilizați aplicația.

(b) Apple, la discreția sa, poate pune la dispoziție Actualizări software iOS ulterioare. Este posibil ca
Actualizările software iOS, dacă vor exista, să nu includă în mod necesar toate funcționalitățile software
existente sau funcționalitățile noi pe care Apple le lansează pentru modele mai noi sau diferite de
Dispozitive iOS. Clauzele acestei Licențe vor guverna orice Actualizări software iOS furnizate de Apple,
cu excepția cazului în care asemenea Actualizări software iOS sunt însoțite de o licență separată, caz în
care sunteți de acord că vor guverna clauzele licenței respective.

(c) Dacă utilizați funcționalitatea de configurare expres pentru a configura un Dispozitiv iOS nou pe baza
Dispozitivului dvs. iOS existent, sunteți de acord că utilizarea Software-ului iOS de pe noul dvs.
Dispozitiv iOS va fi guvernată de clauzele acestei Licențe, cu excepția cazului în care acesta este însoțit
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 355 of 452



de o licență separată, caz în care sunteți de acord că utilizarea acelui Sofware iOS va fi guvernată de
clauzele licenței respective. Dispozitivul dvs. iOS va verifica periodic dacă există Actualizări software iOS
de la Apple. Dacă este disponibilă o actualizare, aceasta se poate descărca și instala automat pe
Dispozitivul dvs. iOS și, dacă este cazul, pe dispozitivele dvs. periferice. Prin utilizarea Software-ului
Apple, sunteți de acord că Apple poate descărca și instala Actualizări software iOS automate pe
Dispozitivul iOS și pe dispozitivele dvs. periferice. Puteți dezactiva complet actualizările automate în
orice moment modificând configurările Actualizări automate din Configurări > General > Actualizare
software.

2. Utilizările permise de licență și restricțiile.
(a) Sub incidența termenelor și condițiilor acestei Licențe, vă este acordată o licență neexclusivă limitată
de a utiliza Software-ul iOS pe un singur Dispozitiv iOS purtând marca Apple. Cu excepția derogărilor
prevăzute în Secțiunea 2(b) de mai jos și în afara cazului existenței unor alte prevederi într-un contract
separat în dvs. și Apple, această Licență nu permite ca Software-ul iOS să existe la un moment dat pe
mai mult de un Dispozitiv iOS purtând marca Apple și vă este interzis să distribuiți sau să puneți la
dispoziție Software-ul iOS printr-o rețea unde ar putea fi utilizat de mai multe dispozitive simultan.
Această Licență nu vă acordă nici un drept de a utiliza interfețele proprietare Apple și alte proprietăți
intelectuale în vederea conceperii, dezvoltării, fabricării, licențierii sau distribuirii unor terțe dispozitive și
accesorii sau unor terțe aplicații software, destinate utilizării cu Dispozitive iOS. Unele dintre aceste
drepturi sunt disponibile sub licențe distincte de la Apple. Pentru informații suplimentare despre
dezvoltarea dispozitivelor și accesoriilor pentru dispozitive iOS de către terți, vizitați https://
developer.apple.com/programs/mfi/. Pentru informații suplimentare despre dezvoltarea de aplicații
pentru dispozitive iOS, vizitați https://developer.apple.com.

(b) Sub incidența termenelor și condițiilor acestei Licențe, vă este acordată o licență neexclusivă limitată
pentru a descărca Actualizările Software iOS ce pot fi puse la dispoziție de Apple pentru modelul dvs. de
dispozitiv iOS pentru a actualiza sau pentru a restaura software-ul de pe orice astfel de dispozitiv iOS pe
care îl dețineți sau pe care îl controlați. Această Licență nu vă permite să actualizați sau să restaurați
niciun Dispozitiv iOS pe care nu îl dețineți sau pe care nu îl aveți sub control, și vă interzice să distribuiți
sau să puneți la dispoziție Actualizările software iOS într-o rețea unde ar putea fi utilizate de mai multe
dispozitive sau computere simultan. Dacă descărcați o Actualizare software iOS pe computerul dvs.,
aveți dreptul să realizați o singură copie a Actualizării software iOS, stocată pe computerul dvs. într-o
formă citibilă de către mașină doar cu rol de copie de siguranță, cu condiția imperativă ca această copie
de siguranță să includă toate înștiințările despre drepturile de autor și alte drepturi de proprietate
conținute în original.

(c) În măsura în care Apple a preinstalat aplicații marca Apple din App Store pe dispozitivul dvs. iOS la
momentul achiziției („Aplicații preinstalate”), trebuie să vă autentificați în App Store și să asociați aceste
Aplicații preinstalate contului dvs. App Store pentru a le putea utiliza pe dispozitivul dvs. iOS. Când
asociați o aplicație preinstalată, cu contul dvs. App Store, veți asocia în același timp în mod automat
toate celelalte aplicații preinstalate de pe dispozitivul dvs. iOS. Alegând să asociați aplicațiile preinstalate
contului dvs. App Store, acceptați faptul că Apple poate să transmită, să colecteze, să întrețină, să
prelucreze și să utilizeze atât ID-ul Apple utilizat de contul dvs. App Store, cât și un identificator unic de
hardware colectat de pe dispozitivul dvs. iOS, ca identificatori unici de cont cu scopul de a verifica
eligibilitatea cererii dvs. și de a vă oferi acces la Aplicațiile preinstalate prin intermediul App Store. Dacă
nu doriți să utilizați o aplicație preinstalată, o puteți șterge de pe dispozitivul dvs. iOS oricând.

(d) Nu vă sunt permise și sunteți de acord să nu întreprindeți sau să permiteți altora să întreprindă
copierea (cu excepția celei permise în mod expres de prezenta Licență), decompilarea, procedee de
reverse-engineering, dezasamblarea, încercarea de a deriva codul sursă, decriptarea, modificarea sau
crearea de lucrări derivate ale software-ului iOS sau ale oricăror servicii furnizate de software-ul iOS ori
ale oricărei părți a acestora (cu excepția cazului și doar în măsura în care oricare dintre restricțiile
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 356 of 452



menționate anterior este interzisă prin dispoziții legale sau prin condițiile de licențiere ce guvernează
utilizarea componentelor open-source care pot fi incluse în software-ul iOS).

(e) Software-ul iOS poate fi utilizat pentru a reproduce materiale atâta timp cât această utilizare se
limitează la reproducerea materialelor neprotejate prin drepturi de autor, materialelor pentru care dețineți
dreptul de autor, sau materialelor pe care sunteți autorizat sau pentru care dispuneți de o permisiune
legală pentru a le reproduce. Drepturile de proprietate intelectuală și de titlu din și pentru orice conținut
afișat, stocat sau accesat prin intermediul dispozitivului iOS aparțin proprietarului conținutului respectiv.
Este posibil ca asemenea conținut să fie protejat prin legi și tratate privind dreptul de autor sau de
proprietate intelectuală și poate face obiectul condițiilor de utilizare ale terței părți care furnizează
asemenea conținut. În afara cazurilor reglementate în prezenta, această Licență nu vă acordă drepturi de
a utiliza conținutul respectiv și nici nu vă garantează că acel conținut vă va fi disponibil în continuare.

(f) În conformitate cu termenele și condițiile acestei Licențe, puteți utiliza caracterele Animoji și Memoji
incluse sau create cu Software-ul iOS („Caractere de sistem”) (i) în timpul rulării software-ului iOS și (ii)
pentru a crea propriul conținut și propriile proiecte originale pentru uzul dvs. personal, necomercial. Nu
este permisă nicio altă utilizare a Caracterelor de sistem de către această Licență, inclusiv, dar fără
limitare la: utilizare, reproducere, afișare, realizare, înregistrare, publicare sau redistribuire a oricăror
Caractere de sistem într-un context destinat profitului, non-profit, de partajare publică sau comercial.

(g) Sunteți de acord să utilizați software-ul și serviciile iOS (așa cum sunt definite în Secțiunea 5 de mai
jos) în conformitate cu toate legile în vigoare, inclusiv legile locale ale țării sau regiunii în care aveți
domiciliul sau în care descărcați sau utilizați software-ul și serviciile iOS. Este posibil ca funcționalitățile
software-ului și serviciilor iOS să nu fie disponibile în toate limbile și în toate regiunile; anumite
funcționalități variază în funcție de regiune, iar altele pot fi restricționate sau indisponibile de la furnizorul
dvs. de servicii. O conexiune de date Wi-Fi sau celulară este necesară pentru anumite funcționalități ale
software-ului și serviciilor iOS.

(h) Utilizarea App Store necesită o combinație unică între numele de utilizator și parolă, cunoscută sub
numele de ID Apple. De asemenea, un ID Apple este necesar pentru accesarea actualizărilor pentru
aplicație și pentru accesarea anumitor funcționalități ale software-ului și serviciilor iOS.

(i) Luați la cunoștință că numeroase funcționalități, aplicații integrate și Servicii ale Software-ului iOS
transmit date și pot avea impact asupra costurilor asociate abonamentului dvs. de date și că sunteți
responsabil pentru asemenea costuri. Puteți vedea și controla aplicațiile cărora le este permisă utilizarea
datelor celulare și să vedeți o estimare a cantității de date consumate de aceste aplicații în secțiunea
Date celulare din Configurări. În plus, Asistență Wi-Fi va comuta automat la serviciul celular atunci când
conexiunea Wi-Fi este slabă, ceea ce poate crește utilizarea datelor celulare, cu impact asupra costurilor
asociate abonamentului dvs. de date. Funcția Asistență Wi-Fi este activată în mod implicit, dar poate fi
dezactivată în Configurări. Pentru mai multe informații, consultați Manualul de utilizare al Dispozitivului
dvs. iOS.

(j) Dacă alegeți să permiteți actualizări automate ale aplicațiilor, dispozitivul dvs. iOS va căuta periodic în
baza de date Apple actualizări la aplicațiile de pe dispozitivul dvs. și, dacă este disponibilă, actualizarea
va fi descărcată automat și va fi instalată pe dispozitiv. Puteți dezactiva complet actualizările automate
ale aplicațiilor oricând, accesând Configurări, apoi apăsați iTunes & App Store și, sub Descărcări
automate, dezactivați Actualizări.

(k) Utilizarea Dispozitivului dvs. iOS în anumite condiții vă poate distrage atenția și poate conduce la
situații periculoase (de exemplu, evitați scrierea mesajelor în timp ce conduceți un vehicul sau folosirea
căștilor în timp ce mergeți cu bicicleta). Prin utilizarea Dispozitivului dvs. iOS, sunteți de acord că aveți
responsabilitatea de a respecta normele ce interzic sau limitează folosirea telefoanelor mobile sau a
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 357 of 452



căștilor (de exemplu, cerința de a folosi opțiunile „hands-free” pentru efectuarea apelurilor în timpul
conducerii).

3. Transferarea. Sunt interzise închirierea, darea în leasing, împrumutul, redistribuirea sau sublicențierea
Software-ului iOS. Cu toate acestea, puteți realiza o transferare unică și permanentă a tuturor drepturilor
dvs. de licență asupra Software-ului iOS către o altă parte, asociată cu transferarea proprietății
Dispozitivului dvs. iOS, în următoarele condiții: (a) transferul trebuie să includă Dispozitivul dvs. iOS și
Software-ul iOS în integralitatea sa, inclusiv toate părțile componente și această Licență; (b) nu veți
păstra nici o copie a Software-ului iOS, integrală sau parțială, inclusiv copiile stocate pe un computer
sau pe un alt dispozitiv de stocare; și (c) partea care va primi Software-ul iOS va lua la cunoștință și va
accepta termenele și condițiile din prezenta Licență.

4. Consimțământul referitor la utilizarea datelor. Când utilizați dispozitivul, numărul dvs. de telefon și
anumiți identificatori unici ai dispozitivului dvs. iOS sunt trimiși la Apple pentru a le permite celorlalți să
vă contacteze folosind numărul dvs. de telefon atunci când utilizați diverse funcționalități de comunicare
ale Software-ului iOS, cum ar fi iMessage și FaceTime. Când utilizați iMessage, Apple poate stoca
mesajele dvs. într-o formă criptată pentru o perioadă limitată de timp pentru a asigura trimiterea
acestora. Puteți dezactiva FaceTime sau iMessage accesând configurările FaceTime sau Mesaje pe
Dispozitivul dvs. iOS. Anumite funcționalități, precum Analiză, Servicii de localizare, Siri și Dictare pot
avea nevoie de informații de pe Dispozitivul dvs. iOS pentru a asigura funcționarea acestora. Atunci când
activați sau utilizați aceste funcționalități, vor fi furnizate detalii referitoare la informațiile care sunt trimise
la Apple și modul în care pot fi folosite acestea. Puteți afla mai multe detalii accesând https://
www.apple.com/privacy/ Informațiile dvs. vor fi tratate întotdeauna în conformitate cu politica Apple
privind confidențialitate, disponibilă la: https://www.apple.com/legal/privacy/.

5. Serviciile și Materialele terțelor părți.
(a) Software-ul iOS poate permite accesul la Apple iTunes Store, App Store, Apple Books, Game Center,
iCloud, Hărți și alte servicii și site-uri web aparținând companiei Apple și unor terțe părți (denumite
colectiv și individual „Servicii”). Este posibil ca aceste Servicii să nu fie disponibile în toate limbile sau în
toate țările. Utilizarea acestor Servicii necesită acces la Internet și utilizarea anumitor Servicii poate
necesita un ID Apple, poate necesita din partea dvs. acceptarea unor termene suplimentare și poate
face obiectul unor costuri suplimentare. Prin utilizarea acestui software în asociere cu un ID Apple sau cu
un alt serviciu Apple, acceptați condițiile de utilizare în vigoare pentru serviciul respectiv, precum ultima
versiune a Termenelor și condițiilor Serviciilor multimedia Apple aplicabile în țara din care ați accesat
aceste Servicii, pe care le puteți accesa și consulta la https://www.apple.com/legal/internet-services/
itunes/.

(b) Dacă vă abonați la iCloud, anumite funcționalități iCloud precum „Poze iCloud”, „Fluxul dvs. foto”,
„Albume partajate”, „Backup” și „Găsire iPhone” pot fi accesate direct din Software-ul iOS. Luați la
cunoștință și acceptați că utilizarea iCloud și a acestor funcționalități face obiectul celor mai recente
termene și condiții ale serviciului iCloud, pe care îi puteți accesa și examina la: https://www.apple.com/
legal/internet-services/icloud/.

(c) Conținutul aplicației News. Utilizarea conținutului accesat prin intermediul aplicației News este limitată
exclusiv la utilizarea personală, necomercială, nu transferă către dvs. nicio cotă-parte de proprietate
asupra conținutului și exclude în mod expres, fără limitare la acestea, orice drepturi de utilizare
comercială sau promoțională din acest conținut. Mai mult, vă este interzisă republicarea, retransmiterea
și reproducerea oricăror imagini accesate prin intermediul News ca fișiere de sine stătătoare.

(d) Hărți. Serviciul Hărți și funcționalitățile software-ului iOS („Hărți”), inclusiv acoperirea datelor
geografice, pot varia în funcție de regiune. Atunci când utilizați orice funcționalități bazate pe localizarea
geografică din Hărți, precum navigația pas cu pas, traficul și căutările locale, diverse informații legate de
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 358 of 452



localizare și de utilizare pot fi trimise la Apple, inclusiv localizarea geografică în timp real a Dispozitivului
dvs. iOS, pentru a vă procesa solicitările și pentru a ajuta la îmbunătățirea serviciului Hărți. Asemenea
date de localizare și de utilizare sunt colectate de Apple într-o formă care nu vă identifică personal. Prin
utilizarea serviciului Hărți, sunteți de acord și consimțiți ca Apple și subsidiarele și agenții Apple
săi să poată transmite, colecta, întreține, procesa și utiliza aceste informații pentru furnizarea și
îmbunătățirea funcționalităților și serviciului Hărți și a altor produse și servicii Apple. De asemenea,
Apple poate furniza aceste informații, fie într-o formă agregată, fie sub o formă care nu vă identifică
personal, partenerilor și licențiatorilor săi, pentru a ajuta la îmbunătățirea hărților și produselor și
serviciilor acestora bazate pe localizare. Puteți dezactiva funcționalitatea bazată pe localizare geografică
din Hărți accesând configurarea Servicii de localizare de pe Dispozitivul dvs. iOS și dezactivând
configurarea individuală de localizare pentru Hărți. Anumite funcționalități Hărți vor fi însă indisponibile
dacă dezactivați configurarea Servicii de localizare, precum navigația pas cu pas.

(e) Înțelegeți că prin utilizarea oricăruia dintre Servicii este posibil să întâlniți conținut ce poate fi
considerat ofensator, indecent sau discutabil, conținut ce poate sau nu să fi fost identificat ca având
limbaj explicit, și că rezultatele oricărei căutări sau accesarea oricărei adrese URL pot genera automat și
neintenționat linkuri sau referințe către materiale discutabile. Cu toate acestea, sunteți de acord să
utilizați serviciile pe propriul risc și compania Apple, asociații, agenții, directorii sau licențiatorii acesteia
nu vor fi considerați răspunzători pentru conținutul ce poate fi privit drept ofensator, indecent sau
discutabil.

(f) Unele Servicii pot afișa, include sau pune la dispoziție conținut, date, informații, aplicații sau materiale
de la terțe părți (“Materialele unor terțe părți”) sau pot furniza linkuri către anumite site-uri web ale unor
terțe părți. Prin utilizarea acestor Servicii, recunoașteți și sunteți de acord că Apple nu poate fi considerat
răspunzător pentru examinarea sau evaluarea conținutului, acurateței, integralității, actualității, validității,
respectării drepturilor de autor, legalității, decenței, calității sau oricărui alt aspect al unor asemenea
Materiale sau site-uri web ale unor terțe părți. Apple, reprezentanții săi și societățile sale afiliate sau
subsidiare nu garantează, nu aprobă, nu susțin și nu își asumă răspunderea față de dvs. sau orice altă
persoană pentru orice Servicii, Materiale sau site-uri web ale unor terțe părți, sau pentru orice alte
materiale, produse sau servicii ale unor terțe părți. Materialele unor terțe părți și linkurile către alte site-uri
web sunt furnizate strict pentru propria dvs. comoditate.

(g) Nici Apple și nici unul dintre furnizorii de conținut Apple nu garantează disponibilitatea, acuratețea,
integralitatea, fiabilitatea sau actualitatea informațiilor bursiere, a datelor de localizare geografică sau a
oricăror alte date afișate de oricare dintre Servicii. Informațiile financiare afișate de către orice Servicii
sunt doar cu titlu informativ și nu trebuie să vă bazați pe ele drept recomandări pentru investiții. Înainte
de a executa orice tranzacție bursieră bazată pe informațiile obținute prin intermediul Serviciilor, este
recomandat să consultați un specialist financiar sau în investiții, care este calificat din punct de vedere
legal pentru a furniza consultanță financiară sau de investiții în țara sau în regiunea dvs. Datele de
localizare geografică furnizate de către orice Servicii, inclusiv serviciul Hărți Apple, sunt furnizate doar
pentru navigație sau planificare elementară și nu trebuie să vă bazați pe ele în situații care necesită
informații precise de localizare sau în care datele de localizare eronate, imprecise, întârziate sau
incomplete pot duce la moarte, vătămare personală sau daune materiale sau de mediu. Acceptați faptul
că rezultatele pe care le primiți de la serviciul Hărți pot diferi față de condițiile rutiere și de teren reale din
cauza unor factori care pot afecta precizia datelor Hărți, precum, fără limitare, condițiile meteo, rutiere și
de trafic și evenimentele geopolitice. Pentru siguranța dvs. în timpul utilizării funcționalității de navigație,
acordați întotdeauna atenție indicatoarelor rutiere și condițiilor rutiere curente. Respectați practicile
conducerii preventive și reglementările privind traficul și rețineți că este posibil ca itinerarele pietonale să
nu includă trotuarele sau căile pietonale.

(h) În măsura în care încărcați orice conținut prin intermediul utilizării Serviciilor, declarați că dețineți toate
drepturile pentru conținutul respectiv sau că dispuneți de o autorizație sau de un alt tip de permisiune
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 359 of 452



legală pentru a-l încărca și că respectivul conținut nu încalcă niciuna dintre condițiile de utilizare
aplicabile Serviciilor. Sunteți de acord că Serviciile includ conținut, informații și materiale protejate prin
drepturi de proprietate care sunt deținute de către Apple, de proprietarul site-ului sau concesionarii
acestora și sunt protejate prin legile referitoare la proprietatea intelectuală și alte legi, incluzând dar fără
a se limita la legea dreptului de autor. Sunteți de acord că nu veți utiliza asemenea conținut, informații și
protejate prin drepturi de proprietate în nici un alt mod decât cel permis de Servicii și în nici o altă
modalitate inconsistentă cu clauzele acestei Licențe sau care încalcă orice drepturi de proprietate ale
unei terțe părți sau ale Apple. Nici o porțiune a Serviciilor nu poate fi reprodusă sub nici o formă și prin
nici un mijloc. Sunteți de acord să nu modificați, închiriați, dați în leasing, împrumutați, vindeți, distribuiți
sau să creați lucrări derivate pe baza Serviciilor, de nici o manieră, și nu veți exploata Serviciile în nici un
mod neautorizat, incluzând dar fără a se limita la utilizarea Serviciilor pentru transmiterea de viruși,
viermi, troieni sau alte tipuri de malware pentru computer sau pentru violarea sau supra-încărcarea
capacității rețelei. De asemenea, sunteți de acord să nu utilizați Serviciile în nici o manieră pentru a
hărțui, abuza, spiona, amenința, defăima sau pentru a încălca sau viola în orice fel drepturile oricărei alte
părți, și că Apple nu face în nici un fel responsabil pentru asemenea utilizări din partea dvs., nici pentru
orice mesaje sau transmisii hărțuitoare, amenințătoare, defăimătoare, ofensatoare, ilicite sau ilegale pe
care le-ați putea recepționa ca rezultat al utilizării oricăruia dintre Servicii.

(i) În plus, Serviciile și Materialele terțelor părți care pot fi accesate, asociate prin linkuri sau afișate pe
Dispozitivul iOS nu sunt disponibile în toate limbile sau în toate țările sau regiunile. Apple nu face nicio
reprezentare că asemenea Servicii și Materiale de la terțe părți sunt adecvate sau disponibile pentru
utilizare în indiferent ce localizare geografică particulară. În măsura în care optați să utilizați sau să
accesați asemenea Servicii și Materiale de la terțe părți, o faceți prin propria dvs. inițiativă și sunteți
responsabil pentru conformitatea cu orice legi în vigoare, inclusiv dar fără a se limita la legile locale și la
legile privind intimitatea și colectarea datelor aplicabile. Partajarea sau sincronizarea pozelor prin
intermediul dispozitivului dvs. iOS poate determina transmiterea unor metadate odată cu pozele, inclusiv
locul și momentul în care a fost făcută poza și informații despre adâncime. Utilizarea serviciilor Apple
(precum Bibilioteca foto iCloud) pentru partajarea sau sincronizarea acestor poze va implica
recepționarea și stocarea acestor metadate de Apple. Apple și licențiatorii săi își rezervă dreptul de a
modifica, suspenda, elimina sau dezactiva accesul la orice Servicii în orice moment și fără înștiințare
prealabilă. Apple nu va fi în nici un caz răspunzător pentru eliminarea sau dezactivarea accesului la
oricare asemenea Servicii. Apple poate impune de asemenea limite asupra utilizării sau accesării unor
anumite Servicii, în orice caz și fără înștiințare prealabilă sau asumare a răspunderii.

6. Încetarea. Această Licență este în vigoare până la încetarea sa. Drepturile dvs. decurgând din
această Licență vor înceta automat sau nu vor continua să mai fie în vigoare fără înștiințare din partea
Apple dacă nu vă conformați oricărei condiții din această Licență. După încetarea acestei Licențe,
trebuie să încetați orice utilizare a Software-ului iOS. Prevederile secțiunilor 4, 5, 6, 7, 8, 9, 12 și 13 ale
prezentei Licențe vor fi aplicabile și după orice asemenea încetare.

7. Exonerarea de garanții.
7.1 Dacă sunteți un client care este un consumator (cineva care utilizează Software-ul iOS în afara
activităților comerciale sau profesionale), este posibil să aveți drepturi legale în țara dvs. de reședință
care să interzică aplicarea următoarelor limitări în cazul dvs., și, acolo unde sunt interzise, acestea nu se
vor aplica în cazul dvs. Pentru a afla informații suplimentare despre drepturi, ar trebui să contactați o
organizație locală în domeniul consultanței pentru consumatori.

7.2 RECUNOAȘTEȚI ȘI ACCEPTAȚI ÎN MOD EXPRES CĂ, ÎN LIMITELE PERMISE PRIN LEGILE ÎN
VIGOARE, UTILIZAREA SOFTWARE-ULUI iOS ȘI A ORICĂROR SERVICII EXECUTATE SAU ACCESATE
PRIN INTERMEDIUL SOFTWARE-ULUI iOS SE FACE PE PROPRIUL DVS. RISC ȘI CĂ VĂ ASUMAȚI
INTEGRAL RISCURILE RELATIVE LA CALITATE SATISFĂCĂTOARE, PERFORMANȚĂ, ACURATEȚE ȘI
EFORT.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 360 of 452




7.3 ÎN LIMITELE MAXIME PERMISE PRIN LEGILE ÎN VIGOARE, SOFTWARE-UL ȘI SERVICIILE iOS
SUNT FURNIZATE “CA ATARE” ȘI “ÎN FUNCȚIE DE DISPONIBILITATE”, CU TOATE DEFECTELE ȘI
FĂRĂ NICI UN FEL DE GARANȚIE, IAR APPLE ȘI LICENȚIATORII APPLE (REFERIȚI COLECTIV PRIN
DENUMIREA “APPLE” ÎN CADRUL SECȚIUNILOR 7 ȘI 8) SE EXONEREAZĂ DE ORICE GARANȚII ȘI
CONDIȚII RELATIVE LA SOFTWARE-UL ȘI SERVICIILE iOS, FIE ELE EXPLICITE, IMPLICITE SAU
LEGALE, INCLUZÂND, DAR FĂRĂ A SE LIMITA LA, GARANȚIILE ȘI/SAU CONDIȚIILE IMPLICITE DE
VANDABILITATE, CALITATE SATISFĂCĂTOARE, ADECVARE PENTRU UN ANUMIT SCOP, ACURATEȚE,
FOLOSINȚĂ LINIȘTITĂ ȘI NEÎNCĂLCARE A DREPTURILOR TERȚELOR PĂRȚI.

7.4 APPLE NU GARANTEAZĂ CĂ UTILIZAREA SOFTWARE-ULUI ȘI SERVICIILOR iOS VA FI LIPSITĂ
DE PROBLEME, CĂ FUNCȚIILE CONȚINUTE ÎN SAU SERVICIILE EXECUTATE DE SAU FURNIZATE
PRIN SOFTWARE-UL iOS VOR CORESPUNDE CERINȚELOR DVS., CĂ OPERAREA SOFTWARE-ULUI
ȘI SERVICIILOR iOS VA FI NEÎNTRERUPTĂ SAU LIPSITĂ DE ERORI, CĂ ORICE SERVICIU VA
CONTINUA SĂ FIE PUS LA DISPOZIȚIE, CĂ DEFECTELE DIN SOFTWARE-UL SAU SERVICIILE iOS
VOR FI CORECTATE, SAU CĂ SOFTWARE-UL iOS VA FI COMPATIBIL SAU VA FUNCȚIONA CU ORICE
SOFTWARE, APLICAȚII SAU SERVICII ALE UNOR TERȚE PĂRȚI. INSTALAREA ACESTUI SOFTWARE
iOS POATE AFECTA DISPONIBILITATEA ȘI UZABILITATEA SOFTWARE-ULUI PĂRȚII TERȚE,
APLICAȚIILOR SAU SERVICIILOR UNOR PĂRȚI TERȚE, PRECUM ȘI ALE PRODUSELOR ȘI
SERVICIILOR APPLE.

7.5 ÎN PLUS, RECUNOAȘTEȚI CĂ SOFTWARE-UL ȘI SERVICIILE iOS NU SUNT DESTINATE SAU
ADECVATE PENTRU UTILIZAREA ÎN SITUAȚII SAU MEDII ÎN CARE DEFECTAREA SAU ÎNTÂRZIERILE
SOFTWARE-ULUI SAU SERVICIILOR iOS, SAU ERORILE SAU INEXACTITĂȚILE DIN CONȚINUTUL,
DATELE SAU INFORMAȚIILE FURNIZATE DE ACESTEA, AR PUTEA DUCE LA MOARTE, VĂTĂMARE
PERSONALĂ SAU DAUNE IMPORTANTE FIZICE SAU DE MEDIU, INCLUZÂND FĂRĂ LIMITARE
OPERAREA INSTALAȚIILOR NUCLEARE, SISTEMELOR DE NAVIGARE SAU DE COMUNICAȚII
AERIENE, SISTEMELOR DE CONTROL AL TRAFICULUI AERIAN, APARATELOR DE MENȚINERE
ARTIFICIALĂ A VIEȚII SAU A SISTEMELOR DE ARMAMENT.

7.6 NICIO INFORMAȚIE SAU RECOMANDARE COMUNICATĂ VERBAL SAU ÎN SCRIS DE CĂTRE
APPLE SAU UN REPREZENTANT AUTORIZAT APPLE NU VA CONSTITUI O GARANȚIE. ÎN CAZUL ÎN
CARE SOFTWARE-UL SAU SERVICIILE iOS SE VOR DOVEDI DEFECTUOASE, VĂ VEȚI ASUMA
INTEGRAL SUPORTAREA COSTURILOR PENTRU TOATE DEPANĂRILE, REPARAȚIILE SAU
CORECTURILE NECESARE. UNELE JURISDICȚII NU PERMIT EXCLUDEREA GARANȚIILOR IMPLICITE
SAU LIMITĂRILE DREPTURILOR LEGALE APLICABILE ALE CONSUMATORULUI, AȘA ÎNCÂT ESTE
POSIBIL CA EXCLUDERILE ȘI LIMITĂRILE DE MAI SUS SĂ NU SE APLICE ÎN CAZUL DVS.

8. Limitarea răspunderi. ÎN LIMITELE PERMISE DE LEGILE ÎN VIGOARE, APPLE, ASOCIAȚII, AGENȚII
SAU DIRECTORII COMPANIEI NU VOR RĂSPUNDE ÎN NICIUN CAZ PENTRU VĂTĂMĂRI PERSONALE
ȘI NICI PENTRU DAUNE INCIDENTALE, SPECIALE, INDIRECTE SAU SECUNDARE DE NICIUN FEL,
INCLUSIV, DAR FĂRĂ A SE LIMITA LA, DAUNELE REZULTATE DIN PIERDERI DE PROFIT, CORUPEREA
SAU PIERDEREA DATELOR, EȘECUL DE A TRANSMITE SAU DE A RECEPȚIONA ORICE DATE
(INCLUSIV, DAR FĂRĂ A SE LIMITA LA, INSTRUCȚIUNI PENTRU CURSURI, SARCINI ȘI MATERIALE),
ÎNTRERUPEREA ACTIVITĂȚII SAU ORICE ALTE DAUNE SAU PIERDERI COMERCIALE, REZULTATE DIN
SAU AVÂND LEGĂTURĂ CU UTILIZAREA SAU INABILITATEA DE A UTILIZA SOFTWARE-UL ȘI
SERVICIILE iOS SAU ORICE SOFTWARE ORI APLICAȚIE A UNOR TERȚE PĂRȚI ÎN LEGĂTURĂ CU
SOFTWARE-UL SAU SERVICIILE iOS, INDIFERENT CARE AR FI CAUZA, FĂRĂ A ȚINE CONT DE
TEORIA RĂSPUNDERII CIVILE (RĂSPUNDERE CONTRACTUALĂ, EXTRACONTRACTUALĂ SAU DE ALT
FEL) ȘI CHIAR DACĂ APPLE A FOST PREVENITĂ ASUPRA POSIBILITĂȚII UNOR ASTFEL DE DAUNE.
UNELE JURISDICȚII NU PERMIT EXCLUDEREA SAU LIMITAREA RĂSPUNDERII PENTRU VĂTĂMĂRI
PERSONALE, SAU PENTRU DAUNE INCIDENTALE SAU CONSECUTIVE, AȘA ÎNCÂT ESTE POSIBIL CA
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 361 of 452



ACESTE LIMITĂRI SĂ NU SE APLICE ÎN CAZUL DVS. Răspunderea totală din partea Apple pentru toate
daunele dvs. (în afara celei pe care legislația în vigoare ar putea-o cere în cazurile implicând vătămarea
personală) nu va depăși în nici o eventualitate suma de două sute cincizeci de dolari americani (250,00$).
Limitările de mai sus se vor aplica inclusiv în cazul în care compensația menționată mai sus nu reușește
să își realizeze scopul esențial.

9. Certificatele digitale. Software-ul iOS conține funcționalități care îi permit să accepte certificate
digitale emise fie de către Apple, fie de către terțe părți. DVS. SUNTEȚI SINGURUL RESPONSABIL ÎN
PRIVINȚA DECIZIEI DE A AVEA SAU NU ÎNCREDERE ÎNTR-UN CERTIFICAT EMIS FIE DE CĂTRE
APPLE, FIE DE CĂTRE O TERȚĂ PARTE. UTILIZAREA CERTIFICATELOR DIGITALE DE CĂTRE DVS. SE
FACE PE PROPRIUL DVS. RISC. ÎN LIMITELE MAXIME PERMISE DE LEGILE ÎN VIGOARE, APPLE NU
OFERĂ NICI UN FEL DE GARANȚII SAU DECLARAȚII, EXPLICITE SAU IMPLICITE, ASUPRA
VANDABILITĂȚII SAU ADECVĂRII PENTRU UN ANUMIT SCOP, ACURATEȚEI, SECURITĂȚII SAU
NEÎNCĂLCĂRII DREPTURILOR TERȚELOR PĂRȚI CU PRIVIRE LA CERTIFICATELE DIGITALE.

10. Controlul exporturilor. Nu puteți utiliza, exporta sau reexporta Software-ul iOS decât în conformitate
cu legislația Statelor Unite ale Americii și cu legislația din jurisdicțiile de unde a fost obținut Software-ul
iOS. În particular, dar fără limitare, Software-ul iOS nu poate fi exportat sau reexportat (a) în orice țări
supuse unui embargo de către Statele Unite ale Americii (b) oricărei persoane aflate pe lista “Specially
Designated Nationals” a Ministerului de Finanțe din Statele Unite ale Americii sau pe listele “Denied
Person” sau “Denied Entity” ale Ministerului Comerțului din Statele Unite ale Americii sau pe orice alte
liste de restricții. Prin utilizarea Software-ului iOS, dvs. declarați și garantați că nu vă aflați în nici una
dintre aceste țări și pe nici una dintre aceste liste. De asemenea, sunteți de acord că nu veți utiliza
Software-ul iOS în nici un scop interzis de legislația Statelor Unite ale Americii, incluzând, fără limitare,
dezvoltarea, proiectarea, fabricarea sau producția de rachete, arme nucleare, chimice sau biologice.

11. Utilizatorii finali din Guvernul Statelor Unite. (Code of Federal Rules) §2.101, constând în
“Commercial Computer Software” (software comercial) și “Commercial Computer Software
Documentation” (documentație pentru software comercial), așa cum sunt definiți acești termeni în
clauzele 48 C.F.R. §12.212 sau 48 C.F.R. §227.7202, după caz. În conformitate cu clauza 48 C.F.R.
§12.212 sau 48 C.F.R. între §227.7202-1 și 227.7202-4, după caz, elementele “Commercial Computer
Software” și “Commercial Computer Software Documentation” sunt licențiate utilizatorilor finali din
Guvernul Statelor Unite (a) doar ca și “Commercial Items” și (b) doar acompaniate de aceleași drepturi
garantate tuturor celorlalți utilizatori în conformitate cu condițiile generale aici incluse. Drepturile
nepublicate sunt rezervate în virtutea legilor drepturilor de autor în vigoare în Statele unite ale Americii.

12. Legea guvernantă și independența clauzelor. Această Licență va fi guvernată și interpretată în
conformitate cu legislația Statului California, cu excluderea principiilor sale privind conflictul de legi.
Această Licență nu va fi guvernată de Convenția Națiunilor Unite asupra contractelor de vânzare
internațională de mărfuri, a cărei aplicare este exclusă în mod expres. Dacă sunteți un consumator din
Regatul Unit, această Licență va fi guvernată de legile corespunzătoare jurisdicției reședinței dvs. Dacă,
din orice motiv, o instanță a unei jurisdicții competente găsește orice prevedere a Licenței ca fiind
inaplicabilă, în totalitate sau în parte, celelalte prevederi rămân în continuare aplicabile integral.

13. Integralitatea acordului; Limba prevalentă. Această Licență constituie integralitatea acordului între
dumneavoastră și Apple cu privire la utilizarea Software-ului iOS și înlocuiește toate înțelegerile
anterioare sau actuale asupra acestui subiect. Nici un amendament și nici o modificare pentru această
Licență nu vor căpăta efect în afara cazului în care sunt scrise și semnate de către Apple. Orice
traducere a acestei Licențe este realizată pentru necesități locale și, în eventualitatea unei contradicții
între versiunea în limba engleză și versiunea într-o altă limbă, versiunea în limba engleză va prevala în
măsura în care nu este interzis de către legislația locală din jurisdicția dvs.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 362 of 452



14. Recunoașterea terțelor părți. Unele părți ale Software-ului iOS pot utiliza sau include software de la
terțe părți și alte materiale protejate prin drepturi de autor. Recunoașterea, condițiile de licențiere și
limitările răspunderii pentru asemenea materiale sunt conținute în documentația electronică pentru
Software-ul iOS, și utilizarea acestor materiale este guvernată de condițiile de utilizare respective.
Utilizarea Google Safe Browsing Service este sub incidența condițiilor de utilizare Google (https://
www.google.com/intl/ro/policies/terms/) și a politicii de confidențialitate Google (https://
www.google.com/intl/ro/policies/privacy/).

15. Utilizarea MPEG-4; Mențiunea H.264/AVC.
(a) Software-ul iOS este licențiat sub licența portofoliului de brevete MPEG-4 Systems pentru codare în
conformitate cu standardul MPEG-4 Systems, cu excepția faptului că o licență suplimentară și plata de
drepturi de autor sunt necesare pentru codarea în legătură cu (i) datele stocate sau reproduse pe
suporturi fizice care sunt plătite individual pentru fiecare titlu și/sau (ii) datele care sunt plătite individual
pentru fiecare titlu și sunt transmise către un utilizator final pentru stocare permanentă și/sau utilizare. O
astfel de licență suplimentară poate fi obținută de la MPEG LA, LLC. Vizitați http://www.mpegla.com
pentru detalii suplimentare.

(b) Software-ul iOS conține funcționalități de codificare și/sau decodificare video MPEG-4. Software-ul
iOS este licențiat sub licența portofoliului de brevete MPEG-4 Visual pentru utilizare personală și
necomercială din partea unui consumator pentru (i) codificarea de video în conformitate cu standardul
MPEG-4 Visual (“video MPEG-4”) și/sau (ii) decodificarea de video MPEG-4 care a fost codificat de un
consumator angajat într-o activitate personală și necomercială și/sau a fost obținut de la un furnizor de
video licențiat de MPEG LA pentru a furniza video MPEG-4. Nici o licență nu este acordată și nu trebuie
considerată implicită pentru orice alt fel de utilizare. Informații suplimentare, inclusiv referitoare la
utilizarea și licențierea în scopuri promoționale, interne și comerciale pot fi obținute de la MPEG LA, LLC.
Consultați http://www.mpegla.com.

(c) Software-ul iOS conține funcționalitate de codificare și/sau decodificare AVC, utilizarea comercială a
H.264/AVC necesită licențiere suplimentară și se aplică următoarele prevederi: FUNCȚIONALITATEA AVC
DIN SOFTWARE-UL iOS ESTE LICENȚIATĂ AICI DOAR PENTRU UTILIZARE PERSONALĂ ȘI
NECOMERCIALĂ DIN PARTEA UNUI CONSUMATOR PENTRU (i) CODIFICAREA DE VIDEO ÎN
CONFORMITATE CU STANDARDUL AVC (“VIDEO AVC”) ȘI/SAU (ii) DECODIFICAREA DE VIDEO AVC
CARE A FOST CODIFICAT DE UN CONSUMATOR ANGAJAT ÎNTR-O ACTIVITATE PERSONALĂ ȘI
NECOMERCIALĂ ȘI/SAU VIDEO AVC CARE A FOST OBȚINUT DE LA UN FURNIZOR DE VIDEO
LICENȚIAT PENTRU A FURNIZA VIDEO. INFORMAȚII REFERITOARE LA ALTE UTILIZĂRI ȘI LICENȚIERI
POT FI OBȚINUTE DE LA MPEG LA L.L.C. CONSULTAȚI http://www.mpegla.com.

16. Restricțiile serviciului Yahoo Search. Serviciul Yahoo Search disponibil prin intermediul Safari este
licențiat pentru utilizare doar în următoarele țări și regiuni: Argentina, Aruba, Australia, Austria, Barbados,
Belgia, Bermude, Brazilia, Bulgaria, Canada, Insulele Cayman, Chile, China continentală, Hong Kong,
Taiwan, Columbia, Cipru, Republica Cehă, Danemarca, Republica Dominicană, Ecuador, El Salvador,
Finlanda, Franța, Germania, Grecia, Grenada, Guatemala, Ungaria, Islanda, India, Indonezia, Irlanda,
Italia, Jamaica, Japonia, Letonia, Lituania, Luxemburg, Malaezia, Malta, Mexic, Olanda, Noua Zeelandă,
Nicaragua, Norvegia, Panama, Peru, Filipine, Polonia, Portugalia, Puerto Rico, România, Singapore,
Slovacia, Slovenia, Coreea de Sud, Spania, St. Lucia, St. Vincent, Suedia, Elveția, Thailanda, Bahamas,
Trinidad și Tobago, Turcia, Marea Britanie, Uruguay, Statele Unite ale Americii și Venezuela.

17. Mențiunea Microsoft Exchange. Configurarea de e-mail Microsoft Exchange din Software-ul iOS
este licențiată doar pentru sincronizare “over the air” a informațiilor, precum e-mailuri, contacte,
calendare și activități, între iOS-ul dvs. și Microsoft Exchange Server sau alt software tip server licențiat
de Microsoft pentru a implementa protocolul Microsoft Exchange ActiveSync.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 363 of 452



EA1566
21.02.2019

————————————
Termene și condiții suplimentare pentru Apple Pay

Termenele și condițiile suplimentare de față pentru Apple Pay (prezentele „Termene suplimentare”)
suplimentează Acordul de licență software iOS („Licența”); atât condițiile Licenței, cât și Termenele
suplimentare prezente care guvernează utilizarea funcționalității Apple Pay, care va fi considerată drept
„Serviciu” în baza Licenței. Termenii scriși cu majuscule utilizați în aceste Termene suplimentare au
sensul enunțat în Licență.

1. Prezentare generală și restricții de utilizare

Apple Pay vă permite:

        •    să stocați reprezentări virtuale ale unor carduri de credit, de debit și preplătite, inclusiv
             carduri de credit, de debit și preplătite ale magazinului și cardul Apple Pay Cash, care sunt
             compatibile cu funcționalitatea Apple Pay („Carduri de plată compatibile”) și utilizează
             dispozitive iOS compatibile pentru a face plăți de la distanță în anumite locuri, în cadrul
             aplicațiilor sau pe site-uri web;
        •    să folosiți cardurile de fidelitate și cardurile cadou salvate în Wallet (“Carduri activate pentru
             Apple Pay” și, împreună cu Cardurile de plată compatibile, “Carduri compatibile”), să
             efectuați tranzacții la distanță cu carduri de fidelitate și carduri cadou în anumite magazine,
             ca parte a unei plăți la distanță cu ajutorul Apple Pay; și
        •    să trimiteți plăți directe între persoane altor utilizatori Apple Pay.

Este posibil ca funcționalitățile Apple Pay aparținând software-ului iOS să nu fie disponibile decât în
anumite regiuni, cu anumiți emițători de carduri, cu anumite instituții financiare și cu anumiți comercianți.
Este posibil ca funcționalitățile să varieze în funcție de regiune, emițător și comerciant.

Pentru a putea utiliza Apple Pay, trebuie să aveți un Card compatibil. Cardurile compatibile se pot
modifica la anumite perioade. În plus, pentru a trimite sau primi plăți directe între persoane, trebuie să
aveți un card Apple Pay Cash.

Cardurile de plată compatibile și plățile directe între persoane sunt asociate cu ID-ul Apple cu care v-ați
autentificat la iCloud pentru a utiliza aceste funcționalități. Cardurile compatibile sunt disponibile numai
persoanelor fizice având vârsta minimă de 13 ani și pot fi supuse unor restricții suplimentare de vârstă
impuse de iCloud sau de Cardul compatibil pe care încercați să îl puneți la dispoziție. Cardul Apple Pay
Cash și capacitatea de a trimite și primi plăți directe între persoane sunt disponibile doar persoanelor
fizice cu vârsta de cel puțin 18 ani.

Apple Pay este concepută pentru a fi utilizată de dvs. și puteți furniza doar propriile carduri compatibile.
Dacă puneți la dispoziție un card corporativ compatibil, se presupune că faceți acest lucru cu
permisiunea angajatorului și sunteți împuternicit să acceptați aceste condiții de utilizare în numele
angajatorului și toate tranzacțiile implicate de utilizarea acestei funcționalități. Dacă trimiteți sau primiți o
plată directă între persoane, garantați că faceți acest lucru în scop personal, necomercial.

Sunteți de acord să nu utilizați Apple Pay în scopuri ilegale sau frauduloase ori alte scopuri interzise de
Licență și de Termenele suplimentare de față. În plus, sunteți de acord să utilizați Apple Pay în
conformitate cu legile și reglementările aplicabile. Sunteți de acord să nu vă implicați și să nu perturbați
serviciul Apple Pay (inclusiv accesarea serviciului prin mijloace automatizate) sau a serverelor ori rețelelor
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 364 of 452



conectate la serviciu sau orice politică, cerință sau reglementare privind rețelele conectate la serviciu
(inclusiv orice acces, utilizare sau monitorizare neautorizată a datelor sau a traficului de date).

2. Relația companiei Apple cu dvs.

Apple Pay vă permite să creați o reprezentare virtuală a Cardurilor compatibile pe dispozitivul iOS
compatibil. Cu toate acestea, Apple nu procesează plăți sau alte tranzacții cu carduri, altele decât
carduri de plată (cum ar fi acumularea și valorificarea sumelor de fidelizare), nu primește, păstrează sau
transferă fondurile dvs. și nu are control asupra plăților, retururilor, rambursărilor, premiilor, valorilor,
reducerilor sau a altor activități comerciale care au legătură cu utilizarea acestei funcționalități.

Termenele posibilelor acorduri încheiate între posesorul cardului și emitentul cardului vor continua să
guverneze modul în care utilizați Cardurile dvs. compatibile și modul în care le utilizează banca în
legătură cu Apple Pay. În mod similar, participarea dvs. la orice programe comerciale de fidelizare sau de
carduri cadou ale unui comerciant și utilizarea de către dvs. a Cardurilor activate pentru Apple Pay în
legătură cu Apple Pay vor face obiectul termenelor și condițiilor comercianților în cauză.

Cardul Apple Pay Cash și capacitatea de a trimite și primi plăți directe între persoane sunt disponibile
doar în Statele Unite, fiind servicii furnizate de Green Dot Bank, membră FDIC. Atunci când activați
aceste funcționalități în Apple Pay, deschideți un cont la Green Dot Bank, iar atunci când trimiteți sau
primiți o plată directă între persoane sau încărcați ori retrageți bani de pe cardul dvs. Apple Pay Cash,
Green Dot Bank va fi responsabilă pentru primirea și trimiterea banilor către destinatarul vizat. Instituția
financiară responsabilă pentru furnizarea Apple Pay Cash și a plăților directe între persoane în cadrul
Apple Pay se poate schimba, iar utilizarea de către dvs. a acestor funcționalități face obiectul termenelor
și condițiilor acesteia.

Nimic din Licență sau din aceste Termene suplimentare nu modifică termenele contractului cu orice
deținător de card, utilizator sau comerciant, iar aceste termene vor continua să guverneze modul în care
utilizați Cardul compatibil aplicabil sau funcționalitatea Apple Pay de plată directă între persoane și
reprezentarea virtuală a acestora pe dispozitivul dvs. iOS. Sunteți de acord că Apple nu este parte
contractuală în contractele dvs. de emitere a cardurilor încheiate cu comerciantul și nu este responsabilă
pentru: (a) conținutul, acuratețea sau indisponibilitatea cardurilor de plată, cardurilor de fidelitate,
cardurilor cadou, activităților comerciale, tranzacțiilor sau achizițiilor la utilizarea funcționalității Apple
Pay; (b) asigurarea creditului sau evaluarea eligibilității pentru credit; (c) acumularea sau valorificarea
premiilor sau a valorii stocate din cadrul unui program de fidelizare al unui comerciant; (d) alimentarea
sau reîncărcarea cardurilor preplătite; (e) trimiterea sau primirea de plăți directe între persoane; sau (f)
încărcarea, valorificarea sau retragerea banilor de pe cardul dvs. Apple Pay Cash.

Contactați emitentul cardului sau comerciantul în cauză în legătură cu orice litigiu sau întrebare legată de
cardurile de plată, cardurile de fidelitate, cardurile cadou sau activitățile comerciale asociate acestora.
Pentru întrebări privind cardul Apple Pay Cash sau plățile directe între persoane, contactați Asistența
Apple.

3. Confidențialitatea

Apple Pay necesită unele informații de pe dispozitivul dvs. iOS pentru a vă oferi toate funcțiile sale. În
plus, atunci când vă utilizați cardul Apple Pay Cash sau trimiteți ori primiți plăți directe între persoane,
sunt colectate și păstrate informații suplimentare despre tranzacțiile dvs. pentru furnizarea de servicii
pentru contul dvs. și în scopuri de prevenire a fraudelor și de reglementare. Puteți obține mai multe
informații despre datele colectate, utilizate sau partajate în cadrul utilizării de către dvs. a funcționalității
Apple Pay, a cardului Apple Pay Cash sau a plăților directe între persoane cu Apple Pay consultând
secțiunea Despre Apple Pay și confidențialitate (accesând Wallet și Apple Pay pe dispozitivul dvs. iOS
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 365 of 452



sau în aplicația Watch de pe un dispozitiv iOS asociat) sau vizitând pagina https://www.apple.com/
privacy. Prin utilizarea acestor funcționalități, sunteți de acord și vă exprimați consimțământul asupra
transmiterii, colectării, întreținerii, procesării și utilizării informațiilor susmenționate de către Apple, filialele
și agenții Apple, pentru a furniza funcționalitatea Apple Pay.

4. Securitate; dispozitive pierdute sau defecte

Apple Pay stochează reprezentări virtuale ale Cardurilor dvs. compatibile și trebuie protejate la fel cum
vă protejați banii sau cardurile fizice de credit, de debit, preplătite, de fidelitate sau cadou. Dacă îi dați
codul de acces al dispozitivului dvs. unei părți terțe sau permiteți unei părți terțe să-și adauge amprenta
pentru a utiliza Touch ID sau să activeze Face ID, aceasta poate să facă plăți, să trimită, să solicite sau
să primească plăți directe între persoane, să retragă bani de pe cardul dvs. Apple Pay Cash sau să
primească ori să valorifice premii sau credit folosind Apple Pay pe dispozitivul dvs. Sunteți singurul
responsabil pentru menținerea securității dispozitivului dvs. și a codului de acces. Sunteți de acord că
Apple nu este responsabilă dacă pierdeți sau partajați accesul la dispozitivul dvs. Sunteți de acord că
Apple nu are nicio responsabilitate dacă faceți modificări neautorizate iOS-ului (de exemplu, prin
intermediul unui „jailbreak”).

Poate fi necesar să activați măsuri de securitate suplimentare, cum ar fi autentificarea cu doi factori
pentru ID-ul dvs. Apple, pentru a accesa anumite funcționalități ale Apple Pay, inclusiv cardul Apple Pay
Cash și plățile directe între persoane cu Apple Pay. Dacă eliminați ulterior funcționalitățile de securitate
respective, este posibil să nu mai aveți acces la anumite funcționalități ale Apple Pay.

Dacă dispozitivul dvs. este pierdut sau furat și aveți funcționalitatea Găsire iPhone activată, o puteți
utiliza pentru a încerca să suspendați capacitatea de a plăti cu Carduri de plată compatibile virtuale sau
de a trimite plăți directe între persoane de pe dispozitivul respectiv trecându-l în modul Pierdut. De
asemenea, puteți să ștergeți conținutul dispozitivului, ceea ce ar suspenda capacitatea de a plăti cu
Carduri de plată compatibile virtuale sau de a trimite plăți directe între persoane de pe dispozitiv și ar
încerca să elimine cardurile activate pentru Apple Pay. În plus, ar trebui să contactați emitentul Cardurilor
de plată compatibile, comerciantul care a emis cardurile activate pentru Apple Pay și Apple în cazul
cardului Apple Pay Cash pentru a împiedica accesul neautorizat la cardurile dvs. compatibile.

Dacă raportați sau Apple bănuiește o activitate abuzivă sau frauduloasă, sunteți de acord să cooperați
cu Apple în orice investigație și să utilizați măsurile de prevenire a fraudei pe care vi le recomandăm.

5. Limitarea răspunderii

PE LÂNGĂ LIMITĂRILE GARANȚIILOR ȘI ALE RĂSPUNDERII ENUNȚATE ÎN LICENȚĂ, APPLE NU ÎȘI
ASUMĂ RĂSPUNDEREA PENTRU ACHIZIȚII, PLĂȚI, TRANZACȚII SAU ALTE ACTIVITĂȚI COMERCIALE
FĂCUTE CU AJUTORUL FUNCȚIONALITĂȚII APPLE PAY ȘI SUNTEȚI DE ACORD SĂ UTILIZAȚI DOAR
CONTRACTELE ȘI ACORDURILE CU EMITENTUL CARDULUI, REȚEAUA DE PLATĂ, INSTITUȚIILE
FINANCIARE SAU COMERCIANTUL PENTRU A REZOLVA PROBLEMELE SAU LITIGIILE LEGATE DE
CARDURILE DVS. COMPATIBILE, PLĂȚILE DIRECTE ÎNTRE PERSOANE ȘI ACTIVITĂȚILE
COMERCIALE ASOCIATE ACESTORA.

————————————
ÎNȘTIINȚĂRI DIN PARTEA APPLE
În cazul în care Apple trebuie să vă contacteze în legătură cu produsul sau contul dvs., consimțiți să
recepționați înștiințările prin e-mail. Sunteți de acord că orice asemenea înștiințări pe care vi le trimitem
electronic vor satisface orice cerințe legale în privința comunicațiilor.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 366 of 452



SLOVENSKY

UPOZORNENIE: POUŽÍVANÍM VÁŠHO iPADU, iPHONU ALEBO iPODU TOUCH („iOS ZARIADENIE“)
SA ZAVÄZUJETE DODRŽIAVAŤ NASLEDOVNÉ ZMLUVNÉ PODMIENKY:

A. APPLE iOS SOFTVÉROVÁ LICENČNÁ ZMLUVA
B. DODATOČNÉ ZMLUVNÉ PODMIENKY PRE FUNKCIU APPLE PAY
C. OZNAMY SPOLOČNOSTI APPLE

APPLE INC.
APPLE iOS SOFTVÉROVÁ LICENČNÁ ZMLUVA
Licenčná zmluva koncového používateľa

POZORNE SI PREČÍTAJTE TÚTO SOFTVÉROVÚ LICENČNÚ ZMLUVU („LICENCIU“) PREDTÝM,
AKO ZAČNETE POUŽÍVAŤ VAŠE iOS ZARIADENIE ALEBO NAŇ SŤAHOVAŤ SOFTVÉROVÉ
AKTUALIZÁCIE, NA KTORÉ SA TÁTO LICENCIA TIEŽ VZŤAHUJE. POUŽÍVANÍM iOS ZARIADENIA
ALEBO SŤAHOVANÍM SOFTVÉROVÝCH AKTUALIZÁCIÍ VYJADRUJETE SÚHLAS S PODMIENKAMI
UVEDENÝMI V TEJTO LICENCII. POKIAĽ NESÚHLASÍTE S PODMIENKAMI UVEDENÝMI V TEJTO
LICENCII, NEPOUŽÍVAJTE iOS ZARIADENIE ANI NESŤAHUJTE SOFTVÉROVÉ AKTUALIZÁCIE.

AK STE SI NEDÁVNO ZAKÚPILI iOS ZARIADENIE A NESÚHLASÍTE S PODMIENKAMI UVEDENÝMI
V TEJTO LICENCII, MALI BY STE iOS ZARIADENIE VRÁTIŤ DO NAJBLIŽŠIEHO APPLE STORU
ALEBO AUTORIZOVANÉMU DISTRIBÚTOROVI, U KTORÉHO STE iOS ZARIADENIE KÚPILI, KDE
VÁM BUDÚ VRÁTENÉ PENIAZE V SÚLADE S PRAVIDLAMI APPLE TÝKAJÚCIMI SA VRÁTENIA
VÝROBKOV. TIETO PRAVIDLÁ NÁJDETE NA ADRESE https://www.apple.com/legal/sales-
support/.

1. Všeobecné podmienky.
(a) Softvér (vrátane kódu Boot ROM, vstavaného softvéru a softvéru tretích strán), dokumentácia,
rozhrania, obsah, písma a akékoľvek dáta dodávané s iOS zariadením („Pôvodný iOS softvér“) vrátane
vylepšení jednotlivých funkcií, softvérových aktualizácií alebo softvéru na obnovenie systému
poskytovaného spoločnosťou Apple („Softvérové aktualizácie iOS“), či už v ROM pamäti alebo na iných
nosičoch v akejkoľvek podobe (Pôvodný iOS softvér a Softvérové aktualizácie iOS sa súhrnne označujú
ako „iOS softvér“), sú vám licencované, nie predané spoločnosťou Apple Inc. („Apple“) len na použitie v
súlade s podmienkami uvedenými v tejto Licencii. Apple a jeho udeľovatelia licencií si ponechávajú
vlastníctvo samotného iOS softvéru a vyhradzujú si všetky práva, ktoré vám výslovne neboli udelené.
Súhlasíte s tým, že podmienky tejto Licencie sa budú vzťahovať na akúkoľvek aplikáciu od spoločnosti
Apple, ktorá môže byť vstavaná vo vašom iOS zariadení, okrem prípadov, keď má daná aplikácia vlastnú
licenciu. V týchto prípadoch súhlasíte s licenčnými podmienkami danej aplikácie.

(b) Spoločnosť Apple môže vydať ďalšie softvérové aktualizácie iOS. Softvérové aktualizácie iOS, ak
budú vydané, nemusia nevyhnutne obsahovať všetky existujúce softvérové funkcie, prípadne nové
funkcie, ktoré Apple vydá pre novšie alebo iné modely iOS zariadení. Podmienky uvedené v tejto licencii
sa vzťahujú na akékoľvek softvérové aktualizácie iOS poskytnuté spoločnosťou Apple, pokiaľ nie je k
softvérovej aktualizácii iOS priložená osobitná licencia. V takom prípade súhlasíte s tým, že používanie
iOS softvéru podlieha tejto priloženej licencii.

(c) Ak na nastavenie nového iOS zariadenia použijete svoje existujúce iOS zariadenie prostredníctvom
funkcie expresné nastavenie, súhlasíte s tým, že používanie iOS softvéru na vašom novom iOS zariadení
bude podliehať podmienkam uvedeným v tejto licencii, pokiaľ nie je k iOS softvéru priložená osobitná
licencia. V takom prípade súhlasíte s tým, že používanie daného iOS softvéru bude podliehať
podmienkam uvedeným v tejto osobitnej licencii. Vaše iOS zariadenie bude pravidelne kontrolovať, či nie
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 367 of 452



sú k dispozícii Softvérové aktualizácie iOS od Apple. Ak je k dispozícii nejaká aktualizácia, môže sa
automaticky stiahnuť a nainštalovať do vášho iOS zariadenia a do periférnych zariadení (ak je pre ne
určená). Používaním softvéru Apple vyjadrujete súhlas s tým, že Apple môže stiahnuť a
nainštalovať automatické Softvérové aktualizácie iOS do vášho iOS zariadenia a vašich
periférnych zariadení. Automatické aktualizácie môžete kedykoľvek úplne vypnúť tak, že zmeníte
nastavenie automatických aktualizácií v časti Nastavenia > Všeobecné > Aktualizácia softvéru.

2. Práva a obmedzenia vyplývajúce z tejto licencie.
(a) Podľa pravidiel a podmienok uvedených v tejto Licencii vám bola udelená obmedzená neexkluzívna
licencia na používanie iOS softvéru na jednom iOS zariadení vyrobenom firmou Apple. S výnimkou
prípadov uvedených v časti 2(b) a ak tak nie je uvedené osobitnej zmluve medzi vami a spoločnosťou
Apple, neumožňuje táto licencia používanie iOS softvéru na viac ako jednom iOS zariadení značky Apple
a šírenie alebo poskytovanie iOS softvéru prostredníctvom siete, na ktorej by mohol byť používaný
viacerými zariadeniami naraz, je zakázané. Táto Licencia vás neoprávňuje využívať rozhrania
patentované spoločnosťou Apple a iné intelektuálne duševné vlastníctvo pri navrhovaní, vývoji, výrobe,
udeľovaní licencie alebo distribúcii zariadení a príslušenstva tretích strán alebo softvérových aplikácií
tretích strán určených na používanie s iOS zariadeniami. Na niektoré tieto činnosti vás oprávňujú
samostatné licencie poskytované spoločnosťou Apple. Pre viac informácií týkajúcich sa vývoja zariadení
a príslušenstva tretích strán pre iOS zariadenia navštívte stránku https://developer.apple.com/programs/
mfi/. Pre viac informácií týkajúcich sa vývoja softvérových aplikácií pre iOS zariadenia navštívte stránku
https://developer.apple.com.

(b) Podľa pravidiel a podmienok uvedených v tejto Licencii vám bola udelená obmedzená neexkluzívna
licencia na sťahovanie Softvérových aktualizácií iOS, ktoré Apple poskytne pre váš model iOS zariadenia
na aktualizáciu alebo obnovenie softvéru na akomkoľvek iOS zariadení, ktoré vlastníte, alebo je pod
vašou správou. Táto Licencia vám neumožňuje aktualizovať alebo obnovovať iOS zariadenie, ktoré
nevlastníte alebo nespravujete, a zakazuje šírenie a poskytovanie Softvérových aktualizácií iOS
prostredníctvom siete, na ktorej by mohli byť používané naraz viacerými zariadeniami alebo počítačmi.
Ak si do svojho počítača stiahnete Softvérovú aktualizáciu iOS, môžete si pre potreby zálohovania
vytvoriť jednu kópiu Softvérovej aktualizácie iOS uloženú vo vašom počítači v čitateľnom formáte pod
podmienkou, že táto kópia bude obsahovať všetky autorské práva alebo iné upozornenia týkajúce sa
vlastníckych práv, ktoré obsahuje aj originál.

(c) V rozsahu, v akom sú na vašom iOS zariadení v čase jeho zakúpenia predinštalované aplikácie od
spoločnosti Apple z predajne App Store (“Predinštalované aplikácie”), sa budete musieť prihlásiť do
predajne App Store a prepojiť tieto Predinštalované aplikácie so svojím účtom v predajni App Store, ak
chcete tieto aplikácie používať na svojom iOS zariadení. Pri prepájaní jednej Predinštalovanej aplikácie
so svojím účtom v predajni App Store súčasne automaticky prepojíte s účtom aj všetky ostatné
Predinštalované aplikácie na svojom iOS zariadení. Ak sa rozhodnete prepojiť Predinštalované aplikácie
so svojím účtom App Store, súhlasíte s tým, že spoločnosť Apple môže prenášať, zhromažďovať,
udržiavať, spracovávať a používať Apple ID používané vaším účtom App Store a jedinečný hardvérový
identifikátor získaný z vášho iOS zariadenia ako jedinečné identifikátory účtu za účelom overovania
oprávnenosti vašich požiadaviek a poskytovania prístupu k Predinštalovaným aplikáciám
prostredníctvom predajne App Store. Ak nechcete používať Predinštalované aplikácie, môžete ich zo
svojho iOS zariadenia kedykoľvek vymazať.

(d) Nesmiete a súhlasíte s tým, že nebudete a rovnako, že neumožníte iným osobám kopírovať (s
výnimkou prípadov jednoznačne uvedených v tejto Licencii), dekompilovať, aplikovať reverzné
inžinierstvo, rozoberať, pokúšať sa získať zdrojový kód, dekódovať, upravovať ani vytvárať diela
odvodené z iOS softvéru alebo akýchkoľvek služieb poskytovaných iOS softvérom ani z akejkoľvek ich
časti (s výnimkou a len v rozsahu, v akom je ľubovoľné vyššie uvedené obmedzenie zakázané príslušným
právom alebo licenčnými podmienkami vzťahujúcimi sa na používanie open-source súčastí, ktoré môžu
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 368 of 452



byť súčasťou iOS softvéru).

(e) iOS softvér môže byť použitý na reprodukciu materiálov v prípade, že bude obmedzený na
reprodukciu materiálov, ktoré nie sú chránené autorskými právami, materiálov, ktorých autorské práva
vlastníte vy, alebo materiálov, ktoré ste oprávnený reprodukovať podľa zákona. Vlastnícke práva a práva
na duševné vlastníctvo vzťahujúce sa na ľubovoľný obsah zobrazený, uložený alebo získaný
prostredníctvom vášho iOS zariadenia sú majetkom príslušného vlastníka daného obsahu. Takýto obsah
môže byť chránený autorským právom alebo ďalšími zákonmi a dohodami na ochranu duševného
vlastníctva a jeho používanie môže podliehať podmienkam používania tretej strany, ktorá obsah
poskytuje. Pokiaľ sa tu neuvádza inak, táto Licencia vám neudeľuje žiadne práva na používanie takého
obsahu, ani nezaručuje, že vám takýto obsah bude naďalej dostupný.

(f) V súlade s podmienkami tejto Licencie môžete používať Animoji a Memoji znaky, ktoré sú zahrnuté v
iOS softvéri alebo sú pomocou neho vytvorené („Systémové znaky“), (i) pri používaní iOS softvéru a (ii)
na vytváranie vlastného originálneho obsahu a projektov na vaše osobné, nekomerčné použitie. Táto
licencia nepovoľuje žiadne iné použitie Systémových znakov vrátane, nie však výlučne, používania,
reprodukcie, zobrazovania, nahrávania, zverejňovania a redistribúcie akýchkoľvek Systémových znakov
na účely zisku, neziskové účely, v kontexte verejného zdieľania či komerčné účely.

(g) Súhlasíte s tým, že budete používať iOS softvér a služby (tak, ako sú definované v časti 5) v súlade so
všetkými príslušnými zákonmi vrátane miestnych zákonov krajiny alebo oblasti, v ktorej bývate, alebo v
ktorej sťahujete alebo používate iOS softvér a služby. Funkcie iOS softvéru a služieb nemusia byť
dostupné vo všetkých jazykoch alebo oblastiach, niektoré funkcie sa môžu líšiť podľa oblasti a niektoré
môžu byť obmedzené alebo nedostupné u vášho poskytovateľa služby. Pre niektoré funkcie iOS softvéru
a služieb sa vyžaduje pripojenie Wi-Fi alebo mobilné dátové pripojenie.

(h) Na používanie predajne App Store sa vyžaduje jedinečná kombinácia užívateľského mena a hesla
nazývaná Apple ID. Apple ID sa vyžaduje aj na prístup k aktualizáciám aplikácií a určitým funkciám iOS
Softvéru a Služieb.

(i) Beriete na vedomie, že množstvo funkcií, vstavaných aplikácií a služieb iOS softvéru prenáša dáta, čo
môže mať za následok zvýšenie poplatkov za prenos dát v mobilnej sieti, a že za takéto poplatky nesiete
plnú zodpovednosť. Môžete si prezerať aplikácie a určiť, ktoré z nich majú povolenie používať mobilné
dáta, a v nastaveniach Mobilných dát si môžete zobraziť odhadované množstvo dát, ktoré spotrebovali
dané aplikácie. Okrem toho, Wi-Fi asistent sa môže pri slabom Wi-Fi signáli automaticky prepnúť do
mobilnej siete, čo môže mať za následok vyššiu spotrebu mobilných dát a ovplyvniť tak spotrebu vášho
dátového paušálu. Wi-Fi asistent je predvolene zapnutý, ale môžete ho vypnúť v Nastaveniach. Viac
informácií nájdete v užívateľskej príručke vášho iOS zariadenia.

(j) Ak sa rozhodnete povoliť automatické aktualizácie aplikácií, vaše iOS zariadenie bude u spoločnosti
Apple pravidelne zisťovať dostupnosť aktualizácií aplikácií na vašom zariadení. V prípade, že sa zistí
dostupná aktualizácia, automaticky sa stiahne do vášho zariadenia a nainštaluje sa. Automatické
aktualizácie aplikácií môžete kedykoľvek úplne vypnúť tak, že prejdete na Nastavenia, klepnete na
položku iTunes a App Store a v časti Automatické sťahovanie vypnete aktualizácie.

(k) Používanie iOS zariadení môže za určitých okolností odvádzať vašu pozornosť a viesť k vzniku
nebezpečných situácií (vyhýbajte sa napríklad písaniu textových správ počas vedenia vozidla alebo
používaniu slúchadiel počas jazdy na bicykli). Používaním vášho iOS zariadenia súhlasíte s tým, že
nesiete zodpovednosť za dodržiavanie pravidiel, ktoré zakazujú alebo obmedzujú používanie mobilných
telefónov alebo slúchadiel (napríklad povinnosti používať hands-free sadu pri telefonovaní počas vedenia
vozidla).
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 369 of 452



3. Presun práv. Je zakázané prenajímať, požičiavať, predávať, nanovo distribuovať alebo licencovať iOS
softvér. Môžete však raz a natrvalo presunúť všetky vaše licenčné práva na iOS softvér ďalšej strane v
spojitosti s prevodom vlastníctva vášho iOS zariadenia za nasledujúcich podmienok: (a) prevod musí
zahŕňať vaše iOS zariadenie a všetok iOS softvér, vrátane všetkých jeho častí a tejto Licencie; (b)
neponecháte si žiadnu kópiu iOS softvéru, celkovú ani čiastočnú, vrátane kópií uložených na počítači
alebo inom pamäťovom zariadení; (c) druhá strana, ktorá od vás získa iOS softvér, si prečíta a vyjadrí
súhlas s podmienkami uvedenými v tejto Licencii.

4. Súhlas s použitím údajov. Počas používania vášho iOS zariadenia je vaše telefónne číslo a určité
jedinečné identifikátory vášho iOS zariadenia odosielané do Apple kvôli tomu, aby vás na vašom
telefónnom čísle vedeli kontaktovať ostatní užívatelia prostredníctvom rôznych komunikačných funkcií
iOS softvéru, ako je napríklad iMessage a FaceTime. Počas používania služby iMessage môže Apple na
obmedzený čas uchovať vaše správy v zašifrovanej podobe s cieľom zabezpečenia ich
doručenia. FaceTime alebo iMessage môžete vypnúť v nastaveniach FaceTime alebo Správ na svojom
iOS zariadení. Niektoré funkcie, napríklad Analytika, Lokalizačné služby, Siri a Diktovanie, môžu na svoje
fungovanie vyžadovať informácie z vášho iOS zariadenia. Keď tieto funkcie zapnete alebo budete
používať, budú poskytnuté podrobné informácie o údajoch odosielaných spoločnosti Apple a spôsobe
ich používania. Ďalšie informácie nájdete na adrese https://www.apple.com/privacy/. S vašimi osobnými
údajmi sa po celý čas bude zaobchádzať v súlade so Zásadami ochrany osobných údajov spoločnosti
Apple, na ktoré odkazuje táto Licencia, a ktoré sú dostupné na adrese: https://www.apple.com/legal/
privacy/.

5. Služby a materiály tretích strán.
(a) iOS softvér môže umožniť prístup do iTunes Store spoločnosti Apple, do App Store, Apple Books,
Game Center, iCloudu, služby Mapy a ďalších služieb a webových stránok spoločnosti Apple a tretích
strán (súhrnne označované ako „Služby“). Tieto služby nemusia byť dostupné vo všetkých jazykoch
alebo krajinách. Na používanie služieb je nutný prístup na internet a využívanie určitých Služieb vyžaduje
Apple ID a niektoré Služby vyžadujú súhlas s dodatočnými podmienkami, prípadne môžu byť dodatočne
spoplatnené. Používaním tohto softvéru v spojení s Apple ID alebo inou službou Apple súhlasíte s
podmienkami príslušnej Služby, ako sú napríklad aktuálne podmienky a pravidlá používania mediálnych
služieb spoločnosti Apple pre krajinu, v ktorej pristupujete k týmto Službám, ktoré sú dostupné na
https://www.apple.com/legal/internet-services/itunes/.

(b) Ak sa prihlásite do služby iCloud, niektoré funkcie iCloudu, ako napríklad iCloud Fotky, Môj
Fotostream, Zdieľané albumy, Záloha alebo Nájsť môj iPhone, môžu byť dostupné priamo z iOS softvéru.
Beriete na vedomie a súhlasíte s tým, že používanie iCloudu a týchto funkcií podlieha najnovším
zmluvným podmienkam služby iCloud, ktoré sú dostupné na adrese: https://www.apple.com/legal/
internet-services/icloud/.

(c) Obsah aplikácie News. Používanie obsahu, ku ktorému pristupujete prostredníctvom aplikácie News,
je obmedzené výlučne na osobné, nekomerčné použitie, neprenáša na vás žiadny vlastnícky podiel
obsahu a výslovne a bez obmedzenia vylučuje všetky práva na komerčné alebo propagačné využívanie
tohto obsahu. Navyše je opätovné zverejňovanie, prenášanie a reprodukovanie všetkých obrázkov
dostupných prostredníctvom News ako samostatných súborov zakázané.

(d) Mapy. Mapové služby a funkcie iOS softvéru („Mapy“) vrátane pokrytia mapovými dátami sa
v jednotlivých oblastiach môžu líšiť. Pri použití ľubovoľných funkcií založených na polohe v Mapách, ako
je napríklad podrobná navigácia, premávka alebo lokálne vyhľadávanie, môžu byť do Apple za účelom
spracovania vašej žiadosti a pomoci s vylepšovaním Máp odoslané rôzne informácie týkajúce sa polohy
a používania vrátane okamžitej geografickej polohy vášho iOS zariadenia. Tieto dáta týkajúce sa polohy
a používania sú spoločnosťou Apple zhromažďované spôsobom, ktorý neumožňuje vašu osobnú
identifikáciu. Používaním Máp súhlasíte s tým, že spoločnosť Apple a jej dcérske spoločnosti a
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 370 of 452



agenti môžu prenášať, zhromažďovať, spravovať, spracovávať a používať tieto informácie za
účelom poskytovania a vylepšovania služby Mapy a jej funkcií a ďalších produktov a služieb
spoločnosti Apple. Spoločnosť Apple môže tiež tieto informácie poskytovať buď v agregovanom
formáte, alebo vo formáte, ktorý neumožňuje identifikáciu konkrétnej osoby, svojim partnerom
a držiteľom licencií s cieľom vylepšovania ich mapových a od polohy závislých produktov a služieb.
Funkcie Máp založené na polohe môžete zakázať tak, že prejdete do nastavenia lokalizačných služieb na
svojom iOS zariadení a vypnete individuálne nastavenie polohy pre Mapy. Niektoré funkcie Máp, ako
napríklad podrobná navigácia, však budú po zakázaní lokalizačných služieb nedostupné.

(e) Beriete na vedomie, že pri používaní Služieb sa môžete stretnúť s materiálmi, ktoré je možné
považovať za urážlivé, nemravné alebo nevhodné, a ktoré môžu, ale nemusia obsahovať neformálny
jazyk a že výsledky akéhokoľvek vyhľadávania alebo zadania URL môžu automaticky a neúmyselne
odkázať na takéto nevhodné materiály. Napriek tomu súhlasíte s používaním Služieb na vašu vlastnú
zodpovednosť a s tým, že spoločnosť Apple, jej dcérske spoločnosti, agenti, riadiaci pracovníci ani
licencori nenesú zodpovednosť za obsah, ktorý je možné označiť ako urážlivý, nemravný alebo
nevhodný.

(f) Niektoré Služby môžu zobrazovať, zahŕňať alebo sprístupňovať obsah, dáta, informácie, aplikácie
alebo materiály tretích strán („Materiály tretích strán“) alebo odkazovať na webové stránky tretích strán.
Používaním Služieb beriete na vedomie a súhlasíte s tým, že spoločnosť Apple nie je zodpovedná za
skúmanie a vyhodnocovanie obsahu, správnosti, úplnosti, aktuálnosti, platnosti, dodržiavania
autorských práv, legálnosti, slušnosti, kvality a akýchkoľvek ďalších aspektov takýchto Materiálov tretích
strán alebo webových stránok. Spoločnosť Apple, jej zamestnanci a dcérske spoločnosti nenesú voči
vám alebo komukoľvek inému žiadnu zodpovednosť, nesúhlasia, ani nebudú súhlasiť s nesením
zodpovednosti za Služby a Materiály tretích strán, webové stránky alebo akékoľvek ďalšie materiály,
produkty alebo služby tretích strán. Materiály tretích strán a odkazy na iné webové stránky sú vám
poskytované výhradne pre vaše vlastné pohodlie.

(g) Spoločnosť Apple ani žiaden z jej poskytovateľov obsahu nezaručujú dostupnosť, presnosť, úplnosť,
spoľahlivosť alebo časovú aktuálnosť informácií týkajúcich sa cenných papierov, údajov o polohe alebo
iných údajov zobrazených ktoroukoľvek Službou. Finančné informácie zobrazené akoukoľvek Službou je
možné považovať len za všeobecné informácie a nie sú to odporúčania ako investovať. Predtým, ako
uskutočníte akékoľvek transakcie s cennými papiermi na základe informácií získaných prostredníctvom
Služieb, by ste sa mali poradiť s takým odborníkom na financie a cenné papiere, ktorý môže podľa
zákona poskytovať tento druh informácií vo vašej krajine alebo oblasti. Údaje týkajúce sa polohy, získané
prostredníctvom ktorejkoľvek Služby, vrátane služby Mapy spoločnosti Apple, sú určené len pre bežnú
navigáciu a plánovanie a nie je možné spoliehať sa na ne v situáciách, ktoré vyžadujú presné určenie
polohy a kde chybové, nepresné, časovo neaktuálne alebo neúplné informácie môžu viesť k smrti,
zraneniu osôb alebo poškodeniu majetku a životného prostredia. Súhlasíte s tým, že výsledky prijaté v
službe Mapy sa môžu odlišovať od aktuálnych podmienok na cestách alebo v teréne kvôli faktorom,
ktoré môžu ovplyvniť presnosť dát služby Mapy, vrátane no nevynímajúc počasie, premávku a
geopolitické udalosti. Pri používaní navigácie z dôvodu vlastnej bezpečnosti vždy venujte pozornosť
dopravnému značeniu a aktuálnym podmienkam na ceste. Dodržiavajte zásady bezpečného šoférovania
a dopravné predpisy a vezmite na vedomie, že na navigačných trasách pre peších sa nemusia vždy
nachádzať chodníky alebo iné komunikácie pre chodcov.

(h) Ak sa rozhodnete odosielať obsah prostredníctvom Služieb, prehlasujete, že vlastníte všetky práva
alebo ste autorizovaný alebo máte právo na jeho odosielanie takéhoto obsahu a že takýto obsah
neporušuje žiadne zmluvné podmienky vzťahujúce sa na Služby. Súhlasíte s tým, že Služby obsahujú
zákonom chránený obsah, informácie a materiály, ktoré vlastní spoločnosť Apple, vlastníci stránok a ich
držitelia licencií, a že sú chránené príslušnými zákonmi na ochranu intelektuálneho duševného
vlastníctva a ďalšími zákonmi vrátane (okrem iného) autorských práv. Súhlasíte s tým, že nebudete
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 371 of 452



používať tento zákonom chránený obsah, informácie ani materiály žiadnym spôsobom s výnimkou toho,
ktorý pripúšťa používanie Služieb, ani akýmkoľvek iným spôsobom, ktorý odporuje podmienkam
uvedeným v tejto Licencii alebo ktorý narúša práva súvisiace s duševným vlastníctvom tretej strany
alebo spoločnosti Apple. Žiadna časť Služieb nesmie byť reprodukovaná akýmkoľvek spôsobom v
akejkoľvek podobe. Súhlasíte s tým, že nebudete upravovať, prenajímať, požičiavať, predávať,
distribuovať ani vytvárať odvodené diela založené na Službách akýmkoľvek spôsobom a nebudete
zneužívať Služby akýmkoľvek neoprávneným spôsobom vrátane prenosu vírusov, červov, trójskych koní
a podobného škodlivého softvéru a tiež vrátane neoprávneného prieniku alebo preťažovania kapacity
siete. Ďalej súhlasíte s tým, že nebudete využívať Služby akýmkoľvek spôsobom na obťažovanie,
urážanie, sledovanie, zastrašovanie, hanobenie ani na akékoľvek iné zasahovanie do práv inej strany a
že spoločnosť Apple v žiadnom prípade nenesie zodpovednosť za takéto vaše používanie Služieb, ani za
akékoľvek správy alebo prenosy, ktoré vám budú doručené pri používaní Služieb a ktorých obsah vás
obťažuje, zastrašuje, hanobí, je pohoršujúci alebo nelegálny.

(i) Navyše Služby a Materiály tretích strán, ku ktorým môžete pristupovať alebo na ne odkazovať z iOS
zariadenia, prípadne ich zobrazovať na iOS zariadení, nie sú dostupné vo všetkých krajinách, oblastiach
alebo jazykoch. Spoločnosť Apple netvrdí, že takéto Služby a Materiály tretích strán sú vhodné alebo
dostupné na používanie na akomkoľvek konkrétnom mieste. V rozsahu, v akom sa rozhodnete využívať a
pristupovať k takýmto Službám a Materiálom tretích strán, tak robíte z vlastnej vôle a nesiete
zodpovednosť v súlade s akýmikoľvek platnými zákonmi, vrátane (ale nielen) miestnych zákonov a
zákonov týkajúcich sa súkromia a zhromažďovania dát. Pri zdieľaní alebo synchronizácii fotiek
prostredníctvom vášho iOS zariadenia sa s vašimi fotkami môžu preniesť aj metadáta vrátane informácií
o mieste a čase fotografovania a informácií o hĺbke fotografie. Prijímanie a uchovávanie takýchto
metadát spoločnosťou Apple je súčasťou používania Služieb Apple (ako je iCloud Fotoknižnica) na
zdieľanie alebo synchronizáciu fotiek. Spoločnosť Apple a držitelia licencií Apple si vyhradzujú právo
zmeniť, pozastaviť, odstrániť alebo zablokovať prístup ku ktorejkoľvek Službe kedykoľvek a bez
predchádzajúceho upozornenia. Spoločnosť Apple nebude za žiadnych okolností zodpovedná za
odstránenie alebo zablokovanie prístupu k akýmkoľvek Službám. Spoločnosť Apple môže tiež
kedykoľvek a bez predchádzajúceho upozornenia zaviesť obmedzenia vzťahujúce sa na používanie
alebo pristupovanie k určitým Službám.

6. Ukončenie. Táto licencia je platná až do jej ukončenia. Práva, ktoré sú vám vyhradené touto
licenciou, automaticky a bez upozornenia od spoločnosti Apple zanikajú, alebo inak prestávajú byť
účinné v prípade, že porušíte ktorúkoľvek z podmienok uvedených v tejto Licencii. Po skončení platnosti
tejto Licencie by ste mali zastaviť akékoľvek používanie iOS softvéru. Časti 4, 5, 6, 7, 8, 9, 12 a 13
pretrvávajú aj po akejkoľvek uvedenej forme zrušenia tejto Licencie.

7. Zrieknutie sa záruk.
7.1 Ak ste zákazník - spotrebiteľ (niekto, kto používa iOS softvér pre súkromné účely), je možné, že na
základe práv a zákonov krajiny pobytu sa na vás nebudú vzťahovať nasledovné obmedzenia. Ak sa
chcete dozvedieť viac o vašich právach, kontaktujte miestnu organizáciu, ktorá má na starosti
poradenstvo pre spotrebiteľov.

7.2 TÝMTO VYJADRUJETE SVOJ VEDOMÝ SÚHLAS S TÝM, ŽE V ROZSAHU POVOLENOM
PRÍSLUŠNÝMI ZÁKONMI JE POUŽÍVANIE iOS SOFTVÉRU A AKÝCHKOĽVEK SLUŽIEB, KTORÉ SÚ
VYKONÁVANÉ iOS SOFTVÉROM ALEBO KU KTORÝM PROSTREDNÍCTVOM iOS SOFTVÉRU
PRISTUPUJETE, NA VAŠE VLASTNÉ RIZIKO A ZODPOVEDNOSŤ ZA TIETO RIZIKÁ TÝKAJÚCE SA
USPOKOJIVEJ KVALITY, VÝKONNOSTI, PRESNOSTI A VÝKONU JE NA VÁS.

7.3 iOS SOFTVÉR A SLUŽBY SÚ DO MAXIMÁLNEJ MIERY POVOLENEJ ZÁKONOM POSKYTOVANÉ
„TAK AKO SÚ“ A „AKO SÚ DOSTUPNÉ“ SO VŠETKÝMI NEDOSTATKAMI A BEZ AKEJKOĽVEK
ZÁRUKY. APPLE A JEJ POSKYTOVATELIA LICENCIÍ (PRE ÚČELY ČASTÍ 7 A 8 SÚHRNNE NAZÝVANÍ
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 372 of 452



„APPLE“) SA TÝMTO ZRIEKAJÚ VŠETKÝCH ZÁRUK A PODMIENOK TÝKAJÚCICH SA iOS SOFTVÉRU
A JEHO SLUŽIEB, ČI UŽ PRIAMO VYJADRENÝCH, IMPLICITNÝCH ALEBO ZÁKONNÝCH, VRÁTANE,
ALE NIELEN IMPLICITNÝCH ZÁRUK A/ALEBO PODMIENKY PREDAJNOSTI, USPOKOJIVOSTI
KVALITY, VHODNOSTI PRE KONKRÉTNY ÚČEL POUŽITIA, PRESNOSTI, NERUŠENÉHO POUŽÍVANIA
A NEPORUŠOVANIA PRÁV TRETÍCH STRÁN.

7.4 APPLE NERUČÍ ZA PRERUŠENIE VÁŠHO PÔŽITKU Z iOS SOFTVÉRU A JEHO SLUŽIEB, ANI ZA
TO, ŽE FUNKCIE, KTORÉ ZAHŔŇA, ALEBO SLUŽBY, KTORÉ VYKONÁVA ALEBO POSKYTUJE, BUDÚ
SPĹŇAŤ VAŠE POŽIADAVKY. APPLE TIEŽ NERUČÍ ZA TO, ŽE CHOD iOS SOFTVÉRU A JEHO SLUŽIEB
BUDE NIČÍM NEPRERUŠENÝ ALEBO BEZCHYBNÝ, ŽE AKÁKOĽVEK SLUŽBA BUDE POSKYTOVANÁ
NEUSTÁLE, ŽE CHYBY V TOMTO iOS SOFTVÉRI ALEBO JEHO SLUŽBÁCH BUDÚ OPRAVENÉ, ANI ZA
TO, ČI BUDE TENTO iOS SOFTVÉR KOMPATIBILNÝ ALEBO SPOLUPRACUJÚCI SO SOFTVÉROM,
APLIKÁCIAMI ALEBO SLUŽBAMI TRETÍCH STRÁN. INŠTALÁCIA TOHTO iOS SOFTVÉRU MÔŽE
OVPLYVNIŤ DOSTUPNOSŤ A POUŽITEĽNOSŤ SOFTVÉRU, APLIKÁCIÍ ALEBO SLUŽIEB TRETÍCH
STRÁN, AKO AJ PRODUKTOV A SLUŽIEB SPOLOČNOSTI APPLE.

7.5 ĎALEJ SÚHLASÍTE S TÝM, ŽE iOS SOFTVÉR A JEHO SLUŽBY NIE SÚ URČENÉ ALEBO VHODNÉ
NA POUŽITIE V SITUÁCIACH ALEBO PROSTREDÍ, V KTOROM ZLYHANIE, ČASOVÉ PRESTOJE,
CHYBY ALEBO NEZROVNALOSTI V OBSAHU, DÁTACH ALEBO INFORMÁCIACH ČERPANÝCH Z iOS
SOFTVÉRU ALEBO JEHO SLUŽIEB MÔŽU VIESŤ K SMRTI, OSOBNÉMU ZRANENIU ALEBO ŤAŽKÉMU
FYZICKÉMU POŠKODENIU, ČI POŠKODENIU ŽIVOTNÉHO PROSTREDIA, BEZMEDZNE ZAHŔŇAJÚC
OBSLUHOVANIE NUKLEÁRNYCH ZARIADENÍ, VZDUŠNEJ NAVIGÁCIE ALEBO KOMUNIKAČNÝCH
SYSTÉMOV, RIADENIE VZDUŠNEJ PREVÁDZKY, SYSTÉMY PRE PODPORU ŽIVOTNÝCH FUNKCIÍ A
SYSTÉMY RIADENIA ZBRANÍ.

7.6 ŽIADNA ÚSTNA ALEBO PÍSOMNÁ INFORMÁCIA, KTORÚ POSKYTNE SPOLOČNOSŤ APPLE
ALEBO JEJ AUTORIZOVANÝ ZÁSTUPCA, NESLÚŽI AKO ZÁRUKA. AK SA UKÁŽE, ŽE SÚ iOS
SOFTVÉR ALEBO JEHO SLUŽBY CHYBNÉ, CELKOVÉ NÁKLADY NA VŠETKU POTREBNÚ ÚDRŽBU,
OPRAVY ALEBO NÁPRAVY SÚ VO VAŠEJ VLASTNEJ RÉŽII. VZHĽADOM NA TO, ŽE NIEKTORÉ
PRÁVNE SYSTÉMY NEPOVOĽUJÚ VYŇATIE IMPLICITNÝCH ZÁRUK ALEBO OBMEDZENÍ NA
UPLATNITEĽNÉ ZÁKONOM URČENÉ SPOTREBITEĽSKÉ PRÁVA, JE MOŽNÉ, ŽE SA NA VÁS VYŠŠIE
UVEDENÉ VÝNIMKY A OBMEDZENIA NEVZŤAHUJÚ.

8. Obmedzenie zodpovednosti. AŽ DO ROZSAHU NEZAKÁZANÉHO PRÍSLUŠNÝM ZÁKONOM
SPOLOČNOSŤ APPLE, JEJ DCÉRSKE SPOLOČNOSTI, AGENTI ANI RIADIACI PRACOVNÍCI
NEZODPOVEDAJÚ ZA OSOBNÉ ZRANENIA ALEBO AKÉKOĽVEK NÁHODNÉ, ZVLÁŠTNE, NEPRIAME
ALEBO AKÉKOĽVEK SÚVISIACE POŠKODENIA, BEZMEDZNE ZAHŔŇAJÚC POŠKODENIA KVÔLI
STRATE ZISKOV, POŠKODENIE ALEBO STRATU DÁT, CHYBU PRI POSIELANÍ ALEBO PRIJÍMANÍ DÁT
(VRÁTANE, OKREM INÉHO, INŠTRUKCIÍ PRE KURZY, ÚLOH A MATERIÁLOV), PRERUŠENIE
OBCHODU ALEBO AKÉKOĽVEK ĎALŠIE OBCHODNÉ UJMY ALEBO STRATY VZNIKNUTÉ Z ALEBO
VZŤAHUJÚCE SA NA VAŠE POUŽÍVANIE ALEBO VAŠU NESCHOPNOSŤ POUŽÍVAŤ iOS SOFTVÉR A
JEHO SLUŽBY ALEBO AKÝKOĽVEK SOFTVÉR ALEBO APLIKÁCIE TRETÍCH STRÁN SPOJENÉ S iOS
SOFTVÉROM ALEBO SLUŽBAMI SPÔSOBENÉ AKÝMKOĽVEK SPÔSOBOM A BEZ OHĽADU NA
TEÓRIU O ZODPOVEDNOSTI (PROSTREDNÍCTVOM ZMLUVY, SPORU ALEBO INAK) A AJ V PRÍPADE,
ŽE BOLA SPOLOČNOSŤ APPLE O TÝCHTO MOŽNÝCH UJMÁCH UPOVEDOMENÁ. VZHĽADOM NA
TO, ŽE NIEKTORÉ PRÁVNE SYSTÉMY NEPOVOĽUJÚ VYLÚČENIE ALEBO OBMEDZENIE
ZODPOVEDNOSTI ZA OSOBNÉ ZRANENIE ALEBO NÁHODNÉ ČI SÚVISIACE UJMY, JE MOŽNÉ, ŽE SA
NA VÁS VYŠŠIE UVEDENÉ VÝNIMKY A OBMEDZENIA NEVZŤAHUJÚ. Výška odškodného v rámci
zodpovednosti spoločnosti Apple voči vašim stratám (iná, než vyžadovaná uplatniteľným zákonom v
prípadoch osobného zranenia) nemôže v žiadnom prípade presiahnuť dvestopäťdesiat dolárov (250,00
USD). Predchádzajúce obmedzenia platia aj v prípade, že vyššie uvedená náprava nesplní svoj pôvodný
účel.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 373 of 452




9. Digitálne certifikáty. iOS softvér zahŕňa funkcie, ktoré mu umožňujú prijímať digitálne certifikáty
vydané či už spoločnosťou Apple, alebo tretími stranami. ZA ROZHODOVANIE O SPOĽAHLIVOSTI
CERTIFIKÁTU, VYDANÉHO SPOLOČNOSŤOU APPLE ALEBO TREŤOU STRANOU, STE PLNE
ZODPOVEDNÍ VY. DIGITÁLNE CERTIFIKÁTY POUŽÍVATE NA VLASTNÚ ZODPOVEDNOSŤ.
SPOLOČNOSŤ APPLE NEPOSKYTUJE ŽIADNE ZÁRUKY, VYSLOVENÉ ANI IMPLICITNÉ, NA
PREDAJNOSŤ ALEBO VHODNOSŤ PRODUKTU PRE KONKRÉTNE POUŽITIE, PRESNOSŤ,
BEZPEČNOSŤ A NEPORUŠOVANIE PRÁV TRETEJ STRANY VZHĽADOM NA DIGITÁLNE CERTIFIKÁTY.

10. Kontrola exportu. iOS Softvér nesmiete používať ani inak exportovať či reexportovať iným
spôsobom, ako povoľuje zákon USA a zákony jurisdikcií, v ktorých bol iOS Softvér zaobstaraný. iOS
Software sa, okrem iného, osobitne nesmie exportovať ani reexportovať (a) do ktorýchkoľvek krajín, na
ktoré USA uvalili embargo, ani (b) žiadnej osobe uvedenej na zozname Specially Designated Nationals
ministerstva financií USA alebo na zozname Denied Persons List alebo Entity List ministerstva obchodu
USA, prípadne na akomkoľvek inom zozname zakázaných strán. Používaním iOS softvéru vyjadrujete a
zaručujete sa, že sa nenachádzate v žiadnej z týchto krajín ani na žiadnom takomto zozname. Tiež sa
zaväzujete, že nebudete iOS softvér používať na žiaden účel, ktorý by bol zakázaný zákonmi Spojených
štátov amerických, čo zahŕňa predovšetkým, ale nielen vyvíjanie, navrhovanie, výrobu alebo produkciu
riadených striel a nukleárnych, chemických alebo biologických zbraní.

11. Koncoví užívatelia v štátnej správe. iOS softvér a súvisiaca dokumentácia sú „komerčnými
položkami“, pričom tento pojem je definovaný v americkej Zbierke federálnych predpisov 48 C.F.R.
§2.101 a pozostáva z „komerčného počítačového softvéru“ a „dokumentácie ku komerčnému
počítačovému softvéru“, pričom tieto pojmy sa spomínajú v uvedenej Zbierke 48 C.F.R. §12.212 alebo
48 C.F.R. §227.7202, podľa príslušnosti. V súlade so Zbierkou federálnych predpisov 48 C.F.R. §12.212
alebo 48 C.F.R. §227.7202-1 až 227.7202-4, podľa príslušnosti, komerčný počítačový softvér a
dokumentácia ku komerčnému počítačovému softvéru sú licencované americkým vládnym užívateľom
(a) len ako komerčné položky a (b) len s tými právami, ktoré boli udelené všetkým ostatným bežným
koncovým užívateľom v súlade s tu uvedenými zmluvnými podmienkami. Ešte nepublikované práva sú
vyhradené podľa autorského práva Spojených štátov amerických.

12. Kontrolné zákony a oddeliteľnosť. Táto licencia bude spravovaná a vykladaná v súlade so zákonmi
štátu Kalifornia s výnimkou konfliktu právnych princípov. Táto licencia by nemala byť riadená Dohodou
Spojených národov o zmluvách o medzinárodnom predaji tovarov, ktorých aplikácia je jasne vylúčená.
Ak ste spotrebiteľ s pobytom v Spojenom kráľovstve, bude táto licencia podliehať miestnym zákonom a
jurisdikcii miesta vášho pobytu. Ak z akýchkoľvek príčin vznesie súd kompetentného právneho systému
námietku neuplatniteľnosti akejkoľvek klauzuly, alebo prehlási jej časť za právne neúčinnú, zvyšok tejto
Licencie zostáva v plnej platnosti a moci.

13. Kompletná dohoda; úradný jazyk. Táto licencia utvára celú dohodu medzi vami a spoločnosťou
Apple vzťahujúcu sa na používanie iOS softvéru a nahrádza všetky predošlé a súčasné dohody, týkajúce
sa tejto veci. Žiadne dodatky ani modifikácie tejto Licencie nebudú záväzné, pokiaľ nebudú v písomnej
forme a podpísané spoločnosťou Apple. Preklad tejto licencie do akéhokoľvek jazyka vznikol na základe
lokálnych požiadaviek a v prípade nezhody medzi anglickou a neanglickou verziou platí pôvodná
anglická verzia v rozsahu, aký povoľujú miestne právne normy.

14. Informácie o tretích stranách. Časti iOS softvéru môžu používať alebo zahŕňať softvér tretích strán
a iný materiál chránený autorskými právami. Informácie, licenčné podmienky a vzdanie sa nároku na
takéto materiály sú obsiahnuté v elektronickej dokumentácií k iOS softvéru a vaše použitie takýchto
materiálov podlieha ich vlastným zmluvným podmienkam. Použitie služby Google Safe Browsing Service
podlieha servisným podmienkam Google (https://www.google.com/intl/sk/policies/terms/) a ochrane
súkromia Google (https://www.google.com/intl/sk/policies/privacy/).
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 374 of 452




15. Používanie formátu MPEG-4; poznámka o štandarde H.264/AVC.
(a) iOS Softvér spadá pod licenciu MPEG-4 Systems Patent Portfolio Licence na kódovanie v súlade so
štandardami systému MPEG-4 s výnimkou tých prípadov, keď je na kódovanie potrebná ďalšia licencia
a platba za licenčné poplatky v súvislosti s (i) dátami uloženými alebo replikovanými na fyzických
médiách, za ktoré sa platí na základe jednotlivých titulov alebo (ii) dátami, za ktoré sa platí na základe
jednotlivých titulov a ktoré sa koncovému užívateľovi posielajú na trvalé uloženie alebo používanie.
Takúto dodatočnú licenciu je možné získať od spoločnosti MPEG LA, LLC. Ďalšie podrobnosti nájdete na
webovej stránke http://www.mpegla.com.

(b) iOS Softvér obsahuje funkcie kódovania a/alebo dekódovania videa vo formáte MPEG-4. iOS softvér
spadá pod licenciu MPEG-4 Visual Patent Portfolio Licence pre zákaznícke osobné a nekomerčné
používanie (i) kódovania videa v súlade so štandardom MPEG-4 Visual Standard (“MPEG-4 Video”) a/
alebo (ii) dekódovania MPEG-4 videa, ktoré bolo zakódované užívateľom vykonávajúcim osobnú a
nekomerčnú aktivitu a/alebo takého videa, ktoré bolo získané od poskytovateľa video obsahu viazaného
licenciou MPEG LA na poskytovanie MPEG-4 videí. Pre žiadne iné použitie sa licencia nevydáva alebo
nepovoľuje. Ďalšie informácie vrátane informácií, ktoré súvisia s propagačným, interným alebo
komerčným použitím a s licencovaním, je možné získať od MPEG LA, LLC. Pozri http://
www.mpegla.com.

(c) iOS softvér obsahuje funkcionalitu pre kódovanie a/alebo dekódovanie formátu AVC, komerčné
používanie H.264/AVC vyžaduje ďalšie licencovanie a zároveň platí nasledujúce ustanovenie:
FUNKČNOSŤ AVC V RÁMCI iOS SOFTVÉRU JE TU LICENCOVANÁ LEN PRE OSOBNÉ A
NEKOMERČNÉ POUŽITIE ZÁKAZNÍKOM NA (i) KÓDOVANIE VIDEA V SÚLADE SO ŠTANDARDOM AVC
(„AVC VIDEO“) A/ALEBO (ii) DEKÓDOVANIE VIDEA, KTORÉ BOLO ZAKÓDOVANÉ ZÁKAZNÍKOM
VYKONÁVAJÚCIM OSOBNÉ A NEKOMERČNÉ AKTIVITY, A/ALEBO AVC VIDEA, KTORÉ BOLO
ZÍSKANÉ OD LICENCOVANÉHO POSKYTOVATEĽA AVC VIDEÍ. INFORMÁCIE TÝKAJÚCE SA
OSTATNÝCH POUŽITÍ A LICENCIÍ JE MOŽNÉ ZÍSKAŤ OD MPEG LA L.L.C. POZRI http://
www.mpegla.com.

16. Obmedzenia vyhľadávacej služby Yahoo. Použitie vyhľadávacej služby Yahoo dostupnej cez
program Safari je viazané licenciou len v nasledovných krajinách a regiónoch: Argentína, Aruba,
Austrália, Rakúsko, Barbados, Belgicko, Bermudy, Brazília, Bulharsko, Kanada, Kajmanské ostrovy, Čile,
kontinentálna Čína, Hongkong, Taiwan, Kolumbia, Cyprus, Česká republika, Dánsko, Dominikánska
republika, Ekvádor, El Salvádor, Fínsko, Francúzsko, Nemecko, Grécko, Grenada, Guatemala, Maďarsko,
Island, India, Indonézia, Írsko, Taliansko, Jamajka, Japonsko, Litva, Lotyšsko, Luxembursko, Malajzia,
Malta, Mexiko, Holandsko, Nový Zéland, Nikaragua, Nórsko, Panama, Peru, Filipíny, Poľsko,
Portugalsko, Portoriko, Rumunsko, Singapur, Slovenská republika, Slovinsko, Južná Kórea, Španielsko,
Sv. Lucia, Sv. Vincent, Švédsko, Švajčiarsko, Thajsko, Bahamy, Trinidad a Tobago, Turecko, Spojené
kráľovstvo, Uruguaj, Spojené štáty americké a Venezuela.

17. Upozornenie ohľadom Microsoft Exchange. Licencia Microsoft Exchange mailu v iOS softvéri je
poskytovaná len na bezdrôtovú synchronizáciu dát, akými sú emaily, kontakty, kalendáre a úlohy, medzi
vaším iOS a serverom Microsoft Exchange alebo iným serverovým softvérom licencovaným firmou
Microsoft za účelom implementácie protokolu Microsoft Exchange ActiveSync.

EA1566
21.02.2019

————————————
Dodatočné podmienky a ustanovenia pre funkciu Apple Pay
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 375 of 452



Tieto Dodatočné podmienky a ustanovenia pre funkciu Apple Pay (tieto „Dodatočné zmluvné
podmienky“) dopĺňajú iOS softvérovú licenčnú zmluvu („Licencia“). Vaše používanie funkcie Apple Pay (v
rámci tejto licencie ďalej len „Funkcia“) sa riadi podmienkami Licencie aj týmito Dodatočnými zmluvnými
podmienkami. Pojmy uvedené v týchto Dodatočných zmluvných podmienkach so začiatočným veľkým
písmenom majú významy stanovené v Licencii.

1. Prehľad a obmedzenia používania

Apple Pay vám umožňuje:

    •   ukladať virtuálne formy kreditných, debetných a predplatených kariet vrátane kreditných,
        debetných, predplatených kariet a hotovostných kariet Apple Pay, ktoré sú podporované
        funkciou Apple Pay („Podporované platobné karty“) a používať podporované iOS zariadenia na
        uskutočňovanie bezkontaktných platieb na vybraných miestach alebo v rámci aplikácií či na
        webových stránkach.
    •   využívať vernostné karty a darčekové poukazy uložené v aplikácii Wallet („Karty podporované
        funkciou Apple Pay“ a spoločne s Podporovanými platobnými kartami „Podporované karty“) na
        uskutočňovanie bezkontaktných transakcií s vernostnými kartami a darčekovými poukazmi vo
        vybraných obchodoch v rámci bezkontaktnej platby prostredníctvom funkcie Apple Pay.
    •   odosielať platby osobné platby iným užívateľom služby Apple Pay.

Funkcie Apple Pay softvéru iOS môžu byť dostupné iba vo vybraných oblastiach, iba pre vybraných
vydavateľov kariet, finančné inštitúcie a obchodníkov. Funkcie sa môžu líšiť v závislosti od oblasti,
vydavateľa a predajcu.

Na používanie funkcie Apple Pay musíte mať podporovanú kartu. Podporované karty sa môžu z času na
čas meniť. Okrem toho, ak chcete používať platby medzi osobami, musíte mať hotovostnú kartu Apple
Pay.

Podporované platobné karty a platby medzi osobami sú za účelom využívania týchto funkcií spojené
s účtom Apple ID prihláseným do iCloudu. Podporované karty sú k dispozícii len pre osoby vo veku 13
rokov a viac a na túto funkciu sa môžu vzťahovať ďalšie vekové obmedzenia zo strany iCloudu alebo
Podporovanej karty, ktorú sa pokúšate použiť. Hotovostná karta Apple Pay a možnosť odosielať
a prijímať platby medzi osobami sú k dispozícii iba pre užívateľov, ktorí majú minimálne 18 rokov.

Funkcia Apple Pay je určená pre vašu osobnú potrebu, pričom používať môžete iba svoje vlastné
Podporované karty. Ak používate podporovanú firemnú kartu, vyhlasujete, že to robíte na základe
povolenia svojho zamestnávateľa, a že máte oprávnenie zaviazať svojho zamestnávateľa k týmto
podmienkam používania a k všetkým transakciám, na ktoré sa vzťahuje používanie tejto funkcie. Ak
odosielate alebo prijímate platbu medzi osobami, vyhlasujete, že to robíte pre svoje osobné
a nekomerčné použitie.

Súhlasíte s tým, že funkciu Apple Pay nebudete používať na nelegálne ani podvodné účely ani na žiadne
iné účely, ktoré zakazuje Licencia a tieto Dodatočné zmluvné podmienky. Súhlasíte ďalej s tým, že
funkciu Apple Pay budete používať v súlade s platnými zákonmi a predpismi. Súhlasíte s tým, že
nebudete zasahovať ani narúšať službu funkcie Apple Pay (vrátane prístupu k službe prostredníctvom
akýchkoľvek automatizovaných prostriedkov), ani žiadne servery či siete pripojené k službe, ani žiadne
zásady, požiadavky alebo smernice pre siete pripojené k službe (vrátane akéhokoľvek neoprávneného
prístupu, používania alebo monitorovania dát alebo prenosov v týchto sieťach).

2. Vzťah spoločnosti Apple s vami
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 376 of 452



Funkcia Apple Pay vám umožňuje vytvárať virtuálne formy vašich Podporovaných kariet na vašom
podporovanom iOS zariadení. Spoločnosť Apple však platby ani transakcie s neplatobnými kartami (ako
je pripísanie alebo čerpanie kreditu), nespracúva ani neprijíma, nedrží ani netransferuje vaše finančné
prostriedky a nemá ani žiadnu inú kontrolu nad platbami, vráteniami, refundáciami, odmenami,
oceneniami, zľavami ani inými obchodnými aktivitami, ktoré súvisia s používaním tejto funkcie.

Používanie Podporovaných kariet a ich používanie v spojení s funkciou Apple Pay bude podliehať
zmluvným podmienkam, ktoré ste zrejme uzavreli s vydavateľom karty. Podobne bude aj účasť
v ľubovoľnom vernostnom programe alebo programe darčekových poukazov a používanie Kariet
podporujúcich Apple Pay v spojení s Apple Pay podliehať zmluvným podmienkam daného obchodníka.

Hotovostná karta Apple Pay a možnosť odosielať a prijímať platby medzi osobami sú k dispozícii iba
v Spojených štátoch a sú to služby poskytované spoločnosťou Green Dot Bank, ktorá je členom FDIC.
Keď zapnete tieto funkcie v rámci Apple Pay, otvárate si účet v banke Green Dot Bank a pri odosielaní
a prijímaní platieb medzi osobami, alebo keď vkladáte alebo vyberáte peniaze zo svojej hotovostnej karty
Apple Pay, Green Dot Bank bude zodpovedná za prijímanie alebo odosielanie peňažných prostriedkov
danej osobe. Finančná inštitúcia zodpovedná za ponuku hotovostných platieb Apple Pay a platieb medzi
osobami sa môže meniť a vaše používanie týchto funkcií podlieha príslušným zodpovedajúcim pravidlám
a podmienkam.

Nič, čo je uvedené v Licencii alebo týchto Dodatočných zmluvných podmienkach, nemení podmienky
akýchkoľvek zmlúv držiteľa karty, užívateľa alebo obchodníka, pričom takými podmienkami sa bude
naďalej riadiť používanie príslušnej Podporovanej karty alebo platby medzi osobami a ich virtuálna forma
na vašom iOS zariadení. Súhlasíte s tým, že spoločnosť Apple nie je zmluvnou stranou vašich zmlúv
držiteľa karty alebo obchodníka a že spoločnosť Apple nie je zodpovedná za (a) obsah, presnosť ani
nedostupnosť akýchkoľvek platobných kariet, vernostných kariet, darčekových poukazov, komerčných
aktivít, transakcií ani nákupov pri využívaní funkčnosti funkcie Apple Pay, (b) proces poskytovania kreditu
či posudzovanie nároku naň, (c) pripisovanie alebo uplatňovanie odmien či uloženej hodnoty v rámci
programov obchodníkov, (d) financovanie či dobíjanie predplatených kariet, (e) odosielanie alebo
prijímanie platieb medzi osobami ani (f) vkladanie, uplatňovanie alebo vyberanie peňažných prostriedkov
z hotovostnej karty Apple Pay.

Vo veci akýchkoľvek sporov alebo otázok týkajúcich sa platobných kariet, vernostných kariet,
darčekových poukazov alebo súvisiacich komerčných aktivít kontaktujte vydavateľa karty alebo
príslušného obchodníka. Ohľadne otázok týkajúcich sa hotovostnej karty Apple Pay alebo platieb medzi
osobami sa obráťte na Podporu spoločnosti Apple.

3. Ochrana osobných údajov

Funkcia Apple Pay vyžaduje pre správne fungovanie informácie z vášho iOS zariadenia. Okrem toho, keď
používate svoju hotovostnú kartu Apple Pay, alebo keď odosielate alebo prijímate platby medzi osobami,
zhromažďujú sa dodatočné informácie o vašich transakciách a tieto sa uchovávajú pre účely správy
vášho účtu, prevencie pred podvodnými praktikami z dôvodu štátnej regulácie. Viac informácií o dátach,
ktoré sú zhromažďované, používané alebo zdieľané počas používania Apple Pay, hotovostnej karty
Apple Pay alebo platieb medzi osobami v službe Apple Pay nájdete v informáciách O Apple Pay
a súkromí (ktoré nájdete v časti Wallet a Apple Pay na iOS zariadení alebo v aplikácii Watch na
spárovanom iOS zariadení) alebo na stránke https://www.apple.com/privacy/. Používaním týchto funkcií
vyjadrujete svoj súhlas s tým, že spoločnosť Apple, jej pobočky a zástupcovia môžu s cieľom
poskytovania funkcií Apple Pay prenášať, zhromažďovať, spravovať, spracovávať a využívať všetky
vyššie uvedené informácie.

4. Zabezpečenie; Stratené alebo deaktivované zariadenia
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 377 of 452




Funkcia Apple Pay uchováva virtuálne formy vašich Podporovaných kariet a je potrebné, aby bola
chránená rovnako, ako chránite svoju hotovosť alebo svoje fyzické kreditné, debetné, predplatené,
vernostné karty alebo darčekové poukazy. Poskytnutím hesla z vášho zariadenia tretej strane alebo
umožnením tretej strane pridávať odtlačky prstov na používanie Touch ID alebo zapnutím Face ID
môžete danej tretej strane umožniť vykonávanie platieb, posielanie, vyžiadanie alebo prijímanie platieb
medzi osobami, vyberanie finančných prostriedkov z vašej hotovostnej karty Apple Pay alebo
pripisovanie a čerpanie odmien alebo kreditu prostredníctvom Apple Pay na vašom zariadení. Za
zabezpečenie svojho zariadenia a hesla zodpovedáte výlučne vy. Súhlasíte s tým, že spoločnosť Apple
nenesie žiadnu zodpovednosť za stratu vášho zariadenia ani za stratu prístupu k vášmu zariadeniu.
Súhlasíte s tým, že spoločnosť Apple nenesie žiadnu zodpovednosť v prípade, že vykonáte nepovolené
úpravy systému iOS (napríklad formou nazývanou „jailbreak“).

Možno bude potrebné, aby ste zapli ďalšie bezpečnostné opatrenia, ako je napríklad dvojfaktorová
autentifikácia pre vaše Apple ID, za účelom prístupu ku konkrétnym funkciám Apple Pay, vrátane
hotovostných kariet Apple Pay a platbám medzi osobami pomocou Apple Pay. Ak následne tieto
bezpečnostné funkcie odstránite, môže sa stať, že ku konkrétnym funkciám Apple Pay už nebudete mať
prístup.

Ak svoje zariadenie stratíte alebo vám boli odcudzené, pričom máte zapnutú funkciu Nájsť môj iPhone,
môžete sa pomocou nej pokúsiť pozastaviť možnosť platieb pomocou virtuálnych Podporovaných
platobných kariet alebo možnosť odosielať platby medzi osobami na danom zariadení tým, že prepnete
zariadenie do režimu Stratené. Svoje zariadenie môžete aj vymazať, pričom dôjde k pokusu
o pozastavenie možnosti vykonávania platieb pomocou virtuálnych Podporovaných platobných kariet
a platieb medzi osobami na vašom zariadení a pokusu o odstránenie Kariet podporovaných funkciou
Apple Pay. Zároveň by ste mali kontaktovať vydavateľa vašich Podporovaných platobných kariet
a obchodníka, ktorý vydal vaše Karty podporované funkciou Apple Pay, ako aj spoločnosť Apple
v prípade, že ide o hotovostnú kartu Apple Pay a zamedzili tak neoprávnenému prístupu k vašim
Podporovaným kartám.

Ak spoločnosti Apple nahlásite podvodnú alebo nepovolenú aktivitu, alebo ak má spoločnosť Apple
podozrenie na takúto aktivitu, súhlasíte s tým, že budete so spoločnosťou Apple spolupracovať na
akomkoľvek vyšetrovaní a že použijete všetky nami stanovené opatrenia na zamedzenie podvodom.

5. Obmedzenie zodpovednosti

S VÝNIMKOU ZRIEKNUTÍ SA ZÁRUK A OBMEDZENIA ZODPOVEDNOSTI UVEDENÉHO V LICENCII
SPOLOČNOSŤ APPLE NENESIE ŽIADNU ZODPOVEDNOSŤ ZA NÁKUPY, PLATBY, TRANSAKCIE ANI
INÉ KOMERČNÉ AKTIVITY REALIZOVANÉ POUŽITÍM FUNKCIE APPLE PAY, PRIČOM SÚHLASÍTE S
TÝM, ŽE PRI RIEŠENÍ AKÝCHKOĽVEK OTÁZOK ALEBO SPOROV V SÚVISLOSTI SO SVOJIMI
PODPOROVANÝMI KARTAMI, PLATBAMI MEDZI OSOBAMI A SÚVISIACIMI KOMERČNÝMI AKTIVITAMI
SA BUDETE RIADIŤ VÝLUČNE ZMLUVAMI, KTORÉ MÔŽETE MAŤ UZATVORENÉ S VYDAVATEĽOM
KARTY, S PLATOBNOU SIEŤOU, FINANČNÝMI INŠTITÚCIAMI ALEBO S PREDAJCOM.

————————————
OZNAMY SPOLOČNOSTI APPLE
Ak vás spoločnosť Apple potrebuje kontaktovať ohľadom vášho produktu alebo účtu, budete
oboznámení emailom. Týmto dávate svoj súhlas s tým, že akékoľvek z týchto oznamov, ktoré vám
zašleme, budú v súlade s nárokmi na právoplatnú oprávnenú komunikáciu.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 378 of 452



УКРАЇНСЬКА

УВАГА: ВИКОРИСТОВУЮЧИ iPHONE, iPAD АБО iPOD TOUCH (ПРИСТРІЙ iOS), ВИ
ПОГОДЖУЄТЕСЯ З НАСТУПНИМИ УМОВАМИ:

A.   ЛІЦЕНЗІЙНА УГОДА ПРО ВИКОРИСТАННЯ ПРОГРАМНОГО ЗАБЕЗПЕЧЕННЯ APPLE iOS
B.   ДОДАТКОВІ ПОЛОЖЕННЯ ЩОДО ВИКОРИСТАННЯ ФУНКЦІЇ APPLE PAY
C.   ПОВІДОМЛЕННЯ КОМПАНІЇ APPLE

APPLE INC.
ЛІЦЕНЗІЙНА УГОДА ПРО ВИКОРИСТАННЯ ПРОГРАМНОГО ЗАБЕЗПЕЧЕННЯ iOS
Ліцензія на одного користувача

БУДЬ ЛАСКА, УВАЖНО ОЗНАЙОМТЕСЯ З ЦІЄЮ ЛІЦЕНЗІЙНОЮ УГОДОЮ (“ЛІЦЕНЗІЯ”)
ПЕРЕД ВИКОРИСТАННЯМ ПРИСТРОЮ iOS АБО ЗАВАНТАЖЕННЯМ ОНОВЛЕННЯ
ПРОГРАМНОГО ЗАБЕЗПЕЧЕННЯ, ДО ЯКОГО ДОДАЄТЬСЯ ЦЯ УГОДА. ВИКОРИСТОВУЮЧИ
ПРИСТРІЙ iOS АБО, ЗАЛЕЖНО ВІД СИТУАЦІЇ, ЗАВАНТАЖУЮЧИ ОНОВЛЕННЯ
ПРОГРАМНОГО ЗАБЕЗПЕЧЕННЯ, ВИ ПОГОДЖУЄТЕСЯ ДОТРИМУВАТИСЯ УМОВ ЦІЄЇ
ЛІЦЕНЗІЇ. ЯКЩО ВИ НЕ ПОГОДЖУЄТЕСЯ З УМОВАМИ ЦІЄЇ ЛІЦЕНЗІЇ, НЕ ВИКОРИСТОВУЙТЕ
ПРИСТРІЙ iOS ТА НЕ ЗАВАНТАЖУЙТЕ ПРОГРАМНЕ ЗАБЕЗПЕЧЕННЯ.

ЯКЩО ВИ НЕЩОДАВНО ПРИДБАЛИ ПРИСТРІЙ iOS, АЛЕ ВИ НЕ ПОГОДЖУЄТЕСЯ З
УМОВАМИ ЦІЄЇ ЛІЦЕНЗІЇ, ВИ МОЖЕТЕ ПОВЕРНУТИ ПРИСТРІЙ iOS ПРОТЯГОМ ПЕРІОДУ
ПОВЕРНЕННЯ В APPLE STORE АБО АВТОРИЗОВАНОМУ ДИСТРИБ’ЮТОРУ ЗА МІСЦЕМ
ПРИДБАННЯ З ПОВЕРНЕННЯМ СПЛАЧЕНОЇ ВАМИ СУМИ ЗГІДНО ІЗ ПОЛІТИКОЮ КОМПАНІЇ
APPLE З ПОВЕРНЕННЯ ПРОДУКЦІЇ, ЩО МІСТИТЬСЯ НА ВЕБ-САЙТІ https://www.apple.com/
legal/sales-support/.

1. Загальні положення.
(a) Це програмне забезпечення (у тому числі, код завантажувального Boot ROM, вбудоване
програмне забезпечення та програмне забезпечення сторонніх виробників), документація,
інтерфейси, контент, шрифти та будь-які дані, що поставляються в комплекті з Пристроєм iOS
(“Первісна Конфігурація Програмного Забезпечення iOS”), які можуть оновлюватися або
замінюватися удосконаленими програмними можливостями, оновленнями програмного
забезпечення або програмним забезпеченням для відновлення системи, що надаються компанією
Apple (“Оновлення Програмного Забезпечення iOS”), які містяться у постійно-запам’ятовуючому
пристрої, на будь-якому іншому носії інформації чи в будь-якій іншій формі (Первісна Конфігурація
Програмного Забезпечення iOS і Оновлення Програмного Забезпечення iOS далі разом
іменуватимуться “Програмне Забезпечення iOS”) не продаються, а передаються Вам компанією
Apple Inc. (“Apple”) для використання виключно на умовах даної Ліцензії. Компанія Apple та
ліцензіари компанії Apple зберігають за собою право власності на саме Програмне Забезпечення
iOS та на всі прямо не надані Вам права. Ви погоджуєтеся з тим, що умови цієї Ліцензії будуть
застосовуватися до всіх програм марки Apple, які можуть бути вбудовані на Вашому Пристрої
iOS, якщо тільки така програма не супроводжується окремою ліцензією, тоді ви погоджуєтеся,
що її використання регулюється своєю ліцензією.

(b) Apple, на власний розсуд, може надавати доступ до майбутніх Оновлень Програмного
Забезпечення iOS. Оновлення Програмного Забезпечення iOS, якщо такі є, необов’язково можуть
містити всі існуючі функції програмного забезпечення або нові функції, які Apple випускає для
новіших або інших моделей Пристроїв iOS. Умови цієї Ліцензії розповсюджуються на будь-які
Оновлення Програмного Забезпечення iOS, які постачаються Apple, крім випадків, коли таке
Оновлення Програмного Забезпечення iOS супроводжується окремою ліцензією, і ви
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 379 of 452



погоджуєтеся, що положення цієї ліцензії мають переважну силу.

(c) Якщо Ви використовуєте функцію швидкого налаштування, щоб налаштувати новий Пристрій
iOS на основі Вашого наявного Пристрою iOS, Ви погоджуєтеся, що положення цієї Ліцензії
регулюватимуть Ваше використання Програмного Забезпечення iOS на новому Пристрої iOS,
якщо тільки це не супроводжується окремою ліцензією, у такому випадку Ви погоджуєтеся, що
положення тієї ліцензії матиме переважну силу для Вашого використання цього Програмного
забезпечення iOS. Пристрій iOS періодично звірятиметься з Apple щодо оновлень Програмного
забезпечення iOS. Якщо оновлення доступне, оновлення може автоматично завантажуватися та
встановлюватися на Пристрій iOS та, якщо це можливо, на периферійні пристрої.
Використовуючи Програмне забезпечення Apple, ви погоджуєтеся, що Apple може
завантажувати та встановлювати автоматичні оновлення Програмного забезпечення iOS на
ваш Пристрій iOS та периферійні пристрої. Ви можете вимкнути автоматичне оновлення в будь-
який час, змінивши параметри автоматичного оновлення в меню Налаштування> Загальні>
Оновлення програмного забезпечення.

2. Дозволені Ліцензією види використання та обмеження.
(a) Відповідно до положень та умов цієї Ліцензії, Вам надається обмежена неексклюзивна ліцензія
на використання Програмного забезпечення iOS на одному Пристрої iOS марки Apple. Окрім
випадків, дозволених нижче в пункті (b) розділу 2, і якщо це дозволено в окремій угоді між Вами
та Apple, ця Ліцензія забороняє одночасне використання Програмного забезпечення iOS на більш
ніж одному Пристрої iOS марки Apple, і Вам не дозволено розповсюджувати або надавати
мережевий доступ до Програмного забезпечення iOS для одночасного його використання на
кількох пристроях. Ця Ліцензія не надає Вам жодних прав на використання запатентованих
інтерфейсів та іншої інтелектуальної власності компанії Apple у дизайні, при розробці,
виготовленні, ліцензуванні або розповсюдженні пристроїв або аксесуарів третіх осіб, або
програмного забезпечення третіх осіб, для використання з Пристроями iOS. Деякі із зазначених
прав можуть надаватися за окремими ліцензіями компанії Apple. Більш детальну інформацію про
розробку пристроїв і аксесуарів третіх сторін, призначених для Пристроїв iOS, можна отримати
на веб-сайті https://developer.apple.com/programs/mfi/. Більш детальну інформацію про розробку
програмного забезпечення для Пристроїв iOS можна отримати на веб-сайті https://
developer.apple.com.

(b) Відповідно до положень та умов цієї Ліцензії, Вам надається обмежена неексклюзивна ліцензія
на завантаження Програмного забезпечення iOS, що може надаватися компанією Apple для
Вашої моделі Пристрою iOS, з метою оновлення або відновлення програмного забезпечення на
такому Пристрої iOS, яким Ви володієте або з яким працюєте. Ця Ліцензія не дозволяє Вам
оновлювати або відновлювати будь-які Пристрої iOS, якими Ви не володієте або які не
контролюються Вами, а також Ви не вправі розповсюджувати або надавати мережевий доступ до
Оновлень Програмного Забезпечення iOS для одночасного їхнього використання кількома
пристроями або кількома комп’ютерами. Якщо ви завантажуєте Оновлення Програмного
Забезпечення iOS на свій комп’ютер, Ви можете виготовити лише одну резервну копію Оновлень
Програмного Забезпечення iOS у формі, придатній для машинного зчитування, за умови, що у
такій резервній копії будуть збережені повідомлення про авторські права та інші примітки
правовласників, що містяться в оригіналі.

(c) У межах, в яких Apple попередньо встановила програми марки Apple з App Store на Вашому
Пристрої iOS на момент його придбання («Попередньо встановлені програми»), Вам знадобиться
увійти до App Store і пов’язати ці Попередньо встановлені програми з Вашим обліковим записом
App Store, щоб ним можна було користуватися на Вашому Пристрої iOS. Коли ви пов’язуєте
Попередньо встановлену програму зі своїм обліковим записом App Store, Ви одночасно
автоматично пов’язуєте всі інші Попередньо встановлені програми на Вашому Пристрої iOS. Коли
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 380 of 452



Ви вибираєте пов’язати Попередньо встановлені програми зі своїм обліковим записом App Store,
Ви погоджуєтеся, що Apple може передавати, збирати, зберігати, обробляти й використовувати
Apple ID, який використовується Вашим обліковим записом App Store, і унікальний ідентифікатор
апаратного забезпечення, отриманий з Вашого Пристрою iOS, які є унікальними
ідентифікаторами облікового запису для перевірки відповідності Вашого запиту та надання Вам
доступу до Попередньо встановлених програм через App Store. Якщо Ви не хочете користуватися
Попередньо встановленою програмою, Ви можете видалити її зі свого Пристрою iOS у будь-який
момент.

(d) Ви не маєте права копіювати (крім випадків, чітко передбачених цією Ліцензією),
декомпілювати, здійснювати втручання в програмне забезпечення для його розшифрування,
розпаковувати, намагатися розкрити початковий код, декодувати, змінювати або створювати
похідні твори на основі Програмного Забезпечення iOS чи будь-яких сервісів, що надаються
Програмним забезпеченням iOS, чи будь-якої їхньої частини (крім випадків, коли будь-яке з
наведених вище обмежень забороняється чинним законодавством, а також крім випадків, коли
такі дії дозволені ліцензійними умовами, які регулюють використання компонентів з відкритим
кодом, що може бути включено в Програмне Забезпечення iOS), а також погоджуєтеся з даними
умовами і зобов’язуєтеся не допускати здійснення вказаних дій іншими особами.

(e) Програмне забезпечення iOS може використовуватися лише для відтворення матеріалів, не
захищених авторським правом, матеріалів, на які Ви маєте авторське право, або тих матеріалів,
на відтворення яких Ви отримали право або маєте законний дозвіл. Права власності й
інтелектуальної власності на будь-який вміст, відображений за допомогою Пристрою iOS,
збережений на ньому, або до якого отримано доступ через нього, належать відповідним
власникам цього вмісту. Такий вміст може бути захищений законом про авторське право чи
іншими законами та угодами щодо інтелектуальної власності, і на нього можуть
розповсюджуватися умови щодо використання, які встановлені стороннім розробником, що
надає цей вміст. Окрім випадків, що можуть бути чітко передбачені цим документом, ця Ліцензія
не надає Вам жодних прав на використання такого вмісту й не гарантує, що Ви й надалі будете
мати доступ до цього вмісту.

(f) Відповідно до умов цієї Ліцензії, ви можете використовувати символи Animoji та Memoji, що
входять до складу Програмного забезпечення iOS («Системні символи») або створені ним (i) під
час використання Програмного забезпечення iOS та (ii) для створення власного оригінального
вмісту і проектів для особистого некомерційного використання. Жодне інше використання
Системних символів не дозволяється цією Ліцензією, включаючи, але не обмежуючись цим,
використання, відтворення, демонстрацію, виконання, запис, публікацію або перерозподіл будь-
якого Системного символу в комерційному, некомерційному або рекламному контексті чи
публічному обмінові.

(g) Ви погоджуєтеся використовувати Програмне забезпечення iOS та Послуги (як це
передбачено в розділі 5) відповідно до всіх чинних законів включно з місцевими законами країни
або регіону, в якому Ви мешкаєте або в якому Ви завантажуєте чи використовуєте Програмне
забезпечення iOS та Послуги. Функції Програмного Забезпечення iOS та Послуг можуть бути
доступні не для всіх мов та регіонів, деякі функції можуть різнитися залежно від регіону, а деякі
можуть бути обмежені або недоступні залежно від постачальника послуг. Для деяких функцій
Програмного забезпечення iOS та Послуг, потрібно підключення до мережі Wi-Fi або стільникової
мережі передавання даних.

(h) Використання App Store вимагає унікальну комбінацію імені користувача та пароля, яка
називається Apple ID. Apple ID також потрібен для доступу до оновлень програм та певних
функцій Програмного забезпечення iOS та Послуг.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 381 of 452




(i) Ви визнаєте, що багато функцій, вбудованих програм і Послуг Програмного забезпечення iOS
передають дані, за що можуть стягуватися платежі згідно з Вашим тарифним планом
передавання даних, та що Ви несете відповідальність за такі платежі. Ви можете переглядати і
надавати дозвіл програмам на підключення до стільникової мережі передавання даних або
переглядати приблизний об’єм даних, переданий програмами, у налаштуваннях стільникової
мережі передання даних. Крім того, Wi-Fi Assist автоматично переключиться на стільниковий
зв’язок, якщо у вас погане з’єднання Wi-Fi, що може призвести до збільшення обсягу
стільникових даних та додаткових платежів згідно з таріфним планом. Wi-Fi Assist увімкнено за
умовчанням, але його можна вимкнути в розділі «Налаштування». Для отримання додаткових
відомостей див. Посібник користувача для свого Пристрою iOS.

(j) Якщо функцію автоматичного оновлення програм увімкнено, Ваш Пристрій iOS буде періодично
перевіряти на ресурсах Apple наявність оновлень програм на пристрої, і за наявності оновлення
воно автоматично завантажується та встановлюється на Ваш пристрій. У будь-який момент Ви
можете вимкнути всі автоматичні оновлення програм. Для цього треба перейти в «Параметри»,
торкнути «iTunes & App Store» і вимкнути «Оновлення» в розділі «Автоматичні завантаження».

(k) Використання Пристрою iOS за певних обставин може відволікти Вас та призвести до
небезпечної ситуації (наприклад, не друкуйте текстові повідомлення під час керування
автомобілем або не використовуйте навушники під час поїздки на велосипеді). Використовуючи
Пристрій iOS, Ви погоджуєтеся, що несете відповідальність за дотримання правил, що
забороняють або обмежують використання мобільних телефонів або навушників (наприклад,
вимога використовувати приладдя для режиму «вільні руки» для здійснення дзвінків під час
керування автомобілем).

3. Передача прав. Ви не маєте права брати або передавати в оренду, передавати в тимчасове
користування, продавати, здійснювати редистрибуцію або надавати субліцензію на Програмне
Забезпечення iOS. Проте, Ви вправі здійснити одноразову незворотну передачу всіх належних
Вам ліцензійних прав на Програмне забезпечення iOS іншій особі у зв’язку із передачею права
власності на Ваш Пристрій iOS, за умови, що (а) передача прав повинна включати передачу
Вашого Пристрою iOS та все Програмне Забезпечення iOS, у тому числі, всі складові та цю
Ліцензію; (b) у Вас не залишатиметься жодних повних або часткових копій Програмного
Забезпечення iOS, у тому числі, копій, які зберігаються на комп’ютері або в іншому пристрої для
зберігання даних; та (с) особа, яка одержує Програмне Забезпечення iOS, ознайомиться і
погодиться дотримуватися умов цієї Ліцензії.

4. Згода на використання даних. Під час використання пристрою Ваш номер телефону і певні
унікальні ідентифікатори Вашого Пристрою iOS надсилаються компанії Apple, щоб дозволити
іншим користувачам зв’язатися з Вами за Вашим номером телефону під час використання різних
функцій зв’язку Програмного забезпечення iOS, таких як iMessage і FaceTime. Під час
використання iMessage компанія Apple може зберігати Ваші повідомлення у шифрованій формі
протягом обмеженого періоду часу для забезпечення їх доставки. Ви можете вимкнути послугу
FaceTime або iMessage, відкривши FaceTime або Повідомлення на Вашому Пристрої iOS. Певні
функції, такі як «Аналітика», «Служби локації», «Siri» та «Диктування», можуть вимагати відомості з
Вашого Пристрою iOS для надання відповідних функцій. Якщо увімкнути ці функції або
скористатися ними, Вам буде надано опис того, які відомості надсилаються компанії Apple і як
вони можуть використовуватися. Щоб дізнатися більше, відвідайте веб-сайт https://
www.apple.com/privacy/. Ваша інформація завжди оброблятиметься відповідно до Політики
конфіденційності Apple, яку включено за допомогою посилання в цю Ліцензію та яку можна
переглянути за адресою: https://www.apple.com/legal/privacy/.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 382 of 452



5. Послуги та матеріали сторонніх виробників.
(а) Програмне Забезпечення iOS може надавати можливість отримати доступ до Інтернет-
магазину iTunes Store компанії Apple, App Store, Apple Books, Game Center, iCloud, Карт та інших
сервісів і веб-сайтів, що надаються компанією Apple і третіми особами (які далі разом і окремо
іменуватимуться “Послуги”). Такі Послуги можуть бути недоступними на всіх мовах або в усіх
регіонах. Користування Послугами потребує наявності доступу до мережі Інтернет, а для
користування певними Послугами може знадобитися Apple ID та Ваша згода на додаткові умови
надання послуг, а також може передбачати додаткові платежі. Використовуючи це програмне
забезпечення у зв’язку із Apple ID або іншою Послугою Apple, Ви погоджуєтеся з відповідними
умовами та положеннями такої Послуги, наприклад, останньою версією Умов та положень
надання послуг iTunes Store, останньою версією Умов та положень надання послуг Медійних
сервісів Apple у країні, де здійснюється доступ до таких Послуг, з якими можна ознайомитися на
веб-сторінці https://www.apple.com/legal/internet-services/itunes/.

(b) Якщо ви зареєструвалися в iCloud, до певних функцій iCloud, наприклад «Фототека iCloud»,
«Мій Фотопотік», «Спільні колекції», «Створення резервної копії» і «Знайти iPhone», можна
отримати доступ безпосередньо з Пристрою iOS. Ви визнаєте та погоджуєтесь, що Ваше
користування iCloud і цими функціями регулюються останньою версією умов та положень послуги
iCloud, яку можна переглянути за адресою: https://www.apple.com/legal/internet-services/icloud/.

(c) Вміст програми News. Ваше користування вмістом, доступ до якого здійснюється через
програму News, обмежене особистим некомерційним користуванням і не передає вам жодних
прав володіння щодо вмісту, а також виключає будь-які комерційні або рекламні права
використання для такого вмісту без жодних обмежень. Крім того, вам заборонена повторна
публікація, передача та відтворення будь-яких зображень, доступ до яких здійснюється через
програму News, як окремих файлів.

(d) Карти. Послуга карт та функції Програмного забезпечення iOS («Карти»), у тому числі покриття
даних карт, можуть відрізнятися залежно від регіону. Під час використання функцій визначення
місцезнаходження в Картах, наприклад навігації із зазначенням зворотів, дорожнього руху та
локального пошуку, різна інформація про послуги на основі місцезнаходження та використання
(включно з даними про географічне місцезнаходження Вашого пристрою iOS в режимі реального
часу) може надсилатися у компанію Apple для обробки Вашого запиту та вдосконалення Карт.
Такі дані про місцезнаходження та використання збираються компанією Apple у формі, що не
ідентифікує Вашу особу. Використовуючи Карти, Ви погоджуєтеся на передавання, збирання,
обслуговування, опрацювання та використання компанією Apple, її дочірніми
підприємствами та агентами цієї інформації для надання та вдосконалення функцій Карт та
інших продуктів і послуг Apple. Компанія Apple також може надавати цю інформацію або у
зведеній формі, або у формі, за якою не можна визначити особу, своїм партнерам та ліцензіарам
з метою покращення карт та продуктів і послуг, що залежать від розташування. Ви можете
вимкнути функцію використання даних про місцезнаходження в службі Карти; для цього
відкрийте на своєму Пристрої iOS Службу локації та вимкніть функцію визначення
місцезнаходження користувача для Карт. Якщо Ви вимкнете параметр Служби локації, певні
функції Карт будуть недоступні, наприклад навігація з зазначенням зворотів.

 (e) Ви усвідомлюєте, що в процесі користування будь-якими Послугами Вам можуть зустрітися
матеріали, які вважаються образливими, непристойними або неприйнятними, в яких, як це можна
або не можна визначити, зустрічається нецензурна мова, та що будь-який пошук або введення
певної URL-адреси може призвести до автоматичного і ненавмисного генерування посилань на
матеріали неприйнятного змісту. Однак, Ви погоджуєтеся, що користування Послугами
здійснюватиметься Вами на свій власний ризик, і що компанія Apple, її філії, агенти, керівники або
ліцензіари не нестимуть перед Вами відповідальності за матеріали, які можуть бути розцінені як
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 383 of 452



образливі, непристойні або неприйнятні.

(f) Певні Послуги передбачають показ, включають або забезпечують можливість доступу до
контенту, даних, інформації, програмних продуктів або матеріалів третіх осіб (“Матеріали Третіх
Осіб”) або генерування посилань на веб-сторінки певних третіх осіб. Користуючись цими
Послугами, Ви визнаєте і погоджуєтеся з тим, що компанія Apple не приймає на себе зобов’язань
з вивчення або оцінки змісту, точності, повноти, актуальності, правомірності, дотримання
авторських прав, законності, пристойності, якості чи будь-яких інших аспектів таких Матеріалів
Третіх Осіб або веб-сайтів. Компанія Apple, її працівники, афілійовані особи та дочірні
підприємства не гарантують і не рекомендують, а також не приймають на себе і не нестимуть
перед Вами чи будь-якою іншою особою жодної відповідальності за будь-які Послуги третіх осіб,
Матеріали Третіх Осіб або їхні веб-сайти, а також за будь-які інші матеріали, продукти або
послуги третіх осіб. Матеріали третіх осіб та посилання на інші веб-сайти надаються виключно
для Вашої зручності.

(g) Ані Apple, ані її постачальники вмісту не гарантують доступності, точності, повноти, надійності
або актуальності інформації про цінні папери, даних про розташування або будь-якої іншої
інформації, представленої за допомогою будь-яких Послуг. Фінансова інформація, яка
відображається за допомогою використання будь-яких Послуг, надається винятково для
ознайомлення і не має розцінюватися як рекомендація з інвестування. Перед здійсненням будь-
якої операції з цінними паперами на основі інформації, одержаної за допомогою Послуг, Вам слід
проконсультуватися з фахівцем у фінансовій сфері або по роботі з цінними паперами, який має
законні права надавати консультації з фінансових питань або щодо цінних паперів. Дані про
місцезнаходження, що надаються при користування будь-якими Послугами, включаючи послуги
служби Карти Apple, надаються лише для приблизного визначення місцезнаходження та
планування, а не для ситуацій, коли існує необхідність у точних даних про місцезнаходження, або
ситуацій, коли помилкова, неточна, сповільнена або неповна інформація про місцезнаходження
може призвести до летальних наслідків, заподіяння травм, шкоди майну або навколишньому
середовищу. Ви погоджуєтесь з тим, що результати, отримані від служби Карти, можуть
відрізнятися в залежно від обраної дороги або рельєфу місцевості через фактори, що впливають
на точність даних служби Карти, зокрема погодних умов, стану доріг та дорожнього руху або
геополітичних подій. Задля Вашої безпеки при використанні функції навігації завжди звертайте
увагу на встановлені дорожні знаки та поточний стан дороги. Дотримуйтесь правил дорожнього
руху та рекомендацій щодо безпечного управління автомобілем, а також майте на увазі, що у
пішохідному маршруті можуть не вказуватися тротуари або пішохідні доріжки.

(h) Коли Ви передаєте будь-які матеріали за допомогою Послуг, Ви визнаєте, що володієте всіма
правами, отримали доручення або маєте будь-який інший законний дозвіл на передавання такого
матеріалу і цей матеріал не порушує будь-які умови надання послуг, що застосовуються для цих
Послуг. Ви погоджуєтеся, що Послуги містять контент, інформацію та матеріали, що є власністю
компанії Apple, власника сайту або їх ліцензіарів, і які захищені законами про права
інтелектуальної власності та іншими законами, у тому числі, зокрема, законом про авторське
право. Ви погоджуєтеся, що Ви жодним чином не використовуватимете такий контент,
інформацію та матеріали, окрім як в рамках дозволеного користування Послугами або у спосіб,
що не відповідає умовам цієї Ліцензії або порушує будь-які права на інтелектуальну власність
третіх осіб чи компанії Apple Забороняється у будь-якій формі чи в будь-який спосіб відтворювати
будь-яку частину Послуг. Ви погоджуєтеся не змінювати, не передавати і не брати в оренду, не
продавати, не розповсюджувати та жодним чином не створювати похідні продукти на основі
Послуг, а також Ви не маєте права використовувати Послуги у будь-який недозволений спосіб, у
тому числі, зокрема, використовувати Послуги для передавання будь-яких комп’ютерних вірусів,
хробаків, троянських коней або іншого шкідливого програмного забезпечення, чи у спосіб, що
призводить до зниження пропускної здатності мережі або її перевантаження. Ви також
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 384 of 452



погоджуєтеся жодними чином не використовувати Послуги для домагання, образ,
переслідування, погроз, наклепу або вчинення інших порушень прав будь-якої іншої особи, а
також з тим, що компанія Apple не несе жодної відповідальності за будь-яке таке використання з
Вашого боку, а також за можливе отримання Вами внаслідок користування будь-якими
Послугами будь-яких повідомлень, які мають надокучливий характер, містять погрози, наклепи,
або є образливими, неправомірними чи незаконними.

(i) Крім цього, Послуги і Матеріали Третіх Осіб, до яких можна отримати доступ, надати посилання
або які можна показати за допомогою Пристрою iOS, доступні не всіма мовами й не у всіх країнах
і регіонах. Компанія Apple не надає жодних запевнень, що такі Послуги і Матеріали сторонніх
розробників є можливими або доступними для використання в будь-якому конкретному регіоні.
Якщо Ви вирішили скористатися такими Послугами та Матеріалами сторонніх розробників або
отримати доступ до них, Ви дієте на свій власний розсуд та несете відповідальність за
дотримання будь-яких норм чинного законодавства, зокрема, норм місцевого законодавства, а
також законів про конфіденційність і збір даних. При надсиланні або виконанні синхронізації
фотографій через Пристрій iOS метадані, зокрема інформація про місце і час зйомки фотографії і
докладні дані, можуть надсилатися разом із фотографіями. До використання послуг Apple
(наприклад таких як Фототека iCloud) для надсилання або виконання синхронізації цих
фотографій відноситься отримання та зберігання компанією Apple цих метаданих. Компанія Apple
та її ліцензіари зберігають за собою право у будь-який час без надання відповідного
повідомлення змінювати, призупиняти, вилучати будь-які Послуги або блокувати доступ до них.
Компанія Apple у жодному випадку не нестиме відповідальності за вилучення або блокування
доступу до будь-яких таких Послуг. Компанія Apple може також за будь-яких обставин і без
надання відповідного повідомлення встановити обмеження на користування певними Послугами
або надання доступу до них і не нестиме за це жодної відповідальності.

6. Припинення. Ця Ліцензія діє до моменту її припинення. У разі недотримання Вами будь-якої
умови цієї Ліцензії Ви автоматично позбавляєтеся прав за цією Ліцензією або вона перестане бути
чинною без надання компанією Apple відповідного повідомлення. Після припинення цієї Ліцензії
Ви зобов’язані повністю припинити користуватися Програмним забезпеченням iOS. У такому
випадку розділи 4, 5, 6, 7, 8, 9, 12 та 13 цієї Ліцензії залишаються чинними після припинення її дії.

7. Обмеження обсягу гарантій.
7.1 Якщо Ви — користувач, який є споживачем (будь-яка особа, яка використовує Програмне
забезпечення iOS поза межами комерційної діяльності, бізнесу або професійної діяльності), Ви
можете мати законні права на території Вашої країни перебування, які можуть перешкоджати
застосуванню до Вас наведених нижче обмежень, і на території, де такі обмеження заборонені,
вони не застосовуватимуться до Вас. Для отримання докладнішої інформації про такі права слід
звернутися до місцевої організації з надання споживачам консультаційних послуг.

7.2 ВИ ПОВНОЮ МІРОЮ ВИЗНАЄТЕ І ПОГОДЖУЄТЕСЯ З ТИМ, ЩО В МЕЖАХ, ДОЗВОЛЕНИХ
ЧИННИМ ЗАКОНОДАВСТВОМ, ВИКОРИСТАННЯ ПРОГРАМНОГО ЗАБЕЗПЕЧЕННЯ iOS І БУДЬ-
ЯКИХ ПОСЛУГ, НАДАЮТЬСЯ ПРОГРАМНИМ ЗАБЕЗПЕЧЕННЯМ iOS АБО ЗА ДОПОМОГОЮ
ПРОГРАМНОГО ЗАБЕЗПЕЧЕННЯ iOS, ЗДІЙСНЮЄТЬСЯ ВАМИ ВИКЛЮЧНО НА ВАШ ВЛАСНИЙ
РИЗИК, І ЩО НА ВАС ЛЕЖИТЬ ВСЯ ВІДПОВІДАЛЬНІСТЬ ЗА ЇХНЮ НАЛЕЖНУ ЯКІСТЬ,
ФУНКЦІОНУВАННЯ, ТОЧНІСТЬ І РЕЗУЛЬТАТ ВИКОРИСТАННЯ.

7.3 У МАКСИМАЛЬНО ДОЗВОЛЕНОМУ ЧИННИМ ЗАКОНОДАВСТВОМ ОБСЯЗІ ПРОГРАМНЕ
ЗАБЕЗПЕЧЕННЯ ТА ПОСЛУГИ iOS ПОСТАВЛЯЮТЬСЯ НА УМОВАХ “ЯК Є” ТА “ЗА НАЯВНОСТІ”, З
УСІМА ДЕФЕКТАМИ ТА БЕЗ ЖОДНИХ ГАРАНТІЙ, А КОМПАНІЯ APPLE ТА ЇЇ ЛІЦЕНЗІАРИ (ЯКІ,
ДЛЯ ЦІЛЕЙ РОЗДІЛІВ 7 І 8, ДАЛІ ІМЕНУВАТИМУТЬСЯ “КОМПАНІЯ APPLE”) ЦИМ
ВІДМОВЛЯЮТЬСЯ ВІД НАДАННЯ БУДЬ-ЯКИХ ЯВНИХ, ТАКИХ, ЩО МАЮТЬСЯ НА УВАЗІ, АБО
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 385 of 452



ПЕРЕДБАЧЕНИХ ЗАКОНОДАВСТВОМ ГАРАНТІЙНИХ ЗОБОВ’ЯЗАНЬ ВІДНОСНО ПРОГРАМНОГО
ЗАБЕЗПЕЧЕННЯ iOS І ПОСЛУГ, У ТОМУ ЧИСЛІ, ЗОКРЕМА, ПЕРЕДБАЧЕНИХ ГАРАНТІЙ ТА/АБО
УМОВ ЩОДО ПРИДАТНОСТІ ДЛЯ ПРОДАЖУ, ЗАДОВІЛЬНОЇ ЯКОСТІ, ПРИДАТНОСТІ ДЛЯ
ВИКОРИСТАННЯ ДЛЯ КОНКРЕТНИХ ЦІЛЕЙ, ТОЧНОСТІ, СПОКІЙНОГО КОРИСТУВАННЯ ТА
НЕПОРУШЕННЯ ПРАВ ТРЕТІХ ОСІБ.

7.4 КОМПАНІЯ APPLE НЕ НАДАЄ ГАРАНТІЙ ВІДНОСНО ЗАХИСТУ ВІД ОБСТАВИН, ЯКІ
ПЕРЕШКОДЖАЮТЬ ВАШІЙ РОБОТІ З ПРОГРАМНИМ ЗАБЕЗПЕЧЕННЯМ ТА ПОСЛУГАМИ iOS,
СТОСОВНО ВІДПОВІДНОСТІ ФУНКЦІЙ І СЛУЖБ, ЯКІ НАДАЮТЬСЯ ПРОГРАМНИМ
ЗАБЕЗПЕЧЕННЯМ iOS АБО ВИКОНУЮТЬСЯ ЗА ДОПОМОГОЮ ПРОГРАМНОГО ЗАБЕЗПЕЧЕННЯ
iOS, ВАШИМ ВИМОГАМ, СТОСОВНО БЕЗПЕРЕБІЙНОГО І БЕЗПОМИЛКОВОГО
ФУНКЦІОНУВАННЯ ПРОГРАМНОГО ЗАБЕЗПЕЧЕННЯ І ПОСЛУГ iOS, СТОСОВНО ДОСТУПНОСТІ
БУДЬ-ЯКИХ СЛУЖБ, СТОСОВНО УСУНЕННЯ ДЕФЕКТІВ ПРОГРАМНОГО ЗАБЕЗПЕЧЕННЯ АБО
ПОСЛУГ iOS, А ТАКОЖ СТОСОВНО СУМІСНОСТІ І РОБОТИ ПРОГРАМНОГО ЗАБЕЗПЕЧЕННЯ iOS
З БУДЬ-ЯКИМ ПРОГРАМНИМ ЗАБЕЗПЕЧЕННЯМ, ПРОГРАМАМИ АБО ПОСЛУГАМИ ТРЕТІХ ОСІБ.
ВСТАНОВЛЕННЯ ЦЬОГО ПРОГРАМНОГО ЗАБЕЗПЕЧЕННЯ iOS МОЖЕ ВПЛИНУТИ НА
ДОСТУПНІСТЬ ТА ЕФЕКТИВНІСТЬ ВИКОРИСТАННЯ ПРОГРАМНОГО ЗАБЕЗПЕЧЕННЯ, ПРОГРАМ
АБО ПОСЛУГ СТОРОННІХ ВИРОБНИКІВ, А ТАКОЖ ПРОДУКТІВ І ПОСЛУГ APPLE.

7.5 ВИ ТАКОЖ ВИЗНАЄТЕ, ЩО ПРОГРАМНЕ ЗАБЕЗПЕЧЕННЯ І ПОСЛУГИ iOS НЕ ПРИЗНАЧЕНІ
І НЕ ПРИДАТНІ ДЛЯ ВИКОРИСТАННЯ У СИТУАЦІЯХ ЧИ В СЕРЕДОВИЩАХ, КОЛИ ЗБОЇ В РОБОТІ,
ЗАТРИМКИ, ПОМИЛКИ АБО НЕТОЧНОСТІ В КОНТЕНТІ, ДАНИХ АБО ІНФОРМАЦІЇ, ЯКІ
НАДАЮТЬСЯ ПРОГРАМНИМ ЗАБЕЗПЕЧЕННЯМ АБО ПОСЛУГАМИ iOS, МОЖУТЬ ПРИЗВЕСТИ
ДО ЛЕТАЛЬНИХ НАСЛІДКІВ, ТРАВМ, ВАЖКИХ ТІЛЕСНИХ УШКОДЖЕНЬ ЧИ ЗНАЧНОЇ ШКОДИ
ДЛЯ НАВКОЛИШНЬОГО СЕРЕДОВИЩА, У ТОМУ ЧИСЛІ, БЕЗ ОБМЕЖЕНЬ, ПРИ ВИКОРИСТАННІ
В ЯДЕРНИХ УСТАНОВКАХ, ПРИ КЕРУВАННІ ПОВІТРЯНИМИ СУДНАМИ АБО У РАЗІ
ВИКОРИСТАННЯ В СИСТЕМАХ ЗВ’ЯЗКУ, СИСТЕМАХ КОНТРОЛЮ РУХУ ПОВІТРЯНОГО
ТРАНСПОРТУ, АПАРАТАХ ШТУЧНОГО ПІДТРИМАННЯ ЖИТТЄДІЯЛЬНОСТІ АБО УПРАВЛІННЯ
СИСТЕМАМИ ОЗБРОЄНЬ.

7.6 ЖОДНА УСНА АБО ПИСЬМОВА ІНФОРМАЦІЯ ЧИ РЕКОМЕНДАЦІЯ, НАДАНА КОМПАНІЄЮ
APPLE АБО ЇЇ УПОВНОВАЖЕНИМ ПРЕДСТАВНИКОМ, НЕ МОЖУТЬ ВВАЖАТИСЯ
ГАРАНТІЙНИМИ ЗОБОВ’ЯЗАННЯМИ. У РАЗІ ВИЯВЛЕННЯ У ПРОГРАМНОМУ ЗАБЕЗПЕЧЕННІ
АБО ПОСЛУГАХ iOS БУДЬ-ЯКИХ НЕДОЛІКІВ, ЇХНЄ УСУНЕННЯ АБО ВСЕ НЕОБХІДНЕ
ОБСЛУГОВУВАННЯ І РЕМОНТ ЗДІЙСНЮЄТЬСЯ ЗА ВАШ РАХУНОК. У ДЕЯКИХ ЮРИСДИКЦІЯХ
ІСНУЄ ЗАБОРОНА НА ВІДМОВУ ВІД ПЕРЕДБАЧЕНИХ ГАРАНТІЙНИХ ЗОБОВ’ЯЗАНЬ АБО
ОБМЕЖЕНЬ НА ВСТАНОВЛЕНІ ЗАКОНОДАВСТВОМ ПРАВА СПОЖИВАЧА, ТОМУ
ВИЩЕЗАЗНАЧЕНА ВІДМОВА ТА ОБМЕЖЕННЯ МОЖУТЬ ДО ВАС НЕ ЗАСТОСОВУВАТИСЯ.

8. Обмеження відповідальності. У МЕЖАХ, НЕ ЗАБОРОНЕНИХ ЧИННИМ ЗАКОНОДАВСТВОМ,
КОМПАНІЯ APPLE, ЇЇ ФІЛІЇ, АГЕНТИ АБО КЕРІВНИКИ В ЖОДНОМУ ВИПАДКУ НЕ НЕСУТЬ
ВІДПОВІДАЛЬНОСТІ ЗА ТРАВМУВАННЯ ЧИ БУДЬ-ЯКІ ВИПАДКОВІ, ОСОБЛИВІ, НЕПРЯМІ АБО
ОПОСЕРЕДКОВАНІ ЗБИТКИ БУДЬ-ЯКОГО ВИДУ, У ТОМУ ЧИСЛІ, БЕЗ ОБМЕЖЕННЯ, ЗА
УПУЩЕНУ ВИГОДУ, ПОШКОДЖЕННЯ АБО ВТРАТУ ДАНИХ, НЕСПРАВНІСТЬ ПРИ ПЕРЕДАЧІ АБО
ОТРИМАННІ БУДЬ-ЯКИХ ДАНИХ (У ТОМУ ЧИСЛІ, БЕЗ ОБМЕЖЕННЯ, ІНСТРУКЦІЙ КУРСІВ,
ПРИЗНАЧЕНЬ АБО МАТЕРІАЛІВ), ПЕРЕРВИ В ГОСПОДАРСЬКІЙ ДІЯЛЬНОСТІ ЧИ БУДЬ-ЯКІ ІНШІ
КОМЕРЦІЙНІ ЗБИТКИ АБО ШКОДУ, ЩО ПОВ’ЯЗАНІ АБО ВИНИКАЮТЬ В РЕЗУЛЬТАТІ
КОРИСТУВАННЯ АБО НЕМОЖЛИВОСТІ ВИКОРИСТАННЯ ВАМИ ПРОГРАМНОГО
ЗАБЕЗПЕЧЕННЯ ТА ПОСЛУГ iOS ЧИ БУДЬ-ЯКОГО ПРОГРАМНОГО ЗАБЕЗПЕЧЕННЯ АБО
ПРОГРАМНИХ ПРОДУКТІВ ТРЕТІХ ОСІБ У ЗВ’ЯЗКУ ІЗ ПРОГРАМНИМ ЗАБЕЗПЕЧЕННЯМ АБО
ПОСЛУГАМИ iOS, І НЕЗАЛЕЖНО ВІД ПРИЧИН ЇХНЬОГО ВИНИКНЕННЯ, НЕЗВАЖАЮЧИ НА
ТЕОРІЮ ВІДПОВІДАЛЬНОСТІ (З ДОГОВОРУ, З ДЕЛІКТУ АБО НА ІНШИХ ПІДСТАВАХ), І НАВІТЬ У
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 386 of 452



ТИХ ВИПАДКАХ, КОЛИ КОМПАНІЇ APPLE БУЛО ВІДОМО ПРО МОЖЛИВІСТЬ ВИНИКНЕННЯ
ТАКИХ ЗБИТКІВ. У ДЕЯКИХ ЮРИСДИКЦІЯХ ІСНУЄ ЗАБОРОНА НА ВИКЛЮЧЕННЯ АБО
ОБМЕЖЕННЯ ВІДПОВІДАЛЬНОСТІ ЗА ШКОДУ ФІЗИЧНИМ ОСОБАМ АБО ЗА ВИПАДКОВІ АБО
ОПОСЕРЕДКОВАНІ ЗБИТКИ, ТАКИМ ЧИНОМ, ЦЕ ОБМЕЖЕННЯ МОЖЕ ДО ВАС НЕ
ЗАСТОСОВУВАТИСЯ. У жодному випадку загальний обсяг відповідальності компанії Apple перед
Вами за всіма збитками (крім випадків, коли нормами чинного законодавства може
передбачатися відповідальність за нанесення травм фізичній особі) не повинен перевищувати
250,00 (двісті п’ятдесят) доларів США. Зазначені вище обмеження застосовуватимуться навіть у
тому випадку, коли застосування вищевказаного засобу правового захисту не відповідає його
основній меті.

9. Цифрові сертифікати. Функціональні можливості Програмного Забезпечення iOS дозволяють
приймати цифрові сертифікати, видані компанією Apple або третіми особами. ВИ НЕСЕТЕ
ВИКЛЮЧНУ ВІДПОВІДАЛЬНІСТЬ ЗА РІШЕННЯ ПРИЙНЯТИ АБО ВІДХИЛИТИ СЕРТИФІКАТ,
ВИДАНИЙ КОМПАНІЄЮ APPLE АБО ТРЕТЬОЮ ОСОБОЮ. ВИКОРИСТАННЯ ВАМИ ЦИФРОВИХ
СЕРТИФІКАТІВ ЗДІЙСНЮЄТЬСЯ НА ВАШ ВЛАСНИЙ РИЗИК. У МЕЖАХ, ДОЗВОЛЕНИХ ЧИННИМ
ЗАКОНОДАВСТВОМ, КОМПАНІЯ APPLE НЕ НАДАЄ ЖОДНИХ ЧІТКО ВИРАЖЕНИХ АБО
ПЕРЕДБАЧЕНИХ ГАРАНТІЙ ЧИ ЗАПЕВНЕНЬ ЩОДО ПРИДАТНОСТІ ДЛЯ ПРОДАЖУ АБО
ПРИДАТНОСТІ ДЛЯ ВИКОРИСТАННІ ДЛЯ БУДЬ-ЯКИХ КОНКРЕТНИХ ЦІЛЕЙ, ТОЧНОСТІ,
БЕЗПЕКИ ЧИ ВІДСУТНОСТІ ПОРУШЕННЯ ПРАВ ТРЕТІХ ОСІБ ПО ВІДНОШЕННЮ ДО ЦИФРОВИХ
СЕРТИФІКАТІВ.

10. Експортний контроль. Ви не маєте права використовувати або іншим чином здійснювати
експорт чи реекспорт Програмного Забезпечення iOS, крім тих випадків, коли це дозволено
законодавством США та законодавством юрисдикції (юрисдикцій), в якій (-их) було придбано
Програмне Забезпечення iOS. Зокрема (але не обмежуючись цим), забороняється експортувати
або реекспортувати Програмне Забезпечення iOS (a) у будь-яку країну, по відношенню до якої діє
введене США ембарго, або (b) особам, яких Департамент фінансів США відніс до Переліку
громадян особливих категорій, або особам, яких Департамент торгівлі США включив до Переліку
небажаних фізичних та юридичних осіб або до будь-якого іншого списку заборонених осіб.
Користуючись Програмним Забезпеченням iOS, Ви заявляєте і гарантуєте, що Ви не перебуваєте
у жодній із таких країн та не входите до жодного із вказаних переліків. Ви також погоджуєтеся,
що Ви не використовуватимете Програмне Забезпечення iOS для будь-яких цілей, заборонених
законодавством США, у тому числі, зокрема, для розробки, проектування, виготовлення або
виробництва ракет, ядерної, хімічної або біологічної зброї.

11. Уряд як кінцевий споживач. Програмне забезпечення iOS та супутня документація є
“Комерційними продуктами” згідно із визначенням цього терміну в §2.101 глави 48 Зводу
федеральних постанов (C.F.R.), що складаються з “Комерційного комп’ютерного програмного
забезпечення” та “Документації до комерційного комп’ютерного програмного забезпечення”,
згідно із визначенням цих термінів у §12.212 глави 48 C.F.R. або, залежно від обставин, у
§227.7202 глави 48 C.F.R. Як зазначено в §12.212 48 C.F.R. або, залежно від ситуації, у §227.7202-1
– 227.7202-448 глави 48 C.F.R., Комерційне комп’ютерне програмне забезпечення та Документація
до комерційного комп’ютерного програмного забезпечення ліцензується по відношенню до
кінцевого споживача – Уряду США (а) лише як Комерційні продукти, та (b) лише в обсязі тих прав,
які надаються всім іншим кінцевим споживачам відповідно до умов цієї Ліцензії. Неопубліковані
права застерігаються згідно із нормами законодавства США про авторські права.

12. Право, що застосовується; подільність. Положення цієї Ліцензії регулюються і тлумачаться
відповідно до законодавства штату Каліфорнія, не допускаючи відхилень від положень закону. Ця
Ліцензія не підлягає регулюванню Конвенцією ООН про договори міжнародної торгівлі товарами,
застосування якої чітко виключено. Якщо Ви — споживач зі Сполученого Королівства, ця Ліцензія
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 387 of 452



регламентуватиметься законами адміністративно-територіальної одиниці Вашого перебування.
Якщо з будь-якої причини компетентна судова установа визнає будь-яке положення або його
частину таким, ще не може бути виконаним у примусовому порядку, решта положень цієї Ліцензії
залишаються чинними і дійсними в повному обсязі.

13. Цілісність угоди; основна мова Угоди. Ця Ліцензія являє собою цілісну угоду між Вами та
компанією Apple стосовно використання Програмного Забезпечення iOS, і замінює собою всі
попередні або тимчасові домовленості стосовно предмету даної Ліцензії. Будь-які зміни і
доповнення до цієї Ліцензії вважатимуться дійсними тільки у тому випадку, якщо вони будуть
оформлені письмово і підписані компанією Apple. Будь-який переклад цієї Ліцензії здійснюється
для місцевих потреб, і за наявності розбіжностей між версіями англійською та будь-якою іншою
мовою, у межах, не заборонених законодавством Вашої країни, пріоритет має англомовна версія
цієї Ліцензії.

14. Визнання прав третіх осіб. Деякі частини Програмного Забезпечення iOS можуть
використовувати або включати програмне забезпечення третіх осіб та інші матеріали, які
охороняються авторським правом. Визнання прав третіх осіб, умови ліцензування та відмова від
надання гарантій по відношенню до таких матеріалів містяться в електронній документації до
Програмного Забезпечення iOS, а використання Вами таких матеріалів регулюється їхніми
відповідними умовами. Використання послуги безпечного перегляду веб-сторінок Google підлягає
Умовам використання служби Google https://www.google.com/intl/uk/policies/terms/) та Політиці
дотримання конфіденційності Google (https://www.google.com/intl/uk/policies/privacy/).

15. Використання MPEG-4; примітка щодо H.264/AVC.
(а) Ліцензія на Програмне забезпечення iOS надається у складі пакета ліцензій для кодування
MPEG-4 Systems Patent Portfolio License згідно стандартів MPEG-4, за винятком того, що для
кодування необхідні додаткова ліцензія та ліцензійний платіж у зв’язку з (i) даними, що
зберігаються або скопійовані у фізичному середовищі, за які здійснюють оплату на основі назв
та/або (ii) даними, за які платять на основі назв та які надсилають кінцевому споживачу для
постійного зберігання та/або використання. Таку додаткову ліцензію можна отримати від MPEG
LA, LLC. Докладнішу інформацію можна знайти на сторінці http://www.mpegla.com.

(b) Функціональні можливості Програмного Забезпечення iOS передбачають можливість
кодування та/або декодування файлів у форматі MPEG-4 Video. Програмне Забезпечення iOS
надається на умовах ліцензування згідно із ліцензією MPEG-4 Visual Patent Portfolio License для
особистого і некомерційного використання користувачем для (і) кодування відео файлів
відповідно до стандартів MPEG-4 Visual Standard (“MPEG-4 Video”) та/або (ii) декодування відео
файлів у форматі MPEG-4, закодованих користувачем для персонального і некомерційного
використання та/або отриманих від постачальника відеопродукції, який має ліцензію MPEG LA на
постачання відеопродукції у форматі MPEG-4. Ліцензія не надається і не розповсюджується на
використання в інших цілях. Див. http://www.mpegla.com.

(c) Програмне Забезпечення iOS містить функціональні засоби кодування та/або декодування
формату AVC. Комерційне використання декодера H.264/AVC вимагає додаткового ліцензування,
при цьому, застосовується наступне положення: ЛІЦЕНЗІЯ НА ФУНКЦІОНАЛЬНІ ЗАСОБИ AVC У
ПРОГРАМНОМУ ЗАБЕЗПЕЧЕННІ iOS НАДАЄТЬСЯ ВИКЛЮЧНО ДЛЯ ОСОБИСТОГО І
НЕКОМЕРЦІЙНОГО ВИКОРИСТАННЯ СПОЖИВАЧЕМ ДЛЯ (І) КОДУВАННЯ ВІДЕО ЗГІДНО ІЗ
СТАНДАРТАМИ (“AVC ВІДЕО”) ТА/АБО (ii) ДЕКОДУВАННЯ AVC ВІДЕО, ЗАКОДОВАНОГО
СПОЖИВАЧЕМ ДЛЯ ОСОБИСТИХ І НЕКОМЕРЦІЙНИХ ЦІЛЕЙ ТА/АБО ВІДЕО AVC, ЯКЕ БУЛО
ОТРИМАНО ВІД ПОСТАЧАЛЬНИКА ВІДЕО, ЯКИЙ МАЄ ЛІЦЕНЗІЮ НА ПОСТАЧАННЯ ВІДЕО AVC.
БІЛЬШ ДЕТАЛЬНУ ІНФОРМАЦІЮ З ПИТАНЬ ВИКОРИСТАННЯ І ЛІЦЕНЗУВАННЯ ВИ МОЖЕТЕ
ОТРИМАТИ ВІД КОМПАНІЇ MPEG LA L.L.C., ВІДВІДАВШИ САЙТ http://www.mpegla.com.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 388 of 452




16. Обмеження служби пошуку Yahoo. Служба пошуку Yahoo, доступна через Safari, ліцензована
для використання лише в наступних країнах і регіонах: Аргентина, Аруба, Австралія, Австрія,
Барбадос, Бельгія, Бермуди, Бразилія, Болгарія, Канада, Кайманові Острови, Чилі,
Континентальний Китай, Гонконг, Тайвань, Колумбія, Кіпр, Чеська Республіка, Данія,
Домініканська Республіка, Еквадор, Сальвадор, Фінляндія, Франція, Німеччина, Греція, Гренада,
Гватемала, Угорщина, Ісландія, Індія, Індонезія, Ірландія, Італія, Ямайка, Японія, Латвія, Литва,
Люксембург, Малайзія, Мальта, Мексика, Нідерланди, Нова Зеландія, Нікарагуа, Норвегія,
Панама, Перу, Філіппіни, Польща, Португалія, Пуерто-Ріко, Румунія, Сінгапур, Словаків, Словенія,
Південна Корея, Іспанія, Сент-Люсія, Сент-Вінсент, Швеція, Швейцарія, Таїланд, Багамські
Острови, Тринідад і Тобаго, Терція, Великобританія, Уругвай, США та Венесуела.

17. Примітка про Microsoft Exchange. Параметри електронної пошти Microsoft Exchange у
програмному забезпеченні iOS ліцензовано лише для безпроводової синхронізації таких даних, як
повідомлення електронної пошти, контакти, календар і завдання, між вашим пристроєм iOS та
сервером Microsoft Exchange Server, або іншим програмним забезпеченням сервера, на яке
компанія Microsoft надала ліцензію, що дозволяє використовувати протокол Microsoft Exchange
ActiveSync.

EA1566
21.02.2019 р.

————————————
Додаткові положення та умови щодо використання функції Apple Pay

Ці Додаткові положення та умови щодо використання функції Apple Pay (ці «Додаткові
положення») доповнюють Ліцензійну угоду про використання програмного забезпечення iOS
(«Ліцензія»); використання функції Apple Pay, що вважається «Послугою» за цією Ліцензією,
регулюється одночасно умовами Ліцензії та цими Додатковими положеннями. Значення термінів,
написаних з великої букви, що використовуються в цих Додаткових положеннях, визначені в
Ліцензії.

1.   Огляд і обмеження використання

Функція Apple Pay дає змогу:

       •    зберігати віртуальні подання кредитних, дебетових та передплачених карток, включно
           з кредитними, дебетовими, передплаченими картками та картками Apple Pay Cash, що
           підтримуються функцією Apple Pay («Підтримувані платіжні картки»), та
           використовувати підтримувані Пристрої iOS для здійснення безконтактних платежів у
           певних місцях або для покупок у межах програм або веб-сайтів.
       •    користуватися дисконтними та подарунковими картками, що зберігаються у Wallet
           («Картки, підтримувані Apple Pay», а також Підтримувані платіжні картки, «Підтримувані
           картки»), щоб виконувати безконтактні транзакції із дисконтними та подарунковими
           картками у визначених магазинах, як частину безконтактних платежів за допомогою
           Apple Pay.
       •    надсилати особисті платежі іншим користувачам Apple Pay.

Функції Apple Pay Програмного забезпечення iOS можуть бути доступні лише в певних регіонах,
для карток певних емітентів, фінансових організацій та торгових точок. Функції можуть різнитися
залежно від регіону, емітента та торгової точки.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 389 of 452



Для використання функції Apple Pay потрібно мати Підтримувану картку. Підтримувані картки час
від часу можуть змінюватися. Крім того, щоб надіслати або отримати особистий платіж вам
потрібно мати картку Apple Pay Cash.

Підтримувані платіжні картки та особисті платежі зв’язуються з Apple ID, з яким ви ввійшли в
iCloud, щоб скористатися цими функціями. Функція Підтримувані картки доступні лише для осіб
віком від 13 років і може підпадати під додаткові вікові обмеження, передбачені службою iCloud
або Підтримуваною карткою, яку Ви намагаєтеся ввести в дію. Картка Apple Pay Cash і
можливість надсилати та отримувати особисті платежі доступні лише для осіб, яким виповнилося
18 років.

Функція Apple Pay призначена лише для особистого використання; Ви можете ввести в дію лише
власні Підтримувані картки. У разі введення в дію підтримуваної корпоративної картки Ви
підтверджуєте, що робите це з дозволу свого роботодавця, при цьому роботодавець також
пов’язується із цими умовами використання та всіма операціями, що проводяться з
використанням цієї функції. Якщо ви надсилаєте або отримуєте особистий платіж, ви відповідаєте
за те, що робите це в своїх особистих некомерційних цілях.

Ви погоджуєтеся не використовувати функцію Apple Pay для незаконних або шахрайських цілей,
або будь-яких інших цілей, заборонених Ліцензією або цими Додатковими положеннями. Ви
також погоджуєтеся використовувати функцію Apple Pay у відповідності із застосовним
законодавством та нормами. Ви погоджуєтеся не втручатися в роботу та не порушувати
функціонування послуги Apple Pay (включаючи здійснення доступу до послуги через будь-які
автоматичні засоби), будь-яких серверів чи мереж, підключених до послуги, а також не
порушувати будь-які політики, вимоги або норми мереж, підключених до послуги (включаючи
будь-яке несанкціоноване використання або моніторинг даних чи трафіку та доступ до них).

2.   Домовленість Apple із Вами

Функція Apple Pay дає змогу створювати віртуальні подання Підтримуваних карток на
підтримуваному Пристрої iOS. Однак, компанія Apple не обробляє платежі та не обробляє
транзакції з іншими неплатіжними картками (наприклад накопичення та виплати дисконтних
коштів), отримання, утримання або переказ Ваших коштів, а також не контролює платежі,
повернення, відшкодування, дисконтні транзакції, вартості, знижки або іншу комерційну
діяльність, що може виникати в результаті використання Вами цієї функції.

Положення угод, що можуть існувати між власником картки та емітентом картки,
продовжуватимуть регулювати використання Вами Підтримуваних карток та їх використання у
зв’язку з функцією Apple Pay. Таким же чином, Ваша участь у будь-яких програмах із
подарунками або подарунковими картками в торговельних точках, а також Ваше користування
Картками, підтримуваними Apple Pay, у зв’язку з функцією Apple Pay, буде підпадати під умови та
правила такої торговельної точки.

Картка Apple Pay Cash і можливість надсилати та отримувати особисті платежі доступні лише в
США, та є послугами, які надає Green Dot Bank, член FDIC. Якщо Ви ввімкнете ці функції в Apple
Pay, ви відкриєте рахунок у Green Dot Bank, та коли Ви надсилатимете або отримуватимете
особистий платіж або будете вкладати або знімати кошти з Вашої картки Apple Pay Cash, Green
Dot Bank буде відповідальним за надсилання та отримання коштів відповідним приймачем чи
одержувачем. Фінансова організація відповідальна за надання Apple Pay Cash та особистих
платежів у рамках Apple Pay може бути змінена, та Ваше користування такими послугами
підпадає під дію їхніх умов та положень.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 390 of 452



Жодні положення Ліцензії або цих Додаткових положень не змінюють жодних угод тримача
картки, користувача або торговельної точки, і такі положення будуть керівними для використання
застосовної Підтримуваної картки або функції особистих платежів Apple Pay та їх віртуального
представлення на Вашому пристрої iOS. Ви погоджуєтеся, що компанія Apple не є учасником
Ваших торговельних угод або угод як власника картки, і що Apple не несе відповідальність за (а)
вміст, точність або недоступність будь-яких платіжних карток, дисконтних карток, подарункових
карток, карток зі збереженою вартістю, комерційної діяльності, операцій чи покупок за
використання функцій Apple Pay; (б) видачу кредиту або оцінку відповідності вимогам для
отримання кредиту; (в) накопичення та виплати дисконтних коштів або збереженої вартості за
програмою торговельної точки; (г) накопичення або повторне нарахування бонусів на
передплачені картки; (д) надсилання або отримання особистих платежів; або (е) вкладання,
повертання або зняття коштів з Вашої картки Apple Pay Cash.

З усіма суперечками та питаннями щодо платіжних карток, дисконтних карток, подарункових
карток, карток зі збереженою вартістю або пов’язаної комерційної діяльності звертайтеся до
емітента або до відповідної торговельної точки. З питаннями щодо картки Apple Pay Cash та
особистих платежів звертайтеся до Служби підтримки Apple.

3.   Конфіденційність

Apple Pay потрібна деяка інформація з Вашого пристрою iOS, щоб надавати повноцінні послуги.
Крім того, при використанні картки Apple Pay Cash, або надсиланні чи отриманні особистих
платежів додаткову інформацію про Ваші транзакції буде зібрано та збережено для
обслуговування Вашого рахунку, запобігання шахрайству та для управління. Більше інформації
про дані, що збираються, використовуються та обмінюються, як частина Вашого використання
функції Apple Pay, картки Apple Pay Cash або особистих платежів Apple Pay можна знайти в
розділах «Про Apple Pay» і «Конфіденційність» (доступ до яких можна отримати у розділі «Wallet і
Apple Pay» у програмі «Годинник» на спареному пристрої iOS), або на веб-сторінці https://
www.apple.com/privacy/. Використовуючи ці функції, Ви погоджуєтеся на передавання, збирання,
обслуговування, опрацювання та використання компанією Apple, її дочірніми підприємствами та
агентами всієї вищезазначеної інформації для надання функцій Apple Pay.

4.   Безпека; загублені або несправні пристрої

Функція Apple Pay зберігає віртуальні подання Ваших Підтримуваних карток, які захищаються так
само, як і кошти, фізичні кредитні, дебетові, передплачені, дисконтні або подарункові картки.
Якщо надати пароль пристрою стороннім особам або дозволити стороннім особам додати свій
відбиток пальця для використання Touch ID або дозволити використання Face ID, вони зможуть
здійснювати платежі, надсилати, запитувати або отримувати особисті платежі, знімати кошти з
картки Apple Pay Cash, а також отримувати та використовувати дисконтні транзакції або кредит з
Вашого пристрою. Ви несете повну відповідальність за підтримання безпеки пристрою та пароля.
Ви погоджуєтеся, що компанія Apple не несе відповідальність за втрату або надання доступу до
пристрою іншим особам. Ви погоджуєтеся, що компанія Apple не несе відповідальність у разі
внесення неавторизованих модифікацій у програмне забезпечення iOS (наприклад, шляхом
здійснення «джейлбрейк»).

Можливо, Вам доведеться ввімкнути додаткові засоби безпеки, такі як двофакторна
автентифікація Вашого Apple ID для того, щоб мати доступ до певних функцій Apple Pay,
включаючи картку Apple Pay Cash і особисті платежі Apple Pay. Якщо Ви пізніше видалите ці
функції безпеки, Ви не зможете продовжувати мати доступ до певних функцій Apple Pay.

У разі втрати або крадіжки пристрою та за ввімкненої функції Find My iPhone можна скористатися
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 391 of 452



функцією Find My iPhone та спробувати призупинити можливості виконувати платежі за
допомогою віртуальних Підтримуваних платіжних карток і особистих платежів на цьому пристрої,
установивши його в режим втрати. Можна також видалити свій пристрій, що призведе до спроби
призупинення можливості виконувати платежі за допомогою віртуальних Підтримуваних
платіжних карток і надсилати особисті платежі на пристрої, а також призведе до спроби
видалення Карток, підтримуваних Apple Pay. Cлід також звернутися до емітента Ваших
Підтримуваних платіжних карток, торговельної організації-емітента Ваших Карток, підтримуваних
Apple Pay, та Apple (для випадку з карткою Apple Pay Cash) для попередження несанкціонованого
доступу до Підтримуваних карток.

Якщо Ви повідомляєте, або компанія Apple підозрює про шахрайську або несанкціоновану
діяльність із карткою, Ви погоджуєтеся співпрацювати з компанією Apple у будь-якому
розслідуванні та вживати заходів попередження шахрайства, що передбачаються.

5.   Обмеження відповідальності

КРІМ ВІДМОВ ВІД НАДАННЯ ГАРАНТІЙ ТА ОБМЕЖЕННЯ ВІДПОВІДАЛЬНОСТІ, ЗАЗНАЧЕНОГО В
ЛІЦЕНЗІЇ, КОМПАНІЯ APPLE НЕ НЕСЕ ВІДПОВІДАЛЬНІСТЬ ЗА ПОКУПКИ, ПЛАТЕЖІ, ТРАНЗАКЦІЇ
ЧИ ІНШУ КОМЕРЦІЙНУ ДІЯЛЬНІСТЬ, ЩО ЗДІЙСНЮЄТЬСЯ ЗА ДОПОМОГОЮ ФУНКЦІЇ APPLE
PAY, І ВИ ПОГОДЖУЄТЕСЯ СЛІДУВАТИ ВИКЛЮЧНО УГОДАМ, ЯКІ МАЄТЕ З ЕМІТЕНТОМ
КАРТКИ, ПЛАТІЖНОЮ МЕРЕЖЕЮ, ФІНАНСОВИМИ ОРГАНІЗАЦІЯМИ АБО ТОРГОВОЮ ТОЧКОЮ
ДЛЯ ВИРІШЕННЯ ПИТАНЬ АБО СУПЕРЕЧОК, ПОВ’ЯЗАНИХ ІЗ ПІДТРИМУВАНИМИ КАРТКАМИ,
ОСОБИСТИМИ ПЛАТЕЖАМИ ТА ПОВ’ЯЗАНОЮ КОМЕРЦІЙНОЮ ДІЯЛЬНІСТЮ.

————————————
ПОВІДОМЛЕННЯ КОМПАНІЇ APPLE
Якщо компанії Apple знадобиться зв’язатися з Вами з питань, які стосуються Вашого продукту
або облікового запису, Ви надаєте згоду на отримання повідомлень електронною поштою. Ви
погоджуєтеся, що будь-які такі повідомлення, які надаються нами за допомогою електронних
засобів зв’язку, відповідають будь-яким законним вимогам у сфері обімну інформаційними
повідомленнями.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 392 of 452



BẢN TIẾNG VIỆT

QUAN TRỌNG: BẰNG VIỆC SỬ DỤNG iPHONE, iPAD, hoặc iPOD TOUCH (“THIẾT BỊ DÙNG HỆ
ĐIỀU HÀNH iOS”) BẠN CHẤP THUẬN CHỊU RÀNG BUỘC BỞI CÁC ĐIỀU KHOẢN DƯỚI ĐÂY:

A.   HỢP ĐỒNG CẤP QUYỀN SỬ DỤNG PHẦN MỀM iOS APPLE
B.   CÁC ĐIỀU KHOẢN BỔ SUNG APPLE PAY
C.   CÁC THÔNG BÁO CỦA APPLE

APPLE INC.
HỢP ĐỒNG CẤP QUYỀN SỬ DỤNG PHẦN MỀM iOS
Cấp Quyền Sử Dụng Riêng Lẻ

XIN VUI LÒNG ĐỌC KỸ HỢP ĐỒNG CẤP QUYỀN SỬ DỤNG PHẦN MỀM (“HỢP ĐỒNG CẤP
QUYỀN SỬ DỤNG”) NÀY TRƯỚC KHI SỬ DỤNG THIẾT BỊ DÙNG HỆ ĐIỀU HÀNH iOS CỦA BẠN
HOẶC TẢI VỀ CẬP NHẬT PHẦN MỀM KÈM THEO HỢP ĐỒNG CẤP QUYỀN SỬ DỤNG NÀY. BẰNG
VIỆC SỬ DỤNG THIẾT BỊ DÙNG HỆ ĐIỀU HÀNH iOS CỦA BẠN HOẶC TẢI VỀ MỘT CẬP NHẬT
PHẦN MỀM, TÙY TỪNG TRƯỜNG HỢP, BẠN ĐỒNG Ý CHỊU RÀNG BUỘC BỞI CÁC ĐIỀU KHOẢN
CỦA HỢP ĐỒNG CẤP QUYỀN SỬ DỤNG NÀY. NẾU BẠN KHÔNG ĐỒNG Ý VỚI CÁC ĐIỀU KHOẢN
CỦA HỢP ĐỒNG CẤP QUYỀN SỬ DỤNG NÀY, ĐỀ NGHỊ KHÔNG SỬ DỤNG THIẾT BỊ DÙNG HỆ
ĐIỀU HÀNH iOS VÀ KHÔNG TẢI VỀ CẬP NHẬT PHẦN MỀM.

NẾU BẠN VỪA MUA MỘT THIẾT BỊ DÙNG HỆ ĐIỀU HÀNH iOS VÀ BẠN KHÔNG ĐỒNG Ý VỚI CÁC
ĐIỀU KHOẢN CỦA HỢP ĐỒNG CẤP QUYỀN SỬ DỤNG NÀY, BẠN CÓ THỂ TRẢ LẠI THIẾT BỊ
DÙNG HỆ ĐIỀU HÀNH iOS CHO CỬA HÀNG CỦA APPLE HOẶC NHÀ PHÂN PHỐI ĐƯỢC ỦY
QUYỀN NƠI BẠN ĐÃ MUA THIẾT BỊ DÙNG HỆ ĐIỀU HÀNH iOS, TRONG THỜI HẠN ĐƯỢC PHÉP
TRẢ LẠI, ĐỂ ĐƯỢC NHẬN LẠI TIỀN THEO QUY ĐỊNH CHÍNH SÁCH TRẢ LẠI HÀNG CỦA APPLE
MÀ BẠN CÓ THẾ XEM TẠI https://www.apple.com/legal/sales-support/.

1. Quy Định Chung.
(a) Phần mềm (bao gồm Mã Khởi Động ROM (Boot ROM code) và phần mềm nhúng và phần mềm của
bên thứ ba), tài liệu, các giao diện, nội dung, các phông chữ và bất kỳ dữ liệu nào kèm theo Thiết Bị
dùng hệ điều hành iOS của bạn (“Phần Mềm iOS Nguyên Bản”), có thể được cập nhật hoặc thay thế
bởi các nâng cấp tính năng, các cập nhật phần mềm hoặc phần mềm phục hồi hệ thống do Apple cung
cấp (“Cập Nhật Phần Mềm iOS”), dù trong bộ nhớ chỉ đọc, trên các phương tiện ghi nào hoặc ở bất kỳ
dạng thức nào khác (Phần Mềm iOS Nguyên Bản và Cập Nhật Phần Mềm iOS được gọi chung là “Phần
Mềm iOS”) được Apple Inc. (“Apple”) cho phép bạn sử dụng, mà không bán cho bạn, chỉ cho mục đích
sử dụng theo các điều khoản của Hợp Đồng Cấp Quyền Sử Dụng này. Apple và các bên cấp quyền sử
dụng cho Apple giữ quyền sở hữu đối với chính Phần Mềm iOS và bảo lưu tất cả các quyền không
được cấp cho bạn một cách rõ ràng. Bạn đồng ý rằng các điều khoản của Hợp Đồng Cấp Quyền Sử
Dụng này sẽ áp dụng cho bất kỳ ứng dụng hiệu Apple nào có thể được tích hợp sẵn trên Thiết Bị dùng
hệ điều hành iOS của bạn, trừ khi ứng dụng đó được cấp kèm theo một hợp đồng cấp quyền sử dụng
riêng, trong trường hợp này bạn đồng ý rằng các điều khoản của hợp đồng cấp quyền sử dụng riêng
đó sẽ điều chỉnh việc bạn sử dụng ứng dụng đó.

(b) Theo sự định đoạt của Apple, Apple có thể cung cấp các Cập Nhật Phần Mềm iOS trong tương lai.
Các Cập Nhật Phần Mềm iOS này, nếu có, có thể không nhất thiết phải bao gồm tất cả các tính năng
phần mềm hiện tại, hoặc các tính năng mới mà Apple phát hành cho các mẫu mới hơn hoặc các mẫu
khác của Thiết Bị dùng hệ điều hành iOS. Các điều khoản của Hợp Đồng Cấp Quyền Sử Dụng này sẽ
điều chỉnh bất kỳ Cập Nhật Phần Mềm iOS nào do Apple cung cấp, trừ khi bản Cập Nhật Phần Mềm
iOS đó được cung cấp kèm theo một hợp đồng cấp quyền sử dụng riêng, thì trong trường hợp đó bạn
đồng ý rằng các điều khoản của hợp đồng cấp quyền sử dụng đó sẽ điều chỉnh cập nhật đó.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 393 of 452




(c) Nếu bạn sử dụng tính năng cài đặt nhanh để cài đặt một Thiết Bị dùng hệ điều hành iOS mới dựa
trên Thiết Bị dùng hệ điều hành iOS hiện tại của bạn, bạn đồng ý rằng các điều khoản của Hợp Đồng
Cấp Quyền Sử Dụng này sẽ điều chỉnh việc bạn sử dụng Phần Mềm iOS trên Thiết Bị dùng hệ điều
hành iOS mới của bạn, trừ khi thiết bị đó được cung cấp kèm theo một hợp đồng cấp quyền sử dụng
riêng, thì trong trường hợp đó bạn đồng ý rằng các điều khoản của hợp đồng cấp quyền sử dụng đó sẽ
điều chỉnh việc bạn sử dụng Phần Mềm iOS đó. Thiết Bị dùng hệ điều hành iOS của bạn sẽ định kỳ
kiểm tra với Apple về các Cập Nhật Phần Mềm iOS. Nếu có một bản cập nhật, bản cập nhật đó sẽ tự
động được tải về và cài đặt trên Thiết Bị dùng hệ điều hành iOS của bạn và, nếu phù hợp, các thiết bị
ngoại vi của bạn. Bằng việc sử dụng Phần Mềm Apple, bạn đồng ý rằng Apple có thể tải về và cài đặt
các cập nhật tự động trên Thiết Bị dùng hệ điều hành iOS và các thiết bị ngoại vi của bạn. Bạn có thể
tắt các cập nhật tự động vào bất kỳ thời điểm nào bằng cách đổi cài đặt Cập Nhật Tự Động trong Cài
Đặt > Cài Đặt Chung > Cập Nhật Phần Mềm (Settings > General > Software Update).

2. Phạm Vi Sử Dụng Được Phép và Các Hạn Chế.
(a) Phụ thuộc vào các điều khoản và điều kiện của Hợp Đồng Cấp Quyền Sử Dụng này, bạn được cấp
quyền sử dụng hạn chế, không độc quyền để sử dụng Phần Mềm iOS trên duy nhất một Thiết Bị hiệu
Apple dùng hệ điều hành iOS. Trừ khi được cho phép theo quy định tại Phần 2(b) dưới đây, và trừ khi
được quy định tại một hợp đồng riêng giữa bạn và Apple, Hợp Đồng Cấp Quyền Sử Dụng này không
cho phép Phần Mềm iOS được tồn tại cùng một lúc trên nhiều hơn một Thiết Bị hiệu Apple dùng hệ
điều hành iOS, và bạn không được phân phối hoặc cung cấp Phần Mềm iOS qua một môi trường mạng
nơi Phần Mềm iOS có thể được sử dụng bởi nhiều thiết bị cùng một lúc. Hợp Đồng Cấp Quyền Sử
Dụng này không cấp cho bạn quyền sử dụng các giao diện thuộc sở hữu riêng của Apple và quyền sở
hữu trí tuệ khác vào việc thiết kế, phát triển, sản xuất, cấp quyền sử dụng hoặc phân phối các thiết bị
và phụ kiện của bên thứ ba, hoặc các ứng dụng phần mềm của bên thứ ba, để sử dụng với các Thiết
Bị dùng hệ điều hành iOS. Một số quyền trong các quyền trên có thể được cung cấp theo các hợp
đồng cấp quyền sử dụng riêng của Apple. Để có thêm thông tin về việc phát triển các thiết bị và phụ
kiện của bên thứ ba cho các Thiết Bị dùng hệ điều hành iOS, xin hãy xem tại https://
developer.apple.com/programs/mfi/. Để có thêm thông tin về việc phát triển các ứng dụng phần mềm
cho các Thiết Bị dùng hệ điều hành iOS, xin xem tại https://developer.apple.com.

(b) Phụ thuộc vào các điều khoản và điều kiện của Hợp Đồng Cấp Quyền Sử Dụng này, bạn được cấp
quyền sử dụng hạn chế, không độc quyền để tải các Cập Nhật Phần Mềm iOS do Apple cung cấp cho
mẫu Thiết Bị dùng hệ điều hành iOS của bạn để cập nhật hoặc khôi phục phần mềm trong chính Thiết
Bị dùng hệ điều hành iOS mà bạn quản lý hoặc sở hữu. Hợp Đồng Cấp Quyền Sử Dụng này không cho
phép bạn cập nhật hoặc khôi phục bất kỳ Thiết Bị dùng hệ điều hành iOS nào mà bạn không quản lý
hoặc sở hữu, và bạn không được phân phối hoặc cung cấp các Cập Nhật Phần Mềm iOS qua một môi
trường mạng nơi các Cập Nhật Phần Mềm iOS này có thể được sử dụng cùng một lúc bởi nhiều thiết
bị hoặc máy tính. Nếu bạn tải về máy tính của bạn một Cập Nhật Phần Mềm iOS, bạn có thể tạo một
bản sao của các Cập Nhật Phần Mềm iOS dưới dạng máy có thể đọc được để lưu trữ trong máy tính
của bạn chỉ dùng cho mục đích dự phòng, với điều kiện là bản sao dự phòng phải bao gồm tất cả các
thông báo về bản quyền và quyền sở hữu khác như được bao gồm trong bản gốc.

(c) Nếu Apple đã cài đặt sẵn các ứng dụng hiệu Apple từ App Store trên Thiết Bị dùng hệ điều hành iOS
của bạn vào thời điểm mua thiết bị (“Các Ứng Dụng Cài Đặt Sẵn”), bạn sẽ cần phải truy cập vào App
Store và liên kết Các Ứng Dụng Cài Đặt Sẵn này với tài khoản App Store của bạn để sử dụng Các Ứng
Dụng Cài Đặt Sẵn trên Thiết Bị dùng hệ điều hành iOS của bạn. Khi bạn liên kết một Ứng Dụng Cài Đặt
Sẵn với tài khoản App Store của bạn thì vào cùng thời điểm bạn sẽ tự động liên kết với tất cả Các Ứng
Dụng Cài Đặt Sẵn khác trên Thiết Bị dùng hệ điều hành iOS của bạn. Bằng cách lựa chọn để liên kết
Các Ứng Dụng Cài Đặt Sẵn với tài khoản App Store của bạn, bạn đồng ý rằng Apple có thể chuyển, thu
thập, lưu giữ, xử lý và sử dụng cả ID Apple mà tài khoản App Store của bạn sử dụng và một nhận dạng
phần cứng duy nhất được thu thập từ Thiết Bị dùng hệ điều hành iOS của bạn, như là các nhận dạng
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 394 of 452



tài khoản duy nhất cho mục đích xác minh tính hợp lệ của yêu cầu của bạn và cho phép bạn tiếp cận
Các Ứng Dụng Cài Đặt Sẵn thông qua App Store. Nếu bạn không muốn sử dụng một Ứng Dụng Cài Đặt
Sẵn, bạn có thể xóa ứng dụng này khỏi Thiết Bị dùng hệ điều hành iOS của bạn vào bất kỳ thời điểm
nào.

(d) Bạn không được và đồng ý không, cũng như không cho phép người khác, sao chép (trừ khi Hợp
Đồng Cấp Quyền Sử Dụng này cho phép một cách rõ ràng), phá biên dịch, thiết kế đối chiếu, tách rời,
cố gắng để tìm được mã nguồn, giải mã, thay đổi, hoặc tạo ra các tác phẩm phái sinh của Phần Mềm
iOS hoặc của các dịch vụ do Phần Mềm iOS cung cấp, hoặc bất kỳ phần nào của Phần Mềm iOS hoặc
của dịch vụ do Phần Mềm iOS cung cấp (trừ khi và chỉ trong phạm vi luật áp dụng cấm các hạn chế nêu
trên hoặc trong phạm vi các điều khoản cấp quyền sử dụng điều chỉnh việc sử dụng các thành phần
nguồn mở có thể có trong Phần Mềm iOS cho phép bạn thực hiện các hành vi đó).

(e) Phần Mềm iOS có thể được dùng để tạo bản sao các tài liệu với điều kiện là việc sử dụng này chỉ
giới hạn trong việc tạo bản sao các tài liệu không có bản quyền, các tài liệu mà bạn sở hữu bản quyền,
hoặc các tài liệu mà bạn được cho phép hoặc được phép tạo bản sao một cách hợp pháp. Quyền sở
hữu và các quyền sở hữu trí tuệ trong và đối với bất kỳ nội dung nào được hiển thị, lưu trữ trên hoặc
được truy cập thông qua Thiết Bị dùng hệ điều hành iOS của bạn thuộc về chủ sở hữu nội dung tương
ứng. Nội dung này có thể được bảo vệ bởi các quy định pháp luật và các điều ước về bản quyền và
quyền sở hữu trí tuệ khác, và có thể phụ thuộc vào các điều khoản sử dụng của bên thứ ba cung cấp
nội dung đó. Trừ khi Hợp Đồng Cấp Quyền Sử Dụng này có quy định khác, Hợp Đồng Cấp Quyền Sử
Dụng này không cấp cho bạn bất kỳ quyền nào để sử dụng nội dung đó và cũng không bảo đảm rằng
nội dung đó sẽ tiếp tục được cung cấp cho bạn.

(f) Phụ thuộc vào các điều khoản và điều kiện của Hợp Đồng Cấp Quyền Sử Dụng này, bạn có thể sử
dụng các nhân vật Animoji và Memoji được bao gồm trong hoặc được tạo ra với Phần Mềm iOS (“Nhân
Vật Hệ Thống”) (i) khi chạy Phần Mềm iOS và (ii) để tạo bản gốc nội dung và các dự án của chính bạn
cho mục đích sử dụng cá nhân không mang tính thương mại. Hợp Đồng Cấp Quyền Sử Dụng này
không cho phép việc sử dụng các Nhân Vật Hệ Thống vào các mục đích khác, bao gồm nhưng không
giới hạn ở việc sử dụng, tạo bản sao, hiển thị, trình diễn, ghi, công bố hoặc phân phối lại bất kỳ Nhân
Vật Hệ Thống nào vì mục đích lợi nhuận, phi lợi nhuận, chia sẻ cộng đồng hoặc vì mục đích thương
mại.

(g) Bạn đồng ý sử dụng Phần Mềm iOS và các Dịch Vụ (như được định nghĩa tại Phần 5 dưới đây) phù
hợp với tất cả các luật áp dụng, bao gồm luật của quốc gia hoặc khu vực nơi bạn cư trú hoặc tải về
hoặc sử dụng Phần Mềm iOS và các Dịch Vụ. Các tính năng của Phần Mềm iOS và các Dịch Vụ có thể
không được cung cấp bằng tất cả các ngôn ngữ hoặc tại tất cả các khu vực, một số tính năng có thể
thay đổi phụ thuộc vào khu vực, và một số tính năng có thể bị hạn chế hoặc không được nhà cung cấp
dịch vụ của bạn cung cấp. Việc kết nối Wi-Fi hoặc dữ liệu di động là cần thiết cho một số tính năng của
Phần Mềm iOS và các Dịch Vụ.

(h) Bạn cần phải có tổ hợp một mật khẩu và tên người dùng duy nhất, được gọi là ID Apple (Nhận Dạng
Apple) để sử dụng App Store. Bạn cũng cần phải có ID Apple để truy cập các cập nhật của ứng dụng
và một số tính năng của Phần Mềm iOS và các Dịch Vụ.

(i) Bạn thừa nhận rằng có nhiều tính năng, các ứng dụng được tích hợp sẵn, và các Dịch Vụ của Phần
Mềm iOS truyền dữ liệu và có thể làm phát sinh phí đối với định mức dữ liệu (data plan) của bạn, và bạn
sẽ chịu mọi khoản phí đó. Bạn có thể xem và quản lý các ứng dụng được phép để sử dụng dữ liệu di
động và xem ước tính lượng dữ liệu mà các ứng dụng đó đã tiêu thụ trong phần Cài Đặt Dữ Liệu Di
Động. Ngoài ra, Hỗ Trợ Wi-Fi (Wi-Fi Assist) sẽ tự động chuyển sang dữ liệu di động khi bạn có một kết
nối Wi-Fi kém, điều này có thể dẫn đến việc sử dụng nhiều dữ liệu di động hơn và có thể làm phát sinh
phí đối với định mức dữ liệu của bạn. Hỗ Trợ Wi-Fi được bật lên một cách mặc định, nhưng có thể
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 395 of 452



được tắt đi trong phần Cài Đặt. Để biết thêm thông tin, đề nghị tham khảo Hướng Dẫn Sử Dụng đối với
Thiết Bị dùng hệ điều hành iOS của bạn.

(j) Nếu bạn lựa chọn cho phép các cập nhật ứng dụng tự động, Thiết Bị dùng hệ điều hành iOS của bạn
sẽ định kỳ kiểm tra với Apple về các cập nhật cho các ứng dụng trên thiết bị của bạn và, nếu có một
bản cập nhật, thì bản cập nhật đó sẽ tự động được tải về và cài đặt trên thiết bị của bạn. Bạn có thể tắt
tất cả các cập nhật ứng dụng tự động vào bất kỳ thời điểm nào bằng cách vào phần Cài Đặt, ấn vào
biểu tượng iTunes & App Store, và dưới mục Tải Về Tự Động, tắt mục Cập Nhật.

(k) Việc sử dụng Thiết Bị dùng hệ điều hành iOS trong một số trường hợp có thể làm bạn không tập
trung và có thể gây ra một tình huống nguy hiểm (ví dụ, tránh nhắn tin trong khi lái xe hoặc sử dụng tai
nghe trong khi đạp xe). Bằng việc bạn sử dụng Thiết Bị dùng hệ điều hành iOS, bạn đồng ý rằng bạn có
trách nhiệm tuân thủ các nguyên tắc cấm hoặc hạn chế sử dụng điện thoại di động hoặc tai nghe (ví dụ,
yêu cầu sử dụng thoại rảnh tay để gọi điện khi đang lái xe).

3. Chuyển Giao. Bạn không được cho thuê, cho mượn, bán, phân phối lại, hoặc cấp lại quyền sử dụng
Phần Mềm iOS. Tuy nhiên, bạn có thể chuyển giao một lần vĩnh viễn tất cả các quyền sử dụng của bạn
đối với Phần Mềm iOS cho người khác cùng với việc chuyển giao quyền sở hữu Thiết Bị dùng hệ điều
hành iOS của bạn, với điều kiện là: (a) việc chuyển giao này phải bao gồm Thiết Bị dùng hệ điều hành
iOS của bạn và toàn bộ Phần Mềm iOS, bao gồm mọi thành phần cấu thành và Hợp Đồng Cấp Quyền
Sử Dụng này; (b) bạn sẽ không giữ lại bất kỳ bản sao nào của Phần Mềm iOS, dù là toàn bộ hay một
phần, kể cả những bản sao được lưu giữ tại một máy tính hoặc thiết bị lưu trữ khác; và (c) bên nhận
Phần Mềm iOS đọc và đồng ý chấp thuận các điều khoản và điều kiện của Hợp Đồng Cấp Quyền Sử
Dụng này.

4. Chấp Thuận Cho Việc Sử Dụng Dữ Liệu. Khi bạn sử dụng thiết bị của bạn, số điện thoại của bạn
và một số ký hiệu nhận dạng duy nhất cho Thiết Bị dùng hệ điều hành iOS của bạn được gửi cho Apple
để cho phép những người khác liên lạc với bạn qua số điện thoại của bạn khi sử dụng các tính năng
liên lạc khác nhau của Phần Mềm iOS, ví dụ iMessage và FaceTime. Khi bạn sử dụng iMessage, Apple
có thể giữ các tin nhắn của bạn ở dạng thức đã mã hóa trong một khoảng thời gian nhất định để đảm
bảo việc chuyển dữ liệu. Bạn có thể tắt FaceTime hoặc iMessage bằng cách vào cài đặt FaceTime hoặc
Messages trên Thiết Bị dùng hệ điều hành iOS của bạn. Một số tính năng như Phân Tích, các Dịch Vụ
Định Vị, Siri, và Nhắc Chính Tả có thể yêu cầu thông tin từ Thiết Bị dùng hệ điều hành iOS của bạn để
cung cấp các chức năng tương ứng của các tính năng này. Khi bạn bật hoặc sử dụng các tính năng
này, ban sẽ được cung cấp chi tiết về thông tin nào mà các tính năng này gửi tới Apple và thông tin
được sử dụng như thế nào. Bạn có thể tìm hiểu thêm thông tin bằng cách vào trang web https://
www.apple.com/privacy/. Vào mọi thời điểm, thông tin của bạn sẽ được xử lý phù hợp với Chính Sách
Quyền Riêng Tư của Apple, và có thể xem tại trang: https://www.apple.com/legal/privacy/.

5. Các Dịch Vụ và Các Tài Liệu Của Bên Thứ Ba.
(a) Phần Mềm iOS có thể cho phép bạn truy cập vào iTunes Store, App Store của Apple, Apple Books,
Game Center, iCloud, Bản Đồ và các dịch vụ và trang web khác của Apple và của bên thứ ba (sau đây
được gọi chung và gọi riêng là “Dịch Vụ”). Các Dịch Vụ này có thể không được cung cấp bằng tất cả
các thứ tiếng hoặc tại mọi quốc gia. Để sử dụng các Dịch Vụ này, bạn cần phải truy cập vào Internet và
để sử dụng một số Dịch Vụ có thể cần phải có ID Apple, bạn có thể phải chấp nhận các điều khoản bổ
sung và có thể phải trả các khoản phí bổ sung. Bằng việc sử dụng phần mềm có liên quan đến một ID
Apple hoặc Dịch Vụ Apple khác, bạn đồng ý chấp thuận các điều khoản dịch vụ áp dụng cho Dịch Vụ
đó, ví dụ như các Điều Khoản và Điều Kiện Dịch Vụ Apple Media mới nhất áp dụng cho quốc gia nơi
bạn truy cập vào các Dịch Vụ này, mà bạn có thể truy cập và xem tại địa chỉ https://www.apple.com/
legal/internet-services/itunes/.

(b) Nếu bạn đăng ký sử dụng iCloud, một số tính năng iCloud như “iCloud Photos” (Ảnh iCloud), “My
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 396 of 452



Photo Stream” (Chuỗi Ảnh Của Tôi), “Shared Albums” (Album Được Chia Sẻ), “Back Up” (Lưu Trữ) và
“Find My iPhone” (Tìm iPhone Của Tôi) có thể được truy cập trực tiếp từ Phần Mềm iOS. Bạn thừa
nhận và đồng ý rằng việc bạn sử dụng iCloud và các tính năng này tuân theo các điều khoản và điều
kiện mới nhất của dịch vụ iCloud mà bạn có thể truy cập và xem tại: https://www.apple.com/legal/
internet-services/icloud/.

(c) Nội Dung Ứng Dụng Tin Tức. Việc bạn sử dụng nội dung được truy cập thông qua ứng dụng Tin Tức
chỉ giới hạn cho mục đích sử dụng cá nhân và không mang tính thương mại, không chuyển giao bất kỳ
quyền sở hữu nào trong nội dung đó cho bạn, và đặc biệt loại trừ, nhưng không giới hạn, bất kỳ quyền
sử dụng mang tính thương mại hoặc quảng bá trong nội dung đó. Ngoài ra, bạn không được phép tái
bản, phát tán lại và tạo bản sao bất kỳ hình ảnh nào được truy cập thông qua Tin Tức như là một tập tin
độc lập.

(d) Bản Đồ. Dịch vụ bản đồ và các tính năng của Phần Mềm iOS (“Bản Đồ”), bao gồm phạm vi dữ liệu
bản đồ, có thể thay đổi theo vùng. Khi bạn sử dụng bất kỳ tính năng nào dựa trên sự định vị của ứng
dụng Bản Đồ, ví dụ như tính năng chỉ đường chi tiết, giao thông và tìm kiếm vùng, các thông tin sử
dụng và liên quan đến định vị có thể được gửi cho Apple, bao gồm vị trí địa lý theo thời gian thực của
Thiết Bị dùng hệ điều hành iOS của bạn, để xử lý yêu cầu của bạn và để nâng cao chất lượng Bản Đồ.
Vị trí định vị và dữ liệu sử dụng được Apple thu thập dưới dạng không xác định đích danh bạn. Bằng
việc sử dụng Bản Đồ, bạn đồng ý và chấp thuận cho Apple, các công ty con và đại lý của Apple
chuyển, thu thập, lưu giữ, xử lý, và sử dụng các thông tin này để cung cấp và cải thiện các tính năng và
dịch vụ Bản Đồ và các sản phẩm và dịch vụ khác của Apple. Apple có thể cung cấp thông tin này, ở
dạng tổng hợp hoặc không thể xác định cá nhân, cho các đối tác và bên được cấp quyền sử dụng của
Apple để cải thiện các sản phẩm và dịch vụ dựa trên sự định vị và bản đồ của họ. Bạn có thể tắt tính
năng dựa trên sự định vị của Bản Đồ bằng cách vào phần cài đặt các Dịch Vụ Định Vị trên Thiết Bị dùng
hệ điều hành iOS của bạn và tắt cài đặt riêng cho Bản Đồ. Tuy nhiên, một số tính năng Bản Đồ có thể
không được cung cấp nếu bạn tắt phần cài đặt Dịch Vụ Định Vị, ví dụ như tính năng chỉ đường chi tiết.

(e) Bạn hiểu rằng khi sử dụng bất kỳ Dịch Vụ nào, bạn có thể gặp phải nội dung có thể có tính công
kích, khiếm nhã, hoặc không mong muốn, nội dung này có thể bị coi hoặc không bị coi là có tính mô tả
tình dục, và các kết quả của bất kỳ việc tìm kiếm hoặc truy cập vào một Đường Dẫn (URL) đặc biệt có
thể tự động và vô tình tạo ra các đường dẫn liên kết hoặc tham chiếu tới các tài liệu không mong muốn.
Tuy nhiên, bạn đồng ý chịu toàn bộ các rủi ro khi sử dụng các Dịch Vụ và Apple, các công ty liên kết, đại
lý, bên ủy nhiệm, hoặc các bên cấp quyền sử dụng của Apple sẽ không có bất kỳ nghĩa vụ nào với bạn
đối với nội dung có thể bị coi là có tính công kích, khiếm nhã, hoặc không mong muốn.

(f) Một số Dịch Vụ có thể thể hiện, chứa đựng hoặc cung cấp nội dung, dữ liệu, thông tin, các ứng dụng
hoặc tài liệu từ các bên thứ ba (“Tài Liệu Của Bên Thứ Ba”) hoặc tạo ra đường dẫn liên kết tới các
trang web của bên thứ ba. Bằng việc sử dụng các Dịch Vụ, bạn thừa nhận và đồng ý rằng Apple sẽ
không có trách nhiệm kiểm tra hoặc đánh giá nội dung, tính chính xác, tính hoàn thiện, tính hợp thời,
hiệu lực, tuân thủ quy định về bản quyền, tính hợp pháp, tuân thủ các quy tắc, chất lượng hoặc các
khía cạnh khác của các Tài liệu Của Bên Thứ Ba hoặc các trang web. Apple, các nhân viên, công ty liên
kết, công ty con của Apple không bảo đảm hoặc xác nhận và không gánh chịu và sẽ không có bất kỳ
trách nhiệm hoặc nghĩa vụ nào với bạn hoặc bất kỳ người nào về các Dịch Vụ của bất kỳ bên thứ ba
nào, Tài Liệu Của Bên Thứ Ba hoặc các trang web, hoặc các tài liệu, sản phẩm, hoặc dịch vụ khác của
các bên thứ ba. Các Tài Liệu Của Bên Thứ Ba và các đường dẫn liên kết tới các trang web khác được
cung cấp với mục đích duy nhất là nhằm tạo thuận lợi cho bạn.

(g) Cả Apple và các bên cung cấp nội dung cho Apple đều không bảo đảm về khả năng cung cấp, độ
chính xác, hoàn chỉnh, có thể tin cậy được, hoặc kịp thời của thông tin lưu trữ, dữ liệu định vị hoặc bất
kỳ dữ liệu khác được hiển thị bởi bất kỳ Dịch Vụ nào. Các thông tin tài chính do bất kỳ Dịch Vụ nào thể
hiện chỉ nhằm mục đích thông tin chung và bạn không nên dựa vào các thông tin tài chính đó như là tư
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 397 of 452



vấn đầu tư. Trước khi tiến hành bất kỳ giao dịch chứng khoán nào dựa trên các thông tin thu nhận
được nhờ vào các Dịch Vụ, bạn nên tham vấn chuyên gia tài chính hoặc chứng khoán có trình độ
chuyên môn theo quy định pháp luật để đưa ra các tư vấn về tài chính hoặc chứng khoán tại quốc gia
hoặc khu vực của bạn. Dữ liệu định vị do các Dịch Vụ, bao gồm dịch vụ Bản Đồ Apple, chỉ được cung
cấp cho mục đích định hướng và lên kế hoạch cơ bản và không nhằm để sử dụng trong các trường
hợp cần phải có các thông tin định vị chính xác hoặc dữ liệu định vị bị lỗi, không chính xác, bị chậm trễ
hoặc không đầy đủ có thể gây tử vong, thương tật, hay thiệt hại về tài sản hoặc môi trường. Bạn đồng
ý rằng, các kết quả mà bạn nhận được từ dịch vụ Bản Đồ có thể thay đổi theo các điều kiện đường xá
và mặt bằng cụ thể do các yếu tố có thể ảnh hưởng đến độ chính xác của dữ liệu Bản Đồ, ví dụ nhưng
không hạn chế bởi các yếu tố như thời tiết, điều kiện đường xá và giao thông, các sự kiện địa chính trị.
Để bảo đảm an toàn cho bạn khi sử dụng tính năng chỉ đường, bạn nên luôn luôn chú ý đến các biển
chỉ đường và các điều kiện đường xá hiện tại. Tuân theo luật giao thông và thông lệ lái xe, và lưu ý rằng
các hướng dẫn cho người đi bộ có thể không chứa thông tin về các vỉa hè hoặc các đường cho người
đi bộ.

(h) Trong phạm vi bạn đăng tải bất kỳ nội dung nào thông qua việc sử dụng Dịch Vụ, bạn cam kết rằng
bạn sở hữu tất cả các quyền đối với nội dung đó, hoặc có thẩm quyền hoặc theo cách khác được cho
phép một cách hợp pháp để đăng tải nội dung đó và nội dung đó không vi phạm bất kỳ điều khoản dịch
vụ nào áp dụng cho các Dịch Vụ. Bạn đồng ý rằng các Dịch Vụ bao gồm nội dung, thông tin và tài liệu
thuộc sở hữu riêng của Apple, chủ sở hữu trang web, hoặc các bên cấp quyền sử dụng cho Apple và
chủ sở hữu trang web, và được bảo vệ bởi các quy định về sở hữu trí tuệ và các luật khác, bao gồm
nhưng không chỉ giới hạn bởi bản quyền. Bạn đồng ý sẽ không sử dụng các nội dung, thông tin và tài
liệu đó trừ các trường hợp việc sử dụng các Dịch Vụ được phép và không sử dụng các nội dung, thông
tin và tài liệu đó theo cách thức trái với các điều khoản của Hợp Đồng Cấp Quyền Sử Dụng này và
không vi phạm bất kỳ quyền sở hữu trí tuệ nào của một bên thứ ba hoặc của Apple. Không phần nào
của các Dịch Vụ có thể được sao chép dưới bất kỳ hình thức nào bằng bất kỳ phương tiện nào. Bạn
đồng ý không sửa đổi, cho thuê, cho mượn, bán, phân phối, hoặc tạo ra các tác phẩm phái sinh dựa
trên các Dịch Vụ, theo bất kỳ cách nào, và bạn sẽ không khai thác Dịch vụ theo bất kỳ cách nào không
được phép, bao gồm và không giới hạn bởi việc sử dụng Dịch Vụ để phát tán bất kỳ virus, sâu máy
tính, ngựa thành Troy hoặc phần mềm gây hại khác, hoặc việc xâm phạm hoặc làm cho mạng bị quá tải.
Bạn đồng ý thêm rằng sẽ không sử dụng các Dịch Vụ theo bất kỳ hình thức nào để gây rối, lạm dụng,
lén lút, đe dọa, gây tổn hại danh dự hoặc bằng cách nào khác xâm phạm hoặc vi phạm các quyền của
bất kỳ bên nào khác, và rằng Apple hoàn toàn không có trách nhiệm đối với bất kỳ việc sử dụng nào
của bạn hoặc đối với bất kỳ tin nhắn hay thông điệp gây rối, đe dọa, gây tổn hại danh dự, công kích, vi
phạm hoặc bất hợp pháp nào mà bạn có thể nhận được khi sử dụng Dịch Vụ.

(i) Hơn nữa, các Dịch Vụ và Các Tài Liệu Của Bên Thứ Ba có thể được truy nhập, kết nối tớiliên kết,
hoặc hiển thị trên Thiết Bị dùng hệ điều hành iOS có thể không được cung cấp bằng tất cả các thứ
tiếng hoặc tại mọi quốc gia hoặc khu vực. Apple không cam kết rằng các Dịch vụ và Các Tài Liệu Của
Bên Thứ Ba được cung cấp và phù hợp cho việc sử dụng tại bất kỳ địa điểm cụ thể nào. Trong phạm vi
mà bạn chọn sử dụng hoặc tiếp cận các Dịch Vụ và Các Tài Liệu Của Bên Thứ Ba này, bạn tự mình làm
việc này và tự chịu trách nhiệm về việc tuân thủ luật áp dụng, bao gồm nhưng không chỉ giới hạn bởi
luật áp dụng của quốc gia sở tại và các luật về quyền riêng tư và thu thập dữ liệu. Chia sẻ hoặc đồng
bộ hóa các bức ảnh thông qua Thiết Bị dùng hệ điều hành iOS của bạn có thể làm cho siêu dữ liệu, bao
gồm địa điểm và thời gian mà ảnh được chụp, và thông tin chiều sâu, bị chuyển đi cùng với các bức
ảnh. Việc sử dụng các dịch vụ Apple (như là Thư Viện Ảnh iCloud) để chia sẻ hoặc đồng bộ hóa những
ảnh này sẽ liên quan đến việc Apple nhận được và lưu trữ các siêu dữ liệu đó, Apple và các bên cấp
quyền sử dụng cho Apple bảo lưu quyền thay đổi, đình chỉ, hủy bỏ, hoặc vô hiệu hóa việc tiếp cận bất
kỳ Dịch Vụ nào vào bất kỳ thời điểm nào mà không cần thông báo. Trong bất kỳ trường hợp nào, Apple
không chịu trách nhiệm đối với sự hủy bỏ hoặc vô hiệu hóa việc tiếp cận bất kỳ Dịch Vụ nào. Apple
cũng có thể áp đặt các hạn chế đối với việc sử dụng hoặc tiếp cận một số Dịch Vụ trong bất kỳ trường
hợp nào mà không cần thông báo cũng như không phải chịu bất kỳ trách nhiệm nào.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 398 of 452




6. Chấm Dứt. Hợp Đồng Cấp Quyền Sử Dụng này sẽ có hiệu lực cho đến khi chấm dứt. Quyền của
bạn theo quy định tại Hợp Đồng Cấp Quyền Sử Dụng này sẽ tự động chấm dứt hoặc chấm dứt hiệu
lực theo cách khác mà Apple không cần phải thông báo nếu bạn không tuân thủ bất kỳ điều khoản nào
của Hợp Đồng Cấp Quyền Sử Dụng này. Khi Hợp Đồng Cấp Quyền Sử Dụng này chấm dứt, bạn sẽ
phải chấm dứt hoàn toàn việc sử dụng Phần Mềm iOS. Các Phần 4, 5, 6, 7, 8, 9, 12, và 13 của Hợp
Đồng Cấp Quyền Sử Dụng này tiếp tục có hiệu lực sau khi xảy ra bất kỳ trường hợp chấm dứt nào như
vậy.

7. Từ Bỏ Các Bảo Đảm.
7.1 Nếu bạn là một khách hàng tiêu dùng (bạn sử dụng Phần Mềm iOS không cho mục đích kinh
doanh, thương mại, hoặc công việc của bạn), bạn có thể có các quyền hợp pháp tại quốc gia bạn cư
trú mà có thể cấm áp dụng các hạn chế sau đây đối với bạn, và trong trường hợp đó các hạn chế sau
đây sẽ không áp dụng đối với bạn. Để biết thêm về các quyền của người tiêu dùng, bạn nên liên hệ với
tổ chức tư vấn cho người tiêu dùng tại địa phương.

7.2 TRONG PHẠM VI LUẬT ÁP DỤNG CHO PHÉP, BẠN CÔNG KHAI THỪA NHẬN VÀ ĐỒNG Ý CHỊU
MỌI RỦI RO TRONG VIỆC SỬ DỤNG PHẦN MỀM iOS VÀ BẤT KỲ DỊCH VỤ NÀO ĐƯỢC THỰC HIỆN
BỞI HOẶC ĐƯỢC TRUY CẬP THÔNG QUA PHẦN MỀM iOS VÀ BẠN HOÀN TOÀN CHỊU MỌI RỦI RO
VỀ CHẤT LƯỢNG, KHẢ NĂNG HOẠT ĐỘNG, ĐỘ CHÍNH XÁC, VÀ KẾT QUẢ CÓ THỎA MÃN YÊU CẦU
CỦA BẠN HAY KHÔNG.

7.3 TRONG PHẠM VI TỐI ĐA LUẬT ÁP DỤNG CHO PHÉP, PHẦN MỀM iOS VÀ CÁC DỊCH VỤ ĐƯỢC
CUNG CẤP “THEO NGUYÊN TRẠNG” VÀ “NHƯ HIỆN CÓ”, VỚI TẤT CẢ CÁC LỖI VÀ KHÔNG CÓ BẤT
KỲ SỰ BẢO ĐẢM NÀO, VÀ APPLE VÀ CÁC BÊN CẤP QUYỀN SỬ DỤNG CHO APPLE (ĐƯỢC GỌI
CHUNG LÀ “APPLE” CHO CÁC MỤC ĐÍCH CỦA PHẦN 7 VÀ 8 NÀY) THEO ĐÂY TỪ BỎ MỌI BẢO ĐẢM
VÀ ĐIỀU KIỆN LIÊN QUAN TỚI PHẦN MỀM iOS VÀ CÁC DỊCH VỤ, DÙ LÀ DƯỚI HÌNH THỨC CÔNG
KHAI, NGẦM ĐỊNH HOẶC THEO QUY ĐỊNH, BAO GỒM VÀ KHÔNG CHỈ GIỚI HẠN BỞI CÁC BẢO ĐẢM
VÀ/HOẶC ĐIỀU KIỆN NGẦM ĐỊNH VỀ KHẢ NĂNG TIÊU THỤ, CHẤT LƯỢNG ĐẢM BẢO, PHÙ HỢP
CHO MỘT MỤC ĐÍCH SỬ DỤNG CỤ THỂ, ĐỘ CHÍNH XÁC, ĐỘ HÀI LÒNG KHI SỬ DỤNG, VÀ KHÔNG
VI PHẠM QUYỀN CỦA BÊN THỨ BA.

7.4 APPLE KHÔNG BẢO ĐẢM RẰNG VIỆC SỬ DỤNG PHẦN MỀM iOS VÀ CÁC DỊCH VỤ CỦA BẠN
KHÔNG BỊ GIÁN ĐOẠN, KHÔNG BẢO ĐẢM RẰNG CÁC CHỨC NĂNG TRONG PHẦN MỀM iOS HOẶC
CÁC DỊCH VỤ ĐƯỢC THỰC HIỆN HOẶC ĐƯỢC CUNG CẤP BỞI PHẦN MỀM iOS THỎA MÃN CÁC
YÊU CẦU CỦA BẠN, RẰNG HOẠT ĐỘNG CỦA PHẦN MỀM iOS VÀ CÁC DỊCH VỤ KHÔNG BỊ GIÁN
ĐOẠN HOẶC KHÔNG CÓ LỖI, RẰNG BẤT KỲ DỊCH VỤ NÀO SẼ TIẾP TỤC ĐƯỢC CUNG CẤP, RẰNG
CÁC LỖI TRONG PHẦN MỀM iOS VÀ CÁC DỊCH VỤ SẼ ĐƯỢC KHẮC PHỤC, HOẶC RẰNG PHẦN
MỀM iOS SẼ TƯƠNG THÍCH HOẶC HOẠT ĐỘNG ĐƯỢC VỚI BẤT KỲ PHẦN MỀM, ỨNG DỤNG
HOẶC DỊCH VỤ CỦA BÊN THỨ BA NÀO. VIỆC CÀI ĐẶT CỦA PHẦN MỀM iOS NÀY CÓ THỂ ẢNH
HƯỞNG TỚI VIỆC CUNG CẤP VÀ KHẢ NĂNG SỬ DỤNG PHẦN MỀM, CÁC ỨNG DỤNG HOẶC DỊCH
VỤ CỦA BÊN THỨ BA, CŨNG NHƯ CÁC SẢN PHẨM VÀ DỊCH VỤ APPLE.

7.5 BẠN THỪA NHẬN THÊM RẰNG PHẦN MỀM iOS VÀ CÁC DỊCH VỤ KHÔNG ĐƯỢC TẠO RA ĐỂ
HOẶC PHÙ HỢP CHO VIỆC SỬ DỤNG TRONG CÁC ĐIỀU KIỆN HOẶC MÔI TRƯỜNG MÀ VIỆC NỘI
DUNG, DỮ LIỆU HOẶC THÔNG TIN DO PHẦN MỀM iOS HOẶC CÁC DỊCH VỤ CUNG CẤP BỊ SAI SÓT,
BỊ CHẬM TRỄ, CÓ LỖI HAY KHÔNG CHÍNH XÁC CÓ THỂ GÂY TỬ VONG, THƯƠNG TẬT, HOẶC
THIỆT HẠI NGHIÊM TRỌNG VỀ VẬT CHẤT HOẶC MÔI TRƯỜNG, BAO GỒM NHƯNG KHÔNG GIỚI
HẠN BỞI HOẠT ĐỘNG CỦA CÁC THIẾT BỊ HẠT NHÂN, ĐIỀU KHIỂN MÁY BAY HOẶC CÁC HỆ THỐNG
THÔNG TIN LIÊN LẠC, ĐIỀU KHIỂN HÀNG KHÔNG, CỨU HỘ HOẶC HỆ THÔNG VŨ KHÍ.

7.6   KHÔNG CÓ BẤT KỲ THÔNG TIN HOẶC TƯ VẤN NÀO BẰNG VĂN BẢN HOẶC BẰNG LỜI NÓI
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 399 of 452



CỦA APPLE HOẶC MỘT ĐẠI ĐIỆN CÓ THẨM QUYỀN CỦA APPLE CÓ THỂ TẠO RA MỘT BẢO ĐẢM.
NẾU PHẦN MỀM iOS VÀ CÁC DỊCH VỤ CÓ LỖI, BẠN SẼ CHỊU TOÀN BỘ CHI PHÍ DỊCH VỤ, SỬA
CHỮA HOẶC KHÔI PHỤC CẦN THIẾT. LUẬT MỘT SỐ QUỐC GIA KHÔNG CHO PHÉP VIỆC LOẠI TRỪ
CÁC BẢO ĐẢM NGẦM ĐỊNH HOẶC HẠN CHẾ CÁC QUYỀN CỦA NGƯỜI TIÊU DÙNG THEO QUY
ĐỊNH ÁP DỤNG, TRONG TRƯỜNG HỢP ĐÓ CÁC LOẠI TRỪ VÀ HẠN CHẾ TRÊN CÓ THỂ KHÔNG ÁP
DỤNG ĐỐI VỚI BẠN.

8. Giới Hạn Trách Nhiệm. TRONG PHẠM VI LUẬT ÁP DỤNG KHÔNG CẤM, APPLE, CÁC CÔNG TY
LIÊN KẾT, CÁC ĐẠI LÝ HOẶC BÊN ỦY NHIỆM CỦA APPLE SẼ KHÔNG CÓ TRÁCH NHIỆM TRONG
BẤT KỲ TRƯỜNG HỢP NÀO ĐỐI VỚI THƯƠNG TẬT, HOẶC BẤT KỲ THIỆT HẠI NGẪU NHIÊN, ĐẶC
BIỆT, GIÁN TIẾP HOẶC CÓ TÍNH NHÂN QUẢ, BAO GỒM NHƯNG KHÔNG CHỈ GIỚI HẠN BỞI CÁC
THIỆT HẠI DO TỔN THẤT VỀ LỢI NHUẬN, HỎNG HOẶC MẤT DỮ LIỆU, KHÔNG TRUYỀN HOẶC
KHÔNG NHẬN ĐƯỢC BẤT KỲ DỮ LIỆU NÀO (BAO GỒM VÀ KHÔNG HẠN CHẾ BỞI CÁC CHỈ DẪN VỀ
KHÓA HỌC, BÀI TẬP, VÀ TÀI LIỆU KHÓA HỌC), GIÁN ĐOẠN KINH DOANH HOẶC BẤT KỲ THIỆT HẠI
HOẶC TỔN THẤT THƯƠNG MẠI KHÁC, PHÁT SINH TỪ HOẶC LIÊN QUAN ĐẾN VIỆC BẠN SỬ DỤNG
HOẶC KHÔNG THỂ SỬ DỤNG PHẦN MỀM iOS VÀ CÁC DỊCH VỤ HOẶC PHẦN MỀM HOẶC ỨNG
DỤNG CỦA BÊN THỨ BA LIÊN QUAN TỚI PHẦN MỀM iOS HOẶC CÁC DỊCH VỤ, CHO DÙ THIỆT HẠI
HAY TỔN THẤT ĐÓ BỊ GÂY RA NHƯ THẾ NÀO, BẤT KỂ TRÁCH NHIỆM PHÁT SINH THEO HÌNH
THỨC NÀO (THEO HỢP ĐỒNG, NGOÀI HỢP ĐỒNG HOẶC THEO NGUYÊN TẮC NÀO KHÁC) VÀ NGAY
CẢ KHI APPLE ĐÃ ĐƯỢC KHUYẾN CÁO VỀ KHẢ NĂNG XẢY RA CÁC THIỆT HẠI ĐÓ. LUẬT CỦA MỘT
SỐ QUỐC GIA KHÔNG CHO PHÉP LOẠI TRỪ HOẶC HẠN CHẾ TRÁCH NHIỆM ĐỐI VỚI THƯƠNG
TẬT, THIỆT HẠI NGẪU NHIÊN HAY CÓ TÍNH NHÂN QUẢ, TRONG TRƯỜNG HỢP ĐÓ HẠN CHẾ NÀY
CÓ THỂ KHÔNG ÁP DỤNG ĐỐI VỚI BẠN. Trong mọi trường hợp tổng trách nhiệm của Apple đối với
các thiệt hại xảy ra với bạn (trừ trường hợp luật áp dụng yêu cầu trong các trường hợp liên quan tới
thương tật) không vượt quá hai trăm năm mươi đô la (250 USD). Các hạn chế trên sẽ áp dụng ngay cả
khi biện pháp khắc phục được nêu ở trên không đạt được mục tiêu chính của biện pháp khắc phục đó.

9. Các Chứng Chỉ Số. Phần Mềm iOS bao gồm tính năng cho phép Phần Mềm iOS chấp nhận các
chứng chỉ số do Apple hay các bên thứ ba phát hành. BẠN HOÀN TOÀN CHỊU TRÁCH NHIỆM QUYẾT
ĐỊNH DỰA VÀO HAY KHÔNG DỰA VÀO MỘT CHỨNG CHỈ DO APPLE HAY BÊN THỨ BA PHÁT HÀNH.
BẠN LÀ NGƯỜI DUY NHẤT CHỊU RỦI RO ĐỐI VỚI VIỆC SỬ DỤNG CHỨNG CHỈ SỐ CỦA MÌNH.
TRONG PHẠM VI TỐI ĐA MÀ LUẬT ÁP DỤNG CHO PHÉP, APPLE KHÔNG CAM KẾT VÀ BẢO ĐẢM, DÙ
LÀ CÔNG KHAI HAY NGẦM ĐỊNH, VỀ KHẢ NĂNG TIÊU THỤ HOẶC TÍNH PHÙ HỢP CHO BẤT KỲ MỤC
ĐÍCH CỤ THỂ NÀO, TÍNH CHÍNH XÁC, ĐỘ AN TOÀN, HOẶC KHÔNG VI PHẠM QUYỀN CỦA BÊN THỨ
BA LIÊN QUAN ĐẾN CÁC CHỨNG CHỈ SỐ.

10. Quản Lý Xuất Khẩu. Bạn không được sử dụng hoặc bằng cách nào đó xuất khẩu hoặc tái xuất
khẩu Phần Mềm iOS trừ khi được cho phép bởi luật của Hoa Kỳ và luật của (các) quốc gia nơi Phần
Mềm iOS được mua. Cụ thể là, nhưng không hạn chế bởi, Phần Mềm iOS không thể được xuất khẩu
hoặc tái xuất khẩu vào (a) bất kỳ quốc gia nào bị Hoa Kỳ cấm vận hoặc (b) bất kỳ đối tượng nào trong
danh sách Các Đối Tượng Bị Đối Xử Đặc Biệt của Cục Kho Bạc Hoa Kỳ hoặc Danh Sách Những Tổ
Chức hoặc Cá Nhân Bị Khước Từ của Bộ Thương Mại Hoa Kỳ hoặc bất kỳ danh sách đối tượng bị hạn
chế nào khác. Bằng việc sử dụng Phần Mềm iOS, bạn cam kết và bảo đảm rằng bạn không ở tại bất kỳ
quốc gia nào hoặc nằm trong bất kỳ danh sách nào nêu trên. Bạn cũng đồng ý rằng bạn sẽ không sử
dụng Phần Mềm iOS cho bất kỳ mục đích nào bị luật Hoa Kỳ cấm, bao gồm, và không giới hạn bởi phát
triển, thiết kế, chế tạo hoặc sản xuất tên lửa, vũ khí hạt nhân, hóa học hoặc sinh học.

11. Người Sử Dụng Cuối Cùng là Chính Phủ. Phần Mềm iOS và tài liệu liên quan là “Các Hạng Mục
Thương Mại”, như thuật ngữ này được định nghĩa tại mục 48 C.F.R. §2.101, bao gồm “Phần Mềm Máy
Tính Thương Mại” và “Tài Liệu Phần Mềm Máy Tính Thương Mại”, như thuật ngữ này được định nghĩa
tại mục 48 C.F.R. §12.212 hoặc mục 48 C.F.R. §227.7202, khi được áp dụng. Phù hợp với quy định tại
mục 48 C.F.R. §12.212 hoặc mục 48 C.F.R. §227.7202-1 đến 227.7202-4, khi được áp dụng, Phần Mềm
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 400 of 452



Máy Tính Thương Mại và Tài Liệu Phần Mềm Máy Tính Thương Mại được cấp cho những người sử
dụng cuối cùng là Chính Phủ Mỹ (a) chỉ như Các Hạng Mục Thương Mại và (b) chỉ với các quyền như
được cấp cho tất cả những người sử dụng cuối cùng khác theo các điều khoản và điều kiện được nêu
trong Hợp Đồng Cấp Quyền Sử Dụng này. Các quyền không được công bố được bảo lưu theo luật bản
quyền của Hoa Kỳ.

12. Luật Điều Chỉnh và Vô Hiệu Từng Phần. Hợp Đồng Cấp Quyền Sử Dụng này được điều chỉnh và
giải thích theo luật của Bang California, trừ các nguyên tắc xung đột pháp luật. Hợp Đồng Cấp Quyền
Sử Dụng này sẽ không được điều chỉnh bởi Công Ước Liên Hợp Quốc về Hợp Đồng Mua Bán Hàng
Hóa Quốc Tế, việc áp dụng của Công Ước này bị loại trừ rõ ràng. Nếu bạn là người tiêu dùng tại Vương
Quốc Anh, Hợp Đồng Cấp Quyền Sử Dụng này sẽ được điều chỉnh bởi luật tại vùng cư trú của bạn.
Nếu vì một lý do nào đó mà tòa án có thẩm quyền thấy rằng bất kỳ quy định, hoặc phần nào đó trong
Hợp Đồng Cấp Quyền Sử Dụng này không thể được thực thi, phần còn lại của Hợp Đồng Cấp Quyền
Sử Dụng này vẫn tiếp tục có hiệu lực đầy đủ.

13. Toàn Bộ Hợp Đồng; Ngôn Ngữ Điều Chỉnh. Hợp Đồng Cấp Quyền Sử Dụng tạo thành toàn bộ
thỏa thuận giữa bạn và Apple liên quan đến Phần Mềm iOS và thay thế toàn bộ các thỏa thuận về vấn
đề này trước đó hoặc tại cùng thời điểm. Bất kỳ sửa chữa hoặc thay đổi nào của Hợp Đồng Cấp Quyền
Sử Dụng này sẽ không có giá trị ràng buộc trừ khi sửa chữa hoặc thay đổi đó được lập thành văn bản
và được Apple ký. Trong phạm vi mà pháp luật của quốc gia bạn không cấm, việc dịch Hợp Đồng Cấp
Quyền Sử Dụng này được thực hiện để đáp ứng yêu cầu của quốc gia sở tại và trong trường hợp có
mâu thuẫn giữa bản tiếng Anh và bản không phải bằng tiếng Anh, bản tiếng Anh của Hợp Đồng Cấp
Quyền Sử Dụng này sẽ được ưu tiên.

14. Các Xác Nhận Của Bên Thứ Ba. Các phần của Phần Mềm iOS có thể sử dụng hoặc có chứa phần
mềm của bên thứ ba và tài liệu có bản quyền khác. Các thừa nhận, các điều khoản cấp quyền sử dụng
và các khước từ đối với các tài liệu đó được nêu trong các văn bản điện tử về Phần Mềm iOS, và việc
bạn sử dụng tài liệu đó được điều chỉnh bởi các điều khoản tương ứng. Việc sử dụng Dịch Vụ Truy
Duyệt An Toàn Google phải tuân thủ theo các Điều Khoản Dịch Vụ Google (https://www.google.com/intl/
vi/policies/terms/) và theo Chính Sách Quyền Riêng Tư của Google (https://www.google.com/intl/vi/
policies/privacy/).

15. Sử Dụng MPEG-4; Thông Báo H.264/AVC.
(a) Phần Mềm iOS được cấp quyền sử dụng theo Hợp Đồng Cấp Quyền Sử Dụng Danh Mục Các Sáng
Chế Hệ Thống MPEG-4 để mã hóa phù hợp với Tiêu Chuẩn Hệ Thống MPEG-4, ngoại trừ cần phải có
một hợp đồng cấp quyền sử dụng và thanh toán bổ sung phí bản quyền để mã hóa liên quan đến (i) dữ
liệu được lưu trữ hoặc sao chép trong các phương tiện ghi vật lý các dữ liệu này được thanh toán trên
cơ sở từng tiêu đề và/hoặc (ii) dữ liệu được thanh toán trên cơ sở từng tiêu đề và được chuyển cho
người sử dụng cuối cùng để lưu trữ và/hoặc sử dụng vĩnh viễn. Hợp đồng cấp quyền sử dụng bổ sung
này có thể có được từ MPEG LA, LLC. Để biết thêm thông tin chi tiết, xem tại http://www.mpegla.com.

(b) Phần Mềm iOS chứa đựng chức năng mã hóa và/hoặc giải mã video MPEG-4. Phần Mềm iOS
được cấp quyền sử dụng theo Hợp Đồng Cấp Quyền Sử Dụng Danh Mục Các Sáng Chế Hệ Thống
MPEG-4 cho các mục đích sử dụng cá nhân và không nhằm mục đích thương mại để (i) mã hóa video
phù hợp với Tiêu Chuẩn Hình Ảnh MPEG-4 (“Video MPEG-4”) và/hoặc (ii) giải mã video MPEG-4 đã
được người tiêu dùng mã hóa cho hoạt động cá nhân không mang tính thương mại và/hoặc được cung
cấp bởi một nhà cung cấp video được MPEG LA cấp quyền để cung cấp video MPEG-4. Không có hợp
đồng cấp quyền sử dụng nào được cấp hoặc được ngụ ý là cấp cho mục đích sử dụng khác. Các
thông tin bổ sung liên quan đến việc sử dụng và cấp quyền sử dụng cho các mục đích tiếp thị, nội bộ
và thương mại có thể được MPEG LA, LLC cung cấp. Xin xem tại http://www.mpegla.com.

(c) Phần Mềm iOS bao gồm chức năng mã hóa và/hoặc giải mã AVC, việc sử dụng cho mục đích
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 401 of 452



thương mại của H.264/AVC cần phải có hợp đồng cấp quyền sử dụng bổ sung và các quy định sau đây
sẽ áp dụng: CHỨC NĂNG AVC TRONG PHẦN MỀM iOS ĐƯỢC CẤP QUYỀN SỬ DỤNG CHỈ CHO
MỤC ĐÍCH SỬ DỤNG CÁ NHÂN VÀ KHÔNG CÓMANG TÍNH THƯƠNG MẠI CỦA NGƯỜI TIÊU DÙNG
ĐỂ (I) MÃ HÓA VIDEO PHÙ HỢP VỚI TIÊU CHUẨN AVC (“AVC VIDEO”) VÀ/HOẶC (II) GIẢI MÃ VIDEO
AVC ĐÃ ĐƯỢC NGƯỜI TIÊU DÙNG MÃ HÓA CHO HOẠT ĐỘNG CÁ NHÂN KHÔNG CÓMANG TÍNH
THƯƠNG MẠI VÀ/HOẶC VIDEO AVC CÓ ĐƯỢC TỪ MỘT NHÀ CUNG CẤP VIDEO ĐƯỢC CẤP
QUYỀN CUNG CẤP VIDEO AVC. THÔNG TIN LIÊN QUAN ĐẾN VIỆC SỬ DỤNG VÀ CẤP QUYỀN SỬ
DỤNG KHÁC CÓ THỂ ĐƯỢC MPEG LA L.L.C CUNG CẤP, XIN XEM TẠI http://www.mpegla.com.

16. Các Hạn Chế Đối Với Dịch Vụ Tìm Kiếm Yahoo. Dịch Vụ Tìm Kiếm Yahoo được cung cấp qua
Safari được cấp quyền sử dụng tại các quốc gia và khu vực sau đây: Ác-hen-ti-na, Aruba, Ô-xtơ-rây-li-
a, Áo, Bác-ba-đốt, Bỉ, Bermuda, Bra-xin, Bun-ga-ry, Ca-na-đa, Quần đảo Cayman, Chi lê, Trung Quốc
đại lục, Hồng Kông, Đài Loan, Cô-lôm-bi-a, Cyprus, Cộng hòa Séc, Đan Mạch, Cộng hòa Đô-mi-ni-ca,
Ê-cu-a-đo, El Salvador, Phần Lan, Pháp, Đức, Hy Lạp, Grê-na-đa, Goa-tê-ma-la, Hung-ga-ry, Ai-xơ-len,
Ấn Độ, In-đô-nê-xi-a, Ai-len, I-ta-li-a, Gia-mai-ca, Nhật Bản, Lát-vi-a, Lithuania, Lúc-xăm-bua, Ma-lay-
xi-a, Man-ta, Mê-hi-cô, Hà Lan, Niu Di-lân, Ni-ca-ra-goa, Na Uy, Pa-na-ma, Pê-ru, Phi-líp-pin, Ba Lan,
Bồ Đào Nha, Puerto Rico, Ru-ma-ni, Xin-ga-po, Xlô-va-kia, Xlô-ven-ni-a, Đại Hàn Dân Quốc, Tây Ban
Nha, St. Lucia, St. Vincent, Thụy Điển, Thụy Sỹ, Thái Lan, Bahamas, Trinidad và Tobago, Thổ Nhĩ Kỳ,
Vương Quốc Anh, U-ru-goay, Hoa Kỳ và Vê-nê-zu-ê-la.

17. Thông Báo Microsoft Exchange. Việc cài đặt thư tín Microsoft Exchange trong Phần Mềm iOS chỉ
được phép sử dụng nhằm mục đích đồng bộ hóa thông tin được truyền như thư điện tử, danh sách địa
chỉ, lịch và lịch làm việc, giữa Thiết Bị dùng hệ điều hành iOS của bạn và Máy Chủ Microsoft Exchange
hoặc phần mềm máy chủ khác được Microsoft cấp quyền sử dụng để thực hiện giao thức Microsoft
Exchange ActiveSync.

EA1566
21/02/2019

————————————
Các Điều Khoản và Điều Kiện Bổ Sung Apple Pay

Các Điều Khoản và Điều Kiện Bổ Sung Apple Pay này (“Các Điều Khoản Bổ Sung” này) bổ sung cho
Hợp Đồng Cấp Quyền Sử Dụng Phần Mềm iOS (“Hợp Đồng Cấp Quyền Sử Dụng”); cả các điều khoản
của Hợp Đồng Cấp Quyền Sử Dụng và Các Điều Khoản Bổ Sung này sẽ điều chỉnh việc sử dụng tính
năng Apple Pay của bạn, tính năng này được coi là một “Dịch Vụ” theo Hợp Đồng Cấp Quyền Sử Dụng.
Các thuật ngữ viết hoa được sử dụng trong Các Điều Khoản Bổ Sung này có nghĩa như được quy định
trong Hợp Đồng Cấp Quyền Sử Dụng.

1.   Tổng Quan và Các Hạn Chế Sử Dụng

Apple Pay cho phép bạn:

        •    lưu giữ bản ảo của các thẻ tín dụng, ghi nợ và trả trước, bao gồm thẻ tín dụng, thẻ ghi nợ,
             thẻ trả trước để thanh toán tại cửa hàng, và thẻ Apple Pay Cash, mà tính năng Apple Pay hỗ
             trợ (“Các Thẻ Thanh Toán Được Hỗ Trợ”) và sử dụng các Thiết Bị dùng hệ điều hành iOS
             được hỗ trợ để thực hiện các khoản thanh toán không cần tiếp xúc tại các địa điểm được
             lựa chọn, hoặc trong các ứng dụng, hoặc trang web;
        •    sử dụng các thẻ tích điểm và thẻ quà tặng được lưu trong Ví (Wallet) (“Các Thẻ Có Khả
             Năng Thanh Toán Apple Pay”, và Các Thẻ Thanh Toán Được Hỗ Trợ, được gọi chung là
             “Các Thẻ Được Hỗ Trợ”), để thực hiện các giao dịch thẻ tích điểm và thẻ quà tặng không
             cần tiếp xúc tại các cửa hàng được lựa chọn như là một phần của khoản thanh toán không
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 402 of 452



            cần tiếp xúc sử dụng Apple Pay; và
        •   gửi các khoản chuyển tiền cá nhân đến những người sử dụng Apple Pay khác.

Tính năng Apple Pay của Phần Mềm iOS có thể chỉ được cung cấp tại các vùng chọn lọc, với các bên
phát hành thẻ chọn lọc, tổ chức tài chính và với các đơn vị chấp nhận thẻ. Các tính năng có thể thay đổi
theo vùng, bên phát hành thẻ, và đơn vị chấp nhận thẻ.

Để sử dụng Apple Pay bạn phải có một Thẻ Được Hỗ Trợ. Các Thẻ Được Hỗ Trợ có thể thay đổi tùy
vào từng thời điểm. Ngoài ra, để nhận hoặc gửi các khoản chuyển tiền cá nhân, bạn phải có một thẻ
Apple Pay Cash.

Các Thẻ Thanh Toán Được Hỗ Trợ và các khoản chuyển tiền cá nhân được liên kết với một ID Apple mà
bạn đã đăng nhập vào iCloud để sử dụng các tính năng này. Các Thẻ Được Hỗ Trợ chỉ được cung cấp
cho những người từ 13 tuổi trở lên, và có thể phụ thuộc vào các hạn chế bổ sung dựa trên độ tuổi
được ấn định bởi iCloud hoặc bởi Thẻ Được Hỗ Trợ mà bạn đang muốn lưu giữ. Thẻ Apple Pay Cash
và khả năng gửi và nhận các khoản chuyển tiền cá nhân chỉ được cung cấp cho những người từ 18
tuổi trở lên.

Mục đích của Apple Pay là để phục vụ cá nhân bạn và bạn chỉ có thể sử dụng các Thẻ Được Hỗ Trợ
của chính bạn. Nếu bạn đang sử dụng một thẻ công ty được hỗ trợ, bạn cam kết rằng việc bạn sử
dụng thẻ công ty được hỗ trợ đó đã được người sử dụng lao động của bạn cho phép và bạn được
phép ràng buộc người sử dụng lao động của bạn với các điều khoản sử dụng này và tất cả các giao
dịch được thực hiện bằng cách sử dụng tính năng này. Nếu bạn gửi hoặc nhận một khoản chuyển tiền
cá nhân, bạn cam kết rằng bạn thực hiện việc này cho mục đích cá nhân, phi thương mại của bạn.

Bạn đồng ý không sử dụng Apple Pay cho các mục đích bất hợp pháp hoặc gian lận, hoặc bất kỳ mục
đích nào khác bị cấm bởi Hợp Đồng Cấp Quyền Sử Dụng và Các Điều Khoản Bổ Sung này. Hơn nữa,
bạn đồng ý sử dụng Apple Pay tuân theo pháp luật và các quy định áp dụng. Bạn đồng ý không can
thiệp hoặc làm gián đoạn dịch vụ Apple Pay (bao gồm cả truy cập vào dịch vụ thông qua bất kỳ phương
tiện tự động nào), hoặc bất kỳ máy chủ hoặc mạng kết nối với dịch vụ, hoặc bất kỳ chính sách, các yêu
cầu hoặc quy định của mạng kết nối với dịch vụ nào (bao gồm bất kỳ việc truy cập vào, sử dụng hoặc
theo dõi dữ liệu hoặc lưu lượng truy cập trên mạng không được phép).

2.   Mối Quan Hệ Của Apple Với Bạn

Apple Pay cho phép bạn tạo ra một bản ảo của Các Thẻ Được Hỗ Trợ của bạn trên Thiết Bị dùng hệ
điều hành iOS được hỗ trợ của bạn. Tuy nhiên Apple không thực hiện các khoản thanh toán hoặc các
giao dịch thẻ không thanh toán (ví dụ cộng dồn và mua lại điểm thưởng), nhận, nắm giữ hoặc chuyển
tiền của bạn, hoặc có bất kỳ sự quản lý nào khác đối với các khoản thanh toán, trả lại, hoàn lại tiền, tích
điểm, giá trị, giảm giá, hoặc hành vi thương mại khác có thể phát sinh khi bạn sử dụng tính năng này.

Các điều khoản của các hợp đồng chủ thẻ mà bạn có thể có với bên phát hành thẻ của bạn sẽ tiếp tục
điều chỉnh việc bạn sử dụng Các Thẻ Được Hỗ Trợ của bạn và việc sử dụng chúng liên quan đến Apple
Pay. Tương tự, việc bạn tham gia vào bất kỳ chương trình tích điểm thưởng đơn vị chấp nhận thẻhoặc
chương trình thẻ quà tặng của đơn vị chấp nhận thẻ và việc bạn sử dụng Các Thẻ Có Khả Năng Thanh
Toán Apple Pay liên quan đến Apple Pay sẽ tuân theo các điều khoản và điều kiện của đơn vị chấp nhận
thẻ đó.

Thẻ Apple Pay Cash và khả năng gửi và nhận các khoản chuyển tiền cá nhân chỉ được cung cấp tại
Hoa Kỳ, và là các dịch vụ được cung cấp bởi Ngân Hàng Green Dot, thành viên của FDIC. Khi bạn bật
các tính năng này trong Apple Pay, bạn đang mở một tài khoản với Ngân Hàng Green Dot, và khi bạn
gửi hoặc nhận một khoản chuyển tiền cá nhân hoặc nạp hoặc rút tiền từ thẻ Apple Pay Cash của bạn,
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 403 of 452



Ngân Hàng Green Dot sẽ chịu trách nhiệm nhận và gửi tiền của bạn đến người nhận mà bạn muốn. Tổ
chức tài chính chịu trách nhiệm cung cấp Apple Pay Cash và các khoản chuyển tiền cá nhân có thể
thay đổi và việc bạn sử dụng các tính năng đó phải tuân thủ các điều khoản và điều kiện của họ.

Hợp Đồng Cấp Quyền Sử Dụng hoặc các Điều Khoản Bổ Sung sửa đổi các điều khoản của bất kỳ hợp
đồng chủ thẻ, hợp đồng người sử dụng hoặc hợp đồng với bên chấp nhận thẻ nào, và các điều khoản
này không điều chỉnh việc bạn sử dụng Thẻ Được Hỗ Trợ áp dụng và tính năng chuyển tiền cá nhân và
bản ảo của thẻ này trên Thiết Bị dùng hệ điều hành iOS của bạn. Bạn đồng ý rằng Apple không phải là
một bên trong các hợp đồng chủ thẻ hoặc hợp đồng với đơn vị chấp nhận thẻ của bạn, Apple cũng
không chịu trách nhiệm về: (a) nội dung, tính chính xác hoặc việc không cung cấp được bất kỳ thẻ
thanh toán, thẻ tích điểm, thẻ quà tặng, hành vi thương mại, giao dịch hoặc các giao dịch mua nào khi
sử dụng tính năng Apple Pay; (b) việc phát hành tín dụng hoặc đánh giá tính hợp lệ của tín dụng; (c) việc
cộng dồn hoặc mua lại điểm thưởng hoặc giá trị được lưu trữ theo quy định của một chương trình của
đơn vị chấp nhận thẻ; (d) cấp tiền hoặc nạp tiền của thẻ trả trước; (e) gửi hoặc nhận các khoản chuyển
tiền cá nhân; hoặc (f) nạp, thu lại hoặc rút tiền từ thẻ Apple Pay Cash.

Xin vui lòng liên hệ với bên phát hành thẻ của bạn hoặc đơn vị chấp nhận thẻ hiện tại đối với bất kỳ
tranh chấp hoặc câu hỏi nào về các thẻ thanh toán, thẻ tích điểm, thẻ quà tặng, hoặc hành vi thương
mại liên quan. Xin vui lòng liên hệ Apple Support đối với các câu hỏi liên quan đến Apple Pay Cash.

3.   Quyền Riêng Tư

Apple Pay yêu cầu một số thông tin từ Thiết Bị dùng hệ điều hành iOS của bạn để cung cấp đầy đủ tính
năng Apple Pay. Ngoài ra, khi bạn sử dụng thẻ Apple Pay Cash của bạn hoặc gửi hoặc nhận các khoản
chuyển tiền cá nhân, các thông tin bổ sung về giao dịch của bạn sẽ được thu thập và lưu giữ để phục
vụ tài khoản của bạn và phòng chống gian lận và cho các mục đích quản lý. Bạn có thể tìm thêm thông
tin về dữ liệu được cung cấp, sử dụng hoặc chia sẻ như là việc bạn sử dụng Apple Pay, thẻ Apple Pay
Cash, hoặc các khoản chuyển tiền cá nhân bằng Apple Pay bằng cách đọc About Apple Pay và Quyền
Riêng Tư (có thể truy cập bằng cách vào Wallet & Apple Pay trên Thiết Bị dùng hệ điều hành iOS của
bạn, hoặc trong ứng dụng Watch trên một Thiết Bị dùng hệ điều hành iOS đã được kết nối) hoặc bằng
cách vào trang web https://www.apple.com/privacy/. Bằng việc sử dụng các tính năng này, bạn đồng ý
và chấp thuận cho Apple và các công ty con và các đại lý của Apple chuyển, thu thập, lưu trữ, xử lý, và
sử dụng tất cả các thông tin nêu trên, để cung cấp tính năng Apple Pay.

4.   Bảo Mật; Các Thiết Bị Bị Vô Hiệu Hóa hoặc Bị Mất

Apple Pay lưu giữ các bản ảo của Các Thẻ Được Hỗ Trợ của bạn và cần được bảo vệ như thể chính
bạn bảo vệ tiền mặt hoặc các thẻ tín dụng, thẻ ghi nợ, thẻ trả trước, thẻ tích điểm, hoặc thẻ quà tặng
thực của bạn. Việc cung cấp mã truy nhập thiết bị của bạn cho một bên thứ ba hoặc cho phép bên thứ
ba thêm dấu vân tay của họ vào để sử dụng Touch ID hoặc bật Face ID có thể dẫn tới việc bên thứ ba
đó có khả năng thực hiện các khoản thanh toán, gửi, yêu cầu, hoặc nhận các khoản chuyển tiền cá
nhân, rút tiền từ thẻ Apple Pay Cash, hoặc nhận hoặc mua lại điểm thưởng hoặc tín dụng bằng cách sử
dụng Apple Pay trên thiết bị của bạn. Bạn là người duy nhất phải chịu trách nhiệm duy trì an ninh đối
với thiết bị của bạn và mã truy nhập của bạn. Bạn đồng ý rằng Apple không phải chịu bất kỳ trách
nhiệm nào khi bạn làm mất hoặc chia sẻ quyền truy cập vào thiết bị của bạn. Bạn đồng ý rằng Apple
không chịu bất kỳ trách nhiệm nào nếu bạn thực hiện các điều chỉnh không được phép đối với iOS
(chẳng hạn như bằng cách “vượt ngục” (jailbreak)).

Bạn có thể cần phải bật các biện pháp bảo mật bổ sung, ví dụ như xác nhận bằng hai yếu tố đối với ID
Apple của bạn, để có thể truy cập vào một số tính năng cụ thể của Apple Pay, bao gồm Apple Pay Cash
và các khoản chuyển tiền cá nhân bằng Apple Pay. Nếu bạn gỡ bỏ các tính năng bảo mật đó, bạn có
thể sẽ không còn khả năng truy cập vào một số tính năng cụ thể của Apple Pay.
      Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 404 of 452




Nếu thiết bị của bạn bị mất hoặc bị lấy trộm và bạn đã bật tính năng Tìm iPhone Của Tôi (Find My
iPhone), bạn có thể sử dụng tính năng Tìm iPhone Của Tôi để cố gắng đình chỉ khả năng thanh toán
bằng các Thẻ Thanh Toán Được Hỗ Trợ ảo hoặc gửi các khoản chuyển tiền cá nhân trên thiết bị đó
bằng cách đặt nó vào Chế Độ Bị Mất (Lost Mode). Bạn cũng có thể xóa trên thiết bị của bạn, để cố
gắng đình chỉ khả năng thanh toán bằng các Thẻ Thanh Toán Được Hỗ Trợ ảo hoặc gửi các khoản
chuyển tiền cá nhân trên thiết bị và sẽ cố gắng hủy bỏ Các Thẻ Có Khả Năng Thanh Toán Apple Pay.
Bạn cũng nên liên hệ với bên phát hành các Thẻ Thanh Toán Được Hỗ Trợ của bạn, đơn vị chấp nhận
thẻ đã phát hành các Thẻ Có Khả Năng Thanh Toán Apple Pay của bạn, và Apple trong trường hợp của
thẻ Apple Pay Cash của bạn để ngăn chặn việc truy cập không được phép vào Các Thẻ Được Hỗ Trợ
của bạn.

Nếu bạn thông báo hoặc Apple nghi ngờ có hành vi lạm dụng hoặc gian lận, bạn đồng ý hợp tác với
Apple trong bất kỳ cuộc điều tra nào và sử dụng các biện pháp ngăn chặn gian lận mà chúng tôi yêu
cầu.

5.   Giới Hạn Trách Nhiệm

NGOÀI CÁC KHƯỚC TỪ BẢO ĐẢM VÀ GIỚI HẠN TRÁCH NHIỆM QUY ĐỊNH TRONG HỢP ĐỒNG CẤP
QUYỀN SỬ DỤNG NÀY, APPLE KHÔNG CHỊU BẤT KỲ TRÁCH NHIỆM NÀO ĐỐI VỚI VIỆC MUA,
THANH TOÁN, GIAO DỊCH HOẶC HÀNH VI THƯƠNG MẠI KHÁC ĐƯỢC THỰC HIỆN SỬ DỤNG TÍNH
NĂNG APPLE PAY, VÀ BẠN ĐỒNG Ý CHỈ DỰA VÀO CÁC THỎA THUẬN MÀ BẠN CÓ THỂ CÓ VỚI BÊN
PHÁT HÀNH THẺ CỦA BẠN, HỆ THỐNG THANH TOÁN, CÁC TỔ CHỨC TÀI CHÍNH HOẶC ĐƠN VỊ
CHẤP NHẬN THẺ NƠI BẠN MUA HÀNG ĐỂ GIẢI QUYẾT BẤT KỲ CÂU HỎI HOẶC TRANH CHẤP NÀO
LIÊN QUAN ĐẾN CÁC THẺ ĐƯỢC HỖ TRỢ CỦA BẠN, CÁC KHOẢN CHUYỂN TIỀN CÁ NHÂN, VÀ
HÀNH VI THƯƠNG MẠI LIÊN QUAN.

————————————
CÁC THÔNG BÁO CỦA APPLE
Nếu Apple cần liên hệ với bạn về sản phẩm hoặc tài khoản của bạn, bạn chấp thuận nhận các thông
báo bằng thư điện tử. Bạn đồng ý rằng bất kỳ thông báo nào được gửi cho bạn qua thư điện tử sẽ thỏa
mãn các yêu cầu pháp luật về thông tin liên lạc.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 405 of 452



FRANÇAIS, CANADA

IMPORTANT : L’UTILISATION DE VOTRE iPHONE, iPAD OU IPOD TOUCH (« APPAREIL iOS »)
IMPLIQUE QUE VOUS ACCEPTEZ D’ÊTRE LIÉ PAR LES CONDITIONS SUIVANTES :

A.   CONTRAT DE LICENCE DU LOGICIEL APPLE iOS
B.   CONDITIONS SUPPLÉMENTAIRES POUR APPLE PAY
C.   NOTIFICATIONS DE LA PART D’APPLE

APPLE INC.
CONTRAT DE LICENCE DU LOGICIEL iOS
Licence individuelle

LISEZ ATTENTIVEMENT CE CONTRAT DE LICENCE DU LOGICIEL (« LICENCE ») AVANT
D’UTILISER VOTRE APPAREIL iOS OU DE TÉLÉCHARGER LA MISE À JOUR DU LOGICIEL
FOURNIE AVEC LA PRÉSENTE LICENCE. L’UTILISATION DE VOTRE APPAREIL iOS OU LE
TÉLÉCHARGEMENT D’UNE MISE À JOUR, LE CAS ÉCHÉANT, IMPLIQUE QUE VOUS ACCEPTEZ
LES CONDITIONS DE LA PRÉSENTE LICENCE. SI VOUS ÊTES EN DÉSACCORD AVEC LES
CONDITIONS DE CETTE LICENCE, N’UTILISEZ PAS L’APPAREIL iOS ET NE TÉLÉCHARGEZ PAS
LA MISE À JOUR.

SI VOUS AVEZ RÉCEMMENT ACHETÉ UN APPAREIL iOS ET QUE VOUS N’ÊTES PAS D’ACCORD
AVEC LES CONDITIONS DE LA LICENCE, VOUS POUVEZ RENVOYER L’APPAREIL iOS, DANS LES
DÉLAIS DE RETOUR PRÉVUS, AU MAGASIN OU AU DISTRIBUTEUR AGRÉÉ APPLE AUPRÈS
DUQUEL VOUS L’AVEZ ACHETÉ, AFIN D’EN OBTENIR LE REMBOURSEMENT SOUS RÉSERVE DE
LA POLITIQUE SUR LES RETOURS ET REMBOURSEMENTS DE APPLE, DISPONIBLES À
L’ADRESSE.https://www.apple.com/legal/sales-support/

1. Généralités.
(a) Apple Inc. (« Apple ») vous concède une licence, et en aucun cas ne vous cède des droits, sur le
logiciel (y compris le code ROM de démarrage, le logiciel intégré et tout logiciel tierce partie), la
documentation, les interfaces, le contenu, les polices de caractères et toutes les données
accompagnant votre appareil iOS (« Logiciel original iOS »), pouvant être mis à jour ou remplacés par
des mises à jour de logiciels ou des logiciels de restauration du système fournis par Apple (« Mises à
jour du Logiciel iOS »), qu’ils soient sur mémoire morte (ROM), sur tout autre support ou sous toute autre
forme (le Logiciel original iOS et les Mises à jour du Logiciel iOS sont référencés dans leur ensemble
sous le terme de « Logiciel iOS »), uniquement en vue d’une utilisation conforme aux conditions de la
Licence. Apple et ses concédants de licence conservent la propriété du Logiciel iOS et se réservent tous
les droits ne vous étant pas expressément accordés. Vous acceptez que les conditions de la présente
licence s’appliquent à toute app de marque Apple intégrée sur votre appareil iOS, sauf si une app est
accompagnée d’une licence séparée, auquel cas vous acceptez que cette dernière régisse votre
utilisation de l’app en question

(b) Apple pourrait rendre disponibles des mises à jour futures du logiciel iOS. Le cas échéant, ces mises
à jour peuvent ne pas nécessairement inclure l’ensemble des fonctions du logiciel existantes ou de
nouvelles fonctions publiées par Apple dans le cas des modèles d’iOS plus récents. Les conditions de
la présente licence régissent les mises à jour du logiciel iOS fournies par Apple, sauf si ces mises à jour
sont accompagnées d’une licence distincte; auquel cas vous acceptez que les conditions de cette
licence s’appliquent.

(c) Si vous utilisez la fonctionnalité de configuration rapide pour configurer un nouvel appareil iOS à
l’aide de votre appareil iOS existant, vous acceptez que les conditions stipulées dans la présente licence
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 406 of 452



régissent votre utilisation du logiciel iOS sur votre nouvel appareil iOS, à moins que celui-ci ne soit
accompagné d’une licence distincte, auquel cas vous acceptez que les conditions de cette licence
s’appliquent quant à votre usage dudit logiciel iOS. Votre appareil iOS recherchera périodiquement des
mises à jour du logiciel iOS auprès d’Apple. Toute mise à jour disponible pourra être automatiquement
téléchargée et installée sur votre appareil iOS et, le cas échéant, sur vos périphériques. En utilisant le
logiciel Apple, vous autorisez Apple à télécharger et à installer automatiquement des mises à jour
du logiciel iOS sur votre appareil iOS et vos périphériques. Vous pouvez à tout moment désactiver
totalement les mises à jour automatiques en modifiant les réglages de mise à jour automatique
disponibles dans Réglages > Général > Mise à jour logicielle.

2. Utilisations permises de la licence et restrictions.
(a) Sujet aux conditions générales de cette Licence, vous vous voyez accordé une licence de non-
exclusivité limitée pour utiliser le Logiciel iOS sur un seul appareil iOS de marque Apple. À l’exception de
ce qui est permis dans la section 2(b) ci-dessous, et à moins que cela ne soit prévu dans le cadre d’un
contrat distinct passé entre Apple et vous-même, cette Licence n’autorise ni le fonctionnement du
Logiciel iOS sur plus d’un appareil iOS de marque Apple à la fois, ni la distribution ou la mise à
disposition du Logiciel iOS sur un réseau où il pourrait être utilisé par plusieurs appareils. Cette licence
ne vous accorde aucun droit d’utilisation des interfaces propriétaires Apple ou d’autres propriétés
intellectuelles touchant à la conception, le développement, la fabrication, la concession de licence ou la
distribution d’appareils et d’accessoires, ou à des applications logicielles de tierce partie, utilisables
avec un appareil iOS. Certains de ces droits sont disponibles sous des licences distinctes de celles
d’Apple. Pour obtenir plus de renseignements sur le développement, d’appareils et d’accessoires de
tierce partie adaptés à un appareil iOS, visitez https://developer.apple.com/programs/mfi/. Pour en
savoir plus sur le développement d’applications logicielles adaptées à un appareil iOS, visitez https://
developer.apple.com.

(b) Sujet aux conditions générales de cette Licence, vous vous voyez accordé une licence de non-
exclusivité limitée pour télécharger les Mises à jour du Logiciel iOS qu’Apple peut mettre à disposition
pour le modèle de votre appareil iOS afin de mettre à jour ou de restaurer le logiciel de n’importe quel
appareil iOS en votre possession ou sous votre contrôle. La présente licence n’autorise pas la mise à
jour ou la restauration d’iOS n’étant pas sous votre contrôle ou que vous ne possédez pas, et vous
interdit la distribution et la mise à disposition des Mises à jour du Logiciel iOS sur un réseau où elles
pourraient être utilisées par plusieurs appareils ou ordinateurs. Si vous téléchargez une mise à jour du
logiciel iOS sur votre ordinateur, vous ne pouvez réaliser qu’une seule copie des Mises à jour du Logiciel
iOS, stockées sur votre ordinateur, sous une forme compréhensible par des machines et aux fins
exclusives de sauvegarde, à condition que cette copie de sauvegarde reproduise impérativement les
renseignements relatifs aux droits d’auteur ou autres droits de propriété figurant sur l’original.

(c) Dans la mesure où Apple a préinstallé des apps de marque Apple de l’App Store sur l’appareil iOS
que vous achetez (« App préinstallées »), vous devez vous connecter à l’App Store et associer lesdites
apps avec votre compte afin de les utiliser sur votre appareil iOS. Lorsque vous associez une app
préinstallée à votre compte de l’App Store, toutes les autres apps préinstallées de votre appareil iOS
sont automatiquement associées à ce compte. En choisissant d’associer les apps préinstallées à votre
compte de l’App Store, vous acceptez qu’Apple puisse transmettre, rassembler, conserver, traiter et
utiliser l’identifiant Apple correspondant à votre compte de l’App Store et un identifiant matériel unique
transmis par votre appareil iOS comme identifiants uniques de votre compte afin de vérifier l’éligibilité de
votre requête et de fournir l’accès aux apps préinstallées via l’App Store. Vous pouvez à tout moment
supprimer de votre appareil iOS les apps préinstallées que vous ne souhaitez pas utiliser.

(d) Vous ne pouvez pas et vous acceptez de ne pas, que ce soit pour votre compte ou le compte
d’autrui, copier (sauf et exclusivement dans les limites permises par la présente Licence), décompiler,
procéder à l’ingénierie inverse, désassembler, tenter de dériver le code source du, déchiﬀrer, modifier ou
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 407 of 452



créer des produits dérivés du, Logiciel iOS ou tout autre service proposé par le Logiciel iOS, ou de toute
partie de ceux-ci (dans toute la mesure permise par les restrictions précédemment mentionnées
applicables par disposition légale ou par les conditions générales régissant l’utilisation de composants
source libre pouvant être inclus dans le Logiciel iOS).

(e) Le Logiciel iOS peut être utilisé pour la reproduction de contenu pour autant que cette utilisation se
limite à la reproduction de contenu non protégé par des droits d’auteur, dont vous avez la propriété,
pouvant être reproduit ou pour la reproduction duquel vous disposez d’une autorisation légale. Le titre et
les droits de propriété intellectuelle associés aux contenus conservés sur ou accessibles via
l’appareil iOS sont la propriété de leur détenteur. Ces contenus peuvent être protégés par des droits
d’auteur ou d’autres lois et traités sur la propriété intellectuelle et peuvent être soumis à des conditions
d’utilisation énoncées par la tierce partie fournissant lesdits contenus. Sauf mention contraire dans la
présente Licence, celle-ci ne vous concède aucun droit d’utilisation de tels contenus et ne garantit pas
la disponibilité permanente de ceux-ci.

(f) Sous réserve des conditions de la présente Licence, vous êtes autorisé à utiliser les caractères
Animoji et Memoji inclus dans le Logiciel iOS ou créés avec ce dernier (ci-après, les « Caractères
système ») (i) lors de l’exécution du Logiciel iOS et (ii) pour créer vos propres projets et contenus
originaux à des fins personnelles et non commerciales. Aucun autre usage des Caractères système n’est
autorisé par la présente Licence, y compris, sans aucune limitation, l’utilisation, la reproduction,
l’aﬃchage, la représentation, l’enregistrement, la publication ou la redistribution d’un Caractère système
quel qu’il soit dans un contexte lucratif, non lucratif, commercial ou de partage public.

(g) Vous acceptez d’utiliser le Logiciel iOS et les Services (tel que défini dans la section 5 ci-dessous)
dans le respect de la réglementation applicable, y compris de toutes les lois locales du pays ou de la
région dans laquelle vous résidez ou dans laquelle vous téléchargez ou utilisez le Logiciel iOS et les
Services. Il se peut que les fonctionnalités du Logiciel iOS et des Services ne soient pas disponibles
dans toutes les langues ou toutes les régions. Certaines fonctionnalités peuvent varier selon les régions,
limitées ou indisponibles en fonction de votre fournisseur de services. Une connexion Wi-Fi ou de
données cellulaires est requise pour certaines fonctionnalités du Logiciel iOS et certains Services.

(h) L’utilisation de l’App Store requiert une combinaison unique d’un nom d’utilisateur et d’un mot de
passe, appelée identifiant Apple. Un identifiant Apple est également nécessaire pour avoir accès aux
mises à jour des apps et à certaines fonctionnalités du Logiciel iOS et des Services.

(i) Vous reconnaissez que de nombreuses fonctionnalités, des apps intégrées et de nombreux Services
du Logiciel iOS transmettent des données et peuvent entraîner des frais sur votre plan de données, frais
dont vous êtes responsable. Vous pouvez voir et contrôler quelles applications sont autorisées à utiliser
des données cellulaires et aﬃcher une estimation de la quantité de données que ces applications ont
consommées dans les Réglages Données cellulaires. De plus, l’option Assistance Wi-Fi peut activer
automatiquement les données cellulaires en cas de mauvaise connexion Wi-Fi, ce qui risque
d’augmenter votre consommation de données et d’avoir une incidence sur votre facture mensuelle.
L’option Assistance Wi-Fi est activée par défaut, mais il est possible de la désactiver dans les Réglages.
Pour plus d’informations, veuillez consulter le Guide d’utilisateur de votre appareil iOS.

(j) Si vous choisissez d’autoriser les mises à jour automatiques des apps, votre appareil iOS vérifiera
régulièrement auprès d’Apple si des mises à jour des apps installées sur votre appareil sont disponibles
pour, le cas échéant, les télécharger et les installer automatiquement. Vous pouvez désactiver les mises
à jour automatiques des apps à tout moment en allant dans Réglages, iTunes et App Store,
Téléchargements automatiques et en désactivant Mises à jour.

(k) L’utilisation de votre appareil iOS dans certaines circonstances peut causer une distraction et mener
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 408 of 452



à une situation dangereuse (évitez, par exemple, de texter au volant ou d’utiliser des écouteurs lorsque
vous êtes à vélo). De par l’utilisation de votre appareil iOS, vous acceptez d’être responsable du respect
des règles qui interdisent ou restreignent l’utilisation de téléphones portables ou d’écouteurs (par
exemple, l’obligation d’utiliser des options mains libres lorsque vous eﬀectuez des appels en
conduisant).

3. Transfert. Vous ne pouvez ni louer, ni louer en crédit bail, ni prêter, ni vendre, ni redistribuer, ni
concéder de sous-licences du Logiciel iOS. Vous pouvez toutefois eﬀectuer le transfert unique et
permanent de tous vos droits sur le Logiciel iOS à une autre partie dans le cadre du transfert de
propriété de votre appareil iOS, à condition : (a) que ce transfert comprenne votre appareil iOS et la
totalité du Logiciel iOS, y compris l’intégralité de ses composants, ainsi que cette Licence; (b) que vous
ne conserviez aucune copie du Logiciel iOS, complète ou partielle, y compris toute copie stockée sur
ordinateur ou toute autre unité de stockage; et (c) que la partie bénéficiaire recevant le Logiciel iOS
prenne connaissance et accepte les conditions générales de la présente Licence.

4. Accord relatif à l’utilisation des données. Lorsque vous utilisez votre appareil, votre numéro de
téléphone et certains identifiants uniques à votre appareil iOS sont envoyés à Apple afin de permettre à
d’autres personnes de vous joindre par votre numéro de téléphone lors de l’utilisation de diverses
fonctionnalités de communication du Logiciel iOS, telles qu’iMessage et Facetime. Lorsque vous utilisez
iMessage, Apple peut conserver vos messages sous forme encodée pendant une période limitée dans le
but d’assurer leur livraison. Vous pouvez désactiver Facetime ou iMessage en vous rendant dans les
réglages FaceTime ou Messages de votre appareil iOS. Certaines fonctionnalités comme Analyse,
Services de localisation, Siri et Dictée peuvent nécessiter des informations de la part de votre appareil
iOS afin d’exécuter leurs fonctions respectives. Lorsque vous activez ou utilisez ces fonctionnalités, des
détails seront fournis au sujet des informations envoyées à Apple et de la façon dont elles peuvent être
utilisées. Vous pouvez en savoir plus en visitant https://www.apple.com/ca/fr/privacy/. En tout temps,
vos informations sont traitées conformément à l’Engagement de confidentialité d’Apple disponible à
l’adresse : https://www.apple.com/legal/privacy/.

5. Services et Éléments de tierce partie.
(a) Le Logiciel iOS peut activer l’accès à l’iTunes Store, à l’App Store, à l’iBooks Store, au Game Center,
à iCloud, à Plans et à d’autres services et sites web proposés par Apple et par des tiers (lesquels
services et sites sont dénommés sous l’appellation collective ou individuelle de « Services »). Il se peut
que ces Services ne soient pas disponibles dans toutes les langues, ni dans tous les pays. L’utilisation
de ces Services requiert un accès à Internet et certains Services nécessitent un identifiant Apple,
l’acceptation de conditions de service complémentaires et peuvent être soumis à des frais
supplémentaires. Par l’utilisation de ce logiciel en lien avec un identifiant Apple ou avec d’autres services
Apple, vous acceptez les conditions de service applicables pour ce service telles que les toutes
dernières conditions des Services multimédia d’Apple applicables au pays depuis lequel vous accédez
auxdits services, disponibles à l’adresse https://www.apple.com/legal/internet-services/itunes/.

(b) Si vous vous inscrivez à iCloud, vous pouvez accéder directement à certaines fonctionnalités
d’iCloud telles que « Photos iCloud », « Mon flux de photos », « Albums partagés», « Sauvegarde » et
« Localiser mon iPhone » à partir du Logiciel iOS. Vous reconnaissez et acceptez que l’utilisation
d’iCloud et de ces fonctionnalités sont soumises aux toutes dernières conditions de service d’iCloud,
disponibles à l’adresse : https://www.apple.com/legal/internet-services/icloud/.

(c) Contenu de l’app News. L’utilisation que vous faites du contenu auquel vous avez accès au moyen
de l’application News se limite à une utilisation exclusivement personnelle et non commerciale,
n’implique aucun transfert de propriété envers vous et exclut expressément et sans limitation tout droit
d’utilisation promotionnelle ou commerciale dudit contenu. De plus, il vous est interdit de republier,
retransmettre et reproduire les images auxquelles vous avez accès au moyen de l’application News sous
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 409 of 452



forme de fichiers autonomes.

(d) Plans. Le service et les fonctionnalités de cartographie du Logiciel iOS (« Plans »), y compris le
réseau de données lié à ceux-ci, peuvent varier selon les régions. Lorsque vous utilisez des
fonctionnalités de Plans reposant sur la géolocalisation, telles que la navigation, les recherches relatives
au trafic et aux établissements, diﬀérentes informations relatives à votre localisation et à votre utilisation
du service peuvent être transmises à Apple, y compris la localisation géographique en temps réel de
votre appareil iOS, afin de répondre à votre requête et de participer à l’amélioration de Plans. Lesdites
données de localisation et d’utilisation sont collectées par Apple sous une forme ne permettant pas de
vous identifier. En utilisant Plans, vous reconnaissez et acceptez qu’Apple, ses filiales et ses
agents transmettent, collectent, conservent, traitent et utilisent ces informations afin de fournir et
d’améliorer les fonctionnalités et le service de Plans et d’autres produits et services Apple. Apple
peut aussi fournir lesdites informations, sous une forme soit aggrégée ou non personnellement
identifiable, à ses partenaires et titulaires de licence pour contribuer à améliorer leurs produits et
services liés à la localisation et à la circulation routière.Vous pouvez désactiver les fonctionnalités de
Plans reposant sur la localisation en modifiant le réglage en question sur votre appareil iOS et en
désactivant le réglage de localisation dans Plans. Certaines fonctionnalités de Plans, telles que la
navigation, ne sont pas disponibles si les services de localisation sont désactivés.

(e Vous acceptez qu’en utilisant ces Services vous pouvez rencontrer du contenu à caractère considéré
injurieux, indécent ou choquant, n’étant pas nécessairement identifié comme tel et que les résultats de
toute recherche ou toute saisie d’adresse URL peuvent automatiquement et involontairement créer des
liens ou des références vers du contenu choquant. Vous acceptez toutefois d’utiliser les Services à vos
propres risques et dégagez Apple, ses aﬃliés et ses concédants de licence de toute responsabilité
envers vous quant au contenu pouvant être considéré comme injurieux, indécent ou choquant.

(f) Certains Services peuvent aﬃcher, contenir ou mettre à disposition du contenu, des données, des
informations, des applications ou des documents de tierce partie, (« Éléments de tierce partie ») ou
fournir des liens vers des sites web de tierce partie. Par l’utilisation des Services, vous reconnaissez et
acceptez qu’Apple ne peut être responsable quant à l’examen ou l’évaluation du contenu, de son
exactitude, de son intégrité, de son actualité, de sa validité, du respect des droits d’auteur, de sa
légalité, de sa décence, de sa qualité ou de tout autre aspect de ces éléments ou sites web de tierce
partie. Apple, ses dirigeants, ses aﬃliés et ses filiales ne peuvent ni garantir, ni assumer la responsabilité
ou l’engagement, envers vous ou toute autre personne, pour tout Service, Élément ou site web de tierce
partie, ou tout autre élément, produit ou service externe à ces tiers. Les Éléments de tierce partie et les
liens vers d’autres sites web ne vous sont fournis qu’à des fins de commodité.

(g) Ni Apple, ni ses fournisseurs de contenu ne garantissent la disponibilité, l’exactitude, l’intégrité, la
fiabilité ou le degré d’actualité des informations boursières, des données de localisation ou de toute
autre donnée aﬃchée par les Services. Les renseignements financiers aﬃchés par les Services sont
donnés à titre informatif seulement et ne devraient pas être conçus pour avoir valeur de conseils en
placement. Avant de réaliser toute opération boursière basée sur les renseignements obtenus par le
biais des Services, il vous est recommandé de consulter un spécialiste financier ou boursier qualifié
juridiquement pour donner des conseils financiers ou boursiers dans votre pays ou région. Les données
de localisation sont fournies par les Services, y compris par le service Plans d’Apple, à des fins de
navigation et de planification uniquement et ne sauraient être utilisées dans des situations dans
lesquelles des données d’emplacement précises sont requises ni dans lesquelles des données
d’emplacement erronées, imprécises, diﬀérées dans le temps ou incomplètes risqueraient d’entraîner la
mort, des blessures ou des dégâts matériels ou écologiques. Vous acceptez que les résultats oﬀerts par
le service Plans peuvent ne pas correspondre aux routes ou aux conditions du terrain actuelles à cause
de facteurs pouvant aﬀecter l’exactitude des données de Plans, notamment, mais sans s’y limiter, le
temps, les conditions routières et de trafic et les événements géopolitiques. Pour votre sécurité, lors de
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 410 of 452



l’utilisation de la navigation, soyez toujours attentif à la signalisation routière et aux conditions de la
route. Suivez les pratiques garantissant une conduite sûre ainsi que le code de la route et gardez en tête
que les itinéraires à pied peuvent ne pas tenir compte des trottoirs et des voies piétonnes.

(h) Dans la mesure où vous téléchargez du contenu via l’utilisation des Services, vous déclarez posséder
les droits sur ledit contenu ou l’autorisation ou la permission juridique de télécharger ledit contenu et que
celui-ci n’enfreint aucune condition générale régissant les Services. Vous reconnaissez que les Services
reprennent du contenu, des informations et des éléments protégés appartenant à Apple, au propriétaire
du site ou leurs concédants, et protégés par les lois relatives à la propriété intellectuelle et lois connexes,
notamment, mais sans s’y limiter, les droits d’auteur. Vous acceptez d’utiliser ce contenu, ces
informations ou ces éléments propriétaire que dans le cadre de l’utilisation autorisée des Services et non
dans le cadre de pratiques allant à l’encontre des conditions générales de cette Licence ou enfreignant
tout droit de propriété intellectuelle d’une tierce partie ou d’Apple. Aucune partie des Services ne peut
être reproduite sous quelque forme ou par quelque moyen que ce soit. Vous vous engagez à ne pas
modifier, louer, louer à bail, prêter, vendre, distribuer ou créer de produit dérivé des Services, de quelque
façon que ce soit, et à ne pas exploiter les Services de façon non autorisée, notamment, mais sans s’y
limiter, en utilisant les Services pour transmettre n’importe quel virus, ver, cheval de Troie ou tout autre
logiciel malveillant ou en entraînant une surcharge des capacités réseau. Vous acceptez également de
ne pas utiliser les Services de quelque façon que ce soit pour harceler, insulter, abuser, traquer, menacer,
diﬀamer ou encore enfreindre ou violer les droits de toute autre partie, et qu’Apple n’est en aucun cas
responsable de tels agissements de votre part, ni de toute transmission ou message de harcèlement, de
menace, d’action diﬀamatoire, oﬀensant, non-respectueux ou illégal dont vous pouvez faire l’objet après
l’usage de n’importe lequel desdits Services.

(i) De plus, les Services et les Éléments de tierce partie, accessibles depuis, aﬃchés sur ou faisant l’objet
de liens accessibles depuis l’appareil iOS, ne sont pas proposés dans toutes les langues ou dans tous
les pays ou zones géographiques. Apple n’apporte aucune garantie que lesdits Services et Éléments de
tierce partie sont adéquats à, et disponibles dans, n’importe quelle localisation géographique. Dans la
mesure où vous choisissez d’utiliser ou d’accéder à ces Services et Éléments de tierce partie, vous
agissez de votre propre chef et êtes de fait responsable du respect de la réglementation applicable,
notamment, mais sans s’y limiter, des dispositions légales applicables localement ainsi que des
réglementations relatives à la collecte de données et à la confidentialité. Le partage ou la
synchronisation de photos via votre appareil iOS peut entraîner la transmission de métadonnées avec les
photos, y compris l’endroit et le moment où la photo a été prise ainsi que des informations de
profondeur. L’utilisation des Services Apple (tels que la photothèque iCloud) pour partager ou
synchroniser ces photos implique qu’Apple reçoive et stocke ces métadonnées. Apple et ses
concédants de licence se réservent le droit de modifier, suspendre, supprimer ou désactiver l’accès aux
Services à tout moment et sans préavis. Apple et ses concédants de licence se réservent le droit de
modifier, suspendre, supprimer ou désactiver l’accès aux Services à tout moment et sans préavis. Apple
n’est en aucun cas responsable de la suppression ou de la désactivation de l’accès à ces Services.
Apple peut également limiter l’utilisation ou l’accès à certains Services, de quelque façon que ce soit et
sans donner de préavis ni en assumer la responsabilité.

6. Résiliation. La présente Licence demeure valide jusqu’à résiliation. Vos droits découlant de la Licence
prendront automatiquement fin ou cesseront d’être eﬀectifs sans notification de la part d’Apple si vous
ne vous conformez pas à l’une des conditions de la présente Licence. Après résiliation de cette Licence,
vous devez cesser toute utilisation du Logiciel iOS. Les sections 4, 5, 6, 7, 8, 9, 12 et 13 de cette
Licence restent applicables après la résiliation.

7. Exclusion de garanties.
7.1. Si vous êtes un client à titre privé (vous utilisez le Logiciel iOS en dehors de votre entreprise,
commerce ou profession), il se peut que vous disposiez dans votre pays de résidence de droits en vertu
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 411 of 452



desquels les limitations ci-après ne s’appliqueraient pas, si tel est le cas, elles ne s’appliquent pas pour
vous. Pour en savoir plus sur vos droits, prenez contact avec un organisme local de conseil aux
consommateurs.

7.2. VOUS RECONNAISSEZ ET ACCEPTEZ EXPRESSÉMENT QUE, DANS LES LIMITES
AUTORISÉES PAR LA LÉGISLATION EN VIGUEUR, L’UTILISATION DU LOGICIEL iOS ET DES
SERVICES EXÉCUTÉS OU ACCESSIBLES VIA LE LOGICIEL iOS RESTE À VOS RISQUES ET PÉRILS ET
QUE VOUS ASSUMEZ L’INTÉGRALITÉ DU RISQUE, DE MANIÈRE RAISONNABLE, RELATIF À LA
QUALITÉ, AUX PERFORMANCES, À L’EXACTITUDE ET AU MANIEMENT DU LOGICIEL.

7.3 DANS LES LIMITES MAXIMALES AUTORISÉES PAR LA LÉGISLATION EN VIGUEUR, LE
LOGICIEL iOS AINSI QUE LES SERVICES SONT FOURNIS « TELS QUELS » ET « SELON
DISPONIBILITÉ » AVEC TOUS LEURS DÉFAUTS ET SANS GARANTIE D’AUCUNE SORTE. APPLE ET
SES CONCÉDANTS DE LICENCE (COLLECTIVEMENT DÉSIGNÉS PAR L’EXPRESSION « APPLE »
DANS LE CADRE DES ARTICLES 7 ET 8 DE LA PRÉSENTE LICENCE) EXCLUENT PAR LA PRÉSENTE
LICENCE TOUTE GARANTIE ET CONDITION RELATIVE AU LOGICIEL iOS ET AUX SERVICES,
EXPLICITE, TACITE OU LÉGALE, Y COMPRIS, MAIS DE FAÇON NON LIMITATIVE, LES GARANTIES
IMPLICITES OU LES CONDITIONS DE QUALITÉ MARCHANDE, DE QUALITÉ SATISFAISANTE,
D’ADÉQUATION À UN USAGE PARTICULIER, D’EXACTITUDE, DE JOUISSANCE PAISIBLE ET DE NON-
VIOLATION DES DROITS DES TIERS.

7.4 APPLE NE GARANTIT NULLEMENT L’ABSENCE DE PROBLÈMES LORS DE L’UTILISATION DU
LOGICIEL iOS ET DES SERVICES, L’ADÉQUATION À VOS BESOINS DES FONCTIONS OU DES
SERVICES CONTENUS DANS OU FOURNIS PAR LEDIT LOGICIEL, LA NON-INTERRUPTION OU
L’ABSENCE D’ERREURS DANS LE FONCTIONNEMENT DUDIT LOGICIEL ET DESDITS SERVICES, LA
MISE À DISPOSITION CONTINUE DES SERVICES, LA CORRECTION DE TOUT DÉFAUT DU LOGICIEL
iOS OU DES SERVICES, LA COMPATIBILITÉ DU LOGICIEL iOS, OU SON BON FONCTIONNEMENT
AVEC UN LOGICIEL, UNE APPLICATION OU UN SERVICE DE TIERCE PARTIE. L’INSTALLATION DE CE
LOGICIEL iOS PEUT AFFECTER LA DISPONIBILITÉ ET L’UTILISATION DE LOGICIELS,
D’APPLICATIONS OU DE SERVICES DE TIERCE PARTIE ET D’AUTRES PRODUITS OU SERVICES
APPLE.

7.5 DE PLUS, VOUS RECONNAISSEZ QUE LE LOGICIEL iOS ET SES SERVICES NE SONT PAS
DESTINÉS OU ADAPTÉS À UN USAGE DANS DES SITUATIONS OU DANS DES ENVIRONNEMENTS
OÙ UNE DÉFAILLANCE, DES RETARDS, DES ERREURS OU DES INEXACTITUDES DANS LE
CONTENU DES DONNÉES OU DES INFORMATIONS FOURNIES, LE LOGICIEL iOS OU SES SERVICES
POURRAIT PROVOQUER LA MORT, DES BLESSURES OU DE GRAVES DOMMAGES CORPORELS OU
ÉCOLOGIQUES, NOTAMMENT, MAIS SANS S’Y LIMITER, LE FONCTIONNEMENT D’INSTALLATIONS
NUCLÉAIRES, DE SYSTÈMES DE NAVIGATION OU DE COMMUNICATION AÉRIENNES, DE SYSTÈMES
DE CONTRÔLE DU TRAFIC AÉRIEN, D’APPAREILS DE MAINTIEN ARTIFICIEL EN VIE OU DE
DISPOSITIFS D’ARMEMENT.

7.6 AUCUNE INFORMATION OU AUCUN CONSEIL COMMUNIQUÉ VERBALEMENT OU PAR ÉCRIT
PAR APPLE OU L’UN DE SES REPRÉSENTANTS AUTORISÉS NE POURRA CONSTITUER UNE
GARANTIE. SI LE LOGICIEL iOS OU LES SERVICES S’AVÉRAIENT DÉFECTUEUX, VOUS ASSUMERIEZ
SEUL L’INTÉGRALITÉ DU COÛT DE TOUT DÉPANNAGE, TOUTE RÉPARATION OU RECTIFICATION
NÉCESSAIRE. CERTAINES LÉGISLATIONS NE PERMETTANT NI L’EXCLUSION DE GARANTIES
IMPLICITES, NI LES RESTRICTIONS AUX DROITS DES CONSOMMATEURS EN VIGUEUR, IL EST
POSSIBLE QUE L’EXCLUSION ET LES LIMITES MENTIONNÉES CI-DESSUS NE VOUS CONCERNENT
PAS.

8. Limitation de responsabilité. DANS TOUTE LA MESURE PERMISE PAR LA LOI EN APPLICATION,
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 412 of 452



APPLE, SES AFFILIÉS OU SES AGENTS NE SERONT EN AUCUN CAS RESPONSABLE NI DE
BLESSURES, NI DE TOUT DOMMAGE ACCIDENTEL, SPÉCIAL, INDIRECT OU CONSÉCUTIF, Y
COMPRIS, MAIS DE FAÇON NON LIMITATIVE, LES DOMMAGES RÉSULTANTS DE MANQUES À
GAGNER, DE CORRUPTION OU DE PERTES DE DONNÉES, D’ÉCHEC DE TRANSMISSION OU DE
RÉCEPTION DE DONNÉES (Y COMPRIS, MAIS SANS S’Y LIMITER, LE MATÉRIEL, LES
INSTRUCTIONS ET LES TRAVAUX DE COURS), D’INTERRUPTION DES ACTIVITÉS OU TOUT AUTRE
DOMMAGE COMMERCIAL OU PERTE COMMERCIALE RÉSULTANT DE OU RELATIFS À VOTRE
UTILISATION OU VOTRE INAPTITUDE À UTILISER LE LOGICIEL iOS ET LES SERVICES OU TOUT
AUTRE LOGICIEL OU APPLICATION DE TIERCE PARTIE UTILISÉ AVEC LE LOGICIEL iOS OU LES
SERVICES, QUELLE QU’EN SOIT LA CAUSE, SANS TENIR COMPTE DE LA THÉORIE DE LA
RESPONSABILITÉ (QUE CE SOIT POUR RUPTURE DE CONTRAT, EN RESPONSABILITÉ CIVILE OU
AUTRE) ET CE, MÊME SI APPLE A ÉTÉ INFORMÉ DE LA POSSIBILITÉ DE TELS DOMMAGES.
CERTAINES JURIDICTIONS NE PERMETTANT PAS LA LIMITATION OU L’EXCLUSION DE LA
RESPONSABILITÉ POUR DOMMAGES CORPORELS, INDIRECTS OU ACCESSOIRES, IL EST
POSSIBLE QUE CETTE LIMITATION NE VOUS CONCERNE PAS. La responsabilité totale d’Apple envers
vous au titre de tout dommage (en dehors de ce que la législation pourrait exiger dans les cas impliquant
une blessure) n’excédera en aucun cas la somme de deux cent cinquante dollars (250 $). Les limitations
susdites s’appliqueront même si le recours indiqué ci-dessus fait défaut à sa vocation essentielle.

9. Certificats numériques. Le Logiciel iOS inclut des fonctionnalités permettant d’accepter des
certificats numériques émis soit par Apple, soit par des tiers. VOUS ÊTES PAR CONSÉQUENT
RESPONSABLE DÈS LORS QUE VOUS DÉCIDEZ DE FAIRE CONFIANCE À UN CERTIFICAT, QU’IL
PROVIENNE D’APPLE OU D’UN TIERS. L’UTILISATION DE CERTIFICATS NUMÉRIQUES RESTE À VOS
RISQUES ET PÉRILS. DANS TOUTE LA MESURE PERMISE PAR LA LOI EN APPLICATION, APPLE NE
DONNE AUCUNE GARANTIE OU REPRÉSENTATION, EXPRESSE OU IMPLICITE, QUANT À LA
QUALITÉ MARCHANDE OU L’ADÉQUATION À UN USAGE PARTICULIER, LA PRÉCISION, LA
SÉCURITÉ OU LA NON-VIOLATION DES DROITS DE TIERS CONCERNANT LES CERTIFICATS
NUMÉRIQUES.

10. Contrôle des exportations. Vous ne pouvez utiliser, exporter ou réexporter le Logiciel iOS que
conformément à la législation des États-Unis et à la législation du pays ou des pays dans lesquels vous
avez acquis le Logiciel iOS. En particulier, mais sans limitation, le Logiciel iOS ne peut être exporté ou
réexporté (a) vers tout pays soumis à embargo par les États-Unis ou (b) à toute personne figurant sur la
liste « Specially Designated Nationals » du Ministère des Finances des États-Unis ou sur les listes
« Denied Persons », « Denied Entity » ou toute autre liste de personnes assujetties à des restrictions du
Ministère du Commerce des États-Unis. En utilisant le Logiciel iOS, vous déclarez et garantissez que
vous n’êtes pas situé dans un pays appartenant aux cas mentionnés ci-dessus ou inscrit sur une des
listes précitées. Vous acceptez également de ne pas utiliser le Logiciel iOS à des fins interdites par la
législation des États-Unis, y compris, mais sans aucune limitation, le développement, la conception, la
fabrication ou la production d’éléments nucléaires, de missiles ou d’armes chimiques ou biologiques.

11. Utilisateurs du gouvernement des États-Unis. Le Logiciel iOS et la documentation qui s’y rapporte
constituent des « Commercial Items » (éléments commerciaux), tel que ce terme est défini dans la clause
48 C.F.R.(Code of Federal Rules) §2.101, consistant en « Commercial Computer Software » (logiciel
commercial) et « Commercial Computer Software Documentation » (documentation de logiciel
commercial), tels que ces termes sont utilisés dans les clauses 48 C.F.R. §12.212 ou 48 C.F.R.
§227.7202. Conformément à la clause 48 C.F.R. §12.212 ou 48 C.F.R. de §227.7202-1 à 227.7202-4, les
éléments « Commercial Computer Software » et « Commercial Computer Software Documentation »
sont fournis sous licence aux utilisateurs finaux rattachés au gouvernement des États-Unis (a)
uniquement comme « Commercial Items » et (b) uniquement accompagnés des droits octroyés à tous
les autres utilisateurs finaux conformément aux conditions générales ci-inclus. Les droits non publiés
sont réservés en vertu de la législation des droits d’auteur en vigueur aux États-Unis.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 413 of 452




12. Loi applicable et divisibilité du contrat. Cette licence est régie et interprétée en conformité avec la
législation de l’État de Californie, mis à part les conflits en matière de principes légaux. Cette licence
n’est pas régie par la convention des Nations Unies sur les contrats de vente internationale de biens,
dont l’application est expressément exclue. Si vous êtes un client basé dans au Royaume-Uni, la
présente Licence est régie par la législation de votre juridiction. Si pour une raison quelconque un
tribunal ayant juridiction juge qu’une stipulation de la Licence est inapplicable, en totalité ou en partie,
les autres stipulations de la Licence restent entièrement applicables.

13. Intégralité de l’accord; Langue prévalente. Cette Licence constitue l’intégralité de l’accord entre
vous et Apple concernant le Logiciel iOS et remplace toutes les propositions ou tous les accords
antérieurs ou actuels à ce sujet. Aucun amendement ou aucune modification de cette Licence ne
prendra eﬀet à moins d’être stipulé par écrit et signé par Apple. Toute traduction de la présente licence
est eﬀectuée pour les besoins locaux. En cas de contradiction entre la version anglaise et toute autre
version, la version anglaise prévaut dans les limites non prohibées par les lois locales de votre juridiction.

14. Bénéficiaire de tierce partie. Certaines parties du Logiciel iOS peuvent utiliser ou comporter des
logiciels de tierces parties et d’autres contenus protégés par des droits d’auteurs. Les remerciements,
les conditions des licences et les exclusions de garanties desdits éléments figurent dans la
documentation électronique du Logiciel iOS, et l’utilisation de ces données est dictée par leurs
conditions respectives. L’utilisation du service de navigation sécurisée de Google est sujet aux
Conditions d’utilisation (https://www.google.com/intl/fr-ca/policies/terms/) et aux Règles de
confidentialité de Google (https://www.google.com/intl/fr-ca/policies/privacy/).

15. Utilisation de MPEG-4; H.264/Notice AVC.
(a) La licence du Logiciel iOS est concédée d’après les termes de la licence du portefeuille de brevets de
MPEG-4 Systems pour l’encodage. Une licence additionnelle et le paiement d’une redevance sont
toutefois nécessaires pour l’encodage (i) de données stockées ou dupliquées sur un support physique
payé titre par titre ou (ii) de données payées titre par titre et transmises à un utilisateur final pour un
stockage ou une utilisation permanent(e)s. De telles licences additionnelles peuvent être obtenues
auprès de MPEG LA, LLC. Voir http://www.mpegla.com pour plus de détails.

(b) Le Logiciel iOS prévoit des fonctionnalités d’encodage ou de décodage MPEG-4. La Licence de ce
produit vous est par conséquent concédée d’après les conditions de la licence du portefeuille de brevets
de MPEG-4 Visual dans le cadre d’une utilisation privée à but non commercial par un consommateur
pour (i) l’encodage de vidéo en conformité avec la norme MPEG-4 Visual (« Vidéo au format MPEG-4 »)
ou (ii) le décodage de vidéo MPEG-4 encodée par un consommateur engagé dans une activité privée à
but non commercial ou obtenue d’un fournisseur vidéo sous licence de MPEG LA pour distribuer de la
vidéo au format MPEG-4. Aucune licence ne saurait être accordée ou être considérée comme implicite
pour toute autre utilisation. Des informations complémentaires sur l’utilisation à des fins promotionnelles,
interne ou commerciale sont disponibles auprès de MPEG LA, LLC. Voir http://www.mpegla.com.

(c) Dans la mesure où le Logiciel iOS inclut la fonctionnalité de décodage et/ou d’encodage AVC, l’usage
commercial de H.264/AVC requiert une concession de licence complémentaire et la disposition suivante
s’applique : LA PRÉSENTE LICENCE POUR LA FONCTIONNALITÉ AVC DU LOGICIEL iOS N’EST
ACCORDÉE QUE DANS LE CADRE D’UN USAGE PERSONNEL ET NON COMMERCIAL D’UN
CONSOMMATEUR POUR (i) ENCODER DE LA VIDÉO SELON LA NORME AVC (« AVC VIDÉO ») OU (ii)
DÉCODER DE LA VIDÉO AVC ENCODÉE PAR UN CONSOMMATEUR DANS LE CADRE D’UNE
ACTIVITÉ PERSONNELLE ET NON COMMERCIALE OU DE LA VIDÉO AVC PROVENANT D’UN
FOURNISSEUR VIDÉO AUTORISÉ À PROPOSER DE LA VIDÉO AVC. LES INFORMATIONS RELATIVES
AUX AUTRES USAGES ET LICENCES SONT DISPONIBLES AUPRÈS DE MPEG LA L.L.C. VOIR http://
www.mpegla.com.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 414 of 452




16. Restrictions du service Yahoo Search. Le service Yahoo Search disponible via Safari n’est octroyé
en licence d’utilisation que dans les pays et régions suivants : Allemagne, Argentine, Aruba, Australie,
Autriche, Bahamas, Barbade, Belgique, Bermudes, Brésil, Bulgarie, Canada, Chili, Chine continentale,
Hong Kong, Taïwan, Colombie, Corée du Sud, Chypre, Danemark, Espagne, Équateur, États-Unis,
Finlande, France, Grèce, Grenade, Guatemala, Hongrie, Îles Caïmans, Islande, Inde, Indonésie, Irlande,
Italie, Jamaïque, Japon, Lettonie, Lituanie, Luxembourg, Malaisie, Malte, Mexique, Nouvelle-Zélande,
Nicaragua, Norvège, Panama, Pays-Bas, Pérou, Philippines, Pologne, Portugal, Porto Rico, République
Dominicaine, République Tchèque, Roumanie, Royaume-Uni, Sainte-Lucie, Saint-Vincent, Salvador,
Singapour, Slovaquie, Slovénie, Suède, Suisse, Thaïlande, Trinité-et-Tobago, Turquie, Uruguay et
Venezuela.

17. Avis sur Microsoft Exchange. Le paramètre de messagerie Microsoft Exchange tiré du Logiciel iOS
vous est uniquement concédé sous licence pour bénéficier de la synchronisation sans fil de données,
telles que vos courriers électroniques, vos contacts, votre calendrier et vos tâches, entre votre iOS et
Microsoft Exchange Server ou un autre serveur concédé sous licence par Microsoft pour mettre en
application le protocole Microsoft Exchange ActiveSync.

EA1566
2019-02-21

————————————
Conditions générales supplémentaires relatives à Apple Pay

Les présentes conditions générales supplémentaires relatives à Apple Pay (« Conditions générales
supplémentaires ») complètent la licence d’utilisation du Logiciel iOS d’Apple (« Licence »). Les
dispositions de la Licence et des présentes conditions générales supplémentaires régissent votre
utilisation de la fonctionnalité Apple Pay qui doit être considérée de façon implicite comme un
« Service » en vertu de la Licence. Les modalités en majuscules utilisées dans les présentes Conditions
générales supplémentaires possèdent la définition indiquée dans la Licence.

1. Vue d’ensemble et restrictions d’utilisation

Apple Pay vous permet :

        •    de conserver des représentations virtuelles de cartes de crédit et de débit ainsi que de
             cartes prépayées et Apple Pay Cash, y compris le crédit de magasin et les cartes de débit et
             prépayées, prises en charge par la fonctionnalité Apple Pay (« Cartes de paiement
             compatibles ») et d’utiliser les appareils iOS pris en charge pour réaliser des paiements sans
             contact dans certains points de vente ou au sein d’applications ou sites Web;
        •    d’utiliser des cartes cadeaux ou de récompenses qui sont sauvegardées dans Wallet
             (« Cartes compatibles avec Apple Pay », et avec les Cartes de paiement compatibles,
             « Cartes compatibles »), pour réaliser des transactions sans contact avec des cartes
             cadeaux et de récompenses dans certains commerces dans le cadre d’un paiement sans
             contact en utilisant Apple Pay; et
        •    d’envoyer des paiements de personne à personne à d’autres utilisateurs d’Apple Pay.

Il est possible que la fonctionnalité Apple Pay du Logiciel iOS d’Apple soit disponible uniquement dans
certaines régions, auprès de certains émetteurs de carte, certaines institutions financières et certains
commerces. Les fonctionnalités peuvent varier selon les régions, les émetteurs de carte et les
commerces.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 415 of 452



Afin d’utiliser Apple Pay, vous devez posséder une Carte compatible. Les Cartes compatibles peuvent
parfois varier. En outre, une carte Apple Pay Cash est nécessaire pour envoyer et recevoir des
paiements de personne à personne.

Les cartes de paiement compatibles et les paiements de personne à personne sont associés à
l’identifiant Apple avec lequel vous êtes connecté à iCloud pour utiliser ces fonctionnalités. Les Cartes
compatibles ne sont disponibles qu’auprès des personnes âgées d’au moins 13 ans, et leur utilisation
peut être limitée par des restrictions supplémentaires relatives à l’âge imposées par iCloud ou par la
Carte compatible que vous souhaitez approvisionner. La carte Apple Pay Cash et la fonction d’envoi et
de réception de paiements de personne à personne ne sont disponibles qu’auprès des utilisateurs âgés
d’au moins 18 ans.

La fonctionnalité Apple Pay est prévue pour un usage personnel et vous ne pouvez provisionner que vos
propres Cartes compatibles. Si vous provisionnez une carte d’entreprise compatible, vous déclarez le
faire avec l’autorisation de votre employeur et avoir la permission de lier ce dernier par les conditions
d’utilisation et les transactions réalisées en utilisant cette fonctionnalité. À chaque fois que vous envoyez
ou recevez un paiement de personne à personne, vous aﬃrmez le faire à des fins personnelles et non
commerciales.

Vous acceptez de ne pas utiliser Apple Pay à des fins illégales ou frauduleuses ou à toute autre fin
interdite par la Licence et par ces Conditions générales supplémentaires. Vous acceptez également
d’utiliser Apple Pay conformément aux lois et réglementations applicables. Vous acceptez de ne pas
interférer avec ou interrompre le fonctionnement du service Apple Pay (y compris de ne pas accéder au
service par un moyen automatisé quelconque) ou de tout serveur ou réseau connecté audit service, ou
de toute politique, exigence ou réglementation de réseaux connectés audit service (y compris tout accès
non autorisé, utilisation ou contrôle des données ou du trafic sur ceux-ci).

2. Relation avec Apple

Apple Pay vous permet de créer une représentation virtuelle de vos Cartes compatibles sur votre
appareil iOS pris en charge. Toutefois, Apple ne traite ni les paiements ni les transactions hors paiement
(comme l’accumulation et l’utilisation de points de fidélité). Apple ne reçoit, ne retient ou ne transfère pas
vos fonds, et ne possède aucun contrôle sur les paiements, les retours, les remboursements, les
récompenses, les valeurs, les rabais, ou toute activité commerciale pouvant être liée à votre utilisation
de cette fonctionnalité.

Les éventuelles conditions relatives à l’utilisation de carte établies par l’émetteur de la carte régissent
l’utilisation de vos Cartes compatibles et leur utilisation au moyen de la fonctionnalité Apple Pay. De
même, votre participation à tout programme de récompenses ou de carte cadeau d’un commerçant et
votre utilisation des Cartes compatibles avec Apple Pay en lien avec Apple Pay seront assujetties aux
conditions d’utilisation du commerçant.

La carte Apple Pay Cash et la fonction d’envoi et de réception de paiements de personne à personne ne
sont disponibles qu’aux États-Unis et constituent des services fournis par Green Dot Bank, membre de
la FDIC. Lorsque vous activez ces fonctionnalités dans Apple Pay, vous ouvrez un compte auprès de
Green Dot Bank, et lorsque vous envoyez ou recevez un paiement de personne à personne, ou créditez
ou débitez votre carte Apple Pay Cash, Green Dot Bank est responsable de la réception et de l’envoi des
fonds vers le bénéficiaire souhaité. L’institution financière chargée d’oﬀrir Apple Pay Cash et les
paiements de personne à personne au moyen d’Apple Pay est susceptible de changer, et l’utilisation
que vous faites de ces fonctionnalités est soumise à ses modalités.

Les dispositions de la Licence ou des présentes Conditions générales supplémentaires ne modifient en
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 416 of 452



rien les possibles accords marchands, de détenteur de carte ou d’utilisation. Les modalités de tels
accords régiront votre utilisation de la carte compatible applicable ou de la fonction d’envoi et de
réception de paiements de personne à personne d’Apple Pay ainsi que leur représentation virtuelle sur
votre appareil iOS. Vous acceptez qu’Apple ne soit pas partie à votre accord de détenteur de carte ou de
commerçant ni responsable (a) du contenu, de l’exactitude ou de l’indisponibilité de cartes de paiement,
des cartes de récompenses, des cartes cadeaux, des activités commerciales, des transactions ou des
achats dans le cadre de l’utilisation de la fonctionnalité Apple Pay; (b) de l’accord de crédit ou l’étude
d’éligibilité au crédit; (c) de l’accumulation ou de l’échange de récompenses ou de valeur enregistrée
dans le cadre d’un programme de commerçant; (d) du remboursement ou de la recharge de cartes
prépayées; (e) de l’envoi ou de la réception de paiements de personne à personne; ou (f) de l’ajout ou du
retrait des fonds de votre carte Apple Pay Cash.

Pour tout diﬀérend ou toute question relative aux cartes de paiement, aux cartes de récompenses, aux
cartes cadeaux ou à des activités commerciales associées à des cartes de paiement, veuillez prendre
contact avec l’émetteur de carte ou le commerçant en question. Si vous avez des questions au sujet de
la carte Apple Pay Cash ou des paiements de personne à personne, veuillez contacter l’assistance
Apple.

3. Confidentialité

Apple Pay requiert certains renseignements de votre appareil iOS afin d’oﬀrir une expérience complète.
En outre, lorsque vous utilisez la carte Apple Pay Cash ou que vous envoyez ou recevez des paiements
de personne à personne, des informations supplémentaires relatives à vos transactions sont recueillies
et conservées pour gérer votre compte, pour prévenir la fraude et pour des raisons réglementaires. Vous
pouvez en apprendre davantage sur les données recueillies, utilisées ou partagées dans le cadre de
votre utilisation d’Apple Pay, de la carte Apple Pay Cash et des paiements de personne à personne avec
Apple Pay en lisant À propos d’Apple Pay et de la confidentialité (accessible à partir de Wallet et
d’Apple Pay sur votre appareil iOS ou dans l’app Watch d’un appareil iOS jumelé) ou en vous rendant
sur https://www.apple.com/ca/fr/privacy. En utilisant ces fonctionnalités, vous acceptez qu’Apple, ses
filiales et ses représentants transmettent, recueillent, conservent, traitent et utilisent ces données
comme décrit ci-dessus pour assurer le bon fonctionnement d’Apple Pay.

4. Sécurité; Appareils perdus ou désactivés

Apple Pay conserve des représentations virtuelles de vos Cartes compatibles et doit par conséquent
être protégé comme vous le feriez avec vos espèces ou la version physique de vos cartes (débit, crédit,
prépayées, de récompenses ou cadeaux). En communiquant le code de votre appareil à un tiers, en lui
permettant d’ajouter son empreinte pour utiliser Touch ID ou son visage pour utiliser Face ID, vous lui
donnez la possibilité de réaliser des paiements, d’envoyer, de recevoir ou de demander des paiements
de personne à personne, de retirer de l’argent de votre carte Apple Pay Cash ou de recevoir ou de
solliciter des récompenses ou du crédit en utilisant Apple Pay avec votre appareil. Vous êtes l’unique
responsable de la sécurité de votre appareil et de votre mot de passe. Vous acceptez qu’Apple
n’assume aucune responsabilité si vous perdez votre appareil ou partagez les informations permettant
d’y accéder. Vous acceptez également qu’Apple n’assume aucune responsabilité si vous réalisez des
modifications non autorisées d’iOS (telles qu’un débridage).

Vous serez peut-être amené à activer des mesures de sécurité supplémentaires, telles que l’identification
à deux facteurs pour votre identifiant Apple, afin de pouvoir utiliser certaines fonctionnalités d’Apple Pay
comme la carte Apple Pay Cash et les paiements de personne à personne avec Apple Pay. Si par la
suite vous désactivez ces fonctions de sécurité, il est possible que vous ne puissiez plus accéder à
certaines fonctionnalités d’Apple Pay.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 417 of 452



Si votre appareil est perdu ou volé et que la fonctionnalité Localiser mon iPhone est activée, vous
pouvez l’utiliser pour essayer de désactiver la fonction de l’appareil qui permet d’eﬀectuer des
paiements avec les Cartes de paiement virtuelles compatibles ou d’envoyer des paiements de personne
à personne en activant le mode Perdu. Vous pouvez aussi eﬀacer le contenu de l’appareil, celui-ci
tentera alors de suspendre la fonction de l’appareil qui permet d’eﬀectuer des paiements à l’aide des
Cartes de paiement virtuelles compatibles et d’envoyer des paiements de personne à personne. Il
tentera aussi de supprimer les Cartes compatibles avec Apple Pay. Vous devriez également prendre
contact avec l’émetteur de vos Cartes de paiement compatible, avec le commerçant qui a émis vos
Cartes compatibles avec Apple Pay et avec Apple pour ce qui a trait à votre carte Apple Pay Cash afin
d’empêcher tout accès non autorisé à vos Cartes compatibles.

Si vous signalez, ou qu’Apple suspecte, des activités frauduleuses ou abusives, vous acceptez de
collaborer avec Apple dans toute enquête et de prendre toute mesure de prévention contre la fraude
nécessaire recommandée par Apple.

5. Limitation de responsabilité.

OUTRE LES EXCLUSIONS DE GARANTIES ET LES LIMITATIONS DE RESPONSABILITÉ CONTENUES
DANS LA LICENCE, APPLE N’ASSUME AUCUNE RESPONSABILITÉ POUR LES ACHATS, LES
PAIEMENTS, LES TRANSACTIONS OU TOUTE AUTRE ACTIVITÉ COMMERCIALE RÉALISÉS À L’AIDE
DE LA FONCTIONNALITÉ APPLE PAY. DE PLUS, VOUS ACCEPTEZ DE VOUS RAPPORTEZ
UNIQUEMENT AUX ACCORDS PASSÉS AVEC L’ÉMETTEUR DE VOTRE CARTE, VOTRE RÉSEAU DE
PAIEMENT, LES INSTITUTIONS FINANCIÈRES OU LES COMMERÇANTS AUPRÈS DESQUELS VOUS
RÉALISEZ DES ACHATS POUR RÉSOUDRE TOUTE QUESTION OU TOUT DIFFÉREND RELATIF À VOS
CARTES DE PAIEMENT COMPATIBLES, AUX PAIEMENTS DE PERSONNE À PERSONNE ET AUX
ACTIVITÉS COMMERCIALES ASSOCIÉES.

————————————
NOTIFICATIONS DE LA PART D’APPLE
Si Apple a besoin de vous contacter au sujet de votre produit ou de votre compte, vous acceptez de
recevoir des notifications par courrier électronique. Vous acceptez que de telles notifications, qui vous
parviennent électroniquement d’Apple, satisfassent toute disposition légale en matière de
communication.
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 418 of 452




香港繁體中⽂文

重要事項：通過使⽤用 iPHONE、iPAD或iPOD TOUCH( 「iOS裝置」 )，閣下已同意接受以下條款的約束：

A.   APPLE iOS軟件許可協議
B.   APPLE PAY 補充條款
C.   來來⾃自APPLE的通知

Apple Inc.
iOS軟件許可協議
單⼀一使⽤用許可證

請先仔細閱讀本軟件許可協議(「許可證」)，然後才使⽤用閣下的iOS裝置或下載附隨本許可證的軟件更更新。
閣下⼀一使⽤用iOS裝置或下載本軟件更更新(視適⽤用⽽而定)，即表示同意接受本許可證的條款約束。如閣下不同意
本許可證的條款，請勿使⽤用iOS裝置或下載該軟件更更新。

如閣下最近購買iOS裝置並且如閣下不同意許可證條款，可將iOS裝置交還購取iOS裝置的APPLE STORE商
店或授權分銷商以取得退款，但須符合APPLE的退貨政策規定，該政策載於 https://www.apple.com/
legal/sales-support/。

1.   ⼀一般規定
(a) 連同閣下的iOS裝置提供並可以Apple提供的功能增強軟件、軟件更更新或系統還原軟件( 「iOS軟件更更
新」)予以更更新或取代的軟件(包括Boot ROM代碼、嵌入式軟件和第三⽅方軟件)、⽂文檔、界⾯面、內容、字體
及任何數據( 「原iOS軟件」)，不論是儲存於唯讀記憶體、任何其他媒體或屬任何其他形式(原iOS軟件和
iOS軟件更更新統稱「iOS軟件」)，是由Apple Inc.(「Apple」)許可閣下使⽤用⽽而非售予閣下。閣下只可根據本
許可證的條款加以使⽤用，Apple及其許可⼈人保留留對iOS軟件本⾝身的所有權，並保留留⼀一切並未明確授予閣下的
權利利。閣下同意本許可證條款將適⽤用於任何可能已內置在閣下的iOS裝置上的Apple品牌app，除非該app另
外附有單獨的許可證，在這種情況下，閣下同意該許可證的條款將規限閣下對該app的使⽤用。

(b) Apple可酌情提供未來來的iOS軟件更更新，這些更更新（如有的話）未必包含Apple就較新或其他型號iOS裝
置發⾏行行的所有現有軟件功能或新的功能。本許可證條款監管由Apple提供的任何iOS軟件更更新，除非該iOS
軟件更更新另外載有獨立許可證，在此情況下，閣下同意以該許可證的條款監管。

(c) 如閣下使⽤用快速設置功能以閣下現有的iOS裝置為基礎設置新的iOS裝置，閣下同意，本許可證的條款
將監管閣下在閣下新的iOS裝置上使⽤用iOS軟件，除非它另外附有單獨的許可證，在這種情況下，閣下同意
該許可證的條款將監管閣下對該iOS軟件的使⽤用。閣下的iOS裝置會就iOS軟件的更更新版本向Apple定期查
詢。如有提供更更新版本，該更更新版本可⾃自動下載和安裝到閣下的iOS裝置和（如適⽤用）閣下的週邊裝置上。
閣下使⽤用Apple軟件，即表示同意Apple可下載和安裝⾃自動iOS軟件更更新到閣下的iOS裝置和閣下的週邊裝置
上。任何時候閣下均可完全關閉⾃自動更更新，只需更更改可在Settings > General > Software Update項下找到
的⾃自動更更新設定。

2.   允許的許可證⽤用途和限制
(a) 在必須遵守本許可證條款及細則的情況下，閣下獲授予在單⼀一台Apple品牌iOS裝置上使⽤用iOS軟件的有
限的、非獨家的許可證。除以下第2(b) 條允許外，以及除非閣下與Apple另⾏行行簽立協議規定外，本許可證
並不允許iOS軟件在任何⼀一個時候存在於⼀一台以上Apple品牌iOS裝置上，⽽而且閣下不得在網絡上分發或提
供iOS軟件，以致iOS軟件在同⼀一時間可供多台裝置使⽤用。本許可證並不授予閣下使⽤用Apple擁有專有權的
    Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 419 of 452




界⾯面及其它知識產權，以設計、開發、製造、授予許可或分發第三⽅方裝置與配件或第三⽅方應⽤用軟件連同iOS
裝置使⽤用的任何權利利。在獲得Apple的另⾏行行許可下，可使⽤用其中某些權利利。有關為iOS裝置開發第三⽅方裝置
與配件的詳情，請訪問https://developer.apple.com/programs/mﬁ/。有關為iOS裝置開發應⽤用軟件的詳
情，請訪問https://developer.apple.com。

(b) 在必須遵守本許可證條款及細則的情況下，閣下獲授予下載Apple可能提供給閣下iOS裝置型號的iOS軟
件更更新的有限的、非獨家許可證，以更更新或恢復由閣下擁有或控制的任何iOS裝置上的軟件。本許可證並不
允許閣下更更新或恢復不受閣下控制的或並非閣下擁有的iOS裝置，⽽而且閣下不得在網絡上分發或提供iOS軟
件，以致iOS軟件在同⼀一時間可供多台裝置或多台電腦使⽤用。如閣下下載iOS軟件更更新到閣下的電腦上，閣
下只可為備份⽬目的⽽而以機器可讀形式，複製⼀一份儲存於閣下的電腦的iOS軟件更更新；但該備份副本必須帶有
原件上所載的⼀一切版權或其他專有權的提示。

(c) 在閣下購買時Apple已在閣下的iOS裝置上預安裝Apple品牌app (「預安裝app」)的範圍內，閣下需要
登錄到App Store並將這些預安裝app關聯聯到閣下的App Store帳⼾戶，才能在閣下的iOS裝置上使⽤用它們。當
閣下將預安裝app關聯聯到閣下的App Store帳⼾戶時，閣下的iOS裝置上所有其他預安裝app將會同時⾃自動關聯聯
起來來。閣下選擇將預安裝app與閣下的App Store帳⼾戶關聯聯，即表示閣下同意 Apple可傳輸、收集、維護、
處理理和使⽤用閣下的App Store帳⼾戶所使⽤用的Apple ID和收集⾃自閣下的iOS裝置的唯⼀一硬件識別碼，作為驗證
閣下所提出請求的資格的唯⼀一帳⼾戶識別碼，以及向閣下提供通過App Store存取預安裝app的途徑。如閣下
不希望使⽤用預安裝app，閣下可隨時將其從閣下的iOS裝置中刪除。

(d) 閣下不得且閣下同意不會或促使他⼈人複製(本許可證明示允許除外)、反彙編、倒序製造、拆裝、企圖導
出其源代碼、解碼、修改iOS軟件或製造其衍⽣生作品、或iOS軟件提供的任何服務或其任何部分（適⽤用法律律
或可能包含在iOS軟件內的開放原始程式碼組件使⽤用許可證條款禁⽌止除外）。

(e) iOS軟件可⽤用於複製材料料，只要該等使⽤用限於複製沒有版權的材料料、閣下享有版權的材料料或授權閣下或
合法允許閣下複製的材料料。通過閣下的iOS裝置軟件顯示、儲存或存取的任何內容，其所有權和知識產權屬
於相關的內容所有權⼈人。此等內容可能受版權或其他知識產權法律律和條約保護，及可能須遵守提供該等內
容的第三⽅方使⽤用條款。除在此另有規定外，本許可證並不授予閣下使⽤用該等內容的任何權利利，亦不保證該
等內容將繼續提供給閣下。

(f) 在必須遵守本許可證條款及細則的情況下，閣下可（i）在運⾏行行iOS軟件時，使⽤用iOS軟件所包含或以此
創建的Animoji和Memoji字元（「系統字元」），以及（ii）⽤用以創建閣下⾃自⼰己的原始內容和項⽬目，作為閣
下個⼈人的非商業⽤用途。本許可證不允許將系統字元⽤用於任何其他⽅方⾯面，包括但不限於在營利利、非營利利、公
開共享或商業背景下，使⽤用、複製、顯示、執⾏行行、記錄、發佈或再分發任何系統字元。

(g) 閣下同意依照所有適⽤用法律律使⽤用iOS軟件以及服務（定義⾒見見以下第5條），此等法律律包括閣下所居住或
者下載或使⽤用iOS軟件以及服務的國家或地區的當地法律律。iOS軟件和服務的功能未必以所有語⾔言或在所有
地區提供，某些功能可能因地區⽽而異異，有的可能會受到限制，或閣下的服務供應商沒有提供。iOS軟件和服
務⼀一些功能需要Wi-Fi或蜂窩移動數據連接。

(h)使⽤用App Store需要⼀一個名為Apple ID的獨有⽤用⼾戶名稱和密碼組合。要存取app的更更新版本及iOS軟件和
服務的某些功能，同樣需要⼀一個Apple ID。

(i) 閣下承認iOS軟件許多功能、內置app和服務會傳輸數據，可能影響閣下數據計劃的收費，以及閣下須負
責該等收費。閣下可在蜂窩移動數據設定項下查看和控制哪些應⽤用程式獲准使⽤用蜂窩移動數據，並查看該
等應⽤用程式已消耗了了多少數據的估計。此外，當閣下的Wi-Fi連接不良時，Wi-Fi Assist會⾃自動切換到蜂窩
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 420 of 452




模式，或會導致使⽤用較多蜂窩數據及影響閣下的數據計畫收費。Wi-Fi Assist是默認啟⽤用的，但可在設定項
下予以禁⽤用。欲瞭解更更多資料料，請查閱閣下iOS裝置的⽤用⼾戶指南。

(j) 如閣下選擇允許⾃自動更更新app，閣下的iOS裝置會向Apple定期查詢有關更更新閣下裝置上的app的問題。
如有提供的話，更更新版本會⾃自動下載和安裝到閣下的裝置上。閣下可隨時完全關閉app的⾃自動更更新，只需前
往設定，點選iTunes & App Store，然後在Automatic Downloads項下關閉Updates。

(k) 在某些情況下使⽤用iOS裝置可能分散閣下的注意⼒力力，並可能導致危險情況（例例如，應避免在開⾞車車時輸入
⽂文字訊息，或在騎⾃自⾏行行⾞車車時使⽤用頭戴式耳機）。閣下使⽤用iOS裝置，即表示閣下同意負責遵守禁⽌止或限制使
⽤用⼿手機或頭戴式耳機的規則（例例如在開⾞車車時撥打電話須使⽤用免提選項的規定）。

3.  轉讓 閣下不得出租、租賃、出借、出售、再分發或再許可iOS軟件。但閣下可就iOS所有權之轉讓，
⽽而將閣下對iOS軟件的⼀一切許可使⽤用權⼀一次性地永久轉讓予另⼀一⽅方，條件是：(a) 轉讓內容必須包括閣下的
iOS裝置和全部iOS軟件，包括其所有組成部分及本許可證；(b) 閣下不得保留留iOS軟件的全部或部分複製
本，包括儲存於電腦或其他儲存裝置的複製本；以及(c) 接受iOS軟件的⼀一⽅方已閱讀並同意接受本許可證的
條款及細則。

4.   同意使⽤用數據 當閣下使⽤用裝置時，閣下的電話號碼和閣下的iOS裝置之某些獨有的識別碼會被發送給
Apple，以讓其他⼈人通過iOS軟件諸如iMessage和FaceTime等各種通訊功能聯聯繫到閣下的電話號碼。當閣
下使⽤用iMessage時，Apple可在有限時間內以加密形式持有閣下的訊息，以確保其傳送。閣下可前往閣下
iOS裝置上的FaceTime或Messages設定項，關閉FaceTime 或 iMessage。某些功能例例如分析、定位服
務、Siri和聽寫可能需要來來⾃自閣下的iOS裝置的資料料，才能提供其各⾃自的功能。在閣下打開或使⽤用這些功能
時，有關哪些資料料會發送給Apple以及可能如何使⽤用這些資料料的具體詳情將會提供給閣下，此外閣下亦可訪
問https://www.apple.com/hk/privacy/ 深入瞭解。 在任何時候，閣下的資料料均依照Apple的私隱政策處
理理，該政策可在https://www.apple.com/legal/privacy/ 瀏覽。

5.    服務和第三⽅方材料料。
(a) iOS軟件能使閣下訪問Apple的iTunes Store、App Store、Apple Books、Game Center、iCloud、地
圖以及其他Apple和第三⽅方服務及網址（統稱及個別稱為「服務」）。這些服務未必以各種語⾔言或在各個國
家提供。使⽤用這些服務需要接入互聯聯網，⽽而且使⽤用某些服務可能要求Apple ID和要求閣下接受附加的服務
條款，並且可能需⽀支付額外費⽤用。閣下就Apple ID或其他Apple服務⼾戶⼝口使⽤用本軟件，即表示同意接受該服
務的適⽤用服務條款，例例如閣下存取該等服務所在國家的Apple媒體服務最新的條款及細則。閣下可訪問
https://www.apple.com/legal/internet-services/itunes/ 查閱該等條款及細則。

(b) 如閣下登記使⽤用iCloud，可直接從iOS軟件存取iCloud某些功能，例例如 「 iCloud 照⽚片（iCloud
Photos）」、「我的照⽚片流（My Photo Stream）」、「共享相簿 (Shared Albums)」、「備份（Back
Up）」和「查找我的iPhone （Find My iPhone）」。閣下承認並同意，閣下使⽤用iCloud和這些功能須接
受iCloud服務的最新條款及細則。閣下可訪問https://www.apple.com/legal/internet-services/icloud/
查閱該等條款及細則。

(c) News App的內容。閣下通過News應⽤用程式存取的內容僅限於個⼈人非商業⽤用途，內容的任何所有權利利益
不會因此⽽而轉讓給閣下，並明確排除但不限於這些內容的任何商業或促銷使⽤用權。此外，閣下通過News存
取的任何圖像，⼀一律律禁⽌止作為獨立檔案重新發佈、再傳輸和複製。

(d) 地圖。iOS軟件的地圖服務和功能（「地圖」）（包括地圖數據覆蓋），可能會因地區⽽而異異。當閣下使
⽤用地圖內任何基於位置的功能，例例如逐向導航、交通和本地搜索功能，與位置和使⽤用相關的多項資料料可能
    Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 421 of 452




會被發送到Apple，包括閣下iOS裝置的即時地理理位置，以便便處理理閣下的請求和協助改善地圖。Apple收集
該等位置和使⽤用數據的形式，不會將閣下本⼈人識別出來來。閣下使⽤用地圖，即表示同意和允許Apple及其附屬
公司和代理理傳輸、收集、維護、處理理和使⽤用這些資料料，以提供和改善地圖的功能和服務，以及Apple其他產
品和服務。Apple還可採取匯總或不會將個⼈人識別出來來兩兩者中的任⼀一形式，將此類類資料料提供給其合作夥伴和
被許可⼈人，以幫助改善他們的地圖和基於位置的產品和服務。閣下可以禁⽤用地圖基於位置的功能，只需前
往閣下iOS裝置上的位置服務設定，並關閉地圖的個別位置設定。然⽽而，如閣下禁⽤用位置服務的設定，即不
可使⽤用某些地圖功能例例如逐向導航。

 (e) 閣下明⽩白，使⽤用任何服務意味閣下或會遇到可能被視為冒犯性、猥褻或討厭的內容，這些內容可能使
⽤用或不使⽤用直⽩白的語⾔言，以及任何撿索得到的結果或進入某特定網址 (URL) 時，可能會⾃自動和非故意地⽣生
成與不宜資料料的鏈結或對不宜資料料的提述。儘管如此，閣下同意使⽤用服務並⾃自擔風險，對於可能被發現屬
冒犯性、猥褻或討厭的內容，Apple、其關聯聯公司、代理理⼈人、⾼高層管理理⼈人員或許可⼈人不對閣下承擔任何法律律
責任。

(f) 某些服務可能顯示、包括或提供來來⾃自第三⽅方的內容、數據、資料料、應⽤用軟件或材料料( 「第三⽅方材料料」)，
或⾄至某些第三⽅方網站的鏈結。閣下⼀一使⽤用服務，即表示閣下承認並同意，Apple不負責檢查或評估此等第三
⽅方材料料或網站的內容、準確性、完整性、時間性、有效性、符合版權規定、合法性、適當性或質量量，或任
何其他⽅方⾯面。對任何第三⽅方服務、第三⽅方材料料或網站，或者第三⽅方的任何其他材料料、產品或服務，Apple
及其管理理⼈人員、關聯聯公司和⼦子公司不作任何保證或認可，亦不對閣下或任何其他⼈人或承擔和負有任何法律律
責任或負責。第三⽅方材料料和⾄至其他網站的鏈結僅為⽅方便便閣下⽽而提供。

(g) Apple 及其任何內容提供者不保證任何服務顯示的股票資料料、位置數據或任何其他數據的可獲得性、準
確性、完整性、可靠性或及時性。任何服務顯示的⾦金金融資料料僅供⼀一般參參考之⽤用，不應⽤用作可供依賴之投資
建議。在基於通過 服務獲得的資料料進⾏行行任何證券交易易之前，閣下應向在法律律上有資格在閣下的國家或地區
提供財務或證券建議的專業財務或證券⼈人員諮詢。任何服務提供的位置數據（包括Apple 地圖服務）僅作
為基本導航和計劃⽤用途⽽而提供，其⽬目的並非作為依賴以⽤用於需要精確的位置資料料的情況，或若若位置數據錯
誤、不準確、出現時間延誤或不完整可能會導致⼈人⾝身傷亡或財產或環境損害的情況。閣下同意，由於例例如
但不僅限於天氣、道路路和交通情況以及地緣政治事件等⾜足以影響地圖數據準確性的種種因素，閣下從地圖
服務收到的結果可能與實際道路路或地形情況有所不同。為了了閣下的安全，使⽤用導航功能時，任何時候都要
注意展示的路路牌和當時的道路路情況，奉⾏行行安全駕駛習慣和遵照交通法規，並注意⾏行行走的⽅方向可能不包括⾏行行
⼈人路路或⾏行行⼈人通道。

(h) 在閣下使⽤用服務上傳任何內容的範圍內，閣下聲明閣下擁有所有權利利或得到授權或以其他⽅方式獲法律律允
許上傳該等內容，以及該等內容不違反適⽤用於服務的任何服務條款。閣下同意服務含有屬Apple、網站所有
⼈人或其許可⼈人擁有的專有內容、資料料和材料料，受適⽤用的知識產權和其他法律律保護，包括但不限於版權。閣
下同意除 服務的允許⽤用途外，閣下不會使⽤用此等專有內容、資料料或材料料，也不以任何與本許可證的條款不
⼀一致或侵犯第三⽅方或Apple的任何知識產權的⽅方式使⽤用此等專有內容、資料料或材料料。服務的任何部分，均不
得以任何形式或以任何⽅方式複製。閣下同意不以任何⽅方式修改、出租、租賃、借出、銷售或分發服務，亦
不以任何⽅方式以服務為基礎創作任何衍⽣生作品。閣下不得以任何未獲授權的⽅方式（包括但不限於通過服務
來來傳輸電腦病毒、蠕蟲、特洛洛伊⽊木⾺馬或其他惡惡意軟件，或者通過侵入網絡或加重網絡容量量負擔）利利⽤用服
務。閣下進⼀一步同意不以任何⽅方式使⽤用服務騷擾、辱罵、追蹤、威脅或誹謗任何其他⽅方，或以侵犯或違反
任何其他⽅方權利利的⽅方式使⽤用服務，以及對於閣下的任何此等使⽤用或由於使⽤用服務致使閣下可能收到的任何
騷擾性、威脅性、誹謗性、冒犯性、侵權或非法信息或傳輸，Apple不在任何⽅方⾯面對閣下承擔任何責任。

(i) 此外，可通過iOS裝置存取、鏈結或顯示的服務和第三⽅方材料料，不會以所有語⾔言或在所有國家或地區提
供。Apple不聲明此等服務和第三⽅方材料料為適當的及可在任何特定地點提供。在閣下選擇使⽤用或存取此等服
    Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 422 of 452




務和第三⽅方材料料的範圍內，閣下是⾃自主決定這樣做的，並負責遵守任何適⽤用法律律，包括但不限於適⽤用的地
⽅方法律律，以及私隱權和數據收集法律律。通過閣下的iOS裝置共享或同步照⽚片，可能會導致連同照⽚片傳輸元數
據，包括拍攝照⽚片的地點和時間及景深資料料。使⽤用Apple服務（例例如iCloud 照⽚片圖庫（iCloud Photo
Library））共享或同步這些照⽚片,將牽涉到Apple收取和儲存該等元數據。Apple 及其許可⼈人保留留在不通知
的情況下，隨時更更改、暫停、取消或禁⽌止存取任何此等服務的權利利。在任何情況下，Apple 均不對取消或
禁⽌止存取任何此等服務負有法律律責任。Apple 還可在任何情況下，不通知和不承擔法律律責任地限制使⽤用或
存取某些服務。

6.  終⽌止 本許可證在其終⽌止之前有效。如閣下未能遵守本許可證中的任何條款，本許可證下閣下的權利利
將⾃自動終⽌止或以其他⽅方式終⽌止⽣生效，⽽而無需Apple另⾏行行通知。在本許可證終⽌止時，閣下應停⽌止對iOS軟件的
任何使⽤用⾏行行為。本許可證第4、5、6、7、8、9、12和13條在如此終⽌止後繼續有效。

7.  不作出擔保
7.1 如閣下是消費者客⼾戶(指在閣下的⾏行行業、業務或專業以外使⽤用iOS軟件的⼈人) ，閣下在居住國可能享有
法定權利利，禁⽌止以下限制適⽤用於閣下。這些限制若若被禁⽌止即不適⽤用於閣下。要進⼀一步瞭解相關的權利利，閣
下應聯聯絡當地的消費者諮詢組織。

7.2 閣下明確承認並同意，在適⽤用法律律允許的範圍內，閣下使⽤用iOS軟件和通過iOS軟件執⾏行行或取⽤用任何
服務須⾃自擔風險，⽽而有關質量量滿意度、性能、準確性及努⼒力力等⽅方⾯面的全部風險均由閣下承擔。

7.3 在適⽤用法律律允許的最⼤大範圍內，iOS軟件和服務都是「按現狀狀」和「可提供情況」提供的，附有⼀一切
瑕疵⽽而不帶有任何種類類的保證，AppleAPPLE和APPLE的許可⼈人(在第7和8條中合稱為「APPLE」)特此否
認就iOS軟件和服務作出任何明示、默示或法定保證及細則，包括但不限於有關銷路路、質量量滿意度、適合作
某特定⽤用途、準確性、不受⼲干擾地享⽤用及不侵害第三⽅方權利利的默示保證和/或條件。

7.4 APPLE並不擔保閣下可不受⼲干擾地享⽤用iOS軟件和服務，iOS套裝軟件含的功能或所執⾏行行或提供的服
務會符合閣下的要求，iOS軟件和服務將不受⼲干擾地操作⽽而且毫無錯誤、任何服務將持續提供、或iOS軟件
或服務的瑕疵將被糾正, 或iOS軟件將相容或可與任何第三⽅方軟件、應⽤用軟件或第三⽅方服務共同運作。安裝
本iOS軟件可能影響第三⽅方軟件、應⽤用程式或第三⽅方服務以及APPLE產品和服務的可獲得性及可⽤用性。

7.5 閣下進⼀一步承認iOS軟件和服務並非專為⽤用於若若iOS軟件和服務出現故障或時間延誤、或所提供的內
容、數據或資料料出現錯誤或不準確之處時，可能會導致⼈人⾝身傷亡或嚴重的有形或環境損害的情況或環境，
包括但不限於操作核⼦子設施、⾶飛機導航或通訊系統、空中交通管制系統、⽣生命維持機器或武器系統。

7.6 APPLE或APPLE授權代表給予的⼝口頭或書⾯面的資料料或意⾒見見均不構成任何擔保。如發現iOS軟件或服
務存有瑕疵，閣下須承擔所有必要的維修、修理理或糾正的全部費⽤用。有些國家地區不允許排除默示擔保或
對消費者的適⽤用法定權利利加以限制的做法，因此上述排除和限制可能並不適⽤用於閣下。

8.   法律律責任限制 在適⽤用法律律不禁⽌止的範圍內，在任何情況下，對由於閣下使⽤用或無法使⽤用iOS軟件和
服務、或連同iOS軟件或服務使⽤用任何第三⽅方軟件或應⽤用軟件所引起或與此有關的任何⼈人⾝身傷害或任何附帶
的、特別的、間接的或後果性的損害賠償，包括但不限於利利潤損失、數據混亂或損失、不能傳播或接收任
何數據（包括但不限於課程說明、分派⼯工作和材料料）、業務中斷的損害賠償或任何其他商業損害賠償或損
失，無論其成因及基於何種法律律責任理理論（合同、侵權或其他），APPLE、其關聯聯公司、代理理⼈人或⾼高層管
理理⼈人員⼀一概無須負責，即使APPLE已知悉可能發⽣生上述損害賠償的話。有些國家地區不允許對⼈人⾝身傷害，
或附帶或後果性損害賠償排除或附加法律律責任限制，因此此項限制可能並不適⽤用於閣下。在任何情況下，
Apple就所有損害賠償對閣下承擔的全部法律律責任(除在涉及⼈人⾝身傷害的情況中根據適⽤用法律律規定的損害賠
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 423 of 452




償外)不應超過⼆二百五⼗十美元(U.S.$250.00)。即使前述濟助失去其基本作⽤用，上述責任限制仍將適⽤用。

9.  數碼證書。iOS軟件具有接受 Apple 或第三⽅方發放之數碼證書的功能。決定是否信賴 APPLE 或第三
⽅方發放的證書是閣下獨⾃自的責任，閣下須獨⾃自承擔使⽤用數碼證書的風險。在適⽤用法律律允許的最⼤大範圍內，
APPLE 對於數碼證書的銷路路或⽤用於任何特定⽤用途的適⽤用性、準確性、安全性或不侵犯第三⽅方權利利，不作任
何明示或默示的擔保或陳述。

10. 出⼝口管制 除美國法律律及獲得iOS軟件的所在國家地區的法律律授權外，閣下不得使⽤用或以任何⽅方式出
⼝口或轉⼝口iOS軟件。特別是(但不以此為限)iOS軟件不得出⼝口或轉⼝口(a) 到任何遭美國禁運的國家，或(b) 給
美國財政部的特別指定國⺠民名單或美國商務部的被禁⼈人⼠士或機構名單或任何其他受限制⽅方名單上任何⼈人
⼠士。閣下使⽤用iOS軟件，即表示閣下聲明和保證閣下並非位於上述任何國家，或列列入上述任何名單。閣下並
同意不會使⽤用iOS軟件於美國法律律禁⽌止使⽤用的任何⽬目的，包括但不限於開發、設計、製造或⽣生產導彈、核
⼦子、化學或⽣生化武器。

11. 政府最終⽤用⼾戶 iOS軟件和相關⽂文檔均屬「商業項⽬目」，該詞定義⾒見見48 C.F.R. §2.101，包含「商⽤用電
腦軟件」和「商⽤用電腦軟件⽂文檔」，定義⾒見見48 C.F.R. §12.212或48 C.F.R. §227.7202，以適⽤用者為準。在
符合48 C.F.R. §12.212或48 C.F.R. §227.7202-1⾄至227.7202-4(以適⽤用者為準)的規定下，商⽤用電腦軟件
和商⽤用電腦軟件⽂文檔(a) 只作為商業項⽬目特許美國政府的最終⽤用⼾戶使⽤用，及(b) 只附有根據本許可證條款及
細則授予所有其他最終⽤用⼾戶的權利利。Apple根據美國的版權法律律保留留任何未經發佈的權利利。

12. 管轄法律律和可分割性 本許可證受美國加利利福尼亞州法律律管轄並按該等法律律解釋，但加利利福尼亞州的
法律律衝突原則除外。本許可證不受《聯聯合國國際貨物銷售合同公約》管轄，其對本許可證的適⽤用在此明確
排除。如閣下是英國消費者,本許可證將受對閣下居住國家地區具司法管轄權的法律律管轄。如果基於任何原
因，具有合法管轄權的法院裁定本許可證的任何條款或其任何部分不可被強制執⾏行行，本許可證的其餘規定
應繼續充分有效。

13. 全部協議：管轄語⾔言 本許可證構成閣下與Apple有關iOS軟件的全部協議，並取代與該標的事項有
關的以前或現在的所有理理解。未經Apple簽署書⾯面⽂文件，對本許可證的任何修訂或修改不具約束⼒力力。本許可
證的任何譯本僅僅為了了滿⾜足當地需要。如果英⽂文本與任何非英⽂文譯本有任何抵觸之處，在閣下所在國家地
區當地法律律不禁⽌止的範圍內，應以本許可證的英⽂文本為準。

14.    第三⽅方確認 iOS軟件的若若⼲干部分使⽤用或包含第三⽅方的軟件及其他享有版權的材料料。這些材料料的確
認、許可證條款和免責聲明包含在iOS軟件的電⼦子⽂文檔中，閣下對這些材料料的使⽤用受它們的相應條款的約
束。使⽤用Google Safe Browsing服務須遵守Google的服務條款(https://www.google.com/intl/zh-hk/
policies/terms/)和Google的私隱政策(https://www.google.com/intl/zh-hk/policies/privacy/)。

15.    MPEG-4的使⽤用；H.264/AVC通知。
(a) iOS軟件是依據MPEG-4系統專利利組合許可證特許使⽤用，以按照MPEG-4系統標準進⾏行行編碼，但與 (i)
以實質媒體貯存或複製且按照所有權基礎逐項⽀支付之數據、和/或 (ii) 按照所有權基礎逐項⽀支付並傳送給最
終⽤用⼾戶以永久貯存和/或使⽤用之數據編碼有關、以及須就相關編碼持有額外許可證和⽀支付特許權使⽤用費者除
外。該額外許可證可通過MPEG LA, LLC. 取得，請參參閱http://www.mpegla.com 瞭解進⼀一步細節。

(b) iOS套裝軟件含MPEG-4影⽚片編碼和/或解碼功能，iOS軟件是依據MPEG-4視像專利利組合許可證特許予
消費者個⼈人和非商業性使⽤用，以(i) 按照MPEG-4視像標準進⾏行行影⽚片編碼(「MPEG-4影⽚片」)，和/或(ii) 對
從事個⼈人和非商業活動的消費者所編碼、和/或從獲MPEG LA許可提供MPEG-4影⽚片的影⽚片提供者取得的
MPEG-4影⽚片進⾏行行解碼。沒有就任何其他⽤用途發出許可證或默示作任何其他⽤用途。與宣傳推廣、內部和商
         Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 424 of 452




業性使⽤用及許可證賦予有關的進⼀一步資料料，可通過MPEG LA, LLC取得。請參參閱http://
www.mpegla.com。

(c) iOS軟件包含AVC編碼和/或解碼功能，H.264/AVC的商業性使⽤用需要額外的許可及以下規定適⽤用：本
許可證許可iOS軟件的AVC功能僅供消費者的個⼈人和非商業性使⽤用，以(i) 按照AVC標準(「AVC影⽚片」)進⾏行行
影⽚片編碼，和/或(ii) 對從事個⼈人和非商業性活動的消費者所編碼的AVC影⽚片、和/或獲取⾃自特許提供AVC影
⽚片的影⽚片提供者的AVC影⽚片進⾏行行解碼。與其他使⽤用及許可證有關的資料料，可通過MPEG LA L.L.C.取得。請
參參閱http://www.mpegla.com。

16. 雅虎搜尋服務限制 通過Safari提供的雅虎搜尋服務只被授權在以下國家和地區使⽤用：阿根廷、阿
魯巴、澳⼤大利利亞、奧地利利、巴巴多斯、比利利時、百慕達、巴⻄西、保加利利亞、加拿⼤大、開曼群島、智利利、中
國⼤大陸、香港、臺灣、哥倫倫比亞、塞浦路路斯、捷克共和國、丹丹麥、多明尼加共和國、厄瓜多爾、薩爾瓦
多、芬蘭蘭、法國、德國、希臘、格林林納達、危地⾺馬拉、匈牙利利、冰島、印度、印尼、愛爾蘭蘭、義⼤大利利、牙
買加、⽇日本、拉脫維亞、立陶宛、盧森堡、⾺馬來來⻄西亞、⾺馬爾他、墨墨⻄西哥、荷蘭蘭、新⻄西蘭蘭、尼加拉瓜、挪
威、巴拿⾺馬、秘魯、菲律律賓、波蘭蘭、葡萄牙、波多黎黎各、羅⾺馬尼亞、新加坡、斯洛洛⽂文尼亞、南韓、⻄西班
牙、聖盧⻄西亞、聖⽂文森特、瑞典、瑞⼠士、泰國、巴哈⾺馬、特立尼達和多巴哥、⼟土耳其、英國、烏拉圭、美
國和委內瑞拉。

17.  Microsoft Exchange通知。iOS軟件內的Microsoft Exchange郵件設定，僅許可⽤用於空中同步處理理
閣下的iOS與Microsoft Exchange伺服器或Microsoft許可的其他伺服器軟件之間的資料料，例例如電⼦子郵件、
聯聯絡⼈人、⾏行行事曆和⼯工作等，以實施Microsoft Exchange ActiveSync規程。

EA1566
2019年年2⽉月21⽇日

————————————
Apple Pay補充條款及細則

這些Apple Pay補充條款及細則（這些「補充條款」）補充了了iOS軟件許可協議（「許可證」）;許可證條款
及這些補充條款同時規管閣下對被視為許可證下其中⼀一項「服務」之Apple Pay功能的使⽤用。這些補充條款
中以⼤大寫字⺟母表示的詞匯，具有許可證內規定的含義。

1.       概述和使⽤用限制

Apple Pay可讓閣下：

     ‧     儲存哪些獲Apple Pay功能⽀支援的信⽤用卡、借記卡和預付卡（包括商店信⽤用卡、借記卡、預付卡和
          Apple Pay Cash卡）（「獲⽀支援付款卡」）的信貸虛擬表示，並使⽤用獲⽀支援的iOS裝置在選定地點
          或在app或網站內進⾏行行非接觸式⽀支付；
     ‧     使⽤用在Wallet內存放的獎勵卡和禮物卡（簡稱「⽀支援Apple Pay的卡」，與獲⽀支援付款卡統稱「獲
          ⽀支援卡」），以在選定商店進⾏行行作為使⽤用Apple Pay進⾏行行非接觸式⽀支付⼀一部分的非接觸式獎勵卡和
          禮物卡交易易；
     ‧     向Apple Pay其他⽤用⼾戶進⾏行行個⼈人對個⼈人付款。

iOS軟件的Apple Pay功能可能僅在選定地區提供，以及僅適⽤用於選定發卡⾏行行、⾦金金融機構和商⼾戶。功能可能
因地區、發卡⾏行行及商⼾戶⽽而異異。
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 425 of 452




要使⽤用Apple Pay，閣下必須有⼀一張獲⽀支援卡。獲⽀支援卡可能會不時有變。此外，閣下必須有⼀一張Apple
Pay Cash卡，⽅方可進⾏行行個⼈人對個⼈人付款或收款。

獲⽀支援付款卡和個⼈人對個⼈人付款與閣下登入iCloud之Apple ID關聯聯，以便便使⽤用這些功能。獲⽀支援卡僅提供
給13歲或以上⼈人⼠士，並可能會受到iCloud或閣下嘗試配置的獲⽀支援卡所額外施加的年年齡限制。Apple Pay
Cash卡和個⼈人對個⼈人付款和收款的能⼒力力，僅提供給18歲或以上⼈人⼠士。

Apple Pay僅供閣下個⼈人使⽤用，閣下只能配置⾃自⼰己的獲⽀支援卡。如閣下要配置獲⽀支援的公司卡，閣下聲明閣
下已得到閣下的雇主授權這樣做，以及閣下獲授權使閣下的雇主受到這些使⽤用條款和通過使⽤用此功能進⾏行行
的所有交易易的約束。如閣下正在進⾏行行個⼈人對個⼈人付款或收款，閣下聲明閣下這樣做是⽤用於閣下⾃自⼰己個⼈人的
非商業⽤用途。

閣下同意不使⽤用Apple Pay於非法或欺詐的⽬目的，或本許可證和這些補充條款禁⽌止的任何其他⽬目的。閣下進
⼀一步同意按照適⽤用法律律及法規使⽤用Apple Pay。閣下同意不⼲干擾或擾亂Apple Pay的服務（包括以任何⾃自動
⽅方式存取服務）、或連接到服務的任何伺服器或網絡、或連接到服務的任何網絡政策、規定或法規（包括
任何對數據或數據流量量未經授權的存取、使⽤用或監測）。

2.   Apple與閣下的關係

Apple Pay能讓閣下在閣下獲⽀支援的iOS裝置上，創建閣下獲⽀支援卡的虛擬表示。然⽽而，Apple不會處理理付
款或其他非付款卡交易易（例例如累積或兌換獎勵）、收取、持有或轉帳閣下的資⾦金金，或對因閣下使⽤用該功能
⽽而可能產⽣生的付款、退貨、退款、獎勵、價值、折扣或其他商業活動具有任何其他控制權。

閣下與閣下的發卡機構之間可能存在的持卡⼈人協議條款，將繼續規限閣下對閣下的獲⽀支援卡的使⽤用，以及
它們與Apple Pay的相關使⽤用。同樣，閣下在任何商⼾戶獎勵或禮物卡計劃的參參與以及閣下就Apple Pay對⽀支
援Apple Pay的卡之使⽤用，均須遵守該商⼾戶的條款及細則規限。

Apple Pay Cash卡和個⼈人對個⼈人付款和收款的能⼒力力僅在美國提供，是聯聯邦存款保險公司成員Green Dot
Bank提供的服務。當閣下在Apple Pay中啟動這些功能時，閣下即在Green Dot Bank開立帳⼾戶，⽽而當閣下
進⾏行行個⼈人對個⼈人付款或收款、或從閣下的Apple Pay Cash卡加載或提取⾦金金錢時，Green Dot Bank將負責收
取和將閣下的⾦金金錢發送給預期的收款⼈人。在Apple Pay中負責提供Apple Pay Cash和個⼈人對個⼈人付款的⾦金金
融機構可能有變，閣下使⽤用該等功能須遵守其條款及細則。

許可證或這些補充條款並無任何規定修改任何持卡⼈人、使⽤用者或商⼾戶協議條款，該等條款將規限閣下對適
⽤用的獲⽀支援卡的使⽤用或Apple Pay的個⼈人對個⼈人付款功能，以及它們在閣下的iOS裝置上的虛擬表示。閣下
同意Apple並非閣下的持卡⼈人或商⼾戶協議其中⼀一⽅方，⽽而Apple亦無須就以下事項負責：(a)於使⽤用Apple Pay
功能期間，任何付款卡、獎勵卡、禮物卡、商業活動、交易易或購買之內容、準確性或無法獲得；(b)信貸的
發放或對信貸資格的評估；(c)個別商⼾戶計劃下的獎勵或儲值之累積或兌換；(d)預付卡資⾦金金的提供或重新加
載；(e)個⼈人對個⼈人付款或收款；或(f)從閣下的Apple Pay Cash卡加載、兌換或提取款項。

有關付款卡、獎勵卡、禮物卡或相關商業活動的所有糾紛或問題，請聯聯絡閣下的發卡⾏行行或適⽤用的商⼾戶。有
關Apple Pay Cash卡或個⼈人對個⼈人付款的問題，請聯聯絡Apple⽀支援。

3,   私隱
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 426 of 452




Apple Pay需要從閣下的iOS裝置獲取⼀一些資料料，以便便提供全⾯面的體驗。此外，當閣下使⽤用Apple Pay Cash
卡或進⾏行行個⼈人對個⼈人付款或收款時，基於為閣下的帳⼾戶提供服務和防⽌止欺詐及監管⽬目的，有關閣下交易易的
附加資料料會被收集和保留留。通過閱讀關於Apple Pay和私隱（閣下可在iOS裝置上的Wallet & Apple Pay或
配對的iOS裝置上的Watch app內查閱）或訪問https://www.apple.com/hk/privacy/，閣下可以找到關於
作為閣下使⽤用Apple Pay、Apple Pay Cash卡或以Apple Pay進⾏行行個⼈人對個⼈人付款⼀一部分⽽而收集、使⽤用或共
享的數據之詳細資料料。閣下使⽤用這些功能，即表示同意和允許Apple及其附屬公司和代理理⼈人傳輸、收集、維
護、處理理和使⽤用所有上述資料料，以提供Apple Pay功能。

4.   安全性; 遺失或禁⽤用裝置

Apple Pay會儲存閣下的獲⽀支援卡之虛擬表示，因此應予以保護，就如同閣下會保護現⾦金金或閣下的實體信⽤用
卡、借記卡、預付卡、獎勵卡或禮物卡⼀一樣。如閣下向第三⽅方提供裝置的密碼或允許第三⽅方添加其指紋以
使⽤用Touch ID或啟動Face ID，他們即可在閣下的裝置上使⽤用Apple Pay付款、進⾏行行、要求或收取個⼈人對個
⼈人付款、從閣下的Apple Pay Cash卡提取款項、或獲取或兌換獎勵或信貸。閣下須⾃自⾏行行負責維護閣下的裝
置以及閣下的密碼之安全性。閣下同意，如閣下遺失或與他⼈人共享對閣下裝置的存取，Apple不負任何責
任。閣下同意，如閣下對iOS作出未經授權的修改（例例如以「越獄」⽅方式），Apple不負任何責任。

閣下或需啟動額外的安全性措施（例例如對閣下的Apple ID實施雙因素⾝身份認證）⽅方可存取Apple Pay的特定
功能，包括Apple Pay Cash卡和在Apple Pay中進⾏行行個⼈人對個⼈人付款。如閣下其後刪除該等安全性功能，
閣下未必能繼續存取Apple Pay的特定功能。

如閣下的裝置丟失或被盜，⽽而閣下已啟動Find My iPhone的話，閣下可使⽤用Find My iPhone功能將其置於
Lost Mode，嘗試暫停在該裝置上以虛擬獲⽀支援付款卡付款或進⾏行行個⼈人對個⼈人付款的能⼒力力。閣下也可以擦
除閣下的裝置，此舉將嘗試暫停在裝置上以虛擬獲⽀支援付款卡付款或進⾏行行個⼈人對個⼈人付款的能⼒力力，並且會
嘗試移除⽀支援Apple Pay的卡。閣下亦應聯聯絡發⾏行行閣下獲⽀支援付款卡之發卡機構、發⾏行行閣下⽀支援Apple Pay
的卡之商⼾戶及Apple（如屬閣下的Apple Pay Cash卡之情況），以防⽌止他⼈人未經授權存取閣下的獲⽀支援
卡。

如閣下報告或Apple懷疑有欺詐或詐騙活動，閣下同意在任何調查中與Apple合作，並使⽤用我們規定的任何
防欺詐措施。

5.   責任限制

除許可證載明的不作出擔保和責任限制外，APPLE亦不對使⽤用APPLE PAY功能進⾏行行的購買、⽀支付、交易易、
或其他商業活動承擔任何責任。閣下並同意在尋求解決與閣下的獲⽀支援卡、個⼈人對個⼈人付款和相關商業活
動有關的任何問題或爭議時，只檢視閣下與發卡機構、⽀支付網絡、⾦金金融機構或商⼾戶之間可能訂立的協議。

————————————
來來⾃自APPLE的通知
如果Apple需要就閣下的產品或帳⼾戶聯聯絡閣下，閣下同意通過電⼦子郵件接收這些通知。閣下同意我們發送給
閣下的任何這些通知，將符合任何法定通訊要求。
         Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 427 of 452




िहं दी


महत्वपूण:र् अपने iPHONE, iPAD या iPOD TOUCH (“iOS DEVICE”) का उपयोग करके आप िनम्निलिखत शतोर्ं को
स्वीकार करने की सहमित दे ते हैं:


क.        APPLE iOS सॉफ़्टवेयर लाइसेंस अनुबंध
ख.        APPLE PAY पूरक िनयम और शतेर्ं
ग.        APPLE की ओर से नोिटस


APPLE INC.
iOS सॉफ़्टवेयर लाइसेंस अनुबंध
एकल उपयोग लाइसेंस


अपने APPLE iOS िडवाइस को उपयोग करने या इस लाइसेंस के साथ आने वाले सॉफ़्टवेयर अपडेट को डाउनलोड करने से
पहले, कृपया इस सॉफ़्टवेयर लाइसेंस अनुबंध (“लाइसेंस”) को ध्यानपूवक
                                                                र् पढ़ें। अपनी APPLE iOS िडवाइस को उपयोग करके
या सॉफ़्टवेयर अपडेट को डाउनलोड करके, प्रयोज्य अनुसार, आप इस लाइसेंस की शतोर्ं को स्वीकार करने की सहमित दे ते हैं।
यिद आप इस लाइसेंस की शतोर्ं से सहमत नहीं हैं तो iOS िडवाइस का उपयोग या सॉफ़्टवेयर अपडेट को डाउनलोड न करें।


यिद आपने हाल ही में iOS िडवाइस को ख़रीदा है और आप लाइसेंस की शतोर्ं से सहमत नहीं हैं तो आप िरफंड पाने के िलए iOS
िडवाइस को APPLE STORE या उस अिधकृत िवतरक के पास वापसी अविध के दौरान वापस कर सकते हैं िजससे आपने इसे
प्राप्त िकया था, यह वापसी APPLE की धन वापसी नीित के अधीन होती है िजसे यहाँ https://www.apple.com/legal/
sales-support/ दे खा जा सकता है।


१. सामान्य।
(क) सॉफ़्टवेयर (िजसमें बूट ROM कोड, एं बेडेड सॉफ़्टवेयर और तृतीय पक्ष सॉफ़्टवेयर शािमल हैं), प्रलेखन, इं टरफ़ेस, कॉन्टेंट, फ़ॉन्ट
और कोई भी डेटा जो आपके iOS िडवाइस (“मूल iOS सॉफ़्टवेयर”) के साथ आया है, िजसे फ़ीचर संवधन,
                                                                                      र् सॉफ़्टवेयर अपडेट या
िसस्टम रीस्टोर सॉफ़्टवेयर (“iOS सॉफ़्टवेयर अपडेट”) द्वारा अपडेट िकया जा सकता है या बदला जा सकता है, चाहे यह रीड ओनली
मेमोरी या िकसी अन्य मीिडया अथवा िकसी अन्य रूप (मूल iOS सॉफ़्टवेयर और iOS सॉफ़्टवेयर अपडेट को सामूिहक रूप से “iOS
सॉफ्टवेयर” कहा गया है) में हो, का लाइसेंस Apple Inc. (“Apple”) द्वारा आपको केवल इस लाइसेंस की शतोर्ं के अधीन उपयोग के
िलए िदया गया है तथा इसे बेचा नहीं गया है। Apple और इसके लाइसेंसदाता iOS सॉफ़्टवेयर का स्वािमत्व अपने पास रखते है और
सभी अिधकारों को अपने पास सुरिक्षत रखते हैं, जो स्पष्ट रूप से आपको प्रदान नहीं हैं। आप सहमित देते हैं िक इस लाइसेंस की शतेर्ं
िकसी भी Apple-ब्रांडेड ऐप पर लागू होंगी िजन्हें हो सकता है िक आपके iOS िडवाइस में डाला गया हो, यिद ऐसे ऐप एक अलग
लाइसेंस के साथ नहीं आते हैं, तो ऐसी िस्थित में आप इस बात से भी सहमत होते हैं िक उस लाइसेंस की शतेर्ं आपके उस ऐप का
उपयोग िनयंित्रत करेंगी।


(ख) Apple अपने िववेकािधकार से भावी iOS सॉफ़्टवेयर अपडेट उपलब्ध करा सकता है। यह आवश्यक नहीं है िक यिद iOS
सॉफ़्टवेयर अपडेट, यिद कोई है, में उन सभी मौजूदा सॉफ़्टवेयर फ़ीचर या नए फ़ीचर को शािमल िकया जाए, िजन्हें iOS िडवाइस के नए
या अन्य मॉडलों के िलए Apple िरलीज़ करता है। इस लाइसेंस की शतेर्ं Apple द्वारा प्रदान िकए गए िकसी भी iOS सॉफ़्टवेयर
अपडेट को िनयंित्रत करेंगी, जब तक िक ऐसे iOS सॉफ़्टवेयर अपडेट एक अलग लाइसेंस के साथ नहीं आते हैं, तो ऐसी िस्थित में आप
इस बात से भी सहमत होते हैं िक उस लाइसेंस की शतेर्ं िनयंित्रत करेंगी।
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 428 of 452




(ग) यिद आप अपने मौजूदा iOS िडवाइस के आधार पर, िकसी नए iOS िडवाइस को सेट अप करने के िलए एक्सप्रेस सेट अप सुिवधा
का इस्तेमाल करते हैं, तो आप सहमित जताते हैं िक इस लाइसेंस की शतेर्ं आपके नए iOS िडवाइस पर मौजूद iOS सॉफ़्टवेयर के
आपके इस्तेमाल को तबतक संचािलत करेगा, जबतक िक यह एक पृथक लाइसेंस के साथ हो, िजस िस्थित में आप सहमत हैं िक उस
लाइसेंस की शतेर्ं उस iOS सॉफ़्टवेयर के आपके इस्तेमाल को संचािलत करेंगी। आपका iOS िडवाइस समय-समय पर iOS सॉफ़्टवेयर
अपडेट्स के िलए Apple से संपकर् करेगा। यिद कोई अपडेट्स उपलब्ध हो, तो वह अपडेट स्वतः ही डाउनलोड हो जाते हैं और आपके
iOS िडवाइस पर इं स्टॉल कर िदए जाते हैं और, यिद लागू होता हो, तो आपके पेिरफ़ेरल िडवाइसों पर भी डाउनलोड हो जाते हैं।
Apple सॉफ़्टवेयर का उपयोग करके, आप सहमत हैं िक Apple आपके iOS िडवाइस पर ऑटोमैिटक iOS सॉफ़्टवेयर अपडेट
को डाउनलोड और इं स्टॉल कर सकता है। सेिटं ग्स > जेनरल > सॉफ़्टवेयर अपडेट के भीतर मौजूद ऑटोमेिटक अपडेट्स सेिटं ग्स को
बदलकर आप िकसी भी समय स्वचािलत अपडेट्स पूणर् रूप से बंद कर सकते हैं।


२. अनुमित प्राप्त लाइसेंस के उपयोग और प्रितबंध।
(क) इस लाइसेंस के िनयम व शतोर्ं के अंतगत,
                                       र् आपको एकल Apple-ब्रांडेड iOS िडवाइस पर iOS सॉफ़्टवेयर का उपयोग करने के
िलए एक सीिमत गैर-िविशष्ट लाइसेंस प्रदान िकया जाता है। नीचे अनुभाग 2(ख) में स्वीकृत प्रावधानों के अितिरक्त, और आपके व
Apple के बीच िकसी पृथक अनुबंध के प्रावधानों के अितिरक्त, यह लाइसेंस िकसी एक समय में एक से अिधक Apple-ब्रांडेड iOS
िडवाइस पर iOS सॉफ़्टवेयर मौजूद रहने की अनुमित नहीं देता है और आप िकसी ऐसे नेटवकर् पर iOS सॉफ़्टवेयर को िवतिरत या
उपलब्ध नहीं करा सकते हैं जहाँ इसका उपयोग एक ही समय पर एकािधक िडवाइस पर िकया जा सकता है। यह लाइसेंस आपको
iOS िडवाइसों के साथ उपयोग करने के िलए, तृतीय पक्ष के िडवाइस और ऐक्सेसरी या तृतीय पक्ष के सॉफ़्टवेयर ऐिप्लकेशन के
िडज़ाइन, िवकास, िनमाण,
                   र् लाइसेंस या िवतरण में Apple के स्वािमत्व वाले िकसी भी इं टरफ़ेस और अन्य बौिद्धक संपदा का उपयोग
करने का कोई अिधकार प्रदान नहीं करता है। इनमें से कुछ अिधकार Apple से िमलने वाले पृथक लाइसेंस में उपलब्ध होते हैं। iOS
िडवाइस के िलए तृतीय पक्ष के िडवाइस और ऐक्सेसरी िवकिसत करने के बारे में अिधक जानकारी के िलए, कृपया https://
developer.apple.com/programs/mfi/ पर जाएँ । iOS िडवाइसेज़ के िलए सॉफ़्टवेयर ऐिप्लकेशन िवकिसत करने के बारे में
अिधक जानकारी के िलए, कृपया https://developer.apple.com पर जाएँ ।


(ख) इस लाइसेंस के िनयम व शतोर्ं के अधीन, आपको iOS सॉफ़्टवेयर अपडेट को डाउनलोड करने के िलए एक सीिमत गैर िविशष्ट
लाइसेंस प्रदान िकया जाता है िजसे Apple द्वारा आपके iOS िडवाइस के मॉडल के िलए उपलब्ध कराया जा सकता है तािक आपके
स्वािमत्व या िनयंत्रण वाले ऐसी िकसी भी iOS िडवाइस पर सॉफ़्टवेयर को अपडेट या रीस्टोर िकया जाए। यह लाइसेंस ऐसे िकसी भी
iOS िडवाइस को अपडेट या रीस्टोर करने की अनुमित आपको नहीं देता है िजसका िनयंत्रण या स्वािमत्व आपके पास नहीं है, और
िकसी ऐसे नेटवकर् पर iOS सॉफ़्टवेयर अपडेट को िवतिरत या उपलब्ध नहीं करा सकते हैं जहाँ इसका उपयोग एक ही समय पर
एकािधक िडवाइस या एकािधक कंप्यूटर पर िकया जा सकता है। यिद आप अपने कंप्यूटर पर iOS सॉफ़्टवेयर अपडेट डाउनलोड करते
हैं, तो आप केवल बैकअप उद्देश्य से अपने कंप्यूटर पर iOS सॉफ़्टवेयर अपडेट्स की एक कॉपी मशीन-रीडेबल फ़ॉमर् में रख सकते हैं,
बशतेर् िक ऑिरिजनल की बैकअप कॉपी में सभी कॉपीराइट या अन्य प्रोपराइटरी नोिटस शािमल हों।


(ग) यहां तक िक, यिद Apple Store से आपके iOS िडवाइस पर खरीदते समय पहले से Apple-ब्रांडेड ऐप्स इं स्टॉल िकया हुआ
(“प्रीइं स्टॉल्ड ऐप्स”) है, तो आपको इसे अपने iOS िडवाइस पर उपयोग करने के िलए अपने App Store में लॉिगन करके इन
प्रीइं स्टॉल्ड ऐप्स को अपने App Store खाते से जोड़ने की आवश्यकता हो सकती है। जब आप अपने App Store अकाउं ट से
प्रेइंस्टॉल्ड ऐप को जोडते हैं, तब आप उसी समय आप अपने सभी प्रीइं स्टॉल्ड ऐप्स को अपने iOS िडवाइस पर जोड़ दें। प्रीइं स्टॉल्ड ऐप्स
को अपने App Store खाते से जोड़ने का चयन करने पर आप इस बात से सहमत होते हैं िक Apple आपके App Store खाते से
उपयोग िकए गए Apple ID और आपके iOS उपकरण से िलए गए िविशष्ट हाडवे
                                                             र् यर पहचानकता,र् दोनों का संचारण, संचयन,
अनुरक्षण, प्रोसेस और उपयोग, आपकी िविशष्ट खाताधारक के रूप में पहचान करके आपके अनुरोधों की योग्यता सत्यािपत करने हेतु
         Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 429 of 452




और App Store के माध्यम से प्रीइं स्टॉल्ड ऐप्स पर आपको पहुँ च प्रदान करने हेतु उपयोग कर सकता है। यिद आप प्रीइं स्टॉल्ड ऐप का
उपयोग नहीं करना चाहते हैं, तो आप उसे अपने iOS उपकरण से िकसी भी समय िडलीट कर सकते हैं।


(घ) आप प्रित बनाने (स्पष्ट रूप से इस लाइसेंस की अनुमित के िबना), िडकंपाइल करने, िरवसर् इं जीिनयर, िडसअसेंबल, इसका स्रोत
कोड प्राप्त करने की कोिशश करने, िडिक्रप्ट करने, संशोिधत करने या iOS सॉफ़्टवेयर या iOS सॉफ़्टवेयर द्वारा प्रदत्त िकसी भी सेवाओं
या उसके िकसी भी भाग (िसवाय उस प्रावधान के अनुसार या केवल उसके दायरे के अधीन िजसमें िकसी लागू कानून द्वारा या iOS
सॉफ़्टवेयर के साथ संभवत: शािमल मुक्त स्रोत घटकों के उपयोग को िनयंित्रत करने वाली लाइसेंिसं ग शतोर्ं द्वारा िकसी पूववतीर् पाबंदी
को प्रितबंिधत िकया जाता है) के यौिगक कायोर्ं को िनिमर् त करने का काम नहीं कर सकते हैं और आप सहमित प्रदान करते हैं िक आप
ऐसा करने में दू सरों को सक्षम नहीं करेंगे।


(ङ) iOS सॉफ़्टवेयर का उपयोग तबतक सामग्री को पुनरुत्पािदत करने के िलए िकया जा सकता है, जबतक िक ऐसा इस्तेमाल गैर-
कॉपीराइट वाली सामग्री, आपके स्वािमत्व वाली कॉपीराइट सामग्री या ऐसी सामग्री के पुनरुत्पादन तक सीिमत होता है, िजसे
पुनरुत्पािदत करने के िलए आप अिधकृत हैं या आपको कानूनी रूप से अनुमित प्राप्त है। आपके iOS िडवाइस में मौजूद और इसके
द्वारा प्रदिशर् त, पर संग्रहीत या उसके माध्यम से ऐक्सेस िकए जाने वाले िकसी भी कॉन्टेंट का शीषक
                                                                                             र् और बौिद्धक संपदा अिधकार,
संबिं धत सामग्री के स्वामी के पास होता है। ऐसी सामग्री कॉपीराइट या अन्य बौिद्धक संपदा क़ानून तथा अनुबंधों द्वारा संरिक्षत हो
सकती है, और इस तरह की सामग्री प्रदान करने वाले तृतीय पक्ष के उपयोग की शतोर्ं के अधीन हो सकती हैं। इस लाइसेंस में िकए गए
वणन
  र् के अितिरक्त यह लाइसेंस आपको ऐसे कॉन्टेंट का उपयोग करने का कोई अिधकार नहीं देता है और न ही यह गारंटी देता है िक
आपको ऐसे कॉन्टेंट की उपलब्धता जारी रहेगी।


(च) इस लाइसेंस के िनयम व शतोर्ं के अधीन, आप iOS सॉफ़्टवेयर में शािमल या इसके द्वारा िनिमर् त Animoji व Memoji कैरेटर
(“िसस्टम कैरेक्टर”) का इस्तेमाल ऐसी पिरिस्थितयों में कर सकते हैं (i) iOS सॉफ़्टवेयर चलाते समय (ii) अपनी िनजी, गैर-
व्यावसाियक इस्तेमाल के िलए अपने खुद के मूल कंटेट तथा प्रॉजेक्ट्स बनाते समय। इस लाइसेंस द्वारा िसस्टम कैरेक्टसर् के िकसी
अन्य इस्तेमाल की अनुमित नहीं है, िजसमें व्यापक रूप से शािमल हैं- िकसी भी िसस्टम कैरेक्टसर् का िकसी लाभ, गैर-लाभ, पिब्लक
शेयिरं ग या व्यापािरक संदभर् में इस्तेमाल, पुनरुत्पादन, िडस्प्ले, प्रदशन,
                                                                       र् िरकॉिडर्ं ग, प्रकाशन या पुनिवर् तरण करना।


(छ) आप iOS सॉफ़्टवेयर और सेवाओं (जैसा िक नीचे अनुभाग 5 में पिरभािषत िकया गया है) का उपयोग सभी लागू कानूनों का पालन
करते हुए, करने के िलए सहमत होते हैं िजसमें उस देश या क्षेत्र के स्थानीय कानून शािमल होते हैं िजसमें आप रहते हैं या िजसमें आप
iOS सॉफ़्टवेयर और सेवाओं को डाउनलोड या उपयोग करते हैं। संभव है िक iOS सॉफ़्टवेयर और सेवाओं के फ़ीचर सभी भाषाओं या
क्षेत्रों में उपलब्ध न हों, कुछ फ़ीचर क्षेत्र के अनुसार अलग हो सकते हैं और कुछ फ़ीचर प्रितबंिधत या आपके सेवा प्रदाता के पास
अनुपलब्ध हो सकते हैं। iOS सॉफ़्टवेयर व सेवाओं की कुछ सुिवधाओं के िलए Wi-Fi या सेलुलर डेटा कनेक्शन की आवश्यकता होती
है।


(ज) App Store के उपयोग के िलए एक िविशष्ट यूजर नाम और पासवडर् संयोजन की आवश्यकता होती है, िजसे Apple ID कहा
जाता है। ऐप अपडेट और iOS सॉफ़्टवेयर और सेवाओं के कुछ फ़ीचर को ऐक्सेस करने के िलए भी Apple ID होना आवश्यक है।


(झ) इसके अलावा, आप यह भी स्वीकार करते हैं िक iOS सॉफ़्टवेयर के कई फ़ीचर, िबल्ट-इन ऐप्स और सेवाओं द्वारा डेटा ट्रांसिमट
िकया जाता है और इससे आपके डेटा प्लान के शुल्कों पर असर पड़ सकता है और यह िक आप ऐसे िकसी भी शुल्क के िलए िजम्मेदार
होते हैं। आप िनयंित्रत कर सकते हैं और देख सकते हैं िक कौन से ऐिप्लकेशन को सेलुलर डेटा उपयोग करने की अनुमित है और आप
सेलुलर डेटा सेिटं ग्ज़ के अंतगत
                             र् यह आकलन देख सकते हैं िक ऐसे ऐिप्लकेशन ने िकतने डेटा का उपयोग िकया है। इसके अलावा, जब
आपके पास कमजोर Wi-Fi कनेक्शन होता है, तब Wi-Fi अिसस्ट स्वचािलत रूप से सेलुलर पर बदल जाएगा, िजससे अिधक सेलुलर
           Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 430 of 452




डेटा का इस्तेमाल हो सकता है और आपके डेटा प्लान के शुल्क प्रभािवत हो सकते हैं। Wi-Fi अिसस्ट िडफ़ॉल्ट रूप से ऑन रहता है,
पर सेिट6ग्स के तहत इसे िनिष्क्रय िकया जा सकता है। अिधक जानकारी के िलए, कृपया अपने iOS िडवाइस की यूज़र गाइड देखें।


(ञ) यिद आपने स्वचािलत ऐप अपडेट का चयन िकया है, तो आपका iOS िडवाइस अपने ऐप्स के अपडेट्स के िलए समय-समय पर
Apple के संपकर् करेगा और कोई अपडेट उपलब्ध होगा, तो उसे स्वचािलत रूप से डाउनलोड पर आपके उपकरण पर इं स्टॉल कर िदया
जाएगा। सेिटं ग्स में जाकर, iTunes & App Store पर टैप कर और ऑटोमैिटक डाउनलोड् स जाकर अपडेट्स को ऑफ़ कर आप
िकसी भी समय ऑटोमैिटक ऐप अपडेट्स को बंद कर सकते हैं।


(ट) अपने iOS िडवाइस का कुछ पिरिस्थितयों में उपयोग करने से आपका ध्यान भटक सकता है और एक ख़तरनाक िस्थित उत्पन्न हो
सकती है (उदाहरण के िलए, कार चलाते हुए टेक्स्ट संदेश टाइप करने या साइिकल चलाते हुए हेडफ़ोन का उपयोग करने से बचें)। अपने
iOS िडवाइस का उपयोग करके आप सहमित देते हैं िक आप उन िनयमों का पालन करने के िलए स्वयं िजम्मेदार हैं जो मोबाइल फ़ोन
या हेडफ़ोन के उपयोग को प्रितबंिधत या सीिमत करते हैं (उदाहरण के िलए, गाड़ी चलाते समय कॉल करने के िलए हैंड्स-फ़्री िवकल्प
उपयोग करने की ज़रूरत)।


३. ट्रांसफ़र करें। आप iOS सॉफ़्टवेयर को िकराए या पट्टे पर नहीं दे सकते या बेच नहीं सकते या सब-लाइसेंस नहीं कर सकते या
पुनिवर् तिरत नहीं कर सकते हैं। हालाँिक, आप अपने iOS सॉफ़्टवेयर के स्वािमत्व के ट्रांसफ़र के संबंध में iOS सॉफ़्टवेयर के अपने
समस्त लाइसेंस अिधकार एक बार में स्थायी रूप से अन्य पक्ष को ट्रांसफ़र कर सकते हैं, बशतेर् िक: (क) ट्रांसफ़र में आपका iOS
िडवाइस और समस्त iOS सॉफ़्टवेयर शािमल होने चािहए, िजसमें इसके सभी घटक और यह लाइसेंस शािमल है; (ख) आप iOS
सॉफ़्टवेयर की कोई भी प्रित, संपण
                               ू र् या आं िशक रूप से अपने पास नहीं रखते हैं िजसमें कंप्यूटर या अन्य स्टोरेज िडवाइस पर संग्रहीत
प्रितयाँ शािमल होती हैं; और (ग) iOS सॉफ़्टवेयर प्राप्त करने वाला पक्ष इस लाइसेंस के िनयम व शतोर्ं को पढ़ता है व इनसे सहमत
होता है।


४. डेटा के उपयोग की अनुमित। जब आप अपने िडवाइस का इस्तेमाल करते हैं, तो आपका फ़ोन नम्बर और आपके iOS िडवाइस के
िलए कुछ यूनीक आइटेंिटफ़ायसर् Apple को भेज िदया जाता है, तािक iOS सॉफ़्टवेयर, जैसे िक iMessage व FaceTime के
िविभन्न कम्युिनकेशन फ़ीचसर् का इस्तेमाल कर दू सरों को आपके फ़ोन नम्बर तक पहुँ च प्रदान िकया जा सके। जब आप iMessage
का इस्तेमाल करते हैं, तो Apple आपके संदेशों की आपूितर् सुिनिश्चत करने के िलए उन्हें एक सीिमत अविध तक एं िक्रप्टेड रूप में रख
सकता है। आप अपने iOS िडवाइस पर फ़ेसटाइम या मेसैज सेिटं ग्स में जाकर FaceTime या iMessage को बंद कर सकते हैं। कुछ
सुिवधाएँ जैसे िक ऐनािलिटस्क, लोकेशन सिवर् सेज़, Siri, तथा िडक्टेशन को अपने संबिं धत िक्रयाएँ प्रदान करने के िलए आपके iOS
िडवाइस से सूचना की आवश्यकता पड़ सकती है। जब आप इन फ़ीचर को चालू या उपयोग करते हैं तो इस संबंध में िववरण प्रदान
िकए जाएँ गे िक Apple को कौन सी सूचना भेजी गई और इस सूचना का उपयोग कैसे िकया जा सकता है। आप https://
www.apple.com/privacy/ पर जाकर अिधक जान सकते हैं। आपकी जानकारी को हर समय Apple की गोपनीयता नीित के
अनुसार व्यवहार में लाया जाएगा, िजसे यहाँ देखा जा सकता है : https://www.apple.com/legal/privacy/.


५. सेवाएँ और तृतीय पक्ष की सामग्री।
(क) iOS सॉफ़्टवेयर, Apple के iTunes Store, App Store, Apple Books,Game Center, iCloud, Maps और Apple की
अन्य तथा तृतीय पक्ष की सेवाओं और वेबसाइटों (एकित्रत और अलग-अलग “सेवाएँ ”) पर ऐक्सेस को सक्षम कर सकता है। संभव है
िक उक्त सेवाएँ सभी भाषाओं और सभी क्षेत्रों में उपलब्ध न हों। इन सेवाओं के उपयोग के िलए इं टरनेट और कुछ िनिश्चत सेवाओं के
उपयोग के िलए Apple ID की आवश्यकता हो सकती है, आपको सेवा की शतोर्ं को स्वीकार करने की आवश्यकता हो सकती है और
यह अितिरक्त शुल्क का िवषय हो सकता है। Apple ID या अन्य Apple सेवा के संबंध में इस सॉफ़्टवेयर का उपयोग करके, आप
उक्त सेवा की लागू सेवा शतोर्ं से सहमत होते हैं उदाहरण के िलए उस देश के िलए Apple मीिडया सेवा के नवीनतम िनयम व शतेर्ं
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 431 of 452




िजसमें आप उक्त सेवा को ऐक्सेस करते हैं, इन िनयम व शतोर्ं को आप यहाँ https://www.apple.com/legal/internet-
services/itunes/ भी देख सकते हैं।


(ख) यिद आप iCloud के िलए साइन इन करते हैं तो कुछ iCloud फ़ीचर जैसे “iCloud तस्वीर”, “My Photo Stream”, “शेयर
िकए गए ऐल्बम”, “Back Up” and “Find My iPhone” को सीधा iOS सॉफ़्टवेयर से ऐक्सेस िकया जा सकता है। आप यह
स्वीकार करते हैं और सहमत होते हैं िक iCloud और इन फ़ीचर का आपके द्वारा उपयोग िकया जाना, iCloud सेवा के नवीनतम िनयम
व शतोर्ं के अधीन होता है िजसे आप यहाँ से ऐक्सेस कर सकते हैं और देख सकते हैं: https://www.apple.com/legal/internet-
services/icloud/.


(ग) News ऐप कंटेंट। News ऐिप्लकेशन के जिरए ऐक्सेस िकए कंटेट का आपका उपयोग केवल िनजी, गैर-व्यावसाियक उपयोग के
िलए सीिमत है, कंटेट में आपको कोई भी स्वािमत्व लाभ हस्तांतिरत नहीं िकया जाता है, और िवशेष रूप से ऐसे कंटेट में कोई भी
व्यावसाियक या प्रचार के उपयोग का अिधकार बग़ैर िकसी सीमा के विजर् त है। इसके अलावा, आपके िलए News के द्वारा एकल
फ़ाइल के रूप में पहुँ च प्राप्त िकए गए िकसी ऑिडयो को पुनप्रका
                                                          र् िशत करना, पुनःसंचािरत करना और पुनरुत्पािदत करना िनिषद्ध है।


(घ) मैप्स। iOS सॉफ़्टवेयर की मैप्स सेवा और फ़ीचर (“Maps”) िजसमें मैप डेटा कवरेज शािमल होती है, हर क्षेत्र के िलए अलग हो
सकते हैं। जब आप नक़्शा के भीतर िकसी स्थान आधािरत फ़ीचर उपयोग करते हैं जैसे मोड़-दर-मोड़ नैिवगेशन, ट्रैिफ़क और स्थानीय
खोज तो स्थान आधािरत और उपयोग संबंधी कई जानकारी Apple को भेजी जा सकती हैं िजसमें आपके iOS िडवाइस की िरयल
टाइम भौगोिलक िस्थित शािमल होती है तािक आपके अनुरोध पर काम िकया जा सके और नक़्शा को बेहतर बनाया जा सके। उक्त
स्थान और उपयोग संबंधी डेटा Apple द्वारा ऐसे रूप में एकत्र िकया जाता है िजससे आपकी व्यिक्तगत पहचान नहीं होती है। नक़्शा
का उपयोग करके आप Apple को और उसकी सहायक कंपिनयों और एजेंटों को नक़्शा के फ़ीचर और सेवाओ ं तथा Apple के
अन्य उत्पादों और सेवाओ ं को प्रदान करने व सुधारने हेतु इस जानकारी को हस्तांतिरत करने, एकत्र करने, रखरखाव करने, प्रोसेस
करने और उपयोग करने की स्वीकृित दे ते हैं और सहमित प्रदान करते हैं। Apple द्वारा ऐसी जानकारी अपने साझेदारों और
लाइसेंसधािरयों को भी या तो संग्रिहत या व्यिक्तगत रूप से पहचान नहीं होने वाले रूप में प्रदान की जा सकती है तािक उन्हें अपना
नक्शा और स्थान आधािरत उत्पादों तथा सेवाओं को बेहतर बनाने में सहायता िमल सके। आप अपने iOS िडवाइस पर स्थान सेवा
सेिटं ग्ज़ पर जाकर और नक़्शा के िलए पृथक स्थान सेिटं ग्ज़ को बंद करके, Maps की स्थान आधािरत कायात्मकता
                                                                                              र्     को अक्षम कर
सकते हैं। हालाँिक नक़्शा के कुछ फ़ीचर अनुपलब्ध हो सकते हैं यिद आप स्थान सेवा सेिटं ग्ज़ को अक्षम कर देते हैं जैसे मोड़-दर-मोड़
नैिवगेशन।


(ङ) आपने यह भी समझ िलया है िक िकसी भी सेवा का उपयोग करते समय आपके सामने अपमानजनक, अश्लील या आपित्तजनक
लगने वाली सामग्री आ सकती है िजसकी भाषा के अश्लील होने को स्पष्ट रूप से पहचाना जा सकता है या पहचाना नहीं भी जा सकता
है तथा ऐसी िकसी भी खोज या िविशष्ट URL को दजर् करने के पिरणामस्वरूप स्वचािलत रूप से और अनजाने में आपित्तजनक सामग्री
के िलं क या संदभर् प्राप्त हो सकते हैं। इसके बावजूद, आप एकमात्र रूप से अपने जोिखम पर सेवा का उपयोग करने के िलए सहमत होते
हैं और यह िक Apple, उसकी संबद्ध कंपिनयों, एजेंट, िप्रं सीपल या लाइसेंसदाताओं का आपके प्रित ऐसा कोई दाियत्व ऐसे कॉन्टेंट के
िलए नहीं होगा िजसे अिप्रय, अमयािर् दत या आपित्तजनक पाया जा सकता है।


(च) कुछ सेवाएँ तृतीय पक्ष (“तृतीय पक्ष की सामग्री”) से कॉन्टेंट, डेटा, जानकारी ऐिप्लकेशन या सामग्री को प्रदिशर् त, शािमल या
उपलब्ध करा सकती हैं या कुछ तृतीय पक्ष की वेबसाइट की िलं क प्रदान कर सकती हैं। सेवाओं का उपयोग करके आप इसके बारे में
सहमत होकर स्वीकृत कर रहे है िक सामग्री को जांचना या उसका मूल्यमापन, शुद्धता, पूणता,
                                                                                र् सामियकता, मान्यता, कॉपीराइट का
अनुपालन, वैधता, औिचत्य, गुणवत्ता या ऐसे िकसी भी तीसरे पक्ष के सामग्री या वेब साईट के अन्य पहलु के िलए Apple िजम्मेदार नहीं
रहेगा। Apple, इसके अिधकारी, सहायक और संबद्ध कंपिनयाँ िकसी भी तृतीय पक्ष सेवा, तृतीय पक्ष सामग्री या वेबसाइट या िकसी
         Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 432 of 452




अन्य सामग्री, उत्पादों या तृतीय पक्ष की सेवाओं के िलए आश्वासन या अनुमोदन प्रदान नहीं करते हैं और इनके संबंध में आपके या
िकसी अन्य व्यिक्त के िलए इनका कोई दाियत्व या िजम्मेदारी नहीं होगी। तृतीय पक्ष सामग्री और अन्य वेबसाइट के िलं क केवल
आपकी सुिवधा के िलए प्रदान िकए जाते हैं।


(छ) ना ही Apple और ना ही उसके कंटेंट प्रदाता स्टॉक जानकारी, स्थान डेटा या िकसी भी सेवाएँ द्वारा प्रदिशर् त िकए जानेवाले िकसी
भी अन्य डेटा की उपलब्धतता, शुद्धता, पूणता,
                                       र् िवश्वसनीयता या सामियकता की गारंटी देते हैं। िकसी भी सेवा द्वारा प्रदिशर् त िवत्तीय
जानकारी केवल सामान्य सूचना प्रदान करने के उद्देश्य से प्रदान की जाती है और इसे िनवेश सलाह मानकर इसपर िनभरर् नहीं रहना
चािहए। सेवा के माध्यम से प्राप्त सूचना के आधार पर कोई भी प्रितभूित लेनदेन करने से पहले, आपको ऐसे िवत्तीय या प्रितभूित
पेशेवरकिमर् यों से सलाह लेनी चािहए जो आपके देश या क्षेत्र में िवत्तीय या प्रितभूित सलाह देने के िलए कानूनी रूप से योग्य होते हैं।
Apple नक़्शे सेवा सिहत िकसी भी सेवाएँ द्वारा प्रदान िकया जाने वाला स्थान डेटा केवल मूलभूत नेिवगेशनल और िनयोजन उद्देशों के
िलए प्रदान िकया गया है और जहाँ सटीक स्थान की जानकारी आवश्यक हो या जहाँ अशुद्ध, ग़लत, पुराने या अधूरे स्थान डेटा के
कारण मृत्यु, व्यिक्तगत क्षित संपित्त या पयाव
                                           र् णात्मक
                                                र्   नुकसान हो सकता हो ऐसी िस्थित में उस पर िनभरर् रहने के उद्देश्य हेतु तैयार नहीं
िकया गया है। आप सहमत होते हैं िक नक़्शा सेवा द्वारा आपको िमलने वाले पिरणाम उन कारणों की वजह से वास्तिवक सड़क या
भूभाग िस्थितयों से अलग हो सकते हैं िजनसे नक़्शा डेटा की सटीकता प्रभािवत हो सकती है जैसे मौसम, सड़क व ट्रैिफ़क िस्थितयाँ और
भूराजनीितक घटनाएँ हालाँिक इनमें कुछ और कारण भी शािमल हो सकते हैं। आपकी सुरक्षा के िलए नैिवगेशन फ़ीचर का उपयोग करते
हुए, हमेशा सड़क पर लगाए गए िचह्नों और सड़क की वतमान
                                              र्  िस्थितयों पर ध्यान दें। सुरिक्षत ड्राइिवं ग के तौर-तरीक़ों और ट्रैिफ़क के
िविनयमों का पालन करें और ध्यान दें िक पैदल जाने के रास्तों में पटरी या फुटपाथ शािमल नहीं हो सकते हैं।


(ज) सेवाएँ का उपयोग करके िकसी भी कंटेंट को अपलोड िकए जाने पर आप यह दशाते
                                                                      र् हैं िक आपके पास ऐसे कंटेंट को अपलोड
करने के सभी अिधकार या प्रािधकार हैं या िफर आपको क़ानूनी तौर इसकी अनुमित दी गई है और यह िक ऐसा कंटेंट सेवाएँ पर लागू
होने वाली िकसी भी सेवा शतर् का उल्लंघन नहीं करता है। आप सहमत हैं िक सेवाएँ में इस साइट के स्वामी Apple के स्वािमत्व वाली
या उनके लाइसेंसधारकों के स्वािमत्व का कॉन्टेंट, सूचना और सामग्री शािमल है, और जो बौिद्धक संपदा और अन्य कानूनों द्वारा संरिक्षत
है, िजसमें कॉपीराइट शािमल है लेिकन जो इस तक ही सीिमत नहीं है। आप सहमित देते हैं िक आप ऐसे स्वािमत्व वाले कॉन्टेंट, सूचना
या सामग्री का सेवाएँ के अनुमत उपयोग के अलावा या अन्य िकसी भी तरह से इसका उपयोग नहीं करेंगे जो इस लाइसेंस की शतोर्ं के
असंगत है या तृतीय पक्ष या Apple के िकसी भी बौिद्धक संपदा अिधकार का उल्लंघन करता हो। सेवा के िकसी भी भाग को िकसी भी
रूप या साधन के द्वारा पुनरुत्पािदत नहीं िकया जाएगा। आप िकसी भी प्रकार से सेवा पर आधािरत यौिगक कायोर्ं को संशोिधत,
िकराये, पट्टे पर देने, उधार के रूप में देने, बेचने, िवतिरत या िनिमर् त न करने की सहमित प्रदान करते हैं और आप िकसी भी प्रकार से
िकसी भी अनिधकृत तरीक़े से सेवा का दोहन नहीं करेंगे िजसमें िकसी कंप्यूटर वायरस, वॉम,र् ट्रोज़न होसर् या अन्य मालवेयर को ट्रांसिमट
करने के िलए या नेटवकर् क्षमता में सेंध लगाने या उसपर भार डालने के िलए सेवा का उपयोग करना शािमल होता है िकं तु इन्हीं तक
सीिमत नहीं है। आप इसके िलए भी सहमित प्रदान करते हैं िक आप उत्पीड़न, दुव्यवहार,
                                                                        र्    पीछा करने, धमकाने, बदनाम करने या अन्य
प्रकार से िकसी भी अन्य पक्ष के अिधकारों का अितक्रमण या उल्लंघन करने के िलए सेवा का उपयोग नहीं करेंगे और यह िक आपके
द्वारा ऐसे िकसी भी उपयोग के िलए और सेवा का उपयोग करने पर आपको प्राप्त होने वाले िकसी भी उत्पीड़क, धमकाने वाले, बदनाम
करने वाले, अिप्रय, अितक्रमण करने वाले या गैरकानूनी संदेश या ट्रांसिमशन के िलए Apple िकसी भी प्रकार से िजम्मेदार नहीं होता है।


(झ) इसके अितिरक्त, iOS िडवाइस द्वारा ऐक्सेस की जाने वाली, इससे िलं क या इसपर प्रदिशर् त की जाने वाली सेवाएँ और तृतीय पक्ष
की सामग्री सभी भाषाओं या सभी देशों या प्रदेशों में उपलब्ध नहीं हैं। Apple ऐसा कोई दावा नहीं करता है िक ऐसी सेवा और तृतीय
पक्ष सामग्री उिचत हैं और िकसी भी स्थान से इनका उपयोग िकया जा सकता है। िजस सीमा तक आप ऐसी सेवा और तृतीय पक्ष
सामग्री का उपयोग करना या उन्हें ऐक्सेस करने का िवकल्प चुनते हैं, आप ऐसा अपनी स्वयं की पहल से करते हैं और िकसी भी ऐसे
लागू स्थानीय कानूनों के अनुपालन के िलए िजम्मेदार होते हैं िजनमें लागू होने वाले स्थानीय कानून और गोपनीयता व डेटा संग्रह कानून
शािमल हैं परंतु इन्हीं तक सीिमत नहीं हैं। अपने iOS िडवाइस के जिरए फ़ोटोज़ शेयिरं ग या िसं िकं ग करने से मेटाडेटा पैदा हो सकते हैं,
         Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 433 of 452




िजसमें वह स्थान भी शािमल होता है जहाँ फ़ोटो ली गई थी और फ़ोटोज़ के साथ हस्तांतिरत िकए जाने वाली डेप्थ सूचना भी शािमल
रहती है। ऐसी फ़ोटोज़ को शेयर या िसं क करने के िलए Apple सेवाओं के इस्तेमाल (जैसे िक iCloud Photo Library) Apple को
ऐसे मेटाडेटा प्राप्त होंगे और वह उसे स्टोर करेगा। Apple और इसके लाइसेंसधारी के पास िबना िकसी सूचना के िकसी भी समय
िकसी भी सेवा को बदलने, िनलंिबत करने, िनकालने या अक्षम करने का अिधकार सुरिक्षत है। िकसी भी िस्थित में Apple ऐसी िकसी
भी सेवा तक ऐक्सेस हटाए जाने या अक्षम करने के िलए उत्तरदायी नहीं होगा। Apple िकसी भी िस्थित में और िबना िकसी सूचना या
दाियत्व के कुछ सेवाओं के उपयोग या उन तक ऐक्सेस की सीमाएँ भी लागू कर सकता है।


६. समािप्त। यह लाइसेंस समाप्त िकए जाने तक प्रभावी रहेगा। यिद आप इस लाइसेंस की िकसी भी शतर् का अनुपालन करने में
िवफल होते हैं, तो इस लाइसेंस के अंतगत
                                    र् आपके अिधकारों को ऑटोमैिटकली समाप्त िकया जाएगा या अन्यथा Apple की ओर से
िबना सूचना के स्थगन प्रभावी होगा। इस लाइसेंस के समाप्त होने पर, iOS सॉफ़्टवेयर के आपके समस्त उपयोग को रोक िदया जाएगा।
 इस लाइसेंस के अनुभाग ४, ५, ६, ७, ८, ९, १२ और १३ ऐसे िकसी भी समापन के दौरान अिस्तत्व में रहेंगे।


७. वारंिटयों का अस्वीकरण।
७.१ यिद आप ग्राहक हैं जो उपभोक्ता है (ऐसा व्यिक्त जो अपने व्यापार, व्यवसाय या पेशे के अलावा iOS सॉफ़्टवेयर का उपयोग
करता है) तो आपके पास अपने िनवास देश के ऐसे कानूनी अिधकार हो सकते हैं जो आप पर लागू होने वाली िनम्निलिखत सीमाओं को
प्रितबंिधत करेंगे और प्रितबंिधत होने पर वे आप पर लागू नहीं होंगे। अिधकारों के बारे में अिधक जानने के िलए, आपको स्थानीय
उपभोक्ता सलाह संस्था से संपकर् करना चािहए।


७.२ आप स्पष्ट रूप से यह स्वीकार करते हैं और इस बात िक सहमित देते हैं िक प्रयोज्य क़ानून द्वारा अनुमत सीमा तक, iOS
सॉफ़्टवेयर के उपयोग और iOS सॉफ़्टवेयर द्वारा िनष्पािदत सेवाएं और उसकी पहुंच-प्रािप्त का जोिखम पूणर् रूप से आप पर है और
संतोषजनक गुणवत्ता, िनष्पादन, शुद्धता और प्रयास का पूरा जोिखम भी आप पर है।


७.३ लागू हो सकनेवाले क़ानून से प्राप्त अनुमित के अनुसार अिधकतम उपयोग के िलए iOS सॉफ़्टवेयर और सेवाओं को “जैसे है वैसे”
और “जैसे उपलब्ध है वैसे” के अनुसार सभी दोष और िकसी भी प्रकार के वारंटी के िबना प्रदान िकया गया है, और APPLE तथा
APPLE के लाइसेंसधारक (अनुभाग ७ और ८ के हेतु एकित्रत रूप से उन्हें APPLE के रूप संदिभर् त िकया जाएगा) इसके अनुसार जो
व्यक्त होती है, ध्विनत या वैधािनक होती है ऐसी सभी वारंिटयों और शतोर्ं को iOS सॉफ़्टवेयर और सेवाओं के संदभर् में अस्वीकृत करते
हैं जो ध्विनत वारंिटयां और/या बाजार में लाने योग्य िस्थितयों, संतोषजनक गुणवत्ता, िविशष्ट हेतु के िलए अनुकूल, शुद्धता, आनंद तथा
तीसरे पक्ष के अिधकारों का उल्लंघन यहां तक सीिमत नहीं हैं।


७.४ APPLE द्वारा ऐसा कोई आश्वासन नहीं िदया जाता है िक आपके iOS सॉफ़्टवेयर और सेवा के आनंद में हस्तक्षेप नहीं आएगा, िक
इस सॉफ़्टवेयर में शािमल फ़ंक्शन या िनष्पािदत और प्रदान की गई सेवा द्वारा iOS सॉफ़्टवेयर आपकी आवश्यकताओं को पूरा करेगा,
यह िक iOS सॉफ़्टवेयर और सेवा का पिरचालन िनबाध
                                            र् या त्रुिट-मुक्त रहेगा, कोई भी सेवाएं िनरंतर उपलब्ध रहेंगी, iOS सॉफ़्टवेयर या
सेवा में ख़राबी को सुधारा जाएगा या यह िक iOS सॉफ़्टवेयर को सुसंगत बनाया जाएगा या िकसी तृतीय पक्ष के सॉफ़्टवेयर,
ऐिप्लकेशन या तृतीय पक्ष की सेवाओं के साथ कायर् करेगा। iOS सॉफ़्टवेयर को इं स्टॉल करने से तृतीय पक्ष सॉफ़्टवेयर, ऐिप्लकेशन या
तृतीय पक्ष सेवाओं, साथ ही APPLE उत्पादों और सेवाओं की उपलब्धता और उपयोिगता प्रभािवत हो सकती है।


७.५ आप यह भी स्वीकार करते हैं िक iOS सॉफ़्टवेयर और सेवा को ऐसी पिरिस्थितयों या पयावरण
                                                                                  र्  के उद्देश्य से नहीं बनाया गया है
जहाँ िवफलता या समय में िवलंब या त्रुिटयाँ या पुनरावृित्तयों में iOS सॉफ़्टवेयर द्वारा प्रदान की जाने वाली सामग्री या सेवा, मृत्यु,
व्यिक्तगत क्षित, या गंभीर शारीिरक या पयावरणीय
                                        र्    क्षित का कारण बन सकते हैं, िजसमें िबना प्रितबंध के नािभकीय सुिवधाएं , िवमान
नेिवगेशन या संचार व्यवस्था, हवाई यातायात िनयंत्रण, जीवन समथन
                                                           र् या आयुध प्रणािलयाँ भी शािमल हैं।
         Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 434 of 452




७.६ APPLE या APPLE अिधकृत प्रितिनिध द्वारा कोई भी मौिखक या िलिखत जानकारी या सलाह नहीं दी जाती है िजससे कोई वारंटी
िनिमर् त होती हो। iOS सॉफ़्टवेयर या सेवा के त्रुिटपूणर् होने पर, आपको आवश्यक सेवाओं, मरम्मत या सुधार या पूणर् लागत का वहन
करना होगा। कुछ न्यायािधकार अन्तिनर् िहत वारंटी या प्रयोज्य संवैधािनक सीमाओं या ग्राहकों के िलए लागू होने वाले संवैधािनक
अिधकारों का अपवजन
                र् नहीं करते हैं, इसिलए उपरोक्त अपवजन
                                                    र् और सीमाएं आप पर लागू नहीं हो सकती हैं।


८. उत्तरदाियत्व की मयादा।
                      र्  लागू क़ानूनों के द्वारा िनिषद्ध न होने की सीमा तक िकसी भी पिरिस्थित में Apple, इसकी सहायक
कंपिनयाँ, एजेंट या िप्रं सीपल, iOS सॉफ़्टवेयर और सेवा या िकसी अन्य तृतीय पक्ष के सॉफ़्टवेयर या ऐिप्लकेशन के iOS सॉफ़्टवेयर के
साथ आपके द्वारा िकए गए उपयोग या उपयोग करने की अक्षमता के कारण हुई व्यिक्तगत क्षित या कोई अपघात, िवशेष, अप्रत्यक्ष या
पिरणामी नुकसान के िलए उत्तरदायी नहीं होंगे, िजसमें असीिमत रूप से शािमल है डेटा करप्शन या नुकसान, डेटा को संचािरत या प्राप्त
करने में िवफलता, व्यावसाियक व्यवधान या अन्य वािणिज्यक नुकसान या हािनयाँ, भले ही ऐसा नुकसान या हािन देयता के िसद्धान्त
(अनुबंध, अपकृत्य या अन्यथा) के अंतगत
                                   र् मान्य हो और भले ही ऐसे नुक़सानों की संभावना से Apple को अवगत करा िदया गया हो।
कुछ अिधकार क्षेत्र उत्तरदाियत्व अपवजन
                                    र् या मयादाओं
                                             र्   को व्यिक्तगत क्षित या संलग्न तथा पिरणाम स्वरुप नुकसान के िलए अनुमित
नहीं देते है, इसिलए ऐसी मयादाएं
                           र्   आप पर लागू नहीं हो सकती। िकसी भी िस्थित में सभी (व्यिक्तगत क्षित की िस्थितयों में प्रयोज्य
क़ानून के अितिरक्त) क्षितयों के िलए Apple का कुल दाियत्व दो सौ पचास डॉलर ($२५०.००) की रािश से अिधक नहीं होगा। यिद
उपरोक्त घोिषत उपाय अपने आवश्यक प्रयोजन में िवफल होते हैं, तब भी यह पूवगामी
                                                                      र्   प्रितबंध लागू होंगे।


९. िडिज़टल सिटर् िफ़केट् स। iOS सॉफ़्टवेयर में ऐसी िक्रयात्मकता मौजूद रहती हैं, जो Apple या तीसरे पक्षों से जारी िडिज़टल
सिटर् िफ़केट् स को स्वीकार करने की अनुमित देती है। Apple या तीसरे पक्ष द्वारा जारी सिटर् िफ़केट पर भरोसा िकया जाए या न िकया
जाए, यह फ़ैसला लेने के िलए पूणर् रूप से आप ही िजम्मेदार हैं । िडिज़टल सिटर् िफ़केट् स का आपका इस्तेमाल आपके जोिखम पर है।
प्रयोज्य कानून की अिधकतम अनुमित सीमा तक, मचेर्ंटैिब्लटी या िकसी ख़ास उद्देश्य के िलए उपयुक्तता, सटीकता, िसक्योिरटी या
िडिज़टल सिटर् िफ़केट् स के संदभर् में तृतीय पक्ष के अिधकारों के गैर-उल्लंघन का Apple कोई भरोसा, या कोई आश्वासन नहीं देता, न ही
प्रकट करता या संकेत करता है।


१०. िनयात
        र् िनयंत्रण। संयुक्त राज्य अमेिरका के क़ानून द्वारा अिधकृत और क़ानून का क्षेत्रािधकार िजसके अंतगत
                                                                                                      र् iOS सॉफ़्टवेयर प्राप्त
िकया गया था, इसके िसवाय आप iOS सॉफ़्टवेयर का उपयोग या इसका िनयात
                                                               र् या पुनः िनयात
                                                                              र् नहीं कर सकते हैं। िवशेष रूप से,
लेिकन िबना बंधन के, iOS सॉफ़्टवेयर को (क) संयुक्त राज्य अमेिरका द्वारा प्रितबंिधत देश में या (ख) िवशेष रूप से नािमत राष्ट्रों की
अमेिरकी ट्रेज़री िवभाग की सूची या अमेिरकी वािणज्य िवभाग के खािरज व्यिक्तयों या िनकाय की सूची या अन्य िकसी प्रितबंिधत पक्षों
की सूची में िनिहत िकसी व्यिक्त को िनयात
                                      र् या पुन:िनयात
                                                    र् नहीं िकया जा सकता है। iOS सॉफ़्टवेयर का उपयोग करके, आप दशाते
                                                                                                                 र्
और आश्वािसत करते हैं िक आप ऐसे िकसी भी देश में िस्थत नहीं हैं या सूची में उपिस्थत नहीं हैं। आप इससे भी सहमत हैं िक आप
संयुक्त राज्य अमेिरका के क़ानून द्वारा िनिषद्ध िकसी भी उद्देश्य के िलए iOS सॉफ़्टवेयर का उपयोग नहीं करेंगे, िजसमें िबना प्रितबंध के
िवकास, िडजाइन, िविनमाण
                     र् या िमसाइल या परमाणु, रासायिनक या जैिवक हिथयारों का उत्पादन शािमल हैं।


११. सरकार लक्ष्य प्रयोक्ता। iOS सॉफ़्टवेयर और संबिं धत प्रलेखन “वािणिज्यक आइटम” हैं, जैसे िक यह शब्द 48 C.F.R. §2.101 में
पिरभािषत है िजसमें “वािणिज्यक कंप्यूटर सॉफ़्टवेयर” और “वािणिज्यक कंप्यूटर सॉफ़्टवेयर प्रलेखन” के अनुसार, ऐसे शब्दों का
उपयोग 48 C.F.R. §12.212 या 48 C.F.R. §227.7202 में िकया जाता है, इनके अनुसार प्रयोज्य है। 48 C.F.R. §12.212 या 48
C.F.R. §227.7202-1 के अनुरूप 227.7202-4 के द्वारा, जैसा प्रयोज्य है, वािणिज्यक कंप्यूटर सॉफ़्टवेयर और व्यावसाियक कंप्यूटर
सॉफ़्टवेयर प्रलेखन अमेिरका सरकार लक्ष्य प्रयोक्ता द्वारा लाइसेंस प्राप्त हैं (क) केवल वािणिज्यक वस्तुओ ं के रूप में और (ख) केवल वे
अिधकार जो सभी लिक्षत प्रयोक्ताओं के िलए िनयमों और शतोर्ं के अनुसार इसमें स्वीकृत हैं। अप्रकािशत-अिधकार संयुक्त अमेिरका के
कॉपीराइट क़ानून के द्वारा सुरिक्षत हैं।
         Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 435 of 452




१२. कानून और िवच्छे दनीयता पर िनयंत्रण। यह लाइसेंस कैिलफ़ोिनर् या राज्य के क़ानून के अनुसार शािसत और अनुमािनत होगा,
इसके िनजी अंतराष्ट्रीय
               र्      कानून के िसवाय। वस्तुओ ं की अंतराष्ट्रीय
                                                        र्      िबक्री के अनुबंध में यह लाइसेंस संयुक्त राष्ट्र संिधपत्र द्वारा शािसत
नहीं होगा, िजसका प्रयोग स्पष्ट रूप से अपविजर् त है। यिद आप इं ग्लैंड में रहने वाले उपभोक्ता हैं तो यह लाइसेंस आपके िनवास के
क्षेत्रािधकार के कानूनों से िनयंित्रत होगा। यिद िकसी कारण से सक्षम अिधकािरता वाला न्यायालय िकसी प्रावधान या इसके िकसी
अंश को अप्रवतनीय
             र्  पाता है, तो इस लाइसेंस का शेष पूणर् रूप से बाध्य और प्रभावी होगा।


१३. पूणर् अनुबंध; शािसत भाषा। यह लाइसेंस आपके और Apple के बीच iOS सॉफ़्टवेयर से संबिधत संपण
                                                                                          ू र् अनुबंध का गठन करता
है और इस तरह की िवषय वस्तु के बारे में सभी पूवर् या समकालीन सहमितयों को प्रितस्थािपत करता है। इस लाइसेंस में िकसी भी तरह
का सुधार या संशोधन तब तक बाध्यकारी नहीं होगा जब तक की यह Apple द्वारा िलिखत और हस्ताक्षिरत न हो। इस लाइसेंस का
कोई भी अनुवाद स्थानीय आवश्यकताओं और अंग्रेजी तथा गैर-अंग्रेजी संस्करणों बीच होने वाले िववाद की िस्थित िकया जाता है, इस
लाइसेंस का अंग्रेजी संस्करण शािसत होगा, जो आपके क्षेत्रािधकार की सीमा में स्थानीय कानून द्वारा िनिषद्ध नहीं होगा।


१४. तृतीय पक्ष अिभस्वीकृित। iOS सॉफ़्टवेयर के कुछ िहस्सों द्वारा तृतीय पक्ष के सॉफ़्टवेयर और अन्य कॉपीराइट सामग्री का उपयोग
या उन्हें शािमल िकया जा सकता है। उक्त सामग्री की अिभस्वीकृित, लाइसेंस संबंधी शतेर्ं और अस्वीकरण को iOS सॉफ़्टवेयर के
इलेक्ट्रॉिनक दस्तावेज़ों में शािमल िकया गया है और उक्त सामग्री को आपके द्वारा उपयोग करना संबिं धत शतोर्ं के अधीन आता है।
गूगल सेफ़ ब्राउिज़ं ग सिवर् स गूगल टमर् ऑफ़ सिवर् स (https://www.google.com/intl/en/policies/terms/) तथा गूगल की
प्राइवसी पॉिलसी (https://www.google.com/intl/en/policies/privacy/) के अधीन है।


१५. MPEG-4; H.264/AVC नोिटस का इस्तेमाल।
(क) iOS सॉफ़्टवेयर को MPEG-4 िसस्टम्स स्टैंडडर् के अनुरूप एं कोिडं ग हेतु MPEG-4 िसस्टम्स पेटेंट पोटफ़ो
                                                                                                    र् िलयो लाइसेंस के तहत
लाइसेंस प्राप्त है, बशतेर् िक एक अितिरक्त लाइसेंस तथा रॉयल्टीज़ का भुगतान अग्रविणर् त के संबंध में आवश्यक हो (i) फीिज़कल
मीिडया में स्टोडर् या एं िक्रप्टेड डेटा िजसके िलए टाइटल बाइ टाइटल आधार पर भुगतान िकया जाता है तथा/या (ii) वह डेटा िजसके
िलए टाइटल बाय टाइटल आधार पर भुगतान िकया जाता है और स्थाई स्टोरेज तथा/या इस्तेमाल के िलए िकसी अंितम प्रयोक्ता को
हस्तांतिरत िकया है। ऐसा अितिरक्त लाइसेंस MPEG LA, LLC से हािसल िकया जा सकता है। अिधक िववरण के िलए देखें http://
www.mpegla.com।


(ख) iOS सॉफ़्टवेयर में MPEG-4 वीिडयो एन्कोिडं ग तथा/या डीकोिडं ग फ़क्शनैिलटी मौजूद होते हैं। iOS सॉफ़्टवेयर को अग्रविणर् त के
िनजी तथा गैर-व्यापािरक इस्तेमाल के िलए MPEG-4 िवजुअल पेटेंट पोटफ़ो
                                                               र् िलयो लाइसेंस के तहत लाइसेंस प्राप्त होता है, (i)
MPEG-4 िवजुअल स्टैंडडर् (“MPEG-4 वीिडयो”) तथा/या के अनुरूप एं कोिडं ग (ii) MPEG-4 वीिडयो की डीकोिडं ग, िजसे िनजी तथा
गैर-व्यापािरक गितिविध में िलप्त उपभोक्ता द्वारा एं कोड िकया गया हो तथा/या MPEG-4 वीिडयो प्रदान करने के िलए MPEG LA द्वारा
लाइसेंस प्राप्त वीिडयो प्रदाता से प्राप्त िकया गया हो। िकसी अन्य इस्तेमाल के िलए कोई लाइसेंस नहीं िदया जाता या िदया जाएगा।
प्रोमोशनल, इं टरनेट तथा व्यापािरक इस्तेमाल से जुड़ी अितिरक्त जानकारी और लाइसेंिसं ग MPEG LA, LLC से हािसल िकया जा
सकता है। देखें http://www.mpegla.com ।


(ग) iOS सॉफ़्टवेयर में AVC एं कोिडं ग तथा/या डीकोिडं ग फ़ंक्शनैिलटी शािमल होते हैं, इसिलए H.264/AVC के व्यापािरक इस्तेमाल के
िलए अितिरक्त लाइसेंिसं ग की आवश्यकता होती है और िनम्नांिकत प्रावधान लागू होता है: iOS सॉफ़्टवेयर में AVC फ़ंक्शनैिलटी को
लाएसेंस केवल िनजी तथा गैर-व्यापािरक इस्तेमाल िकए अग्रविणत कायोर्ं के िलए िदया जाता है (i) AVC स्टैंडडर् (“AVC VIDEO”) के
अनुरूप एं कोिडं ग के िलए तथा/या (ii) AVC वीिडयो की डीकोिडं ग, िजसे िनजी तथा गैर-व्यापािरक गितिविध में िलप्त उपभोक्ता द्वारा
एं कोड िकया गया हो तथा/या AVC वीिडयो के िलए, िजसे AVC वीिडयो प्रदान करने के िलए लाइसेंस प्राप्त वीिडयो प्रदाना से प्राप्त
         Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 436 of 452




िकया गया हो। अन्य उपयोगों तथा लाइसेंसों से जुड़ी जानकारी MPEG LA L.L.C से हािसल की जा सकती है। देखें http://
www.mpegla.com ।


१६. Yahoo सचर् सिवर् स रेिस्ट्रकशंस। Safari के जिरए उपलब्ध होने वाली Yahoo सचर् सिवर् स को केवल िनम्नांिकत देशों और क्षेत्रों
में लाइसेंस प्राप्त है: अजेर्ंटीना, अरुबा, ऑस्ट्रेिलया, ऑिस्ट्रया, बाबादोस,
                                                                       र्   बेिल्जयम, बमूड
                                                                                         र् ा, ब्राज़ील, बुल्गिे रया, कनाडा, केमान आइलैंड,
िचली, चीन मुख्यभूिम, हाँग काँग, ताइवान, कोलिम्बया, साइप्रस, चेक िरपिब्लक, डेनमाक,र् डोिमिनयन िरपिब्लक, इक्वाडोर, अल
सल्वाडोर, िफ़नलैंड, फ़्रांस, जमनी,
                              र् ग्रीस, ग्रेनाडा, ग्वाटेमाला, हाँगकांग, हंगरी, आइसलैंड, भारत, इं डोनेिशया, आयरलैंड, इटली,
जमाइका, जापान, लाित्वया. िलथुआिनया, लक्जम्बग,र् मलेिशया, माल्टा, मेिक्सको, नीदरलैंड, न्यूजीलैंद, िनकारागुआ, नॉवेर्, पनामा, पेरू,
िफ़लीपींस, पोलैंड, पुतगाल,
                     र्   प्यूटोर् िरको, रोमािनया, िसं गापुर, स्लोवािकया, स्लोवेिनया, साउथ कोिरया, स्पेन, सेंतट लूिसया, सेंट िवं सेंट,
स्वीडन, िस्वजरलैंड, ताइवान, थाइलैंड, द बहामास, िट्रिनदाद एं ड टोबैगो, तुकीर्, यूके, उरुग्वे, अमेिरका तथा वेनेजुएला।


१७. Microsoft एक्सचेंज़ नोिटस। iOS सॉफ़्टवेयर में Microsoft Exchange mail सेिटं ग को लाइसेंस आपके iOS तथा
Microsoft Exchange Server या Microsoft द्वारा Microsoft Exchange ActiveSync प्रोटोकोल को लागू करने के िलए
लाइसेंस प्राप्त अन्य सवरर् सॉफ़्टवेयरसूचना के केवल ओवर-द-एयर िसं क्रोनाइजेशन के िलए प्रदान िकया जाता है, जैसे िक ईमेल,
कॉन्टैक्ट्स, कैलेंडर तथा टास्क के िलए।


EA1566
२१/२/२०१९


————————————
Apple Pay पूरक िनयम और शतेर्ं


ये Apple Pay पूरक िनयम और शतेर्ं (“पूरक शतेर्ं”) iOS सॉफ़्टवेयर लाइसेंस अनुबंध ( “लाइसेंस”) को पूणर् करती हैं; लाइसेंस की शतेर्ं
और ये पूरक शतेर्ं, दोनों से आपके द्वारा Apple Pay सुिवधाओं का वह उपयोग िनयंित्रत होगा िजसे लाइसेंस के अंतगत
                                                                                                          र् एक “सेवा”
माना जाएगा। इन पूरक शतोर्ं में उपयोग िकए गए बोल्ड अक्षर वाले पािरभािषक शब्दों का अथर् लाइसेंस में बताया है।


१.    अवलोकन और उपयोग पर लागू प्रितबंध


Apple Pay आपको अनुमित देता है:


          •    Apple Pay सुिवधा (“समिथर् त भुगतान काड”)
                                                     र् द्वारा समिथर् त क्रेिडट, डेिबट और प्रीपेड काडर् और Apple Pay Cash
               काड,र् डेिबट, प्रीपेड काडर् का कृित्रम रूपान्तरण संग्रिहत करने देता है और चयिनत स्थानों या ऐप या वेबसाइट में संपकर्
               रिहत भुगतान करने के िलए समिथर् त iOS उपकरण का उपयोग करने की अनुमित देता है;
          •     Apple Pay द्वारा संपकर् रिहत भुगतान के िहस्से के तौर पर चयिनत स्टोरों में संपकर् रिहत िरवाडर् व उपहार काडर् लेनदेन
               (“Apple Pay सक्षम काड”र् और समिथर् त भुगतान काडर् “समिथर् त काड”र् सिहत) करने के िलए Wallet में सहेजे गए
               िरवाडर् और उपहार काडर् का उपयोग करने की अनुमित भी देता है; और
          •     अन्य Apple Pay यूज़र को पसन
                                         र् टू पसन
                                                 र् (पी2पी) भुगतान भेजने की सुिवधा देता है।


संभव है िक iOS सॉफ़्टवेयर की Apple Pay सुिवधा केवल चुने हुए क्षेत्रों में, चुने हुए काडर् जारीकताओं
                                                                                                 र् , िवत्तीय संस्थाओं और
व्यापािरयों के यहाँ ही उपलब्ध हो। क्षेत्र, जारीकतार् और व्यापारी के अनुसार सुिवधाएं िभन्न-िभन्न हो सकती हैं।
         Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 437 of 452




Apple Pay उपयोग करने के िलए, आपके पास समिथर् त काडर् होना चािहए। समिथर् त काडर् समय-समय पर बदल सकते हैं। इसके
अितिरक्त, पसन
            र् टू पसन
                    र् (पी2पी) भुगतान भेजने या प्राप्त करने के िलए, आपके पास Apple Pay Cash काडर् होना चािहए।


समिथर् त भुगतान काडर् और पसन
                           र् टू पसन
                                   र् (पी2पी) भुगतान उस Apple ID से जुड़े होते हैं िजससे आपने ये सुिवधाएँ प्राप्त करने के िलए
iCloud में साइन-इन िकया है। Apple Pay केवल १३ वषर् या उससे अिधक आयु के व्यिक्तयों के िलए ही उपलब्ध है और iCloud या
िजस समिथर् त काडर् के िलए आप प्रबंध कर रहे है उसके द्वारा लगाए गए उम्र-आधािरत प्रितबंधों का िवषय हो सकता है। Apple Pay
Cash काडर् और पसन
                र् टू पसन
                        र् (पी2पी) भुगतान भेजने या प्राप्त करने की क्षमता केवल 18 वषर् या इससे अिधक आयु के व्यिक्तयों के
िलए उपलब्ध होती है।


आपके व्यिक्तगत उपयोग के िलए Apple Pay बनाया है और आप केवल आपके समिथर् त काडर् के िलए प्रबंध कर सकते हैं। यिद आप
समिथर् त कॉपोर्रटे काडर् के िलए प्रबंध कर रहें हैं तो आप यह दशाते
                                                               र् हैं िक ऐसा आप आपके िनयोक्ता प्रािधकार में कर रहे हैं और आप
इस उपयोग की शतोर्ं के िलए तथा इस सुिवधा के उपयोग के पिरणाम स्वरुप होनेवाले सभी लेनदेन के िलए आपके िनयोक्ता के साथ
प्रािधकृत रूप से प्रितबद्ध है। यिद आप पसन
                                        र् टू पसन
                                                र् (पी2पी) भुगतान भेज रहे हैं या प्राप्त कर रहे हैं तो आप यह दशाते
                                                                                                                र् हैं िक आप
ऐसा अपने व्यिक्तगत, गैर-व्यावसाियक उपयोग के िलए कर रहे हैं।


आप इस बात से भी सहमत है िक आप इस Apple Pay का गैरकानूनी या कपटपूणर् हेतुओ ं के िलए तथा लाइसेंस और इन पूरक शतोर्ं
द्वारा प्रितबंिधत िकसी भी अन्य हेतुओ ं के िलए उपयोग नहीं करेंगे। इसके अितिरक्त आप लागू होने वाले कानून और िनयमनों के अनुसार
Apple Pay का उपयोग करने के िलए भी सहमत होते हैं। आप इस बात से भी सहमत होते हैं िक आप Apple Pay सेवा (िकसी भी
स्वचािलत साधन से सेवा एक्सेस करने समेत) या सेवा से जुडे िकसी भी सवरर् या नेटवकर् अथवा सेवा से जुड़ी िकसी भी नीित,
आवश्यकताओं या िनयमनों (उस पर िकसी भी अनिधकृत एक्सेस, उपयोग या डेटा तथा ट्रैिफक के मॉिनटिरं ग के उपयोग समेत) में
हस्तक्षेप नहीं करेंगे या उनके सुचारु पालन को भंग नहीं करेंगे।


२.    Apple का आपके साथ संबंध


Apple Pay आपको आपके समिथर् त iOS उपकरण पर समिथर् त काडोर्ं का कृित्रम रूपांतरण िनिमर् त करने में सक्षम बनाता है। यद्यिप
Apple द्वारा भुगतानों या अन्य गैर-भुगतान काडर् लेनदेनों (जैसे िरवाडर् संिचत करने या िरवाडर् िरडीम करने) पर कारवाई
                                                                                                              र्  नहीं की जाती है,
आपके फंड को प्राप्त, धािरत या हस्तांतिरत नहीं िकया जाता है अथवा भुगतानों, प्रितफलों, िरफंड, िरवाड,र् वैल्यू, िडस्काउं ट या अन्य
वािणिज्यक गितिविध को िनयंित्रत नहीं िकया जाता है जो आपके द्वारा इस सुिवधा के उपयोग से उत्पन्न हो सकती हैं।


आपको िजस जारीकतार् ने काडर् जारी िकया है, उसके काडधारक
                                                  र्   अनुबंध की शतोर्ं द्वारा आपके समिथर् त काडर् और Apple Pay के
संबंध में होने वाले इसके उपयोग को िनयंित्रत करना जारी रहेगा। इसी तरह से िकसी भी व्यापारी िरवाडर् या उपहार काडर् कायक्रम
                                                                                                                   र्   में
आपकी सहभािगता और Apple Pay से जुड़े Apple Pay सक्षम काडर् का आपके द्वारा िकया जाने वाला उपयोग व्यापारी के िनयमों व
शतोर्ं के अधीन रहेगा।


Apple Pay Cash काडर् और पसन
                          र् टू पसन
                                  र् (पी2पी) भुगतान भेजने या प्राप्त करने की क्षमता केवल संयुक्त राज्य अमेिरका में उपलब्ध
है और ये ऐसी सेवाएँ हैं िजन्हें एफ़डीआईसी के सदस्य, ग्रीन डॉट बैंक द्वारा उपलब्ध कराया जाता है। जब आप Apple Pay के भीतर ये
सेवाएँ सक्षम करते हैं तो आप ग्रीन डॉट बैंक में एक खाता खोलते हैं और जब आप पसन
                                                                            र् टू पसन
                                                                                    र् भुगतान भेजते या प्राप्त करते हैं या
अपने Apple Pay Cash काडर् में धन रािश डालते हैं या िनकालते हैं तो आपके धन को प्राप्त करने या वांिछत प्राप्तकतार् तक भेजने के
िलए ग्रीन डॉट बैंक िजम्मेदार होगा। Apple Pay Cash और Apple Pay के भीतर पसन
                                                                         र् टू पसन
                                                                                 र् (पी2पी) भुगतान सुिवधा प्रस्तुत करने
        Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 438 of 452




के िलए िजम्मेदार िवत्तीय संस्था को पिरवितर् त िकया जा सकता है और उक्त सुिवधाओं का आपका उपयोग उनके िनयम व शतोर्ं के
अंतगत
    र् आता है।


िकसी भी काडधारक,
           र्    प्रयोगकतार् या व्यापारी अनुबंधों में इस लाइसेंस या इन पूरक शतोर्ं द्वारा िकसी भी प्रकार का संशोधन नहीं िकया
जाता है और ऐसी शतेर्ं प्रयोज्य समिथर् त काडर् या Apple Pay की पसन
                                                                र् टू पसन
                                                                        र् सुिवधा और आपके iOS उपकरण पर उनके कृित्रम
रूपांतरण के आपके उपयोग पर लागू होंगी। आप सहमत हैं िक Apple आपके काडधारक
                                                                   र्   या व्यापार अनुबंधों का पक्ष नहीं है और न
ही Apple िनम्न के िलए उत्तरदायी है: (क) Apple Pay कायात्मकता
                                                      र्     का उपयोग करते हुए िकसी भुगतान काड,र् िरवाडर् काड,र् उपहार
काड,र् वािणिज्यक गितिविधयों, लेनदेनों या खरीदािरयों की िवषयवस्तु, सटीकता या अनुपलब्धता के िलए; (ख) क्रेिडट जारी करने या
क्रेिडट की पात्रता तक पहुंच हािसल करने के िलए; (ग) िकसी व्यापारी के कायक्रम
                                                                       र्   के अंतगत
                                                                                   र् िरवाडर् या सहेजे गए वैल्यू को जमा करने
या उन्हें िरडीम करने के िलए; (घ) प्रीपेड काडर् की फंिडं ग या िरलोिडं ग के िलए; (ङ) पसन
                                                                                     र् टू पसन
                                                                                             र् भुगतान भेजने या प्राप्त करने के िलए;
या (च) आपके Apple Pay Cash काडर् में धन रािश डालने (लोड करने), िरडीम करने या िनकालने के िलए।


भुगतान काड,र् िरवाडर् काड,र् उपहार काडर् या इससे जुड़ी वािणिज्यक गितिविध से संबिं धत सभी िववादों के िलए कृपया अपने जारीकतार्
या प्रयोज्य व्यापारी से संपकर् करें। Apple Pay Cash काडर् या पसन
                                                               र् टू पसन
                                                                       र् भुगतान से संबिं धत प्रश्नों के िलए, कृपया Apple
सहायता से संपकर् करें।


३.    गोपनीयता


पूणर् अनुभव उपलब्ध कराने के िलए Apple Pay को आपके iOS उपकरण की कुछ जानकािरयों की आवश्यकता होती है। इसके
अितिरक्त, जब आप Apple Pay Cash काडर् उपयोग करते हैं या पसन
                                                         र् टू पसन
                                                                 र् भुगतान भेजते या प्राप्त करते हैं तो आपके खाते के
िलए सेवा प्रदान करने हेतु और धोखाधड़ी रोकथाम और िनयामक उद्देश्यों के िलए आपके लेनदेनों से संबिं धत अितिरक्त जानकारी एकत्र
की जाती है और रखी जाती है। आप Apple Pay, Apple Pay Cash काडर् या Apple Pay के साथ पसन
                                                                                    र् टू पसन
                                                                                            र् भुगतानों के
आपके उपयोग के भाग के रूप में एकत्र िकए जाने वाले, उपयोग में लाये जाने वाले या साझा िकए जाने वाले डेटा के बारे में “Apple
Pay और गोपनीयता (िजसे आपके iOS उपकरण पर Wallet और Apple Pay पर जाकर या युिग्मत iOS उपकरण पर Watch ऐप
में एक्सेस िकया जा सकता है) का पिरचय” पढ़कर या https://www.apple.com/privacy पर जाकर अिधक जानकारी प्राप्त कर
सकते हैं। इन सुिवधाओं का उपयोग करके आप Apple को और उसकी सहायक कंपिनयों और अिभकताओं
                                                                                र् को Apple Pay की
कायात्मकताओं
    र्       को प्रदान करने के उद्देश्य से, समस्त पूववतीर्
                                                     र्    जानकारी को हस्तांतिरत करने, संचयन करने, रखरखाव करने, संसािधत
करने और उपयोग करने की स्वीकृित देते हैं और सहमत होते हैं।


४.    सुरक्षा; गुम हुए या अक्षम उपकरण


Apple Pay आपके समिथर् त काडर् के कृित्रम रूपांतरण को संग्रहीत करता है और उसी तरह से इसका संरक्षण िकया जाना चािहए जैसे
आप अपनी नकद रािश या अपने प्रत्यक्ष क्रेिडट, डेिबट, प्रीपेड, िरवाडर् या उपहार काडर् का संरक्षण करेंगे। तीसरे पक्ष को अपना उपकरण
पासकोड देकर या Touch ID का उपयोग अथवा Face ID को सक्षम करने के िलए तीसरे पक्ष के उँ गली के िनशान जोड़ने की अनुमित
देने का पिरणाम, आपके उपकरण पर Apple Pay का उपयोग करके भुगतान करने, भेजने, अनुरोध करने या पसन
                                                                                           र् टू पसन
                                                                                                   र् भुगतान
प्राप्त करने, अपने Apple Pay Cash काडर् से धन िनकालने अथवा िरवाडर् या क्रेिडट प्राप्त करने और भुनाने की क्षमता तीसरे पक्ष को
प्रदान करने में आ सकता है। आप पूणर् रूप से अपने उपकरण और अपने पासकोड की सुरक्षा बनाए रखने के िलए िजम्मेदार हैं। आप
इस बात से सहमत है िक यिद आपका उपकरण गुम होता है या उस पर आप एक्सेस शेअर करते है तो Apple की इसमें कोई
िजम्मेदारी नहीं है। आप इस बात से सहमत है िक यिद आप iOS पर कोई अनिधकृत सुधार (जैसे िक “jailbreak”) करते है तो
Apple की कोई िजम्मेदारी नहीं रहेंगी।
           Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 439 of 452




आपको सुरक्षा के अितिरक्त उपाय जैसे अपने Apple ID के िलए टू -फ़ैक्टर ऑथेंिटकेशन को सक्षम करना पड़ सकता है तािक Apple
Pay Cash काडर् और Apple Pay से पसन
                                 र् टू पसन
                                         र् भुगतान करने सिहत, Apple Pay की िवशेष सुिवधाओं को एक्सेस िकया जा
सके। यिद आप बाद में इन सुरक्षा सुिवधाओं को हटा देते हैं तो आप Apple Pay की िवशेष सुिवधाओं को लगातार एक्सेस नहीं कर
पाएं गे।


यिद आपका उपकरण गुम या चोरी हो गया है और आपने “मेरा iPhone ढूँ ढें” सक्षम िकया हुआ है तो आप “मेरा iPhone ढूँ ढें” का
उपयोग करके उपकरण को “खोया हुआ मोड” में रखकर उस पर मौजूद कृित्रम समिथर् त भुगतान काडोर्ं द्वारा भुगतान करने या पसन
                                                                                                                र् टू
पसन
  र् भुगतान भेजने की क्षमता को िनलंिबत करने का प्रयास कर सकते हैं। आप अपने उपकरण से डेटा भी िमटा सकते हैं िजससे िक
उपकरण पर मौजूद कृित्रम समिथर् त भुगतान काडर् द्वारा भुगतान करने या पसन
                                                                     र् टू पसन
                                                                             र् भुगतान भेजने की क्षमता िनलंिबत करने का
प्रयास िकया जाएगा और साथ ही Apple Pay सक्षम काडर् हटाने का प्रयास भी िकया जाएगा। आपको उस जारीकतार् से भी संपकर्
करना चािहए िजसने आपको समिथर् त भुगतान काडर् जारी िकया है और साथ ही उस व्यापारी से भी संपकर् करना चािहए िजन्होंने आपको
Apple Pay सक्षम काडर् िदया है तथा Apple Pay Cash काडर् की िस्थित में Apple से संपकर् करना चािहए तािक आपके समिथर् त
काडर् के अनिधकृत उपयोग को रोका जा सके।


यिद आप िरपोटर् करते है या Apple को कपटयुक्त तथा अनुिचत गितिविध का संदेह होता है, तो िकसी भी जांच पडताल में Apple को
सहायता करने से और हमारे द्वारा बताए गए िकसी भी कपट प्रितबंध उपायों का उपयोग करने के िलए आप सहमत है।


५.     उत्तरदाियत्व की सीमाएं


इस लाइसेंस में बताई गई वारंटी के अस्वीकरण और उत्तरदाियत्व की सीमाओं के अलावा, APPLE PAY सुिवधा का उपयोग करके की
गई खरीद, भुगतान, लेनदेन या अन्य वािणिज्यक गितिविध के िलए िकसी दाियत्व को APPLE स्वीकार नहीं करता है और आप इस बात
से सहमत है िक आप अपने समिथर् त काड,र् पसन
                                        र् टू पसन
                                                र् भुगतान और संबिं धत वािणिज्यक गितिविध से संबिं धत िकसी भी प्रश्न या
िववादों के समाधान के िलए एकमात्र रूप से अपने काडर् जारीकता,र् भुगतान नेटवक,र् िवत्तीय संस्था या व्यापारी के साथ हुए अनुबंध को
देखेंगे।


————————————
APPLE की ओर से नोिटस
यिद Apple को आपसे आपके उत्पाद या खाते के संबंध में संपकर् करने की आवश्यकता होती है तो आप ईमेल से नोिटस प्राप्त होने के
िलए सहमित प्रदान करते हैं। आप सहमत हैं िक हमारे द्वारा इलेक्ट्रॉिनक रूप से भेजे गए ऐसे िकसी भी नोिटस से कानूनी संपकर् की
कोई भी आवश्यकता पूरी होगी।
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 440 of 452



ESPAÑOL (LATINOAMÉRICA)

IMPORTANTE: UTILIZAR TU iPHONE, iPAD O iPOD TOUCH (“DISPOSITIVO iOS”) IMPLICA QUE
ACEPTAS LAS SIGUIENTES CONDICIONES:

A.   CONTRATO DE LICENCIA DE SOFTWARE iOS DE APPLE
B.   CONDICIONES COMPLEMENTARIAS DE APPLE PAY
C.   AVISOS DE APPLE

APPLE INC.
CONTRATO DE LICENCIA DE SOFTWARE iOS
Licencia de un Sólo uso

POR FAVOR, LEE DETENIDAMENTE ESTE CONTRATO DE LICENCIA DE SOFTWARE (“LICENCIA”)
ANTES DE UTILIZAR EL DISPOSITIVO iOS O DESCARGAR LA ACTUALIZACIÓN DE SOFTWARE
QUE ACOMPAÑA A ESTA LICENCIA. UTILIZARLO O DESCARGAR UNA ACTUALIZACIÓN DE
SOFTWARE, SEGÚN SEA EL CASO, SE INTERPRETARÁ COMO UN HECHO INEQUÍVOCO DE QUE
ACEPTAS LAS CLÁUSULAS DE ESTA LICENCIA. SI NO LAS ACEPTAS, NO USES EL DISPOSITIVO
iOS NI DESCARGUES LA ACTUALIZACIÓN DE SOFTWARE.

SI COMPRASTE RECIENTEMENTE UN DISPOSITIVO iOS Y NO ACEPTAS ESTA LICENCIA,
PUEDES DEVOLVER EL DISPOSITIVO iOS DURANTE EL PERIODO DE DEVOLUCIÓN
ESTABLECIDO A LA TIENDA APPLE O AL ESTABLECIMIENTO AUTORIZADO DONDE LO
ADQUIRISTE Y SOLICITAR TU REEMBOLSO DE CONFORMIDAD CON LA POLÍTICA DE
DEVOLUCIONES DE APPLE, QUE ESTÁ DISPONIBLE EN: https://www.apple.com/legal/sales-
support/.

1. General.
(a) Apple Inc. (“Apple”) te concede (no vende) una licencia para el uso de este software (incluidos el
código ROM de arranque, el software incluido y el software de terceros), la documentación, las
interfaces, los contenidos, las tipografías y cualquier tipo de datos que acompañen al Dispositivo iOS
(en adelante, el “Software iOS original”), que pueden ser actualizados o reemplazados por funciones
mejoradas, actualizaciones de software o programas de restauración del sistema de Apple (las
“Actualizaciones del Software iOS”), ya sea en memoria de sólo lectura o en cualquier otro soporte o de
cualquier otra forma (el Software iOS original y las Actualizaciones del Software iOS se denominan
conjuntamente el “Software iOS”), para su uso únicamente bajo las condiciones de esta Licencia. Apple
y sus licenciantes conservan la propiedad del Software iOS y se reservan todos los derechos no
concedidos a ti de forma expresa. Tú aceptas que las condiciones de esta Licencia se aplicarán a todas
las aplicaciones de marca Apple integradas en tu Dispositivo iOS, a menos que una aplicación incluya
una licencia separada, en cuyo caso aceptas que dicha aplicación se regirá por las condiciones de la
licencia correspondiente.

(b) Apple puede, a su entera discreción, desarrollar en el futuro Actualizaciones del Software iOS. En
caso de que las haya, puede que dichas Actualizaciones del Software iOS no incluyan necesariamente
todas las funciones de software ya existentes ni funciones nuevas que Apple destine a modelos más
recientes o diferentes de Dispositivos iOS. Las condiciones de esta Licencia regirán cualquier
Actualización del Software iOS proporcionada por Apple, excepto que dicha Actualización del Software
iOS original se acompañe de una licencia propia, en cuyo caso aceptas que se aplicarán las condiciones
de la misma.

(c) Si usas la función de configuración exprés para configurar un Dispositivo iOS nuevo basado en tu
Dispositivo iOS anterior, aceptas que las condiciones de esta licencia regirán el uso que hagas del
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 441 of 452



Software iOS en tu nuevo Dispositivo iOS, a menos que el dispositivo incluya una licencia separada, en
cuyo caso aceptas que el uso de dicho Software iOS se regirá por las condiciones de la licencia
correspondiente. Tu Dispositivo iOS buscará de forma periódica con Apple Actualizaciones de Software
iOS. Si hay alguna actualización disponible, la actualización puede empezar a descargarse
automáticamente e instalarse en tu Dispositivo iOS y, si corresponden, en tus dispositivos periféricos. Al
usar el Software Apple aceptas que Apple puede descargar e instalar Actualizaciones de
Software iOS en tu Dispositivo iOS y tus dispositivos periféricos. Puedes desactivar todas las
actualizaciones automáticas en cualquier momento cambiando la configuración Actualizaciones
Automáticas en Configuración > General > Actualización de software.

2. Usos permitidos y restricciones de la Licencia.
(a) De acuerdo con las condiciones de esta Licencia, se te concede una licencia limitada no exclusiva
para utilizar el Software iOS en un único Dispositivo iOS de marca Apple. Excepto lo expresamente
permitido en la sección 2(b) siguiente, y salvo que medie un acuerdo separado entre Apple y tú, esta
Licencia no permite que el Software iOS esté instalado en más de un Dispositivo iOS de marca Apple al
mismo tiempo, y no podrás distribuir ni colocar el Software iOS en una red donde pueda ser utilizado
por varios dispositivos al mismo tiempo. La presente Licencia no te concede ningún derecho para el uso
de las interfaces propiedad de Apple, así como ningún derecho de propiedad intelectual con respecto al
diseño, desarrollo, fabricación, concesión de licencias o distribución de dispositivos y accesorios de
otros fabricantes o de aplicaciones de software de terceros que se usen con el Dispositivo iOS. Algunos
de estos derechos se recogen en otras licencias de Apple. Para obtener más información acerca del
desarrollo de dispositivos y accesorios de otros fabricantes para Dispositivos iOS, visita el sitio web
https://developer.apple.com/programs/mfi/. Para más información sobre el desarrollo de aplicaciones
de software de otros fabricantes para Dispositivos iOS, visita https://developer.apple.com.

(b) De acuerdo con las condiciones de esta Licencia, se te concede una licencia limitada no exclusiva
para descargar las Actualizaciones del Software iOS que Apple lance para tu modelo de Dispositivo iOS
con el fin de actualizar o restaurar el software de cualquier Dispositivo iOS que poseas. Esta Licencia no
permite actualizar o restaurar ningún Dispositivo iOS que no sea de tu propiedad, ni distribuir o colocar
las Actualizaciones del Software iOS en una red donde puedan ser utilizadas por varios periféricos o
computadoras al mismo tiempo. Si descargas una Actualización del Software iOS en tu computadora,
podrás realizar una copia de las Actualizaciones del Software iOS almacenadas en tu computadora en
un formato legible únicamente a efectos de respaldo, siempre y cuando esta contenga toda la
información relativa a derechos de autor y copyright, u otros datos relativos a la propiedad, contenida
en el original.

(c) Si Apple preinstaló aplicaciones de marca Apple desde App Store en tu Dispositivo iOS en el
momento de la compra (“Aplicaciones preinstaladas”), tendrás que iniciar sesión en App Store y asociar
a tu cuenta de App Store estas Aplicaciones preinstaladas para poder utilizarlas en el Dispositivo iOS.
Cuando asocies una Aplicación preinstalada a tu cuenta de App Store, se asociarán automáticamente
todas las demás Aplicaciones preinstaladas de tu Dispositivo iOS. Al asociar las Aplicaciones
preinstaladas a tu cuenta de App Store, aceptas que Apple pueda transmitir, recopilar, mantener,
procesar y usar tanto el Apple ID que utilizas en tu cuenta de App Store como el identificador de
hardware único de tu Dispositivo iOS como identificadores únicos de la cuenta con el fin de verificar si
tu solicitud es apta y proporcionarte acceso a las Aplicaciones preinstaladas a través de App Store. Si
no quieres utilizar una Aplicación preinstalada, puedes eliminarla del Dispositivo iOS en cualquier
momento.

(d) No podrás —y aceptas no hacerlo ni permitir a otras personas que lo hagan— copiar (excepto en los
casos expresamente permitidos en la presente Licencia), descompilar, desensamblar o intentar obtener
el código fuente, como tampoco descifrar, modificar o crear trabajos derivados del Software iOS o de
cualquier servicio proporcionado por el Software iOS ni de ninguna de sus partes (excepto en la medida
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 442 of 452



en la que la legislación aplicable o las condiciones de licencia que rigen el uso de componentes de
código abierto o de código de muestra que puedan estar incluidos en el Software iOS prohíban
cualquiera de las restricciones anteriores).

(e) El Software iOS puede utilizarse para reproducir materiales siempre que dicho uso se limite a la
reproducción de materiales sin copyright, materiales de los que poseas el copyright o materiales que
puedas reproducir porque cuentas con la autorización o el permiso legal correspondientes. Los
derechos de titularidad y de propiedad intelectual de cualquiera de los contenidos que se muestran o
almacenan en el Dispositivo iOS, o a los que se accede a través de este, pertenecen a los propietarios
del contenido correspondiente. Dicho contenido puede estar protegido por las leyes y los tratados
vigentes en materia de propiedad intelectual y de derechos de autor, y quedan sujetos a las condiciones
de uso de la tercera parte suministradora del contenido. A menos que se establezca lo contrario en el
presente documento, esta Licencia no te concede ningún derecho para el uso de dicho contenido ni
garantiza que el contenido siga estando disponible para su uso.

(f) Según los términos y condiciones de esta Licencia, puedes usar los personajes Animoji y Memoji que
se incluyen o se crean con el iOS Software (“Personajes del Sistema”) (i) al usar el Software iOS y (ii)
para crear tu propio contenido original y proyectos con fines personales y no comerciales. Esta Licencia
no permite ningún otro uso de los Personajes del Sistema, entre otros, reproducirlos, mostrarlos, actuar
con ellos, publicaros o redistribuirlos en contextos con ánimos de lucro, sin ánimos de lucro, de difusión
o comercialización.

(g) Te comprometes a utilizar el Software iOS y los Servicios (tal como se definen en el apartado 5 de
este documento) de conformidad con todas las leyes aplicables, incluidas las leyes locales del país o la
región donde residas o donde se descargue y utilice el Software iOS y los Servicios. Es posible que las
funciones del Software iOS y los Servicios no estén disponibles en todos los idiomas o regiones, que
algunas funciones varíen según la región y que tu proveedor de servicios restrinja algunas funciones o
no las ofrezca. Algunas de funciones del Software iOS y Servicios, requieren una conexión de datos
celulares o Wi-Fi.

(h) Necesitas una combinación única de nombre de usuario y contraseña —conocida como Apple ID—
para poder utilizar App Store. El Apple ID también es necesario para acceder a actualizaciones de
aplicaciones y determinadas funciones del Software iOS y los Servicios.

(i) Reconoces que muchas funciones, apps integradas y Servicios del Software iOS transmiten datos y
podrían conllevar cargos para tu plan de datos, y que tú te harás cargo de dichas cargos. Puedes ver y
controlar qué aplicaciones tienen autorización para utilizar datos celulares y ver una estimación de la
cantidad de datos que consumen en la sección “Datos celulares” de Configuración. Además, Ayudar
Wi-Fi cambiará automáticamente a datos celulares cuando tu conexión de Wi-Fi no sea buena, lo que
puede ocasionar un mayor uso de datos celulares y aumentar los cargos de tu plan de datos. Ayudar
Wi-Fi está activada por omisión, pero la puedes desactivar en Configuración. Para obtener más
información, consulta el Manual del usuario de tu Dispositivo iOS.

(j) Si seleccionas la opción para permitir la actualización automática de aplicaciones, el Dispositivo iOS
buscará periódicamente actualizaciones para las aplicaciones de tu dispositivo y, si las hay, las
descargará e instalará automáticamente. Las actualizaciones automáticas se pueden desactivar en
cualquier momento desde Configuración > iTunes Store y App Store > “Descargas automáticas”
desactivando la opción “Actualizaciones”.

(k) El uso del Dispositivo iOS en ciertas circunstancias puede distraerte y provocar situaciones
peligrosas (por ejemplo, evita escribir mensajes mientras manejas un automóvil o usar audífonos
mientras andas en bicicleta). Al usar tu Dispositivo iOS aceptas que eres responsable de seguir las
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 443 of 452



normas que prohíben o restringen el uso de teléfonos celulares o audífonos (por ejemplo, el requisito de
usar accesorios de manos libres para realizar llamadas mientras se maneja).

3. Transmisión. No puedes rentar, arrendar, prestar, vender, redistribuir ni sublicenciar el Software iOS.
No obstante, puedes transferir tus derechos contenidos en esta Licencia de forma permanente y una
sola vez siempre y cuando: (a) transmitas el Dispositivo iOS y la totalidad del Software iOS, incluidos
todos los componentes y esta Licencia; (b) no conserves ninguna copia, total o parcial, del Software
iOS, incluidas las copias almacenadas en un computadora o en cualquier otro dispositivo de
almacenamiento; y (c) la otra parte lea y acepte las condiciones de esta Licencia.

4. Consentimiento para el uso de datos. Al usar el dispositivo, tu número de teléfono y ciertos
identificadores únicos del Dispositivo iOS se envían a Apple para que otros puedan ponerse en contacto
contigo mediante el número de teléfono al usar varias funciones de comunicación del Software iOS,
como iMessage y FaceTime. Al usar iMessage, Apple podría conservar tus mensajes, en forma
encriptada y por un tiempo limitado para asegurar su entrega. Puedes desactivar FaceTime o iMessage
desde la configuración de FaceTime o iMessage en el Dispositivo iOS. Algunas funciones como Análisis,
Localización, Siri y Dictado podrían solicitar información de tu Dispositivo iOS para proporcionar sus
respectivas funcionalidades. Al activar estas funciones, se proporcionará información sobre qué
información se envía a Apple y cómo se puede usar. Para obtener más información al respecto, visita
https://www.apple.com/la/privacy/. Toda la información que Apple recibe se trata de acuerdo con la
Política de Privacidad de Apple, que se puede consultar en https://www.apple.com/legal/privacy/.

5. Servicios y materiales de terceros.
(a) El Software iOS podría permitir el acceso a iTunes Store, App Store, Apple Books, Game Center,
iCloud y Mapas, así como a otros servicios y sitios web de Apple y de otras empresas (colectiva e
individualmente, los “Servicios”). Es posible que dichos Servicios no estén disponibles en todos los
idiomas ni en todos los países. El uso de estos Servicios requiere acceso a Internet y puede requerir un
Apple ID y que tú aceptes condiciones adicionales, además puede estar sujeto a otros cargos. El uso de
este software junto con un Apple ID u otro Servicio de Apple se interpretará como un hecho inequívoco
de que aceptas las condiciones aplicables a dicho Servicio, como las condiciones más recientes de los
Términos y Condiciones de los Servicios multimedia de Apple del país desde el que accedes a dichos
Servicios, que puedes consultar desde https://www.apple.com/legal/internet-services/itunes/.

(b) Al inscribirse en iCloud, es posible acceder directamente desde el Software iOS a determinadas
funciones de iCloud, como “Fotos en iCloud”, “Secuencia de fotos”, “Álbumes compartidos”,
“Respaldo” o “Buscar mi iPhone”. Tú comprendes y aceptas que el uso de iCloud y de estas funciones
está sujeto a las condiciones más recientes del servicio iCloud, a las que puedes acceder desde:
https://www.apple.com/legal/internet-services/icloud/.

(c) Contenido de la apps News. Estás autorizado a utilizar el contenido accesible a través de la app
News única y exclusivamente con fines de uso personal y no comercial. No se te concede ningún tipo
de derecho sobre la propiedad del contenido y se excluye específicamente, sin ninguna limitación,
cualquier derecho de uso comercial o de promoción sobre dicho contenido. Además, queda prohibido
publicar, transmitir y reproducir cualquier imagen a la que se tenga acceso mediante News como
archivo independiente.

(d) Mapas. El servicio de mapas y las funciones del Software iOS (“Mapas”), incluyendo la cobertura de
datos del mapa, puede variar de una región a otra. Al usar cualquier función basada en la localización
dentro de Mapas, como la navegación detallada, se podrían enviar a Apple algunos datos de tráfico y
búsqueda, e información relacionada con la localización y el uso, incluyendo ubicaciones geográficas en
tiempo real del Dispositivo iOS, con la finalidad de procesar tu solicitud y para ayudar a mejorar Mapas.
Apple recopila los datos de localización y uso en una forma en la que no se te identifica personalmente.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 444 of 452



Al usar Mapas, aceptas y autorizas la transmisión, recopilación, mantenimiento, procesamiento y
uso de toda la información saliente por parte de Apple y sus subsidiarios y agentes con la
finalidad de mejorar las funciones y el servicio de Mapas, y de otros productos y servicios de
Apple. Apple también puede proporcionar dicha información, ya sea de forma global o que no permita
identificarte, a sus socios y licenciantes para ayudar a mejorar sus productos y servicios basados en
mapas y ubicaciones. Puedes desactivar las funciones basadas en la localización de Mapas al
desactivar la configuración de localización para Mapas desde la configuración Localización del
Dispositivo iOS. Sin embargo, algunas funciones de Mapas, como la navegación detallada, no estarán
disponibles si desactivas Localización.

(e) Reconoces que, al utilizar cualquiera de los Servicios, podrás encontrar contenido que podría ser
considerado ofensivo, indecente o censurable y en el que podría identificarse la presencia de lenguaje
explícito, y que los resultados de las búsquedas o la visualización de una URL concreta pueden generar
automática e involuntariamente enlaces o referencias a material censurable. No obstante lo anterior, tú
consientes en utilizar los Servicios bajo tu propia cuenta y riesgo, y aceptas que Apple, sus filiales,
agentes, directores o licenciantes no serán responsables frente a ti del contenido que pueda
considerarse ofensivo, indecente o censurable.

(f) Es posible que determinados Servicios muestren, incluyan o pongan a tu disposición contenidos,
datos, información, aplicaciones o materiales de terceros (en adelante, “Materiales de terceros”) o
proporcionen enlaces a sitios web de terceros. Al utilizar los Servicios, reconoces y aceptas que Apple
no es responsable de examinar o evaluar el contenido, la exactitud, la integridad, la vigencia, la validez,
el cumplimiento de los derechos de autor, la legalidad, la decencia, la calidad o cualquier otro aspecto
de dichos sitios web o Materiales de terceros. Apple, sus representantes, subsidiarios y filiales no
garantizan, respaldan, asumen ni se responsabilizan, ni ante ti ni ante ninguna otra persona, de ninguno
de los Servicios de terceros, Materiales de terceros o sitios web de terceros, ni de ningún otro material,
producto o servicio de terceros. Los Materiales de terceros y los enlaces a otros sitios web se
proporcionan exclusivamente para tu comodidad.

(g) Ni Apple ni ninguno de sus proveedores de contenido garantizan la disponibilidad, la exactitud, la
integridad, la fiabilidad o la puntualidad de la información bursátil, de los datos de ubicación o de
cualquier otro tipo de datos que muestren los Servicios. Los datos financieros que se muestran en
cualquiera de los Servicios están destinados a fines exclusivamente informativos, por lo que no deben
considerarse una base fiable para realizar inversiones. Antes de realizar cualquier tipo de transacción de
valores basada en la información obtenida a través de los Servicios, se te recomienda consultar a un
asesor financiero profesional que esté legalmente capacitado para ofrecer asesoramiento financiero en
tu país o región. Los datos de ubicación facilitados por cualquiera de los Servicios, incluido el servicio
Mapas de Apple, se proporcionan únicamente con fines básicos de navegación y planificación, por lo
que no deben considerarse como una fuente de información fiable en aquellas situaciones en las que se
requiera información de ubicación precisa o en las que la obtención de información errónea, inexacta,
diferida o incompleta pueda ocasionar muertes, lesiones personales graves o serios daños a la
propiedad o al medio ambiente. Tú aceptas que los resultados que recibas del servicio Mapas podrían
diferir de las condiciones actuales de la carretera o el terreno debido a factores que podrían afectar a la
precisión de los datos de Mapas, como, sin limitarse a ellos, las condiciones meteorológicas, de la
carretera y del tráfico, así como acontecimientos geopolíticos. Por tu seguridad, mientras hagas uso de
la función de navegación, presta siempre atención a las señales de la carretera y a las condiciones
actuales de la misma. Sigue prácticas de conducción seguras, cumple las normativas de tráfico y toma
en cuenta que las indicaciones de las rutas a pie pueden no incluir aceras o pasos para peatones.

(h) El hecho de que cargues contenido mediante el uso de los Servicios se considerará un hecho
inequívoco de tu manifestación de que cuentas con todos los derechos, o tienes autorización o
cualquier otro permiso legal, para cargar dicho contenido, y que este no infringe ninguna condición
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 445 of 452



aplicable a los Servicios. Reconoces que los Servicios incluyen contenido, información y material de
carácter privado que son propiedad de Apple, del propietario del sitio o sus licenciantes, y están
protegidos por la legislación aplicable sobre propiedad intelectual y por otras leyes, incluidas a título
enunciativo y no limitativo, las leyes sobre derechos de autor. Te comprometes a usar dicho contenido,
información o material de carácter privado exclusivamente según lo dispuesto en las condiciones de la
presente Licencia de los Servicios, y nunca de un modo contrario a las condiciones de esta Licencia o
de manera que se infrinja cualquier derecho de propiedad intelectual de terceros o de Apple. Ninguna
parte de los Servicios podrá ser reproducida en forma o modo alguno. Estás obligado a no modificar,
ceder en renta, arrendamiento o préstamo, vender, distribuir o crear trabajos derivados de los Servicios
en modo alguno, y no explotarás los Servicios de ningún modo no autorizado (por ejemplo, a título
enunciativo y no limitativo, utilizando los Servicios para transmitir virus informáticos, gusanos, troyanos
u otro software malicioso, o bien sobrepasando o sobrecargando la capacidad de la red). Además, te
comprometes a no utilizar los Servicios en forma alguna que pueda hostigar, abusar, acechar,
amenazar, difamar o bien infringir o vulnerar de otro modo los derechos de cualquier otra parte, y que
Apple no será responsable de ningún modo de tal uso por tu parte ni del hostigamiento, abuso, acecho,
amenaza o difamación, así como tampoco de los mensajes o transmisiones ofensivos, indebidos o
ilegales que puedas recibir como resultado del uso de cualquiera de los Servicios.

(i) Por otro lado, los Servicios y los Materiales de terceros a los cuales pueda accederse o que puedan
mostrarse o enlazarse a través del Dispositivo iOS no están disponibles en todos los idiomas ni en todos
los países o regiones. Apple no formula declaración alguna relativa a la adecuación o disponibilidad de
dichos Servicios o Materiales de terceros en una zona en particular. En la medida en la que decidas
utilizar o acceder a dichos Servicios y Materiales de terceros, lo harás por tu propia iniciativa y asumirás
la responsabilidad del cumplimiento de todas las leyes aplicables, incluidas a título enunciativo y no
limitativo, las leyes locales aplicables y la legislación relativa a la privacidad y la recopilación de datos. Al
compartir o sincronizar fotos mediante el Dispositivo iOS, podrían transmitirse metadatos (que incluyen
el lugar y la fecha en la que se tomó la foto, así como información sobre la profundidad) junto con las
fotos. El uso de los Servicios de Apple (tales como la fototeca de iCloud) para compartir o sincronizar
tales fotos supone que Apple reciba y almacene dichos metadatos. Apple y sus licenciantes se reservan
el derecho a modificar, suspender, retirar o bloquear el acceso a cualquiera de los Servicios en
cualquier momento y sin previo aviso. Apple no será en ningún caso responsable de la eliminación o
desactivación del acceso a tales Servicios. Asimismo, Apple puede imponer límites al uso o acceso a
determinados Servicios, en cualquier caso y sin previo aviso ni responsabilidad.

6. Expiración de la Licencia. Esta Licencia permanecerá en vigor hasta que sea revocada o resuelta.
Los derechos que te confiere esta Licencia expirarán o perderán su vigencia de forma automática sin el
previo aviso de Apple si incumples cualquiera de las condiciones de la presente Licencia. Cuando ésta
deje de estar en vigor, deberás dejar de utilizar el Software iOS. Los apartados 4, 5, 6, 7, 8, 9, 12 y 13
de la presente Licencia sobrevivirán a la expiración de la Licencia.

7. Exclusión de garantías.
7.1. Si eres un consumidor particular (una persona que utiliza el Software iOS fuera de su oficio, negocio
o profesión), es posible que dispongas de derechos legales en tu país de residencia que puedan impedir
que las siguientes limitaciones te sean aplicables, en cuyo caso no serán de aplicación para ti. Para
obtener más información acerca de tus derechos, no dudes en ponerte en contacto con el organismo de
atención al consumidor de tu zona.

7.2. RECONOCES Y ACEPTAS DE FORMA EXPRESA QUE, EN LA MEDIDA EN QUE LO PERMITA LA
LEY VIGENTE, EL USO DEL SOFTWARE iOS Y DE LOS SERVICIOS REALIZADOS POR EL SOFTWARE
O A LOS QUE SE ACCEDA A TRAVÉS DEL SOFTWARE iOS SE REALIZA A TU ENTERO RIESGO, Y
QUE ASUMES TOTALMENTE EL RIESGO RELATIVO A LA CALIDAD SATISFACTORIA, EL
RENDIMIENTO, LA EXACTITUD Y EL ESFUERZO.
     Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 446 of 452




7.3. DENTRO DE LOS LÍMITES PERMITIDOS POR LA LEY VIGENTE, EL SOFTWARE iOS Y LOS
SERVICIOS SE SUMINISTRAN “TAL Y COMO SE PRESENTAN” Y “SEGÚN DISPONIBILIDAD”, CON
TODOS SUS POSIBLES DEFECTOS Y SIN GARANTÍAS DE NINGÚN TIPO, Y APPLE Y LOS
LICENCIANTES DE APPLE (DENOMINADOS DE FORMA CONJUNTA “APPLE” A LOS EFECTOS DE
LAS SECCIONES 7 Y 8) EXCLUYEN TODAS LAS GARANTÍAS Y CONDICIONES RELATIVAS AL
SOFTWARE iOS Y A LOS SERVICIOS, YA SEAN EXPRESAS, IMPLÍCITAS O LEGALES, INCLUIDAS,
CON CARÁCTER MERAMENTE ENUNCIATIVO Y NO LIMITATIVO, LAS GARANTÍAS Y/O
CONDICIONES DE COMERCIABILIDAD, DE CALIDAD SATISFACTORIA, DE IDONEIDAD PARA UN FIN
DETERMINADO, DE EXACTITUD, DE DISFRUTE Y DE NO INFRACCIÓN DE DERECHOS DE
TERCEROS.

7.4. APPLE NO GARANTIZA, SIN PERJUICIO DEL USO Y DISFRUTE QUE HAGAS DEL SOFTWARE iOS
Y DE LOS SERVICIOS, QUE LAS FUNCIONES CONTENIDAS EN EL SOFTWARE iOS Y EN LOS
SERVICIOS REALIZADOS O PROPORCIONADOS POR DICHO SOFTWARE SATISFAGAN TUS
NECESIDADES, QUE EL SOFTWARE iOS Y LOS SERVICIOS FUNCIONEN ININTERRUMPIDAMENTE O
SIN ERRORES, QUE TODOS LOS SERVICIOS SIGAN ESTANDO DISPONIBLES, QUE LOS DEFECTOS
DEL SOFTWARE iOS O DE LOS SERVICIOS SERÁN CORREGIDOS, NI QUE EL SOFTWARE iOS SEA
COMPATIBLE O FUNCIONE CON CUALQUIER SOFTWARE, APLICACIÓN O SERVICIO DE TERCEROS.
LA INSTALACIÓN DE ESTE SOFTWARE iOS PUEDE AFECTAR A LA DISPONIBILIDAD Y
FUNCIONALIDAD DEL SOFTWARE, LAS APLICACIONES O LOS SERVICIOS DE TERCEROS, ASÍ
COMO A LOS PRODUCTOS Y SERVICIOS DE APPLE.

7.5. RECONOCES ADEMÁS QUE EL SOFTWARE iOS Y LOS SERVICIOS NO ESTÁN DESTINADOS NI
SON ADECUADOS PARA SER UTILIZADOS EN SITUACIONES O ENTORNOS EN LOS QUE FALLOS,
RETRASOS, ERRORES O IMPRECISIONES EN EL CONTENIDO, LOS DATOS O LA INFORMACIÓN
PROPORCIONADOS POR EL SOFTWARE iOS O LOS SERVICIOS PUDIERAN CONLLEVAR MUERTE,
DAÑOS PERSONALES, LESIONES FÍSICAS GRAVES, O DAÑOS IMPORTANTES AL MEDIO AMBIENTE,
INCLUIDOS, A TÍTULO ENUNCIATIVO Y NO LIMITATIVO, ACTIVIDADES DE PLANTAS NUCLEARES,
NAVEGACIÓN AÉREA, SISTEMAS DE COMUNICACIÓN, MÁQUINAS PARA EL CONTROL DEL
TRÁFICO AÉREO, INSTALACIONES HOSPITALARIAS O EQUIPOS ARMAMENTÍSTICOS.

7.6. NINGUNA INFORMACIÓN O ASESORAMIENTO ESCRITO O VERBAL FACILITADOS POR APPLE O
POR UN REPRESENTANTE AUTORIZADO DE APPLE CONSTITUIRÁN GARANTÍA ALGUNA. EN EL
SUPUESTO DE QUE EL SOFTWARE iOS O LOS SERVICIOS RESULTARAN SER DEFECTUOSOS,
ASUMIRÁS EL COSTO ÍNTEGRO DE TODOS LOS SERVICIOS, REPARACIONES Y CORRECCIONES
NECESARIOS. HABIDA CUENTA DE QUE LA NORMATIVA VIGENTE NO PERMITE EN ALGUNOS
PAÍSES LA EXCLUSIÓN DE GARANTÍAS IMPLÍCITAS O LIMITACIONES A LOS DERECHOS
LEGALMENTE PREVISTOS DEL CONSUMIDOR, LA EXCLUSIÓN Y LAS LIMITACIONES ANTERIORES
PUEDEN NO SER DE APLICACIÓN EN TU CASO.

8. Límite de responsabilidad. APPLE, SUS FILIARES, AGENTES O DIRECTORES NO SERÁN
RESPONSABLES EN NINGÚN CASO, DENTRO DE LOS LÍMITES LEGALES APLICABLES, DE LOS
DAÑOS PERSONALES O DEL LUCRO CESANTE O DAÑO EMERGENTE, NI DE LOS DAÑOS
ESPECIALES, DIRECTOS O INDIRECTOS, INCLUIDOS, A TÍTULO ENUNCIATIVO Y NO LIMITATIVO,
LOS DAÑOS POR LUCRO CESANTE, POR EL DAÑO O LA PÉRDIDA DE DATOS, POR LA
IMPOSIBILIDAD DE TRANSMITIR O RECIBIR DATOS (INCLUIDOS, A TÍTULO ENUNCIATIVO Y NO
LIMITATIVO, LOS MATERIALES, TAREAS E INSTRUCCIONES DE CURSOS), O POR LA
INTERRUPCIÓN DE LA ACTIVIDAD EMPRESARIAL, O BIEN DE CUALQUIER OTRO TIPO DE DAÑOS O
PÉRDIDAS COMERCIALES, RESULTANTES O RELACIONADOS CON EL USO O EL MAL USO DEL
SOFTWARE iOS Y DE LOS SERVICIOS, ASÍ COMO DE CUALQUIER SOFTWARE O APLICACIÓN DE
TERCEROS QUE SE UTILICEN JUNTO CON EL SOFTWARE iOS O LOS SERVICIOS, COMO QUIERA
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 447 of 452



QUE HAYA SIDO CAUSADO E INDEPENDIENTEMENTE DE LA TEORÍA DE LA RESPONSABILIDAD
CIVIL (RESPONSABILIDAD CONTRACTUAL O EXTRACONTRACTUAL, U OTROS) E INCLUSO SI SE
INFORMÓ A APPLE DE LA POSIBILIDAD DE TALES DAÑOS. ALGUNOS PAÍSES NO PERMITEN LA
EXCLUSIÓN O LIMITACIÓN DE LA RESPONSABILIDAD POR DAÑOS PERSONALES, DEL LUCRO
CESANTE O DAÑO EMERGENTE, DIRECTO O INDIRECTO, POR LO CUAL PUEDE QUE ESTA
LIMITACIÓN NO SEA DE APLICACIÓN EN TU CASO. La responsabilidad total de Apple por daños y
perjuicios (distintos de los exigidos por la ley vigente en los casos en los que los daños personales estén
relacionados) no excederá, en ningún caso, de la cantidad de doscientos cincuenta dólares
estadounidenses (250 USD). Las limitaciones anteriormente mencionadas serán vigentes incluso si la
citada reparación incumple su objetivo esencial.

9. Certificados digitales. El Software iOS incorpora funciones que te permiten aceptar certificados
digitales emitidos tanto por Apple como por terceros. TÚ ERES EL ÚNICO RESPONSABLE DE LA
DECISIÓN DE CONFIAR O NO EN UN CERTIFICADO TANTO SI HA SIDO EMITIDO POR APPLE COMO
POR UN TERCERO. EL USO QUE HAGAS DE LOS CERTIFICADOS DIGITALES SERÁ BAJO TU PROPIA
CUENTA Y RIESGO. DENTRO DE LOS LÍMITES PERMITIDOS POR LA LEY VIGENTE, APPLE NO
OFRECE NINGUNA GARANTÍA NI DECLARACIÓN, EXPLÍCITA O IMPLÍCITA, RELATIVA A LA
COMERCIABILIDAD O IDONEIDAD PARA UN FIN CONCRETO, LA EXACTITUD, LA SEGURIDAD O EL
NO INCUMPLIMIENTO DE LOS DERECHOS DE TERCEROS CON RESPECTO A LOS CERTIFICADOS
DIGITALES.

10. Control de las exportaciones. No podrás utilizar, ni tampoco exportar o reexportar, el Software iOS
excepto en la forma permitida por la legislación de Estados Unidos y del país en el cual se obtuvo el
Software iOS. En particular, a título enunciativo y no limitativo, el Software iOS no podrá ser exportado o
reexportado a: (a) ningún país que esté siendo objeto de embargo por parte de Estados Unidos, o (b)
nadie que figure en la lista de ciudadanos especialmente designados del Departamento del Tesoro de
Estados Unidos o en la tabla de personas o entidades denegadas del Departamento de Comercio de
Estados Unidos, o cualquier otra lista de partes restringidas. El uso por tu parte del Software iOS se
considerará un hecho inequívoco de tu manifestación y garantía de no residir en ninguno de estos
países ni de figurar en ninguna de las listas mencionadas. Asimismo, te comprometes a no usar el
Software iOS con ninguna finalidad prohibida por la legislación estadounidense, incluidos, a título
enunciativo y no limitativo, el desarrollo, el diseño, la fabricación o la producción de misiles o armas
nucleares, químicas o biológicas.

11. La Administración como usuario final. El Software iOS y la documentación relacionada se
consideran “artículos comerciales” según la definición del término en la sección 48 C.F.R. §2.101 del
Código de Normas Federales de Estados Unidos, y constituyen “software informático para uso
comercial” y “documentación de software informático para uso comercial”, conforme a la definición de
estos términos en las secciones 48 C.F.R. §12.212 y 48 C.F.R. §227.7202, según proceda. En virtud de
las secciones 48 C.F.R. §12.212 y 48 C.F.R. §227.7202-1 a 227.7202-4 del mencionado Código, según
proceda, el software informático para uso comercial y la documentación del software informático para
uso comercial se distribuyen y conceden bajo licencia a los usuarios finales de la Administración de
Estados Unidos únicamente a los efectos de: (a) artículos comerciales y (b) con los derechos
concedidos a todos los demás usuarios de acuerdo con las condiciones estipuladas en el presente
contrato. Se hace reserva de los derechos no publicados de conformidad con las leyes de copyright de
Estados Unidos.

12. Ley aplicable e independencia de las estipulaciones. Esta Licencia se regirá e interpretará según
las leyes del estado de California, con la exclusión de sus principios de conflicto de derecho. La
presente Licencia no estará regida por la convención de las Naciones Unidas sobre contratos para la
venta internacional de mercancías, cuya aplicación se excluye expresamente. Si eres un consumidor
afincado en la Reino Unido, esta Licencia se regirá por las leyes de la jurisdicción de tu lugar de
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 448 of 452



residencia. Si, por cualquier razón, un tribunal competente declarara no exigible o ineficaz cualquier
disposición de la presente Licencia o de parte de la misma, el resto de la presente Licencia conservará
plena vigencia y efecto.

13. Contrato íntegro; idioma aplicable. La presente Licencia constituye el acuerdo completo entre tú y
Apple con respecto al Software iOS y sustituye a todos los acuerdos anteriores o actuales relativos a su
objeto. La presente Licencia únicamente podrá ser modificada mediante acuerdo escrito firmado por
Apple. Las traducciones de esta Licencia se otorgan con el fin de satisfacer las demandas de los
usuarios locales y, en el caso de que surgiera algún conflicto entre la versión en lengua inglesa y
cualquiera de las versiones en el resto de idiomas, prevalecerá siempre la primera, en la medida en la
que no se oponga a la legislación local de tu jurisdicción.

14. Reconocimientos de terceros. Puede que algunas partes del Software iOS utilicen o incluyan
software de terceros y otros materiales sujetos a derechos de autor. Los reconocimientos, condiciones
de licencia y limitaciones de responsabilidad correspondientes a dicho material están contenidos en la
documentación electrónica del Software iOS, y el uso que hagas de dichos materiales está sujeto a sus
correspondientes condiciones. El uso del servicio Google Safe Browsing está supeditado al
cumplimiento de las condiciones de uso de Google (https://www.google.com/intl/es-419/policies/terms/)
y a la política de privacidad de Google (https://www.google.com/intl/es-419/policies/privacy/).

15. Uso de MPEG-4; aviso sobre H.264/AVC.
(a) El Software iOS fue concedido bajo licencia de acuerdo con el contrato de licencia MPEG-4 Systems
Patent Portfolio License (Licencia de cartera de patentes en sistemas MPEG-4) para la codificación de
conformidad con el estándar MPEG-4 Systems, excepto en el caso de que para la codificación sea
necesaria una licencia adicional y el pago de los derechos correspondientes relacionados con: (i) los
datos almacenados o duplicados en un soporte físico por los cuales se realiza un pago título a título, o
(ii) los datos por los cuales se realiza un pago título a título y que son transmitidos a un usuario final para
su almacenamiento o uso permanente. Dicha licencia adicional puede obtenerse de MPEG LA, LLC.
Consulta la página web http://www.mpegla.com para obtener más información.

(b) El Software iOS contiene funciones de codificación y decodificación de video MPEG-4. El Software
iOS se licencia en virtud del contrato de licencia MPEG-4 Visual Patent Portfolio License (Licencia de
cartera de patentes MPEG-4 Visual) para el uso personal con fines no comerciales por parte de un
consumidor para (i) la codificación de video de conformidad con el estándar MPEG-4 Visual (“Video
MPEG-4”), y/o (ii) la decodificación de video MPEG-4 que haya sido codificado por un consumidor que
realice una actividad personal con fines no comerciales y/o se haya obtenido de un proveedor de video
al cual se le haya concedido una licencia de MPEG LA para suministrar video MPEG-4. No se concederá
licencia alguna para ningún otro uso, ni se interpretará de forma tácita ningún otro fin. Para obtener más
información, incluida la relacionada con la concesión de licencias y los usos promocionales, internos y
comerciales, consulta la página web de MPEG LA, LLC en la dirección http://www.mpegla.com.

(c) El Software iOS contiene funciones de codificación y decodificación AVC. El uso comercial de la
tecnología H.264/AVC requerirá la concesión de una licencia adicional y se aplicará la siguiente
disposición: POR LA PRESENTE SE CONCEDE A LOS CONSUMIDORES UNA LICENCIA DE USO DE
LA FUNCIONALIDAD AVC DEL SOFTWARE iOS ÚNICAMENTE CON FINES PERSONALES Y NO
COMERCIALES, PARA: (i) CODIFICAR VIDEO DE CONFORMIDAD CON EL FORMATO ESTÁNDAR AVC
(“VIDEO AVC”), Y/O (ii) DECODIFICAR VIDEO AVC QUE HAYA SIDO CODIFICADO POR UN
CONSUMIDOR QUE REALICE UNA ACTIVIDAD PERSONAL CON FINES NO COMERCIALES Y/O
VIDEO AVC QUE HAYA SIDO OBTENIDO DE UN PROVEEDOR DE VIDEO AL QUE SE LE HAYA
CONCEDIDO UNA LICENCIA PARA SUMINISTRAR VIDEO AVC. PARA OBTENER INFORMACIÓN
RELACIONADA CON OTROS USOS Y CON LA CONCESIÓN DE LICENCIAS, CONSULTA LA PÁGINA
WEB DE MPEG LA L.L.C. EN LA DIRECCIÓN: http://www.mpegla.com.
          Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 449 of 452




16. Restricciones del servicio de búsqueda Yahoo. Se concede una licencia de uso del servicio de
búsqueda Yahoo disponible a través de Safari únicamente en los siguientes países y regiones: Alemania,
Argentina, Aruba, Australia, Austria, Bahamas, Barbados, Bélgica, Bermudas, Brasil, Bulgaria, Canadá,
Chile, China continental, Hong Kong y Taiwán, Chipre, Colombia, Corea del Sur, Dinamarca, Ecuador, El
Salvador, Eslovaquia, Eslovenia, España, Estados Unidos, Filipinas, Finlandia, Francia, Granada, Grecia,
Guatemala, Hungría, India, Indonesia, Irlanda, Islandia, Islas Caimán, Italia, Jamaica, Japón, Letonia,
Lituania, Luxemburgo, Malasia, Malta, México, Nicaragua, Noruega, Nueva Zelanda, Países Bajos,
Panamá, Perú, Polonia, Portugal, Puerto Rico, Reino Unido, República Checa, República Dominicana,
Rumanía, Santa Lucía, San Vicente, Singapur, Suecia, Suiza, Tailandia, Trinidad y Tobago, Turquía,
Uruguay y Venezuela.

17. Aviso de Microsoft Exchange. La configuración de correo de Microsoft Exchange del Software
iOS se concede bajo licencia únicamente para la sincronización remota de información, como correo
electrónico, contactos, calendario y tareas, entre tu Dispositivo iOS y Microsoft Exchange Server u otro
software de servidor licenciado por Microsoft para implementar el protocolo ActiveSync de Microsoft
Exchange.

EA1566
21/2/2019

————————————
Condiciones complementarias de Apple Pay

Estas condiciones complementarias de Apple Pay (estas “Condiciones complementarias”) son un
complemento del Contrato de licencia del Software iOS (la “Licencia”); el uso de la función Apple Pay, el
cual se considerará como un “Servicio” para efectos de esta Licencia, se rige tanto por las condiciones
de la Licencia como por estas Condiciones complementarias. Los términos con mayúscula inicial que se
utilizan en estas Condiciones complementarias tienen el significado establecido en la Licencia.

1.       Visión general y Restricciones de uso

Apple Pay te permite:

     •     almacenar representaciones virtuales de las tarjetas de crédito, débito y prepago, incluidas
           tarjetas de crédito, débito y prepago de tiendas y la tarjeta Apple Pay Cash que admitan la
           función Apple Pay (“Tarjetas de pago admitidas”) y utilizar los Dispositivos iOS compatibles para
           realizar pagos sin contacto en lugares seleccionados o en aplicaciones o sitios web;
     •     usar tarjetas de recompensa y tarjetas de regalo que tengas guardadas en Wallet, (“Tarjetas
           compatibles con Apple Pay”, y en conjunto con las Tarjetas de pago admitidas, “Tarjetas
           admitidas”), para realizar transacciones con una tarjeta de recompensa y de regalo sin contacto
           en tiendas selectas como parte del tipo de pago sin contacto de Apple Pay; y
     •     enviar pagos privados (de persona a persona) a otros usuarios de Apple Pay.

Puede que las funciones de Apple Pay del Software iOS sólo estén disponibles en determinadas
regiones, con determinados emisores de tarjetas, instituciones financieras y comercios. Las funciones
pueden variar según la región, el emisor y el comercio.

Para usar Apple Pay, debes contar con Tarjetas admitidas, las cuales pueden variar en cualquier
momento. Asimismo, para poder enviar y recibir pagos privados (de persona a persona), debes contar
con una tarjeta Apple Pay Cash.

Las Tarjetas de pago admitidas y pagos privados están asociados al Apple ID con el cual iniciaste
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 450 of 452



sesión en iCloud para utilizar estas funciones. Las Tarjetas admitidas están disponibles sólo para
personas mayores de 13 años y pueden estar sujetas a restricciones de edad adicionales impuestas por
iCloud o la Tarjeta admitida que se intenta agregar. La tarjeta Apple Pay Card y la funcionalidad para
enviar y recibir pagos privados están disponibles sólo para personas con al menos 18 años de edad.

Apple Pay se ha diseñado exclusivamente para el uso personal y sólo te permite agregar tus propias
Tarjetas admitidas. Si te dispones a agregar una tarjeta corporativa admitida, se asumirá que lo haces
con la autorización de tu empresa y que estás autorizado para vincular a la empresa a estas condiciones
de uso y a todas las transacciones que se vean afectadas por el uso de esta función. Al enviar un pago
privado, de persona a persona, significa que lo haces con fines personales y no comerciales.

Aceptas no utilizar Apple Pay con fines ilegales o fraudulentos, ni con otros fines prohibidos por la
Licencia y estas Condiciones complementarias. También te comprometes a utilizar Apple Pay de
conformidad con las legislaciones y normativas aplicables. Aceptas no interrumpir ni interferir en el
servicio de Apple Pay (incluido el acceso al servicio a través de cualquier medio automatizado),
cualquiera de los servidores o redes conectados al servicio, o cualquiera de las políticas, requisitos o
normativas de las redes conectadas al servicio (incluido el acceso no autorizado a datos o tráfico de
estas, su uso o supervisión).

2.   Relación de Apple contigo

Apple Pay te permite crear una representación virtual de tus Tarjetas admitidas en el Dispositivo iOS
compatible. No obstante, Apple no procesa los pagos ni otras transacciones de tarjetas que no son de
pago (como reembolsos o acumulación de recompensas), recibe, mantiene o transfiere tus fondos, ni
tiene ningún otro tipo de control sobre los pagos, devoluciones, reembolsos, recompensas, valores de
prepago, descuentos u otra actividad comercial que pueda derivar del uso de esta función.

Las condiciones del contrato de la tarjeta de crédito que hayas firmado con el emisor de la tarjeta
seguirán siendo aplicables a las Tarjetas admitidas y a su uso en relación con Apple Pay. De igual
manera, tu participación en cualquier programa de recompensas comerciales o de tarjetas de regalo, y
el uso que hagas de las Tarjetas de recompensa compatibles con Apple Pay en conjunto con Apple Pay
estará sujeto a dichos términos y condiciones de comercio.

La tarjeta de Apple Pay Cash y la habilidad de enviar y recibir pagos privados están disponibles sólo en
EE. UU. Dichos servicios son proporcionados por Green Dot Bank, institución miembro de la FDIC. Al
activar estas funciones dentro de Apple Pay, estas abriendo una cuenta con Green Dot Bank. Al enviar y
recibir un pago privado o cargar o retirar dinero de tu tarjeta Apple Pay Cash, Green Dot Bank será
responsable de recibir y enviar tu dinero al destinatario deseado. La institución financiera responsable
responsable de ofrecer Apple Pay Cash y pagos privados en Apple Pay puede cambiar, y tu uso de
dichas funciones está sujeto a sus términos y condiciones.

Ninguna de las disposiciones de la Licencia o estas Condiciones complementarias modifica las
condiciones de cualquier contrato de tarjeta de crédito o comercio. Además, dichos términos seguirán
rigiendo el uso de la Tarjeta admitida y la representación virtual disponible en tu Dispositivo iOS.
Aceptas que Apple no es una parte de tus contratos con el emisor de la tarjeta ni el comercio, ni es el
responsable del (a) contenido, la precisión o la no disponibilidad de cualquier tarjeta de pago, tarjetas de
recompensa, tarjetas de regalo, actividad comercial, transacción o compra que tengan lugar durante el
uso de la función Apple Pay; (b) la emisión de crédito o la evaluación de la idoneidad para recibir
crédito; (c) la acumulación o reembolso de recompensas o prepago bajo el programa del comercio; (d)
el depósito de fondos o recarga de tarjetas de prepago; (e) el envío o recepción de pagos privados; o (f)
la carga, canjeo o retiro de dinero de tu tarjeta Apple Pay Card.
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 451 of 452



En el caso de que surgiese algún conflicto o duda relacionado con las tarjetas de pago, tarjetas de
recompensa, tarjetas de regalo o la actividad comercial asociada, ponte en contacto con el emisor o el
comercio correspondiente. Para obtener información sobre la tarjeta Apple Pay Card o pagos privados,
ponte en contacto con Soporte de Apple.

3.   Privacidad

Apple Pay requiere cierta información sobre tu dispositivo iOS para poder ofrecerte todas las
características. Además, al usar tu tarjeta Apple Pay Cash o al enviar o recibir pagos privados, se puede
recopilar y almacenar información adicional sobre tus transacciones para manejar tu cuenta, para evitar
el fraude y cumplir con otros requisitos. Puedes encontrar más información sobre los datos recopilados,
usados o compartidos como parte de tu uso de Apple Pay, Apple Pay Card o pagos privados con Apple
Pay leyendo la sección Acerca de Apple Pay y la privacidad (a la cual puedes acceder desde Wallet y
Apple Pay en tu dispositivo iOS, o en la app Watch en un Dispositivo iOS enlazado) o visitando https://
www.apple.com/la/privacy/. Al usar estas funciones, aceptas y autorizas la transmisión, recopilación,
mantenimiento, procesamiento y uso de toda la información anterior por parte de Apple y sus
subsidiarios y agentes con la finalidad de proporcionar las funciones de Apple Pay.

4.   Seguridad; Dispositivos perdidos o desactivados

Apple Pay almacena representaciones virtuales de tus Tarjetas admitidas que deberían protegerse del
mismo modo que el efectivo y las tarjetas de crédito, débito, prepago recompensas o de regalo físicas.
Si proporcionas el código de tu dispositivo a un tercero o si permites que un tercero agregue su huella
digital para utilizar Touch ID o active Face ID, este podría realizar, solicitar o recibir pagos privados,
retirar dinero de tu tarjeta Apple Pay Cash, o recibir o canjear recompensas o crédito usando Apple Pay
en tu dispositivo. Tú eres el único responsable de garantizar la seguridad de tu dispositivo y tu código.
Aceptas que Apple no tiene ninguna responsabilidad si pierdes el dispositivo o compartes el acceso a
éste. Aceptas que Apple no tiene ninguna responsabilidad si realizas modificaciones no autorizadas en
iOS (por ejemplo, si liberas el dispositivo).

Es probable que sea necesario activar medidas de seguridad adicionales, como la autenticación de dos
factores de tu Apple ID, a fin de poder acceder a funciones determinadas de Apple Pay, incluyendo la
tarjeta Apple Pay Cash y pagos privados con Apple Pay. Si posteriormente desactivas dichas funciones
de seguridad, es probable que no puedas seguir accediendo a tales funciones de Apple Pay.

Si pierdes tu dispositivo o te lo roban y tienes activada la función “Buscar mi iPhone”, puedes utilizarla
para intentar suspender la función de pagar con Tarjetas de pago admitidas virtuales en el dispositivo al
poner el dispositivo en modo perdido. También puedes borrar el dispositivo, lo que intentaría suspender
la función de pagar con las Tarjetas de pago admitidas virtuales que hay en el dispositivo y también
intentará eliminar las Tarjetas compatibles con Apple Pay. También deberías ponerte en contacto con el
emisor de tus Tarjetas de pago admitidas, o el comercio que emitió las Tarjetas compatibles con Apple
Pay, y a Apple en caso de tu tarjeta Apple Pay Cash, para evitar el acceso no autorizado a tus Tarjetas
admitidas.

Si reportas alguna actividad fraudulenta o abusiva, o Apple sospecha de su existencia, aceptas
colaborar con Apple durante la investigación y poner en marcha las medidas de prevención del fraude
que se te indiquen.

5.   Límite de responsabilidad

ADEMÁS DE LAS EXCLUSIONES DE GARANTÍA Y EL LÍMITE DE RESPONSABILIDAD ESTABLECIDOS
EN LA LICENCIA, APPLE NO ASUME NINGÚN TIPO DE RESPONSABILIDAD CON RESPECTO A LAS
       Case 3:22-cv-07668-VC Document 79-3 Filed 04/05/24 Page 452 of 452



COMPRAS, PAGOS, TRANSACCIONES U OTRA ACTIVIDAD COMERCIAL REALIZADAS CON LA
FUNCIÓN APPLE PAY, Y ACEPTAS RECURRIR EXCLUSIVAMENTE A LOS CONTRATOS QUE PUEDAS
TENER CON EL EMISOR DE LA TARJETA, LA RED DE PAGOS, INSTITUCIONES FINANCIERAS O
COMERCIANTES PARA RESOLVER LAS POSIBLES DUDAS O CONFLICTOS RELATIVOS A LAS
TARJETAS ADMITIDAS, PAGOS PRIVADOS Y LA ACTIVIDAD COMERCIAL ASOCIADA.

————————————
AVISOS DE APPLE
Si Apple necesita ponerse en contacto contigo en relación a tu producto o cuenta, accedes a recibir los
avisos pertinentes por correo electrónico. Convienes en que todos los avisos de este tipo que te
enviemos electrónicamente satisfarán cualquier requisito de comunicación legal.
